Case: 4:13-cv-02226-JAR   Doc. #: 85-5 Filed: 02/12/15   Page: 1 of 1319 PageID
                                    #: 3194




                          EXHIBIT E
Case: 4:13-cv-02226-JAR   Doc. #: 85-5 Filed: 02/12/15   Page: 2 of 1319 PageID
                                    #: 3195




Visa International Operating Regulations

15 October 2011
Case: 4:13-cv-02226-JAR   Doc. #: 85-5 Filed: 02/12/15    Page: 3 of 1319 PageID
                                    #: 3196




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Case: 4:13-cv-02226-JAR                          Doc. #: 85-5 Filed: 02/12/15                                  Page: 4 of 1319 PageID
                                                           #: 3197
                                           Visa International Operating Regulations




  Contents
  Contents .......................................................................................................................................   iii

  Summary of Changes.................................................................................................................... 1

     Visa Operating Regulations Alignment Project...........................................................................                         1

         Overview................................................................................................................................... 1

     Quick Reference..........................................................................................................................       4

         Overview................................................................................................................................... 4

     Summary of Changes.................................................................................................................. 10

         Major Topics............................................................................................................................ 10

         Variance Topics....................................................................................................................... 34

         Miscellaneous Topics............................................................................................................... 36

         AP Region Major Topics.......................................................................................................... 43

         CEMEA Region Major Topics.................................................................................................. 48

         LAC Region Major Topics....................................................................................................... 49

         U.S. Region Major Topics....................................................................................................... 50

         Other Revisions........................................................................................................................ 56

  About the Operating Regulations................................................................................................ 57

     General Overview........................................................................................................................ 57

         What are Operating Regulations?........................................................................................... 57

         What Do Operating Regulations Include?............................................................................... 58

     Organization................................................................................................................................. 58

         Operating Regulations Structure............................................................................................. 58




  18 October 2011                                                VISA PUBLIC                                                                               iii
   © 2011 Visa. All Rights Reserved.
Case: 4:13-cv-02226-JAR                               Doc. #: 85-5 Filed: 02/12/15                                 Page: 5 of 1319 PageID
                                                                #: 3198
                                         Visa International Operating Regulations



     Other Publications........................................................................................................................ 60

        References to Other Publications............................................................................................ 60

     Authoring Style............................................................................................................................. 60

        General Authoring Conventions............................................................................................... 60

     Contents Numbering.................................................................................................................... 61

        Section Numbering................................................................................................................... 61

Chapter 1: Visa Operating Regulations Governance................................................................. 63

     Core Principle 1.1........................................................................................................................ 63

        The Operating Regulations...................................................................................................... 63

     Core Principle 1.2........................................................................................................................ 63

        Visa Management.................................................................................................................... 63

     Core Principle 1.3........................................................................................................................ 63

        Compliance............................................................................................................................... 63

     Core Principle 1.4........................................................................................................................ 64

        Consistency.............................................................................................................................. 64

     Core Principle 1.5........................................................................................................................ 64

        Conflicts.................................................................................................................................... 64

     Core Principle 1.6........................................................................................................................ 64

        Variances and Waivers............................................................................................................ 64

     Use and Application of Bylaws and Operating Regulations........................................................ 65

        Obligation to Comply with Bylaws and Visa International Operating Regulations................... 65

        Use and Application of Operating Regulations........................................................................ 65

        Obligation to Comply with Operating Regulations................................................................... 67

     Local, Domestic, and Regional Operating Regulations and Private Agreements........................ 68



iv                                                             VISA PUBLIC                                                        18 October 2011
© 2011 Visa. All Rights Reserved.
Case: 4:13-cv-02226-JAR                        Doc. #: 85-5 Filed: 02/12/15                                Page: 6 of 1319 PageID
                                                         #: 3199
                                         Visa International Operating Regulations



        Regional Operating Regulations.............................................................................................. 68

        National, Group Members, and Private Agreements............................................................... 68

     Extensions to the Operating Regulations.................................................................................... 69

        Publications with Equivalent Authority..................................................................................... 69

     Variances to the Operating Regulations..................................................................................... 69

        Variances - Procedures........................................................................................................... 69

     Confidentiality of Visa Materials.................................................................................................. 70

        Confidentiality Requirements................................................................................................... 70

     Visa Right to Monitor, Audit, Inspect, or Investigate................................................................... 71

        Visa Right to Monitor, Audit, Inspect, or Investigate............................................................... 71

        Member Rights and Obligations.............................................................................................. 73

        General Investigation Responsibilities..................................................................................... 73

        Merchant Investigation Responsibilities................................................................................... 76

     Operating Regulations Compliance and Enforcement................................................................ 76

        Fines and Penalties - General................................................................................................. 76

        Fines and Penalties Process................................................................................................... 78

        Fines and Penalties for Repetitive and Willful Violation.......................................................... 80

        Compliance - General.............................................................................................................. 82

        Compliance Enforcement Appeals........................................................................................... 82

     Right of Termination of Merchant or Agents............................................................................... 84

        Visa Rights............................................................................................................................... 84

        Member Obligations................................................................................................................. 86

  Chapter 2: Visa System Participation......................................................................................... 87

     Core Principle 2.1........................................................................................................................ 87



  18 October 2011                                             VISA PUBLIC                                                                               v
  © 2011 Visa. All Rights Reserved.
Case: 4:13-cv-02226-JAR                              Doc. #: 85-5 Filed: 02/12/15                               Page: 7 of 1319 PageID
                                                               #: 3200
                                         Visa International Operating Regulations



        Bylaws and Operating Regulations......................................................................................... 87

     Core Principle 2.2........................................................................................................................ 87

        Third Party Registration........................................................................................................... 87

     Core Principle 2.3........................................................................................................................ 88

        Liabilities and Indemnifications................................................................................................ 88

     Membership.................................................................................................................................. 88

        General Membership................................................................................................................ 88

        Sponsored Member.................................................................................................................. 89

        Member Acquisition.................................................................................................................. 89

        Quarterly Operating Certificate................................................................................................ 91

        Online Submission and Electronic Signature.......................................................................... 93

        Acquirer Licensing.................................................................................................................... 95

     Agents - Third Party and VisaNet Processors............................................................................ 95

        General Agent Requirements.................................................................................................. 95

        VisaNet Processor Requirements............................................................................................ 98

        Third Party/ISO Requirements................................................................................................. 102

        Card Manufacturers and Personalizers................................................................................... 111

        Fines Related to Agents.......................................................................................................... 112

Chapter 3: The Visa License........................................................................................................ 115

     Core Principle 3.1........................................................................................................................ 115

        Intellectual Property................................................................................................................. 115

     Core Principle 3.2........................................................................................................................ 115

        Brand and Licensed Technology............................................................................................. 115

     Core Principle 3.3........................................................................................................................ 116



vi                                                            VISA PUBLIC                                                      18 October 2011
© 2011 Visa. All Rights Reserved.
Case: 4:13-cv-02226-JAR                        Doc. #: 85-5 Filed: 02/12/15                                 Page: 8 of 1319 PageID
                                                         #: 3201
                                         Visa International Operating Regulations



       BIN Licensing........................................................................................................................... 116

    Marks License.............................................................................................................................. 116

       Marks License Grant................................................................................................................ 116

       Sponsorships/Partnerships Including Olympics....................................................................... 118

    BIN License and Administration.................................................................................................. 120

       License..................................................................................................................................... 120

       Administration........................................................................................................................... 121

       Sales and Transfers................................................................................................................. 126

       Mergers and Acquisitions........................................................................................................ 126

       Membership Status.................................................................................................................. 127

    BIN Licensee................................................................................................................................ 127

       Responsibilities......................................................................................................................... 127

    BIN Use........................................................................................................................................ 128

       Member Use............................................................................................................................ 128

       Merchant Use and Disclosure of BIN Information................................................................... 130

    Non-Visa BINs............................................................................................................................. 134

       Non-Visa-Assigned BINs.......................................................................................................... 134

    Software License......................................................................................................................... 135

       Ownership and Confidentiality................................................................................................. 135

       Non-Transferability................................................................................................................... 135

       Limitations................................................................................................................................ 136

    Software Enhancements/Modifications........................................................................................ 136

       Enhancements/Modifications.................................................................................................... 136

    Use of Visa Systems................................................................................................................... 136



  18 October 2011                                             VISA PUBLIC                                                                            vii
  © 2011 Visa. All Rights Reserved.
Case: 4:13-cv-02226-JAR                                 Doc. #: 85-5 Filed: 02/12/15                                  Page: 9 of 1319 PageID
                                                                  #: 3202
                                            Visa International Operating Regulations



          Visa Systems Use.................................................................................................................... 136

Chapter 4: The Visa Brand........................................................................................................... 141

       Core Principle 4.1........................................................................................................................ 141

          Brand Prominence................................................................................................................... 141

       Core Principle 4.2........................................................................................................................ 141

          Communications....................................................................................................................... 141

       Core Principle 4.3........................................................................................................................ 142

          Visa-Owned Mark on a Payment Device................................................................................ 142

       Core Principle 4.4........................................................................................................................ 142

          Corporate Names..................................................................................................................... 142

       Core Principle 4.5........................................................................................................................ 142

          Denote and Promote Visa....................................................................................................... 142

       Core Principle 4.6........................................................................................................................ 143

          Card Acceptance Outside of Country of Issuance.................................................................. 143

       Core Principle 4.7........................................................................................................................ 143

          Card Acceptance at Point-of-Sale........................................................................................... 143

       Marks............................................................................................................................................ 143

          General Use of Marks............................................................................................................. 143

          Use of Product Marks.............................................................................................................. 150

       Corporate Identity........................................................................................................................ 151

          Use of Brand in Corporate Identity.......................................................................................... 151

       Use of Marks on Cards............................................................................................................... 153

          Marks Usage Requirements.................................................................................................... 153

          Multiple Marks on Card........................................................................................................... 154



viii                                                              VISA PUBLIC                                                        18 October 2011
© 2011 Visa. All Rights Reserved.
Case: 4:13-cv-02226-JAR                        Doc. #: 85-5 Filed: 02/12/15                                 Page: 10 of 1319 PageID
                                                          #: 3203
                                          Visa International Operating Regulations



         Competitive Marks................................................................................................................... 155

         General Card Design............................................................................................................... 157

      Member Identification................................................................................................................... 159

         Member Identification on Card................................................................................................ 159

      Affinity/Co-Branding/Non-Member Marks.................................................................................... 160

         Non-Member Marks on Cards................................................................................................. 160

         Co-Branded Cards................................................................................................................... 165

         Affinity Cards............................................................................................................................ 167

      Brand Positioning......................................................................................................................... 176

         Card and Product Positioning.................................................................................................. 176

      Use of Marks in Promotions, Advertisements, and Solicitations................................................. 178

         Solicitations.............................................................................................................................. 178

         Promotional Material................................................................................................................ 179

      Member Sponsorships................................................................................................................. 182

         Sponsorships Usage Requirements........................................................................................ 182

      Electron Mark/Identifier................................................................................................................ 184

         Electron Marks Usage Requirements...................................................................................... 184

      Interlink Program Marks.............................................................................................................. 185

         Interlink Program Marks Usage Requirements........................................................................ 185

      Plus Program Marks.................................................................................................................... 186

         Plus Program Marks Usage Requirements............................................................................. 186

   Chapter 5: Visa Products and Services...................................................................................... 189

      Core Principle 5.1........................................................................................................................ 189

         Issuing and Technology Standards......................................................................................... 189



   18 October 2011                                              VISA PUBLIC                                                                            ix
   © 2011 Visa. All Rights Reserved.
Case: 4:13-cv-02226-JAR                           Doc. #: 85-5 Filed: 02/12/15                                Page: 11 of 1319 PageID
                                                             #: 3204
                                        Visa International Operating Regulations



    Core Principle 5.2........................................................................................................................ 189

       Issuing and Using Visa Products............................................................................................ 189

    Core Principle 5.3........................................................................................................................ 190

       Card Design Requirements and Standards............................................................................. 190

    Card Issuance.............................................................................................................................. 190

       Issuer Responsibilities - General............................................................................................. 190

       Account Range and BIN Use.................................................................................................. 192

       Account Number Specifications............................................................................................... 193

       PIN Issuance............................................................................................................................ 193

       Expiration Date Standards....................................................................................................... 195

       Issuer Performance Standards................................................................................................ 195

    Card Manufacture and Delivery................................................................................................... 196

       Card Shipping and Security..................................................................................................... 196

       Card Embossing, Printing, Encoding, and Personalization..................................................... 197

    Issuer Requirements - General................................................................................................... 199

       Exchange Rates....................................................................................................................... 199

       Cardholder Liability.................................................................................................................. 201

       Provisional Credit..................................................................................................................... 202

       Cardholder Applications........................................................................................................... 203

       Confidentiality of Cardholder Information................................................................................ 204

       Data Retention and Transmission........................................................................................... 205

       Disputed Transactions - Canada Region................................................................................ 206

       Cardholder Notifications........................................................................................................... 207

       Insurance Program - U.S. Region........................................................................................... 210



x                                                            VISA PUBLIC                                                     18 October 2011
© 2011 Visa. All Rights Reserved.
Case: 4:13-cv-02226-JAR                      Doc. #: 85-5 Filed: 02/12/15                                Page: 12 of 1319 PageID
                                                        #: 3205
                                         Visa International Operating Regulations



        Other Issuer Requirements...................................................................................................... 211

     Magnetic-Stripe Requirements.................................................................................................... 212

        General Magnetic-Stripe Requirements................................................................................... 212

        Magnetic-Stripe Encoding........................................................................................................ 212

     Chip Card Requirements............................................................................................................. 213

        General Chip Card Requirements........................................................................................... 213

        Chip Card Technology Requirements..................................................................................... 218

        Cardholder Verification Method............................................................................................... 221

        Cardholder Authentication Method.......................................................................................... 223

        Cardholder Account Selection................................................................................................. 223

        Chip Card Post-Issuance Updates.......................................................................................... 224

        Chip Issuer Liability.................................................................................................................. 225

        EMV Liability Shift.................................................................................................................... 228

        Proximity/Contactless Cards.................................................................................................... 230

     Limited Use Products.................................................................................................................. 234

        Restricted Use Cards............................................................................................................... 234

     Non-Standard Cards.................................................................................................................... 234

        Non-Standard Card General Requirements............................................................................ 234

        Visa Mini Cards - U.S. Region................................................................................................ 235

        Visa Micro Tag......................................................................................................................... 236

        Unembossed Cards................................................................................................................. 236

     Virtual Accounts........................................................................................................................... 237

        Virtual Accounts - General Requirements............................................................................... 237

        Virtual Accounts - Consumer Programs.................................................................................. 238



   18 October 2011                                            VISA PUBLIC                                                                          xi
   © 2011 Visa. All Rights Reserved.
Case: 4:13-cv-02226-JAR                              Doc. #: 85-5 Filed: 02/12/15                                 Page: 13 of 1319 PageID
                                                                #: 3206
                                          Visa International Operating Regulations



      Consumer Products..................................................................................................................... 238

         Visa Consumer Products - General Requirements................................................................. 238

         Visa Classic Cards................................................................................................................... 239

         Visa Charge Card.................................................................................................................... 239

         Visa Traditional Rewards Cards - U.S. Region....................................................................... 240

         Visa Debit Cards...................................................................................................................... 243

         Visa Electron Cards................................................................................................................. 245

         Visa Gold/Premier Cards......................................................................................................... 246

         Visa Infinite Cards.................................................................................................................... 249

         Visa Platinum Cards................................................................................................................ 257

         Visa Prepaid Cards.................................................................................................................. 265

         Visa Signature Cards............................................................................................................... 275

         Visa Signature Preferred Cards - U.S. Region........................................................................ 283

         Visa Check Cards - U.S. Region............................................................................................. 286

         Secured Cards......................................................................................................................... 289

         V PAY...................................................................................................................................... 290

      Visa TravelMoney Program......................................................................................................... 291

         Visa TravelMoney.................................................................................................................... 291

      Original Credit Transaction.......................................................................................................... 293

         Original Credit Transaction - General Requirements.............................................................. 293

      Visa Money Transfer................................................................................................................... 294

         Money Transfer Original Credit – General Requirements .......................................................294

      Visa Commercial Products.......................................................................................................... 296

         Visa Commercial Products - General Requirements............................................................... 296



xii                                                             VISA PUBLIC                                                       18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                               Page: 14 of 1319 PageID
                                                       #: 3207
                                        Visa International Operating Regulations



        Visa Meetings Card................................................................................................................. 304

        Prepaid Commercial................................................................................................................. 305

        Visa Agro Card - LAC Region................................................................................................. 306

     Visa Commercial Business Products........................................................................................... 308

        Commercial Business Products General Requirements.......................................................... 308

        Visa Business Enhanced Cards.............................................................................................. 310

        Visa Business Platinum Cards................................................................................................ 311

        Visa Signature Business Cards............................................................................................... 311

        Visa Business Check Cards.................................................................................................... 320

        Visa Business Electron Cards................................................................................................. 321

        Visa Business Debit Cards - AP Region................................................................................. 322

        Visa Infinite Business Cards - Canada Region....................................................................... 322

        Visa Cargo - LAC Region........................................................................................................ 327

     Visa Commercial Purchasing Products....................................................................................... 329

        Purchasing Cards - General.................................................................................................... 329

        Visa Fleet Cards...................................................................................................................... 330

     Visa Commercial Corporate Products......................................................................................... 333

        Commercial Corporate Products - U.S. Region...................................................................... 333

     Visa Commercial Products Programs.......................................................................................... 334

        V Distribution Program............................................................................................................. 334

        Centralized Card Issuance...................................................................................................... 335

     Global Support Services.............................................................................................................. 336

        Visa Global Customer Assistance Services............................................................................ 336

        Emergency Cash Disbursement and Emergency Card Replacement..................................... 340



   18 October 2011                                           VISA PUBLIC                                                                       xiii
   © 2011 Visa. All Rights Reserved.
Case: 4:13-cv-02226-JAR                             Doc. #: 85-5 Filed: 02/12/15                                Page: 15 of 1319 PageID
                                                               #: 3208
                                          Visa International Operating Regulations



         Stand-In Processing................................................................................................................. 343

         Lost or Stolen Card Reporting................................................................................................. 344

         Emergency Request Fines and Penalties............................................................................... 345

         Global Refund Service............................................................................................................. 345

      Cardholder Loyalty Program........................................................................................................ 347

         Visa Extras - U.S. Region....................................................................................................... 347

         Visa Loyalty Platform Services................................................................................................ 348

         Visa Incentive Network - U.S. Region..................................................................................... 349

         Visa SavingsEdge - U.S. Region............................................................................................ 350

      Credit Bureau Reporting - U.S. Region....................................................................................... 351

         Credit Bureau Reporting Requirements - U.S. Region............................................................ 351

      Commercial Data Management and Reporting........................................................................... 353

         Commercial Solutions.............................................................................................................. 353

         Enhanced Data........................................................................................................................ 357

      POS Balance Inquiry Service...................................................................................................... 359

         POS Balance Inquiry Service Requirements........................................................................... 359

      Visa PIN Debit Gateway Service - U.S. Region.......................................................................... 360

         Visa PIN Debit Gateway Service Requirements - U.S. Region............................................... 360

      Plus Program............................................................................................................................... 360

         Plus Program Requirements.................................................................................................... 360

      Visa Global ATM Network........................................................................................................... 361

         Visa Global ATM Network Requirements................................................................................ 361

         ATM Operators......................................................................................................................... 363

         ATM Balance Inquiry Service.................................................................................................. 366



xiv                                                            VISA PUBLIC                                                     18 October 2011
© 2011 Visa. All Rights Reserved.
Case: 4:13-cv-02226-JAR                      Doc. #: 85-5 Filed: 02/12/15                                Page: 16 of 1319 PageID
                                                        #: 3209
                                        Visa International Operating Regulations



        ATM Fees................................................................................................................................ 367

        Global ATM Network PIN Requirements................................................................................. 373

        ATM Issuer Requirements - U.S. Region................................................................................ 374

        ATM Access Fee Fines........................................................................................................... 374

     Preauthorized Payment Cancellation Service............................................................................. 375

        Preauthorized Payment Cancellation Service Requirements.................................................. 375

     Visa Account Updater Service..................................................................................................... 378

        Visa Account Updater Service Requirements......................................................................... 378

        Visa Account Updater Service Requirements – Canada Region ............................................379

        Visa Account Updater Service Requirements - U.S. Region................................................... 381

     Health Care Eligibility Service - U.S. Region.............................................................................. 382

        Health Care Eligibility Service Requirements - U.S. Region................................................... 382

     Visa Risk Products and Services................................................................................................ 383

        Visa Advanced Authorization................................................................................................... 383

        Verified by Visa / 3-D Secure / Visa Secure Electronic Commerce......................................... 384

        Visa Risk Manager................................................................................................................... 396

        Visa Advanced ID Solutions - U.S. Region............................................................................. 396

        BankruptcyPredict Service - U.S. Region................................................................................ 397

        MoneyChoices - U.S. Region.................................................................................................. 400

        Address Verification Service (AVS)......................................................................................... 400

        Card Recovery Bulletin (CRB)................................................................................................. 401

        Exception File.......................................................................................................................... 404

        National Card Recovery File - U.S. Region............................................................................ 405

        Account Number Verification Service...................................................................................... 405



   18 October 2011                                           VISA PUBLIC                                                                          xv
   © 2011 Visa. All Rights Reserved.
Case: 4:13-cv-02226-JAR                             Doc. #: 85-5 Filed: 02/12/15                               Page: 17 of 1319 PageID
                                                               #: 3210
                                         Visa International Operating Regulations



      VisaVue Online............................................................................................................................ 408

         VisaVue Online Requirements................................................................................................. 408

      Client Portfolio Management Self-Service Tools......................................................................... 410

         Client Portfolio Management Self-Service Tools Requirements.............................................. 410

      VisaNet Gateway Services - AP Region..................................................................................... 412

         VisaNet Gateway Services Requirements - AP Region.......................................................... 412

      Visa Transaction Alerts Service.................................................................................................. 413

         Visa Transaction Alerts Service Requirements....................................................................... 413

Chapter 6: Payment Acceptance................................................................................................. 415

      Core Principle 6.1........................................................................................................................ 415

         Display of Marks...................................................................................................................... 415

      Core Principle 6.2........................................................................................................................ 415

         Honor All Cards Properly Presented....................................................................................... 415

      Core Principle 6.3........................................................................................................................ 416

         No Surcharging Unless Required by Law............................................................................... 416

      Core Principle 6.4........................................................................................................................ 416

         Merchant Qualification Standards............................................................................................ 416

      Merchant Agreement................................................................................................................... 416

         General Merchant Requirements............................................................................................. 416

         Required Merchant Information............................................................................................... 423

         Acquirer's Jurisdiction.............................................................................................................. 426

         Payment Service Providers and Sponsored Merchants.......................................................... 428

         International Airline Program................................................................................................... 431

         Acquirer Due Diligence............................................................................................................ 432



xvi                                                           VISA PUBLIC                                                     18 October 2011
© 2011 Visa. All Rights Reserved.
Case: 4:13-cv-02226-JAR                      Doc. #: 85-5 Filed: 02/12/15                               Page: 18 of 1319 PageID
                                                        #: 3211
                                        Visa International Operating Regulations



        Electronic Commerce Acquirer Agreement............................................................................. 433

     Point-of-Transaction - Display of Marks...................................................................................... 433

        Display of Marks at the Point of Sale...................................................................................... 433

        Display of Marks at an ATM.................................................................................................... 437

        Display of Marks Online.......................................................................................................... 437

        Manual Cash Disbursement.................................................................................................... 438

     Point-of-Transaction Terminals.................................................................................................... 439

        Point-of-Transaction Terminal General Requirements............................................................ 439

        Magnetic-Stripe Terminals....................................................................................................... 441

        Chip-Reading Terminals.......................................................................................................... 442

        Proximity/Contactless Payment Terminals.............................................................................. 452

        Cardholder-Activated Terminals - Self-Service Terminals, Automated Dispensing Machines,
        Limited Amount Terminals - U.S. Region................................................................................ 458

        Automated Fuel Dispensers.................................................................................................... 461

        Unattended Acceptance Terminals.......................................................................................... 464

        Electronic Signature Capture Terminals.................................................................................. 469

        Terminals without a Printer...................................................................................................... 470

        Account Number-Verifying Terminals...................................................................................... 470

     Honoring Cards............................................................................................................................ 471

        General Acceptance Requirements......................................................................................... 471

        Uniform Services...................................................................................................................... 473

        Discount at the Point of Sale.................................................................................................. 474

        Cardholder Choice................................................................................................................... 476

        Limited Acceptance.................................................................................................................. 477

        Card Acceptance Canada Region........................................................................................... 478


   18 October 2011                                           VISA PUBLIC                                                                        xvii
   © 2011 Visa. All Rights Reserved.
Case: 4:13-cv-02226-JAR                            Doc. #: 85-5 Filed: 02/12/15                                 Page: 19 of 1319 PageID
                                                              #: 3212
                                         Visa International Operating Regulations



    Card Acceptance Prohibitions..................................................................................................... 479

        General Prohibitions................................................................................................................. 479

        Other Prohibitions.................................................................................................................... 483

    Authorization Requirements......................................................................................................... 485

        General Authorization Requirements....................................................................................... 485

        ATM Declines........................................................................................................................... 489

        T&E Authorizations.................................................................................................................. 490

        Floor Limits.............................................................................................................................. 493

        Partial Authorization................................................................................................................. 495

        Authorization Reversals........................................................................................................... 496

    Card and Cardholder Verification................................................................................................ 497

        Validation and Verification Requirements................................................................................ 497

        Address Verification Service.................................................................................................... 504

        PIN Verification........................................................................................................................ 504

    Transaction Receipts................................................................................................................... 505

        Transaction Receipt General Requirements............................................................................ 505

        Transaction Receipt Data Requirements................................................................................. 508

        Electronic and Manual Transaction Receipts.......................................................................... 510

        Transaction Receipt Delivery to Cardholder............................................................................ 521

    Transaction Deposits................................................................................................................... 523

        General Transaction Deposit Requirements............................................................................ 523

        Transaction Deposit Time Limits............................................................................................. 524

        Transaction Deposit Restrictions............................................................................................. 526

    Credits and Refunds.................................................................................................................... 527



xviii                                                         VISA PUBLIC                                                       18 October 2011
© 2011 Visa. All Rights Reserved.
Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                               Page: 20 of 1319 PageID
                                                       #: 3213
                                        Visa International Operating Regulations



        General Credit and Refund Requirements.............................................................................. 527

        Proper Disclosure of Refund Policy......................................................................................... 528

        Transaction Reversals............................................................................................................. 531

     Convenience Fees....................................................................................................................... 531

        Convenience Fee General Requirements............................................................................... 531

     Chip Card Acceptance................................................................................................................. 535

        Chip Card Acceptance General Requirements....................................................................... 535

        Chip Authorization.................................................................................................................... 539

        EMV Liability Shift and Fallback.............................................................................................. 540

     Small Ticket Transactions............................................................................................................ 543

        Small Ticket Transaction - General Requirements.................................................................. 543

        Small Ticket Transactions - U.S. Region................................................................................ 550

        No Signature Required Transactions (NSR)........................................................................... 552

     Card-Not-Present Transactions................................................................................................... 554

        Mail/Phone Order and Electronic Commerce General Requirements..................................... 554

        Mail/Phone Order and Electronic Commerce Authorization Requirements............................. 560

        Mail/Phone Order and Electronic Commerce Merchant Outlet Requirements........................ 562

        Electronic Commerce Financial Responsibility........................................................................ 563

     Payment Service Providers......................................................................................................... 564

        Payment Service Providers (PSP) General Requirements..................................................... 564

        Payment Service Providers (PSP) Acquirer Requirements..................................................... 568

        High-Risk Internet Payment Service Providers....................................................................... 573

     Up-Selling and Negative Option Transactions............................................................................ 576

        Up-Selling and Negative Option General Requirements......................................................... 576



   18 October 2011                                           VISA PUBLIC                                                                       xix
   © 2011 Visa. All Rights Reserved.
Case: 4:13-cv-02226-JAR                           Doc. #: 85-5 Filed: 02/12/15                              Page: 21 of 1319 PageID
                                                             #: 3214
                                        Visa International Operating Regulations



     Recurring Transactions................................................................................................................ 578

        Recurring Transaction General Requirements........................................................................ 578

     Installment Transactions.............................................................................................................. 581

        Installment Transaction General Requirements...................................................................... 581

     Delayed Delivery Transactions.................................................................................................... 582

        Delayed Delivery Transaction General Requirements............................................................. 582

        Delayed Delivery Transaction Receipt Requirements............................................................. 583

     Advance Payment Transactions - U.S. Region........................................................................... 583

        Advance Payment General Requirements.............................................................................. 583

     Dynamic Currency Conversion.................................................................................................... 586

        Dynamic Currency Conversion - General Requirements........................................................ 586

        Dynamic Currency Conversion - Merchant Requirements...................................................... 590

        Dynamic Currency Conversion - Acquirer Requirements........................................................ 596

     Manual Cash Disbursements....................................................................................................... 598

        Manual Cash Disbursements Requirements........................................................................... 598

        Minimum and Maximum Cash Disbursement Amounts........................................................... 602

        Manual Cash Disbursement Restrictions................................................................................. 603

     Cash-Back Services..................................................................................................................... 603

        Cash-Back Services General Requirements........................................................................... 603

        Cash-Back Transaction Requirements.................................................................................... 607

     ATM Transactions........................................................................................................................ 608

        ATM Transaction General Requirements................................................................................ 608

        ATM Transaction Receipts...................................................................................................... 612

        ATM Misdispense..................................................................................................................... 613



xx                                                           VISA PUBLIC                                                    18 October 2011
© 2011 Visa. All Rights Reserved.
Case: 4:13-cv-02226-JAR                        Doc. #: 85-5 Filed: 02/12/15                                  Page: 22 of 1319 PageID
                                                          #: 3215
                                          Visa International Operating Regulations



        ATM Transaction Restrictions.................................................................................................. 614

     Quasi-Cash Transactions............................................................................................................ 614

        Quasi-Cash Transaction General Requirements..................................................................... 614

        Wire Transfer Money Orders (WTMO).................................................................................... 616

        Scrip......................................................................................................................................... 619

        Sale of Travelers Cheques and Foreign Currency.................................................................. 619

     Original Credit Transactions........................................................................................................ 620

        Original Credit Transaction Processing Requirements............................................................ 620

     Money Transfer Original Credit Transactions.............................................................................. 622

        Money Transfer Original Credit Transaction Processing Requirements.................................. 622

     Mobile Commerce Transactions - AP Region............................................................................. 625

        Mobile Commerce Transactions in India - AP Region............................................................ 625

     Account Funding Transactions.................................................................................................... 625

        Account Funding Transaction Processing Requirements........................................................ 625

     Aggregated Transactions............................................................................................................. 626

        Aggregated Transaction Requirements................................................................................... 626

     Deferred Payments - U.S. Region............................................................................................... 629

        Deferred Payment Transactions.............................................................................................. 629

     Acquirer Performance Standards - U.S. Region......................................................................... 630

        Retrieval Performance Rates - U.S. Region........................................................................... 630

        Chargeback Performance Rates - U.S. Region...................................................................... 631

     In-Transit...................................................................................................................................... 631

        In-Transit Service - General Requirements............................................................................. 631

        In-Transit Service - Authorization Requirements..................................................................... 634



   18 October 2011                                              VISA PUBLIC                                                                            xxi
   © 2011 Visa. All Rights Reserved.
Case: 4:13-cv-02226-JAR                           Doc. #: 85-5 Filed: 02/12/15                                 Page: 23 of 1319 PageID
                                                             #: 3216
                                       Visa International Operating Regulations



       In-Transit Service - Processing Requirements........................................................................ 635

   General T&E................................................................................................................................ 635

       General T&E Requirements..................................................................................................... 635

       T&E Delayed or Amended Charges........................................................................................ 636

   Airline Merchants......................................................................................................................... 637

       International Airline Merchant Requirements........................................................................... 637

   Car Rental Merchants.................................................................................................................. 638

       Delayed or Amended Charges................................................................................................ 638

       Car Rental Advance Deposit................................................................................................... 641

       Visa Reservation Service for Car Rentals - U.S. Region........................................................ 644

   Hotels and Cruise Lines.............................................................................................................. 648

       Hotel and Cruise Line General Requirements......................................................................... 648

       Hotel Guaranteed Reservations.............................................................................................. 649

       Advance Deposit Service......................................................................................................... 652

       Priority Check-Out Service...................................................................................................... 656

       Central Reservation Service.................................................................................................... 658

   Timeshare Merchants.................................................................................................................. 659

       General Timeshare Merchant Requirements........................................................................... 659

   Real-Time Clearing - U.S. Region............................................................................................... 660

       Automated Fuel Dispensers Real-Time Clearing - U.S. Region.............................................. 660

   Gambling...................................................................................................................................... 660

       Online Gambling...................................................................................................................... 660

       Gambling Credits..................................................................................................................... 663

       In-Transit Gambling.................................................................................................................. 663



xxii                                                         VISA PUBLIC                                                       18 October 2011
© 2011 Visa. All Rights Reserved.
Case: 4:13-cv-02226-JAR                       Doc. #: 85-5 Filed: 02/12/15                               Page: 24 of 1319 PageID
                                                         #: 3217
                                         Visa International Operating Regulations



      Debt Repayment Program - U.S. Region.................................................................................... 666

         Debt Repayment Program....................................................................................................... 666

      Tax and Other Government Payments....................................................................................... 667

         Tax and Other Government Payments - AP Region............................................................... 667

         Tax Payment Program Requirements - U.S. Region.............................................................. 668

         Tax Payment Program Fee Requirements - U.S. Region....................................................... 669

      Travelers Cheques....................................................................................................................... 671

         Travelers Cheque Acceptance and Encashment.................................................................... 671

      Health Care Transactions............................................................................................................ 672

         Preauthorized Health Care Program Requirements - U.S. Region......................................... 672

         Healthcare Auto-Substantiation - U.S. Region........................................................................ 673

         Easy Pay Transaction - General Requirements - LAC Region............................................... 674

         Easy Pay - Authorization - LAC Region.................................................................................. 675

   Chapter 7: Transaction Processing............................................................................................. 677

      Core Principle 7.1........................................................................................................................ 677

         Provide Authorization and Settlement Service........................................................................ 677

      Core Principle 7.2........................................................................................................................ 677

         Rules Differ by Acceptance Environments.............................................................................. 677

      Core Principle 7.3........................................................................................................................ 677

         Financial Responsibility for Processed Transactions.............................................................. 677

      Core Principle 7.4........................................................................................................................ 678

         Authorize, Clear, and Settle International Transactions.......................................................... 678

      Access to Visa Systems.............................................................................................................. 678

         VisaNet Access........................................................................................................................ 678



   18 October 2011                                            VISA PUBLIC                                                                       xxiii
   © 2011 Visa. All Rights Reserved.
Case: 4:13-cv-02226-JAR                           Doc. #: 85-5 Filed: 02/12/15                                Page: 25 of 1319 PageID
                                                             #: 3218
                                       Visa International Operating Regulations



   Data Quality................................................................................................................................. 680

       Authorization and Clearing Data Requirements...................................................................... 680

   Account BIN Range..................................................................................................................... 684

       Account Range Table.............................................................................................................. 684

   General Authorization Requirements........................................................................................... 685

       Authorization Services............................................................................................................. 685

       Authorization Computer Interface Requirements..................................................................... 686

       Authorization Processing......................................................................................................... 688

       Issuer Authorization Requirements.......................................................................................... 690

       Member Authorization Services............................................................................................... 691

       Code 10 Authorizations - U.S. Region.................................................................................... 692

       Authorization Amount............................................................................................................... 693

   Manual Authorizations................................................................................................................. 695

       Manual Authorization Procedures............................................................................................ 695

   Emergency Authorizations........................................................................................................... 696

       Emergency Authorization Procedures..................................................................................... 696

   Partial Authorizations................................................................................................................... 698

       Partial Authorization Service Requirements............................................................................ 698

   Non-Visa Transaction Authorizations.......................................................................................... 699

       Processing Requirements........................................................................................................ 699

   Stand-In Processing (STIP)......................................................................................................... 699

       Stand-In Processing Requirements......................................................................................... 699

   Authorization Request Monitoring................................................................................................ 702

       Authorization Request Monitoring Requirements.................................................................... 702



xxiv                                                         VISA PUBLIC                                                      18 October 2011
© 2011 Visa. All Rights Reserved.
Case: 4:13-cv-02226-JAR                      Doc. #: 85-5 Filed: 02/12/15                               Page: 26 of 1319 PageID
                                                        #: 3219
                                        Visa International Operating Regulations



     Authorization Response Standards............................................................................................. 703

        Approval, Referral, and Decline Rate Standards.................................................................... 703

     3-D Secure Authentication........................................................................................................... 705

        Authentication Request Requirements.................................................................................... 705

     Automated Referral Service......................................................................................................... 706

        Automated Referral Service (ARS) - U.S. Region................................................................... 706

     Referral Responses..................................................................................................................... 708

        Referral Response Requirements............................................................................................ 708

     Authorization Reversals, Rejections, and Declines..................................................................... 712

        Authorization Reversals and Rejections.................................................................................. 712

     Declined Authorizations............................................................................................................... 714

        Decline Response Requirements............................................................................................ 714

        Allowable Decline and Referral Reasons by Product.............................................................. 715

     VisaNet Clearing.......................................................................................................................... 716

        VisaNet Clearing - General Requirements.............................................................................. 716

        Domestic Interchange.............................................................................................................. 721

        Interchange Files and Tapes................................................................................................... 722

        Currency Requirements........................................................................................................... 722

        ATM Clearing........................................................................................................................... 723

        Non-Visa Transaction Processing - U.S. Region.................................................................... 724

     Single Message System (SMS)................................................................................................... 724

        General Requirements............................................................................................................. 724

     Online Financial and Deferred Clearing...................................................................................... 725

        Online Financial and Deferred Clearing General Requirements - U.S. Region....................... 725



   18 October 2011                                           VISA PUBLIC                                                                        xxv
   © 2011 Visa. All Rights Reserved.
Case: 4:13-cv-02226-JAR                           Doc. #: 85-5 Filed: 02/12/15                                 Page: 27 of 1319 PageID
                                                             #: 3220
                                       Visa International Operating Regulations



       Online Financial Transactions................................................................................................. 726

   Clearing Reversals and Adjustments.......................................................................................... 727

       Clearing Reversals................................................................................................................... 727

       Adjustments.............................................................................................................................. 729

   Duplicate or Erroneous Data....................................................................................................... 730

       Duplicate or Erroneous Data Processing Requirements......................................................... 730

   Settlement.................................................................................................................................... 733

       General Settlement Requirements........................................................................................... 733

       Billing and Settlement Currencies........................................................................................... 733

       Settlement Account Requirements.......................................................................................... 734

       Late Settlement Fee................................................................................................................ 734

       Settlement Financial Obligations............................................................................................. 734

       National Net Settlement........................................................................................................... 735

       Payment to Merchants............................................................................................................. 736

   Transaction Receipt Processing.................................................................................................. 737

       Transaction Receipt Processing Time Limits.......................................................................... 737

       Transaction Receipt Processing - Invalid or Illegible Account Number................................... 741

   Original Credit.............................................................................................................................. 742

       Original Credit - General......................................................................................................... 742

   Money Transfer Original Credit Transactions.............................................................................. 743

       Money Transfer Original Credit - General............................................................................... 743

   Bill Payment - AP Region............................................................................................................ 746

       Bill Payment Requirements..................................................................................................... 746

   Bill Payment - U.S. Region......................................................................................................... 747



xxvi                                                         VISA PUBLIC                                                       18 October 2011
© 2011 Visa. All Rights Reserved.
Case: 4:13-cv-02226-JAR                       Doc. #: 85-5 Filed: 02/12/15                                Page: 28 of 1319 PageID
                                                         #: 3221
                                         Visa International Operating Regulations



         Bill Payment - U.S. Region...................................................................................................... 747

      File Correction Service................................................................................................................ 747

         File Correction Service - Reversals......................................................................................... 747

   Chapter 8: Risk Management....................................................................................................... 749

      Core Principle 8.1........................................................................................................................ 749

         Adherence to Risk and Fraud Controls................................................................................... 749

      Core Principle 8.2........................................................................................................................ 749

         Report All Fraud Activity to Visa............................................................................................. 749

      Core Principle 8.3........................................................................................................................ 749

         Protect Visa Account and Transaction Data........................................................................... 749

      Core Principle 8.4........................................................................................................................ 750

         Protect Against Illegal Activities............................................................................................... 750

      Security and Fraud Control Requirements.................................................................................. 750

         General Security and Fraud Control Requirements................................................................ 750

      Account and Transaction Information Security............................................................................ 752

         Data Security........................................................................................................................... 752

         Confidential Consumer Cardholder Information...................................................................... 757

         Information Security Programs................................................................................................ 758

         Fines and Penalties................................................................................................................. 761

      Corporate Risk Reduction........................................................................................................... 763

         Corporate Risk Reduction - General....................................................................................... 763

         Corporate Risk Reduction - Acquirer Requirements............................................................... 765

         Anti-Money Laundering............................................................................................................ 768

         Anti-Money Laundering Compliance........................................................................................ 769



   18 October 2011                                            VISA PUBLIC                                                                       xxvii
   © 2011 Visa. All Rights Reserved.
Case: 4:13-cv-02226-JAR                            Doc. #: 85-5 Filed: 02/12/15                               Page: 29 of 1319 PageID
                                                              #: 3222
                                         Visa International Operating Regulations



         Acquirer Risk Program - U.S. Region..................................................................................... 770

   Compliance Monitoring................................................................................................................ 771

         Member Activity Monitoring Requirements.............................................................................. 771

         Chargeback Monitoring............................................................................................................ 776

         Fraud Monitoring...................................................................................................................... 784

         High-Brand Risk Merchant Monitoring..................................................................................... 792

         Electronic Commerce Monitoring............................................................................................. 806

   Brand Protection.......................................................................................................................... 808

         Global Brand Protection Program............................................................................................ 808

   Fraud Reporting........................................................................................................................... 812

         Fraud Reporting Requirements............................................................................................... 812

         Fraud Reporting Compliance................................................................................................... 815

         Fraud Reporting Fines and Penalties...................................................................................... 817

         Fraud Losses and Investigation............................................................................................... 818

   Card Recovery............................................................................................................................. 819

         Return of Recovered Cards..................................................................................................... 819

         Recovered Counterfeit Cards.................................................................................................. 822

         Card Recovery at the Point of Sale........................................................................................ 823

         Card Recovery at an ATM....................................................................................................... 824

         Recovered Card Handling Fees.............................................................................................. 825

         Recovered Card Rewards....................................................................................................... 826

   Counterfeit Losses....................................................................................................................... 830

         Counterfeit Transaction Liability.............................................................................................. 830

         Account Data Compromise Recovery (ADCR)........................................................................ 831



xxviii                                                        VISA PUBLIC                                                    18 October 2011
© 2011 Visa. All Rights Reserved.
Case: 4:13-cv-02226-JAR                       Doc. #: 85-5 Filed: 02/12/15                                 Page: 30 of 1319 PageID
                                                         #: 3223
                                          Visa International Operating Regulations



         Data Compromise Recovery Solution (DCRS)........................................................................ 837

         POS Entry Mode Compliance Liability - AP Region................................................................ 841

      Authentication Requirements....................................................................................................... 841

         PIN Requirements.................................................................................................................... 841

         Triple DES................................................................................................................................ 844

         Card Verification Value (CVV)................................................................................................. 845

         Card Verification Value 2 (CVV2)............................................................................................ 846

         Authentication Fines and Penalties......................................................................................... 850

      Terminated Merchant File............................................................................................................ 852

         Terminated Merchants............................................................................................................. 852

   Chapter 9: Dispute Resolution..................................................................................................... 855

      Core Principle 9.1........................................................................................................................ 855

         Attempt to Honor/Post all Transactions................................................................................... 855

      Core Principle 9.2........................................................................................................................ 855

         Offer Mutual Assistance to Other Participants........................................................................ 855

      Core Principle 9.3........................................................................................................................ 855

         Prevent Unjust Enrichment...................................................................................................... 855

      Core Principle 9.4........................................................................................................................ 856

         Visa Acts as Arbitrator............................................................................................................. 856

      Dispute Resolution Process......................................................................................................... 856

         Cardholder Disputes................................................................................................................ 856

         Mutual Assistance.................................................................................................................... 857

      Transaction Receipt..................................................................................................................... 857

         Request for Transaction Receipt Copy................................................................................... 857



   18 October 2011                                             VISA PUBLIC                                                                         xxix
   © 2011 Visa. All Rights Reserved.
Case: 4:13-cv-02226-JAR                           Doc. #: 85-5 Filed: 02/12/15                                 Page: 31 of 1319 PageID
                                                             #: 3224
                                       Visa International Operating Regulations



      Retention.................................................................................................................................. 859

      Request and Fulfillment........................................................................................................... 860

      VisaNet Copy Request and Fulfillment Service....................................................................... 873

      Retrieval Fees.......................................................................................................................... 876

   Chargebacks and Representments............................................................................................. 877

      Chargeback and Representment Process............................................................................... 877

   Reason Codes............................................................................................................................. 884

      Reason Code 30 Services Not Provided or Merchandise Not Received................................. 884

      Reason Code 41 Cancelled Recurring Transaction................................................................ 888

      Reason Code 53 Not as Described or Defective Merchandise............................................... 891

      Reason Code 57 Fraudulent Multiple Transactions................................................................ 896

      Reason Code 60 Illegible Fulfillment....................................................................................... 900

      Reason Code 62 Counterfeit Transaction............................................................................... 902

      Reason Code 70 Card Recovery Bulletin or Exception File.................................................... 909

      Reason Code 71 Declined Authorization................................................................................ 912

      Reason Code 72 No Authorization.......................................................................................... 917

      Reason Code 73 Expired Card............................................................................................... 925

      Reason Code 74 Late Presentment........................................................................................ 928

      Reason Code 75 Transaction Not Recognized....................................................................... 932

      Reason Code 76 Incorrect Currency or Transaction Code or Domestic Transaction
      Processing Violation................................................................................................................. 939

      Reason Code 77 Non-Matching Account Number.................................................................. 944

      Reason Code 78 Service Code Violation................................................................................ 947

      Reason Code 80 Incorrect Transaction Amount or Account Number..................................... 949

      Reason Code 81 Fraud – Card-Present Environment ............................................................954


xxx                                                          VISA PUBLIC                                                       18 October 2011
© 2011 Visa. All Rights Reserved.
Case: 4:13-cv-02226-JAR                        Doc. #: 85-5 Filed: 02/12/15                                 Page: 32 of 1319 PageID
                                                          #: 3225
                                          Visa International Operating Regulations



         Reason Code 82 Duplicate Processing................................................................................... 964

         Reason Code 83 Fraud—Card-Absent Environment                                     ..............................................................967

         Reason Code 85 Credit Not Processed.................................................................................. 977

         Reason Code 86 Paid by Other Means.................................................................................. 985

         Reason Code 90 Non-Receipt of Cash or Load Transaction Value at ATM or Load Device... 987

         Reason Code 93 Merchant Fraud Performance Program....................................................... 989

         Reason Code 96 Transaction Exceeds Limited Amount......................................................... 992

     Arbitration..................................................................................................................................... 995

         Arbitration Process................................................................................................................... 995

         Filing for Arbitration.................................................................................................................. 998

         Arbitration Appeal.....................................................................................................................1002

     Compliance.................................................................................................................................. 1003

         Compliance Process................................................................................................................ 1003

         Compliance Filing Conditions.................................................................................................. 1003

         Pre-Compliance for Violations................................................................................................. 1004

         Compliance for Violations........................................................................................................ 1005

         Filing for Compliance............................................................................................................... 1010

         Compliance Appeal Rights...................................................................................................... 1014

     Interchange Reimbursement Fee Compliance............................................................................ 1015

         IRF Compliance Process Introduction..................................................................................... 1015

         Filing Conditions.......................................................................................................................1016

         Interchange Reimbursement Fee Compliance Screening and Filing...................................... 1017

         IRF Pre-Compliance.................................................................................................................1022

         IRF Compliance Process......................................................................................................... 1022



   18 October 2011                                              VISA PUBLIC                                                                            xxxi
   © 2011 Visa. All Rights Reserved.
Case: 4:13-cv-02226-JAR                          Doc. #: 85-5 Filed: 02/12/15                              Page: 33 of 1319 PageID
                                                            #: 3226
                                       Visa International Operating Regulations



        IRF Compliance Decision........................................................................................................ 1028

        IRF Compliance Appeal...........................................................................................................1029

   Intercompany Interchange Reimbursement Fee Compliance .................................................... 1030

        Intercompany Interchange Reimbursement Fee Compliance Process....................................1030

Chapter 10: Pricing, Fees and Interchange................................................................................ 1033

   Core Principle 10.1...................................................................................................................... 1033

        Fees for Access and Use of Visa Products and Services.......................................................1033

   Core Principle 10.2...................................................................................................................... 1033

        Participants Pay or Receive Interchange for Transactions..................................................... 1033

   Core Principle 10.3...................................................................................................................... 1034

        Visa Determines Interchange Reimbursement Fees............................................................... 1034

   Global Interchange.......................................................................................................................1034

        Interchange Overview.............................................................................................................. 1034

        General Interchange Requirements.........................................................................................1035

   Interchange Reimbursement Fees - U.S. Region....................................................................... 1035

        General Interchange Reimbursement Fee Requirements - U.S. Region................................ 1035

        Standard and Electronic Interchange Reimbursement Fees - U.S. Region............................ 1037

   Custom Payment Services (CPS) - U.S. Region........................................................................ 1039

        Custom Payment Services General - U.S. Region................................................................. 1039

        CPS/Automated Fuel Dispenser - U.S. Region.......................................................................1048

        CPS/Hotel and Car Rental - Card Not Present and Card Present - U.S. Region.................... 1049

        CPS/Supermarket - U.S. Region............................................................................................. 1050

        CPS/Rewards - U.S. Region................................................................................................... 1051

        CPS/Small Ticket - U.S. Region..............................................................................................1053



xxxii                                                      VISA PUBLIC                                                     18 October 2011
© 2011 Visa. All Rights Reserved.
Case: 4:13-cv-02226-JAR                         Doc. #: 85-5 Filed: 02/12/15                                 Page: 34 of 1319 PageID
                                                           #: 3227
                                           Visa International Operating Regulations



      Industry-Specific Merchant Programs - U.S. Region...................................................................1053

          Industry-Specific Merchant Program Requirements - U.S. Region......................................... 1053

      Interchange Reimbursement Fee Programs - U.S. Region.........................................................1057

          Credit Voucher Program - U.S. Region...................................................................................1057

          ATM Tiered Interchange Reimbursement Fee - U.S. Region................................................. 1059

      Performance Threshold Interchange Reimbursement Fees - U.S. Region................................. 1060

          Performance Threshold Interchange Reimbursement Fee Consumer Credit and Consumer
          Debit - U.S. Region................................................................................................................. 1060

      Visa Signature Preferred Interchange Reimbursement Fees - U.S. Region............................... 1061

          Visa Signature Preferred Interchange Reimbursement Fee Requirements - U.S. Region...... 1061

      Commercial Interchange Reimbursement Fees - U.S. Region................................................... 1064

          Commercial Interchange Reimbursement Fees and Programs - U.S. Region........................ 1064

      Visa Purchasing Large Ticket Interchange Reimbursement Fee - U.S. Region..........................1066

          Visa Purchasing Large Ticket Interchange Reimbursement Fee - General - U.S. Region...... 1066

      Visa Fees - General.................................................................................................................... 1067

          Fee Assessment and Responsibility........................................................................................1067

      Fee Collection.............................................................................................................................. 1068

          Visa Fee Collection and Funds Disbursement........................................................................ 1068

          Member Fee Collection and Funds Disbursement.................................................................. 1070

          Automated Clearing House Service Fee Collection and Funds Disbursement - U.S. Region.. 1075

      Visa Interchange Reimbursement Fee Adjustments................................................................... 1077

          Interchange Reimbursement Fee Adjustments....................................................................... 1077

      Interchange Reimbursement Fee-Related Fines.........................................................................1078

          Interchange Reimbursement Fee Fines.................................................................................. 1078

   Glossary.......................................................................................................................................... 1081


   18 October 2011                                               VISA PUBLIC                                                                        xxxiii
   © 2011 Visa. All Rights Reserved.
Case: 4:13-cv-02226-JAR                               Doc. #: 85-5 Filed: 02/12/15                                   Page: 35 of 1319 PageID
                                                                 #: 3228
                                          Visa International Operating Regulations



   Terms and Definitions..................................................................................................................1081

        0-9............................................................................................................................................ 1081

        A............................................................................................................................................... 1082

        B............................................................................................................................................... 1101

        C............................................................................................................................................... 1105

        D............................................................................................................................................... 1133

        E............................................................................................................................................... 1138

        F............................................................................................................................................... 1147

        G...............................................................................................................................................1151

        H............................................................................................................................................... 1155

        I.................................................................................................................................................1158

        J................................................................................................................................................1168

        K............................................................................................................................................... 1168

        L................................................................................................................................................1168

        M...............................................................................................................................................1173

        N............................................................................................................................................... 1182

        O...............................................................................................................................................1188

        P............................................................................................................................................... 1192

        Q...............................................................................................................................................1212

        R............................................................................................................................................... 1214

        S............................................................................................................................................... 1220

        T............................................................................................................................................... 1230

        U............................................................................................................................................... 1237

        V............................................................................................................................................... 1240



xxxiv                                                            VISA PUBLIC                                                          18 October 2011
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Case: 4:13-cv-02226-JAR                         Doc. #: 85-5 Filed: 02/12/15                                   Page: 36 of 1319 PageID
                                                           #: 3229
                                           Visa International Operating Regulations



         W.............................................................................................................................................. 1280

         X............................................................................................................................................... 1281

         Y............................................................................................................................................... 1281

         Z............................................................................................................................................... 1282




   18 October 2011                                                VISA PUBLIC                                                                           xxxv
   © 2011 Visa. All Rights Reserved.
Case: 4:13-cv-02226-JAR                  Doc. #: 85-5 Filed: 02/12/15     Page: 37 of 1319 PageID
                                                    #: 3230




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xxxvi                                         VISA PUBLIC                        18 October 2011
© 2011 Visa. All Rights Reserved.
Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15            Page: 38 of 1319 PageID
                                                     #: 3231
                                       Visa International Operating Regulations




   Summary of Changes

   Visa Operating Regulations Alignment Project

   Overview


   Background

   Visa continually works to gain operational efficiencies and provide greater value to its Members and
   other participants in the Visa payment system. The Visa Operating Regulations Alignment Project
   was initiated to update and improve access to the Visa International Operating Regulations and to
   create a consolidated, more uniform set of regulations for participating in the Visa payment system.

   The key objectives for this project were to:

   • Ensure that regulations are current and reflect today's payment environment
   • Simplify language and reduce the number of regulations
   • Align regulations across regions and geographies for greater consistency
   • Migrate to a fully integrated online publication hosting environment with enhanced and targeted
     search and custom publication capabilities
   • Provide better support for Member access to Visa International communications and publications,
     with enhanced online content and functionality over time

   The consolidated Operating Regulations offer a number of benefits to Visa Members including a
   more streamlined approach to viewing regulations specific to their part of the payments business.
   Redundant and obsolete regulations have been removed and the need to search multiple publications
   for complete information has been eliminated. Regional differences have been retained where
   necessary to address unique market conditions. Moving forward, efforts will continue to further align
   regional and international business rules where it is practical to do so.

   ID#: 010410-010410-0020020



   Content Restructure

   As part of Operating Regulations consolidation and migration to an online environment, Visa has
   restructured the Operating Regulations according to the "Visa International Operating Regulations
   - Core Principles" that describes the expectations and requirements for participating in the Visa
   system. These Core Principles are described at the beginning of each chapter and are intended to:

   • Serve as fundamental policy statements that describe the rules and processes designed to ensure
     the long-term value and reliability of the Visa products, system, and brand




   18 October 2011                                    VISA PUBLIC                                         1
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 39 of 1319 PageID
                                                       #: 3232
                                    Visa International Operating Regulations


• Be presented in general terms as broad guidelines or statements of intent to guide business
  discussions, dealings and decisions, absent a specific rule
• Provide global consistency for the integrity of the Visa brand and system

The new chapter structure of the Visa International Operating Regulations is as follows:

Core Principle 1: Visa Operating Regulations Governance - Outlines the scope and application of
the Visa International Operating Regulations, a Member's requirement to comply with the Operating
Regulations, and general fines for non-compliance.

Core Principle 2: Visa System Participation - Specifies minimum requirements for Members, Third
Parties, and VisaNet Processors, including liability and indemnification provisions.

Core Principle 3: The Visa License - Specifies various license, Copyright, and trademark
provisions.

Core Principle 4: The Visa Brand - Specifies Member requirements for reproduction of the Visa-
Owned Marks, including Card production, promotions, sponsorships, and responsibilities for non-Card
use of the Visa-Owned Marks.

Core Principle 5: Visa Products and Services - Specifies both Issuer requirements and product
information for participation in the Visa programs, and Acquirer requirements with respect to Acquirer-
Merchant contracts, terminal requirements, electronic commerce, and participation in the Visa Global
ATM Program.

Core Principle 6: Visa Payment Acceptance - Specifies requirements for Merchants, including
Transaction acceptance, special Merchant payment acceptance services and Transaction Receipt
completion and processing.

Core Principle 7: Transaction Processing - Specifies Member requirements for payment
processing, including Authorization, Clearing, and Settlement.

Core Principle 8: Risk Management - Specifies general security requirements, the rights and
responsibilities of Visa and Members related to risk management and security, counterfeit losses, and
the Visa risk management services.

Core Principle 9: Dispute Resolution - Governs the Transaction Receipt retrieval process, a
Member's attempts to resolve disputes, and the processes available to the Member if its resolution
efforts are unsuccessful. These processes include Chargebacks, Representments, Arbitration, and
Compliance.

Core Principle 10: Pricing, Fees and Interchange - Specifies international fee types applicable
to Members, Interchange Reimbursement Fee (IRF) categories, and procedures for collection,
disbursement, and problem resolution. Detailed fee amounts and IRF rates and been moved to
applicable pricing directories.

ID#: 010410-010410-0020021




2                                                  VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15            Page: 40 of 1319 PageID
                                                     #: 3233
                                       Visa International Operating Regulations




   Operating Regulation Content Changes

   All material changes to the Operating Regulations since the last formal publication in November
   2008 are described in the "Summary of Changes." However, in order to consolidate and align
   both International and Regional Operating Regulations, minor editorial changes have been made
   throughout the Operating Regulations for consistency and clarity of intent, including the elimination of
   duplicate or obsolete rules. Due to the comprehensive content restructure, change bars are not used
   to identify changes in this release.

   ID#: 111011-010410-0020022



   New Section Numbering Scheme

   As part of the migration to a fully integrated online publication environment, legacy section numbering
   designed for traditional book publishing has been replaced with a unique regulation Identification (ID)
   code.

   The new regulation ID format includes the date the regulation section was published, its effective
   date, and a unique 7-digit reference number. The format is as follows:

   (Publication date) DDMMYY - (Effective date) DDMMYY - (unique 7-digit reference #) 1234567

   Sample: ID# 090909-171009-0003557

   The ID remains with each regulation for as long as the regulation remains unchanged. If modified,
   the regulation ID is updated to reflect the date of change, but the unique 7-digit reference number is
   retained to allow users to easily track the lifecycle of any given regulation.

   ID#: 010410-010410-0020023



   Style Convention

   The newly consolidated Operating Regulations will be titled the Visa International Operating
   Regulations. Content unique to a specific region is indicated within titles, language, and system
   attributes. References to Regional Operating Regulations are made generic to indicate regional
   requirements rather than regional publications.

   Specific written style and format conventions used in the new consolidated online version of the Visa
   International Operating Regulations are explained in "About the Operating Regulations."

   Note: Visa Europe is not part of this Operating Regulations consolidation effort. As a separate
   company, Visa Europe independently manages the publication of the Visa Europe Operating
   Regulations. Common regulations that are necessary to ensure the continued interoperability and
   consistency of the Visa brand, global payment transactions and system interoperability are found in
   both the Visa International Operating Regulations and the Visa Europe Operating Regulations.

   ID#: 010410-010410-0020024




   18 October 2011                                    VISA PUBLIC                                           3
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 41 of 1319 PageID
                                                       #: 3234
                                    Visa International Operating Regulations




Quick Reference

Overview


Major Topics

Anti-Money Laundering/Anti-Terrorist Financing Revisions

Effective 10 March 2011, requires Members to complete and return the Anti-Money Laundering/Anti-
Terrorist Financing Compliance Questionnaire/Certification form and establishes penalties for failure
to return the form within specified timeframes.

Quarterly Service Fee Collection Process

Effective 1 October 2011, clarifies and streamlines rules related to collection of quarterly service
fees and U.S. Automated Clearing House requirements.

Visa Platinum Card Minimum Spending Limits

Effective 1 May 2011, introduces changes to the Visa Platinum Card Minimum Spending Limits for
the AP Region and the CEMEA Region.

Unattended Cardholder-Activated Transactions

Effective 15 October 2011, globalizes and streamlines regulations related to Unattended
Cardholder-Activated Terminals.

Global Brand Protection Program

Effective 1 June 2011 and 1 December 2011, the three brand protection programs operated by Visa
to address a variety of Transactions prohibited in some or all jurisdictions such as gambling and child
pornography are being consolidated into one, the Global Brand Protection Program.

Global Contactless Interoperability Strategy

Effective 1 January 2012, introduces revisions to the Contactless Payment Specification
requirements by allowing additional development time for both issuers and acquirers in certain
geographies.

Revisions to Comply with the U.S. 2010 Financial Reform Act

Effective 21 July 2010, complies with the minimum/maximum Transaction amount provisions of the
U.S. 2010 Financial Reform Act, and clarifies that minimum and maximum Transaction amounts are
otherwise prohibited.

Chip Card Acceptance and PIN as Cardholder Verification Method Amendment for Australia and New
Zealand


4                                                  VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15            Page: 42 of 1319 PageID
                                                     #: 3235
                                       Visa International Operating Regulations



   Effective 21 June 2011, introduces minor changes to the wording of the current Chip Card
   acceptance and PIN as Cardholder Verification Method (CVM) mandates for Issuers and Acquirers
   in Australia and New Zealand.

   Payment Service Provider Expansion

   Effective 17 June 2011 and 1 July 2011, implements a Payment Service Provider (PSP) model for
   all commerce types, including the Face-to-Face Environment.

   Required Merchant Information

   Effective 30 June 2011, optionally expands to other regions the existing U.S. Region and Canada
   Region mandate requiring Acquirers to collect and submit specific Merchant location data.

   Requirements for Original Credit Transactions processed as Fast Funds

   Effective 14 April 2012, requires Issuers in Philippines, and Armenia, Azerbaijan, Belarus, Georgia,
   Kazakhstan, Kyrgyzstan, Moldova, Tajikistan, Ukraine, Uzbekistan (“10 CIS Markets”) to support
   incoming Fast Funds Transactions.

   Visa Central Travel Account (VCTA)

   Effective 14 July 2011, formalizes Visa Central Travel Account (VCTA) as a global competitive and
   functional enhancement to purchasing and commercial account programs.

   Revisions to Support the DOJ Settlement

   Effective 20 July 2011, implements Card acceptance changes to support the Visa settlement with
   the U.S. Department of Justice and several state attorneys general.

   Visa ePay Sunset

   Effective upon publication and 31 October 2011, discontinues Visa ePay.

   Client Portfolio Management Self-Service Tools Globalization

   Effective 8 September 2011, globally aligns and updates Operating Regulations relevant to the
   Client Portfolio Management Self-Service Tools.

   VisaVue Online Globalization

   Effective 8 September 2011, expands the availability of VisaVue Online to Issuers, co-brand
   Merchants, and Acquirers in all Visa Inc. geographies.

   Expansion of the EMV Liability Shift to the U.S. Region

   Effective 1 October 2015, expands the EMV liability shift into the U.S. Region for specific fraudulent
   Transactions made with an EMV Chip Card at non-EMV Chip-enabled Merchants.

   Regulation II Modifications – Phase 1



   18 October 2011                                    VISA PUBLIC                                           5
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 43 of 1319 PageID
                                                       #: 3236
                                    Visa International Operating Regulations



Effective 1 October 2011, revises Visa International Operating Regulations and Regional Operating
Regulations to address the United States Federal Reserve Board Regulation II in the U.S. Region
and U.S. Territories.

Licensing and BIN Management Operating Regulations Enhancements

Effective 1 April 2012, refines existing rules and introduces new rules that clarify Member
responsibilities and liabilities for Visa BINs and non-Visa BINs installed in Visa's production
systems. Additionally, establishes new rules that outline Members' responsibilities for other numeric
identifiers assigned for the purpose of endpoint connectivity and transaction routing.

Quarterly Operating Certificate and Fee Collection Process Revisions

Effective 1 October 2011, establishes a global process for underpayment or overpayment of fees,
and streamlines and clarifies quarterly Operating Certificate rules.

ID#: 171011-010100-0026598



Variance Topics

Reloadable Prepaid Cards in the Transit Channel without Know-Your-Customer Procedures

Effective 14 April 2011, permits domestic-use-only transit co-branded general purpose Reloadable
Cards to be reloaded without obtaining Cardholder information and performing know-your-customer
procedures, subject to specific conditions and requirements.

Cardholder Name on Contactless Cards in Hong Kong

Effective 28 April 2011, grants a variance to Members in Hong Kong to the Visa International
Operating Regulations governing the personalization of the Cardholder name on a Chip.

ID#: 151011-010100-0026622



Miscellaneous Topics

Forensic Investigation Terminology Update

Effective 21 April 2011, replaces the terms Qualified Forensic Investigator and Qualified Incident
Response Assessor with the new industry standard term, PCI Forensic Investigator (PFI).

Visa Account Updater Service Expansion

Effective 15 October 2011 and 14 April 2012, implements the Visa Account Updater - Terms of Use
for Australia and New Zealand for participating Members in Australia and New Zealand.

New Visa Business Enhanced Credit Card, Changes to Visa Signature Business




6                                                  VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15            Page: 44 of 1319 PageID
                                                     #: 3237
                                       Visa International Operating Regulations



   Effective 15 October 2011, defines requirements for a new product, Visa Business Enhanced,
   modifies requirements for Visa Signature Business, and introduces a new extension, the Visa
   Business Credit Cards Product and Implementation Guide – U.S. Region.

   Support for Visa payWave Sticker Form Factor

   Effective 9 June 2011, reflects revised and additional rules to support Issuer deployment of Visa
   payWave stickers, the one-sided adhesive micro tag form factor that enables Proximity Payments.

   Enable Debit Products with Verified by Visa for eCommerce in Brazil

   Effective 1 June 2012, introduces new Operating Regulations to enable consumer debit products,
   including Visa Electron Cards, with Verified by Visa to complete domestic Electronic Commerce
   Transactions in Brazil.

   Visa Commercial Solutions Terms of Use

   Effective 11 April 2011, recognizes the new Visa Commercial Services Terms of Use document for
   Members accessing the Visa Commercial Services website located on Visa Online.

   CPS/Automated Fuel Dispenser Interchange Reimbursement Fee Transaction Amount Increase

   Effective 18 June 2011, raises the maximum Transaction amount for qualification for the U.S. CPS/
   Automated Fuel Dispenser Interchange Reimbursement Fee program to US $125.

   Visa Cash Program Rules Cleanup

   Effective 1 January 2014, reflects the sunsetting of the Visa Cash Program.

   Updates to the Extensions to the Visa International Operating Regulations

   Effective upon publication, updates the list of extensions and associated references in the Visa
   International Operating Regulations.

   Submission of Preauthorized Transaction Authorization Requests in the U.S. Region

   Effective upon publication, reinstates “Preauthorized Transaction Decline Response – U.S.
   Region.”

   Visa Payables Automation Globalization

   Effective 8 September 2011, globally expands the Visa Payables Automation Service (VPAS)..

   Use of Promotional Language on Prepaid Incentive Cards

   Effective 8 September 2011, allows Issuers in the U.S. and Canada Regions to place promotional
   language on the front of prepaid Visa Incentive Cards, with prior approval from Visa.

   ID#: 171011-010100-0026625




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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 45 of 1319 PageID
                                                       #: 3238
                                    Visa International Operating Regulations




AP Region Major Topics

Card Verification Value 2 Requirements in Australia

Effective 1 April 2012, revises the Card Verification Value 2 requirements in Australia.

Visa Signature Card Qualifying Criteria Core Services

Effective 1 May 2011, introduces Operating Regulation revisions relating to Visa Signature Card
issuance requirements in the AP Region.

Visa Platinum Debit Card Issuance Requirements in Australia

Effective 1 May 2011, establishes rules to regulate the issuance requirements for the Visa Platinum
debit product in Australia.

Visa Signature Card Qualifying Criteria Core Services – Technical Corrections

Effective 27 July 2011, introduces a technical correction to the country specific Visa Signature Card
Minimum Spending Limits in the AP Region, for Hong Kong and Malaysia.

Additional MCCs for Visa Easy Payment Service (VEPS) Transactions and Revised Date for Lifting
the MCC Restriction in Australia

Effective 5 August 2011, introduces revisions to the Visa Easy Payment Service (VEPS)
Transaction eligible Merchant Category Codes in Australia.

Clearing Timeframes for Domestic Visa Debit Transactions Conducted at Automated Fuel
Dispensers in Malaysia

Effective 15 October 2011, requires revisions to the Transaction Deposit Time Limits and
Transaction Receipt Processing Time Limits for Malaysia, in order to support the Malaysia central
bank's request.

Introduction of Visa Infinite Preferred Product Issuance Guidelines in Singapore

Effective 4 November 2011, establishes rules governing the Visa Infinite Preferred Product in
Singapore.

Verified by Visa Mandate for Domestic Electronic Commerce Transactions in India

Effective 31 December 2011, introduces a mandate for Issuers and Acquirers in India to
support Verified by Visa.

Card Verification Value 2 Requirements in Hong Kong

Effective 1 October 2011, introduces a Card Verification Value 2 mandate for domestic Electronic
Commerce Transactions conducted in Hong Kong.

ID#: 151011-010100-0026642



8                                                  VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15            Page: 46 of 1319 PageID
                                                     #: 3239
                                       Visa International Operating Regulations




   CEMEA Region Major Topics

   Electronic Commerce License Eligibility Criteria - CEMEA Region

   Effective 8 September 2011, revises the eligibility and application process that Acquirers of
   Electronic Commerce Transactions have to comply with to obtain an acquiring license within the
   CEMEA Region.

   ID#: 171011-010100-0026652



   LAC Region Major Topics

   Visa Agro

   Effective 8 September 2011, incorporates new Operating Regulations for a new commercial
   product, Visa Agro, for use in the LAC Region, for commercial purchases associated with the
   agribusiness sector.

   Effective 8 September 2011, permits Issuers in Brazil to combine Visa Card programs in a single
   BIN.

   ID#: 151011-010100-0026654



   U.S. Region Major Topics

   Visa SavingsEdge

   Effective 15 July 2011, formalizes Visa SavingsEdge (VSE),

   Separation of Convenience Fees for Government and Higher Education Segments

   Effective 10 March 2011, allows a third party payment provider to charge a Convenience Fee
   for government and higher education Merchant segments and allows these Transactions to be
   processed as separate and unique from the originating Transaction with the third party payment
   processor as the Merchant for the Convenience Fee.

   Card Acceptance Process Rationalization for Magnetic-Stripe Failures at the Point of Sale

   Effective 15 October 2011, in the U.S. Region, allows the use of the Card Verification Value 2 in a
   Face-to-Face Environment when an Electronic Imprint cannot be obtained.

   Visa Consumer Charge Card Product Definition

   Effective 24 February 2011, adds requirements governing the issuance in the U.S. Region of Visa
   Consumer Charge Cards as a subset of Visa Consumer Credit Card.

   Visa Debit with PIN Transactions




   18 October 2011                                    VISA PUBLIC                                        9
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 47 of 1319 PageID
                                                       #: 3240
                                    Visa International Operating Regulations



Effective 14 April 2012, aligns and clarifies the rules to improve Transaction processing performance
on PIN debit Transactions and, effective 1 July 2012, prohibits issuance or reissuance of Visa Check
Card II Cards. All Visa Check Card II Cards must expire by 1 July 2015.

ID#: 151011-010100-0026656




Summary of Changes

Major Topics


Anti-Money Laundering/Anti-Terrorist Financing Revisions

Background

A requirement for Members to complete and return the Anti-Money Laundering/Anti-Terrorist
Financing Compliance Questionnaire/Certification form to Visa has been established.
Additionally, penalties for Member failure to return the form within specified timeframes have been
added.

As a regulated entity under the USA PATRIOT Act, these revisions facilitate Visa's ability to report
Member compliance for its auditors and regulators.

Effective Date

10 March 2011

Regulation Changes

Added or revised the following:

Chapter 8: Risk Management

• Anti-Money Laundering Program - Member Requirements
• Anti-Money Laundering Program Compliance
• Member Failure to Return an Anti-Money Laundering/Anti-Terrorist Financing Questionnaire
  Penalties

ID#: 151011-010100-0026599



Quarterly Service Fee Collection Process

Background




10                                                 VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15            Page: 48 of 1319 PageID
                                                     #: 3241
                                       Visa International Operating Regulations



   To address changes in the quarterly service fee collection process in the U.S. Region and to support
   current fee collection methods outside the U.S., Operating Regulation revisions have been made
   to clarify that quarterly service fees are collected via the Global Member Billing Solution (GMBS)
   or other designated method. In addition, rules related to service fee collection and U.S. Automated
   Clearing House requirements have been streamlined and clarified..



   Effective Date

   1 October 2011

   Regulation Changes

   Added or revised the following:

   Chapter 10: Pricing, Fees and Interchange

   • Adjustments Made through the Automated Clearing House Service - U.S. Region
   • Card Service Fee Collection
   • Quarterly Service Fee Collection Estimated Amount

   Glossary

   • Global Member Billing Solution

   ID#: 161111-010100-0026600



   Visa Platinum Card Minimum Spending Limits

   Background

   In order to support initiatives in the AP Region and CEMEA Region:

   • Revisions were made to the "Visa Platinum Card Minimum Spending Limits for AP Countries"
     table, to reflect the current Minimum Spending Limits for each country in local currency
   • Current Visa Platinum Card Minimum Spending Limits have been lowered for Bangladesh, Brunei,
     Sri Lanka, Russia, and the Middle East and North Africa Region
   • Bhutan has been added to the “Visa Platinum Card Minimum Spending Limits for AP Countries”
     table as a new country as they will be launching Visa Platinum product for the first time
   • Revisions were made to the "Visa Platinum Card Spending Limits – CEMEA Region,” to reference
     the “Visa Platinum Card Minimum Spending Limits” table, which shows the current Minimum
     Spending Limits that apply for each country in local currency

   Effective Date

   1 May 2011



   18 October 2011                                    VISA PUBLIC                                      11
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 49 of 1319 PageID
                                                       #: 3242
                                    Visa International Operating Regulations



Regulation Changes

Added or revised the following:

Chapter 5: Visa Products and Services

• Visa Platinum Card Minimum Spending Limit - AP Region
• Visa Platinum Card Spending Limits - CEMEA Region

ID#: 151011-010100-0026601



Unattended Cardholder-Activated Transactions

Background

The Operating Regulations have been revised to establish a global set of rules for Unattended
Cardholder-Activated Terminals. The revisions introduce simplified, globally consistent terminology,
establish a Zero Floor Limit for all Unattended Transactions, with the exception of 5 Merchant types,
eliminate Transaction limits, along with the associated "Transaction Exceeds Limited Amount"
Chargeback, expand fraud Chargeback rights, and eliminate Retrieval Request and Fulfillment
requirements.



Effective Date

15 October 2011

Regulation Changes

Added or revised the following:

Chapter 6: Payment Acceptance

• Automated Fuel Dispenser Partial Authorization Requirements
• Automated Fuel Dispenser Requirements
• Chip-Reading Device and Transmission Requirements
• Chip-Reading Device PIN Requirements
• In-Transit Service Gambling Merchant Operational Plan
• Merchant Authorization Requirements
• Operational Plan for In-Transit Service Merchants
• Prepaid Purchase at Unattended Terminals
• Unattended Acceptance Terminal Requirements - Type A Transactions
• Unattended Acceptance Terminal Requirements - Type B Transactions
• Unattended Acceptance Terminal Transaction Type C PIN Verification


12                                                 VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15            Page: 50 of 1319 PageID
                                                     #: 3243
                                       Visa International Operating Regulations


   • Unattended Cardholder-Activated Terminal Acquirer General Requirements
   • Unattended Cardholder-Activated Terminal Card Retention
   • Unattended Cardholder-Activated Terminal Declines
   • Unattended Cardholder-Activated Terminal Documentation Requirements
   • Unattended Cardholder-Activated Terminal Requirements - PIN Acceptance
   • Visa Electron Prohibition for Unattended Acceptance Terminal Type A Transactions
   • Automated Dispensing Machine - PIN and Security Requirements - U.S. Region
   • Automated Dispensing Machine Cardholder Messages - U.S. Region
   • Automated Dispensing Machine Requirements - U.S. Region
   • Automated Fuel Dispenser Authorization Options - U.S. Region 5.2.K
   • Automated Fuel Dispenser Requirements - CEMEA Region
   • Automated Fuel Dispenser Transaction Amount Limits - U.S. Region
   • Cardholder Activated Terminal - Card Retention Requirements - U.S. Region
   • Cardholder Activated Terminal - Participation Requirements - U.S. Region
   • Cardholder-Activated Terminal - Cancellation Message Requirements - U.S. Region
   • Cardholder-Activated Terminal - Card Retention - U.S. Region
   • Cardholder-Activated Terminal - Declines - U.S. Region
   • Cardholder-Activated Terminals - LAC Region
   • Data Requirements: Cardholder-Activated Terminal Transaction Receipt - U.S. Region Tables S-4,
     S-5 and S-6
   • Data Requirements: Cardholder-Activated Terminal Transaction Receipt (Types A, B, and C) Table
     7I-4
   • Data Requirements: Unattended Transaction Receipt
   • Data Requirements: Unattended Transaction Receipt - U.S. Region
   • Limited-Amount Terminal Requirements - U.S. Region
   • Limited-Amount Terminals - Merchant Category Code Restrictions - U.S. Region
   • Self-Service Terminal Requirements - U.S. Region
   • Visa Easy Payment Service Transaction Requirements - AP Region
   • Telephone Service Transactions - U.S. Region
   • Transaction Receipt Delivery Requirements - U.S. Region 5.2.N
   • Unattended Acceptance Terminal Data Retention - CEMEA Region
   • Unattended Acceptance Terminal Magnetic-Stripe Option - CEMEA Region
   • Unattended Acceptance Terminal Plaintext PINs - Canada Region
   • Unattended Acceptance Terminal Transaction Amounts - Canada Region
   • Zero Floor Limit - U.S. Region 5.2.K



   18 October 2011                                    VISA PUBLIC                                      13
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 51 of 1319 PageID
                                                       #: 3244
                                    Visa International Operating Regulations



Chapter 7: Transaction Processing

• Conversion to Decline Response - Issuer-Generated Authorization Request
• Emergency Authorization Procedure for ATM and Unattended Transactions
• Acquirer Inquiry Requirements - U.S. Region 6.2.F.3.a

Chapter 8: Risk Management

• Recovered Card Handling Fees
• Recovered Card Reward Limitations

Chapter 9: Dispute Resolution

• Minimum Data Requirements for Retrieval Requests
• Transaction Receipt Fulfillment Documents - Data Requirements
• Transaction Receipt Fulfillment Exceptions
• Invalid Chargebacks - Reason Code 72
• Chargeback Rights and Limitations - Reason Code 75
• Chargeback Rights and Limitations - Reason Code 81
• Invalid Chargebacks - Reason Code 81
• Invalid Chargebacks - Reason Code 82
• Representment Processing Requirements - Reason Code 82
• Overview - Reason Code 96
• Chargeback Rights and Limitations - Reason Code 96
• Chargeback Time Limit - Reason Code 96
• Documentation - Reason Code 96
• Chargeback Conditions - Reason Code 96
• Chargeback Processing Requirements - Reason Code 96
• Invalid Chargebacks - Reason Code 96
• Representment Processing Requirements - Reason Code 96
• Representment Rights and Limitations - Reason Code 96
• Representment Time Limit - Reason Code 96

Glossary

• Automated Dispensing Machine
• Automated Dispensing Machine - U.S. Region
• Automated Fuel Dispenser
• Automated Fuel Dispenser - AP Region


14                                                 VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15            Page: 52 of 1319 PageID
                                                     #: 3245
                                       Visa International Operating Regulations


   • Automated Fuel Dispenser - CEMEA Region
   • Automated Fuel Dispenser - U.S. Region
   • Cardholder-Activated Terminal
   • Cardholder-Activated Terminal - U.S. Region
   • Cardholder-Activated Transaction
   • Cardholder-Activated Transaction Type A
   • Cardholder-Activated Transaction Type B
   • Cardholder-Activated Transaction Type C
   • Card-Present Environment - U.S. Region
   • Face-to-Face Environment
   • Limited-Amount Terminal
   • Limited-Amount Terminal - U.S. Region
   • Limited-Amount Terminal Transaction - U.S. Region
   • Magnetic-Stripe Telephone
   • Magnetic-Stripe Telephone - U.S. Region
   • Self-Service Terminal
   • Self-Service Terminal - U.S. Region
   • Self-Service Terminal Transaction - U.S. Region
   • Telephone Service Transaction
   • Unattended Acceptance Terminal
   • Unattended Cardholder-Activated Terminal
   • Unattended Environment
   • Unattended Transaction

   ID#: 161111-010100-0026602



   Global Brand Protection Program

   Background

   To increase efficiency, and provide consistency, while strengthening the prevention, monitoring and
   enforcement of penalties for Transactions that could potentially damage the Visa brand, the three
   risk brand protection programs currently in place to protect the Visa brand and address a variety of
   Transactions prohibited in some or all jurisdictions, such as gambling and child pornography, have
   been merged into one, the Global Brand Protection Program.



   Effective Date



   18 October 2011
   15                                                 VISA PUBLIC
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 53 of 1319 PageID
                                                       #: 3246
                                    Visa International Operating Regulations



1 June 2011

1 December 2011

Regulation Changes

Added or revised the following:

Chapter 2: Visa System Participation

• Agent Registration

Chapter 4: The Visa Brand

• Brand Protection

Chapter 6: Payment Acceptance

• Electronic Commerce Merchant Transaction Type Prohibition
• Electronic Commerce Merchant Yearly Review - U.S. Region
• General Requirements for Recurring Transactions
• High-Risk Internet Payment Service Provider Agreement Requirements
• High-Risk Internet Payment Service Provider Agreement Requirements - U.S. Region
• High-Risk Internet Payment Service Provider Contractual Obligation
• High-Risk Internet Payment Service Provider Contractual Obligation - U.S. Region
• High-Risk Internet Payment Service Provider Eligibility
• High-Risk Internet Payment Service Provider Eligibility - U.S. Region
• High-Risk Internet Payment Service Provider Processing Requirements
• High-Risk Internet Payment Service Provider Registration
• High-Risk Internet Payment Service Provider Registration - U.S. Region
• Merchant Requirements for Recurring Transactions - U.S. Region
• Negative Option Merchant Requirement
• Online Gambling Merchant Registration - LAC Region
• Recurring Services Merchant Prohibitions
• Recurring Transaction Processing
• Up-Selling Merchant Requirements
• Website Requirements

Chapter 7: Transaction Processing

• Global Brand Protection Program Data Quality Requirements
• High-Brand Risk Merchant Category Code Processing


16                                                 VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15            Page: 54 of 1319 PageID
                                                     #: 3247
                                       Visa International Operating Regulations


   • High-Risk Merchant Category Codes
   • Online Gambling Transaction Identification Penalties
   • Stand-In Processing Referral Response (Point-of-Transaction Terminals) - U.S. Region

   Chapter 8: Risk Management

   • Additional Monitoring of High-Brand Risk Merchants - U.S. Region
   • Additional Monitoring of High-Risk Merchants - U.S. Region
   • Annual Assessments
   • Brand Protection Requirements
   • Cardholder and Transaction Information Disclosure Limitations
   • Cardholder and Transaction Information Disclosure Limitations - U.S. Region
   • Cardholder and Transaction Information Disclosure Prohibitions
   • Cardholder and Transaction Information Disclosure Prohibitions - U.S. Region
   • Electronic Commerce Merchant Monitoring Program - Acquirer Penalties
   • Electronic Commerce Merchant Monitoring Program - Acquirer Penalties - U.S. Region
   • Electronic Commerce Merchant Monitoring Program - Acquirer Restrictions
   • Global Brand Protection Program Annual Assessment Fee
   • Global Brand Protection Program Penalties
   • Global Merchant Chargeback Monitoring Program - High-Brand Risk Merchants - Penalties
   • Global Merchant Chargeback Monitoring Program Penalties
   • High-Brand Risk Acquirer Capital Requirements
   • High-Brand Risk Acquirer Non-Registration Penalties
   • High-Brand Risk Acquirer Registration
   • High-Brand Risk Acquirer Registration Fee
   • High-Brand Risk Acquirer Requirements
   • High-Brand Risk Chargeback Monitoring Program - Chargeback Ratios - U.S. Region
   • High-Brand Risk Chargeback Monitoring Program - U.S. Region
   • High-Brand Risk Chargeback Monitoring Program Fees - U.S. Region
   • High-Brand Risk Merchant Category Codes
   • High-Brand Risk Merchant Exception Reports
   • High-Brand Risk Merchant Fees and Charges - U.S. Region
   • High-Brand Risk Merchant Identification
   • High-Brand Risk Merchant Investigation
   • High-Brand Risk Merchant Monitoring - U.S. Region
   • High-Brand Risk Merchant Monitoring Standards


   18 October 2011                                    VISA PUBLIC                                      17
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 55 of 1319 PageID
                                                       #: 3248
                                    Visa International Operating Regulations


• High-Brand Risk Merchant Registration - U.S. Region
• High-Brand Risk Merchant Unusual Activity Reporting - U.S. Region
• High-Brand Risk Merchants - Acquirer Requirements
• High-Risk Chargeback Monitoring Program - Chargeback Ratios - U.S. Region
• High-Risk Chargeback Monitoring Program - U.S. Region
• High-Risk Chargeback Monitoring Program Fees - U.S. Region
• High-Risk Merchant and IPSP Registration - LAC Region
• High-Risk Telemarketing Merchant Daily Activity Reporting - U.S. Region
• High-Risk Telemarketing Merchant Exception Reports
• High-Risk Telemarketing Merchant Fees and Charges - U.S. Region
• High-Risk Telemarketing Merchant Investigation
• High-Risk Telemarketing Merchant Monitoring - U.S. Region
• High-Risk Telemarketing Merchant Monitoring Standards
• High-Risk Telemarketing Merchant Registration - U.S. Region
• High-Risk Telemarketing Merchant Unusual Activity Reporting - U.S. Region
• High-Risk Telemarketing Merchants - Acquirer Requirements
• Merchant Disclosures
• Modifications to High-Risk Regional Registration Form - LAC Region
• Prohibition against and Penalties for Illegal Cross-Border Transaction Activity
• Prohibition against Illegal Transactions
• Prohibition against Illegal Transactions and Brand Damaging Activities
• Request for Information Requirements

Chapter 10: Pricing, Fees and Interchange

• Commercial Card Electronic Interchange Reimbursement Fee - U.S. Region
• CPS Ineligible Transactions - U.S. Region
• Credit Voucher Interchange Reimbursement Fee for Mail/Phone Order and Electronic Commerce
  Merchants - U.S. Region
• Credit Voucher Program Qualification - U.S. Region
• Standard Interchange Reimbursement Fee - U.S. Region

Glossary

• Global Brand Protection Program
• High-Brand Risk Merchant
• High-Brand Risk Sponsored Merchant
• High-Brand Risk Transaction


18                                                 VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15            Page: 56 of 1319 PageID
                                                     #: 3249
                                       Visa International Operating Regulations


   • High-Risk Internet Payment Service Provider
   • High-Risk Internet Payment Service Provider - U.S. Region
   • High-Risk Sponsored Merchant - U.S. Region
   • High-Risk Telemarketing Merchant
   • High-Risk Telemarketing Merchant - AP Region
   • Negative Option Merchant
   • Negative Option Transaction
   • Up-Selling Merchant

   Appendices

   • Risk Management

   ID#: 161111-010100-0026605



   Global Contactless Interoperability Strategy

   Background

   The evolution of contactless technology and the deployment of both cards and readers have been
   impacted by a number of factors since the announcement in 2007 of a roadmap towards global
   contactless interoperability. To maintain the drive towards global interoperability while reflecting
   current market conditions, revisions have been made to extend the effective date.

   Effective Date

   1 January 2012

   Regulation Changes

   Added or revised the following:

   Chapter 5: Visa Products and Services

   • Proximity Payment Issuer Requirements

   Chapter 6: Payment Acceptance

   • Proximity Payment Terminal Compliance

   ID#: 151011-010100-0026606



   Revisions to Comply with the U.S. 2010 Financial Reform Act

   Background




   18 October 2011                                    VISA PUBLIC                                         19
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 57 of 1319 PageID
                                                       #: 3250
                                    Visa International Operating Regulations



Revisions were approved to comply with the minimum/maximum purchase amount requirements
of the U.S. 2010 Financial Reform Act. In the U.S. and its Territories, a Merchant is permitted
to establish a minimum Transaction amount of less than or equal to U.S. $10, for a Transaction
conducted with a U.S.-issued credit Card (including Cards issued in a U.S. Territory.) In addition, an
agency of the U.S. federal government or an institution of higher learning located in the U.S. or its
Territories may establish a maximum amount on Transactions conducted with a U.S.-issued credit
Card (including Cards issued in a U.S. Territory). Any permitted minimum or maximum Transaction
amount must not discriminate between Issuers or between Visa and another payment network. A
clarification to the Visa International Operating Regulations has also been made to prohibit minimum
or maximum Transaction amounts, unless specifically permitted.



Effective Date

21 July 2010

Regulation Changes

Added or revised the following:

Chapter 1: Visa Operating Regulations Governance

• Visa Confidential Materials

Chapter 3: The Visa License

• Confidentiality of BIN Information
• Disclosure of BIN or Other Product Data Information to Merchants - AP Region
• Disclosure of BIN or Other Product Data Information to Merchants - LAC Region
• Merchants Receiving BIN Information - AP Region
• Merchants Receiving BIN Information - LAC Region
• Non-Disclosure of BIN Information - AP Region
• Non-Disclosure of BIN Information - LAC Region
• Third Parties Receiving BIN Information - AP Region
• Third Parties Receiving BIN Information - LAC Region
• Use of BIN or Other Product Data Information - AP Region
• Use of BIN or Other Product Data Information - LAC Region

Chapter 6: Payment Acceptance

• Maximum Transaction Amount - AP Region
• Maximum Transaction Amount - LAC Region
• Maximum Transaction Amount - U.S. Region
• Minimum Maximum - U.S. Region 5.2.F


20                                                 VISA PUBLIC                         18 October 2011
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                                                     #: 3251
                                       Visa International Operating Regulations


   • Minimum Transaction Amount - AP Region
   • Minimum Transaction Amount - LAC Region
   • Minimum Transaction Amount - U.S. Region
   • Minimum/Maximum Transaction Amount

   Glossary

   • U. S. Territory

   ID#: 161111-010100-0026607



   Chip Card Acceptance and PIN as Cardholder Verification Method Amendment for
   Australia and New Zealand

   Background

   Minor changes were made to the wording of the current Chip Card acceptance and PIN as
   Cardholder Verification Method (CVM) mandates for Issuers and Acquirers in Australia and New
   Zealand.

   Effective Date

   21 June 2011

   Regulation Changes

   Added or revised the following:

   Chapter 5: Visa Products and Services

   • PIN as Cardholder Verification Method in Australia – Issuer Requirements – AP Region
   • PIN as Cardholder Verification Method in New Zealand – Issuer Requirements – AP Region

   Chapter 6: Payment Acceptance

   • Chip Card Acceptance in Australia – AP Region
   • Chip Card Acceptance in New Zealand – AP Region

   Chapter 8: Risk Management

   • PIN as Cardholder Verification Method in Australia – Acquirer Requirements – AP Region
   • PIN as Cardholder Verification Method in New Zealand – Acquirer Requirements – AP Region

   ID#: 151011-010100-0026608




   18 October 2011
   21                                                 VISA PUBLIC
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 59 of 1319 PageID
                                                       #: 3252
                                    Visa International Operating Regulations




Payment Service Provider Expansion

Background

Operating Regulation revisions have been made to align and globalize the Internet Payment Service
Provider (IPSP) model, which enables Electronic Commerce Merchant aggregation, and implement
a Payment Service Provider (PSP) model for all commerce types, including the Face-to-Face
Environment. Introduction of the new model extends and adapts existing IPSP rules and introduces
new rules to support PSP activity throughout Visa Inc.

The revisions establish a consistent set of rules for Payment Service Providers in all channels and
support the expansion of Visa acceptance to new Merchants.



Effective Date

17 June 2011

1 July 2011

Regulation Changes

Added or revised the following:

Chapter 1: Visa Operating Regulations Governance

• Investigation of Merchant Outlet
• Visa Right to Contact Merchant
• Visa Right to Notify Merchant - U.S. Region
• Visa Right to Terminate Merchant, Payment Service Provider, or Sponsored Merchant

Chapter 2: Visa System Participation

• Indemnification Related to Failure to Terminate a Merchant
• Indemnifications Related to National Card Recovery File - U.S. Region
• Indemnifications Related to Terminated Merchant File - U.S. Region
• Liability Allocation
• Member Indemnification of Visa

Chapter 5: Visa Products and Services

• Acquirer Use of Digital Certificates

Chapter 6: Payment Acceptance

• Acquirer Contractual Requirements with Internet Payment Service Providers


22                                                 VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15            Page: 60 of 1319 PageID
                                                     #: 3253
                                       Visa International Operating Regulations


   • Acquirer Eligibility - Internet Payment Service Provider - U.S. Region
   • Acquirer Eligibility - Internet Payment Service Provider Maximum Annual Sales - U.S. Region
   • Acquirer Eligibility - Payment Service Provider
   • Acquirer Responsibility for Internet Payment Service Providers - U.S. Region
   • Acquirer Responsibility for Payment Service Providers
   • Aggregated Transaction Merchant Requirements - U.S. Region 5.2.K
   • Country of Domicile and Jurisdiction Requirements
   • Direct Merchant Agreement Requirement for Sponsored Merchants
   • Electronic Commerce Acquirer Solicitation Website Requirements
   • High-Risk Internet Payment Service Provider Agreement Requirements
   • High-Risk Internet Payment Service Provider Registration
   • Ineligible Internet Payment Service Provider Merchant Types - U.S. Region
   • Ineligible Payment Service Provider Merchant Types
   • Internet Payment Service Provider Agreement Provisions - U.S. Region
   • Internet Payment Service Provider Billing Name
   • Internet Payment Service Provider Name on Transaction Receipt - U.S. Region
   • Internet Payment Service Provider Processing Requirements - U.S. Region
   • Internet Payment Service Provider Registration - U.S. Region
   • Internet Payment Service Provider Restrictions - U.S. Region
   • Internet Payment Service Providers - Merchant Agreement - Canada Region
   • Merchant Classification
   • Monthly Internet Payment Service Provider Sponsored Merchant Activity Reporting - U.S. Region
   • Online Gambling Identifiers
   • Payment Service and Card Acceptance Requirements - U.S. Region
   • Payment Service Provider Activity Reporting
   • Payment Service Provider Agreement Requirements
   • Payment Service Provider Contract with Multiple Acquirers
   • Payment Service Provider Customer Support
   • Payment Service Provider Deposit Allowances
   • Payment Service Provider Registration
   • Payment Service Provider Responsibilities
   • Payment Service Provider Restrictions
   • Payment Service Provider Transaction Receipt Deposits
   • Sponsored Merchant and Payment Service Provider Billing Name
   • Sponsored Merchant Location


   18 October 2011                                    VISA PUBLIC                                      23
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 61 of 1319 PageID
                                                       #: 3254
                                    Visa International Operating Regulations


• Sponsored Merchant MCC Requirements
• Terminated Merchant File Query - Internet Payment Service Provider - U.S. Region
• Terminated Merchant Query - Payment Service Provider
• Transactions Directly Resulting from Other Entities 5.3.F.1.a
• Visa Electronic Commerce Acquirer Registration Program and Compliance - CEMEA Region
• Website Requirements

Chapter 7: Transaction Processing

• Payments to Merchants, Sponsored Merchants, and Payment Service Providers

Chapter 8: Risk Management

• Brand Protection Requirements
• Global Brand Protection Program Penalties
• Global Merchant Chargeback Monitoring Program - Data Quality Compliance
• Global Merchant Chargeback Monitoring Program Fees and/or Fines - Visa Rights
• High-Brand Risk Acquirer Capital Requirements
• Internet Payment Service Provider and Sponsored Merchant Activity Monitoring - U.S. Region
• Payment Service Provider and Sponsored Merchant Activity Monitoring
• Prohibition against Illegal Transactions and Brand Damaging Activities

Glossary

• Deposit
• Global Brand Protection Program
• High-Brand Risk Sponsored Merchant
• High-Risk Internet Payment Service Provider
• Internet Payment Service Provider (IPSP)
• Internet Payment Service Provider Agreement
• IPSP (Internet Payment Service Provider)
• Payment Service Provider
• Payment Service Provider Agreement
• PSP
• Sponsored Merchant

ID#: 161111-010100-0026609




24                                                 VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15            Page: 62 of 1319 PageID
                                                     #: 3255
                                       Visa International Operating Regulations




   Required Merchant Information

   Background

   Currently, only U.S. and Canada Regional Operating Regulations require Acquirers to support
   the collection of specific Merchant location data. Modifications to the Visa International Operating
   Regulations have been made to introduce common global rules related to the collection of Merchant
   information. Although mandatory in the U.S. and Canada Regions, participation by Acquirers in other
   regions will remain optional until such time as a region or a specific country agrees to participate.



   Effective Date

   30 June 2011

   Regulation Changes

   Added or revised the following:

   Chapter 5: Visa Products and Services

   • Applicability of Enhanced Data Restrictions
   • Applicability of Enhanced Data Restrictions - U.S. Region
   • Enhanced Data Types - U.S. Region

   Chapter 6: Payment Acceptance

   • File Retention - Existing and New Merchant Agreements - AP Region
   • Required Merchant Information
   • Required Merchant Information - Canada Region
   • Required Merchant Information - U.S. Region
   • Rights in Merchant Information

   Glossary

   • Enhanced Data
   • Enhanced Data - U.S. Region
   • Enhanced Merchant-Level Data
   • Enhanced Merchant-Level Data - U.S. Region

   ID#: 161111-010100-0026610




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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 63 of 1319 PageID
                                                       #: 3256
                                    Visa International Operating Regulations




Requirements for Original Credit Transactions Processed as Fast Funds

Background

A mandate has been introduced for Issuers in Armenia, Azerbaijan, Belarus, Georgia, Kazakhstan,
Kyrgyzstan, Moldova, Tajikistan, Ukraine and Uzbekistan (“10 CIS Markets”) which requires them to
support incoming Fast Funds Transactions to all Visa Cards.

A mandate has been introduced for Issuers in Philippines which requires support of incoming Fast
Funds transactions to Visa debit and Visa Prepaid Cards only.

A table has been incorporated that lists the countries where Issuers in the AP Region and the CEMA
Region are required to participate in Fast Funds processing.

Effective Date

14 April 2012

Regulation Changes

Added or revised the following:

Chapter 7: Transaction Processing

• Money Transfer Original Credit Transactions - Fast Funds Processing
• Money Transfer Original Credits - Fast Funds Processing - AP Region and CEMEA Region

ID#: 151011-010100-0026611



Visa Central Travel Account (VCTA)

Background

The Visa Central Travel Account (VCTA) allows corporations to manage expenses related to the
purchase of business travel through a set of centralized accounts that correspond with their internal
cost center hierarchy. The VCTA provides detailed travel-related reporting and data files which allow
for the matching and reconciliation of Transactions. The Operating Regulations have been revised to
formalize the Visa Central Travel Account (VCTA) and to offer Visa Central Travel Accounts as an
extension of the existing Visa Purchasing or Visa Corporate products.

Effective Date

14 July 2011

Regulation Changes

Added or revised the following:




26                                                 VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15            Page: 64 of 1319 PageID
                                                     #: 3257
                                       Visa International Operating Regulations



   Chapter 5: Visa Products and Services

   • Visa Central Travel Account - Core Feature Requirements
   • Visa Central Travel Account - Issuance Requirements
   • Visa Central Travel Account - Issuer Fees
   • Visa Central Travel Account - Issuer Liability

   Glossary

   • Visa Central Travel Account

   ID#: 151011-010100-0026612



   Revisions to Support the DOJ Settlement

   Background

   Revisions to various point-of-sale discount and Marks usage requirements have been made to
   support the Visa settlement with the U.S. Department of Justice and several state attorneys general.
   Revisions have also been made to rules relating to Acquirers providing BIN and other product-
   identifying data to Merchants.



   Effective Date

   20 July 2011

   Regulation Changes

   Added or revised the following:

   Chapter 3: The Visa License

   • Disclosure of BIN or Other Product Data Information to Merchants - U.S. Region
   • Use of BIN or Other Product Data Information - U.S. Region
   • Merchants Receiving BIN or Other Product Data Information - U.S. Region
   • Non-Disclosure of BIN or Other Product Data Information - U.S. Region
   • Third Parties Receiving BIN or Other Product Data Information - U.S. Region

   Chapter 4: The Visa Brand

   • The Visa Brand Mark Color Requirements - U.S. Region
   • Using Visa-Owned Marks

   Chapter 6: Payment Acceptance



   18 October 2011                                    VISA PUBLIC                                      27
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 65 of 1319 PageID
                                                       #: 3258
                                    Visa International Operating Regulations


• Acquirer Requirements - Discount at the Point of Sale - U.S. Region
• Affinity Partner Marks Size Requirements - U.S. Region
• Discount Offer - U.S. Region 5.2.D.2
• Discounts on Purchases Made with Affinity Cards - U.S. Region
• Visa Marks Display Requirements - U.S. Region
• Visa Marks Display Size Requirements - U.S. Region
• Acquirer Requirements – Discount at the Point of Sale – AP Region and LAC Region
• Discounts at the Point-of-Sale – AP Region and LAC Region
• Visa Marks Display Requirements – AP Region and LAC Region

ID#: 161111-010100-0026614



Visa ePay Sunset

Background

Visa ePay, a U.S. Region product, has been discontinued, effective 29 July 2011. References in the
Visa International Operating Regulations have been deleted, and, effective 31 October 2011, the Visa
ePay Operating Regulations will be retired.

Effective Date

Upon publication and 31 October 2011

ID#: 171011-010100-0026615



Client Portfolio Management Self-Service Tools Globalization

Background

To support the creation and expansion of tools to manage Member portfolio information, the
Operating Regulations for all Client Portfolio Management Self-Service Tools, which currently
comprise Visa Membership Management (VMM), electronic Client Information Questionnaire (eCIQ),
and Visa Client Support Application (VCSA), have been globally aligned and updated.

Effective Date

8 September 2011

Regulation Changes

Added or revised the following:

Chapter 2: Visa System Participation

• Client Portfolio Management Self-Service Tools Indemnification


28                                                 VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15            Page: 66 of 1319 PageID
                                                     #: 3259
                                       Visa International Operating Regulations


   • Electronic Signature Applicability
   • Electronic Signature Criteria
   • Electronic Signature Enforceability
   • Use of Electronic Signature
   • Visa Membership Management Indemnification - U.S. Region

   Chapter 5: Visa Products and Services

   • Client Portfolio Management Self-Service Tools Information
   • Use of Client Portfolio Management Self-Service Tools
   • Visa Membership Management Description - U.S. Region
   • Visa Membership Management Information - U.S. Region
   • Visa Membership Management Information Accuracy - U.S. Region
   • Visa Membership Management Non-Member Use - U.S. Region
   • Visa Membership Management Requests - U.S. Region
   • Visa Membership Management Use - U.S. Region

   Glossary

   • Client Portfolio Management Self-Service Tools
   • Electronic Signature
   • Membership Application
   • Visa Membership Management - U.S. Region

   ID#: 151011-010100-0026616



   VisaVue Online Globalization

   Background

   VisaVue Online (VVO) is an optional Visa Transaction information product currently offered to Issuers
   and co-brand Merchants in the U.S. Region, Canada, and South Africa. The Operating Regulations
   have been revised to expand the availability of VisaVue Online to Issuers, co-brand Merchants, and
   Acquirers in all Visa Inc. geographies.

   Effective Date

   8 September 2011

   Regulation Changes

   Added or revised the following:




   18 October 2011                                    VISA PUBLIC                                      29
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 67 of 1319 PageID
                                                       #: 3260
                                    Visa International Operating Regulations



Chapter 2: Visa System Participation

• VisaVue Online Indemnification
• VisaVue Service Indemnification - U.S. Region

Chapter 5: Visa Products and Services

• Acquirer Disclosure of VisaVue Service Information - U.S. Region
• Issuer Use of VisaVue Service Information - U.S. Region
• Limitations of VisaVue Service Information Disclosure - U.S. Region
• VisaVue Online Member Requirements
• VisaVue Service Acquirer Responsibility - U.S. Region
• VisaVue Service Information - U.S. Region
• VisaVue Service Information Disclosure - U.S. Region
• VisaVue Service Information Sharing Prohibitions - U.S. Region
• VisaVue Service Issuer Participation Agreement - U.S. Region
• VisaVue Service Participation - U.S. Region

Glossary

• VisaVue Member Participation Agreement
• VisaVue Online
• VisaVue Service - U.S. Region
• VisaVue Service Participation Agreement - U.S. Region

ID#: 151011-010100-0026617



Expansion of the EMV Liability Shift to the U.S. Region

Background

The Operating Regulations have been revised to support the expansion of the EMV liability shift into
the U.S. Region for specific fraudulent Transactions made with an EMV Chip Card at non-EMV Chip-
enabled Merchants.



Effective Date

1 October 2015

Regulation Changes




30                                                 VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15            Page: 68 of 1319 PageID
                                                     #: 3261
                                       Visa International Operating Regulations



   Added or revised the following:

   Chapter 5: Visa Products and Services

   • EMV Liability Shift Participation

   ID#: 161111-010100-0026618



   Regulation II Modifications – Phase 1

   Background

   On 29 June 2011, the United States Federal Reserve Board released the Debit Card Interchange
   Fees and Routing final and interim final rules (Regulation II) to the 2010 U.S. Financial Reform Act.
   The Visa International Operating Regulations have been revised to address Regulation II.



   Effective Date

   1 October 2011

   Regulation Changes

   Added or revised the following:

   Chapter 4: The Visa Brand

   • Cards Bearing the Plus Symbol
   • Cards Bearing the Plus Symbol - AP Region, LAC Region, and U.S. Region
   • Competitive Marks - AP Region, LAC Region, and U.S. Region
   • Competitive Marks - U.S. Region
   • Competitive Marks with Visa-Owned Marks – AP Region, LAC Region, and U.S. Region
   • Competitive Marks with Visa-Owned Marks - U.S. Region
   • Non-Visa General Purpose Payment Card Network
   • Non-Visa General Purpose Payment Card Network – AP Region, LAC Region, and U.S. Region
   • Offer/Issuance Conditions
   • Offer/Issuance Conditions – AP Region, LAC Region, and U.S. Region
   • Other Marks Prohibition - AP Region, LAC Region, and U.S. Region
   • Other Marks Prohibition - U.S. Region
   • Permitted Use of Other Marks
   • Permitted Use of Other Marks – AP Region, LAC Region, and U.S. Region
   • Positioning the Brand Mark



   18 October 2011                                    VISA PUBLIC                                          31
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 69 of 1319 PageID
                                                       #: 3262
                                    Visa International Operating Regulations


• Prohibited Use of Trade Name or Mark
• Prohibited Use of Trade Name or Mark – AP Region, LAC Region, and U.S. Region

Chapter 5: Visa Products and Services

• Consumer Visa Deferred Debit Card - U.S. Region

Glossary

• International Transaction
• U.S. Covered Visa Debit Card - AP Region, LAC Region, and U.S. Region

ID#: 161111-010100-0026619



Licensing and BIN Management Operating Regulations Enhancements

Background

Revisions to various licensing and BIN management rules have been made to clarify the
responsibilities and liabilities of all Members for both Visa BINs and non-Visa BINs installed in Visa's
production systems. New rules also outline Members' responsibilities for other numeric identifiers
assigned to Members for the purposes of endpoint connectivity and transaction routing.

For more information, please refer to:

“Visa Revises Member Licensing and Bank Identification Number Management Operating
Regulations,” Visa Business News, 6 October 2011

Effective Date

1 April 2012

Regulation Changes

Added or revised the following:

Chapter 2: Visa System Participation

• General Sponsor Requirements
• Notification of Sponsorship Termination
• Penalties for Violation of the Sponsored Member Registration Program - U.S. Region
• Sponsored Member Termination
• Withdrawal of Sponsorship

Chapter 3: The Visa License

• BIN Jurisdiction



32                                                 VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15            Page: 70 of 1319 PageID
                                                     #: 3263
                                       Visa International Operating Regulations


   • BIN License Agreement
   • BIN License Recipients
   • BIN Release
   • BIN Release Request
   • BIN Release Reversal
   • BIN Transfer to New VisaNet Processor
   • Cessation of BIN Authorized Usage
   • Issuer/Acquirer use of Single BIN
   • Membership Downgrade - BIN Requirement
   • Multiple Issuers on the Same BIN
   • Non-Visa-Assigned BIN Management
   • Non-Visa-Assigned BIN Management - U.S. Region
   • Notification of BIN Sale or Transfer
   • PIN Debit Gateway Service BIN Use
   • Processor BIN Usage
   • Purpose of BIN Use
   • Sponsor Liability - AP Region, CEMEA Region, and LAC Region
   • Unauthorized BIN Use
   • Use of BINs for Non-Visa Purposes
   • Use of Numeric ID
   • VisaNet Systems Changes Due to Merger or Acquisition

   Chapter 5: Visa Products and Services

   • Issuer Participation in Visa FeatureSelect - U.S. Region

   Glossary

   • Numeric ID
   • Recalled BIN

   ID#: 151011-010100-0026620



   Quarterly Operating Certificate and Fee Collection Process Revisions

   Background




   18 October 2011                                    VISA PUBLIC                                      33
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 71 of 1319 PageID
                                                       #: 3264
                                    Visa International Operating Regulations



Operating Regulation revisions have been made to establish rules related to the time limit for
any Member fee adjustments due to an overpayment or an underpayment of fees. In addition,
clarifications have been made relating to Sponsored Members that have a relationship with more than
one Sponsor during a quarter and several rules have been globalized to reflect current practices.



Effective Date

1 October 2011

Regulation Changes

Added or revised the following:

Chapter 2: Visa System Participation

• Annual Certification - LAC Region
• Exchange Rates for Quarterly Operating Certificates
• Penalties for Nonpayment of Quarterly Service Fee
• Quarterly Service Fee Remittance Penalties - U.S. Region
• Registration of Sponsored Member
• Reporting of Visa Transactions Not Processed through VisaNet

Chapter 10: Pricing, Fees and Interchange

• Adjustments Made through the Automated Clearing House Service - U.S. Region
• Fee Adjustments
• Quarterly Service Fee Collection Estimated Amount

ID#: 161111-010100-0026621



Variance Topics


Reloadable Prepaid Cards in the Transit Channel without Know-Your-Customer
Procedures

Background




34                                                 VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15            Page: 72 of 1319 PageID
                                                     #: 3265
                                       Visa International Operating Regulations



   A variance has been granted to allow domestic-use-only transit co-branded general purpose
   Reloadable Cards to be reloaded without obtaining Cardholder information and performing know-
   your-customer procedures. Issuers must restrict Cards to a cumulative load amount not to exceed US
   $1,000, or local currency equivalent. Individual countries or Visa Regions may set a lower cap before
   requiring know-your-customer procedures. Cash access, Original Credit Transactions, and additional
   Load Transactions must be restricted according to the applicable Visa International Prepaid Program
   Guidelines.

   Effective Date

   14 April 2011

   Regulation Changes

   Added or revised the following:

   Chapter 5: Visa Products and Services

   • Reloadable Visa Prepaid Cards

   ID#: 151011-010100-0026623



   Cardholder Name on Contactless Cards in Hong Kong

   Background

   A variance has been granted to Hong Kong, permitting the Issuers of contactless Cards to issue
   these Cards with a generic identifier in place of the Cardholder name.

   Effective Date

   28 April 2011

   Regulation Changes

   Added or revised the following:

   Chapter 5: Visa Products and Services

   • Cardholder Name on Chip
   • Information in Chip Magnetic-Stripe Image

   ID#: 151011-010100-0026624




   18 October 2011                                    VISA PUBLIC                                      35
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 73 of 1319 PageID
                                                       #: 3266
                                    Visa International Operating Regulations




Miscellaneous Topics


Forensic Investigation Terminology Update

Background

Revisions have been made to replace the terms Qualified Forensic Investigator and Qualified Incident
Response Assessor, with the new industry standard term, PCI Forensic Investigator (PFI).



Effective Date

21 April 2011

Regulation Changes

Added or revised the following:

Chapter 1: Visa Operating Regulations Governance

• Additional Investigation

Glossary

• Payment Card Industry Forensic Investigator (PFI)
• Qualified Forensic Investigator
• Qualified Incident Response Assessor

ID#: 161111-010100-0026626



Visa Account Updater Service Expansion

Background

The Visa Account Updater Service is an optional service that enables participating Issuers to provide
updated Cardholder account information to participating Acquirers. Participation in this service is
mandatory for qualifying Members in Australia and New Zealand. The Visa Account Updater Terms of
Use for Australia and New Zealand has been introduced for Members in these countries.


Effective Date

15 October 2011 (for Australia)

14 April 2012 (for New Zealand)



36                                                 VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15            Page: 74 of 1319 PageID
                                                     #: 3267
                                       Visa International Operating Regulations



   Regulation Changes

   Added or revised the following:

   Chapter 5: Visa Products and Services

   • Visa Account Updater Service Participation – AP Region

   Appendices

   • Extensions - Products and Services



   ID#: 161111-010100-0026627



   New Visa Business Enhanced Credit Card, Changes to Visa Signature Business

   Background

   The U.S. Regional Operating Regulations have been updated to define a new, mid-tier business
   credit Card, Visa Business Enhanced. Modifications have also been made to product requirements
   for Visa Signature Business to create a 3-tier business product structure which is designed to align
   more closely with Member needs. A new document, the Visa Business Credit Cards Product and
   Implementation Guide – U.S. Region, has been published and added to the list of extensions.



   Effective Date

   15 October 2011

   Regulation Changes

   Added or revised the following:

   Chapter 5: Visa Products and Services

   • Commercial Card Core Feature Descriptions - U.S. Region
   • Commercial Products Spending Limit
   • Commercial Visa Product BIN Requirements - U.S. Region
   • Visa Business Card Issuer Requirements - U.S. Region
   • Visa Business Card Management Information Reporting - U.S. Region
   • Visa Business Enhanced Card Issuer Requirements - U.S. Region
   • Visa Signature Business Card Payment Options - U.S. Region
   • Visa Signature Business Card Rewards Program - U.S. Region
   • Visa Signature Business Cardholder Information - U.S. Region

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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 75 of 1319 PageID
                                                       #: 3268
                                    Visa International Operating Regulations



Chapter 10: Pricing, Fees and Interchange

• Utility Business Program - U.S. Region
• Visa Utility Program Interchange Reimbursement Fee Qualification - U.S. Region

Glossary

• Visa Business Enhanced - U.S. Region
• Visa Signature Business - U.S. Region
• Visa Utility Interchange Reimbursement Fee Program - U.S. Region

Appendices

• Extensions - Products and Services

ID#: 161111-010100-0026628



Support for Visa payWave Sticker Form Factor

Background

Revised and additional rules have been approved to support Issuer deployment of Visa payWave
stickers, the one-sided adhesive micro tag form factor that enables Proximity Payments. In addition to
ensuring compliance with applicable standards, the rules require Issuers to accept responsibility for
the risks of using stickers with mobile devices, and communicate those risks to their Cardholders.

In addition, the Visa Product Brand Standards have been updated to incorporate content from the
Visa Micro Tag Design and Branding Guide, which has been discontinued. A new document, the Visa
payWave Adhesive Micro Tag Requirements, has been added to the list of extensions.

Effective Date

9 June 2011

Regulation Changes

Added or revised the following:

Chapter 2: Visa System Participation

• Indemnification Related to Proximity Payment Devices/Visa Micro Tags

Chapter 5: Visa Products and Services

• Notification of Contactless Card Usage Restrictions - U.S. Region
• Notification of Proximity Payment Device Risks and Restrictions
• Proximity Payment Device Requirements



38                                                 VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15            Page: 76 of 1319 PageID
                                                     #: 3269
                                       Visa International Operating Regulations



   Glossary

   • Visa Micro Tag - U.S. Region

   Appendices

   • Extensions - Standards and Specifications

   ID#: 171011-010100-0026629



   Enable Debit Products with Verified by Visa for eCommerce in Brazil

   Background

   New Operating Regulations have been approved to enable consumer debit products, including Visa
   Electron Cards, with Verified by Visa to complete domestic Electronic Commerce Transactions in
   Brazil.

   Effective Date

   1 June 2012

   Regulation Changes

   Added or revised the following:

   Chapter 5: Visa Products and Services

   • Visa Debit Card Issuer Verified by Visa Participation for Brazil - LAC Region
   • Visa Electron Card Issuer Verified by Visa Participation for Brazil - LAC Region

   ID#: 151011-010100-0026630



   Visa Commercial Solutions Terms of Use

   Background

   Certain Visa Commercial Services applications migrated from the Visa Information Management
   (VIM) platform to a new location on Visa Online (VOL). Issuers will access these applications
   from a link on the VOL home page titled "Visa Commercial Services." The link will take the Issuer
   to the Commercial landing page which will contain the relevant links to the various commercial
   applications. Revisions have been made to reference the new Visa Commercial Services Terms of
   Use document for Members accessing the Visa Commercial Services website located on VOL.

   Effective Date

   11 April 2011

   Regulation Changes


   18 October 2011                                    VISA PUBLIC                                      39
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 77 of 1319 PageID
                                                       #: 3270
                                    Visa International Operating Regulations



Added or revised the following:

Chapter 5: Visa Products and Services

• Visa Commercial Solutions Data and Reporting Tools

ID#: 151011-010100-0026631



CPS/Automated Fuel Dispenser Interchange Reimbursement Fee Transaction Amount
Increase

Background

The maximum Transaction amount for qualification for the CPS/Automated Fuel Dispenser
Interchange Reimbursement Fee program in the U.S. Region has been increased to US $125.

For more information, please refer to:

“Visa Announces Interchange Modifications,” Visa Business News, 19 May 2011

Effective Date

18 June 2011

Regulation Changes

Added or revised the following:

Chapter 6: Payment Acceptance

• Automated Fuel Dispenser Requirements

Chapter 10: Pricing, Fees and Interchange

• CPS/Automated Fuel Dispenser Transaction Amount - U.S. Region

ID#: 151011-010100-0026633



Visa Cash Program Rules Cleanup

Background

Revisions were made to reflect the sunsetting of the Visa Cash Program and to align with the sunset
of rules in Volume V - Visa Cash Program Operating Regulations. Thus no new Visa Cash Cards
have been permitted to be issued since 30 June 2010, and no Visa Cash Cards will be accepted after
31 December 2013.

Effective Date




40                                                 VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15            Page: 78 of 1319 PageID
                                                     #: 3271
                                       Visa International Operating Regulations



   1 July 2010

   1 January 2014

   Regulation Changes

   Added or revised the following:

   About the Operating Regulations

   • Extensions to the Operating Regulations

   Chapter 1: Visa Operating Regulations Governance

   • Obligation to Comply with Card Design Specifications
   • Other Rules
   • Regional Rules
   • Visa International Operating Regulations

   Chapter 2: Visa System Participation

   • Notification to Visa of Member's Country

   Chapter 3: The Visa License

   • Copyright Notice for Copied Material

   Chapter 4: The Visa Brand

   • Hierarchy of Marks
   • Permitted Use of Other Marks

   Chapter 6: Payment Acceptance

   • Domestic Convenience Fee - CEMEA Region

   Chapter 9: Dispute Resolution

   • Pre-Arbitration Conditions
   • Representment Rights and Limitations - Reason Code 62

   Glossary

   • Card Dispensing Machine
   • Domestic Volume - CEMEA Region
   • Load Acquirer
   • Signature - CEMEA Region


   18 October 2011                                    VISA PUBLIC                                      41
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 79 of 1319 PageID
                                                       #: 3272
                                    Visa International Operating Regulations


• Visa Cash Card
• Visa Cash Program
• Visa Cash Program Participant
• Visa Cash Symbol

ID#: 151011-010100-0026634



Submission of Preauthorized Transaction Authorization Requests in the U.S. Region

Background

To ensure clarity for Members, the U.S. Regional Operating Regulation specifying the number and
frequency of Authorization Requests that may be submitted for a declined Preauthorized Transaction
in the U.S. Region has been reinstated.

Effective Date

Upon publication

Regulation Changes

Added or revised the following:

Chapter 6: Payment Acceptance

• Preauthorized Transaction Decline Response - U.S. Region

ID#: 151011-010100-0026636



Visa Payables Automation Globalization

Background

The Visa Payables Automation Service, formerly known as Accounts Payable Automation, is one of
the optional data management and reporting services described in the Visa Commercial Solutions
Data and Reporting Tools Service Guide. The service was launched in the U.S. Region in 2008 and
in 2010, the service was extended into the Canada Region. The addition of global rules supporting
Visa Payables Automation will enable the launch of the Visa Payables Automation service into
specific countries or geographies.

Effective Date

8 September 2011

Regulation Changes

Added or revised the following:




42                                                 VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15            Page: 80 of 1319 PageID
                                                     #: 3273
                                       Visa International Operating Regulations



   Chapter 5: Visa Products and Services

   • Visa Payables Automation
   • Visa Payables Automation - Canada Region

   Glossary

   • Visa Commercial Solutions Data and Reporting Tools
   • Visa Payables Automation
   • Visa Payables Automation - Canada Region
   • Visa Payables Automation - U.S. Region

   ID#: 151011-010100-0026637



   Use of Promotional Language on Prepaid Incentive Cards

   Background

   Revisions were approved to permit Issuers in the U.S. and Canada Regions to place promotional
   language on the front of prepaid Visa Incentive Cards, with prior approval from Visa. Additionally,
   the Visa Product Brand Standards were modified to allow such language on Visa Incentive Cards in
   these regions.

   Effective Date

   8 September 2011

   Regulation Changes

   Added or revised the following:

   Chapter 4: The Visa Brand

   • Prohibited Language - U.S. Region

   ID#: 151011-010100-0026638



   AP Region Major Topics


   Card Verification Value 2 Requirements in Australia

   Background

   The effective date for Merchants in Australia to capture Card Verification Value 2 and to include it
   in the Authorization Response has been changed to 1 April 2012. In addition to this, the mandate to
   capture Card Verification Value 2 has been limited to Electronic Commerce Merchants only.



   18 October 2011                                    VISA PUBLIC                                         43
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 81 of 1319 PageID
                                                       #: 3274
                                    Visa International Operating Regulations



Effective Date

1 April 2012

Regulation Changes

Added or revised the following:

Chapter 8: Risk Management

• Card Verification Value 2 (CVV2) Requirements in Australia – AP Region

ID#: 151011-010100-0026643



Visa Signature Card Qualifying Criteria Core Services

Background

To best complement Issuers’ existing premium consumer Cards, revisions have been made to
the Operating Regulations relating to Visa Signature Cards as follows:

• The Card downgrade requirement was revised
• The previously mandated emergency medical evacuation and repatriation service (in case of
  critical Cardholder medical need) and the emergency medical insurance when traveling (with a
  medical expense benefit of up to US $25,000 or local currency equivalent) have been removed
• The Minimum Spending Limits were re-defined via a table in the local currency equivalents for each
  market in AP Region that participates in Visa Signature

Effective Date

1 May 2011

Regulation Changes

Added or revised the following:

Chapter 5: Visa Products and Services

• Visa Signature Card Core Services - AP Region
• Visa Signature Card Issuance - AP Region

ID#: 151011-010100-0026644



Visa Platinum Debit Card Issuance Requirements in Australia

Background




44                                                 VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15            Page: 82 of 1319 PageID
                                                     #: 3275
                                       Visa International Operating Regulations



   To assist with the launch of Visa Platinum Debit in Australia, Operating Regulations were approved to
   regulate the product requirements for the market. The Operating Regulations are specific to Australia
   and are in addition to the existing global and AP Region requirements.

   Effective Date

   1 May 2011

   Regulation Changes

   Added or revised the following:

   Chapter 5: Visa Products and Services

   • Visa Platinum Card Country Specific Minimum Spending Limits – AP Region
   • Visa Platinum Debit Card Issuance Requirements for Australian Issuers – AP Region

   ID#: 151011-010100-0026645



   Visa Signature Card Qualifying Criteria Core Services – Technical Corrections

   Background

   A technical correction has been made to the country specific Visa Signature Card Minimum Spending
   Limits in the AP Region for Hong Kong and Malaysia.

   Effective Date

   27 July 2011

   Regulation Changes

   Added or revised the following:

   Chapter 5: Visa Products and Services

   • Visa Signature Card Issuance - AP Region

   ID#: 151011-010100-0026646



   Additional MCCs for Visa Easy Payment Service (VEPS) Transactions and Revised
   Date for Lifting the MCC Restriction in Australia

   Background

   Revisions have been made to the Visa International Operating Regulations to expand the Visa Easy
   Payment Service (VEPS) eligible Merchant Category Codes (MCCs) in Australia to include MCC
   5735, MCC 5811, MCC 7538, and to revise the date for lifting the restriction on eligible Visa Easy
   Payment Service (VEPS) Transaction MCCs to 1 November 2012.


   18 October 2011                                    VISA PUBLIC                                      45
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 83 of 1319 PageID
                                                       #: 3276
                                    Visa International Operating Regulations



Effective Date

5 August 2011

Regulation Changes

Added or revised the following:

Chapter 6: Payment Acceptance

• Australia Visa Easy Payment Service Transaction Merchant Category Codes – AP Region

ID#: 151011-010100-0026647



Clearing Timeframes for Domestic Visa Debit Transactions Conducted at Automated
Fuel Dispensers in Malaysia

Background

Revisions to the Transaction Deposit time limits and Transaction Receipt processing time limits were
made for Malaysia to support the Malaysia central bank's request. For Malaysia domestic Visa debit
Transactions originating at Automated Fuel Dispensers:

• The Merchant Transaction Deposit time limit is lowered to 2 business days from the Transaction
  Date
• The Transaction Receipt processing time limit is lowered to 3 calendar days from the Transaction
  Date, excluding local non-processing days
• The Issuers in Malaysia are given the right to charge back for Reason Code 74 if the Visa debit
  Transaction originating at an Automated Fuel Dispenser is cleared after 6 calendar days from the
  Transaction Date



Effective Date

15 October 2011

Regulation Changes

Added or revised the following:

Chapter 6: Payment Acceptance

• Transaction Receipt Deposit Time Limits in Malaysia - AP Region

Chapter 7: Transaction Processing

• Transaction Receipt Processing Time Limits in Malaysia - AP Region




46                                                 VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15            Page: 84 of 1319 PageID
                                                     #: 3277
                                       Visa International Operating Regulations



   Chapter 9: Dispute Resolution

   • Chargeback Rights and Limitations - Reason Code 74

   ID#: 161111-010100-0026648



   Introduction of Visa Infinite Preferred Product Issuance Guidelines in Singapore

   Background

   Operating Regulations were approved to permit and regulate the issuance of a Visa Infinite
   Preferred Card product in Singapore. The new product is subject to the requirements in the Visa
   International Operating Regulations and the AP Regional Operating Regulations. In addition,
   Issuers are required to comply with the product requirements for Visa Infinite Preferred Card issuance
   as specified in the Visa Infinite Preferred Card Product Guide – AP Region.

   Effective Date

   4 November 2011

   Regulation Changes

   Added or revised the following:

   Chapter 5: Visa Products and Services

   • Visa Infinite Preferred Card BIN in Singapore – AP Region
   • Visa Infinite Preferred Card in Singapore – AP Region

   Appendices

   • Visa Infinite Preferred Card Product Guide – AP Region

   Glossary

   • Visa Infinite Preferred Card – AP Region

   ID#: 151011-010100-0026649



   Verified by Visa Mandate for Domestic Electronic Commerce Transactions in India

   Background

   Revisions have been made to require an Issuer in India that processes Electronic Commerce
   Transactions to ensure that its Visa credit, debit, and Reloadable Cards are enrolled in Verified by
   Visa. An Issuer must only authorize a domestic Electronic Commerce Transaction with an ECI value
   5, “Secure Electronic Commerce Transaction.” Issuers must ensure that appropriate communication
   to Cardholders takes place in advance of the above mandate coming into effect.



   18 October 2011                                    VISA PUBLIC                                      47
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 85 of 1319 PageID
                                                       #: 3278
                                    Visa International Operating Regulations



Further revisions have been made to require all Electronic Commerce Merchants in India to support
Verified by Visa. All Acquirers must process Electronic Commerce Transactions that are coded with
an ECI value 5, “Secure Electronic Commerce Transaction” using Verified by Visa.

Effective Date

31 December 2011

Regulation Changes

Added or revised the following:

Chapter 5: Visa Products and Services

• Verified by Visa Acquirer Requirements in India – AP Region
• Verified by Visa Issuer Requirements in India – AP Region

ID#: 151011-010100-0026650



Card Verification Value 2 Requirements in Hong Kong

Background

New Operating Regulations have been incorporated that require all Electronic Commerce Merchants
in Hong Kong to capture Card Verification Value 2 and include it in the Authorization Request. All
Acquirers in Hong Kong must correctly process Card Verification Value 2 response codes.

Effective Date

1 October 2011

Regulation Changes

Added or revised the following:

Chapter 8: Risk Management

• Card Verification Value (CVV2) Requirements in Hong Kong – AP Region

ID#: 151011-010100-0026651



CEMEA Region Major Topics


Electronic Commerce License Eligibility Criteria - CEMEA Region

Background




48                                                 VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15            Page: 86 of 1319 PageID
                                                     #: 3279
                                       Visa International Operating Regulations



   The CEMEA Regional Operating Regulations regarding the eligibility requirements to obtain a license
   to acquire Electronic Commerce Transactions within the countries making up the CEMEA Region
   have been revised and simplified. Most significantly, the prerequisite for Members to demonstrate that
   they are Acquirers of Transactions in a Face-to-Face Environment has been removed. This change
   will allow qualifying Acquirers of Electronic Commerce Transactions that specialize in this segment
   and have no interest in pursuing "physical" acquiring activities to obtain the required acquiring
   licenses to become a Visa Acquirer.

   Effective Date

   8 September 2011

   Regulation Changes

   Added or revised the following:

   Chapter 6: Payment Acceptance

   • Standards for Acquirers of Electronic Commerce Transactions - CEMEA Region

   ID#: 151011-010100-0026653



   LAC Region Major Topics


   Visa Agro

   Background

   New Operating Regulations have been approved for a new commercial product, Visa Agro, for use
   in the LAC Region, as a replacement for the current paper based and cash systems used to pay for
   agribusiness goods and services. Visa Agro is a Visa Card issued to commercial entities (public and
   private) used for commercial purchases associated with the agribusiness sector.

   A variance has been approved to allow all Issuers in Brazil to combine the Visa Card credit, debit,
   prepaid, consumer, and commercial programs in a single BIN.

   Effective Date

   8 September 2011

   1 May 2012

   Regulation Changes

   Added or revised the following:

   Chapter 5: Visa Products and Services

   • Commercial Card Corporate Liability Waiver Insurance - LAC Region


   18 October 2011                                    VISA PUBLIC                                        49
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 87 of 1319 PageID
                                                       #: 3280
                                    Visa International Operating Regulations


• Prohibition against Combining Card Programs on Single BIN
• V Distribution Program BIN
• Visa Agro BIN - LAC Region
• Visa Agro Card Core Features – LAC Region
• Visa Agro Card Core Services – LAC Region
• Visa Agro Card Selective Authorization – LAC Region
• Visa Agro Issuer Reporting Requirements - LAC Region
• Visa Agro Issuer Requirements – LAC Region

Glossary

• Visa Agro Card - LAC Region
• Visa Commercial Card - LAC Region

ID#: 171011-010100-0026655



U.S. Region Major Topics


Visa SavingsEdge

Background

The Visa SavingsEdge (VSE) program is a loyalty program targeting Visa Business Cardholders that
provides price discounts in the form of statement credits rather than coupons or codes to enrolled
Visa Business (including Visa Business Debit and Visa Signature Business) Cardholders when they
make qualifying purchases at participating Merchants.

Operating Regulations are revised to formalize the program and make Visa SavingsEdge generally
available to all U.S. Small Business Issuers. Each U.S. Small Business Issuer will be deemed to be
participating unless the Issuer opts out in accordance with the specified opt-out process.



Effective Date

15 July 2011

Regulation Changes

Added or revised the following:

Chapter 2: Visa System Participation

• Visa SavingsEdge Indemnification - U.S. Region




50                                                 VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15            Page: 88 of 1319 PageID
                                                     #: 3281
                                       Visa International Operating Regulations



   Chapter 5: Visa Products and Services

   • Visa SavingsEdge - Use of Program Name - U.S. Region
   • Visa SavingsEdge Discount Posting Requirements - U.S. Region
   • Visa SavingsEdge Marketing Materials - U.S. Region
   • Visa SavingsEdge Participation Requirements - U.S. Region
   • Visa SavingsEdge Program Limitations – U.S. Region

   Glossary

   • Visa SavingsEdge – U.S. Region

   Appendices

   • Extensions - Products and Services

   ID#: 161111-010100-0026657



   Separation of Convenience Fees for Government and Higher Education Segments

   Background

   Allows the separation of the payment and fee Transactions when a Convenience Fee is assessed via
   a third party payment provider under the following conditions:

   • The Transaction originates from one of the following MCCs:

   - 9211 Court Costs
   - 9222 Fines
   - 9399 Government Services
   - 8220 Higher Education

   • The third party is the Merchant of record for fee payment
   • The fee appears as a separate Transaction in the Cardholder statement with the third party's name
     in the Merchant descriptor filed identifying the Transaction as a Convenience Fee

   Effective Date

   10 March 2011

   Regulation Changes

   Added or revised the following:

   Chapter 6: Payment Acceptance

   • Convenience Fees - General Requirements - U.S. Region 5.2.E



   18 October 2011                                    VISA PUBLIC                                      51
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 89 of 1319 PageID
                                                       #: 3282
                                    Visa International Operating Regulations


• Convenience Fees Not Assessed by a Third Party - U.S. Region 5.2.E
• Tax Payment Program Merchant Convenience Fee Requirements - U.S. Region 5.2.E
• Tax Payment Program Service Fee Processing Requirements - U.S. Region

ID#: 171011-010100-0026658



Card Acceptance Process Rationalization for Magnetic-Stripe Failures at the Point of
Sale

Background

Operating Regulations have been approved to allow the use of the Card Verification Value 2 for all
U.S. Domestic Transactions in a Face-to-Face Environment when an Electronic Imprint cannot be
obtained (key-entered Transactions).



Effective Date

15 October 2011

Regulation Changes

Added or revised the following:

Chapter 5: Visa Products and Services

• Electronic Use Only Visa Prepaid Card Encoding and Printing Requirements - U.S. Region

Chapter 6: Payment Acceptance

• Manual Transaction Receipts - U.S. Region
• Mini Card Acceptance - U.S. Region
• Missing Imprint or Expired Card

Chapter 8: Risk Management

• CVV2 in Lieu of Imprint - U.S. Region
• CVV2 Submission in a Face-to-Face Environment - U.S. Region
• CVV2 Validation - U.S. Region

Chapter 9: Dispute Resolution

• Additional Information - Reason Code 81
• Documentation - Reason Code 81
• Invalid Chargebacks - Reason Code 81



52                                                 VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15            Page: 90 of 1319 PageID
                                                     #: 3283
                                       Visa International Operating Regulations


   • Representment Processing Requirements - Reason Code 81
   • Representment Rights and Limitations - Reason Code 81

   ID#: 161111-010100-0026659



   Visa Consumer Charge Card Product Definition

   Background

   Operating Regulations have been updated to clarify that Issuers in the U.S. Region may issue
   Consumer Charge Cards as a subset of Visa Consumer Credit product in accordance with the
   requirements specified in Visa Consumer Charge Card Product and Implementation Guide, and
   following prior approval from Visa.

   Effective Date

   24 February 2011

   Regulation Changes

   Added or revised the following:

   Chapter 5: Visa Products and Services

   • Visa Charge Card Classification - U.S. Region
   • Visa Charge Card Issuer Requirements - U.S. Region
   • Visa Signature Card Issuer Requirements - U.S. Region
   • Visa Signature Card Spending Limits and Payment Options - U.S. Region
   • Visa Signature Preferred Card Issuer Requirements - U.S. Region
   • Visa Signature Preferred Card Spending Limits and Payment Options - U.S. Region

   Chapter 7: Transaction Processing

   • Minimum Monthly Authorization Approval Rate Requirements - Consumer Credit at ATM - U.S.
     Region

   Chapter 10: Pricing, Fees and Interchange

   • Performance Threshold Interchange Reimbursement Fee - Visa Consumer Credit - U.S. Region

   Glossary

   • Visa Charge Card - U.S. Region
   • Visa Consumer Credit Card - U.S. Region

   Appendices




   18 October 2011                                    VISA PUBLIC                                      53
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 91 of 1319 PageID
                                                       #: 3284
                                    Visa International Operating Regulations


• Extensions - Products and Services

ID#: 171011-010100-0026660



Visa Debit with PIN Transactions

Background

Revisions to the U.S. Regional Operating Regulations have been made to clarify rules related to the
processing of PIN debit Transactions, including more closely aligning processing requirements and
procedures with Interlink rules. Significant changes pertain to Adjustment time limits, Cash-Back only
Transactions, Chargeback procedures, partial preauthorization, and resubmission requirements. In
addition, the Visa Check Card II product is being phased out over a 3-year period.



Effective Date

14 April 2012

1 July 2012

1 July 2015

Regulation Changes

Added or revised the following:

Chapter 1: Visa Operating Regulations Governance

• Visa Right to Monitor, Audit, Inspect or Investigate – U.S. Region

Chapter 2: Visa System Participation

• PIN Security

Chapter 5: Visa Products and Services

• Check Card BIN Usage - U.S. Region
• Visa Check Card II Issuance – U.S. Region
• Visa Check Card II Requirements - U.S. Region
• Visa Debit Card Issuer Cash-Back Requirements – U.S. Region
• Visa Debit Card Partial Preauthorization – U.S. Region

Chapter 6: Payment Acceptance

• Authorization Code on Transaction Receipt
• Automated Fuel Dispenser Authorization Options - U.S. Region 5.2.K



54                                                 VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15            Page: 92 of 1319 PageID
                                                     #: 3285
                                       Visa International Operating Regulations


   • Cardholder Identification and Card Verification Table - U.S. Region 5.2.J.1.a
   • Cash-Back Services
   • Cash-Back Services Participation – U.S. Region
   • Data Requirements for Visa Debit with PIN Transactions – U.S. Region
   • Face-to-Face Electronic Purchase or Credit Transaction Receipt Data Requirements Table 7I-1
   • Point-of-Transaction Terminal PIN Requirements – U.S. Region
   • Transaction Receipt Reversal or Adjustment 5.3.D.3.a
   • Validation of Cardholder Identity 5.1.D.1.a
   • Visa Debit with PIN Transaction Processing Requirements – U.S. Region
   • Visa Debit with PIN Transaction Resubmissions – U.S. Region

   Chapter 7: Transaction Processing

   • Original Adjustment through VisaNet
   • Out-of-Balance Online Check Card Transactions - U.S. Region
   • Visa Debit with PIN Transaction Adjustments – U.S. Region

   Chapter 9: Dispute Resolution

   • Chargeback Conditions - Reason Code 80
   • Chargeback Processing Requirements - Reason Code 74
   • Chargeback Rights and Limitations - Reason Code 72
   • Chargeback Rights and Limitations - Reason Code 74
   • Chargeback Time Limit - Reason Code 74
   • Introduction to Dispute Resolution - U.S. Region
   • Invalid Chargebacks - Reason Code 57
   • Invalid Chargebacks - Reason Code 60
   • Invalid Chargebacks - Reason Code 71
   • Invalid Chargebacks - Reason Code 72
   • Invalid Chargebacks - Reason Code 75
   • Invalid Chargebacks - Reason Code 82
   • Transaction Receipt Fulfillment Exceptions

   Chapter 10: Pricing, Fees and Interchange

   • Cash-Back Interchange Reimbursement Fee - U.S. Region

   Glossary

   • Online Check Card Transaction - U.S. Region


   18 October 2011                                    VISA PUBLIC                                      55
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 93 of 1319 PageID
                                                       #: 3286
                                    Visa International Operating Regulations


• Original Adjustment - U.S. Region
• Visa Cash-Back Service
• Visa Check Card II - U.S. Region
• Visa Debit Card - U.S. Region
• Visa Debit with PIN Transaction – U.S. Region

Appendices

• Extensions - Products and Services

ID#: 161111-010100-0026661



Other Revisions


Effective Dates

Most effective dates older than one year have been deleted.

ID#: 151011-010100-0026663



Minor Edits, Grammar, Punctuation, and Rephrasing

The Visa International Operating Regulations is updated throughout the year and published to
support new products, services and programs, and to modify existing rules to respond to changes in
the electronic payments industry. Part of this update process includes incorporating minor editorial
revisions to ensure consistency and clarity and to delete obsolete language and exhibits. In addition,
some exhibits have been streamlined or globalized.

ID#: 151011-010100-0026662




56 October 2011
18                                                 VISA PUBLIC
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Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15            Page: 94 of 1319 PageID
                                                     #: 3287
                                       Visa International Operating Regulations




   About the Operating Regulations

   General Overview

   What are Operating Regulations?


   Purpose

   Visa has established regulations that are designed to minimize risks and provide a common,
   convenient, safe, and reliable global payment experience. The Visa International Operating
   Regulations are set and modified by Visa to support the use and innovation of Visa products
   and services, and represent a binding contract between Visa and all Members. The Operating
   Regulations do not constitute a third-party beneficiary contract as to any entity or person, nor do they
   constitute a contract, promise or representation, or confer any rights, privileges, or claims of any kind
   as to any third parties.

   The Visa International Operating Regulations are based on consistent principles around the globe to
   ensure a common payment experience, while supporting region-specific and domestic regulations
   that allow for variations and unique marketplace needs. The Visa International Operating Regulations
   are proprietary and confidential to Visa. The Visa International Operating Regulations are distributed
   to Members for use exclusively in managing their Visa programs and must not be duplicated,
   published, distributed or disclosed, in whole or in part, to Merchants, Cardholders, or any other
   person without prior written permission from Visa.

   The Visa Operating Regulations are updated regularly. You are responsible for obtaining and
   referring to the current content of the Visa International Operating Regulations on the Visa Publication
   Center at all times.

   ID#: 050411-010410-0020308



   General Contents

   The Visa International Operating Regulations specifies standards that all Members must meet to
   operate and participate in Visa payment services, and contains:

   • The International regulations applicable to all Members of Visa International and its subsidiaries
   • AP Regional Operating Regulations applicable to Members operating in the Asia-Pacific Region,
     including clients of Visa Worldwide Private Ltd.
   • Canada Regional Operating Regulations applicable to customers operating in the Canada Region
   • CEMEA Regional Operating Regulations applicable to Members operating in the Central Europe,
     Middle East, & Africa Region
   • LAC Regional Operating Regulations applicable to Members operating in the Latin America &
     Caribbean Region


   18 October 2011                                    VISA PUBLIC                                          57
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 95 of 1319 PageID
                                                       #: 3288
                                    Visa International Operating Regulations


• U.S. Regional Operating Regulations applicable to Members operating in the U.S. Region

Content unique to a specific region is indicated within titles, language, and system attributes.

Note: As a separate company, Visa Europe independently manages the publication of the Visa
Europe Operating Regulations. Common regulations that are necessary to ensure the continued
interoperability and consistency of the Visa brand, global payment transactions and system
interoperability are found in both the Visa International Operating Regulations and the Visa Europe
Operating Regulations.

ID#: 050411-010410-0020309



What Do Operating Regulations Include?


General

The Visa International Operating Regulations is organized according to the "Visa International
Operating Regulations - Core Principles" that describes the expectations and requirements for
participating in the Visa system. These Core Principles are outlined below and are also described at
the beginning of each chapter. They are intended to:

• Serve as fundamental policy statements that describe the rules and processes designed to ensure
  the long-term value and reliability of Visa's products, system and brand
• Be presented in general terms as broad guidelines or statements of intent to guide business
  discussions, dealings and decisions, absent a specific rule
• Provide global consistency for the integrity of the Visa brand and system

ID#: 010410-010410-0020310




Organization

Operating Regulations Structure


Chapter Descriptions

The Operating Regulations are organized according to the "Visa International Operating Regulations -
Core Principles" that describe the expectations and requirements for participating in the Visa system.

Core Principle 1: Visa Operating Regulations Governance - Outlines the scope and application of
the Visa International Operating Regulations, a Member's requirement to comply with the Operating
Regulations, and general fines for non-compliance.

Core Principle 2: Visa System Participation - Specifies minimum requirements for Members, Third
Parties and VisaNet Processors, including liability and indemnification provisions.



58                                                 VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15            Page: 96 of 1319 PageID
                                                     #: 3289
                                       Visa International Operating Regulations



   Core Principle 3: The Visa License - Specifies various license, copyright and trademark provisions.

   Core Principle 4: The Visa Brand - Specifies Member requirements for reproduction of the Visa-
   Owned Marks, including Card production, promotions, sponsorships and responsibilities for non-Card
   use of the Visa-Owned Marks.

   Core Principle 5: Visa Products and Services - Specifies both Issuer requirements for
   participation in the Visa, Visa Electron and Plus programs, and Acquirers with respect to Acquirer-
   Merchant contracts, terminal requirements, Electronic Commerce and participation in the Visa Global
   ATM Program.

   Core Principle 6: Visa Payment Acceptance - Specifies requirements for Merchants, including
   Transaction acceptance, special Merchant payment acceptance services and Transaction Receipt
   completion and processing.

   Core Principle 7: Transaction Processing - Specifies Member requirements for payment
   processing, including Authorization, Clearing, and Settlement.

   Core Principle 8: Risk Management - Specifies general security requirements, the rights and
   responsibilities of Visa and Members related to risk management and security, counterfeit losses, and
   the Visa risk management services.

   Core Principle 9: Dispute Resolution - Governs the Transaction Receipt retrieval process, as
   well as a Member's attempts to resolve disputes and the processes available to the Member if
   its resolution efforts are unsuccessful. These processes include Chargebacks, Representments,
   Arbitration, and Compliance.

   Core Principle 10: Pricing, Fees and Interchange - Specifies international fees applicable to
   Members, Interchange Reimbursement Fees, and procedures for collection, disbursement, and
   problem resolution.

   Exhibits - Groups exhibits by topic for easy reference.

   Maximum Authorized Floor Limits - Lists maximum authorized Floor Limits according to country.

   Defined Terms - Lists terms used throughout the Visa International Operating Regulations that
   have a meaning beyond, or in lieu of, their dictionary meaning.

   ID#: 010410-010410-0020311




   18 October 2011                                    VISA PUBLIC                                      59
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 97 of 1319 PageID
                                                       #: 3290
                                    Visa International Operating Regulations




Other Publications

References to Other Publications


Extensions to the Operating Regulations (Updated)

The Visa International Operating Regulations refers to other Visa publications. Information in these
publications is considered an extension of the Visa International Operating Regulations and applies
if a Member participates in its respective services. The Visa International Operating Regulations
governs in the event of any inconsistency or contradiction. Other Visa publications include:

• Visa International Certificate of Incorporation and Bylaws
• Visa U.S.A. Inc. Certificate of Incorporation and Bylaws
• Interlink Network, Inc. Bylaws and Operating Regulations
• Effective through 31 December 2013, Visa Cash Program Operating Regulations
• Plus System, Inc. Bylaws and Operating Regulations
• Visa Product Brand Standards

ID#: 111011-010410-0020312




Authoring Style

General Authoring Conventions


Grammar and Usage

The following conventions apply to grammar and usage throughout the Visa International Operating
Regulations:

• "Visa" refers to any Visa Region, regional office, management or committee as applicable
• "Visa International Operating Regulations" refers to content from the Visa International Operating
  Regulations and all Regional Operating Regulations.
• The singular imports the plural, and the plural imports the singular. For example: "A Merchant
  must ...," implies that "All Merchants must..."
• Combination of Terms:
     – The term "Transaction" when combined with a Merchant type means a Transaction completed at
       that Merchant Outlet or Branch. For example: "Airline Transaction" means "a Transaction at an
       Airline."




60                                                 VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15            Page: 98 of 1319 PageID
                                                     #: 3291
                                       Visa International Operating Regulations


     – The term "Cardholder" when combined with a Card product name means the Cardholder of that
       Card type. For example: "Visa Electron Cardholder" or "Visa Classic Cardholder"
     – Other terms may be combined in a similar manner

   ID#: 010410-010410-0020313



   Symbols and Style

   In the Visa International Operating Regulations, special symbols and conventions are used as
   follows:

   • Words that appear with initial capitalization have a special meaning beyond, or in lieu of, their
     dictionary meaning. These terms are specified in Defined Terms.
   • Bold type is used for visual emphasis
   • References to other documents and sections within the document are included as a hyperlink and
     either formatted in italics or enclosed within quotation marks

   ID#: 010410-010410-0020314



   Changes to the Operating Regulations

   Changes to the Visa International Operating Regulations will be communicated and identified as part
   of the "Summary of Changes" for each edition.

   Unless an effective date is specified in the text for a change to the Visa International Operating
   Regulations, all changes are effective on the publication date.

   ID#: 010410-010410-0020315




   Contents Numbering

   Section Numbering


   Unique Regulation Identifiers

   Legacy alpha-numeric section numbering designed for traditional book publishing has been replaced
   with a unique regulation Identification (ID) code more appropriate for dynamic online publication
   capabilities.




   18 October 2011                                    VISA PUBLIC                                        61
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 99 of 1319 PageID
                                                       #: 3292
                                    Visa International Operating Regulations



The unique ID remains with each regulation for as long as the regulation remains unchanged. If
modified, the regulation ID is updated to reflect the date of change, but a unique 7-digit reference
number is retained to allow users to easily track the lifecycle of any given regulation. When searching
by section number, or quoting a particular section within the Visa International Operating Regulations,
the user may use or refer to the final digits in the ID sequence as the regulation number.

ID#: 050411-010410-0020316



Unique Identifier Format

The new regulation ID format includes the date the regulation section was published, its effective
date, and a unique 7-digit reference number. The format is as follows:

(Publication date) DDMMYY - (Effective date) DDMMYY - (unique 7-digit reference #) 1234567

Sample: ID# 090909-171009-0003557

ID#: 010410-010410-0020317




62                                                 VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 100 of 1319
                                               PageID #: 3293
                                    Visa International Operating Regulations




Chapter 1: Visa Operating Regulations Governance

Core Principle 1.1

The Operating Regulations


Binding Contract

The Visa Operating Regulations represent a binding contract between Visa and participants in the
system.

ID#: 010410-010410-0007750




Core Principle 1.2

Visa Management


Setting the Rules

Visa Operating Regulations are set and modified by Visa management to support the use of Visa
products and services for all participants in the electronic payments chain. To protect the Visa system
and brand, maintain its leadership position, and deliver competitive value to all system participants,
Visa constantly evaluates marketplace trends, technological developments, and opportunities for
greater efficiency or innovation, and modifies its rules to respond to business and technology trends.

ID#: 010410-010410-0007751




Core Principle 1.3

Compliance


Monitoring Compliance

Visa actively and reactively monitors compliance with Visa Operating Regulations, for product, brand
and technical requirements, merchant acceptance procedures, and industry-wide standards.

ID#: 010410-010410-0007752




18 October 2011                                    VISA PUBLIC                                       63
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     Case: 4:13-cv-02226-JAR                    Doc. #: 85-5 Filed: 02/12/15   Page: 101 of 1319
                                                   PageID #: 3294
                                    Visa International Operating Regulations




Core Principle 1.4

Consistency


Ensuring a Common Experience

Visa Operating Regulations are based on consistent principles around the globe to ensure a common
experience, while supporting region-specific and domestic rules that allow for variations and unique
marketplace needs.

ID#: 010410-010410-0007753




Core Principle 1.5

Conflicts


Settling Conflicts

In the event of any conflict between the Visa Operating Regulations and any applicable laws or
regulations, the requirements of such law or regulation will govern.

ID#: 010410-010410-0007754




Core Principle 1.6

Variances and Waivers


Granting Variances and Waivers

Visa management may grant variances or temporary waivers to Visa Operating Regulations for
unique marketplace conditions and customer needs, including emergency variances that may be
granted in the event of a natural disaster.

ID#: 010410-010410-0007755




64                                                 VISA PUBLIC                       18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 102 of 1319
                                               PageID #: 3295
                                    Visa International Operating Regulations




Use and Application of Bylaws and Operating Regulations

Obligation to Comply with Bylaws and Visa International Operating
Regulations


Visa International Bylaws (Updated)

The Visa International Certificate of Incorporation and Bylaws specify the minimum standards with
which Members must comply unless the Board of Directors specifically grants a variance. Visa
U.S.A. Inc. and Visa Canada have separate bylaws governing their Members. In addition, the Visa
International Certificate of Incorporation and Bylaws delegate certain authority to the Regional
Offices.

ID#: 121011-010410-0000342



Appendix E - Canada Region

A Canada Member must comply with "Appendix E" to the Visa Canada Operating Regulations.

ID#: 010410-010410-0003767



Use and Application of Operating Regulations


Applicable Laws

A Member must comply with applicable laws and a Transaction must be legal in both the Cardholder's
jurisdiction and the Merchant Outlet's jurisdiction. In the event of any conflict between the Visa
International Operating Regulations and any applicable law, the requirements of the law govern. See
also:

• "Cardholder Notifications"
• "Merchant Agreement"

ID#: 010410-010410-0000385



Definition of a U.S. Domestic Transaction - U.S. Region

A Transaction is considered a U.S. Domestic Transaction if it occurs inside one of the following:

• The 50 United States, including the District of Columbia
• A U.S. military base overseas




18 October 2011                                    VISA PUBLIC                                      65
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     Case: 4:13-cv-02226-JAR                    Doc. #: 85-5 Filed: 02/12/15     Page: 103 of 1319
                                                   PageID #: 3296
                                    Visa International Operating Regulations


• A U.S. embassy or consulate on foreign territory

ID#: 010410-010410-0003684



Use of the Visa International Operating Regulations

The Visa International Operating Regulations are only to be reviewed or used in connection with the
Visa payment services and must not be used, modified, copied, downloaded, transferred, or printed
in part or in total for any other purpose without the express written permission of Visa.

The Visa International Operating Regulations govern the relationship between Visa and its Members
and their agents. The Visa International Operating Regulations do not constitute a third-party
beneficiary contract as to any entity or person, nor do they constitute a contract, promise, or
representation or confer any rights, privileges, or claims of any kind, as to any third parties.

Visa may amend, modify, delete, or otherwise change the Visa International Operating Regulations at
any time. Changes will be reflected in the next edition of the Visa International Operating Regulations.

ID#: 081010-010410-0007428



Use and Application of the U.S. Regional Operating Regulations - U.S. Region

The U.S. Regional Operating Regulations apply only to financial institutions conducting Card issuing
and Merchant acquiring activities within the U.S. Region as Members of Visa U.S.A. Inc. and their
Agents. As such, the U.S. Regional Operating Regulations govern the relationship between Visa
U.S.A. Inc. and its Members and their Agents.

ID#: 010410-010410-0003436



Operating Regulation Violations - Canada Region

A Canada Member must not do anything to cause Visa Canada to violate the Canada Regional
Operating Regulations or the Visa International Operating Regulations.

ID#: 010410-010410-0003760



Obligations Imposed on Visa Canada - Canada Region

A Canada Member must perform obligations imposed on Visa Canada under the Canada Regional
Operating Regulations or the Visa International Operating Regulations that arise out of Interchange or
a Transaction resulting in Interchange, between the Member and a non-Member of Visa Canada.

ID#: 010410-010410-0003768




66                                                 VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 104 of 1319
                                               PageID #: 3297
                                    Visa International Operating Regulations




Obligation to Comply with the “Code of Conduct” – Canada Region

In the Canada Region, all Members must abide by the "Code of Conduct for the Credit and Debit
Card Industry" as outlined in Appendix 1 as it may be amended from time to time (the "Code").
Members must ensure that all participants which the Member is responsible for under the Visa
International Operating Regulations including participants that interact, directly or indirectly with
Merchants or Cardholders (including without limitation, VisaNet Processors and Third Parties) on
behalf of the Member must abide by the Code.

All Members will be required, on an annual basis, to submit to Visa:

• By 31 January of each year, an officer's certificate, in the form attached as Schedule A-1,
  confirming their compliance with the Code.
• By 15 August of each year, a Code of Conduct Compliance Questionnaire in the form required by
  Visa from time to time.

A Member that fails to submit a completed officer's certificate or questionnaire as required will be
subject to a penalty of CAD $100,000 per month of non-compliance.

Visa may, in its sole discretion, charge any Member or Members, fees charged to Visa Canada by the
Financial Consumer Agency of Canada with respect to compliance with the Code, where such fee is
attributable to that Member or its VisaNet Processor or its Third Party.

ID#: 111011-160810-0025973



Obligation to Comply with Operating Regulations


Visa International Operating Regulations Description

Effective through 31 December 2013, the Visa International Operating Regulations specify the
common rules with which Members must comply when operating and participating in the Visa, Visa
Electron, Visa Cash, Plus, Interlink, and Visa TravelMoney Programs, unless Visa specifically grants
a variance.

Effective 1 January 2014, the Visa International Operating Regulations specify the common rules
with which Members must comply when operating and participating in the Visa, Visa Electron, Plus,
Interlink, and Visa TravelMoney Programs, unless Visa specifically grants a variance.

ID#: 111011-010410-0000343



Obligation to Comply with Card Design Specifications (Updated)

Issuers must comply with the following specifications for Card design, as applicable:

• Visa Product Brand Standards for all Visa and Visa Electron Cards
• Effective through 31 December 2013, Visa Cash Program Operating Regulations


18 October 2011                                    VISA PUBLIC                                          67
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     Case: 4:13-cv-02226-JAR                    Doc. #: 85-5 Filed: 02/12/15   Page: 105 of 1319
                                                   PageID #: 3298
                                    Visa International Operating Regulations


• Visa TravelMoney Product Guide

ID#: 111011-010410-0007012



Member Responsibilities - U.S. Region

A U.S. Member must perform all obligations imposed on Visa U.S.A. Inc. under the Visa International
Operating Regulations that arise out of Interchange or a Transaction resulting in Interchange between
the Member and a Foreign Licensee.

The Member must not do anything to cause Visa U.S.A. Inc. to violate the Visa International
Operating Regulations.

ID#: 050411-010210-0000349




Local, Domestic, and Regional Operating Regulations and
Private Agreements

Regional Operating Regulations


Visa International Operating Regulations - Canada Region

Except as otherwise provided in the Canada Regional Operating Regulations and any Services
Agreement, the provisions of the Visa International Operating Regulations apply to Canada Members
operating in the Canada Region.

ID#: 010410-010410-0000380



National, Group Members, and Private Agreements


Private Processing Arrangements Prohibition — AP Region

Effective 1 April 2011, Private Processing Arrangements are prohibited in the AP Region for
Members in Malaysia, Philippines, Singapore, Thailand and Vietnam.

ID#: 050411-010411-0026202



Private Arrangements Prohibition - U.S. Region

Private Arrangements are prohibited in the U.S. Region.

ID#: 010410-010410-0000384




68                                                 VISA PUBLIC                       18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 106 of 1319
                                               PageID #: 3299
                                    Visa International Operating Regulations




Extensions to the Operating Regulations

Publications with Equivalent Authority


Authority of Other Publications

The requirements in the publications referenced throughout the Visa International Operating
Regulations have the same authority as the Visa International Operating Regulations. They are
binding upon participants in the services referenced. The Visa International Operating Regulations
govern in the event of any inconsistency or contradiction, unless Visa specifically grants a variance.


ID#: 111011-010410-0007426




Variances to the Operating Regulations

Variances - Procedures


Board Powers

Visa, by a majority vote of the directors in attendance at any meeting of the Board of Directors where
a quorum is present, may adopt, amend, or repeal variances to the Visa International Operating
Regulations to expand markets in previously uncommitted countries or to attract new Members.

ID#: 010410-010410-0000368



Variance Requests

A request for a variance to the Visa International Operating Regulations must be submitted to the
Board of Directors for approval if the variance meets any of the following criteria:

• Undermines the integrity of the Visa brand
• Contravenes a Visa core business principle, e.g., the "honor all Cards" rule
• Impacts fee rates

All other variances, including pilot program variances, that do not meet any of these criteria are
subject to approval by Visa.

ID#: 010410-010410-0000369




18 October 2011                                    VISA PUBLIC                                           69
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     Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                        Page: 107 of 1319
                                                    PageID #: 3300
                                    Visa International Operating Regulations




Emergency Variances

Visa may grant a Member an emergency variance to a specific operating regulation if the Member
cannot comply due to circumstances beyond its control, such as:

• Natural disasters
• Acts of war
• Government restrictions due to political unrest
• Failure of public infrastructure

ID#: 010410-010410-0000370



Time Limit for Emergency Variances

An emergency variance must not exceed 120 calendar days without Visa consent.

ID#: 010410-010410-0000371




Confidentiality of Visa Materials

Confidentiality Requirements


Visa Confidential Materials (Updated)

A Visa Member must:

• Maintain Visa confidential information in strict confidence
• Not disclose any Visa confidential information [1]

• Store and handle Visa confidential information in such a way as to prevent unauthorized disclosure
• Take reasonable measures to protect Visa confidential information and treat it with at least the
  degree of care with which a Member treats its own confidential and proprietary information
• Disclose Visa confidential information only to those employees with specific need to know

Disclosure to contractors of technical specifications is subject to "Confidentiality of VisaNet
Information."

ID#: 151011-010410-0000467




1    Effective 21 July 2010, a variance to this requirement applies in the U.S. Region and in U.S. Territories.

70                                                   VISA PUBLIC                                             18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 108 of 1319
                                               PageID #: 3301
                                    Visa International Operating Regulations




Visa Confidential Materials - U.S. Region

Except as specified in "Disclosure of BIN Information to Merchants - U.S. Region" a U.S. Member
must:

• Prevent disclosure of any Visa confidential information to any non-Member
• Treat all Visa documents marked "Confidential" or "Visa Member Use Only" as confidential and
  proprietary information of Visa
• Take reasonable measures to protect documents and treat them with at least the degree of care
  with which a Member treats its own confidential and proprietary information
• Disclose confidential and proprietary information only to those employees with a specific need to
  know

Disclosure to contractors of technical specifications is subject to "Confidential Information Disclosed
to Contractors."

ID#: 010410-010410-0000504



Confidentiality of VisaNet Information

VisaNet consists of confidential and proprietary information belonging to Visa. Each Member must
take appropriate action, by agreement or otherwise, to ensure that its employees or agents with
access to VisaNet are:

• Advised of the confidential and proprietary nature of these systems
• Prohibited from providing access to or disclosing these systems to any third party [2]

• Prohibited from using these systems for any purpose not authorized in the Visa International
  Operating Regulations

ID#: 010410-010410-0003669




Visa Right to Monitor, Audit, Inspect, or Investigate

Visa Right to Monitor, Audit, Inspect, or Investigate


Visa Right to Monitor, Audit, Inspect, and Investigate

Visa may:

• Inspect the premises of a Member or its agents or Merchants at any time and charge the Member a
  fee for this inspection


2   A variance to this requirement applies in the U.S. Region.

18 October 2011                                    VISA PUBLIC                                            71
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15       Page: 109 of 1319
                                                   PageID #: 3302
                                    Visa International Operating Regulations


• Conduct an investigation or onsite review at the Member's expense
• Audit the records and procedures of any Member or agents

Visa may audit the records and procedures of any Issuer, and Merchant with which it has contracted
to sell Visa Prepaid Cards, including, but not limited to:

• Issuer shipping and storage security procedures
• Issuer procedures for issuance and distribution
• Merchant shipping and storage security procedures for Visa Prepaid Cards
• Merchant procedures for issuance and distribution of Visa Prepaid Cards

For Visa Corporate and Visa Purchasing Card Issuers, Visa may also audit the records and
procedures of the Issuer and of other agents or entities participating in the Issuer's multinational
programs.

• Monitor and inspect the security and quality control procedures of each Approved Manufacturer
  and Third-Party Personalizer
• Audit and review the premises of an Approved Manufacturer or Third-Party Personalizer without
  notice at any time and request a production-run sample of:
     – Visa Cards or Visa Electron Cards
     – Security features of Visa Cards or Visa Electron Cards
• Monitor an Acquirer to determine disproportionate fraud-to-sales ratios
• Conduct security inspections at any agent or Merchant location that has excessive Fraud Activity

ID#: 010410-010410-0007121



Right to Request Cards

Effective 13 January 2011, Visa may, request a functional Visa Card, Visa Electron Card, Plus Card
or access to any New Channel associated with any or all BINs owned or used by an Issuer.

Upon written request, an Issuer must:

• Provide Visa with a Visa Card, Visa Electron Card, Plus Card or access to any New Channel and
  its associated PIN within 30 calendar days
• Personalize the Visa Card, Visa Electron Card, Plus Card, or New Channel, as specified by Visa

ID#: 050411-130111-0026009



Visa Right to Monitor, Audit, Inspect or Investigate – U.S. Region (New)

In the U.S. Region, Visa may perform periodic audits, at the Member’s expense, to ensure that the
Member, its Agents, and its Merchants are complying with:

• Visa International Operating Regulations


72                                                 VISA PUBLIC                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 110 of 1319
                                               PageID #: 3303
                                    Visa International Operating Regulations


• VisaNet Manuals
• PIN Management Requirements Documents

ID#: 111011-140412-0026501



Member Rights and Obligations


Member Cooperation

A Member or its agent, or a Merchant must cooperate fully with Visa in an investigation or onsite
review. This cooperation includes providing access to the premises and to all pertinent records and
releasing any information to Visa upon request.

ID#: 010410-010410-0000469



Appeals

If an Acquirer believes that an imposed condition or a specific Merchant or Sponsored Merchant
prohibition is unreasonable, it may appeal to Visa.

ID#: 010410-010410-0006840



Appeal Documentation and Decision

The Acquirer must prove in its appeal that the prohibition or imposed conditions are impractical or
unwarranted.

The decision of Visa is final.

ID#: 010410-010410-0007130



General Investigation Responsibilities


Member Investigation of Suspected Fraud VIOR 2.1.E

A Member must comply with the Global Visa Acquirer Fraud Control Manual, the Global Visa Issuer
Fraud Control Manual, and What To Do If Compromised, and conduct a thorough investigation of
suspected or confirmed:

• Loss, theft, or compromise of Visa account or Cardholder information
• Loss, theft, or compromise of Visa account or Cardholder information by one of its agents or
  Merchants




18 October 2011                                    VISA PUBLIC                                        73
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15       Page: 111 of 1319
                                                   PageID #: 3304
                                    Visa International Operating Regulations


• Fraud and/or laundering of a Transaction

ID#: 050411-010410-0007123



Prevention of Loss or Theft of Information

After completing the investigation, the Member must demonstrate its ability to prevent future loss,
theft, or compromise of Visa account or Cardholder information, in accordance with the requirements
of the Account Information Security Program and the Payment Card Industry Data Security Standard
(PCI DSS).

ID#: 111011-110210-0025605



Additional Investigation (Updated)

Visa may require a Member or its agent to conduct an additional investigation. If required, the
Member or its agent must:

• Cooperate fully with Visa
• Comply with the Visa investigation timeline, as specified in What To Do If Compromised
• Provide access to the premises involved in the investigation
• Provide Visa and/or its agent access to all applicable records, including, but not limited to:
     – Computer forensic reports
     – Network diagrams
     – Systems connected directly or indirectly to VisaNet or used to transmit, process, or store account
       data
• Effective through 20 April 2011, engage a Qualified Incident Response Assessor (QIRA) or
  Qualified Forensic Investigator (QFI). If the Member or its agent fails to do so, Visa may engage
  a QIRA or a QFI to perform a forensic investigation and will assess all investigative costs to the
  Member in addition to any applicable fine.
• Effective 21 April 2011, engage a Payment Card Industry Forensic Investigator (PFI). If the
  Member or its agent fails to do so, Visa may engage a PFI to perform a forensic investigation and
  will assess all investigative costs to the Member in addition to any applicable fine.

ID#: 111011-210410-0007124



Assistance to Other Members

A Member must assist other Members in an investigation of fraudulent activity with a Visa Card or
Visa Electron Card by performing tasks such as:

• Interviewing Merchants, Sponsored Merchants, Cardholders, suspects, witnesses, and law
  enforcement personnel
• Obtaining handwriting samples, photographs, fingerprints, and any other similar physical evidence



74                                                 VISA PUBLIC                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 112 of 1319
                                               PageID #: 3305
                                    Visa International Operating Regulations


• Recovering lost, stolen, or Counterfeit Visa Cards or Visa Electron Cards
• Providing information to proper authorities for the possible arrest of suspects, at the Issuer's
  request
• Performing any other reasonable investigative assistance
• Inspecting the facilities of credit card manufacturers, embossers, encoders, mailers, and chip
  embedders

ID#: 010410-010410-0007122



Investigative Services Fee

A Member that requests investigative services of other Members must pay an investigative service
fee, as follows:

• US $50 per hour (payable in half-hour increments)
• US $0.20 per mile for necessary travel
• Extraordinary out-of-pocket expenses

A Member that performs investigative services for other Members must prepare an itemized
statement for the Member requesting the services.

ID#: 010410-010410-0008484



Investigative Services Fee - U.S. Region

A U.S. Member performing investigative services at the request of another U.S. Member is entitled to
reimbursement of the following fees:

• US $50 per hour (payable in half-hour increments)
• Prevailing mileage rate (as permitted by the U.S. Government) for necessary travel
• Extraordinary out-of-pocket expenses

Payment must be made when an itemized statement is received from the Member providing the
service.

ID#: 010410-010410-0003971



Member Response Standards - CEMEA Region

A CEMEA Member must respond to a request from another CEMEA Member, Visa, or a law
enforcement agency


ID#: 111011-010410-0002249




18 October 2011                                    VISA PUBLIC                                       75
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     Case: 4:13-cv-02226-JAR                    Doc. #: 85-5 Filed: 02/12/15        Page: 113 of 1319
                                                   PageID #: 3306
                                    Visa International Operating Regulations




Merchant Investigation Responsibilities


Investigation of Merchant Outlet (Updated)

Visa may contact a Merchant Outlet directly and conduct an onsite investigation of the Merchant
Outlet at any time.

If the Merchant fails to correct a violation identified by Visa, Visa may, for reasons such as those
listed in "Visa Right to Terminate Merchant, Payment Service Provider, or Sponsored Merchant,"
impose conditions upon the Merchant or permanently prohibit the Merchant, or its principals, from
participating in the Visa or Visa Electron Program.

ID#: 111011-010410-0007429




Operating Regulations Compliance and Enforcement

Fines and Penalties - General


Visa Right to Fine

The Visa International Operating Regulations contain enforcement mechanisms that Visa may use for
violations of the Visa International Operating Regulations. The Operating Regulations also specify the
procedure for the allegation and investigation of violations and the rules and schedules for fines and
penalties.

Visa may levy fines and penalties as specified in the Visa International Operating Regulations. Visa
officers will enforce these fines and penalties.

These procedures and fines are in addition to enforcement rights available to Visa under other
provisions of the Visa International Operating Regulations, the applicable Certificate of Incorporation
and Bylaws, or through other legal or administrative procedures.

ID#: 010410-010410-0007280



General Fines Schedule

The fines listed in the table below are in addition to any other fines or penalties specified in the Visa
International Operating Regulations.




76                                                 VISA PUBLIC                             18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                   Page: 114 of 1319
                                               PageID #: 3307
                                    Visa International Operating Regulations



                                              General Schedule of Fines

    Violation                                                    Fine

    First violation of regulation                                Effective through 14 February 2011, warning letter
                                                                 with specific date for correction and US $500 fine
                                                                 Effective 15 February 2011, warning letter with
                                                                 specific date for correction and US $1,000 fine

    Second violation of same regulation in a 12-month            US $5,000 fine
    period after Notification of first violation

    Third violation of same regulation in a 12-month             US $10,000 fine
    period after Notification of first violation

    Fourth violation of same regulation in a 12-month            US $25,000 fine
    period after Notification of first violation

    5 or more violations of same regulation in a 12-             Visa discretion
    month period after Notification of first violation

    If the 12-month period is not violation-free and the         Additional fine equal to all fines levied during that 9-
    fines total US $25,000 or more                               month period

ID#: 050411-010410-0000482



General Fines Schedule - U.S. Region

Effective through 14 February 2011, the fines listed in the table below apply to U.S. Members and
are in addition to any other fines identified in the U.S. Regional Operating Regulations.


           General Schedule of Fines - U.S. Region (Effective through 14 February 2011)

    Violation                                                    Fine

    First violation of regulation                                Warning letter with specific date for correction and
                                                                 US $5,000 fine

    Second violation of same regulation in a 12-month            US $10,000 fine
    period after Notification of first violation

    Third violation of same regulation in a 12-month             US $25,000 fine
    period after Notification of first violation

    Fourth violation of same regulation in a 12-month            US $50,000 fine
    period after Notification of first violation and
    assessed during each month the violation remains
    uncorrected

    The violation is not corrected within a 12-month             Additional fine equal to all fines levied during that 9-
    period                                                       month period, and Visa may consider the violation
                                                                 as willful and assess additional fines.

ID#: 050411-010410-0001059




18 October 2011                                    VISA PUBLIC                                                          77
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     Case: 4:13-cv-02226-JAR                    Doc. #: 85-5 Filed: 02/12/15       Page: 115 of 1319
                                                   PageID #: 3308
                                    Visa International Operating Regulations




Fines and Penalties Process


Determination of Violation

Determination of a violation of the Visa International Operating Regulations may be made as follows:

• Based on the response from a Member to a Notification of investigation and other available
  information, Visa will determine whether a violation of the Visa International Operating Regulations
  has occurred.
• The Member's failure to respond to a Notification of investigation and to provide all information
  requested may result in a determination that a violation has occurred.

ID#: 010410-010410-0001052



Notification of Determination

Effective through 14 February 2011, Visa will notify a Member whether violation(s) have been
determined to have occurred and, if violation(s) are determined to have occurred and are continuing,
specify a date by which the Member must correct the violation(s). If violation(s) are determined to
have occurred, the Notification will advise the Member of the:

• Reasons for such determination
• Fines assessed
• Right to appeal the determination that a violation has occurred and the fines assessed for such
  violation

Effective 15 February 2011, Visa will notify a Member if it determines that a violation has occurred,
or if it determines that a violation is continuing to occur, and will specify a date by which the Member
must correct the violation. The Notification will advise the Member of the:

• Reasons for such determination
• Fines assessed
• Right to appeal the determination and/or the fines assessed for such violation

Effective 15 February 2011, Visa may require a Member to submit a compliance plan to resolve the
violation.

ID#: 050411-010410-0001053




78                                                 VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 116 of 1319
                                               PageID #: 3309
                                    Visa International Operating Regulations




Fine Assessment

All fines imposed by Visa are fines imposed on Members. A Member is responsible for paying all
fines, regardless of whether it absorbs the fines, passes them on, or increases them in billing its
customer (e.g., Cardholder, Merchant). A Member must not represent to its customer that Visa
imposes any fine on its customer.

ID#: 010410-010410-0001054



Collection of Fines

Effective through 14 February 2011, Visa will collect all fines assessed through the VisaNet
miscellaneous fee collection process after notifying the Acquirer.

Effective 15 February 2011, Visa will electronically collect all fines through Visa billing statements
after notifying the Member.

ID#: 050411-010410-0002449



Allegations and Investigations

Allegations of violations of the Visa International Operating Regulations may be brought to Visa's
attention by:

• A Member
• Effective 15 February 2011, an Agent or a VisaNet Processor, through its registering Member
• A Visa Officer

Visa may investigate allegations of violations of the Visa International Operating Regulations.

ID#: 050411-010410-0007366



Notification Response

Effective 15 February 2011, a Member must respond to and provide information requested by Visa
for a Visa International Operating Regulations violation that is under investigation.

The Member must submit its response and information, within the time period specified, by mail,
courier, facsimile, hand, e-mail, or other electronic delivery method. The Notification response is
effective when posted, sent, or transmitted by Visa to the Member or its Agent.

ID#: 050411-150211-0025974




18 October 2011                                    VISA PUBLIC                                           79
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     Case: 4:13-cv-02226-JAR                    Doc. #: 85-5 Filed: 02/12/15        Page: 117 of 1319
                                                   PageID #: 3310
                                    Visa International Operating Regulations




Notification Response - U.S. Region

Effective through 14 February 2011, a U.S. Member must respond to, and provide information
requested in, a Notification of the violation that is under investigation. The Member must submit its
response and information within the time period specified in the Notification.

ID#: 050411-010410-0001050



Fines and Penalties for Repetitive and Willful Violation


Repetitive Violations

Repetitive violations of the Visa International Operating Regulations incur heavier fines or other
actions. A violation of any section qualifies as a repetitive violation only if the violating Member does
not correct it by the date specified in the Notification.

ID#: 010410-010410-0003645



Time Period

Penalties increase for repetitive violations within any 12-month period. The 12-month period begins
on the date of the most recent Notification of the violation and ends following a 12-month period free
of violations of that regulation.

ID#: 010410-010410-0000478



Willful Violations

Effective through 14 February 2011, in addition to the fines and penalties specified in "Fines and
Penalties - General," a Member found to have willfully violated the Visa International Operating
Regulations, adversely affecting the goodwill associated with the Visa system, products and services,
the operation of the Visa Systems, or the operations of other Members, will be subject to a further
fine. A violation is considered "willful" if the Member knew, or its knowledge can be fairly implied, that
its conduct constituted a violation of the Visa International Operating Regulations.

Effective 15 February 2011, in addition to the fines and penalties specified in "Fines and Penalties
- General," a Member found to have willfully violated the Visa International Operating Regulations,
adversely affecting the goodwill associated with the Visa system, brand, products and services, the
operation of the Visa Systems, or the operations of other Members, will be subject to a further fine. A
violation is considered "willful" if the Member knew, or should have known, or its knowledge can be
fairly implied, that its conduct constituted a violation of the Visa International Operating Regulations.

When determining the amount of a fine, in addition to the criteria above, the following will be
considered:

• Type of violation


80                                                 VISA PUBLIC                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 118 of 1319
                                               PageID #: 3311
                                    Visa International Operating Regulations


• Nature of the damage, including the amount incurred by Visa and its Members
• Repetitive nature of the violation
• Member history or prior conduct
• Effect of the assessment upon the safety and soundness of the Visa system and the Member,
  including the Member committing the violation
• Any other criteria Visa deems appropriate

Effective through 14 February 2011, before a decision that a willful violation occurred, a Member
will have the right to introduce any evidence in support of its position.

ID#: 050411-010410-0007288



Willful Violation Fines - U.S. Region

Effective through 14 February 2011, in addition to the fines specified in "Fines and Penalties –
General," a U.S. Member determined to have committed a Willful Violation will be subject to a fine.

Effective through 14 February 2011, two or more Visa officers may make a determination that a
Willful Violation has occurred and assess a fine per month until the violation is corrected.

ID#: 161111-010410-0007286



Egregious Violations - U.S. Region

Effective through 14 February 2011, additional fines may be levied on U.S. Members for an
Egregious Violation.

ID#: 050411-010410-0001058



Egregious Violation Fines - U.S. Region

Effective through 14 February 2011, in addition to the fines specified in "Fines and Penalties –
General," a U.S. Member determined to have committed an Egregious Violation will be subject to a
fine.

Effective through 14 February 2011, two or more Visa officers may make a determination that an
Egregious Violation has occurred and assess a fine per month until the violation is corrected.

ID#: 161111-010410-0007287



Egregious Violation Fine Amount - U.S. Region

Effective through 14 February 2011, when determining the amount of a fine for an Egregious
Violation, the following will be considered:

• Type of violation


18 October 2011                                    VISA PUBLIC                                        81
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     Case: 4:13-cv-02226-JAR                    Doc. #: 85-5 Filed: 02/12/15                   Page: 119 of 1319
                                                   PageID #: 3312
                                    Visa International Operating Regulations


• Nature and extent of the impact on Visa and Members
• Repetitive nature of the violation
• Member history or prior conduct
• Effect of the violation upon the safety and soundness of the Visa payment services and Members,
  including the Member committing the violation
• Any other criteria deemed appropriate by Visa

ID#: 050411-010410-0001061



Compliance - General


Compliance Programs - General

Visa rights and Member obligations for specific compliance programs, specified in "Compliance
Monitoring," follow the basic structure of fines described in "Operating Regulations Compliance and
Enforcement."

ID#: 010410-010410-0007040



Acceptance Compliance Program - Canada Region

Effective through 14 February 2011, all Canada Members must comply with the Visa Canada
Acceptance Compliance Program as specified in the Acceptance Compliance Program Terms of
Reference (available at https://visainfo.ca).

ID#: 050411-010410-0000526



Compliance Enforcement Appeals


Enforcement Appeals
                                                               [3]
Effective 15 February 2011, a Member may appeal                      a determination of a violation or fine to Visa as
follows:

• The Member's appeal letter must be received by Visa within 30 days of the Member's receipt of
  the Notification of the violation or fine.
• The appealing Member must submit with the appeal any new or additional information necessary to
  substantiate its request for an appeal.
• A fee of US $5,000 will be assessed to the Member upon receipt of the appeal. This fee is
  refundable if the appeal is upheld.




3    Appeal procedures are available from Visa upon request.

82                                                 VISA PUBLIC                                       18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 120 of 1319
                                               PageID #: 3313
                                    Visa International Operating Regulations



Effective 15 February 2011, Visa bases its decision on the new information provided by the
requesting Member. Each Member may submit arguments supporting its position. All decisions are
final and not subject to any challenge.

ID#: 050411-150211-0025975



Enforcement Appeals - U.S. Region

Effective through 14 February 2011, a U.S. Member may appeal a determination of a violation to
the Appeal Committee as follows:

• The Member's appeal letter must be received by Visa within 30 days of the Member's receipt of the
  Notification of the violation.
• Written arguments and supporting information for the appeal must be submitted with the appeal
  letter.
• The Member must include a nonrefundable fee with its appeal letter.

Effective through 14 February 2011, Visa will notify the Member of the final disposition of
the appeal, including a Notification of the Member's right to appeal to the Board of Directors in
accordance with Article X of the Visa U.S.A. Inc. Certificate of Incorporation and Bylaws.

ID#: 111011-010410-0007289



Enforcement Board Appeal - U.S. Region

Effective through 14 February 2011 a U.S. Member may appeal the decision of the Appeal
Committee to the Board of Directors as follows:

• The Member's appeal letter must be received by Visa within 30 days of the decision Notification
  date.
• Written arguments and supporting information for the appeal must be submitted with the appeal
  letter.
• The Member must include a nonrefundable fee with its appeal letter.


Effective through 14 February 2011, the decision of the Board of Directors is final and is not
subject to any challenge.

ID#: 111011-010410-0007290




18 October 2011                                    VISA PUBLIC                                      83
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     Case: 4:13-cv-02226-JAR                    Doc. #: 85-5 Filed: 02/12/15      Page: 121 of 1319
                                                   PageID #: 3314
                                    Visa International Operating Regulations




Enforcement Appeals - LAC Region

Effective through 14 February 2011, an LAC Member determined to have violated the Visa
International Operating Regulations and that has had a penalty or fine imposed by Visa may file an
appeal with Visa within 30 calendar days of Visa Notification of the determination.

ID#: 050411-010410-0000522




Right of Termination of Merchant or Agents

Visa Rights


Visa Right to Contact Merchant (New)

Effective 1 July 2011, Visa may contact a Merchant, a Sponsored Merchant, or a Payment Service
Provider directly, if warranted.

ID#: 111011-010711-0026440



Visa Right to Terminate Merchant, Payment Service Provider, or Sponsored Merchant
(Updated)

Effective through 30 June 2011, Visa may permanently prohibit a Merchant, Internet Payment
Service Provider (IPSP), Sponsored Merchant, or any other entity, or one of its principals, from
participating in the Visa or Visa Electron Program for any reasons it deems appropriate, such as:

• Fraudulent activity
• Presenting Transaction Receipts that do not result from an act between a Cardholder and a
  Merchant (laundering)
• Entering into a Merchant Agreement under a new name with the intent to circumvent the provisions
  of the Visa International Operating Regulations
• Activity that causes the Acquirer to repeatedly violate the Visa International Operating Regulations
• Activity that has resulted in a Regional Office prohibiting the Merchant from participating in the Visa
  or Visa Electron Program
• Any other activity that may result in undue economic hardship or damage to the goodwill of the
  Visa system

Effective 1 July 2011, Visa may permanently prohibit a Merchant, Payment Service Provider (PSP),
Sponsored Merchant, or any other entity, or one of its principals, from participating in the Visa or Visa
Electron Program for any reasons it deems appropriate, such as:

• Fraudulent activity



84                                                 VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 122 of 1319
                                               PageID #: 3315
                                    Visa International Operating Regulations


• Presenting Transaction Receipts that do not result from an act between a Cardholder and a
  Merchant or Sponsored Merchant (laundering)
• Entering into a Merchant Agreement under a new name with the intent to circumvent the provisions
  of the Visa International Operating Regulations
• Activity that causes the Acquirer to repeatedly violate the Visa International Operating Regulations
• Activity that has resulted in Visa prohibiting the Merchant, Sponsored Merchant, or Payment
  Service Provider from participating in the Visa or Visa Electron Program
• Any other activity that may result in undue economic hardship or damage to the goodwill of the
  Visa system

ID#: 111011-010410-0007120



Revocation of Merchant Privileges

Visa may fine an Acquirer that enters into a Merchant Agreement with a Merchant, Sponsored
Merchant, or known principals of a Merchant that Visa has prohibited from participating in the Visa or
Visa Electron Program.

ID#: 010410-010410-0005255



Global Merchant Chargeback Monitoring Program - Merchant Disqualification

Visa may disqualify a Merchant that has been placed in the Global Merchant Chargeback Monitoring
Program from participation in the Visa Program if the Merchant meets or exceeds the specified
Chargeback ratio threshold of 2% without an effective Chargeback reduction plan, and 2 of the
following levels of Chargeback activity are reached:

• Merchant's Chargeback ratio is 2 or more times the specified Chargeback ratio in a single month
• Merchant is assessed fees for 3,000 or more Chargebacks in a single month
• Merchant is assessed US $1 million or more in Global Merchant Chargeback Monitoring Program
  fees

ID#: 081010-010410-0002445



Termination of Merchant Agreement

After verifying that Visa has prohibited a Merchant or Sponsored Merchant from participating in the
Visa or Visa Electron Program, an Acquirer must terminate the Merchant Agreement no later than the
date specified by Visa.

If the Acquirer has not terminated the Merchant Agreement by the date specified, Visa may assess
the Acquirer a fine, in an amount to be determined by the Board of Directors.

ID#: 010410-010410-0008241




18 October 2011                                    VISA PUBLIC                                       85
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     Case: 4:13-cv-02226-JAR                    Doc. #: 85-5 Filed: 02/12/15                    Page: 123 of 1319
                                                   PageID #: 3316
                                    Visa International Operating Regulations




Visa Right to Notify Merchant - U.S. Region

Effective through 30 June 2011, in the U.S. Region, Visa may contact a Merchant, a Sponsored
Merchant, or an Internet Payment Service Provider directly, if warranted.

ID#: 111011-010410-0003679



Fines for U.S. Merchant Agreement with Prohibited Merchant - U.S. Region

Visa assesses a fine to a U.S. Acquirer that enters into a Merchant Agreement with a Merchant or
known principals of a Merchant that Visa has prohibited from participating in the Visa or Visa Electron
Program, as specified in the table below.


         Acquirer Fines for Merchant Agreement with a Prohibited Merchant - U.S. Region

                             Violation                                                   Fine

     First violation in a 5-year period                                              US $10,000

     Second violation in a 5-year period                                             US $20,000

     Third violation in a 5-year period                                              US $50,000

     4 or more violations in a 5-year period                                   At the discretion of Visa


Visa assesses an additional fine of US $10,000 for each 30-calendar-day period, or portion thereof,
during which the U.S. Acquirer fails to terminate the Merchant Agreement.

ID#: 010410-010410-0007118



Member Obligations


Acquirer Responsibility for Costs

An Acquirer is responsible for all costs incurred by Visa due to the Acquirer's failure to terminate
a Merchant or Sponsored Merchant. This includes attorney's fees and costs of any legal action
undertaken by Visa to protect the goodwill of the Visa system or to prevent further harm to Members
and Cardholders.

ID#: 010410-010410-0007117




86                                                 VISA PUBLIC                                       18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 124 of 1319
                                               PageID #: 3317
                                    Visa International Operating Regulations




Chapter 2: Visa System Participation

Core Principle 2.1

Bylaws and Operating Regulations


Following the Rules of Participation

Financial institutions, payment data processors, and other qualified business entities may participate
in the Visa system by meeting the conditions outlined in the applicable Visa Bylaws and Operating
Regulations. Key information from the Visa Bylaws and Operating Regulations are outlined in these
Core Principles.

ID#: 010410-010410-0007756




Core Principle 2.2

Third Party Registration


Using a Third Party

Visa participants are generally financial institutions or other eligible businesses that issue Visa
products to consumers or enroll merchants to accept Visa products for payment of goods and
services. Participants may also contract with third-parties to facilitate issuing and acquiring activities,
including VisaNet processors who have a direct connection to VisaNet. Participants in the Visa
system agree to register VisaNet processors and third-parties that facilitate Visa activity. Participants
are responsible for all errors, acts and omissions of such third-parties, including their agents and
vendors.

ID#: 010410-010410-0007757




18 October 2011                                    VISA PUBLIC                                            87
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     Case: 4:13-cv-02226-JAR                    Doc. #: 85-5 Filed: 02/12/15       Page: 125 of 1319
                                                   PageID #: 3318
                                    Visa International Operating Regulations




Core Principle 2.3

Liabilities and Indemnifications


Taking Responsibility

Visa participants are solely responsible for their issuance of Visa products and acquiring of merchants
to accept Visa products, including responsibility for settlement of transactions, compliance with Visa
Bylaws and Operating Regulations, and ensuring that their Visa programs comply with all applicable
legal and regulatory requirements. Participants indemnify Visa for claims or liabilities that arise out of
their issuance of Visa products and acquiring of merchants, and broadly disclaim liability against Visa
for such activities.

ID#: 010410-010410-0007758




Membership

General Membership


Notification to Visa of Member's Country (Updated)

Each Member (or its Group Member) must notify Visa in writing, at least 60 calendar days prior to
commencement, of each country where the Member either:

• Effective through 31 December 2013, performs any Visa, Visa Electron, Visa Cash, Plus, or Visa
  TravelMoney Program services
• Effective 1 January 2014, performs any Visa, Visa Electron, Plus, or Visa TravelMoney Program
  services
• Uses, displays, or supplies any materials bearing a Visa-Owned Mark

These requirements are in addition to those of the Visa International Certificate of Incorporation and
Bylaws, Section 2.10(g).

ID#: 111011-010410-0000901




88                                                 VISA PUBLIC                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 126 of 1319
                                               PageID #: 3319
                                    Visa International Operating Regulations




Sponsored Member


Penalties for Violation of the Sponsored Member Registration Program - U.S. Region

Visa assesses fines for violation of the U.S. Region Sponsored Member requirements.

ID#: 111011-010410-0001316



Member Acquisition


Member Acquisition Upon Regulatory Closure - Ineligible Assuming Organization -
U.S. Region

In the U.S. Region, if an assuming organization is not a Member of Visa at the time of its assumption
of Visa programs and is not eligible for the appropriate membership or if Visa declines its application,
the organization must immediately:

• Cease all use of the Visa-Owned Marks and all other activities reserved for Members of Visa
• Cease exercising the rights and privileges reserved for Members of Visa

ID#: 111011-010100-0025753



Member Acquisition Upon Regulatory Closure - Assuming Organization Failure to
Submit Required Materials - U.S. Region

In the U.S. Region, if the assuming organization is not a Member of Visa at the time of its assumption
of Visa programs and does not submit the required "Client Licensing Application" agreement within
the time frame specified in "Member Acquisition Upon Regulatory Closure - Assuming Organization
Membership - U.S. Region," the assuming organization:

• Must cease all operations of the Visa programs and use of the Visa-Owned Marks
• Is liable for all losses, costs, damages, and expenses (including attorneys' fees and expenses) to
  Visa and its Members resulting from its unauthorized operations

ID#: 111011-010100-0025758



Member Acquisition Upon Regulatory Closure - Assuming Organization Membership -
U.S. Region

In the U.S. Region, an assuming organization that is not a Member of Visa at the time of its
assumption of Visa programs, and that is eligible for membership must:

• Submit to Visa a "Client Licensing Application" agreement within 10 calendar days after the
  assuming organization's assumption of the subject Visa programs


18 October 2011                                    VISA PUBLIC                                         89
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 127 of 1319
                                                   PageID #: 3320
                                    Visa International Operating Regulations


• Submit the appropriate membership materials within the time frame specified by Visa
• Meet any conditions of membership within 30 calendar days of the assuming organization's
  assumption of the subject Visa programs, as specified in the:
     – Visa International Operating Regulations
     – Visa U.S.A. Inc. Certificate of Incorporation and Bylaws
• Pay all applicable fees and charges within the time frame specified by Visa

ID#: 111011-010100-0025752



Member Acquisition Upon Regulatory Closure - Membership Category Requirements -
U.S. Region

In the U.S. Region, if the Assuming Member is not authorized to engage in one or more of the subject
assumed Visa programs, the Assuming Member must comply with all of the following:

• Submit the appropriate membership materials within the time frame specified by Visa
• Meet any conditions of membership within 30 calendar days of Assuming Member's assumption of
  the subject Visa programs, as specified in the:
     – Visa International Operating Regulations
     – Visa U.S.A. Inc. Certificate of Incorporation and Bylaws
• Pay all applicable fees and charges within the time frame specified by Visa

ID#: 111011-010100-0025750



Member Acquisition Regulatory Closure - Failure to Comply - U.S. Region

In the U.S. Region, if the Assuming Member does not comply with the obligations specified in
"Member Acquisition Upon Regulatory Closure - Confirmation of Responsibilities - U.S. Region" or
"Member Acquisition Upon Regulatory Closure - Membership Category Requirements - U.S. Region,"
Visa may, as it deems appropriate:

• Terminate all or a portion of the assumed Visa programs
• Assess fines and penalties to the Assuming Member, as specified in "General Fines Schedule -
  U.S. Region"

ID#: 111011-010100-0025751



Member Acquisition Upon Regulatory Closure - Assuming Member Responsibilities -
U.S. Region

In the event of a regulatory closure, a Member in the U.S. Region that assumes the Visa programs of
a failed Member immediately assumes full liability for those Visa programs.

ID#: 081010-010100-0025748




90                                                 VISA PUBLIC                       18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 128 of 1319
                                               PageID #: 3321
                                    Visa International Operating Regulations




Member Acquisition Upon Regulatory Closure - Confirmation of Responsibilities -
U.S. Region

In the U.S. Region, upon verification from the applicable regulatory agency that a Member has
assumed the Visa programs of a failed Member institution, Visa will:

• Provide a Notification listing the Visa programs for which Visa understands the Assuming Member
  is liable as specified in "Member Acquisition Upon Regulatory Closure - Assuming Member
  Responsibilities - U.S. Region."
• Include in the Notification a request for written confirmation from the Assuming Member that it has
  assumed one of the following:
  – All of the Visa programs listed in the report
  – A specified portion of the Visa programs listed in the report
  – None of the Visa programs listed in the report

The Assuming Member must submit to Visa, within the time frame specified in the Notification, written
confirmation of the Visa programs assumed.

ID#: 111011-010100-0025749



Quarterly Operating Certificate


Monthly Reporting - Canada Region

A Canada Member must send the completed Schedule I through Schedule XI in the Canada Regional
Operating Regulations to Visa for consolidation and reporting no later than the 25th of the month
following each reporting period.

ID#: 010410-010410-0006335



Automated Clearing House Service - Principal-Type Member Information
Requirements - U.S. Region

A U.S. Principal-type Member that is required to file a Quarterly Operating Certificate and make
quarterly service fee payments must submit all of the information specified in "Automated Clearing
House Service Requirements - U.S. Region."

ID#: 010410-010410-0007887




18 October 2011                                    VISA PUBLIC                                       91
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     Case: 4:13-cv-02226-JAR                    Doc. #: 85-5 Filed: 02/12/15      Page: 129 of 1319
                                                   PageID #: 3322
                                    Visa International Operating Regulations




Quarterly Service Fee Collection Estimated Amount (Updated)

Visa initiates a Fee Collection Transaction for an estimated amount if a Member fails to file a
Quarterly Operating Certificate in a timely manner.

ID#: 111011-010410-0007888



Adjustments Made through the Automated Clearing House Service - U.S. Region
(Updated)

Effective through 30 September 2011, in the U.S. Region, Visa may initiate an adjustment to the
service fee amount to be collected or disbursed.

If a U.S. Member underpays its quarterly service fees, Visa collects the additional amount due.

If the Member overpays its fees, Visa refunds any overpayment. The refund time period is limited to
2 years from the date that the quarterly service fee in question was originally due. Refunds do not
include interest charges.

ID#: 111011-010410-0007889



Quarterly Service Fee Remittance Penalties - U.S. Region

In the U.S. Region, Visa assesses quarterly service fee remittance penalties

ID#: 111011-010410-0003479



Penalties for Nonpayment of Quarterly Service Fee (Updated)

If a Member does not pay the required quarterly service fee, Visa imposes penalties, as specified in
Section 3.07 of the applicable Certificate of Incorporation and Bylaws.

ID#: 111011-010410-0003480



Reporting of Visa Transactions Not Processed through VisaNet (Updated)

Interchange Transactions, On-Us Transactions, and other Transactions that are not processed
through VisaNet must be reported to Visa on the Quarterly Operating Certificate, as specified in the
applicable Certificate of incorporation and Bylaws.

ID#: 111011-010410-0000913




92                                                 VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 130 of 1319
                                               PageID #: 3323
                                    Visa International Operating Regulations




Exchange Rates for Quarterly Operating Certificates (Updated)

Each Member (or its Group Member) with non-U.S. dollar Transaction volumes must use an
exchange rate provided by Visa to file Quarterly Operating Certificates. The exchange rate is
calculated using a simple average of 3 monthly spot rates for the quarter. This requirement does not
apply to a Canada or U.S. Member who files in either CAD or USD.

The monthly spot rates are sourced from Reuters, as shown in the "FT Guide to World Currencies,"
published in the Financial Times on the third Monday of each month. These rates are also available
for reference in the Quarterly Operating Certificate application on Visa Online.

ID#: 151011-010110-0008837



Online Submission and Electronic Signature


Use of Electronic Signature (Updated)

Effective through 7 September 2011, with the exception of the initial Membership Application,
once an institution has been granted Visa Membership, subsequent forms and registration requests
may be submitted through Visa Online. A request submitted in accordance with the requirements
constitutes an Electronic Signature and is considered binding with the same force and authority as a
handwritten signature.

Effective 8 September 2011, with the exception of initial contractual agreements establishing rights
within the Visa system such as the Membership Application, subsequent forms and requests may be
submitted through Visa Online. A request submitted in accordance with the requirements constitutes
an Electronic Signature and is considered binding with the same force and authority as a handwritten
signature, subject only to applicable conditions and restrictions set out in Visa Online.

ID#: 08102010-19022009-0008098

ID#: 111011-190209-0008098



Electronic Signature Applicability (Updated)

Effective through 7 September 2011, unless instructed otherwise, a Member that has already
executed and submitted an initial Membership Application and has been granted approval may
submit electronically all subsequent documentation that is available on Visa Online, if the Electronic
Signature requirements are satisfied, and subject to regional availability of the tool via Visa Online.

Effective 8 September 2011, unless instructed otherwise, a Member, VisaNet Processor, or
designated Agent that has already executed and submitted an initial contractual agreement
establishing rights within the Visa system and has been granted approval may submit electronically
all subsequent documentation that is available on Visa Online, if the Electronic Signature
requirements are satisfied, and subject to:

• Availability of the tool via Visa Online


18 October 2011                                    VISA PUBLIC                                            93
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     Case: 4:13-cv-02226-JAR                    Doc. #: 85-5 Filed: 02/12/15     Page: 131 of 1319
                                                   PageID #: 3324
                                    Visa International Operating Regulations


• Applicable terms and restrictions set out in Visa Online

ID#: 111011-190209-0008100



Electronic Signature Enforceability (Updated)

Effective through 7 September 2011, by submitting via Visa Online, a Member:

• Attests that the submitted documentation meets the specified requirements
• Agrees that the submitted documentation constitutes a binding commitment with the same legal
  force and effect as a handwritten signature

Effective 8 September 2011, by submitting via Visa Online, a Member, VisaNet Processor, or
designated Agent:

• Attests that the submitted documentation meets the specified requirements
• Agrees that the submitted documentation constitutes a binding commitment with the same legal
  force and effect as a handwritten signature

ID#: 111011-190209-0008099



Electronic Signature Criteria (Updated)

Effective through 7 September 2011, to be valid, an Electronic Signature must:

• Be submitted via Visa Online
• Be submitted and validated on the basis of Visa Online user identification and authenticated in
  accordance with the procedures established by Visa
• Provide evidence of the Member's officer's intent to sign by the officer's acceptance of the
  clickthrough notice provided on Visa Online

In addition, in the U.S. Region, a U.S. Member must maintain reasonable safeguards and security
controls to limit access to authorized personnel.

Effective 8 September 2011, to be valid, an Electronic Signature must:

• Be submitted via Visa Online
• Be submitted and validated on the basis of Visa Online user identification and authenticated in
  accordance with the procedures established by Visa
• Be authorized by the Member, or provide evidence of the Member's authorized user’s intent to
  evidence a binding commitment via the authorized user’s acceptance of the click-through notice
  provided on Visa Online

In addition, a Member, VisaNet Processor, or designated Agent must maintain reasonable safeguards
and security controls to limit access to authorized personnel.

ID#: 111011-190209-0007626



94                                                 VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 132 of 1319
                                               PageID #: 3325
                                    Visa International Operating Regulations




Acquirer Licensing


Penalty for Associate Member Merchant Acquiring in Russia - CEMEA Region

In the CEMEA Region, a Russian Principal Member permitting an acquiring agent to acquire
Merchant Transactions without a Sponsored Merchant Acquiring License will be assessed a non-
compliance fee of US $20,000 for every 6 months or portion thereof, for each agent that fails to obtain
a Sponsored Merchant Acquiring License.

ID#: 111011-010410-0024131




Agents - Third Party and VisaNet Processors

General Agent Requirements


Agent Registration (New)

Effective 1 December 2011, an Acquirer who signs an Agent to solicit High-Brand Risk Merchants
must register that Agent as high risk with Visa, as specified in the Visa Global Brand Protection
Program Guide for Acquirers.

ID#: 111011-011211-0026347



General Member Responsibilities for VisaNet Processors

A Member that has a contract with a VisaNet Processor must:

• Provide Transaction-related processing instructions directly to its VisaNet Processor
• Distribute written policies and procedures to its VisaNet Processors
• Establish a risk management program to control risks related to the use of VisaNet Processors,
  such as:
  – Loss of operational control
  – Service provider failure
  – Confidentiality and physical and logical security of Cardholder and Visa Transaction Information
• Verify that the principals and senior management of the VisaNet Processor have the requisite
  knowledge and experience to successfully perform the contracted services (except when a VisaNet
  Processor is a Member or special Licensee)
• Conduct from time to time a physical inspection of the business premises (except when a VisaNet
  Processor is a Member or special Licensee) to:
  – Verify inventory


18 October 2011                                    VISA PUBLIC                                       95
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 133 of 1319
                                                   PageID #: 3326
                                    Visa International Operating Regulations


     – Inspect operational controls
     – Monitor security standards regarding unauthorized disclosure of or access to sensitive Visa data
       and other payment systems

ID#: 111011-010100-0025880



Use of an Airline Authorizing Processor

Before implementing a direct connection to VisaNet, a Member must ensure that an Airline
Authorizing Processor has either:

• Completed and submitted a VisaNet Letter of Agreement (Exhibit 5A) to Visa
• Signed a separate agreement with Visa

A Member acquiring Airline Transactions is not required to submit a VisaNet Letter of Agreement
(Exhibit 5A) or a VisaNet Processor Registration and Designation/Termination form when the VisaNet
Processor used by the Airline for Authorizations is an Airline Authorizing Processor.

ID#: 111011-010410-0001021



VisaNet Processor Contracts

A Member must execute a written contract with each VisaNet Processor. The contract, to the extent
permitted by applicable law, must:

• Include minimum standards established by Visa, including, but not limited to:
     – Policies
     – Procedures
     – Service levels
     – Performance standards
• Include language that:
     – Permits Visa to conduct financial and procedural audits and general reviews at any time
     – Requires VisaNet Processors to make Cardholder and Merchant information available to Visa
       and regulatory agencies
     – Contains a notice of termination clause
• Ensure that the VisaNet Processor will comply with:
     – Visa International Operating Regulations
     – Applicable laws
• Be executed by a senior officer of the Member
• Contain at least the substance of the provisions specified in “VisaNet Processor Requirements”
• Ensure that the VisaNet Processor complies with the Payment Card Industry Data Security
  Standard (PCI DSS)


96                                                 VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15              Page: 134 of 1319
                                               PageID #: 3327
                                    Visa International Operating Regulations


• Ensure that all VisaNet Processors are properly registered with Visa

ID#: 111011-010100-0025879



VisaNet Processor Systems Agreement

Visa may require a Member's VisaNet Processor to enter into an agreement directly with Visa before
the delivery of any of the following:

• V.I.P. System software
• BASE II software
• Visa Extended Access [4]

• Other systems as deemed necessary by Visa

The agreement may specify terms and conditions for the use of software or equipment that Visa
determines necessary to protect its proprietary rights. This provision does not require Visa to agree to
this type of arrangement, nor does it give any VisaNet Processor the right to use VisaNet.

ID#: 111011-010100-0025882



VisaNet Processor Marketing Materials

A Member must require that its VisaNet Processor:

• Uses only marketing materials approved by the Member
• Ensures that all marketing materials displaying the Visa-Owned Marks also include the Member
  name, which must be more prominent and in a larger font than that of the VisaNet Processor
• For Visa Prepaid Card distribution, ensures that any Website displaying the Visa-Owned Marks
  or offering Visa Card services clearly and conspicuously includes the Member name, which must
  be located within close proximity to the Visa-Owned Marks, as specified in the applicable Visa
  International Prepaid Program Guidelines and the Visa Product Brand Standards.
• Is prominently identified on the marketing materials as an agent or representative of the Member
  unless the Member has provided its approval to exclude its name on such marketing materials
• In the Canada Region, with the approval of the Member and provided the Acquirer Processor has
  entered into the form of Trademark License Agreement for Acquirer Processors as prescribed by
  Visa, a Member’s Acquirer Processor may display certain Visa-Owned Marks on its marketing
  materials without the Member’s name or logo in accordance with the terms of the Trademark
  License Agreement for Acquirer Processors (This only applies in the Canada Region.)

ID#: 111011-010100-0025885




4   This requirement does not apply to U.S. and CEMEA Members using Direct Exchange (DEX).

18 October 2011                                    VISA PUBLIC                                            97
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     Case: 4:13-cv-02226-JAR                    Doc. #: 85-5 Filed: 02/12/15        Page: 135 of 1319
                                                   PageID #: 3328
                                    Visa International Operating Regulations




Agents Used for Solicitation - U.S. Region

A U.S. Member that uses an Agent for Cardholder or Merchant solicitation must:

• Have a written agreement with the Agent, as specified in "Third Party/ISO Requirements - U.S.
  Region"
• Ensure that any use of the Visa Program Marks by its Agents complies with the Visa International
  Operating Regulations

ID#: 010410-010410-0001165



Competitors as Agents - U.S. Region

A U.S. Member must not appoint or permit as its Agent for Cardholder or Merchant solicitation any
organization, or its respective subsidiaries or affiliates, that Visa deems to be a competitor, including:

• American Express Company
• Discover Financial Services

ID#: 081010-010410-0001166



Agent Prohibitions Related to Visa-Owned Marks - U.S. Region

An Agent of a U.S. Member must not:

• Permit the use of any Visa-Owned Mark by any of its own Agents
• Use any Visa-Owned Mark on any marketing material, including business cards and letterhead on
  stationery

ID#: 010410-010410-0001168



VisaNet Processor Requirements


VisaNet Processor Registration

Any Member that uses a VisaNet Processor, whether or not the VisaNet Processor is itself a Member,
must:

• Submit to Visa a VisaNet Processor Registration and Designation/Termination form (available on
  Visa Online) before using the VisaNet Processor
• Immediately notify Visa if any change occurs in the VisaNet Processor relationship, including
  termination, change of ownership or business function, or processor
• Complete a contract with the VisaNet Processor, as specified in “VisaNet Processor Contracts”



98                                                 VISA PUBLIC                             18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 136 of 1319
                                               PageID #: 3329
                                    Visa International Operating Regulations


• Ensure that the VisaNet Processor complies with the applicable provisions of the Visa International
  Certificate of Incorporation and Bylaws and Visa International Operating Regulations
• Ensure that any changes to BIN relationships comply with the requirements specified in “BIN
  Licensing”

ID#: 111011-010100-0025870



VisaNet Letter of Agreement for Non-Members

Any Member that uses a non-Member as a VisaNet Processor must ensure that the non-Member
submits to Visa a "VisaNet Letter of Agreement" (Exhibit 5A) before using the non-Member as a
VisaNet Processor.

ID#: 111011-010100-0025871



Liability for Activities of VisaNet Processors

A Member must accept liability for all activities, including both acts and omissions, of its VisaNet
Processors, as specified in the VisaNet Processor Registration and Designation/Termination form.

ID#: 111011-010100-0025872



Responsibility for Losses Caused by VisaNet Processors

A Member is responsible for any and all losses caused by its VisaNet Processor. All Members using
a Clearing or authorizing VisaNet Processor, whether a Member or non-Member, are jointly and
severally responsible for the proper performance by that VisaNet Processor of all the requirements
of the Visa International Certificate of Incorporation and Bylaws and Visa International Operating
Regulations.

ID#: 111011-010100-0025873



Non-Member VisaNet Processor or Clearing Member Reporting

A Member that uses a non-Member VisaNet Processor or Clearing Member to process Transaction-
related data must submit an annual report to Visa.

The annual report must include, at a minimum:

• Identification of the services provided by the non-Member VisaNet Processor or Clearing Member
• Products and programs supported
• BINs under which the Member's activity is processed

ID#: 111011-010100-0025874




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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 137 of 1319
                                                   PageID #: 3330
                                    Visa International Operating Regulations




VisaNet Processor Independent Audit

Upon designation of a VisaNet Processor, the sponsoring Member must obtain and review an
independent audit of the internal controls that support the VisaNet Processor’s VisaNet interface.
The audit must be conducted annually and use standard audit practices of the International Audit
Standards or other regionally acceptable standards as agreed to by Visa. An audit is not required if
the VisaNet Processor is a Member or special Licensee.

ID#: 111011-010100-0025878



VisaNet Processor Requirements Related to Third Parties

A contract between a Member and its VisaNet Processor must require the VisaNet Processor to:

• Ensure that all Third Parties that use a Member’s BIN are properly registered with Visa by that
  Member
• Notify BIN Licensees in writing and receive written approval before allowing any Third Party Agent
  to use a Member’s BIN or granting access to Cardholder information
• Report at least quarterly to the Member and Visa any Third Parties that use its BIN

ID#: 111011-010100-0025881



VisaNet Processor Acting as Clearing Processor

A Member must ensure that a VisaNet Processor acting as a Clearing processor:

• Provides access to Cardholder, Merchant, Sponsored Merchant, and Member data
• Withholds or redirects Settlement funds, as required by Visa

ID#: 111011-010100-0025883



VisaNet Processor Limitations on Liability

A Member may limit its liability for the failure of a VisaNet Processor if it provides Visa with an
updated VisaNet Processor Registration and Designation/Termination form showing that it had
terminated the VisaNet Processor relationship before the failure. This form is available through either
Visa Online or upon request from Visa.

Limitations of liability, as defined in “Unauthorized Use,” are effective upon receipt of Member
Notification to Visa.

ID#: 111011-010100-0025887




100                                                VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 138 of 1319
                                               PageID #: 3331
                                    Visa International Operating Regulations




Losses Resulting from Unauthorized Use – VisaNet Processors

For losses resulting from Unauthorized Use, Visa may collect funds from one of the following, in the
order listed:

• Member that caused the loss
• VisaNet Processor that processed the Transaction, if either:
  – No Member is directly responsible for the Unauthorized Use
  – The responsible Member does not meet its financial obligations
• Members using the VisaNet Processor, if the VisaNet Processor does not meet its financial
  obligations

ID#: 111011-010100-0025888



Collection of Funds from a Member or VisaNet Processor

In collecting funds owed by a Member or VisaNet Processor, Visa may take, but is not limited to, the
following actions:

• Take and liquidate collateral posted by a Member or VisaNet Processor, as specified in the
  agreement for the posting
• After providing at least one business day's notice before the collection, either:
  – Debit the Member's or VisaNet Processor's Clearing account through VisaNet
  – Withhold amounts from payments that Visa owes to the VisaNet Processor

ID#: 111011-010100-0025889



VisaNet Processor Payment Disputes

A Member or VisaNet Processor:

• May contest the amount collected by Visa, as specified in Section 10.03 of the Visa International
  Certificate of Incorporation and Bylaws
• Must provide written notice to Visa within 60 calendar days of the collection date, if it wishes to
  dispute its liability for, or the amount of, the collection
• Must not withhold payment because the Member or VisaNet Processor disputes its liability for the
  payment

Visa is:

• Liable only for the amount improperly collected plus interest at the prime rate in effect at the
  Settlement Bank used by Visa




18 October 2011                                    VISA PUBLIC                                          101
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15        Page: 139 of 1319
                                                   PageID #: 3332
                                    Visa International Operating Regulations


• Not liable for collections made in error, except for intentional misconduct

ID#: 111011-010100-0025891



Collection of Funds from a Member or VisaNet Processor - U.S. Region

A U.S. Member or VisaNet Processor must remit the total amount owed, as specified in the
Visa International Certificate of Incorporation and Bylaws and the Visa International Operating
Regulations.

Visa is not required to exhaust its remedies in collecting from one U.S. Member or VisaNet Processor
before collecting from another Member.

If a U.S. Member or VisaNet Processor does not remit the amount owed, the Member is responsible
for Visa expenses incurred in collecting the funds, including, but not limited to, costs and expenses of
legal action.

A U.S. Member from which Visa collects amounts due must continue to honor its obligations to
Merchants and Sponsored Merchants.

A VisaNet Processor must not charge a U.S. Member's Clearing account unless either:

• Visa has directed the VisaNet Processor to do so
• The Member whose account is to be charged has provided written consent for the charge and
  the consent does not prevent the Member from complying with the Visa International Operating
  Regulations

ID#: 111011-010100-0025890



Third Party/ISO Requirements


Third Party Agent Registration Program

A Member that uses a Third Party Agent must comply with all of the requirements specified for
Third Party Agents. Only a Third Party Agent that has a direct written contract with a Member may
perform services on behalf of the Member. A Third Party Agent is exempt from the registration
requirements specified in Third Party Agent Registration Requirements and the associated fees
if it only provides services on behalf of its affiliates (including parents and subsidiaries) and those
affiliates are Members that own and control at least 25% of the Third Party Agent.

ID#: 111011-010100-0025892



Third Party Agent Registration Requirements

To register a Third Party with Visa, a Member must:

• Use the Visa Membership Management application, available through Visa Online



102                                                VISA PUBLIC                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 140 of 1319
                                               PageID #: 3333
                                    Visa International Operating Regulations


• Complete the appropriate regional forms, available from the appropriate regional risk
  representative
• Registration must be completed before the performance of any contracted services or Transaction
  activity

Visa may deny or reject a Third Party Agent’s registration at any time with or without cause.

ID#: 111011-010100-0025893



Registration Requirements for Merchant Third Party Agents

A Member must register with Visa any Third Party Agent that has been engaged by any of its
Merchants before the performance of any contracted services by the Third Party Agent on behalf of
the Merchant.

Registration of a Third Party Agent is specific to each Member, and requires a separate registration
by each Member for any Third Party Agent that:

• Uses its BIN. For a Member in the LAC Region, the registration is per Member, per country, and
  per agent.
• Provides contracted services on behalf of the Member or its Merchants

ID#: 111011-010100-0025894



Third Party Agent Compliance with Due Diligence Standards

Before registering a Third Party Agent, a Member must complete, and validate compliance with,
the applicable regional due diligence standards that are available through the Visa Membership
Management Application Service on Visa Online or from the appropriate regional contact. Upon Visa
request, a Member may be required to provide documentation to confirm compliance with regional
due diligence standards.

A Member with currently registered Third Party Agents must:

• Perform an annual review of all Third Party Agents to confirm ongoing compliance with applicable
  regional due diligence standards available through the Visa Membership Management Application
  Service on Visa Online or from Visa
• Upon Visa request, provide documentation to confirm compliance with regional due diligence
  standards

ID#: 111011-010100-0025895




18 October 2011                                    VISA PUBLIC                                     103
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 141 of 1319
                                                   PageID #: 3334
                                    Visa International Operating Regulations




Member Approval of Third Party Agent

A senior officer of a Member must review all documentation and approve a Third Party Agent.
Approval must be based on sound business practices that will not compromise the Member or Visa,
and must not be based solely on any purported limitation of the Member's financial liability in any
agreement with the Third Party Agent.

ID#: 111011-010100-0025896



Third Party Change Notification

A Member must use the Visa Membership Management Application, available through Visa Online,
or the appropriate regional form to notify Visa of any change in a Third Party’s principals or business
relationship (including change of ownership or termination of contract). The Member must submit the
notice to Visa within 5 business days of the change or knowledge of the change.

The Member must forward to Visa, via the Visa Membership Management Application or the
appropriate regional form, requests for correction.

ID#: 111011-010100-0025899



Third Party Registration Fee

Visa assesses a registration fee and annual fee for Third Party Agents, as specified in the applicable
regional fee guide. The fee for Member registration of each Third Party Agent will be charged directly
to the Member, unless otherwise specified by Visa. Visa will waive the annual registration fee for the
calendar year in which the agent has been registered, unless otherwise specified.

ID#: 111011-010100-0025900



Third Party Agent Contract Requirements

A Member must execute a written contract with each Third Party Agent that performs Cardholder or
Merchant solicitation and/or stores, processes, or transmits Cardholder or Transaction data on behalf
of the Member. The contract, to the extent permitted by applicable law, must:

• Include minimum standards established by Visa, including, but not limited to:
  – Policies
  – Procedures
  – Service levels
  – Performance standards
• Include language that:
  – Permits Visa to conduct financial and procedural audits and general reviews at any time




104                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 142 of 1319
                                               PageID #: 3335
                                    Visa International Operating Regulations


  – Requires the Third Party Agent to make available to Visa and regulatory agencies Cardholder
    and Merchant information
  – Contains an appropriate notice of termination clause
  – Permits Visa to determine the necessity of and impose risk conditions on the Third Party Agent
• Ensure that the Third Party Agent will comply with:
  – Visa International Operating Regulations
  – Applicable Visa Regional Operating Regulations
  – Applicable local laws
• Be executed by a senior officer of the Member
• Contain at least the substance of the provisions specified for Third Party Agents
• Ensure that the Third Party Agent complies with the Payment Card Industry Data Security Standard
  (PCI DSS) and with the Visa International Operating Regulations

ID#: 111011-010100-0025902



Termination of Third Party Agent Contract

A Third Party Agent contract must include a provision allowing a Member or its Merchant to terminate
a contract if the Third Party Agent participates in any of the activities described in “Prohibition of Third
Party Agents from Providing Services” or the Member or its Merchant becomes insolvent.

ID#: 111011-010100-0025903



Assignment of Liability for Third Party Agents

If a Member fails to meet its responsibilities regarding Third Party Agents, as specified in the
applicable Visa International Certificate of Incorporation and Bylaws and the Visa International
Operating Regulations, Visa assigns liability in the following order of precedence:

• Member from whose performance or nonperformance (including by its Third Party Agents) the loss
  arose
• Member, if any, that sponsored the above Member, with limitations specified in the Visa
  International Certificate of Incorporation and Bylaws, Section 2.11
• BIN Licensees of BINs used in Transactions, with limitations specified in “Liabilities and
  Indemnifications”
• Other BIN users, in an order determined by Visa

ID#: 111011-010100-0025904



Losses Resulting from Unauthorized Use of Third Party Agents

For losses resulting from Unauthorized Use, Visa may collect funds from one of the following, in the
order listed:


18 October 2011                                    VISA PUBLIC                                           105
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15       Page: 143 of 1319
                                                   PageID #: 3336
                                    Visa International Operating Regulations


• Member that caused the loss
• Members using the Third Party Agent

ID#: 111011-010100-0025905



Member Risk Management Responsibilities for Third Party Agents

Before contracting with a Third Party Agent, a Member must:

• Determine that the entity is financially responsible and will comply with the substance of the Visa
  International Operating Regulations and applicable law
• Comply with the Third Party Agent Registration Program

The Member must also conduct a background investigation to verify the responsibility (including,
where appropriate, financial responsibility) of the principals and ensure that no significant derogatory
information exists. If local laws prohibit checks (including financial reviews) on individuals, the
Member must note this when registering the Third Party Agent and note what other due diligence
procedures were undertaken to ensure that due diligence has been completed.

ID#: 111011-010100-0025906



Third Party Agent On-Site Inspection

In order to register a Third Party Agent, a Member must perform an on-site inspection of the Third
Party Agent’s business location prior to the initial registration as part of the due diligence requirement
to:

• Verify inventory, if applicable
• Review solicitation or sales materials
• Inspect operational controls
• Monitor security standards regarding unauthorized disclosure of, or access to, sensitive Visa
  Transaction Information and other payment systems’ transaction information

Visa may conduct an on-site inspection of any Third Party Agent to validate its compliance with the
applicable security requirements.

ID#: 111011-010100-0025907



Third Party Agent Reference File Query Requirement

A Member must review the Visa Membership Management Application or the appropriate regional
form each time the Member signs a Third Party Agent to confirm if another Member has discontinued
its relationship with a Third Party Agent. Visa refers the inquiring Member to the Member with the
former relationship for further information, but the Member with the former relationship is not obligated
to disclose information to the inquiring Member.




106                                                VISA PUBLIC                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 144 of 1319
                                               PageID #: 3337
                                    Visa International Operating Regulations



Visa will not provide an inquiring Member with details of a Third Party Agent’s existing relationships
with other Members, nor with the Members’ identities.

Registration of a Third Party Agent does not represent confirmation by Visa of the Third Party Agent's
compliance with any specific requirement.

ID#: 111011-010100-0025908



Member Requirements for Third Party Agents

A Member using a Third Party Agent must:

• Control the approval and review of Merchants, approval of Cardholder applications, and
  establishment of Merchant fees for Transactions
• Maintain a file on the Third Party Agent that includes records of all applicable due diligence and
  retain this file, with the reason for discontinuance, for a minimum of 2 years following the
  discontinuance of the Third Party Agent relationship
• Guarantee that it and the Third Party Agent will comply with Third Party Agent requirements and
  “Account and Transaction Information Security”
• Identify each Third Party Agent and designate the activities that it is authorized to perform on the
  Member's, or the Member's Merchant’s, behalf
• Ensure that the Third Party Agent has access to and uses the information contained in the current
  Visa Interchange Directory, if the Member uses the Third Party Agent for processing any of the
  following:
  – Chargebacks
  – Arbitration cases
  – Compliance cases
  – Authorizations
  – Referrals
  – Fraud reporting cases
  – Settlement
• Advise the Third Party Agent that:
  – Such organization or individual must not represent registration in the Third Party Registration
    Program as Visa endorsement of its services
  – Registration of a Third Party Agent is specific to each Member, and requires a separate Third
    Party Agent registration process for each Member business relationship
• Accept responsibility for any and all losses caused by its Third Party Agent

ID#: 111011-010100-0025909




18 October 2011                                    VISA PUBLIC                                         107
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 145 of 1319
                                                   PageID #: 3338
                                    Visa International Operating Regulations




Member Responsibilities for Third Party Agents

A Member is responsible for all Card activities associated with Visa products and services, whether
performed directly or indirectly by the Member or any Third Party Agent. The Member must, at a
minimum, guarantee that:

• Its Merchants are paid for proper acceptance of a Card
• Payments received from Cardholders are applied for the purpose for which they were remitted

These obligations must not be waived, abrogated, or superseded in any manner.

ID#: 111011-010100-0025910



Third Party Agent Reporting

A Member must, upon Visa request, submit the detailed quarterly report form from Visa, regarding the
activities and services of each Third Party Agent doing business on its behalf. The quarterly report
must be signed by an authorized officer.

Visa may assess a fine if the Member fails to provide this information within 30 calendar days from
the end of each quarter.

ID#: 111011-010100-0025911



Third Party Agent Responsibility for Providing Information

Unless prohibited by local law, if a Member, Visa, its designees, or any regulatory agency requests
Cardholder or Merchant information, a Third Party Agent must provide the information in writing as
soon as possible, but no later than 7 business days from receipt of a request. If local law prohibits
providing the information, the Third Party Agent must note the exception when the original request is
submitted. Requests may include information of any type, including any of the following:

• Organizational structure
• Employee information
• Sales-related data
• Financial information
• Transaction data

ID#: 111011-010100-0025912



Third Party Agent Solicitation and Marketing Materials

A Member must ensure that a Third Party Agent:




108                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 146 of 1319
                                               PageID #: 3339
                                    Visa International Operating Regulations


• Uses only solicitation materials, such as advertisements, stationery, business cards, sales
  brochures, and Website promotional content approved by the Member, as specified in the Visa
  Product Brand Standards
• Uses only solicitation materials that prominently identify the registering Member
• Complies with the substance of Visa International Operating Regulations regarding any permitted
  use of the Visa Program Marks

ID#: 111011-010100-0025913



Required Member Identification in Solicitation and Marketing Materials

If a Third Party Agent uses solicitation and marketing materials displaying the Visa-Owned Marks, a
Member must ensure that:

• The Member is prominently identified by name and city, in which the headquarters is located,
  adjacent to the Visa-Owned Marks
• Subsequent Cardholder or Merchant Agreement is between the Member and the individual
  Cardholder or Merchant
• If Cardholder solicitation material, the Member, not the Third Party Agent, is the Issuer of the Card
• The material does not identify the Third Party Agent, unless such organization or individual is
  prominently identified as a representative of the Member, as specified in the Visa Product Brand
  Standards

ID#: 111011-010100-0025914



Use of Visa Marks on Third Party Agent Materials

A Member must not permit the use by a Third Party Agent of any Visa-Owned Mark on marketing
materials, such as business cards and letterhead on stationery, as specified in the Visa Product
Brand Standards.

A Third Party Agent must present itself to all current and prospective Cardholders and Merchants
under the Trade Name or "doing business as" (DBA) name registered with the Member.

ID#: 111011-010100-0025915



Transaction Information Security for Third Party Agents

A Member must ensure that all Third Party Agents with access to account or Visa Transaction
Information comply with Visa Transaction Information security requirements.

ID#: 111011-010100-0025916




18 October 2011                                    VISA PUBLIC                                       109
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 147 of 1319
                                                   PageID #: 3340
                                    Visa International Operating Regulations




Disclosure of Account or Visa Transaction Information

A Member, in the event of the failure, including bankruptcy, insolvency, or other suspension of
business operations, of one of its Third Party Agents, must ensure that the Third Party Agent does
not sell, transfer, or disclose any materials that contain Cardholder Account Numbers, personal
information, or other Visa Transaction Information to any other entity. The Member must ensure that
its Third Party Agent either:

• Returns this information to the Member
• Provides to the Member acceptable proof of secure destruction of this information

ID#: 111011-010100-0025917



Prohibition of Third Party Agents from Providing Services

Visa may permanently prohibit a Third Party Agent and its principals from providing services with
respect to Visa products for good cause, such as:

• Fraudulent activity
• Activity that causes the Member to repeatedly violate the Visa International Operating Regulations
• Operating in an unsound, unsafe manner
• Any other activities that may result in undue economic hardship or damage to the goodwill of the
  Visa system, if the Third Party fails to take corrective action

ID#: 111011-010100-0025918



Acquirer Eligibility – Third Party Agent – U.S. Region

Before entering into a Merchant Agreement with Third Party Agent, a U.S. Acquirer must:

• Be in good standing in all Visa risk management programs
• Meet the Acquirer Tier 1 capital requirement of US $100 million

ID#: 111011-010100-0025898



Third Party Agent Operational Review – U.S. Region

In the U.S. Region, a new or existing Acquirer that does not have the necessary capital, as specified
in “Acquirer Eligibility - Third Party Agent - U.S. Region,” must undergo an Acquirer Risk Program
Operational Review before approval of its first Third Party Agent registration for soliciting Merchants.
The cost of the Operational Review is the responsibility of the Acquirer.

ID#: 151011-010100-0025897




110                                                VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 148 of 1319
                                               PageID #: 3341
                                    Visa International Operating Regulations




Use of Third Party Agents by a Participant-Type Member – U.S. Region

A U.S. Participant-Type Member must not use a Third Party Agent unless authorized, in writing, by its
Sponsor. The Sponsor must notify Visa of this authorization.

ID#: 111011-010100-0025919



Card Manufacturers and Personalizers


Issuer Standards for Approved Manufacturers, Approved Personalizers, and
Approved Fulfillment Vendors

An Issuer that does not perform its own manufacturing, personalization, and/or fulfillment must:

• Use an Approved Manufacturer to manufacture or print Visa Products
• Ensure that the Approved Manufacturer is posted on the Visa Approved Card Vendor List or
  approved by Visa and complies with the most current version of the Global Physical Security
  Validation Requirements for Card Vendors
• Use an Approved Personalizer to personalize Visa Products unless using an Instant Card
  Personalization Issuance Agent or another Issuer (an Issuer performing personalization through an
  Instant Card Personalization Issuance Agent or another Issuer must comply with the requirements
  specified in "Visa Product Personalization - Issuer Requirements")
• Ensure that the manufacturing, embossing or printing, and encoding of all Visa Products comply
  with the most current version of the Visa Product Brand Standards and Payment Technology
  Standards Manual
• Ensure that the Approved Personalizer is posted on the Visa Approved Card Vendor List or
  approved by Visa and complies with the most current version of the Global Physical Security
  Validation Requirements for Card Vendors and Global Logical Security Validation Requirements for
  Card Personalization Vendors
• Use an Approved Fulfillment Vendor to package, store, or ship Visa Products unless using a
  Distribution Channel Vendor for pre-manufactured, commercially ready Visa Products (an Issuer
  performing fulfillment through a Distribution Channel Vendor must comply with the requirements
  specified in "Issuer Standards for Distribution Channel Vendors")
• Ensure that the Approved Fulfillment Vendor is posted on the Visa Approved Card Vendor List or
  approved by Visa and complies with the most current version of the Visa Global Physical Security
  Validation Requirements for Data Preparation, Encryption Support and Fulfillment Card Vendors
• Immediately notify Visa if the Approved Manufacturer, Approved Personalizer, and/or Approved
  Fulfillment Vendor is unable to complete its responsibilities
• Contract through another Issuer, an Approved Manufacturer, an Approved Personalizer, and/or an
  Approved Fulfillment Vendor for the production, personalization, and/or fulfillment of Visa Products
• Review completed Card products for accuracy, including embossing, printing, and encoding

ID#: 050411-010100-0025517




18 October 2011                                    VISA PUBLIC                                      111
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 149 of 1319
                                                   PageID #: 3342
                                    Visa International Operating Regulations




Fines Related to Agents


VisaNet Processor Fines and Penalties

A Member using a VisaNet Processor that fails to comply with the Visa International Operating
Regulations and Visa International Certificate of Incorporation and Bylaws is subject to fines and
penalties as specified in General Fines Schedule.

The combined liability of all Members for a VisaNet Processor’s failure to comply must not be more
than the fine or penalty amount for the violation involved.

Visa may assess fines resulting from the activities of a Member performing services on behalf of
another Member to the:

• Performing Member
• Member for which the services are performed

The total paid by both Members must not be more than the fine or penalty amount for the violation
involved.

Visa may impose penalties whether a Member or non-Member is performing services on behalf of
another Member.

If a Member acts as a VisaNet Processor for another Member, it is considered a single entity with that
other Member in determining repetitive violations.

ID#: 111011-010100-0025886



Third Party Agent Fines

Visa assesses fines to a Member that fails to comply with the provisions of “Use of Third Party
Agents” as specified in "Fines Related to Third Party Agents." A Member is subject to fines for the
failure of its Third Party Agents to comply with the substance of the Third Party Agent requirements,
including nonpayment of fees to Visa.

ID#: 111011-010100-0025901



Fines Related to Third Party Agents

A Member that fails to comply with the Third Party Agent requirements is assessed a fine.

For repeated violations in a rolling 60-month period, Visa may assess fines in addition to those
specified, at management's discretion. Fines are cumulative.

ID#: 111011-010100-0025868




112                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 150 of 1319
                                               PageID #: 3343
                                    Visa International Operating Regulations




Third Party Registration/Notification Fine - U.S. Region

Visa assesses an additional fine of US $20,000 for each 30-calendar-day period, or portion thereof,
during which a U.S. Member fails to:

• Register a Third Party, as specified in "Third Party Registration Program - U.S. Region"
• Notify Visa of a change, as specified in "Third Party Change Notification - U.S. Region"

If a U.S. Member repeatedly fails to comply with registration or notification requirements in a 60-
month rolling period, Visa may assess the Member fines in addition to the US $20,000 fine. Such
fines may be assessed at Visa discretion and are cumulative.

ID#: 010410-010410-0003503




18 October 2011                                    VISA PUBLIC                                        113
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      Case: 4:13-cv-02226-JAR               Doc. #: 85-5 Filed: 02/12/15   Page: 151 of 1319
                                               PageID #: 3344




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114                                           VISA PUBLIC                       18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 152 of 1319
                                               PageID #: 3345
                                    Visa International Operating Regulations




Chapter 3: The Visa License

Core Principle 3.1

Intellectual Property


Visa Ownership of Intellectual Property

All participants in the Visa system recognize Visa's ownership of valuable intellectual property,
including the Visa name, Visa marks, and Visa technology, and agree to protect these ownership
rights and the integrity of the marks by following Visa's applicable rules in all activities, including
issuing, acquiring and processing. These rules and the Visa license address appropriate use of
the licensed marks, technology, software, hardware, and other valuable intellectual property in
conjunction with Visa systems, products and services.

ID#: 010410-010410-0007727




Core Principle 3.2

Brand and Licensed Technology


Using the Visa Brand and Technology

All participants in the Visa system may use the Visa brand and licensed technology to provide
payment and other financial services, under the Visa brand, to customers within the geographic
locations defined by Visa and as permitted by local banking regulation.

ID#: 010410-010410-0007759




18 October 2011                                    VISA PUBLIC                                            115
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15       Page: 153 of 1319
                                                   PageID #: 3346
                                    Visa International Operating Regulations




Core Principle 3.3

BIN Licensing


Obtaining a BIN

Visa participants may obtain one or more Bank Identification Numbers (BINs) from Visa for use in all
Visa activities. As a BIN licensee, the participant is responsible for all activities associated with any
BIN that it licenses.

ID#: 010410-010410-0007760




Marks License

Marks License Grant


License Grant for Visa-Owned Marks

Visa grants to each Member, excluding one that is solely a Plus Program Participant, a non-exclusive,
non-transferable license to use each of the Visa-Owned Marks only in conjunction with the applicable
Visa Programs that are licensed to the Member.

ID#: 010410-010410-0008906



License Grant for Plus Program Marks

Visa may grant to a Member not otherwise licensed a non-exclusive, non-transferable license to use
each of the Plus Program Marks with the Plus Program.

ID#: 010410-010410-0001122



License for Plus Card Acceptance - U.S. Region

Visa grants a U.S. Member that is required to display the Plus Symbol on its ATM a license to use
each of the Plus Program Marks for the purpose of accepting Plus Cards at ATMs, subject to the
terms and conditions of the applicable sections of the Plus System, Inc. Bylaws and Operating
Regulations.

A U.S. Member granted such a license acknowledges that Visa owns the Plus Program Marks.

ID#: 010410-010410-0007436




116                                                VISA PUBLIC                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 154 of 1319
                                               PageID #: 3347
                                    Visa International Operating Regulations




Visa Marks Ownership Acknowledgement

A Member must:

• Acknowledge that Visa owns all Visa-Owned Marks
• Agree that it will do nothing inconsistent with this ownership
• Agree that the use of all Visa-Owned Marks must be for the benefit of, and on behalf of, Visa

ID#: 010410-010410-0006463



Denotation Requirements for Visa-Owned Marks

A Member must not use any denotation or legend of Marks registration or ownership in connection
with the Visa-Owned Marks, except as required or approved by Visa. Upon request, Visa will provide
a current list of both the:

• Countries in which a denotation or legend must be used
• Required denotation or legend

ID#: 050411-010410-0006464



Registration/Ownership Denotation

A Member desiring to use a denotation or legend of registration or ownership with any proprietary
Mark or Trade Name used in association with, or on the same piece as, any Visa-Owned Mark may
do so only if Visa:

• Determines that this use will not adversely affect the rights of Visa
• Has provided written approval

ID#: 010410-010410-0007431



Use of Visa-Owned Marks in Sponsorship Events

A Member must obtain written approval from Visa for its planned use of any Visa-Owned Mark in the
sponsorship of events, including all advertising, promotions, and public relations. These rules do not
apply to the purchase of advertising not specifically tied to sponsorship of these events.

ID#: 010410-010410-0001109




18 October 2011                                    VISA PUBLIC                                      117
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 155 of 1319
                                                   PageID #: 3348
                                    Visa International Operating Regulations




Use of Visa-Owned Marks in Country of License

The Member may use the Visa-Owned Marks only in a country where it is licensed to do so. The
written approval request must specify each country where the sponsorship activity will occur. If a
Member plans sponsorship activities in any additional country at a later date, it must submit a new
request.

ID#: 010410-010410-0001110



Scope of Visa-Owned Marks Use

A Member must ensure that it uses each Visa-Owned Mark within the scope of the written approval
from Visa. After Notification from Visa, a Member must correct any improper use of any of these
Marks.

ID#: 010410-010410-0001114



Infringement Proceedings Regarding Visa Marks

Unless Visa grants express consent, Visa reserves the sole right to initiate infringement proceedings
or other challenges involving any use of the Visa-Owned Marks.

ID#: 010410-010410-0006462



Visa Proprietary Rights

Members acknowledge the proprietary rights of Visa and that unauthorized or inappropriate use of the
Visa-Owned Marks and Visa Brand Name may cause Visa irreparable damage or injury. Visa has the
full authority to enforce all Visa regulations governing Members, Merchants, agents, and other entities
using the Visa-Owned Marks and Visa Brand Name.

ID#: 010410-010410-0007432



Sponsorships/Partnerships Including Olympics


Olympic Marks in Media

Use of Olympic Marks, logos, designations, and authenticating statements in any media with any
Visa Program Mark must comply with the Visa International Operating Regulations, the Visa Product
Brand Standards, and the current Visa Olympic Tool Kit.

ID#: 010410-010410-0007452




118                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 156 of 1319
                                               PageID #: 3349
                                    Visa International Operating Regulations




Sponsorship Pass-Through Rights

A Member's enjoyment of pass-through rights to use the Marks and promotional materials of any
organization with which Visa has signed a global partnership or sponsorship agreement, including
without limitation those of the Olympics, must comply with the requirements specified in the Visa
International Operating Regulations and supplemental documents that specify the Marks usage
standards that must be maintained for that partnership or sponsorship.

A Member must not make any use of such pass-through rights without the prior written approval of
Visa and the partner or sponsor organization.

ID#: 010410-010410-0007450



Partnership/Sponsorship Agreement

A partnership or sponsorship agreement governs in the case of ambiguity, conflict, or inconsistency
between that agreement and any Visa International Operating Regulations, contract, sublicense,
agreement, or other arrangements between Visa and a Member, Merchant, or affiliate.

ID#: 010410-010410-0001128



Member Use of Partnership/Sponsorship Marks

A Member participating in certain Visa Programs may use the Marks, logos, designations, and
authenticating statements associated with any partnership or sponsorship, including, but not limited
to:

• The International Olympic Committee
• The organizing committees of the current Winter and Summer Olympic Games
• A National Olympic committee

ID#: 010410-010410-0007454



Olympic Marks on Cards/Decals

A Member may use the Olympic Marks on Cards and decals and with other representations of the
Visa, Visa Electron, or Visa TravelMoney Program Marks in advertising and on promotional materials.

ID#: 010410-010410-0001581



Compliance with Marks Use Guidelines

Each Member must strictly observe the guidelines for use of the partnership or Sponsorship Marks as
specified in governing documents, including, but not limited to:

• Visa International Operating Regulations


18 October 2011                                    VISA PUBLIC                                      119
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 157 of 1319
                                                   PageID #: 3350
                                    Visa International Operating Regulations


• The current Visa Olympic Tool Kit

ID#: 050411-010410-0007456



Improper Use of Sponsorship/Partnership Marks

After Notification from Visa, a Member must correct any improper use of the partnership or
Sponsorship Marks.

ID#: 050411-010410-0007453



Olympic Marks on Commercial Products - U.S. Region

Olympic Marks, logos, designations, and authenticating statements may be used on a Commercial
Visa Product in the U.S. Region, provided the Member obtains prior written approval from Visa. Such
uses will be permitted in limited circumstances and are subject to approval of the Olympic authorities.

ID#: 010410-010410-0006193




BIN License and Administration

License


BIN License Agreement (Updated)

Effective through 31 March 2012, a Principal-Type or Associate-Type Member must submit a
"BIN License Agreement" (available through the Visa Publication Center on Visa Online) request
to Visa before using the BIN for acquiring or issuance of a Visa Card bearing the requested BIN.
By completing the "BIN License Agreement" request, the Member acknowledges that it will use the
requested BIN only for the purpose specified in the request. The Member must submit a revised
request to reflect any change in use before the effective date of the change.

Effective 1 April 2012, a Principal-Type Member or Associate-Type Member must submit a "BIN
License Agreement" (available through the Visa Publication Center on Visa Online) request to
Visa before using the BIN for acquiring or issuance of a Visa Card bearing the requested BIN. A
VisaNet Processor must submit a "BIN License Agreement" request to Visa before using the BIN for
processing activities. By completing the "BIN License Agreement" request, the Member or VisaNet
Processor acknowledges that it will use the requested BIN only for the purpose specified in the
request. The Member or VisaNet Processor must submit a revised request to reflect any change in
use before the effective date of the change, and with appropriate approval by Visa.

ID#: 111011-010410-0001220




120                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 158 of 1319
                                               PageID #: 3351
                                    Visa International Operating Regulations




BIN License Recipients (Updated)

Visa will license a BIN to a Principal-Type Member, Associate-Type Member, or a VisaNet Processor.

ID#: 111011-010410-0001246



BIN Jurisdiction (New)

A BIN is licensed for use in a single country, except as defined in the Visa Multinational Program
Guide, the applicable Visa International Prepaid Program Guidelines, or the International Airline
Program.

ID#: 111011-080911-0026465



Purpose of BIN Use (Updated)

Visa licenses BINs to be used for issuing, acquiring, processing and other approved activities; the
BIN Licensee must use BINs only for the purpose for which the BIN Licensee is approved, and
in a country in which the BIN Licensee is licensed to perform those activities, as specified in the
applicable Certificate of Incorporation and Bylaws.

ID#: 111011-010410-0001250



Private Label BIN Use

If a BIN Licensee or its designated Sponsored Member uses a Visa BIN for a Private Label Card
program, the Issuer or its Sponsored Member must have a written acceptance agreement directly
with each merchant that accepts its Private Label Cards.

ID#: 111011-010410-0001253



Administration


Visa Interchange Directory Update Form - Submission

Each Member or VisaNet Processor assigned a BIN to use on Cards and through Interchange
must submit a completed "Visa Interchange Directory Update Form" (available through the Visa
Publication Center on Visa Online) to Visa.

Effective through 15 April 2011, if any of the required information changes, a Member must
immediately submit to Visa a new form with any updates for distribution to other Members and
Processors.




18 October 2011                                    VISA PUBLIC                                        121
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 159 of 1319
                                                   PageID #: 3352
                                    Visa International Operating Regulations



Effective 16 April 2011, if any of the required Visa Interchange Directory information changes,
a Member must send a new form with any updates to Visa at least 10 business days before the
effective date, for distribution to other Members and VisaNet Processors.

ID#: 050411-010410-0007725



BIN Sale or Exchange

A BIN Licensee must not sell, rent, or exchange any BIN. However, Visa may, at its sole discretion,
accommodate requests for BIN transfers in connection with a portfolio sale.

ID#: 111011-010410-0001238



BIN Release Request (Updated)

A BIN Licensee that no longer uses a BIN must release it to Visa by submitting a "BIN Release
Request." Any BIN released back to Visa must not be used after the release effective date. The "BIN
Release Request" form is available through the Visa Publication Center on Visa Online.

ID#: 151011-010410-0001239



BIN Release Reversal (Updated)

A BIN Licensee must:

• Notify its VisaNet Processors of a BIN release reversal prior to submitting the "Reversal of BIN
  Release Request" to Visa. The "Reversal of BIN Release Request" form is available through the
  Visa Publication Center on Visa Online.
• Submit a "Reversal of BIN Release Request" to reverse a previously requested BIN release

ID#: 111011-010410-0001240



Membership Downgrade - BIN Requirement (Updated)

A Principal-Type Member or Associate-Type Member that reclassifies to a Participant-Type Member
must either:

• Return its licensed BINs to Visa by submitting a "BIN Release Request" (available through the Visa
  Publication Center on Visa Online) before the effective date of the membership change
• Transfer its licensed BINs to its Sponsor by submitting a "BIN Licensee Transfer
  Request" (available through the Visa Publication Center on Visa Online)

ID#: 111011-010410-0001241




122                                                VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 160 of 1319
                                               PageID #: 3353
                                    Visa International Operating Regulations




Use of Numeric ID (New)

Effective 1 April 2012, to support the implementation of products, services, and tracking, Visa may
assign Numeric IDs (separate to the assignment of BINs) to a Visa Member, VisaNet Processor,
or Third Party Agent. Any Numeric IDs must be used only for the purposes for which they are
assigned.

An assignee of a Numeric ID must only use a Numeric ID for activities for which the assignee has
been approved.

A Visa Member, VisaNet Processor, or Third Party Agent assigned a Numeric ID is fully liable for all
activity occurring on the Numeric ID until it is fully deleted from all Visa production systems.

An assignee of a Numeric ID is responsible for notifying Visa regarding the maintenance of the
Numeric ID, including:

• Portfolio sale or transfer
• Merger or Acquisition
• Cessation of use
• Modification to service
• Change in user of the Numeric ID, if applicable

If the Numeric ID is being used for the purposes of acquiring Transactions, the assignee must comply
with the requirements as specified in "BIN Release" and "Recalled BIN Responsibility."

A Member that designates a VisaNet Processor to act on their behalf must ensure the VisaNet
Processor:

• Only uses the Numeric ID for the purposes for which the Numeric ID was assigned to the Visa
  Member
• Only submits activity on the Numeric ID associated with the assignee of the Numeric ID, or the
  assignee's Sponsored Member approved to share the Numeric ID
• Does not use the Member's Numeric ID for the purpose of processing, Clearing, or settling
  Transactions for any Member other than the assignee and its approved Sponsored Member(s)

ID#: 111011-010100-0026469



Sponsored Member BIN Use

A Participant-Type Member must use a BIN licensed to its sponsoring Principal.

An Associate-Type Member may license its own BIN, or use a BIN licensed to its Sponsor.

A Principal-Type Member must only use a BIN for which it is the BIN Licensee.

ID#: 111011-010410-0001242




18 October 2011                                    VISA PUBLIC                                     123
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 161 of 1319
                                                   PageID #: 3354
                                    Visa International Operating Regulations




Visa Interchange Directory Update Form - U.S. Region

Effective through 15 April 2011, every U.S. Member or VisaNet Processor acting on behalf of a
U.S. Member assigned a BIN to use for Cards and through Interchange must submit a completed
"Visa Interchange Directory Update Form" to Visa. The form is available either through the Visa
Publication Center on Visa Online or upon request from Visa.

ID#: 050411-010410-0003838



Visa Interchange Directory Changes - U.S. Region

Effective through 15 April 2011, if any of the required "Visa Interchange Directory Update Form"
information changes, a U.S. Member must send a new form with any updates to Visa 45 calendar
days before the effective date, for distribution to other Members and VisaNet Processors. The "Visa
Interchange Directory Update Form" is available through the Visa Publication Center on Visa Online.

ID#: 050411-010410-0003839



VisaNet Processor BIN Changes

When a Member changes a VisaNet Processor or begins processing through an additional VisaNet
Processor, the Member must migrate its BIN(s) from its former VisaNet Processor to the new one,
unless the Member retains a processing relationship with the former VisaNet Processor.

ID#: 111011-010410-0001267



VisaNet Processor Relationship Termination - BIN Requirement

If a Member's VisaNet Processor terminates its relationship with Visa, the Member must ensure that
all of its BINs installed with that VisaNet Processor are migrated to another VisaNet Processor before
the termination.

ID#: 111011-010410-0001268



BIN Transfer to New VisaNet Processor (Updated)

In the event that a Member signs an agreement with a new VisaNet Processor and migrates a
BIN to it, the Member must require the new VisaNet Processor to process any Chargebacks,
Representments, Retrieval Requests, billing, and other miscellaneous activity associated with
Transactions originated by the former VisaNet Processor under that BIN, unless the former VisaNet
Processor agrees to continue processing those items.

ID#: 111011-010410-0001269




124                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15          Page: 162 of 1319
                                               PageID #: 3355
                                    Visa International Operating Regulations




BIN Release

Effective through 31 March 2012, if Visa has recalled a BIN:

• The BIN is eligible for deletion from VisaNet six months after the latter of:
  – Expiration date on the last Card issued has passed
  – Date acquiring activities have ceased
  – Date any processing activities have ceased
• The BIN may subsequently be assigned to another Member following the deletion
• The original BIN Licensee remains liable for any exception activity related to Transactions
  generated on the BIN before the deletion. Settlement of such liability to Visa or Members will be
  conducted by Visa in conjunction with the original BIN Licensee.

Effective 1 April 2012, when a Member releases a BIN back to Visa:

• The BIN is eligible for deletion from VisaNet:
  – Six months after the later of:
     • Expiration date on the last Card issued has passed or last date of Card usage as
       communicated to Cardholders
     • Date acquiring activities have ceased
  – After all processing activities have ceased, if applicable
• The BIN may subsequently be assigned to another Member following the deletion
• The original BIN Licensee remains liable for any exception activity related to Transactions
  generated on the BIN before the deletion. Settlement of such liability to Visa or Members will be
  conducted by Visa in conjunction with the original BIN Licensee.
• Any Member voluntarily terminating its Visa membership cannot terminate its membership until all
  BIN(s) and other Numeric IDs assigned to the Member are fully deleted from all VisaNet systems
• A BIN Licensee that requests the blocking and deletion of a BIN must meet all outstanding
  obligations to the Cardholders and/or Merchants on the BIN before the blocking and deletion can
  become effective

ID#: 111011-010410-0001272



Recalled BIN Responsibility

A BIN Licensee is responsible and liable for any recalled BIN until it is fully deleted from all VisaNet
systems.

ID#: 111011-010100-0025578




18 October 2011                                    VISA PUBLIC                                         125
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15             Page: 163 of 1319
                                                   PageID #: 3356
                                    Visa International Operating Regulations




Cessation of BIN Authorized Usage (Updated)

If a Member ceases any of the authorized usages on an existing licensed BIN, the timeframes
referenced in "BIN Release" must be adhered to for removing the usage from the BIN.

ID#: 111011-010100-0025577



Sales and Transfers


Notification of BIN Sale or Transfer

Members involved in a portfolio sale or transfer that results in a change of BIN Licensee or BIN User
must notify Visa within 10 calendar days of the portfolio sale or transfer by submitting to Visa a "BIN
Licensee Transfer Request" or a "BIN User Transfer Request." The "BIN Licensee Transfer Request"
or "BIN User Transfer Request" form is available through the Visa Publication Center on Visa Online.

ID#: 111011-010410-0001243



Member Financial Liability During BIN Sale or Transfer

Visa holds the selling institution financially liable for all portfolio activities, in addition to payment of all
applicable fees, until Visa acknowledges all required documentation.

ID#: 111011-010410-0007667



Portfolio Sale or Transfer Forms

Visa will make the VisaNet system changes required to accommodate portfolio sales and program
transfers only after Visa receives a written request for the changes from the Member.

ID#: 111011-010410-0001258



Mergers and Acquisitions


VisaNet Systems Changes Due to Merger or Acquisition (Updated)

Visa will make the VisaNet system changes required to accommodate Mergers/Acquisitions only after
Visa acknowledges receipt of a "BIN Licensee Transfer Request" or "BIN User Transfer Request"
from the Member. The "BIN Licensee Transfer Request" and "BIN User Transfer Request" are
available through the Visa Publication Center on Visa Online.

ID#: 151011-010410-0001236




126                                                VISA PUBLIC                                  18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 164 of 1319
                                               PageID #: 3357
                                    Visa International Operating Regulations




Mergers, Acquisitions, or Restructuring Membership Qualifications

For a portfolio sale, all Visa membership qualifications must be met by the purchasing organization.
Membership documentation must be submitted to Visa, as specified in the Visa International
Operating Regulations and the applicable Certificate of Incorporation and Bylaws.

ID#: 111011-010410-0001245



Surviving Member Liability Due to Merger

If Visa does not receive notification within 30 calendar days of the effective date of a Merger, Visa
may take the necessary steps to process the Merger, including the transfer of all products and
programs.

ID#: 111011-010410-0001257



Membership Status


Voluntary Membership Termination

Before a request for voluntary membership termination will be processed by Visa, all BINs must be
either:

• Fully deleted from the VisaNet systems
• Transferred to another BIN Licensee

ID#: 111011-010100-0025579




BIN Licensee

Responsibilities


BIN Licensee Responsibilities

A BIN Licensee is responsible for all activities associated with any BIN that it licenses.

ID#: 010410-010410-0007652



Termination of BIN Use Authorization

If a BIN User is no longer authorized by the BIN Licensee to use its BIN, the BIN User must:



18 October 2011                                    VISA PUBLIC                                          127
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 165 of 1319
                                                   PageID #: 3358
                                    Visa International Operating Regulations


• Discontinue use of the BIN
• Ensure all Cards are reissued using a BIN it is authorized to use

ID#: 111011-010410-0001265



Sponsor Liability - AP Region, CEMEA Region, and LAC Region (New)

A Principal-Type Member is responsible and liable for all activities associated with the BINs licensed
directly to an Associate-Type Member whom they sponsor within the AP Region, CEMEA Region, or
LAC Region. The Sponsor's liability is limited to the BINs associated with the sponsorship relationship
between the Principal-Type Member and Associate-Type Member.

A Principal-Type Member must countersign the "BIN License Agreement" for any BIN License
request submitted to Visa from an Associate-Type Member domiciled in the AP Region, CEMEA
Region, or LAC Region prior to Visa fulfilling the request.

Visa may provide a Sponsor with a report listing its Associate-Type Members domiciled in the AP
Region, CEMEA Region, or LAC Region and the BIN(s) tied to the sponsorship relationship with the
Associate-Type Member. The Sponsor must notify Visa of any inaccuracies in the report.

ID#: 111011-010100-0026466




BIN Use

Member Use


BIN Usage Rights

Only the BIN Licensee or the BIN Licensee’s designated Sponsored Member may use the BIN for
the purpose noted on the “BIN License Agreement” (available through the Visa Publication Center on
Visa Online).

ID#: 111011-010410-0001225



Unauthorized BIN Use (New)

Effective 1 April 2012, if a BIN Licensee or its designated Sponsored Member uses a BIN for a
purpose other than specified on the "BIN License Agreement" and approved by Visa, Visa reserves
the right to block and remove the Visa BIN from the Visa production systems.

ID#: 111011-010100-0026468




128                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 166 of 1319
                                               PageID #: 3359
                                    Visa International Operating Regulations




Unique Identification Within the Account Number

An Issuer using a BIN licensed to its sponsoring Member must be uniquely identified within the first 9
digits of the Account Number.

ID#: 111011-010410-0001226



Processor BIN Usage (Updated)

A non-Member VisaNet Processor acting on behalf of a Member must use its licensed BINs
exclusively for processing activities. It must not use the BINs for issuing or acquiring purposes.

A Member that designates a VisaNet Processor to act on their behalf must ensure the VisaNet
Processor only:

• Processes transactions on the Member's BIN(s) for activities for which the BIN is licensed
• Processes transactions on the Member's BIN(s) that are originated by the BIN Licensee or the BIN
  Licensee's Sponsored Members approved to share the BIN
• Clears or settles transactions on the Member's BIN(s) that are originated by the BIN Licensee or
  the BIN Licensee's Sponsored Members approved to share the BIN

ID#: 111011-010410-0001227



PIN Debit Gateway Service BIN Use (New)

A BIN licensed to a Visa Member for Visa PIN Debit Gateway Service acquiring must not be used for
any other purpose.

ID#: 111011-010100-0026467



Use of BINs for Non-Visa Purposes (Updated)

A Member requesting the assignment of a Visa BIN to be used for a program not associated with the
Visa brand or a Visa-Owned Mark (e.g., Plus, Interlink, Electron), including but not limited to Private
Label Card programs, must:

• Request approval for the program by submitting a written statement of program objectives to Visa
  that identifies the BIN uses
• Submit a “BIN License Agreement” request (available through the Visa Publication Center on
  Visa Online)

ID#: 111011-010410-0001228




18 October 2011                                    VISA PUBLIC                                       129
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15       Page: 167 of 1319
                                                   PageID #: 3360
                                    Visa International Operating Regulations




BIN Processing

Each Member and VisaNet Processor must be capable of accepting and processing any Visa-
licensed BIN for any Visa-defined purpose.

ID#: 010410-010410-0008895



Merchant Use and Disclosure of BIN Information


Disclosure of BIN or Other Product Data Information to Merchants - AP Region

Effective 21 July 2010, in the AP Region, an Acquirer may provide BIN information or other
product-identifying data to its Merchant or its Agent located in a U.S. Territory, solely for purposes of
identifying Visa Card product types at the point of sale.

ID#: 151011-210710-0026412



Use of BIN or Other Product Data Information - AP Region (New)

In the AP Region, a Merchant or Agent that receives BIN information or other product-identifying
data from its Acquirer must not use such information for any reason other than to identify Visa Card
product types at the point of sale and for purposes of implementing acceptance practices permitted
by the Visa International Operating Regulations, unless authorized by Visa.

ID#: 111011-210710-0026413



Non-Disclosure of BIN Information - AP Region (New)

An AP Merchant or its Agent receiving BIN information or other product-identifying data must not
disclose such information to any third party without prior written permission from Visa.

ID#: 111011-210710-0026414



Merchants Receiving BIN Information - AP Region (New)

An AP Acquirer that provides BIN information or other product-identifying data to its Merchant or
Agent as specified in “Disclosure of BIN or Other Product Information to Merchants – AP Region”
must ensure that:

• The Merchant or Agent complies with the substance of "Merchant Use and Disclosure of BIN
  Information – AP Region"
• These requirements are included in its Merchant Agreement or Agent contract as a separate
  addendum

ID#: 111011-210710-0026415



130                                                VISA PUBLIC                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 168 of 1319
                                               PageID #: 3361
                                    Visa International Operating Regulations




Third Parties Receiving BIN Information - AP Region (New)

An AP Acquirer whose Merchant provides BIN information or other product-identifying data to its
Third Party must:

• Ensure that the Third Party complies with the substance of "Merchant Use and Disclosure of BIN
  Information – AP Region"
• Require the Merchant to include the substance of these requirements in its agreement or contract
  with its Third Party

ID#: 111011-210710-0026416



Disclosure of BIN or Other Product Data Information to Merchants - LAC Region

Effective 21 July 2010, in the LAC Region, an Acquirer may provide BIN information or other
product-identifying data to its Merchant or its Agent located in a U.S. Territory, solely for purposes of
identifying Visa Card product types at the point of sale.

ID#: 151011-210710-0026417



Use of BIN or Other Product Data Information - LAC Region (New)

In the LAC Region, a Merchant or Agent that receives BIN information or other product-identifying
data from its Acquirer must not use such information for any reason other than to identify Visa Card
product types at the point of sale for purposes of implementing acceptance practices permitted by the
Visa International Operating Regulations, unless authorized by Visa.

ID#: 111011-210710-0026418



Non-Disclosure of BIN Information - LAC Region (New)

An LAC Merchant or its Agent receiving BIN information or other product-identifying data must not
disclose such information to any third party without prior written permission from Visa.

ID#: 111011-210710-0026419



Merchants Receiving BIN Information - LAC Region (New)

An LAC Acquirer that provides BIN information or other product-identifying data as specified in
“Disclosure of BIN or Other Product Information to Merchants – LAC Region” to its Merchant or Agent
must ensure that:

• The Merchant or Agent complies with the substance of "Merchant Use and Disclosure of BIN
  Information – LAC Region"




18 October 2011                                    VISA PUBLIC                                         131
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 169 of 1319
                                                   PageID #: 3362
                                    Visa International Operating Regulations


• These requirements are included in its Merchant Agreement or Agent contract as a separate
  addendum

ID#: 111011-210710-0026420



Third Parties Receiving BIN Information - LAC Region (New)

An LAC Acquirer whose Merchant provides BIN information or other product-identifying data to its
Third Party must:

• Ensure that the Third Party complies with the substance of "Merchant Use and Disclosure of BIN
  Information – LAC Region"
• Require the Merchant to include the substance of these requirements in its agreement or contract
  with its Third Party

ID#: 111011-210710-0026421



Disclosure of BIN or Other Product Data Information to Merchants - U.S. Region
(Updated)

Effective through 19 July 2011, a U.S. Acquirer may provide Visa Debit Card BIN information to
its Merchant or its Agent solely for purposes of identifying Visa Debit Cards presented at the point of
sale. An Acquirer must provide this BIN information to any Merchant requesting it for the permitted
purpose.

Effective 20 July 2011, a U.S. Acquirer may provide BIN information or other product-identifying data
to its Merchant or its Agent solely for purposes of identifying Visa Card product types at the point of
sale. An Acquirer must provide this BIN information to any Merchant requesting it for the permitted
purpose.

ID#: 111011-010410-0000506



Use of BIN or Other Product Data Information - U.S. Region (Updated)

Effective through 19 July 2011, a U.S. Merchant or Agent that receives BIN information from its
Acquirer must not use such information for any reason other than to identify Visa Debit Category
products at the point of sale, unless authorized by Visa.

Effective 20 July 2011, a U.S. Merchant or Agent that receives BIN information or other product-
identifying data from its Acquirer must not use such information for any reason other than to identify
Visa Card product types at the point of sale and to implement acceptance practices permitted by the
Visa International Operating Regulations including “Discount Offer – U.S. Region 5.2.D.2” based on
such information, unless authorized by Visa.

ID#: 111011-010410-0002311




132                                                VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 170 of 1319
                                               PageID #: 3363
                                    Visa International Operating Regulations




Confidentiality of BIN Information (Updated)

Visa BIN information provided by a U.S. Acquirer to a Merchant or an Agent is proprietary and
confidential information belonging to Visa.

ID#: 111011-010410-0002314



Non-Disclosure of BIN or Other Product Data Information - U.S. Region (Updated)

Effective through 19 July 2011, a U.S Merchant or its Agent must not disclose Visa BIN information
to any third party without prior written permission from Visa.

Effective 20 July 2011, a U.S Merchant or its Agent must not disclose Visa BIN information or other
product-identifying data to any third party without prior written permission from Visa.

ID#: 111011-010410-0002315



Merchants Receiving BIN or Other Product Data Information - U.S. Region (Updated)

Effective through 19 July 2011, a U.S. Acquirer that provides BIN information as specified in
"Disclosure of BIN or Other Product Data Information to Merchants - U.S. Region" to its Merchant or
Agent must ensure that:

• The Merchant or Agent complies with the substance of "Merchant Use and Disclosure of BIN
  Information"
• These requirements are included in its Merchant Agreement or Agent contract as a separate
  addendum

Effective 20 July 2011, a U.S. Acquirer that provides BIN information or other product-identifying
data specified in “Disclosure of BIN or Other Product Data Information to Merchants – U.S. Region” to
its Merchant or Agent must ensure that:

• The Merchant or Agent complies with the substance of "Merchant Use and Disclosure of BIN
  Information"
• These requirements are included in its Merchant Agreement or Agent contract as a separate
  addendum

ID#: 151011-010410-0003346



Third Parties Receiving BIN or Other Product Data Information - U.S. Region
(Updated)

Effective through 19 July 2011, a U.S. Acquirer whose Merchant provides BIN information to its
Third Party must:




18 October 2011                                    VISA PUBLIC                                     133
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 171 of 1319
                                                   PageID #: 3364
                                    Visa International Operating Regulations


• Ensure that the Third Party complies with the substance of "Merchant Use and Disclosure of BIN
  Information"
• Require the Merchant to include the substance of these requirements in its agreement or contract
  with its Third Party

Effective 20 July 2011, a U.S. Acquirer whose Merchant provides BIN or other product data
information to its Third Party must:

• Ensure that the Third Party complies with the substance of "Merchant Use and Disclosure of BIN
  Information"
• Require the Merchant to include the substance of these requirements in its agreement or contract
  with its Third Party

ID#: 111011-010410-0003347




Non-Visa BINs

Non-Visa-Assigned BINs


Non-Visa-Assigned BIN Management (New)

Effective 1 April 2012, a Member using a non-Visa-assigned BIN in connection with a Visa service
or product must:

• Ensure it has the right to provide the BIN to Visa
• Maintain the accuracy of the information relative to the BIN

By using a non-Visa-assigned BIN in connection with Visa services or products, the Licensee of
that BIN represents and warrants to Visa and its Members that its use of the non-Visa-assigned
BIN in connection with Visa services or products is duly authorized by the authority under which the
Visa Member obtained use of the BIN. The Licensee also indemnifies and holds harmless Visa and
its Members from any Claims and Liabilities arising from the Licensee's use of the non-Visa-assigned
BIN.

A Licensee of a non-Visa-assigned BIN is responsible for, and indemnifies and holds harmless Visa
against, all activities associated with its non-Visa-assigned BIN. In addition, any Visa Member that
uses a non-Visa-assigned BIN licensed to another Visa Member is responsible for, and indemnifies
and holds harmless Visa against, all activities associated with the use of the non-Visa-assigned BIN.

A Licensee of a non-Visa-assigned BIN is responsible for notifying Visa regarding the maintenance of
the non-Visa-assigned BIN, including:

• Portfolio sale or transfer
• Merger or Acquisition
• Cessation of use
• Modification to product or service

134                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 172 of 1319
                                               PageID #: 3365
                                    Visa International Operating Regulations



A Licensee of a non-Visa-assigned BIN must comply with all applicable requirements specified in
"BIN License and Administration."

ID#: 111011-010100-0026514



Non-Visa-Assigned BIN Management - U.S. Region (Updated)

Effective 8 November 2010 through 31 March 2012, a U.S. Issuer using a non-Visa-assigned BIN
in connection with a Visa service or product must:

• Ensure it has the right to provide the BIN to Visa
• Maintain the accuracy of the information relative to the BIN

ID#: 111011-081110-0026016




Software License

Ownership and Confidentiality


Rights To Sell - Canada Region

The Canada Region may sell products, services, systems, and software that it has developed.

ID#: 010410-010410-0001353



Non-Transferability


Non-Assignable Right to Use VisaNet

A Member's right to use VisaNet is not assignable and its duties are non-delegable without prior
written consent from Visa. However, a Member may use a non-Member VisaNet Processor that has
executed and delivered to Visa a "VisaNet Letter of Agreement" (Exhibit 5A).

ID#: 100611-010410-0003081




18 October 2011                                    VISA PUBLIC                                     135
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 173 of 1319
                                                   PageID #: 3366
                                    Visa International Operating Regulations




Limitations


Restricted Use of VisaNet

A Member must restrict its use of the VisaNet systems and services to purposes specifically approved
by Visa.

ID#: 010410-010410-0003331



Restricted Use of VisaNet - U.S. Region

A U.S. Member, VisaNet Processor acting on behalf of a Visa Member, or U.S. Direct-Connect
Merchant must restrict its use of VisaNet to purposes specifically approved by Visa.

ID#: 010410-010410-0003719




Software Enhancements/Modifications

Enhancements/Modifications


BASE II Edit Package

A Member may modify or enhance the BASE II Edit Package software for its own use if it:

• Does not take any action that may endanger the rights of Visa in and to the BASE II Edit Package
  software
• Uses all updated versions of the BASE II Edit Package software supplied by Visa

ID#: 010410-010410-0008217




Use of Visa Systems

Visa Systems Use


Proprietary Interest in Visa Systems

No Member will have any property or other right, claim, or interest, including any patent right, Trade
Secret right, or Copyright interest, in the VisaNet systems or services, or in any systems, processes,
equipment, software, or data that Visa uses with the VisaNet systems or services, excluding Member-
supplied data or equipment.


136                                                VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 174 of 1319
                                               PageID #: 3367
                                    Visa International Operating Regulations



In the U.S. Region, no U.S. Member or U.S. Direct-Connect Merchant will have any property or other
right, claim, or interest, including any patent right, Trade Secret right, or Copyright interest, in the
V.I.P. System, BASE II, or in any systems, processes, equipment, software, data, or materials that
Visa or its subsidiaries use with the V.I.P. System, BASE II, or in connection with a Visa program,
except for Merchant- or Member-supplied data or equipment. (This only applies in the U.S. Region.)

ID#: 010410-010410-0006468



Confidentiality of Visa Systems Information - U.S. Region

The V.I.P. System and BASE II consist of confidential and proprietary information belonging to Visa.
Each U.S. Member, VisaNet Processor acting on behalf of a U.S. Member, or U.S. Direct-Connect
Merchant must take appropriate action to ensure that its employees or agents with access to the
V.I.P. System or BASE II or related documentation:

• Are advised of the confidential and proprietary nature of these systems and documentation
• Use their best efforts to protect the VisaNet Access Points
• Are prohibited from:
  – Providing access to or disclosing these systems and documentation to any third party
  – Using these systems and documentation for any purpose not authorized in the U.S. Regional
    Operating Regulations

A U.S. Member or Direct-Connect Merchant must not disclose any confidential information of Visa or
its subsidiaries to a non-Member.

ID#: 010410-010410-0005821



Confidential Information Disclosed to Contractors

A Member may disclose confidential information to contractors that the Member employs to provide
services in connection with Visa products and services, if the contractor has a written agreement with
its Member that the contractor:

• Will not disclose the confidential information to any third party
• Will use the confidential information only to provide services to the Member for use only with the
  Member's Visa products and services

Any confidential information disclosed to the contractor must:

• Remain solely the property of Visa
• Be returned to Visa immediately upon Visa request
• Be immediately returned to the Member upon termination of the relationship that required use of
  the confidential information




18 October 2011                                    VISA PUBLIC                                         137
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 175 of 1319
                                                   PageID #: 3368
                                    Visa International Operating Regulations



The Member is responsible for its contractor's compliance with these conditions and must not allow a
non-Member VisaNet Processor to use the V.I.P. System or BASE II unless the non-Member VisaNet
Processor has delivered a completed "VisaNet Letter of Agreement" (available through Visa Online)
to Visa.

ID#: 050411-010410-0006467



Non-Assignable Right To Use V.I.P. System or BASE II - U.S. Region

A U.S. Member's or Direct-Connect Merchant's right to use the V.I.P. System or BASE II is not
assignable and its duties are non-delegable without prior written consent from Visa. However, a
Member or Direct-Connect Merchant may use a non-Member processing organization that has
executed and delivered a "VisaNet Letter of Agreement" (available through Visa Online) to Visa.

ID#: 050411-010410-0003718



VisaNet Access Point Modification - U.S. Region

A U.S. Member, VisaNet Processor acting on behalf of a U.S. Member, or U.S. Direct-Connect
Merchant must not make or attempt to make any repair, adjustment, alteration, or modification to a
VisaNet Access Point, except as expressly authorized by Visa.

ID#: 010410-010410-0003721



VisaNet Access Point Security - U.S. Region

A U.S. Direct-Connect Merchant must provide the same level of security for its VisaNet Access Points
that it provides to its other proprietary systems.

ID#: 010410-010410-0003722



VisaNet Access Point Restrictions - AP Region

An AP Member may use a VisaNet Access Point only for V.I.P. System and BASE II processing as
specified by Visa.

AP Members must not share a VisaNet Access Point without the prior written consent of Visa. If Visa
permits 2 or more Members to share a VisaNet Access Point for BASE II transmissions, Visa may
schedule the sequence and processing times for the transmission.

ID#: 081010-010410-0007418



Use of VisaNet System for Non-Visa Card Transactions - AP Region

In the AP Region, an organization that uses the VisaNet System for Authorization, Clearing, or
Settlement of non-Visa Card transactions must comply with the following:



138                                                VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 176 of 1319
                                               PageID #: 3369
                                    Visa International Operating Regulations


• The organization must obtain the prior written consent of Visa to use the VisaNet System for non-
  Visa Card transactions
• Use of the VisaNet System must be authorized by each entity with administrative or operational
  responsibility over the non-Visa Card transactions
• All non-Visa Card transactions entered into the VisaNet System must comply with the applicable
  regulations established by Visa

An organization in the AP Region that uses the VisaNet System for non-Visa Card transactions must
pay all applicable fees for use of the VisaNet System for Authorization, Clearing, or Settlement of
non-Visa Card transactions.

ID#: 010410-010410-0007029




18 October 2011                                    VISA PUBLIC                                     139
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      Case: 4:13-cv-02226-JAR               Doc. #: 85-5 Filed: 02/12/15   Page: 177 of 1319
                                               PageID #: 3370




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140                                           VISA PUBLIC                       18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                       Page: 178 of 1319
                                               PageID #: 3371
                                    Visa International Operating Regulations




Chapter 4: The Visa Brand

Core Principle 4.1

Brand Prominence


Using Visa-Owned Marks (Updated)

Usage of the Visa-owned marks must be consistent with the Visa Product Brand Standards, and such
marks must never be obscured, distorted, defaced, altered in any way, or appear less prominently
                              [5]
than any other payment marks.

ID#: 111011-010410-0007761




Core Principle 4.2

Communications


Protecting the Brand

No activities or materials may infringe, dilute, denigrate, or impair the goodwill and/or reputation of the
brand or Visa-owned marks.

ID#: 010410-010410-0007762




5   Effective 20 July 2011, there are certain exceptions to this requirement for the display of Visa marks at the point of sale
    by a U.S. Merchant or a Merchant located in a U.S. Territory.

18 October 2011                                     VISA PUBLIC                                                              141
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      Case: 4:13-cv-02226-JAR                    Doc. #: 85-5 Filed: 02/12/15                       Page: 179 of 1319
                                                    PageID #: 3372
                                    Visa International Operating Regulations




Core Principle 4.3

Visa-Owned Mark on a Payment Device


Positioning the Brand Mark (Updated)

The Visa brand mark must always appear on the front of the payment device (e.g., Card), and no
marks deemed competitive by Visa may appear on a Visa payment device, among other reasons so
                                        [6]
as to avoid causing consumer confusion.

ID#: 151011-010410-0007763




Core Principle 4.4

Corporate Names


Keeping Visa Separate from Corporate Names

Visa participants and third-parties may not use the Visa name, a Visa-owned mark, or a derivative of
a Visa-owned mark as part of its corporate name or identity.

ID#: 010410-010410-0007766




Core Principle 4.5

Denote and Promote Visa


Using the Visa-owned Mark

A Visa-owned mark, including associated elements, may only be used to denote or promote Visa
products, offers, sponsorships, services, processing and/or acceptance.

ID#: 010410-010410-0007767




6     Effective 1 October 2011, there are certain exceptions to this requirement for U.S. covered Visa debit cards.

142                                                  VISA PUBLIC                                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 180 of 1319
                                               PageID #: 3373
                                    Visa International Operating Regulations




Core Principle 4.6

Card Acceptance Outside of Country of Issuance


Using the Visa Brand Mark With Country-Specific Marks

Only the Visa brand mark may be used on cards or payment devices to denote card acceptance
outside of the country of issuance, and must appear clearly more prominent than country-specific
marks.

ID#: 010410-010410-0007770




Core Principle 4.7

Card Acceptance at Point-of-Sale


Using the Visa Brand Mark to Show Acceptance at the Point-of-Sale

A card or payment device design may not be used at the point-of-sale to denote acceptance. Only
the Visa brand mark may be used to denote acceptance at the point-of-sale.

ID#: 010410-010410-0007771




Marks

General Use of Marks


Visa Program Marks List

The Visa Program Marks include:

• Visa Flag Symbol
• Visa Brand Mark
• Visa Brand Name
• Visa Wordmark
• Dove Design




18 October 2011                                    VISA PUBLIC                                     143
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 181 of 1319
                                                   PageID #: 3374
                                    Visa International Operating Regulations


• Any other Mark that Visa adopts for use with the Visa Program

ID#: 010410-010410-0006267



Restricted Use of Visa-Owned Marks

A Member must only use the Visa-Owned Marks:

• To denote or promote a Visa Program
• To promote a Member's Visa Program
• In operations in support of its Visa products or services

ID#: 010410-010410-0006308



Marks Degradation

Materials bearing any of the Visa-Owned Marks must not degrade the Marks.

ID#: 010410-010410-0006315



Marks Infringement/Denigration

A Member's Visa Card Program, Visa Electron Program, Verified by Visa, or Visa TravelMoney
Program materials, including Global Co-branded Card materials, must not contain any matter
which would tend to infringe, dilute, or denigrate any of the Visa-Owned Marks, Visa Products, Visa
services, or impair the reputation or goodwill of Visa or the goodwill associated with the Marks.

ID#: 111011-010100-0025557



Marks Use and Marketing Restrictions

A Member must not adopt any Mark, or market, either directly or indirectly, any Visa Product or
service, to consumers, Merchants or other Members in a manner which has the likely effect of
confusing, misleading, defrauding or deceiving such consumers, Merchants or Members, either as to
the program, product or service, or the source, affiliation, sponsorship or association of such program,
product or service. Such prohibited acts include, without limitation, making direct or indirect, false,
confusing or misleading statements or failing to disclose a material fact about the programs, products
or services, or any aspect thereof, of a Member, Visa, another Member, a Merchant, or a competitor.

ID#: 111011-010100-0025558




144                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 182 of 1319
                                               PageID #: 3375
                                    Visa International Operating Regulations




Competitive Marks - AP Region, LAC Region, and U.S. Region (Updated)

Effective 1 October 2011, in the U.S. Region or in a U.S. Territory, a Member may use the Marks
of the American Express Company, MasterCard Worldwide (including Maestro), Discover Financial
Services, or the subsidiaries or affiliates of these entities, or other entities deemed competitive by
Visa, on U.S. Covered Visa Debit Cards as specified in the Visa Product Brand Standards, provided
that the overall appearance resulting from such use unmistakably conveys the idea that the Marks
associated with Visa identify a product or service separate and distinct from any product or service
of the American Express Company, MasterCard Worldwide (including Maestro), Discover Financial
Services, or their subsidiaries or affiliates.

ID#: 151011-011011-0026529



Non-Visa General Purpose Payment Card Network – AP Region, LAC Region, and U.S.
Region (Updated)

Effective 1 October 2011, in the U.S. Region or in a U.S. Territory, a Member may use the Marks of
a non-Visa general purpose payment card network, on a U.S. Covered Visa Debit Card, as specified
in the Visa Product Brand Standards.

ID#: 151011-011011-0026533



Marks Infringement/Denigration - U.S. Region

A U.S. Member's Visa Card Program, Visa Electron Program, Verified by Visa Program, or Visa
TravelMoney Program materials, including Affinity Card materials, or other Member materials
using any Mark(s) of the Visa Card Program, the Visa Electron Program, Verified by Visa Program,
or the Visa TravelMoney Program, must not contain any matter which would tend to infringe,
dilute, or denigrate any of the Visa-Owned Marks, Visa Products, Visa services, or any Member or
Merchant, or impair the reputation or goodwill of Visa or the goodwill associated with the Marks. No
Member may adopt any Mark or market, either directly or indirectly, any Visa Product or service,
to consumers, Merchants, or other Members in a manner which has the likely effect of confusing,
misleading, defrauding, or deceiving such consumers, Merchants, or Members, either as to the
program, product, or service, or the source, affiliation, sponsorship, or association of such program,
product, or service. Such prohibited acts include, without limitation, making direct or indirect false,
confusing, or misleading statements or failing to disclose a material fact about the programs,
products, or services, or any aspect thereof, of a Member, Visa, another Member, a Merchant, or a
competitor.

ID#: 081010-010410-0006259



Obscured/Defaced Marks

No portion of a Visa-Owned Mark may be obscured, distorted, or defaced. A Visa-Owned Mark that is
a graphic design must not be used separately.

ID#: 010410-010410-0003578




18 October 2011                                    VISA PUBLIC                                        145
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15                      Page: 183 of 1319
                                                   PageID #: 3376
                                    Visa International Operating Regulations




The Visa Brand Mark

The Visa Brand Mark is a Visa-Owned Mark that represents the Visa organization and its product
and service offerings. The Visa Brand Mark must appear exactly as shown in the Visa Product Brand
Standards.

ID#: 010410-010410-0003581



The Visa Brand Mark Color Requirements - U.S. Region (Updated)

For U.S. Members, the Visa Brand Mark must appear in full color if it appears with any other
acceptance mark that is in full color. It may appear in black and white only if it appears with other
Marks in black and white. Effective 20 July 2011, these requirements do not apply to the display of
the Visa Brand Mark at the point of sale by U.S. Merchants.

ID#: 111011-010410-0005759



Classic Wordmark - U.S. Region

For U.S. Members, the registered Mark denotation ® must appear at the first or most prominent
mention of the Classic Wordmark.

ID#: 010410-010410-0005760



Dual Payment Card Marketing Requirements

An Issuer that engages in Dual Payment Card Marketing must:

• Obtain the prior written consent of Visa
• Submit to Visa for review and approval all offers, solicitations, promotions, and communication
  materials that include any Visa-Owned Marks or Visa-branded products
• Ensure that all communication and marketing materials relating to Marks, products or services of
  a non-Visa general purpose payment card network as designated by Visa are not positioned in
  conjunction with Visa-Owned Marks, products, or services in a manner that dilutes or denigrates
  the Visa brand

ID#: 111011-010100-0025569



Non-Visa General Purpose Payment Card Network (Updated)

No Member may use the Marks of a non-Visa general purpose payment card network, on a Visa Card
                                         [7]
without prior written consent from Visa.



7     Effective 1 October 2011, a variance to this provision applies in the AP Region, LAC Region, and U.S. Region for U.S.
      Covered Visa Debit Cards.

146                                                 VISA PUBLIC                                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                   Page: 184 of 1319
                                               PageID #: 3377
                                    Visa International Operating Regulations



A Member may use the Visa Card Program Marks in conjunction with the Marks of these entities on
items and materials other than Visa Cards provided that the overall appearance resulting from such
use unmistakably conveys the idea that the Marks associated with Visa identify a product or service
separate and distinct from any product or service of any non-Visa general purpose payment card
network.

Any Issuer that is currently engaged in Dual Card Marketing must comply with this requirement
effective 1 January 2011.

ID#: 151011-010410-0025567



Offer/Issuance Conditions (Updated)

No Member may condition the offer or issuance of any payment card product bearing Visa Card
Program Marks or the maintenance of a Visa Cardholder relationship upon the possession or
acceptance of a product bearing the Marks of the American Express Company, MasterCard
Worldwide, Discover Financial Services, Diner's Club, JCB, or any other non-Visa general purpose
                                                                                        [8]
payment card network, as designated by Visa, without the prior written consent of Visa.

Any Issuer that is currently engaged in Dual Card Marketing must comply with this requirement
effective 1 January 2011.

ID#: 151011-010410-0025568



Competitive Marks - U.S. Region (Updated)

Effective through 30 September 2011, no U.S. Member may use the Marks of the American
Express Company, MasterCard Worldwide (including Maestro), Discover Financial Services, or the
subsidiaries or affiliates of these entities on Visa Cards. Notwithstanding the preceding, as long as:

• The Wordmark is used to denote ATM sharing only, it may appear on the back of a Visa Card, as
  specified in "Cirrus Wordmark - U.S. Region"
• The Issuer processes Non-Visa Debit Transactions, the PULSE Mark may appear on the back of a
  Visa Check Card or a Visa Debit Card

Effective 1 October 2011, no U.S. Member may use the Marks of the American Express Company,
MasterCard Worldwide (including Maestro), Discover Financial Services, or the subsidiaries or
affiliates of these entities on Visa Cards not defined as U.S. Covered Visa Debit Cards, except that:

• A Wordmark may be used to denote ATM sharing only, if it appears on the back of a Visa Card, as
  specified in "Cirrus Wordmark - U.S. Region"
• The PULSE Mark may appear on the back of a Visa Check Card or a Visa Debit Card, if the Issuer
  processes Non-Visa Debit Transactions




8   Effective 1 October 2011, a variance to this provision applies in the AP Region, LAC Region, and U.S. Region for U.S.
    Covered Visa Debit Cards.

18 October 2011                                    VISA PUBLIC                                                          147
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 185 of 1319
                                                   PageID #: 3378
                                    Visa International Operating Regulations



A U.S. Member may use the Visa Program Marks in conjunction with the Marks of these entities on
items and materials other than Visa Cards provided that the overall appearance resulting from such
use unmistakably conveys the idea that the Marks associated with Visa identify a product or service
separate and distinct from any product or service of the American Express Company, MasterCard
Worldwide (including Maestro), Discover Financial Services, or their subsidiaries or affiliates.

ID#: 151011-010410-0006300



Brand Protection

Members must not use the Visa-Owned Marks:

• In any manner that may bring the Visa-Owned Marks or Visa Inc. or its affiliates into disrepute
• In relation to, or for the purchase or trade of, photographs, video imagery, computer-generated
  images, cartoons, simulation or any other media or activities including, but not limited to:
  – Child pornography
  – Bestiality
  – Rape (or any other non-consensual sexual behavior)
  – Non-consensual mutilation of a person or body part

Effective through 31 May 2011, Members not complying with these requirements will be subject to
penalties prescribed under the Electronic Commerce Merchant Monitoring Program.

Effective 1 June 2011, Members not complying with these requirements will be subject to penalties
prescribed under the Global Brand Protection Program.

ID#: 111011-010509-0007283



Member Cooperation Concerning Marks

Each Member must cooperate with Visa to ensure protection of each of the Visa-Owned Marks.

ID#: 010410-010410-0006321



Ownership of Visa Programs

A Member must not state or imply that it is the exclusive owner or provider of any Visa-Owned Mark,
except as stated in the Visa International Operating Regulations.

ID#: 010410-010410-0006503




148                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 186 of 1319
                                               PageID #: 3379
                                    Visa International Operating Regulations




Visa Endorsement of Goods/Services

A Member must not use any of the Visa-Owned Marks to indicate that Visa endorses, is identified
with, or sponsors goods or services other than those of Visa, except as permitted in "License Grant
for Visa-Owned Marks."

ID#: 010410-010410-0006555



Member Compliance with Operating Regulations

Each Member agrees that all use of the Visa-Owned Marks, as well as the nature and quality of all
services rendered under these Marks, must comply with the Visa International Operating Regulations
and the Visa Product Brand Standards.

If requested, a Member must supply Visa with samples of any materials bearing any Visa-Owned
Mark produced by or for the Member.

ID#: 010410-010410-0006554



Use of a Mark to Resemble a Card

In marketing collateral, a Member must not use:

• A Visa-Owned Mark in such a way that it could be mistaken for an actual Card and used in a
  Transaction
• The Visa Brand Name in any classified advertising section, except as specified in "Permitted
  Merchant Use - U.S. Region"
• The Visa Brand Name or the bands design on any check

ID#: 010410-010410-0008273



Compliance with Brand Standards Website

All Visa-Owned Marks must meet the Brand standards as established by Visa, including, but not
limited to, the Visa Product Brand Standards.

ID#: 010410-010410-0006322



Periodic Audits by Visa

Visa may conduct periodic audits to ensure that all entities authorized to use the Visa-Owned Marks
are doing so in a manner approved by Visa. Visa may conduct audits to ensure compliance with, but
not limited to, the:

• Use of the Visa Brand Mark and the Visa Brand Name



18 October 2011                                    VISA PUBLIC                                     149
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 187 of 1319
                                                   PageID #: 3380
                                    Visa International Operating Regulations


• Product-related communications
• Partner and sponsorship materials and implementations
• Advertising
• Direct mail
• Marketing materials
• Websites

ID#: 010410-010410-0006560



Verified by Visa Mark Use by Merchant

An Acquirer must ensure that a Merchant using the Verified by Visa Mark complies with the Visa
Product Brand Standards.

ID#: 010410-010410-0006265



Use of Product Marks


Verified by Visa Mark Use by Members

A Member using the Verified by Visa Mark must:

• Ensure that the Mark complies with the Visa Product Brand Standards
• Not use the Mark in a way that implies endorsement of any other product or service
• Not use the Mark to indicate payment acceptance

ID#: 010410-010410-0006263



V PAY Brand Mark Use

The V PAY Brand Mark is a Visa-Owned Mark. Implementation of the V PAY Product and use of the
V PAY Brand Mark outside of Visa Europe is subject to approval and trademark availability. The V
PAY Brand Mark must appear exactly as specified in the Visa Product Brand Standards.

ID#: 111011-010410-0003585



Visa TravelMoney Program Marks Compliance

The Visa TravelMoney Program Marks must be used as specified in the:

• Visa International Operating Regulations
• Visa International Certificate of Incorporation and Bylaws
• Visa Product Brand Standards


150                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 188 of 1319
                                               PageID #: 3381
                                    Visa International Operating Regulations


• Visa TravelMoney Product Guide

ID#: 010410-010410-0006292



The Visa Gold Product Name - Canada Region

A Canada Member must use the product name "Visa Gold" in all communications regarding the Visa
Gold program, including solicitations, advertising, and promotions.

ID#: 010410-010410-0007230




Corporate Identity

Use of Brand in Corporate Identity


Written Consent for Use of Visa Brand Name

Only with prior written consent from Visa may a Member, or a wholly owned subsidiary of one of
its members that exclusively engages in Visa Transaction processing, use the Visa Brand Name in
its corporate name or other business name, except as permitted in "Restricted Use of Visa-Owned
Marks." A Member must not file or register any of these names with any governmental office without
prior written consent from Visa.

ID#: 010410-010410-0007268



Member Use of Country Name

A Member must not use the name of a country with the Visa Brand Name or any other Visa-Owned
Mark in its corporate name or other business name, unless Visa has granted exclusive jurisdiction
to the Member under the Visa International Certificate of Incorporation and Bylaws and has been
granted express permission.

A country name may be used in a Member's corporate name in which the country name is an integral
part, provided it complies with the Visa International Operating Regulations.

ID#: 010410-010410-0007643




18 October 2011                                    VISA PUBLIC                                     151
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 189 of 1319
                                                   PageID #: 3382
                                    Visa International Operating Regulations




Group Member Corporate Identity

In a country with a single Group Member, the Group Member may use "Visa" as a part of its
corporate legal name and identity as permitted in the Visa International Operating Regulations. In a
country with multiple Group Members, a Group Member must not use "Visa" as part of its corporate
legal name or identity. When multiple Group Members exist in the same country, 12 months after the
formation of a new Group Member, an existing Group Member must not use the name "Visa" in its
corporate name and identity.

ID#: 010410-010410-0006274



Visa as Part of Corporate Identity

Visa must grant permission to a Member requesting use of the name "Visa" or any other Visa-Owned
Mark as part of its corporate name or identity. If permission is granted, the name must be used:

• In a Member's corporate name, and must include the country identifier. The name "Visa" must not
  be used without the country identifier.
• In all media (business cards, letterhead, press releases, Websites, etc.) and must contain a clear
  indication of actual corporate identity, including full legal name
• In a contract or legal instrument with third parties, the Member must clearly state that it does not
  have the authority to act (and is not acting) as an agent of, or represent, Visa or any affiliate of
  Visa
• Solely for the promotion of Visa products and services

ID#: 010410-010410-0007277



National Organization Use of Visa Name

A National Organization established in compliance with Article XVI of the Visa International Certificate
of Incorporation and Bylaws may use "Visa" as part of its corporate legal name and identity as
provided in the Visa International Operating Regulations.

ID#: 111011-010410-0006276




152                                                VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 190 of 1319
                                               PageID #: 3383
                                    Visa International Operating Regulations




Use of Marks on Cards

Marks Usage Requirements


Extraneous Numbers or Devices

Except for the Account Number, a Visa Card must not bear any number or device, whether
embossed, printed, etched, encoded, or otherwise affixed, that is used for international payment
purposes.

ID#: 010410-010410-0006161



Appropriate Marks on Chip Cards

A Card containing a Chip must bear the appropriate Mark for the Visa or Visa Electron Payment
Application facilitated by the Chip.

ID#: 010410-010410-0003612



Visa Flag and Visa Mark Requirements

Effective 1 September 2005 through 28 February 2007, an Issuer may issue or reissue a Visa
Card or Visa Electron Card bearing the:

• Visa Flag Symbol or Visa Electron Symbol. The Card bearing the Visa Flag Symbol or Visa
  Electron Symbol must:
  – Expire no later than 30 June 2011
  – Comply with the Visa International Operating Regulations
• Visa Brand Mark or Visa Brand Mark with the Electron Identifier. The Card bearing the Visa Brand
  Mark or Visa Brand Mark with the Electron Identifier must comply with the Visa Product Brand
  Standards.

All newly created Visa Cards and Visa Electron Cards, issued or reissued, must:

• Bear the Visa Brand Mark or Visa Brand Mark with the Electron Identifier
• Comply with the Visa Product Brand Standards

An Issuer may issue or reissue a Card bearing the Visa Flag Symbol or Visa Electron Symbol to
deplete existing card stock. The Card bearing the Visa Flag Symbol or Visa Electron Symbol must:

• Expire no later than 30 June 2011
• Comply with the Visa International Operating Regulations



18 October 2011                                    VISA PUBLIC                                     153
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 191 of 1319
                                                   PageID #: 3384
                                    Visa International Operating Regulations



Effective 1 July 2011, all Visa Cards and Visa Electron Cards must bear the Visa Brand Mark or
Visa Brand Mark with the Electron Identifier, as specified in the Visa Product Brand Standards.

See the Visa Product Brand Standards for complete embossing and printing requirements for the
front and back of Visa and Visa Electron Cards.

ID#: 010410-010410-0003607



Visa Flag and Visa Mark Requirements - U.S. Region

Effective through 1 July 2011, a U.S. Issuer may issue or reissue a Visa Card bearing either the:

• Visa Flag Symbol to deplete existing card stock. A Card bearing the Visa Flag Symbol must both:
  – Expire no later than 30 June 2011
  – Comply with the Visa International Operating Regulations
• Visa Brand Mark. A Card bearing the Visa Brand Mark must comply with the Visa Product Brand
  Standards, available through Visa Online.

In the U.S. Region, all new Visa Card stock orders must:

• Bear the Visa Brand Mark
• Comply with the Visa International Operating Regulations
• Comply with the Visa Product Brand Standards

All U.S. Member marketing materials and Member Websites must display the Visa Brand Mark.

Effective 1 July 2011, all new and existing Visa Cards must bear the Visa Brand Mark.

Detailed rules for Card designs using the Visa Flag Symbol effective through 30 June 2011 are
available from Visa.

ID#: 081010-010410-0006166



Multiple Marks on Card


Hierarchy of Marks (Updated)

If more than one Visa-Owned Mark is present on a Card, an Issuer must designate a Primary Mark,
complying with the following hierarchy of Marks:

• Visa Brand Mark
• Visa Brand Mark with the Electron Identifier
• Effective through 31 December 2013, Visa Cash Symbol




154                                                VISA PUBLIC                       18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                    Page: 192 of 1319
                                               PageID #: 3385
                                    Visa International Operating Regulations



All other Visa-Owned Marks must:

• Appear together
• Not be separated by Non-Visa-Owned Marks

ID#: 111011-010410-0008218



Permitted Use of Other Marks (Updated)

Other Marks may be used on Cards as follows:

• Effective through 31 December 2013, a Member must not use any Mark other than the Visa
  Brand Mark, Visa Brand Mark with the Electron Identifier, or Visa Cash Symbol on Cards to
  indicate Card acceptance at Merchant Outlets outside the country of Card issuance.
• Effective 1 January 2014, a Member must not use any Mark other than the Visa Brand Mark or
  Visa Brand Mark with the Electron Identifier on Cards to indicate Card acceptance at Merchant
  Outlets outside the country of Card issuance.
• A Mark owned by a Single Merchant may appear on a Card as part of an affinity program approved
  by Visa. If the Mark is not one that is used as an identifier of payment services at Merchant
  Outlets other than those of the Single Merchant, this Mark is not considered to indicate payment
  acceptance.
• A Member may use non-Visa-owned brand marks to indicate acceptance at Merchant Outlets
  solely within the country of Card issuance only if these non-Visa-owned brand marks are clearly
                                                                                            [9] [10]
  less prominent than the Visa Brand Mark, or Visa Brand Mark with the Electron Identifier.

ID#: 151011-010410-0006326



Permitted Use of Other Marks – AP Region, LAC Region, and U.S. Region (Updated)

Effective 1 October 2011, in the U.S. or in a U.S. Territory, a Member may use non-Visa-owned
brand marks on U.S. Covered Visa Debit Cards that are equally prominent with or less prominent
than the Visa Brand Mark to indicate acceptance at Merchant Outlets solely within the country of Card
issuance and as specified in the Visa Product Brand Standards.

ID#: 151011-011011-0026531



Competitive Marks


Prohibited Use of Trade Name or Mark (Updated)

The following must not appear on any part of a Visa or Visa Electron Card:



9    A variance to this requirement applies in the Canada Region.
10   Effective 1 October 2011, a variance to this requirement applies in the AP Region, LAC Region, and U.S. Region for
     U.S. Covered Visa Debit Cards.

18 October 2011                                    VISA PUBLIC                                                            155
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      Case: 4:13-cv-02226-JAR                    Doc. #: 85-5 Filed: 02/12/15                      Page: 193 of 1319
                                                    PageID #: 3386
                                    Visa International Operating Regulations


• Any Trade Name or Mark that identifies or is associated with any entity, or its subsidiaries or
                                                   [11]
  affiliates, deemed competitive by Visa, including :
     – American Express Company
     – Discover Financial Services [12]

     – MasterCard Worldwide (including Maestro) [13]

• Any Trade Name or Mark that is confusingly similar to any other Visa-Owned Mark

ID#: 151011-010410-0008458



Cards Bearing the Plus Symbol (Updated)

A Card bearing the Plus Symbol must not bear the Marks of any entity that is ineligible for
membership in Visa, or of any of the following entities, or their subsidiaries or affiliates, deemed
                     [14] [15]
competitive by Visa:

• American Express Company
• Discover Financial Services [16]

• JCB
• MasterCard Worldwide

A Card bearing the Plus Symbol is exempt from this requirement if it was issued under an agreement
executed with Visa or Plus System, Inc. prior to 1 October 1992.

A Card bearing the Plus Symbol must not bear a Trade Name or Mark that is confusingly similar to
any other Visa-Owned Mark.

ID#: 111011-010410-0006159



Cards Bearing the Plus Symbol - AP Region, LAC Region, and U.S. Region (Updated)

Effective 1 October 2011, in the U.S. Region or in a U.S. Territory, a U.S. Covered Visa Debit Card
bearing the Plus Symbol may bear the Marks of entities deemed competitive by Visa, as specified in
the Visa Product Brand Standards.

ID#: 151011-011011-0026527




11    Effective 1 October 2011, a variance to this provision applies in the AP Region, LAC Region, and U.S. Region, for U.S.
      Covered Visa Debit Cards.
12    A variance to this requirement applies in the U.S. Region for Visa Cards bearing the Pulse Mark and Cards bearing the
      Plus Symbol.
13    Except as specified in "Cirrus Wordmark - LAC Region" and "Cirrus Wordmark - U.S. Region."
14    Visa may grant a variance to this section for Chip Cards bearing the Plus Symbol.
15    Effective 1 October 2011, a variance to this provision applies in the AP Region, LAC Region, and U.S. Region for U.S.
      Covered Visa Debit Cards.
16    A variance to this requirement applies in the U.S. Region for Visa Cards bearing the Pulse Mark and Cards bearing the
      Plus Symbol.

156                                                 VISA PUBLIC                                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 194 of 1319
                                               PageID #: 3387
                                    Visa International Operating Regulations




Prohibited Use of Trade Name or Mark – AP Region, LAC Region, and U.S. Region
(Updated)

Effective 1 October 2011, in the U.S. Region or in a U.S. Territory, a Member may use the Marks
of the American Express Company, Discover Financial Services, MasterCard Worldwide (including
Maestro) or the subsidiaries or affiliates of these entities, or other entities deemed competitive by
Visa, on U.S. Covered Visa Debit Cards as specified in the Visa Product Brand Standards.

ID#: 151011-011011-0026532



Cirrus Wordmark - LAC Region

An LAC Issuer whose Visa Cards participated in the Cirrus network on 31 March 2010 may continue
to do so under the following conditions:

• The Issuer must not extend its use of the Cirrus Wordmark or functionality beyond the existing
  debit, credit, or prepaid Card product types or Visa Card Programs participating in the Cirrus
  network on 31 March 2010
• The Issuer must not allow the Cirrus Wordmark and functionality to continue on a Visa Card
  Program obtained through a Merger or an Acquisition

ID#: 111011-010410-0025674



Cirrus Wordmark - U.S. Region

A U.S. Issuer whose Visa Cards participated in the Cirrus network on 31 March 2010 may continue to
do so under the following conditions:

• The Issuer must not extend its use of the Cirrus Wordmark or functionality beyond the existing
  debit, credit, or prepaid Card product types or Visa Card Programs participating in the Cirrus
  network on 31 March 2010
• The Issuer must not allow the Cirrus Wordmark and functionality to continue on a Visa Card
  Program obtained through a Merger or an Acquisition

ID#: 111011-010410-0006306



General Card Design


Card Design Considerations

All Card designs must comply with the Visa Product Brand Standards.

ID#: 010410-010410-0006160




18 October 2011                                    VISA PUBLIC                                          157
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 195 of 1319
                                                   PageID #: 3388
                                    Visa International Operating Regulations




Visa Mark Requirements

The Visa Brand Mark must:

• Appear as specified in the Visa Product Brand Standards
• Be placed on the front of the Card

ID#: 010410-010410-0006162



Other Marks Prohibition - AP Region, LAC Region, and U.S. Region (Updated)

Effective 1 October 2011, in the U.S. Region or in a U.S. Territory, a Member may use Marks that
are specifically related to bank card programs and/or services related to those programs on U.S.
Covered Visa Debit Cards, as specified in the Visa Product Brand Standards.

ID#: 151011-011011-0026528



Requirements for Variations - U.S. Region

Any variation from the Card reproduction, printing, or embossing specifications and dimensions
specified in the Visa Product Brand Standards requires the prior written consent of Visa.

Visa approval of a Card design does not:

• Replace the need for an Issuer to consult with its own legal counsel regarding the use of a Card
  design and any Mark
• Offer legal protection from possible infringement or other types of actions

ID#: 010410-010410-0006168



Other Marks Prohibition - U.S. Region (Updated)

Effective through 30 September 2011, a U.S. Member must not use Marks that are specifically
related to bank card programs and/or services related to those programs, unless the U.S. Regional
Operating Regulations expressly allow them.

Effective 1 October 2011, for Visa Cards not defined as U.S. Covered Visa Debit Cards, a U.S.
Member must not use Marks that are specifically related to bank card programs and/or services
related to those programs, unless the U.S. Regional Operating Regulations expressly allow them.

ID#: 151011-010410-0006189



Restrictions on Cards Bearing Photographs - U.S. Region

For Cards issued in the U.S. Region, a Card design bearing a photograph on the front of the Card:



158                                                VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 196 of 1319
                                               PageID #: 3389
                                    Visa International Operating Regulations


• Must not bear any Visa Sponsorships, Visa-Owned Marks, or confusingly similar marks, logos,
  designations, or authenticating statements
• Must comply with the Visa International Operating Regulations and the Visa Product Brand
  Standards

ID#: 010410-010410-0006177



Requirements for Cards Bearing Photographs - U.S. Region

Visa may require a U.S. Member to replace a Card containing a photograph that does not comply
with the:

• Visa International Operating Regulations
• Visa Product Brand Standards

ID#: 010410-010410-0006178




Member Identification

Member Identification on Card


Permitted Member Identification

The following may be printed on a Visa Card as specified in the Visa Product Brand Standards:

• Certain Trade Names, including those of an Issuer, an Issuer's holding company Member, or an
  Issuer's agent member
• With the prior written consent of Visa:
  – Certain Marks associated with proprietary, local, regional, national, or multinational services
  – Marks to identify the services of the Issuer or Trade Names to identify the Member, in any color

ID#: 010410-010410-0006156



Member Identification Area - U.S. Region

With the prior consent of Visa, any of the following may be printed in the Member identification area of
a Visa Card issued by a U.S. Issuer:

• Certain Trade Names, including those of an Issuer, an Issuer's holding company that is eligible for
  membership, or an Issuer's Sponsored Member
• Any subsidiary of the above that is eligible for membership or solely engaged in banking activities




18 October 2011                                    VISA PUBLIC                                        159
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 197 of 1319
                                                   PageID #: 3390
                                    Visa International Operating Regulations



Use of these Marks on all Visa Cards must comply with the Affinity Card specifications if the Marks
are:

• Associated with products or services offered by an institution engaged in non-banking activities
• Not owned by the Issuer, its parent, subsidiaries, affiliates, or related companies in the case of an
  employee credit union

ID#: 010410-010410-0007292



Prohibited Language - U.S. Region (Updated)

Effective through 7 September 2011, advertising, promotional, or other language that is not an
integral part of the identification of the Member's organization or service must not be printed in the
Member identification area of a Visa Card issued by a U.S. Issuer.

Effective 8 September 2011, except as specified in the Visa Product Brand Standards for Visa
Incentive Cards, advertising, promotional, or other language that is not an integral part of the
identification of the Member's organization or service must not be printed in the Member identification
area of a Visa Card issued by a U.S. Issuer.

Any promotional, marketing, or other language on Visa Incentive Cards must be approved by Visa.

ID#: 111011-010410-0006192




Affinity/Co-Branding/Non-Member Marks

Non-Member Marks on Cards


Issuer Affinity/Co-Branding Requirements - AP Region

An AP Issuer of an Affinity Card Program or Co-Branded Card Program must:

• Comply with all Visa International Operating Regulations for Visa Card Programs
• Submit a completed "Affinity Card Program and Co-Branded Card Program Approval" form to Visa
  for each program launched
• Underwrite, issue, and maintain the accounts accessed by the Affinity Card Program or Co-
  Branded Card Program. Visa may approve variances to this subsection for mortgage originator
  programs, pastoral companies, and superannuation funds in Australia, subject to assessment of
  the risk and eligibility of each request.

In addition, before Visa approval, an Issuer may be required to provide information concerning the
reputation and financial standing of an affinity or co-brand partner.

ID#: 010410-010410-0001664




160                                                VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 198 of 1319
                                               PageID #: 3391
                                    Visa International Operating Regulations




Affinity/Co-Branding Partner Eligibility Requirements - AP Region

An affinity partner or co-branding partner must:

• Be sponsored by an AP Issuer
• Not be an organization that is eligible for membership
• Not be an organization deemed to be a competitor of Visa

ID#: 050411-010410-0001663



Affinity and Co-Branding Program Documentation Requirements - AP Region

An AP Issuer must provide Visa with documentation of the following:

• Acknowledgement from the affinity partner or co-branding partner that Visa owns the rights to all
  Visa-Owned Marks
• Acknowledgement from the affinity partner or co-branding partner that the Issuer has the right to
  use the partner's name and/or logo on the Affinity Card Program or Co-Branded Card Program
• A trademark search has been performed by the Issuer, and Visa is indemnified and not
  responsible for any disputes and legal costs that may arise from use of that Trade Name or Mark

ID#: 010410-010410-0001665



Non-Member Marks on Cards - CEMEA Region

In the CEMEA Region, with the prior written approval of Visa, a Member may include, within the
Member identification area of its Visa and Visa Electron Cards, the Trade Name or Mark of up to 2
organizations not eligible for membership in Visa.

ID#: 010410-010410-0008640



Non-Member Marks on Card Requirements - CEMEA Region

For all Cards issued in the CEMEA Region with the Trade Name or Mark of up to 2 non-Members the
Issuer must ensure that the non-Member(s) does not:

• Maintain a contractual relationship with the Cardholder where the use of a Card accesses an
  account that the non-Member establishes, maintains, manages, or underwrites
• Directly or indirectly control or exercise controlling influence over the management or policies of the
  Issuer
• Finance more than 25% of the receivables arising out of the program
• Perform the credit evaluation of the applicant, billing of the Cardholder, or Visa customer service in
  connection with the non-Member Marks program



18 October 2011                                    VISA PUBLIC                                        161
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 199 of 1319
                                                   PageID #: 3392
                                    Visa International Operating Regulations


• Be an organization deemed to be a competitor of Visa

ID#: 081010-010410-0007233



Non-Member Marks on Card Advertising/Promotional Language - CEMEA Region

For all Cards with non-Member Marks issued by a CEMEA Issuer, advertising, promotional, or other
language that is not an integral part of the non-Member Trade Name or Mark is not permitted.

ID#: 010410-010410-0007247



Non-Member Trade Name or Mark Requirements - CEMEA Region

For all Cards with non-Member Marks issued by a CEMEA Issuer, the non-Member Trade Name or
Mark must be that usually used in the non-Member's corporate identity and advertising materials. The
non-Member Trade Name or Mark must be a registered trademark. Where used, the Trade Name or
Mark must not:

• Compromise any of the required Card features specified in the Visa Product Brand Standards
• Bear any FIFA or Olympic Marks, logos, designation, or authentication statements or any of Visa's
  other sponsorship assets
• Bear any political, provocative or other image or Mark that may, as determined by Visa, result in
  non-acceptance or other problems at the Point-of-Transaction

ID#: 081010-010410-0007246



Back of the Card with Non-Member Marks - CEMEA Region

With the prior written approval of Visa, the back of a Card issued by a CEMEA Issuer may contain the
Trade Name or Mark of organizations not eligible for membership in Visa.

ID#: 010410-010410-0007236



Affinity/Co-Branding Card Issuance - LAC Region

With the prior written consent of Visa, an LAC Member may issue Affinity/Co-Branding Cards, as
specified in the LAC Regional Operating Regulations.

ID#: 111011-010410-0007415




162                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 200 of 1319
                                               PageID #: 3393
                                    Visa International Operating Regulations




Copy of Affinity and Co-Branding Contract and/or Collateral Material - LAC Region

Visa has the right to request a copy of the contract with the Affinity/Co-Branding Partner and/or
marketing collateral material used in the program to determine compliance with the Affinity/Co-
Branding Program ownership and control requirements in the LAC Regional Operating Regulations.

ID#: 010410-010410-0001652



Requests for Affinity/Co-Branding Program Information - LAC Region

An LAC Member or Affinity/Co-Branding Partner must provide information requested by Visa in order
to determine whether its Affinity/Co-Branding Program complies with the LAC Regional Operating
Regulations.

ID#: 010410-010410-0001653



Affinity/Co-Branding Program Ownership Requirement - LAC Region

An LAC Issuer must own and control the Affinity/Co-Branding Program. The Affinity/Co-Branding
Partner must not control the Affinity/Co-Branding Program.

ID#: 010410-010410-0001649



Determination of Affinity/Co-Branding Program Ownership - LAC Region

Visa (subject to delegation and approval by the Board of Directors) determines whether the program
is owned and controlled by the LAC Member or the Affinity/Co-Branding Partner. The decision is
based on the LAC Issuer's entire relationship with the Affinity/Co-Branding Partner, including, but not
limited to, the following:

• Whether the Member:
  – Establishes program management policies, such as setting credit criteria and making Cardholder
    credit decisions
  – Is at risk as the owner of the program
  – Actively ensures that its policies and guidelines are implemented
• The Issuer's role in setting the fees and rates for Affinity/Co-Branding Program products and
  services
• Whether all or part of the receivables are financed with the Affinity/Co-Branding Partner
• The degree to which the Issuer, not the Affinity/Co-Branding Partner, is portrayed as the owner of
  the Affinity/Co-Branding Program
• The extent to which the Issuer provides all or part of the program operations, such as customer
  service and collections

ID#: 010410-010410-0001651



18 October 2011                                    VISA PUBLIC                                      163
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 201 of 1319
                                                   PageID #: 3394
                                    Visa International Operating Regulations




Second Line of Credit for On-Us Transactions - LAC Region

An LAC Affinity/Co-Branding Partner may establish a second line of credit for On-Us Transactions.
Access to the second line of credit is restricted to Transactions completed at an Affinity/Co-Branding
Partner's Merchant Outlet for goods or services. The amount of the second line of credit must not
exceed the amount of the primary line of credit.

ID#: 010410-010410-0007302



Affinity/Co-Branding Visa Transaction - LAC Region

An On-Us Transaction from an LAC Affinity/Co-Branding Partner is considered a Visa Transaction.

ID#: 010410-010410-0001654



Affinity/Co-Branding Reporting Requirements - LAC Region

An LAC Issuer must report separately the following information about its Affinity/Co-Branding
Program:

• Number of Affinity/Co-Branding Visa Cards
• Sales volume on its Quarterly Operating Certificate

ID#: 010410-010410-0001657



Affinity/Co-Branding Communications Standards - LAC Region

In all communications and Collateral Materials, the product must not state or imply that any institution
other than the LAC Member is the Issuer of the Card. An Affinity/Co-Branding Partner's Trade Name
or Mark must not be positioned as adding superior acceptability of the Visa Card at the Point-of-
Transaction. The Visa Brand Name or Trade Mark must be prominently featured or at least be of
the same size of those owned by the Issuer or its Affinity/Co-Branding Partner. Visa may request
samples of the Collateral Material.

ID#: 010410-010410-0001658



Affinity/Co-Branding Partner Marks Display - LAC Region

Visa may require modification of any display of an LAC Affinity/Co-Branding Partner's Trade Name or
Mark at a Merchant Outlet if Visa determines that the display adversely affects the Visa brand.

ID#: 010410-010410-0004923




164                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 202 of 1319
                                               PageID #: 3395
                                    Visa International Operating Regulations




Affinity/Co-Branded Card Discounts - LAC Region

An LAC Affinity/Co-Branding Partner's Merchant must not provide a discount at the Point-of-
Transaction. The Merchant may provide a discount, such as credit on a Cardholder statement or a
rebate, at a later time.

ID#: 010410-010410-0004924



Affinity/Co-Branding Program Modification - LAC Region

If Visa determines that any provisions of an LAC Affinity/Co-Branding Program have been violated,
Visa may require modification of the program, including, but not limited to:

• Assignment of the program to a third party
• Suspension or termination of the program
• Fines

ID#: 010410-010410-0001650



Termination of Affinity and Co-Branding Program - LAC Region

If an LAC Member violates any provisions of the Affinity/Co-Branding Program, Visa may, with 90
calendar days' prior written notice, impose penalties, including:

• Fines
• Termination of the Affinity/Co-Branding Program

ID#: 010410-010410-0001659



Co-Branded Cards


Co-Branding Partner Reputation and Financial Standing

An Issuer participating in a Global Co-branding Partnership may be required to provide information
about the reputation and financial standing of the Global Co-branding Partner before approval of the
individual program.

ID#: 010410-010410-0004056



Co-Branding Partnership Approval Documentation Requirements

A Global Co-branding Partner and Issuer must provide a dossier of proprietary and public information
for approval to Visa, including:



18 October 2011                                    VISA PUBLIC                                      165
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 203 of 1319
                                                   PageID #: 3396
                                    Visa International Operating Regulations


• "Co-branding Partnership Regional Approval Form" for each proposed Interregional and
  Intraregional co-branding program
• Global Co-branding Partners' Marks and design guidelines (including color proofs) or evidence that
  a trademark search has been conducted
• Color proofs

ID#: 010410-010410-0004052



Co-Branding Partner Eligibility

A Global Co-branding Partner must:

• Be sponsored by an Issuer
• Not be eligible for Visa membership
• Not be an entity deemed to be a competitor of Visa

ID#: 010410-010410-0004053



Co-Branding Partnership Requirements

A Global Co-branding Partnership participant must comply with:

• The Visa International Operating Regulations
• Applicable local laws
• Applicable Regional Operating Regulations

ID#: 010410-010410-0004054



Co-Branding Issuer Qualification and Notification

An Issuer participating in a Global Co-branding Partnership must:

• Be a qualified Issuer in countries where Global Co-branded Cards will be issued
• Notify Visa of planned interregional and intraregional Global Co-branding Partnership expansion

ID#: 010410-010410-0004055




166                                                VISA PUBLIC                       18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 204 of 1319
                                               PageID #: 3397
                                    Visa International Operating Regulations




Affinity Cards


Affinity Card Issuance - Canada Region

With the prior written consent of Visa, a General Member in the Canada Region may issue Affinity
Cards as specified in the Canada Regional Operating Regulations.

ID#: 010410-010410-0001667



Affinity Participant on Cards - Canada Region

With the prior written consent of Visa and provided that consent has not been withdrawn, Cards
issued by a General Member in the Canada Region and displaying the corporate name or Trade
Name of that General Member on the front of the Card may bear the name, Trade Name, or Mark
of up to 2 Affinity Participants in conjunction with the General Member's Affinity Card Program if it
appears either:

• In the Member identification area on the front of the Affinity Card
• On the back of the Affinity Card in the area not covered by the signature panel or Magnetic Stripe

ID#: 010410-010410-0001678



Affinity Program Documentation Requirements - Canada Region

A General Member in the Canada Region must follow the Visa Affinity Card Program application
submission process and receive written consent from Visa before launching an Affinity Card program.

Upon Visa request, a Canada Member must submit a copy of the Affinity Participant Agreement and
any other contracts or documentation relative to an Affinity Card Program.

ID#: 050411-010410-0001668



Affinity Program Approval - Canada Region

A General Member in the Canada Region must not produce Collateral Material, solicit prospective
Cardholders, or issue Affinity Cards until Visa has approved and returned the "Visa Canada Affinity
Program Approval Form" (Exhibit CAN-3) to the General Member.

ID#: 010410-010410-0001669



Affinity Card Requirements - Canada Region

An Affinity Card issued by a Canada Issuer must:

• Be a Visa Card


18 October 2011                                    VISA PUBLIC                                          167
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15        Page: 205 of 1319
                                                   PageID #: 3398
                                    Visa International Operating Regulations


• Be referred to as a "Visa Card"
• Be issued only to residents of Canada

ID#: 010410-010410-0001671



Affinity Card Restrictions - Canada Region

An Affinity Card issued by a Canada Issuer must not:

• Be used to debit any credit, charge, payment, or deposit account other than the account
  maintained by the General Member in connection with that Affinity Card
• Contain any number or other device that may be used to effect a point-of-sale Transaction, other
  than the Account Number

ID#: 010410-010410-0001670



Affinity Program Member Requirements - Canada Region

A General Member in the Canada Region sponsoring an Affinity Participant agrees to comply with the
following terms:

• The General Member owns and controls the Affinity Program
• The Affinity Participant does not directly or indirectly own, control, or exercise controlling influence
  over the Affinity Card Program
• The General Member, and not the Affinity Participant, is portrayed as the owner of the Affinity Card
  Program
• The Affinity Participant does not provide payment card services or advertise that it is providing
  payment card services
• The General Member provides printed, broadcasted, or other materials used to solicit applications
  for Cards or to communicate with holders of Cards, or to otherwise advertise the Affinity Card
  Program
• The Affinity Participant is acting pursuant to the direct instructions of the General Member to
  the extent any materials used to promote the Affinity Card Program are prepared by the Affinity
  Participant
• All materials used to promote the Affinity Card Program have been reviewed by the General
  Member, and will not be distributed without the prior approval of the General Member

ID#: 010410-010410-0001672




168                                                VISA PUBLIC                             18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 206 of 1319
                                               PageID #: 3399
                                    Visa International Operating Regulations




Determination of Affinity Program Ownership and Control - Canada Region

Visa may request from a General Member in the Canada Region all documentation relative to
an Affinity Card Program and make a determination whether the General Member has sufficient
ownership and control of the Affinity Card Program. The decision may be based on the General
Member's entire relationship with the Affinity Participant, and may take into account the following
factors:

• Whether the General Member:
  – Establishes program management policies, such as setting credit criteria and making Cardholder
    credit decisions
  – Is at risk as the owner of the program
  – Actively ensures that its policies and guidelines are implemented
• The General Member's role in setting fees and rates for the Affinity Card Program products and
  services
• Whether all or part of the receivables are financed with the Affinity Participant
• The degree to which the General Member, not the Affinity Participant, is portrayed as the owner of
  the Affinity Program
• The extent to which the General Member provides all or part of the program operations, such as
  customer service and collections

ID#: 010410-010410-0001673



Terms of the Affinity Participant Agreement - Canada Region

A General Member in the Canada Region must ensure that an Affinity Participant acknowledges
and agrees to at least the following provisions, which must be substantially reproduced in the Affinity
Participant Agreement:

• The General Member owns and controls the Affinity Card Program
• To the extent the Affinity Participant prepares materials to promote the Affinity Card Program that
  contains Visa-Owned Marks, it does so pursuant to direct instructions from the General Member,
  and the General Member's use of the Visa-Owned Marks is governed by the Visa International
  Operating Regulations and Canada Regional Operating Regulations
• The incorporation of Visa-Owned Marks in materials to promote the Affinity Card Program must
  be reviewed and approved by the General Member to confirm that it conforms to the terms and
  conditions of the Visa International Operating Regulations and Canada Regional Operating
  Regulations, to which the General Member confirms receipt
• Acknowledge that Visa owns the Visa-Owned Marks
• Ensure that the Affinity Participant's display of the Visa-Owned Marks as expressly directed by the
  General Member is limited to the Affinity Card Program
• Provide samples of any Affinity Card and related Collateral Material upon request to the General
  Member or Visa, as appropriate


18 October 2011                                    VISA PUBLIC                                        169
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15        Page: 207 of 1319
                                                   PageID #: 3400
                                    Visa International Operating Regulations


• Ensure that the Affinity Participant does not represent to the public that use of an Affinity Card will
  create indebtedness to the Affinity Participant
• Acknowledge the right of Visa to withdraw its consent to the Affinity Card Program if either the:
  – General Member or Affinity Participant (on behalf of the General Member) violates the
    Canada Regional Operating Regulations, policies of the Canada Region, or Affinity Participant
    Agreement
  – Affinity Participant does not meet the conditions of the Canada Regional Operating Regulations
    for approval of the use of its name, Trade Name, or Mark on Affinity Cards and related Collateral
    Material as such conditions are amended from time to time

ID#: 010410-010410-0001675



Owner and Issuer of Affinity Card - Canada Region

An Affinity Card issued by a Canada Issuer must clearly disclose that the General Member is issuing
and is the owner of the Affinity Card, and it must be clear from the Affinity Card design that the Affinity
Card is issued by the General Member and not by the Affinity Participant.

ID#: 010410-010410-0001677



Affinity Program Issuer Identification - Canada Region

It must be clear from the Collateral Material that an Affinity Card is issued by the General Member in
the Canada Region and not by the Affinity Participant.

ID#: 010410-010410-0001679



Affinity Program Collateral Material - Canada Region

On all Collateral Material for an Affinity Card issued by a Canada Issuer, the:

• Corporate name or Trade Name of the General Member must be clearly disclosed as the owner
  and Issuer of the Affinity Card
• Affinity Participant must not state or imply that the Affinity Card is owned or issued by the Affinity
  Participant
• Affinity Participant must not state or imply that the Affinity Card is accepted only by a particular
  Merchant or class of Merchants

ID#: 010410-010410-0001680



Affinity Program Communications - Canada Region

A General Member in the Canada Region issuing an Affinity Card must refer to the Affinity Card as a
"Visa Card" in all communications regarding its Affinity Card Program.

ID#: 010410-010410-0001681



170                                                VISA PUBLIC                             18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15           Page: 208 of 1319
                                               PageID #: 3401
                                    Visa International Operating Regulations




Affinity Program Criteria - Canada Region

Communications for an Affinity Card issued by a Canada Issuer and related Collateral Material may
bear the Trade Name or Mark of an Affinity Participant only if all of the following criteria are met:

• Affinity Participant has a good reputation and is financially sound
• Affinity Participant's name, Trade Name, or Mark is recognized on a national, provincial, regional,
  or local basis
• Proposed program complies with the Visa International Operating Regulations and the Canada
  Regional Operating Regulations
• If the Affinity Participant is a Merchant, it accepts all Cards, including all Affinity Cards, where its
  goods or services are available for purchase
• Affinity Participant and each of its affiliates directly or indirectly do not:
  – Control or exercise controlling influence over the management or policies of the General
    Member with respect to the Affinity Card Program
  – Share, participate, or assist in the funding of more than 25% of the receivables at any time
    outstanding, due to use of its Affinity Cards, whether by loans, deposits, purchase, or financing
    of receivables, loan guarantees, or otherwise
  – Conduct credit evaluations, participate in billings, or provide customer services in connection
    with its Affinity Card Program

ID#: 010410-010410-0001682



Affinity Program Collateral Material Submission - Canada Region

A General Member in the Canada Region must submit all Collateral Materials, including solicitations,
print advertisements, and telemarketing scripts, regarding any Affinity Card Program to Visa upon
request.

ID#: 010410-010410-0001683



Affinity Card Rules for Proprietary Cards Bearing the Plus Symbol - Canada Region

The Canada Affinity Card rules do not apply to Proprietary Cards bearing the Plus Symbol and no
other Visa Marks on which a non-Member Identification appears.

ID#: 010410-010410-0001684



Affinity Card Rules for Visa Commercial Cards - Canada Region

The Canada Affinity Card rules do not apply to Business, Corporate, or Purchasing Cards on which a
non-Member Identification appears.

ID#: 010410-010410-0001685



18 October 2011                                    VISA PUBLIC                                               171
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 209 of 1319
                                                   PageID #: 3402
                                    Visa International Operating Regulations




Violation of Affinity Card Program Regulations - Canada Region

If it determines that any provisions of the Canada Affinity Card Program have been violated, Visa
may:

• Require modification of the program, including, but not limited to:
  – Assignment of the program to a third party
  – Suspension or termination of the program
• Impose fines or terminate the program on 30 calendar days' written notice
• Terminate an Affinity Card Program, without cause, with at least 60 calendar days' prior written
  notice to the General Member and Affinity Participant

ID#: 010410-010410-0001674



Affinity Program Participation Requirements - U.S. Region

With the prior written consent of Visa a Member may issue Affinity Cards as specified in the U.S.
Regional Operating Regulations and Visa U.S.A. Inc. Certificate of Incorporation and Bylaws. Except
as specifically stated to the contrary, all other Operating Regulations apply to Affinity Cards, without
modification.

ID#: 010410-010410-0001600



Affinity Program Communications - U.S. Region

A U.S. Visa Card Issuer must refer to its Affinity Card as a "Visa Card" in all communications
regarding its Visa Affinity Card program.

ID#: 010410-010410-0001614



Affinity Program Issuer Identification - U.S. Region

Affinity Cards and Cardholder communications must not state or imply that any institution other than
the U.S. Member is the Issuer of the Card. A Card is deemed to comply with this requirement if it:

• Bears only the Affinity Partner's Trade Name or Mark on the front
• Satisfies Issuer identification requirements specified in the Visa International Operating Regulations
  and the Visa Product Brand Standards

ID#: 010410-010410-0001615




172                                                VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 210 of 1319
                                               PageID #: 3403
                                    Visa International Operating Regulations




Affinity Program - Superior Acceptability - U.S. Region

An Affinity Card issued by a U.S. Issuer or an Affinity Partner's Trade Name or Mark may not be
positioned as adding superior acceptability of the Visa Card at the Point-of-Transaction.

ID#: 010410-010410-0001616



Visa Brand Mark in Affinity Program Collateral Material - U.S. Region

The Visa Logotype or Visa Flag Symbol or Visa Brand Mark must be prominently featured in all
Collateral Material regarding any U.S. Affinity Card program.

ID#: 010410-010410-0001617



Affinity Program Visa Brand Mark Display - U.S. Region

If the Affinity Card or Affinity Partner's Mark appears as part of any written communication regarding
any aspect of the U.S. Visa Affinity Card program, the Visa Logotype or Visa Flag Symbol or Visa
Brand Mark must also be at least equally and prominently displayed.

ID#: 010410-010410-0001618



Submission of Affinity Program Collateral Material and Solicitations - U.S. Region

Upon request, a U.S. Member must submit all Collateral Material regarding any Affinity Card program,
including solicitations, print advertisements, and telemarketing scripts, to Visa for approval.

Visa may prohibit the use of any material that denigrates the Visa Brand Mark or the Visa Brand
Name, or for any other reason Visa deems appropriate.

Visa review of the Member's materials should not be construed as legal approval against potential
third-party claims.

ID#: 050411-010410-0007458



Restricted Affinity Card Issuance - U.S. Region

A U.S. Member may issue an Affinity Card only to a resident of the United States of America.

ID#: 010410-010410-0003830



Affinity Program Positioning, Acceptance, and Accounts - U.S. Region

A U.S. Visa Affinity Card Issuer must not:




18 October 2011                                    VISA PUBLIC                                       173
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      Case: 4:13-cv-02226-JAR                    Doc. #: 85-5 Filed: 02/12/15                       Page: 211 of 1319
                                                    PageID #: 3404
                                    Visa International Operating Regulations


• Position the Affinity Card as something other than a Visa Card                   [17]


• Position its Trade Name or Mark as adding superior acceptability of the Card at the Point-of-
  Transaction
• Designate or design any of its Affinity Cards, whether through the use of a Trade Name, Mark,
  numbering scheme, code on the Magnetic Stripe, or any other device or means, in order to either:
     – Permit exclusive or preferential acceptance of any of its Affinity Cards by any Merchant or any
       Affiliated-merchant that is affiliated with the Member
     – Allow any Transaction involving use of these Cards to be treated as other than a Visa
       Transaction for all purposes, except as specified in "PIN-Debit Network Requirements - U.S.
               [18]
       Region"
• Allow its Affinity Cards to be used to debit any credit, charge, or asset account other than the Visa
  account maintained by the Issuer in connection with the Affinity Card, when that Affinity Card is
  presented to a Visa Merchant

ID#: 081010-010410-0001603



Affinity Program Ownership Requirement - U.S. Region

A U.S. Issuer must own and control its Affinity Card program. The Affinity Partner must not directly or
indirectly own, control, or exercise controlling influence over the Affinity Card program.

ID#: 010410-010410-0001605



Affinity Program Ownership Portrayal - U.S. Region

A U.S. Member must ensure that the Issuer, not the Affinity Partner, is portrayed as the owner of the
Affinity Card program.

ID#: 010410-010410-0001606



Determination of Affinity Program Ownership - U.S. Region

Visa may determine whether the U.S. Affinity Card program is owned and controlled by the Member.
The decision is based on the Issuer's entire relationship with the Affinity Partner, including, but not
limited to, the following:

• Whether the Issuer:
     – Establishes program management policies, such as setting credit criteria and making Cardholder
       credit decisions



17    A limited exception is allowed for Campus Cards to facilitate closed-loop proprietary campus transactions and permit the
      use of campus identification/access applications. A Campus Card must still be positioned as a Visa Card, but with the
      additional functionality noted here.
18    A limited exception is allowed for Campus Cards to facilitate closed-loop proprietary campus transactions and permit the
      use of campus identification/access applications. A Campus Card must still be positioned as a Visa Card, but with the
      additional functionality noted here.

174                                                  VISA PUBLIC                                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 212 of 1319
                                               PageID #: 3405
                                    Visa International Operating Regulations


  – Is at risk as the owner of the program
  – Actively ensures that its policies and guidelines are implemented
• The Issuer's role in setting fees and rates for Affinity Card program products and services
• Whether all or part of the receivables are financed with the Affinity Partner
• The degree to which the Issuer, not the Affinity Partner, is portrayed as the owner of the Affinity
  Card program
• The extent to which the Issuer provides all or part of the program operations, such as customer
  service and collections

ID#: 010410-010410-0001608



Affinity Card Issuer Identification - U.S. Region

If the U.S. Issuer's Trade Name or Mark does not appear on the front of the Affinity Card, the
following language must be clearly legible on the back of the Card, in addition to, or instead of, other
Issuer identification: "This Card is issued by (Issuer name) pursuant to a license from Visa U.S.A.
Inc."

ID#: 010410-010410-0001701



Visa Requests for Affinity Program Information - U.S. Region

Upon Visa request, a U.S. Member must submit the following to Visa to determine compliance with
"Affinity Program Ownership Requirement - U.S. Region":

• Any and all contracts with the Affinity Partner
• Any other documentation relative to the Affinity Card program

ID#: 010410-010410-0001607



Sponsorship Marks on Affinity Cards - U.S. Region

Visa Sponsorships, logos, designations, and authenticating statements may be used on an Affinity
Card issued by a U.S. Issuer, provided that the Issuer obtains prior written approval from Visa.
Such uses will be permitted in limited circumstances and are subject to approval of the applicable
authorities.

ID#: 010410-010410-0001702



Affinity Program Compliance - U.S. Region

A U.S. Member or Affinity Partner must provide information requested by Visa in order to determine
whether its Affinity Card program complies with the U.S. Regional Operating Regulations. The Board
of Directors may grant a variance to any Operating Regulation pertaining to Affinity Card programs.

ID#: 010410-010410-0001610


18 October 2011                                    VISA PUBLIC                                          175
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 213 of 1319
                                                   PageID #: 3406
                                    Visa International Operating Regulations




Determination of Affinity Program Violation - U.S. Region

If it determines that any provisions of the U.S. Affinity Card program have been violated, Visa may:

• Require modification of the program, including, but not limited to:
  – Assignment of the program to a third party
  – Suspension or termination of the program
  – Fines
• Impose fines or terminate the program on 30 calendar days' written notice
• Terminate an Affinity Card program, without cause, with at least 180 calendar days' prior written
  notice to the U.S. Member and Affinity Partner

ID#: 010410-010410-0001611



Appeal Rights for Affinity Program Termination - U.S. Region

If Visa terminates a U.S. Affinity Card program, the Member may appeal the termination to the Board
of Directors by providing written notice to Visa within 30 calendar days of receipt of Notification.

The Board's decision is final.

ID#: 010410-010410-0007407




Brand Positioning

Card and Product Positioning


Design Approval for Cards and Displays

A Member must submit proposed designs for all Cards and Point-of-Transaction displays to Visa for
written approval:

• Before production
• Each time the design is changed

ID#: 010410-010410-0006146




176                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 214 of 1319
                                               PageID #: 3407
                                    Visa International Operating Regulations




Visa Product Name

If a Member uses a Visa Product Name or any Visa-Owned Mark in typed or printed text, it must
comply with the Visa International Operating Regulations and the Visa Product Brand Standards.

ID#: 010410-010410-0006155



Visa Card Product Name

A Member must not:

• Position any Visa Card as something other than a Visa Card
• Position a Visa Business, Visa Corporate, or Visa Purchasing Card as something other than a Visa
  Card for the payment of business expenditures
• Position its Trade Name or Mark as adding superior acceptance of the Card at the Point-of-
  Transaction

ID#: 010410-010410-0006153



Card Reproduction Requirements

A Member:

• Must produce a Card as specified in the Visa Product Brand Standards
• Must not distribute or display a reproduction of a Card as an indication of acceptance of Visa
  products at the Point-of-Transaction

ID#: 010410-010410-0006329



Positioning, Acceptance, and Accounts - U.S. Region

A U.S. Issuer must not:

• Position the Card as something other than a Visa Card               [19]


• Position its Trade Name or Mark as adding superior acceptability of the Card at the Point-of-
  Transaction
• Designate or design any of its Visa Cards, whether through the use of a Trade Name, Mark,
  numbering scheme, code on the Magnetic Stripe or Chip, or any other device or means, in order to:
  – Permit exclusive or preferential acceptance of any of its Visa Cards by any Merchant or any
    Affiliated-merchant that is affiliated with the Member
  – Allow any Transaction involving use of these Cards to be treated as anything other than a Visa
    Transaction, except as specified in "PIN-Debit Network Requirements - U.S. Region"




18 October 2011                                    VISA PUBLIC                                     177
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      Case: 4:13-cv-02226-JAR                    Doc. #: 85-5 Filed: 02/12/15                       Page: 215 of 1319
                                                    PageID #: 3408
                                    Visa International Operating Regulations


• Allow a Visa Card that is used primarily to access a line of credit, to participate in any PIN-based
  debit program, unless the participation is for ATM access only

ID#: 081010-010410-0003210



Card and Product Positioning

An Issuer must refer to its Visa Card as a "Visa Card" in all communications regarding its program,
including solicitations, advertising, promotions, and other Collateral Material.

ID#: 010410-010410-0003211



Positioning Trade Name or Mark - Canada Region

A Canada Member must not position its Trade Name or Mark as adding superior acceptability of the
Card at the Point-of-Transaction.

ID#: 010410-010410-0007231




Use of Marks in Promotions, Advertisements, and
Solicitations

Solicitations


Member Identification

A Member must identify itself by city and principal name, and may substitute the local Branch name
and city, if desired, on all supplies, materials (including broadcast), and oral or written solicitations
sent to current or prospective Cardholders or Merchants. A Member must not state or imply in these
materials that any other Member's Cards or Merchant materials are being replaced, are invalid,
or should be destroyed. A Member must not state or imply that Visa provided or endorsed these
materials unless Visa designed them for Member use.

ID#: 010410-010410-0006311



References to Bankruptcy - U.S. Region

Visa Program solicitation materials in the U.S. Region must not reference bankruptcy, insolvency, or
any similar circumstance.

ID#: 010410-010410-0001216




19    A limited exception is allowed for Campus Cards to facilitate closed-loop proprietary campus transactions and permit the
      use of campus identification/access applications. A Campus Card must still be positioned as a Visa Card, but with the
      additional functionality noted here.

178                                                  VISA PUBLIC                                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 216 of 1319
                                               PageID #: 3409
                                    Visa International Operating Regulations




Visa Approval of Marketing Materials - U.S. Region

A U.S. Issuer must submit all marketing materials or other customer communications pertaining to
any of the core and optional services to Visa for written approval before distribution.

These materials must comply with the requirements specified in the implementation materials
available from Visa, unless the U.S. Member has received prior written approval from Visa.

ID#: 010410-010410-0007438



Promotional Material


Merchant Use for Promotions/Advertising

A Member must not allow a Merchant or other entity to use any Visa-Owned Mark for promotional or
advertising purposes in any media, unless the:

• Member distributes the material
• Visa International Operating Regulations or the Visa Product Brand Standards permit their use
• U.S. Member's name and city appear on the material, as applicable

If a Merchant uses promotional materials and advertisements that include the use of Visa-Owned
Marks, the Merchant must comply with the:

• Regional Operating Regulations
• Visa International Operating Regulations
• Visa Product Brand Standards

ID#: 090411-010410-0008277



Competitive Marks with Visa-Owned Marks

A Member may use certain Visa Program Marks on items other than Cards or for sponsorship
activities with the Marks of the following or its subsidiaries or affiliates:

• American Express Company
• Discover Financial Services
• MasterCard Worldwide
• Any other entity Visa deems competitive




18 October 2011                                    VISA PUBLIC                                     179
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 217 of 1319
                                                   PageID #: 3410
                                    Visa International Operating Regulations



The overall appearance of this use must unmistakably convey the idea that the Visa-Owned Mark,
when used on items other than Cards or for sponsorship activities, clearly identifies a product or
service that is separate and distinct from any product or service of the entities listed above.

ID#: 081010-010410-0006327



Competitive Marks with Visa-Owned Marks – AP Region, LAC Region, and U.S.
Region (Updated)

Effective 1 October 2011, in the U.S. Region or in a U.S. Territory, a Member may use the Marks
of the American Express Company, MasterCard Worldwide (including Maestro), Discover Financial
Services, or the subsidiaries or affiliates of these entities, or other entities deemed competitive by
Visa, in connection with a Member's promotion, offer or solicitation of a U.S. Covered Visa Debit
Card, or the maintenance of a Cardholder relationship for a U.S. Covered Visa Debit Card as
specified in the Visa Product Brand Standards.

ID#: 151011-011011-0026530



Competitive Marks with Visa-Owned Marks - U.S. Region (Updated)

Effective through 30 September 2011, a U.S. Member may not use the Visa-Owned Marks
in connection with a Member's promotion, offer or solicitation of a payment card product, or the
maintenance of a U.S. Cardholder relationship, together with Marks that are associated with payment
card products issued by the American Express Company, Discover Financial Services, and their
subsidiaries or affiliates (including, by way of example and not limitation, "American Express,"
"Optima," "Discover," "Bravo," "Novus," and "Membership Rewards") or together with Marks
associated with any other payment card company deemed competitive by the Board of Directors, if
such Marks are owned or controlled by such competitors.

Effective 1 October2011, a U.S. Member may not use the Visa-Owned Marks in connection with
a Member's promotion, offer or solicitation of a Visa Card not defined as a U.S. Covered Visa Debit
Card, or the maintenance of a U.S. Cardholder relationship for a Visa Card not defined as a U.S.
Covered Visa Debit Card, together with Marks that are associated with payment card products issued
by the American Express Company, Discover Financial Services, and their subsidiaries or affiliates
(including, by way of example and not limitation, "American Express," "Optima," "Discover," "Bravo,"
"Novus," and "Membership Rewards") or together with Marks associated with any other payment card
company deemed competitive by the Board of Directors, if such Marks are owned or controlled by
such competitors.

ID#: 151011-010410-0006302



Offer/Issuance Conditions – AP Region, LAC Region, and U.S. Region (Updated)

Effective through 30 September 2011, a U.S. Member may not condition the offer or issuance of
any payment card product bearing the Visa-Owned Marks or the maintenance of a U.S. Cardholder
relationship upon the possession or acceptance of a general purpose payment card product issued
by the American Express Company, Discover Financial Services, or any other payment card
company deemed competitive by Visa.


180                                                VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15           Page: 218 of 1319
                                               PageID #: 3411
                                    Visa International Operating Regulations



Effective 1 October 2011, in the U.S. Region or in a U.S. Territory, a Member may condition the
offer or issuance of a U.S. Covered Visa Debit Card, or the maintenance of a Cardholder relationship
for a U.S. Covered Visa Debit Card, upon the possession or acceptance of a product bearing the
Marks of the American Express Company, MasterCard Worldwide, Discover Financial Services,
Diner’s Club, JCB, or any other non-Visa general purpose payment card network as specified in the
Visa Product Brand Standards.

ID#: 151011-010410-0006303



Advertisements Using Visa-Owned Marks

If a Merchant uses promotional materials and advertisements that include the use of the Visa-Owned
Marks, the Acquirer must approve them in advance.

ID#: 010410-010410-0002863



Merchant Use of Marks

A Merchant must not:

• Indicate or imply that Visa endorses any Merchant goods or services
• Refer to Visa in stating eligibility for its products, services, or membership
• Use the Visa-Owned Marks for any purpose other than those permitted in the Visa International
  Operating Regulations or without written permission from Visa

In addition, a U.S. Merchant must not use the signage associated with the Limited Acceptance
Category it has selected for any purpose other than those permitted in the U.S. Regional Operating
Regulations or without written permission from Visa. (This only applies in the U.S. Region.)

ID#: 010410-010410-0007416



Permitted Merchant Use - U.S. Region

A U.S. Merchant may:

• Indicate in a single advertisement, display, or notice that the Visa Program services and other Card
  services are available
• Use the Visa-Owned Marks or, if the U.S. Merchant has selected Limited Acceptance, the signage
  associated with the Limited Acceptance category it has selected, on promotional, printed, or
  broadcast materials only to indicate the types of Cards it accepts for payment

ID#: 010410-010410-0002343




18 October 2011                                    VISA PUBLIC                                         181
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 219 of 1319
                                                   PageID #: 3412
                                    Visa International Operating Regulations




Advertising Materials - Canada Region

In the Canada Region, Point-of-Transaction advertising and promotional materials (except credit card
application forms) must not indicate that the Canada Merchant has been signed by, or represents the
interests of, a particular Canada Member.

ID#: 010410-010410-0006233



Non-Member Marks on Collateral Material - Canada Region

Except as permitted in the Canada Regional Operating Regulations and except as may be permitted
by Visa, a name, Trade Name, or Mark of a non-Member must not be used on Collateral Material
bearing the Visa Program Marks that is used for soliciting applications or communicating with Canada
Cardholders. The Marks of the Interac Association are excepted.

ID#: 111011-010410-0006236




Member Sponsorships

Sponsorships Usage Requirements


Use of a Visa-Owned Mark with Member Sponsorships

A Member may use a Visa-Owned Mark to sponsor a specific sporting, musical, artistic, or other
event only with prior written consent from Visa.

ID#: 010410-010410-0006317



Approval Request for Sponsorship Materials

A Member must submit an approval request to Visa at least 2 months before the anticipated release
date of any materials associated with sponsorship activities or the start date of a sponsored event,
whichever is earlier.

ID#: 010410-010410-0007408



Use of Visa-Owned Marks with Competitive Marks

A Member must not use the Visa-Owned Marks with the Marks of any of the following, or its
subsidiaries or affiliates, in any sponsorship activity:

• American Express Company
• Discover Financial Services


182                                                VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 220 of 1319
                                               PageID #: 3413
                                    Visa International Operating Regulations


• MasterCard Worldwide (including Maestro)
• Any other entity that Visa deems competitive

ID#: 081010-010410-0006572



Member as Sponsor

A Member participating in any sponsorship activity must clearly convey in all of its communications
and displays that only the Member, not Visa, is the sponsor. The Member must not state or imply
that it owns any of the Visa-Owned Marks.

ID#: 010410-010410-0007405



Use of Marks on Cards/Decals

A Member may use the partnership or Sponsorship Marks on Cards and decals with other
representations of certain Visa Program Marks in advertising and on promotional materials.

ID#: 050411-010410-0001132



Visa Approval for Use of Visa-Owned Mark in Event Sponsorship - U.S. Region

A U.S. Member must obtain written approval from Visa for its planned use of any Visa-Owned Mark in
the sponsorship of events, including all advertising, promotions, and public relations. These rules do
not apply to the purchase of advertising not specifically tied to sponsorship of an event.

A U.S. Member must ensure that it uses each Visa-Owned Mark within the scope of the written
approval from Visa. After Notification from Visa, a Member must correct any improper use of any of
these Marks.

ID#: 010410-010410-0007439



Use of Marks in U.S. Region - U.S. Region

If permitted, a U.S. Member may use the Visa-Owned Marks only in the United States. If a U.S.
Member plans sponsorship activities in any additional country, it must:

• Submit a new request to Visa
• Obtain written consent from Visa prior to the sponsorship
• Comply with the Visa International Operating Regulations and the Visa Product Brand Standards

ID#: 010410-010410-0001160




18 October 2011                                    VISA PUBLIC                                        183
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 221 of 1319
                                                   PageID #: 3414
                                    Visa International Operating Regulations




Electron Mark/Identifier

Electron Marks Usage Requirements


The Visa Brand Mark with the Electron Identifier

The Visa Brand Mark with the Electron Identifier is a Visa-Owned Mark that must appear on the front
of a Card as specified in the Visa Product Brand Standards.

ID#: 010410-010410-0006149



Visa Brand Mark Conversion

Effective 1 March 2007:

• All newly-created Visa Electron Cards issued or reissued must :
  – Bear the Visa Brand Mark with the Electron Identifier
  – Comply with the Visa Product Brand Standards
• An Issuer may issue or reissue a Visa Electron Card bearing the Visa Electron Symbol to deplete
  existing card stock. The Visa Electron Card must expire no later than 30 June 2011

Effective 1 July 2011, all Visa Electron Cards must bear the Visa Brand Mark with the Electron
Identifier.

ID#: 010410-010307-0007409



Visa Electron Card Bearing the Visa Brand Mark with the Electron Identifier

The Visa Brand Mark with the Electron Identifier must:

• Appear as specified in the Visa Product Brand Standards
• Be placed on the front of the Card

ID#: 010410-010410-0006163



Electron Acquiring Only - U.S. Region

The Visa Electron Program Marks must be used in the U.S. Region for acquiring purposes only.

ID#: 010410-010410-0007406




184                                                VISA PUBLIC                       18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 222 of 1319
                                               PageID #: 3415
                                    Visa International Operating Regulations




Use of Electron Marks to Resemble an Electron Card - U.S. Region

On marketing collateral, a U.S. Member must not use the Visa Electron Symbol or Visa Brand Mark
with the Electron Identifier in such a way that it could be mistaken for an actual Visa Electron Card
and used in a Transaction.

ID#: 010410-010410-0006281



Prohibition on Checks - U.S. Region

A U.S. Member must not use the Visa Electron Wordmark on any check or Cheque.

ID#: 010410-010410-0006282




Interlink Program Marks

Interlink Program Marks Usage Requirements


Visa Approval to Use Interlink Mark on Visa Cards - U.S. Region

The Interlink Program Marks may appear on Visa Check Cards or Visa Debit Cards if the U.S. Issuer
obtains written approval from Visa before issuance.

ID#: 010410-010410-0006288



Interlink Mark Prominence - U.S. Region

For Cards issued by a U.S. Issuer, the Interlink Program Marks must appear, in equal prominence, on
a Visa Check Card or Visa Debit Card also participating in the Interlink Program, if the Card displays
the acceptance Mark of any non-Visa PIN-based debit or ATM program.

ID#: 010410-010410-0006290



Prohibition of Interlink Mark on Credit Cards - U.S. Region

For Cards issued by a U.S. Issuer, the Interlink Program Marks must not appear on Visa Cards that
primarily access a line of credit.

ID#: 010410-010410-0006291




18 October 2011                                    VISA PUBLIC                                      185
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 223 of 1319
                                                   PageID #: 3416
                                    Visa International Operating Regulations




Interlink Mark Display on Cards - U.S. Region

For Cards issued by a U.S. Issuer, Interlink Program Marks are not required to appear on a Visa
Check Card or Visa Debit Card also participating in the Interlink Program if:

• The Card does not display the acceptance Mark of any other PIN-based debit program
• The Issuer clearly communicates to its Cardholders, at the time of issuance, that the Card may also
  be used for PIN debit transactions anywhere Interlink cards are accepted

ID#: 010410-010410-0006289




Plus Program Marks

Plus Program Marks Usage Requirements


Plus Symbol Use

A Member must use the Plus Symbol only as a Mark indicating acceptance for ATM services. Any
change to this provision requires a majority vote of the directors in attendance at any meeting of the
Board of Directors where a quorum is present.

ID#: 010410-010410-0006324



Plus Symbol Displayed at an ATM

The Plus Symbol must only be displayed at an ATM that accepts Cards bearing the Plus Symbol for
ATM services. Any changes to this provision require a majority 3/4 vote of the directors in attendance
at any Board of Directors meeting where a quorum is present.

ID#: 010410-010410-0003583



Plus Program Marks on Proprietary Cards

An Issuer of Proprietary Cards with Plus Program capabilities must place the Plus Symbol on all
Proprietary Cards within 5 years from the beginning date of participation in the Plus Program. The
presence of the Plus Symbol is optional on Visa Cards if no other ATM Acceptance Mark is present
on the Card.

ID#: 010410-010410-0003577



Plus Program Marks Description - U.S. Region

The U.S. Plus Program Marks are:


186                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 224 of 1319
                                               PageID #: 3417
                                    Visa International Operating Regulations


• Plus Symbol, which consists of the Plus Design positioned to the left and above the Plus Logotype
• Plus Wordmark
• Plus Design or Diamond Design
• Plus Logotype
• Any other Mark that Visa adopts for use with the Plus Program

ID#: 010410-010410-0006283



Member Agreement for Plus Program Marks Use - U.S. Region

A U.S. Member agrees:

• That it will do nothing inconsistent with Visa ownership of the Plus Program Marks
• That the use of all Plus Program Marks must be for the benefit of, and on behalf of, Visa
• To supply Plus System Inc. and Visa with samples of all materials bearing the Plus Program Marks
  produced by or for the Member
• To comply with the:
  – Visa International Operating Regulations
  – Applicable Certificate of Incorporation and Bylaws
  – Visa Product Brand Standards
  – Plus System, Inc. Bylaws and Operating Regulations

ID#: 010410-010410-0006284



Plus Symbol Display Requirement at ATM - U.S. Region

The Plus Symbol must be displayed on participating U.S. ATMs. The Visa Brand Mark with the
Electron Identifier may be displayed on participating ATMs.

ID#: 010410-010410-0005768




18 October 2011                                    VISA PUBLIC                                     187
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      Case: 4:13-cv-02226-JAR               Doc. #: 85-5 Filed: 02/12/15   Page: 225 of 1319
                                               PageID #: 3418




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188                                           VISA PUBLIC                       18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 226 of 1319
                                               PageID #: 3419
                                    Visa International Operating Regulations




Chapter 5: Visa Products and Services

Core Principle 5.1

Issuing and Technology Standards


Following the Standards Established by Visa

Participants in the Visa system agree to follow the card issuing and technology standards established
by Visa to ensure systems work together to provide seamless transaction and data processing. For
example, the magnetic stripe and chip used on Visa cards must follow compatible standards and
specifications to guarantee global interoperability and payment acceptance.

ID#: 010410-010410-0007774




Core Principle 5.2

Issuing and Using Visa Products


Preserving Security, Integrity, and Consistency

To preserve the security, integrity and consistency of experience of the Visa system and meet
the diverse needs of participants in the Visa system, participants agree to follow Visa's policies,
requirements and standards for issuing and using Visa products and services.

ID#: 010410-010410-0007775




18 October 2011                                    VISA PUBLIC                                        189
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 227 of 1319
                                                   PageID #: 3420
                                    Visa International Operating Regulations




Core Principle 5.3

Card Design Requirements and Standards


Receiving Approval from Visa

Visa specifies card design requirements and standards for use of its marks to ensure the integrity,
safety, and security of the Visa brand and products and to ensure the common, immediate
recognition of Visa products and services around the world. Participating issuers agree to use only
Visa-authorized card manufacturers and card personalizers to produce Visa cards. Participants agree
to submit card designs for Visa approval to ensure adherence to the Visa Product Brand Standards.

ID#: 010410-010410-0007776




Card Issuance

Issuer Responsibilities - General


General Member Card Program Requirements - Canada Region

A Visa Canada General Member must:

• Operate its own Card program
• Issue Cards in its own legal name or in a Trade Name or Mark owned by the Member and
  approved by Visa, bearing the Visa-Owned Marks, to eligible Cardholders

ID#: 010410-010410-0004091



General Member Card Plan - Canada Region

Each Visa Canada General Member must operate its own Card plan that conforms to the minimum
standards specified below:

• Each Member must issue Cards in its own name and own the receivables arising from the use of
  such Cards; securitization does not impact ownership for the purpose of the Operating Regulations
• Cards issued by each Member will entitle Cardholders to make purchases of goods and services
  and to obtain Cash Disbursements
• Subject to appropriate Authorization, each Member will honor Cards issued by other Members for
  Cash Disbursements




190                                                VISA PUBLIC                      18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 228 of 1319
                                               PageID #: 3421
                                    Visa International Operating Regulations


• Subject to appropriate Authorization, each General Member will cause its Merchants to honor
  Cards issued by other such Members for the purchase of goods and services

ID#: 010410-010410-0004092



Card Accessing Cardholder Funds on Deposit - U.S. Region

A U.S. Issuer must not issue or reissue a Visa Card that accesses Cardholder funds on deposit at an
organization other than the Issuer's, unless it:

• Receives prior written consent from the organization where the funds are deposited
• Completes automated clearing house notification requirements

Monthly periodic payments are excluded from this prohibition.

ID#: 010410-010410-0004573



Adhesive Material on Cards - U.S. Region

Except as specified in "Card Activation Sticker - U.S. Region," a U.S. Issuer must ensure that no
adhesive material is affixed to either side of a Visa Card unless it is integral to the manufacture of the
Card.

ID#: 010410-010410-0003407



Card Activation Sticker - U.S. Region

A U.S. Issuer may affix a Card activation sticker to the front or back of its Cards if the sticker does not
interfere with any other security features of the Card.

The Card activation sticker or other material enclosed with the Card mailer must either:

• Provide a telephone number for the Cardholder to call to activate the Card and instruct the
  Cardholder to contact the Issuer upon receipt of the Card for activation and to remove the sticker
  from the Card once activation has occurred
• For Visa Check Cards that are activated by the Cardholder at a PIN-based Terminal, instruct the
  Cardholder to remove the sticker from the Card before activation

ID#: 010410-010410-0008695



Telephone Number for Cardholder Inquiries - U.S. Region

A U.S. Member that lists a telephone number in a telephone directory for the purpose of receiving
Cardholder inquiries must insert at least the following listing: "Visa Card Center-(Name of Member)."

ID#: 010410-010410-0006330




18 October 2011                                    VISA PUBLIC                                          191
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 229 of 1319
                                                   PageID #: 3422
                                    Visa International Operating Regulations




Account Range and BIN Use


Multiple Programs on Same BIN

An Issuer may establish multiple Visa Card programs or Virtual Account programs within the same
BIN.

ID#: 010410-010410-0004555



Business Plan Requirement for Multiple Visa Programs on Single BIN

Visa may require a business plan if an Issuer requests the assignment of designated account ranges
to multiple Visa Card programs within a single BIN.

ID#: 010410-010410-0003145



Visa Right to Deny Account Range Request

Visa reserves the right to deny a request for a designated account range within an existing BIN.

ID#: 010410-010410-0003147



BIN Assignment for New Visa Card Programs

For a new Visa Card program, an Issuer may assign either a:

• Unique BIN for each Visa Card program
• Designated account range within a BIN for a specific Visa Card program by completing Section 6 of
  the "BIN License Agreement" available through the Visa Publication Center on Visa Online

ID#: 050411-010410-0003143



Account Range and BIN Assignment for Existing Visa Card Programs

For existing Visa Card programs, an Issuer must not request a new designated account range
assignment within an active BIN.


ID#: 171011-010410-0003146




192                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 230 of 1319
                                               PageID #: 3423
                                    Visa International Operating Regulations




BIN Requirements for Card Program Category Conversion - U.S. Region

If a U.S. Member converts its Card program from one Visa category to another (e.g., Visa credit
Cards to Visa Debit Cards), it must comply with the unique BIN requirements of the Visa category to
which the program is converted as specified in the Visa International Operating Regulations on the
date of the Card program conversion.

ID#: 010410-010410-0003217



Account Number Specifications


BIN and Account Number Specifications

The specifications for BIN and Account Number structures embossed, encoded, or printed on all Visa
Cards and Visa Electron Cards.

ID#: 111011-010410-0003196



PIN Issuance


PIN Availability Requirement

An Issuer must make a PIN available to each Cardholder for use with a Card. PIN issuance is
not required for certain Visa Prepaid Card programs bearing the Visa Brand Mark, or Visa Brand
Mark with the Electron Identifier, as outlined in the applicable Visa International Prepaid Program
Guidelines. An Issuer may elect not to offer PINs for certain types of Visa Prepaid Card products with
prior written approval from Visa.

ID#: 081010-010410-0004019



PIN Issuance Requirements

An Issuer must:

• Notify its Cardholders of PIN availability
• Comply with the Payment Technology Standards Manual
• Successfully complete certification testing to demonstrate its capability to perform PIN Verification,
  or designate Visa to perform this function
• Select Stand-In Processing Issuer options pertaining to a Transaction for which a PIN is used

ID#: 111011-010210-0004571




18 October 2011                                    VISA PUBLIC                                        193
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 231 of 1319
                                                   PageID #: 3424
                                    Visa International Operating Regulations




PIN Issuance Requirements - U.S. Region

A U.S. Issuer must:

• Comply with the Payment Technology Standards Manual
• Successfully complete required testing to demonstrate its capability to perform PIN Verification, or
  designate Visa to perform this function
• Issue a PIN to each Cardholder for use with their Visa Card. A Visa Traditional and Classic Visa
  Check Card Issuer has complied with this requirement if the Issuer notifies its Cardholders that
  they may either:
  – Select their own PIN
  – Request that a PIN be issued
• Notify each of its Cardholders of the availability of PINs and the Visa ATM Network. Issuers of the
  following Card products must provide this notification annually to all active:
  – Visa Check Card Cardholders
  – Visa Signature Cardholders
  – Visa Signature Preferred Cardholders
• Ensure the security of the PIN
• Select V.I.P. System Issuer options pertaining to a Transaction for which a PIN is used

ID#: 081010-010410-0004563



PIN for Emergency Card Replacement - CEMEA Region

A CEMEA Issuer that issues an Emergency Card Replacement is not required to issue a PIN.

ID#: 081010-010410-0007232



PIN Issuance for Visa Signature and Visa Signature Preferred Cards - U.S. Region

A U.S. Issuer must comply with "PIN Issuance Requirements - U.S. Region" within one year of
issuing one of the following Card products to a new Cardholder:

• Visa Signature
• Visa Signature Preferred

A U.S. Issuer whose internal systems support customer PIN selection must offer the availability of
PINs to all of its Cardholders, unless prohibited by applicable law.




194                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 232 of 1319
                                               PageID #: 3425
                                    Visa International Operating Regulations



A U.S. Issuer whose internal systems do not support customer PIN selection must issue PINs to all
of its Cardholders, unless prohibited by applicable law. Notifying Cardholders that a PIN is available
upon request does not satisfy this requirement.

ID#: 010410-010410-0008126



Expiration Date Standards


Expiration Date Consistency

The expiration date contained in the Chip must be the same as the expiration date encoded on the
Magnetic Stripe and displayed on the Card. If applicable, the expiration date of proprietary services
on the Card must not exceed the Visa or Visa Electron Payment Application expiration date.

ID#: 081010-010410-0003209



Expiration Date Consistency - Chip Cards

The expiration date on a Visa Card, Visa Electron Card, or Card bearing the Plus Symbol must not
be later than the expiration date of the Issuer's Public Key, or any security feature containing an
expiration date in a Chip, if one is present on the Card.

ID#: 010410-010410-0003199



Emergency Card Replacement Expiration Date - CEMEA Region

For a CEMEA Issuer that issues an Emergency Card Replacement, the expiration date must be
either:

• The last day of the month following the month of issuance
• A date assigned by the Issuer of no later than 1 year from the issuance date

ID#: 090411-010410-0007234



Issuer Performance Standards


Retrieval Request Rate Standards for Copy Bearing Signature - U.S. Region

A U.S. Issuer must not exceed the monthly rate of 0.016% for Retrieval Requests for copy bearing
signature. A copy bearing signature Retrieval Request rate is defined as the combined total of
Retrieval Requests for reason code 28, "Request for Copy Bearing Signature," and reason code 33,
"Request for Legal Process or Fraud Analysis," as a percentage of the total number of Transactions
for each month.

ID#: 010410-010410-0006430



18 October 2011                                    VISA PUBLIC                                        195
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 233 of 1319
                                                   PageID #: 3426
                                    Visa International Operating Regulations




Chargeback Rate Standards - U.S. Region

A U.S. Issuer must not exceed the Chargeback rate of 0.17% for its Consumer Visa Product or
Commercial Visa Product program. The Chargeback rate is the number of Chargeback rights
exercised as a percentage of all Sales Drafts received.

ID#: 010410-010410-0006900



Representment Rate Standards - U.S. Region

A U.S. Issuer must not exceed the Representment rate of 42% for its Consumer Visa Product or
Commercial Visa Product program. The Representment rate is the number of Representments
received as a percentage of all Chargebacks processed.

ID#: 010410-010410-0006901




Card Manufacture and Delivery

Card Shipping and Security


Issuer Standards for Distribution Channel Vendors

An Issuer may contract through another Issuer or a Distribution Channel Vendor for the packaging,
storing, and shipping of pre-manufactured, commercially ready Visa Products. ("Pre-manufactured,
commercially ready" refers to non-personalized Visa Products that have already been manufactured,
encoded, and embossed/printed and are ready for sale or distribution to Cardholders.)

If the Issuer uses a Distribution Channel Vendor, it must:

• Register the Distribution Channel Vendor as a Third Party Agent, as specified in "General Agent
  Requirements"
• Validate annually the Distribution Channel Vendor's compliance with the Visa Global Physical
  Security Validation Requirements for Data Preparation, Encryption Support and Fulfillment Card
  Vendors
• Comply with Third Party Agent program requirements, as specified in "General Agent
  Requirements"

Visa may audit the Third Party Agent's or Issuer's processes and controls to validate that a
Distribution Channel Vendor is compliant with the Visa Global Physical Security Validation
Requirements for Data Preparation, Encryption Support and Fulfillment Card Vendors.

ID#: 050411-010100-0025520




196                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 234 of 1319
                                               PageID #: 3427
                                    Visa International Operating Regulations




Preparation for Mailing of Individual Personalized Visa Products

An Issuer must:

• Proof and prepare Visa Products for mailing under dual control in a high-security area separate
  from other operations
• Prevent unauthorized entry into the area
• Ensure that Cardholder addresses, including postal codes, are complete and correct
• Maintain stuffed, sealed, and stamped envelopes in a vault under dual control until mailing
• Record the exact date, time, and place of mailing for each Visa Product
• Report any Visa Products lost in the mail to Visa, the postal authorities, and the appropriate carrier

ID#: 050411-010100-0025519



Card Security Staff Requirements

An Issuer must have a qualified fraud control and Card security officer and staff that are primarily
responsible for all areas of security for Visa Cards and Visa Electron Cards. The security staff must:

• Investigate all fraudulent use of the Issuer's Visa Cards or Visa Electron Cards
• Plan and supervise the manufacturing, embossing, encoding, printing, and mailing of the Issuer's
  Visa Cards or Visa Electron Cards
• Plan and supervise the physical protection of the Issuer's Center and building
• Participate in Center employee background investigations

ID#: 010410-010410-0002394



Card Embossing, Printing, Encoding, and Personalization


Visa Product Personalization - Issuer Requirements

An Issuer that personalizes Visa Products on its own behalf must create and maintain a secure
environment.

An Issuer that personalizes Visa Products on behalf of other Issuers must ensure that it complies with
the requirements specified in:

• Global Physical Security Validation Requirements for Card Vendors
• Global Logical Security Validation Requirements for Card Personalization Vendors
• Applicable regional Issuer personalization policy, available from Visa




18 October 2011                                    VISA PUBLIC                                       197
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 235 of 1319
                                                   PageID #: 3428
                                    Visa International Operating Regulations



If participating in Instant Card Personalization Issuance, the Issuer must ensure that the Card
personalization process complies with the Visa Global Instant Card Personalization Issuance Security
Standards.

The Issuer may complete an annual "Instant Card Personalization Issuance Self-Audit
Questionnaire," as specified in the Visa Global Instant Card Personalization Issuance Security
Standards, for each Instant Card Personalization Issuance location and retain the questionnaire for
auditing purposes.

For each Third Party Agent performing Instant Card Personalization Issuance, the Issuer must:

• Register the Third Party Agent, as specified in "General Agent Requirements"
• Validate the Third Party Agent's compliance with the Visa Global Instant Card Personalization
  Issuance Security Standards and complete an annual "Instant Card Personalization Issuance Self-
  Audit Questionnaire" for each location
• Comply with Third Party Agent program requirements, as specified in "General Agent
  Requirements"

Visa may audit the Third Party Agent's or Issuer's processes and controls to validate that the Third
Party Agent performing Instant Card Personalization Issuance complies with the Visa Global Instant
Card Personalization Issuance Security Standards.

ID#: 050411-010100-0025518



Liability for Misencoded Visa or Visa Electron Cards

Visa assigns liability for payment of Transaction Receipts resulting from the use of a Misencoded Visa
Card or Visa Electron Card:

• To the Acquirer that received the Transaction Receipt, if the Misencoded Visa Card bears a BIN
  that was not assigned to a Member. The Acquirer is liable until:
  – The Misencoded Visa Card or Visa Electron Card is recovered
  – Visa identifies the Issuer that ordered its manufacture
• To the Issuer to which the BIN is assigned, if an Acquirer receives a Misencoded Visa Card or Visa
  Electron Card bearing a valid BIN but an invalid Account Number. The Issuer is liable:
  – If the Acquirer presents the Transaction Receipt within 180 calendar days of the Transaction
    Date
  – Until the Issuer that ordered the manufacture of the Visa Card or Visa Electron Card is identified

ID#: 010410-010410-0001813



Liability for Misembossed or Misencoded Visa Cards - U.S. Region

In the U.S. Region, Visa assigns liability for payment of Transaction Receipts resulting from the use of
Misembossed or Misencoded Visa Cards based on the following priorities in the order shown:



198                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 236 of 1319
                                               PageID #: 3429
                                    Visa International Operating Regulations


• Member or foreign licensee that appears on the Misembossed or Misencoded Card as its Issuer, if
  the Card has been recovered
• Member or foreign licensee whose BIN appears on the Transaction Receipt, if the Misembossed or
  Misencoded Card has not been recovered or if the name of the Member or foreign licensee does
  not appear on the Card
• Member or foreign licensee that first received the Transaction Receipt. If the Misembossed or
  Misencoded Card is recovered within 12 months of the Transaction Date, the Member or licensee
  may transfer liability for the Transaction Receipt to the Member or foreign licensee appearing on
  the Misembossed or Misencoded Card as its Issuer.

ID#: 010410-010410-0001817




Issuer Requirements - General

Exchange Rates


International Transaction or Currency Conversion Fee Disclosure

An Issuer must provide a complete written disclosure of any fees that may be charged to a
Cardholder for an International Transaction or when currency conversion occurs.

ID#: 010410-010410-0000387



Issuer Disclosure of Exchange Rate - AP Region

An AP Issuer must disclose to each of its Cardholders in writing that the exchange rate between
the Transaction Currency and the Billing Currency used for processing International Transactions is
either:

• A rate selected by Visa from the range of rates available in wholesale currency markets for the
  applicable Processing Date, which rate may vary from the rate Visa receives
• The government-mandated rate in effect for the applicable Processing Date

in each instance, plus or minus any adjustment that the Issuer determines.

ID#: 010410-010410-0004088



Cardholder Notification of Fees and Charges - CEMEA Region

A CEMEA Issuer of Visa Cards, Proprietary Cards bearing the Plus Symbol, and Cards bearing the
Visa Brand Mark with the Electron Identifier must notify its Cardholder in writing of the following:

• That the exchange rate between the Transaction Currency and the Billing Currency used for
  processing International Transactions is either:



18 October 2011                                    VISA PUBLIC                                      199
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 237 of 1319
                                                   PageID #: 3430
                                    Visa International Operating Regulations


  – A wholesale market rate
  – The government-mandated rate
• Additional fees and charges (if any) assessed by the Issuer through the addition of a percentage
  increase to the Basic Currency Conversion Rate or any other fees for currency conversion
• Specific fees and charges to be assessed to the Cardholder, where appropriate, including, but not
  limited to:
  – Annual fee
  – Interest rate(s), if applicable
  – ATM Cash Disbursement fee
  – Manual Cash Disbursement fee
  – PIN Replacement charge
  – Fee for additional statement copies
  – Late payment fee
• Date on which the Cardholder will incur a late payment fee if the Issuer does not receive payment
  for outstanding Transaction amounts appearing on the Cardholder billing statement

A CEMEA Issuer may choose the method by which it notifies the Cardholder in writing. This may
include, but is not limited to, one or more of the following:

• Cardholder Agreement
• Cardholder Terms and Conditions
• Any other Agreement between the Cardholder and the Issuer
• Monthly billing statement

ID#: 111011-010410-0008822



Issuer Disclosure of Exchange Rate - U.S. Region

A U.S. Issuer must disclose to each of its Cardholders in writing that the exchange rate between
the Transaction Currency and the Billing Currency used for processing International Transactions is
either:

• A rate selected by Visa from the range of rates available in wholesale currency markets for the
  applicable Central Processing Date, which rate may vary from the rate Visa itself receives
• The government-mandated rate in effect for the applicable Central Processing Date

in each instance, plus or minus any adjustment determined by the Issuer.

ID#: 010410-010410-0000389




200                                                VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 238 of 1319
                                               PageID #: 3431
                                    Visa International Operating Regulations




Cardholder Liability


Limitation of Cardholder Liability - AP Region

An AP consumer Card Issuer must limit a Cardholder's liability to zero upon notification of all
Cardholder-disputed, unauthorized Visa Transactions except ATM Cash Disbursements.

ID#: 010410-010410-0003925



Limitation of Cardholder Liability - Canada Region

A Canada Issuer must hold harmless a Cardholder from any liability for Transactions which the
Cardholder establishes, to the satisfaction of the Issuer, are not the responsibility of the Cardholder in
accordance with the terms of the Issuer's Cardholder agreement and of any related documentation.

ID#: 010410-010410-0000394



Limitation of Cardholder Liability for Unauthorized Transactions - Canada Region

A Canada Issuer must not impose a minimum Cardholder liability amount with regard to unauthorized
Transactions. Unauthorized Transactions may be defined in the Issuer's Cardholder agreement and
in any related documentation.

ID#: 010410-010410-0000395



Applicability of Liability-Related Operating Regulations - Canada Region

In the Canada Region, "Limitation of Cardholder Liability - Canada Region" and "Limitation of
Cardholder Liability for Unauthorized Transactions - Canada Region" only apply to consumer and
Business Cardholder Transactions and do not apply to Visa Corporate Card and Visa Purchasing
Card Transactions.

ID#: 010410-010410-0000396



Advertising for the Zero Liability Program - Canada Region

Any promotional, advertising, or marketing language used for the Zero Liability Program in the
Canada Region must contain messaging, in the body of the promotional, advertising, or marketing
language and not as a footnoted disclaimer, to the effect that Cardholders are responsible for
ensuring that they protect their PIN.

ID#: 010410-010410-0000397




18 October 2011                                    VISA PUBLIC                                        201
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 239 of 1319
                                                   PageID #: 3432
                                    Visa International Operating Regulations




Limitation of Cardholder Liability - U.S. Region

For Visa Consumer Cards and Visa Business Cards issued in the U.S. Region, upon receipt of
notification from its Cardholder of unauthorized Visa Transactions, a U.S. Issuer must limit the
Cardholder's liability for those Transactions to zero. This requirement is not applicable for ATM Cash
Disbursements or Visa Corporate Card or Visa Purchasing Card Transactions.

ID#: 010410-010410-0008434



Increase of Cardholder Liability - U.S. Region

A U.S. Issuer may increase the limit of the Cardholder's liability for unauthorized Visa Transactions
only if the Issuer reasonably determines, based on substantial evidence, that the Cardholder was
grossly negligent or fraudulent in the handling of the account or the Card.

ID#: 010410-010410-0008171



Notification of Unauthorized Visa Business Card Transactions - U.S. Region

A U.S. Issuer of Visa Business Cards may require the notification of unauthorized Visa Transactions
to be received within 60 calendar days of the mailing date of the first statement showing unauthorized
Visa Transactions.

ID#: 010410-010410-0000404



Unauthorized Visa Business Card Transaction Exclusions - U.S. Region

A U.S. Issuer of Visa Business Cards may define an unauthorized Visa Transaction to exclude any
Transaction allegedly conducted by:

• A business co-owner
• The Cardholder or person authorized by the Cardholder
• Any other person with an interest in or authority to transact business on the account

ID#: 010410-010410-0000406



Provisional Credit


Provisional Credit - AP Region

An AP Issuer must provide provisional credit to a Cardholder's account within 5 business days of
such notification.




202                                                VISA PUBLIC                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 240 of 1319
                                               PageID #: 3433
                                    Visa International Operating Regulations



The AP Issuer may require written confirmation or other documentation from the Cardholder before
providing provisional credit as per the terms and conditions of the Cardholder agreement.

The AP Issuer may:

• Withhold providing provisional credit if the Issuer determines that specific investigations are
  required, including those for specific transactions and Merchant types, if the prior account history
  is unsatisfactory, or if the nature of transactions justifies the delay in crediting the Cardholder's
  account
• Increase the amount of the Cardholder's liability for unauthorized Visa transactions if the Issuer
  determines, based on available evidence (provided by the Cardholder or otherwise), that the
  Cardholder was grossly negligent or fraudulent in the handling of the account or the Card (this
  includes protecting the Card, account, or PIN and reporting the loss or unauthorized transactions)

ID#: 010410-010410-0008700



Provisional Credit - Canada Region

A Visa Debit Card Issuer in the Canada Region must provide provisional credit to any Visa Debit
Cardholder's account within 2 business days of the notification of a dispute or unauthorized
Transactions.

ID#: 050411-200209-0008069



Withholding of Provisional Credit - Canada Region

A Visa Debit Card Issuer in the Canada Region may withhold a provisional credit if any of the
following apply:

• The Issuer determines that specific investigations are required, including those for specific
  Transactions and Merchants
• The prior account history is unsatisfactory
• The nature of the Transaction justifies the delay in crediting the Cardholder's account

ID#: 050411-200209-0008070



Cardholder Applications


Card Application Processing Fee - U.S. Region

A U.S. Issuer or Agent that charges an application processing fee for a Visa Card must:

• Disclose that the fee is for processing the application and is in addition to Cardholder fees or
  charges payable if the Visa Card is issued




18 October 2011                                    VISA PUBLIC                                        203
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 241 of 1319
                                                   PageID #: 3434
                                    Visa International Operating Regulations


• Provide the disclosure in a way that allows the Cardholder to avoid the fee if they do not want to
  pursue the application

ID#: 010410-010410-0000412



Card Application Processing Fee Restrictions - U.S. Region

A U.S. Issuer or its Agent must not:

• Charge a fee for providing an application to a potential Cardholder
• Use a "900" area code, "976" telephone exchange, or any similar telephone number to charge a
  fee for inquiries about obtaining a Visa Card

ID#: 010410-010410-0000413



Required Card Issuance - U.S. Region

A U.S. Issuer must issue a Visa Card to any prospective Cardholder who has:

• Requested the Card on the application
• Met all application and Card issuance requirements

ID#: 010410-010410-0000414



Confidentiality of Cardholder Information


Cardholder Information Privacy Requirements - Canada Region

A Canada Issuer must certify to Visa that it has met the applicable requirements of privacy legislation
for the collection, use, and disclosure of personal Cardholder information among Visa and its
employees and agents, for the purpose of processing, authorizing, and authenticating a Cardholder's
Transactions and providing customer assistance services to a Cardholder.

ID#: 010410-010410-0001986



Contest and Promotion Privacy Requirements - Canada Region

A Canada Issuer will have met the applicable requirements of privacy legislation where the Issuer's
Cardholders participate in contests and promotions administered by Visa on behalf of the Issuer.

ID#: 010410-010410-0001987




204                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 242 of 1319
                                               PageID #: 3435
                                    Visa International Operating Regulations




Privacy Legislation - Acquirer Requirements - Canada Region

A Canada Acquirer must certify to Visa that it has met the applicable requirements of privacy
legislation for the collection, use, and disclosure of personal information among Visa and its
employees and agents, for the purpose of a Merchant's participation in the Visa Program.

ID#: 010410-010410-0005395



Cardholder Data Provision for Prize Awards - U.S. Region

A U.S. Issuer must provide Cardholder data to Visa for the purposes of awarding prizes in conjunction
with promotional activities conducted by Visa, unless prohibited by applicable law.

A U.S. Issuer that is prohibited by applicable law from disclosing Cardholder data must:

• Assist Visa as follows:
  – Notify its Cardholder that they have been awarded a prize
  – Obtain the necessary documentation from the Cardholder
• Comply with all requirements specified by Visa
• Ensure that any prize is awarded directly to the Cardholder

ID#: 010410-010410-0008704



Disclosure of Visa Transaction Information - U.S. Region

A U.S. Issuer may only disclose Visa Transaction Information to third parties approved by Visa, for
the sole purpose of:

• Supporting a loyalty program
• Providing fraud control services

This requirement does not apply to Commercial Visa Product Issuers in the U.S. Region.

ID#: 010410-010410-0003555



Data Retention and Transmission


Recurring Transaction Data

An Issuer must include the data transmitted in the Clearing Record on the Cardholder billing
statement that:

• Identifies a Recurring Services Merchant
• Enables the Cardholder to contact the Merchant

18 October 2011                                    VISA PUBLIC                                        205
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 243 of 1319
                                                   PageID #: 3436
                                    Visa International Operating Regulations



This data may include, but is not limited to:

• Merchant name
• Merchant city
• Merchant state/province
• Merchant country
• Merchant telephone number

ID#: 010410-010410-0004080



Enriched Transaction Data - U.S. Region

A U.S. Issuer that receives enriched data with any of the following Transactions, as specified in
"VisaNet Clearing Message Content Standards" (Exhibit NN), must comply with this section:

• CPS/Hotel and Car Rental Card Present
• CPS/Hotel and Car Rental Card Not Present
• CPS/e-Commerce Preferred Hotel and Car Rental
• A Transaction that includes Airline itinerary data

For the above Transactions, an Issuer must either:

• Print the data on the Cardholder statement
• Retain the data for a minimum of 200 calendar days from the Transaction Date

ID#: 010410-010410-0003554



Disputed Transactions - Canada Region


Issuer Contact Disclosure - Canada Region

A Canada Issuer must disclose in its consumer Cardholder agreements that Cardholders may
contact the Issuer to discuss disputes the Cardholder may have with respect to a Transaction on their
Cardholder statement.

ID#: 010410-010410-0004106



Disputed Transactions - Issuer Requirements - Canada Region

Where a Canada Issuer reasonably determines the dispute is:

• Legitimate




206                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 244 of 1319
                                               PageID #: 3437
                                    Visa International Operating Regulations


• Properly documented by the Cardholder as required in accordance with the Visa International
  Operating Regulations and/or the Canada Regional Operating Regulations
• Aligned with the Chargeback rights as defined in the Visa International Operating Regulations
  and/or the Canada Regional Operating Regulations (including without limitation the time limit for
  initiating the Chargeback)

the Issuer must provisionally credit the Cardholder's account and process the Chargeback, provided
that:

• The dispute relates to an Electronic Commerce or Mail/Phone Order Transaction
• The Cardholder has attempted to resolve the dispute with the Merchant and the Merchant has
  failed to refund the Cardholder within 30 days of their request for a refund
• There is no other person, entity, board, official, fund, or other source that will provide Cardholder
  with a refund for such Transaction

ID#: 010410-010410-0004107



Cardholder Credit Requirements - Canada Region

Where all of the conditions stipulated in "Disputed Transactions - Issuer Requirements - Canada
Region" are met and a Canada Issuer chooses not to process a Chargeback, the credit to the
Cardholder's account must be final.

ID#: 010410-010410-0004108



Reversal of Disputed Transaction Credit - Canada Region

A Canada Issuer may reverse a provisional credit only if it properly initiated a Chargeback that is
determined by Visa to be invalid, except where the Chargeback is determined by Visa to be valid
on its merits and properly documented, but declined by reason of the Issuer's failure to meet a Visa
requirement.

ID#: 010410-010410-0004109



Cardholder Notifications


Notification of Card Use Restrictions

An Issuer must include language in its Cardholder agreement that a Card must not be used for any
unlawful purpose, including the purchase of goods or services prohibited by local law.

ID#: 010410-010410-0000386




18 October 2011                                    VISA PUBLIC                                            207
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 245 of 1319
                                                   PageID #: 3438
                                    Visa International Operating Regulations




Chip Card Issuer Identification

A single Issuer must be designated and identified to a Cardholder as the Issuer of a Chip Card.

ID#: 010410-010410-0004022



Disclosure and Disclaimer Information for Visa Gold or Visa Business/Corporate Card
Issuer - AP Region

In the AP Region, Visa may require a Visa Gold or Business/Corporate Card Issuer to provide
disclosure and disclaimer information, as specified in its implementation materials, and any
subsequent communications to its Cardholders as required under applicable law.

ID#: 010410-010410-0000824



Disclosure of Responsibility for Charges - AP Region

While an AP Member is free to represent to its Cardholder or Merchant that Visa imposes a charge
on the Member, the Member must not represent to its Cardholder or its Merchant that Visa imposes
any charge on the Cardholder or the Merchant. Members are responsible for making whatever
disclosures applicable law requires with respect to their charges to their Cardholders or to their
Merchants.

ID#: 010410-010410-0004089



Merchant Portfolio Purchase Information Requirements - U.S. Region

When a U.S. Issuer replaces a Merchant's credit card with a Card, due to a portfolio purchase, the
Issuer must inform the Cardholder of the name of that Merchant whose card is being replaced as well
as the Issuer's name and city.

ID#: 010410-010410-0000410



Cardholder Signature Requirements - U.S. Region

Effective through 14 February 2011, when it issues or reissues a Card, a U.S. Issuer must:

• Advise the Cardholder to immediately sign the signature panel on the back of the Card
• Indicate that the Card must be signed in order to be valid

ID#: 050411-010410-0000415



Disclosure of Provision of Cardholder Data - U.S. Region

A U.S. Issuer must:


208                                                VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 246 of 1319
                                               PageID #: 3439
                                    Visa International Operating Regulations


• Disclose in its Cardholder agreement that it may provide Cardholder personal data to Visa, its
  Members, or their respective contractors for the purpose of providing Emergency Cash and
  Emergency Card Replacement Services
• Require that the Cardholder consent to the release of this information

ID#: 010410-010410-0003870



Telephone Number for Cardholder Assistance - U.S. Region

A U.S. Issuer must provide a toll-free telephone number where a Cardholder of one of the following
products may obtain assistance 24 hours a day, 7 days a week while traveling:

• Visa Signature
• Visa Signature Preferred
• Commercial Visa Products

ID#: 010410-010410-0000417



Communication of Cardholder Assistance Telephone Number - U.S. Region

A U.S. Issuer must communicate one of the following toll-free telephone numbers to each Cardholder
at least once a year:

• Visa Customer Care Services telephone or fax number
• Issuer's own or its agent's assistance center telephone or fax number

The toll-free telephone number for U.S. Cardholder assistance must be printed on the back of the
Card, on a wallet card, or on other material furnished to the Cardholder.

ID#: 050411-010410-0008723



Disclosure of Features and Services - U.S. Region

A U.S. Issuer must disclose to its Cardholders, in a timely manner, upgraded features and services
when a Cardholder converts from one Card program to another (e.g., Visa Traditional to Visa
Signature). The Issuer is responsible for any liability that arises from the timing of the disclosure.

ID#: 010410-010410-0000425



Disclosure of Non-Visa PIN Debit Transaction Information - U.S. Region

A U.S. Issuer that issues a Visa Check Card or Visa Debit Card that also may be used for non-Visa
PIN debit transactions but does not bear any PIN debit program Marks must clearly communicate to
its Cardholders how such Cards may be used to initiate non-Visa PIN debit transactions.

ID#: 010410-010410-0007424




18 October 2011                                    VISA PUBLIC                                           209
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 247 of 1319
                                                   PageID #: 3440
                                    Visa International Operating Regulations




Insurance Program - U.S. Region


Insurance Program Issuer Requirements - U.S. Region

In the U.S. Region, a Visa Product Issuer that offers any Visa insurance program must:

• Provide disclosure and disclaimer information to Cardholders as specified in implementation
  materials and subsequent communications available from Visa, as follows:
  – Send a paper copy of the insurance certificate or other disclosure of terms, conditions, and
    exclusions to each Visa Cardholder upon initial issuance of a Card, and for existing Cardholders
    30 days prior to any material change in benefit coverage, conditions, or exclusions (except as
    specified for discontinuance of coverage), or if new insurance benefits are added, unless more
    frequent disclosure is required by applicable law
  – If an Issuer discontinues one or more insurance benefits, send each Cardholder a paper-based
    termination notice via statement insert, statement message, or direct mail communication
    no later than 60 days prior to the effective date of the change. In addition, prior to sending a
    termination notice to Cardholders, the Issuer must obtain written approval from Visa for the
    proposed content of such notice.
  – If an Issuer adds insurance benefits, fully disclose the new insurance benefit information,
    administrator's phone number, and other pertinent information to each Visa Cardholder
  – If an Issuer discontinues insurance benefits provided by Visa and elects to provide such benefits
    through an alternate provider, it must fully disclose the new insurance benefit information,
    administrator's phone number, and other pertinent information to each Visa Cardholder
  – Inform Cardholders that in order to receive Insurance benefits, their beneficiaries must prove that
    the Cardholder purchased the product or service with a Visa Card
• Maintain accurate records documenting the fact that the Issuer sent a copy of the insurance
  certificate or other disclosure of terms, conditions, and exclusions to each enrolled Visa Cardholder

ID#: 010410-010410-0000420



Insurance Claim Payment - U.S. Region

A U.S. Issuer must pay for any valid insurance claim if either:

• The Issuer did not maintain coverage
• The insurance carrier would have been responsible but failed to pay a valid claim due to
  insolvency, bankruptcy, or other financial inability to meet its policy obligations

ID#: 010410-010410-0000423




210                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 248 of 1319
                                               PageID #: 3441
                                    Visa International Operating Regulations




Issuer Responsibility for Insurance Claims - U.S. Region

A U.S. Issuer must defend and pay for any insurance claim if the Cardholder files a claim based on
an insurance certificate or other disclosure of terms, conditions, and exclusions and either:

• The Issuer failed to send, or cannot provide documentation of fulfilling its obligation to send,
  disclosure and disclaimer information to the Visa Cardholder advising the Cardholder that such
  coverage was no longer available
• The Issuer misrepresented the actual terms of the coverage underwritten, misstated the type or
  scope of coverage offered by the Issuer, or altered the insurance coverage description without Visa
  written approval, and such misrepresentation, misstatement, or alteration results in an obligation or
  claim to pay a claim that was not otherwise covered

ID#: 010410-010410-0000424



Other Issuer Requirements


Issuer Credit Transaction Posting

Effective 16 October 2010, an Issuer must post a Credit Transaction Receipt to a Cardholder's
account within 5 calendar days from the Settlement date.

ID#: 081010-161010-0025743



Issuer Credit Transaction Posting - U.S. Region

Effective 16 October 2010, except for U.S. Visa Debit Card Issuers, a U.S. Issuer must post a Credit
Transaction Receipt to a Cardholder's account within 3 business days from the Settlement date.

ID#: 081010-161010-0025744



Real-Time Clearing - U.S. Region

In the U.S. Region, for a Real-Time Clearing Transaction, an Issuer must release any hold on
available funds in its Cardholder's account as a result of an approved Authorization request:

• Upon receipt of the Completion Message
• Upon expiration of the time limit for completion specified in the preauthorization request if a
  Completion Message has not been received by that time

ID#: 010410-010410-0006428




18 October 2011                                    VISA PUBLIC                                       211
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 249 of 1319
                                                   PageID #: 3442
                                    Visa International Operating Regulations




Cardholder Payments - Canada Region

Subject to Cardholder consent to any charge imposed by a Canada Member, the Member must
accept from the Cardholder a payment in Canadian dollars for another Canada Member's Canadian
dollar-denominated Visa billing. Payment must be promptly remitted to that Member.

ID#: 010410-010410-0007459




Magnetic-Stripe Requirements

General Magnetic-Stripe Requirements


Magnetic-Stripe Material - U.S. Region

For Cards issued in the U.S. Region, Magnetic-Stripe material on Cards must consist of high
coercivity magnetic tape. A U.S. Issuer must ensure that Visa-defined values are encoded on the
Magnetic Stripe of a Visa Mini Card as specified in the Payment Technology Standards Manual.

ID#: 081010-010410-0004575



Magnetic-Stripe Encoding


Magnetic-Stripe Encoding Requirements

The Magnetic Stripe on a Visa Card or Visa Electron Card must be encoded on both track 1 and 2, as
specified in the Payment Technology Standards Manual.

A variance to this requirement applies in the LAC Region for Magnetic Stripe personalization of
instant issue embossed Visa Cards.

ID#: 010410-010410-0003602



Service Codes on Magnetic Stripe

An Issuer may encode its Card acceptance policies in the Service Code field of the Magnetic Stripe
using all Service Codes valid for the applicable Card product.

Service Code values must be encoded as specified in the Payment Technology Standards Manual.

ID#: 010410-010210-0003603




212                                                VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 250 of 1319
                                               PageID #: 3443
                                    Visa International Operating Regulations




Chip Card Requirements

General Chip Card Requirements


Chip Card Compliance

All new Visa or Visa Electron Chip programs, initiated on or after 1 January 2001, must:

• Be compliant with the:
  – EMV specifications
  – Visa Integrated Circuit Card Specification (VIS)
• Effective 13 January 2011, successfully complete the Visa Chip Security Program - Security
  Testing Process

Non-compliant Cards issued through 31 December 1999 may be non-compliant until they expire.

All Visa Smart Payment programs must be EMV- and VIS-Compliant.

ID#: 111011-010101-0008182



Chip Application Approval

Visa may review and approve all applications contained in a Chip used to facilitate a Visa Smart
Payment service.

ID#: 010410-010410-0004023



Chip Parameter Values and Processing Options

An Issuer is responsible and liable for the parameter values and processing options contained in the
Visa Smart Payment Application.

ID#: 010410-010410-0004038



Chip Card Authentication

All Chip Card Issuers must perform, and be capable of acting on the results of, validation of EMV-
Online Card Authentication Cryptograms for all Chip-initiated Authorization messages processed
through VisaNet. Online Card Authentication support may be provided by the Issuer directly, or
through either:

• VisaNet



18 October 2011                                    VISA PUBLIC                                       213
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      Case: 4:13-cv-02226-JAR                    Doc. #: 85-5 Filed: 02/12/15                       Page: 251 of 1319
                                                    PageID #: 3444
                                    Visa International Operating Regulations


• Third party/VisaNet Processor

ID#: 111011-170410-0007163



Chip Technology Use Notification

An Issuer must notify Visa of its intention to use Chip technology on Cards at least 60 calendar days
before issuance.

ID#: 010410-010410-0003590



Chip Financial Application Approval

If a Chip is designed to support a purchase, credit, Cash Disbursement, or other directly related
financial application, the Issuer must obtain prior approval for issuance from Visa.

ID#: 010410-010410-0003591



Cardholder Name on Chip (Updated)

The Cardholder name in a Chip must be the same as the name displayed on the Card and encoded
                      [20]
on the Magnetic Stripe .

ID#: 111011-270411-0003595



Information in Chip Magnetic-Stripe Image (Updated)

Information in a Chip Magnetic-Stripe Image must be the same as that encoded on the Magnetic
         [21]
Stripe        . However, at the Issuer's option, the Cardholder Verification Value contained in the
Magnetic Stripe Image (track 2 equivalent data) on the Chip (Chip Card Verification Value-iCVV) may
differ from the Card Verification Value encoded on the Card's Magnetic Stripe.

ID#: 111011-270411-0003596



Non-Visa Services Facilitated by Chip Cards

A Chip Card may facilitate access to non-Visa services provided that the:

• Services do not compromise the security or functional integrity of the Visa Smart Payment
  Applications
• Additions of these services are managed and controlled by the Issuer or its sponsored member



20    Effective 27 April 2011, a variance to this requirement applies in the AP Region for Issuers of Contactless Cards in
      Hong Kong.
21    Effective 27 April 2011, a variance to this requirement applies in the AP Region for Issuers of Contactless Cards in Hong
      Kong.

214                                                  VISA PUBLIC                                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 252 of 1319
                                               PageID #: 3445
                                    Visa International Operating Regulations


• Issuer indemnifies Visa from any and all Claims or losses resulting from non-Visa services
  facilitated by the Chip Card

ID#: 010410-010410-0003598



Magnetic-Stripe Information on Chip Cards

Magnetic-Stripe track 2 information and the Cardholder name from track 1 must be contained in a
Chip (other track 1 discretionary data is optional).

ID#: 010410-010410-0003601



Chip Issuer Requirements

An Issuer of Cards bearing a Chip must:

• Comply with the Visa Integrated Circuit Card Specification (VIS), available from Visa
• Ensure that any Chip used to facilitate Visa payment services complies with Visa Chip security and
  service-level standards
• Ensure that its Chip Cards meet the EMV Integrated Circuit Card Specifications for Payment
  Systems

ID#: 220411-010410-0003611



Placement of Chip on Card

A Chip must:

• Be on the front of the Card
• Comply with the International Standards Organization Standard 7816-2, Reference Number ISO/
  IEC 7816-2:1988 (E) - "Identification on Cards-Integrated Circuit(s) Cards with Contacts-Part 2:
  Dimensions and Locations of the Contacts"

ID#: 010410-010410-0004586



Chip Interoperability Compliance Program

The Chip Interoperability Compliance Program provides the framework for a Member or Member's
agent identified with high-severity Chip interoperability problems to establish an agreed-upon
resolution plan and effect a timely resolution. Visa requires the implementation of the Chip
Interoperability Compliance Program when Visa determines that progress toward an agreed-upon
resolution is no longer acceptable.

ID#: 010410-010410-0001291




18 October 2011                                    VISA PUBLIC                                     215
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15             Page: 253 of 1319
                                                   PageID #: 3446
                                    Visa International Operating Regulations




Chip Interoperability Compliance Program Penalties

A Member is subject to the penalties specified in the table below if Visa determines that the Member
or Member's agent has violated the Chip Interoperability Compliance Program by failing to either:

• Establish and commit to an agreed-upon Chip interoperability resolution plan
• Make satisfactory progress toward an agreed-upon Chip interoperability resolution plan

  Member Penalties for Non-Compliance with the Chip Interoperability Compliance Program

                   Violation                                Month                     Visa Action or Fine

      Initial identification and                           Month 1             Member receives Notification
      confirmation of a violation                                              that Visa will take action if the
                                                                               situation is not addressed to the
                                                                               satisfaction of Visa within 30
                                                                               calendar days

      Unaddressed violation                                Month 2             Visa discontinues any Member
                                                                               incentives associated with
                                                                               deployment of products that have
                                                                               been identified as contributors
                                                                               to interoperability problems.
                                                                               Visa may also suspend other
                                                                               incentives. Visa issues a second
                                                                               Notification that fines may apply
                                                                               if the situation is not corrected
                                                                               to the satisfaction of Visa within
                                                                               60 calendar days of the second
                                                                               Notification.

      Unaddressed violation                              Months 4-5            Member is assessed US $25,000
                                                                               per month

      Unaddressed violation                    Month 6 and subsequent months   Member is assessed US $50,000
                                                                               per month

ID#: 111011-010410-0001292



Chip Card Issuing Requirements in Australia - AP Region

As specified in the AP Regional Operating Regulations, all Issuers in Australia must commence
migration of 80% of all newly-issued Visa Cards to be EMV and VIS-Compliant by 1 January 2010.

In addition to the “Chip Card Issuing Requirements” specified in the AP Regional Operating
Regulations, all Issuers in Australia must migrate their Visa credit, debit, and Reloadable Cards to
EMV and VIS-Compliant Chip Cards in accordance with the following timeframes:

• Effective 1 January 2010, all newly-issued Visa credit Cards must be EMV and VIS-Compliant
• Effective 1 April 2013, all Visa credit Cards must be EMV and VIS-Compliant




216                                                VISA PUBLIC                                   18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 254 of 1319
                                               PageID #: 3447
                                    Visa International Operating Regulations


• Effective 1 January 2011, all newly-issued Visa Debit and Reloadable Prepaid Cards must be
  EMV and VIS-Compliant
• Effective 1 April 2013, all Visa Debit and Reloadable Prepaid Cards must be EMV and VIS-
  Compliant

ID#: 151011-060111-0026145



Chip Card Issuing Requirements in New Zealand - AP Region

Effective 1 October 2009, as specified in the AP Regional Operating Regulations, all Issuers in
New Zealand must commence migration of 80% of all newly-issued Visa Cards to be EMV and VIS-
Compliant.

• Effective 1 April 2010, all newly-issued Visa credit Cards must be EMV and VIS-Compliant
• Effective 1 April 2013, all Visa credit Cards must be EMV and VIS-Compliant
• Effective 1 April 2012, all newly-issued Visa Debit and Reloadable Cards must be EMV and VIS-
  Compliant
• Effective 1 April 2014, all Visa Debit and Reloadable Cards must be EMV and VIS-Compliant

ID#: 151011-060111-0026140



Service Requirements for Chip Cardholders - Canada Region

A Canada Issuer of Chip Cards bearing the Visa Flag Symbol, the Visa Brand Mark, the Visa Brand
Mark with Electron Identifier, or the Visa Electron Symbol and the word "smart" must make available
to Cardholders:

• EMV Compliant (Level 1) PC-compatible Chip Card readers/writers
• Authenticated payment software
• Secure online access to Chip Card account statements
• One or more value-added application(s) (e.g., loyalty, secure access, reservation/ticketing) on the
  Chip

ID#: 010410-010410-0004607



Chip Card Branding Requirements - Canada Region

A Canada Issuer of Chip Cards bearing the Visa Flag Symbol, the Visa Electron Symbol, the Visa
Brand Mark, the Visa Brand Mark with Electron Identifier, or the Visa Electron Symbol and the
word "smart" must comply with the Visa International Operating Regulations and Canada Regional
Operating Regulations when branding all Chip Card readers/writers.

ID#: 010410-010410-0004613




18 October 2011                                    VISA PUBLIC                                     217
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 255 of 1319
                                                   PageID #: 3448
                                    Visa International Operating Regulations




Chip Card Requirements - Canada Region

Canada Chip Cards bearing the Visa Flag Symbol, the Visa Brand Mark, the Visa Brand Mark with
Electron Identifier, or the Visa Electron Symbol and the word "smart" must:

• Comply with the Visa International Operating Regulations, Visa Product Brand Standards, Canada
  Regional Operating Regulations, and Visa Smart Payment International Operating Principles Guide
• Be Global Platform Cards approved by Visa
• Have a Visa-approved EMV-Compliant Payment Application active on the Chip
• Be capable of participating in Visa's 3-D Secure global authentication program

ID#: 010410-010410-0004614



Liability in Card-Present Environment - Canada Region

Effective 31 March 2011, a Canada Issuer will be liable for a Transaction in a Card-Present
Environment, whether or not the Transaction is Chip-initiated, when the:

• Transaction takes place at a Compliant Chip Card Reading Device with a Compliant PIN entry
  device within Canada
• Canada Acquirer has complied with all Card acceptance requirements in the Visa International
  Operating Regulations and the Canada Regional Operating Regulations

ID#: 111011-011010-0004962



Chip Card Technology Requirements


Smart Payment Application Options

An Issuer must define the Payment Application options for its Visa Smart Payment program.

ID#: 010410-010410-0004024



Visa Public Keys

An Issuer must ensure that the Visa Public Keys used for the Visa or Visa Electron Payment
Application are used solely for that purpose.

ID#: 010410-010410-0004025




218                                                VISA PUBLIC                       18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 256 of 1319
                                               PageID #: 3449
                                    Visa International Operating Regulations




Chip Card Issuer Terminal Risk Management

A Chip Card Issuer must not inhibit Terminal Risk Management (e.g., by programming the Chip to
bypass terminal risk management).

ID#: 010410-010410-0004026



iCVV on Chip Cards

All newly issued EMV Chip Cards and existing EMV Chip Cards on renewal must use Chip Card
Verification Value-iCVV as part of the Magnetic-Stripe Image, as defined in the Payment Technology
Standards Manual.

ID#: 081010-010109-0004027



Service Codes on Chip Cards

An Issuer must use a Service Code on all EMV- and VIS-Compliant Chip Cards bearing the Visa
Brand Mark or Visa Brand Mark with the Electron Identifier, as specified in the:

• EMV Integrated Circuit Card Specifications for Payment Systems
• Visa Integrated Circuit Card Specification (VIS)

ID#: 111011-010210-0003593



Chip Card Payment Application

The Payment Application encoded on the Magnetic Stripe of a Chip Card must also be facilitated by
the Chip.

ID#: 081010-010410-0003594



Chip Card Application Effective Dates

If an application effective date on a Chip Card is provided within the Chip, it must reflect the same
month as the "VALID FROM" date displayed on the Card, if such a date appears on the Card.

ID#: 010410-010410-0003599



Visa Chip Card Payment Application

A Card containing a Chip bearing a Visa-Owned Mark must be capable of facilitating the Payment
Application associated with that Mark.

ID#: 010410-010410-0003613



18 October 2011                                    VISA PUBLIC                                          219
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 257 of 1319
                                                   PageID #: 3450
                                    Visa International Operating Regulations




Chip Card Script Message Length - Canada Region

A Canada Issuer of a Compliant Chip Card must ensure that the length of any script message sent to
any of its Compliant Chip Cards does not exceed 128 bytes per Transaction.

ID#: 010410-010410-0004631



Chip Card Application Selection Flag - Canada Region

A Canada Issuer may only program an Application Selection Flag (ASF) as follows:

• Where a Compliant Chip Card displays any Visa Brand Name and a competitor Brand, the Issuer
  of that Compliant Chip Card may program an ASF to suppress the ability of the Visa Smart
  Payment Application contained in the Compliant Chip Card to transact at domestic ATMs
• Where a Compliant Chip Card displays any Plus Program Mark, the Issuer of that Compliant Chip
  Card may program an ASF to suppress the ability of the Visa Smart Payment Application contained
  in the Compliant Chip Card to transact at domestic POS and ATM locations

ID#: 111011-010410-0008733



Chip Card Account Access - U.S. Region

A U.S. Issuer of a Chip Card must:

• Allow a Cardholder to select the service and account to be used for a Transaction, as permitted by
  local law, and as specified in the U.S. Regional Operating Regulations
• Designate an Account Number for each account accessed by a Visa Smart Payment Application. In
  addition:
  – The Chip may contain multiple Account Numbers
  – The Visa Payment Application may provide access to more than one account
• Specify an alphanumeric name for each funding account facilitated by the Visa Smart Payment
  Application when the Chip provides access to more than one account, as specified in the Visa
  Integrated Circuit Card Specification (VIS)

ID#: 220411-010410-0004591




220                                                VISA PUBLIC                       18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                    Page: 258 of 1319
                                               PageID #: 3451
                                    Visa International Operating Regulations




Cardholder Verification Method


PIN as Cardholder Verification Method in Australia – Issuer Requirements – AP
Region

In Australia, all newly issued or re-issued Visa Cards must be issued with a PIN as the preferred
                                                                        [22]
Cardholder Verification Method) (CVM) for Chip-initiated Transactions.

Effective 1 April 2013, when PIN bypass is performed for a Chip-initiated Transaction on
an Australian issued PIN-Preferring Chip Card, the Transaction must be sent Online to the Issuer or
the Issuer’s agent . An Issuer must respond with a Decline Response to a domestic PIN Bypass
Transaction.

Issuers must ensure that:

• The appropriate host system changes are completed to be able to decline a Transaction where PIN
  has been bypassed
• The appropriate communication to Cardholders takes place in advance of the above mandate
  coming into effect


ID#: 171011-210611-0026146



PIN as Cardholder Verification Method in New Zealand – Issuer Requirements – AP
Region

In New Zealand, all newly-issued and re-issued Visa Cards must be issued with a PIN as the
                                               [23]
preferred CVM for Chip-Initiated Transactions.

Effective 1 April 2012, when PIN bypass is performed for a Chip-initiated Transaction on a New
Zealand issued PIN-Preferring Chip Card, the Transaction must be sent Online to the Issuer or
the Issuer's agent. An Issuer must respond with a Decline Response to a domestic PIN Bypass
Transaction.

Issuers must ensure that:

• The appropriate host system changes are completed to be able to decline a Transaction where PIN
  has been bypassed
• The appropriate communication to Cardholders takes place in advance of the above mandates
  coming into effect

ID#: 111011-210611-0026141



22   Excludes Cards issued as non-PIN-preferring in order to accommodate specific individual Cardholder needs, as required
     by local law.
23   Excludes Cards issued as non-PIN-preferring in order to accommodate specific individual Cardholder needs, as required
     by local law.

18 October 2011                                    VISA PUBLIC                                                          221
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 259 of 1319
                                                   PageID #: 3452
                                    Visa International Operating Regulations




Cardholder Verification Method List - Canada Region

A Canada Issuer of a Compliant Chip Card must ensure that the Compliant Chip Card contains a
Cardholder Verification Method (CVM) List, which must contain, at minimum, the following methods of
Cardholder verification:

• "Offline PIN at POS"
• "Online PIN at ATM"
• "Signature"
• "No CVM required"

An Issuer of a Compliant Chip Card must ensure that the use of CVM condition codes relating to cash
or Cash-Back do not prevent the completion of Manual Cash Disbursements.

ID#: 010410-010410-0008187



Offline PIN Cardholder Verification Method - Canada Region

Effective 1 October 2011, a Canada Issuer of a Compliant Chip Card must ensure that the
Cardholder Verification Method (CVM), "Offline PIN at POS," is activated and is the preferred CVM
unless either the:

• Compliant Chip Card is issued no more than 6 months before the date of the Compliant Chip Card
  Transaction in question
• Cardholder is subject to a disability or impairment that would prevent them from using a PIN

ID#: 010410-011011-0004963



Cardholder Verification Method List - U.S. Region

In the U.S. Region, if a Cardholder Verification Method List is specified, the Issuer of a Chip Card
containing a Visa Smart Payment Application must:

• Include "signature"
• Include "Online PIN"
• Define "no Cardholder Verification Method required" as the last option
• For a Chip-initiated Manual Cash Disbursement Transaction, define "signature" as a secondary
  Cardholder Verification Method

ID#: 010410-010410-0004590




222                                                VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 260 of 1319
                                               PageID #: 3453
                                    Visa International Operating Regulations




Cardholder Authentication Method


Dynamic Data Authentication in Australia and New Zealand - AP Region

Effective 1 January 2012, in Australia and New Zealand all newly-issued Visa Chip Cards and
existing Visa Chip Cards on renewal must support Dynamic Data Authentication (DDA) or have
online-only capability.

Effective 1 January 2012, in Australia and New Zealand all newly-issued Visa Chip Cards and
existing Visa Chip Cards must not support Static Data Authentication (SDA).

Effective 1 January 2016, in Australia and New Zealand all Visa Chip Cards issued must support
Dynamic Data Authentication (DDA) or have online-only capability.

Effective 1 January 2016, all Visa Chip Cards in Australia and New Zealand must not support Static
Data Authentication (SDA).

ID#: 151011-060111-0026149



Chip Card Online/Offline Data Authentication - Canada Region

In the Canada Region, a Compliant Chip Card must instruct the terminal to go Online if the Offline
Data Authentication fails. If the terminal is unable to go Online, the Transaction must be declined.

ID#: 010410-010410-0004626



Chip Card Support Static Data Authentication - Canada Region

In the Canada Region, all Compliant Chip Cards must at a minimum support Static Data
Authentication.

ID#: 010410-010410-0004627



Cardholder Account Selection


Chip Card Account Access

The Visa or Visa Electron Payment Application on a Chip Card may provide access to more than one
account.

ID#: 010410-010410-0004030




18 October 2011                                    VISA PUBLIC                                         223
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 261 of 1319
                                                   PageID #: 3454
                                    Visa International Operating Regulations




Chip Card Account Requirements

An Issuer of a Chip Card must:

• Not use a Visa Smart Payment Application to directly credit or debit any account other than an
  account that is maintained by that Issuer or another Member under contract with the Issuer. This
  does not prevent the debiting or crediting of funds maintained elsewhere to that account.
• Allow a Cardholder to select the service and account to be used for a Transaction, as permitted by
  local law, and as specified in the Visa International Operating Regulations
• Designate an Account Number for each account accessed by a Visa Smart Payment Application. In
  addition, the Chip may contain multiple Account Numbers.
• Specify an alphanumeric name for each funding account facilitated by the Visa Smart Payment
  Application when the Chip provides access to more than one account, as specified in the Visa
  Integrated Circuit Card Specification (VIS)

ID#: 220411-010410-0004031



Chip Card Account Selection

To assist Cardholder account selection, the Issuer of a Chip Card may establish account priorities
determining the order in which accounts are displayed or reviewed by the Chip-Reading Device. The
first priority account must be the same as the account that is encoded on the Magnetic Stripe, and if
applicable, displayed on the front of the Card.

ID#: 081010-010410-0004032



Chip Card Post-Issuance Updates


Chip Card Post-Issuance Updates

An Issuer may process Post-Issuance Updates to a Chip Card used to facilitate a Visa Smart
Payment Application, as specified in:

• Visa Integrated Circuit Card Specification (VIS)
• Visa International Operating Regulations

ID#: 220411-010410-0004033



Issuer Control of Post-Issuance Updates

Post-Issuance Updates to a Chip Card containing a Visa or Visa Electron Payment Application must
be controlled exclusively by the Issuer.

ID#: 010410-010410-0004034




224                                                VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15         Page: 262 of 1319
                                               PageID #: 3455
                                    Visa International Operating Regulations




Impact of Post-Issuance Updates

Post-Issuance Updates must not adversely impact the Transaction completion time at a Point-of-
Transaction Terminal or an ATM.

ID#: 010410-010410-0004035



Post-Issuance Application Load Conditions

Post-Issuance Application Load of a Visa or Visa Electron Payment Application is not permitted
unless the Card bears the appropriate Visa Brand Mark or Visa Brand Mark with the Electron
Identifier.

ID#: 111011-010410-0004036



Post-Issuance ATM Application Load

Post-Issuance Application Load of a proprietary ATM application that supports Plus requires the
addition of the Plus Symbol at the time of Card reissuance. Card reissuance must occur within 5
years of the Post-Issuance Application Load.

ID#: 010410-010410-0004037



Chip Issuer Liability


Liability for Chip-Initiated Offline-Authorized Transactions

The Issuer is liable for Chip-initiated, offline-authorized Transactions when:

• Visa Smart Payment Application is active
• Terminal Risk Management is performed
• Merchant's Floor Limit is not exceeded

ID#: 010410-010410-0004039



EMV Liability Shift - Issuer Liability for Card-Present Counterfeit Chip Card
Transactions

Counterfeit Card Transactions completed in a Card-Present Environment are the liability of the Issuer
if:

• The Transaction takes place at an EMV-Compliant Chip-Reading Device




18 October 2011                                    VISA PUBLIC                                       225
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15         Page: 263 of 1319
                                                   PageID #: 3456
                                    Visa International Operating Regulations


• The Transaction is Chip-initiated, the Transaction is correctly processed to completion in
  accordance with the EMV Integrated Circuit Card Specifications for Payment Systems and Visa
  Integrated Circuit Card Specification (VIS)

Effective 9 December 2010, the requirements in this section apply to qualifying Transactions, as
specified in "EMV Liability Shift Participation."

ID#: 220411-010410-0001820



EMV Liability Shift - Issuer Liability for Non-Counterfeit Card-Present Fraudulent
Transactions

Non-Counterfeit Card fraudulent Transactions completed in a Card-Present Environment are the
liability of the Issuer if:

• The Transaction takes place at an EMV PIN-Compliant Device
• Correct acceptance procedures have been followed (including compliance with "Maximum
  Authorized Floor Limits")
• The Transaction is Chip-initiated, the Transaction is correctly processed to completion in
  accordance with the EMV Integrated Circuit Card Specifications for Payment Systems and Visa
  Integrated Circuit Card Specification (VIS)

Effective 9 December 2010, the requirements in this section apply to qualifying Transactions, as
specified in "EMV Liability Shift Participation."

ID#: 220411-010410-0001834



Liability for Chip Fallback Transactions

Transactions accepted as Fallback Transactions are the liability of the Issuer if:

• Card is a Chip Card containing a Visa or Visa Electron Smart Payment Application, or an EMV and
  VIS-Compliant Plus application
• Transaction is authorized by the Issuer or the Issuer's agent, the appropriate values identifying the
  Transaction as a Fallback Transaction are included within the related Authorization Message, and
  correct acceptance procedures are followed

ID#: 010410-010410-0001835



EMV Liability Shift - Acquirer Liability for Account Generated Counterfeit Fraud

Counterfeit Transactions completed in a Card-Present Environment are the liability of the Acquirer, if:

• Transaction did not take place at a Chip-Reading Device
• Account Number was not resident on the Issuer's Master File on the Transaction Date
• All valid Cards bearing Account Numbers within the same account range as the Counterfeit Card
  are Chip Cards containing a Visa or Visa Electron Smart Payment Application

226                                                VISA PUBLIC                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 264 of 1319
                                               PageID #: 3457
                                    Visa International Operating Regulations


• Transaction was below Merchant's Floor Limit and did not receive Authorization
• Account Number was resident on the Exception File with a Pickup Response on the Processing
  Date of the Compliance filing and was on the Exception File for a total period of at least 60
  calendar days from the date of listing

Effective 9 December 2010, the requirements in this section apply to qualifying Transactions, as
specified in "EMV Liability Shift Participation."

ID#: 050411-010410-0001819



Authorization of Chip Fallback Transactions - Canada Region

A Canada Issuer or the Issuer's agent must send a Decline Response to all Authorization Requests
for Fallback Transactions.

ID#: 050411-020209-0004959



Issuer Liability for Chip Fallback Transactions - Canada Region

A Canada Issuer is liable for a Fallback Transaction if the:

• Card is a Compliant Chip Card
• Transaction was authorized Online by the Issuer or the Issuer's agent
• Appropriate values identifying the Transaction as a Fallback Transaction are included in the
  Authorization Request

ID#: 010410-010410-0004960



Issuer Liability for Chip-Initiated Offline-Authorized Transactions - Canada Region

A Canada Issuer is liable for all Chip-initiated Transactions generated at Compliant Chip Card
Reading Devices with a Pin Entry Device (PED) using Offline Authorizations, when:

• Effective through 30 March 2011, the Transaction is completed at a Canadian Merchant
• The Visa Smart Payment Application is active
• Terminal Risk Management is performed
• Merchant's Floor Limit is not exceeded
• The Cardholder Verification Method List is used as specified in the Visa International Operating
  Regulations and the Chip Specifications

ID#: 111011-010410-0004961




18 October 2011                                    VISA PUBLIC                                       227
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      Case: 4:13-cv-02226-JAR                      Doc. #: 85-5 Filed: 02/12/15                         Page: 265 of 1319
                                                      PageID #: 3458
                                     Visa International Operating Regulations




EMV Liability Shift


EMV Liability Shift Participation

The EMV Liability Shift applies to qualifying Transactions, as specified in the table below.


                                              EMV Liability Shift Participation

      Region        Trans-           Trans-         Trans-      Trans-      Trans-           Trans-       Trans-          Trans-
                   actions           actions       actions     actions     actions          actions      actions         actions
                   in EMV           in EMV         in EMV      in EMV      in EMV           in EMV       in EMV          in EMV
                   Liability        Liability      Liability   Liability   Liability        Liability    Liability       Liability
                     Shift            Shift          Shift       Shift       Shift            Shift        Shift           Shift
                   before 1         effective     effective    effective   effective        effective    effective       effective
                   October              1         31 March      1 April        1             1 April         1               1
                     2010           October          2011        2011      October            2013       October         October
                                      2010                                   2012                          2014            2015

                       All
                   domestic
                      and
                     intra-                                                                  All domestic, intraregional, and
                                                                                                          1
                   regional                                                                  interregional counterfeit POS
                  counterfeit                                                                Transactions, except Domestic
                      POS                                                           1       Transactions in China and Japan
       AP           Trans-          All domestic, intraregional, and interregional
      Region        actions,            counterfeit POS Transactions, except
                    except           Domestic Transactions in China and Japan                  In addition, for Australia and
                   Domestic                                                                 New Zealand only, all domestic,
                                                                                                           3                  1
                    Trans-                                                                  intraregional, and interregional
                    actions                                                                   counterfeit ATM Transactions
                   in China
                      and
                     Japan

                                    All inter-
                                              1
                                    regional
      Canada         Not              POS                                               1                                  5
      Region      applicable        and ATM            All domestic and interregional POS and ATM Transactions
                                     Trans-
                                             5
                                     actions

      CEMEA                                                                     1                                    5
             2                  All domestic, intraregional, and interregional POS and ATM Transactions
      Region




228                                                    VISA PUBLIC                                            18 October 2011
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Case: 4:13-cv-02226-JAR                         Doc. #: 85-5 Filed: 02/12/15                      Page: 266 of 1319
                                                   PageID #: 3459
                                     Visa International Operating Regulations


     Region         Trans-           Trans-        Trans-        Trans-         Trans-       Trans-      Trans-          Trans-
                   actions           actions      actions       actions        actions      actions     actions         actions
                   in EMV           in EMV        in EMV        in EMV         in EMV       in EMV      in EMV          in EMV
                   Liability        Liability     Liability     Liability      Liability    Liability   Liability       Liability
                     Shift            Shift         Shift         Shift          Shift        Shift       Shift           Shift
                   before 1         effective    effective      effective      effective    effective   effective       effective
                   October              1        31 March        1 April           1         1 April        1               1
                     2010           October         2011          2011         October        2013      October         October
                                      2010                                       2012                     2014            2015

                                                                    For
                                                                                 All intraregional
                                                                  Brazil                           1
                                                                   and          and interregional
                                                                 Mexico,         counterfeit POS
                                                                    all           Transactions            All intraregional
                                                                                                                            1
                                                                domestic,                                and interregional
      LAC                                                         intra-                                  POS and ATM
                               Not applicable                                    In addition, for
     Region                                                     regional,
                                                                          4                                Transactions
                                                                                Brazil and Mexico
                                                                   and                                     and Domestic
                                                                                only, all domestic,
                                                                  inter-                        4
                                                                                                          Transactions in
                                                                          1
                                                                                  intraregional,         Brazil and Mexico
                                                                regional                          1
                                                                                and interregional
                                                                   POS
                                                                                 POS and ATM
                                                                 Trans-                         5
                                                                         5        Transactions
                                                                 actions

                                                                                                                            All
                                                                                                                        domestic
                                                                                                                           and
                                                                                                                          inter-
      U.S.                                                                                                                        1
                                                              Not applicable                                            regional
     Region
                                                                                                                        counter-
                                                                                                                        feit POS
                                                                                                                         Trans-
                                                                                                                                 6
                                                                                                                         actions

      Visa                                                                          1                               5
     Europe                    All domestic, intraregional, and interregional POS and ATM Transactions

    1.    Among Visa Regions and individual countries participating in the EMV Liability Shift
    2.    Including Afghanistan and Pakistan
    3.    Between Australia and New Zealand
    4.    Between Brazil and Mexico
    5.    Counterfeit, lost, stolen, and "not received item" (NRI) fraud only
    6.    Effective through 30 September 2017, except Transactions at Automated Fuel Dispensers

ID#: 171011-010410-0008190




18 October 2011                                       VISA PUBLIC                                                              229
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15                    Page: 267 of 1319
                                                   PageID #: 3460
                                    Visa International Operating Regulations




Proximity/Contactless Cards


Proximity Payment Issuer Requirements

An Issuer that issues Proximity Payment Cards in countries without an existing contactless
implementation must comply with the Visa Contactless Payment Specifications.

Effective 1 January 2012, a Proximity Payment Device Issuer must ensure that all newly issued or
replacement Proximity Payment Devices comply with the Visa Contactless Payment Specification 2.0
          [24]
or later,      except:

• An Issuer of Proximity Payment Devices in the AP, Canada, CEMEA, or LAC Regions must
  support the qVSDC transaction path and may optionally support the MSD transaction path
• An Issuer of Proximity Payment Devices in the U.S. Region must support both the qVSDC and
  MSD transaction paths

ID#: 151011-010410-0002051



Proximity Payment Device Requirements

Effective through 8 June 2011, a Proximity Payment Device:

• Has distinct branding requirements, as specified in the Visa Product Brand Standards
• Must be issued with linkage to a Visa Card account, excluding Prepaid devices
• Must be assigned an expiration date that is on or before the date on the primary account Card
• May be assigned a different Account Number
• Must comply with one of the following specifications:
     – Visa Contactless Payment Specifications
     – Visa Contactless Payment Specification ISO 14443 Type A and Type B

Effective 9 June 2011, an Issuer that issues Proximity Payment Devices must ensure that the
Proximity Payment Device:

• Is issued with linkage to a Visa Card account, excluding Prepaid devices. (A Proximity Payment
  Device may be assigned a different Account Number.)
• Is assigned an expiration date that is on or before the date on the primary account Card
• Complies with the following:
     – Visa Contactless Payment Specifications
     – For adhesive micro tags, Visa payWave Adhesive Micro Tag Requirements




24    Effective 1 January 2013 for Proximity Payment Devices issued in Korea, Malaysia, and Taiwan.

230                                                VISA PUBLIC                                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 268 of 1319
                                               PageID #: 3461
                                    Visa International Operating Regulations


  – Visa Product Brand Standards

ID#: 111011-010410-0002052



Notification of Proximity Payment Device Risks and Restrictions (Updated)

Effective 9 June 2011, before or at the time of issuance, an Issuer that provides a Proximity
Payment Device (including, in the U.S. Region, a Visa Micro Tag) to a Cardholder must provide
written notification that informs the Cardholder of potential risks and restrictions associated with the
Proximity Payment Device, including, but not limited to:

• Effective through 14 October, 2011, the inability to use the Proximity Payment Device at
  Cardholder-Activated Terminals, such as ATMs or Automated Fuel Dispensers, where card
  insertion is required
• Effective 15 October 2011, the inability to use the Proximity Payment Device at ATMs or
  Unattended Cardholder-Activated Terminals, such as Automated Fuel Dispensers, where card
  insertion is required
• Any daily Transaction amount limit implemented by the Issuer in connection with the Proximity
  Payment Device, if applicable
• For a Proximity Payment Device in the form of an adhesive micro tag, the risk of impairing the
  functionality of a mobile phone or other device to which a Proximity Payment Device is attached
• For a Proximity Payment Device in the form of an adhesive micro tag, the risk of invalidating the
  manufacturer’s warranty, if applicable, for a mobile phone or other device to which a Proximity
  Payment Device is attached

ID#: 151011-090611-0026159



Cardholder Name on Contactless Payment Chip - U.S. Region

A Contactless Payment Issuer in the U.S. Region must either use a generic identifier or leave blank
the Cardholder name field on the Contactless Payment chip embedded in the Visa Contactless
Payment Card or the Visa Micro Tag, as specified in the Visa U.S.A. Contactless Payment Program
Technical Implementation Guide.


ID#: 111011-010410-0008189



Cardholder Name on Magnetic Stripe of Contactless Payment Card - U.S. Region

In the U.S. Region, the requirement in "Cardholder Name on Contactless Payment Chip - U.S.
Region" does not apply to the data contained in the Magnetic Stripe of a Contactless Payment Card.

ID#: 010410-010410-0008188




18 October 2011                                    VISA PUBLIC                                         231
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 269 of 1319
                                                   PageID #: 3462
                                    Visa International Operating Regulations




Visa Contactless Payment Program Participation - U.S. Region

A U.S. Issuer that participates in the optional Visa Contactless Payment Program must comply with
issuance, operating, and processing requirements specified in:

• Visa U.S.A. Contactless Payment Program Member Implementation Guide
• Visa U.S.A. Contactless Payment Program Technical Implementation Guide
• Visa U.S.A. Contactless Payment Program Member Testing and Certification Guide
• Contactless Indicator Guidelines for Cards
• Contactless Indicator and Contactless Symbol Reproduction and Applications Guide
• Visa Product Brand Standards
• Appropriate VisaNet manual, including Proximity Payment processing requirements, which are also
  applicable to Contactless Payment Transactions

ID#: 111011-010410-0002063



Contactless Card Expiration Date - U.S. Region

In the U.S. Region, the expiration date on a Visa Mini Card with Contactless functionality or a full-size
Visa Contactless Card must be the same as the expiration date encoded on the Magnetic Stripe and
printed or displayed on the corresponding full-size Visa Card.

ID#: 010410-010410-0002082



Contactless Card Application Transaction Counter - U.S. Region

A U.S. Issuer must validate the Application Transaction Counter on each of its Cards with contactless
payment capability during the Authorization process for a Contactless Payment Transaction.

ID#: 010410-010410-0002064



Allowed Contactless Cards - U.S. Region

With prior written consent of Visa, a U.S. Issuer participating in the Visa Contactless Payment
Program may issue Contactless Cards in any of the following forms:

• A full-sized Visa Card
• A Visa Mini Card
• A Visa Micro Tag




232                                                VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 270 of 1319
                                               PageID #: 3463
                                    Visa International Operating Regulations



Except when specifically stated to the contrary, all other Operating Regulations apply to Visa
Contactless products in the U.S. Region.

ID#: 010410-010410-0008904



Notification of Contactless Card Usage Restrictions - U.S. Region (Updated)

Effective through 8 June 2011, before or at the time of issuance, a Visa Contactless Issuer in
the U.S. Region must provide written notification, approved by Visa, that informs the Cardholder of
potential usage restrictions associated with Visa Contactless devices, including, but not limited to:

• The inability to use the Visa Contactless device at Cardholder-Activated Terminals such as ATMs
  or Automated Fuel Dispensers, where card insertion is required
• Any daily Transaction dollar limit implemented by the Issuer in connection with the Visa Micro Tag,
  if applicable

ID#: 111011-010410-0002067



Contactless Payment Program Customer Service Telephone Number - U.S. Region

A U.S. Issuer participating in the Contactless Payment Program must print a toll-free customer
service telephone number on the back of a Visa Contactless Card, with the exception of the Visa
Micro Tag.

ID#: 010410-010410-0002068



Mini Card Issuance Requirements - U.S. Region

A Visa Contactless Mini CardIssuer in the U.S. Region must:

• Comply with the Visa Mini Card program requirements specified in the Visa International Operating
  Regulations
• Comply with the Visa Mini Card design requirements specified in the Visa Product Brand
  Standards

ID#: 111011-010410-0002069



Proximity Payment Program Issuer Requirements - Canada Region

A Canada Issuer that issues a Proximity Payment Card may program the Proximity Payment Card
to allow for Offline Authorizations for any amount and must program the Proximity Payment Card to
ensure that it complies with all of the following:

• A Cardholder Verification Method is not required
• Both the MSD protocol and the qVSDC protocol that uses Cryptogram 17, as defined in the Visa
  Contactless Payment Specifications, are supported



18 October 2011                                    VISA PUBLIC                                          233
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 271 of 1319
                                                   PageID #: 3464
                                    Visa International Operating Regulations


• A total maximum amount, including applicable taxes, of at least CAD $50 is programmed

ID#: 220411-010410-0008192




Limited Use Products

Restricted Use Cards


Restricted Card Program - LAC Region

With Visa approval, an LAC Issuer that operates a restricted Card program may:

• Expand the use of restricted Cards to countries where reciprocal Settlement is permitted
• Issue Cards as specified in the Visa Product Brand Standards

ID#: 010410-010410-0004582




Non-Standard Cards

Non-Standard Card General Requirements


Non-Standard Card Plastic Specifications

With Visa approval, an Issuer may issue a Visa Card or Visa Electron Card in a size and design that
does not comply with the plastic specifications in the Visa Product Brand Standards. Refer to the Visa
Product Brand Standards for more information on Non-Standard Cards.

ID#: 010410-010410-0003243



Non-Standard Card Requirements

A Non-Standard Card must:

• Provide the designated level of utility promised to the Cardholder
• Contain the physical elements and data components required to complete a Transaction

ID#: 010410-010410-0003241



Non-Standard Card Prohibitions

A Non-Standard Card must not:



234                                                VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 272 of 1319
                                               PageID #: 3465
                                    Visa International Operating Regulations


• Permit exclusive or preferential acceptance by a Merchant
• Be linked to a Virtual Account

ID#: 010410-010410-0003242



Non-Standard Card BIN Requirements - AP Region

A Visa Infinite Card Issuer must:

• Be available to respond to a request from the Emergency Payment Authorization Service 24 hours
  a day, 7 days a week
• Provide all needed information and a decision to approve or deny the request during the initial
  telephone contact with Visa Global Customer Care Services
• Provide the Merchant, or Visa Global Customer Care Services, with a unique Authorization Code
• If providing the service directly to the Cardholder, contact the Merchant to verify the circumstances,
  explain the service, and complete the Transaction
• Send a fax to the Merchant that includes the Cardholder name, Account Number, expiration date,
  Authorization Code, and Transaction amount

ID#: 050411-010410-0001666



Visa Mini Cards - U.S. Region


Visa Mini Card Issuance Requirements - U.S. Region

With the prior written consent of Visa, a U.S. Member may issue Visa Mini Cards, provided the
Member meets the requirements specified in the Visa International Operating Regulations and the
Visa Product Brand Standards. Except when specifically stated to the contrary, all other Operating
Regulations apply without modification. Refer to the Visa Product Brand Standards for more
information on Non-Standard Cards.

ID#: 050411-010410-0000434



Visa Mini Card Issuance Limitations - U.S. Region

Except as stated otherwise in "Visa Mini Card Instant/Remote Issuance - U.S. Region," a Visa Mini
Card may be issued only in the United States and only if the Cardholder either:

• Already possesses a corresponding full-sized Visa Card
• Is issued a corresponding full-sized Card contemporaneously with the issuance of the Visa Mini
  Card

ID#: 010410-010410-0000435




18 October 2011                                    VISA PUBLIC                                       235
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 273 of 1319
                                                   PageID #: 3466
                                    Visa International Operating Regulations




Visa Mini Card Corresponding Card Requirements - U.S. Region

A Visa Mini Card Issuer in the U.S. Region must ensure that the Visa Mini Card and the
corresponding full-sized Card are the same Visa product type and offer the same benefits.

ID#: 010410-010410-0000436



Notification of Visa Mini Card Usage Restrictions - U.S. Region

Before or at the time of issuance, a Visa Mini Card Issuer in the U.S. Region must provide written
notification, approved by Visa, that informs the Cardholder of potential usage restrictions, including
the inability to use the Visa Mini Card at Cardholder Activated Terminals where card insertion is
required, such as an ATM or an Automated Fuel Dispenser.

ID#: 010410-010410-0000437



Visa Micro Tag


Visa Micro Tag Issuance - U.S. Region

A Visa Micro Tag may be issued if a U.S. Cardholder either:

• Already possesses a corresponding full-size Card
• Is issued a corresponding full-size Card contemporaneously with the issuance of the Visa Micro
  Tag

ID#: 010410-010410-0002070



Visa Micro Tag Issuance Requirements - U.S. Region

A Visa Contactless Issuer in the U.S. Region must ensure that the Visa Micro Tag and the
corresponding full-size Card are the same Visa product type and offer the same benefits.

ID#: 010410-010410-0002071



Unembossed Cards


Service Codes on Unembossed Cards

If permitted by Visa, an Issuer may issue unembossed Visa Cards with any valid Service Code, as
specified in the Payment Technology Standards Manual, excluding unembossed Visa Prepaid Cards.




236                                                VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 274 of 1319
                                               PageID #: 3467
                                    Visa International Operating Regulations



All newly issued unembossed Visa Prepaid Cards must be encoded with Service Code.

ID#: 151011-010210-0004058



Unembossed Visa Electron Card Requirements

In countries where the Visa Electron Program exists, an Issuer may temporarily print the Visa Brand
Mark with the Electron Identifier on the back of an unembossed Visa Card, provided that the Card is
issued within 5 years of the initial unembossed Visa Card program offering.

ID#: 010410-010410-0004059



Unembossed Card Issuance - U.S. Region

In the U.S. Region, an Issuer of unembossed Visa Cards must:

• Only issue unembossed VisaCards for the following products:
  – Visa Consumer Credit Cards
  – Consumer Visa Check Cards
  – Visa Business Check Cards
  – Visa Business credit Cards

ID#: 111011-010410-0003406




Virtual Accounts

Virtual Accounts - General Requirements


Virtual Account Requirements

A Virtual Account must:

• Be established as a Visa consumer or commercial credit, debit, or Prepaid Account
• Comply with electronic commerce payment authentication requirements established by Visa

ID#: 081010-010410-0001643



Virtual Accounts - Commercial BIN Requirements

An Issuer that provides a Commercial Visa Product as a Virtual Account must use a Commercial Visa
Product BIN.

ID#: 081010-010410-0001635



18 October 2011                                    VISA PUBLIC                                     237
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 275 of 1319
                                                   PageID #: 3468
                                    Visa International Operating Regulations




Virtual Accounts - Consumer Programs


Approval of New Virtual Account Programs

Visa must review and approve new consumer Virtual Account programs.

ID#: 010410-010410-0003636



Virtual Account Issuer Requirements

A consumer Virtual Account Issuer must:

• Provide Lost/Stolen Card Reporting Service
• Verify Virtual Account Information, including name, as applicable, Account Number, and account
  expiration date, with the Virtual Account Holder
• Prior to Activation, inform a Virtual Account Holder of program details covering the use of a Virtual
  Account
• Communicate Virtual Account information to the Virtual Account Holder in a secure manner so as
  to prevent the unauthorized access to account information
• If a Reference Card is provided, comply with Reference Card design requirements as specified in
  the Visa Product Brand Standards

ID#: 081010-010410-0001645




Consumer Products

Visa Consumer Products - General Requirements


Visa Premium Product Hierarchy

An Issuer must establish a premium product value hierarchy based on features, performance
standards, and spending limits as follows:

• A Visa Platinum Card must be equal to or higher in value to a Cardholder than a Visa Gold/Premier
  Card
• A Visa Gold/Premier Card must have more value to a Cardholder than a Visa Classic Card
• A Visa Business Gold Card must have more value to a Cardholder than a Visa Business Card

A variance to this requirement applies in the U.S. Region.

ID#: 050411-010410-0008225




238                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 276 of 1319
                                               PageID #: 3469
                                    Visa International Operating Regulations




Consumer Card Issuer Requirements - U.S. Region

A Visa Consumer Credit Card Issuer in the U.S. Region must comply with the requirements specified
in the Visa Enhancements Resource Guide.

ID#: 050411-010410-0004146



Visa Classic Cards


Visa Classic Card Customer Support Services

A Visa Classic Card Issuer must comply with the customer support services requirements specified
in the Visa International Operating Regulations. Visa may require that Issuers provide these services
within a Visa Region.

ID#: 010410-010410-0004219



Visa Classic Card Fees - LAC Region

In the LAC Region, Visa will assess an annual fee as specified in the Visa LAC Fee Guide or
applicable local fee guide for each Visa Classic account reported. This fee includes mandatory travel
accident insurance with coverage of US $75,000.

ID#: 050411-011009-0008921



Visa Charge Card


Visa Charge Card Issuer Requirements - U.S. Region (Updated)

Effective 24 February 2011, a Visa Charge Card Issuer in the U.S. Region must:

• Register the program and obtain prior approval from Visa
• Comply with all of the requirements specified in the Visa Consumer Charge Card Product and
  Implementation Guide – U.S. Region

ID#: 151011-240211-0026356



Visa Charge Card Classification - U.S. Region (Updated)

Effective 24 February 2011, a U.S. Issuer must identify a Visa Charge Card and distinguish it from
a Visa Consumer Credit Card by using one of the following classification levels, as specified in the
appropriate VisaNet manual:

• BIN


18 October 2011                                    VISA PUBLIC                                     239
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 277 of 1319
                                                   PageID #: 3470
                                    Visa International Operating Regulations


• Account Range Definition (ARDEF)
• Account level processing

ID#: 151011-240211-0026357



Visa Traditional Rewards Cards - U.S. Region


Traditional Rewards Card Issuance - U.S. Region

A Visa Traditional Issuer in the U.S. Region may, with prior approval from Visa, issue a Visa
Traditional Rewards Card if it meets the requirements specified in the Visa International Operating
Regulations.

ID#: 081010-010410-0003874



Rewards Currency Administration - U.S. Region

In the U.S. Region, Visa, the Issuer, or a third party may administer Rewards Currency requirements,
including, but not limited to, aggregation, redemption, expiration, statements, and valuation
disclosure.

ID#: 010410-010410-0003875



Issuer Rewards Program Registration - U.S. Region

A U.S. Issuer must register its rewards program with Visa and meet the Visa Traditional Rewards
Card requirements by the dates specified in the Visa Traditional Rewards Product Registration
Toolkit.

Visa may impose conditions on U.S. Issuer participation at any time.

ID#: 010410-010410-0008806



Visa Traditional Rewards Product Requirements - U.S. Region

A Visa Traditional Rewards Card Issuer in the U.S. Region must comply with Visa Traditional
product requirements, including, but not limited to, core service requirements outlined in the Visa
Enhancements Resource Guide.

ID#: 010410-010410-0003883




240                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15         Page: 278 of 1319
                                               PageID #: 3471
                                    Visa International Operating Regulations




Visa Traditional Rewards Card Classification - U.S. Region

A U.S. Issuer must identify Visa Traditional Rewards Card Account Numbers and distinguish
them from other Visa Traditional (non-rewards) Account Numbers by using one of the following
classification levels, as specified in the appropriate VisaNet manual:

• BIN
• Account Range Definition (ARDEF)
• Card Account Number

ID#: 010410-010410-0003886



Visa Traditional Rewards Program Registration - U.S. Region

In addition to the "BIN License Agreement" (available through the Visa Publication Center on
Visa Online), in order to request the required classification, a U.S. Issuer must submit to Visa
for approval a completed registration package, which is outlined in the Visa Traditional Rewards
Product Registration Toolkit.

ID#: 111011-010410-0003887



Rewards Currency Requirements - U.S. Region

Effective through 16 February 2011, a Traditional Rewards Card Issuer in the U.S. Region must:

• Define the Rewards Currency it intends to offer its Cardholders
• Accrue Rewards Currency to the benefit of its Cardholder for every Qualifying Purchase
  Transaction
• Ensure that the approximate retail value of service and merchandise rewards offered to its
  Cardholders and the Rewards Currency required to redeem such options is comparable to the
  value the Cardholder would receive by selecting cash-equivalent rewards

ID#: 050411-010410-0003888



Rewards Currency - Issuer Requirements - U.S. Region

Effective through 16 February 2011, in the U.S. Region, a Visa Traditional Rewards CardIssuer:

• Must offer participating CardholdersRewards Currency options as required by Visa
• May withhold Rewards Currency accumulation or redemption, or revoke currency previously
  accumulated, if the account is no longer in good standing
• May stipulate that the expiration of frequent flyer miles after transfer to an Airline's frequent flyer
  program is subject to the Airline's frequent flyer program rules

ID#: 111011-010410-0003896



18 October 2011                                    VISA PUBLIC                                              241
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 279 of 1319
                                                   PageID #: 3472
                                    Visa International Operating Regulations




Visa Traditional Rewards Terms and Conditions - U.S. Region

In the U.S. Region, a Visa Traditional Rewards Card Issuer must:

• Provide complete and accurate disclosure of all Visa Traditional Rewards Card terms and
  conditions, including, but not limited to, Rewards Currency, Rewards Currency accrual, expiration
  and maximum cap, point redemption, costs, fees (if any), an explanation of Qualifying Purchase
  Transactions, and all other material terms and conditions upon Cardholder enrollment in the
  program, and as required by applicable laws and regulations
• Notify the Cardholder of any material changes to the program terms and conditions before the
  revision effective date
• Ensure the accuracy of any information that it or its Agent provides to its Cardholders

ID#: 010410-010410-0003897



Communication of Rewards Currency Value - U.S. Region

In the U.S. Region, a Visa Traditional Rewards Card Issuer must communicate, in writing, the value
of the Rewards Currency to its Cardholders, annually or more frequently as required by applicable
laws and regulations. The communication must, at minimum, include the following information about
the Rewards Currency:

• Amount earned
• Amount redeemed
• Balance remaining

ID#: 010410-010410-0003898



Visa Traditional Rewards Program Auditing - U.S. Region

Visa, or a third party designated by Visa, may audit the records and procedures of any U.S. Issuer at
any time to ensure that the Visa Traditional Rewards Card product criteria are met. An Issuer must
bear any internal administrative costs associated with such an audit.

ID#: 010410-010410-0006842



Visa Traditional Rewards Program Penalties for Non-Compliance - U.S. Region

A U.S. Issuer that fails to comply with the Visa Traditional Rewards Card product requirements
or fails to maintain operational compliance with the terms and conditions specified in the Visa
International Operating Regulations may be subject to fines. Failure to comply with the terms of the
rewards program will disqualify the Issuer from receiving the Visa Traditional Rewards Interchange
Reimbursement Fee.

ID#: 010410-010410-0003899




242                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 280 of 1319
                                               PageID #: 3473
                                    Visa International Operating Regulations




Visa Traditional Rewards Program Participation - U.S. Region

Effective 17 February 2011, a Visa Traditional Rewards Card Issuer in the U.S. Region must:

• Offer a rewards program to its Visa Traditional Cardholders in accordance with the requirements
  specified in the Visa Traditional Product Rewards Registration Toolkit
• Notify Cardholders, at least quarterly, via billing statement or stand-alone statement, regarding
  reward points earned during the relevant period

ID#: 050411-160211-0026236



Visa Debit Cards


Check Card BIN Usage - U.S. Region (Updated)

A U.S. Issuer must use a unique check card BIN assigned to it by Visa for each of the following
consumer program types:

• Visa Check Card
• Effective through 30 June 2012, Visa Check Card II Cards

ID#: 111011-010410-0004149



Consumer Debit Card Brand Standards Compliance - U.S. Region

All of a U.S. Issuer's Visa consumer Debit Cards must comply with the Visa Product Brand
Standards.

ID#: 010410-010410-0008226



Visa Debit Card Issuer Cash-Back Requirements – U.S. Region (New)

Effective 14 April 2012, a U.S. Visa Debit Card Issuer and Visa Business Check Card Issuer must
support the Visa Cash-Back Service. This requirement does not apply to certain Visa Prepaid Cards,
as specified in the Visa International Prepaid Program Guidelines With Additional United States
Guidelines.

ID#: 111011-140412-0026502



Visa Debit Card Partial Preauthorization – U.S. Region (New)

Effective 14 April 2012, in the U.S. Region, a Visa Debit Card Issuer and Visa Business Check Card
Issuer, and its VisaNet Processor, must support partial preauthorization Responses for Visa Debit
with PIN Transactions, as specified in the:



18 October 2011                                    VISA PUBLIC                                        243
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 281 of 1319
                                                   PageID #: 3474
                                    Visa International Operating Regulations


• VisaNet manuals
• Visa Partial Authorization Service Description and Implementation Guide

ID#: 111011-140412-0026503



Visa Debit Card Issuer Chip Requirements - Canada Region

A Canada Issuer of a Visa Debit Card must ensure that:

• The Visa Debit Card complies with the Visa Canada Debit Card - Technical Specifications
• The Visa Application Identifier (AID) must be present on the Card and the Application Selection
  Flag (ASF) settings are as specified in the Visa Canada Debit Card - Technical Specifications

ID#: 050411-200209-0008072



Visa Debit BIN Requirements – Canada Region

A Canada Issuer of a Visa Debit Card must use a unique BIN for its Visa Debit Card Account
Numbers and not share a BIN range.

A Canada Issuer must not reclassify a BIN to represent a product other than Visa Debit without prior
permission from Visa.

ID#: 111011-160810-0025967



Visa Debit Transaction Identification - Canada Region

A Canada Issuer of a Visa Debit Card must identify all Visa Debit Transactions as Visa Transactions
in all communications displaying Transaction information, including account activity statements,
and clearly disclose to the Cardholder any distinction between a Visa Debit Transaction and other
payment services.

ID#: 050411-200209-0008073



Visa Debit Card Issuer 3-D Secure/Verified by Visa Participation - Canada Region

A Canada Issuer of a Visa Debit Card must ensure that its Visa Debit BINs participate in 3-D Secure
(Verified by Visa).

ID#: 050411-200209-0008074




244                                                VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 282 of 1319
                                               PageID #: 3475
                                    Visa International Operating Regulations




Visa Debit Card Issuer Verified by Visa Participation for Brazil - LAC Region (Updated)

Effective 1 June 2012, an Issuer in Brazil of Visa debit Cards must ensure that its Visa Debit BINs
participate in Verified by Visa.

ID#: 151011-010612-0026441



Visa Electron Cards


Visa Electron Program Features

The Visa Electron Program offers the following features:

• International or domestic point-of-sale capability, ATM access, and Manual Cash Disbursements
• 100% Authorization and electronic Transaction processing
• Signature or PIN verification
• Optional use for Electronic Commerce Transactions

All Chargeback rights for Electronic Commerce Transactions apply to Visa Electron Transactions.

ID#: 010410-010410-0004528



Key-Entered Visa Electron Electronic Commerce Transactions

If an Issuer approves a key-entered Visa Electron Electronic Commerce Transaction, liability and
Chargeback rights are the same as for a Visa Transaction.

ID#: 010410-010410-0004529



Visa Electron Card Use

A Visa Electron Card may be:

• Used to access any type of account
• Issued for either international or domestic use
• Used at an ATM or Point-of-Transaction Terminal

ID#: 010410-010410-0004530



Cardholder Instructions for Visa Electron Card Use

A Visa Electron Issuer must inform its Cardholders that a Visa Electron Card may be used:



18 October 2011                                    VISA PUBLIC                                        245
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 283 of 1319
                                                   PageID #: 3476
                                    Visa International Operating Regulations


• At a Merchant Outlet displaying the Visa Brand Mark with the Electron Identifier
• At an ATM displaying the Visa Brand Mark or Visa Brand Mark with the Electron Identifier

ID#: 010410-010410-0004531



Visa Electron Card Service Code

A Visa Electron Issuer must ensure that the Service Code designated for Visa Electron Cards is
encoded on the Magnetic Stripe and complies with the Payment Technology Standards Manual.

ID#: 010410-010210-0008235



Visa Electron Card Issuer Verified by Visa Participation for Brazil - LAC Region
(Updated)

Effective 1 June 2012, an Issuer in Brazil of Visa Electron Cards must ensure that its Visa Electron
BINs participate in Verified by Visa.

ID#: 151011-010612-0026442



Visa Gold/Premier Cards


Visa Gold/Premier Card Issuance

A Visa Gold Card or Visa Premier Card Issuer:

• May issue Visa Gold Cards or Visa Premier Cards at the option of Visa
• Must comply with the global support services requirements, either independently or through Visa,
  as specified in the Visa International Operating Regulations
• May offer its Visa Gold Cards or Visa Premier Cards as any type of payment device with an option
  to access any of the following:
  – Line of credit
  – Depository account
  – Other Cardholder assets available through the Issuer

ID#: 010410-010410-0004220



Visa Gold/Premier Card Customer Service Telephone Number

Each Issuer must make available to its Visa Gold/Premier Cardholders a free 24-hour-a-day, 7-day-a-
week telephone number to obtain emergency services. The Issuer must communicate the telephone
number to the Cardholder at least once each year.

ID#: 010410-010410-0004222



246                                                VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 284 of 1319
                                               PageID #: 3477
                                    Visa International Operating Regulations




Visa Gold Card Self-Select PIN Option - AP Region

In addition to the requirements specified in the Visa International Operating Regulations, a Visa Gold
Card Issuer in the AP Region must offer a self-select PIN option.

ID#: 010410-010410-0004262



Visa Gold Card Requirements - Canada Region

Participation in the consumer Visa Gold Card program is optional in the Canada Region. However, if
a Canada Member participates, it must provide at a minimum the core services specified in the Visa
International Operating Regulations. A Member may offer enhanced services that are greater than the
required core services specified in "Visa Gold Card Core Services - Canada Region."

ID#: 010410-010410-0004407



Visa Gold Card Issuer Contact Information - Canada Region

In addition to the requirements specified in the Visa International Operating Regulations, a Canada
Member that issues consumer Visa Gold Cards must notify Visa at least 2 weeks before any change
in the Emergency Cash Disbursement contact or Emergency Card Replacement contact.

ID#: 081010-010410-0004408



Visa Gold Card Core Services - Canada Region

A participating consumer Visa Gold Card Issuer in the Canada Region must provide to its
Cardholders the following emergency Cardholder services:

• Cardholder Inquiry Service
• Collision/Loss Damage Insurance
• Emergency Card Replacement
• Emergency Cash Disbursement
• Legal referral assistance and Cash Disbursement Service
• Lost/Stolen Card Reporting
• Medical referral assistance and Cash Disbursement Service

ID#: 081010-010410-0004409



Visa Gold Card Collision/Loss Damage Insurance - Canada Region

A consumer Visa Gold Card Issuer in the Canada Region may offer Collision/Loss Damage Insurance
either:



18 October 2011                                    VISA PUBLIC                                      247
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 285 of 1319
                                                   PageID #: 3478
                                    Visa International Operating Regulations


• Through the Visa Collision/Loss Damage Insurance program
• Independently

If the Canada Issuer offers Collision/Loss Damage Insurance independently, the program features
must meet or exceed the minimum features, customer service level, and program administration
standards currently available from Visa. A certificate of insurance and details of the program are
available from Visa.

ID#: 010410-010410-0008236



Visa Gold Collision/Loss Damage Insurance Information - Canada Region

In the Canada Region, a consumer Visa Gold Cardholder may obtain information about the Collision/
Loss Damage Insurance program through Visa Global Customer Care Services, unless Visa has
approved alternate arrangements.

ID#: 081010-010410-0004412



Visa Gold Product Name Usage - Canada Region

A Canada Member must use the product name "Visa Gold" in all communications regarding the
consumer Visa Gold Card program, including solicitations, advertising, and promotions.

ID#: 010410-010410-0006586



Visa Gold Trade Name or Mark Positioning - Canada Region

A Canada Member must not position its Trade Name or Mark as adding superior acceptability of a
consumer Visa Gold Card at the Point-of-Transaction.

ID#: 010410-010410-0006587



Visa Gold Card Service Requirements - CEMEA Region

Visa Gold Card Issuers in the CEMEA Region must comply with the Global Customer Assistance
Services Member Guide - CEMEA Region, as specified in the Visa International Operating
Regulations.

ID#: 050411-010410-0004427



Visa Gold Card Issuer Requirements - LAC Region

A Visa Gold Card Issuer in the LAC Region must:

• Advise its Cardholders of the availability of PINs and Cash Disbursements through the Visa and
  Plus ATM programs



248                                                VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 286 of 1319
                                               PageID #: 3479
                                    Visa International Operating Regulations


• Use Stand-In Processing and the PIN Verification Service

ID#: 010410-010410-0004455



Visa Gold Card Fees - LAC Region

In the LAC Region, Visa will assess an annual fee for each Visa Gold account reported, as specified
in the Visa LAC Fee Guide or applicable local fee guide. This fee includes mandatory travel accident
insurance with coverage of US $250,000 and auto rental insurance with coverage in the western
hemisphere.

ID#: 050411-011009-0008922



Visa Infinite Cards


Visa Infinite Card Requirements

Visa and a Visa Infinite Card Issuer may supplement the Visa Infinite Card requirements in the Visa
International Operating Regulations. No variances will be permitted except where required by local
custom or law.

ID#: 010410-010410-0006145



Visa Infinite BIN Reclassification

An Issuer must not reclassify a Visa Infinite BIN to represent a product other than a Visa Infinite Card
without prior permission from Visa. A variance to this requirement applies for a Member in the AP
Region.

ID#: 010410-010410-0004538



Visa Infinite Card Payment Options

At the option of Visa, an Issuer may provide a Visa Infinite Card with charge, credit, or debit
capability.

ID#: 010410-010410-0004537



Visa Infinite Card Features and Branding Requirements

An Issuer must offer a Visa Infinite Card with:

• Unique features not available on any other Visa Card product it issues to ensure product
  differentiation
• The highest purchasing power available within the applicable Visa Region and a Member's Visa
  Card portfolio, except when the Member-developed Card product:


18 October 2011                                    VISA PUBLIC                                       249
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15        Page: 287 of 1319
                                                   PageID #: 3480
                                    Visa International Operating Regulations


  – Is not branded with a Visa Card product name
  – Does not use the Sample Card Design or reserved color of a Visa Card product, as specified in
    the Visa International Operating Regulations

ID#: 010410-010410-0004532



Visa Infinite Card Minimum Benefits

At a minimum, a Visa Infinite Card Issuer must comply with the requirements for the following 3
benefit categories:

• Priority assistance and convenience
• Exclusive privileges and rewards
• Safety and security

Details of the benefit categories are available from Visa.

ID#: 010410-010410-0008311



Visa Infinite Card Spending Limits

A Visa Infinite Card Issuer may offer either of the following spending limit options:

• No pre-set limit, excluding Emergency Card Replacements that have temporary pre-set limits
• Minimum limit allowing each Visa Infinite Card account to accumulate charges of at least XX, or
  local currency equivalent, during each or any statement cycle in which a Cardholder has satisfied
  previous obligations to the Issuer

Visa may impose additional restrictions to these options.

ID#: 111011-010410-0004539



Declined Visa Infinite Card Transactions

For Visa Infinite Cards issued with a no pre-set limit, the Issuer must provide notification to the
Cardholder before ongoing Transactions can be declined.

ID#: 010410-010410-0004542



Visa Infinite Card Emergency Services

If a Visa Infinite Issuer offers Visa emergency services, it must:

• Provide a free 24-hour telephone number




250                                                VISA PUBLIC                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 288 of 1319
                                               PageID #: 3481
                                    Visa International Operating Regulations


• Communicate the telephone number to the Cardholder annually

ID#: 010410-010410-0004544



Visa Infinite Card Web Services

A Visa Infinite Cardholder must have access to a Web service that offers special information and
services to high-end consumers. The Web service must be provided by Visa or independently by the
Member.

The Visa Infinite Web service must, at a minimum:

• Limit access to Visa Infinite Cardholders only
• Provide a description of Visa Infinite Card services, benefits, and features
• Provide a detailed listing of the Visa Infinite Exclusive Privileges Merchant partner offers
• Include the following minimum value-added content and services for travel and entertainment:
  – Travel content that supports the Visa Infinite product positioning that is not readily available from
    other sources (e.g., special travel articles, expert recommendations on shows in major cities)
  – Online concierge service, if concierge service is offered by the Visa Region or Member's Infinite
    product
  – Contact information for Cardholders to inquire about Visa Infinite services and to provide
    feedback on the product or Website

ID#: 010410-010410-0008415



Visa Infinite Cardholder Notification and Complaints

A Visa Infinite Card Issuer must:

• Provide advance notification to the Cardholder when an account needs to be suspended or closed
  for any reason
• Monitor customer complaints related to Transaction Authorizations
• Identify action plans to improve customer service
• Make customer complaint information available to Visa

ID#: 010410-010410-0004543



Visa Infinite Card Marketing

A Visa Infinite Card Issuer intending to distribute Merchant partnership or emergency services
material to its Cardholders must receive written approval from Visa before distribution.

ID#: 010410-010410-0004545




18 October 2011                                    VISA PUBLIC                                        251
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 289 of 1319
                                                   PageID #: 3482
                                    Visa International Operating Regulations




Visa Infinite Card Emergency Payment Authorization Service

A Visa Infinite CardIssuer must:

• Be available to respond to a request from the Emergency Payment Authorization Service 24 hours
  a day, 7 days a week
• Provide all needed information and a decision to approve or deny the request during the initial
  telephone contact with Visa Global Customer Care Services
• Provide the Merchant, or Visa Global Customer Care Services, with a unique Authorization Code
• If providing the service directly to the Cardholder, contact the Merchant to verify the circumstances,
  explain the service, and complete the Transaction

ID#: 111011-010410-0008300



Visa Infinite Card Payment Options - AP - Region

An AP Issuer may provide a Visa Infinite Card with charge, credit, or debit capability.

ID#: 010410-010410-0004337



Visa Infinite Card Customer Service Telephone Number - AP Region

An AP Issuer must provide its Visa Infinite Cardholders with an exclusive toll-free telephone number
or a telephone number where collect calls will be accepted domestically or worldwide, to obtain
customer service and Account-Related Information services 24 hours a day, 7 days a week. The
Issuer must communicate the telephone numbers to its Cardholders at least once each year.

ID#: 010410-010410-0004346



Visa Infinite Card Customer Service Performance Standards - AP Region

A Visa Infinite Issuer in the AP Region must meet the customer service performance standards as
specified below. The Issuer must:

• Be capable of transferring calls to and establishing and maintaining a telephone bridge with the
  Visa Infinite customer service center
• Answer 90% of customer service calls by a customer service attendant within 15 seconds
• Immediately answer customer service calls by a voice response unit
• Provide an option that allows a Visa Infinite Cardholder to transfer from a voice response unit to
  customer service at any time during the call
• Ensure a maximum call abandonment of no more than 5%




252                                                VISA PUBLIC                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 290 of 1319
                                               PageID #: 3483
                                    Visa International Operating Regulations


• Ensure the Visa Infinite Cardholder is not placed on hold after a customer service agent has
  answered the call

ID#: 010410-010410-0004347



Visa Infinite Card Emergency Services - AP Region

For Cards issued in the AP Region, assistance will be available to Visa Infinite Cardholders 24 hours
a day, 7 days a week, through Visa Global Customer Care Services. A Visa Infinite Issuer must offer
the following services through Visa Global Customer Care Services and the Issuer customer service
center:

• Cardholder Inquiry Service
• Emergency Card Replacement, including:
     – Card Verification Value (CVV) encoding
• Emergency Cash Disbursement, with a minimum stand-in Emergency Cash Disbursement
• Lost/Stolen Card Reporting

An Emergency Card Replacement or Emergency Cash Disbursement must be delivered to the
Cardholder within 24 hours.

ID#: 111011-010410-0004339




Visa Infinite Card Core Services - AP Region

In the AP Region, a Visa Infinite Issuer must also provide the following services:

• One or more insurance options that the AP Issuer may choose to apply, with a unit cost per
  premium that matches or exceeds the current unit cost of providing travel accident insurance,
  except where prohibited by local law. The Issuer must submit to Visa in writing an official quote
  from an insurance company for both the travel accident insurance and the proposed new features
  at least 30 calendar days prior to its implementation.
• Complimentary access to airport lounges in all key cities
• Emergency medical evacuation and repatriation service in case of critical Cardholder medical need
     [25]


• Emergency medical insurance when traveling [26]

ID#: 161111-010410-0004340




25     A variance applies in the AP Region for Malaysia.
26     A variance applies in the AP Region for Malaysia.

18 October 2011                                      VISA PUBLIC                                   253
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 291 of 1319
                                                   PageID #: 3484
                                    Visa International Operating Regulations




Visa Infinite Exclusive Privileges Program - AP Region

An AP Issuer must provide information to its Visa Infinite Cardholders about the Visa Infinite
Exclusive Privileges program. The Issuer must communicate the following to its Visa Infinite
Cardholders:

• Visa Infinite Exclusive Privileges benefits at least once a year
• New benefits or changes to existing benefits at least 2 months before the effective date

ID#: 010410-010410-0004343



Visa Infinite Card Concierge Service - AP Region

In the AP Region, concierge service assistance must be available through a customer service
attendant by telephone 24 hours a day, 7 days a week, and offered in key international travel
markets. The minimum services required are travel information and assistance, including:

• Emergency travel arrangement provisions
• Passport, visa, and customs information
• Country and major city information
• Translation and message assistance
• Transportation information
• Restaurant, health club, entertainment events, shopping information and assistance, and gift
  arrangement
• ATM location guide
• Weather forecast
• Business services

ID#: 010410-010410-0004342



Visa Infinite Year-End Account Summary - AP Region

An AP Issuer must provide its Visa Infinite Cardholders with a year-end account summary that
includes:

• Total annual amount spent by the Cardholder
• Summary of spending by merchant category

ID#: 010410-010410-0004344




254                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 292 of 1319
                                               PageID #: 3485
                                    Visa International Operating Regulations




Visa Infinite Provisional Credit for Disputed Transactions - AP Region

A Visa Infinite Issuer in the AP Region must provide a provisional credit to the Cardholder Account
Number for the amount of a disputed Transaction within 24 hours of notification of a Cardholder
dispute. The disputed Transaction amount must be placed in a suspense account until the dispute is
resolved. The dispute notification may be either verbal or written.

ID#: 010410-010410-0004348



Visa Infinite Preferred Card in Singapore – AP Region (Updated)

Effective 4 November 2011, in addition to the Visa Infinite requirements specified in the Visa
International Operating Regulations, a Visa Infinite Preferred Card Issuer in Singapore must comply
with the requirements specified in the Visa Infinite Preferred Card Product Guide – AP Region.

ID#: 151011-041111-0026541



Visa Infinite Preferred Card BIN in Singapore – AP Region (Updated)

Effective 4 November 2011, a Visa Infinite Preferred Card Issuer in Singapore must identify Visa
Infinite Preferred Account Numbers and distinguish them from other Visa consumer credit Account
Numbers by using a unique BIN.

A Visa Infinite Preferred BIN must only be used for Visa Infinite Preferred Cards, and not shared with
Visa Infinite Cards or other types of Card programs.

An issuer must not reclassify the following without prior permission from Visa:

• A BIN designated as another Card product to a Visa Infinite Preferred Card program, or
• A BIN designated as Visa Infinite Preferred to another Card product other than the Visa Infinite
  Preferred Card

An Issuer must not reclassify a BIN of an existing other Card program to a Visa Infinite Preferred BIN
unless Visa approves the reclassification and the Issuer has reviewed and confirmed that all existing
Cardholders meet the qualification for Visa Infinite Preferred Cards.

ID#: 151011-041111-0026542



Visa Infinite Card Emergency Services - CEMEA Region

A Visa Infinite Issuer in the CEMEA Region must provide mandatory core services to its Cardholders,
as specified in the Global Customer Assistance Services Member Guide - CEMEA Region.

ID#: 010410-010410-0004437




18 October 2011                                    VISA PUBLIC                                       255
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 293 of 1319
                                                   PageID #: 3486
                                    Visa International Operating Regulations




Visa Infinite Card Mandatory Core Services - CEMEA Region

A Visa Infinite Card Issuer in the CEMEA Region must offer the following core services:

• Purchase protection
• Extended warranty
• Full multi-trip travel insurance:
  – Trip cancellation
  – Trip delay
  – Medical coverage
  – Repatriation
  – Lost baggage
  – Loss of money
  – Personal liability
  – Legal expenses
  – Travel accident insurance

ID#: 010410-010410-0004438



Visa Infinite Card Optional Features - CEMEA Region

A CEMEA Issuer may offer optional services for Visa Infinite Programs:

• Key insurance/loss
• Collision damage waiver
• Airport lounge access-priority pass

ID#: 010410-010410-0004440



Visa Infinite Merchant Partner Program - CEMEA Region

In the CEMEA Region, the Visa Infinite Merchant partner program must be communicated to
Cardholders annually or as required by Visa, in the form of a brochure or on the Issuer's Visa Infinite
Website.

ID#: 010410-010410-0004439




256                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 294 of 1319
                                               PageID #: 3487
                                    Visa International Operating Regulations




Visa Infinite Card Issuer Certification - LAC Region

Before issuing a Visa Infinite Card, an LAC Issuer must receive written certification from Visa that the
Issuer complies with all the Visa Infinite Card product requirements and standards.

ID#: 010410-010410-0004501



Visa Platinum Cards


Visa Platinum Card Issuance Requirements - AP Region

In the AP Region, all provisions of the Visa International Operating Regulations governing issuance of
Visa Gold Cards apply to the issuance of Visa Platinum Cards.

ID#: 010410-010410-0004264



Visa Platinum Debit Card Issuance Requirements for Australian Issuers – AP Region
(New)

Effective 1 May 2011, in the AP Region, an Issuer in Australia may only provide a Visa Platinum
debit Card to a Cardholder who meets either of the following:

• Minimum income of AU $100,000 per annum
• Minimum savings and investments portfolio of AU $200,000 which may be held at any financial
  institution or by the Cardholder outright. The minimum savings and investments exclude the
  Cardholder’s primary residence

ID#: 111011-010511-0026378



Visa Platinum Card Core Services - AP Region

In the AP Region, a participating Visa Platinum Issuer must provide the following core services to its
Visa Platinum Cardholders:

• Cardholder Inquiry Service
• One or more insurance options that the Issuer may choose to apply
• Emergency Card Replacement, including:
  – Card Verification Value encoding
  – Minimum spending limit
• Emergency Cash Disbursement,
• Emergency medical and legal referral




18 October 2011                                    VISA PUBLIC                                       257
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15             Page: 295 of 1319
                                                   PageID #: 3488
                                    Visa International Operating Regulations


• Lost/Stolen Card Reporting Service

ID#: 111011-010410-0004267



Visa Platinum Card Minimum Spending Limit - AP Region (Updated)

In the AP Region, the Minimum Spending Limits for a Visa Platinum account are as specified in the
following table. For countries that will launch Visa Platinum for the first time, the default Minimum
Spending Limit is US $2,000 or local currency equivalent.


                     Visa Platinum Card Minimum Spending Limits for AP Countries

                                                 Effective through 30 April         Effective 1 May 2011,
                    Country                    2011, mandated Visa Platinum        mandated Visa Platinum
                                                 Minimum Spending Limits          Minimum Spending Limits

      Australia                               US $4,400                         AU $6,000
                                                                                         1



      Bangladesh                              US $4,300                         BDT 140,000

      Bhutan                                                                    BTN 90,000

      Brunei                                  US $12,500                        BND 8,300

      Cambodia                                US $12,500                        KHR 427,250

      China                                   US $8,000                         CNY 55,000

      Guam                                    US $8,000                         US $8,000

      Hong Kong                               US $4,000                         HKD 30,000

      India                                   Effective through 30 June 2010,   INR 50,000
                                              US $2000
                                              Effective 1 July 2010, INR
                                              50,000

      Indonesia                               US $4,000                         IDR 40,000,000

      Japan                                   US $12,500                        JPY 1,237,000

      Korea                                   US $6,000                         KRW 7,500,000

      Malaysia                                US $5,000                         MYR 17,500

      Macau                                   US $4,000                         MOP 30,000

      Mongolia                                US $8,000                         MNT 55,000

      New Zealand                             US $6,700                         NZ $10,000

      Philippines                             US $5,000                         PHP 250,000

      Singapore                               US $7,500                         SG $8,300

      Sri Lanka                               US $3,200                         LKR 225,000

      Taiwan                                  US $4,013                         TWD 150,000


258                                                VISA PUBLIC                                   18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15            Page: 296 of 1319
                                               PageID #: 3489
                                    Visa International Operating Regulations


                                                 Effective through 30 April        Effective 1 May 2011,
                   Country                     2011, mandated Visa Platinum       mandated Visa Platinum
                                                 Minimum Spending Limits         Minimum Spending Limits

    Thailand                                  US $2,000                        THB 150,000

    Fiji                                      US $2,000                        FJD 4,000

    Laos                                      US $2,000                        LAK 16,500,000

    Maldives                                  US $2,000                        MVR 25,000

    Nepal                                     US $2,000                        NPR 150,000

    Papua New Guinea                          US $2,000                        PGK 5,400

    Vietnam                                   US $2,000                        VND 40,000,000

    1.     A variance applies for Visa Platinum debit Cards

ID#: 151011-010511-0004268



Visa Platinum Card Required Services - AP Region

In the AP Region, a Visa Platinum Issuer must make concierge service assistance available through
a customer service attendant by telephone 24 hours a day, 7 days a week, and must offer it in key
international travel markets. The minimum services required are travel information and assistance,
including:

• Emergency travel arrangement provisions
• Passport, visa, and customs information
• Specific country and major city information
• Translation and message assistance
• Transportation information
• Restaurant, health club, entertainment events, shopping information and assistance, and gift
  arrangement
• ATM location guide
• Weather forecast
• Business services

ID#: 010410-010410-0004269




18 October 2011                                    VISA PUBLIC                                             259
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 297 of 1319
                                                   PageID #: 3490
                                    Visa International Operating Regulations




Visa Platinum Card Customer Service Telephone Number - AP Region

In the AP Region, a Visa Platinum Issuer must provide its Visa Platinum Cardholders with a toll-
free telephone number or a telephone number where collect calls will be accepted domestically or
worldwide to obtain customer service and Account-Related Information services 24 hours a day, 7
days a week. The Issuer must communicate the telephone numbers to its Cardholders at least once
each year.

ID#: 010410-010410-0004270



Visa Platinum Customer Service Standards - AP Region

In the AP Region, a Visa Platinum Issuer must meet the following customer service performance
standards:

• Be capable of transferring calls to and establishing and maintaining a telephone bridge with the
                                     [30]
  Visa Platinum Customer Center.
• Answer 90% of customer service calls by a customer service attendant within 15 seconds
• Immediately answer customer service calls by a voice response unit
• Provide an option that allows a Visa Platinum Cardholder to transfer from a voice response unit to
  a customer service attendant at any time during the call
• Ensure a maximum call abandonment of no more than 5%
• Ensure that the Visa Platinum Cardholder is not placed on hold after a customer service agent has
  answered the call

ID#: 050411-010410-0004271



Visa Platinum Card Issuance Requirements - Canada Region

In the Canada Region, all provisions of the Visa International Operating Regulations governing the
issuance of Visa Gold Cards apply to the issuance of Visa Platinum Cards.

ID#: 010410-010410-0004413



Visa Platinum Card Core Services - Canada Region

In the Canada Region, a participating Visa Platinum Issuer must provide to its Cardholders the
following emergency Cardholder services:

• Cardholder Inquiry Service
• Collision/Loss Damage Insurance
• Emergency Card Replacement


30    A variance applies to Bangladesh.

260                                                VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 298 of 1319
                                               PageID #: 3491
                                    Visa International Operating Regulations


• Emergency Cash Disbursement
• Legal referral assistance and Cash Disbursement
• Lost/Stolen Card Reporting
• Medical referral assistance and Cash Disbursement Service

ID#: 081010-010410-0004414



Visa Platinum Card Collision/Loss Damage Insurance - Canada Region

In the Canada Region, a Visa Platinum Issuer may offer Collision/Loss Damage Insurance either:

• Through the Visa Collision Loss/Damage Waiver insurance program
• Independently

If the Canada Issuer offers Collision Loss/Damage Waiver insurance independently, the program
features must meet or exceed the minimum features, customer service level, and program
administration standards currently available from Visa. A certificate of insurance as well as program
details may be obtained from Visa.

A Visa Platinum Cardholder may obtain information about the Collision/Loss Damage Waiver
insurance program through the Visa Global Customer Care Services, unless Visa has approved
alternate arrangements.

ID#: 081010-010410-0008336



Visa Platinum Card BIN - Canada Region

Each Canada Issuer must:

• Use a unique BIN for its Visa Platinum Account Numbers. The Issuer must either:
  – Choose a BIN from a BIN range previously assigned to it by Visa
  – Request a new BIN range assignment for the service
• If using a previously assigned BIN or BIN range, notify Visa of the selected BIN or BIN range
  before issuing any Visa Platinum Cards
• Send "Visa Interchange Directory Update Form" and "BIN License Agreement" (both available
  through the Visa Publication Center on Visa Online and http://www.visainfo.ca) to Visa for its Visa
  Platinum BIN range

ID#: 050411-010410-0004418




18 October 2011                                    VISA PUBLIC                                      261
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15            Page: 299 of 1319
                                                   PageID #: 3492
                                    Visa International Operating Regulations




Visa Platinum Card Emergency Services - CEMEA Region

In the CEMEA Region, a Visa Platinum Card Issuer must comply with the Global Customer
Assistance Services Member Guide - CEMEA Region.

ID#: 010410-010410-0008337



Visa Platinum Card Spending Limits - CEMEA Region (Updated)

Effective through 30 April 2011, a CEMEA Issuer must offer its Visa Platinum Cardholders either of
the following account options:

• Minimum spending limit of US $10,000 or local currency equivalent
• No pre-set spending limit

A variance to this requirement applies to Members in Afghanistan and Pakistan.

Effective 1 May 2011, the Minimum Spending Limits for a Visa Platinum account are as specified
in the following table. For countries that will launch Visa Platinum for the first time and the ones that
are not listed in the table below, the default Minimum Spending Limit is US $10,000 or local currency
equivalent.


                  Visa Platinum Card Minimum Spending Limits for CEMEA Countries

                                                                 Mandated Visa Platinum Minimum Spending
                              Country
                                                                 Limits

      Bahrain                                                    BD 2,800

      Egypt                                                      EGP 40,000

      Jordan                                                     JOD 5,300

      Kuwait                                                     KD 2,100

      Lebanon                                                    LBP 11,165,300

      Oman                                                       OR 2,900

      Pakistan                                                   PKR 403,000

      Qatar                                                      QAR 27,300

      Russia                                                     RUR 240,000

      Saudi Arabia                                               SAR 28,000

      United Arab Emirates                                       AED 27,500

      Serbia                                                     RSD 760,000

      Croatia                                                    HRK 55,000




262                                                VISA PUBLIC                                18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15            Page: 300 of 1319
                                               PageID #: 3493
                                    Visa International Operating Regulations


                                                                 Mandated Visa Platinum Minimum Spending
                              Country
                                                                 Limits

    Macedonia                                                    MKD 450,000

    Bosnia & Herg                                                BAM 14,400

    Kosovo                                                       EUR 7,400

    Albania                                                      ALL 1,040,000

    Montenegro                                                   EUR 7,400

    Georgia                                                      GEL 18,000

ID#: 151011-010511-0004432



Visa Platinum Card Core Services - CEMEA Region

In the CEMEA Region, a Visa Platinum Issuer must offer the following core services:

• Purchase Protection
• Extended Warranty

ID#: 010410-010410-0004433



Visa Platinum Card Optional Features - CEMEA Region

A CEMEA Issuer may offer optional services for Visa Platinum Programs:

• Full multi-trip insurance
• Travel inconvenience insurance
• Travel accident insurance
• Key insurance
• Collision damage waiver
• Airport lounge access - priority pass

ID#: 010410-010410-0004434



BIN Requirements for Airline Co-Brand Programs - CEMEA Region

A CEMEA Issuer may issue new Visa Gold Card and Visa Platinum Airline co-brand programs on a
new Visa Platinum BIN.

A CEMEA Issuer must issue new Visa Gold and Visa Platinum Airline co-brand programs on separate
designated account ranges within the Visa Platinum BIN.




18 October 2011                                    VISA PUBLIC                                             263
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 301 of 1319
                                                   PageID #: 3494
                                    Visa International Operating Regulations



The Issuer must provide all Airline co-brand Cards issued on a Visa Platinum BIN with mandatory
core product features applicable to Visa Platinum Cards, as specified in "Visa Platinum Card Core
Services - CEMEA Region."

Mandatory minimum spending limits do not apply for Airline co-brand Cards issued on a Visa
Platinum BIN.

ID#: 010410-010410-0009017



Visa Gold and Platinum Cards Issued on Visa Platinum BIN - CEMEA Region

In the CEMEA Region, Visa Gold Cards issued on a Platinum BIN must comply with Card design
requirements, as specified in the Visa International Operating Regulations and the Visa Product
Brand Standards.

In the CEMEA Region, Visa Platinum Cards issued on a Platinum BIN must comply with Card design
requirements as specified in the Visa International Operating Regulations and the Visa Product Brand
Standards.

ID#: 010410-010410-0008339



Visa Platinum Certification - LAC Region

Before issuing Visa Platinum Cards, an LAC Issuer must receive written certification from Visa that
the Issuer complies with all Visa Platinum product requirements and standards.

ID#: 010410-010410-0004460



Visa Platinum Card Travel Rewards Program - LAC Region

In the LAC Region, a Visa Platinum Credit Card Issuer must provide a travel rewards program that
offers Cardholders, through purchases with Visa Platinum Cards, the ability to accumulate points that
can be redeemed for, at a minimum, airline travel.

The travel rewards program may be sponsored by Visa (Visa Rewards), an Issuer, or an Issuer/
Airline co-branded program.

Cardholders must not be assessed an additional fee for membership in the travel rewards program.

In the LAC Region, Visa Platinum debit Cards are exempt from any obligation to offer any travel
rewards programs.

ID#: 010410-010410-0008813




264                                                VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 302 of 1319
                                               PageID #: 3495
                                    Visa International Operating Regulations




Visa Prepaid Cards


Visa Prepaid Card Issuer Requirements

A Visa Prepaid Card Issuer:

• May issue Visa Prepaid Cards bearing any Visa-owned Brand Mark
• Must comply with the fees, processing rules, program rules, membership rules, reporting
  requirements, and physical Card design requirements for the Visa Brand Mark displayed on the
  Card as specified in the:
     – Visa International Operating Regulations
     – Visa Product Brand Standards
     – Applicable Visa International Prepaid Program Guidelines
     – Visa Global Physical Security Validation Requirements for Data Preparation, Encryption Support
       and Fulfillment Card Vendors
• Must not issue Visa Prepaid Cards as any type of consumer credit program that extends a line of
  credit, including Visa Signature or Visa Infinite Cards
• Must prevent unauthorized reselling of its Visa Prepaid Cards or accounts
• Must ensure that the Visa Prepaid Card programs are incorporated into the Member's anti-money
  laundering and anti-terrorist financing program to monitor suspicious activity
• Must ensure that its Visa Prepaid Card program is approved by Visa prior to program
  implementation or Visa Prepaid Card issuance
• Must ensure that the expiration date encoded on the Magnetic Stripe or Chip (when used) and
  embossed on a Visa Prepaid Card does not exceed 5 years from the date of issuance
• For Visa Gift Cards issued in the U.S. Region, the Issuer must ensure the expiration date encoded
  on the Magnetic Stripe or Chip (when used) and embossed or printed on a Visa Gift Card does not
  exceed 9 years from the date of issuance (This only applies in the U.S. Region.)

ID#: 111011-150210-0003633



Visa Prepaid Card BIN

An Issuer must issue Visa Prepaid Cards using a consumer prepaid BIN designated for its Visa
                   [31]
Prepaid Programs. Unique BINs are required for Reloadable Card and Non-Reloadable Card
programs. Each program product type must be issued with a discrete account range within the
prepaid BIN. The Issuer may:

• Choose a BIN from a BIN range previously assigned to it by Visa
• Request a new BIN range assignment for the service
• Establish multiple Visa Prepaid Card programs within the same BIN


31    A variance to this requirement applies in the LAC Region.

18 October 2011                                     VISA PUBLIC                                    265
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 303 of 1319
                                                   PageID #: 3496
                                    Visa International Operating Regulations -




ID#: 111011-010410-0008352



Visa Prepaid Card - Telephone Number

A Visa Prepaid Card Issuer must print a customer service telephone number on the back of a Visa
Prepaid Card.

For Visa Gift Cards issued in the U.S. Region, the Issuer must print a toll-free customer service
telephone number on the back of the Card. (This only applies in the U.S. Region.)

ID#: 111011-010100-0025533



Visa Prepaid Account Balances

The Issuer responsible for Prepaid Account balances must be identified either on the front or back of
the Card.

An Issuer must disclose its obligation for Card balances to the Visa Prepaid Card purchaser, either in
writing or other appropriate means as approved by Visa.

An Issuer must not describe Visa Prepaid Card programs in any way that could imply that Visa
is liable for outstanding balances. This includes, but is not limited to, using the words "Travelers
Cheque/Check" in the product name or claiming that Visa Prepaid Card products have all the features
of Travelers Cheques.

ID#: 081010-010410-0008353



Visa Prepaid Card Selective Authorization

An Issuer of certain Visa Prepaid Cards, as specified in the applicable Visa International Prepaid
Program Guidelines, may decline Authorization Requests based on the following factors:

• Merchant Category Code
• Merchant name(s) or terminal identification
• Location or Merchant Outlet

ID#: 081010-010100-0025537



Partial Authorization Service for Visa Prepaid Card Issuers

A Visa Prepaid Card Issuer and its VisaNet Processor that offers Partial Authorization must support:

• Partial Authorization Transactions
• Authorization Reversals




266                                                 VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15              Page: 304 of 1319
                                               PageID #: 3497
                                    Visa International Operating Regulations



An Issuer that participates in the Partial Authorization service must comply with the requirements as
specified in the V.I.P. Technical Specifications.

An Issuer that participates in the Partial Authorization service that receives an Authorization Reversal
must release any applicable hold on available funds in its Cardholder's account immediately.

ID#: 111011-010410-0002494



Visa Prepaid Card Authorization Holds

A Visa Prepaid Card Issuer must release any hold on available funds in its Cardholder's account as a
result of an approved Authorization Request when a matching Clearing Record is received.

This requirement does not apply if the Issuer determines that the Transaction or account involves
suspicious or unusual activity.

ID#: 081010-010100-0025539



Visa Prepaid Load Service Participation
                                                                         [32]
Members that participate in the Visa Prepaid Load Service must comply with the requirements
specified in the Visa International Operating Regulations and the Visa International Prepaid Program
Guidelines.

ID#: 111011-010410-0003634



Visa Prepaid Load Service Acquirer Requirements

Members that participate in the optional Visa Prepaid Load Service must comply with requirements in
the applicable Visa International Prepaid Program Guidelines. A participating Acquirer must:

• Add Visa Prepaid Load Service provisions to its Merchant Agreement
• Ensure that participating Merchants comply with the requirements specified in the Visa
  International Operating Regulations and applicable Visa International Prepaid Program Guidelines
• Have an Endorsement Date within 2 calendar days from the Visa Prepaid Load Service
  Transaction Date

An Acquirer may only process a Reversal when there is a processing problem or error that prevents
the Issuer's Authorization Response from being returned to the Prepaid Partner. An Acquirer must
only send system-generated reversals to VisaNet and the Prepaid Partner when there is an inability
of the Acquirer to return an Issuer response to the Prepaid Partner's system.

An exemption to the Visa Prepaid Load Service requirements applies in the U.S. Region.

ID#: 111011-010410-0002517




32   Visa Prepaid Load Service is referred to as Visa ReadyLink in the U.S. Region.

18 October 2011                                    VISA PUBLIC                                            267
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 305 of 1319
                                                   PageID #: 3498
                                    Visa International Operating Regulations




Visa Prepaid Partner Requirements

A Member or Merchant may participate in the Visa Prepaid Load Service as a Prepaid Partner to:

• Activate or load initial value to Visa Prepaid Cards under a Prepaid Partner Issuer Agreement
• Add value to qualified reloadable Visa Prepaid Cards

A Prepaid Partner must:

• Have a Merchant Agreement with the participating Acquirer to process Visa Prepaid Load Service
  Transactions
• Comply with the requirements in the applicable Visa International Prepaid Program Guidelines
• Obtain Issuer approval of:
  – A load Authorization Request for Card activation on both reloadable and non-reloadable Cards
  – A load Authorization Request for value reload on qualified reloadable Cards
• Load value to a Visa Prepaid Card only when the Card is present
• Load Visa Prepaid Cards only when the Prepaid Partner and the Visa Prepaid Card Issuer are
  located within the same country
• Load the Visa Prepaid Card in the Cardholder's Billing Currency

ID#: 081010-010410-0008355



Visa Payroll Card Requirements

A Visa payroll Issuer must comply with the:

• Visa Payroll Card Service Description
• Visa Payroll Card Member Implementation Guide

A Visa payroll Issuer must implement Card activation procedures that require Cardholders to validate
their identity by some reasonable means before being able to use the Card.

ID#: 010410-010100-0025571



Visa Prepaid Card Requirements - U.S. Region

In the U.S. Region, a Visa Prepaid Card Issuer must comply with the requirements specified in the:

• Visa International Prepaid Program Guidelines With Additional United States Guidelines
• Visa ReadyLink Service Description and Implementation Guidelines
• Visa Product Brand Standards




268                                                VISA PUBLIC                       18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 306 of 1319
                                               PageID #: 3499
                                    Visa International Operating Regulations


• Visa U.S.A. Prepaid Retail Channel Guidelines

ID#: 050411-010410-0008363



Visa Prepaid Card BIN - U.S. Region

In the U.S. Region, an Issuer must use a unique consumer debit BIN for each of the following Visa
Prepaid Card program types:

• Visa Buxx
• Visa Employee Benefit Cards (Visa Prepaid Card products for Visa Flexible Savings Account,
  Visa Health Savings Account, Visa Health Reimbursement Account and Visa Transit may be
  combined within a single BIN as specified in the Visa International Prepaid Program Guidelines
  With Additional United States Guidelines)
• Visa Gift Card
• Visa Incentive Card
• Visa Payroll
• Visa Prepaid Card bearing both the Visa Mark and the Visa TravelMoney Mark
• Other Visa Prepaid Cards

ID#: 081010-010100-0025544



Visa Prepaid Card Agents - U.S. Region

In the U.S. Region, a Visa Prepaid Card Issuer must implement underwriting, monitoring, and control
policies for its Agents that support its Visa Prepaid Card program.

The Issuer must ensure that the policies are approved by its board of directors. Visa may grant an
exception to this requirement.

The Issuer must provide the policies to Visa upon request.

The Issuer must implement policies and procedures for reviewing solicitation materials used by its
Agents.

ID#: 010410-010410-0008356



Visa Prepaid Card Issuer Risk Program Compliance - U.S. Region

In the U.S. Region, an Issuer must comply with the requirements of the Prepaid Issuer Risk Program
Standards document, available from Visa upon request.

ID#: 010410-010410-0002173




18 October 2011                                    VISA PUBLIC                                       269
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 307 of 1319
                                                   PageID #: 3500
                                    Visa International Operating Regulations




Visa Prepaid Card Agent Monitoring - U.S. Region

In the U.S. Region, an Issuer must, at a minimum, monitor its Agents in accordance with the Agent
activity monitoring standards, as specified in the Prepaid Issuer Risk Program Standards document.

The Issuer must:

• Ensure it has all access rights to all of its Agent's systems and reports
• Submit to Visa quarterly reporting on Agent relationships, as specified in the Prepaid Issuer Risk
  Program Standards document

ID#: 010410-010410-0008357



Visa Prepaid Card Funds and Reserves - U.S. Region

A U.S. Issuer must:

• Hold and control all Visa Prepaid Card funds and Agent reserves
• Ensure that all prepaid funds are only used for valid Presentments
• Ensure that reserves may only be used to cover direct program losses that are accumulated and
  derived from the Merchant settlement funds or used to guarantee a Merchant's payment system
  obligations to the Member
• Perform monitoring of Agent reserves and account funding
• Periodically review and monitor Cardholder funds, including exception reporting

ID#: 010410-010410-0002176



Visa Prepaid Issuer Risk Program Review - U.S. Region

In the U.S. Region, an entity approved by Visa may conduct a periodic review of the Issuer's or
its Agent's operations at any time to ensure compliance with the Prepaid Issuer Risk Program
requirements.

The Issuer must provide Visa with a self-assessment questionnaire on a quarterly basis.

The Issuer must provide a copy of the review report to Visa upon request.

The Issuer is responsible for the cost of the periodic review.

ID#: 010410-010410-0008359




270                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 308 of 1319
                                               PageID #: 3501
                                    Visa International Operating Regulations




Visa Prepaid Card Partial Authorization Responses - U.S. Region

In the U.S. Region, a Visa Prepaid Card Issuer and its VisaNet Processor must support Partial
Authorization Responses, as specified in the VisaNet manuals.

ID#: 050411-010410-0008365



Visa Prepaid Card Product Options - U.S. Region

A U.S. Issuer may issue various Card types for certain Visa Prepaid Card programs with prior Visa
approval.

ID#: 010410-010410-0003420



Non-Reloadable Card Printing Requirements - U.S. Region

A U.S. Issuer offering Non-Reloadable Cards must print the legend "Non-Reloadable" on the back of
the Card:

• In a minimum 6-point Helvetica font
• Anywhere above the Magnetic Stripe

ID#: 010410-010410-0008372



Prepaid Issuer Participation in Point-of-Sale Balance Inquiry Service - U.S. Region

In the U.S. Region, a Visa Gift Card Issuer or Visa Incentive Card Issuer or an Issuer of other Non-
Reloadable Visa Prepaid Cards must:

• Participate in the Point-of-Sale Balance Inquiry Service
• Complete systems testing with Visa to support balance inquiries at the Point-of-Transaction in a
  Face-to-Face Environment, as specified in the VisaNet manuals

ID#: 050411-150210-0002594



Visa ReadyLink Participation - U.S. Region

A U.S. Issuer may participate in Visa ReadyLink.

A participating Issuer must:

• Comply with the requirements of the:
  – Visa International Prepaid Program Guidelines With Additional United States Guidelines
  – Visa ReadyLink Service Description and Implementation Guidelines



18 October 2011                                    VISA PUBLIC                                         271
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 309 of 1319
                                                   PageID #: 3502
                                    Visa International Operating Regulations


  – Visa Product Brand Standards
• Designate unique BINs within its Visa Prepaid Card program that may participate in Visa
  ReadyLink
• Have a Prepaid Partner Agreement with a participating Prepaid Partner to sell Visa Prepaid Cards

The Prepaid Partner Agreement must define the terms and conditions of the relationship between
the Issuer and the Prepaid Partner, including, but not limited to, any applicable service fee charged
to a consumer by the Prepaid Partner for the purchase of Visa Prepaid Cards. The Prepaid Partner
Agreement does not govern the loading of value to a Visa Prepaid Card.

ID#: 081010-010410-0008374



Visa ReadyLink Prepaid Partner Requirements - U.S. Region

In the U.S. Region, a Prepaid Partner that participates in the Visa ReadyLink service must:

• Have a Merchant Agreement for Visa Card acceptance
• Comply with the requirements in the:
  – Visa International Prepaid Program Guidelines With Additional United States Guidelines
  – Visa ReadyLink Service Description and Implementation Guidelines
• Load value to a Visa Prepaid Card that has been designated for participation in Visa ReadyLink
  by the Issuer or to another Non-Visa Branded Account, as defined in the Visa ReadyLink Service
  Description and Implementation Guidelines

A Visa ReadyLink Prepaid Partner may sell Visa Prepaid Cards under a Prepaid Partner Issuer
Agreement with a participating Issuer.

ID#: 050411-010410-0008388



Visa ReadyLink Acquirer Requirements - U.S. Region

In the U.S. Region, an Acquirer participating in the Visa ReadyLink Service must:

• Comply with the service requirements specified in the:
  – Visa International Prepaid Program Guidelines With Additional United States Guidelines
  – Visa ReadyLink Service Description and Implementation Guidelines
• Comply with Merchant Agreement requirements, as specified in "Visa ReadyLink Acquirer
  Requirements for Prepaid Partners - U.S. Region"
• Ensure that it maintains adequate funds available for settlement of approved Transactions that
  have been processed through VisaNet from its Prepaid Partners
• Process a Visa ReadyLink Transaction through the Single Message System

ID#: 081010-010410-0003216




272                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 310 of 1319
                                               PageID #: 3503
                                    Visa International Operating Regulations




Visa ReadyLink Acquirer Requirements for Prepaid Partners - U.S. Region

In the U.S. Region, an Acquirer that participates in the Visa ReadyLink Service must ensure that:

• A Prepaid Partner that participates in the Visa ReadyLink Service complies with all the provisions
  of the:
  – Visa International Prepaid Program Guidelines With Additional United States Guidelines
  – Visa ReadyLink Service Description and Implementation Guidelines
• The substance of those provisions is included in its Merchant Agreement or as a separate
  addendum

ID#: 081010-010410-0003468



Visa ReadyLink Transaction Processing - U.S. Region

In the U.S. Region, funds associated with a load to a Visa Prepaid Card or to another Non-Visa
Branded Account, as defined in the Visa ReadyLink Service Description and Implementation
Guidelines processed through the VisaNet Single Message System, as specified in the Visa
International Prepaid Program Guidelines With Additional United States Guidelines and Visa
ReadyLink Service Description and Implementation Guidelines, are settled between the Acquirer and
Issuer during the same processing cycle as the approval of the Transaction Authorization request by
the Issuer.

ID#: 050411-010410-0005731



Visa Buxx Card Issuer Implementation Requirements - U.S. Region

In the U.S. Region, a Visa Buxx Issuer must:

• Complete the implementation procedures, as specified in the Visa Buxx Card Member
  Implementation Guide
• At least 30 days before issuing Cards, submit to Visa written certification that its programs,
  systems, procedures, and services comply with the Visa International Operating Regulations, Visa
  Buxx Card Service Description, and Visa Buxx Card Member Implementation Guide

ID#: 050411-010410-0004361



Visa Buxx Card Issuer Requirements - U.S. Region

In the U.S. Region, a Visa Buxx Issuer must implement Card activation procedures.

Card activation procedures must require Cardholders to validate their identity by some reasonable
means before being able to use the Card.




18 October 2011                                    VISA PUBLIC                                      273
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15        Page: 311 of 1319
                                                   PageID #: 3504
                                    Visa International Operating Regulations



A Visa Buxx Issuer must provide the account owner (e.g., parent or guardian) with a financial literacy
test to be completed by the teenager and verified by the account owner at the time of enrollment.

A Visa Buxx Issuer must, either itself, through Visa, or through a third-party provider, offer:

• Website access that includes:
  – Account management data and functions
  – Account funding capability
• Parental notification of payment activity
• The option to receive periodic statements either electronically or on paper
• Customer service activities including, but not limited to:
  – Processing lost/stolen Card reports
  – Card suspension

ID#: 010410-010410-0008378



Visa Payroll Card Requirements - U.S. Region

In the U.S. Region, a Visa Payroll Issuer must comply with the:

• Visa Payroll Card Service Description
• Visa Payroll Card Member Implementation Guide

A Visa Payroll Issuer must implement Card activation procedures that require Cardholders to validate
their identity by some reasonable means before being able to use the Card.

A Visa Payroll Card design must comply with the Visa Product Brand Standards.

ID#: 010410-010410-0008383



Visa Employee Benefit Card Issuer Requirements - U.S. Region

In the U.S. Region, a Visa Employee Benefit Card Issuer must:

• Comply with the Visa Employee Benefit Card Service Description and Implementation Guide
• Support selective Authorization, as specified in "Visa Prepaid Card Declined Authorizations - U.S.
  Region"
• Support Auto-Substantiation, as specified in "Healthcare Auto-Substantiation Requirements - U.S.
  Region"
• Comply with the Visa Healthcare Auto-Substantiation Transactions Service Description and
  Implementation Guide
• Comply with the Visa Healthcare Auto-Substantiation Transaction Consolidated Technical
  Requirements



274                                                VISA PUBLIC                             18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                Page: 312 of 1319
                                               PageID #: 3505
                                    Visa International Operating Regulations


• Support Authorization Reversals
• Obtain a license from, and be certified by, SIGIS in order to process Healthcare Auto-
  Substantiation Transactions
• Support Retrieval Request reason code 27, "Healthcare Auto-Sub Data Retrieval Request," for
  the process of obtaining detailed Transaction Receipt data from Acquirers, via fax, as specified
  in the Visa Healthcare Auto-Substantiation Transactions Retrieval of SIGIS Receipt Detail
                         [33]
  Implementation Guide

ID#: 050411-010410-0008386



Healthcare Auto-Substantiation Requirements - U.S. Region

A U.S. Issuer or its Agent must support Healthcare Auto-Substantiation if it offers any of the following
Visa Employee Benefit Card programs:

• Visa Flexible Spending Account (FSA)
• Visa Health Reimbursement Account (HRA)

ID#: 081010-010410-0003421



Visa Signature Cards


Visa Signature Card Requirements

At the option of Visa, an Issuer may issue consumer Visa Signature Cards, subject to trademark
availability. A Visa Signature Card Issuer must include features and services equivalent to the Visa
Infinite Card and the following:

• No pre-set spending limit
• Access to Web services specific to Visa Signature Cardholders
• A Card design specific to a Visa Signature Card, as specified in the Visa Product Brand Standards

ID#: 010410-010410-0008228



Visa Signature Card Issuer Requirements - U.S. Region

A Visa Signature Issuer in the U.S. Region must comply with the requirements specified in:

• "Consumer Card Issuer Requirements - U.S. Region"
• Visa Enhancements Resource Guide
• Visa Signature Product and Implementation Guide



33   Unlike other Transaction Receipt Retrieval Request Reason Codes, Reason Code 27 does not support a Chargeback
     right for the Issuer.

18 October 2011                                    VISA PUBLIC                                                       275
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15         Page: 313 of 1319
                                                   PageID #: 3506
                                    Visa International Operating Regulations


• Effective 24 February 2011, Visa Consumer Charge Card Product and Implementation Guide -
  U.S. Region, if applicable

ID#: 171011-240211-0003417



Visa Signature Card BIN Requirements - U.S. Region

A Visa Signature Issuer in the U.S. Region that supports:

• Account range processing may designate an Account Number range within a credit BIN for its Visa
  Signature Cards
• BIN level processing must use a unique BIN assigned to it by Visa for its Visa Signature Account
  Numbers and either:
     – Choose a BIN from a BIN range previously assigned (If using a previously assigned BIN, notify
       Visa of the selected BIN before issuing any Visa Signature Cards)
     – Request a new BIN assignment

ID#: 010410-010410-0006226



Visa Signature Card Implementation Requirements - U.S. Region

A Visa Signature Issuer in the U.S. Region must:

• Complete the implementation forms included in the Visa Signature Product and Implementation
  Guide
• Comply with the requirements specified in the Visa Enhancements Resource Guide

ID#: 010410-010410-0003900



Visa Signature Card Spending Limits and Payment Options - U.S. Region (Updated)

A Visa Signature Issuer in the U.S. Region:

• Must issue its Visa Signature Cards with no pre-set spending limit for purchase Transactions
• May allow the Visa Signature Cardholder the option to either:
     – Pay in full each statement cycle. Effective 24 February 2011, the minimum spending limit for a
       Visa Signature Card issued as a Visa Charge Card must not be less than $2,000 per month
     – Revolve. [34] If positioned as a revolving product, the Issuer must permit a minimum revolving
       balance of at least US $5,000 during each statement cycle.

The Issuer may establish a pre-set spending limit for:

• Cash Disbursement Transactions



34    Effective 24 February 2011, this option does not apply to Visa Charge Cards.

276                                                VISA PUBLIC                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 314 of 1319
                                               PageID #: 3507
                                    Visa International Operating Regulations


• Transactions resulting from an Emergency Card Replacement

ID#: 151011-240211-0008237



Visa Signature Cardholder Notification - U.S. Region

A Visa Signature Issuer in the U.S. Region must provide notification to the Cardholder:

• Before ongoing Transactions can be declined
• When an account needs to be suspended or closed for any reason

ID#: 010410-010410-0003218



Visa Signature Card Customer Service Telephone Number - U.S. Region

A Visa Signature Issuer in the U.S. Region must provide a toll-free telephone number of its own
customer service center where the Cardholder:

• May obtain customer service 24 hours a day, 7 days a week
• Is given an early and ongoing option to talk to a knowledgeable representative, if an automated
  response menu is used

ID#: 010410-010410-0003906



Visa Signature Card Rewards Program - U.S. Region (Updated)

A Visa Signature Issuer in the U.S. Region must offer a rewards program to its Visa Signature
Cardholders in accordance with the requirements specified in the Visa Signature Product and
Implementation Guide.

ID#: 111011-010100-0003905



Visa Signature Card Visa Incentive Network Participation - U.S. Region

A Visa Signature Issuer in the U.S. Region must participate in the Visa Incentive Network program,
as specified in the Visa Incentive Network Member Implementation Guide, to qualify for the Visa
Signature Interchange Reimbursement Fee.

ID#: 010410-010410-0003904



Visa Signature Card Enhanced Billing Support - U.S. Region

A Visa Signature Issuer in the U.S. Region must provide enhanced billing support resolution services,
as specified in the Visa Signature Product and Implementation Guide.

ID#: 010410-010410-0003907




18 October 2011                                    VISA PUBLIC                                       277
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15               Page: 315 of 1319
                                                   PageID #: 3508
                                    Visa International Operating Regulations




Visa Signature Cardholder Information - U.S. Region

A Visa Signature Issuer in the U.S. Region must offer its Cardholders, during the application process,
the option to have their personal information kept confidential.

• If selected, the Issuer must not provide Cardholder or account details to external organizations for
  the purpose of marketing mailing lists, products, or services
• The Issuer may, for Affinity Card accounts, disclose that this option does not apply to the Affinity
  Partner

ID#: 010410-010410-0003909



Visa Signature Card Design - U.S. Region

A Visa Signature Issuer in the U.S. Region must comply with the Visa Product Brand Standards.

ID#: 050411-010410-0006196



Visa Signature Card Issuance - AP Region (Updated)

A Visa Signature Issuer in the AP Region must provide a Visa Signature Card:

• With charge, credit, debit, or prepaid capability
• To Cardholders who meet a pre-set minimum annual retail sales volume spend threshold.
  Qualifying level of annual retail sales volume spends will be specified for each individual market
  that launches Visa Signature. Card renewal will be based on whether the Cardholder achieved the
  minimum annual retail sales volume spend threshold.

Effective 1 May 2011, a Visa Signature Issuer in the AP Region must implement a spend campaign
to drive Card spend when a Cardholder fails to meet the minimum annual retail sales volume spend
threshold. If Cardholders of more than 5% of an Issuer’s portfolio do not meet the spend threshold,
                                                                                              [35]
the Cardholders who fail to meet the threshold must be offered a different Visa Card product.

Effective 1 May 2011, in the AP Region, the Minimum Spending Limits for a Visa Signature account
are as specified in the following table. For countries that will launch Visa Signature Card program for
the first time, the default Minimum Spending Limit is US $12,500 or local currency equivalent.


                     Visa Signature Card Minimum Spending Limits for AP Countries

      Country                                                    Mandated Visa Signature Minimum Spending Limits
                                                                 in Local Currency

      Australia                                                  AUD 18,000

      Bangladesh                                                 BDT 420,000



35    A variance applies to Hong Kong and Macau.

278                                                VISA PUBLIC                                   18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15               Page: 316 of 1319
                                               PageID #: 3509
                                    Visa International Operating Regulations


    Country                                                      Mandated Visa Signature Minimum Spending Limits
                                                                 in Local Currency

    Bhutan                                                       BTN 270,000

    Hong Kong                                                    HKD 60,000

    India                                                        INR 270,000

    Indonesia                                                    IDR 80,000,000

    Korea                                                        KRW 15,500,000

    Maldives                                                     MVR 75,000

    Malaysia                                                     MYR 28,000

    Nepal                                                        NPR 450,000

    Philippines                                                  PHP 434,300

    Sri Lanka                                                    LKR 675,000

    Singapore                                                    SGD 16,250

    Taiwan                                                       TWD 157,500

    Thailand                                                     THB 437,500


Effective through 30 April 2011, the Issuer must provide its on-us data for retail spend on Visa
Signature to Visa on the frequency and time periods and in formats as defined by Visa.

ID#: 111011-010511-0004317



Visa Signature Card BIN Reclassification - AP Region

An AP Issuer must not reclassify a BIN or account range to represent a product other than the Visa
Signature Card without permission from Visa.

ID#: 010410-010410-0004319



Visa Signature Card Core Services - AP Region

A Visa Signature Issuer in the AP Region must provide the following services:

• A rewards program with a pre-set minimum perceived customer value (expressed in basis points
  per dollar of qualifying spend). Visa will set such pre-set values in consultation with Members for
  each individual market that launches the Visa Signature Card product.
• One or more insurance options that the Issuer may choose to apply
• Complimentary access to airport lounges in all key cities [36]

• Effective through 30 April 2011, emergency medical evacuation and repatriation service in case
  of critical Cardholder medical need



18 October 2011                                    VISA PUBLIC                                                279
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 317 of 1319
                                                   PageID #: 3510
                                    Visa International Operating Regulations


• Effective through 30 April 2011, emergency medical insurance when traveling

ID#: 111011-010511-0004323



Visa Signature Card Customer Service Telephone Number - AP Region

A Visa Signature Issuer in the AP Region must provide its Visa Signature Cardholders with an
exclusive toll-free telephone number or a telephone number where collect calls will be accepted
domestically or worldwide to obtain customer services and Account-Related Information services 24
hours a day, 7 days a week. The Issuer must communicate the telephone numbers to its Cardholders
at least once a year.

ID#: 010410-010410-0004329



Visa Signature Card Concierge Services - AP Region

A Visa Signature Issuer in the AP Region must offer concierge services in key international travel
markets and must make these services available through a customer service attendant by telephone
24 hours a day, 7 days a week. The minimum services required are travel information and assistance,
including:

• Emergency travel arrangement provisions
• Passport, visa, and customs information
• Country and major city information
• Translation and message assistance
• Transportation information
• Restaurant, health club, entertainment events, shopping information, and assistance with gift
  arrangement
• ATM location guide
• Weather forecast
• Business services

ID#: 010410-010410-0004325



Visa Signature Privileges Program - AP Region

A Visa Signature Issuer in the AP Region must provide to its Visa Signature Cardholders information
about the Visa Signature Privileges Program. The Visa Signature Issuer must communicate the
following to its Visa Signature Cardholders:

• Visa Signature Privileges benefits at least once a year
• New benefits or changes to existing benefits at least 2 months before the effective date



36    A variance applies to Hong Kong and Macau.

280                                                VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 318 of 1319
                                               PageID #: 3511
                                    Visa International Operating Regulations


• Visa Signature Merchant Privileges (quarterly Merchant offers exclusive to Visa Signature
  Cardholders)

ID#: 010410-010410-0004326



Visa Signature Card Year-End Account Summary - AP Region

A Visa Signature Issuer in the AP Region may provide its Visa Signature Cardholders with a year-end
account summary that includes:

• Total annual amount spent by the Cardholder
• Summary of spending by Merchant category

ID#: 010410-010410-0004327



Visa Signature Card Emergency Payment Authorization Service - AP Region

A Visa Signature Issuer in the AP Region must:

• Be available to respond to a request from the Emergency Payment Authorization Service 24 hours
  a day, 7 days a week
• Provide all needed information and a decision to approve or deny the request during the initial
  telephone contact with Visa Global Customer Care Services
• Provide the Merchant or Visa Global Customer Care Services with a unique Authorization Code
• If providing the service directly to the Cardholder, contact the Merchant to verify the circumstances,
  explain the service, and complete the Transaction
• Send a fax to the Merchant that includes the Cardholder name, account name, expiration date,
  Authorization Code, and Transaction amount

ID#: 050411-010410-0004328



Visa Signature Card Customer Service Standards - AP Region

A Visa Signature Issuer in the AP Region must meet the customer service performance standards as
specified below. The Visa Signature Issuer must:

• Be capable of transferring calls to, and establishing and maintaining a telephone bridge, with the
  Visa Signature Customer Center
• Answer 90% of customer service calls by a customer service attendant within 15 seconds
• Immediately answer customer service calls by a voice response unit
• Provide an option that allows a Visa Signature Cardholder to transfer from a voice response unit to
  customer services at any time during the call
• Ensure a maximum call abandonment of no more than 5%




18 October 2011                                    VISA PUBLIC                                         281
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 319 of 1319
                                                   PageID #: 3512
                                    Visa International Operating Regulations


• Ensure the Visa Signature Cardholder is not placed on hold after a customer service agent has
  answered the call

ID#: 010410-010410-0004330



Visa Signature Card Marketing - AP Region

A Visa Signature Issuer in the AP Region must:

• Commit a defined level of advertising support for Visa Signature. Visa will define the level of
  support in consultation with Members in that market
• Receive written approval from Visa before the distribution of Cardholder communication materials
  for Visa Signature

ID#: 010410-010410-0004331



Visa Signature Card Provisional Credit for Disputed Transactions - AP Region

A Visa Signature Issuer in the AP Region must provide a provisional credit to the Cardholder's
account for the amount of the disputed Transaction within 24 hours of notification of a Cardholder
dispute. The disputed Transaction amount must be placed in a suspense account until the dispute is
resolved. The dispute notification may be either verbal or written.

ID#: 010410-010410-0004332



Visa Signature Card Requirements in Australia – AP Region

In addition to the requirements specified in the Visa International Operating Regulations, a Visa
Signature Issuer must issue Visa Signature Cards with:

• A Minimum Spending Limit of AUD 18,000
• A qualifying minimum annual retail sales volume spend threshold of AUD 48,000
• A minimum rewards points earn rate of 1.15% for every AUD 1 spent

ID#: 111011-060111-0026150



Visa Signature Card Issuer Certification - LAC Region

Before issuing a Visa Signature Card, an LAC Issuer must receive written certification from Visa that
the Issuer complies with all Visa Signature product requirements and standards.

ID#: 050411-010410-0004482




282                                                VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 320 of 1319
                                               PageID #: 3513
                                    Visa International Operating Regulations




Visa Signature Card Travel Rewards Program - LAC Region

A Visa Signature Card Issuer in the LAC Region must provide a travel rewards program that offers
Cardholders, through purchases with Visa Signature, the ability to accumulate points that can be
redeemed for, at a minimum, Airline travel. The travel rewards program may be sponsored by Visa
(Visa Rewards), an Issuer, or an Issuer/Airline co-branded program. Cardholders must not be
assessed an additional fee for membership in the travel rewards program.

ID#: 010410-010410-0004500



Visa Signature Preferred Cards - U.S. Region


Visa Signature Preferred Card Issuer Requirements - U.S. Region

A Visa Signature Preferred Issuer in the U.S. Region must:

• Complete the implementation forms and comply with the requirements specified in the Visa
  Signature Product and Implementation Guide
• Comply with the following:
  – "Consumer Card Issuer Requirements - U.S. Region"
  – Visa Enhancements Resource Guide
  – Visa Signature Product and Implementation Guide - U.S. Region
  – Effective 24 February 2011, Visa Consumer Charge Card Product and Implementation Guide -
    U.S. Region, if applicable

ID#: 151011-240211-0008319



Visa Signature Preferred Card Account Number/BIN - U.S. Region

A Visa Signature Preferred Issuer in the U.S. Region that supports:

• Account level processing may designate individual Account Numbers for its Visa Signature
  Preferred Cards
• Account range processing may designate an Account Number range within a credit BIN for its Visa
  Signature Preferred Cards
• BIN level processing must use a unique BIN assigned to it by Visa for its Visa Signature Preferred
  Account Numbers and either:
  – Choose a BIN from a BIN range previously assigned (if using a previously assigned BIN, notify
    Visa of the selected BIN before issuing any Visa Signature Preferred Cards)
  – Request a new BIN assignment

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18 October 2011                                    VISA PUBLIC                                     283
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15         Page: 321 of 1319
                                                   PageID #: 3514
                                    Visa International Operating Regulations




Visa Signature Preferred Card Spending Limits and Payment Options - U.S. Region
(Updated)

A Visa Signature Preferred Issuer in the U.S. Region:

• Must issue its Visa Signature Preferred Cards with no pre-set spending limit for purchase
  Transactions
• May allow the Visa Signature Preferred Cardholder the option to either:
     – Pay in full each statement cycle. Effective 24 February 2011, the minimum spending limit for a
       Visa Signature Card issued as a Visa Charge Card must not be less than $2,000 per month.
     – Revolve. [37] If the Visa Signature Preferred Cardholder is allowed the option to revolve, the
       Issuer must permit a minimum revolving balance of at least US $5,000 during each statement
       cycle.

The Issuer may establish a pre-set spending limit for:

• Cash Disbursement Transactions
• Transactions resulting from an Emergency Card Replacement

ID#: 171011-240211-0008326



Visa Signature Preferred Cardholder Notification - U.S. Region

A Visa Signature Preferred Issuer in the U.S. Region must provide notification to the Cardholder:

• Before ongoing Transactions can be declined
• Before an account is suspended or closed for any reason

ID#: 010410-010410-0003919



Visa Signature Preferred Card Customer Service Telephone Number - U.S. Region

Each U.S. Issuer must provide the toll-free telephone number of its own customer service center,
which must be printed on the back of the Visa Signature Preferred Card.

If the Issuer's customer service center for Visa Signature Preferred Cardholders uses an
automated response menu, the Cardholder must be given an early and ongoing option to talk to a
knowledgeable representative.

ID#: 010410-010410-0008330




37    Effective 24 February 2011, this option does not apply to Visa Charge Cards.

284                                                VISA PUBLIC                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 322 of 1319
                                               PageID #: 3515
                                    Visa International Operating Regulations




Visa Signature Preferred Card Rewards Program Participation - U.S. Region (Updated)

A Visa Signature Preferred Issuer in the U.S. Region must:

• Offer a rewards program to its Visa Signature Preferred Cardholders in accordance with the
  requirements specified in the Visa Signature Product and Implementation Guide
• Notify Cardholders, at least quarterly, via billing statement or stand-alone statement, regarding
  reward points earned during the relevant period

ID#: 111011-010410-0003915



Visa Signature Preferred Card Visa Incentive Network Participation - U.S. Region

A Visa Signature Preferred Issuer in the U.S. Region must participate in the Visa Incentive Network
program, as specified in the Visa Incentive Network Member Implementation Guide, to qualify for the
Visa Signature Preferred Interchange Reimbursement Fees.

ID#: 010410-010410-0003916



Visa Signature Preferred Card Enhanced Billing Support - U.S. Region

A Visa Signature Preferred Issuer in the U.S. Region must provide enhanced billing support
resolution services, as specified in the Visa Signature Product and Implementation Guide.

ID#: 010410-010410-0003922



Visa Signature Preferred Cardholder Information - U.S. Region

Each U.S. Issuer must offer its Cardholders, during the application process, the option to have their
personal information kept confidential. If selected, the Issuer must not provide Cardholder or account
details to non-affiliated organizations for the purpose of marketing mailing lists, products, or services.
The Issuer may, for Affinity Card accounts, disclose that this option does not apply to the Affinity
Partner.

ID#: 010410-010410-0003924



Visa Signature Preferred Branding - U.S. Region

A Visa Signature Preferred Issuer in the U.S. Region must comply with the Visa Product Brand
Standards.

ID#: 010410-010410-0006198




18 October 2011                                    VISA PUBLIC                                         285
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15       Page: 323 of 1319
                                                   PageID #: 3516
                                    Visa International Operating Regulations




Visa Signature Preferred Card Website - U.S. Region

A Visa Signature Preferred Issuer in the U.S. Region must provide its Cardholders access to
a Website that offers special information and services specific to its Visa Signature Preferred
Cardholders.

ID#: 010410-010410-0003923



Visa Check Cards - U.S. Region


Visa Check Card Account Restrictions - U.S. Region

In the U.S. Region, a Visa Check Card may be used to access a deposit, investment, or other
consumer asset account, including a fiduciary account.

A Visa Check Card must not be used to obtain credit, as defined in 12 CFR Part 226 (Regulation Z),
unless it involves only an incidental extension of credit under an agreement between the Cardholder
and the Issuer either:

• When the Cardholder's account is overdrawn
• To maintain a specified minimum balance in the Cardholder's account

ID#: 010410-010410-0008332



Definition of Visa Check Card - U.S. Region

In the U.S. Region, Visa reserves the right to determine the application of the definition of the Visa
Check Card.

ID#: 010410-010410-0004154



Consumer Visa Deferred Debit Card - U.S. Region (Updated)

Effective through 30 September 2011, in the U.S. Region, a Consumer Visa Deferred Debit Card is
treated as a Visa credit Card for Interchange and Limited Acceptance category purposes.

Effective 1 October 2011, in the U.S. Region, a Consumer Visa Deferred Debit Card is treated as a
Visa credit Card for Limited Acceptance category purposes only.

ID#: 151011-010410-0004153




286                                                VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 324 of 1319
                                               PageID #: 3517
                                    Visa International Operating Regulations




Visa Check Card Activation - U.S. Region

A U.S. Issuer must require Card activation for all Visa Check Cards initially issued to Cardholders
who did not expressly request or apply for the Visa Check Card. Issuers are encouraged to require
Card activation for all Visa Check Cards.

As part of the Card activation process, Cardholders must be required to validate their identity by
reasonable means before being able to use the Card.

ID#: 010410-010410-0004158



Visa Check Card Funds Hold Release - U.S. Region

A Visa Check Card Issuer in the U.S. Region must release any hold on available funds in its
Cardholder's account as a result of an approved Authorization request either:

• When a matching Clearing Record is received, but no later than 3 business days from the
  Authorization request
• For a Real-Time Clearing Transaction:
  – Upon receipt of the Completion Message
  – Upon expiration of the time limit for completion specified in the preauthorization request if a
    Completion Message has not been received by that time.

This requirement does not apply if the Issuer determines that the Transaction or account involves
suspicious or unusual activity.

ID#: 081010-010410-0004159



Visa Check Card Provisional Credit for Disputed Transactions - U.S. Region

A Visa Check Card Issuer in the U.S. Region that receives notification from its Cardholder of
unauthorized Visa Transactions must provide provisional credit to the Cardholder's account within 5
business days of the notification.

The Issuer may require written confirmation from the Cardholder before providing provisional credit.

The Issuer may withhold providing provisional credit, to the extent allowed under applicable law, if the
Issuer determines that the circumstances or account history warrants the delay.

This requirement does not apply to ATM Cash Disbursements.

ID#: 010410-010410-0004166




18 October 2011                                    VISA PUBLIC                                        287
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 325 of 1319
                                                   PageID #: 3518
                                    Visa International Operating Regulations




Visa Check Card Credit Transaction Receipt - U.S. Region

A Visa Check Card Issuer in the U.S. Region must post a Credit Transaction Receipt to a
Cardholder's account within one business day of Settlement. The Issuer may place a hold on
the posted Credit Transaction Receipt, to the extent allowed under applicable law, if the Issuer
determines that the circumstances or account history warrant the delay.

ID#: 010410-010410-0004160



Visa Check Card POS Balance Inquiry Service - U.S. Region

A U.S. Visa Check Card Issuer must not provide account balance information in response to a POS
Balance Inquiry Service request on any of its Visa Check Card products, except to Visa for Rightcliq.

ID#: 111011-010410-0004161



POS Balance Inquiry Service for Rightcliq Users - U.S. Region

For Cards other than Visa Prepaid Cards, a U.S. Issuer may participate in the POS Balance Inquiry
Service to provide Card account balance information to Visa for Rightcliq.

ID#: 050411-181109-0025588



Campus Card Requirements - U.S. Region

A U.S. Issuer that chooses to participate in the Campus Card program must comply with the Visa
Campus Card Implementation Guide and Program Guidelines and Visa Product Brand Standards.

ID#: 081010-180509-0007968



Visa Check Card II Requirements - U.S. Region (Updated)

Effective through 30 June 2015, in addition to the requirements specified for Visa Check Cards, a
Visa Check Card II Issuer in the U.S. Region must be capable of:

• Supporting PINs for all Transaction types
• Supporting the Visa Cash Back Service
• Processing Transactions containing a non-Visa Acquirer BIN
• Complying with all Visa Check Card II requirements, as specified in the appropriate VisaNet
  manuals and the Visa Check Card II Implementation Guide

ID#: 111011-010410-0004170




288                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 326 of 1319
                                               PageID #: 3519
                                    Visa International Operating Regulations




Visa Check Card II Issuance – U.S. Region (New)

Effective through 30 June 2012, an Issuer may issue or reissue Visa Check Card II Cards. All Visa
Check Card II Cards must expire no later than 30 June 2015.

ID#: 111011-140412-0026504



Secured Cards


Secured Visa Card Solicitations - U.S. Region

A U.S. Member or its Agent that solicits a secured Visa Card account must:

• Specify in its solicitation material that to obtain the Visa Card, the potential Cardholder must open a
  deposit account that will serve as collateral for the Visa Card account
• Indicate the portion of the deposit that will be allocated as the line of credit accessed by the Visa
  Card
• Ensure that any secured Visa Card application processing fees accepted from the Cardholder are
  made payable to the Issuer, not the Agent

ID#: 010410-010410-0001217



Secured Visa Card Program Notification - U.S. Region

A U.S. Issuer that accepts a cash deposit as security for issuance of a Visa Card must notify Visa in
writing within 30 calendar days of any secured Visa Card program with 500 or more Cards.

The Issuer must include all of the following in the notification:

• Program start date
• Projected number of secured Visa Cards at the end of the first year of the program
• The role of any non-Member Agent that supports the program

ID#: 010410-010410-0008333



Secured Card Security Deposit Requirement - U.S. Region

A U.S. Issuer must hold any cash security deposit for issuance of a Visa Card in a federally insured
account in the name of the Cardholder.

The Issuer must not assign an interest in a security deposit to any Third Party.

ID#: 010410-010410-0008334




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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 327 of 1319
                                                   PageID #: 3520
                                    Visa International Operating Regulations




Secured Card Issuer Requirements - LAC Region

A Secured Card Issuer in the LAC Region must:

• Maintain a cash deposit as guarantee for issuance of a Visa Card in a bank account in the name of
  the Cardholder
• Upon Visa request, provide Visa available promotional materials. The promotional materials must
  clearly state that a security deposit is required as collateral for the issuance of a Secured Card

ID#: 010410-010410-0004526



Secured Card Promotion - LAC Region

A Secured Card Issuer in the LAC Region must receive prior written consent from Visa before using
Third Party agents for the promotion of the Secured Card. The Issuer must not assign an interest in a
deposit accepted as guarantee for issuance of a Visa Card to any Third Party agent.

ID#: 010410-010410-0004527



V PAY


V PAY Issuer Liability and Requirements - CEMEA Region

Effective through 31 December 2012, an Issuer of V PAY Cards in the CEMEA Region is liable
for the Transaction amount of any fully authorized and correctly processed Transactions completed
with a V PAY Card, whether online or offline and with or without a PIN. Wherever applicable, existing
Visa Smart Debit Credit Chip acceptance and online processing rules apply to V PAY Transactions
conducted outside the country of issuance.

Issuers of V PAY Cards must comply with the CEMEA V PAY Product Guide.

ID#: 111011-010311-0004448



V PAY Card Issuance – CEMEA Region

Effective 1 April 2011 through 31 December 2012, an Issuer of V PAY Cards in the CEMEA
Region may issue V PAY Cards only to exhaust existing card stocks. Any V PAY Cards issued by an
Issuer of V PAY Cards in the CEMEA Region after 1 April 2011 must have an expiration date of no
later than 31 December 2012.

Effective 1 January 2013, an Issuer in the CEMEA Region must not issue V PAY Cards.

ID#: 151011-010411-0026122




290                                                VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 328 of 1319
                                               PageID #: 3521
                                    Visa International Operating Regulations




Visa TravelMoney Program

Visa TravelMoney


Visa TravelMoney Participation

Issuer participation in the Visa TravelMoney Program is optional. To become an Issuer of Visa
TravelMoney Cards, an Issuer must:

• Comply with the requirements specified in the Visa International Prepaid Program Guidelines
• Be an active participant in the Card Verification Service
• Provide the Visa Global Customer Assistance Services Program, as specified in "Visa Global
  Customer Assistance Services Program Requirements"
• Issue pre-assigned or customer-selected PINs to all Visa TravelMoney Cards
• Accept a PIN for Cardholder verification at an ATM.
• Ensure that the Service Code encoded on the Magnetic Stripe complies with the Payment
  Technology Standards Manual
• At least 30 calendar days before issuing a Visa TravelMoney Card, submit to Visa written
  certification that its programs, systems, procedures, and services comply with the:
  – Visa International Operating Regulations
  – Visa International Prepaid Program Guidelines

ID#: 050411-010410-0002503



Visa TravelMoney Cards

This regulation applies to an Issuer of a Visa Prepaid Card bearing the Visa TravelMoney Wordmark
and either:

• Visa Brand Mark
• Visa Electron Mark

ID#: 111011-010100-0025547




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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 329 of 1319
                                                   PageID #: 3522
                                    Visa International Operating Regulations




Visa TravelMoney - ATM-Only Cards

A Visa TravelMoney Issuer licensee, as defined in the Visa International Certificate of Incorporation
and Bylaws, may only issue a Visa TravelMoney Card with ATM-only functionality.

ID#: 010410-010100-0025548



Visa TravelMoney Currencies

An Issuer may issue Visa TravelMoney Cards for values in one or more currencies.

ID#: 010410-010410-0002504



Visa TravelMoney Cardholder Notification

An Issuer of Visa TravelMoney Cards must inform its Cardholders that a Visa TravelMoney Card may
be used at a Visa/Plus ATM location.

ID#: 010410-010410-0002511



Visa TravelMoney Card Issuer Requirements

An Issuer of Visa TravelMoney Cards:

• Must provide Customer assistance services
• May provide forgotten PIN assistance

ID#: 010410-010410-0002615



Visa TravelMoney Access to Funds - U.S. Region

In the U.S. Region, if multiple Visa TravelMoney Cards are issued to the Cardholder, each Visa
TravelMoney Card must have full access to the Visa TravelMoney funds.

If one or more Visa TravelMoney Cards are lost, the remaining cards must still have access to funds.

If one or more Visa TravelMoney Cards are lost, stolen, or damaged, the Issuer must replace one or
more cards up to the total number of cards originally purchased.

ID#: 021209-150210-0008403




292                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 330 of 1319
                                               PageID #: 3523
                                    Visa International Operating Regulations




Visa TravelMoney Charges - U.S. Region

In the U.S. Region, Visa assesses Visa TravelMoney charges to the Issuer, as specified in the Visa
U.S.A. Fee Guide.

ID#: 081010-010410-0007320




Original Credit Transaction

Original Credit Transaction - General Requirements


Original Credit - Originating Member Requirements

An Originating Member must:

• Register each program that uses an Original Credit with Visa
• Comply with all Visa requirements, as specified in the Visa International Operating
  Regulations, Original Credits Member Requirements, and the Visa Money Transfer (VMT) Global
  Implementation Guide

ID#: 050411-010410-0006985



Original Credit - Permission to Initiate

A Member of a Visa Region that participates in Original Credit processing may initiate an Original
Credit Transaction unless prohibited by local law. For a list of participating Regions and permitted
Original Credits applications, see Original Credits Member Requirements and the Visa Money
Transfer (VMT) Global Implementation Guide.

ID#: 050411-010410-0006984




18 October 2011                                    VISA PUBLIC                                         293
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 331 of 1319
                                                   PageID #: 3524
                                    Visa International Operating Regulations




Visa Money Transfer

Money Transfer Original Credit – General Requirements


Money Transfer Original Credit Transaction Acceptance

Effective 9 December 2010, a Member must accept an incoming Money Transfer Original Credit
Transaction unless prohibited by local law. If prohibited by local law, a Member must submit a
written request to Visa to block incoming Money Transfer Original Credit Transactions. An exception
applies to Members in the U.S. Region as specified in "Money Transfer Original Credit Participation
Requirements - U.S. Region."

ID#: 080411-010100-0026073



Money Transfer Original Credit Participation Requirements - U.S. Region

Effective 15 February 2010 through 15 October 2010, upon prior written permission from Visa,
a U.S. Member may participate in Money Transfer Original Credit Program. The U.S. participating
Member:

• May initiate a Money Transfer Original Credit Transaction as an Originating Member
• May accept a Money Transfer Original Credit Transaction as a Recipient Member
• Must comply with the requirements specified in these Operating Regulations and the Visa Money
  Transfer (VMT) Global Implementation Guide

Effective 16 October 2010 through 14 April 2011, a U.S. Visa Debit (including Visa Prepaid) Card
Issuer must accept a Money Transfer Original Credit Transaction unless prohibited by local law.

A participating U.S. Member:

• May initiate a Money Transfer Original Credit Transaction as an Originating Member
• May, at its discretion, accept a Money Transfer Original Credit Transaction to a Visa credit Card as
  a Recipient Member
• Must comply with the requirements specified in the Visa International Operating Regulations and
  the Visa Money Transfer (VMT) Global Implementation Guide
• If prohibited by local law, must submit a written request to Visa to block incoming Money Transfer
  Original Credit processing

Effective 15 April 2011, a Visa Card Issuer in the U.S. region:

• May initiate a Money Transfer Original Credit Transaction as an Originating Member
• Must accept an incoming Money Transfer Original Credit Transaction unless prohibited by local law




294                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 332 of 1319
                                               PageID #: 3525
                                    Visa International Operating Regulations


• Must comply with the requirements specified in these Operating Regulations and the Visa Money
  Transfer (VMT) Global Implementation Guide
• If accepting a Money Transfer is prohibited by local law, must submit a written request to Visa to
  block incoming Money Transfer Original Credit Transactions

ID#: 111011-150411-0025763



Money Transfer Originating Member Requirements - U.S. Region

A U.S. Originating Member must:

• Register with Visa prior to participating in the Money Transfer Original Credit Program
• Validate sender data
• Comply with "Anti-Money Laundering Requirements - U.S. Region"
• Provide proper disclosure to the sender regarding the collection of sender data

ID#: 111011-150210-0025764



Money Transfer Original Credit Transaction Limitations - U.S. Region

A U.S. Recipient Member must block incoming Money Transfer Original Credit Transactions for any
Cards or accounts where regional or local laws prohibit such Transactions. The Member must also
block incoming Money Transfer Original Credit Transactions for Visa Prepaid Cards if any of the
following:

• The identifying Cardholder data is not on file
• The Visa Prepaid Card only supports load from a single entity (e.g., a Payroll Card or an employee
  benefits Card loaded by an employer)
• The Prepaid Card is Non-Reloadable

Each Money Transfer Original Credit Transaction:

• Must involve only a single sender and a single recipient
• Must not exceed US $2,500

ID#: 111011-150210-0025765




18 October 2011                                    VISA PUBLIC                                         295
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 333 of 1319
                                                   PageID #: 3526
                                    Visa International Operating Regulations




Visa Commercial Products

Visa Commercial Products - General Requirements


Commercial Card Issuance

An Issuer:

• May issue Visa Commercial Cards only to provide a means of payment for business-related goods
  and services
• Must not issue a Visa Commercial Card to an individual, except as follows:
  – Employees of public- or private-sector companies, including sole proprietors and self-employed
    individuals
  – Employees or contractors of an organization as part of an employer-sponsored program
  – At the discretion of Visa, members of an affinity group or association that requires a means to
    pay for business-related goods and services and is represented by a public- or private-sector
    company

ID#: 010410-010410-0003173



Commercial Card Certification

At least 30 calendar days before issuing a Visa Commercial Card, an Issuer must submit to Visa
written certification that its programs, systems, procedures, and services comply with the Visa
International Operating Regulations.

ID#: 010410-010410-0003175



BIN Requirements for Commercial Card Programs

An Issuer may establish multiple Visa Commercial Card programs within the same BIN.

An Issuer may use the same BIN for each of the following Visa Card program combinations:

• Silver and gold Visa Business Cards
• Silver and gold Visa Corporate Cards

ID#: 010410-010410-0008230




296                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                      Doc. #: 85-5 Filed: 02/12/15                 Page: 334 of 1319
                                                PageID #: 3527
                                     Visa International Operating Regulations




BIN Requirements for Program Conversion to Visa Business, Visa Corporate, or Visa
Purchasing Programs

If an Issuer is converting an existing Visa Program to a Visa Business Card, Visa Corporate Card, or
Visa Purchasing Card program, the Issuer may retain its existing BIN range, provided that it is used
exclusively for Visa Business Cards, Visa Corporate Cards, or Visa Purchasing Cards.

ID#: 010410-010410-0003177



Commercial Products BIN Requirements

For Commercial Products, an Issuer must not use an unused BIN from a previously assigned BIN
range without submitting a "BIN License Agreement" (available through the Visa Publication Center
on Visa Online) to Visa.

ID#: 050411-010410-0003178



Commercial Products Core Feature Requirements

A Visa Commercial Card Issuer must provide the core features specified in the table below:


                              Visa Commercial Card Core Feature Requirements

       Core Feature                 Visa Business       Visa Business           Visa Corporate   Visa Purchasing
                                         Card           Electron Card                Card              Card

    ATM Access                           X                     X                      X

    Central or                                                                        X
    Individual Billing

    Centralized Billing                                                                                X

    Local Currency                       X                     X                      X                X
    Billing

    Service Level                        X                     X                      X                X
    Standards

    Charge Card                                                                       X                X

    Limited Corporate                                                                 X                X
    Liability

    Management                                                                        X                X
    Information
    Reporting

    Flexible                                                                                           X
    Transaction
    Authorization



18 October 2011                                     VISA PUBLIC                                               297
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      Case: 4:13-cv-02226-JAR                    Doc. #: 85-5 Filed: 02/12/15                    Page: 335 of 1319
                                                    PageID #: 3528
                                     Visa International Operating Regulations


        Core Feature                Visa Business       Visa Business           Visa Corporate      Visa Purchasing
                                         Card           Electron Card                Card                 Card

      Individual Memo                                                                                       X
      Statements


A description of the core features specified in the table above is provided below.

• ATM access - An Issuer must have the ability to offer a PIN to allow ATM Cash Disbursements,
  if requested. This ability is not required for Visa Purchasing Cards and not applicable to Vehicle-
  Specific Fleet Cards.
• Central or individual billing - An Issuer must offer the following billing options:
  – Individual Cardholder billing with individual payment
  – Individual Cardholder billing with centralized company payment
  – Centralized company billing and payment
• Local currency billing - An Issuer must have the ability to bill the subscribing company's
  Cardholders in the local currency of the country where the company and Cardholder physically
  reside
• Service level standards - An Issuer must comply with the mandated referral and approval rates
  specified in the "Maximum Monthly Referral Rates" table and the "Minimum Monthly Approval
  Rates" table
• Charge Card - An Issuer must have the ability to offer a non-revolving, pay-in-full option
• Limited corporate liability - An Issuer must be capable of providing insurance coverage to the
  subscribing company (where available) in the event of Visa Corporate or Visa Purchasing Card
  misuse by employees
• Management information reporting - An Issuer must provide management information reports on
  Card usage to the subscribing company as follows:
  – Detailed Visa Corporate Card spending by vendor, employee, and company organization units
  – Detailed Visa Purchasing Card spending activity necessary to administer a Visa Purchasing
    Card program. Spending activity processing requirements may be defined by Visa.
• Flexible Transaction Authorization - An Issuer must have the ability to restrict a purchase based
  upon a Transaction amount or Merchant Category Code specified by a client
• Individual memo statements - An Issuer must have the ability to send a Transaction verification
  statement to each Cardholder

Additional detailed information regarding insurance availability, options, and features is available from
Visa upon request.

ID#: 111011-010410-0009018



Commercial Products Core Services

A Visa Commercial Card Issuer must provide to its Cardholders all of the core services specified in
the table below:



298                                                 VISA PUBLIC                                       18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15               Page: 336 of 1319
                                               PageID #: 3529
                                    Visa International Operating Regulations



                                Visa Commercial Card Mandatory Core Services

                      Mandatory Core Services                             Visa           Visa         Visa
                                                                        Business       Corporate   Purchasing
                                                                         Card
                                                                              1          Card         Card

    Customer support services, as specified in the "Visa                       X          X            X
    Global Customer Assistance Services Program Eligibility
    Requirements by Product" table

    Medical referral, medical assistance, and emergency                        X          X           Not
    services
             2                                                                                     applicable

    Legal referral, legal assistance, and cash advance                         X          X           Not
    services
             2                                                                                     applicable

    Free 24-hour telephone number to obtain emergency                          X          X            X
    services (Issuer must communicate the telephone number
    to the Cardholder at least once each year)

    1.    Visa Business Electron Cards must comply with the Visa Global Customer Assistance Services
          Program requirements for Visa Electron Cards specified in "Visa Global Customer Assistance Services
          Program Eligibility Requirements by Product" table.
    2.    A variance to this requirement applies in the jurisdiction of Visa Europe.

ID#: 081010-010410-0003185



Visa Central Travel Account - Issuance Requirements (New)

Effective 14 July 2011, all Visa Central Travel Accounts must be:

• Issued using a Visa Corporate Card BIN or a Visa Purchasing Card BIN.
• Linked to Virtual Account when available or to a physical Visa Card Number. Multiple Visa Central
  Travel Accounts may be issued (with either a physical Card or a Virtual Account).
• Issued to a commercial entity or a designated unit of the entity.

ID#: 111011-140711-0026396



Visa Central Travel Account - Issuer Liability (Updated)

Effective 14 July 2011, all Visa Central Travel Accounts may be issued with or without a physical
Card. The Issuer assumes full liability for any misuse on physical Cards issued on a Visa Central
Travel Account.

ID#: 171011-140711-0026397



Visa Central Travel Account - Core Feature Requirements (Updated)

Effective 14 July 2011, all Visa Central Travel Account Issuers must:



18 October 2011                                    VISA PUBLIC                                              299
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                                                   PageID #: 3530
                                    Visa International Operating Regulations


• Comply with the core feature requirements for the applicable product
• Provide travel accident insurance coverage when travel-related tickets are purchased using the
  Visa Central Travel Account. If standard policies do not include Visa Central Travel Accounts,
  Members must purchase coverage through Visa or another provider.
• Comply with Visa Commercial Format Specifications and offer electronic management information
  reports at a company level detailing all spend relating to the company account on at least a
  monthly basis. The management information reports must include at a minimum:
  – Ticket number
  – Passenger name
  – Date of travel

ID#: 151011-140711-0026398



Visa Central Travel Account - Issuer Fees (Updated)

Effective 14 July 2011, Visa assesses fees for all Visa Central Travel Accounts as specified in the
applicable pricing guide.

ID#: 151011-140711-0026399



Visa Commercial Card Enhanced Data - Canada Region

In the Canada Region, a Member or a Member's client participating in the Enhanced Data Service
must comply with the Visa Enhanced Data Member Terms and Conditions, subject to the following
amendments to such Terms and Conditions:

• The first sentence of the preamble will be revised to read: "These Member Terms and Conditions
  apply to Visa International Service Association and Visa Canada's (together "Visa") suite of..."
• Section 6.1 will be revised to read: "Except with respect to the Purchasing Card portion of the
  Enhanced Data Service provided by Visa Canada, Visa will provide..."

ID#: 010410-010410-0004187



Gold Visa Business Card and Gold Visa Corporate Card Issuance Requirements -
Canada Region

In the Canada Region, participation in the Gold Visa Business Card and/or Gold Visa Corporate
Card programs is optional. However, if a Canada Member participates, it must provide at a minimum
the core services and features required for Visa Gold Cards and Visa Business Cards or Visa Gold
Cards and Visa Corporate Cards (as applicable) as specified in the Visa International Operating
Regulations. A Member may offer enhanced services and features that are greater than the required
core services and features.

ID#: 010410-010410-0008231




300                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 338 of 1319
                                               PageID #: 3531
                                    Visa International Operating Regulations




Platinum Visa Business Card and Platinum Visa Corporate Card Operating
Regulations - Canada Region

In the Canada Region, all provisions of the Visa International Operating Regulations governing
issuance of Gold Visa Business Cards and Gold Visa Corporate Cards apply to the issuance of
Platinum Visa Business Cards and Platinum Visa Corporate Cards.

ID#: 010410-010410-0006924



Commercial Visa Product Types - U.S. Region

In the U.S. Region, a Commercial Visa Product Issuer must refer to the Commercial Visa Product as
one of the following types of Cards for business expense use:

• Visa Business Card
• Visa Corporate Card
• Visa Purchasing Card

ID#: 010410-010410-0004214



Commercial Visa Product BIN Requirements - U.S. Region (Updated)

A U.S. Issuer must use a unique BIN for each of the following Commercial Visa Product Account
Numbers:

• Visa Corporate Card
• Visa Purchasing Card
• Visa Business Check Card
• Visa Business Platinum Check Card
• Visa Prepaid Business Card
• Visa Prepaid Corporate Card
• Visa Prepaid Purchasing Card
• Effective through 14 October 2011, Visa Business Credit Card
• Effective through 14 October 2011, Visa Business Platinum Credit Card
• Effective through 14 October 2011, Visa Signature Business Card

Effective 15 October 2011, a U.S. Issuer that supports account level processing may use the same
BIN for:

• Visa Business Credit Card
• Visa Business Enhanced Card
• Visa Business Platinum Credit Card


18 October 2011                                    VISA PUBLIC                                     301
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15       Page: 339 of 1319
                                                   PageID #: 3532
                                    Visa International Operating Regulations


• Visa Signature Business Card

Effective 15 October 2011, a U.S. Issuer must not designate a BIN exclusively for Visa Business
Enhanced or Visa Signature Business account ranges.

ID#: 111011-010410-0004215



BIN Requirements for Conversion to Visa Commercial Program - U.S. Region

If a U.S. Issuer is converting an existing business Visa Program to a Commercial Visa Product, the
Issuer may retain its existing BIN if it is used exclusively for a Commercial Visa Product after notifying
Visa of the conversion.

ID#: 010410-010410-0004218



Commercial Visa Products - Issuer Certification - U.S. Region

Before issuing Commercial Visa Products, a U.S. Issuer must:

• Submit to Visa:
  – Written certification that its programs, systems, procedures, and services comply with the Visa
    International Operating Regulations
  – A completed implementation checklist signed by an authorized officer of the Member, as
    specified in the implementation materials available from Visa upon request
• Demonstrate that it meets the minimum processing standards, including requirements specified in
  the implementation materials available from Visa upon request
• Receive Visa acknowledgment that Visa received the completed checklist
• Pay the one-time certification fee, as specified in the Visa U.S A. Fee Guide

ID#: 050411-010410-0004223



Commercial Visa Product Enhancements - U.S. Region

In the U.S. Region, a Commercial Visa Product Issuer must comply with the benefit requirements in
the Visa Enhancements Resource Guide.

ID#: 010410-010410-0004224



Commercial Visa Products for Client Organizations - U.S. Region

A U.S. Issuer that currently services Client Organizations with other Visa Programs is not required to
convert its existing Cards to a Commercial Visa Product. However, the Issuer must convert the Cards
to a Commercial Visa Product in order to receive the associated benefits.

ID#: 010410-010410-0004227




302                                                VISA PUBLIC                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 340 of 1319
                                               PageID #: 3533
                                    Visa International Operating Regulations




Commercial Visa Products Issuance Standards and Fines - U.S. Region

In the U.S. Region, a Commercial Visa Product Issuer must comply with the issuance standards
specified in the:

• Visa International Operating Regulations
• Commercial Visa Product implementation materials available from Visa

A U.S. Issuer that knowingly violates these standards in order to obtain Commercial Visa Product
benefits is subject to fines equal to 3 times the amount of the benefits attributable to the violation, as
calculated by Visa.

ID#: 010410-010410-0008820



Commercial Card Core Feature Descriptions - U.S. Region (Updated)

For U.S. Issuers, a description of the core features specified in "Visa Business Card Requirements
- U.S. Region," "Visa Corporate Card Core Features - U.S. Region," "Visa Purchasing Card Core
Features - U.S. Region," and "Visa Meetings Card Core Features - U.S. Region" is provided below:

• ATM access - An Issuer must have the ability to offer a PIN to allow ATM Cash Disbursements, if
  requested, and comply with the requirements for participation in the Visa ATM Network
• Central or individual billing - An Issuer must offer individual Cardholder billing or centralized
  company billing
• Charge Card option - An Issuer must offer a non-revolving, pay-in-full option
• Individual memo statements - An Issuer must send Transaction verification statements to each
  Cardholder when the Client Organization participates in the centralized company billing option
• Limited corporate liability - An Issuer must provide insurance coverage to the Client Organization
  (where available) in the event of Commercial Visa Product misuse by employees. Additional
  detailed information regarding insurance availability, options, and features is available from Visa
  upon request.
• Effective through 14 October 2011, Visa business management information reports - A Visa
  Business Card Issuer may offer management information reporting. If an Issuer offers management
  information reporting, it must offer the reports as specified in the Visa Business Implementation
  Guide.
• Visa corporate management information reports - An Issuer must provide management information
  reports on Visa Corporate Card usage to the Client Organization as follows:
  – Detailed Visa corporate spending by vendor, employee, and company organization units
  – In formats and distribution agreed upon by the Issuer and the Client Organization

ID#: 111011-010410-0004237




18 October 2011                                    VISA PUBLIC                                          303
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 341 of 1319
                                                   PageID #: 3534
                                    Visa International Operating Regulations




Visa Meetings Card


Visa Meetings Card Requirements

A Visa Meetings Card Issuer must comply with the requirements specified in the Visa Product Brand
Standards and Visa Meetings Card Implementation Guide.

ID#: 010410-010410-0004229



Visa Meetings Card Core Features

A Visa Meetings Card Issuer must offer all of the core features described in "Commercial Products
Core Feature Requirements" except for billing, where only centralized company billing and payment
may be offered.

ID#: 010410-010410-0004230



Visa Meetings Card Core Services

A Visa Meetings Card Issuer must offer the core services described for a Visa Corporate Card in the
"Visa Commercial Card Mandatory Core Services" table.

ID#: 010410-010410-0004231



Visa Meetings Card Customer Support Services

A Visa Meetings Card Issuer must offer the customer support services described for a Visa Corporate
Card in the "Visa Global Customer Assistance Services Program Eligibility Requirements by Product"
table.

ID#: 081010-010410-0004232



Visa Meetings Card BIN

A Visa Meetings Card Issuer must assign either:

• A specific Visa Corporate Card or Visa Purchasing Card BIN
• An account range within an existing Visa Corporate Card or Visa Purchasing Card BIN

ID#: 010410-010410-0004233



Visa Meetings Card BIN - U.S. Region

A U.S. Issuer offering Visa Meetings Cards must either:


304                                                VISA PUBLIC                       18 October 2011
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                                               PageID #: 3535
                                    Visa International Operating Regulations


• Use a BIN from the BIN range reserved for Purchasing Cards
• Use an Account Number range within an existing Visa Purchasing Card BIN

ID#: 010410-010410-0004334



Visa Meetings Card Core Features - U.S. Region

In the U.S. Region, a Visa Meetings Card Issuer must provide all of the core features specified below,
as described in "Commercial Card Core Feature Descriptions - U.S. Region" except for billing, where
only centralized company billing and payment may be offered:

• ATM access
• Central billing
• Charge Card option
• Individual memo statements
• Limited corporate liability

ID#: 010410-010410-0004335



Visa Meetings Card Authorization Processing - U.S. Region

In the U.S. Region, a Visa Meetings Card Issuer must have the ability to decline an Authorization
Request based on the following factors, if the Client Organization has specified these or other factors:

• Merchant Category Code
• Transaction amount
• Location of Merchant Outlet

ID#: 010410-010410-0004354



Prepaid Commercial


Commercial Visa Prepaid Product Requirements

A Commercial Visa Prepaid Product Issuer must comply with the:

• Visa Prepaid Card requirements
• General Visa Commercial Card requirements specified in the Visa International Operating
  Regulations

ID#: 081010-010100-0025575




18 October 2011                                    VISA PUBLIC                                       305
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 343 of 1319
                                                   PageID #: 3536
                                    Visa International Operating Regulations




Visa Agro Card - LAC Region


Visa Agro Issuer Requirements – LAC Region (New)

Effective 8 September 2011, in the LAC Region, an Issuer of Visa Commercial Cards may issue a
Visa Agro Card as any of the following:

• Credit
• Debit
• Prepaid commercial, excluding Cards issued in Brazil
• Visa Electron

The Issuer may combine Visa Agro Cards with the commercial applications or commercial products
described above.

Visa Agro Card Issuers must comply with the regulations of each product and application associated
with the Visa Agro Card.

ID#: 111011-010100-0026520



Visa Agro BIN - LAC Region (New)

Effective 8 September 2011, all Issuers of Visa Agro Cards in the LAC Region, except for Issuers in
Brazil, must assign either:

• A specific Visa Purchasing Card or Commercial Visa Prepaid Product BIN
• An account range within an existing Visa Purchasing Card or Commercial Visa Prepaid Product
  BIN

Effective 1 May 2012, an Issuer of Visa Agro Cards in Brazil, must use a specific BIN or a separate
and unique account range for its Visa Agro Card.

ID#: 111011-010100-0026521



Visa Agro Card Core Features – LAC Region (New)

Effective 8 September 2011, a Visa Agro Card Issuer must offer the following core features:

• Centralized billing
• Local currency billing
• Service level standards
• Management information reporting
• Flexible Transaction Authorization


306                                                VISA PUBLIC                       18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 344 of 1319
                                               PageID #: 3537
                                    Visa International Operating Regulations



Visa Agro Card Issuers have the option to offer the following features:

• ATM Access, excluding Cards issued in Brazil
• Charge Card
• Limited corporate liability

ID#: 111011-010100-0026522



Visa Agro Card Core Services – LAC Region (New)

Effective 8 September 2011, a Visa Agro Card Issuer must offer the following core services:

• Cardholder inquiry service
• Emergency Card replacement
• Lost/Stolen Card reporting
• Exception File updates
• Free 24-hour telephone number to obtain emergency services (Issuer must communicate the
  telephone number to the Cardholder at least once each year)

For Visa Agro Prepaid commercial Cards, Issuers must offer the customer support services for Visa
Prepaid Cards, as specified in the “Visa Global Customer Assistance Services Program Eligibility
Requirements by Product” table.

ID#: 111011-010100-0026523



Visa Agro Card Selective Authorization – LAC Region (New)

Effective 8 September 2011, a Visa Agro Card Issuer may decline an Authorization Request based
on the following factors, if the Client Organization has specified these or other factors:

• Merchant Category Code
• Transaction amount
• Location of Merchant Outlet

ID#: 111011-010100-0026524



Visa Agro Issuer Reporting Requirements - LAC Region (New)

Effective 8 September 2011, an Issuer of Visa Agro Cards, including Cards with multi-application
functionality, combining a Visa Agro Card with a credit, debit, Visa Electron, prepaid application or a V
Distribution Program, must report all statistics for each product or application separately through the
Quarterly Operating Certificate.

ID#: 111011-010100-0026525




18 October 2011                                    VISA PUBLIC                                       307
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 345 of 1319
                                                   PageID #: 3538
                                    Visa International Operating Regulations




Visa Commercial Business Products

Commercial Business Products General Requirements


Visa Business Card Issuers - AP Region

In the AP Region, a new Visa Business Card Issuer must provide, in addition to the core features
specified in "Commercial Products Core Feature Requirements," all the core features specified in this
section.

An existing Visa Business Card Issuer must comply with all of the following core feature requirements
for all Cards in circulation:

• Central or individual billing
• Limited corporate liability
• Travel accident insurance

The core features specified above and in "Visa Business Debit Card Core Features - AP Region" are
described as follows:

• Limited corporate liability - An Issuer must provide insurance coverage to the subscribing company
  (where available) in the event of Visa Business Card misuse by employees. However, this is
  applicable only to accounts with 2 or more Cards.
• Travel Accident Insurance - An Issuer must provide insurance coverage for loss of life or
  permanent injury to Cardholders from an accident occurring on transport, if the transport was paid
  for using the Visa Business Card
• Monthly reporting on individual Cardholder activity - An Issuer must provide a statement or
  information reports that show detailed Visa Business Debit Card spending by employee

ID#: 010410-010410-0008246



Visa Commercial Card Program Requirements - CEMEA Region

In the CEMEA Region, a Visa Business Card Issuer must comply with the Visa Business
Implementation Guide.

A Visa Business Card or Visa Corporate Card Issuer must comply with the Global Customer
Assistance Services Member Guide - CEMEA Region.

ID#: 010410-010410-0008232




308                                                VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 346 of 1319
                                               PageID #: 3539
                                    Visa International Operating Regulations




Visa Business Card Spending Limit - CEMEA Region

In the CEMEA Region, a Visa Business Card Issuer must offer its Cardholder a minimum spending
limit of US $5,000.

A variance to this requirement applies to Members in Afghanistan and Pakistan.

ID#: 050411-010410-0004190



Visa Business/Visa Corporate Card Emergency Services - CEMEA Region

In the CEMEA Region, a Visa Business Card or Visa Corporate Card Issuer must provide the
following emergency services to its Cardholders at no extra cost. Information about these core
services is available from Visa upon request.

Emergency medical referral services must include:

• 24-hour medical assistance worldwide
• Referral service to medical specialists abroad
• Cash advance for hospital admission deposit
• Referral to agency for dispatch of medicines or medical equipment

Emergency legal referral services must include:

• 24-hour referral service to a legal advisor worldwide
• Bail bond assistance (payment of bail or emergency legal fees by an appointed agent)

ID#: 010410-010410-0008247



Visa Business/Visa Corporate Card Travel Assistance Services - CEMEA Region

In the CEMEA Region, a Visa Business Card or Visa Corporate Card Issuer must provide the
following travel assistance services to its Cardholders:

• Travel delay
• Baggage delay
• Document replacement
• Emergency message service
• Lost/Stolen Card Reporting Service
• Hotel Reservation Service

ID#: 010410-010410-0006958




18 October 2011                                    VISA PUBLIC                                     309
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 347 of 1319
                                                   PageID #: 3540
                                    Visa International Operating Regulations




Visa Business Card Issuer Requirements - U.S. Region (Updated)

In the U.S. Region, a Visa Business Card Issuer must:

• Provide ATM access, as described in "Commercial Card Core Feature Descriptions - U.S. Region"
• Effective through 14 October 2011, adhere to service level standards specified in the
  implementation materials available from Visa upon request
• Effective 15 October 2011, comply with the requirements specified in the Visa Business Credit
  Cards Product and Implementation Guide - U.S. Region

ID#: 111011-010410-0004247



Visa Business Card Management Information Reporting - U.S. Region (Updated)

Effective through 14 October 2011, in the U.S. Region, a Visa Business Card Issuer may offer
management information reporting. If an Issuer offers management information reporting, it must offer
the reports as specified in the Visa Business Implementation Guide.

ID#: 111011-010410-0004248



Visa Business Card Account Billing Options - U.S. Region

A U.S. Issuer may offer its Visa Business Card Cardholders any of the following account billing
options:

• Line of credit
• Depository account
• Other company assets available through the Issuer
• Charge Card (non-revolving, pay-in-full)

ID#: 010410-010410-0004293



Visa Business Enhanced Cards


Visa Business Enhanced Card Issuer Requirements - U.S. Region (Updated)

Effective 15 October 2011, in the U.S. Region, a Visa Business Enhanced Card Issuer must:

• Complete the certification form in the Visa Business Credit Cards Product and Implementation
  Guide – U.S. Region
• Support account-level processing
• Participate in Visa SavingsEdge
• Comply with:

310                                                VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 348 of 1319
                                               PageID #: 3541
                                    Visa International Operating Regulations


  – Visa Business Credit Cards Product and Implementation Guide – U.S. Region
  – Visa Enhancements Resource Guide
  – Visa Product Brand Standards

ID#: 151011-151011-0026349



Visa Business Enhanced Card Rewards Program - U.S. Region (Updated)

Effective 15 October 2011, in the U.S. Region, a Visa Business Enhanced Card Issuer must:

• Offer a rewards program to its Visa Business Enhanced Cardholders, as specified in the Visa
  Business Credit Cards Product and Implementation Guide – U.S. Region
• Notify Cardholders, at least annually, via billing statement or standalone statement, of rewards
  points earned during the relevant period

ID#: 161111-151011-0026350



Visa Business Platinum Cards


Visa Business Platinum Credit and Visa Business Platinum Check Card Customer
Service Telephone Number - U.S. Region

A U.S. Issuer that issues a Visa business platinum credit or Visa Business Platinum Check Card must
provide all of its Cardholders with a telephone number for obtaining customer service, 24 hours a day,
7 days a week.

ID#: 010410-010410-0004249



Visa Signature Business Cards


Visa Signature Business Card Issuance – AP Region

Effective 1 January 2011, at the option of Visa, an AP Issuer may offer a Visa Signature
Business Card, subject to trademark availability. The Visa Signature Business Card may be issued:

• With charge or credit capability
• To Cardholders who meet a preset minimum annual retail sales volume spend threshold. The
  qualifying level of annual retail sales volume spend will be specified for each individual country
  in which Visa Signature Business Cards are issued. If more than 15% of the accounts in an
  Issuer's portfolio does not meet the spend threshold, the Issuer will be required to implement spend
  stimulation programs in consultation with Visa.

ID#: 050411-010111-0026093




18 October 2011                                    VISA PUBLIC                                       311
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 349 of 1319
                                                   PageID #: 3542
                                    Visa International Operating Regulations




Visa Signature Business Card BIN Requirements – AP Region

Effective 1 January 2011, in the AP Region, a Visa Signature Business Issuer must use a unique
BIN for its Visa Signature Business Card Account Numbers and not share an account range of a non-
Visa Signature Business BIN.

A Visa Signature Business Issuer must not reclassify a BIN to represent a product other than a Visa
Signature Business Card without permission from Visa.

ID#: 050411-010111-0026094



Visa Signature Business Card Spending Limit – AP Region

Effective 1 January 2011, in the AP Region, a Visa Signature Business Issuer may choose either of
the following spending limit options:

• No pre-set spending limit for purchase Transactions, subject to local law requirements
• A Minimum Spending Limit of US $15,000, or local currency equivalent, for Transactions
  during each statement cycle

The Visa Signature Business Issuer may establish a pre-set spending limit for:

• Cash Disbursement Transactions
• Transactions resulting from an Emergency Card Replacement

The Visa Signature Business Issuer may allow a Visa Signature Business Cardholder the option to
either:

• Pay in full each statement cycle
• Revolve

If positioned as a revolving product, the Issuer must permit a minimum revolving balance of at least
US $10,000 during each statement cycle.

ID#: 090411-010111-0026095



Visa Signature Business Card Rewards Program Requirements – AP Region

Effective 1 January 2011, in the AP Region, a Visa Signature Business Issuer must offer a rewards
program to its Visa Signature Business Cardholders.

The Visa Signature Business rewards program must offer a minimum rewards earn rate equal to the
rate offered by the same Issuer for a consumer Visa Signature Card in the same country or region, or
the applicable country consumer Visa Signature minimum rewards rate, whichever is higher.




312                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15             Page: 350 of 1319
                                               PageID #: 3543
                                    Visa International Operating Regulations



The Issuer must, at a minimum, notify Cardholders about reward points earned quarterly, via a
regular billing statement or a stand-alone statement.

ID#: 050411-010111-0026096



Visa Signature Business Card Reporting Services – AP Region

Effective 1 January 2011, an AP Issuer must provide Visa Signature Business Cardholders with at
least annual reporting that includes:

• Total annual amount spent by Cardholder or company
• Summary of spending by Merchant category

The Issuer may either provide the reporting in-house or through Visa IntelliLink Spend Management.

ID#: 050411-010111-0026097



Visa Signature Business Card Authorization Requirements – AP Region

Effective 1 January 2011, except as specified in "Visa Signature Business Card Spending Limit -
AP Region" a Visa Signature Business Issuer in the AP Region must not decline a Transaction for
exceeding a pre-set spending limit of any kind.

The Visa Signature Business Card Issuer must decline or refer Transactions, only as specified in the
following table:


                Visa Signature Business Card Allowable Decline and Referral Reasons

                                       Circumstances                               Allowable Allowable
                                                                                    Reason Reason
                                                                                       for       for
                                                                                    Decline Referral

    Card used fraudulently                                                            X

    Following a referral, Issuer determines fraudulent situation                      X

    Following a completed referral, Issuer determines likelihood of default           X

    Transaction is out of compliance with Cardholder agreement                        X

    Cardholder notified to stop using Card, and account suspended or closed           X

    Issuer elected to decline all Transactions routed to International Automated      X
    Referral Service (IARS) Stand-In Processing; decline is the result of Issuer
    unavailability

    Over-limit on Cash Disbursements (unless Issuer is providing no pre-set           X
    cash limits)

    Over-limit on Emergency Replacement Card (unless Issuer is providing no           X
    pre-set spending on Emergency Replacement Card)


18 October 2011                                    VISA PUBLIC                                           313
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15               Page: 351 of 1319
                                                   PageID #: 3544
                                    Visa International Operating Regulations


                                       Circumstances                                Allowable Allowable
                                                                                     Reason Reason
                                                                                        for       for
                                                                                     Decline Referral

      Over-limit on Emergency Cash (unless Issuer is providing no pre-set cash         X
      limits on Emergency Cash)

      Issuer credit policy determines the likelihood of default                                  X

      Card used before activation                                                                X

      Delinquent account, but otherwise in good standing                                         X

      Delinquent account, account meets Issuer criteria to close/suspend prior to                X
      Cardholder notification

ID#: 080411-010111-0026098



Visa Signature Business Card Delinquent Accounts – AP Region

Effective 1 January 2011, for Cards with no pre-set spending limit, a Visa Signature Business Card
Issuer in the AP Region must provide notification to the Cardholder before ongoing Transactions can
be declined.

ID#: 050411-010111-0026099



Visa Signature Business Card - Other Requirements – AP Region

Effective 1 January 2011, at a minimum, a Visa Signature Business Issuer in the AP Region must
provide access to a customer service agent 24 hours a day, 7 days a week.

A Visa Signature Business Issuer must:

• Provide advance notification to the Cardholder when an account needs to be suspended or closed
  for any reason
• Monitor customer complaints related to Transaction Authorizations
• Identify action plans to improve customer service
• Make customer complaint information available to Visa

ID#: 050411-010111-0026100



Visa Signature Business Card Core Services – AP Region

Effective 1 January 2011, in the AP Region, a Visa Signature Business Issuer must offer to
its Cardholders all Visa Business Card core features specified in the AP Regional Operating
Regulations.

ID#: 050411-010111-0026101




314                                                VISA PUBLIC                                   18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 352 of 1319
                                               PageID #: 3545
                                    Visa International Operating Regulations




Visa Signature Business Card Marketing Support – AP Region

Effective 1 January 2011, in the AP Region, a Visa Signature Business Issuer intending to distribute
Merchant partnership or emergency services material to its Cardholders must receive written
approval from Visa prior to such distribution.

ID#: 050411-010111-0026102



Visa Signature Business Card Additional Core Services – AP Region

Effective 1 January 2011, in the AP Region, a Visa Signature Business Issuer must also provide the
following services:

• One or more insurance options that the Issuer may choose to apply, with a unit cost per premium
  that matches or exceeds the current unit cost of providing US $500,000, or local currency
  equivalent travel accident insurance, except where prohibited by local law. The Issuer must
  submit to Visa in writing, an official quote from an insurance company, for both the travel accident
  insurance and the proposed new features, at least 30 calendar days prior to its implementation.
• Emergency medical evacuation and repatriation services
• Emergency medical insurance when traveling, with medical expense benefit up to US $25,000, or
  local currency equivalent
• Concierge Services assistance available through a customer service attendant by telephone 24
  hours a day, 7 days a week, and offered in key international travel markets. The minimum services
  required are travel information and assistance, including:
  – Emergency travel arrangement provisions
  – Passport, visa and customs information
  – Country and major city information
  – Translation and message assistance
  – Transportation information
  – Restaurant, health club, entertainment events, shopping information and assistance with gift
    arrangement
  – ATM location guide
  – Weather forecast
  – Business Services

The Issuer must communicate the following Visa Signature Business Privileges Program information
to Cardholders:

• Visa Signature Business Privileges benefits at least once a year
• New benefits or changes to existing benefits, or exclusive quarterly Merchant offers at least 2
  months prior to the effective date of Visa Signature Business Merchant Privileges

ID#: 080411-010111-0026103



18 October 2011                                    VISA PUBLIC                                      315
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 353 of 1319
                                                   PageID #: 3546
                                    Visa International Operating Regulations




Visa Signature Business Card Emergency Assistance Services – AP Region

Effective 1 January 2011, in the AP Region, a Visa Signature Business Issuer must:

• Provide a free 24-hour telephone number where emergency service can be accessed
• Communicate the telephone number to the Cardholder annually

ID#: 050411-010111-0026104



Visa Signature Business Card Global Customer Care Services – AP Region

Effective 1 January 2011, in the AP Region, a Visa Signature Business Issuer must participate in the
following Visa Global Customer Care Services:

• Lost/Stolen Card Reporting Service
• Cardholder Inquiry Service
• Emergency Cash Service
• Emergency Card Replacement Service
• Emergency Payment Authorization Service

ID#: 050411-010111-0026105



Visa Signature Business Card Issuance - U.S. Region (Updated)

Effective through 14 October 2011, in the U.S. Region, a Visa Signature Business Issuer must:

• Complete the certification form included in the Visa Signature Business Product and
  Implementation Guide
• Comply with the requirements specified in the Visa Enhancements Resource Guide
• Comply with the Visa Business Signature requirements specified in the U.S. Regional Operating
  Regulations

ID#: 111011-010410-0008274



Visa Signature Business Card Issuer Requirements - U.S. Region (Updated)

Effective 15 October 2011, in the U.S. Region, a Visa Signature Business Card Issuer must:

• Complete the certification form included in the Visa Business Credit Cards Product and
  Implementation Guide – U.S. Region
• Support account-level processing
• Participate in Visa SavingsEdge
• Comply with:


316                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 354 of 1319
                                               PageID #: 3547
                                    Visa International Operating Regulations


  – Visa Business Credit Cards Product and Implementation Guide – U.S. Region
  – Visa Enhancements Resource Guide
  – Visa Product Brand Standards

ID#: 151011-151011-0026352



Visa Signature Business Card BIN Requirements - U.S. Region (Updated)

Effective through 14 October 2011, in the U.S. Region, a Visa Signature Business Issuer must:

• Use a unique BIN assigned to it by Visa for its Visa Signature Business Account Numbers and
  either:
  – Choose a BIN from a BIN range previously assigned
  – Request a new BIN assignment
• If using a previously assigned BIN, notify Visa of the selected BIN before issuing any Visa
  Signature Business Cards

ID#: 111011-010410-0004258



Visa Signature Business Card Payment Options - U.S. Region (Updated)

In the U.S. Region, a Visa Signature Business Issuer:

• May allow the Visa Signature Business Cardholder the option to either:
  – Pay in full each statement cycle
  – Revolve
• Effective through 14 October 2011, must issue its Visa Signature Business Cards with no pre-set
  spending limit for purchase Transactions

Effective through 14 October 2011, the Issuer may establish a pre-set spending limit for:

• Cash Disbursement Transactions
• Transactions resulting from an Emergency Card Replacement

ID#: 111011-010410-0008276



Visa Signature Business Card Minimum Revolving Balance - U.S. Region

If a U.S. Issuer positions a Visa Signature Business Card as a revolving product, it must permit a
minimum revolving balance during each statement cycle.

ID#: 111011-010410-0004261




18 October 2011                                    VISA PUBLIC                                       317
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 355 of 1319
                                                   PageID #: 3548
                                    Visa International Operating Regulations




Visa Information Source Select - U.S. Region (Updated)

Effective through 14 October 2011, in the U.S. Region, a Visa Signature Business Issuer must offer
Visa Information Source (VIS) Select as a core service of a Visa Signature Business Card. With prior
written approval from Visa, a Visa Signature Business Issuer may offer an equivalent daily transaction
reporting service that allows a Cardholder to obtain the minimum level data and reporting features, as
specified in the Visa Signature Business Product and Implementation Guide.

ID#: 111011-010410-0004273



Visa Signature Business Card Rewards Program - U.S. Region

In the U.S. Region, a Visa Signature Business Issuer must:

• Effective through 14 October 2011, offer a rewards program to its Visa Signature Business
  Cardholders, in accordance with the requirements specified in the Visa Signature Business
  Product and Implementation Guide
• Effective 15 October 2011, offer a rewards program to its Visa Signature Business Cardholders,
  as specified in the Visa Business Credit Cards Product and Implementation Guide – U.S. Region,
• Notify Cardholders, at least quarterly, via billing statement or standalone statement, regarding
  reward points earned during the relevant period

ID#: 111011-010410-0004274



Visa Signature Business Card Interchange Reimbursement Fee - U.S. Region
(Updated)

Effective through 14 October 2011, in the U.S. Region, the Visa Business Card Interchange
Reimbursement Fees apply to a Visa Signature Business Transaction.

ID#: 111011-010410-0004277



Visa Signature Business Cardholder Notification - U.S. Region

In the U.S. Region, a Visa Signature Business Issuer must provide notification to the Cardholder:

• Before ongoing Transactions may be declined
• When an account needs to be suspended or closed for any reason

ID#: 010410-010410-0004278



Visa Signature Business Card Customer Service Telephone Number - U.S. Region

Each U.S. Issuer of a Visa Signature Business Card must provide a toll-free telephone number of its
own customer service center where the Cardholder:


318                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 356 of 1319
                                               PageID #: 3549
                                    Visa International Operating Regulations


• May obtain customer service 24 hours a day, 7 days a week
• Is given an early and ongoing option to talk to a knowledgeable representative, if an automated
  response menu is used

ID#: 010410-010410-0004279



Visa Signature Business Card Enhanced Billing Support Resolution Services - U.S.
Region (Updated)

Effective through 14 October 2011, in the U.S. Region, a Visa Signature Business Issuer must
provide enhanced billing support resolution services, as specified in the Visa Signature Business
Product and Implementation Guide.

ID#: 111011-010410-0004280



Visa Signature Business Card Authorization Requirements - U.S. Region (Updated)

Effective through 14 October 2011, except as specified in "Visa Signature Business Card Spending
Limits and Payment Options - U.S. Region," a U.S. Visa Signature Business Issuer must not decline
a Transaction for exceeding a pre-set spending limit of any kind. Transactions must be approved or
declined based on:

• The absence of suspected fraud
• The Cardholder's spending patterns
• Issuer determination of the likelihood of default
• Issuer safety and soundness considerations

ID#: 111011-010410-0004275



Visa Signature Business Cardholder Information - U.S. Region (Updated)

Each U.S. Issuer must offer its Cardholders, during the application process for a Visa Signature
Business Card, the option to have their personal information kept confidential.

• Effective through 14 October 2011, if this option is selected, the Issuer must not provide
  Cardholder or account details to external organizations for the purpose of marketing mailing
  lists, products, or services, except to provide Visa Signature Business Card services specified
  in applicable sections of the Visa International Operating Regulations, Visa Signature Business
  Product and Implementation Guide, and the Visa Enhancements Resource Guide, as permitted by
  law
• Effective 15 October 2011, if this option is selected, the Issuer must not provide Cardholder
  or account details to external organizations for the purpose of marketing mailing lists, products,
  or services, except to provide Visa Signature Business Card services specified in applicable
  sections of the Visa International Operating Regulations, Visa Business Credit Cards Product and
  Implementation Guide - U.S. Region, and the Visa Enhancements Resource Guide, as permitted
  by law



18 October 2011                                    VISA PUBLIC                                      319
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15       Page: 357 of 1319
                                                   PageID #: 3550
                                    Visa International Operating Regulations


• The Issuer may, for Affinity Card accounts, disclose that this option does not apply to the Affinity
  Partner

ID#: 111011-010410-0004281



Liability for Visa Signature Business Card Transactions - U.S. Region

In the U.S. Region, upon receipt of notification from its Cardholder of unauthorized Visa Signature
Business Transactions, an Issuer must limit the Cardholder's liability for those Transactions to zero.

The Issuer may require the notification to be received within 60 calendar days of the mailing date of
the first statement showing unauthorized Visa Transactions.

The Issuer may increase the limit of the Cardholder's liability for unauthorized Transactions if it
reasonably determines, based on substantial evidence, that the Cardholder was grossly negligent in
the handling of the account or Card.

The Issuer may define an unauthorized Visa Transaction to exclude any Transaction allegedly
conducted by:

• A business co-owner
• The Cardholder or person authorized by the Cardholder
• Any other person with an interest in or authority to transact business on the account

ID#: 010410-010410-0008290



Visa Business Check Cards


Definition of Visa Business Check Card - U.S. Region

In the U.S. Region, Visa reserves the right to determine the application of the definition of the Visa
Business Check Card.

ID#: 010410-010410-0004255



Visa Business Check Card Account Access - U.S. Region

In the U.S. Region, a Visa Business Check Card may be used to access a deposit, investment, or
other business asset account, including a fiduciary account.

ID#: 010410-010410-0004252




320                                                VISA PUBLIC                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 358 of 1319
                                               PageID #: 3551
                                    Visa International Operating Regulations




Visa Business Check Card Limitations - U.S. Region

In the U.S. Region, a Visa Business Check Card must not be used to obtain credit, as defined in
12 CFR Part 226 (Regulation Z), unless it involves only an incidental extension of credit under an
agreement between the Cardholder and the Issuer either:

• When the Cardholder's account is overdrawn
• To maintain a specified minimum balance in the Cardholder's account

For Interchange category purposes, a Visa Business Check Card used to obtain credit, as specified
above, is not considered a Visa Business Check Card if:

• Actual debiting of funds from the business asset account occurs periodically rather than daily
• These periods are at least X days apart

ID#: 161111-010410-0008304



Visa Business Check Card Provisional Credit for Disputed Transactions - U.S. Region

Upon receipt of notification from its Cardholder of unauthorized Visa Transactions, a U.S. Issuer must
provide provisional credit to the Cardholder's account within 5 business days of the notification. The
Issuer may:

• Require written confirmation from the Cardholder before providing provisional credit
• Withhold provisional credit, to the extent allowed under applicable law, if the Issuer determines that
  the circumstances or account history warrant the delay

ID#: 010410-010410-0004256



Visa Business Electron Cards


Visa Business Electron Card Issuer Requirements

A Visa Business Electron Card Issuer must:

• Offer Visa Electron Program features specified in "Visa Electron Program Features." The Issuer
  must not offer Visa Card program features.
• Comply with the physical Card design requirements for Visa Electron Cards specified in the Visa
  Product Brand Standards
• Comply with the Visa Global Customer Assistance Services Program requirements for Visa
  Electron Cards specified in the "Visa Global Customer Assistance Services Program Eligibility
  Requirements by Product" table
• Ensure that the Card contains the Service Code for Visa Electron Cards, requiring Online
  Authorization



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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 359 of 1319
                                                   PageID #: 3552
                                    Visa International Operating Regulations



In the LAC Region, Issuers may issue Visa Corporate Electron Cards and Visa Purchasing Electron
Cards.

ID#: 081010-010410-0004162



Visa Business Electron Card Requirements - CEMEA Region

In the CEMEA Region, an Issuer of Visa Business Electron Cards that are restricted to domestic
use only is exempt from the requirements in "Visa Business/Visa Corporate Card Travel Assistance
Services - CEMEA Region," but may implement these requirements at its discretion.

ID#: 010410-010410-0004760



Visa Business Debit Cards - AP Region


Visa Business Debit Card Core Features - AP Region

In the AP Region, a Visa Business Debit Card Issuer must provide the following core features:

• ATM Access
• Service level standards
• Monthly reporting on individual Cardholder activity
• Limited corporate liability

These core features are described in "Visa Business Card Issuers - AP Region."

ID#: 010410-010410-0004176



Visa Infinite Business Cards - Canada Region


Visa Infinite Business Cards Issuer Requirements - Canada Region

A Canada Issuer must offer a Visa Infinite Business Card with the highest purchasing power available
within a Member's Visa Card portfolio.

A Canada Issuer may offer its Visa Infinite Business Cardholders with charge or credit capability.

At a minimum, a Canada Issuer must provide to its Visa Infinite Business Cardholders access to a
customer service agent 24 hours a day, 7 days a week.

In the Canada Region, a Visa Infinite Business Issuer must:

• Provide advance notification to the Cardholder when an account needs to be suspended or closed
  for any reason



322                                                VISA PUBLIC                         18 October 2011
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                                               PageID #: 3553
                                    Visa International Operating Regulations


• Monitor customer complaints related to Transaction Authorizations
• Identify action plans to improve customer service
• Make customer complaint information available to Visa

In the Canada Region, a Visa Infinite Business Issuer must offer some form of Transaction reporting
service that allows its Visa Infinite Business Cardholders to obtain minimum Transaction level data as
approved by Visa.

ID#: 050411-011109-0025615



Visa Infinite Business BIN Requirements - Canada Region

In the Canada Region, an Issuer must use a unique BIN for its Visa Infinite Business Card Account
Numbers and not share a BIN range.

The Issuer must not reclassify a BIN to represent a product other than the Visa Infinite Business Card
without prior permission from Visa.

ID#: 050411-010100-0025616



Visa Infinite Business Spending Limits - Canada Region

A Visa Infinite Business Card Issuer may use either of the following spending limit options:

• No pre-set spending limit
• A minimum credit limit

The Visa Infinite Business Card Issuer may establish a pre-set spending limit for:

• Cash Disbursement Transactions
• Transactions resulting from an Emergency Card Replacement

ID#: 111011-011109-0025617



Visa Infinite Business Authorization Requirements - Canada Region

In the Canada Region, a Visa Infinite Business Card Issuer must only decline or refer Visa Infinite
Business Transactions, as specified in "Visa Infinite Card Allowable Decline and Referral Reasons."

In the Canada Region, an Issuer must not decline a Visa Infinite Business Transaction for exceeding
a pre-set limit of any kind. Transactions must be approved or declined based on:

• The absence of suspected fraud
• The Cardholder's spending pattern
• Issuer determination of the likelihood of default



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                                                   PageID #: 3554
                                    Visa International Operating Regulations


• Issuer safety and soundness considerations

ID#: 050411-011109-0025618



Visa Infinite Business Delinquent Account - Canada Region

In the Canada Region, a Visa Infinite Business Issuer must provide notification to a Visa Infinite
Business Cardholders with no pre-set spending limit before ongoing Transactions can be declined.

ID#: 050411-011109-0025619



Visa Infinite Business Cardholder Qualifications - Canada Region

In the Canada Region, to qualify as a Visa Infinite Business Cardholder, the Cardholder must
demonstrate a minimum annual spend of CAD $36,000 per year or greater.

ID#: 050411-011109-0025620



Visa Infinite Business Rewards Program Requirements - Canada Region

In the Canada Region, a Visa Infinite Business Card Issuer must offer a rewards program to its Visa
Infinite Business Cardholders.

The Visa Infinite Business rewards program must offer a minimum rewards earn rate equal to either:

• The rate offered by the same Issuer for a Consumer Visa Infinite Card Program
• The rate offered by a peer Issuer for a consumer Infinite or Business Infinite card upon approval by
  Visa

The Issuer must, at a minimum, notify Cardholders monthly via a billing statement or a standalone
statement regarding reward points earned during the relevant period.

ID#: 050411-011109-0025621



Visa Infinite Business Web Services - Canada Region

In the Canada Region, a Visa Infinite Business Issuer must provide Web services through Visa or
other provider of choice with the following minimum standards:

• Provide a description of Visa Infinite Business Card services, benefits, and features
• Provide a detailed listing of the Visa Infinite Business Exclusive Privileges Merchant partner offers
• Include the following minimum value-added content and services for travel and entertainment:
  – Travel content that supports the Visa Infinite Business product positioning that is not readily
    available from other sources




324                                                VISA PUBLIC                            18 October 2011
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                                               PageID #: 3555
                                    Visa International Operating Regulations


  – Online concierge service, offered by Visa or Issuer's Visa Infinite product

ID#: 050411-011109-0025622



Visa Infinite Business Core Features - Canada Region

In the Canada Region, a Visa Infinite Business Card Issuer must offer all of the following core
features:

• ATM access
• Local currency billing
• Service level standards
• Information reporting
• Flexible Transaction Authorization
• Individual statements
• In addition a Visa Infinite Business Card Issuer must provide a minimum of 2 offers from the
  categories below:
  – Office supplies
  – Office equipment
  – Office leasing/rentals
  – Computers/electronics
  – Telecommunications
  – Business services
  – Business education
• And provide a minimum of 3 offers from the list below:
  – ID theft restoration
  – ID theft insurance
  – VIP hotel program
  – VIP dining program
  – VIP retail and entertainment
  – Companion Airline ticket
  – Payment protection insurance
  – Price protection insurance
  – Preferred Rate on health/dental insurance
  – Access to VIP airline lounges
  – 15 Days Emergency Travel Medical Insurance
  – Travel Accident Insurance

ID#: 111011-011109-0025623


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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 363 of 1319
                                                   PageID #: 3556
                                    Visa International Operating Regulations




Visa Infinite Business Core Services - Canada Region

In the Canada Region, a Visa Infinite Business Card Issuer must offer to its Cardholders all of the
core services specified in "Commercial Products Core Services."

ID#: 050411-011109-0025624



Visa Infinite Business Global Support Services - Canada Region

In the Canada Region, a Visa Infinite Business Card Issuer must:

• Be available to respond to a request from the Emergency Payment Authorization Service 24 hours
  a day, 7 days a week
• Provide all needed information, and a decision to approve or deny the request during the initial
  telephone or fax contact with the Visa Global Customer Care Services (GCCS)
• If providing the service directly to the Cardholder, contact the Merchant to verify the circumstances,
  explain the service, and complete the Transaction
• Send a fax or e-mail to the Merchant that includes the Cardholder name, Account Number,
  expiration date, Authorization Code, and Transaction amount

ID#: 050411-011109-0025625



Visa Infinite Business Emergency Services - Canada Region

In the Canada Region, a Visa Infinite Business Card Issuer must offer the following services through
the Visa Global Customer Assistance Service or directly through the Issuer customer service center:

• Lost/Stolen Card Reporting Service
• Cardholder Inquiry Service
• Emergency Cash Service
• Emergency Card Replacement Service
• Emergency Payment Authorization Service

ID#: 050411-011109-0025626



Visa Infinite Business Customer Service Telephone Number - Canada Region

In the Canada Region, a Visa Infinite Business Issuer must:

• Provide a free 24-hour telephone number where emergency service can be accessed
• Communicate the telephone number to the Cardholder annually

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326                                                VISA PUBLIC                          18 October 2011
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                                               PageID #: 3557
                                    Visa International Operating Regulations




Visa Infinite Business Card Replacement and Emergency Cash Disbursement -
Canada Region

In the Canada Region, an Issuer must provide to an Eligible Cardholder an Emergency Cash
Disbursement or an Emergency Card Replacement, directly or through an agent, within the following
time frames:

• Within the U.S. and Canada, within 24 hours
• Outside the U.S. and Canada, within 1 business day

ID#: 081010-011109-0025628



Visa Infinite Business Stand-In Processing Limits - Canada Region

In the Canada Region, a Visa Infinite Business Card Issuer must enforce a spending limit of CAD
$10,000 on Stand-In Processing Accounts for Visa Infinite Business.

ID#: 050411-011109-0025629



Visa Cargo - LAC Region


Visa Cargo Issuer Requirements - LAC Region

In the LAC Region, an LAC Issuer may issue a Visa Cargo Card as one of the following:

• Effective through 10 November 2010, Visa Commercial Reloadable non-Personalized Visa
  Prepaid Card
• Effective 11 November 2010, Commercial Visa Prepaid Product
• Visa Business Electron Card

The Issuer may issue Visa Cargo Cards in the LAC Region, with the optional applications:

• Visa credit Card
• Visa Vale Pedagio

Visa Cargo Card Issuers must comply with the regulations of each product and application associated
with the Visa Cargo Card.

ID#: 050411-121109-0025631




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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15         Page: 365 of 1319
                                                   PageID #: 3558
                                    Visa International Operating Regulations




Visa Cargo Issuer Reporting Requirements - LAC Region

An LAC Issuer offering Visa Cargo Cards, including Cards with multi-application functionality,
combining a Visa Cargo Card with a credit Card or a Visa Vale Pedagio Card, must report through the
Quarterly Operating Certificate the following information:

• Total number of Visa Cargo Cards
• Total number of Visa credit Cards
• Total number of Visa Vale Pedagio Cards
• Total number of Transactions processed by each BIN for each application
• Total payment, ATM and Cash Disbursement volume, in its local currency, processed by each BIN
  for each application

ID#: 050411-121109-0025632



Visa Cargo Core Services - LAC Region

In the LAC Region, an option for Insurance Coverage to be used with the Visa Cargo Card product is
specified in the table below:


                         Visa Cargo Options for Insurance Coverage - LAC Region

                Package                                                   Coverage

      Everyday Visa Cargo Spend            • Hotel Motel Burglary
      Package
                                           • Extended Warranty Insurance
                                           • Purchase Protection
                                           • Price Protection


The fees related to Visa Cargo Cards and the optional insurance coverage are specified in the Visa
LAC Fee Guide.

ID#: 111011-121109-0025633



Visa Cargo BIN - LAC Region

An LAC Issuer must use a specific BIN or a separate and unique account range for its Visa Cargo
Card.

ID#: 050411-121109-0025634




328                                                VISA PUBLIC                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 366 of 1319
                                               PageID #: 3559
                                    Visa International Operating Regulations




Visa Commercial Purchasing Products

Purchasing Cards - General


Enhanced Data BIN Requirements

A Visa Purchasing Card Issuer choosing to receive enhanced (level 2 and level 3) data from a
Merchant must either:

• Use an enhanced data BIN assigned by Visa from a specified Visa Purchasing Card BIN range
• Designate an account range within an enhanced data Visa Purchasing Card BIN

ID#: 010410-010410-0004156



Visa Purchasing Card BIN Range - U.S. Region

A U.S. Issuer offering Visa Purchasing Cards must use a BIN from the BIN range reserved for Visa
Purchasing Cards.

ID#: 010410-010410-0004216



Visa Purchasing Card Core Features - U.S. Region

A Visa Purchasing Card Issuer in the U.S. Region must provide all of the core features specified
below and as described in "Commercial Card Core Feature Descriptions - U.S. Region":

• Central or individual billing options
• Charge Card option
• Individual memo statements

ID#: 010410-010410-0004307



Visa Purchasing Card Transaction Data Reporting - U.S. Region

A Visa Purchasing Card Issuer in the U.S. Region must accumulate and report Transaction data,
as specified in the Visa U.S.A. Inc. Merchant Profile Service Reference Manual. At a minimum, the
Issuer must:

• Accumulate Transaction data
• Match Transaction data to Merchant profiles




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                                                   PageID #: 3560
                                    Visa International Operating Regulations


• Report to the Client Organization all Transactions and all Merchant profile information, both
  matched and unmatched

ID#: 010410-010410-0004309



Visa Purchasing Card Authorization Contact - U.S. Region

A Visa Purchasing Card Issuer in the U.S. Region must have an Authorization referral contact that is
available to provide an immediate Authorization Response 24 hours a day, 7 days a week.

ID#: 010410-010410-0004311



Visa Purchasing Card Selective Authorization - U.S. Region

A Visa Purchasing Card Issuer in the U.S. Region may decline an Authorization Request based on
the following factors, if the entity to which the Card has been issued has specified these or other
factors:

• Merchant Category Code
• Transaction size
• Location of Merchant Outlet

ID#: 010410-010410-0004314



Visa Purchasing Card Transaction Data Requirements

An Acquirer accepting a Visa Purchasing Card Transaction must provide an Issuer with any
Cardholder reference data or other relevant Transaction information supplied by a Merchant.

ID#: 010410-010410-0008893



Visa Fleet Cards


Visa Fleet Card Issuance and Usage

A Vehicle-Specific Fleet Card must:

• Be limited to purchases of fuel and vehicle maintenance
• Be assigned to a vehicle rather than an individual

Issuers of Fleet Service-enhanced Visa Commercial Cards should use a unique BIN range assigned
by Visa.

ID#: 010410-010410-0004163




330                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 368 of 1319
                                               PageID #: 3561
                                    Visa International Operating Regulations




Visa Fleet Card - Enhanced Data

An Acquirer that contracts with a Merchant to accept a Fleet Service-enhanced Visa Commercial
Card must provide an Issuer with the enhanced data if provided by its Merchants in the Authorization
and Clearing Record.

Enhanced data may include:

• Driver identification (Authorization Request)
• Fuel type (Clearing Record)
• Fuel quantity (Clearing Record)
• Fuel price-per-unit (Clearing Record)

ID#: 010410-010410-0008894



Fleet Service Data Requirements - U.S. Region

An Acquirer that processes Visa Fleet Service Transactions must provide both Cardholder-supplied
data and supplemental Transaction data for such Transactions, as specified in the appropriate
VisaNet manuals.

Additional Commercial Card Data for a Visa Fleet Service fuel purchase Transaction in the U.S.
Region consists of:

• Sales tax
  – Local tax
  – Local tax included indicator
• Accounting code (i.e., customer code)
• Fuel type
• Unit of measure
• Quantity
• Gross fuel price

ID#: 010410-010410-0008912



Visa Fleet Card Enhanced Data Requirements

An Issuer of Fleet Service-enhanced Visa Commercial Cards must be capable of generating reports
containing enhanced data when provided by the Acquirer.

ID#: 010410-010410-0004164




18 October 2011                                    VISA PUBLIC                                     331
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 369 of 1319
                                                   PageID #: 3562
                                    Visa International Operating Regulations




Liability for Visa Fleet Card Transactions

An Issuer of Fleet Service-enhanced Visa Commercial Cards must assume any incremental risk
arising from issuing Cards in accordance with the Visa Product Brand Standards for Cards bearing
the Visa Brand Mark, including, but not limited to, the Compliance right for "unauthorized signature."

ID#: 010410-010410-0004165



Visa Fleet Card BIN - U.S. Region

A U.S. Issuer must request a new BIN assignment for its Fleet Card program from the BIN range
reserved for Fleet-enhanced Visa Purchasing Cards.

ID#: 010410-010410-0004217



Visa Fleet Card Issuance - U.S. Region

In the U.S. Region, Visa Fleet Card issuance is permitted for Visa Purchasing Card Issuers, as
specified in the:

• Visa International Operating Regulations
• Visa Fleet Card Implementation Guide
• Visa Product Brand Standards (for Cards bearing the Visa Brand Mark)

ID#: 010410-010410-0004167



Visa Fleet Card Requirements - U.S. Region

In the U.S. Region, a Visa Fleet Card must contain the appropriate instructions on the Magnetic
Stripe for customized prompts and may be issued as either:

• An enhanced Visa Purchasing Card
• A Vehicle-Specific Fleet Card

ID#: 010410-010410-0004168



Plus Program Marks on Visa Fleet Cards - U.S. Region

The Plus Program Marks must not appear on the back of a U.S. Vehicle-Specific Fleet Card.

ID#: 010410-010410-0004169




332                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 370 of 1319
                                               PageID #: 3563
                                    Visa International Operating Regulations




Visa Commercial Corporate Products

Commercial Corporate Products - U.S. Region


Visa Corporate Card Core Features - U.S. Region

A Visa Corporate Issuer in the U.S. Region must provide all of the core features specified below and
as described in "Commercial Card Core Feature Descriptions - U.S. Region":

• ATM access
• Central or individual billing options
• Service level standards
• Charge Card option
• Management information reports

ID#: 010410-010410-0004294



Visa Corporate Card Account Billing Options - U.S. Region

A U.S. Visa Corporate Issuer may offer U.S. Cardholders any of the following account billing options:

• Line of credit
• Other company assets available through the Issuer
• Charge Card (non-revolving, pay-in-full)

ID#: 010410-010410-0004295



Visa Corporate Authorization Contact - U.S. Region

A Visa Corporate Issuer in the U.S. Region must have an Authorization referral contact that is
available to provide an immediate Authorization Response 24 hours a day, 7 days a week.

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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 371 of 1319
                                                   PageID #: 3564
                                    Visa International Operating Regulations




Visa Commercial Products Programs

V Distribution Program


V Distribution Requirements

An Issuer participating in the V Distribution Program must provide payment services to a V
Distribution Program Cardholder purchasing goods and services from a V Distribution Program
Distributor.

ID#: 010410-010410-0003163



V Distribution Issuer Requirements

A V Distribution Program Issuer must:

• Be certified to issue either:
  – Visa Purchasing Cards
  – Visa Business Cards
• Be registered with Visa
• Be capable of processing Authorization Requests, billing, and reporting, as specified by Visa

ID#: 010410-010410-0003164



V Distribution Program BIN (Updated)

An Issuer participating in the V Distribution Program must do one of the following:

• Designate a separate BIN
• Use an existing BIN within a Visa Business Card or Visa Purchasing Card BIN range
• Use an account range within an existing Visa Business Card or Visa Purchasing Card BIN
• Effective 8 September 2011, for Visa Agro Cards, use a designated Visa Purchasing Card BIN or
  account range (This only applies in the Latin America & Caribbean Region.)

ID#: 111011-010410-0003165




334                                                VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 372 of 1319
                                               PageID #: 3565
                                    Visa International Operating Regulations




Centralized Card Issuance


Centralized Card Issuance - Dual-Issuer Branded Visa Commercial Card
Requirements (Updated)

Effective 14 October 2010, only an Issuer that is a registered Visa Multinational Program participant
may issue Dual-Issuer Branded Visa Commercial Cards as specified in the:

• Visa Multinational Program Guide
• Visa Product Brand Standards

Issuance of Dual-Issuer Branded Visa Commercial Cards is not applicable to Issuers in the
jurisdiction of Visa Europe.

The Lead Bank and the Partner Bank must be registered Visa Multinational Program participants
and have contractual agreements with each other that clearly defines the Dual-Issuer Branded Visa
Commercial Card program.

A Dual-Issuer Branded Visa Commercial Card must be issued using a BIN that is licensed to the
Partner Bank.

Before issuing Dual-Issuer Branded Visa Commercial Cards, the Lead Bank and the Partner Bank
must ensure that the Dual-Issuer Branded Visa Commercial Card program complies with the:

• Visa International Operating Regulations
• Visa Regional Operating Regulations
• Visa Product Brand Standards

The Lead Bank must ensure that the Dual-Issuer Branded Visa Commercial Card program complies
with all applicable local laws/regulatory requirements in the country in which the Cards are issued
and the country in which the Lead Bank is domiciled, as specified in the Visa Multinational Program
Guide.

ID#: 111011-141010-0026023



Centralized Card Issuance - Dual-Issuer Branded Visa Commercial Card Issuer
Identification

Effective 14 October 2010, the Issuer of a Dual-Issuer Branded Visa Commercial Card must be
clearly identified on the back of the Card and in all Cardholder agreements.

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18 October 2011                                    VISA PUBLIC                                     335
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15                 Page: 373 of 1319
                                                   PageID #: 3566
                                    Visa International Operating Regulations




Centralized Card Issuance - Dual-Issuer Branded Visa Commercial Card Partnership
Agreement (Updated)

Effective 14 October 2010, before issuing Dual-Issuer Branded Visa Commercial Cards, the Lead
Bank and the Partner Bank must provide contractual evidence of the partnership agreement to Visa
for review and approval, as specified in the Visa Multinational Program Guide.

ID#: 111011-141010-0026025




Global Support Services

Visa Global Customer Assistance Services


Visa Global Customer Assistance Services Program Requirements

The Visa Global Customer Assistance Services Program includes the following services for
Cardholders and Issuers, as specified in the following table.

See the applicable regional Visa Global Customer Assistance Services Program User's Guide or Visa
Enhancements Resource Guide

                                                                                                                1
      Visa Global Customer Assistance Services Program Eligibility Requirements by Product

                       Cardholder        Emergency    Emergency            Lost/
                                                                                         Exception
                       Inquiry           Cash         Card                 Stolen Card
                                                                                         File Updates
                       Service           Disbursement Replacement          Reporting

      Visa Classic     Required          Optional           Optional       Required      Required

      Visa Gold/       Required          Required
                                                    1
                                                            Required
                                                                       1   Required      Required
      Premier/
      Platinum

      Visa             Required          Regional           Regional       Regional      Required
      Signature                          option             option         option

      Visa Infinite    Required          Regional           Regional       Regional      Required
                                         option             option         option

      Visa             Required          Required           Required       Required      Required
      Business
      and Visa
      Corporate

      Visa             Required          Optional           Required       Required      Required
      Purchasing




336                                                     VISA PUBLIC                                 18 October 2011
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Case: 4:13-cv-02226-JAR                            Doc. #: 85-5 Filed: 02/12/15                           Page: 374 of 1319
                                                      PageID #: 3567
                                        Visa International Operating Regulations


                          Cardholder            Emergency    Emergency                      Lost/
                                                                                                          Exception
                          Inquiry               Cash         Card                           Stolen Card
                                                                                                          File Updates
                          Service               Disbursement Replacement                    Reporting

    Visa                  Required              Regional              Regional              Required      Required
    Electron                                    option                option
    and Visa
    Business
    Electron

    Virtual               Required              Prohibited            Prohibited            Required      Required
    Account

    Visa Prepaid          Required              Optional              Optional              Required      Not
    Card                                                                                                  applicable

    Visa                  Required              Optional              Required              Required      Required
    TravelMoney
    1For U.S. Region product platform names and requirements, see the Visa Enhancements Resource Guide.



ID#: 100411-010410-0004081



Emergency Services Telephone Numbers

An Issuer must communicate, at least once each year, the global emergency services and
corresponding telephone numbers through which Eligible Cardholders may obtain these services.
The telephone numbers must be:

• Available at no cost to the Cardholder
• Printed on either:
  – The back of the Card
  – Other material furnished to the Cardholder

ID#: 081010-010100-0025791



Visa Global Customer Assistance Services Program Fees

Visa assesses fees to Members for the various services provided under the Visa Global Customer
Assistance Services Program. Information about the fees is specified in the applicable regional fee
guide.

ID#: 151011-010100-0025792



Visa Global Customer Assistance Services Core Benefit Services - AP Region

An Issuer or designated provider must provide the following core benefit services to all Visa Gold and
Business/Corporate Cardholders in the AP Region:

• Emergency medical/legal assistance


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      Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15              Page: 375 of 1319
                                                     PageID #: 3568
                                    Visa International Operating Regulations


• Emergency ticket replacement
• Travel assistance
• Lost luggage assistance
• Prescription assistance and valuable document delivery
• Emergency message service


ID#: 111011-010410-0004603



Visa Global Customer Assistance Services Program - Canada Region

A Canada Issuer must:

• Advise its Eligible Cardholders of the availability of the applicable Visa Global Customer Assistance
  Services Program
• Provide its Eligible Cardholders with a telephone number that is available 24 hours a day, 7 days a
  week, for the applicable Visa Global Customer Assistance Services Program
• Provide the Visa Global Customer Assistance Services Program by product as outlined in the
  following table

          Visa Global Customer Assistance Services Program by Product - Canada Region

       Product         Card-         Collision/      Emer-         Emer-          Legal       Lost /      Medical
                      holder            Loss         gency         gency         Referral    Stolen       Referral
                      Inquiry         Damage          Card         Cash        Assistance     Card      Assistance
                      Service        Insurance      Replace-      Service       and Cash    Reporting    and Cash
                                                     ment                      Disburse-     Service    Disburse-
                                                    Service                       ment                     ment
                                                                                 Service                  Service

      Visa           Required         Optional      Optional      Optional      Optional    Required     Optional
      Classic

      Visa Gold      Required         Required      Required      Required      Required    Required     Required

      Visa           Required         Required      Required      Required      Required    Required     Required
      Infinite

      Visa           Required         Required      Required      Required      Required    Required     Required
      Platinum

      Visa           Required         Optional      Required      Required      Required    Required     Required
      Corporate

      Visa           Required         Optional      Required      Required      Required    Required     Required
      Business

      Visa           Required         Optional      Required      Optional        Not       Required       Not
      Purchasing                                                               Applicable               Applicable

ID#: 100411-010410-0004645




338                                                 VISA PUBLIC                                   18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 376 of 1319
                                               PageID #: 3569
                                    Visa International Operating Regulations




Visa Global Customer Assistance Services Program Contacts - Canada Region

Members must not designate to Visa Global Customer Care Services more than 4 contacts per Visa
Global Customer Assistance Service Program request.

ID#: 010410-010410-0004646



Cardholder Charges for Visa Global Customer Assistance Services - Canada Region

A Canada Issuer must not assess supplemental charges to an Eligible Cardholder for the required
Visa Global Customer Assistance Services Program.

ID#: 010410-010410-0004647



Provision of Visa Global Customer Assistance Services - CEMEA Region

A CEMEA Issuer may provide the Visa Global Customer Assistance Services Program itself,
through an agent, or through Visa. For each Card product, the Issuer must make available to
its Cardholder an agreed sub-set of global support services as outlined in the Visa International
Operating Regulations.

ID#: 010410-010410-0004662



Visa Global Customer Assistance Program - Issuer Participation - CEMEA Region

In order to participate in the Visa Global Customer Assistance Services Program, an Issuer must
complete a "CEMEA GSS Commitment Form" for each BIN. The participating CEMEA Issuer must:

• Advise its Eligible Cardholders of the availability of the Visa Global Customer Assistance Services
  Program
• Provide the telephone number of Visa Global Customer Care Services for the Cardholder to call to
  report a lost or stolen Card and to request emergency assistance


ID#: 111011-010410-0004663



Issuer Participation in Visa FeatureSelect - U.S. Region

Effective 8 November 2010, a U.S. Issuer may choose to access Visa FeatureSelect for the purpose
of segmenting and servicing Visa and non-Visa Cardholders.

Effective through 31 March 2012, an Issuer that chooses to access Visa FeatureSelect must
comply with the requirements specified in “Non-Visa Assigned BIN Management – U.S. Region,” if
servicing non-Visa Cardholders.




18 October 2011                                    VISA PUBLIC                                      339
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 377 of 1319
                                                   PageID #: 3570
                                    Visa International Operating Regulations



Effective 1 April 2012, an Issuer that chooses to access Visa FeatureSelect must comply with the
requirements specified in "Non-Visa-Assigned BIN Management" if servicing non-Visa Cardholders,
and the Visa FeatureSelect Service Description.

ID#: 111011-141209-0025585



Emergency Cash Disbursement and Emergency Card Replacement


Emergency Cash Disbursement Limit

A Cardholder, or an Issuer on the Cardholder's behalf, may request an Emergency Cash
Disbursement, subject to Issuer Authorization. The Cardholder, or the Issuer on the Cardholder's
behalf, may request the service through Visa Global Customer Care Services. Visa recommends an
Emergency Cash Disbursement

For Emergency Cash Disbursement limits, refer to the applicable regional Visa Global Customer
Assistance Services Program User's Guide or Visa Enhancements Resource Guide.

ID#: 111011-010100-0025793



Provision of Emergency Cash Disbursement or Emergency Card Replacement

A Issuer must, upon Cardholder request, provide an Emergency Cash Disbursement or an
Emergency Card Replacement, as specified in “Visa Global Customer Assistance Services Program
Requirements,” itself or through either:

• An agent
• Visa Global Customer Care Services

For detailed requirements and procedures, see the applicable regional Visa Global Customer
Assistance Services Program User's Guide or Visa Enhancements Resource Guide.

ID#: 081010-010410-0008544



Delivery of Emergency Cash or Emergency Card

Visa Global Customer Care Services fulfills Emergency Card Replacement or Emergency Cash
Disbursement requests. Once Visa Global Customer Care Services receives a request for an
Emergency Cash Disbursement or Emergency Card Replacement, Visa Global Customer Care
Services contacts the Issuer to seek approval for the delivery or disbursement. After Visa Global
Customer Care Services receives the Issuer’s approval and has made direct contact with the
Cardholder, Visa will deliver the Emergency Cash Disbursement or Emergency Card Replacement
within the timeframes specified in the following tables.




340                                                VISA PUBLIC                       18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15           Page: 378 of 1319
                                               PageID #: 3571
                                    Visa International Operating Regulations



If an Issuer chooses to provide an Emergency Cash Disbursement or Emergency Card Replacement,
directly or through an agent, it must disburse the cash or deliver the Card to the Eligible Cardholder
within the time frames specified in the following tables. U.S. Issuers must refer to the Visa
Enhancements Resource Guide.


       Time Frames for Delivery of Emergency Cash Disbursement to Eligible Cardholders

    Card Type                                        Within the U.S. Region and   Outside the U.S. Region and
                                                     the Canada Region            the Canada Region

    Visa Classic, Visa Electron, Visa Debit,         1 business day               1 business day
    Visa Prepaid

    Visa Gold/Premier, Visa Platinum, Visa           24 hours                     1 business day
    Business, Visa Business Electron, Visa
    Corporate, Visa Purchasing

    Visa Infinite, Visa Signature                    24 hours                     24 hours

       Time Frames for Delivery of Emergency Card Replacements to Eligible Cardholders

    Card Type                                        Within the U.S. Region and   Outside the U.S. Region and
                                                     the Canada Region            the Canada Region

    Visa Classic, Visa Electron, Visa Debit,         1 business day               3 business days
    Visa Prepaid

    Visa Gold/Premier, Visa Platinum, Visa           24 hours                     1 business day
    Business, Visa Business Electron, Visa
    Corporate, Visa Purchasing

    Visa Infinite, Visa Signature                    24 hours                     24 hours

ID#: 081010-010210-0002626



Issuer Requirements for Using the Visa Global Customer Assistance Services
Program for Emergency Cash Disbursement and Emergency Card Replacement

If an Issuer participates in the Visa Global Customer Assistance Services Program for Emergency
Cash Disbursement or Emergency Card Replacement, it must:

• At least 30 calendar days before participation in Emergency Cash Disbursement or Emergency
  Card Replacement, submit the Visa Global Customer Assistance Services Program enrollment
  forms, located in the applicable regional Visa Global Customer Assistance Services Program
  User’s Guide or Visa Enhancements Resource Guide
• Advise its Eligible Cardholders of the availability of an Emergency Cash Disbursement or
  Emergency Card Replacement, as applicable
• Provide Eligible Cardholders with a telephone number that is available worldwide 24 hours a
  day, 7 days a week for Emergency Cash Disbursement and Emergency Card Replacement. The
  telephone number can be either the:
  – Visa Global Customer Care Services telephone numbers


18 October 2011                                    VISA PUBLIC                                            341
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 379 of 1319
                                                   PageID #: 3572
                                    Visa International Operating Regulations


  – Issuer's own worldwide emergency services telephone number
• Designate one or more Emergency Service Locations, as specified in the Emergency Service
  Location enrollment form in the applicable regional Visa Global Customer Assistance Services
  Program User’s Guide or Visa Enhancements Resource Guide
• Notify Visa Global Customer Care Services within 30 calendar days of any changes to an
  Emergency Service Location, as specified in the applicable regional Visa Global Customer
  Assistance Services Program User's Guide or Visa Enhancements Resource Guide

ID#: 050411-010410-0002627



Handling Fee for Emergency Cash Disbursement and Emergency Card Replacement

A Disbursing Member or Emergency Service Location that provides an Emergency Cash
Disbursement or Emergency Card Replacement to an Eligible Cardholder as part of a Visa Global
Customer Assistance Services Program request may collect a handling fee from the Cardholder’s
Issuer, as specified in the applicable regional Visa Global Customer Assistance Services Program
User’s Guide or Visa Enhancements Resource Guide.

ID#: 111011-010410-0008508



Emergency Cash Disbursement or Emergency Card Replacement Contact
Requirements

A live Issuer contact person must:

• Be available to respond to a request for an Emergency Cash Disbursement or an Emergency Card
  Replacement 24 hours a day, 7 days a week
• Approve or deny a request from Visa Global Customer Care Services or an Eligible Cardholder
  within 2 hours of notification (not applicable to Visa Infinite Cards) and provide:
  – For an Emergency Cash Disbursement, a unique Issuer Authorization Code
  – For an Emergency Card Replacement, a new Account Number and expiration date that has
    been activated in the Issuer's Authorization system
• Provide Visa Global Customer Care Services with:
  – Any changes that would affect the issuance of an Emergency Card Replacement (e.g., Issuer
    contacts, telephone numbers)
  – Correct spelling of the Cardholder's name
  – Cardholder’s verification data if required

Refer to the applicable regional Visa Global Customer Assistance Services Program User’s Guide or
Visa Enhancements Resource Guide for the specific data elements required by Visa Global Customer
Care Services.

ID#: 050411-010410-0002629




342                                                VISA PUBLIC                      18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 380 of 1319
                                               PageID #: 3573
                                    Visa International Operating Regulations




Emergency Services Contact

An Issuer must notify Visa at least 2 weeks before any change in its Emergency Cash Disbursement
contact or Emergency Card Replacement contact.

ID#: 081010-010100-0025794



Requirements for Emergency Service Locations

An Emergency Service Location must:

• Be available during normal business hours to respond to a request for an Emergency Cash
  Disbursement or an Emergency Card Replacement, as instructed by Visa Global Customer Care
  Services and as specified in the applicable regional Visa Global Customer Assistance Services
  Program User's Guide or Visa Enhancements Resource Guide
• Notify Visa Global Customer Care Services (within 3 calendar days) after the Cardholder has
  picked up the Emergency Cash Disbursement or Emergency Card Replacement

ID#: 050411-010410-0002631



Issuer Requirements for Emergency Card Replacement

If an Issuer participates in Emergency Card Replacement, it must:

• Meet all Card security standards specified in the Visa Product Brand Standards
• Replace a Stand-In Processing Account within 1 business day when notified by Visa Global
  Customer Care Services that it has been used for an Emergency Card Replacement
• Maintain its Emergency Card Replacements in a secure manner, as specified in Global Physical
  Security Validation Requirements for Card Vendors
• Immediately notify Visa Global Customer Care Services if it discovers that a Card is missing

ID#: 111011-010410-0008545



Stand-In Processing


Spending Limits on Stand-In Processing Accounts for Emergency Card
Replacements

If an Issuer participates in Emergency Card Replacement, it must enforce the spending limits on
Stand-In Processing Accounts

ID#: 111011-010410-0002632




18 October 2011                                    VISA PUBLIC                                     343
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 381 of 1319
                                                   PageID #: 3574
                                    Visa International Operating Regulations




Lost or Stolen Card Reporting


Lost or Stolen Card Reporting

An Issuer participating in Lost/Stolen Card Reporting must, on behalf of another Issuer:

• Accept reports of lost or stolen products from Cardholders or their designated representative
• Notify the Card Issuer

ID#: 111011-010410-0008549



Issuer Notification of Lost or Stolen Card

A Member must:

• Provide the Issuer with the information required on the "Lost or Stolen Card Report" (Exhibit 1A)
• If an incomplete Account Number is provided, supply the Issuer with the address and telephone
  number where the Cardholder may be contacted
• Notify Visa Global Customer Care Services if unable to establish contact with the Issuer

ID#: 161111-010410-0002183



Lost or Stolen Card Report Requirements for an Emergency Cash Disbursement or
Emergency Card Replacement

If a Cardholder requests an Emergency Cash Disbursement or Emergency Card Replacement, the
report must include the:

• Address and telephone number where an Issuer may contact the Cardholder
• Emergency Cash Disbursement amount requested, if applicable

ID#: 111011-010410-0002184



Acquirer Collection of Lost or Stolen Card Report Handling Fee - U.S. Region

A U.S. Member accepting a lost or stolen Card report on behalf of another Member may collect a US
$20 handling fee from the Issuer.

ID#: 010910-010410-0025931




344                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 382 of 1319
                                               PageID #: 3575
                                    Visa International Operating Regulations




Emergency Request Fines and Penalties


Fines for Failure to Respond to an Emergency Request

An Issuer that fails to respond to an Emergency Cash Disbursement or Emergency Card
Replacement request within the time limits specified in the applicable regional Visa Global Customer
Assistance Services Program User’s Guide or Visa Enhancements Resource Guide is subject to
fines, as specified in “General Fines Schedule.”

ID#: 050411-010100-0025797



Global Refund Service


Travelers Cheque Global Refund Service Authorization

An Issuer must provide an Emergency Cash Refund to a Cheque purchaser upon Authorization from
the Global Refund Service.

ID#: 010410-010410-0003639



Global Refund Service Member Responsibilities

When the Global Refund Service authorizes a Member to make an Emergency Cash Disbursement
refund to a Cheque purchaser, the Member location must:

• Verify the identity of the purchaser
• Provide a refund in the form of a Manual Cash Disbursement

ID#: 111011-010410-0002635



Information Provided to Emergency Refund Location

The Global Refund Service will provide the Emergency Refund Location with:

• Account Number
• Purchaser name
• Refund Claim Number
• Cash Disbursement amount in local currency
• Authorization Code

ID#: 010410-010410-0002637




18 October 2011                                    VISA PUBLIC                                     345
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 383 of 1319
                                                   PageID #: 3576
                                    Visa International Operating Regulations




Global Refund Service Required Procedures

When making an Emergency Cash Disbursement, an Emergency Refund Location must verify the
identity of the Cheque purchaser by comparing the Refund Claim Number provided by the Global
Refund Service to the one given by the Cheque purchaser.

If the Refund Claim Numbers match, the Emergency Refund Location must:

• Complete the "80-Column Cash Disbursement Transaction Receipt" (Exhibit 7A) with the:
  – Account Number
  – Purchaser name
  – Words "Emergency TC Refund" in the space designated for the Cardholder's street address
  – Refund Claim Number in the space designated for the Cardholder's identification
  – Amount of the Emergency Cash Disbursement, plus US $25 or local currency equivalent, for the
    refund handling fee
  – Date
  – Authorization Code provided by the Global Refund Service
  – Imprint of the Member's identification
  – Cheque purchaser's signature in the space designated for the Cardholder's signature
• Process the Emergency Cash Disbursement in the same manner as a Manual Cash Disbursement:
  – At face value
  – With no fees or charges to the Cheque purchaser, unless required by applicable law

If the Refund Claim Numbers do not match, the Emergency Refund Location must contact the Global
Refund Service for instructions.

ID#: 090411-010410-0007985



Guarantee of Reimbursement

Visa guarantees reimbursement of the Manual Cash Disbursement amount to the Emergency Refund
Center if the requirements in "Global Refund Service" are met.

ID#: 010410-010410-0002641




346                                                VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 384 of 1319
                                               PageID #: 3577
                                    Visa International Operating Regulations




Cardholder Loyalty Program

Visa Extras - U.S. Region


Visa Extras Requirements - U.S. Region

U.S. Issuers are subject to program participation and operating requirements, as outlined in the Visa
Extras Service Description.

Visa assesses fees to U.S. Issuers that participate in the Visa Extras Program. Fee information is
available from Visa upon request.

ID#: 010410-010410-0007342



Visa Extras Participation Conditions - U.S. Region

Participation in the Visa Extras Program in the U.S. Region is at the discretion of Visa, which may
impose conditions upon participation at any time.

ID#: 010410-010410-0001362



Visa Extras - Program Description and Requirements - U.S. Region

The Visa Extras Program is a U.S. Region Points-based loyalty program that enables participating
Cardholders to earn Points toward rewards consisting of goods or services based on their eligible
Visa purchase Transactions. Issuers must comply with program participation and operating
requirements as specified in the Visa Extras Service Description.

ID#: 010410-010410-0002524



Visa Extras Operating Requirements - U.S. Region

A U.S. Issuer that chooses to make the Visa Extras Program available to its Cardholders must follow
applicable operating requirements, as specified in the U.S. Regional Operating Regulations.

ID#: 081010-190209-0007100



Visa Extras Deductions - U.S. Region

Points will be deducted from a U.S. Cardholder's Visa Extras Points account for Credit Transactions,
Transaction reversals, and Chargebacks.

ID#: 010410-010410-0002536




18 October 2011                                    VISA PUBLIC                                        347
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15       Page: 385 of 1319
                                                   PageID #: 3578
                                    Visa International Operating Regulations




Visa Extras Points Aggregation - U.S. Region

In the U.S. Region, Points may be aggregated across Cards within a single Card product type or
across multiple Card product types within a single Issuer. Program rules for Points aggregation are
detailed in the Visa Extras Service Description.

Points are not transferable between Issuers.

ID#: 010410-010410-0008379



Visa Extras - Issuer Reporting Requirements - U.S. Region

A U.S. Issuer that participates in the Visa Extras Program must report to Visa all Points-eligible
Cardholder Transactions, Chargebacks, and Transaction reversals not sent through VisaNet.

ID#: 010410-010410-0008900



Visa Loyalty Platform Services


Visa Loyalty Platform Services Participation Requirements

Effective 15 October 2010, a Member that participates in the Visa Loyalty Platform Services must
comply with the Visa Loyalty Platform Services - Service Description.

Participation in the Visa Loyalty Platform Services, where available, is at the discretion of Visa, which
may impose conditions on participation at any time. Visa may assess fees to Members related to the
Visa Loyalty Platform Services.

ID#: 081010-151010-0025865



Visa Loyalty Platform Services Participation Requirements - U.S. Region

Effective through 14 October 2010, in the U.S. Region, Issuers and Acquirers that elect to
participate in the Visa Loyalty Platform Services must comply with operating requirements and
applicable branding requirements, as specified in the Visa Loyalty Platform Services - Service
Description.

Participation is at the discretion of Visa, which may impose conditions upon participation at any time.

Visa assesses fees to Issuers and Acquirers that participate in the Visa Loyalty Platform Services.
Fee information is available in the Visa Loyalty Platform Services Pricing Directory.

ID#: 081010-010410-0009020




348                                                VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 386 of 1319
                                               PageID #: 3579
                                    Visa International Operating Regulations




Visa Incentive Network - U.S. Region


Visa Incentive Network Program Description - U.S. Region

In the U.S. Region, the Visa Incentive Network is a program that forms a core eligibility component for
Members issuing Visa Traditional Rewards, Visa Signature, and Visa Signature Preferred products.
The program allows Visa to act as an agent of the Issuer for supporting the Visa Incentive Network
program requirements.

ID#: 010410-010410-0001368



Visa Incentive Network Qualification - U.S. Region

U.S. Members must participate in the Visa Incentive Network to qualify their Visa Traditional
Rewards, Visa Signature, or Visa Signature Preferred products and receive the respective
Interchange Reimbursement Fee.

ID#: 010410-010410-0001369



Visa Incentive Network Program Requirements - U.S. Region

Participating U.S. Members are subject to program requirements specified in the Visa Incentive
Network Member Implementation Guide, available from Visa.

ID#: 010410-010410-0001370



Visa Incentive Network Participation Requirements - U.S. Region (Updated)

To participate in the Visa Incentive Network, a U.S. Issuer must:

• Register with Visa by completing the Visa Incentive Network Participation Agreement
• Complete the registration within the time limits specified in the respective toolkits
• Provide the Cardholder Maintenance File to Visa on an ongoing basis, as specified in the Visa
  Incentive Network Member Implementation Guide, for all Visa Traditional Rewards, Visa Signature,
  and Visa Signature Preferred accounts
• Review the Visa Incentive Network promotional calendar posted on Visa Online regularly to identify
  and resolve any promotional conflicts as they arise for each announced promotion
• Ensure compliance with applicable federal and state privacy laws, co-branding obligations, and
  Cardholder privacy agreements to prevent conflict or violation of any existing contracts
• Comply with all the requirements specified in the Visa Incentive Network Member Implementation
  Guide

ID#: 111011-010410-0003884




18 October 2011                                    VISA PUBLIC                                      349
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 387 of 1319
                                                   PageID #: 3580
                                    Visa International Operating Regulations




Visa SavingsEdge - U.S. Region


Visa SavingsEdge Participation Requirements - U.S. Region (Updated)

Effective 15 July 2011, an Issuer in the U.S. Region must offer the Visa SavingsEdge program to
its Visa Business Cardholders unless the Issuer opts out of the program as described in the Visa
SavingsEdge Service Description – U.S. Region.

Visa Business Cardholders of Issuers who do not opt out will be automatically eligible to enroll in Visa
SavingsEdge in accordance with, and subject to, the program terms and conditions as revised by
Visa from time to time and posted on the program Cardholder registration website.

Visa reserves the right to determine in its sole discretion whether any Cardholder may enroll in the
program, impose conditions on participation in the program or modify or terminate the program at any
time.

Effective 15 July 2011, a Visa Business Issuer in the U.S. Region that participates in Visa
SavingsEdge must comply with the requirements specified in:

• Visa SavingsEdge Service Description – U.S. Region
• Visa Loyalty Platform Services – Service Description

ID#: 151011-150711-0026267



Visa SavingsEdge Program Limitations – U.S. Region (Updated)

Effective 15 July 2011, only qualifying purchases specified in the Visa SavingsEdge Service
Description – U.S. Region are eligible for discounts under the Visa SavingsEdge program.

ID#: 151011-150711-0026268



Visa SavingsEdge Discount Posting Requirements - U.S. Region (Updated)

Effective 15 July 2011, a U.S. Visa Business Issuer:

• Must credit to a participating Cardholder's Account within 10 calendar days of receiving the Funds
  Disbursement from Visa, the amount of the discount received for qualifying purchases specified in
  the Visa SavingsEdge Service Description – U.S. Region at a participating Merchant
• Must not change the originating Merchant name and city information prior to posting this
  information to a Cardholder’s statement


ID#: 151011-150711-0026269




350                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 388 of 1319
                                               PageID #: 3581
                                    Visa International Operating Regulations




Visa SavingsEdge - Use of Program Name - U.S. Region (Updated)

Effective 15 July 2011, a Visa Business Issuer in the U.S. Region may only use the Visa
SavingsEdge program name in connection with the Visa SavingsEdge program as described in the
Visa SavingsEdge Service Description - U.S. Region.

ID#: 151011-150711-0026270



Visa SavingsEdge Marketing Materials - U.S. Region (Updated)

Effective 15 July 2011, a U.S. Issuer’s marketing and promotional materials pertaining to the Visa
SavingsEdge program must adhere to the requirements set forth in the Visa SavingsEdge Service
Description – U.S. Region. Approval of marketing and promotional materials by Visa does not relieve
the Issuer of its responsibility for accurate disclosure and compliance with legal and regulatory
requirements.

ID#: 151011-150711-0026271




Credit Bureau Reporting - U.S. Region

Credit Bureau Reporting Requirements - U.S. Region


Credit Bureau Reporting Requirement - U.S. Region

A U.S. Issuer must report all Visa Consumer Credit Card accounts to at least one credit reporting
bureau and comply with the reporting requirements.

ID#: 010410-010410-0003223



Credit Bureau Reporting Required Data - U.S. Region

A U.S. Issuer must report data for its primary Cardholders in the following fields of the Associated
Credit Bureaus Metro format:

• Full first name, last name, and middle initial
• Generation code (abbreviations such as "Jr.," "Sr.," "II," "III," used to differentiate male members of
  the same family with identical names)
• Social Security Number
• Valid and complete address
• Valid and complete city, state, and ZIP code




18 October 2011                                    VISA PUBLIC                                         351
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 389 of 1319
                                                   PageID #: 3582
                                    Visa International Operating Regulations


• Date of birth

ID#: 010410-010410-0001899



Designated Agent for Credit Bureau Interface - U.S. Region

A U.S. Issuer designates Visa, Integrated Solutions Concepts, Inc., or their designee to act on the
Issuer's behalf as an agent of the Issuer to:

• Establish credit bureau reporting standards
• Monitor credit bureau data
• Contract with credit bureaus to receive data and reports for the purpose of:
  – Monitoring their handling of Issuer data
  – Comparing that data to Visa-specified credit bureau reporting standards

ID#: 010410-010410-0001900



Credit Bureau Reporting Data Submission - U.S. Region

A U.S. Issuer must report primary Cardholder data through electronic transmission to a credit bureau
by billing cycle, within 2 business days of the billing cycle end date.

ID#: 010410-010410-0001901



Cardholder Payment Information - U.S. Region

A U.S. Issuer must report primary Cardholder payment information to a credit bureau using the B2
Segment data (12 months' payment history), unless they are already reporting B3 Segment data (24
months' payment history).

ID#: 010410-010410-0001902



Delinquent Account Reporting - U.S. Region

A U.S. Issuer must report an account that is 2 payments past due (30 days delinquent) to a credit
bureau as delinquent rather than current.

ID#: 010410-010410-0003224




352                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 390 of 1319
                                               PageID #: 3583
                                    Visa International Operating Regulations




Delinquency Reporting Standards - U.S. Region

A U.S. Issuer must use the Metro ratings in the standard format specified. If the delinquency
progresses, the U.S. Issuer must use the standard Metro status code format until the account is
charged off, at which time the Issuer must reflect the appropriate charge-off code.

ID#: 111011-010410-0008633




Commercial Data Management and Reporting

Commercial Solutions


Visa Commercial Solutions Data and Reporting Tools Participation

Effective through 10 April 2011, an Issuer or an Issuer's Client Organization wishing to participate
in any of the Visa Commercial Solutions Data and Reporting Tools must comply with the Visa
Information Management Services Terms and Conditions, the Visa Information Management Services
Terms of Use, and the Visa Commercial Solutions Data and Reporting Tools Service Guide.

Effective 11 April 2011, an Issuer or an Issuer's Client Organization wishing to participate in any
of the Visa Commercial Solutions Data and Reporting Tools must comply with the Visa Commercial
Solutions Data and Reporting Tools Service Guide, the Visa Information Management Services
Terms and Conditions, and all applicable terms of use for the products, services, and tools referenced
therein, including without limitation, the Visa Commercial Services Terms of Use and the Visa
Information Management Services Terms of Use. Use of these data management and reporting
services is at the discretion of Visa, which may limit or impose conditions on its use, and may
discontinue the service at any time.

ID#: 111011-010410-0004236



Visa IntelliLink Spend Management Services

An Issuer participating in Visa IntelliLink Spend Management must comply, and ensure that its
participating clients comply, with the Visa IntelliLink Spend Management Terms of Use and the Visa
Commercial Solutions Data and Reporting Tools Service Guide.

ID#: 050411-300909-0025613




18 October 2011                                    VISA PUBLIC                                     353
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 391 of 1319
                                                   PageID #: 3584
                                    Visa International Operating Regulations




Access to Commercial Solutions Data and Reporting Tools

Effective 14 October 2010, where available, an Issuer is authorized to grant Visa Commercial
Solutions Data and Reporting Tools access and use to a Client Organization. Users must comply with
the Visa Commercial Solutions Data and Reporting Tools Service Guide, the Terms of Use document
referenced in it, the Visa Operating Regulations, and applicable law.

ID#: 050411-141010-0026017



Access to Visa IntelliLink Compliance Management

Effective 14 October 2010, Visa IntelliLink Compliance Management is available to all Issuers
and their Client Organizations. Users must comply with the Visa Commercial Solutions Data and
Reporting Tools Service Guide, the Terms of Use document referenced in it, the Visa Operating
Regulations, and applicable law.

ID#: 050411-141010-0026018



Visa Commercial Solutions Data and Reporting Tools Fees

Effective 14 October 2010, fees associated with Member use of any of the Visa Commercial
Solutions Data and Reporting Tools are available from Visa upon request and are specified in the
appropriate Visa regional fee guide.

ID#: 050411-141010-0026019



Visa Payables Automation Description - Canada Region

Effective through 7 September 2011, Visa Payables Automation, one of the Visa Commercial
Solutions Data and Reporting Tools, is provided to Canada Issuers and their Client Organizations
for use in connection with their Commercial Visa Product programs. A Canada Issuer participating in
this service must comply with the requirements specified in the Visa Commercial Solutions Data and
Reporting Tools Service Guide.

Use of Visa Payables Automation is at the discretion of Visa, which may limit or impose conditions on
its use and may discontinue the service at any time.

Visa Payables Automation, and all of the commercial reporting and data services provided by Visa,
are the property of Visa and are for the use of the Canada Issuer and its Client Organization solely in
support of its Commercial Visa Products.

ID#: 111011-110210-0025608




354                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 392 of 1319
                                               PageID #: 3585
                                    Visa International Operating Regulations




Visa Payables Automation

Effective 8 September 2011, an Issuer participating in the Visa Payables Automation service must
ensure that it, and its participating clients or Client Organizations, comply with the Visa Commercial
Solutions Data and Reporting Tools Service Guide.

Use of Visa Payables Automation is at the discretion of Visa, which may limit or impose conditions on
its use and may discontinue the service at any time.

Visa Payables Automation, and all of the commercial reporting and data services provided by Visa,
are the property of Visa and are for the use of the Issuer and its client or Client Organization solely in
the support of its Commercial Visa Products.

ID#: 171011-010100-0026534



Optional Data Management and Reporting Services - U.S. Region

Visa provides U.S. Issuers and their Client Organizations with various optional data management
and reporting services for use in connection with their Commercial Visa Product programs. These
services include, but are not limited to:

• Card Management
• Enhanced Data Services
• Procure to Pay
• Socioeconomic Reporting Service
• Supplier Matching Service
• Visa Information Source
• Visa Information Source Select
• Visa IntelliLink Compliance Management
• Visa IntelliLink Spend Management
• Visa Payables Automation
• Visa Travel Account Manager
• 1099 Reporting Service

Use of these data management and reporting services is at the discretion of Visa, which may limit or
impose conditions on its use, and may discontinue the service at any time.

ID#: 111011-010410-0008346




18 October 2011                                    VISA PUBLIC                                         355
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 393 of 1319
                                                   PageID #: 3586
                                    Visa International Operating Regulations




Access to Commercial Solutions Data and Reporting Tools - U.S. Region

Effective 19 March 2010 through 13 October 2010, except as specified in "Access to Visa
IntelliLink Compliance Management - U.S. Region," a U.S. Issuer is authorized to grant Visa
Commercial Solutions Data and Reporting Tools access and use to a Client Organization. Users must
comply with the Visa Commercial Solutions Data and Reporting Tools Service Guide, the Terms of
Use document referenced in it, the U.S. Regional Operating Regulations, and applicable law.

ID#: 111011-010410-0001394



Access to Visa IntelliLink Compliance Management - U.S. Region

Effective through 18 March 2010, Visa IntelliLink is reserved for a U.S. Issuer and its Client
Organizations that participate in GSA SmartPay 1 and GSA SmartPay 2 contracts. Users must
comply with the Visa Commercial Solutions Data and Reporting Tools Service Guide, the Terms of
Use document referenced in it, the U.S. Regional Operating Regulations, and applicable law. Visa
may grant an exception to allow other Client Organizations of an Issuer to use Visa IntelliLink.

Effective 19 March 2010 through 13 October 2010, Visa IntelliLink Compliance Management is
reserved for a U.S. Issuer and its Client Organizations that participate in GSA SmartPay 1 and GSA
SmartPay 2 contracts. Users must comply with the Visa Commercial Solutions Data and Reporting
Tools Service Guide, the Terms of Use document referenced in it, the U.S. Regional Operating
Regulations, and applicable law. Visa may grant an exception to allow other Client Organizations of
an Issuer to use Visa IntelliLink Compliance Management.

ID#: 111011-010410-0001395



Client Organization Access to Visa Commercial Solutions Data and Reporting Tools -
U.S. Region

Before granting a Client Organization access to and use of any of the Visa Commercial Solutions
Data and Reporting Tools, a U.S. Issuer must have a signed agreement with the Client Organization
governing that entity's use of the service.

ID#: 010410-010410-0001396



Visa Commercial Reporting and Data Services Limitations - U.S. Region

All of the Commercial reporting and data services provided by Visa are the property of Visa and are
for the use of the Issuer and its Client Organization solely in support of its Commercial Visa Products.

ID#: 010410-010410-0001397




356                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 394 of 1319
                                               PageID #: 3587
                                    Visa International Operating Regulations




Visa Commercial Solutions Data and Reporting Tools Fees - U.S. Region

Effective through 13 October 2010, fees associated with U.S. Member use of any of the Visa
Commercial Solutions Data and Reporting Tools are available from Visa upon request and are
referenced in the Visa U.S.A. Fee Guide.

ID#: 050411-010410-0007318



Enhanced Data


Applicability of Enhanced Data Restrictions (New)

Effective 30 June 2011, the restrictions specified in "Enhanced Data" do not apply to:

• Non-Confidential Enhanced Merchant-Level Data
• The Client Organization or Cardholders

ID#: 111011-300611-0026458



Enhanced Data Types - U.S. Region (Updated)

Effective through 29 June 2011, in the U.S. Region, Enhanced Data may consist of:

• Enhanced Transaction-Level Data
• Enhanced Merchant-Level Data

ID#: 111011-010410-0004241



Use and Disclosure of Card-Specific Enhanced Data - U.S. Region

A Commercial Visa Product Issuer in the U.S. Region may use or disclose Card-specific Enhanced
Data only in connection with the management and administration of a Commercial Visa Product
program for the Client Organization, and necessary supporting functions . Supporting functions may
include, but are not limited to, accounting, tax management, policy compliance, and other business
management functions, such as account setup and management reporting.

ID#: 010410-010410-0004242



Disclosure of Enhanced Data to Third Parties - U.S. Region

Enhanced Transaction-Level Data and Confidential Enhanced Merchant-Level Data in the U.S.
Region may be disclosed to third parties only either:




18 October 2011                                    VISA PUBLIC                                     357
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 395 of 1319
                                                   PageID #: 3588
                                    Visa International Operating Regulations


• In connection with the management and administration of Commercial Visa Product programs for
  the Client Organization, and necessary supporting functions, which may include, but are not limited
  to, accounting, tax management, policy compliance, and other business management functions,
  such as account setup and management reporting
• In aggregate, in such a way that Card-specific Enhanced Data cannot be related to a specific
  Merchant or Cardholder

"Third party" means only persons, real or corporate, other than the Issuer, Client Organization, or
Cardholder, providing services that directly support an Issuer's Commercial Visa Product Program.

ID#: 010410-010410-0004243



Third Party Agreement for Enhanced Data Usage - U.S. Region

If a U.S. Issuer discloses Card-specific Enhanced Transaction-Level Data or Confidential Enhanced
Merchant-Level Data to a third party, it must have a written agreement with the third party that
requires the third party to:

• Treat the information as confidential
• Make no further disclosure of the information without permission
• Limit the third party's use of the data to uses permitted by the Issuer

Permission granted for further disclosure by a third party must impose the same restrictions on use
and disclosure that apply to the Issuer's disclosure.

Each Issuer bears the sole responsibility for compliance with all applicable laws and regulations.

ID#: 010410-010410-0004244



Applicability of Enhanced Data Restrictions - U.S. Region (Updated)

Effective through 29 June 2011, in the U.S. Region, the restrictions regarding use of Enhanced
Data do not apply to:

• Non-Confidential Enhanced Merchant-Level Data
• The Client Organization or Cardholders

ID#: 111011-010410-0004246




358                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 396 of 1319
                                               PageID #: 3589
                                    Visa International Operating Regulations




POS Balance Inquiry Service

POS Balance Inquiry Service Requirements


Acquirer Participation in Point-of-Sale Balance Inquiry Service - U.S. Region

A U.S. Acquirer must:

• Participate in the Point-of-Sale Balance Inquiry Service
• Complete required systems testing with Visa to receive and transmit Visa Prepaid Card balance
  inquiry information, as specified in the appropriate VisaNet manual

Merchant participation in the Point-of-Sale Balance Inquiry Service is optional.

ID#: 010410-010410-0003214



Point-of-Sale Balance Inquiry Service - Acquirer Participation

An Acquirer that participates in the Point-of-Sale Balance Inquiry Service and/or the Point-of-Sale
Balance Return Service must complete required systems testing with Visa to support a Point-of-
Sale Balance Inquiry and/or a Point-of-Sale Balance Return, as specified in the appropriate VisaNet
manuals.

Merchant participation in the Point-of-Sale Balance Inquiry Service and/or the Point-of-Sale Balance
Return Service is optional.

ID#: 010410-010100-0025546



Point-of-Sale Balance Inquiry Service - Issuer Participation Conditions

An Issuer that participates in the Point-of-Sale Balance Inquiry Service and/or the Point-of-Sale
Balance Return Service must complete required testing with Visa to support a Point-of-Sale Balance
Inquiry and/or a Point-of-Sale Balance Return as specified in the VisaNet manuals.

ID#: 050411-010100-0025545




18 October 2011                                    VISA PUBLIC                                     359
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 397 of 1319
                                                   PageID #: 3590
                                    Visa International Operating Regulations




Visa PIN Debit Gateway Service - U.S. Region

Visa PIN Debit Gateway Service Requirements - U.S. Region


Visa PIN Debit Gateway Service Charges - U.S. Region

Visa assesses a debit gateway charge, and applicable transaction access charges, to U.S. Members
or VisaNet Processors for all non-Visa PIN-based or non-PIN-based bill payment debit transactions
(e.g., STAR, NYCE) that are switched to other networks for authorization. This charge does not apply
to Interlink transactions.

For all non-Visa PIN-based or non-PIN-based bill payment debit transactions, Visa will pass through
to Members or VisaNet Processors any charges billed to Visa by the debit networks that may result
from a Member's participation in the service, including, but not limited to, non-compliance with other
network rules.

See the Visa U.S.A. Fee Guide for further information.

ID#: 081010-010410-0007875




Plus Program

Plus Program Requirements


Plus Program Participation

Issuer participation in the Plus Program is optional. To become an Issuer of Cards bearing the Plus
Symbol, an Issuer must:

• Obtain a license to use the Plus Program Marks and comply with rules for using the Plus Symbol,
  as specified in the Visa Product Brand Standards
• Comply with:
  – Issuer requirements specified in the Visa International Operating Regulations
  – Visa Global ATM Member Guide
  – Magnetic Stripe encoding specifications in the Payment Technology Standards Manual
• Provide Authorization service 24 hours a day, 7 days a week

A Regional Board or its exclusive Plus Program sublicensee, if applicable, may grant a variance to
this section to Issuers located within its Visa Region.

ID#: 010410-010410-0004060



360                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 398 of 1319
                                               PageID #: 3591
                                    Visa International Operating Regulations




Plus Proprietary Card Account Number Specifications

The Account Number format for a Proprietary Card bearing the Plus Symbol must comply with the
Account Number standards specified either:

• In "BIN and Account Number Specifications," if using a BIN assigned by Visa
• By the International Standards Organization

ID#: 010410-010410-0004061



Application of Affinity Rules to Plus Proprietary Card - Canada Region

In the Canada Region, where a non-Member Identification appears on a Proprietary Card bearing
the Plus Symbol and no other Visa marks, the Affinity Card rules outlined in the Visa Product Brand
Standards do not apply to such Cards.

ID#: 010410-010410-0004751



Plus Proprietary Card Manual Cash Disbursement Prohibition - CEMEA Region

In the CEMEA Region, a Proprietary Card bearing the Plus Symbol must not be used for Manual
Cash Disbursements.

ID#: 010410-010410-0004748



Plus Program Participation Requirements - U.S. Region

A U.S. Issuer may participate in the Plus Program by becoming a member of the Plus System, Inc.
and issuing Plus Cards, as specified in the Plus System, Inc. Bylaws and Operating Regulations.

ID#: 010410-010410-0004111




Visa Global ATM Network

Visa Global ATM Network Requirements


Visa Global ATM Network Issuer Participation

Issuer participation in the Visa Global ATM Program is optional. Before participating in the program,
an Issuer must successfully complete the certification and comply with the requirements specified in
the Visa Global ATM Member Guide.

ID#: 010410-010410-0004070




18 October 2011                                    VISA PUBLIC                                      361
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 399 of 1319
                                                   PageID #: 3592
                                    Visa International Operating Regulations




Custom Payment Service/ATM Program

Custom Payment Services/ATM is available as an Issuer option. An Issuer that chooses to participate
must:

• Complete Issuer certification, as specified in the Visa Global ATM Member Guide
• Receive and return the ATM Transaction Identifier in each Transaction
• Receive the terminal ID code, ATM owner, and ATM location data in each Transaction Record
• Include the ATM Transaction Identifier in all Chargebacks

ID#: 010410-010410-0004078



Visa Global ATM Network Requirements - Canada Region

A Member in the Canada Region participating in the Visa Global ATM Program must comply with the
Anti-Money Laundering requirements as specified in the Visa Global ATM Member Guide.

ID#: 081010-010100-0025719



Visa Global ATM Network Issuer Requirements - U.S. Region

A U.S. Issuer that is required to participate in the Visa ATM Network must comply with the Visa
lnternational Operating Regulations, Payment Technology Standards Manual, and the applicable
VisaNet manual.

ID#: 010410-010210-0006423



Visa Global ATM Network Acquirer Requirements - U.S. Region

A U.S. Acquirer participating in the Visa ATM Network must:

• Ensure that all of its ATMs that participate in other regional or national ATM networks also
  participate in the Visa ATM Network
• Ensure that its Authorizing Processor performs Authorization, Clearing, and Settlement for all Visa
  ATM Network Transactions through the Single Message System
• Comply with the Single Message System access fee format specifications, if applicable
• Display ATM Acceptance Marks, as specified in the Visa International Operating Regulations
• Notify Visa of all ATM locations participating in the Visa ATM Network
• Accept all Visa Cards for all Transaction functions provided by the Acquirer's participating ATM, as
  specified in the Visa Global ATM Member Guide
• Become a member of the Plus System, Inc.




362                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 400 of 1319
                                               PageID #: 3593
                                    Visa International Operating Regulations


• Within 30 calendar days from the date that the Acquirer begins accepting Visa ATM Network
  Transactions, display the Plus Symbol on, and accept Cards bearing the Plus Symbol at, all ATMs
  participating in the Visa ATM Network

ID#: 010410-010410-0004752



Non-Visa Account Numbers at an ATM - U.S. Region

An ATM in the U.S. Region may transmit non-Visa account numbers to the Single Message System if
no other processing path is available.

ID#: 010410-010410-0004779



ATM Operators


Requirements for ATMs of Non-Member Institutions - LAC Region

An ATM Acquirer in the LAC Region must comply with all the security requirements for ATMs
specified by Visa, and must prominently display on every non-Member ATM the name of the Member
that operates or sponsors it.

ID#: 111011-010410-0004746



ATM Operator Agreement - U.S. Region

An ATM Acquirer in the U.S. Region must have a written ATM Operator agreement with each of its
ATM Operators and may only process Visa ATM Network Transactions from an ATM Operator with
which it has a valid agreement.

The form, content, and appearance of an ATM Operator agreement is at the discretion of the ATM
Acquirer, except as specified in the U.S. Regional Operating Regulations.

An ATM Acquirer may include other provisions in its agreement if they are consistent with the
Operating Regulations.

The Visa International Operating Regulations may be amended from time to time and each ATM
Acquirer is responsible for making corresponding amendments to its agreements.

ID#: 010410-010410-0009021



ATM Operator Operating Regulation Compliance - U.S. Region

An ATM Acquirer in the U.S. Region must ensure that its ATM Operator complies with the substance
of the applicable sections of the Visa International Operating Regulations.

ID#: 010410-010410-0003507




18 October 2011                                    VISA PUBLIC                                     363
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 401 of 1319
                                                   PageID #: 3594
                                    Visa International Operating Regulations




ATM Operator Agreement Content Requirements - U.S. Region

In the U.S. Region, an ATM Operator agreement must:

• State clearly the ATM Acquirer's name, location, and contact information in letters consistent in
  size with the rest of the ATM Operator agreement printing, and in a manner that makes the ATM
  Acquirer's name readily visible to the ATM Operator. Tri-party agreements (ATM Acquirer, Agent,
  ATM Operator) are permitted.
• State that the ATM Operator may be terminated for failure to comply with the ATM Operator
  agreement, which includes the requirements of the Visa International Operating Regulations
• Be made available to Visa upon request

ATM Operator agreements provided to Visa must not contain contractual details regarding pricing
arrangements.

ID#: 010410-010410-0003508



ATM Operator Qualification Standards - U.S. Region

Before entering into an ATM Operator agreement, an ATM Acquirer in the U.S. Region must
determine that a prospective ATM Operator does not have any significant derogatory background
information about any of its principals. The ATM Acquirer may obtain this information through:

• Credit reports
• Background investigations (e.g., criminal, civil)
• Personal and business financial statements
• Other information lawfully available to the ATM Acquirer

ID#: 010410-010410-0003510



ATM Agent Requirements - U.S. Region

An ATM Acquirer in the U.S. Region may allow its Agents to execute ATM Operator agreements on
its behalf and/or conduct due diligence reviews. The ATM Acquirer must:

• Maintain documented policies and procedures to manage its Agent programs
• Validate its Agent's compliance with the ATM Acquirer's solicitation and qualification standards on
  a quarterly basis

ID#: 010410-010410-0003511




364                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15         Page: 402 of 1319
                                               PageID #: 3595
                                    Visa International Operating Regulations




ATM Acquirer Audits - U.S. Region

In the U.S. Region, Visa or its designees may conduct financial and procedural audits and/or reviews
of ATM Acquirers at any time.

ID#: 010410-010410-0003504



ATM Operator and Agent Information - U.S. Region

An ATM Acquirer in the U.S. Region must collect the following information for all ATM Operators and
Agents:

• "Doing Business As" (DBA) name
• ATM Operator legal name
• ATM Operator outlet location, including street address, city, state, and ZIP code
• Federal Taxpayer Identification Number (TIN), Federal Employer Identification Number (FEIN), or
  the Social Security Number (SSN) of all principals
• Full first and last name, including middle initial of principals (e.g., corporations, partnerships, sole
  proprietors)
• Incorporation status (e.g., corporation, partnership, sole proprietor, non-profit, other)

ID#: 010410-010410-0008398



ATM and PIN Pad Requirements for ATM Operators - U.S. Region

An ATM Operator in the U.S. Region must take all reasonable actions to ensure that its ATMs and
PIN pads at the ATM Operator's outlet(s):

• Are available for use by all Cardholders for Visa ATM Network Transactions
• Function reliably
• Comply with the PIN Management Requirements Documents

ID#: 010410-010410-0003512



PIN Security Requirements for ATM Operators and Agents - U.S. Region

An ATM Acquirer in the U.S. Region must ensure that its Agents and ATM Operators maintain the
integrity and safety of PIN data, as specified in the PIN Management Requirements Documents.

ID#: 010410-010410-0003513




18 October 2011                                    VISA PUBLIC                                           365
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15       Page: 403 of 1319
                                                   PageID #: 3596
                                    Visa International Operating Regulations




ATM Operator Prohibitions - U.S. Region

Visa may permanently prohibit an ATM Operator in the U.S. Region from providing services with
respect to Visa Products for good cause, such as:

• Fraudulent activity
• Activity that causes the ATM Acquirer to repeatedly violate the Visa International Operating
  Regulations
• Activity that violates applicable law
• Operating in an unsound, unsafe manner
• Any other activity that may result in undue economic hardship or damage to the goodwill of the
  Visa system

ID#: 010410-010410-0003514



ATM Operator Agreement Violation Fines - U.S. Region

A U.S. Member that fails to comply with the ATM requirements in the U.S. Regional Operating
Regulations is assessed a fine, as specified


ID#: 111011-010410-0008399



ATM Balance Inquiry Service


ATM Balance Inquiry Service Issuer Participation

An Issuer may participate in the Balance Inquiry Service. To participate an Issuer must:

• Obtain certification from Visa
• Support Balance Inquiries as separate, non-financial transactions

An Issuer may additionally provide balance information as part of an ATM Cash Disbursement.

ID#: 010410-010410-0004074



ATM Balance Inquiry Service Fees

An Issuer must pay the ATM Acquirer a fee for each Balance Inquiry. If the Issuer does not
participate in the Balance Inquiry Service, the inquiry will be declined and a decline fee will be
assessed to the Issuer.

ID#: 111011-010410-0004075




366                                                VISA PUBLIC                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 404 of 1319
                                               PageID #: 3597
                                    Visa International Operating Regulations




ATM Balance Inquiry Service Provision

An Issuer must provide the Balance Inquiry Service to Cardholders if it offers balance inquiry services
through a network other than its proprietary network.

ID#: 010410-010410-0004076



ATM Balance Inquiry Service Acquirer Participation

An ATM Acquirer may participate in the Balance Inquiry Service. To participate, an ATM Acquirer
must:

• Obtain certification from Visa
• Display the balance in the currency of the ATM, either on the screen or on a receipt
• Support Balance Inquiries as separate, non-financial transactions

An ATM Acquirer must support the Balance Inquiry Service if it supports balance inquiry for any
network other than its proprietary network. A participating ATM Acquirer receives a Balance Inquiry
fee for each Balance Inquiry, as specified in "ATM Balance Inquiry Service Fees."

An ATM Acquirer may supply the Cardholder with any balance information provided by the Issuer as
part of an ATM Cash Disbursement. The Issuer does not pay a fee for this service.

ID#: 010410-010410-0004804



ATM Fees


International ATM Cash Disbursement Fee

An ATM Acquirer will receive the international ATM Cash Disbursement Fee only if the:

• Acquirer is certified to participate in either:
  – The Single Message System
  – Custom Payment Services/ATM
• ATM Transaction meets the tier II requirements specified in the Visa Global ATM Member Guide

ID#: 010410-010410-0002644



ATM Cheque Fee Disclosure

If an ATM dispenses cheques and charges a fee, the Member must disclose the fee to the
Cardholder.

ID#: 010410-010410-0004800



18 October 2011                                    VISA PUBLIC                                      367
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 405 of 1319
                                                   PageID #: 3598
                                    Visa International Operating Regulations




Visa Rights Pertaining to ATM Access Fees

Visa reserves the right to request any of the following from an ATM Acquirer:

• Notice of intent to impose an Access Fee on international ATM Cash Disbursements
• A report with the physical location of each ATM and the total number of ATMs at which an Access
  Fee is imposed on international ATM Cash Disbursements
• Message display and language disclosure related to Access Fees on international ATM Cash
  Disbursements

An ATM Acquirer may impose an Access Fee on an international ATM Cash Disbursement. The
provisions for imposing an Access Fee do not apply to Cards issued by Visa Europe Members,
unless local law expressly requires that an ATM Acquirer be permitted to impose an Access Fee.

ID#: 111011-180409-0009039



Acquirer Imposition of ATM Access Fees

An ATM Acquirer may impose an Access Fee on an international ATM Cash Disbursement if:

• It imposes an Access Fee on all other international ATM Cash Disbursements through any other
  network at the same ATM
• The Access Fee is not greater than the Access Fee amount on all other international Transactions
  through any other network at the same ATM
• The Access Fee is a fixed and flat fee

ID#: 111011-180409-0007224



ATM Access Fee Disclosure

An ATM Acquirer must disclose the Access Fee to the Cardholder, at a minimum, in English and local
language equivalent, via message display, as specified in "ATM Message Display for Access Fees."

ID#: 081010-180409-0007226



ATM Message Display for Access Fees

If an ATM Acquirer imposes an Access Fee on international ATM Cash Disbursements, the ATM
Acquirer must do all of the following at the ATM:

• Inform the Cardholder that an Access Fee is assessed, in addition to the charges assessed by the
  Issuer. The disclosure must:
  – Be as high a contrast or resolution as any other graphics on the terminal




368                                                VISA PUBLIC                       18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 406 of 1319
                                               PageID #: 3599
                                    Visa International Operating Regulations


  – Contain the notice: Fee Notice "(Member Name) will assess a fee to cardholders for international
    ATM Cash Disbursements. This fee is added to the amount of your transaction and is in addition
    to any fees that may be charged by your financial institution."
• Identify the recipient of the Access Fee
• Inform the Cardholder of the Access Fee amount
• Request Cardholder approval of the Access Fee
• Provide the ability for the Cardholder to cancel the ATM Transaction

ID#: 111011-180409-0007164



ATM Access Fee Disclosure on Transaction Receipt

A receipt dispensed at an ATM must comply with the receipt requirements, as specified in "ATM
Transaction Receipt Requirements Table 7I-2." In addition, the receipt must disclose the amount
of the Access Fee, labeled as an "ATM Fee," "Terminal Fee," or "Access Fee," and the total debit
amount.

ID#: 080411-180409-0007227



ATM Clearing Record Requirements

An ATM Acquirer must submit an ATM Transaction for Clearing that includes the value of the cash
dispensed to the Cardholder as well as any Access Fee imposed, as specified in "ATM Access Fee
Fines for Non-Compliance."

ID#: 081010-180409-0007229



Domestic ATM Cash Disbursement Access Fees

An ATM Acquirer must not impose an Access Fee on domestic ATM Cash Disbursements, unless
local law expressly requires that an ATM Acquirer be permitted to impose an Access Fee.

An ATM Acquirer in a country where an Access Fee for domestic ATM Cash Disbursements
is permitted by Visa must comply with the requirements specified for International ATM Cash
Disbursement Access Fees.

Variances to this requirement apply to:

• Australia
• The Canada Region
• The LAC Region, only to ATM Acquirers in Puerto Rico
• The U.S. Region

ID#: 081010-180409-0007996




18 October 2011                                    VISA PUBLIC                                     369
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 407 of 1319
                                                   PageID #: 3600
                                    Visa International Operating Regulations




Access Fees at ATM

An ATM Acquirer in a country where an Access Fee for domestic ATM Cash Disbursements is
permitted by Visa must comply with the requirements specified in "Visa Rights Pertaining to ATM
Access Fees."

ID#: 081010-050609-0009042



ATM Access Fee - Canada Region

An ATM Acquirer in the Canada Region may impose an Access Fee on an ATM Cash Disbursement.

An ATM Acquirer may impose an Access Fee if:

• It imposes an Access Fee on all other interchange transactions through other shared networks at
  the same ATM
• The Access Fee is not greater than the access fee amount on all other interchange transactions
  through other shared networks at the same ATM
• The ATM Cash Disbursement is a Domestic Transaction
• The Domestic Transaction is initiated by a Card issued by a Member other than the ATM Acquirer
• The Access Fee is a fixed and flat fee

ID#: 050411-180409-0004715



ATM Access Fee Disclosure - Canada Region

If a Canada ATM Acquirer imposes an Access Fee on ATM Cash Disbursements, the ATM Acquirer
must do all of the following at the ATM:

• Inform the Cardholder that an Access Fee is assessed in addition to the charges assessed by the
  Issuer
• Inform the Cardholder of the Access Fee amount
• Identify the ATM Acquirer as the recipient of the Access Fee
• Request Cardholder approval of the Access Fee
• Provide the ability for the Cardholder to cancel the Transaction

ID#: 010410-010410-0004718



ATM Access Fee Disclosure on Transaction Receipt - Canada Region

A Canada ATM Acquirer that adds an Access Fee to an ATM Cash Disbursement Transaction must:

• Label the Access Fee on the Transaction Receipt as one of the following:



370                                                VISA PUBLIC                      18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 408 of 1319
                                               PageID #: 3601
                                    Visa International Operating Regulations


  – "ATM Fee"
  – "Terminal Fee"
  – "Access Fee"
• Identify the ATM Acquirer as the recipient of the Access Fee
• Include the Access Fee amount in the "Transaction Amount" field of the Transaction Record

If an Access Fee is imposed, the ATM Acquirer must include the Access Fee amount in the SMS
record in accordance with the appropriate VisaNet manual.

ID#: 010410-010410-0004719



Visa Rights Pertaining to ATM Access Fees - U.S. Region

Visa reserves the right to request any of the following from an ATM Acquirer in the U.S. Region:

• Notice of intent to impose an Access Fee on ATM Cash Disbursements
• A report with the physical location of each ATM and the total number of ATMs at which an Access
  Fee is imposed on ATM Cash Disbursements
• Message display and language disclosure related to Access Fees on an ATM Cash Disbursements

ID#: 081010-010410-0008829



ATM Access Fee Disclosure on Terminals - U.S. Region

An ATM Acquirer in the U.S. Region must disclose the Access Fee to the Cardholder via message
display.

ID#: 081010-180409-0007115



ATM Access Fee Disclosure - U.S. Region

In the U.S. Region, the disclosure specified in "ATM Access Fee Disclosure on Terminals - U.S.
Region," must:

• Be readily visible to the Cardholder in the Cardholder's line of sight
• Be as high a contrast or resolution as any other graphics on the terminal
• Be a minimum of 4" x 4" with:
  – A heading of at least an 18-point type font
  – Text of at least 14-point type font
• Inform the Cardholder that an Access Fee is assessed, in addition to the charges assessed by the
  U.S. Issuer
• Identify the recipient of the Access Fee
• Request Cardholder approval of the Access Fee


18 October 2011                                    VISA PUBLIC                                     371
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 409 of 1319
                                                   PageID #: 3602
                                    Visa International Operating Regulations


• Provide the ability for the Cardholder to cancel the ATM Transaction
• Contain one of the following notices:
  – Fee Notice "(Member Name) charges a ($ amount) fee to U.S. Cardholders for withdrawing
    cash. This fee is added to the amount of your withdrawal and is in addition to any fees that may
    be charged by your financial institution."
  – Fee Notice "(Member Name) charges a ($ amount) fee for withdrawing cash. This fee is added
    to the amount of your withdrawal and is in addition to any fees that may be charged by your
    financial institution."
  – Fee Notice "(Member Name) may assess a fee to Cardholders for transactions. This fee is
    added to the amount of your transaction and is in addition to any fees that may be charged by
    your financial institution."
  – Fee Notice "(Member Name) may assess a fee for transactions. This fee is added to the
    amount of your transaction and is in addition to any fees that may be charged by your financial
    institution."

ID#: 050411-010410-0004766



ATM Access Fee Disclosure on Transaction Receipt - U.S. Region 5.5.A

A U.S. ATM Acquirer that adds an access fee to an ATM Cash Disbursement Transaction must:

• Label the access fee on the Transaction Receipt as one of the following, as applicable:
  – "ATM Fee"
  – "Terminal Fee"
  – "Access Fee"
• State that the Member assessed the fee
• Include the access fee amount in the "Transaction Amount" field of the Transaction Record

ID#: 010410-010410-0004973



Domestic ATM Access Fees - CEMEA Region

In the CEMEA Region, with the prior written approval from Visa, an ATM Acquirer in Russia may
dispense Foreign Currency to Cardholders. Domestic Transactions completed in a non-domestic
currency may be subject to an Access Fee, added to the Transaction Amount, if all of the following
conditions are met:

• The Access Fee is applied to Domestic Transactions only
• The ATM must dispense both Rubles and Foreign Currency
• The Cardholder must be given the opportunity to cancel the Transaction and/or change the
  requested amount to be disbursed in Rubles without incurring additional charges

ID#: 010410-010410-0024130




372                                                VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 410 of 1319
                                               PageID #: 3603
                                    Visa International Operating Regulations




Global ATM Network PIN Requirements


Chip-Reading ATM Acquirer Requirements

An ATM Acquirer must ensure that all Chip-reading ATMs:

• Support "Online PIN"
• Do not support "Signature" or "No CVM (Cardholder Verification Method) required"

ID#: 010410-010410-0004793



Chip-Reading ATM Acquirer Requirements - Canada Region

A Canada ATM Acquirer must ensure that all ATMs with a Compliant Chip Card Reading Device do
not support the following:

• "Signature"
• "Offline PIN at ATM"
• "No CVM required"

ID#: 010410-010410-0004712



Chip-Reading ATM Online PIN Support - Canada Region

All ATM Acquirers in the Canada Region must ensure that all ATMs with a Compliant Chip Card
Reading Device support enciphered PINs that are verified online.

ID#: 010410-010410-0004711



ATM and PIN-Based POS Acceptance Requirements - CEMEA Region

In the CEMEA Region, an ATM Acquirer and an Acquirer operating PIN-based POS devices must
comply with all of the following requirements:

• All newly deployed ATMs and PIN at POS acceptance devices, including replacement devices,
  must support Triple Data Encryption Standard (Triple DES)
• All Transactions verified by PIN must be Triple DES-encrypted from the point-of-acceptance to Visa
  and between Visa and the Issuer's host systems

ID#: 050411-010410-0004728




18 October 2011                                    VISA PUBLIC                                     373
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15        Page: 411 of 1319
                                                   PageID #: 3604
                                    Visa International Operating Regulations




ATM Issuer Requirements - U.S. Region


Visa Consumer Card Issuer ATM Requirements - U.S. Region

A Visa Consumer Card Issuer in the U.S. Region must:

• Participate in the Visa ATM Network
• Send an original, signed copy of the Issuer Option Selection Form (available from Visa) indicating
  the Issuer's decision to participate, its processing options, and its working keys to Visa so that it is
  received no later than 45 calendar days before implementation
• Correctly encode the Magnetic Stripe on the Card, as specified in the Payment Technology
  Standards Manual
• For Cards containing a Chip, also correctly program the Chip on the Card, as specified in the
  appropriate VisaNet manual

ID#: 021209-010210-0008431



Commercial Visa Product Issuer ATM Requirements - U.S. Region

A Commercial Visa Product Issuer in the U.S. Region must comply with the participation
requirements in the Visa International Operating Regulations if it participates in the Visa ATM
Network, as specified in "Visa Business or Visa Corporate Issuer ATM Requirements - U.S. Region."

ID#: 010410-010410-0004565



Visa Business or Visa Corporate Issuer ATM Requirements - U.S. Region

If requested by the subscribing company, a Visa Business Card or Visa Corporate Card Issuer in
the U.S. Region must participate in the Visa ATM Network by complying with the Visa Consumer
Card Issuer ATM requirements and Classic Visa Check Card ATM requirements specified in the Visa
International Operating Regulations. A Visa Purchasing Card Issuer may participate in the Visa ATM
Network by complying with the Classic Visa Check Card Issuer ATM requirements.

ID#: 010410-010410-0004561



ATM Access Fee Fines


ATM Access Fee Fines for Non-Compliance

An ATM Acquirer may be subject to a fine if it does not:

• Comply with the requirements specified in "Visa Rights Pertaining to ATM Access Fees"




374                                                VISA PUBLIC                             18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 412 of 1319
                                               PageID #: 3605
                                    Visa International Operating Regulations


• Populate the Access Fee amount in the appropriate field of the Authorization and Clearing Record

ID#: 081010-180409-0007228



ATM Access Fee Fines

An ATM Acquirer may be subject to a fine of 3 times the amount of the Access Fee imposed during
the period of non-compliance, or as specified in the "General Schedule of Fines" table, whichever is
greater, if the Member does not:

• Notify Visa of its intent to impose an Access Fee, as specified in "Visa Rights Pertaining to ATM
  Access Fees"
• Populate the Access Fee amount, if any, in the appropriate field of the Authorization and Clearing
  Record

ID#: 081010-180409-0007161



ATM Access Fee Fines - Canada Region

An ATM Acquirer may be subject to a fine of 3 times the amount of the Access Fees imposed during
the period of non-compliance, or as specified in "General Fines Schedule," whichever is greater, if
the Member does not comply with the Canada Regional Operating Regulations or Visa International
Operating Regulations.

If an ATM Acquirer fails to include the Access Fee amount in the Single Message System record, the
fine will be per Transaction.

ID#: 111011-010410-0004720




Preauthorized Payment Cancellation Service

Preauthorized Payment Cancellation Service Requirements


Preauthorized Payment Cancellation Service Participation

Effective 10 February 2011, Issuer participation in the Preauthorized Payment Cancellation Service
is optional and at the sole discretion of Visa. Visa may:

• Limit participation in the service
• Impose conditions on its use
• Discontinue the service at any time

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18 October 2011                                    VISA PUBLIC                                        375
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 413 of 1319
                                                   PageID #: 3606
                                    Visa International Operating Regulations




Preauthorized Payment Cancellation Service Issuer Participation Requirements

Effective 10 February 2011, an Issuer that participates in the Preauthorized Payment Cancellation
Service must:

• Correctly specify the type of stop payment order
• Provide complete and accurate information pertaining to the stop payment order
• Keep stop payment order information current in the Cardholder database
• Comply with:
  – Preauthorized Payment Cancellation Service - Issuer Quick Reference Guide
  – Preauthorized Payment Cancellation Service - Issuer Host System Implementation Guide

ID#: 050411-100211-0026228



Preauthorized Payment Cancellation Service Limitations

Effective 10 February 2011, the Preauthorized Payment Cancellation Service and the information
obtained through participation in the service is the property of Visa and is for the sole use of Visa
Members in support of their Visa Card Programs.

A Member must not disclose Preauthorized Payment Cancellation Service information, other than
data relating to the Member's own Cardholder and/or Merchant, or any other information associated
with the service, to any other parties unless it is permitted in the Visa International Operating
Regulations or otherwise authorized by Visa.

ID#: 050411-100211-0026229



Preauthorized Payment Cancellation Service Participation - U.S. Region

Effective through 9 February 2011, the Preauthorized Payment Cancellation Service is an
optional service in the U.S. Region that offers U.S. Issuers the ability to stop payment on certain
Preauthorized Transactions.

Issuer participation in the Preauthorized Payment Cancellation Service is optional and at the sole
discretion of Visa. Visa may:

• Limit participation in the service
• Impose conditions on its use
• Discontinue the service at any time

ID#: 050411-010410-0008417




376                                                VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 414 of 1319
                                               PageID #: 3607
                                    Visa International Operating Regulations




Preauthorized Payment Cancellation Service Participation Requirements - U.S.
Region

Effective through 9 February 2011, a U.S. Issuer participating in the Preauthorized Payment
Cancellation Service must:

• Correctly specify the type of stop payment order
• Provide complete and accurate information pertaining to the stop payment order
• Keep stop payment order information current in the Cardholder database

ID#: 050411-010410-0004558



Preauthorized Payment Cancellation Service Limitations - U.S. Region

Effective through 9 February 2011, in the U.S. Region, the Preauthorized Payment Cancellation
Service and the information obtained through participation in the service is the property of Visa and is
for the sole use of Visa Members in support of their Visa Card Programs.

A Member must not disclose Preauthorized Payment Cancellation Service information, other than
data relating to the Member's own Cardholder and/or Merchant, or any other information associated
with the service, to any other parties unless it is permitted in the Visa International Operating
Regulations or otherwise authorized by Visa.

ID#: 050411-010410-0008418



Preauthorized Payment Cancellation Service Declined Transaction Procedures - U.S.
Region

Effective through 9 February 2011, a U.S. Merchant must not resubmit an Authorization Request
for a Preauthorized Transaction if it has received a Decline Response Reason Code of "R0" (stop
payment order).

If a Merchant receives a Decline Response of "R1" (revocation of authorization) or "R3" (revocation of
all authorizations) for a Preauthorized Transaction, the Merchant must:

• Not resubmit the Authorization Request
• Not submit an Authorization Request or deposit a Transaction Receipt for any future Transaction
  unless:
  – Instructed otherwise by the Cardholder
  – Merchant verifies with the Cardholder that the Cardholder has cancelled the revocation of
    authorization with the Issuer

ID#: 050411-010410-0008419




18 October 2011                                    VISA PUBLIC                                       377
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 415 of 1319
                                                   PageID #: 3608
                                    Visa International Operating Regulations




Visa Account Updater Service

Visa Account Updater Service Requirements


Visa Account Updater Service - Issuer Participation Requirements

Effective 10 February 2011, an Issuer that participates in the Visa Account Updater Service must:

• Comply with :
  – Visa Account Updater - Terms of Use
  – Visa Account Updater - Implementation Guide
  – Visa Account Updater - User’s Guide
• Provide updated Cardholder account information to the Visa Account Updater Service, including,
  but not limited to:
  – Account Number
  – Card expiration date

ID#: 111011-100211-0026124



Visa Account Updater Service - Acquirer Participation Requirements

Effective 10 February 2011, an Acquirer that participates in the Visa Account Updater Service must:

• Comply with:
  – Visa Account Updater - Implementation Guide
  – Visa Account Updater - Terms of Use
  – Visa Account Updater - User's Guide
• Ensure that a Merchant that is designated as high-risk, does not have access to information on the
  Visa Account Updater Service

ID#: 111011-010100-0026125



Visa Account Updater Service - Information Requirements

Effective 10 February 2011, a Member participating in the Visa Account Updater Service must:

• Comply with all applicable laws and regulations in collecting and providing information to, and using
  information supplied by, the Visa Account Updater Service
• Inform Visa immediately upon becoming aware that any of the information sent to or received from
  the Visa Account Updater Service does not meet the requirements specified in the:


378                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 416 of 1319
                                               PageID #: 3609
                                    Visa International Operating Regulations


  – Visa International Operating Regulations
  – Visa Account Updater - Terms of Use
• Ensure that all information sent to the Visa Account Updater Service is accurate
• Protect the security of the information sent to or received from the Visa Account Updater Service
• Investigate claims of inaccuracies in the information sent to or received from the Visa Account
  Updater Service and correct any inaccurate information
• Inform Visa, immediately upon discovery, of any inaccuracies in information in the Visa Account
  Updater Service

ID#: 050411-100211-0026126



Disclosure of Visa Account Updater Service Information

Effective 10 February 2011, Cardholder information obtained from the Visa Account Updater Service
must be disclosed by a participating Member only to a Merchant that:

• Has an existing relationship with the Cardholder and has the Cardholder's account information on
  file
• Is registered in the Visa Account Updater Service
• Is identified in the Acquirer inquiry file, as specified in the Visa Account Updater - Terms of Use

ID#: 050411-100211-0026127



Visa Account Updater Service Participation – AP Region (Updated)

Effective 15 October 2011, in the AP Region, a Member in Australia must participate in the Visa
Account Updater Service, as specified in the Visa Account Updater – Terms of Use for Australia and
New Zealand.

Effective 14 April 2012, in the AP Region, a Member in New Zealand must participate in the Visa
Account Updater Service, as specified in the Visa Account Updater – Terms of Use for Australia and
New Zealand.

ID#: 111011-151011-0026128



Visa Account Updater Service Requirements – Canada Region


Visa Account Updater Service Participation - Canada Region

Effective through 9 February 2011, a Canada Member may participate in the Visa Account Updater
Service, as specified in the Visa Account Updater Terms of Use.

ID#: 050411-010100-0025774




18 October 2011                                    VISA PUBLIC                                          379
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 417 of 1319
                                                   PageID #: 3610
                                    Visa International Operating Regulations




Visa Account Updater Service Cardholder Account Information - Canada Region

Effective through 9 February 2011, a Canada Issuer participating in the Visa Account Updater
Service must comply with the Visa Account Updater requirements specified in the Visa Account
Updater Terms of Use.

The Issuer must provide updated Cardholder account information to the Visa Account Updater,
including, but not limited to:

• New Account Number
• New Card expiration date

ID#: 050411-100211-0025775



Visa Account Updater Service Participation Requirements - Canada Region

Effective through 9 February 2011, a Canada Acquirer participating in the Visa Account Updater
Service must comply with the Visa Account Updater requirements specified in the Visa Account
Updater Terms of Use.

The Acquirer must ensure that a Merchant designated as a high-risk merchant, as defined in the Visa
Account Updater Terms of Use, does not have access to Visa Account Updater information.

ID#: 050411-100211-0025776



Visa Account Updater Service Information Requirements - Canada Region

Effective through 9 February 2011, a Canada Member participating in the Visa Account Updater
Service must:

• Comply with all applicable laws and regulations in collecting and providing the information to, and
  using the information supplied by, the Visa Account Updater Service
• Inform Visa as soon as possible upon becoming aware that any of the information sent to or
  received from the service does not meet the requirements specified in the:
  – Visa International Operating Regulations
  – Visa Account Updater Terms of Use
• Use reasonable efforts to ensure that all information sent to the service is accurate
• Take reasonable steps to protect the security of the information sent to or received from the Visa
  Account Updater Service
• Promptly investigate claims of inaccuracies in the information supplied to or by the Visa Account
  Updater and correct any inaccurate information
• Notify Visa of any inaccuracies

ID#: 050411-100211-0025777




380                                                VISA PUBLIC                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 418 of 1319
                                               PageID #: 3611
                                    Visa International Operating Regulations




Disclosure of Visa Account Updater Service Information - Canada Region

Effective through 9 February 2011, in the Canada Region, Visa Account Updater information may
be disclosed by a participating Member only to a Merchant that:

• Has an existing relationship with the Cardholder and has the Cardholder's account information on
  file
• Is registered in the Visa Account Updater program
• Is identified in the Acquirer inquiry file, as specified in the Visa Account Updater Terms of Use

ID#: 050411-100211-0025778



Visa Account Updater Service Requirements - U.S. Region


Visa Account Updater Service Participation - U.S. Region

Effective through 9 February 2011, a U.S. Member may participate in the Visa Account Updater
Service, as specified in the Visa Account Updater Terms of Use.

ID#: 050411-010410-0003308



Visa Account Updater Service Cardholder Account Information - U.S. Region

Effective through 9 February 2011, a U.S. Issuer participating in the Visa Account Updater Service
must comply with the Visa Account Updater requirements specified in the Visa Account Updater
Terms of Use.

The Issuer must provide updated Cardholder account information to the Visa Account Updater,
including, but not limited to:

• New Account Number
• New Card expiration date

ID#: 050411-010210-0008420



Visa Account Updater Service Participation Requirements - U.S. Region

Effective through 9 February 2011, a U.S. Acquirer participating in the Visa Account Updater
Service must comply with the Visa Account Updater requirements specified in the Visa Account
Updater Terms of Use.

The Acquirer must ensure that a Merchant designated as a high-risk merchant, as defined in the Visa
Account Updater Terms of Use, does not have access to Visa Account Updater information.

ID#: 050411-010210-0008421



18 October 2011                                    VISA PUBLIC                                        381
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 419 of 1319
                                                   PageID #: 3612
                                    Visa International Operating Regulations




Visa Account Updater Service Information Requirements - U.S. Region

Effective through 9 February 2011, a U.S. Member participating in the Visa Account Updater
Service must:

• Comply with all applicable laws and regulations in collecting and providing the information to, and
  using the information supplied by, the Visa Account Updater
• Inform Visa as soon as possible upon becoming aware that any of the information sent to or
  received from the service does not meet the requirements specified in the:
  – Visa International Operating Regulations
  – Visa Account Updater Terms of Use
• Use reasonable efforts to ensure that all information sent to the service is accurate
• Take reasonable steps to protect the security of the information sent to or received from the Visa
  Account Updater
• Promptly investigate claims of inaccuracies in the information supplied to or by the Visa Account
  Updater and correct any inaccurate information
• Notify Visa of any inaccuracies

ID#: 050411-010210-0003309



Disclosure of Visa Account Updater Service Information - U.S. Region

Effective through 9 February 2011, in the U.S. Region, Visa Account Updater information may be
disclosed by a participating Member only to a Merchant that:

• Has an existing relationship with the Cardholder and has the Cardholder's account information on
  file
• Is registered in the Visa Account Updater program
• Is identified in the Acquirer inquiry file, as specified in the Visa Account Updater Terms of Use

ID#: 050411-010410-0003311




Health Care Eligibility Service - U.S. Region

Health Care Eligibility Service Requirements - U.S. Region


Health Care Eligibility Service Acquirer Requirements - U.S. Region

A U.S. Acquirer participating in the Health Care Eligibility Service must comply with the:




382                                                VISA PUBLIC                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 420 of 1319
                                               PageID #: 3613
                                    Visa International Operating Regulations


• Health Care Eligibility Service requirements specified in the Health Care Eligibility Service
  Implementation Guide
• Merchant Agreement requirements specified below

The Acquirer must ensure that:

• A Health Care Merchant that participates in the Health Care Eligibility Service complies with all the
  provisions of the Health Care Eligibility Service Implementation Guide pertaining to health care
  eligibility transactions
• The substance of provisions are included in its Merchant Agreement or as a separate addendum

ID#: 010410-010410-0008424



Health Care Eligibility Service Merchant Requirements - U.S. Region

A U.S. Health Care Merchant that participates in the Health Care Eligibility Service must comply with
the requirements of the Health Care Eligibility Service Implementation Guide.

ID#: 010410-010410-0004670




Visa Risk Products and Services

Visa Advanced Authorization


Visa Advanced Authorization Participation

Where available, Visa Advanced Authorization is an optional, subscription-based, real-time risk
management product that delivers risk data to Issuers in the Authorization Request to alert them to
possible fraudulent activity on their Cardholder accounts.

An Issuer and its Processor that wish to implement Visa Advanced Authorization must:

• Comply with the certification requirements for Visa Advanced Authorization as specified in the
  appropriate VisaNet manual
• Complete an end-to-end validation test in accordance with the requirements specified in the Visa
  Advanced Authorization Integration Guide
• Comply with the terms and conditions specified in the Visa Advanced Authorization Integration
  Guide

ID#: 010410-010410-0008446



Visa Advanced Authorization Confidentiality Requirements

An Issuer participating in Visa Advanced Authorization and its Processor must:



18 October 2011                                    VISA PUBLIC                                        383
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 421 of 1319
                                                   PageID #: 3614
                                    Visa International Operating Regulations


• Comply with confidentiality and security requirements related to the use of the VisaNet system and
  Visa confidential information
• Store all Visa Advanced Authorization operational materials, such as manuals and password
  protected CD-ROMs, in a secure area limited to selected personnel, and render all data unreadable
  prior to discarding such materials

ID#: 010410-010410-0002400



Verified by Visa / 3-D Secure / Visa Secure Electronic Commerce


Verified by Visa Requirements and Penalties

Issuers and Acquirers or their Merchants that conduct Verified by Visa Transactions must comply with
the requirements of the Verified by Visa Global Performance Enhancement Program, as specified in
the:

• Verified by Visa Acquirer and Merchant Implementation Guide
• Verified by Visa Issuer Implementation Guide

If Visa determines that an Issuer or an Acquirer or its Merchant has failed to meet the requirements of
the Verified by Visa Global Performance Enhancement Program, the Member is subject to the fines
and penalties in the "General Schedule of Fines" table.

ID#: 010410-010410-0001219



Verified by Visa Issuer Participation Requirements

An Issuer that participates in Visa Secure Electronic Commerce and supports an Authentication
Method for Electronic Commerce Transactions must:

• Use an Authentication Mechanism
• Comply with Visa-established policies, procedures, operating guidelines, and standards specified in
  the Verified by Visa Issuer Implementation Guide

ID#: 010410-010410-0004042



Verified by Visa Digital Certificate Prohibitions

A Member must not use a Digital Certificate issued by or associated with Visa as an Authentication
Mechanism for a non-Visa product or service unless previously approved by Visa.

ID#: 010410-010410-0008468




384                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 422 of 1319
                                               PageID #: 3615
                                    Visa International Operating Regulations




Verified by Visa Cardholder Enrollment

During Cardholder enrollment in the Verified by Visa program, an Issuer that participates in 3-D
Secure must use a combination of on-Card and off-Card data and comply with the Verified by Visa
Issuer Implementation Guide.

ID#: 010410-010410-0004045



Verified by Visa Issuer Authentication Standards

An Issuer must comply with the Issuer Authentication standards, as specified in the Verified by Visa
Issuer Implementation Guide.

ID#: 010410-010410-0004046



Issuer Use of the Verified by Visa Mark

An Issuer that uses the Verified by Visa Mark must ensure that:

• Its 3-D Secure components have successfully met the requirements of the Visa 3-D Secure Vendor
  Compliance Testing Program
• Its purchase authentication page complies with the layout requirements for data elements and the
  Verified by Visa Mark outlined in the Visa Product Brand Standards

ID#: 010410-010410-0004047



Verified by Visa Unable-to-Authenticate Response Conditions

An Issuer may respond to an Authentication Request with an Unable-to-Authenticate Response only
under one or more of the following conditions:

• The Issuer experiences technical problems that prevent a timely response
• Authentication data received from the Merchant does not comply with the 3-D Secure Electronic
  Commerce Transaction Specification
• The Transaction is received from a New Channel not supported by the Issuer
• The Transaction is attempted with a Visa Commercial Card
• The Transaction is attempted with a Card where the Cardholder is anonymous, such as a prepaid
  gift card

ID#: 010410-010410-0006914




18 October 2011                                    VISA PUBLIC                                     385
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 423 of 1319
                                                   PageID #: 3616
                                    Visa International Operating Regulations




Verified By Visa Acquirer Requirements

An Acquirer that participates in Visa Secure Electronic Commerce and supports an Authentication
Method for Electronic Commerce Transactions must comply with Visa-established policies,
procedures, operating guidelines, and standards specified in the Verified by Visa Acquirer and
Merchant Implementation Guide.

ID#: 010410-010410-0004616



Acquirer Use of Digital Certificates (Updated)

Effective through 30 June 2011, an Acquirer that issues Digital Certificates to its Merchants or
Internet Payment Service Providers to enable them to access Visa-owned system components must
only use Digital Certificates associated with Visa.

Effective 1 July 2011, an Acquirer that issues Digital Certificates to its Merchants or Payment
Service Providers to enable them to access Visa-owned system components must only use Digital
Certificates associated with Visa.

ID#: 111011-010410-0004617



Acquirer 3-D Secure Support Requirements

An Acquirer must support 3-D Secure for its Electronic Commerce Merchants.

ID#: 010410-010410-0004619



Verified by Visa Chip Card Security Requirements

Chip Card programs using Private Keys stored on Internet-connected servers must meet Visa risk
management and security standards.

ID#: 010410-010410-0004620



Verified by Visa Acquirer Compliance Requirements

An Acquirer that participates in 3-D Secure must comply with the requirements in the Verified by Visa
Acquirer and Merchant Implementation Guide.

ID#: 010410-010410-0004621



Verified by Visa Merchant Risk Practices

An Acquirer and its Merchant that participate in Verified by Visa must maintain or implement fraud
and risk practices in addition to Verified by Visa such as, but not limited to:



386                                                VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 424 of 1319
                                               PageID #: 3617
                                    Visa International Operating Regulations


• Address Verification Services
• Card Verification Value 2
• Velocity Checks

ID#: 010410-010410-0004622



Acquirer Use of the Verified by Visa Mark

An Acquirer that uses the Verified by Visa Mark in its 3-D Secure program must:

• Comply with the Visa Product Brand Standards
• Ensure that its 3-D Secure components have successfully met the requirements of the Visa 3-D
  Secure Vendor Compliance Testing Program
• Ensure that its Merchant using the Verified by Visa Mark:
  – Uses certified and operational 3-D Secure software on their Websites
  – Complies with the Visa Product Brand Standards
  – Does not use the Mark unless it is a 3-D Secure participant
  – Does not use the Mark in a way that implies endorsement of any other product or service
  – Does not use the Mark to indicate payment acceptance in any application

ID#: 010410-010410-0008630



3-D Secure Availability Notification

An Acquirer must notify its Electronic Commerce Merchants of the availability of 3-D Secure.

ID#: 010410-010410-0004624



Verified by Visa Acquirer Participation Requirements

An Acquirer must:

• Ensure that its participating Electronic Commerce Merchants comply with all Visa International
  Operating Regulations regarding 3-D Secure and Verified by Visa, and that the substance of these
  requirements is included in the Merchant Agreement
• Ensure that its participating Merchants or agents that process 3-D Secure Transactions comply
  with the requirements specified in the:
  – Verified by Visa Acquirer and Merchant Implementation Guide
  – Payment Card Industry Data Security Standard (PCI DSS)
• Include the following in an Authorization Request, as a condition of using Electronic Commerce
  Transaction Indicator (ECI) value "5" or "6" in the Clearing Record:




18 October 2011                                    VISA PUBLIC                                     387
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 425 of 1319
                                                   PageID #: 3618
                                    Visa International Operating Regulations


  – For ECI value 5, "Secure Electronic Commerce Transaction," both Cardholder Authentication
    Verification Value and Authentication Identifier
  – For ECI value 6, "Non-Authenticated Security Transaction and the Merchant attempted
    Cardholder authentication using 3-D Secure," both Cardholder Authentication Verification Value
    and Authentication Identifier if the Cardholder Authentication Verification Value was provided by
    the Issuer

ID#: 010410-010410-0004625



Unable-to-Authenticate Response for Visa Commercial Cards - AP Region

For Intraregional and Domestic Transactions in the AP Region, if a Transaction is attempted with a
Visa Commercial Card, an AP Issuer must not respond to an Authentication Request with an Unable-
to-Authenticate Response.


ID#: 111011-010410-0004655



Verified by Visa in Australia - AP Region

Effective 1 April 2011, all newly issued Visa credit, debit and Reloadable Cards must be enrolled in
Verified by Visa.

Effective 1 April 2012, all Visa credit, debit and Reloadable Cards must be enrolled in Verified by
Visa.

Visa Commercial Card Virtual Accounts are excluded from this mandate.

ID#: 151011-060111-0026148



Verified by Visa in China – AP Region

Effective 1 June 2010, all new Verified by Visa programs in China must provide Dynamic
Authentication to Cardholders.

Effective 1 June 2011, all Verified by Visa programs in China must provide Dynamic Authentication
to Cardholders.

An Issuer that fails to comply with the Dynamic Authentication requirements in China will be subject to
a fine of US $5,000 for each month of non-compliance.

ID#: 081010-010610-0025711



Verified by Visa Issuer Requirements in India – AP Region (Updated)

Effective 31 December 2011, an Issuer in India that processes Electronic Commerce Transactions
must ensure that its Visa credit, debit, and Reloadable Cards are enrolled in Verified by Visa.



388                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 426 of 1319
                                               PageID #: 3619
                                    Visa International Operating Regulations



An Issuer must only authorize a domestic Electronic Commerce Transaction with an ECI value 5,
“Secure Electronic Commerce Transaction.”

Issuers must ensure that appropriate communication to Cardholders takes place in advance of the
above mandate coming into effect.

ID#: 151011-311211-0026539



Verified by Visa Acquirer Requirements in India – AP Region (Updated)

Effective 31 December 2011:

• All Electronic Commerce Merchants in India must support Verified by Visa
• All Acquirers in India must process Electronic Commerce Transactions that are coded with an ECI
  value 5, “Secure Electronic Commerce Transaction,” using Verified by Visa

ID#: 151011-311211-0026540



Verified by Visa in New Zealand - AP Region

Effective 1 April 2010, in New Zealand, all newly-issued Visa credit, debit and Reloadable
Cards must be enrolled in Verified by Visa.

Effective 1 April 2012, in New Zealand, all Visa credit, debit and Reloadable Cards must be enrolled
in Verified by Visa.

Visa Commercial Card Virtual Accounts are excluded from this mandate.

ID#: 050411-060211-0026182



Verified by Visa Activate Later Feature - Canada Region

A Canada Issuer participating in Verified by Visa must offer the Activate Later Feature to its
Cardholders, provided the Cardholder:

• Is not already enrolled in 3-D Secure
• Is not a Visa Commercial Cardholder
• Is involved in an Electronic Commerce Transaction at an Activate Later Merchant
• Has not been offered the Activate Later Feature more than a total of 3 times

ID#: 010410-010410-0004648




18 October 2011                                    VISA PUBLIC                                     389
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 427 of 1319
                                                   PageID #: 3620
                                    Visa International Operating Regulations




Verified by Visa Activate Later Feature Enrollment - Canada Region

A Canada Cardholder that has used the Activate Later Feature for a total of 3 times may be required
by the Issuer to enroll in 3-D Secure during the Cardholder's next Electronic Commerce Transaction.

ID#: 010410-010410-0004649



Verified by Visa Unable-to-Authenticate Response - Canada Region

In addition to the conditions listed in the "Verified by Visa Unable-to-Authenticate Response
Conditions," a Canada Issuer may provide an Unable-to-Authenticate Response when the Cardholder
elects to use the Activate Later Feature to postpone enrollment in 3-D Secure when presented with
the opportunity during an Electronic Commerce Transaction.

ID#: 010410-010410-0004650



Verified by Visa Activate Later Feature Merchant Requirements - Canada Region

A Canada Acquirer may offer the Activate Later Feature to an Electronic Commerce Merchant
provided the Electronic Commerce Merchant:

• Is enrolled in good standing in 3-D Secure (commonly known as the Verified by Visa program)
• Has at least 10,000 Electronic Commerce Transactions annually or has Electronic Commerce
  Transactions valued in excess of CAD $1,000,000 annually
• Has been approved by Visa
• Has a written agreement with its Acquirer to participate in the Activate Later Feature

ID#: 010410-010410-0005384



MPI Client Certificate Requirements - Canada Region

All existing and new Electronic Commerce Merchants in the Canada Region that enroll in 3-D Secure
must use an MPI Client Certificate for Merchant authentication in 3-D Secure.

ID#: 010410-010410-0008454



MPI Certificate Requirements - Canada Region

All Electronic Commerce Merchants in the Canada Region that enroll in 3-D Secure must follow the
MPI Certificate requirements of the 3-D Secure Merchant Authentication Member Implementation
Guide. Canada Members may obtain a copy of this guide from Visa.

ID#: 010410-010410-0005241




390                                                VISA PUBLIC                             18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 428 of 1319
                                               PageID #: 3621
                                    Visa International Operating Regulations




Verified by Visa Nigerian Issuer Participation - CEMEA Region

In the CEMEA Region, a Nigerian Issuer must participate in Verified by Visa if it offers Electronic
Commerce functionality to its Cardholders.

ID#: 111011-140110-0004447



Verified By Visa Acquirer Requirements - CEMEA Region

A CEMEA Acquirer must process Electronic Commerce Transactions using Verified by Visa.

ID#: 010410-010410-0004651



Secure Transaction Data Transmission Requirements - CEMEA Region

A CEMEA Acquirer of a Merchant that processes Electronic Commerce Transactions must ensure
secure Transaction data transmission between the Cardholder and the Merchant. Secure Socket
Layer (SSL) encryption or Secure Electronic Transaction (3D-Secure) encryption must be offered by
the Merchant to the Cardholder. Merchant Agreements must include this requirement.

ID#: 010410-010410-0004652



Merchant Authentication Requirements - CEMEA Region

A CEMEA Acquirer must implement the strongest possible method of Merchant authentication to the
Visa system, and must upgrade their existing Merchant authentication method to the strongest level
available within 12 months of the method becoming available.

ID#: 010410-010410-0004653



3-D Secure Account and Cardholder Data Requirements - CEMEA Region

A CEMEA Acquirer must implement 3-D Secure in such a way that the account and Cardholder
details are never in the Merchant's possession.

ID#: 111011-010410-0004654



Verified by Visa Nigerian Acquirer Usage Requirements - CEMEA Region

A CEMEA Acquirer located in Nigeria must not process any domestic Electronic Commerce
Transaction unless Verified by Visa verification is received and authenticated.

ID#: 010410-010410-0005373




18 October 2011                                    VISA PUBLIC                                        391
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 429 of 1319
                                                   PageID #: 3622
                                    Visa International Operating Regulations




Visa-Provided Attempt Response - U.S. Region

If a U.S. Issuer does not implement the 3-D Secure Specification, Visa will provide an Attempt
Response that contains a Cardholder Authentication Verification Value (CAVV) on behalf of the
Issuer in response to an Authentication Request from a 3-D Secure Merchant.

Visa assesses a fee to an Issuer for providing a CAVV on its behalf. Fee information is available from
Visa upon request.

ID#: 111011-010410-0003929



Visa Secure Electronic Commerce Participation Requirements - U.S. Region

A U.S. Member participating in Visa Secure Electronic Commerce must:

• Complete the Visa Secure Electronic Commerce enrollment process
• Obtain permission from its Principal-Type Member (if the Member is a Sponsored Member)
• As applicable, implement product security measures in accordance with Certification Authority and
  Payment Gateway, or 3-D Secure Specification standard requirements

ID#: 010410-010410-0008453



3-D Secure Issuer Participation Requirements - U.S. Region

A U.S. Issuer that participates in 3-D Secure must comply with the Visa International Operating
Regulations and the Verified by Visa Issuer Implementation Guide - U.S. Region.

ID#: 050411-010410-0003930



Visa Secure Electronic Commerce Participation Options - U.S. Region

A U.S. Member participating in Visa Secure Electronic Commerce may:

• Use the Visa 3-D Secure Services
• Obtain software from a Visa-approved vendor
• Contract with a Visa-approved third party
• Develop its own service

ID#: 010410-010410-0008464




392                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 430 of 1319
                                               PageID #: 3623
                                    Visa International Operating Regulations




Visa Secure Electronic Commerce Cardholder Authentication - U.S. Region

A participating U.S. Issuer must provide Cardholder authentication that functions across multiple
Cardholder Access Devices.

ID#: 010410-010410-0003932



3-D Secure Cardholder Authentication Verification Requirements - U.S. Region

A U.S. Issuer must:

• Provide a unique authentication response to each Authentication Request received from a
  participating 3-D Secure Merchant
• Include a Cardholder Authentication Verification Value (CAVV) in the following responses to an
  Authentication Request:
  – Authentication Confirmation
  – Attempt Response

For an Attempt Response, Visa may provide a CAVV on behalf of an Issuer, and subsequently
validate the CAVV at Authorization. See the Verified by Visa Issuer Implementation Guide - U.S.
Region for more information.

• Provide Visa with its CAVV keys for Stand-In-Processing
• Validate the CAVV during Authorization

ID#: 050411-010410-0003933



Visa Secure Electronic Commerce Authentication Records - U.S. Region

A U.S. Issuer participating in Visa Secure Electronic Commerce must:

• Retain a log of all Authentication Requests and Authentication Records
• Upon request, provide the log to Visa for Arbitration or Compliance case processing
• Submit a copy of all 3-D Secure Authentication Records to the Authentication History Server
  maintained by Visa. Authentication Records include:
  – Attempt Responses
  – Authentication Confirmations
  – Authentication Denials
  – Unable to Authenticate Responses

ID#: 010410-010410-0003934




18 October 2011                                    VISA PUBLIC                                      393
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 431 of 1319
                                                   PageID #: 3624
                                    Visa International Operating Regulations




Visa Secure Electronic Commerce Authentication Approval Rate - U.S. Region

A participating U.S. Issuer participating in Visa Secure Electronic Commerce must maintain a
monthly 3-D Secure authentication approval rate of 95%, as specified in the 3-D Secure Issuer
Implementation Guide.

This performance requirement does not apply to Transactions involving an attempted 3-D Secure
authentication, where either the Cardholder or Issuer was not a 3-D Secure participant.

ID#: 010410-010410-0008455



Visa Secure Electronic Commerce Program Compliance - U.S. Region

A U.S. Member that participates in Visa Secure Electronic Commerce must comply with the Visa
International Operating Regulations and the policies, procedures, operating requirements, and
standards specified in the Verified by Visa Acquirer and Merchant Implementation Guide - U.S.
Region.

ID#: 050411-010410-0004592



Electronic Commerce Acquirer Requirements - U.S. Region

A U.S. Acquirer that has a Merchant Agreement with an Electronic Commerce Merchant must comply
with the Visa International Operating Regulations and must:

• Meet all minimum requirements for Merchant server processing
• Comply with the Visa-established policies, procedures, and operating guidelines governing 3-D
  Secure Specification Transactions

ID#: 010410-010410-0004605



Visa Secure Electronic Commerce Chargeback Protection Limitations, Ineligible
Merchant Category Codes - U.S. Region

A U.S. Acquirer must notify its Merchants participating in Visa Secure Electronic Commerce in the
following Merchant Category Codes that their Electronic Commerce Transactions are not eligible for
protection from Chargeback Reason Code 75, "Cardholder Does Not Recognize Transaction," and
Chargeback Reason Code 83, "Fraudulent Transaction-Card-Absent Environment":

• MCC 4829, "Wire Transfer Money Orders"
• MCC 5967, "Direct Marketing - Inbound Teleservices Merchant"
• MCC 6051, "Non-Financial Institutions - Foreign Currency, Money Orders (not Wire Transfer),
  Travelers' Cheques"




394                                                VISA PUBLIC                       18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 432 of 1319
                                               PageID #: 3625
                                    Visa International Operating Regulations


• MCC 7995, "Betting including Lottery Tickets, Casino Gaming Chips, Off-Track Betting, and
  Wagers at Race Tracks"

ID#: 010410-010410-0004608



Visa Secure Electronic Commerce Chargeback Protection Limitations, Ineligible
Merchants - U.S. Region

A U.S. Acquirer must notify any of its Merchants participating in Visa Secure Electronic Commerce
identified in the Merchant Chargeback Monitoring Program or Risk Identification Service Online that
their Electronic Commerce Transactions are not eligible for Chargeback protection from:

• Chargeback Reason Code 75, "Cardholder Does Not Recognize Transaction"
• Chargeback Reason Code 83, "Fraudulent Transaction-Card-Absent Environment"

Merchants must be notified that they remain ineligible while they are in either program, plus 4
additional months after exiting the program.

ID#: 010410-010410-0008456



Electronic Commerce Indicator Requirement - U.S. Region

A U.S. Acquirer must ensure that its Merchant transmits an Electronic Commerce Transaction
Indicator 7, "Non-Authenticated Security Transaction," in the Authorization Request and Clearing
Record for fully authenticated Transactions and attempted authentication Transactions within 30
days of Notification from Visa that the participating 3-D Secure Merchant is identified in the Merchant
Chargeback Monitoring Program or Risk Identification Service Online.

ID#: 010410-010410-0004611



Requirements for High-Risk Merchants that Enable 3-D Secure - U.S. Region

The requirements specified in "Visa Secure Electronic Commerce Chargeback Protection Limitations
(Ineligible Merchants) - U.S. Region" and "Electronic Commerce Indicator Requirement - U.S.
Region" also apply to U.S. Merchants that enable 3-D Secure while identified in the Merchant
Chargeback Monitoring Program or Risk Identification Service Online.

ID#: 010410-010410-0004612




18 October 2011                                    VISA PUBLIC                                       395
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15        Page: 433 of 1319
                                                   PageID #: 3626
                                    Visa International Operating Regulations




Visa Risk Manager


Visa Risk Manager Description

Where available, Visa Risk Manager is an optional, subscription-based suite of risk management
products that allows Issuers to react to high-risk Transactions at the Point-of-Transaction as well as to
conduct offline case management.

ID#: 111011-010410-0008937



Visa Risk Manager - U.S. Region

Where available in the U.S. Region, Visa Risk Manager is an optional suite of subscription-based risk
management products designed to help Issuers optimize loss prevention and maximize profitability
through intelligent risk-management decisioning. An Issuer may subscribe to one or all of the
following:

• Visa Real-Time Decisioning, which allows Visa to act on behalf of an Issuer to decline or forward
  high-fraud-risk Transactions using predefined rules created by the Issuer. It also supports both
  "Issuer available" and "Issuer unavailable" processing options.
• Visa Case Manager, which enables an Issuer to view and prioritize suspicious purchase activity
  that requires further investigation to confirm that the Cardholder participated in the Transaction
• Visa Rules Manager, a web-based solution, which allows an Issuer to create, test, and publish
  customized "decisioning" rules that incorporate key elements of the Authorization message as
  well as risk intelligence from Visa Advanced Authorization. Visa Rules Manager publishes rules
  throughout the day at scheduled intervals so that Issuers can dynamically respond to emerging
  fraud schemes.

ID#: 050411-010410-0008465



Visa Advanced ID Solutions - U.S. Region


ID Security Alerts Service Participation Requirements – U.S. Region

Participation in the ID Security Alerts Service is optional and at the discretion of Visa. A participating
Issuer or Issuer’s agent must:

• Register with Visa by submitting a completed ID Security Alerts Service Participation Agreement
• Provide Visa with Account Numbers and Social Security Numbers that are eligible to be enrolled in
  the service
• Comply with:
  – Visa Alerts Platform: ID Security Alerts – High Level Service Description
  – Visa Alerts Platform: ID Security Alerts – Technical Implementation Guide - Issuer


396                                                VISA PUBLIC                             18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 434 of 1319
                                               PageID #: 3627
                                    Visa International Operating Regulations


  – Visa Alerts Platform: Web Services Specifications
  – Visa Alerts Platform: White Label Website Issuer Specifications

ID#: 111011-010100-0025924



BankruptcyPredict Service - U.S. Region


BankruptcyPredict Service Description - U.S. Region

The BankruptcyPredict Service is designed to reduce a U.S. Member's losses related to the
bankruptcy of Cardholders, cardholders of non-Visa cards, and customers of other Visa and non-Visa
products by using consumer account performance data, Transaction data, consumer credit data, and
a proprietary model to:

• Score the participating Member's Cardholders, cardholders of non-Visa cards, and customers of
  other Visa and non-Visa products to predict the likelihood of bankruptcy
• Provide daily account-consumer level risk alerts
• Provide monthly risk scores for a participating Member's portfolio

ID#: 010410-010410-0001934



BankruptcyPredict Service Agreement - U.S. Region

To participate in the BankruptcyPredict Service, a U.S. Member must sign a service agreement with
Experian Information Solutions, Inc., which can be obtained at one of the following addresses:

BankruptcyPredict Service Integrated Solutions Concepts, Inc.

P.O. Box 8999

San Francisco, CA 94128



Experian Information Solutions, Inc.

Attn: Contracts Division

475 Anton Boulevard

Costa Mesa, CA 92626



Visa assesses fees to Issuers that participate in the BankruptcyPredict Service. Fee information is
available upon request.

ID#: 010410-010410-0007346


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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 435 of 1319
                                                   PageID #: 3628
                                    Visa International Operating Regulations




BankruptcyPredict Service Rights and Obligations - U.S. Region

All rights and obligations between a U.S. Member and Experian Information Solutions, Inc., its
subsidiaries and affiliates are set forth in and are governed solely by the service agreement between
the Member and Experian Information Solutions, Inc. The Member agrees to comply with all
restrictions on use of the BankruptcyPredict Service set forth in such agreement, including with
respect to permissible purpose requirements under the U.S. Federal Fair Credit Reporting Act.
Without impairing any legal or equitable rights of Experian Information Solutions, Inc. under such
agreement, Integrated Solutions Concepts, Inc. will, with respect to any non-compliance by the
Member of such use restrictions, be entitled to enforce as a third party beneficiary the terms of such
agreement against the Member and seek all available remedies.

ID#: 081010-010410-0001936



BankruptcyPredict Service Information Requirements - U.S. Region

A U.S. Member must furnish Transaction, account, and certain other information to Integrated
Solutions Concepts, Inc., as specified in the BankruptcyPredict Service User's Guide. The Member
designates Visa and its subsidiaries and affiliates to act as agents of the Member for accessing
and/or transmitting the Member's information in connection with the BankruptcyPredict Service
to Integrated Solutions Concepts, Inc., and from Integrated Solutions Concepts, Inc. to Experian
Information Solutions, Inc. In the event that the Member requests that the BankruptcyPredict Service
be delivered via Integrated Solutions Concepts, Inc., the Member designates Integrated Solutions
Concepts, Inc. as its agent to and on behalf of the Member request and receive from Experian
Information Solutions, Inc. the BankruptcyPredict Service, and to transmit the same to the Member.

ID#: 010410-010410-0001937



BankruptcyPredict Service Member Requirements - U.S. Region

A U.S. Member must comply with the following requirements for the reporting and use of Transaction,
account, and the other information provided to Integrated Solutions Concepts, Inc.:

• Provide monthly reports for all new and previously reported accounts
• Comply with the information delivery requirements (media, format, and other requirements)
  specified in the BankruptcyPredict Service User's Guide
• Protect the security of the information sent to Integrated Solutions Concepts, Inc.
• Comply with all applicable laws and regulations in collecting and providing the information to
  Integrated Solutions Concepts, Inc. including, without limitation, the requirements under the U.S.
  Federal Fair Credit Reporting Act
• Ensure that all information sent to Integrated Solutions Concepts, Inc. is accurate
• Inform Integrated Solutions Concepts, Inc. as soon as possible upon becoming aware of any
  information sent to Integrated Solutions Concepts, Inc. that is inaccurate or otherwise does not
  comply with the requirements in this section




398                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 436 of 1319
                                               PageID #: 3629
                                    Visa International Operating Regulations


• Promptly investigate claims of inaccuracies in the information supplied to Integrated Solutions
  Concepts, Inc. and correct any information that cannot be verified as accurate
• Refer to the Integrated Solutions Concepts, Inc. Consumer Office any request to disclose the
  contents of a report supplied by the BankruptcyPredict Service

ID#: 010410-010410-0001938



Permitted Use of BankruptcyPredict Service - U.S. Region

A U.S. Member must use the BankruptcyPredict Service only:

• For a permissible purpose under the U.S. Federal Fair Credit Reporting Act
• As permitted in the service agreement between Member and Experian Information Solutions, Inc.
  specified in "BankruptcyPredict Service Agreement - U.S. Region"

ID#: 010410-010410-0001940



BankruptcyPredict Service Member Certification - U.S. Region

Upon request by Integrated Solutions Concepts, Inc., a U.S. Member must certify the purpose(s) for
which it uses the BankruptcyPredict Service.

ID#: 010410-010410-0001941



BankruptcyPredict Service - Additional Information - U.S. Region

In the U.S. Region, refer to the BankruptcyPredict Service User's Guide for additional information,
procedures, and requirements of the BankruptcyPredict Service.

ID#: 010410-010410-0001946



BankruptcyPredict Service Information Provision - U.S. Region

A U.S. Member authorizes Visa and Integrated Solutions Concepts, Inc. to use or transfer, including
to correct or update, the information reported by the Member to Integrated Solutions Concepts, Inc.
for any purpose permitted under applicable law, including but not limited to:

• Providing the information to Experian Information Solutions, Inc. for purpose of providing the
  BankruptcyPredict Service
• Providing to Members or other customers any Visa service or product
• Providing the information to Experian Information Solutions, Inc. or any other Credit Bureau for
  any use permitted to Experian Information Solutions, Inc. or such other Credit Bureau under their
  agreement with Visa or Integrated Solutions Concepts, Inc. and under applicable law

The Member must not:




18 October 2011                                    VISA PUBLIC                                        399
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 437 of 1319
                                                   PageID #: 3630
                                    Visa International Operating Regulations


• Provide information to Integrated Solutions Concepts, Inc. that is the result of an investigative
  consumer report within the meaning of Section 1681a(h) of the Federal Fair Credit Reporting Act
• Continue to transmit to Integrated Solutions Concepts, Inc. any information that cannot be verified
  as accurate

ID#: 010410-010410-0008452



MoneyChoices - U.S. Region


MoneyChoices Participation - U.S. Region

In the U.S. Region, participation in the MoneyChoices program is optional and at the discretion of
Visa, which may limit participation, impose conditions on its use, and discontinue the program at any
time.

ID#: 010410-010410-0008459



MoneyChoices Participation Requirements - U.S. Region

A U.S. Member that wants to participate in the MoneyChoices program must submit a subscription
request and adhere to program requirements outlined in the MoneyChoices User's Guide.

ID#: 010410-010410-0008460



MoneyChoices Information - U.S. Region

The MoneyChoices Website is intended as an educational resource for Cardholders in need of
financial planning or money-management skills. The information and materials provided through
the MoneyChoices Web site are the property of Visa and are for the sole use of the U.S. Member in
providing the MoneyChoices program to its Cardholders.

A U.S. Member must not disclose any MoneyChoices information to any third party without
permission from Visa.

ID#: 010410-010410-0008461



Address Verification Service (AVS)


Address Verification Service (AVS) Results Code - Canada Region

A Canada Acquirer participating in the Address Verification Service (AVS) must populate the
AVS results code received in the BASE I Authorization Response message in a Transaction's
corresponding BASE II Clearing Record.

ID#: 010410-010410-0005383




400                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 438 of 1319
                                               PageID #: 3631
                                    Visa International Operating Regulations




Address Verification Service (AVS) Participation - U.S. Region

A U.S. Issuer must:

• Participate in the Address Verification Service, as specified in the appropriate VisaNet manual
• Perform address verification for each Address Verification Service inquiry

ID#: 010410-010410-0004679



Address Verification Service (AVS) Requirements - U.S. Region

A U.S. Issuer may perform address verification itself, or use an applicable option specified in the
appropriate VisaNet manual

The Issuer that performs its own address verification must use the Address Verification Service
algorithm.

ID#: 010410-010410-0008463



Address Verification Service (AVS) Standards - U.S. Region

A U.S. Issuer must not exceed the Address Verification Service partial-match response rate of
13%. The Address Verification Service partial-match response rate is the number of partial-match
responses (i.e., responses other than "Y," "N," or "U") as a percentage of all responses.

ID#: 111011-010410-0004682



Address Verification Service (AVS) at Automated Fuel Dispensers - U.S. Region

An Automated Fuel Dispenser Merchant in the U.S. Region may request a Cardholder's ZIP code and
perform an Address Verification Service inquiry for its Automated Fuel Dispenser Transactions.

ID#: 010410-010410-0004702



Card Recovery Bulletin (CRB)


Card Recovery Bulletin and Regional Card Recovery File

Visa publishes both the Card Recovery Bulletin (CRB) and an electronic Regional Card Recovery File
that list the Account Numbers and BINs of Visa Cards for pick-up outside of the U.S. Region.

ID#: 010410-010410-0003963




18 October 2011                                    VISA PUBLIC                                        401
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15               Page: 439 of 1319
                                                   PageID #: 3632
                                    Visa International Operating Regulations




Card Recovery Bulletin Service Participation Requirements

A Member that participates in the Card Recovery Bulletin Service must comply with the Card
Recovery Bulletin Service (CRB) User's Guide. These requirements include, but are not limited to:

• Instructing Merchants on the correct use of the Card Recovery Bulletin
• Handling Merchant calls when a Cardholder presents a Listed Card
• Handling a compromised Deposit-Only Account Number
• Advising an Issuer when a Listed Card is picked up
• Ensuring that the appropriate reward is paid to a Merchant for recovering a Listed Card

ID#: 050411-010410-0003980



Card Recovery Bulletin Listing Procedures

Members must comply with the procedures specified in the Card Recovery Bulletin Service (CRB)
User's Guide when listing Account Numbers or using the bulletin to identify Account Numbers with a
"Pick Up Card" status.

ID#: 050411-010410-0001831



Card Recovery Bulletin Service Availability

The Card Recovery Bulletin (CRB) Service is available in each of the Card Recovery Bulletin
Regions, as specified in the table below, the Card Recovery Bulletin Service (CRB) User's Guide, and
the Visa Interchange Directory. For possible chargeback protection, see Chargeback reason code 70,
"Card Recovery Bulletin or Exception File."


                                          Card Recovery Bulletin Regions

          Visa Regions                                 Areas Included

                  A                  Asia Pacific

                  B                  Central and Eastern Europe, Middle East, and Africa

                  C                  Canada

                  E                  Visa Europe

                  F                  Latin America and Caribbean

                  0                  Not included in Card Recovery Bulletin

ID#: 050411-010210-0001832




402                                                 VISA PUBLIC                                 18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 440 of 1319
                                               PageID #: 3633
                                    Visa International Operating Regulations




Card Recovery Bulletin Distribution

The following rules apply to requests for distribution of the Card Recovery Bulletin:

• An Acquirer must submit Merchant names and addresses to Visa at least 30 calendar days before
  the intended receipt of the Card Recovery Bulletin
• The request must comply with the Card Recovery Bulletin Service (CRB) User's Guide and the
  VisaNet manuals
• The request is valid only if Visa distributes a printed bulletin in the country where the Merchant
  Outlet is located
• Distribution fees for each Card Recovery Bulletin sent to Merchants are specified in the appropriate
  Regional Operating Regulations

ID#: 050411-010410-0003983



Card Recovery Bulletin Effective Dates

The Card Recovery Bulletin becomes effective on Saturday of the publication week and remains valid
until the next edition's effective date. Visa may adjust the effective dates.

ID#: 010410-010410-0003966



Card Recovery Bulletin Conversion to Tape or Paper

A Member that converts the Regional Card Recovery File to magnetic tape or paper must receive
prior written consent from Visa. Visa waives this requirement if the Member reproduces all
"proprietary and confidential" and Copyright notices in the magnetic tape or paper copy.

ID#: 010410-010410-0003964



Merchant Use of Paper Version of Regional Card Recovery File

If a Merchant or an Acquirer converts the Regional Card Recovery File to paper, it may use an
Account Number only to verify Visa Cards for Transactions that do not require Authorization.

ID#: 010410-010410-0003965



Pickup, Decline, or Referral Response Fees

A non-US Issuer pays a fee to the U.S. Region for each Pickup, Decline, or Referral Response issued
at a Merchant Outlet located in the U.S. Region, as specified in the applicable regional fee guide.

ID#: 111011-010410-0003967




18 October 2011                                    VISA PUBLIC                                         403
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 441 of 1319
                                                   PageID #: 3634
                                    Visa International Operating Regulations




Card Recovery Bulletin Chargeback Rights

An Acquirer may be subject to a Chargeback for below-Floor Limit Transactions if the Account
Number appears on the Card Recovery Bulletin (CRB). Chargeback rights begin on the effective date
of the CRB in which the Account Number is listed.

ID#: 010410-010410-0003981



Exception File


Exception File Updates

An Issuer must add an Account Number to the Exception File if:

• A Visa Card or Visa Electron Card was reported lost, stolen, or counterfeit and must be recovered
• A Deposit-Only Account Number is reported compromised
• Authorization must always be denied to the Account Number
• Authorization must always be granted to the Account Number
• Issuer-defined Authorization limits apply to the Account Number
• The Acquirer must contact the Issuer to obtain Authorization for the Account Number

ID#: 010410-010410-0003235



Exception File Update Information

An Issuer must update the Exception File with the following information to ensure the accuracy of the
Exception File records:

• Account Number
• Authorization Response
• Purge date of the record
• Card Recovery Bulletin Region where the Visa Account Number should be published, if applicable

SEE ALSO:

• Card Recovery Bulletin Service (CRB) User's Guide
• VisaNet manuals
• Original Credits Member Requirements

ID#: 050411-010210-0001848




404                                                VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 442 of 1319
                                               PageID #: 3635
                                    Visa International Operating Regulations




Exception File - Processor Participation

An Authorizing Processor that wants to participate in the Exception File service must notify Visa in
writing at least 90 calendar days before implementation.

ID#: 010410-010410-0003968



National Card Recovery File - U.S. Region


National Card Recovery File Card Verification Requirements - U.S. Region

U.S. Members, non-Member Authorizing Processors, and their Merchants must use the National
Card Recovery File only for verifying Cards in connection with Transactions that do not require
Authorization.

ID#: 010410-010410-0003851



National Card Recovery File Requirements - U.S. Region

A U.S. Merchant using the National Card Recovery File must check it for each Transaction that does
not require Authorization.

ID#: 010410-010410-0003850



National Card Recovery File Agreement - U.S. Region

In the U.S. Region, before distribution of the National Card Recovery File to non-Member Authorizing
Processors and their Merchants, a Member must obtain a written agreement to ensure that the entity:

• Is advised of the confidential and proprietary nature of the National Card Recovery File
• Uses the file as specified in "National Card Recovery File Card Verification Requirements - U.S.
  Region"

ID#: 010410-010410-0003852



Account Number Verification Service


Account Number Verification - Issuer Responsibilities

If Account Number Verification is requested, the Issuer must respond by validating the information
requested, as specified in the VisaNet manuals.




18 October 2011                                    VISA PUBLIC                                         405
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 443 of 1319
                                                   PageID #: 3636
                                    Visa International Operating Regulations



If Account Number Verification is requested in conjunction with a request for address verification, the
Issuer may verify the Account Number using its internal exception file.

A positive Account Number Verification response "85" indicates that the Account Number is open and
in good standing, and there is no negative information on the Account Number in either the:

• BASE I Exception File
• Issuer's exception file

A Decline Response "05" is issued when the expiration date field either:

• Contains an expired date
• Is blank

The Transaction amount is not checked or approved and the Activity File is not updated.

An Account Number Verification request generates an Advice File record.

ID#: 111011-010410-0025600



Account Number Verification and Authorization Response

Account Number Verification is not a substitute for Authorization. An Authorization Response
supersedes an Account Number Verification response for the same Transaction.

ID#: 111011-010410-0025599



Account Number Verification Service Description - U.S. Region

The Account Number Verification Service is an optional service that allows a U.S. Member or its
Authorizing Processor to determine if there is negative information on an Account Number before
submitting an Authorization Request and completing a Visa Transaction. This service is not a
substitute for Authorization. An Authorization Response supersedes an Account Number Verification
response for the same Transaction.

ID#: 111011-010410-0007210



Merchant Use of Account Number Verification Service - U.S. Region

A U.S. Merchant may use Account Number Verification to request verification of a Card Account
Number, an address, or Card Verification Value 2, as specified in the appropriate VisaNet manual.

ID#: 010410-010410-0007199




406                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 444 of 1319
                                               PageID #: 3637
                                    Visa International Operating Regulations




Account Number Verification Service - Acquirer Requirements - U.S. Region

In the U.S. Region, the format of an Account Number Verification request must comply with "Required
Data for Authorization Requests and Responses" (Exhibit OO) and the appropriate VisaNet manual,
except for the unique POS Condition Code 51 that identifies the request.

ID#: 010410-010410-0007211



Account Number Verification Service - Issuer Requirements - U.S. Region

If Account Number Verification is requested, a U.S. Issuer must respond by validating the information
requested, as specified in the appropriate VisaNet manual.

ID#: 010410-010410-0007212



Account Number Verification Service and Address Verification Service Request - U.S.
Region

If Account Number Verification is requested in conjunction with a request for address verification, the
U.S. Issuer may verify the Account Number using its internal exception file.

ID#: 010410-010410-0007213



Account Number Verification Positive Response - U.S. Region

In the U.S. Region, a positive Account Number Verification response (85) indicates that the Account
Number is open and in good standing, and there is no negative information on the Account Number in
either the:

• BASE I Exception File
• Issuer's exception file

ID#: 010410-010410-0007214



Account Number Verification Service Decline Response - U.S. Region

In the U.S. Region, the Account Number Verification Service issues a Decline Response (05) when
the expiration date field either:

• Contains an expired date
• Is blank

ID#: 010410-010410-0007215




18 October 2011                                    VISA PUBLIC                                       407
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 445 of 1319
                                                   PageID #: 3638
                                    Visa International Operating Regulations




Account Number Verification Service Limitations - U.S. Region

In the U.S. Region, the Account Number Verification Service does not verify or approve the
Transaction amount and the Activity File is not updated.

ID#: 010410-010410-0008928



Account Number Verification Service Advice File Record - U.S. Region

In the U.S. Region, an Account Number Verification request generates an Advice File record.

ID#: 010410-010410-0008998




VisaVue Online

VisaVue Online Requirements


VisaVue Online Member Requirements (New)

Effective 8 September 2011, the use of VisaVue Online, where available, is optional and at the sole
discretion of Visa. Visa may limit or impose conditions on its use and may discontinue the service at
any time.

To use VisaVue Online, a Member must sign a VisaVue Member Participation Agreement.

Visa assesses fees for access to VisaVue Online, as specified in the applicable regional fee guide.

ID#: 111011-010100-0026471



VisaVue Service Issuer Participation Agreement - U.S. Region (Updated)

Effective through 7 September 2011, to participate in the VisaVue Service, a U.S. Member must
sign a VisaVue Service Participation Agreement. Further information is available from Visa upon
request.

ID#: 111011-010410-0009022



VisaVue Service Information Disclosure - U.S. Region (Updated)

Effective through 7 September 2011, the account information provided to a U.S Issuer through the
VisaVue Service is proprietary to Visa and may be disclosed only as specified in the VisaVue Service
Participation Agreement.




408                                                VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 446 of 1319
                                               PageID #: 3639
                                    Visa International Operating Regulations



Effective through 7 September 2011, VisaVue Service information must not be disclosed to third
parties, directly or indirectly, except as provided in the VisaVue Service Participation Agreement.
"Third party," as used here, means any person, real or corporate, other than the Issuer or a
Cardholder.

ID#: 111011-010410-0008427



Limitations of VisaVue Service Information Disclosure - U.S. Region (Updated)

Effective through 7 September 2011, a U.S. Issuer must not disclose Account Numbers or any
other Cardholder or Card-specific VisaVue Service information associated with Transactions to third
parties unless either the:

• Disclosure is required by law
• Issuer has notified the Cardholder in advance about the fact and nature of the proposed disclosure
  and given the Cardholder the opportunity to refuse to permit the disclosure

ID#: 111011-010410-0003836



Issuer Use of VisaVue Service Information - U.S. Region (Updated)

Effective through 7 September 2011, a U.S. Issuer that intends to use the VisaVue Service
information to target Cardholders for distribution of marketing material from third parties must:

• Notify the Cardholder that the Issuer uses and analyzes information obtained through the
  Cardholder's use of the Visa Card and from other sources and that the information may be used to
  market products and services from third parties
• Give the Cardholder the opportunity to be excluded from marketing mailing lists, both in advance of
  the mailings and thereafter

ID#: 111011-010410-0003837



Acquirer Disclosure of VisaVue Service Information - U.S. Region (Updated)

Effective through 7 September 2011, the information provided to a U.S. Acquirer through the
VisaVue Service is proprietary to Visa and may be disclosed only as specified in the VisaVue Service
Participation Agreement.

ID#: 111011-010410-0003442



VisaVue Service Information Sharing Prohibitions - U.S. Region (Updated)

Effective through 7 September 2011, VisaVue Service information must not be shared with third
parties, directly or indirectly, except as provided in the VisaVue Service Participation Agreement.
"Third party," as used here, means any person, real or corporate, other than the Acquirer.

ID#: 111011-010410-0003443



18 October 2011                                    VISA PUBLIC                                        409
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15       Page: 447 of 1319
                                                   PageID #: 3640
                                    Visa International Operating Regulations




VisaVue Service Acquirer Responsibility - U.S. Region (Updated)

Effective through 7 September 2011, each U.S. Acquirer participating in the VisaVue Service bears
the sole responsibility for compliance with all applicable laws and regulations.

ID#: 111011-010410-0003444




Client Portfolio Management Self-Service Tools

Client Portfolio Management Self-Service Tools Requirements


Client Portfolio Management Self-Service Tools Information (New)

Effective 8 September 2011, a Member, VisaNet Processor, or designated Agent must not disclose
any information from the Client Portfolio Management Self-Service Tools, or any other information
associated with the tools, to any other parties unless it is permitted in the Visa International Operating
Regulations or otherwise authorized in writing by Visa. Information from and associated with the
Client Portfolio Management Self-Service Tools is the property of Visa and is for the sole use of Visa
Members and their registered third-party service providers in support of the Members’ Visa programs.

ID#: 111011-010100-0026518



Use of Client Portfolio Management Self-Service Tools (New)

Effective 8 September 2011, the Client Portfolio Management Self-Service Tools may be used by
Members, VisaNet Processors, and designated Agents that have been granted permission to access
the service on the Member's behalf. A Member is responsible for:

• Its use and its VisaNet Processor’s or designated Agent's use in accordance with the Visa
  International Operating Regulations
• Monitoring its users' access to ensure that only authorized users are granted access to the service
• Ensuring that only authorized officers of the institution approve membership requests
• The accuracy of all information and any changes made to such information by the Member and its
  authorized users
• Ensuring that changes to the Member's information are accompanied by an Electronic Signature,
  as specified in "Use of Electronic Signature"

ID#: 111011-010100-0026519




410                                                VISA PUBLIC                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 448 of 1319
                                               PageID #: 3641
                                    Visa International Operating Regulations




Visa Membership Management Description - U.S. Region (Updated)

Effective through 7 September 2011, Visa Membership Management is a web-based service,
accessed through Visa Online, that allows U.S. Members and their designated Agents to view and
manage their Visa membership information in the Visa information system. This information includes,
but is not limited to:

• Membership licensing
• BIN licensing/management
• Sponsorships
• Contacts and subscriptions
• CIB management
• Third-Party agents
• High-Risk Merchants
• Bulk transfers

Participation in Visa Membership Management is at the discretion of Visa, which may limit
participation, impose conditions on its use, and discontinue the service at any time.

ID#: 111011-010410-0008435



Visa Membership Management Information - U.S. Region (Updated)

Effective through 7 September 2011, in the U.S. Region, Visa Membership Management may be
used by Visa Members and their designated Agents that have been granted permission to access the
service on the Member's behalf.

ID#: 111011-010410-0008436



Visa Membership Management Use - U.S. Region (Updated)

Effective through 7 September 2011, in the U.S. Region, Visa Membership Management may be
used by Visa Members and their designated Agents that have been granted permission to access the
service on the Member's behalf.

ID#: 111011-010410-0003736



Visa Membership Management Non-Member Use - U.S. Region (Updated)

Effective through 7 September 2011, a U.S. Member is responsible for its use and its designated
Agent's use of the Visa Membership Management service in accordance with the Visa International
Operating Regulations.




18 October 2011                                    VISA PUBLIC                                     411
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 449 of 1319
                                                   PageID #: 3642
                                    Visa International Operating Regulations



In addition, the Member is responsible for monitoring its users' access to Visa Membership
Management to ensure that only authorized users are granted access to the service.

ID#: 111011-010410-0008437



Visa Membership Management Requests - U.S. Region (Updated)

Effective through 7 September 2011, a U.S. Member must ensure that only an authorized officer of
the institution approves membership requests for Visa Membership Management.

ID#: 111011-010410-0003739



Visa Membership Management Information Accuracy - U.S. Region (Updated)

Effective through 7 September 2011, a U.S. Member is responsible for the accuracy of all
information shown in Visa Membership Management and any changes made to such information
by the Member's authorized users. Changes to a Member's information in Visa Membership
Management must be accompanied by an Electronic Signature, as specified in "Use of Electronic
Signature."

ID#: 111011-010410-0003740




VisaNet Gateway Services - AP Region

VisaNet Gateway Services Requirements - AP Region


Use of VisaNet Gateway Services - AP Region

In the AP Region, Visa may:

• Audit the records and procedures relating to a Member's use of VisaNet for non-Visa Transactions
  through VisaNet Gateway Services
• Discontinue VisaNet services to a Member because either:
  – Its VisaNet system is adversely affected by non-compliance with VisaNet requirements
  – Other activities are deemed not in the best interests of the Visa system

ID#: 090411-010410-0004876



VisaNet Gateway Services Notification Requirements - AP Region

Before an AP Member may enter non-Visa Transactions into VisaNet through VisaNet Gateway
Services, it must:




412                                                VISA PUBLIC                       18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 450 of 1319
                                               PageID #: 3643
                                    Visa International Operating Regulations


• Provide 90 calendar days written notice to Visa of its intention to perform Gateway Services
• Provide details of the types of non-Visa Transactions to be supported and the services it requires
  from Visa
• Submit to Visa written certification that the systems and procedures for processing non-Visa
  transactions comply with the AP Regional Operating Regulations and VisaNet system requirements

The Member may begin using VisaNet Gateway Services following receipt of written approval by
Visa.

ID#: 010410-010410-0004877




Visa Transaction Alerts Service

Visa Transaction Alerts Service Requirements


Visa Transaction Alerts Service Participation Requirements

Participation in the Visa Transaction Alerts Service, where available, is optional and at the discretion
of Visa. A participating Issuer or Issuer's agent must:

• Register with Visa by submitting a completed "Visa Transaction Alerts Service Participation
  Agreement"
• Provide Visa with Account Numbers that are eligible to enroll in the service
• Disclose to participating Cardholders which transactions will and will not trigger Cardholder
  notification
• Comply with:
  – Visa Alerts Platform: Transaction Alerts Service - Service Description for Issuers
  – Visa Alerts Platform: Transaction Alerts – Technical Implementation Guide - Issuer
  – Visa Alerts Platform: Web Services Specifications
  – Visa Alerts Platform: White Label Website Issuer Specifications
  – Visa Mobile Handbook for Issuers
  – Visa Mobile Participation Guide for Issuers

ID#: 111011-130510-0025735




18 October 2011                                    VISA PUBLIC                                        413
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      Case: 4:13-cv-02226-JAR               Doc. #: 85-5 Filed: 02/12/15   Page: 451 of 1319
                                               PageID #: 3644




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414                                           VISA PUBLIC                       18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                     Page: 452 of 1319
                                               PageID #: 3645
                                    Visa International Operating Regulations




Chapter 6: Payment Acceptance

Core Principle 6.1

Display of Marks


Accepting Visa Products for Payment

Visa merchants displaying Visa acceptance marks at payment locations agree to accept
corresponding Visa-branded products for payment. If the customer indicates that he or she wants to
pay with a Visa product, a merchant must complete and process the Visa transaction as defined in
the Visa Operating Regulations.

ID#: 160210-150210-0007777




Core Principle 6.2

Honor All Cards Properly Presented


Honoring All Visa Cards

Visa merchants may not refuse to accept a Visa product that is properly presented for
                                                                   [39]
payment, for example, on the basis that the card is foreign-issued , or co-branded with the
Merchant's competitor's mark. Merchants may attempt to steer customers who initially present a Visa
card to an alternative method of payment, such as by providing discounts for cash, but may not do so
in a confusing manner that denies consumer choice. Merchants may also consider whether present
circumstances create undue risk, for example if the sale involves high-value electronics, but the card
signature panel is not signed, and the cardholder does not have any other identification.

ID#: 111011-150210-0007778




39   In the US, Canada, and Australia, merchants may decline to accept certain categories of Visa products for domestically
     issued cards.

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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 453 of 1319
                                                   PageID #: 3646
                                    Visa International Operating Regulations




Core Principle 6.3

No Surcharging Unless Required by Law


Charging for the Advertised Price

Visa merchants agree to accept Visa cards for payment of goods or services without charging any
amount over the advertised or normal price as a condition of Visa card acceptance, unless local law
requires that merchants be permitted to engage in such practice.

ID#: 111011-150210-0007781




Core Principle 6.4

Merchant Qualification Standards


Participating in the Visa System

Participants in the Visa system agree to follow the standards established by Visa for technologies that
are used at the point of transaction to ensure systems work together to provide seamless transaction
and data processing. For example, magnetic-stripe and chip reading terminals must follow compatible
standards and specifications to guarantee global interoperability and payment acceptance.

ID#: 160210-150210-0007782




Merchant Agreement

General Merchant Requirements


Merchant Qualification Standards

Before entering into a Merchant Agreement, an Acquirer must determine that the prospective
Merchant is financially responsible and ensure that the Merchant will comply with the substance of
the Visa International Operating Regulations as well as applicable law.

The Acquirer must also determine that there is no significant derogatory background information
about any of the Merchant's principals. The Acquirer may obtain this information through:

• Credit reports



416                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 454 of 1319
                                               PageID #: 3647
                                    Visa International Operating Regulations


• Personal and business financial statements
• Income tax returns
• Other information lawfully available to the Acquirer

ID#: 010410-010410-0008478



Inspection

An Acquirer must conduct a physical inspection of the business premises of a prospective Merchant.
For Mail/Phone Order and Electronic Commerce Merchants, the Acquirer must also obtain a detailed
business description.

ID#: 010410-010410-0005251



Merchant Agreement Requirements

An Acquirer must:

• Have a Merchant Agreement with each of its Merchants
• Include language in the Merchant Agreement that obligates its Merchant to:
  – Perform its obligations under the Merchant Agreement in compliance with applicable laws
  – Comply with the Visa International Operating Regulations regarding use of the Visa-Owned
    Marks
• Ensure that its Merchant complies with the Visa International Operating Regulations regarding
  payment acceptance
• Ensure that required acceptance provisions are included in its Merchant Agreement or as a
  separate addendum
• Only accept Transaction Receipts from a Merchant with which it has a valid Merchant Agreement

Refer to the Visa International Operating Regulations for further information regarding Member
compliance with applicable laws, requirements for certain Merchant segments, and Visa rights to
monitor, audit, inspect, and investigate Members.

ID#: 081010-010410-0003356



Visa Card and Visa Electron Card Merchant Agreement

A Merchant must have a Merchant Agreement with its Acquirer to accept Visa Cards or Visa Electron
Cards. The same contract may cover Visa Cards and Visa Electron Cards.

ID#: 111011-010410-0005107




18 October 2011                                    VISA PUBLIC                                     417
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 455 of 1319
                                                   PageID #: 3648
                                    Visa International Operating Regulations




Right to Terminate

The right of Visa to limit or terminate a Member's agreement with a Merchant must be specified in
each Merchant, Sponsored Merchant, and agent agreement.

ID#: 010410-010410-0008473



Merchant Classification (Updated)

Effective through 30 June 2011, a business may act as a Merchant, Sponsored Merchant, or
Internet Payment Service Provider (IPSP). The business is considered to be a Merchant, rather than
a Sponsored Merchant or IPSP, if:

• The business has a Merchant Agreement with an Acquirer
• Transactions entered into Interchange do not represent the purchase of goods or services from a
  Sponsored Merchant

ID#: 111011-010410-0005261



Merchant Records

An Acquirer must keep a complete, well-documented file containing Merchant records, including any
information connected to an investigation, for a minimum of 2 years following Merchant Agreement
termination.

In the U.S. Region, an Acquirer of a Merchant undergoing a forensic investigation must also notify
Visa when it receives notice, or otherwise becomes aware, that the Merchant has terminated its
Merchant Agreement. (This only applies in the U.S. Region.)

ID#: 010410-010410-0008474



Acquirer Requirements – Discount at the Point of Sale – AP Region and LAC Region
(Updated)

Effective 20 July 2011, in the AP Region and the LAC Region, the provisions in “Acquirer
Requirements - Discount at the Point of Sale - U.S. Region” apply to Merchants located in a U.S.
Territory.

ID#: 151011-200711-0026495



Rights in Merchant Information (Updated)

An Acquirer is responsible for ensuring that it has all necessary and appropriate rights under
applicable law, privacy policies, or agreements to provide Merchant information to Visa.

ID#: 151011-300611-0026459



418                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 456 of 1319
                                               PageID #: 3649
                                    Visa International Operating Regulations




Merchant Deposits - Canada Region

A Canada Member that accepts a Deposit from a Merchant with which it does not have a signed
Merchant Agreement is liable for the Deposit in the same manner as if it had a valid Merchant
Agreement with that Merchant.

ID#: 010410-010410-0005349



Visa Debit Acceptor Agreement Requirements - Canada Region

In the Canada Region, for each new Merchant, the Merchant Agreement must clearly:

• Specify if the Merchant has elected to be a Visa Debit Acceptor
• Distinguish all Card acceptance-related fees, such as discount rates or other pricing terms,
  associated with Visa Debit

An existing Merchant Agreement must be revised to include the Merchant's option to be a Visa Debit
Acceptor and distinguish all Card acceptance-related fees, as specified above, when:

• The existing Merchant Agreement is renewed
• The Merchant indicates to its Acquirer that it wants to accept Visa Debit Cards

ID#: 050411-200209-0008375



Reporting of Non-Visa Debit Acceptor Merchants - Canada Region

A Canada Acquirer must report to Visa in writing the name and location of each Merchant that has
elected to not be a Visa Debit Acceptor.

ID#: 050411-200209-0008377



Illegal Transactions

A Merchant Agreement must specify that a Merchant must not knowingly submit, and an Acquirer
must not knowingly accept from a Merchant for submission into the Visa payment system, any
Transaction that is illegal or that the Merchant should have known was illegal.

ID#: 010410-010410-0001303



Merchant Agreement Provisions - U.S. Region 5.2.O.1.a, 5.2.O.1.d

A U.S. Acquirer must incorporate the following requirements into all Merchant Agreements:

• A Merchant must not deposit a Transaction Receipt that it knows or should have known to be
  either fraudulent or not authorized by the Cardholder
• The Merchant is responsible for its employees' actions

18 October 2011                                    VISA PUBLIC                                     419
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 457 of 1319
                                                   PageID #: 3650
                                    Visa International Operating Regulations



A Merchant Agreement must also include:

• Transaction Deposit restrictions
• Transaction processing prohibitions
• Prohibition against a Merchant depositing a Transaction Receipt that does not result from an
  act between the Cardholder and the Merchant or the Cardholder and its Sponsored Merchant
  (laundering)
• Requirements specified in "Merchant Agreement Requirements - U.S. Region"
• Disclosure of account or Visa Transaction Information prohibitions, as specified in "Destruction or
  Return of Information due to Suspension of Operations - U.S. Region"
• A requirement that the Merchant and its Agents comply with the provisions of the Cardholder
  Information Security Program
• Merchant responsibility for demonstrating compliance by its Agents with the requirements of the
  Cardholder Information Security Program
• A requirement that the Merchant, if undergoing a forensic investigation at the time the Merchant
  Agreement is signed, fully cooperate with the investigation until completed

ID#: 010410-010410-0008507



Acquirer Requirements - Discount at the Point of Sale - U.S. Region (New)

Effective 20 July 2011, a U.S. Acquirer must not adopt, maintain or enforce any rule (including any
bylaw, policy, standard, guideline, or practice), or enter into or enforce any agreement that directly
or indirectly prohibits, prevents, or restrains its U.S. Merchants from requesting or encouraging a
Cardholder to use a means of payment other than a Visa Card or a Visa Card of a different product
type (e.g., Visa Classic Card, Visa Traditional Rewards Card, Visa Signature Card) than the Visa
Card the consumer initially presents. The methods by which a Merchant may request or encourage
a Cardholder to use a means of payment other than a Visa Card or a Visa Card of a different product
type include but are not limited to the methods specified in “Discount Offer - U.S. Region 5.2.D.2.”

A U.S. Acquirer may enforce agreements or enter into agreements with its U.S. Merchants where the
Merchant selects Visa Cards as the only general purpose payment cards the Merchant will accept.

ID#: 111011-200711-0026490



Acquirer Requirement to Query the Terminated Merchant File and Inspect Merchant
Premises - U.S. Region

A U.S. Acquirer must:

• Query the Terminated Merchant File to determine if the prospective Merchant has been terminated
  for cause
• Whenever feasible, conduct a physical inspection of the business premises of a prospective
  Merchant




420                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 458 of 1319
                                               PageID #: 3651
                                    Visa International Operating Regulations


• For Mail/Phone Order Merchants, obtain a detailed business description

ID#: 010410-010410-0003474



Merchant Agreement Specifications and Options - U.S. Region

In the U.S. Region, for each new Merchant, a Merchant Agreement must clearly:

• Specify the Limited Acceptance options and the Merchant's election, if any, of one of those options
• Distinguish all Card acceptance-related fees, such as discount rates or other pricing methodology,
  associated with each Limited Acceptance category

An existing Merchant Agreement must be revised to include the Limited Acceptance options and
distinguish all Card acceptance-related fees when either:

• The existing Merchant Agreement is renewed
• The Merchant indicates to its Acquirer that it wants Limited Acceptance

ID#: 031209-150210-0008510



Specification of Merchant Fees - U.S. Region

In the Merchant Agreement, a U.S. Acquirer must clearly distinguish fees associated with Visa
Transactions from fees associated with other card transactions.

ID#: 010410-010410-0003361



Terminal Processing by Competitors - U.S. Region

A U.S. Acquirer must not prohibit a Merchant from using terminal processing services offered by
competitors for the direct delivery of Visa Transactions captured at the Point-of-Transaction to
VisaNet for Clearing and Settlement.

ID#: 010410-010410-0003362



Merchant Agreement Form - U.S. Region

In the U.S. Region, most of the form, content, and appearance of a Merchant Agreement is at
the discretion of the Acquirer. However, each Merchant Agreement must contain at least the
requirements for Merchant Card acceptance specified in the Visa International Operating Regulations
to the extent permitted under applicable law. An Acquirer may include other provisions in its Merchant
Agreement if they are consistent with the Visa International Operating Regulations.

Each Merchant Agreement must:




18 October 2011                                    VISA PUBLIC                                     421
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 459 of 1319
                                                   PageID #: 3652
                                    Visa International Operating Regulations


• State the terms required to satisfy payment directly to the Merchant, including, but not limited to,
  the name of the financial institution to which the Acquirer, its Agent, or Sponsored Member must
  deposit funds for payment of Visa Transactions
• Clearly state the Acquirer's name and location in letter size consistent with the rest of the Merchant
  Agreement printing, and in a manner that makes the Acquirer's name readily discernible to the
  Merchant
• Be signed by the Acquirer
• Remain on file at the Acquirer's place of business

ID#: 010410-010410-0008512



Provisions for VisaNet Copy Request and Fulfillment Service Installation - U.S.
Region

If VisaNet Copy Request and Fulfillment Service equipment is installed at a U.S. Merchant Outlet, the
Merchant Agreement must include provisions equivalent to those specified in the Visa International
Operating Regulations for the use, support, and modification of the equipment.

ID#: 010410-010410-0005078



Third Party Designation - U.S. Region

In the U.S. Region, a Merchant Agreement must permit a Merchant to designate a third party that
does not have a direct agreement with its Acquirer as its agent for the direct delivery of data-captured
Visa Transactions to VisaNet for Clearing and Settlement. The Merchant must:

• Advise the Acquirer that it will use a third-party processor
• Agree that the Acquirer must reimburse the Merchant only for the amount of Visa Transactions
  delivered by that agent to VisaNet, less the appropriate discount fee
• Assume responsibility for any failure by its agent to comply with the Visa International Operating
  Regulations, including, but not limited to, any violation resulting in a Chargeback

ID#: 010410-010410-0003367



Connecting Directly to Issuer - U.S. Region

In the U.S. Region, a national Merchant may authorize and transmit Interchange directly to an Issuer
through VisaNet if the Merchant has:

• Completed a national account agreement
• Received the prior approval of the Board of Directors

Visa determines the Interchange Reimbursement Fee.

ID#: 010410-010410-0008475




422                                                VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 460 of 1319
                                               PageID #: 3653
                                    Visa International Operating Regulations




Specification of Preauthorized Health Care Transaction Requirements - U.S. Region

In the U.S. Region, the requirements for Preauthorized Health Care Transactions must be included in
each Merchant Agreement with a Health Care Merchant.

ID#: 010410-010410-0006144



Additional Merchant Agreement Provisions for Healthcare Auto-Substantiation
Merchants - U.S. Region

A U.S. Acquirer participating in Healthcare Auto-Substantiation must ensure that:

• A Merchant that participates in Healthcare Auto-Substantiation Transactions complies with the
  provisions of the following:
  – Visa Healthcare Auto-Substantiation Transaction Consolidated Technical Requirements
  – Visa Healthcare Auto-Substantiation Transactions Service Description and Implementation
    Guide
• The Merchant has obtained a license from and is certified by SIGIS the Special Interest Group for
  IIAS Standards to process Healthcare Auto-Substantiation Transactions
• The substance of the provisions are included in the Merchant Agreement or as a separate
  addendum

ID#: 080411-010100-0025562



Required Merchant Information


Required Merchant Information (Updated)

Effective 30 June 2011, an Acquirer, its Agent, or processor, in a region where collection of
Merchant Data is required, must provide Visa, at minimum, the following information for each
Merchant and/or Sponsored Merchant and/or Payment Service Provider, as applicable. The
information must be accurate, current, and in the format specified by Visa.

• Merchant T/A (trading as) or DBA (doing business as) name
• Merchant full legal name (if different from DBA name). For a sole proprietor, the information must
  include Merchant’s full first and last name, including the middle initial.
• Complete Merchant Outlet address (including street address, city, state/province and the postal
        [40]
  code)
  Merchant telephone number, where applicable
• Merchant business registration number or tax identification number
• Merchant principal/owner name
• National ID number (where available)



18 October 2011                                    VISA PUBLIC                                      423
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      Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15   Page: 461 of 1319
                                                     PageID #: 3654
                                    Visa International Operating Regulations


• Names and national ID numbers of key employees (where applicable)

ID#: 151011-300611-0026460



File Retention - Existing and New Merchant Agreements - AP Region (Updated)

Effective through 29 June 2011, in the AP Region, a Merchant file must contain at least the
following, where applicable and available:

• Merchant trading name/DBA (doing business as) name
• Merchant legal name (if different from DBA name)
• Complete Merchant Outlet address
• Merchant telephone number
• Merchant business registration number or tax identification number
• Merchant principal/owner name
• National ID number (where available)
• Names and national ID numbers of key employees

ID#: 151011-010410-0005345



File Retention - Terminated Merchant Agreements - AP Region

In the AP Region, the file of terminated Merchants must include, at a minimum:

• Merchant Agreement and addenda
• Deposit history and monitoring reports
• Details on the number, total amount, and reasons for any Chargebacks received
• All Acquirer/Merchant correspondence
• All Merchant Fraud Performance Program reports relating to the Merchant
• Names and ID numbers of suspect employees
• Written notification of termination or intent to terminate
• Any other supporting documentation that itemizes the details leading to the decision to terminate
  the Merchant

ID#: 010410-010410-0007371



Required Merchant Information - U.S. Region (Updated)

Effective through 29 June 2011, a U.S. Acquirer must collect all of the following for all Merchants
and Sponsored Merchants:



40    This includes the 9-digit zip code in the U.S. Region.

424                                                   VISA PUBLIC                     18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15         Page: 462 of 1319
                                               PageID #: 3655
                                    Visa International Operating Regulations


• "Doing Business As" (DBA) name
• Merchant legal name
• Merchant Outlet location, including street address, city, state, and 9-digit ZIP code
• U.S. Federal Taxpayer Identification Number, and identification of the number as either a U.S.
  Federal Employer Identification Number (FEIN) or Social Security Number (SSN)
• Incorporation status (for example, corporation, partnership, sole proprietor, non-profit, or other)
• Full first and last name, including middle initial, if Merchant is a sole proprietor
• Merchant Category Code and, if applicable, any secondary Merchant Category Code(s)
• Indication if a Merchant is a small and/or disadvantaged business
• Termination date and reason for termination if the Acquirer/Merchant relationship is terminated

The Acquirer must:

• Retain the Merchant or Sponsored Merchant information in an electronic format to be specified by
  Visa
• Make it available to Visa upon request

Effective 30 June 2011, in addition to the requirements specified in “Required Merchant
Information,” in the U.S. Region an Acquirer, its Agent, or processor is required to provide Visa, at
minimum, the following for each Merchant, Sponsored Merchant and Payment Service Provider:

• U.S. Federal Taxpayer Identification Number, and identification of the number as either a U.S.
  Federal Employer Identification Number (FEIN) or Social Security Number (SSN)
• Incorporation status (e.g., corporation, partnership, sole proprietor, non-profit, or other)
• Indication if a Merchant is a small and/or disadvantaged business
• Merchant's MCC (Merchant Category Code) and, if applicable, any secondary MCCs
• Termination date and reason for termination if the Acquirer/Merchant relationship is terminated

ID#: 151011-300410-0008513



Required Merchant Information Reporting Fees - U.S. Region

In the U.S. Region, Visa assesses an Acquirer a monthly fine, as specified in the table below, when
required Merchant information is not provided or is incomplete. The fine is not applicable for new
Merchant Outlets during the first 90 days from the date the Merchant begins accepting Cards under
the Merchant Agreement.


             Missing or Incomplete Merchant Information Reporting Fines - U.S. Region

                            Description                                          Fee

    Each Merchant Outlet with missing or incomplete                            US $10
    information




18 October 2011                                    VISA PUBLIC                                          425
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15          Page: 463 of 1319
                                                   PageID #: 3656
                                    Visa International Operating Regulations


      Maximum monthly fee per Acquirer                                         US $50,000

ID#: 010410-010410-0003501



Acquirer's Jurisdiction


Country of Domicile and Jurisdiction Requirements (Updated)

Effective through 30 June 2011, an Acquirer must only contract with a Merchant Outlet within its
Country of Domicile, as specified in the Visa International Certificate of Incorporation and Bylaws or
the applicable Certification of Incorporation and Bylaws. The country of the Sponsored Merchant, not
the country of the Internet Payment Service Provider (IPSP), determines the Acquirer's jurisdiction.

Effective 1 July 2011, an Acquirer must only contract with a Merchant Outlet within the Acquirer's
Country of Domicile, as specified in the Visa International Certificate of Incorporation and Bylaws or
the applicable Certificate of Incorporation and Bylaws.

Effective 1 July 2011, a Sponsored Merchant and its Payment Service Provider (PSP) must be
located within the Acquirer's jurisdiction. The country of the Sponsored Merchant, not the country of
the PSP, determines the Acquirer's jurisdiction.

An Acquirer must not contract with a Merchant Outlet that is outside its Country of Domicile unless
the:

• Visa Region with jurisdiction over the Merchant Outlet has approved this arrangement, and the
  country or territory is either:
  – Not any other Principal's Country of Domicile
  – One where the Acquirer has a Branch
• Merchant is an International Airline and the Acquirer maintains the relationship as specified in the
  Visa International Operating Regulations regarding provisions of the International Airline Program
• Merchant Outlet is a military base, embassy, or consulate on foreign territory. Visa considers these
  Merchant Outlets to be within the Member's Country and Region of Domicile. The currency used to
  complete the Transaction must be disclosed on the Transaction Receipt.

A bilateral agreement exists between the Canada Region and the U.S. Region for Mail/Phone Order
Merchants and Electronic Commerce Merchants.

Effective 1 July 2011, a PSP must not contract with a Sponsored Merchant that is outside its
jurisdiction unless the:

• Sponsored Merchant is an International Airline and the Acquirer and PSP maintain the relationship
  as specified in the Visa International Operating Regulations regarding provisions of the
  International Airline Program
• Sponsored Merchant is a military base, embassy, or consulate on foreign territory. Visa considers
  these Sponsored Merchants to be within the Acquirer's Country and Region of Domicile

ID#: 111011-010410-0008552




426                                                VISA PUBLIC                              18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 464 of 1319
                                               PageID #: 3657
                                    Visa International Operating Regulations




Cross-Border Merchant Contracting - Canada Region

A Canada Acquirer may acquire the following Canadian dollar Transactions of Canada Cardholders
from Merchant Outlets in the U.S. Region:

• Mail/Phone Order Transactions
• Electronic Commerce Transactions

A U.S. Acquirer may acquire the following U.S. dollar Transactions of U.S. Cardholders from
Merchant Outlets in the Canada Region:

• Mail/Phone Order Transactions
• Electronic Commerce Transactions

ID#: 010410-010410-0008477



Chargeback Rights for Transactions before Merchant Termination - Canada Region

If a Canada Merchant is terminated by an Acquirer, that Acquirer is liable for Chargebacks for items
that were transacted before the termination of the Merchant.

ID#: 010410-010410-0008528



Permitted Merchant Outlets - U.S. Region

A U.S. Acquirer may sign a Merchant Outlet if the Merchant Outlet is located in the Canada Region
and the resulting Transactions are:

• Mail/Phone Order Transactions or Electronic Commerce Transactions initiated by U.S. Cardholders
• Advertised and processed in U.S. dollars

ID#: 010410-010410-0001298



Merchants Signed Outside of the United States - U.S. Region

A U.S. Acquirer that signs a Merchant Outlet outside the 50 United States and District of Columbia
must, within 60 calendar days of signing that outlet, notify Visa of at least the following:

• Merchant name
• Merchant location
• Estimated annual sales volume

ID#: 010410-010410-0001299




18 October 2011                                    VISA PUBLIC                                       427
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15       Page: 465 of 1319
                                                   PageID #: 3658
                                    Visa International Operating Regulations




Payment Service Providers and Sponsored Merchants


Payment Service Provider Agreement Requirements (Updated)

Effective through 30 June 2011, an Acquirer must ensure that its Internet Payment Service Provider
Agreement includes:

• A requirement that the contract between an Internet Payment Service Provider (IPSP) and
  a Sponsored Merchant contains the Merchant Agreement requirements specified in the Visa
  International Operating Regulations
• The Acquirer's right to immediately terminate the Sponsored Merchant for good cause
• A statement that the IPSP is liable for all acts, omissions, Cardholder disputes, and other
  Cardholder customer service-related issues caused by the IPSP's Sponsored Merchants
• A statement that the IPSP is financially liable for each Transaction
• A statement that the IPSP must not transfer or attempt to transfer its financial liability by asking or
  requiring Cardholders to waive their dispute rights

Effective 1 July 2011, an Acquirer must include the following in its Payment Service Provider
Agreement:

• A requirement that the Payment Service Provider (PSP) and its Sponsored Merchants comply with
  the Visa International Operating Regulations
• A requirement that the contract between a PSP and a Sponsored Merchant contains the Merchant
  Agreement, Card and payment acceptance, and all applicable Website requirements specified in
  the Visa International Operating Regulations
• The Acquirer's right to immediately terminate a Sponsored Merchant or the PSP for good cause or
  fraudulent or other activity, or upon Visa request
• Statements specifying that:
  – The PSP is liable for all acts, omissions, Cardholder disputes, and other Cardholder customer
    service-related issues caused by the PSP's Sponsored Merchants
  – The PSP is responsible and financially liable for each Transaction entered into Interchange on
    behalf of the Sponsored Merchant, or for any disputed Transaction, or credit
  – The PSP must not transfer or attempt to transfer its financial liability by asking or requiring
    Cardholders to waive their dispute rights
  – The PSP must not permit a Sponsored Merchant to transfer or attempt to transfer its financial
    liability by asking or requiring Cardholders to waive their dispute rights
  – The PSP must not deposit Transactions on behalf of another PSP
  – The PSP must not contract with a Sponsored Merchant whose contract was terminated at the
    direction of Visa or a government agency
  – The PSP must not deposit Transactions from Sponsored Merchants outside the Acquirer's
    jurisdiction



428                                                VISA PUBLIC                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                    Page: 466 of 1319
                                               PageID #: 3659
                                    Visa International Operating Regulations


     – The PSP must provide the names of principals and their country of domicile for each of its
       Sponsored Merchants and Transaction reports to its Acquirer and to Visa upon request
     – The PSP must ensure that its Sponsored Merchants comply with the Payment Card Industry
       Data Security Standard (PCI DSS) and the Payment Application Data Security Standard (PA-
       DSS)

ID#: 111011-010410-0005270



Acquirer Eligibility - Payment Service Provider (Updated)

Effective 1 July 2011, before entering into a Merchant Agreement with any Payment Service
Provider (PSP), an Acquirer must:

• Be in good standing in all Visa risk management programs
• Be rated above-standard (a Visa Member risk rating of "A" or "B") and meet a minimum equity
              [41]
  requirement

Effective 1 July 2011, before entering into or renewing a Merchant Agreement with any PSP whose
annual Visa Transaction volume exceeds US $50 million in an Acquirer's jurisdiction, the Acquirer
must:

• Be in good standing in all Visa risk management programs
• As specified by Visa, either:
     – Be rated above-standard (a Visa Member risk rating of "A" or "B") and meet a minimum equity
                   [42]
       requirement
     – Enter into a direct Merchant Agreement with, and fund in a manner acceptable to Visa, each
       of the PSP's Sponsored Merchants, regardless of the Sponsored Merchant's annual Visa
       Transaction volume

ID#: 161111-010711-0026431



Direct Merchant Agreement Requirement for Sponsored Merchants (New)

Effective 1 July 2011, an Acquirer must enter into a direct Merchant Agreement with a Sponsored
Merchant that exceeds US $100,000 in annual Visa Transaction volume. The Acquirer must, with
respect to such Sponsored Merchant, comply with all obligations specified in the Visa International
Operating Regulations.

ID#: 111011-010711-0026432




41    Effective 1 July 2011, Visa may waive these requirements in exchange for assurance and evidence of the imposition of
      risk controls satisfactory to Visa. This may include, but is not limited to, the pledging of additional collateral.
42    Effective 1 July 2011, Visa may waive these requirements in exchange for assurance and evidence of the imposition of
      risk controls satisfactory to Visa. This may include, but is not limited to, the pledging of additional collateral.

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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15       Page: 467 of 1319
                                                   PageID #: 3660
                                    Visa International Operating Regulations




Internet Payment Service Providers - Merchant Agreement - Canada Region (Updated)

Effective through 31 December 2011, a Canada Acquirer providing acquiring services to an Internet
Payment Service Provider (IPSP) and its Sponsored Merchants must have a Merchant Agreement
with the IPSP that identifies the IPSP and its Sponsored Merchants as Merchant parties to that
agreement.

ID#: 111011-010410-0005385



Acquirer Eligibility - Internet Payment Service Provider - U.S. Region

Effective through 30 June 2011, before entering into a Merchant Agreement with an Internet
Payment Service Provider (IPSP), a U.S. Acquirer must:

• Be in good standing in all Visa risk management programs
• Meet the Acquirer Tier 1 capital requirement

ID#: 111011-150210-0005090



Acquirer Eligibility - Internet Payment Service Provider Maximum Annual Sales - U.S.
Region (Updated)

Effective through 30 June 2011, a U.S. Acquirer must enter into a direct Merchant Agreement with
any Sponsored Merchant that exceeds US $100,000 in annual sales.

ID#: 111011-010410-0005096



Internet Payment Service Provider Agreement Provisions - U.S. Region (Updated)

Effective through 30 June 2011, a U.S. Acquirer must ensure that an Internet Payment Service
Provider Agreement:

• Contains Internet Payment Service Provider (IPSP) operating requirements and risk management
  provisions, as specified in the Visa International Operating Regulations for Internet Payment
  Service Providers
• Includes a provision to establish IPSP financial liability for Transactions entered into Interchange on
  behalf of Sponsored Merchants, as well as responsibility for any disputed Transactions, credits, or
  customer service-related expenses
• Includes a statement that the IPSP must not:
  – Transfer or attempt to transfer its financial liability by asking or requiring Cardholders to waive
    their dispute rights
  – Permit a Sponsored Merchant to transfer or attempt to transfer its financial liability by asking or
    requiring Cardholders to waive their dispute rights




430                                                VISA PUBLIC                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 468 of 1319
                                               PageID #: 3661
                                    Visa International Operating Regulations


  – Deposit Transactions on behalf of another IPSP, as specified in "Internet Payment Service
    Provider Restrictions - U.S. Region"
• Requires that each Sponsored Merchant contract with an IPSP contain Merchant Agreement
  requirements and Card acceptance and Website requirements specified in the Visa International
  Operating Regulations
• Requires an IPSP to provide comprehensive lists, including names of principals and country of
  domicile, for all of its Sponsored Merchants and Transaction reports to its Acquirer, and to Visa
  upon request
• Requires its IPSP to deposit only Transactions from Sponsored Merchants within the Acquirer's
  jurisdiction
• Establishes an Acquirer's right to:
  – Immediately terminate an IPSP for fraudulent activity or other activities specified in "Visa Right to
    Terminate Merchant/IPSP or Sponsored Merchant"
  – Require an IPSP to immediately terminate a Sponsored Merchant for fraudulent activity or other
    activities specified in "Visa Right to Terminate Merchant/IPSP or Sponsored Merchant"

ID#: 111011-010410-0005097



International Airline Program


International Airline Merchant Agreement Specifications

An International Airline Merchant Agreement must contain, at a minimum, the elements specified
in this section, in addition to the contract requirements specified for all Merchants in the Visa
International Operating Regulations.

The agreement must specify the Acquirer's responsibilities to the Merchant for Chargeback resolution
support. This support must include:

• Written information on Chargeback rights and procedures
• Chargeback processing, including a list of Chargeback reason codes, Merchant recourse options,
  and an Acquirer contact

The agreement must list the countries from which the Acquirer will accept Transactions, including
the Authorization support procedures and processes for each country. It must also require that the
Acquirer and the Merchant notify Visa if Authorization problems arise for any countries covered by the
Merchant Agreement.

ID#: 010410-010410-0008575




18 October 2011                                    VISA PUBLIC                                        431
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 469 of 1319
                                                   PageID #: 3662
                                    Visa International Operating Regulations




Acquirer Due Diligence


Terminated Merchant Query - Payment Service Provider (New)

Effective 1 July 2011, an Acquirer must:

• Ensure that a terminated Sponsored Merchant or terminated Payment Service Provider (PSP)
  is added to the Visa Merchant Trace System (as specified in "Required Use of Merchant Trace
  System - AP Region"), Terminated Merchant File, or, where available and permitted by local law,
  equivalent terminated Merchant database
• In the U.S. Region, ensure that a PSP with one or more Sponsored Merchants classified, or that
  should be classified, with Merchant Category Code 5967, "Direct Marketing - Inbound Teleservices
  Merchant," complies with the High-Risk Internet Payment Service Provider registration program
  and operating requirements (This only applies in the U.S. Region.)

ID#: 111011-010711-0026433



Terminated Merchant File Query Responses - U.S. Region

A U.S. Acquirer must query the Terminated Merchant File, as specified , before entering into a
Merchant Agreement with a prospective Merchant.

If the Acquirer receives a response indicating a "possible match" against a Merchant listed on the
Terminated Merchant File, the Acquirer must:

• Verify that the Merchant identified in the response is the same Merchant for which the inquiry was
  generated
• Contact the listing Member directly to determine why the Merchant was added to the file

The Acquirer should make its acceptance decision based on further investigation, and must use
Terminated Merchant File data only as an informational tool in the decision-making process.

ID#: 111011-010410-0008577



Terminated Merchant File Query - Internet Payment Service Provider - U.S. Region
(Updated)

Effective through 30 June 2011, a U.S. Acquirer must:

• Query the Terminated Merchant File (TMF) before:
  – Entering into an agreement with a prospective Internet Payment Service Provider (IPSP)
  – An IPSP enters into an agreement with a prospective Sponsored Merchant
• Ensure that a Merchant listed on the TMF is not permitted to be a Sponsored Merchant




432                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                  Page: 470 of 1319
                                               PageID #: 3663
                                    Visa International Operating Regulations


• Ensure that an IPSP with one or more Sponsored Merchants classified, or which should be
  classified, with Merchant Category Code 5967, "Direct Marketing - Inbound Teleservices
  Merchant," complies with the High-Risk Internet Payment Service Provider registration program
  and operating requirements
• Ensure that a terminated Sponsored Merchant or terminated IPSP is added to the TMF

ID#: 111011-150210-0003938



Electronic Commerce Acquirer Agreement


Internet Merchant Registration - AP Region

An AP Member entering the Internet Merchant acquiring business must register with Visa.

ID#: 010410-010410-0005323




Point-of-Transaction - Display of Marks

Display of Marks at the Point of Sale


Merchant Standards for Card Acceptance

An Acquirer contracting with a Merchant to accept Cards must ensure that the Merchant meets the
                                       2
standards specified in the table below.


                                          Merchant Acceptance Standards

    Symbols Displayed at             Cards Accepted by            Electronic Capability     Cash-Back
    Merchant                         Merchant

    Visa Brand Mark                  Visa Cards
                                                1                 Optional                  For Domestic
                                                                                            Transactions only, at the
                                                                                            option of Visa

    Visa Brand Mark with             Visa Electron Cards          Required                  For Domestic
    the Electron Identifier                                                                 Transactions only, at the
                                                                                            option of Visa

    1.    A variance to this requirement applies in the U.S. Region.
    2.    A variance applies to this requirement in the Canada Region.

ID#: 010410-010410-0003658




18 October 2011                                     VISA PUBLIC                                                   433
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 471 of 1319
                                                   PageID #: 3664
                                    Visa International Operating Regulations




Display of Appropriate Marks

A Member or Merchant must display the appropriate Marks to indicate which Cards it accepts for
payment, as specified in the Visa Product Brand Standards.

ID#: 010410-010410-0008496



Display of Marks Exclusion VIOR 5.1.A.1.d, USOR 5.2.A.1.a

A Merchant is not required to display the Visa-Owned Marks if it does not deal with the general public
(e.g., a private club, or if prohibited by trade association rules).

ID#: 010410-010410-0002643



Display of Electron Mark Prohibition

A Point-of-Transaction Terminal that does not have Online capability, regardless of whether the
terminal is Chip-enabled, must not display the Visa Brand Mark with the Electron Identifier.

ID#: 010410-010410-0002828



Visa Marks Display Requirements – AP Region and LAC Region (New)

Effective 20 July 2011, in the AP Region and the LAC Region, a Merchant in a U.S. Territory is not
required to display the Visa Marks in a size at least as large as every other payment brand mark that
is displayed.

ID#: 111011-200711-0026496



Visa Right to Request Display Modification - U.S. Region

In the U.S. Region, Visa may require modification of any display of an Affinity Partner's Trade Name
or Mark at a Merchant Outlet if the display adversely affects the Visa brand.

ID#: 010410-010410-0002347



Visa Marks Display Requirements - U.S. Region (New)

Effective 20 July 2011, a U.S. Merchant is not required to display the Visa Marks in a size at least as
large as every other payment brand mark that is displayed.

ID#: 111011-200711-0026491




434                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 472 of 1319
                                               PageID #: 3665
                                    Visa International Operating Regulations




Display of Marks Acquirer Requirements - U.S. Region

A U.S. Acquirer must ensure that:

• Each of its Limited Acceptance Merchants displays the Visa-approved signage representing the
  Limited Acceptance category it has selected
• A Merchant does not display the Visa-Owned Marks indicating acceptance of all Visa Cards if it
  has selected Limited Acceptance

ID#: 010410-010410-0002318



Visa Marks Display Size Requirements - U.S. Region (Updated)

Effective through 19 July 2011, the Visa Mark used must not be smaller than any other acceptance
mark displayed by a U.S. Merchant.

ID#: 111011-010410-0002339



Affinity Partner Marks Size Requirements - U.S. Region (Updated)

Effective through 19 July 2011, in the U.S. Region, Visa-Owned Marks must be at least equal in
size and prominence to any Affinity Partner identification and any other payment system Marks.

Effective 20 July 2011, in the U.S. Region, Visa-Owned Marks must be at least equal in size and
prominence to any Affinity Partner identification.

ID#: 111011-010410-0002345



Mail/Phone Order Merchant Acceptance Requirements - U.S. Region

A U.S. Mail/Phone Order Merchant must:

• Advise the Cardholder, during the payment process, that it accepts all Visa Cards for payment or
  that it accepts Cards that are in the Limited Acceptance category it has selected
• Display, in its catalog or other selling material, either the:
  – Visa Flag Symbol or Visa Brand Mark in full color, if it accepts all Visa Cards for payment
  – Visa-approved signage representing the Limited Acceptance category it has selected

ID#: 010410-010410-0002340



Use of Verified by Visa Mark - U.S. Region

A U.S. Electronic Commerce Merchant must display the appropriate Verified by Visa Mark to indicate
its participation in the 3-D Secure Authenticated Payment Program.



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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 473 of 1319
                                                   PageID #: 3666
                                    Visa International Operating Regulations



The U.S. Merchant must not use the Verified by Visa Mark unless it is a 3-D Secure participant.

ID#: 010410-010410-0008499



Automated Fuel Dispenser Merchant Marks Display - U.S. Region

An Automated Fuel Dispenser Merchant in the U.S. Region must display the appropriate Visa-Owned
Marks on or near the Automated Fuel Dispenser to indicate which Cards it accepts for payment.

ID#: 010410-010410-0002341



Display of Affinity Card Reproduction - U.S. Region

A U.S. Merchant must not display a reproduction of an Affinity Card as part of a decal at the Point-of-
Transaction.

ID#: 010410-010410-0002346



Display of Affiliated-Merchant Mark - U.S. Region

An Affiliated-merchant in the U.S. Region must display the Visa-Owned Marks independently from
any identification of the Affinity Partner.

ID#: 010410-010410-0002348



Full-Color Display Requirements - U.S. Region

When displayed at a U.S. Member location or Merchant Outlet, the Visa Brand Mark must appear in
full color, except when displayed on an ATM, as specified in the Visa Product Brand Standards.

ID#: 010410-010410-0005764



Display of Marks on Scrip Terminal - U.S. Region

A U.S. Member must not display the Visa Brand Mark or the Visa Brand Name on a Scrip Terminal.

ID#: 010410-010410-0005765



Trade Names and Marks on Decals and Signs - U.S. Region

In the U.S. Region, no Trade Name or Mark, other than the Visa Brand Name, may appear on decals
and signs bearing the Visa Brand Mark at Member locations or Merchant Outlets, except for decals
on ATMs.

ID#: 010410-010410-0005766




436                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 474 of 1319
                                               PageID #: 3667
                                    Visa International Operating Regulations




Display of Marks at an ATM


ATM Display of Visa Marks - U.S. Region

In the U.S. Region, only ATMs and Acquirers that participate in the Visa ATM Network may display
the Visa Flag Symbol or Visa Brand Mark.

ID#: 010410-010410-0004754



ATM Display of Visa Marks Prohibition - U.S. Region

A U.S. Acquirer must not display the Visa Flag Symbol or Visa Brand Mark on or surrounding an
ATM unless that ATM accepts all Visa Cards.

ID#: 010410-010410-0004755



ATM Marks Color and Size Requirements - U.S. Region

In the U.S. Region, when used as the only Mark at an ATM, the Visa Flag Symbol, Visa Brand Mark,
Visa Electron Symbol, or Visa Brand Mark with the Electron Identifier must:

• Be in full color
• Be at least 54mm high by 86mm wide

ID#: 010410-010410-0004775



ATM Marks Size Requirements with Other Marks - U.S. Region

In the U.S. Region, the Visa Brand Mark must not be smaller than any other acceptance Mark
indicating participation in any ATM network, other than a Member's own proprietary network or a
single primary regional network Mark that is also displayed on the ATM. No other Mark of the Visa
Program may be displayed on participating ATMs, except as specified in "Plus Symbol Display
Requirement at ATM - U.S. Region."

ID#: 010410-010410-0006169



Display of Marks Online


Verified By Visa Mark Prohibitions

A 3-D Secure-capable Electronic Commerce Merchant that displays the Verified by Visa Mark must
not use the Mark:

• In a way that implies endorsement of any other product or service


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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 475 of 1319
                                                   PageID #: 3668
                                    Visa International Operating Regulations


• To indicate payment acceptance in any application

ID#: 010410-010410-0007010



Use of Brand Name vs. Brand Mark

A Merchant Website must display the Visa Brand Mark as specified in the Visa Product Brand
Standards.

The Visa Brand Name must only be used to indicate acceptance when a visual representation of the
Visa Brand Mark is not possible on the Merchant Website.

A Merchant displaying the Verified by Visa Mark on its Website must comply with the Visa Product
Brand Standards.

ID#: 031209-150210-0008671



Verified by Visa Display Requirements - CEMEA Region

A CEMEA Issuer providing 3-D Secure to its Cardholders must display the Verified by Visa Mark in
the pop-up authentication window presented to the Cardholder for authentication.

ID#: 010410-010410-0005517



Display of Marks at Point of Payment Choice - U.S. Region

A U.S. Merchant Website must display at the point of payment choice either the:

• Visa Flag Symbol or Visa Brand Mark in full color, if it accepts all Visa Cards for payment
• Visa-approved signage representing the Limited Acceptance category it has selected

ID#: 010410-010410-0002337



Manual Cash Disbursement


Manual Cash Disbursement Display of Marks

An Acquirer must display the appropriate Visa-Owned Marks to indicate which Cards are accepted for
Manual Cash Disbursements.

ID#: 010410-010410-0005297




438                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 476 of 1319
                                               PageID #: 3669
                                    Visa International Operating Regulations




Point-of-Transaction Terminals

Point-of-Transaction Terminal General Requirements


Point-of-Transaction Terminal Requirements - AP Region

The following requirements apply to newly purchased or replaced electronic Point-of-Transaction
terminals in the AP Region:

• The terminals must be fully EMV- and VIS-compliant
• The terminals must appear on the EMV Co-approved terminal list

ID#: 010410-010410-0004858



Primary Account Number Truncation of Electronic Point-of-Sale Receipts - CEMEA
Region

Effective through 30 September 2014, at least 4 positions of the primary Account Number must be
disguised or suppressed on the Cardholder Transaction Receipt for all POS terminals.

ID#: 050411-010410-0004887



Nigerian Point-of-Transaction Terminal Requirements - CEMEA Region

Prior to deploying a Point-of-Transaction Terminal, a CEMEA Acquirer located in Nigeria must ensure
that the terminal:

• Is fully EMV and VIS-compliant
• Reads and acts upon all Service Codes, as specified on the Payment Technology Standards
  Manual
• Has been approved by Visa, or by an entity authorized by Visa
• Meets the requirements of the EMV Integrated Circuit Card Specifications for Payment Systems
• Has its Visa Public Keys replaced by any date specified by Visa

ID#: 111011-140110-0025505



Card Acceptance Device Installation Requirements - CEMEA Region

In the CEMEA Region, all newly installed devices that accept Visa Cards and Cards bearing the Visa
Electron Symbol must:

• Be fully EMV and VIS-Compliant


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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 477 of 1319
                                                   PageID #: 3670
                                    Visa International Operating Regulations


• Operate in line with the Smart Payment Product Principles
• Support Static and Dynamic Data Authentication, with the optional exception of Online-only devices

ID#: 050411-211010-0026056



Terminals at Tip-Accepting Merchants - U.S. Region

A U.S. Acquirer must ensure that new Point-of-Transaction Terminals installed at a Merchant
Outlet that receives or accepts tips are not programmed to include an estimated tip amount in the
Authorization Request.

ID#: 010410-010410-0004966



Terminal Transaction Receipt Requirements - U.S. Region

In the U.S. Region, if a Point-of-Transaction Terminal has the capability, it must generate an
Electronic Transaction Receipt as specified in "Electronic and Manual Transaction Receipts - General
- U.S. Region Exhibit S."

ID#: 080411-010410-0004964



Fleet Service Merchants Terminal Requirements - U.S. Region

A Visa Fleet Service Merchant in the U.S. Region must:

• Use a Point-of-Transaction Terminal capable of:
  – Reading the data on track 1 or track 2 of the Magnetic Stripe or Chip that identifies the Card as a
    Visa Fleet Card
  – Displaying the appropriate prompts
  – Capturing the appropriate responses
• Establish procedures for its employees or the Cardholder to enter required data on the terminal
  keypad

ID#: 010410-010410-0005086



Point-of-Transaction Terminal PIN Requirements – U.S. Region (New)

Effective 14 April 2012, in the U.S. Region, a Merchant that accepts PINs for Cardholder Verification
must take all reasonable actions to ensure that its Point-of-Transaction Terminals and PIN pads
operated at the Merchant Outlet(s):

• Are available for use by all Cardholders for Transactions
• Function reliably




440                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                Page: 478 of 1319
                                               PageID #: 3671
                                    Visa International Operating Regulations


• Comply with the PIN Management Requirements Documents

ID#: 111011-140412-0026505



Magnetic-Stripe Terminals


Service Codes at Point-of-Transaction Terminals

The table below specifies requirements for Service Code acceptance at Point-of-Transaction
Terminals.


           Requirements for Service Code Acceptance at Point-of-Transaction Terminals

                          Terminal Type                                         Terminal Requirements

    All Point-of-Transaction Terminals with Online               Must either:
    capability
                                                                 • Read and act upon all Service Codes, as
                                                                   specified in the Payment Technology Standards
                                                                   Manual
                                                                 • Seek Issuer Authorization on all Transactions
                                                                   (Zero Floor Limit)

    All Point-of-Transaction Terminals with Data                 Must both:
    Capture-Only Capability
                                                                 • Examine Service Codes
                                                                 • Act upon Service Codes
                                                                 as specified in the Payment Technology Standards
                                                                 Manual

ID#: 031209-010210-0004825



Account Number Acceptance at Terminals

An Acquirer that processes Visa or Visa Electron Transactions from a Point-of-Transaction Terminal
(excluding an ATM) must ensure that the terminal accepts all 16-digit Account Numbers that contain a
valid Visa-assigned BIN for Visa and Visa Electron Transactions.

ID#: 010410-010410-0004769



Account Number Processing at Terminals

All Member Point-of-Transaction processing systems (excluding ATMs) must be able to accept all 16-
digit Account Numbers that contain a valid Visa-assigned BIN.

ID#: 010410-010410-0004770




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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 479 of 1319
                                                   PageID #: 3672
                                    Visa International Operating Regulations




Magnetic-Stripe Terminal Requirements (Updated)

An Acquirer must ensure that a Magnetic-Stripe Terminal:

• Is used to obtain Authorization through the V.I.P. System and is able to read all Magnetic Stripes
  that conform to the specifications in the:
  – Visa International Operating Regulations
  – Visa Product Brand Standards
  – Payment Technology Standards Manual
  – Transaction Acceptance Device Requirements
• Transmits the entire unaltered contents of all data encoded on either track 1 or track 2 of the
  Magnetic Stripe
• Does not erase or alter any magnetic encoding on a Card
• Does not display or print more information than is embossed or printed on the front or back of the
  Card. This prohibition does not apply to displaying or printing the full Account Number on a Visa
  Electron Card with a partial Account Number.

ID#: 151011-010210-0003619



Dual-Reader Terminals

All new Magnetic-Stripe Terminals produced with dual-reader heads must be capable of processing
and distinguishing the Magnetic Stripe containing Visa payment data from other proprietary Magnetic
Stripes that may be present on the Card.

ID#: 010410-010410-0003620



Magnetic-Stripe Terminal Capability - AP Region

An AP Acquirer must ensure that all Magnetic-Stripe Terminals are capable of reading a Card with a
high-coercivity Magnetic Stripe.

ID#: 010410-010410-0004857



Chip-Reading Terminals


Chip-Reading Device International Interoperability

Chip-Reading Devices that accept Visa Cards and Visa Electron Cards and placed in service on or
after 1 January 2001 must meet Visa specifications for international interoperability and functionality,
including:

• EMV Integrated Circuit Card Specifications for Payment Systems


442                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 480 of 1319
                                               PageID #: 3673
                                    Visa International Operating Regulations


• Transaction Acceptance Device Requirements

ID#: 081010-010410-0004826



Chip-Reading Device Requirements

When installing an EMV-Compliant Chip-Reading Device to accept a Visa or Visa Electron Payment
Application, an Acquirer must ensure that the terminal:

• Has been approved by Visa, or an entity authorized by Visa
• Meets the EMV Integrated Circuit Card Specifications for Payment Systems
• Has the capability to have its Visa Public Keys replaced in an acceptable method by any date
  specified by Visa

ID#: 010410-010410-0004827



Chip Interoperability Problems

If Visa determines that an Acquirer or Acquirer's agent has a high-severity Chip interoperability
problem and that progress toward an agreed-upon resolution plan is no longer acceptable, the
Acquirer or Acquirer's agent is subject to the requirements of "Chip Interoperability Compliance
Program."

ID#: 010410-010410-0004828



Acquirer Device Validation Toolkit

An Acquirer must successfully complete the Acquirer Device Validation Toolkit (ADVT) process, as
specified in the Acquirer Device Validation Toolkit User Guide, before deploying or upgrading a Chip-
Reading Device. An Acquirer that fails to successfully complete the ADVT process may be subject to
the requirements of "Chip Interoperability Compliance Program."

Effective 1 July 2010, an Acquirer may perform ADVT testing only on a device containing a kernel or
interface module (IFM) with an expiration date after 1 July 2010.

Effective 1 October 2010, an Acquirer that tests with the ADVT must submit test results using the
Chip Compliance Reporting Tool (CCRT).

Effective 1 January 2011, an Acquirer must not submit ADVT test results for a device containing a
kernel or interface module (IFM) that has expired.

ID#: 081010-010410-0008887




18 October 2011                                    VISA PUBLIC                                      443
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 481 of 1319
                                                   PageID #: 3674
                                    Visa International Operating Regulations




Variable Length Account Numbers at a Chip-Reading Device

An Acquirer must ensure that all Chip-Reading Devices that accept Visa and Visa Electron Cards
support variable-length Account Numbers up to and including 19 digits.

ID#: 010410-010410-0004830



Dynamic Data Authentication on a Chip-Reading Device

An Acquirer must ensure that Dynamic Data Authentication is active in all Chip-Reading Devices
that accept Visa and Visa Electron Cards, unless the device obtains an Online Authorization for all
Transactions.

ID#: 010410-010410-0004831



Chip-Reading Device and Transmission Requirements (Updated)

An Acquirer must ensure that an EMV-Compliant Chip-Reading Device:

• Reads the Magnetic Stripe
• Reads the Chip if an EMV- and VIS-Compliant Chip is present, and does not allow the Chip-
  Reading Device to override the Chip Authorization controls by manually prompting the device to
  use the Magnetic Stripe. The Magnetic Stripe may be read only if the Chip is not EMV- and VIS-
  Compliant, or the Chip or Chip reader is inoperable.
• Effective through 14 October 2011, supports "No CVM (Cardholder Verification Method)
  required" for all EMV-Compliant Chip-Reading Unattended Acceptance Terminals that perform
  Cardholder-Activated Transactions Type A and Cardholder-Activated Transactions Type B
• Effective 15 October 2011, supports "No CVM (Cardholder Verification Method) required" for all
  EMV-Compliant Chip-Reading Unattended Cardholder-Activated Terminals that do not require
  PINs for all Transactions
• If capable of performing Online Transactions, performs Terminal Risk Management, as specified in
  the EMV Integrated Circuit Card Specifications for Payment Systems
• Supports Post-Issuance Application Change commands if the Acquirer is capable of processing
  Full-Chip Data
• Captures and transmits Full-Chip Data for all Chip-initiated Transactions
• Supports the terminal action codes and facilitates access to multiple accounts on a Chip Card, as
  specified in the Transaction Acceptance Device Requirements
• Presents mutually supported Payment Applications contained in the Chip to the Card, or to the
  Cardholder where the Cardholder has the ability to select the Payment Application, and does not
  discriminate between Payment Applications, except as stipulated by the Chip parameters

ID#: 111011-010410-0004832




444                                                VISA PUBLIC                         18 October 2011
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                                               PageID #: 3675
                                    Visa International Operating Regulations




Chip-Reading Device Online Authorization Requirements

Chip-Reading Devices must be capable of requiring an Online Authorization for the next consecutive
Magnetic Stripe-read Transaction originating from a Chip Card when:

• An EMV-Compliant Chip Card read was unsuccessful
• The Service Code indicates the presence of a Chip

When referring to Magnetic-Stripe Data, an EMV-Compliant Chip-Reading Device may only expect
Magnetic-Stripe track 2 information, and the Cardholder name from track 1 (track 1 discretionary data
is optional).

ID#: 010410-010410-0004833



Chip-Reading Device Plaintext Offline PIN Requirements (Updated)

Effective through 14 October 2011, Chip-Reading Devices (including Unattended Acceptance
Terminals) placed in service on or after 1 April 2001 that support "Enciphered Offline PIN" must also
support "Plaintext Offline PIN."

Effective 15 October 2011, Chip-Reading Devices (including Unattended Cardholder-Activated
Terminals) placed in service on or after 1 April 2001 that support "Enciphered Offline PIN" must also
support "Plaintext Offline PIN."

ID#: 111011-010410-0004834



Acquirer Chip Card Acceptance Requirements

A Full-Chip Data Acquirer must accept and process VIS and Common Core Definitions Chip Cards,
as specified in the:

• VisaNet Member Implementation Guide
• VSDC Member Implementation Guide
• VSDC System Technical Manual

ID#: 010410-010410-0004835



Chip-Reading Device PIN Requirements (Updated)

An Acquirer must ensure that an EMV-Compliant Chip-Reading Device:

• Is equipped with ports that support devices capable of prompting for, and accepting a PIN based
  upon, Cardholder Verification Method parameters encoded on the Chip
• Effective through 14 October 2011, does not display the Visa Brand Mark or Visa Brand Mark
  with the Electron Identifier on PIN-only Chip-Reading Devices, excluding ATMs and Unattended
  Acceptance Terminals that perform Cardholder-Activated Transactions Type C

18 October 2011                                    VISA PUBLIC                                      445
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 483 of 1319
                                                   PageID #: 3676
                                    Visa International Operating Regulations


• Effective 15 October 2011, does not display the Visa Brand Mark or Visa Brand Mark with
  the Electron Identifier on PIN-only Chip-Reading Devices, excluding ATMs and Unattended
  Cardholder-Activated Terminals that only accept PINs for Cardholder Verification
• Effective through 14 October, 2011, does not prompt international Cardholders for a PIN
  unless required by the Chip, excluding ATMs and Unattended Acceptance Terminals that perform
  Cardholder-Activated Transactions Type C
• Effective 15 October 2011, does not prompt international Cardholders for a PIN unless required
  by the Chip, excluding ATMs and Unattended Cardholder-Activated Terminals that only accept
  PINs for Cardholder Verification

ID#: 151011-010410-0004836



Chip-Reading Device PIN Capability Requirements

New Chip-Reading Devices that accept Visa or Visa Electron Cards must be PIN-capable and comply
with the Chip-Reading Device requirements in the Visa International Operating Regulations.

ID#: 010410-010410-0004837



Chip-Reading Device PIN Pad Requirements

A Chip-Reading Device must have either a PIN pad or a port capable of supporting a PIN pad.

If a PIN pad is present and active, the Chip-Reading Device must:

• Comply with Visa encryption standards
• Act on the Cardholder Verification Method List

ID#: 010410-010410-0008502



Chip-Reading Device Software Support Requirements

A Chip-Reading Device must be capable of supporting software to enable the functions specified in
"Chip-Reading Device PIN Pad Requirements" if either the:

• Chip-Reading Device is equipped with a PIN pad port only
• PIN pad is inactive for Visa Chip-initiated Transactions

ID#: 010410-010410-0004840



Chip-Reading Device PIN Pad Activation Requirements

If a PIN pad is active for other Chip-enabled payments, it must be active for Visa Chip-initiated
Transactions.




446                                                VISA PUBLIC                           18 October 2011
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                                               PageID #: 3677
                                    Visa International Operating Regulations



Exceptions to "Chip Reading Device PIN Pad Requirements" and "Chip-Reading Device Software
Support Requirements" are permitted when compliance is inherently impractical (e.g., road tolls,
transit applications, situations where a Cardholder would not expect interaction with a Chip-Reading
device).

ID#: 010410-010410-0004841



Chip Transaction Acquirer Data Requirements

An Acquirer that processes a Chip-initiated Transaction must:

• Properly identify the Authorization Response code in the Clearing Record initiated by an EMV-
  Compliant Chip-Reading Device, as specified in the VisaNet manuals
• Use the appropriate POS Entry Mode code value ("05," "07," "91," or "95")
• Provide the Authorization Response code in the Clearing Record for a Chip-initiated Transaction
  that is approved offline
• Support Full-Chip Data processing via its host system. An Acquirer that is unable to support Full-
  Chip Data processing via its host system is prohibited from deploying or supporting Chip-Reading
  Devices with the Chip functionality enabled and must either:
  – Update its host system and network functionality to support Full-Chip Data
  – Disable Chip functionality in all Chip-Reading Devices connected to its host system

ID#: 111011-150210-0004842



Chip-Reading Device Acquirer Public Keys Requirements

An Acquirer must ensure that the Visa Public Keys are replaced by any date specified by Visa.

ID#: 010410-010410-0004843



Acquirer Chip-Reading Device Information Responsibilities

An Acquirer is responsible for the actions of a Chip-Reading Device that provides improper
information and processing decisions to the Chip.

ID#: 010410-010410-0006018



PIN Capability at Chip-Reading Devices - AP Region

All new Chip-Reading Devices in the AP Region, certified by EMV Co, must be capable of accepting
a PIN, with plaintext and enciphered Offline PIN Verification as the minimum requirement.

ID#: 010410-010410-0004860




18 October 2011                                    VISA PUBLIC                                      447
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      Case: 4:13-cv-02226-JAR                    Doc. #: 85-5 Filed: 02/12/15             Page: 485 of 1319
                                                    PageID #: 3678
                                    Visa International Operating Regulations




ATM EMV Capability in Australia and New Zealand – AP Region
                                                                                               [43]
Effective 1 January 2011, all new ATMs in Australia must be EMV Level 1 compliant.

Effective 1 April 2011, all new ATMs in New Zealand must be EMV Level 1 compliant.

ID#: 050411-060111-0026183



Chip Reading Terminal Requirements in Australia – AP Region

In addition to the requirements specified in the Visa International Operating Regulations – “Chip-
Reading Terminals,” an Acquirer in Australia must ensure that an EMV- and VIS-Compliant Chip-
Reading Device complies with the following requirements:

An EMV- and VIS-Compliant Chip-Reading Terminal:

• Must support and accept an Online and Offline PIN based upon the Cardholder Verification
  Methods encoded in the Chip
• Must support PIN bypass. If PIN is not used, the Merchant must obtain signature as Cardholder
  Verification Method

An EMV- and VIS-Compliant Chip-reading Unattended Acceptance Terminal:

• Must support “No CVM (Cardholder Verification Method) required” for all EMV- and VIS-
  Compliant Chip-reading Unattended Acceptance Terminals that perform Cardholder-Activated
  Transaction Type A and Cardholder-Activated Transaction Type B
• Must support Online PIN
• Must support Offline PIN. All Unattended Acceptance Terminals that support “Enciphered Offline
  PIN” must also support “Plaintext Offline PIN.”

These terminal requirements apply to all EMV- and VIS-Compliant Chip-Reading Terminals (including
EMV- and VIS-Compliant Chip-Reading Unattended Acceptance Terminals).

ID#: 050411-060111-0026184



Chip Reading Terminal Risk Management in Australia – AP Region

An Acquirer in Australia must ensure the random transaction selection of a Terminal Risk
Management process does not exceed 10% of the total Below-Floor Limit Transactions for all EMV-
and VIS-Compliant Chip-Reading Terminals.

ID#: 050411-060111-0026185




43    EMV hardware capable and EMV Level 1 certified but not fully certified or active.

448                                                  VISA PUBLIC                               18 October 2011
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                                               PageID #: 3679
                                    Visa International Operating Regulations




PIN-Entry Bypass Prohibition - Canada Region

A Canada Acquirer must ensure that PIN entry on a Compliant Chip-Reading Device with a PIN
Entry Device cannot be bypassed by the Acquirer, the Merchant, or an agent of the Acquirer or the
Merchant.

ID#: 010410-010410-0004863



Offline PIN at Compliant Chip-Reading Devices - Canada Region

Compliant Chip-Reading Devices in the Canada Region must support both plaintext PINs that are
verified offline and enciphered PINs that are verified offline.

ID#: 010410-010410-0004866



Chip-Reading Device Manual Cash Disbursements - Canada Region

All Canada Acquirers must ensure that all Compliant Chip Card Reading Devices offering Manual
Cash Disbursements meet all of the following requirements:

• Support signature as a Cardholder Verification Method (CVM)
• Do not support "No CVM required" as a CVM
• Support either:
  – Enciphered PINs that are verified online
  – Plaintext PINs and enciphered PINs that are verified offline

ID#: 010410-010410-0004871



Manual Cash Disbursement - Magnetic-Stripe-Read - Canada Region

A Compliant Chip Card Reading Device offering Manual Cash Disbursements in the Canada Region
may complete a Transaction using Magnetic-Stripe Data when a Compliant Chip Card cannot be
read.

ID#: 010410-010410-0004872



Manual Cash Disbursement Fallback Transactions - Canada Region

A Canada Acquirer must ensure the Issuer is aware when a Manual Cash Disbursement
Authorization Request is for a Fallback Transaction.

ID#: 010410-010410-0004873




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                                                   PageID #: 3680
                                    Visa International Operating Regulations




Chip-Related Acquirer Fraud Liability - Canada Region

A Canada Acquirer is liable for any fraudulent Transactions that result from improper information and/
or processing decisions provided to a Compliant Chip Card by either a Compliant Chip Card Reading
Device or a Chip-Reading Device.

ID#: 010410-010410-0004875



Chip-Reading Device Authorizations - CEMEA Region

A CEMEA Acquirer must identify all Authorization messages originating from EMV-Compliant Chip-
Reading Devices using the appropriate Values within Field 60, "Additional POS Information," as
specified in the VisaNet manuals.

ID#: 050411-010410-0004886



Chip-Reading Device General Requirements - CEMEA Region

When installing an EMV-Compliant Chip-Reading Device to accept a Visa or Visa Electron Payment
Application, or upgrading an existing non-EMV or EMV compatible-only chip terminal to comply with
full EMV specifications, a CEMEA Acquirer must ensure that the terminal:

• Has been approved by Visa, or by an entity authorized by Visa
• Meets the EMV Integrated Circuit Card Specifications for Payment Systems
• Meets the Transaction Acceptance Device Requirements
• Has its Visa Public Keys replaced by any date specified by Visa

ID#: 081010-010410-0007252



Non-EMV and EMV Compatible Terminal Requirements - CEMEA Region

All Chip-Reading Devices in the CEMEA Region that use chip technology to accept Visa Cards and
Cards bearing the Visa Brand Mark with the Electron Symbol, including both non-EMV and EMV
compatible-only Chip terminals, must:

• Be fully EMV-Compliant
• Operate in line with the Smart Payment Product Principles
• Support Static and Dynamic Data Authentication, with the optional exception of Online-only devices

ID#: 010410-010410-0008503




450                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 488 of 1319
                                               PageID #: 3681
                                    Visa International Operating Regulations




Chip-Reading Device Requirement to Support Signature - CEMEA Region

A CEMEA Acquirer must ensure that all EMV-Compliant Chip-Reading Devices at Merchant Outlets
support "signature."

ID#: 010410-010410-0004894



Online-Capable Chip-Reading Device Plaintext Offline PIN Requirements - CEMEA
Region

A CEMEA Acquirer must ensure that all Online-Capable Chip-Reading Devices at Merchant Outlets
support both "Plaintext PIN verified offline" and "Enciphered PIN verified offline," with the optional
exception of Online-only devices.

ID#: 010410-010410-0004896



Unattended Acceptance Terminal Magnetic-Stripe Option - CEMEA Region (Updated)

Effective through 14 October 2011, in the CEMEA Region, if an EMV-Compliant Chip Card cannot
be read:

• An Online-only Chip-Reading Unattended Acceptance Terminal may complete a Transaction using
  Magnetic-Stripe Data
• An Offline-only Chip-Reading Unattended Acceptance Terminal must not complete a Transaction
  using Magnetic-Stripe Data

ID#: 111011-010410-0008504



Online-Only Chip-Reading Device Plaintext Offline PIN Requirements - CEMEA Region

A CEMEA Acquirer must ensure that all Online-Only Chip-Reading Devices at Merchant Outlets
support "Enciphered PIN verified Online" if these Devices do not support both "Plaintext PIN verified
offline" and "Enciphered PIN verified offline," with the optional exception of Online-only devices.

ID#: 010410-010410-0004897



Chip-Related Data Acquirer Responsibilities - CEMEA Region

In the CEMEA Region, an Acquirer is responsible for the actions of a Chip-Reading Device that
provides information and processing decisions to the Chip that are not in accordance with the
Visa International Operating Regulations, the CEMEA Regional Operating Regulations, EMV
Integrated Circuit Card Specifications for Payment Systems, and Transaction Acceptance Device
Requirements.




18 October 2011                                    VISA PUBLIC                                       451
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 489 of 1319
                                                   PageID #: 3682
                                    Visa International Operating Regulations



An Acquirer must identify all Authorization messages originating from EMV-Compliant Chip-Reading
Devices using the appropriate values within Field 60, "Additional POS Information," as specified in the
VisaNet manuals.

An Acquirer must provide the Authorization response codes in the Clearing Record for Chip-Initiated
Transactions that are offline-approved.

A Chip Acquirer must provide all full Chip data within Field 55 of the VisaNet message.

ID#: 050411-010410-0004898



Chip-Reading Device Service Code Requirements - U.S. Region

To recognize EMV-Compliant Chip Cards when Visa Smart Payment is supported, a U.S. Acquirer
must ensure that all EMV-Compliant Chip-Reading Devices act upon the Service Code read from the
Magnetic Stripe.

ID#: 010410-010410-0006844



Proximity/Contactless Payment Terminals


Proximity Payment Terminal Combination Testing Requirements

An Acquirer or Acquirer's agent must perform successful combination testing using the ADVT-qVSDC
device module or other Visa-approved combination testing tool before deployment of a quick Visa
Smart Debit/Credit (qVDCS) Proximity Payment reader at a Point-of-Transaction Terminal.

ID#: 081010-130809-0008835



Proximity Payment POS Entry Mode Code

An Acquirer must ensure that a Proximity Payment terminal uses the proper POS Entry Mode code,
as indicated in "Required Message Content for VisaNet Financial Transactions" (Exhibit 3A) and
"Required Message Content for VisaNet Authorization Requests" (Exhibit 3B) to identify that the
Transaction is processed as one of the following:

• Chip Card Transaction
• Magnetic-Stripe Card Transaction
• Proximity Payment Transaction

All new Proximity Payment terminals deployed in countries without existing Visa Proximity Payment
terminal implementations must not limit a contactless Face-to-Face Environment Transaction by
Transaction amount.




452                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                  Page: 490 of 1319
                                               PageID #: 3683
                                    Visa International Operating Regulations



This provision does not apply to Acquirers in Visa Europe.

ID#: 081010-010410-0002058



Proximity Payment Terminal Compliance

Effective 1 April 2008, all new Proximity Payment terminals in countries without existing contactless
implementations must comply with the Visa Contactless Payment Specifications.

Effective 1 January 2012:

• A Proximity Payment Terminal placed in the AP, Canada, CEMEA, or LAC Regions must comply
                                                               [44]
  with the Visa Contactless Payment Specification 2.0 or later      and must be capable of processing
  a Transaction using the qVSDC transaction path and transmitting the resultant Chip data to
  VisaNet
• A newly placed Proximity Payment Terminal in the U.S. Region must comply with the Visa
  Contactless Payment Specification 2.0 or later and must be capable of supporting both qVSDC and
  MSD Transaction paths. If the Merchant’s Acquirer is not certified to process Chip data, qVSDC
  capability may be inactive.
  Where qVSDC is supported, the Proximity Payment terminal may require an Online Authorization
  for all Transactions.

Effective 1 January 2015, in the U.S. Region, MSD transaction path support is not required for
Proximity Payment terminals that are connected to an Acquirer platform certified for Chip data.

ID#: 151011-010408-0002059



Contactless Program Compliance

Effective 1 April 2008, all new contactless programs in countries without existing contactless
implementations must comply with the Visa Contactless Payment Specifications.

Effective 1 January 2012, all contactless programs must comply with the Visa Contactless Payment
Specifications.

ID#: 220411-010408-0002054



Proximity Payment Transaction Compliance

A Proximity Payment Transaction must comply with either the:

• Visa Contactless Payment Specifications
• Visa Contactless Payment Specification ISO 14443 Type A and Type B

ID#: 220411-010410-0002053



44   Effective 1 January 2013 for Proximity Payment terminals placed in Korea, Malaysia and Taiwan. Visa Touch readers
     placed in Japan are exempt from this requirement.

18 October 2011                                    VISA PUBLIC                                                       453
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 491 of 1319
                                                   PageID #: 3684
                                    Visa International Operating Regulations




Proximity Payment Transactions - AP Region

In the AP Region, a Proximity Payment Terminal and a Proximity Payment Transaction must comply
with all of the following:

• Visa Contactless Payment Specifications
• Visa Contactless Payment Service - Visa Asia Pacific Reader Interface Specification
• Visa Contactless Payment Service - Visa Asia Pacific Reader Specification
• Visa Contactless Payment Service - Visa Asia Pacific Terminal Specification
• Visa payWave Asia Pacific Member Implementation Guide

An AP Member participating in Proximity Payment Transactions must report the summary of all
Proximity Payment Transactions to Visa quarterly as specified in the Visa payWave Asia Pacific
Member Implementation Guide.

ID#: 111011-010510-0025706



Proximity Payment Authorization Requirements - AP Region

In the AP Region, a domestic Proximity Payment Transaction must be authorized offline if all of the
following:

• The Transaction amount is less than or equal to the Floor Limits specified in the following table:
• The cumulative value authorized offline in consecutive Proximity Payment Transactions does not
  exceed cumulative offline limits specified in the Visa payWave Asia Pacific Member Implementation
  Guide

         Domestic Proximity Payment Transaction Authorization Floor Limits – AP Region

           Country                      Proximity Payment Floor
                                         Limit in Local Currency

          Australia                             AUD 100

        Hong Kong
                         1                      HKD 500

         Indonesia
                       1                      IDR 200,00

          Malaysia
                     1                         MYR 150

      People's Republic                        RMB 500
                  1
         of China

          S. Korea                            KRW 50,000

         Singapore
                       1                       SGD 100

          Taiwan
                   1                           NTD 3,000




454                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 492 of 1319
                                               PageID #: 3685
                                    Visa International Operating Regulations


           Country                      Proximity Payment Floor
                                         Limit in Local Currency

          Thailand
                     1                         THB 1,500

         New Zealand                             NZ 80

            Japan                             JPY 10,000

         Philippines                           PHP 2.000

    1.    These countries may limit the maximum value of a single
          Proximity Payment Transaction up to the Transaction limits
          specified in the table above.

ID#: 050411-010100-0025707



Proximity Payment Issuer Requirements - AP Region

The cumulative value authorized offline in consecutive Proximity Payment Transactions must
not exceed the cumulative offline limits specified in the Visa payWave Asia Pacific Member
Implementation Guide.

An Issuer must not send a Referral Response to an Authorization Request for a Proximity Payment
Transaction.

ID#: 050411-010100-0025708



Proximity Payment Program Acquirer Obligations - Canada Region

A Canada Acquirer that deploys Proximity Payment Devices that are capable of processing offline-
authorized Transactions must permit Proximity Payment Transactions to be conducted offline for the
maximum amount programmed by the Issuer on the Proximity Payment Card.

The Canada Acquirer must process Proximity Payment Transactions in accordance with the Visa
Contactless Payment Specifications and ensure that Proximity Payment Transactions can be
processed as programmed by the Issuer on the Proximity Payment Card.

ID#: 220411-010410-0002077



Proximity Payment Transaction Requirements - Canada Region

In the Canada Region, a Proximity Payment Transaction must be a Transaction that is made with a
Visa Card issued by a Member and that uses either:

• The version of the qVSDC protocol that uses Cryptogram 17 as defined in the Visa Contactless
  Payment Specifications and the Proximity Payment Transaction is either Online or offline-
  authorized




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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 493 of 1319
                                                   PageID #: 3686
                                    Visa International Operating Regulations


• The MSD protocol as defined in the Visa Contactless Payment Specifications and the Proximity
  Payment Transaction is fully authorized by having a Zero Floor Limit

ID#: 220411-010410-0002078



Proximity Payment Transaction Receipts - Canada Region

Transaction Receipts are not required to be issued for a Proximity Payment Transaction in the
Canada Region, but must be provided if requested by a Cardholder. The Transaction Receipt is only
required to contain the total Transaction amount and Transaction Date. A Cardholder Verification
Method (CVM), such as PIN or signature, is not required.

ID#: 010410-010410-0002079



Proximity Payment Device Requirements - Canada Region

A Proximity Payment Device in the Canada Region must support the version of the qVSDC protocol
that uses Cryptogram 17, and may also support the MSD protocol, as defined in the Visa Contactless
Payment Specifications.

ID#: 220411-010410-0002080



Acquirer Contactless Program Requirements - U.S. Region

A U.S. Acquirer must:

• Ensure that a Point-of-Transaction Terminal with Contactless Payment capability has been
  approved by Visa, or an entity authorized by Visa
• Comply with operating requirements specified in the Visa U.S.A. Contactless Payment Program
  Member Implementation Guide
• Ensure that its Merchant displays the Contactless Payment signage specified in the Contactless
  Indicator and Contactless Symbol Reproduction and Applications Guide

ID#: 010410-010410-0002042



Merchant Registration for Contactless - U.S. Region

A U.S. Acquirer must register its Merchant in order for the Merchant to participate in the Visa
Contactless Payment Program. Registration information is available upon request from Visa.

ID#: 010410-010410-0002043



Contactless Payment Processing - U.S. Region

A U.S. Acquirer that processes Contactless Payment Transactions must:




456                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 494 of 1319
                                               PageID #: 3687
                                    Visa International Operating Regulations


• Identify a Contactless Payment Transaction in the VisaNet Authorization Request by using
  the appropriate POS Entry Mode code value, as specified in "Required Data for Authorization
  Requests and Responses" (Exhibit OO - U.S. Region)
• Transmit full contents of the Magnetic Stripe or Contactless Payment Chip, including any Device
  Indicator values, if present, in its Authorization Request
• Assign the appropriate Terminal Entry Capability code in the Clearing Record, as specified in
  "VisaNet Clearing Message Content Standards" (Exhibit NN - U.S. Region)
• Comply with processing requirements as specified in:
  – Visa U.S.A. Contactless Payment Program Technical Implementation Guide
  – Visa U.S.A. Contactless Payment Program Member Testing and Certification Guide
  – Appropriate VisaNet manual, including Proximity Payment processing requirements, which are
    also applicable to Contactless Payment Transactions
• Ensure that its Merchant complies with requirements specified in the Visa U.S.A. Contactless
  Payment Merchant Testing Guide

ID#: 010410-010410-0002044



Transactions Not Exceeding US $25 - U.S. Region

Effective 17 April 2010 through 15 October 2010, for Transactions less than or equal to US $25
completed at a Point-of-Transaction Terminal with Contactless Payment capability, a U.S. Merchant
is not required to either:

• Obtain the Cardholder signature
• Provide a Transaction Receipt, unless the Cardholder requests one

This applies to all Transaction types, including Magnetic-Stripe, Contactless Payment, and Chip Card
Transactions.

ID#: 081010-170410-0025582



Dynamic Currency Conversion Prohibitions - U.S. Region

Effective through 6 October 2010, in the U.S. Region, a Transaction must not be processed as a
Contactless Payment Transaction if Dynamic Currency Conversion is performed.

ID#: 050411-010410-0002050




18 October 2011                                    VISA PUBLIC                                      457
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 495 of 1319
                                                   PageID #: 3688
                                    Visa International Operating Regulations




Cardholder-Activated Terminals - Self-Service Terminals, Automated
Dispensing Machines, Limited Amount Terminals - U.S. Region


Cardholder Activated Terminal - Participation Requirements - U.S. Region (Updated)

Effective through 14 October 2011, before activating a Cardholder-Activated Terminal, a U.S.
Acquirer must submit to Visa:

• Detailed written operational plan for each proposed Merchant Agreement with a Cardholder-
  Activated Terminal Merchant. The plan must include at least:
  – Type of goods and services to be provided
  – Type of Cardholder-Activated Terminal to be used
  – Transaction flow explanation
  – Proposed Authorization procedure, if applicable
  – Risk management plan
• Written certification that each participating Cardholder-Activated Terminal meets the required
  standards specified in the U.S. Regional Operating Regulations

Visa may impose additional operating requirements as it deems necessary.

ID#: 111011-010410-0006020



Cardholder-Activated Terminal - Cancellation Message Requirements - U.S. Region
(Updated)

Effective through 14 October 2011, a U.S. Acquirer must send a cancellation message to the V.I.P.
System:

• At any time before the terminal begins operation, if the Cardholder cancels the Transaction request
• Whenever the terminal cannot complete the Transaction due to a failure or timeout resulting from a
  delayed Authorization Response

ID#: 111011-010410-0004936



Cardholder-Activated Terminal - Declines - U.S. Region

Effective through 14 October 2011, if an Automated Dispensing Machine or Self-Service Terminal
allows a U.S. Acquirer to cancel a Transaction before the machine or terminal begins operation, the
Acquirer may decline the request without Issuer permission.

ID#: 111011-010410-0004937




458                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 496 of 1319
                                               PageID #: 3689
                                    Visa International Operating Regulations




Cardholder-Activated Terminal - Card Retention - U.S. Region (Updated)

Effective through 14 October 2011, in the U.S. Region, an Automated Dispensing Machine, Self-
Service Terminal, or Limited-Amount Terminal is not required to have the ability to retain Visa Cards
or Visa Electron Cards. If it does have the ability, it may retain the Card only upon Issuer request.

ID#: 111011-010410-0004938



Cardholder Activated Terminal - Card Retention Requirements - U.S. Region
(Updated)

Effective through 14 October 2011, if a Visa Card or Visa Electron Card is retained, a U.S. Acquirer
or U.S. Merchant must:

• Log it under dual custody immediately after removal from the Cardholder-Activated Terminal
• Render it unusable and return it to the Issuer

An Issuer is not required to pay a reward to the Acquirer. The Acquirer may collect a handling fee.

ID#: 111011-010410-0008516



Automated Dispensing Machine - PIN and Security Requirements - U.S. Region
(Updated)

Effective through 14 October 2011, a U.S. Acquirer of an Automated Dispensing Machine must
obtain approval from Visa for PIN handling and security before the Automated Dispensing Machine
may accept Cards.

ID#: 111011-010410-0004941



Automated Dispensing Machine Requirements - U.S. Region (Updated)

Effective through 14 October 2011, an Automated Dispensing Machine in the U.S. Region must:

• Accept PINs that are 4, 5, or 6 digits or alphabetic characters, or a combination, as a substitute for
  a signature
• Read and transmit the entire unaltered contents of either track 1 or track 2 of the Magnetic Stripe or
  Chip
• Effective through 15 October 2010, produce a Transaction Receipt (not required for Small Ticket
  Transactions unless requested by the Cardholder)
• Effective 16 October 2010, produce a Transaction Receipt (not required for Visa Easy Payment
  Service Transactions unless requested by the Cardholder)
• Have a standard PIN pad
• Display the Visa Flag Symbol or the Visa Brand Mark


18 October 2011                                    VISA PUBLIC                                        459
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 497 of 1319
                                                   PageID #: 3690
                                    Visa International Operating Regulations


• Comply with the:
  – Payment Technology Standards Manual
  – PIN Management Requirements Documents
  – Transaction Acceptance Device Requirements
  – Appropriate VisaNet manual

An Automated Dispensing Machine must not dispense Scrip.

ID#: 111011-010100-0008517



Automated Dispensing Machine Cardholder Messages - U.S. Region (Updated)

Effective through 14 October 2011, an Automated Dispensing Machine in the U.S. Region must be
capable of conveying at least the following information to the Cardholder:

• Card invalid for this service
• Service unavailable now
• Invalid PIN - Re-enter
• Card retained

ID#: 111011-010410-0004946



Limited-Amount Terminal Requirements - U.S. Region (Updated)

Effective through 14 October 2011, a Limited-Amount Terminal in the U.S. Region must:

• Perform data capture of the Account Number, Transaction Date, and Transaction amount
• Read track 1 or track 2 of the Magnetic Stripe or the Chip data and validate the Service Code,
  Account Number, and expiration date
• Check the Account Number against an exception file for Authorization, if the Limited-Amount
  Terminal can retain this information
• Produce a Transaction Receipt, except for Magnetic-Stripe Telephones
• Limit the Transaction amount to US $25

A Limited-Amount Terminal must not dispense Scrip.

ID#: 111011-010410-0008518



Limited-Amount Terminals - Merchant Category Code Restrictions - U.S. Region
(Updated)

Effective through 14 October 2011, all Limited-Amount Terminals in the U.S. Region must be
restricted to the following Merchant Category Codes:



460                                                VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 498 of 1319
                                               PageID #: 3691
                                    Visa International Operating Regulations


• 4111, "Local and Suburban Commuter Passenger Transportation, Including Ferries"
• 4112, "Passenger Railways"
• 4131, "Bus Lines"
• 4784, "Tolls and Bridge Fees"
• 7523, "Parking Lots and Garages"

An exception may be made only with prior written approval from Visa.

ID#: 111011-010410-0006024



Self-Service Terminal Requirements - U.S. Region (Updated)

Effective through 14 October 2011, a Self-Service Terminal in the U.S. Region must:

• Read and transmit the entire unaltered contents of either track 1 or track 2 of the Magnetic Stripe or
  the Chip data, as specified in the appropriate VisaNet manual
• Effective through 15 October 2010, produce a Transaction Receipt (not required for Small Ticket
  Transactions unless requested by the Cardholder)
• Effective 16 October 2010, produce a Transaction Receipt (not required for Visa Easy Payment
  Service Transactions unless requested by the Cardholder)
• Limit the Transaction amount to US $50 for all Transactions, with the exception of Transactions
  conducted at an Automated Fuel Dispenser

A Self-Service Terminal must not dispense Scrip.

ID#: 111011-010410-0004953



Automated Fuel Dispensers


Automated Fuel Dispenser Authorization Options

An Automated Fuel Dispenser Merchant may:

• Obtain an Authorization for the full amount of a Transaction exceeding one of the following:
  – For a Chip or PIN-initiated Transaction, US $100, or local currency equivalent
  – For all other Transactions, US $75, [45] or local currency equivalent

• Obtain a Status Check Authorization for Transactions less than or equal to either:
  – For a Chip- or PIN-initiated Transaction, US $100, or local currency equivalent
  – For all other Transactions, US $75, or local currency equivalent
• Participate in Real-Time Clearing, as follows:




18 October 2011                                    VISA PUBLIC                                      461
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      Case: 4:13-cv-02226-JAR                    Doc. #: 85-5 Filed: 02/12/15    Page: 499 of 1319
                                                    PageID #: 3692
                                    Visa International Operating Regulations


     – Send a preauthorization request for an estimated amount (not to exceed US $500, or local
       currency equivalent), based on the Merchant's good faith estimate of the final Transaction
       amount, taking into account, among other factors, typical spending patterns at the Merchant
       location
     – Send the actual Transaction amount (Completion Message) to the Issuer within X of the
       preauthorization request
     – Participate in Partial Authorization

In the U.S. Region, the Completion Message for a Real-Time Clearing Transaction must be for an
amount equal to or less than the authorized amount, including partial approvals, and must be properly
identified as specified in “Automated Fuel Dispenser Real-Time Clearing Transaction Processing
Requirements – U.S. Region.” (This only applies in the U.S. Region.)

The Automated Fuel Dispenser Merchant is protected from Chargeback Reason Code 72, "No
Authorization," for the amount approved by the Issuer.

Provisions related to Real-Time Clearing are not applicable to Transactions involving Issuers or
Acquirers in Visa Europe.

ID#: 111011-150210-0008542



Automated Fuel Dispenser Requirements (New)

Effective 15 October 2011, an Automated Fuel Dispenser must:

• Authorize all Transactions as specified in "Automated Fuel Dispenser Authorization Options"
• Limit the Transaction amount to US $100, or local currency equivalent, except for PIN-verified
                 [46] [47]
  Transactions.
• For a Real-Time Clearing Transaction, limit the Transaction amount to US $500 or local currency
  equivalent, except for PIN-verified Transactions

ID#: 111011-151011-0025723



Status Check Authorization Restriction

Only an Automated Fuel Dispenser Merchant may perform a Status Check Authorization, as specified
in "Automated Fuel Dispenser Authorization Options."

ID#: 111011-151209-0025602



Automated Fuel Dispenser Requirements - CEMEA Region (Updated)

Effective through 14 October 2011, an Automated Fuel Dispenser in the CEMEA Region must:


45    A variance to this requirement applies in the U.S. Region.
46    A variance to this requirement applies in the U.S. Region.
47    Not applicable to Real-Time Clearing.

462                                                  VISA PUBLIC                       18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 500 of 1319
                                               PageID #: 3693
                                    Visa International Operating Regulations


• Be an Unattended Acceptance Terminal
• Process Transactions using Merchant Category Code 5542
• Authorize all Transactions
• Read and transmit the entire contents of the Magnetic Stripe (including the Card Verification Value
  if applicable)

An Automated Fuel Dispenser must not dispense cash.

ID#: 111011-010410-0008541



Automated Fuel Dispenser Transaction Amount Limits - U.S. Region (Updated)

Effective through 14 October 2011, an Automated Fuel Dispenser in the U.S. Region must limit the
Transaction amount to:

• For a Visa Fleet Card, US $150
• For all other Cards, US $75
• For a Real-Time Clearing Transaction, US $500

ID#: 111011-010410-0008540



Automated Fuel Dispenser Authorization Options - U.S. Region 5.2.K (Updated)

An Automated Fuel Dispenser Merchant in the U.S. Region must do one of the following:

• Obtain an Authorization for the exact amount of the Transaction
• Use the Status Check Procedure, if the Transaction amount is:
  – For a Visa Fleet Card Transaction, not more than US $150
  – For all other Cards, not more than US $75
• Process the Transaction using Real-Time Clearing
• Effective through 30 June 2015, for an Online Check Card Transaction, obtain an Authorization
  for an amount based on the estimated Transaction amount, not to exceed US $50

ID#: 111011-010410-0003616



Status Check Requirements - U.S. Region 5.2.K

An Automated Fuel Dispenser Merchant in the U.S. Region may use the Status Check Procedure if
the Transaction amount is:

• For a Visa Fleet Card Transaction, not more than US $150
• For all other Cards, not more than US $75

ID#: 010410-010410-0008462



18 October 2011                                    VISA PUBLIC                                     463
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 501 of 1319
                                                   PageID #: 3694
                                    Visa International Operating Regulations




Automated Fuel Dispenser Partial Authorization Requirements - U.S. Region 5.2.K
(Updated)

In the U.S. Region, an Automated Fuel Dispenser Merchant that participates in the Partial
Authorization service must:

• Include the Partial Authorization indicator in the Status Check message, as specified in the VisaNet
  manuals
• Be able to set the Automated Fuel Dispenser terminal to only dispense fuel up to whichever is
  lower:
  – The amount approved in the Partial Authorization Response by the Issuer
  – The Status Check approval amount allowed by the appropriate Card type, as specified in
    "Automated Fuel Dispenser Authorization Options - U.S. Region"
• Submit an Authorization Reversal for either:
  – The difference between the amount approved in the Partial Authorization Response and the final
    Transaction amount of the Cardholder's purchase
  – The full amount of the Partial Authorization Response if the Cardholder does not continue with
    the Transaction
• Submit a Clearing Transaction only for the amount of fuel dispensed and approved

ID#: 111011-010410-0005401



Unattended Acceptance Terminals


Unattended Cardholder-Activated Terminal Acquirer General Requirements (Updated)

Effective through 14 October 2011, an Acquirer that installs Unattended Acceptance Terminals
must:

• Comply with the Authorization requirements specified in the Visa International Operating
  Regulations, as applicable. The Authorization is valid if the Authorization amount is greater than or
  equal to the Transaction amount.
• Identify each Cardholder-Activated Transaction, as specified in "BASE II Record
  Requirements" (Exhibit 2L) and the Visa International Operating Regulations
• Ensure that the terminal:
  – Reads track 1 [48] or 2 of the Magnetic Stripe or processes a Visa Smart Payment

  – Does not dispense cash, unless it is an ATM
  – Displays the Merchant name and customer service telephone number
  – Provides a Transaction Receipt              [49] [50]


  – Informs the Cardholder that a Transaction Receipt is available upon request if a receipt is not
    provided automatically


464                                                  VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                    Page: 502 of 1319
                                               PageID #: 3695
                                    Visa International Operating Regulations


     – Notifies the Cardholder that the Card has been retained, when the terminal is capable of
       retaining an invalid or expired Card

Effective 15 October 2011, an Acquirer that installs Unattended Cardholder-Activated Terminals
must ensure that the terminal:

• Reads track 1 or track 2 of the Magnetic Stripe or processes a Visa Smart Payment
• Does not dispense cash
• Does not dispense Scrip
• Displays the Merchant name and customer service telephone number
• Provides a Transaction Receipt (not required for Visa Easy Payment Service Transactions unless
  requested by the Cardholder)
• Informs the Cardholder that a Transaction Receipt is available upon request if a receipt is not
  provided automatically
• Notifies the Cardholder that the Card has been retained, when applicable
• For Transactions under the Floor Limit, validates the Service Code, Account Number, and
  expiration date
• For Transactions under the Floor Limit, performs data capture of the Account Number, Transaction
  Date, and Transaction Amount
• For Transactions under the Floor Limit, does not complete the Transaction if the Account Number
  is invalid or if the Card has expired

ID#: 111011-010410-0004816



Unattended Cardholder-Activated Terminal Documentation Requirements (Updated)

Effective through 14 October 2011, an Acquirer must submit a detailed written operational plan to
Visa for approval before activating any Unattended Acceptance Terminal that performs Cardholder-
Activated Transactions Type A.

Effective 15 October 2011, upon request, an Acquirer must submit to Visa a detailed written
description or other information, as determined by Visa, relating to its Unattended Cardholder-
Activated Terminals.

ID#: 111011-010410-0004815



Prepaid Purchase at Unattended Terminals (Updated)

Effective through 14 October 2011, a Visa Prepaid Card Transaction at an Unattended Acceptance
Terminal must meet the following requirements:



48    This requirement does not apply to ATMs.
49    This requirement does not apply to Magnetic-Stripe Telephones.
50    Effective 20 January 2011, a variance to this requirement applies in the AP Region for Members in Australia and New
      Zealand for certain vending machine Transactions.

18 October 2011                                    VISA PUBLIC                                                          465
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 503 of 1319
                                                   PageID #: 3696
                                    Visa International Operating Regulations


• Floor Limit is zero
• Merchant identification and its customer service telephone number are displayed

ID#: 111011-010410-0002513



Unattended Acceptance Terminal Requirements - Type A Transactions (Updated)

Effective through 14 October 2011, when an Unattended Acceptance Terminal performs a
Cardholder-Activated Transaction Type A, it must:

• Perform data capture of the Account Number, Transaction Date, and Transaction amount
• Validate the Service Code, Account Number, and expiration date
• Limit the Transaction amount to a maximum of US $40, or local currency equivalent
• Not complete the Transaction if the Account Number is invalid or if the Card has expired

Effective 1 May 2008 through 14 October 2011, unless granted written permission from
Visa, existing Unattended Acceptance Terminals must cease performing Cardholder-Activated
Transactions Type A for all Merchant Category Codes except:

• 4111, "Local and Suburban Commuter Passenger Transportation, including Ferries"
• 4112, "Passenger Railways"
• 4131, "Bus Lines"
• 4784, "Tolls and Bridge Fees"
• 7523, "Parking Lots and Garages"

Effective through 14 October 2011, a new Merchant may deploy Unattended Acceptance Terminals
that perform Cardholder-Activated Transactions Type A only for the types of Merchant and Merchant
Category Codes listed above, unless granted written permission from Visa.

ID#: 111011-010410-0004818



Visa Electron Prohibition for Unattended Acceptance Terminal Type A Transactions
(Updated)

Effective through 14 October 2011, an Unattended Acceptance Terminal must not accept Visa
Electron Cards for Cardholder-Activated Transactions Type A.

ID#: 111011-010410-0004819



Unattended Acceptance Terminal Requirements - Type B Transactions (Updated)

Effective through 14 October 2011, when an Unattended Acceptance Terminal performs a
Cardholder-Activated Transaction Type B, it must:

• Limit the Transaction amount to US $100, [51] [52] [53] or local currency equivalent


466                                                VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                       Page: 504 of 1319
                                               PageID #: 3697
                                    Visa International Operating Regulations


• For a Real-Time Clearing Transaction, limit the Transaction amount to US $500, or local currency
  equivalent
• Authorize all Transactions

ID#: 111011-010410-0004820



Unattended Cardholder-Activated Terminal Requirements - PIN Acceptance (Updated)

Effective through 14 October 2011, at a minimum, when an Unattended Acceptance Terminal
performs a Cardholder-Activated Transaction Type C, it must:

• Accept PINs, according to Visa PIN Security and PIN Entry Device (PED) requirements, as
  specified in the PIN Management Requirements Documents
• Be capable of conveying at least the following information to the Cardholder:
     – Card invalid for this service
     – Service unavailable now
     – Invalid PIN - re-enter

Effective 15 October 2011, an Unattended Cardholder-Activated Terminal that accepts PINs must
be capable of conveying at least the following information to the Cardholder:

• Card invalid for this service
• Service unavailable now
• Invalid PIN - re-enter

A Chip-enabled Unattended Cardholder-Activated Terminal may perform PIN Verification in both
an Online and offline environment for a Visa Card or Visa Electron Card that contains a Visa Smart
Payment application.

ID#: 111011-010410-0004821



Unattended Acceptance Terminal Transaction Type C PIN Verification (Updated)

Effective through 14 October 2011, a Chip-enabled Unattended Acceptance Terminal that performs
a Cardholder-Activated Transaction Type C may perform PIN Verification in both an Online and
offline environment for a Visa Card or Visa Electron Card that contains a Visa Smart Payment
application.

ID#: 111011-010410-0004822




51    Not applicable to an In-Transit Terminal or Real-Time Clearing.
52    A variance to this requirement applies in the U.S. Region for Automated Fuel Dispenser Transactions.
53    A variance to this requirement applies in the AP Region for domestic Australia Bill Payment Transactions

18 October 2011                                      VISA PUBLIC                                                   467
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 505 of 1319
                                                   PageID #: 3698
                                    Visa International Operating Regulations




Unattended Cardholder-Activated Terminal Card Retention (Updated)

Effective through 14 October 2011, an Unattended Acceptance Terminal that performs a
Cardholder-Activated Transaction Type C is not required to have the ability to retain Cards. If it does
have this ability, it may retain a Card only upon Issuer request, and the Acquirer or Merchant must:

• Log it under dual custody immediately after removal from the terminal
• Render it unusable and return it to the Issuer. If the Card bears a Chip, the Chip must not be
  damaged.

The Issuer is not required to pay a reward to the Acquirer. The Acquirer may collect a handling fee.

Effective 15 October 2011, an Unattended Cardholder-Activated Terminal is not required to have the
ability to retain Cards. If it does have this ability, it may retain a Card only upon Issuer request, and
the Acquirer or Merchant must:

• Log it under dual custody immediately after removal from the terminal
• Render it unusable and return it to the Issuer. If the Card bears a Chip, the Chip must not be
  damaged.

The Issuer is not required to pay a reward to the Acquirer. The Acquirer may collect a handling fee.

ID#: 111011-010410-0004823



Unattended Cardholder-Activated Terminal Declines (Updated)

Effective 15 October 2011, if an Unattended Cardholder-Activated Terminal allows an Acquirer to
cancel a Transaction before the machine or terminal begins operation, the Acquirer may decline the
request without Issuer permission.

ID#: 161111-151011-0025727



Unattended Acceptance Terminal Transaction Amounts - Canada Region (Updated)

Effective through 14 October 2011, in the Canada Region, an Unattended Acceptance Terminal
that performs Cardholder-Activated Transactions Type A must limit the Transaction amount to a
maximum of CAD $75.

ID#: 111011-150210-0004861




468                                                VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 506 of 1319
                                               PageID #: 3699
                                    Visa International Operating Regulations




Unattended Acceptance Terminal Plaintext PINs - Canada Region (Updated)

Effective through 14 October 2011, Unattended Acceptance Terminals in the Canada Region that
are Compliant Chip-Reading Devices that perform Cardholder-Activated Transactions Type C must
support both plaintext PINs that are verified offline and enciphered PINs that are verified offline.

ID#: 111011-010410-0004862



Cardholder-Activated Terminals - LAC Region (Updated)

Effective through 14 October 2011, Cardholder-Activated Terminals in the LAC Region must
truncate or disguise at least 4 digits of the Account Number on all Transaction Receipts.

ID#: 111011-010410-0004916



Electronic Signature Capture Terminals


Electronic Signature Capture Devices

A Merchant using an electronic signature capture device must:

• Only store and reproduce a signature on a Transaction-specific basis in relation to the Transaction
  for which the signature was obtained
• Only reproduce a signature upon specific written request from the Acquirer or in response to a
  Retrieval Request
• Have proper controls in place to ensure the security of the stored signatures and other Cardholder
  data in accordance with the Payment Card Industry Data Security Standard (PCI DSS)

An Acquirer may reproduce the Cardholder signature obtained using an electronic signature capture
device in response to a Retrieval Request.

Visa may withdraw an Acquirer, Agent, or Merchant's right to use electronic signature capture devices
if they fail to comply with this regulation, in addition to existing penalties that may be imposed under
the Visa International Operating Regulations.

This provision is not applicable to Transactions involving Issuers or Acquirers in the jurisdiction of
Visa Europe.

ID#: 081010-150509-0008678




18 October 2011                                    VISA PUBLIC                                           469
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 507 of 1319
                                                   PageID #: 3700
                                    Visa International Operating Regulations




Terminals without a Printer


Terminal Without a Printer Interchange Reimbursement Fee - LAC Region

In the LAC Region, a Transaction completed at a Terminal Without a Printer that fulfills the
requirements specified in "Electronic Rate Qualification" is an Electronic Transaction and qualifies for
the Electronic Interchange Reimbursement Fee.

ID#: 010410-010410-0004918



Terminal Without a Printer Qualifying Merchants - LAC Region

In the LAC Region, a Terminal Without a Printer may be used in market segments and at Merchants
where:

• They still do not have terminals or the cost of terminals with printers represents an obstacle to the
  acceptance of Visa products
• The number of Transactions does not generate a service problem for a Cardholder

ID#: 010410-010410-0004919



Additional Requirements for Terminals Without a Printer - LAC Region

In the LAC Region, a Terminal Without a Printer must transmit the complete and unaltered contents
of a Card's Magnetic Stripe.

A Terminal Without a Printer must meet all requirements for Point-of-Transaction Terminals, except
those related to the Transaction Receipt imprint.

A Terminal Without a Printer may accept Domestic Transactions and International Transactions.

ID#: 010410-010410-0004920



Account Number-Verifying Terminals


Account-Number-Verifying Terminal - Acquirer Responsibilities - U.S. Region

A U.S. Acquirer that is required to install and authorize Transactions at a specified Merchant Outlet
via an Account-Number-Verifying Terminal must:

• Notify the Issuers indicated by both the embossed or printed and encoded Account Numbers when
  the embossed or printed Account Number does not match the encoded Account Number




470                                                VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15         Page: 508 of 1319
                                               PageID #: 3701
                                    Visa International Operating Regulations


• Handle any recovered Card as specified in the Visa International Operating Regulations

ID#: 010410-010410-0004931



Account-Number-Verifying Terminal - Merchant Responsibilities - U.S. Region

A U.S. Merchant that is required to install and authorize Transactions via an Account-Number-
Verifying-Terminal must:

• When the embossed or printed Account Number does not match the encoded Account Number:
  – Decline the Transaction and attempt to retain the Card by reasonable and peaceful means
  – Note the physical description of the Cardholder
  – Handle any recovered Card as specified in the Visa International Operating Regulations
• When the encoded Account Number cannot be read from the Magnetic Stripe or Chip, follow
  normal Authorization procedures and complete the approved Transaction using a manual imprinter
• When the embossed or printed Account Number is the same as the encoded Account Number,
  follow normal Authorization procedures
• Notify the Acquirer if a Card is retained

ID#: 010410-010410-0004932




Honoring Cards

General Acceptance Requirements


Valid Acceptance

A Merchant must accept all Cards properly presented for payment as specified in the "Merchant
Acceptance Standards" table.

A variance to this requirement applies in the U.S. and Canada Regions.

If a Merchant does not deal with the public (e.g., a private club), it complies with this requirement if it
accepts Cards from its Members.

ID#: 081010-150210-0008591



Transaction Processing Requirement - CEMEA Region

Subject to local law, a CEMEA Acquirer must process all valid Transactions originating from its
Merchants.

ID#: 010410-010410-0005242




18 October 2011                                    VISA PUBLIC                                           471
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 509 of 1319
                                                   PageID #: 3702
                                    Visa International Operating Regulations




Acceptance of Visa Electron Cards - CEMEA Region

In the CEMEA Region, the following requirements apply to all Visa Electron Card Transactions at
Merchant Outlets or Point-of-Transaction Terminals, including ATMs, whether or not a Merchant
Outlet has specifically contracted with the Acquirer to accept Visa Electron Cards:

• An Authorization Request must not be systematically rejected or declined by an Acquirer if a Point-
  of-Transaction Terminal, including an ATM, has sent the Transaction Online for Authorization
• An Authorization Request involving a Visa Electron Card Transaction must be forwarded to the
  Issuer or to the Issuer's Processor for an Authorization Response
• A Visa Electron Card Transaction is subject to the conditions specified in the Visa International
  Operating Regulations and "Dispute Resolution"

ID#: 010410-010410-0005243



Visa Electron Card Transactions - CEMEA Region

In the CEMEA Region, a Visa Electron Merchant must accept valid Visa Electron Cards when
presented for payment. A Visa ATM must accept all Visa Electron Cards, subject to the same local
restrictions allowed for Proprietary Cards bearing the Plus Symbol.

ID#: 010410-010410-0004747



Country-Specific Requirements - South Africa - CEMEA Region

CEMEA Acquirers of Visa Electron Cards in South Africa:

• May accept Visa Electron Transactions from any Merchant that submits Transactions electronically
• Must ensure that only Merchants with PIN-enabled terminals display the Visa Electron decal

ID#: 010410-010410-0005248



Affinity Cards - U.S. Region

A U.S. Merchant that wants to accept Affinity Cards, including an Affiliated-merchant that is affiliated
with an Affinity Partner, must also accept all Visa Cards in the Merchant's category of acceptance, in
compliance with the rules for honoring Cards specified in the U.S. Regional Operating Regulations.
The Merchant must not use an Affinity Card to debit any credit, charge, or asset account other than
the Visa account maintained by the Issuer in connection with the Affinity Card.

ID#: 010410-010410-0002873




472                                                VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 510 of 1319
                                               PageID #: 3703
                                    Visa International Operating Regulations




Visa Electron Acceptance - U.S. Region

A U.S. Merchant may accept Visa Electron Cards. If the Merchant accepts Visa Electron Cards, it
must:

• Accept all Visa Electron Cards properly presented for payment
• Process all Transactions resulting from Visa Electron Cards as Visa Electron Program
  Transactions, as specified in the Visa International Operating Regulations

ID#: 010410-010410-0002871



Mini Card Acceptance - U.S. Region (Updated)

A U.S. Merchant that accepts a Visa Card and has a Magnetic-Stripe Terminal must attempt to
accept a Visa Mini Card if the Visa Mini Card is within the Merchant's category of Card acceptance.

The Merchant must request the corresponding full-sized Visa Card if the Merchant's Terminal is
unable to read the Magnetic Stripe on the back of the Visa Mini Card and, effective 15 October
2011, if the full Account Number is not placed on the Visa Mini Card.

ID#: 111011-010410-0005809



Visa Electron Card Magnetic-Stripe Read Requirement - U.S. Region

If the encoded Account Number on a Visa Electron Card cannot be read from the Magnetic Stripe, a
U.S. Merchant must request another means of payment.

ID#: 010410-010410-0005125



Uniform Services


Uniform Services - Acquirer Requirements

An Acquirer must:

• Accept all Cards properly presented for payment
• Offer and render services uniformly to all Cardholders

ID#: 010410-010410-0005302




18 October 2011                                    VISA PUBLIC                                     473
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 511 of 1319
                                                   PageID #: 3704
                                    Visa International Operating Regulations




Uniform Services Merchant Requirement

A Merchant must process Transactions with its Acquirer's Cardholders and other Members'
Cardholders in exactly the same manner.

ID#: 010410-010410-0003018



Uniform Services Merchant Requirement - U.S. Region

A U.S. Merchant must process Transactions with its Acquirer's Cardholders and other Members'
Cardholders in exactly the same manner. The Merchant's normal discount rates, controls, regulations,
and procedures apply.

ID#: 111011-010410-0006140



Affiliated-Merchants - U.S. Region

In the U.S. Region, an Affiliated-merchant is considered a Merchant for the purposes of the Visa
International Operating Regulations.

An Acquirer must ensure that it and its Affiliated-merchant comply with the federal bank anti-tying
laws, Section 106 of the Bank Holding Company Act Amendments of 1970, 12 USC 1972, including
without limitation, the prohibition on the varying of consideration on the condition that the customer
obtain a product or service from an affiliate of the Member.

ID#: 010410-010410-0008770



Discount at the Point of Sale


Discounts at the Point-of-Sale – AP Region and LAC Region (New)

Effective 20 July 2011, in the AP Region and the LAC Region, the provisions of “Discount Offer -
U.S. Region 5.2.D.2” apply to Merchants located in a U.S. Territory.

ID#: 111011-200711-0026494



Discount Offer - U.S. Region 5.2.D.2 (Updated)

Effective through 19 July 2011, in the U.S. Region, any purchase price advertised or otherwise
disclosed by the Merchant must be the price associated with the use of a Visa Card or Visa Electron
Card.

A U.S. Merchant may offer a discount as an inducement for a Cardholder to use a means of payment
that the Merchant prefers, provided that the discount is:




474                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 512 of 1319
                                               PageID #: 3705
                                    Visa International Operating Regulations


• Clearly disclosed as a discount from the standard price
• Non-discriminatory, as between a Cardholder who pays with a Visa Card and a cardholder who
  pays with a "comparable card"

A "comparable card" for purposes of this rule is any other branded, general purpose payment
card that uses the cardholder's signature as the primary means of cardholder authorization (e.g.,
MasterCard, Discover, American Express). Any discount made available to cardholders who pay with
"comparable cards" must also be made available to Cardholders who wish to pay with Visa Cards.
Any discount made available to a Cardholder who pays with a Visa Card is not required to be offered
to cardholders who pay with "comparable cards."

Effective 20 July 2011, a U.S. Merchant may request or encourage a Cardholder to use a means
of payment other than a Visa Card or a Visa Card of a different product type (e.g., Visa Classic
Card, Visa Traditional Rewards Card, Visa Signature Card) than the Visa Card the consumer initially
presents. Except where prohibited by law, the Merchant may do so by methods that include, but are
not limited to:

• Offering the consumer an immediate discount from the Merchant’s list, stated, or standard price,
  a rebate, a free or discounted product or service, or any other incentive or benefit if the consumer
  uses a particular general purpose payment card with an acceptance brand other than a Visa Card
  or other particular means of payment
• Offering the consumer an immediate discount from the Merchant’s list, stated, or standard price, a
  rebate, a free or discounted product or service, or any other incentive or benefit if the consumer,
  who initially presents a Visa Card, uses instead another general purpose payment card or another
  means of payment
• Expressing a preference for the use of a particular general purpose payment card or means of
  payment
• Promoting the use of a particular general purpose payment card with an acceptance brand other
  than Visa or means of payment through posted information, through the size, prominence, or
  sequencing of payment choices, or through other communications to consumers
• Communicating to consumers the reasonably estimated or actual costs incurred by the Merchant
  when a consumer uses a particular general purpose payment card or means of payment or the
  relative costs of using different general purpose payment cards or means of payment

ID#: 111011-010410-0008590



Discounts on Purchases Made with Affinity Cards - U.S. Region (Updated)

Effective through 19 July 2011, when presented with an Affinity Card, a U.S. Merchant or Affiliated-
merchant must not provide a discount to the Cardholder, unless either the:

• Discount, such as a credit on the Cardholder statement, rebate, etc., is provided subsequent to the
  time of the Transaction
• Cardholder presents a coupon or voucher in addition to the Affinity Card

A Merchant or Affiliated-merchant must not promote at the Point-of-Transaction the availability of
discounts on purchases made with an Affinity Card.



18 October 2011                                    VISA PUBLIC                                       475
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 513 of 1319
                                                   PageID #: 3706
                                    Visa International Operating Regulations



Effective 20 July 2011, when presented with an Affinity Card, a U.S. Merchant or Affiliated-merchant
must not provide a discount to the Cardholder that is not available for other Visa Cards of the same
product type, unless either the:

• Discount, such as a credit on the Cardholder statement, rebate, etc., is provided subsequent to the
  time of the Transaction
• Cardholder presents a coupon or voucher in addition to the Affinity Card

A Merchant or Affiliated-merchant must not promote at the Point-of-Transaction the availability of
discounts on purchases made with an Affinity Card if such discounts are not available for other Visa
Cards of the same product type.

ID#: 111011-010410-0003034



Cardholder Choice


Honor All Cards - Canada Region

In the Canada Region, unless a Merchant has elected to not be a Visa Debit Acceptor, a Merchant
that accepts Visa Cards must accept any valid Visa Card that a Cardholder properly presents for
payment. This means that the Merchant must permit the Cardholder to choose whether to pay for a
transaction with that Visa Card or with some other means of payment accepted by the Merchant.

In the Canada Region, Merchants who have elected to be a Visa Debit Acceptor may choose whether
or not to accept domestic Visa Credit Cards. Similarly, Merchants who have elected to be a Visa
Credit Acceptor may choose whether or not to accept domestic Visa Debit Cards.

ID#: 111011-200209-0008392



Selection of Payment System - Canada Region

In the Canada Region, if a Cardholder presents a Visa Card that bears a Mark representing another
payment service, the Merchant may not intentionally mislead the Cardholder concerning what
payment service or system will be used. If the Merchant provides any information regarding the
customer's rights related to various transaction choices, that information must be accurate.

ID#: 111011-200209-0008393



Honor All Cards - U.S. Region 5.2.B

A U.S. Merchant that wishes to accept Visa Cards must accept any valid Visa Card in its category
of acceptance that a Cardholder properly presents for payment. This means that the Merchant must
permit the Cardholder to choose whether to pay for a transaction with that Visa Card or with some
other means of payment accepted by the Merchant. The Merchant may request or encourage a
Cardholder to use a means of payment other than a Visa Card.

ID#: 010410-010410-0002867



476                                                VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 514 of 1319
                                               PageID #: 3707
                                    Visa International Operating Regulations




Selection of Payment System - U.S. Region

In the U.S. Region, if a Cardholder presents a Visa Card that is in the Merchant's category of
acceptance and that bears a Mark representing another payment service:

• The Merchant must honor the Cardholder's request if the Cardholder indicates that the transaction
  is to be processed as a Visa Transaction
• The Merchant may process the transaction as something other than a Visa Transaction despite an
  initial indication by the Cardholder that the transaction is to be processed as a Visa Transaction,
  but only if the Cardholder agrees that the transaction may be processed as something other than a
  Visa Transaction. The Merchant may not mislead the Cardholder concerning what payment service
  or system will be used. If the Merchant provides any information regarding the customer's rights
  related to various transaction choices, that information must be accurate.

ID#: 010410-010410-0002868



Incentive to Use Other Payment Method - U.S. Region

A U.S. Merchant may offer a non-monetary benefit to a Cardholder as an inducement for the
Cardholder to use a means of payment other than a Visa Card. A Merchant may offer a monetary
benefit in the form of a discount, as provided in "Discount Offer - U.S. Region," as an inducement for
the Cardholder to use a means of payment other than a Visa Card.

ID#: 010410-010410-0002870



Limited Acceptance


Limited Acceptance Merchant Requirements - U.S. Region

A U.S. Merchant that accepts Visa Cards may choose Limited Acceptance.

A U.S. Merchant that accepts all Visa Cards, or a Limited Acceptance category of Visa Cards,
must accept any valid Visa Card issued by a non-U.S. Issuer, as specified in the Visa International
Operating Regulations.

ID#: 111011-010410-0008680



Limited Acceptance Notification Requirements - U.S. Region

A U.S. Acquirer must register with Visa and provide reporting on each of its Merchants that has
selected Limited Acceptance.

ID#: 010410-010410-0005609




18 October 2011                                    VISA PUBLIC                                        477
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 515 of 1319
                                                   PageID #: 3708
                                    Visa International Operating Regulations




Limited Acceptance Merchant Signage - U.S. Region

A U.S. Acquirer must ensure that each of its Limited Acceptance Merchants is provided with Visa-
approved signage representing the Limited Acceptance Category it has selected, in accordance with
its Merchant Agreement. Specifications for appropriate signage are available from Visa.

ID#: 010410-010410-0005110



Card Acceptance Canada Region


Merchant Display of Marks and Acceptance Signage - Canada Region

A Canada Acquirer must ensure that:

• Each of its Merchants that accepts all Visa Cards displays the appropriate Visa-Owned Marks to
  indicate which Cards it accepts for payment
• Where required by Visa, Visa Debit Acceptors display Visa-approved signage
• Electronic Commerce merchants must display Visa approved signage at the Point-of-Transaction
  to indicate their election not to be a Visa Debit Acceptor or Visa Credit Acceptor

ID#: 111011-200209-0008380



Visa Debit Cards Issued by Canada Issuers - Canada Region

A Canada Merchant that accepts Visa Cards may choose whether or not to also accept Visa Debit
Cards issued by Canada Issuers.

ID#: 050411-200209-0008382



Visa Credit Cards Issued by Canada Issuers - Canada Region

A Canada Merchant that accepts Visa Debit Cards may choose whether or not to also accept Visa
Credit Cards issued by Canada Issuers.

ID#: 111011-160810-0025969



Visa Cards Issued by Non-Canada Issuers - Canada Region

A Canada Merchant that accepts Visa Cards must accept any valid Visa Card issued by a non-
Canada Issuer, as specified in the Visa International Operating Regulations.

ID#: 050411-200209-0008384




478                                                VISA PUBLIC                      18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 516 of 1319
                                               PageID #: 3709
                                    Visa International Operating Regulations




Card Acceptance Prohibitions

General Prohibitions


Refinance Existing Debt 5.1.C

A Merchant must not accept a Card to collect or refinance an existing debt unless either:

• The Transaction results from conversion of a Merchant's existing card program to the Visa or Visa
  Electron Program
• The Merchant is a government agency and the Transaction represents a loan payment. In this
  case, the Transaction amount must not equal the loan balance unless it is the final payment.

At the option of a Visa Region, a Merchant may accept a Visa Card or Visa Electron Card as payment
for an existing debt, provided the debt is not considered uncollectible (e.g., payments to a collection
agency or an attempt to recover funds for a dishonored check).

The Transaction must not represent collection of a dishonored check.

A Merchant must not accept Cardholder payments for previous Card charges.

ID#: 111011-010410-0006945



Use of Account Number

A Merchant must not request or use an Account Number for any purpose other than as payment for
goods and services.

An exception to this requirement applies in the U.S. Region for the Health Care Eligibility Service and
Visa ReadyLink. (This only applies in the U.S. Region.)

ID#: 010410-010410-0008585



Minimum Maximum - U.S. Region 5.2.F

Effective through 20 July 2010, a U.S. Merchant must not establish a minimum or maximum
Transaction amount as a condition for honoring a Visa Card or Visa Electron Card.

ID#: 151011-010100-0026705




18 October 2011                                    VISA PUBLIC                                      479
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      Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15          Page: 517 of 1319
                                                     PageID #: 3710
                                    Visa International Operating Regulations




Minimum/Maximum Transaction Amount (New)

A Merchant must not establish a minimum or maximum Transaction amount as a condition for
                                            [54]
honoring a Visa Card or Visa Electron Card.

ID#: 111011-210710-0026405



Minimum Transaction Amount - AP Region

Effective 21 July 2010, a Merchant in the AP Region must not establish a minimum Transaction
amount as a condition for honoring a Visa Card or Visa Electron Card, except when the Merchant is
located in a U.S. Territory and the Transaction is conducted with a Visa credit Card issued in the U.S.
or a U.S. Territory.

The minimum Transaction amount must not be greater than US $10 and must not be discriminatory
between Issuers or between Visa and another payment network.

ID#: 151011-210710-0026406



Maximum Transaction Amount - AP Region

Effective 21 July 2010, a Merchant in the AP Region must not establish a maximum Transaction
amount as a condition for honoring a Visa Card or Visa Electron Card, except when the Merchant is
located in a U.S. Territory and the Transaction is conducted with a Visa credit Card issued in the U.S.
or a U.S. Territory.

Only the following Merchants may establish a maximum Transaction amount for the Card type
specified above:

• An agency of the U.S. federal government
• A Merchant properly assigned one of the following Merchant Category Codes:
     – 8220, “Colleges, Universities, Professional Schools, and Junior Colleges”
     – 8244, “Business and Secretarial Schools”
     – 8249, “Trade and Vocational Schools”

Any maximum Transaction amount imposed must not be discriminatory between Issuers or between
Visa and another payment network.

ID#: 151011-210710-0026407




54    A variance to this requirement applies in the U.S. Region and U.S. Territories.

480                                                   VISA PUBLIC                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 518 of 1319
                                               PageID #: 3711
                                    Visa International Operating Regulations




Minimum Transaction Amount - LAC Region

Effective 21 July 2010, a Merchant in the LAC Region must not establish a minimum Transaction
amount as a condition for honoring a Visa Card or Visa Electron Card, except when the Merchant is
located in a U.S. Territory and the Transaction is conducted with a Visa credit Card issued in the U.S.
or a U.S. Territory.

The minimum Transaction amount must not be greater than US $10 and must not be discriminatory
between Issuers or between Visa and another payment network.

ID#: 151011-210710-0026408



Maximum Transaction Amount - LAC Region

Effective 21 July 2010, a Merchant in the LAC Region must not establish a maximum Transaction
amount as a condition for honoring a Visa Card or Visa Electron Card, except when the Merchant is
located in a U.S. Territory and the Transaction is conducted with a Visa credit Card issued in the U.S.
or a U.S. Territory.

Only the following Merchants may establish a maximum Transaction amount for the Card type
specified above:

• An agency of the U.S. federal government
• A Merchant properly assigned one of the following Merchant Category Codes:
  – 8220, “Colleges, Universities, Professional Schools, and Junior Colleges”
  – 8244, “Business and Secretarial Schools”
  – 8249, “Trade and Vocational Schools”

Any maximum Transaction amount imposed must not be discriminatory between Issuers or between
Visa and another payment network.

ID#: 151011-210710-0026409



Minimum Transaction Amount - U.S. Region

Effective 21 July 2010, a U.S. Merchant must not establish a minimum Transaction amount as a
condition for honoring a Visa Card or Visa Electron Card, except for a Transaction conducted with a
Visa credit Card issued in the U.S. or a U.S. Territory.

The minimum Transaction amount must not be greater than US $10 and must not be discriminatory
between Issuers or between Visa and another payment network.

ID#: 151011-210710-0026410




18 October 2011                                    VISA PUBLIC                                      481
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 519 of 1319
                                                   PageID #: 3712
                                    Visa International Operating Regulations




Maximum Transaction Amount - U.S. Region

Effective 21 July 2010, a U.S. Merchant must not establish a maximum Transaction amount as a
condition for honoring a Visa Card or Visa Electron Card, except for a Transaction conducted with a
Visa credit Card issued in the U.S. or a U.S. Territory.

Only the following Merchants may establish a maximum Transaction amount for the Card type
specified above:

• An agency of the U.S. federal government
• A Merchant properly assigned one of the following Merchant Category Codes:
  – 8220, “Colleges, Universities, Professional Schools, and Junior Colleges”
  – 8244, “Business and Secretarial Schools”
  – 8249, “Trade and Vocational Schools”

Any maximum Transaction amount imposed must not be discriminatory between Issuers or between
Visa and another payment network.

ID#: 151011-210710-0026411



Postcard with Account Data - U.S. Region 5.2.F

A U.S. Merchant must not require a Cardholder to complete a postcard or similar device that includes
the Cardholder's Account Number, Card expiration date, signature, or any other Card account data in
plain view when mailed.

ID#: 010410-010410-0006960



Surcharges 5.1.C

A Merchant must not add any surcharges to Transactions, unless local law expressly requires that a
Merchant be permitted to impose a surcharge. Any surcharge amount, if allowed, must be included in
the Transaction amount and not collected separately.

A variance applies in the U.S. Region for the Visa Tax Payment Program.

A variance applies in the AP Region for New Zealand under certain terms and conditions, as
communicated to Members in New Zealand. Further information is available from Visa.

A variance applies in the AP Region for government payments in Australia.


ID#: 111011-010410-0006948




482                                                VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 520 of 1319
                                               PageID #: 3713
                                    Visa International Operating Regulations




Surcharges and Taxes - U.S. Region 5.2.F

A U.S. Merchant must not:

• Add any surcharge to Transactions, except as specified for a Tax Payment Transaction. Travelers
  cheque and Foreign Currency fees and commissions are not surcharges.
• Add any tax to Transactions, unless applicable law expressly requires that a Merchant be permitted
  to impose a tax. Any tax amount, if allowed, must be included in the Transaction amount and not
  collected separately.

ID#: 010410-010410-0003019



Cardholder Right to Dispute a Transaction - U.S. Region

A U.S. Merchant must not require a Cardholder, as a condition for honoring a Visa Card or Visa
Electron Card, to sign a statement that waives the Cardholder's right to dispute the Transaction with
the Issuer.

ID#: 111011-010410-0026585



Previous Chargeback - U.S. Region 5.2.F

A U.S. Merchant must not enter into Interchange any Transaction Receipt for a Transaction that was
previously charged back to the Acquirer and subsequently returned to the Merchant, irrespective of
Cardholder approval. The Merchant may pursue payment from the customer outside the Visa system.

ID#: 010410-010410-0003022



Refinancing of Existing Debt - U.S. Region 5.2.F

A U.S. Merchant must not accept a Card to collect or refinance an existing debt that has been
deemed uncollectible by the Merchant providing the associated goods or services.

A U.S. Merchant must not accept a Visa Consumer Credit Card or Commercial Visa Product, issued
by a U.S. Issuer, to collect or refinance an existing debt.

ID#: 010410-010100-0003026



Other Prohibitions


Scrip Prohibition

A Visa or Visa Electron Card must not be used to purchase Scrip.




18 October 2011                                    VISA PUBLIC                                      483
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      Case: 4:13-cv-02226-JAR                    Doc. #: 85-5 Filed: 02/12/15                  Page: 521 of 1319
                                                    PageID #: 3714
                                    Visa International Operating Regulations



A variance to this requirement applies in the CEMEA Region.

ID#: 010410-010410-0008708



Merchant Funds Disbursement

A Merchant must not provide cash to Visa Cardholders:

• Except as specified in "Hotel or Cruise Line Cash Disbursement" [55] [56]

• Unless the Merchant is participating in Visa Cash-Back Services

ID#: 111011-010410-0006952



Visa Prepaid Card Cash Redemption

Effective 1 January 2011, a Visa Prepaid Card must not be redeemed for cash by a Merchant
accepting the Visa Prepaid Card.

ID#: 081010-010100-0025713



Visa Prepaid Card Cash Redemption - U.S. Region

Effective through 30 December 2010, in the U.S. Region, a Visa Prepaid Card must not be
redeemed for cash by a Merchant accepting the Visa Prepaid Card.

ID#: 081010-010410-0003109



Telephone Service Transactions - U.S. Region (Updated)

In the U.S. Region, a telephone service Merchant must not accept payment for a telephone call when
the Card number is either:

• Entered via touchtone key pad
• Provided to an operator

This prohibition excludes:

• Effective through 14 October 2011, Magnetic-Stripe Telephone Transactions
• Effective 15 October 2011, Telephone Service Transactions conducted at an Unattended
  Cardholder-Activated Terminal
• Transactions for which the Issuer has a contract with the carrier




55    A variance applies to the CEMEA Region for Members in South Africa.
56    A variance applies in the AP Region for Acquirers participating in Cash-Back Services.

484                                                  VISA PUBLIC                                    18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                   Page: 522 of 1319
                                               PageID #: 3715
                                    Visa International Operating Regulations


• Transactions involving telephone services that have been explicitly approved by Visa and provide
  appropriate risk controls
• Telephone orders for goods and services
• Transactions provided by Inbound Teleservices Merchants, as specified in the Visa Merchant Data
  Standards Manual

ID#: 111011-010410-0005338



Visa Electron Manual Cash Disbursement - U.S. Region

A U.S. Merchant must not accept a Visa Electron Card or Visa TravelMoney Card for a Manual Cash
Disbursement.

ID#: 010410-010410-0008709




Authorization Requirements

General Authorization Requirements


Transaction Date Authorization Requirement

A Merchant must obtain Authorization on the Transaction Date, excluding special conditions such
as Hotel, Car Rental Company, Cruise Line, Delayed Delivery, Mail/Phone Order, and Electronic
Commerce Transactions, as specified in the Visa International Operating Regulations.

ID#: 010410-010410-0003059



Prohibition Against Arbitrary or Estimated Amounts

The Merchant must not use an arbitrary or estimated amount to obtain Authorization, except as
specifically permitted in the Visa International Operating Regulations.

ID#: 111011-010410-0025596



Authorization Code on Transaction Receipt (Updated)
                                                                                 [57]
An Authorization Code must appear on the Transaction Receipt.

ID#: 151011-010410-0009046




57   Effective 14 April 2012, a variance to this requirement applies in the U.S. Region.

18 October 2011                                     VISA PUBLIC                                                485
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      Case: 4:13-cv-02226-JAR                    Doc. #: 85-5 Filed: 02/12/15                       Page: 523 of 1319
                                                    PageID #: 3716
                                    Visa International Operating Regulations




Merchant Authorization Requirements

A Merchant must request Authorization, regardless of the Transaction amount, if any of the following
is true:

• Cardholder presents an Expired Card
• Cardholder neglects to bring their Card
• Card signature panel is blank
• Merchant is suspicious of a proposed Transaction
• Cardholder presents a Visa Electron Card at a Visa Electron Merchant
• Transaction is an Electronic Commerce Transaction
• Transaction is a Mail/Phone Order Transaction
• Transaction is an In-Transit Service Transaction
• Transaction is a Recurring Transaction
• Transaction is a V PAY Transaction [58]

• Chip or Chip-Reading Device is inoperative at a Chip-enabled Merchant
• Card is unembossed and an Electronic Imprint is not obtained
• Effective 1 October 2010, Transaction is a Cash-Back Transaction
• Effective 15 October 2011, Transaction is the purchase of a Visa Prepaid Card conducted at an
  Unattended Cardholder-Activated Terminal

ID#: 111011-010410-0008901



Authorization Cancellation

An Acquirer or Merchant that obtains an Authorization for a Transaction and subsequently cancels
the Transaction (for any reason) must notify Visa or the Issuer of the cancellation.

ID#: 010410-010410-0005500



Airline Authorization

If practical, an Acquirer must provide Authorization services to an International Airline at the request
of Visa.

Authorization support provided to an International Airline must be available on a primary and backup
basis.

ID#: 010410-010410-0006134



58    Offline Authorization is allowed for Chip-initiated Transactions provided that the Transaction amount does not exceed the
      Merchant's Floor Limit.

486                                                  VISA PUBLIC                                             18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 524 of 1319
                                               PageID #: 3717
                                    Visa International Operating Regulations




Aggregated Transaction Authorization

For an Aggregated Transaction, an Electronic Commerce Merchant must obtain Authorization for the
full, final Aggregated Transaction amount.

ID#: 010410-010410-0003062



Visa Electron Authorization - LAC Region

A Visa Electron Acquirer in the LAC Region must comply with the Visa International Operating
Regulations with the following modifications:

• An Acquirer may, at its own risk, accept embossed Visa Electron Cards at Merchant terminals
  without Electronic Capability
• A Merchant must obtain an Authorization Code for these Transactions

ID#: 010410-010410-0005310



Transaction Date Authorization Requirement - U.S. Region 5.2.K

A U.S. Merchant must obtain Authorization on the Transaction Date unless the Merchant/Transaction
is one of the following:

• Lodging Merchant, Cruise Line Merchant, or a Car Rental Company Transaction
• Mail/Phone Order Merchant or an Electronic Commerce Transaction
• Automated Fuel Dispenser Transaction
• Aggregated Transaction

ID#: 010410-150210-0003579



Authorization Amount Requirements - U.S. Region

In the U.S. Region, an Authorization Request must be for the total amount of the Transaction.

A U.S. Merchant must not use an arbitrary or estimated amount to obtain Authorization, except as
specifically permitted in the Visa International Operating Regulations.

The Merchant must not add an estimated tip amount to the Authorization Request beyond the value
of the goods provided, or services rendered, plus any applicable tax.

ID#: 031209-150210-0008581




18 October 2011                                    VISA PUBLIC                                     487
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 525 of 1319
                                                   PageID #: 3718
                                    Visa International Operating Regulations




Preauthorized Payment Cancellation Service - Stop Payment Order - U.S. Region
4.2.H.15

Effective through 9 February 2011, a U.S. Acquirer that receives a Decline Response of "R0," "R1,"
or "R3" as a result of "stop payment order" in the Preauthorized Payment Cancellation Service must
provide the decline message description to the Merchant.

ID#: 050411-010410-0005567



Point-of-Sale Balance Inquiry Authorization - U.S. Region 4.2.H.15

A U.S. Merchant that participates in the Point-of-Sale Balance Inquiry Service may submit a second
Authorization Request for the lower available balance amount if the Cardholder agrees.

ID#: 010410-150210-0005566



Authorization Amount Allowance for Tip - U.S. Region 5.2.K

Except as specified otherwise in "Partial Authorization Service," an Authorization obtained by a U.S.
Merchant for a Transaction amount that is equal to the Authorization amount plus or minus 20%
is valid if the Transaction originates at a Merchant Outlet assigned one of the following Merchant
Category Codes:

• 5812, "Eating Places and Restaurants"
• 5814, "Fast Food Restaurants"
• 4121, "Taxicabs and Limousines"
• 5813, "Drinking Places (Bars and Taverns)"
• 7230, "Beauty and Barber Shops"
• 7298, "Health and Beauty Spas"

ID#: 010410-010410-0005655



Electron Transaction Authorization - U.S. Region

An Authorization Request for a Visa Electron Transaction in the U.S. Region must originate at an
ATM or Point-of-Transaction Terminal and include the entire unaltered contents of track 1 or track 2
of the Magnetic Stripe or Chip.

A Point-of-Transaction Terminal that does not have Online capability, regardless of whether the
terminal is Chip-enabled, must not display the Visa Electron Symbol or Visa Brand Mark with the
Electron Identifier.

ID#: 010410-010410-0006135




488                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15         Page: 526 of 1319
                                               PageID #: 3719
                                    Visa International Operating Regulations




Preauthorized Transaction Decline Response - U.S. Region (Updated)

Except as specified in "Preauthorized Payment Cancellation Service Declined Transaction
Procedures - U.S. Region," a Preauthorized Transaction in the U.S. Region that receives a Decline
Response may be resubmitted for Authorization up to 4 times within 16 calendar days from the date
of the original Decline Response, in an attempt to receive approval, if the Decline Response is one of
the following:

• Response Code 05, "Authorization declined"
• Response Code 51, "Insufficient funds"
• Response Code 61, "Exceeds approval amount limit"
• Response Code 65, "Exceeds withdrawal frequency limit"

If an Approval Response is not received within this time frame, the Merchant must not deposit the
Transaction.

ID#: 111011-010410-0006007



Visa Debit with PIN Transaction Resubmissions – U.S. Region (New)

Effective 14 April 2012, a Merchant or an Acquirer may resubmit a Visa Debit with PIN Transaction if
the Decline Response is one of the following:

• Response Code 51, “Insufficient Funds”
• Response Code 61, “Exceeds approval amount limit”
• Response Code 65, “Exceeds withdrawal frequency limit”

Transactions resubmitted:

• Must not contain a PIN
• Must not contain the full contents of the track or full Magnetic-Stripe Data
• May be submitted once each day for up to 9 calendar days after the original Transaction Date
• Must contain the same information as the original Authorization Request, except for the PIN and
  the full contents of the track or Magnetic-Stripe Data

ID#: 111011-140412-0026506



ATM Declines


Decline of an ATM Authorization Based on Expiration Date

An ATM Acquirer must not return or decline an ATM Transaction based on the expiration date and
must attempt to complete a Transaction with an Expired Card.


18 October 2011                                    VISA PUBLIC                                       489
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 527 of 1319
                                                   PageID #: 3720
                                    Visa International Operating Regulations



An ATM Authorization Request originating from an Expired Card must be sent Online to the Issuer for
an Authorization Response.

ID#: 010410-010410-0006005



Chip Card ATM Transactions - U.S. Region 5.5.A

In the U.S. Region, if a Chip Card cannot be read, an ATM may complete the Transaction by reading
the Magnetic Stripe. If the Magnetic Stripe cannot be read, the Transaction must not be completed.

ID#: 010410-010410-0004979



Cancelled ATM Transactions - U.S. Region 5.5.A

If an ATM in the U.S. Region has the ability to cancel a Transaction before it is completed, a Reversal
message must be sent to the Single Message System whenever:

• A Cardholder cancels the Transaction
• An ATM cannot dispense currency due to a system failure
• A delayed Authorization Response causes a timeout

ID#: 010410-010410-0004980



ATM Declines - U.S. Region 5.5.A

If an ATM can decline a Cardholder's request for a Cash Disbursement, the ATM Acquirer may only
use this function without Issuer permission.

ID#: 111011-010410-0004981



T&E Authorizations


Airline Authorization - Multiple Tickets

When a Cardholder purchases multiple Airline tickets on the same Account Number and their
cumulative purchase price exceeds the Floor Limit, the Airline may obtain Authorization for each
ticket individually.

ID#: 010410-010410-0003070




490                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 528 of 1319
                                               PageID #: 3721
                                    Visa International Operating Regulations




Cruise Line Authorization - Multiple Tickets

When a Cardholder purchases multiple Cruise Line tickets on the same Account Number and their
cumulative purchase price exceeds the Floor Limit, the Cruise Line may obtain Authorization for each
ticket individually.

ID#: 010410-010410-0003248



Car Rental Estimated Authorization Amount 5.1.E.4

A Car Rental Company may estimate Transaction amounts for Authorization based on:

• Cardholder's intended car rental period
• Rental rate
• Applicable tax
• Mileage rates
• Other allowed charges, as specified in "T&E Delayed or Amended Charges Time Limit"

The estimated Transaction amount must not include charges that cover potential vehicle damages or
the insurance deductible amount.

ID#: 010410-010410-0003066



Hotel Estimated Authorization Amount VIOR 5.1.E.4, VIOR 5.4.R.7, USOR 5.2.K.3

A Hotel may estimate Transaction amounts for Authorization based on:

• The Cardholder's intended length of stay at check-in time
• Room rate
• Applicable tax
• Service charge rates
• Other allowed charges, as specified in "T&E Delayed or Amended Charges Time Limit"

After completing the estimate, a U.S. Lodging Merchant must obtain an Authorization and include
the date, amount, and Authorization Code on the Transaction Receipt. (This only applies in the U.S.
Region.)

ID#: 010410-010410-0008965



Cruise Line Estimated Authorization Amount

For a Cruise Line Transaction, a Merchant may estimate Transaction amounts for Authorization
based on:


18 October 2011                                    VISA PUBLIC                                     491
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 529 of 1319
                                                   PageID #: 3722
                                    Visa International Operating Regulations


• The initial Authorization Request must be based on the Cardholder's signed statement of intent to
  purchase goods or services aboard ship for a Cardholder-specified amount.
• Additional Authorizations may be obtained at any time on or between the Cardholder's embarkation
  date and disembarkation date, and must be disclosed to the Cardholder.

ID#: 010410-010410-0003071



T&E Estimated Authorization Procedures VIOR 5.1.E.4, USOR 5.2.K.3

After completing an estimate for a Hotel or Car Rental Company Transaction, the Merchant must
either:

• If the estimated Transaction amount is equal to or below the Floor Limit, check the appropriate
  Card Recovery Bulletin or obtain an Account Number Verification on the Cardholder's check-in or
  rental pick-up date
• If the estimated Transaction exceeds the Floor Limit, obtain an Authorization and include the date,
  amount, and Authorization Code on the Transaction Receipt

In the U.S. Region, the Merchant may obtain an Authorization for a new estimated Transaction
amount and must include the date, amount, and Authorization Code on the Transaction Receipt if the
Merchant subsequently estimates that, based on the Cardholder's actual charges, the Transaction
amount will exceed the previously authorized amount. (This only applies in the U.S. Region.)

ID#: 111011-010410-0008966



T&E Incremental Authorizations 5.1.E.4

A Hotel or Car Rental Company may obtain and must record Authorizations for additional amounts
above any amount already authorized after the check-in or rental pick-up date and before the check-
out or rental return date.

ID#: 031209-150210-0003068



T&E Final Authorization VIOR 5.1.E.4, USOR 5.2.K.3

A Merchant must obtain a final or an additional Authorization and include the date, amount, and
Authorization Code on the Transaction Receipt if the actual Transaction amount exceeds either the
Floor Limit or 15% more than the sum of the authorized amounts.

A final or an additional Authorization must be obtained and the date, amount, and Authorization Code
must be included on the Transaction Receipt if the actual Transaction amount exceeds either the
Floor Limit or 15% more than the sum of the authorized amounts.

ID#: 010410-010410-0008967




492                                                VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15         Page: 530 of 1319
                                               PageID #: 3723
                                    Visa International Operating Regulations




Car Rental Authorization Amount Disclosure - U.S. Region 5.2.K

If Authorization is obtained for the estimated amount of a car rental Transaction, a U.S. Merchant
must disclose the authorized amount to the Cardholder on the rental date.

ID#: 010410-010410-0005644



T&E Partial Authorizations - U.S. Region 5.2.K

In the U.S. Region, the special Authorization procedures for Lodging Merchants, Cruise Line
Merchants, and Car Rental Companies specified in the Visa International Operating Regulations do
not apply if the last Authorization obtained was a Partial Authorization.

ID#: 010410-010410-0005647



Floor Limits


Default Floor Limits

For countries where the Floor Limit is shown in US dollars in "Maximum Authorized Floor Limits," a
Transaction is considered to have exceeded the Floor Limit if the local currency equivalent value of
the Transaction is greater than the equivalent value of the Floor Limit shown.

ID#: 010410-010410-0002858



Domestic Floor Limits

An Acquirer may establish a higher domestic Floor Limit than the international Floor Limit at its own
risk.

If the Acquirer sets a lower domestic Floor Limit than the international Floor Limit, the Acquirer must
authorize all Transactions at that Floor Limit.

ID#: 010410-010410-0006029



Domestic Non-Chip Floor Limits in Australia – AP Region

 The following non-Chip Floor Limits apply to Domestic Transactions in Australia:


Domestic Non-Chip Floor Limits in Australia

    Category                                                     Maximum Limit

    Petrol Stations (Paper-based or electronic fallback          AUD 49
    only)



18 October 2011                                    VISA PUBLIC                                        493
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 531 of 1319
                                                   PageID #: 3724
                                    Visa International Operating Regulations


      Category                                                   Maximum Limit

      All Merchants with electronic terminals                    Zero

      Fallback (Where terminal is inoperable – i.e. terminal     AUD 75
      faulty or cannot communicate with the Acquirer host)

ID#: 050411-060111-0026162



Manual Cash Disbursement Floor Limit

The Floor Limit for a Manual Cash Disbursement is zero.

ID#: 010410-010410-0005305



Below-Floor Limit Transactions

A Merchant must check the appropriate Card Recovery Bulletin (CRB) for each Transaction below the
Floor Limit. If the Account Number appears on the bulletin, the Merchant should attempt to recover
the Card.

This requirement does not apply to Merchants in the U.S. Region.

ID#: 010410-010410-0003010



Transactions Above the Floor Limit

A Merchant must:

• Request Authorization before completing a Transaction if the amount exceeds the Floor Limit,
  unless Visa grants a variance in writing
• Not split a sale to avoid obtaining Authorization
• For a Real-Time Clearing Transaction, send a preauthorization request through the Single
  Message System for an estimated amount (not to exceed US $500) that is based on the
  Merchant's good-faith estimate of the final Transaction amount, taking into account, among other
  factors, typical spending patterns at the Merchant location

The provision related to Real-Time Clearing is not applicable to Transactions involving Issuers or
Acquirers in the jurisdiction of Visa Europe.

ID#: 010410-010410-0003058



Zero Floor Limit - U.S. Region 5.2.K (Updated)

Effective through 14 October 2011, a U.S. Merchant must request Authorization for every
Transaction, unless specified otherwise, before completing the Transaction, unless the Transaction
occurs at a Limited Amount Terminal.



494                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 532 of 1319
                                               PageID #: 3725
                                    Visa International Operating Regulations



Effective 15 October 2011, a U.S. Merchant must request Authorization for every Transaction,
unless specified otherwise, before completing the Transaction.

ID#: 111011-010410-0004124



Chargeback Protection Limit for Prestigious Property Merchant - U.S. Region

In the U.S. Region, the Chargeback Protection Limit for a Prestigious Property Merchant that uses
the Status Check procedure is US $1500. Visa determines the qualification of a Prestigious Property
Merchant on a case-by-case basis.

ID#: 010410-010410-0005568



Partial Authorization


Automated Fuel Dispenser Partial Authorization Requirements (Updated)

If participating in the Partial Authorization service, an Automated Fuel Dispenser Merchant must:

• Include the Partial Authorization indicator in the Authorization Request or Status Check
  Authorization, as specified in the VisaNet manuals and the applicable Prepaid Program Guidelines
• For Transactions where the full Transaction amount is included in the Authorization Request,
  submit a Clearing Transaction for no more than the amount approved in the Partial Authorization
  Response
• For Status Check Authorization Transactions, submit a Clearing Transaction up to the amount
  approved in the Partial Authorization Response or one of the following, whichever is lower:
     – For a Chip or PIN-verified Transaction, US $100, or local currency equivalent
     – For all other Transactions, US $75, [59] or local currency equivalent

• Submit an Authorization Reversal for either:
     – The difference between the amount approved in the Partial Authorization Response and the final
       Transaction amount if the Cardholder's purchase is lower than the Partial Authorization amount
     – The full amount of the Partial Authorization Response if the Cardholder does not continue with
       the Transaction

ID#: 111011-010410-0002520



Partial Authorization Requirements - U.S. Region 5.2.K

Except as specified in "Automated Fuel Dispenser Partial Authorization Requirements - U.S.
Region," a U.S. Merchant accepting Partial Authorizations must support them for all Visa Card types
and must:



59    A variance to this requirement applies in the U.S. Region.

18 October 2011                                      VISA PUBLIC                                    495
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 533 of 1319
                                                   PageID #: 3726
                                    Visa International Operating Regulations


• Include the Partial Authorization indicator in the Authorization Request message, as specified in the
  VisaNet manuals
• Submit an Authorization Reversal if the Cardholder elects not to complete the purchase
• Submit a Clearing Transaction for no more than the amount approved in the Partial Authorization
  Response

ID#: 050411-010410-0006058



Authorization Reversals


Authorization Reversal Requirements

A Merchant must submit an Authorization Reversal:

• If the Cardholder elects not to complete the Transaction
• If the Authorization Request was submitted in error
• For the difference if the final Transaction amount is less than the Authorization amount

A Merchant must submit an Authorization Reversal within:

• 24 hours of the original Authorization if the Transaction was initiated in a Card-Present
  Environment
• 72 hours of the original Authorization if the Transaction was initiated in a Card-Absent Environment
• 24 hours of the check-out, rental return, or disembarkation date if the Transaction was initiated by a
  Hotel, Car Rental Company, or Cruise Line

ID#: 111011-010410-0025597



Transaction Receipt Deposit Subsequent to an Authorization Reversal

A Merchant must not deposit a Transaction Receipt for either:

• A Transaction that was subsequently reversed for the full amount
• A Transaction representing the amount of the partial Authorization Reversal

ID#: 111011-010410-0025598



Authorization Reversals - U.S. Region

In the U.S. Region, an Authorization Reversal negates any previous Authorization, or portion of any
previous Authorization, that was obtained for the Transaction.

ID#: 050411-010100-0007200




496                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                Page: 534 of 1319
                                               PageID #: 3727
                                    Visa International Operating Regulations




Authorization Reversal Requirements - U.S. Region

A U.S. Merchant must submit an Authorization Reversal if:

• The Cardholder elects not to complete the Transaction
• The Authorization Request was submitted in error
• The final Transaction amount is less than the Authorization amount

ID#: 081010-010709-0007202




Card and Cardholder Verification

Validation and Verification Requirements


Validation of Cardholder Identity 5.1.D.1.a (Updated)

An Acquirer or a Merchant must validate a Cardholder's identity and verify the Card in a Face-to-Face
Environment, as specified in the table below.


                                              Identification Verification

                               Description                               Retail          Manual      Quasi-Cash
                                                                      Transaction         Cash       Transaction
                                                                                                                 1

                                                                                      Disbursement

    Cardholder Verification

    Review positive identification to validate the Cardholder's                            X             X
                                                                                                             10

    identity

    Verify that the Cardholder resembles the person                                        X
                                                                                            2
                                                                                                         X
                                                                                                          2,10

    described or depicted in any photograph intended for
    identification on the Card

    Indicate the positive identification on the Transaction
    Receipt, including either:                                                              3             3,10
                                                                                           X             X
    • Description of identification, including any serial                                      2          2,10
      number                                                                               X             X

    • Notation that the Cardholder's identity was verified
      by the photograph on the Card (e.g., "photo card
      presented")

    Verify that the signature on the Card matches the                      X
                                                                               4, 8        X              X
                                                                                                             2

    signature on the Transaction Receipt and, if applicable,
    identification presented. This signature may be different
                                                     4, 5, 6, 7, 8
    from the name embossed or printed on the Card.




18 October 2011                                    VISA PUBLIC                                                    497
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15                 Page: 535 of 1319
                                                   PageID #: 3728
                                    Visa International Operating Regulations


                               Description                               Retail         Manual      Quasi-Cash
                                                                      Transaction        Cash       Transaction
                                                                                                                1

                                                                                     Disbursement

      Process the PIN, if applicable                                           X
                                                                                9            X            X

      Card Verification

      Check one or more Card security features, as specified                   X
      in the Visa International Operating Regulations or the
      Merchant Agreement, if applicable

      Check one or more Card security features before                                                     X
      completing the Transaction

      For a Visa Card or Visa Electron Card, a Merchant must:
      • Check one or more Card security features before
        completing the Transaction                                                           X            X
      • Compare the first 4 digits of the Account Number (if                                 X            X
        present) to the 4 digits printed below the Account                                   X            X
        Number
      • Record the printed 4 digits on the front of the
        Transaction Receipt

      1.   Applies only in a Card-Present Environment.
      2.   If a Card bears a photograph intended for identification
      3.   If a Card does not bear a photograph intended for identification
      4.   Does not apply to anonymous Visa Prepaid Card Transactions, Visa Commercial Card Transactions,
           Transactions conducted in New Channels, and effective 16 October 2010, Visa Easy Payment
           Service (VEPS) Transactions. Visa may require Cardholder Verification for Visa Easy Payment Service
           Transactions at a Merchant that exceeds acceptable Fraud Activity thresholds and may impose fines
           on an Acquirer for its Merchant's failure to comply.
      5.   Except for a Vehicle-Specific Fleet Card
      6.   Applies only to a Transaction where a Card with a signature panel was presented for payment
      7.   Signature verification is not required for a Transaction in which a PIN is used
      8.   Effective through 15 October 2010, in the U.S. Region, this requirement does not apply to Small
           Ticket Transactions, Transactions US $25 and under completed at a Point-of-Transaction Terminal
           with Proximity Payment (Contactless Payment) capability, and any Transactions completed with a
           Visa Micro Tag. Effective 16 October 2010, in the U.S. Region, this requirement does not apply to
           Transactions completed with a Visa Micro Tag.
      9.   Effective 16 October 2010, in the AP, LAC, and U.S. Regions, PIN is not required for Visa Easy
           Payment Service Transactions unless Visa specifically requires a Merchant to obtain Cardholder
           Verification for Visa Easy Payment Transactions when the Merchant exceeds acceptable levels of
           Fraud Activity.
      10. Effective 14 April 2012, a variance to this requirement applies in the U.S. Region.

ID#: 151011-150210-0008769




498                                                VISA PUBLIC                                    18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                     Page: 536 of 1319
                                               PageID #: 3729
                                    Visa International Operating Regulations




Uncertain Cardholder or Card Verification

If Cardholder identification or a Card's validity is uncertain, a Merchant must contact its Acquirer for
instruction. If the Acquirer instructs the Merchant to recover the Card, the Merchant must comply with
the Card recovery procedures specified in the Visa International Operating Regulations.

ID#: 010410-010410-0002834



Missing Imprint or Expired Card

A Merchant must verify a Cardholder's identity if either a:

• Card cannot be imprinted on a Transaction Receipt
• Cardholder presents an Expired Card

Effective 16 October 2010, this requirement does not apply to Visa Easy Payment Service
              [60]
Transactions.

In the U.S. Region, this requirement does not apply to:

• Transactions originating at Magnetic-Stripe Terminals that provide Transaction Receipts
• Effective through 14 October 2011, Limited-Amount Terminal Transactions
• Effective through 15 October 2010, Transactions under US $25 completed at a Point-of-
  Transaction Terminal with Contactless Payment capability
• Transactions completed with a Visa Micro Tag
• Effective through 15 October 2010, Small Ticket Transactions
• Effective through 15 October 2010, No Signature Required Transactions
• Effective 15 October 2011, Transactions completed as specified in "CVV2 Submission in a Face-
  to-Face Environment - U.S. Region"

A U.S. Airline is deemed to have verified the Cardholder's identity if the address to which the ticket is
mailed (indicated on the Issuer's file) matches that on the Address Verification Service file. (This only
applies in the U.S. Region.)

ID#: 111011-010410-0008594



Cardholder Signature Requirements

Effective 15 February 2011, when an Issuer issues or reissues a Card, the Issuer must:

• Advise the Cardholder to immediately sign the signature panel on the Card


60   Effective 16 October 2010, Visa may require Cardholder Verification for a Visa Easy Payment Service Transaction at
     a Merchant that exceeds acceptable Fraud Activity thresholds. Visa may impose fines on an Acquirer for its Merchant’s
     failure to comply.

18 October 2011                                    VISA PUBLIC                                                           499
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15         Page: 537 of 1319
                                                   PageID #: 3730
                                    Visa International Operating Regulations


• Indicate that the Card must be signed in order to be valid

ID#: 050411-150211-0025977



Merchant Use of Account Number Verification

A Merchant may use Account Number Verification to request verification of the Card Account
Number, address (where available), or Card Verification Value 2, as specified in the VisaNet
Manuals.

ID#: 111011-010410-0025595



Cardholder Identification and Card Verification Table - U.S. Region 5.2.J.1.a (Updated)

A U.S. Member or Merchant must validate a Cardholder's identity and verify the Card in a Face-To-
Face Environment, as specified in the following table.


                                       Identification Validation - U.S. Region

            Description                  Retail and T&E               Manual Cash       Quasi-Cash
                                          Transactions               Disbursements     Transactions
                                                                                                   1



      Review positive                                                          X             X
      identification (such as
      an unexpired passport
      or driver's license) to
      validate the Cardholder's
      identity

       Indicate the positive                                                   X
                                                                                3            X
      identification on the
                             2
      Transaction Receipt,
      including:
      • Description of
        the identification,
        including any
        serial number and
        expiration date
      • Cardholder name
        (if different than the
        embossed or printed
        name) and address




500                                                VISA PUBLIC                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15             Page: 538 of 1319
                                               PageID #: 3731
                                    Visa International Operating Regulations


           Description                   Retail and T&E               Manual Cash          Quasi-Cash
                                          Transactions               Disbursements        Transactions
                                                                                                      1


                    3,4
    Verify that the :                            X                             X               X

    • Signature on the Visa
      Card or Visa Electron
      Card matches the
      signature on the
      Transaction Receipt
      and identification
      presented. This
      signature may be
      different from the
      name embossed or
      printed on the Card.
    • Cardholder
      resembles the
      person described
      or depicted in any
      photograph intended
      for identification on
      the Visa Card or Visa
      Electron Card

    Compare the first 4                                                        X               X
    digits of the embossed
    or printed Account
    Number to the 4 digits
    printed above or below
    the Account Number

    Record the printed 4                                                       X               X
    digits on the Transaction
    Receipt. Either:
    • Write the digits in
      the space provided
      on the Transaction
      Receipt
    • Key enter and
      electronically print
      the digits on the
      Cash Disbursement
      Transaction Record
      in the designated
      space, if using a
      Point-of-Transaction
      Terminal capable of
      printing key-entered
      numbers
    If the numbers do
    not match, attempt to
    recover the Visa Card or
    Visa Electron Card.




18 October 2011                                      VISA PUBLIC                                          501
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15                   Page: 539 of 1319
                                                   PageID #: 3732
                                    Visa International Operating Regulations


            Description                   Retail and T&E                Manual Cash                Quasi-Cash
                                           Transactions                Disbursements              Transactions
                                                                                                              1



      When using an                              X                             X                         X
      Account-Number-
      Verifying Terminal, if the
      embossed or printed
      Account Number does
      not match the encoded
      Account Number:
      • Decline the
        Transaction and
        attempt to recover
        the Card by
        reasonable and
        peaceful means
      • Note the physical
        description of the
        Cardholder

      1.   Effective 14 April 2012, not applicable to Visa Debit with PIN Transactions.
      2.   Unless a violation of applicable law.
      3.   Effective through 15 October 2010, this requirement does not apply to Vehicle-Specific Fleet Card
           Transactions, U.S. Small Ticket Transactions, or No Signature Required Transactions. Effective 16
           October 2010, this requirement does not apply to Vehicle-Specific Fleet Card Transactions or Visa
           Easy Payment Service Transactions. Visa may require Cardholder Verification for Visa Easy Payment
           Service Transactions at a Merchant that exceeds acceptable Fraud Activity thresholds and may impose
           fines on an Acquirer for its Merchant’s failure to comply.
      4.   Effective through 16 April 2010, this requirement does not apply to Transactions under US $25
           completed at a Point-of-Transaction Terminal with Contactless Payment capability, or any Transactions
           completed with a Visa Micro Tag. Effective 17 April 2010 through 15 October 2010, this requirement
           does not apply to Transactions less than or equal to US $25 completed at a Point-of-Transaction
           Terminal with Contactless Payment capability or Transactions of any value completed with a Visa
           Micro Tag. Effective 16 October 2010, this requirement does not apply to Transactions of any value
           completed with a Visa Micro Tag.

ID#: 111011-150210-0002836



"Valid From" Date - U.S. Region

A U.S. Merchant must not accept a Card before the embossed or printed "valid from" date. When
a Card is embossed or printed with a "valid from" date, the Card is considered valid on the date
specified in the table below.


                                       Card "Valid From" Dates - U.S. Region

                   "Valid From" Date Format                                           Validity Date

                             Month/year                            First day of the embossed or printed month and year




502                                                  VISA PUBLIC                                      18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15               Page: 540 of 1319
                                               PageID #: 3733
                                    Visa International Operating Regulations


                          Month/day/year                         Embossed or printed date

ID#: 010410-010410-0002830



Card Security Features - U.S. Region

A U.S. Merchant must examine one or more Visa Card or Visa Electron Card security features before
completing a Transaction if either:

• Required by its Acquirer
• Requested by Visa of the Merchant's Acquirer

ID#: 010410-010410-0002877



Supplemental Identification - U.S. Region

A U.S. Acquirer must not, as a regular practice, require a Merchant, and a Merchant must not require
a Cardholder, to provide any supplementary Cardholder information as a condition for honoring a
Visa Card or Visa Electron Card, unless it is required or permitted elsewhere in the U.S. Regional
Operating Regulations. Such supplementary Cardholder information includes, but is not limited to:

• Social Security Number (or any part thereof)
• Fingerprint
• Home or business address or telephone number
• Driver's license number
• Photocopy of a driver's license
• Photocopy of the Visa Card or Visa Electron Card
• Other credit cards

ID#: 010410-010410-0002837



Authorization in Lieu of Cardholder Identification - U.S. Region

In the U.S. Region, the fact that a Merchant has obtained Authorization for the Transaction does not
eliminate the Merchant's requirement to complete Cardholder identification procedures.

ID#: 010410-010410-0002841



Cardholder Verification - Blank Signature Panel - U.S. Region

In the U.S. Region, if the signature panel on a Card is blank, in addition to requesting an
Authorization, a Merchant must:

• Review positive identification bearing the Cardholder's signature (such as an unexpired passport or
  driver's license) to validate the Cardholder's identity


18 October 2011                                    VISA PUBLIC                                             503
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 541 of 1319
                                                   PageID #: 3734
                                    Visa International Operating Regulations


• Indicate the positive identification, including any serial number and expiration date, on the
  Transaction Receipt
• Require the Cardholder to sign the signature panel of the Card before completing the Transaction

Visa considers a signature panel with the words "See I.D." or equivalent language to be blank.

The requirements of this section do not apply to Transactions resulting from the use of a Vehicle-
Specific Fleet Card.

ID#: 010410-010410-0008592



Address Verification Service


Address Verification Service - ZIP Code Inquiry - U.S. Region

A U.S. Merchant may perform Address Verification Service (ZIP code inquiry only) in a Face-To-Face
Environment if:

• The Merchant has been certified as a Cardholder Information Security Program Level 1-compliant
  Merchant
• The Merchant has maintained a face-to-face fraud-related Chargeback rate below 0.02%. The
  face-to-face fraud-related Chargeback rate is the number of Chargeback Reason Code 81, "Fraud-
  Card Present Environment" Chargebacks received as a percentage of all face-to-face Transaction
  Receipts processed.
• The Acquirer has received written certification from Visa approving the use of Address Verification
  Service by its Merchant

A Merchant that chooses to perform Address Verification Service, as specified above, must not
require the Cardholder's ZIP code as a condition of honoring the Card.

ID#: 050411-010410-0008596



PIN Verification


PIN in Lieu of Signature

A Merchant that uses a Point of Transaction Terminal with Electronic Capability may accept a
Cardholder's PIN rather than a signature. The PIN must be processed as specified in the:

• PIN Management Requirements Documents - Payment Card Industry PIN Security Requirements
  Manual
• EMV Integrated Circuit Card Specifications for Payment Systems
• Transaction Acceptance Device Requirements
• In the U.S. Region, PIN Management Requirements Documents (This only applies in the U.S.
  Region.)

504                                                VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 542 of 1319
                                               PageID #: 3735
                                    Visa International Operating Regulations



The Merchant must not ask Cardholders to reveal their PINs.

ID#: 081010-010410-0008977



Visa Debit with PIN Transaction Processing Requirements – U.S. Region (New)

Effective 14 April 2012, in the U.S. Region, a Visa Debit with PIN Transaction must be processed
by:

• Reading the full contents of track 1 or track 2 of the Magnetic Stripe
• The Cardholder keying in their PIN at the PIN pad located at, or in proximity to, the Point-of-
  Transaction Terminal

ID#: 111011-140412-0026507




Transaction Receipts

Transaction Receipt General Requirements


Transaction Receipt Requirements

A Transaction Receipt may be generated electronically or manually. Detailed requirements for each
type of Transaction Receipt, including printing and data requirements, are specified in:

• "ATM Transaction Receipt Requirements Table 7I-2"
• "ATM Transaction Receipt Requirements - U.S. Region Table S-3"
• "Data Requirements: Cardholder-Activated Terminal Transaction Receipt (Types A, B and C) Table
  7I-4"
• "Data Requirements: Cardholder-Activated Terminal Transaction Receipt - U.S. Region Tables
  S-4, S-5 and S-6"
• "Data Requirements: Visa Easy Payment Service Transaction Receipt Table 7I-3"
• "Electronic and Manual Transaction Receipts - General - U.S. Region Exhibit S"
• "Electronic Commerce Transaction Receipt Requirements 5.2.B.4 Table 7K-1"
• "Electronic Commerce Transaction Receipt Data Requirements - U.S. Region"
• "Face-to-Face Electronic Purchase or Credit Transaction Receipt Data Requirements Table 7I-1"
• "Hotel Guest Folio - Data Requirements Table 7J-3"
• "Manual Cash Disbursement Transaction Receipt - Data Requirements VIOR Table 7J-4 USOR
  Table S-9"
• "Manual Credit Transaction Receipt - Data Requirements Table 7J-5"
• "Manual Transaction Receipt - Data Requirements VIOR Table 7J-1 USOR Table S-7"


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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 543 of 1319
                                                   PageID #: 3736
                                    Visa International Operating Regulations


• "Manual Transaction Receipt - Hotels Table 7J-2"
• "Manual Transaction Receipt - Lodging and Cruise Line Merchants - U.S. Region Table S-1"
• "Point-of-Transaction Terminal Transaction Receipt - U.S. Region Table S-1"
• "Transaction Receipt - Formset Requirements - U.S. Region Exhibit S"
• "Transaction Receipt - Fraud Deterrent Requirements - U.S. Region Exhibit S"
• "Transaction Receipt - Prohibitions - U.S. Region Exhibit S"

On Transaction Receipts used in Japan, space for the Cardholder signature is not required on the
Merchant or Cardholder copy. Space for the Cardholder signature must be provided on the Acquirer
copy.

Effective through 30 September 2014, Visa strongly recommends disguising or suppressing all but
the last 4 positions of the primary Account Number on the Cardholder Transaction Receipt from a
Point-of-Transaction Terminal.

Effective for Point-of-Transaction Terminals installed on or after 1 October 2011, the Account
Number must be disguised or suppressed on the Cardholder's copy of the Transaction Receipt,
except for the final 4 digits.

Effective 1 October 2014, the Account Number must be disguised or suppressed on the
Cardholder's copy of the Transaction Receipt, except for the final 4 digits.

ID#: 080411-010410-0003641



Transaction Receipt Description and Currency Requirements

A Merchant must enter the following information on the Transaction Receipt:

• Brief description of the goods or services sold
• Currency symbol (such as US $) or words denoting the Transaction Currency as part of the
  Transaction amount

Without a currency symbol or identification, the Transaction Currency defaults to the local currency of
the Transaction Country.

If the Transaction takes place at a U.S. embassy or consulate on foreign territory, the currency used
to complete the Transaction must be disclosed on the Transaction Receipt. (This only applies in the
U.S. Region.)

ID#: 010410-010410-0008604



Cardholder Signature for Unknown Amount - VIOR 5.2.A.3, USOR 5.2.M.2

A Merchant must not require a Cardholder to sign a Transaction Receipt until the final Transaction
amount is entered on the Transaction Receipt.

ID#: 010410-010410-0003120



506                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 544 of 1319
                                               PageID #: 3737
                                    Visa International Operating Regulations




Multiple Transaction Receipts and Partial Payment

A Merchant must include on a single Transaction Receipt the total currency amount of goods
and services purchased at the same time. A Transaction must not be divided by using 2 or more
Transaction Receipts. The only exceptions are:

• Purchases in separate departments of a multiple-department store
• Individual Airline tickets issued to each passenger, if required by Airline policy
• Individual Cruise Line tickets issued to each passenger, if required by Cruise Line policy
• Partial amount paid by the Cardholder in cash, check, or both at the time of the sale
• Delayed Delivery Transactions
• Advance Deposit Transactions
• Installment Transactions

In the U.S. Region, additional exceptions are individual passenger railway tickets issued to each
passenger, if required by carrier policy. (This only applies in the U.S. Region.)

ID#: 010410-010410-0008603



Multiple Transaction Receipts for Authorizations - U.S. Region 5.2.K.1.f

A U.S. Merchant must not use multiple Transaction Receipts to avoid making an Authorization
Request for a single Transaction.

ID#: 010410-010410-0004127



Manual Transaction Receipts - U.S. Region (Updated)

Effective through 14 October 2011, if the encoded Account Number on a Visa Card cannot be read
from the Magnetic Stripe, a U.S. Merchant must follow normal Authorization procedures and complete
the Transaction using a Manual Imprinter, unless the Merchant qualifies to use the Card Verification
Value 2 result code as a substitute for a Manual Imprint.

ID#: 111011-010410-0005121



Manual Imprinter Merchant Plate - U.S. Region

A U.S. Merchant must notify its Acquirer when it changes the information on the Manual Imprinter's
Merchant plate.

ID#: 010410-010410-0005128




18 October 2011                                    VISA PUBLIC                                       507
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      Case: 4:13-cv-02226-JAR                    Doc. #: 85-5 Filed: 02/12/15                Page: 545 of 1319
                                                    PageID #: 3738
                                     Visa International Operating Regulations




Transaction Receipt Data Requirements


Transaction Receipt Legend

The Cardholder copy of a Transaction Receipt must bear the legend "Retain this copy for statement
verification" or similar wording. At a minimum, this legend must appear in the language of the
Transaction Country. The legend may also appear in another language.

ID#: 010410-010410-0005290



Manually Imprinted Transaction Receipts

On manually imprinted Transaction Receipts, a Merchant must:

• Include the Cardholder name if one is printed or embossed on the Card
• If the imprinted information is not legible, reproduce it clearly

ID#: 010410-010410-0004121



Transaction Receipt Information Requirements - U.S. Region

In the U.S. Region, the Transaction Receipt must include:

• Transaction Date
• Brief description of the goods or services sold, returned, or cancelled
• Price of the goods or services, including applicable taxes, or amount of adjustment or credit
• Imprint of the embossed legends from the Card and Merchant plate. If the legends cannot
  be imprinted, or if the Magnetic Stripe or Chip is read, the Merchant must include at least the
  Cardholder name or generic consumer identifier (if one is printed or embossed on the Card)
  Account Number, Merchant name, and place of business.

ID#: 010410-010410-0005122



Transaction Receipt Signature Line Notations - U.S. Region

A U.S. Merchant must write the following letters or words on the signature line of the Transaction
Receipt, if applicable:


                                    Transaction Receipt Completion - U.S. Region

                        Transaction Type                                        Signature Line Printing

      Telephone Order                                             TO

      Mail Order                                                  MO


508                                                 VISA PUBLIC                                     18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                Page: 546 of 1319
                                               PageID #: 3739
                                    Visa International Operating Regulations


                        Transaction Type                                       Signature Line Printing

    No Show                                                      NO SHOW

    T&E Advance Deposit                                          ADVANCE DEPOSIT

    Priority Check-out                                           PRIORITY CHECK-OUT

    Recurring                                                    RECURRING TRANSACTION

    Advance Payment Service                                      ADVANCE PAYMENT

ID#: 111011-150210-0005129



Electronic Commerce Transaction Receipt Data Requirements - U.S. Region

In addition to the requirements specified in "Electronic and Manual Transaction Receipts - General -
U.S. Region Exhibit S" and "Electronic Commerce Transaction Receipt Requirements 5.2.B.4 Table
7K-1," a Transaction Receipt completed for an Electronic Commerce Transaction in the U.S. Region
must include:

• Merchant name most recognizable to the Cardholder, such as:
  – Merchant "doing business as" name (DBA)
  – Merchant universal resource locator (URL)
  – Merchant name used in the Clearing Record
• Customer service contact, including telephone number. If a Merchant delivers goods or services
  internationally, both local and internationally accessible telephone numbers must be included.
• Terms and conditions of sale, if restricted
• Exact date free trial period ends, if offered
• Cancellation policies

Transaction payment type (i.e., "Visa") and the payment brand used to complete the Transaction
must be identified on the Cardholder's copy of the Transaction Receipt.

ID#: 111011-010410-0005148



Internet Payment Service Provider Name on Transaction Receipt - U.S. Region
(Updated)

Effective through 30 June 2011, for a Transaction Receipt completed by an Internet Payment
Service Provider (IPSP) in the U.S. Region, if a Cardholder accesses a Sponsored Merchant's
Website and is then linked to the IPSP Website for payment, the IPSP's name must appear on the
Transaction Receipt in conjunction with the Sponsored Merchant's name.

The IPSP's name may appear alone on the Transaction Receipt if the:

• Cardholder accesses the IPSP's Website directly



18 October 2011                                    VISA PUBLIC                                              509
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15                   Page: 547 of 1319
                                                   PageID #: 3740
                                    Visa International Operating Regulations


• IPSP's name is visible to the Cardholder during the selection, order, and payment processing
  services

If the IPSP's name appears alone on the Transaction Receipt, Visa may require that the Sponsored
Merchant's name be included on the Transaction Receipt if the IPSP or its Sponsored Merchants
cause undue economic hardship to the Visa system, including, but not limited to:

• Qualifying for the Global Merchant Chargeback Monitoring Program or the Merchant Chargeback
  Monitoring Program
• Generating excessive Copy Requests

ID#: 111011-010410-0006125



High-Risk Internet Payment Service Provider Transaction Receipt - U.S. Region

For a Transaction Receipt completed by a High-Risk Internet Payment Service Provider (IPSP) in the
U.S. Region, the High-Risk IPSP's name must appear in conjunction with the High-Risk Sponsored
Merchant's name, as specified in "VisaNet Clearing Message Content Standards" (Exhibit NN).

The payment provider information specified below must be included either:

• On the Web site checkout screen used to present the total purchase amount
• Within the sequence of pages the Cardholder accesses during the checkout process

[High-Risk Internet Payment Service Provider name] is a designated payment processor for [High-
Risk Sponsored Merchant name]. [High-Risk Internet Payment Service Provider name*Sponsored
Merchant name] will appear on your Cardholder statement.

ID#: 010410-010410-0005843



Electronic and Manual Transaction Receipts


Transaction Receipt - Formset Requirements - U.S. Region Exhibit S

In the U.S. Region, each Transaction Receipt formset must contain, at a minimum, a Member copy
and a Cardholder copy. The Merchant or Member copy must bear the Cardholder’s original signature.

Formset ink colors must comply with the following table:


                                                  Formset Ink Colors

      Description                                                              Ink Color

      Transaction Receipt                                                      Dark blue or black

      Cash Disbursement Transaction Receipt                                    Dark green or black

      Credit Transaction Receipt                                               Red ink of legible density



510                                                VISA PUBLIC                                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 548 of 1319
                                               PageID #: 3741
                                    Visa International Operating Regulations



Each formset must bear a sequential number consisting of at least five digits.

ID#: 050411-220311-0026204



Transaction Receipt - Fraud Deterrent Requirements - U.S. Region Exhibit S

In the U.S. Region, all formsets must be of the fraud-deterrent type, either:

• Carbonless or carbon-backed
• With the carbon page perforated so that it will tear through the Account Number when the formset
  is separated

ID#: 050411-220311-0026205



Transaction Receipt - Prohibitions - U.S. Region Exhibit S

In the U.S. Region, preprinted legends designating space for supplementary Cardholder information
(e.g., address, telephone number) or ancillary charges to be added after completion of the
Transaction are prohibited, except as specified below.

Supplementary Cardholder information may be designated on formsets also designed for use as:

• Mailing or delivery slips
• Guest registration forms
• Car rental contracts
• Wire Transfer Money Orders

Space for ancillary charges is permitted on T&E Document formsets used by Lodging or Cruise Line
Merchants, or Car Rental Companies, as specified in “Delayed or Amended Charges - Acceptable
Charges 5.2.M.4.”

Use of promotional, advertising, or similar language that conveys preference of a non-Visa payment
card on Transaction Receipts that bear the Visa Program Marks is prohibited.

The use of language that conveys any limitation of a Cardholder’s rights to dispute the Transaction
with the Issuer is prohibited.

ID#: 111011-220311-0026206



Electronic and Manual Transaction Receipts - General - U.S. Region Exhibit S

In the U.S. Region, the requirements listed in "Transaction Receipt Formset Requirements - U.S.
Region Exhibit S," "Transaction Receipt Fraud Deterrent Requirements - U.S. Region Exhibit S," and
"Transaction Receipt - Prohibitions - U.S. Region Exhibit S" apply to both electronic and manual
Transaction Receipts.

ID#: 080411-220311-0026207



18 October 2011                                    VISA PUBLIC                                        511
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 549 of 1319
                                                   PageID #: 3742
                                    Visa International Operating Regulations




Data Requirements: Cardholder-Activated Terminal Transaction Receipt - U.S. Region
Tables S-4, S-5 and S-6 (Updated)

Effective through 14 October 2011, in the U.S. Region, a Limited-Amount Terminal (except for
Magnetic-Stripe Telephones) Transaction Receipt must contain the following data elements:

• Account Number. The Account Number must be disguised or suppressed on the Cardholder’s copy
  of the Transaction Receipt, except for the final 4 digits. This requirement does not apply to Point-of-
  Transaction Terminals installed before 1 July 2003.
• Merchant name
• Location Code, or city and state
• Transaction amount
• Transaction Date
• Transaction payment type (i.e., “Visa”). The payment brand used to complete the Transaction must
  be identified on the Cardholder’s copy of the Transaction Receipt.

Effective through 14 October 2011, in the U.S. Region, an Automated Dispensing Machine
Transaction Receipt must contain the following data elements:

• Account Number. The Account Number must be disguised or suppressed on the Cardholder’s copy
  of the Transaction Receipt, except for the final 4 digits. This requirement does not apply to Point-of-
  Transaction Terminals installed before 1 July 2003.
• Merchant name
• Location Code, or city and state
• Transaction amount
• Transaction Date
• Transaction payment type (i.e., “Visa”). The payment brand used to complete the Transaction must
  be identified on the Cardholder’s copy of the Transaction Receipt.

Effective through 14 October 2011, in the U.S. Region, a Self-Service Terminal Transaction
Receipt must contain the following data elements:

• Account Number. The Account Number must be disguised or suppressed on the Cardholder’s copy
  of the Transaction Receipt, except for the final 4 digits.
• Merchant name
• Location Code, or city and state
• Transaction amount
• Transaction Date
• Transaction payment type (i.e., “Visa”). The payment brand used to complete the Transaction must
  be identified on the Cardholder’s copy of the Transaction Receipt.

ID#: 111011-010100-0026208




512                                                VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                  Page: 550 of 1319
                                               PageID #: 3743
                                    Visa International Operating Regulations




Data Requirements: Unattended Transaction Receipt - U.S. Region (Updated)

Effective 15 October 2011, in the U.S. Region, an Unattended Cardholder-Activated Terminal
                                                              [61]
Transaction Receipt must contain the following data elements:

• Account Number. The Account Number must be disguised or suppressed on the Cardholder's
  copy of the Transaction Receipt, except for the final 4 digits. This requirement does not apply to
  Point-of-Transaction Terminals installed before 1 July 2003.
• Merchant name
• Location Code, or city and state
• Transaction amount
• Transaction Date
• Transaction payment type (i.e., Visa). The payment brand used to complete the Transaction must
  be identified on the Cardholder's copy of the Transaction Receipt.

ID#: 171011-151011-0026361



Data Requirements: Cardholder-Activated Terminal Transaction Receipt (Types A, B,
and C) Table 7I-4 (Updated)

Effective through 14 October 2011, the following table specifies the data requirements for
Unattended Terminal Transaction Receipts.




61   Not applicable to a Telephone Service Transaction completed at an Unattended Cardholder-Activated Terminal

18 October 2011                                    VISA PUBLIC                                                    513
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15               Page: 551 of 1319
                                                   PageID #: 3744
                                    Visa International Operating Regulations



                   Data Requirements for Unattended Terminal Transaction Receipts

      Transaction Data                 CAT Type A Limited               CAT Type B         CAT Type C Automated
      Requirements                      Amount Terminal            Self-Service Terminal   Dispensing Machine

      Account Number (at                         X                             X                     X
      least 4 digits of the
      Account Number on the
      Cardholder copy of the
      Transaction Receipt
      must be disguised
      or suppressed.
      (Visa strongly
      recommends disguising
      or suppressing all but
      the last 4 positions of
      the primary Account
      Number on the
      Cardholder Transaction
      Receipt.)
      Effective for Point-of-
      Transaction Terminals
      installed on or after
      1 October 2011, the
      Account Number must
      be disguised or
      suppressed on the
      Cardholder's copy of the
      Transaction Receipt,
      except for the final 4
      digits.

      Merchant name                              X                             X                     X

      Terminal location (city                    X                             X                     X
      and country)

      Transaction Date                           X                             X                     X

      Identification of                          X                             X                     X
      Transaction Currency

      Transaction amount                         X                             X                     X
      indicated in Transaction
      Currency

      Transaction type                           X                             X                     X
      (purchase)

      Authorization Code, if                     X                             X                     X
      applicable

ID#: 111011-220311-0026210




514                                                  VISA PUBLIC                                  18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                   Page: 552 of 1319
                                               PageID #: 3745
                                    Visa International Operating Regulations




Data Requirements: Unattended Transaction Receipt

Effective 15 October 2011, an Unattended Cardholder-Activated Terminal Transaction Receipt must
contain the following data elements:

• Account Number. Effective through 30 September 2014, at least 4 digits of the Account Number
                                                                                        [62]
  on the Cardholder copy of the Transaction Receipt must be disguised or suppressed.         Effective
  for Point-of-Transaction Terminals installed on or after 1 October 2011, the Account Number
  must be disguised or suppressed on the Cardholder's copy of the Transaction Receipt, except
  for the final 4 digits. Effective 1 October 2014, the Account Number must be disguised or
  suppressed on the Cardholder's copy of the Transaction Receipt, except for the final 4 digits.
• Merchant name
• Terminal location (city and country)
• Transaction Date
• Identification of Transaction Currency
• Transaction amount indicated in Transaction Currency
• Transaction type (purchase)
• Authorization Code, if applicable

ID#: 111011-151011-0026360



Data Requirements: Visa Easy Payment Service Transaction Receipt Table 7I-3

Effective 16 October 2010, the following are the data requirements for a Visa Easy Payment Service
Transaction Receipt.

• Merchant name
• Total Transaction amount indicated in Transaction Currency
• Transaction Date
• Confirmation that Cardholder performed payment using a Visa Card or a Visa Electron Card or a
  Proximity Payment Device

ID#: 050411-010100-0026212



Point-of-Transaction Terminal Transaction Receipt - U.S. Region Table S-1

A Point-of-Transaction Terminal Transaction Receipt must contain the following data elements:

• Account Number. The Account Number must be disguised or suppressed on the Cardholder’s copy
  of the Transaction Receipt, except for the final 4 digits. This requirement does not apply to Point-of-
  Transaction Terminals installed before 1 July 2003.


62   Effective through 30 September 2014, Visa strongly recommends disguising or suppressing all but the last 4 positions
     of the primary Account Number on the Cardholder Transaction Receipt.

18 October 2011                                    VISA PUBLIC                                                         515
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 553 of 1319
                                                   PageID #: 3746
                                    Visa International Operating Regulations


• Expiration date. The expiration date must be disguised or suppressed on the Cardholder’s copy
  of the Transaction Receipt. This requirement does not apply to Point-of-Transaction Terminals
  installed before 1 July 2003.
• Location Code
• Transaction amount
• Transaction Date
• Transaction payment type (i.e., “Visa”). The payment brand used to complete the Transaction must
  be identified on the Cardholder’s copy of the Transaction Receipt
• Space for Cardholder signature, except for:
  – Transactions in which the PIN is an acceptable substitute for Cardholder signature
  – Effective 17 April 2010 through 15 October 2010, Transactions US $25 and under completed
    at a Point-of-Transaction Terminal with Contactless payment capability
  – Effective through 15 October 2010, Small Ticket Transactions
  – Effective through 15 October 2010, No Signature Required Transactions
  – Effective 16 October 2010, Visa Easy Payment Service Transactions
• A legend identifying the party to whom it will be delivered (e.g., Member copy, Merchant copy,
  Cardholder copy), except for Visa Easy Payment Service Transactions
• Authorization Code, if applicable
• For a Quasi-Cash Transaction completed in a Face-to-Face Environment, the Transaction Receipt
  must provide space for Cardholder identification and the 4 digits printed above or below the
  Account Number, as specified in “Cardholder Identification and Card Verification Table - U.S.
  Region 5.2.J.1.a.”
• For a Visa Cash Back Service Transaction, the amount of cash provided to the Cardholder.

ID#: 111011-220311-0026215



Manual Transaction Receipt - Data Requirements VIOR Table 7J-1 USOR Table S-7

A Manual Transaction Receipt must contain the following data elements:

• Embossed Card data
• Merchant name
• Merchant city and country (and state/province, if applicable)
• Transaction amount indicated in Transaction Currency
• Identification of Transaction Currency
• Transaction Date
• Description of goods or services (optional)
• Space for Cardholder signature
• Authorization Code, if applicable
• Transaction Type (purchase)

516                                                VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 554 of 1319
                                               PageID #: 3747
                                    Visa International Operating Regulations



In addition to the above requirements, in the U.S. Region the Manual Transaction Receipt must also
contain the following data elements: (This only applies in the U.S. Region.)

• Imprint of Card data (This only applies in the U.S. Region.)
• Imprint of Merchant or Member name and location (This only applies in the U.S. Region.)
• Transaction payment type (i.e., “Visa”). The payment brand used to complete the Transaction must
  be identified on the Cardholder’s copy of the Transaction Receipt (This only applies in the U.S.
  Region.)
• Space for salesperson’s initials or department number (This only applies in the U.S. Region.)
• Location Code (This only applies in the U.S. Region.)
• Description of goods or services (required) (This only applies in the U.S. Region.)
• Legend identifying its purpose (i.e., Transaction Receipt or sales slip) (This only applies in the U.S.
  Region.)
• Legend identifying the party to whom it will be delivered (e.g., “Member copy”). The other copies of
  the formset should also be appropriately labeled “Merchant copy” or “Cardholder copy.” (This only
  applies in the U.S. Region.)
• Description of goods or services (required) (This only applies in the U.S. Region.)
• For a Quasi-Cash Transaction completed in a Face-to-Face Environment, space for Cardholder
  identification and the 4 digits printed above the Account Number, as specified in “Cardholder
  Identification and Card Verification Table - U.S. Region 5.2.J.1.a.” (This only applies in the U.S.
  Region.)

ID#: 080411-220311-0026217



Manual Transaction Receipt - Hotels Table 7J-2

A Manual Transaction Receipt for Hotels must contain the following data elements:

• Embossed Card data
• Hotel name
• Hotel city and country (and state/province, if applicable)
• Transaction amount in Transaction Currency
• Identification of Transaction Currency
• Transaction Date
• Space for guest check-in date
• Space for guest check-out date
• Authorization dates, amounts, and approval codes (if applicable)
• Description of goods or services (optional)
• Space for room rate, if applicable
• Space for Cardholder signature



18 October 2011                                    VISA PUBLIC                                          517
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 555 of 1319
                                                   PageID #: 3748
                                    Visa International Operating Regulations


• Space for salesperson's initials
• Authorization dates, amounts, and approval codes (if applicable)

ID#: 050411-010100-0026218



Manual Cash Disbursement Transaction Receipt - Data Requirements VIOR Table 7J-4
USOR Table S-9

A Manual Cash Disbursement Transaction Receipt must contain the following data elements:

• Embossed Card data
• Acquirer or Merchant name
• City and country (and state/province, if applicable) of Acquirer or Merchant, as appropriate
• Transaction amount indicated in Transaction Currency
• Identification of Transaction Currency
• Transaction Date
• Space for Cardholder signature
• Space for Cardholder identification
• Space for clerk’s signature or identification
• Authorization Code
• Space for 4 printed digits above or below Account Number
• Transaction type (Cash Disbursement)

In addition to the above requirement, in the U.S. Region the Manual Cash Disbursement Transaction
Receipt must also contain the following data elements: (This only applies in the U.S. Region.)

• Imprint of Card data (This only applies in the U.S. Region.)
• Imprint of the name and location of the Member, Merchant, or Cash Disbursement Merchant (This
  only applies in the U.S. Region.)
• Transaction payment type (i.e., “Visa”). The payment brand used to complete the Transaction must
  be identified on the Cardholder’s copy of the Transaction Receipt (This only applies in the U.S.
  Region.)
• Legend identifying the party to whom it will be delivered (e.g., “Member copy”). The other copies of
  the formset should also be appropriately labeled “Merchant copy” or “Cardholder copy.” (This only
  applies in the U.S. Region.)
• Space for Cardholder’s address (may be eliminated from the Cash Disbursement Transaction
  Receipt used only by a Cash Disbursement Merchant) (This only applies in the U.S. Region.)

ID#: 050411-220311-0026219




518                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 556 of 1319
                                               PageID #: 3749
                                    Visa International Operating Regulations




Hotel Guest Folio - Data Requirements Table 7J-3

A Hotel Guest Folio must contain the following data elements:

• Embossed Card date
• Hotel name
• Hotel city and country (and state/province, if applicable)
• Transaction amount indicated in Transaction Currency
• Identification of Transaction Currency
• Transaction Date
• Description of goods and services (optional)
• Space for Cardholder signature
• Guest check-in date
• Guest check-out date
• Intended length of stay at check-in (optional)
• Room rate and salesperson’s initials
• Authorization dates, amounts, and approval codes
• Authorization Code, if applicable
• Applicable tax and/or service charge rates (optional)
• Computation and procedure for estimating ancillary charges (optional)
• Estimated Transaction amount calculated on check-in date (optional)

ID#: 050411-220311-0026220



Manual Credit Transaction Receipt - Data Requirements Table 7J-5

A manual Credit Transaction Receipt must contain the following data elements.

• Embossed Card data
• Merchant name
• Merchant location (city and country)
• Credit amount indicated in Transaction Currency
• Identification of Transaction Currency
• Credit preparation date
• Description of goods or services returned to Merchant (optional)
• Space for Merchant or Cardholder signature




18 October 2011                                    VISA PUBLIC                                     519
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 557 of 1319
                                                   PageID #: 3750
                                    Visa International Operating Regulations


• Transaction type (Credit)

ID#: 111011-220311-0026221



Manual Transaction Receipt - Lodging and Cruise Line Merchants - U.S. Region Table
S-8

In the U.S. Region, a Manual Transaction Receipt for Lodging or Cruise Line Merchants must contain
the following data elements:

• Imprint of Card data
• Imprint of Merchant or Member name and location
• Location Code
• Transaction amount
• Transaction Date
• Transaction payment type (i.e., “Visa”). The payment brand used to complete the Transaction must
  be identified on the Cardholder’s copy of the Transaction Receipt
• Guest check-out or disembarkation date
• Legend identifying its purpose (i.e., Transaction Receipt or sales slip)
• Legend identifying the party to whom it will be delivered (e.g., “Member copy”). The other copies of
  the formset should also be appropriately labeled “Merchant copy” or “Cardholder copy.”
• Description of goods or services
• Room rate and salesperson’s initials or department number
• Authorization dates, amounts, and approval codes
• Space for Cardholder signature

ID#: 050411-220311-0026225



Face-to-Face Electronic Purchase or Credit Transaction Receipt Data Requirements
Table 7I-1

The following data elements are required for a face-to-face electronic purchase or Credit Transaction
Receipt.

• Merchant name
• Merchant city and country (and state/province, if applicable)
• Transaction amount (or credit), indicated in Transaction Currency
• Transaction Date (or credit preparation date)
• Account Number (at least 4 digits of the Account Number on the Cardholder copy of the
                                                       [63]
  Transaction Receipt must be disguised or suppressed)
• Space for Cardholder signature


520                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                     Page: 558 of 1319
                                               PageID #: 3751
                                    Visa International Operating Regulations


• Authorization Code, if applicable [64]

• Transaction type (purchase or credit)

ID#: 171011-010100-0026256



Data Requirements for Visa Debit with PIN Transactions – U.S. Region (New)

Effective 14 April 2012, the following are the Transaction Receipt data requirements for Visa Debit
with PIN Transactions.

• Transaction amount
• Transaction Date
• Transaction type (e.g., payment from primary account)
• Account Number. The Account Number must be disguised or suppressed on the Cardholder’s copy
  of the Transaction Receipt, except for the final 4 digits.
• Terminal location
• Merchant name
• Trace number

ID#: 111011-140412-0026508



Transaction Receipt Delivery to Cardholder


Transaction Receipt Delivery Requirements

A Merchant must provide a completed copy of the Transaction Receipt to the Cardholder at the time
                                                                  [65] [66]
that the purchased goods are delivered or services are performed.

Effective through 15 October 2010, a Transaction Receipt is not required for a Small Ticket
Transaction unless requested by the Cardholder.

Effective 16 October 2010, a Transaction Receipt is not required for a Visa Easy Payment Service
Transaction unless requested by the Cardholder.

Effective 16 October 2010, if a Transaction Receipt is requested or issued for a Visa Easy Payment
Service Transaction, a Merchant may provide a cash register receipt if it contains, at a minimum, the
Transaction Data specified in ”Face-to-Face Electronic Purchase or Credit Transaction Receipt Data
Requirements Table 7I-1."



63   Visa strongly recommends disguising or suppressing all but the last 4 positions of the primary Account Number on the
     Cardholder Transaction Receipt.
64   Effective 14 April 2012, a variance to this requirement applies in the U.S. Region.
65   A variance to this requirement applies in Visa Europe for vending Transactions.
66   Effective 20 January 2011, a variance to this requirement applies in the AP Region for Members in Australia and New
     Zealand for certain vending machine Transactions.

18 October 2011                                     VISA PUBLIC                                                             521
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 559 of 1319
                                                   PageID #: 3752
                                    Visa International Operating Regulations



Effective 16 October 2010, in the U.S. Region, when issued, a Transaction Receipt for a Visa Easy
Payment Service Transaction must contain the Transaction Data specified in "Point-of-Transaction
Terminal Transaction Receipt - U.S. Region Table S-1." (This only applies in the U.S. Region.)

An Electronic Commerce Merchant may deliver the Transaction Receipt in either of the following
formats:

• Electronic (e.g., e-mail or fax)
• Paper (e.g., hand-written or terminal-generated)

ID#: 080411-010410-0008621



Amended Transaction Receipt Delivery

A Hotel, Car Rental Company, or Cruise Line must send the Cardholder a copy of any amended or
additional charges added to a Transaction Receipt.

ID#: 010410-010410-0005050



Transaction Receipt Delivery Requirements - U.S. Region 5.2.N (Updated)

Effective through 15 October 2010, a U.S. Merchant must provide a completed copy of the
Transaction Receipt to the Cardholder as follows:

• At the time that the purchased goods are delivered or services are performed, except for:
  – Effective through 16 April 2010, a Transaction under US $25 completed at a Point-of-
    Transaction Terminal with Contactless Payment capability
  – Effective 17 April 2010, a Transaction less than or equal to US $25 completed at a Point-of-
    Transaction Terminal with Contactless Payment capability
  – A Small Ticket Transaction
  – A No Signature Required Transaction
  – A Magnetic-Stripe Telephone Transaction
• At the time of billing, for a Deferred Payment Transaction
• Effective through 16 April 2010, upon Cardholder request, for a Transaction under US $25
  completed at a Point-of-Transaction Terminal with Contactless Payment capability
• Effective 17 April 2010, upon Cardholder request, for a Transaction less than or equal to US $25
  completed at a Point-of-Transaction Terminal with Contactless Payment capability
• Upon Cardholder request, for a Small Ticket Transaction or a No Signature Required Transaction
• At the time of the Transaction, for a Transaction completed at a Point-of-Transaction Terminal

Effective 16 October 2010, a U.S. Merchant must provide a completed copy of the Transaction
Receipt to the Cardholder as follows:

• At the time that the purchased goods are delivered or services are performed, except for:


522                                                VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 560 of 1319
                                               PageID #: 3753
                                    Visa International Operating Regulations


  – Effective 16 October 2010, a Visa Easy Payment Service Transaction for which the Cardholder
    has not requested a Transaction Receipt
  – Effective through 14 October 2011, a Magnetic-Stripe Telephone Transaction
  – Effective 15 October 2011, a Telephone Service Transaction conducted at an Unattended
    Cardholder-Activated Terminal
• At the time of billing, for a Deferred Payment Transaction
• At the time of the Transaction, for a Transaction completed at a Point-of-Transaction Terminal
• Effective 16 October 2010, upon Cardholder request for a Visa Easy Payment Service
  Transaction

Effective 16 October 2010, if a Transaction Receipt is provided to the Cardholder for a Visa Easy
Payment Service Transaction, it must contain the Transaction Data Specified in "Data Requirements:
Visa Easy Payment Service Transaction Receipt Table 7I-3."

ID#: 111011-010410-0005130



Transaction Receipt Delivery for Dynamic Currency Conversion Transactions - U.S.
Region 5.2.N

Effective through 6 October 2010, in the U.S. Region, if a T&E Express Service Transaction
involves Dynamic Currency Conversion (DCC), a Lodging Merchant or Car Rental Company must
send the Cardholder a copy of the Transaction Receipt through the postal service within 3 business
days, as specified in the "Dynamic Currency Conversion - Additional Requirements for T&E Express
Service Transactions - U.S. Region" table.

ID#: 050411-010410-0005134




Transaction Deposits

General Transaction Deposit Requirements


Transaction Deposit in Transaction Country

A Merchant, except a military base or an International Airline, must deposit all Transaction Receipts in
the Transaction Country.

ID#: 010410-010410-0002979




18 October 2011                                    VISA PUBLIC                                       523
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 561 of 1319
                                                   PageID #: 3754
                                    Visa International Operating Regulations




Cruise Line Exceptions

A Cruise Line may deposit on-board Transactions at various ports-of-call. The Transaction Date is the
Deposit Date or date of disembarkation, if the Transactions are deposited at the end of the cruise.

ID#: 010410-010410-0002980



Transaction Deposit Time Limits


Deposit Time Limit

A Merchant must deposit all Transaction Receipts within 3 business days of the Transaction Date.

ID#: 010410-010410-0002976



Visa Electron Deposit Time Limit

A Merchant must deposit all Visa Electron Transaction Receipts within 2 business days of the
Transaction Date.

ID#: 010410-010410-0002977



Multiple Merchant Outlets Deposit Time Limits

An Acquirer may allow a Merchant with multiple Merchant Outlets in the same country that centrally
accumulates Transaction Receipts up to 21 calendar days to deposit them. The 21-calendar-day
period includes the Transaction Date and Deposit Date.

ID#: 010410-010410-0002978



Transaction Receipt Deposit Time Limits in Malaysia - AP Region (Updated)

Effective 15 October 2011, in Malaysia, a Merchant must deposit a domestic Visa debit Transaction
conducted at an Automated Fuel Dispenser within 2 business days from the Transaction Date.

ID#: 151011-151011-0026499



Deposit Time Limit - U.S. Region 5.2.O.2

A U.S. Merchant must deposit Transaction Receipts to its Acquirer or designated Agent within 5
calendar days of the Transaction Date, except as specified in "Delayed Delivery Transaction Deposits
- U.S. Region" and "Multiple Merchant Outlets Deposit Time Limits - U.S. Region." Each time period
specified includes the Transaction Date and the Receipt Date.




524                                                VISA PUBLIC                       18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 562 of 1319
                                               PageID #: 3755
                                    Visa International Operating Regulations



A U.S. Merchant must deposit Credit Transaction Receipts to its Acquirer or designated Agent within
3 calendar days of the Transaction Date.

ID#: 081010-010709-0008617



Delayed Delivery Transaction Deposits - U.S. Region

A U.S. Merchant must deposit Transaction Receipts for Delayed Delivery Transactions within 5
calendar days of the date of both the deposit and final payment.

ID#: 081010-010709-0008628



Multiple Merchant Outlets Deposit Time Limits - U.S. Region

A U.S. Merchant with multiple Merchant Outlets, if it accumulates Transaction Receipts at a central
office or facility, must deposit them as follows:

• Transaction Receipts within 15 calendar days of the Transaction Date
• Credit Transaction Receipts within 5 calendar days of the Transaction Date

Visa may extend the maximum time for delivery.

The above applies to the following Merchant types:

• Transportation companies subject to federal or foreign regulations
• Oil companies
• Car Rental Companies
• Hotels, motels, and restaurant chains
• Other Merchant categories specified by the Board

ID#: 081010-010410-0008629



Installment Billing Transaction Receipt Deposits - U.S. Region

A U.S. Merchant must not deposit the first Installment Billing Transaction with its Acquirer until the
shipment date of the goods. The Merchant must deposit subsequent Installment Billing Transaction
Receipts at either of the following intervals:

• 30 calendar days or more
• Monthly anniversary of the shipment date (same day of each month)

ID#: 010410-010410-0005189




18 October 2011                                    VISA PUBLIC                                        525
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 563 of 1319
                                                   PageID #: 3756
                                    Visa International Operating Regulations




Transaction Deposit Restrictions


Transactions Directly Resulting from Other Entities 5.3.F.1.a

A Merchant must deposit only Transaction Receipts that directly result from Cardholder Transactions
with that Merchant. A Merchant must not deposit Transaction Receipts resulting from any
Transaction involving a Card between a Cardholder and another entity.

Effective 1 July 2011, a Payment Service Provider (PSP) may deposit a Transaction Receipt
resulting from a Transaction between a Cardholder and a Sponsored Merchant of the PSP.

A variance applies in the U.S. Region for the Visa Tax Payment Program.

A variance applies in the AP Region for government payments in Australia.

Effective through 14 October 2011, a variance to this requirement applies in the CEMEA Region for
Domestic Transactions at Unattended Acceptance Terminals in Russia.

Effective 15 October 2011, a variance to this requirement applies in the CEMEA Region for
Domestic Transactions at Unattended Cardholder-Activated Terminals in Russia.


ID#: 151011-010410-0002981



Merchant Location Identification

A Merchant with multiple Merchant Outlets must deposit Transaction Receipts so that the Acquirer
can identify the location of each Transaction.

ID#: 010410-010410-0002982



Transaction Deposit Conditions

A Merchant must not deposit a Transaction Receipt until it does one of the following:

• Completes the Transaction
• Ships or provides the goods
• Performs the purchased service
• Obtains the Cardholder's consent for a Recurring Transaction

A U.S. Merchant may deposit a prepayment within the time limits specified in the U.S. Regional
Operating Regulations if the Merchant advises the Cardholder of the immediate billing at the time of
the Transaction, for:

• Prepayment of services, excluding estimates for services to be provided
• Full prepayment of custom-ordered merchandise manufactured to the Cardholder's specifications

526                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 564 of 1319
                                               PageID #: 3757
                                    Visa International Operating Regulations



For prepayment of services, the Transaction Date is considered to be the date of Cardholder
prepayment.

ID#: 010410-010410-0008982




Credits and Refunds

General Credit and Refund Requirements


Credit Transaction Receipt 5.3.D.2

A Merchant may, at its discretion, prepare a Credit Transaction Receipt when a valid Transaction
Receipt was previously processed and the Cardholder either cancelled the Transaction later or
returned the goods. At the time of the Credit Transaction, the Merchant must:

• Prepare a credit that includes the Credit Transaction Receipt date and identifies the original
  Transaction
• Deliver a completed Credit Transaction Receipt to the Cardholder
• Effective through 15 October 2010, deposit the Credit Transaction Receipt within 14 calendar
  days from the date that the credit was issued
• Effective 16 October 2010, deposit the Credit Transaction Receipt within 5 calendar days from the
  date that the credit was issued

In the U.S. Region, the Credit Transaction Receipt must describe the merchandise returned, services
cancelled, or adjustment made. (This only applies in the U.S. Region.)

ID#: 081010-010410-0008605



Credit Transaction Receipt Delivery - U.S. Region 5.2.Q

A U.S. Merchant must provide a credit refund or price adjustment by delivering a Credit Transaction
Receipt to the Member that received the related Transaction Receipt representing the original
purchase. The only exception is an Airline or other carrier, if required by law or applicable tariff.

ID#: 010410-010410-0001713



Credit and Refund Restrictions

A Merchant must provide a credit refund in connection with a Transaction by a Credit Transaction
Receipt, not by cash or check. The only exceptions are Airlines, if required by law or applicable tariff.

Effective 1 January 2011, a Merchant must not:

• Accept payment from a Cardholder for the purpose of depositing funds to the Cardholder's account


18 October 2011                                    VISA PUBLIC                                        527
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 565 of 1319
                                                   PageID #: 3758
                                    Visa International Operating Regulations


• Process a Credit Transaction Receipt without having completed a previous retail Transaction with
  the same Cardholder

The loading of value to a Visa Prepaid Card that has been designated for participation in the Visa
Prepaid Load Service by the Issuer is excluded from these restrictions.

ID#: 081010-010410-0003076



Credit and Refund Restrictions - U.S. Region 5.2.P.1

A U.S. Merchant must not:

• Accept payment from a Cardholder for the purpose of depositing funds to the Cardholder's
  account. The loading of value to a Visa Prepaid Card or to another Non-Visa Branded Account, as
  defined in the Visa ReadyLink Service Description and Implementation Guidelines that has been
  designated for participation in Visa ReadyLink by the Issuer is excluded from this restriction.
• Process a Credit Transaction Receipt without having completed a previous retail Transaction with
  the same Cardholder, except as specified in "Credit Transaction Receipt Delivery - U.S. Region"

ID#: 080411-010410-0001710



Proper Disclosure of Refund Policy


Electronic Commerce Merchant Refund Policy Disclosure

An Acquirer must ensure that its Electronic Commerce Merchant includes any return/refund policy on
the Merchant's Website and that a "click to accept," or other acknowledgement button accepting the
policy, is used by the Cardholder.

Purchase terms and conditions must be displayed to the Cardholder during the order process either:

• On the same screen as the checkout screen indicating the total Transaction amount
• Within the sequence of Web pages accessed by the Cardholder before the final checkout

In the U.S. Region, in addition to the above requirements, an Electronic Commerce Merchant
Website must communicate its refund policy to the Cardholder during the order process. (This only
applies in the U.S. Region.)

ID#: 010410-010410-0008606



Proper Disclosure of Limited Return Policies 5.3.D.5

The table below specifies the words or similar wording that must be legibly printed on all copies of a
Transaction Receipt near the Cardholder signature area or in an area easily seen by the Cardholder.




528                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                 Page: 566 of 1319
                                               PageID #: 3759
                                    Visa International Operating Regulations



                                    Proper Disclosure on Transaction Receipts

                Transaction Receipt Wording                        To Be Used for the Following Return Policies

    "No Refund," "No Exchanges," or "All Sales Final"            Merchant does not:
                                                                 • Accept merchandise in return or exchange
                                                                 • Issue a refund to a Cardholder

    "Exchange Only"                                              Merchant only accepts merchandise in exchange
                                                                 for merchandise of equal value to the original
                                                                 Transaction amount.

    "In-Store Credit Only"                                       Merchant only accepts merchandise for return and
                                                                 delivers an in-store credit document that both:
                                                                 • Equals the value of the returned merchandise
                                                                 • Must be used at the Merchant location


Proper disclosure must not include a statement that waives a Cardholder's right to dispute the
Transaction with the Issuer.

Effective through 15 April 2011, a Merchant may limit its acceptance of returned merchandise or
establish a policy to make price adjustments if the Merchant:

• Makes proper disclosure
• Delivers the purchased goods to the Cardholder at the time of the Transaction

Effective 16 April 2011, for Transactions in a Card-Present Environment, a Merchant may limit its
acceptance of returned merchandise or establish a policy to make price adjustments provided that the
Merchant makes proper disclosure of its returns policy in accordance with the table above.

ID#: 050411-010410-0008771



Proper Disclosure of Limited Return Policies - U.S. Region

The following words or similar wording must be legibly printed on all copies of a Transaction Receipt
or invoice, in letters approximately 0.25 inches high, near the Cardholder signature area.


       Examples of Proper Refund Policy Disclosure on Transaction Receipt - U.S. Region

    Transaction Receipt Wording                                  For the Following Types of Refund Policy:

    "No Refund"                                                  Merchant does not:
                                                                 • Accept merchandise in return or exchange
                                                                 • Issue a refund to a Cardholder

    "Exchange Only"                                              Merchant only accepts merchandise in immediate
                                                                 exchange for similar merchandise of price equal to
                                                                 the original Transaction amount.




18 October 2011                                    VISA PUBLIC                                                    529
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15                Page: 567 of 1319
                                                   PageID #: 3760
                                    Visa International Operating Regulations


      Transaction Receipt Wording                                For the Following Types of Refund Policy:

      "In-Store Credit Only"                                     Merchant only accepts merchandise in return and
                                                                 delivers an in-store credit that:
                                                                 • Equals the value of the returned merchandise
                                                                 • Must be used at the Merchant's place of business

      Note: Absence of the above wording does not necessarily mean that proper disclosure has not been
      provided.


Effective through 15 April 2011, in the U.S. Region, a Merchant may limit its acceptance of returned
merchandise or establish a policy to make price adjustments if the Merchant:

• Makes proper disclosure, as specified in the table above
• In a Face-to-Face Environment, delivers the purchased goods or services to the Cardholder at the
  time of the Transaction

Effective 16 April 2011, in the U.S. Region, for Transactions in a Card-Present Environment, a
Merchant may limit its acceptance of returned merchandise or establish a policy to make price
adjustments provided that the Merchant makes proper disclosure of its returns policy in accordance
with the table above.

ID#: 111011-010410-0008772



Special Circumstances - U.S. Region

A U.S. Merchant may, with Cardholder approval and if permitted by local law, identify terms for
special circumstances (such as late delivery, delivery charges) and must print any special terms on
the Transaction Receipt.

ID#: 010410-010410-0008610



Alternate Forms of Credit - U.S. Region

A U.S. Merchant may provide the following alternate forms of credit:

• Effective through 15 October 2010, cash refund to the Cardholder, for a Small Ticket Transaction
• Effective through 15 October 2010, cash refund to the Cardholder, for a No Signature Required
  Transaction
• Effective 16 October 2010, cash refund to the Cardholder for a Visa Easy Payment Service
  Transaction
• Cash refund, Credit Transaction Receipt, or other appropriate form of credit to the recipient of a gift
  purchased as a Mail/Phone Order Transaction, instead of to the Cardholder
• Cash refund or in-store credit for a Visa Prepaid Card Transaction if the Cardholder states that the
  Visa Prepaid Card has been discarded




530                                                VISA PUBLIC                                     18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                   Page: 568 of 1319
                                               PageID #: 3761
                                    Visa International Operating Regulations



The refund or adjustment must not exceed the original Transaction amount.

ID#: 081010-010410-0008613



Transaction Reversals


Transaction Receipt Reversal or Adjustment 5.3.D.3.a (Updated)
                                                                                          [67]
A Merchant must process a Reversal or an Adjustment within 30 calendar                           days if it processed a
Transaction Receipt in error.

The debit must be reversed using a Reversal Transaction code or an Adjustment message. See
"BASE II Record Requirements" (Exhibit 2L) for information on Transaction codes and the VisaNet
manuals for information on Single Message System message types.

ID#: 111011-010410-0008614




Convenience Fees

Convenience Fee General Requirements


Convenience Fees on Government and Higher Education Transactions - U.S. Region

Effective 10 March 2011, in the U.S. Region, a third-party Merchant that is not providing goods
or services to a Cardholder may charge a Convenience Fee for a government or higher education
Transaction processed with one of the following Merchant Category Codes:

• 9399, “Government Services”
• 9222, “Fines”
• 9211, “Court Costs”
• 8220, “Colleges, Universities, Professional Schools, and Junior Colleges”

If the Convenience Fee is charged by the third-party Merchant:

• The Convenience Fee amount must be processed as a separate Transaction
• The third-party Merchant name must appear in the Clearing Record for the separate Transaction

ID#: 151011-010100-0026671




67   Effective 14 April 2012, a variance to this requirement applies in the U.S. Region

18 October 2011                                     VISA PUBLIC                                                           531
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15                   Page: 569 of 1319
                                                   PageID #: 3762
                                    Visa International Operating Regulations




Convenience Fees - AP Region

An AP Merchant that charges a Convenience Fee must ensure that the fee is:

• Related to the bona fide convenience of providing a particular service (that is, not to the
  acceptance of the Visa Card) in a payment channel that does not include face-to-face Transactions
• Disclosed clearly to the Cardholder as a charge for the payment channel convenience
• Disclosed before the completion of the Transaction and the Cardholder is given the opportunity to
  cancel
• A flat amount, except that an ad valorem amount is allowed where the Merchant's pricing is subject
  to regulatory controls that make a flat fee infeasible
• The same fee that is applicable to all forms of payment accepted in the payment channel (that is,
  there is no discrimination against Visa Cards)
• Included as a part of the total amount of the Transaction

ID#: 010410-010410-0006880



Domestic Convenience Fee - CEMEA Region

In the CEMEA Region a Russian Merchant or Third Party may charge a Convenience Fee. The
Merchant or Third Party that charges a Convenience Fee must ensure that the fee is:

• Applied to a Domestic Transaction only
• Charged for a bona fide convenience in the form of an alternative payment channel outside the
  Merchant's customary payment channels
• Effective through 14 October 2011, added only to a Transaction at an Unattended Acceptance
           [68]
  Terminal
• Effective 15 October 2011, added only to a Transaction at an Unattended Cardholder-Activated
            [69] [70]
  Terminal
• Applicable to all forms of payment accepted in the alternative payment channel (that is, there is no
  adverse discrimination against Visa Cards)
• Included as a part of the total amount of the Transaction and not collected separately
• Clearly reflected and specified on the Cardholder's Transaction Receipt
• Not added to a Recurring Transaction or Installment Transaction




68    Excluding Transactions at Automated Fuel Dispensers, Magnetic-Stripe Telephones, Card Dispensing Machines, Load
      Devices or ATM Cash Disbursements.
69    Effective through 31 December 2013, excluding Transactions at Automated Fuel Dispensers, Telephone Service
      Transactions, Card Dispensing Machines, Load Devices, or ATM Cash Disbursements.
70    Effective 1 January 2014, excluding Transactions at Automated Fuel Dispensers, Telephone Service Transactions, Load
      Devices, or ATM Cash Disbursements.

532                                                VISA PUBLIC                                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 570 of 1319
                                               PageID #: 3763
                                    Visa International Operating Regulations



If the Transaction takes place at an Unattended Acceptance Terminal operated by a Third Party, the
Acquirer must ensure that:

• The Third Party is assigned the appropriate Merchant Category Code, as specified in the Visa
  Merchant Data Standards Manual
• The Third Party's name (or an abbreviation of the Third Party's name) in conjunction with the
  associated Merchant name is included in the Authorization Request and Clearing Record

ID#: 151011-010100-0025572



Domestic Convenience Fee Limits - CEMEA Region

In the CEMEA Region, a Convenience Fee charged by a Russian Merchant must be a flat or fixed
amount, not exceeding the following:

• 35 Rubles for Transactions processed with MCC 4814, "Telecommunication Service Including
  Local and Long Distance Calls, Credit Card Calls, Calls Through Use of Magnetic-Stripe-Reading
  Telephones, and Fax Services"
• 60 Rubles for Transactions processed with MCC 4900, "Utilities - Electric, Gas, Water, Sanitary"
• 48 Rubles for all other Transactions

ID#: 111011-010100-0025574



Domestic Convenience Fee Disclosure - CEMEA Region

In the CEMEA Region if a Russian Merchant or Third Party imposes a Convenience Fee, the terminal
must:

• Inform the Cardholder that a Convenience Fee will be applied as a charge for the alternative
  payment channel convenience, in addition to charges assessed by the Issuer. The disclosure must
  comply with all the following:
  – Be as high a contrast or resolution as any other graphics on the terminal
  – Contain the notice:

Fee Notice: "(Name) will assess a fee to cardholders for transactions at this terminal. This fee is
added to the amount of your transaction and is in addition to any fees that may be charged by your
financial institution."

• Identify the recipient of the Convenience Fee
• Inform the Cardholder of the amount of the Convenience Fee
• Request Cardholder approval of the Convenience Fee
• Provide the ability for the Cardholder to cancel the Transaction without incurring a fee or penalty




18 October 2011                                    VISA PUBLIC                                          533
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 571 of 1319
                                                   PageID #: 3764
                                    Visa International Operating Regulations


• Not establish a minimum or maximum Transaction amount as a condition of honoring a Visa Card
  or Visa Electron Card

ID#: 111011-010100-0025573



Convenience Fees - General Requirements - U.S. Region 5.2.E (Updated)

In the U.S. Region, a Merchant that charges a Convenience Fee must ensure that the fee is:

• Charged for a bona fide convenience in the form of an alternative payment channel outside the
  Merchant's customary payment channels
• Disclosed to the Cardholder as a charge for the alternative payment channel convenience
• Added only to a non-face-to-face Transaction. The requirement for an alternate payment channel
  means that Mail/Telephone Order and Electronic Commerce Merchants whose payment channels
  are exclusively non-face-to-face may not impose a Convenience Fee.
• A flat or fixed amount, regardless of the value of the payment due
• Applicable to all forms of payment accepted in the alternative payment channel
• Disclosed before the completion of the Transaction and the Cardholder is given the opportunity to
  cancel
• Included as a part of the total amount of the Transaction

Effective 10 March 2011, other requirements or exceptions may apply, as specified in the "Tax
Payment Program Fee Requirements - U.S. Region" and "Convenience Fees on Government and
Higher Education Transactions - U.S. Region."

ID#: 151011-010410-0003035



Convenience Fees Not Assessed by a Third Party - U.S. Region 5.2.E (Updated)

In the U.S. Region, a Convenience Fee may only be charged by the Merchant that actually provides
goods or services to the Cardholder. A Convenience Fee may not be charged by any third party.

Effective 10 March 2011, other requirements or exceptions may apply, as specified in the "Tax
Payment Program - Interchange Reimbursement Fee Qualifications and Fee Amount - U.S. Region"
and "Convenience Fees on Government and Higher Education Transactions - U.S. Region."

ID#: 151011-010410-0003037



Convenience Fees on Recurring Transactions - U.S. Region 5.2.E

In the U.S. Region, except as permitted in "Tax Payment Program - Interchange Reimbursement Fee
Qualifications and Fee Amount - U.S. Region," a Convenience Fee must not be added to a Recurring
Transaction.

ID#: 010410-010410-0003038




534                                                VISA PUBLIC                       18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 572 of 1319
                                               PageID #: 3765
                                    Visa International Operating Regulations




Chip Card Acceptance

Chip Card Acceptance General Requirements


Chip Card Acceptance Requirements VIOR 4.6.D, USOR 5.2.G

The Card and Cardholder must be present for all Chip-initiated Transactions.

If a Chip-initiated Transaction is declined by the Issuer, the Transaction must not be processed by
any other means.

If the Chip or Chip-Reading Device is inoperable, the Merchant must obtain an Online Authorization
using the Magnetic Stripe. If the Magnetic Stripe cannot be read, or if Online Authorization is not
available, existing Card acceptance and Transaction processing procedures apply.

If the Acquirer-Country combination exceeds international Fallback Transaction thresholds, the
Member may be subject to penalties, as specified in "Acquirer Penalty for Global Fallback Monitoring
Program Identification," "Acquirer Liability for Fallback Chip Transactions," and the Global Chip
Fallback Monitoring Program Guide.

ID#: 050411-150210-0004845



Chip Card Acceptance in Australia – AP Region (Updated)

Effective 1 April 2012, Acquirers and Merchants in Australia must comply with the following
requirements for all Card acceptance devices, excluding ATM:

• Acquirers and Merchants must complete the migration of electronic Card acceptance devices to be
  EMV-Compliant for acceptance of Visa domestic or international EMV Transactions
• An Acquirer must certify its hosts support for Full-Chip Data
• An Acquirer and its Merchants must activate their EMV acceptance devices to conduct Visa Smart
  Debit/Credit (VSDC) Transactions

ID#: 111011-210611-0026157



Chip Card Acceptance in New Zealand – AP Region (Updated)

Effective 1 July 2011, Acquirers and Merchants in New Zealand must comply with the following
requirements for all Card acceptance devices, excluding ATM:

• Acquirers and Merchants must complete the migration of electronic Card acceptance devices to be
  EMV-Compliant for acceptance of Visa domestic or international EMV Transactions
• An Acquirer must certify its hosts support for Full-Chip Data



18 October 2011                                    VISA PUBLIC                                        535
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 573 of 1319
                                                   PageID #: 3766
                                    Visa International Operating Regulations


• An Acquirer and its Merchants must activate their EMV acceptance devices to conduct Visa Smart
  Debit/Credit (VSDC) Transactions

ID#: 111011-210611-0026142



Declined Chip Transaction Processing - Canada Region

If a Canada Issuer or the Issuer's agent issues a Pickup Response or a Decline Response, or a
Compliant Chip Card declines a Chip-initiated Transaction, the Transaction must not be processed
by any other means.

ID#: 010410-010410-0004878



Chip Fallback Transaction Authorization Notification - Canada Region

Where an Authorization Request for a Fallback Transaction is made, a Canada Acquirer must ensure
the Issuer is aware that the Authorization Request is for a Fallback Transaction.

ID#: 010410-010410-0004879



Chip Transaction Authorization and Clearing Messages - Canada Region

A Canada Acquirer must submit Authorization and Clearing messages for Chip-initiated Transactions
using full data.

ID#: 010410-010410-0004880



Chip Transaction Authorization Response Code - Canada Region

A Canada Acquirer must provide the Authorization Response code in the Clearing Record for all
Chip-initiated Transactions that are approved offline.

ID#: 010410-010410-0004881



Acquirer Liability for Chip Fallback Transactions - Canada Region

A Canada Acquirer will be liable for a Fallback Transaction if the:

• Card is a Compliant Chip Card
• Account Number is found in the Exception File with a negative response on the Processing Date of
  the Chargeback, and is on the Exception File for a total period of at least 60 calendar days from the
  date of listing
• Transaction met any of the following conditions:
  – Was authorized Offline
  – Was authorized Online but not by the Issuer or the Issuer's agent


536                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 574 of 1319
                                               PageID #: 3767
                                    Visa International Operating Regulations


  – Was authorized Online by the Issuer or the Issuer's agent, but the appropriate values identifying
    the Transaction as a Fallback Transaction were not included within the related Authorization
    Message

ID#: 010410-010410-0004882



Acquirer Liability for Chip Transactions Authorized Offline - Canada Region

Effective through 30 March 2011, a Canada Acquirer will be liable for all Chip-initiated Transactions
generated by Compliant Chip Cards using Offline Authorizations when the:

• Card is a Compliant Chip Card that contains a Cardholder Verification Method List that specifies a
  preference for offline PIN at POS
• Transaction takes place at either:
  – A Compliant Chip Card Reading Device without a Compliant PIN Entry Device (PED)
  – A Chip Reading Device
• Transaction is reported as fraudulent using one of the following Fraud Type Codes:
  – 0, "lost"
  – 1, "stolen"
  – 2, "Card not received as issued (NRI)"
• Account Number is listed on the Regional Card Recovery File with an Exception File Pickup
  Response of 41 or 43 on the Processing Date of the Chargeback, and is on the Exception File for a
  total period of at least 60 calendar days from the date of listing

ID#: 111011-010410-0004883



Acquirer Liability for Chip Transactions in Card-Present Environment - Canada
Region

Effective 31 March 2011, a Canada Acquirer will be liable for a Transaction in a Card-Present
Environment, whether or not the Transaction is Chip-initiated, when the:

• Transaction does not take place at a Compliant Chip Card Reading Device with a Compliant PIN
  Entry Device (PED)
• Card is a Compliant Chip Card
• Transaction is reported as a fraudulent Transaction using one of the following Fraud Type Codes:
  – 0, "lost"
  – 1, "stolen"
  – 2, "Card not received as issued (NRI)"
  – 4, "Issuer-reported counterfeit"




18 October 2011                                    VISA PUBLIC                                     537
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 575 of 1319
                                                   PageID #: 3768
                                    Visa International Operating Regulations


• Account Number is listed on the Card Recovery Bulletin with an Exception File Pick-up of 04, 07,
  41, or 43 on the Processing Date of the Chargeback, and is on the Exception File for a total period
  of at least 60 calendar days from the date of listing

ID#: 111011-011010-0004884



Visa Debit Acquirers - Canada Region

A Canada Acquirer must be able to process Visa Debit Card Transactions from any Merchant with
which the Acquirer has a Merchant Agreement.

ID#: 111011-300609-0008078



Failure to Comply with Visa Debit Processing Requirements - Canada Region

A Canada Acquirer that fails to comply with the requirements for processing Visa Debit Card
Transactions will be subject to a penalty, as specified in "Visa Debit Acquirers Compliance Program -
Canada Region."

An Acquirer or its Visa Debit Acceptor that fails to properly process Visa Debit Transactions will be
subject to a penalty, as specified in "Visa Debit Acquirers Compliance Program - Canada Region."

ID#: 050411-300609-0008079



Visa Debit Transaction Authorization Requirement - Canada Region

A Visa Debit Acquirer in Canada must not process a Magnetic Stripe-read Authorization Request
from a domestic Visa Debit Card.

ID#: 111011-160810-0025968



Visa Debit Acquirers Compliance Program - Canada Region

A Canada Acquirer that fails to comply in updating its host systems with the ability to process Visa
Debit Card Transactions will be subject to a penalty of CAD $100,000 per month of non-compliance.

If an Acquirer or its Visa Debit Acceptor fails to properly process Visa Debit Transactions, the
Acquirer will be subject to a penalty of CAD $5,000 per Cardholder complaint reported to Visa as an
Acceptance Compliance Program incident, as detailed in "Acceptance Compliance Program - Canada
Region."

ID#: 050411-300609-0008364




538                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 576 of 1319
                                               PageID #: 3769
                                    Visa International Operating Regulations




Chip Authorization


Chip Transaction Below Chip Floor Limit

For Authorization of a Transaction processed below the Floor Limit, a Visa Smart Payment
Application may either:

• Instruct the terminal to go Online
• Approve the Transaction using offline controls contained in the Chip

ID#: 010410-010410-0004391



Parameters to Enable Offline Chip Authorization

An Issuer of Chip Cards containing the Visa Smart Payment Application with Offline Authorization
controls must define parameters to enable Offline Chip Authorization. An Issuer may exempt a Visa
Card encoded with Service Code from this requirement.

ID#: 111011-010410-0004392



Visa Purchasing Card Offline Chip Authorization

An Issuer of a Visa Purchasing Card containing a Chip with a Visa Smart Payment Application with
Offline Authorization controls may define parameters to enable Chip Offline Authorization.

ID#: 010410-010410-0004394



Visa Electron Offline Chip Authorization

An Issuer of a Visa Electron Card containing a Chip with Offline Authorization controls may define
parameters to enable acceptance at terminals with no Online Authorization capability.

ID#: 010410-010410-0004395



Consecutive Offline Chip Authorization Counters

When Offline Authorization controls are defined in a Chip, and the upper limit for consecutive offline
counters is specified, all Chip-initiated Transactions must go Online if the upper limit for the total
number or value of consecutive offline Transactions is exceeded. If the terminal is unable to go
Online, the Transaction must be declined.

ID#: 010410-010410-0004393




18 October 2011                                    VISA PUBLIC                                       539
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 577 of 1319
                                                   PageID #: 3770
                                    Visa International Operating Regulations




Chip Floor Limit Requirements

An Acquirer must ensure that its Merchants obtain Authorization for Transaction amounts above the
Chip Floor Limits or non-Chip Floor Limits specified in "Maximum Authorized Floor Limits."

ID#: 010410-010410-0002854



Domestic Chip Floor Limits in Australia – AP Region

In Australia all EMV- and VIS-Compliant Chip-Reading Terminals (including EMV- and VIS-
Compliant Chip-reading Unattended Acceptance Terminals) must support a Chip Floor Limit of AUD
200 across all Merchant Category Codes for Domestic Transactions.

The zero Chip Floor Limit mandates specified in “Maximum Authorized Floor Limits” continue to apply
for International Transactions.

ID#: 050411-060111-0026161



Offline Authorization of Chip-Initiated Transactions

For Chip-initiated Transactions, Offline Authorization is allowed, provided that the Transaction amount
does not exceed the Floor Limits specified for Chip Transactions.

ID#: 010410-010410-0002855



EMV Liability Shift and Fallback


EMV Liability Shift - Acquirer Liability for Card-Present Counterfeit Card Transactions

Counterfeit Card Transactions completed in a Card-Present Environment are the liability of the
Acquirer if:

• The Transaction does not take place at a Chip-Reading Device and is not a Fallback Transaction
  completed following correct acceptance procedures
• The Card is a Chip Card containing a Visa or Visa Electron Smart Payment Application or an EMV
  and VIS-Compliant Plus application

Effective 9 December 2010, the requirements in this section apply to qualifying Transactions, as
specified in "EMV Liability Shift Participation."

ID#: 050411-010410-0001837




540                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 578 of 1319
                                               PageID #: 3771
                                    Visa International Operating Regulations




EMV Liability Shift - Acquirer Liability for Non-Counterfeit Card-Present Fraudulent
Transactions

Non-Counterfeit Card fraudulent Transactions completed in a Card-Present Environment are the
liability of the Acquirer if:

• The Transaction takes place at a Point-of-Transaction Terminal that is not EMV PIN-Compliant
• The Card is a PIN-Preferring Chip Card
• PIN Verification was not performed

Effective 9 December 2010, the requirements in this section apply to qualifying Transactions, as
specified in "EMV Liability Shift Participation."

ID#: 050411-010410-0001838



Acquirer Liability for Fallback Chip Transactions

Transactions accepted as Fallback Transactions are the liability of the Acquirer if:

• The Card is a Chip Card containing a Visa and Visa Electron Smart Payment Application or an
  EMV and VIS-Compliant Plus application
• One of the following conditions:
  – Transaction is not authorized by the Issuer or the Issuer's agent
  – Transaction is authorized by the Issuer or the Issuer's agent, and the appropriate values
    identifying the Transaction as a Fallback Transaction are not included within the related
    Authorization Message
• The Account Number was resident on the Exception File with a Negative Response on the
  Processing Date of the Chargeback and was on the Exception File for a total period of at least 60
  calendar days from the date of listing

ID#: 010410-010410-0001839



Fallback Transaction Monitoring

Visa monitors International Chip Transactions in relation to Fallback Transactions to reduce the
number of excessive Fallback Transactions that occur at the Point-of-Transaction.

ID#: 111011-011009-0008402



Global Chip Fallback Monitoring Program Criteria

An Acquirer is placed in the Global Chip Fallback Monitoring Program if the Acquirer-country
combination meets or exceeds all of the monthly performance activity levels for international Chip-
Initiated Transactions specified in the Global Chip Fallback Monitoring Program Guide.



18 October 2011                                    VISA PUBLIC                                        541
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15       Page: 579 of 1319
                                                   PageID #: 3772
                                    Visa International Operating Regulations



Visa may modify or create new monthly performance levels after evaluation of the program's success
in identifying Acquirer-country combinations with excessive amounts of Fallback Transaction activity
that could cause undue economic hardship or damage to the goodwill of the Visa system, as
specified in the Global Chip Fallback Monitoring Program Guide.

At the option of Visa, this program applies to Domestic Transactions, as detailed in the Global Chip
Fallback Monitoring Program Guide.

ID#: 050411-011009-0008404



Acquirer Penalty for Global Fallback Monitoring Program Identification

An Acquirer is subject to a penalty of US $1 per Fallback Transaction when the Acquirer-country
combination meets or exceeds the minimum Transaction volume and percentage parameters
specified in the Visa International Operating Regulations and the Global Chip Fallback Monitoring
Program Guide.

Transactions involving Acquirers in the jurisdiction of Visa Europe will be subject to a penalty of 1
euro per Fallback Transaction.

ID#: 050411-011009-0008405



Global Chip Fallback Monitoring Program Visa Rights

Visa may assess or suspend penalties to accommodate unique or extenuating circumstances, as
specified in the Global Chip Fallback Monitoring Program Guide. Penalties will no longer be assessed
once the Acquirer has met acceptable performance levels.

ID#: 050411-011009-0008406



Domestic Chip Liability Shift - AP Region

In the AP Region, Visa may adopt a domestic liability shift for any domestic market and set an
effective date for the liability shift.

The domestic liability shift rules must, at a minimum, adhere to "Acquirer Liability for Fallback Chip
Transactions."

ID#: 010410-010410-0003826




542                                                VISA PUBLIC                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                  Page: 580 of 1319
                                               PageID #: 3773
                                    Visa International Operating Regulations




Small Ticket Transactions

Small Ticket Transaction - General Requirements


Small Ticket Transaction General Requirements

Effective through 15 October 2010, a Small Ticket Transaction must:

• Be conducted in a Face-to-Face Environment [71]

• Be authorized
• Be initiated by a Merchant with a Merchant Category Code that qualifies for a Small Ticket
                                                                                    [72] [73]
  Transaction, as specified in "Small Ticket Transaction Merchant Category Codes"
• Have a Transaction value equal to US $25 or less, or local currency equivalent. [74]

• Have a POS Entry Mode code value of "05," "07," "90," or "91"

ID#: 050411-010410-0002908



Visa Easy Payment Service (VEPS) - General Requirements (Updated)

Effective 16 October 2010, to qualify as a Visa Easy Payment Service (VEPS) Transaction, a
Transaction must:

• Be conducted in a Face-to-Face Environment [75] [76]

• Be authorized
• Be conducted at a Merchant Outlet with a Merchant Category Code other than that specified in
                                                                          [77]
  "Visa Easy Payment Service (VEPS) Merchant Category Code Exclusions"
• Not exceed the Transaction limits specified in "Country-Level Visa Easy Payment Service
  Transaction Amount Limits"
• Have a POS Entry Mode code of "05," "07," "90," or "91"

ID#: 111011-161010-0025692



71   Effective 1 May 2010 through 15 October 2010, a variance applies in the AP Region. Domestic Proximity Payment
     Transactions conducted at Unattended Acceptance Terminals (Type B and Type C), may qualify as Small Ticket
     Transactions.
72   Effective 1 May 2010 through 15 October 2010, a variance applies in the AP Region for Domestic Transactions
     conducted in Australia and Hong Kong.
73   Effective 16 October 2010, a variance applies in the AP Region. Domestic Proximity Payment Transactions conducted at
     Unattended Acceptance Terminals (Type B and Type C) may qualify as Visa Easy Payment Service Transactions.
74   A variance to this requirement applies to Proximity Payment Transactions in the Canada Region.
75   Effective 16 October 2010 through 14 October 2011, a variance applies in the AP Region. Domestic Proximity Payment
     Transactions conducted at Unattended Acceptance Terminals (Type B and Type C) may qualify as Visa Easy Payment
     Service Transactions. Effective 15 October 2011, a variance applies in the AP Region. Domestic Proximity Payment

18 October 2011                                    VISA PUBLIC                                                       543
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15                    Page: 581 of 1319
                                                   PageID #: 3774
                                    Visa International Operating Regulations




Small Ticket Transaction Merchant Category Codes

Effective through 15 October 2010, a Small Ticket Transaction may be initiated only by a Merchant
                                            [78]
assigned one of the Merchant Category Codes      described below.

Effective through 15 October 2010, for contactless Chip Cards or Proximity Payment Devices, all
Merchants may conduct a Small Ticket Transaction.

Effective through 15 October 2010, for Magnetic Stripe or Chip Card Transactions, only the
Merchants listed in the following table may conduct a Small Ticket Transaction. A variance to this
requirement applies in the AP Region.


                                       Small Ticket Merchant Category Codes

                   Merchant Category Code                                             Description

                                4111                             Local and Suburban Commuter Passenger
                                                                 Transportation, including Ferries

                                4121                             Taxicabs and Limousines

                                4131                             Bus Lines

                                4784                             Tolls and Bridge Fees

                                5331                             Variety Stores

                                5499                             Miscellaneous Food Stores-Convenience Stores and
                                                                 Specialty Markets

                                5812                             Eating Places and Restaurants

                                5814                             Fast Food Restaurants

                                5912                             Drug Stores and Pharmacies

                                5993                             Cigar Stores and Stands

                                5994                             News Dealers and Newsstands

                                7211                             Laundry Services-Family and Commercial

                                7216                             Dry Cleaners

                                7338                             Quick Copy, Reproduction, and Blueprinting
                                                                 Services


      Transactions conducted at Unattended Cardholder-Activated Terminals may qualify as Visa Easy Payment Service
      Transactions.
76    Effective through 14 October 2011, a variance applies in the U.S. Region. Transactions less than or equal to US
      $15 conducted at Cardholder-Activated Terminals may qualify as Visa Easy Payment Service Transactions. Effective
      15 October 2011, a variance applies in the U.S. Region. Transactions less than or equal to US $15 conducted at
      Unattended Cardholder-Activated Terminals may qualify as Visa Easy Payment Service Transactions.
77    An exception applies in the AP Region for domestic Transactions in Australia.
78    Effective 1 May 2010 through 15 October 2010, a variance applies in the AP Region for domestic Transactions
      conducted in Australia and Hong Kong.

544                                                VISA PUBLIC                                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                      Page: 582 of 1319
                                               PageID #: 3775
                                    Visa International Operating Regulations


                   Merchant Category Code                                              Description

                                7523                                Parking Lots, Parking Meters, and Garages

                                7542                                Car Washes

                                7832                                Motion Picture Theaters

                                7841                                DVD/Video Tape Rental Stores

ID#: 111011-010410-0009048



Visa Easy Payment Service (VEPS) Merchant Category Code Exclusions

Effective 16 October 2010, any Merchant except a Merchant assigned one of the following
                        [79]
Merchant Category Codes      may conduct a Visa Easy Payment Service Transaction:

• 4829 - Wire Transfer Money Orders
• 5542 - Automated Fuel Dispensers
• 5960 - Direct Marketing - Insurance Services
• 5962 - Direct Marketing - Travel Related Arrangement Services
• 5964 - Direct Marketing - Catalog Merchants
• 5965 - Direct Marketing - Combination Catalog and Retail Merchants
• 5966 - Direct Marketing - Outbound Telemarketing Merchants
• 5967 - Direct Marketing - Inbound Telemarketing Merchants
• 5968 - Direct Marketing -Continuity/Subscription Merchants
• 5969 - Direct Marketing/Direct Marketers (Not elsewhere classified)
• 6010 - Financial Institutions - Manual Cash Disbursements
• 6011 - Financial Institutions - Automated Cash Disbursements
• 6012 - Financial Institutions - Merchandise and Services
• 7995 - Betting, including Lottery Tickets, Casino Gaming Chips, Off-Track Betting, and Wagers at
  Race Track
• 9405 - Intra-Government Purchases (Government only)
• 9700 - International Automated Referral Service (Visa use only)
• 9701 - Visa Credential Server (Visa use only)
• 9702 - GCAS Emergency Services (Visa use only)
• 9751 - UK Supermarkets - Electronic Hot File (Region use only)
• 9752 - UK Petrol Stations - Electronic Hot File (Region use only)




79   A restriction applies in the AP Region for domestic Transactions in Australia.

18 October 2011                                      VISA PUBLIC                                                  545
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 583 of 1319
                                                   PageID #: 3776
                                    Visa International Operating Regulations


• 9950 - Intra-Company Purchases

ID#: 081010-161010-0025695



Small Ticket Transaction Cardholder Verification

Effective through 15 October 2010, a Merchant is not required to obtain Cardholder Verification for
a Small Ticket Transaction unless PIN Verification is required.

ID#: 081010-010410-0002910



Small Ticket Transaction Restrictions

Effective through 15 October 2010, a Transaction must not be processed as a Small Ticket
Transaction if either:

• A Chip-Reading Device is unable to read the Chip and the Transaction is completed using another
  method of data capture and transmission
• Dynamic Currency Conversion was performed

ID#: 081010-010410-0002909



Visa Easy Payment Service (VEPS) Transaction Restrictions

Effective 16 October 2010, the following Transactions which require a Transaction Receipt must not
be processed as Visa Easy Payment Service Transactions:

• A Fallback Transaction
• An Account Funding Transaction
• A Cash-Back Transaction
• A Manual Cash Disbursement Transaction
• A Quasi-Cash Transaction
• A Prepaid Load Transaction
• A Transaction where Dynamic Currency Conversion is performed

ID#: 081010-161010-0025693



Visa Easy Payment Service (VEPS) Transaction Cardholder Verification Method

Effective 16 October 2010, a Merchant is not required to obtain Cardholder Verification for a Visa
Easy Payment Service (VEPS) Transaction unless the Transaction is an EMV PIN Transaction.

For an EMV PIN Transaction, the EMV Terminal must prompt the Cardholder for a PIN if PIN
verification is required as a result of EMV processing.



546                                                VISA PUBLIC                       18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 584 of 1319
                                               PageID #: 3777
                                    Visa International Operating Regulations



Failure to comply with this requirement may result in a change to the Chargeback liability as specified
in "EMV Liability Shift - Issuer Liability for Card-Present Counterfeit Chip Card Transactions" and
"EMV Liability Shift - Acquirer Liability for Card-Present Counterfeit Chip Card Transactions."

ID#: 050411-161010-0025694



Hong Kong - Small Ticket Transaction - AP Region

In the AP Region, in addition to the Small Ticket Transaction Merchant Category Codes listed
in "Small Ticket Transaction Merchant Category Codes," MCC 5411, "Grocery Stores and
Supermarkets," applies to Hong Kong for domestic usage only.

ID#: 081010-010410-0005227



Visa Easy Payment Service Transaction Requirements - AP Region

Effective 1 May 2010 through 15 October 2010, in the AP Region, in addition to the requirements
specified in “Small Ticket Transaction General Requirements," a Small Ticket Transaction that is a
Proximity Payment may be either:

• A Cardholder-Activated Transaction Type B
• A Cardholder-Activated Transaction Type C

Effective 16 October 2010 through 14 October 2011, in the AP Region, in addition to the
requirements specified in “Visa Easy Payment Service (VEPS) – General Requirements,” a Visa Easy
Payment Service Transaction that is a Proximity Payment may be either:

• A Cardholder-Activated Transaction Type B
• A Cardholder-Activated Transaction Type C

Effective 15 October 2011, in the AP Region, in addition to the requirements specified in “Visa Easy
Payment Service (VEPS) – General Requirements,” a Visa Easy Payment Service Transaction that is
a Proximity Payment may be an Unattended Transaction.

ID#: 111011-161010-0025703



Hong Kong and Australia - Small Ticket Transaction Merchant Category Codes - AP
Region

Effective 1 May 2010 through 15 October 2010, in the AP Region, in addition to the list of "Small
Ticket Transaction Merchant Category codes," the following Merchant Category Codes are eligible for
domestic Small Ticket Transactions in Australia and Hong Kong:

• MCC 5411, "Grocery Stores and Supermarkets
• MCC 5441, "Candy/Nut/Confection Stores




18 October 2011                                    VISA PUBLIC                                      547
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      Case: 4:13-cv-02226-JAR                    Doc. #: 85-5 Filed: 02/12/15                     Page: 585 of 1319
                                                    PageID #: 3778
                                    Visa International Operating Regulations


• MCC 5462, "Bakeries"

ID#: 081010-161010-0025704



Australia Small Ticket Transaction General Requirements – AP Region

Effective through 15 October 2010, the international threshold limit of US $25 for a Small Ticket
Transaction is replaced by an Australian threshold limit of acquired Transaction amount less than or
equal to AUD 35 for Magnetic Stripe and contact Chip Transactions.

Effective through 15 October 2010, the international threshold limit of US $25 for a Small Ticket
Transaction is replaced by an Australian threshold limit of acquired Transaction amount less than or
                                                      [80]
equal to AUD 100 for contactless Chip Transactions.

Effective through 15 October 2010, for all domestic Small Ticket Transactions conducted in
Australia, Cardholder Verification Method (CVM) is not required. This includes Transactions
conducted on Cards where PIN verification is normally required, such as Chip Cards where the
parameters of the Card include PIN verification.

ID#: 080411-060111-0026154



Australia Visa Easy Payment Service Transaction Merchant Category Codes – AP
Region (Updated)

Effective 16 October 2010 through 1 November 2012, for all domestic Visa Easy Payment Service
Transactions conducted in Australia, the Transaction must originate at one of the Merchant Category
                                    [81]
Codes shown in the following table.


Visa Easy Payment Service Merchant Category Codes

      Merchant Category Codes                                               Description

                   4111                    Local and Suburban Commuter Passenger Transportation, including
                                           Ferries

                   4121                    Taxicabs and Limousines

                   4131                    Bus Lines

                   4784                    Tolls and Bridge Fees

                   5251                    Hardware Stores

         Effective 1 March 2011            Discount Stores
                  5310

                   5331                    Variety Stores

                   5411                    Grocery Stores and Supermarkets



80    There is no MCC restriction for contactless Chip Transactions.
81    The Merchant Category Code qualification criteria does not apply to Proximity Payment Transactions.

548                                                  VISA PUBLIC                                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                 Page: 586 of 1319
                                               PageID #: 3779
                                    Visa International Operating Regulations


     Merchant Category Codes                                               Description

                   5441                    Candy Stores

                   5451                    Dairy and Ice Cream Stores

                   5462                    Bakeries

                   5499                    Miscellaneous Food Store - Convenience Stores and Specialty Markets

                   5541                    Filling Stations - Automotive Gasoline

      Effective 11 August 2011             Record Shops
                 5735

      Effective 11 August 2011             Caterers
                 5811

                   5812                    Eating Places and Restaurants

                   5814                    Fast Food Restaurants

                   5912                    Drug Stores and Pharmacies

        Effective 1 March 2011             Package Stores - Beer, Wine and Liquor
                 5921

                   5942                    Bookstores

        Effective 1 March 2011             Stationery Stores
                 5943

                   5947                    Gift Card, Novelty and Souvenir Shops

                   5993                    Cigar Stores and Stands

                   5994                    News Dealers and Newsstands

                   7211                    Laundry Services - Family and Commercial

                   7216                    Dry Cleaners

                   7338                    Quick Copy, Reproduction and Blueprinting Services

                   7523                    Parking Lots, Parking Meters and Garages

      Effective 11 August 2011             Automotive Service Shops (Non Dealers)
                 7538

                   7542                    Car Washes

                   7832                    Motion Picture Theaters

                   7841                    DVD/Video Tape Rental Stores

                   9402                    Postal Services - Government


Effective 16 October 2010 through 1 November 2012, Visa may add additional qualifying Merchant
Category Codes to this list.

ID#: 171011-060111-0026155



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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 587 of 1319
                                                   PageID #: 3780
                                    Visa International Operating Regulations




Australia Visa Easy Payment Service Transaction Cardholder Verification – AP
Region

Effective 16 October 2010, for all domestic Visa Easy Payment Service Transactions conducted
in Australia, Cardholder Verification Method (CVM) is not required. This applies to Transactions
conducted with EMV PIN-Preferring Chip Cards.

ID#: 050411-060111-0026156



Small Ticket Transaction Regional Limits - CEMEA Region

Effective 13 August 2009 through 15 October 2010, Small Ticket Transactions performed within
the CEMEA Region are limited to US $25, or local currency equivalent.

ID#: 081010-010410-0005247



Small Ticket Country-Specific Limits - CEMEA Region

Effective 13 August 2009 through 15 October 2010, in the CEMEA Region, intraregional Small
Ticket Transactions performed within the following countries are limited as follows:


                   Small Ticket Transaction Country-Specific Limits - CEMEA Region

                   Country                                 Currency            Transaction Limit

      Georgia                                 Lari (GEL)                              45

      Russia                                  Ruble (RUB)                           1,000

      Ukraine                                 Hryvnia (UAH)                          200

      United Arab Emirates                    Dirham (AED)                           100


Small Ticket Transactions within the above countries involving Issuers from outside the CEMEA
Region are limited to US $25, or local currency equivalent.

ID#: 081010-130809-0008841



Small Ticket Transactions - U.S. Region


Small Ticket General Requirements - U.S. Region (Updated)

Effective through 15 October 2010, in the U.S. Region, a Visa Consumer Card or Commercial Visa
Product Transaction of US $15 or less, as specified in "Small Ticket Merchant Requirements - U.S.
Region," may qualify as a Small Ticket Transaction.




550                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 588 of 1319
                                               PageID #: 3781
                                    Visa International Operating Regulations



If the Transaction is US $15 or less, the Merchant is not required to:

• Obtain the Cardholder signature
• Provide a Transaction Receipt, unless the Cardholder requests one

Effective through 14 October 2011, the Transaction must occur in or at one of the following:

• A Face-to-Face Environment
• A Self-Service Terminal
• An Automated Dispensing Machine

Effective 15 October 2011, the Transaction must occur in or at one of the following:

• A Face-to-Face Environment
• An Unattended Cardholder-Activated Terminal

ID#: 111011-150210-0008627



U.S. Small Ticket and No Signature Required Merchant Category Code Exclusions -
U.S. Region

Effective 1 July 2010 through 15 October 2010, in the U.S. Region only, any Merchant except
a Merchant assigned one of the following Merchant Category Codes may conduct a No Signature
Required or a Small Ticket Transaction:

• 4829 - Wire Transfer Money Orders
• 5542 - Automated Fuel Dispensers
• 5960 - Direct Marketing - Insurance Services
• 5962 - Direct Marketing - Travel Related Arrangement Services
• 5964 - Direct Marketing - Catalog Merchants
• 5965 - Direct Marketing - Combination Catalog and Retail Merchants
• 5966 - Direct Marketing - Outbound Telemarketing Merchants
• 5967 - Direct Marketing - Inbound Telemarketing Merchants
• 5968 - Direct Marketing -Continuity/Subscription Merchants
• 5969 - Direct Marketing/Direct Marketers (Not elsewhere classified)
• 6010 - Financial Institutions - Manual Cash Disbursements
• 6011 - Financial Institutions - Automated Cash Disbursements
• 6012 - Financial Institutions - Merchandise and Services
• 7995 - Betting, including Lottery Tickets, Casino Gaming Chips, Off-Track Betting, and Wagers at
  Race Track
• 9405 - Intra-Government Purchases (Government only)


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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 589 of 1319
                                                   PageID #: 3782
                                    Visa International Operating Regulations


• 9700 - International Automated Referral Service (Visa use only)
• 9701 - Visa Credential Server (Visa use only)
• 9702 - GCAS Emergency Services (Visa use only)
• 9751 - UK Supermarkets - Electronic Hot File (Region use only)
• 9752 - UK Petrol Stations - Electronic Hot File (Region use only)
• 9950 - Intra-Company Purchase

ID#: 050411-010710-0025710



No Signature Required Transactions (NSR)


No Signature Required Program Merchant Eligibility Requirements - Canada Region

Effective through 15 October 2010, to participate in the No Signature Required (NSR) Program, a
Canada Merchant must:

• Have one of the following Merchant Category Codes:
  – 4111, "Local and Suburban Commuter Passenger Transportation, including Ferries"
  – 4121, "Taxicabs and Limousines"
  – 4131, "Bus Lines"
  – 4784, "Tolls and Bridge Fees"
  – 5331, "Variety Stores"
  – 5499, "Miscellaneous Food Stores -- Convenience Stores and Specialty Markets"
  – 5812, "Eating Places and Restaurants"
  – 5814, "Fast Food Restaurants"
  – 5912, "Drug Stores and Pharmacies"
  – 5993, "Cigar Stores and Stands"
  – 5994, "News Dealers and Newsstands"
  – 7211, "Laundry Services -- Family and Commercial"
  – 7216, "Dry Cleaners"
  – 7338, "Quick Copy, Reproduction, and Blueprinting Services"
  – 7523, "Parking Lots, Parking Meters and Garages"
  – 7542, "Car Washes"
  – 7832, "Motion Picture Theaters"
  – 7841, "DVD/Video Tape Rental Stores"
• Hold a valid Merchant Agreement that is in good standing




552                                                VISA PUBLIC                      18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 590 of 1319
                                               PageID #: 3783
                                    Visa International Operating Regulations


• Prominently display at least one sign advising Cardholders that for Visa Card Transactions of CAD
  $25 or less, including applicable taxes, a receipt is available
• Provide a Transaction Receipt for an NSR Transaction to a Cardholder at the Cardholder's request

ID#: 081010-010410-0005234



No Signature Required Program Acquirer Obligations - Canada Region

Effective through 15 October 2010, a Canada Acquirer must:

• Ensure that a Merchant participating in the No Signature Required (NSR) Program meets and
  complies with all NSR Program Merchant eligibility requirements specified in "No Signature
  Required Program Merchant Eligibility Requirements - Canada Region" for the duration of the
  Merchant's participation in the NSR Program
• Ensure that the notice, required to be prepared and displayed by the Merchant in accordance with
  the Canada Regional Operating Regulations, does not derogate from the purpose of the notice,
  which is to ensure that Cardholders clearly understand that a Transaction Receipt for an NSR
  Transaction is available to a Cardholder upon the Cardholder's request
• Be able to provide Visa with written proof of the Merchant's compliance with the Canada Regional
  Operating Regulations at Visa request

ID#: 081010-010410-0005235



No Signature Required Transaction Requirements - Canada Region

Effective through 15 October 2010, in the Canada Region, a No Signature Required (NSR)
Transaction must be a Transaction:

• For a total amount, including applicable taxes, of CAD $25 or less
• That is authorized either online or offline
• That is made with a Visa Card issued by a Member
• That is made by way of electronic imprint only

Effective through 15 October 2010, any Transaction that does not meet all of the above
requirements is not an NSR Transaction. Transactions that are key-entered or made at Unattended
Acceptance Terminals are not NSR Transactions and are subject to all requirements of the Visa
International Operating Regulations for non-NSR Transactions.

ID#: 081010-010410-0005236



Transaction Receipts for No Signature Required Transactions - Canada Region

Effective through 15 October 2010, subject to the paragraph below, a Canada No Signature
Required (NSR) Merchant is not required to issue a Transaction Receipt and obtain a Cardholder
signature for an NSR Transaction.




18 October 2011                                    VISA PUBLIC                                     553
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 591 of 1319
                                                   PageID #: 3784
                                    Visa International Operating Regulations



An NSR Merchant is required to provide a Transaction Receipt to a Cardholder for an NSR
Transaction if the Cardholder so requests, but is not required to obtain the Cardholder signature in
this event.

For the purpose of the NSR Program, a Transaction Receipt may be in the form of a cash register
receipt, provided the receipt includes the total Transaction amount, Transaction Date, and
confirmation that a Visa Card was used to pay for the Transaction.

ID#: 081010-010410-0005237



No Signature Required Transaction Limit - U.S. Region

Effective 17 April 2010 through 15 October 2010, in the U.S. Region, for all Visa Card
Transactions less than or equal to US $25, a No Signature Required Merchant is not required to
either:

• Obtain the Cardholder signature
• Provide a Transaction Receipt, unless the Cardholder requests it

ID#: 111011-010410-0005193



No Signature Required Transaction Restrictions - U.S. Region

Effective through 15 October 2010, in the U.S. Region, a Transaction must not be processed as a
No Signature Required Transaction if Dynamic Currency Conversion is performed.

ID#: 081010-010410-0005197




Card-Not-Present Transactions

Mail/Phone Order and Electronic Commerce General Requirements


Electronic Commerce Website Merchant Agreement Requirements

An Acquirer must ensure that its Merchant Agreement requires an Electronic Commerce Merchant to
display the following on the Merchant's Website:

• Consumer data privacy policy
• Security capabilities and policy for transmission of payment card details
• The address of its Permanent Establishment

ID#: 010410-010410-0003357




554                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 592 of 1319
                                               PageID #: 3785
                                    Visa International Operating Regulations




Electronic Commerce Acquirer Solicitation Website Requirements (Updated)

An Acquirer soliciting Merchant applications must list the Merchant domicile requirements on its
Website. The domicile requirements must be those permitted by the Acquirer's jurisdictional rights, as
specified in "Country of Domicile and Jurisdiction Requirements" and the Visa International Certificate
of Incorporation and Bylaws, Section 2.10.

ID#: 151011-010210-0004630



Online Gambling Merchant Risk Policies

An Acquirer for an Online Gambling Merchant must comply with the Member risk policy requirements
established by Visa.

ID#: 010410-010410-0004632



Data Protection Method Requirements

An Acquirer must:

• Ensure that its Electronic Commerce Merchants offer Cardholders a Data Protection Method such
  as:
  – 3-D Secure
  – Secure Sockets Layer (SSL)
• Include the above requirement in the Merchant Agreement

ID#: 010410-010410-0008632



Website Requirements

Effective through 31 May 2011, a Merchant Website must contain:

• Visa Brand Mark in full color to indicate Visa Card acceptance, as specified in the Visa Product
  Brand Standards
• Complete description of the goods or services offered
• Return/refund policy (see a "Electronic Commerce Merchant Refund Policy Disclosure")
• Customer service contact, including electronic mail address or telephone number
• Address of the Merchant's Permanent Establishment
• Transaction Currency (e.g., U.S. dollars, Canadian dollars)
• Export restrictions (if known)
• Delivery policy




18 October 2011                                    VISA PUBLIC                                       555
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15                       Page: 593 of 1319
                                                   PageID #: 3786
                                    Visa International Operating Regulations


• Disclosure of the Merchant Outlet country at the time of presenting payment options to the
  Cardholder
• Consumer data privacy policy
• Security capabilities and policy for transmission of payment card details

Effective through 31 May 2011, in the U.S. Region, the Website may be operated by a Merchant,
Sponsored Merchant, or Internet Payment Service Provider and must contain the following additional
information: (This only applies in the U.S. Region.)

• Legal restrictions (if known) (This only applies in the U.S. Region.)
• The address of the Merchant Outlet's Permanent Establishment, including the Merchant Outlet
                   [82]
  country, either:      (This only applies in the U.S. Region.)
     – On the same screen view as the checkout screen used to present the total purchase amount
       (This only applies in the U.S. Region.)
     – Within the sequence of Web pages the Cardholder accesses during the checkout process (This
       only applies in the U.S. Region.)

Effective 1 June 2011 through 30 June 2011, a Website operated by a Merchant, Sponsored
Merchant, Internet Payment Service Provider, High-Brand Risk Merchant, High-Brand Risk
Sponsored Merchant or High-Risk Internet Payment Service Provider must contain:

• Visa Brand Mark in full color to indicate Visa Card acceptance, as specified in the Visa Product
  Brand Standards
• Complete description of the goods or services offered
• Return/refund policy (see "Electronic Commerce Merchant Refund Policy Disclosure")
• Customer service contact, including electronic mail address or local or internationally accessible
  telephone number
• Address of the Merchant's Permanent Establishment, including the Merchant Outlet country either:
     – On the same screen view as the checkout screen used to present the final Transaction Amount
     – Within the sequence of Web pages the Cardholder accesses during the checkout process
• Transaction Currency (e.g., U.S. dollars, Canadian dollars)
• Export restrictions (if known)
• Delivery policy
• Disclosure of the Merchant Outlet country at the time of presenting payment options to the
  Cardholder
• Consumer data privacy policy
• Security capabilities and policy for transmission of payment Card details
• Legal restrictions (if known)




82    The country code for this country must be transmitted in the Clearing Record, as specified in "VisaNet Clearing Message
      Content Standards" (Exhibit NN).

556                                                 VISA PUBLIC                                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                   Page: 594 of 1319
                                               PageID #: 3787
                                    Visa International Operating Regulations



Effective 1 July 2011, a Website operated by a Merchant, Sponsored Merchant, Payment Service
Provider, High-Brand Risk Merchant, High-Brand Risk Sponsored Merchant, or High-Risk Internet
Payment Service Provider must contain:

• Visa Brand Mark in full color to indicate Visa Card acceptance, as specified in the Visa Product
  Brand Standards
• Complete description of the goods or services offered
• Return/refund policy (see "Electronic Commerce Merchant Refund Policy Disclosure")
• Customer service contact, including e-mail address or local or internationally accessible telephone
  number
• Address of the Merchant's or Sponsored Merchant's Permanent Establishment, including the
  Merchant Outlet country, either:
  – On the same screen view as the checkout screen used to present the final Transaction Amount
  – Within the sequence of Web pages the Cardholder accesses during the checkout process
• Transaction Currency (e.g., U.S. dollars, Canadian dollars)
• Export restrictions (if known)
• Delivery policy
• Consumer data privacy policy
• Security capabilities and policy for transmission of payment card details
• Legal restrictions (if known)

ID#: 151011-150210-0008635



Electronic Commerce Indicator Requirements

An Electronic Commerce Transaction must be identified in both the Authorization Request and
Clearing Record with the appropriate Electronic Commerce Transaction indicator values, as specified
in:

• "BASE II Record Requirements" (Exhibit 2L)
• "Required Message Content for VisaNet Financial Transactions" (Exhibit 3A)
• "Required Message Content for VisaNet Authorization Requests" (Exhibit 3B)

An Acquirer that fails to identify an Electronic Commerce Transaction is subject to the penalties
specified in the table below:


  Acquirer Penalties for Incorrect Use of Electronic Commerce Transaction Indicator Values

                             Violation                                    Visa Action, Notification, or Fine

    Warning                                                      Notification of violation with specific date for
                                                                 correction, not to exceed 3 months




18 October 2011                                    VISA PUBLIC                                                      557
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15                     Page: 595 of 1319
                                                   PageID #: 3788
                                    Visa International Operating Regulations


      Uncorrected Violation (Month 4)                             Acquirer assessed US $5,000 fine per Merchant
                                                                  identified

      Uncorrected Violation (Month 5)                             Acquirer assessed US $10,000 fine per Merchant
                                                                  identified

      Uncorrected Violation (Months 6-12)                         Acquirer assessed US $25,000 fine each month per
                                                                  Merchant identified

      Uncorrected Violation (Months 13-18)                        Visa may suspend the Merchant from participation in
                                                                  the Visa Program

      Uncorrected Violation (Month 19 and subsequent              Visa may permanently disqualify the Merchant from
      months)                                                     participation in the Visa Program

ID#: 010410-010410-0007149



Electronic Commerce Transaction Receipt Requirements 5.2.B.4 Table 7K-1

The Transaction Receipt for an Electronic Commerce Transaction must include:

• Merchant name [83]

• Merchant online address
• Transaction amount (or credit), indicated in Transaction Currency
• Transaction Date (or credit preparation date)
• Unique Transaction identification number
• Purchaser name
• Authorization Code
• Transaction type (purchase or credit)
• Description of merchandise/services
• Date of each individual purchase (for Aggregated Transactions only)
• Amount of each individual purchase (for Aggregated Transactions only)
• Return/refund policy (if restricted)

ID#: 080411-010410-0003114



Electronic Commerce Account Number Requirements

An Electronic Commerce Merchant must not return the full Account Number to the Cardholder online
or on the Transaction Receipt.




83    The Merchant name must not be the name of the network provider or other entity unless the Transaction represents
      membership service charges or merchandise/services provided by the network provider itself.

558                                                VISA PUBLIC                                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 596 of 1319
                                               PageID #: 3789
                                    Visa International Operating Regulations



Effective through 30 September 2014, Visa strongly recommends disguising or suppressing all but
the last 4 positions of the primary Account Number on the Cardholder Transaction Receipt from a
Point-of-Transaction Terminal.

ID#: 050411-010410-0003627



Electronic Commerce Merchant Certificate Requirements - U.S. Region

In addition to the requirements specified in "Required Merchant Information - U.S. Region," a U.S.
Acquirer must collect the following information for each of its Electronic Commerce Merchants that
uses a Merchant Certificate:

• Name of Merchant Certificate issuer
• Merchant Certificate number
• Merchant Certificate expiration date
• Ownership status of Merchant Certificate - shared or individual

ID#: 010410-010410-0005085



Electronic Commerce Member Requirements - U.S. Region

A U.S. Member that participates in Visa Secure Electronic Commerce must comply with the
participation requirements specified in the U.S. Regional Operating Regulations.

U.S. Members must refer to the Visa International Operating Regulations for requirements related to
online gambling Merchants.

ID#: 010410-010410-0004634



Electronic Commerce Merchant Transaction Type Prohibition

Effective through 31 May 2011, a Merchant, an Internet Payment Service Provider (IPSP), or a
Sponsored Merchant that displays a Visa-Owned Mark on its Website must not accept Cards for the
purchase or trade of photographs, video imagery, computer-generated images, cartoons, simulation,
or any other media or activities including, but not limited to, activities listed under "Brand Protection."

Violation of this requirement will result in the termination of the Merchant, IPSP, or Sponsored
Merchant.

Effective 1 June 2011, a Merchant, Internet Payment Service Provider (IPSP), Sponsored Merchant,
or entity classified as high-brand risk, as specified in “High-Brand Risk Merchant Category Codes,”
that displays a Visa-Owned Mark on its Website must not accept Cards for the purchase or trade of
photographs, video imagery, computer-generated images, cartoons, simulation, or any other media or
activities, as specified in "Brand Protection."




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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 597 of 1319
                                                   PageID #: 3790
                                    Visa International Operating Regulations



Violation of this requirement may result in the termination of the Merchant, IPSP, Sponsored
Merchant or High-Brand Risk Merchant, High-Brand Risk IPSP or High-Brand Risk Sponsored
Merchant.

ID#: 151011-150210-0005067



Electronic Commerce Indicator for Recurring Transactions - U.S. Region

In the U.S. Region, if the Order Form for a Recurring Transaction is provided to the Merchant in
an electronic format, the initial Transaction must be processed with the appropriate Electronic
Commerce Transaction indicator values.

Subsequent Recurring Transactions must be processed as Recurring Transactions, as specified in
"VisaNet Clearing Message Content Standards" (Exhibit NN).

ID#: 010410-010410-0004638



Mail/Phone Order and Electronic Commerce Authorization Requirements


Mail/Phone Order and Electronic Commerce Expiration Date in Authorization

A Mail/Phone Order Merchant and an Electronic Commerce Merchant (for a Non-Secure Transaction
and Non-Authenticated Security Transaction) must attempt to obtain the Visa Card expiration date
and forward it as part of the Authorization Request.

ID#: 031209-150210-0003129



Mail/Phone Order and Electronic Commerce Authorization Requirements

For goods to be shipped, a Mail/Phone Order or an Electronic Commerce Merchant may obtain
Authorization on any day up to 7 calendar days before the Transaction Date. The Transaction Date
is the date the merchandise is shipped. This Authorization is valid if the Transaction amount is within
15% of the authorized amount, provided that the additional amount represents shipping costs.

In the U.S. Region, this provision does not apply if the last Authorization obtained was a Partial
Authorization. (This only applies in the U.S. Region.)

ID#: 010410-010410-0006108



Electronic Commerce Online Authorization

An Electronic Commerce Transaction must be sent Online for Authorization.

ID#: 010410-010410-0003659




560                                                VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 598 of 1319
                                               PageID #: 3791
                                    Visa International Operating Regulations




Mail/Phone Order Signature Line

A Merchant must write "TO" for a telephone order or "MO" for a mail order on the signature line of the
Transaction Receipt used for Deposit or retrieval purposes.

ID#: 010410-010410-0003113



Mail/Phone Order Expiration Date in Authorization - AP Region

In the AP Region, all Mail/Phone Order Transaction Authorization Requests must include the Card
expiration date. An exception applies to Recurring Transactions, which do not require an expiration
date in the Authorization Request.

ID#: 010410-010410-0005333



Chip-Initiated Electronic Commerce Transaction Online Authorization - U.S. Region
5.2.K

In the U.S. Region, a Chip-initiated Electronic Commerce Transaction must be sent Online for
Authorization.

ID#: 010410-010410-0003660



Mail/Phone Order and Electronic Commerce Expiration Date in Authorization - U.S.
Region 5.2.K

An Electronic Commerce Merchant in the U.S. Region must attempt to obtain the Visa Card
expiration date and forward it as part of the Authorization Request for Non-Secure Transactions and
Non-Authenticated Security Transactions.

ID#: 031209-150210-0003662



3-D Secure Failure at Authorization - U.S. Region

A U.S. Merchant must not submit an Authorization Request for an Electronic Commerce Transaction
that failed a 3-D Secure Authentication Request.

ID#: 010410-010410-0004635



Electronic Commerce Authentication Data Prohibitions - U.S. Region

In an Authorization Request, an Electronic Commerce Merchant in the U.S. Region must not transmit
Authentication Data specific to one Transaction with another Transaction, except when either:

• 2 Transactions are related due to delayed delivery


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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15       Page: 599 of 1319
                                                   PageID #: 3792
                                    Visa International Operating Regulations


• All items of an order cannot be shipped at the same time

ID#: 010410-010410-0004636



Electronic Commerce Authentication Data in Subsequent Authorizations - U.S.
Region

In the U.S. Region, the original Authentication Data may be used if a subsequent Authorization
Request is initiated as a result of a delayed delivery or split shipment. The original Authentication
Data is valid for up to 90 calendar days from the date it was first received.

ID#: 010410-010410-0004637



Mail/Phone Order and Electronic Commerce Merchant Outlet Requirements


Mail/Phone Order and Electronic Commerce Merchant Outlet Location

A Merchant Outlet location for an Electronic Commerce or Mail/Phone Order Merchant is the country
where:

• There is a Permanent Establishment through which Transactions are completed
• The Merchant holds a valid business license for the Merchant Outlet
• The Merchant has a local address for correspondence and judicial process other than a post office
  box or mail-forwarding address, which do not meet this requirement
• The Merchant Outlet pays taxes relating to the sales activity

In the absence of a Permanent Establishment, the Merchant Outlet of a Merchant that provides only
digital goods is deemed to be located in the country where the principals of the company work.

ID#: 010410-010410-0003247



Disclosure of Merchant Outlet Country

An Electronic Commerce or Mail/Phone Order Merchant must disclose the Merchant Outlet country
when presenting payment options to the Cardholder.

ID#: 010410-010410-0002902



Visa Right to Determine Merchant Outlet Country

Visa may determine the country of a Merchant Outlet and an Acquirer's ability to contract with it
based on:

• An evaluation of the Merchant's business structure
• Any other available information


562                                                VISA PUBLIC                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 600 of 1319
                                               PageID #: 3793
                                    Visa International Operating Regulations



The decision by Visa is final.

ID#: 010410-010410-0005916



Electronic Commerce Financial Responsibility


Electronic Commerce Merchant Financial Responsibility - U.S. Region

In addition to the requirements specified in "Acquirer Requirement to Query the Terminated Merchant
File and Inspect Merchant Premises - U.S. Region," to determine that a prospective Electronic
Commerce Merchant is financially responsible, a U.S. Acquirer must:

• Obtain a detailed business description
• Examine the Merchant's Website to:
  – Verify that the Merchant is operating within the Acquirer's jurisdiction, as specified in the
    Visa International Certificate of Incorporation and Bylaws and Visa International Operating
    Regulations
  – Ensure that the Merchant is not engaged in any activity that is in violation of the Visa
    International Operating Regulations
  – Ensure that the Merchant is not engaged in any activity that could cause harm to the Visa
    system or the Visa brand
• Print and retain copies of all relevant screens contained in the Website. Retained copies may be in
  either hard copy or electronic format
• Provide retained copies of all relevant screens contained in the Merchant's Website to Visa upon
  request

ID#: 010410-010410-0005079



Electronic Commerce Merchant Yearly Review - U.S. Region (Updated)

At least once each year, for each of its applicable Electronic Commerce Merchants, a U.S. Acquirer
must examine the Merchant's Website and conduct an enhanced due diligence review, as specified in
"Electronic Commerce Merchant Financial Responsibility - U.S. Region," if any of the following criteria
is met:

• Effective through 31 May 2011, the Electronic Commerce Merchant or Sponsored Merchant is
  required to be classified by a Merchant Category Code referenced in the definition of a High-Risk
  Telemarketing Merchant, as specified in the:
  – U.S. Regional Operating Regulations
  – Visa Merchant Data Standards Manual
• Effective 1 June 2011, the Electronic Commerce Merchant or Sponsored Merchant is required to
  be classified by a Merchant Category Code considered by Visa to be high-brand risk, as specified
  in the:



18 October 2011                                    VISA PUBLIC                                      563
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 601 of 1319
                                                   PageID #: 3794
                                    Visa International Operating Regulations


  – Visa International Operating Regulations
  – Visa Merchant Data Standards Manual
  – Visa Global Brand Protection Program Guide for Acquirers
• The Merchant is identified by any Visa Chargeback monitoring program or designated at any time
  as an Identified Merchant by the Risk Identification Service (RIS) Online
• The Acquirer becomes aware the Merchant is selling products or services that were not
  documented in the Merchant Agreement or disclosed in the Merchant's business description
• The Acquirer conducts a periodic review of the Merchant as required by its internal procedures

ID#: 111011-010410-0005082




Payment Service Providers

Payment Service Providers (PSP) General Requirements


Sponsored Merchant Location (Updated)

Effective through 30 June 2011, the country of a Sponsored Merchant determines the Merchant
Outlet location, not the country of the Internet Payment Service Provider (IPSP).

The economic activity of a Merchant Outlet is deemed to occur at the Sponsored Merchant location,
not at the location of the IPSP.

The Merchant country code included in the Authorization and Clearing Record must be the country
code of the Sponsored Merchant, as specified in "BASE II Record Requirements" (Exhibit 2L).

Effective 1 July 2011:

• The country of a Sponsored Merchant determines the Merchant Outlet location, not the country of
  the Payment Service Provider.
• The Merchant country code included in the Authorization and Clearing Records must be the
  country code of the Sponsored Merchant, as specified in "BASE II Record Requirements" (Exhibit
  2L).

See "Country of Domicile and Jurisdiction Requirements."

ID#: 111011-010410-0006104



Payment Service Provider Deposit Allowances (Updated)

Effective through 30 June 2011, an Internet Payment Service Provider (IPSP) may deposit
Transaction Receipts on behalf of a Sponsored Merchant.




564                                                VISA PUBLIC                       18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 602 of 1319
                                               PageID #: 3795
                                    Visa International Operating Regulations



Effective 1 July 2011, a Payment Service Provider (PSP) may deposit Transaction Receipts on
behalf of a Sponsored Merchant.

ID#: 111011-010410-0002972



Payment Service Provider Transaction Receipt Deposits (Updated)

Effective through 30 June 2011, a Merchant or Internet Payment Service Provider (IPSP) must not
deposit a Transaction Receipt until one of the following occurs:

• The Transaction is completed
• The goods or services are shipped or provided, except as specified below
• The purchased service is performed
• Cardholder consent is obtained for a Recurring Transaction

A Merchant or IPSP may deposit a Transaction Receipt before shipping or providing the goods or
services only if the Cardholder has agreed to either:

• A Delayed Delivery Transaction
• An Advance Deposit Transaction

Effective 1 July 2011, a Merchant or Payment Service Provider (PSP) must not deposit a
Transaction Receipt until one of the following occurs:

• The Transaction is completed
• The goods or services are shipped or provided, except as specified below
• The purchased service is performed
• Cardholder consent is obtained for a Recurring Transaction

A Merchant or PSP may deposit a Transaction Receipt before shipping or providing goods or services
only if the Cardholder has agreed to either:

• A Delayed Delivery Transaction
• An Advance Deposit Transaction

ID#: 111011-010410-0008658



Payment Service Provider Responsibilities (Updated)

Effective through 30 June 2011, an Internet Payment Service Provider (IPSP) must:

• Not contract with another IPSP
• Display the appropriate Visa-Owned Marks to indicate which Cards are accepted for payment on its
  Sponsored Merchants' Websites
• Report Sponsored Merchant and Transaction Information to its Acquirer and, upon request, to Visa

18 October 2011                                    VISA PUBLIC                                     565
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 603 of 1319
                                                   PageID #: 3796
                                    Visa International Operating Regulations


• Use the appropriate Merchant Category Code or other required indicators to identify Merchant or
  Transaction type
• Include the payment acceptance requirements specified in the Visa International Operating
  Regulations in its contracts with its Sponsored Merchant and ensure compliance by the Sponsored
  Merchant
• Immediately terminate a Sponsored Merchant if required by the Acquirer or Visa
• Ensure that a terminated Merchant is not permitted to be a Sponsored Merchant

Effective 1 July 2011, a Payment Service Provider (PSP) must:

• Ensure that the appropriate Visa-Owned Marks are displayed to indicate the Cards that are
  accepted for payment at its Sponsored Merchants' locations or on its Sponsored Merchants'
  Websites
• Report Sponsored Merchant and Transaction Information to its Acquirer and, upon request, to Visa
• Use the appropriate Merchant Category Code or other required indicators to identify Merchant or
  Transaction type
• Ensure compliance by the Sponsored Merchant with its contract with the PSP
• Immediately terminate a Sponsored Merchant if required by the Acquirer or Visa

ID#: 111011-010410-0002897



Payment Service Provider Contract with Multiple Acquirers (Updated)

Effective through 30 June 2011, an Internet Payment Service Provider (IPSP) may contract and
process Transactions with multiple Acquirers. However, an Acquirer must only accept and submit
Transactions into Interchange from Sponsored Merchants within that Acquirer's jurisdiction.

Effective 1 July 2011, a Payment Service Provider (PSP) may contract and process Transactions
with multiple Acquirers.

Effective 1 July 2011, an Acquirer must only accept and submit into Interchange Transactions from
PSPs, Merchants, and Sponsored Merchants within that Acquirer's jurisdiction.

ID#: 111011-010410-0002898



Sponsored Merchant and Payment Service Provider Billing Name (New)

Effective 17 June 2011 through 30 June 2011, in the U.S. Region, the Sponsored Merchant name
and the Internet Payment Service Provider name (or an abbreviation) must appear on the Transaction
Receipt and billing statement and both must be included in the Merchant name field of the Clearing
Record, as specified in "VisaNet Clearing Message Content Standards" (Exhibit NN - U.S. Region).
(This only applies in the U.S. Region.)




566                                                VISA PUBLIC                      18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 604 of 1319
                                               PageID #: 3797
                                    Visa International Operating Regulations



Effective 1 July 2011, the Sponsored Merchant name and the Payment Service Provider name
(or an abbreviation) must appear on the Transaction Receipt and billing statement and both must
be included in the Merchant name field of the Clearing Record, as specified in "BASE II Record
Requirements" (Exhibit 2L).

ID#: 111011-010711-0026434



Internet Payment Service Provider Billing Name (Updated)

Effective through 30 June 2011, the Internet Payment Service Provider (IPSP) name may appear
alone on the Transaction Receipt and, except in the U.S. Region, billing statement only if the:

• Cardholder accesses the IPSP Website directly
• IPSP name is visible to the Cardholder during the selection, order, and payment processes

Effective through 30 June 2011, if the IPSP name appears alone, Visa may require that the
Sponsored Merchant name be transmitted in the Clearing Record if the IPSP (or some or all of its
Sponsored Merchants) causes undue economic hardship to the Visa system, including, but not
limited to:

• Qualifying for the Global Merchant Chargeback Monitoring Program
• Generating excessive Copy Requests

Effective through 30 June 2011, the IPSP name (or an abbreviation) may appear in conjunction with
the Sponsored Merchant name.

ID#: 111011-010410-0008659



Payment Service Provider Customer Support (Updated)

Effective through 30 June 2011, an Internet Payment Service Provider (IPSP) must provide
customer service through its Website if a Cardholder accesses the IPSP Website directly. Customer
service may be provided either directly or through its Sponsored Merchants.

Effective 1 July 2011, a Payment Service Provider (PSP) must provide customer service either
directly or through its Sponsored Merchant.

• For a Transaction completed at an Electronic Commerce Sponsored Merchant, a PSP must
  provide customer service through its Website if a Cardholder accesses the PSP Website directly.
• For a Transaction that is not completed at an Electronic Commerce Sponsored Merchant, customer
  service may be provided by the PSP or its Sponsored Merchant.

ID#: 111011-010410-0002893




18 October 2011                                    VISA PUBLIC                                     567
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 605 of 1319
                                                   PageID #: 3798
                                    Visa International Operating Regulations




Internet Payment Service Provider Processing Requirements - U.S. Region (Updated)

Effective through 30 June 2011, in the U.S. Region, if a Cardholder accesses a Sponsored
Merchant's Website and is then linked to the Internet Payment Service Provider (IPSP) Website for
payment:

• The IPSP name must appear in the Clearing Record in conjunction with the Sponsored Merchant's
  name
• Processing requirements apply, as specified in "VisaNet Clearing Message Content
  Standards" (Exhibit NN)

ID#: 111011-010410-0005106



Payment Service Providers (PSP) Acquirer Requirements


Acquirer Responsibility for Payment Service Providers

Effective 1 July 2011, a Payment Service Provider (PSP) that contracts with an Acquirer to provide
payment-related services to a Sponsored Merchant will be considered a Merchant. An Acquirer that
contracts with a PSP is liable for all acts, omissions, and other adverse conditions caused by the PSP
and its Sponsored Merchants, including, but not limited to:

• Chargebacks
• Failure to provide service
• Related legal costs
• Settlement to the PSP or Sponsored Merchant

The acts and omissions caused by a Sponsored Merchant will be treated as those of the PSP and
those caused by a PSP or a Sponsored Merchant as those of the Acquirer.

ID#: 111011-010410-0006574



Acquirer Contractual Requirements with Internet Payment Service Providers
(Updated)

Effective through 30 June 2011, an Acquirer that contracts with an Internet Payment Service
Provider (IPSP) must:

• Ensure that the IPSP and its Sponsored Merchants comply with the Visa International Operating
  Regulations
• Ensure that the IPSP does not contract with a Sponsored Merchant outside the Acquirer's
  jurisdiction




568                                                VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 606 of 1319
                                               PageID #: 3799
                                    Visa International Operating Regulations


• Directly credit the IPSP for its Deposit. An Acquirer that contracts with both an IPSP and a
  Sponsored Merchant may directly credit the Sponsored Merchant for its portion of the Deposit, as
  permitted by local law.

ID#: 111011-010410-0005269



Payment Service Provider Registration (New)

Effective 1 July 2011, an Acquirer must ensure that each of its Payment Service Providers (PSP)
is registered with Visa before entering Transactions into Interchange on behalf of the PSP or its
Sponsored Merchant.

To register, the Acquirer must send to Visa, as specified by Visa, registration forms and supporting
documentation to confirm that the Acquirer has performed a comprehensive risk and financial review
of the PSP, as specified in Third Party Agent Due Diligence Risk Standards.

Registration materials must be submitted using the Visa Membership Management application or as
specified by Visa.

The Acquirer must receive from Visa written confirmation of approval and registration of the PSP
before entering any Transactions into Interchange on behalf of the PSP or its Sponsored Merchant.

Visa may assess a fee to the Acquirer for each Payment Service Provider registered, as specified in
the appropriate regional fee guide.

ID#: 111011-010711-0026435



Ineligible Payment Service Provider Merchant Types (New)

Effective 1 July 2011, an Acquirer must not allow its Payment Service Provider (PSP) to provide
payment services to the following merchant types, regardless of whether the PSP has a Merchant
Agreement with merchants in these merchant categories. However, an Acquirer may sign a Merchant
Agreement directly with these entities:

• Buyers clubs/membership clubs
• Credit counseling or credit repair services
• Credit protection/identity theft protection
• Direct marketing - subscription merchants
• Infomercial merchants
• Internet pharmacies
• Internet pharmacy referral sites
• Multi-level marketing businesses
• Outbound telemarketers
• Rebate-based businesses
• Up-Selling merchants


18 October 2011                                    VISA PUBLIC                                      569
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 607 of 1319
                                                   PageID #: 3800
                                    Visa International Operating Regulations



The merchant types above may be classified with Merchant Category Codes 4814, 5912, 5962, 5966,
5968, and 5969, and are ineligible for Sponsored Merchant status.

ID#: 111011-010711-0026436



Sponsored Merchant MCC Requirements (Updated)

Effective through 30 June 2011, an Acquirer must ensure that the Internet Payment Service
Provider (IPSP) uses:

• The appropriate Merchant Category Code for each Sponsored Merchant in the Authorization and
  Clearing Record, as specified in the Visa Merchant Data Standards Manual
• Merchant Category Code 7995, "Betting, including Lottery Tickets, Casino Gaming Chips, Off-
  Track Betting, and Wagers at Race Tracks," for a Sponsored Merchant that provides gaming chips
  or electronic funds to be used for online gambling, even if gambling services is not the Sponsored
  Merchant's primary business

Effective 1 July 2011, an Acquirer must ensure that a Payment Service Provider uses:

• The appropriate Merchant Category Code for each Sponsored Merchant in the Authorization
  Request and Clearing Record, as specified in the Visa Merchant Data Standards Manual
• Merchant Category Code 7995, "Betting, including Lottery Tickets, Casino Gaming Chips, Off-
  Track Betting, and Wagers at Race Tracks," for a Sponsored Merchant that provides gaming chips
  or electronic funds to be used for online gambling, even if gambling services is not the Sponsored
  Merchant's primary business

ID#: 111011-150210-0005271



Payment Service Provider Restrictions (New)

Effective 1 July 2011, an Acquirer must ensure that its Payment Service Provider (PSP) does not
deposit Transactions on behalf of another PSP.

ID#: 111011-010711-0026437



Payment Service Provider Activity Reporting (New)

Effective 1 July 2011, upon Visa request, an Acquirer must submit to Visa activity reporting on its
Payment Service Provider's Sponsored Merchants that includes, for each Sponsored Merchant:

• Sponsored Merchant name
• Merchant Category Code
• Sales count and amount
• Chargeback count and amount

ID#: 111011-010711-0026438




570                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 608 of 1319
                                               PageID #: 3801
                                    Visa International Operating Regulations




Acquirer Responsibility for Internet Payment Service Providers - U.S. Region
(Updated)

Effective through 30 June 2011, in the U.S. Region, an Internet Payment Service Provider (IPSP)
that contracts with an Acquirer to provide payment-related services to Sponsored Merchants will be
treated as a Merchant.

An Acquirer is liable for all acts and omissions caused by an IPSP and its Sponsored Merchants,
including, but not limited to:

• Chargebacks
• Failure to provide service
• Related legal costs

The acts and omissions caused by a Sponsored Merchant will be treated as those of the IPSP.

ID#: 111011-010410-0005089



Internet Payment Service Provider Registration - U.S. Region (Updated)

Effective through 30 June 2011, a U.S. Acquirer must ensure that each of its Internet Payment
Service Providers (IPSPs) is registered with Visa before entering Transactions into Interchange.

To register, the Acquirer must send the following to Visa:

• The "Visa/Interlink Network/Plus Independent Sales Organization/Third-Party Servicer/Merchant
  Servicer Registration" form for the IPSP
• Supporting documentation to confirm that the Acquirer has performed a comprehensive risk and
  financial review of the IPSP, as specified in the Third Party Agent Due Diligence Risk Standards
• The electronic "Sponsored Merchant Registration" form with a comprehensive list of all Sponsored
  Merchants.

Registration materials must be sent via certified mail (return receipt requested) to:

Visa
Franchise Management
Mail Stop M3 - 4C
P.O. Box 8999
San Francisco, CA 94128-8999

ID#: 111011-010410-0008664




18 October 2011                                    VISA PUBLIC                                       571
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 609 of 1319
                                                   PageID #: 3802
                                    Visa International Operating Regulations




Ineligible Internet Payment Service Provider Merchant Types - U.S. Region (Updated)

Effective through 30 June 2011, a U.S. Acquirer must not allow its Internet Payment Service
Provider (IPSP) to provide payment services to the following merchant types. However, an Acquirer
may sign a Merchant Agreement directly with these entities:

• Buyers clubs/Membership clubs
• Credit counseling or credit repair services
• Credit protection/Identity theft protection
• Direct marketing - subscription merchants
• Infomercial merchants
• Internet pharmacies
• Internet pharmacy referral sites
• Multi-level marketing businesses
• Outbound telemarketers
• Prepaid phone cards
• Prepaid phone services
• Rebate-based businesses
• "Up-Sell" merchants

The merchant types above may be classified with Merchant Category Code values 4814, 5912, 5962,
5966, 5968, and 5969, and are ineligible for Sponsored Merchant status.

ID#: 111011-150210-0005091



Internet Payment Service Provider Restrictions - U.S. Region (Updated)

Effective through 30 June 2011, a U.S. Acquirer must ensure that an Internet Payment Service
Provider (IPSP) does not operate as the Sponsored Merchant of another IPSP or deposit
Transactions on its behalf.

ID#: 111011-010410-0005093



Payment Service and Card Acceptance Requirements - U.S. Region (Updated)

Effective through 30 June 2011, a U.S. Acquirer must ensure that:

• Its Internet Payment Service Provider (IPSP) provides all payment-related services to Sponsored
  Merchants




572                                                VISA PUBLIC                      18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 610 of 1319
                                               PageID #: 3803
                                    Visa International Operating Regulations


• Sponsored Merchants meet all Card acceptance requirements and comply with the requirements
  for Electronic Commerce Merchants

ID#: 111011-150210-0006101



Monthly Internet Payment Service Provider Sponsored Merchant Activity Reporting -
U.S. Region (Updated)

Effective through 30 June 2011, Visa must receive monthly activity reporting from U.S. Acquirers on
their Internet Payment Service Provider (IPSP) Sponsored Merchants that includes:

• Sponsored Merchant name
• Merchant Category Code
• Sales count and amount
• Chargeback count and amount

ID#: 111011-150210-0005105



High-Risk Internet Payment Service Providers


High-Risk Internet Payment Service Provider Registration (Updated)

Effective 1 December 2011, an Acquirer must register each Payment Service Provider (PSP)
considered to be high-brand risk with Visa as a High-Risk Internet Payment Service Provider,
regardless of whether or not that PSP has been previously registered with Visa.

The Acquirer must receive written confirmation of approval and registration of the High-Risk Internet
Payment Service Provider before entering any High-Brand Risk Transactions into Interchange.

Visa may assess a registration fee and annual charge to the Acquirer for each High-Risk Internet
Payment Service Provider registered, as specified in the appropriate regional fee guide.

ID#: 111011-011211-0026328



High-Risk Internet Payment Service Provider Processing Requirements (New)

Effective 1 December 2011, if a Cardholder accesses the Website of an Electronic Commerce
Merchant considered to be high-brand risk or that of a High-Brand Risk Sponsored Merchant and is
then linked to the Website of the High-Risk Internet Payment Service Provider for payment:

• The name of the High-Risk Internet Payment Service Provider must appear in the Authorization
  Request and Clearing Record in conjunction with the name of the High-Brand Risk Sponsored
  Merchant




18 October 2011                                    VISA PUBLIC                                      573
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 611 of 1319
                                                   PageID #: 3804
                                    Visa International Operating Regulations


• The High-Risk Internet Payment Service Provider must comply with the Transaction processing
  requirements, as specified in the VisaNet manuals

ID#: 111011-011211-0026329



High-Risk Internet Payment Service Provider Fines (New)

Effective 1 December 2011, an Acquirer that fails to comply with registration program requirements
for High-Risk Internet Payment Service Providers is assessed a fine, as follows:

• US $25,000 per month per High-Brand Risk Sponsored Merchant or High-Risk Internet Payment
  Service Provider
• After 3 violations in a calendar year, one or both of the following:
  – US $100,000 for each 30-calendar-day period of non-compliance
  – Prohibition against signing High-Brand-Risk Sponsored Merchants

ID#: 111011-011211-0026334



High-Risk Internet Payment Service Provider Contractual Obligation (New)

Effective 1 December 2011, an Acquirer must ensure that its High-Risk Internet Payment Service
Providers and High-Brand Risk Sponsored Merchants are contractually obligated to operate in
accordance with the Visa International Operating Regulations.

ID#: 111011-010100-0026331



High-Risk Internet Payment Service Provider Agreement Requirements (Updated)

Effective 1 December 2011, an Acquirer must ensure that a High-Risk Internet Payment Service
Provider Agreement requires:

• That the High-Brand Risk Sponsored Merchant Agreement be signed by a senior officer of the
  High-Risk Internet Payment Service Provider
• The High-Risk Internet Payment Service Provider to report:
  – Acquisition of new High-Brand Risk Sponsored Merchants
  – Monthly Transaction activity for all High-Brand Risk Sponsored Merchants

The reports must be provided to Visa in specified electronic formats available from Visa upon request.

ID#: 111011-011211-0026332



Visa Right to Prohibit or Disqualify Sponsored Merchants - U.S. Region

Visa may prohibit a U.S. Acquirer from including any Merchant as a High-Risk Sponsored Merchant in
its High-Risk Internet Payment Service Provider portfolio if the Merchant either:



574                                                VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 612 of 1319
                                               PageID #: 3805
                                    Visa International Operating Regulations


• Generates or has a history of generating excessive levels of exception items (Chargebacks and/or
  credits) within a 12-month period
• Takes action to evade responsibility for compliance with the Visa International Operating
  Regulations

Visa may disqualify a High-Risk Internet Payment Service Provider or High-Risk Sponsored Merchant
in accordance with the High-Risk Chargeback Monitoring Program or for other activity that causes
undue harm to the Visa system.

ID#: 010410-010410-0008667



High-Risk Internet Payment Service Provider Eligibility - U.S. Region

Effective through 30 November 2011, before entering into a Merchant Agreement with a High-Risk
Internet Payment Service Provider, a U.S. Acquirer must:

• Be in good standing in all Visa risk management programs
• Meet the Acquirer Tier 1 capital requirement

ID#: 111011-010410-0003519



High-Risk Internet Payment Service Provider Registration - U.S. Region (Updated)

Effective through 30 November 2011, a U.S. Acquirer must register a High-Risk Internet Payment
Service Provider and its High-Risk Sponsored Merchants with Visa before entering Transactions into
Interchange.

Visa assesses a registration fee and annual charge for High-Risk Internet Payment Service Providers
and High-Risk Sponsored Merchants, as specified in the Visa U.S.A. Fee Guide.

ID#: 111011-010410-0008665



High-Risk Internet Payment Service Provider Fines - U.S. Region (Updated)

Effective through 30 November 2011, a U.S. Acquirer that fails to comply with registration program
requirements for High-Risk Internet Payment Service Providers is assessed a fine, as follows:

• US $25,000 per month per High-Risk Sponsored Merchant or High-Risk Internet Payment Service
  Provider
• After 3 violations in a calendar year, one or both of the following:
  – US $100,000 for each 30-calendar-day period of non-compliance
  – Prohibition against signing High-Risk Sponsored Merchants

ID#: 111011-010410-0003523




18 October 2011                                    VISA PUBLIC                                     575
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15        Page: 613 of 1319
                                                   PageID #: 3806
                                    Visa International Operating Regulations




High-Risk Internet Payment Service Provider Contractual Obligation - U.S. Region
(Updated)

Effective through 30 November 2011, a U.S. Acquirer must ensure that High-Risk Internet Payment
Service Providers and High-Risk Sponsored Merchants are contractually obligated to operate in
accordance with the Visa International Operating Regulations.

ID#: 111011-010410-0007313



High-Risk Internet Payment Service Provider Agreement Requirements - U.S. Region
(Updated)

Effective through 30 November 2011, a U.S. Acquirer must ensure that the Internet Payment
Service Provider Agreement requires:

• That the High-Risk Sponsored Merchant Agreement be signed by a senior officer of the High-Risk
  Internet Payment Service Provider
• The High-Risk Internet Payment Service Provider to report:
  – Acquisition of new High-Risk Sponsored Merchants (using the electronic "High-Risk Sponsored
    Merchant Registration" form)
  – Monthly Transaction activity for all High-Risk Sponsored Merchants

The reports must be provided to Visa in specified electronic formats available from Visa upon request.

ID#: 111011-010410-0003522




Up-Selling and Negative Option Transactions

Up-Selling and Negative Option General Requirements


Up-Selling Merchant Requirements (New)

Effective 1 June 2011, an Up-Selling Merchant must comply with all of the following:

• Clearly disclose to the Cardholder all of the following:
  – The name of the Up-Selling Merchant offering the goods and/or services, in a manner that
    clearly differentiates the Up-Selling Merchant from the initial Merchant
  – A description of the goods and/or services being offered
  – The length of the trial period, if offered, including clear disclosure that the Cardholder will be
    charged unless the Cardholder takes steps to cancel the subsequent Transaction
  – The Transaction amount and Transaction Date for the goods and/or services purchased



576                                                VISA PUBLIC                             18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15         Page: 614 of 1319
                                               PageID #: 3807
                                    Visa International Operating Regulations


    – The cancellation policy for all goods and/or services being offered
• Obtain an Authorization for the initial Transaction and any subsequent Transactions, as specified in
  “Recurring Transaction Processing”
• Obtain express informed consent from the Cardholder for the subsequent Transactions by requiring
  the Cardholder to undertake all of the following:
    – Enter their personal Account Number for the subsequent Transaction
    – Enter the name and address and contact details of the Cardholder
    – Perform an additional affirmative action, such as clicking a confirmation button or other
      authentication, as permitted by local applicable law, to indicate Cardholder consent for
      participation in the Transaction
•   Comply with all other Transaction processing requirements, as specified in the Visa International
    Operating Regulations

ID#: 111011-010611-0026364



Negative Option Merchant Requirement (New)

Effective 1 June 2011, a Negative Option Merchant must comply with all of the following
requirements:

• Obtain express informed consent from the Cardholder by disclosing all purchase terms and
  conditions prior to initiating the initial Transaction, including, but not limited to:
    – The name of the Merchant offering the goods and/or services
    – A description of the goods and/or services being offered
    – The Transaction amount and Transaction Date (for each recurring charge) for goods and/or
      services purchased
    – The length of the trial period, if offered, including clear disclosure that the Cardholder will be
      charged unless the Cardholder takes steps to cancel the subsequent Transaction
• The cancellation policy for all goods and/or services being offered, if the initial Cardholder
  acceptance of such goods and/or services was online
• Provide a simple mechanism for the Cardholder to cancel charges, including recurring charges, if
  the Cardholder purchased the goods and/or services online
• Comply with all other Transaction requirements, as specified in the Visa International Operating
  Regulations

ID#: 111011-010611-0026365




18 October 2011                                    VISA PUBLIC                                             577
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15       Page: 615 of 1319
                                                   PageID #: 3808
                                    Visa International Operating Regulations




Recurring Transactions

Recurring Transaction General Requirements


General Requirements for Recurring Transactions (Updated)

A Recurring Services Merchant must:

• Effective through 31 May 2011, obtain Cardholder permission to periodically charge for recurring
  services, in a format including, but not limited to:
  – E-mail or other electronic record
  – Hard copy correspondence
• Effective 1 June 2011, obtain a completed order form, or written Cardholder permission to
  periodically charge for recurring goods or services, in a format including but not limited to, e-mail or
  other electronic record or hardcopy correspondence. This written permission must include, at least,
  but is not limited to, the following:
  – Transaction amount, unless the Recurring Transactions are for varying amounts
  – Frequency of the recurring charges
  – Duration for which Cardholder permission is granted
• Retain this permission for the duration of the recurring services and provide it upon Issuer request
• Provide a simple and easily accessible online cancellation procedure if the Cardholder request for
  goods or services was initially accepted online
• Effective 1 June 2011, obtain subsequent written Cardholder permission when a Recurring
  Transaction is renewed

ID#: 111011-010410-0002932



Recurring Transaction Processing (Updated)

Effective through 31 May 2011, for a Recurring Services Transaction, a Merchant must:

• Obtain an Authorization
• Write "Recurring Transaction" on the signature line of the Transaction Receipt
• For a recurring Electronic Commerce Transaction, include on the Transaction Receipt the
  frequency and duration of the Recurring Transactions, as agreed to by the Cardholder

Effective 1 June 2011, for a Recurring Transaction a Merchant must:

• Confirm the Transaction amount unless the Recurring Transactions are for varying amounts
• Obtain an Authorization for each Transaction in the series



578                                                VISA PUBLIC                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 616 of 1319
                                               PageID #: 3809
                                    Visa International Operating Regulations


• Obtain the Cardholder signature, or an electronic signature or other similar authentication, that is
  effective as Cardholder consent under applicable law
• Write "Recurring Transaction" on the signature line of the Transaction Receipt
• For an Electronic Commerce Transaction that is a Recurring Transaction, include on the
  Transaction Receipt the frequency and duration of the Recurring Transactions, as agreed to, in
  writing, by the Cardholder

ID#: 111011-010410-0003665



Recurring Services Merchant Prohibitions (Updated)

A Recurring Services Merchant must not:

• Include partial payment for goods or services purchased in a single Transaction
• Include additional finance charges on a Recurring Transaction
• Complete a Recurring Transaction if it receives a Decline Response or a cancellation notice from
  the Cardholder
• Effective 1 June 2011, disclose an Account Number, personal information, or other Transaction
  Information to any entity other than to a registered Third Party, the Acquirer, or Agent, except for
  the purpose of completing a Transaction

ID#: 111011-010410-0002933



Recurring Electronic Commerce Transactions

The initial Transaction for a recurring Electronic Commerce Transaction must be processed with the
appropriate Electronic Commerce Transaction indicator values, as specified in:

• "BASE II Record Requirements" (Exhibit 2L)
• "Required Message Content for VisaNet Financial Transactions" (Exhibit 3A)
• "Required Message Content for VisaNet Authorization Requests" (Exhibit 3B)

Subsequent recurring Electronic Commerce Transactions must be completed as specified in
"Recurring Transaction Processing" and "BASE II Record Requirements" (Exhibit 2L).

ID#: 031209-150210-0003111



Merchant Requirements for Recurring Transactions - U.S. Region (Updated)

Effective through 31 May 2011, in the U.S. Region, a Recurring Services Merchant must:

• Obtain from the Cardholder a completed Order Form containing a written request for the goods
  or services to be charged to the Cardholder's account. The Order Form must include, but is not
  limited to, the following:
  – Transaction amount, unless the Recurring Transactions are for varying amounts


18 October 2011                                    VISA PUBLIC                                           579
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 617 of 1319
                                                   PageID #: 3810
                                    Visa International Operating Regulations


  – Frequency of the recurring charges
  – Duration of time for which Cardholder permission is granted
• Retain a copy of the Order Form for the duration of the recurring services and provide it upon
  Issuer request
• Write the words "Recurring Transaction" on the signature line of the Transaction Receipt
• Provide a subsequent Order Form when a Recurring Transaction is renewed
• Obtain the Cardholder signature, or an electronic signature or other similar authentication, that is
  effective under applicable law

For an Electronic Commerce Transaction, the Recurring Services Merchant must also:

• Include on the Transaction Receipt the frequency and duration of the Recurring Transaction, as
  agreed to by the Cardholder
• Provide a simple and easily accessible online cancellation procedure, if the Cardholder request for
  goods or services was initially accepted online

ID#: 151011-010410-0002926



Notification Requirements for Recurring Transactions - U.S. Region

In the U.S. Region, for Recurring Transactions of varying amounts, the:

• Order Form must allow the Cardholder to specify a minimum and maximum Transaction amount
  to be charged, unless the Cardholder will be notified of the amount and date of each charge, as
  specified below
• Merchant must inform the Cardholder of their right to receive, at least 10 calendar days before
  each scheduled Transaction Date, written notification of the amount and date of the next charge

The Cardholder may choose to receive the notification:

• For every charge
• When the Transaction amount does not fall within the range of amounts specified on the Order
  Form
• When the Transaction amount will differ from the most recent charge by more than an agreed-upon
  amount

ID#: 010410-010410-0002930



Recurring Services Merchant Contact Information

For a Recurring Transaction, an Acquirer must:

• Ensure that its Recurring Services Merchant obtains an Authorization for all Recurring Transactions
• Transmit the Recurring Transaction indicator in the:
  – Authorization Request


580                                                VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 618 of 1319
                                               PageID #: 3811
                                    Visa International Operating Regulations


  – Clearing Record

The Clearing Record for a Recurring Transaction must contain Merchant contact information in the
Merchant name or Merchant city fields that enables the Cardholder to contact the Merchant directly.

ID#: 010410-010410-0008652




Installment Transactions

Installment Transaction General Requirements


Installment Transaction General Requirements

A Merchant that offers Installment Transactions must:

• Disclose in writing, electronically or by another method, to the Cardholder the terms of the
  Installment Transaction, including:
  – All costs associated with the purchase of the goods or services
  – Transaction Currency agreed to by the Cardholder
  – That Transaction amounts may vary due to Currency Conversion Rate fluctuations
• Not submit an Installment Transaction Receipt to its Acquirer at intervals of less than 7 calendar
  days
• Not submit an initial Installment Transaction Receipt to its Acquirer until the merchandise has been
  shipped, unless the Merchant requires a "down payment" or deposit for custom-order goods
• Authorize the initial and all subsequent Transactions (Zero Floor Limit applies)

ID#: 010410-010410-0002891



Liability for Installment Transactions

Except as specified in the Visa International Certificate of Incorporation and Bylaws, Visa assumes
no liability for Installment Transactions processed more than 30 calendar days from the Authorization
date.

ID#: 031209-150210-0002892



Installment Billing Transaction Option - U.S. Region

In the U.S. Region, a Mail/Phone Order or Electronic Commerce Merchant may offer Cardholders an
Installment Billing Transaction option.

If offered, the U.S. Merchant must:




18 October 2011                                    VISA PUBLIC                                         581
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15       Page: 619 of 1319
                                                   PageID #: 3812
                                    Visa International Operating Regulations


• Disclose in writing the terms, including, but not limited to whether the installment terms are limited
  to certain goods that a Cardholder may purchase. The written disclosure must also include the
  shipping and handling charges and any applicable tax.
• Inform the Cardholder not billed in the Transaction Currency of the Merchant that each Installment
  Billing Transaction amount may vary due to Currency Conversion Rate fluctuations
• Ensure that the sum of the Installment Billing Transactions does not include any finance charge or
  exceed the total price of the goods
• Authorize all Installment Billing Transactions

The Merchant must not add finance charges to an Installment Billing Transaction.

ID#: 010410-010410-0008638




Delayed Delivery Transactions

Delayed Delivery Transaction General Requirements


Delayed Delivery Transaction Authorization

A Merchant completing a Delayed Delivery Transaction must obtain an Authorization if the cumulative
total of both Transaction Receipts exceeds the Floor Limit. The Merchant must obtain Authorization
for each Delayed Delivery Transaction on each Transaction Date.

ID#: 010410-010410-0002879



Delayed Delivery Transaction Date

For Delayed Delivery Transactions, the Transaction Date for goods and services not shipped within
30 calendar days of the order is the shipment date.

ID#: 010410-010410-0002880



Delayed Delivery Transaction Initial Deposit Time Frame

For Delayed Delivery Transactions, the Merchant may deposit the Transaction Receipt for the
delayed delivery deposit before delivery of the goods or services.

For Delayed Delivery Transactions, the Merchant must not deposit the Transaction Receipt for the
balance before delivery of the goods or services.

ID#: 010410-010410-0008993




582                                                VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 620 of 1319
                                               PageID #: 3813
                                    Visa International Operating Regulations




Delayed Delivery Transaction Receipt Requirements


Delayed Delivery Transaction Receipt

For Delayed Delivery Transactions, the Merchant must write the word "Deposit" or "Balance" on the
appropriate Transaction Receipt.

ID#: 031209-150210-0005051



Retaining Delayed Delivery Transaction Deposit

For Delayed Delivery Transactions, the Merchant may retain the deposit if the:

• Merchant received a Decline Response for the balance
• Balance was not paid by other means
• Transaction Receipt states that the deposit is nonrefundable

ID#: 050411-010410-0002884



Delayed Delivery Transaction Receipt - U.S. Region

In the U.S. Region, for Delayed Delivery Transactions, the Merchant must:

• Assign a separate Authorization number for each Transaction Receipt
• Write the following information on the appropriate Transaction Receipt:
  – Words "Delayed Delivery"
  – Word "Deposit" or "Balance," as appropriate
  – Authorization date and Authorization Code, if applicable

ID#: 031209-150210-0002925




Advance Payment Transactions - U.S. Region

Advance Payment General Requirements


Advance Payment Deposit - U.S. Region

In the U.S. Region, an Advance Payment Service Merchant may deposit a Transaction Receipt
representing a partial or complete advance payment.




18 October 2011                                    VISA PUBLIC                                     583
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 621 of 1319
                                                   PageID #: 3814
                                    Visa International Operating Regulations



The Merchant must complete a Transaction Receipt for the amount of the advance payment,
including:

• Words "Advance Payment" on the signature line
• Cardholder's Account Number, telephone number, and mailing address
• Card expiration date
• Cardholder name on the Card

ID#: 010410-010410-0008654



Acquirer Requirements for Advance Payment Service - U.S. Region 5.4.U

A U.S. Acquirer must obtain all of the following from a Merchant participating in the Advance Payment
Service:

• Merchant name
• Address of each Merchant Outlet and type of service provided
• Number of years in business
• Number of years of ownership of the current business
• Chargeback/fraud ratios from the previous 6 months
• Configuration of cancellation codes
• Outline of the Merchant's procedures, including written cancellation policy and telephone script for
  accepting Advance Payment Service Transactions

ID#: 010410-010410-0005226



Merchant Agreement for Advance Payment Service - U.S. Region 5.4.U

A U.S. Acquirer must incorporate at least the substance of the Advance Payment Service
requirements into all Merchant Agreements, either as part of the Merchant Agreement or a separate
contract, for each of its Advance Payment Service Merchants.

ID#: 010410-010410-0005214



Advance Payment Procedures - U.S. Region 5.4.U

A U.S. Merchant participating in the Advance Payment Service must:

• Accept all Cards in its category of acceptance for advance payment when the Cardholder agrees to
  the Advance Payment Service
• Determine the amount of the Advance Payment Service Transaction. The Transaction amount
  must not exceed the total price of the reserved services or activity.
• Inform the Cardholder of the following:


584                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 622 of 1319
                                               PageID #: 3815
                                    Visa International Operating Regulations


  – Total price of the services or activity
  – Advance payment amount
  – Advance payment confirmation code
  – Cancellation terms. If a cancellation request is not received within the cancellation time specified
    by the Merchant, the Cardholder must forfeit the advance payment amount.
• Obtain all of the following:
  – Cardholder's Account Number, telephone number, and mailing address
  – Card expiration date
  – Cardholder name on the Card

ID#: 010410-010410-0005215



Written Confirmation of Advance Payment Service Transaction - U.S. Region

If a U.S. Merchant receives an Approval Response for an Advance Payment Service Transaction, the
Merchant must:

• Deposit the Transaction Receipt, as specified in the Visa International Operating Regulations
• Mail a written confirmation to the Cardholder with a:
  – Copy of the Transaction Receipt
  – Cancellation policy, including any applicable limitations relating to "bad weather" cancellations

For an advance payment made less than 72 hours before the scheduled commencement of services,
a written confirmation is required only upon Cardholder request.

If the Merchant receives a Decline Response, the Merchant must advise the Cardholder and must
not deposit the Transaction Receipt.

ID#: 031209-150210-0008650



Advance Payment Service Cancellation Procedures - U.S. Region 5.4.U

A U.S. Merchant participating in the Advance Payment Service must:

• Accept all cancellation requests, provided that the request is made before the specified
  cancellation date and time
• Provide a cancellation number and advise the Cardholder to retain it in case of a dispute
• Complete a Credit Transaction Receipt for the amount of the advance payment with the:
  – Words "Advance Payment" on the signature line
  – Cardholder's Account Number and mailing address
  – Card expiration date
  – Cardholder name on the Card


18 October 2011                                    VISA PUBLIC                                          585
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15                     Page: 623 of 1319
                                                   PageID #: 3816
                                    Visa International Operating Regulations


  – Cancellation number
• Mail the Credit Transaction Receipt to the address indicated by the Cardholder within 3 business
  days from the Transaction Date

ID#: 010410-010410-0005219




Dynamic Currency Conversion

Dynamic Currency Conversion - General Requirements


Dynamic Currency Conversion VisaNet Processor or Third Party Participation

Effective 1 May 2010 through 6 October 2010, a VisaNet Processor or Third Party must not
process a Dynamic Currency Conversion Transaction from a Merchant Outlet that was not actively
conducting Dynamic Currency Conversion as of 30 April 2010.

ID#: 050411-010510-0025738



Penalties for Incorrect Use of Dynamic Currency Conversion

An Acquirer, VisaNet Processor, or Third Party Agent that offers Dynamic Currency Conversion,
must effect a timely resolution of violations of the Visa International Operating Regulations. The table
below specifies the actions and penalties that may occur when an Acquirer, Merchant Outlet, VisaNet
Processor, or Third Party Agent violates the Dynamic Currency Conversion requirements.


                            Dynamic Currency Conversion Actions and Penalties

       Dynamic                               Event                                     Visa Action or Fine
       Currency
      Conversion
        Action

      Registration      Effective through 6 October 2010,                 Notification of violation with specific date of
      of Acquirer,      Acquirer fails to register itself, its Merchant   correction and request for action plan
      VisaNet           Outlet, its VisaNet Processor, or Third Party
      Processor or      Effective 7 October 2010, Acquirer fails
      Third Party       to register itself, its VisaNet Processor or
      Agent             Third Party Agent.

                        Failure to register within 10 calendar days       Effective through 6 October 2010, US
                        from the date of notification letter on failure   $10,000 fine per unregistered Acquirer,
                        to register                                       Merchant Outlet, VisaNet Processor, or
                                                                          Third Party Agent per month . Effective
                                                                          7 October 2010, US $10,000 fine per
                                                                          unregistered Acquirer, VisaNet Processor,
                                                                          or Third Party Agent per month




586                                                  VISA PUBLIC                                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                    Page: 624 of 1319
                                               PageID #: 3817
                                    Visa International Operating Regulations


      Dynamic                                Event                                     Visa Action or Fine
      Currency
     Conversion
       Action

                        Failure to register within 30 calendar days       Visa may:
                        from the date of notification letter on failure
                                                                          • Require the Acquirer to stop the Dynamic
                        to register
                                                                            Currency Conversion being offered by
                                                                            the unregistered , VisaNet Processor, or
                                                                            Third Party Agent
                                                                          • Prohibit the Acquirer from contracting
                                                                            with any Dynamic Currency Conversion ,
                                                                            VisaNet Processor, or Third Party Agent

    Registration        Effective 7 October 2010, Acquirer fails to       Effective 7 October 2010, notification of
    of Merchant         register its Dynamic Currency Conversion          violation with specific date of correction and
    and Merchant        enabled Merchant or Merchant Outlet as            request for action plan
    Outlet              per the International Transactions Guide

                        Effective 7 October 2010, failure to              Effective 7 October 2010, US $10,000
                        register in the next quarterly registration       fine per unregistered Merchant or Merchant
                        cycle                                             Outlet, per quarterly registration cycle

    Certification       Effective 1 May 2010 through 6 October            Notification of violation with specific date of
                        2010, failure of Acquirer to certify itself or    correction and request for action plan
                        its Merchant Outlet, VisaNet Processor, or
                        Third Party by 1 October 2010
                        Effective 7 October 2010, failure of
                        Acquirer to certify itself, its VisaNet
                        Processor or Third Party Agent

                        Failure to certify within 10 calendar days        Effective through 6 October 2010, US
                        from the date of notification letter on failure   $10,000 fine per uncertified Acquirer,
                        to certify                                        Merchant Outlet, VisaNet Processor, or
                                                                          Third Party per month
                                                                          Effective 7 October 2010, US $10,000
                                                                          fine per month per uncertified Acquirer,
                                                                          VisaNet Processor or Third Party Agent, or
                                                                          per Merchant Outlet using an uncertified
                                                                          Dynamic Currency Conversion solution




18 October 2011                                      VISA PUBLIC                                                        587
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15                     Page: 625 of 1319
                                                   PageID #: 3818
                                    Visa International Operating Regulations


       Dynamic                               Event                                     Visa Action or Fine
       Currency
      Conversion
        Action

                        Failure to certify within 30 calendar days        Visa may:
                        from the date of notification letter on failure
                                                                          • Effective through 6 October 2010,
                        to certify
                                                                            require the Acquirer to stop the Dynamic
                                                                            Currency Conversion being offered by
                                                                            the uncertified Merchant Outlet, VisaNet
                                                                            Processor, or Third Party
                                                                            Effective 7 October 2010, require
                                                                            the Acquirer to stop the Dynamic
                                                                            Currency Conversion being offered by the
                                                                            uncertified VisaNet Processor or Third
                                                                            Party Agent or by the Merchant Outlet
                                                                            using an uncertified Dynamic Currency
                                                                            Conversion solution.
                                                                          • Prohibit the Acquirer from contracting
                                                                            with any Merchant Outlet, VisaNet
                                                                            Processor, or Third Party Agent offering
                                                                            Dynamic Currency Conversion

      Merchant          Merchant Outlet non-compliant with one or         Notification of violation with specific date of
      Outlet            more Dynamic Currency Conversion rules            correction and request for action plan
      Dynamic
      Currency          Failure to provide action plan for violation      US $10,000 fine per non-compliant Merchant
      Conversion        resolution within 30 calendar days from           Outlet per month
      Violations        the date of notification letter on Dynamic
                        Currency Conversion violation

                        Failure to provide action plan for violation      Visa may:
                        resolution within 60 calendar days from
                                                                          • Require the Acquirer to stop Dynamic
                        the date of notification letter on Dynamic
                                                                            Currency Conversion being offered by the
                        Currency Conversion violation
                                                                            Merchant Outlet
                                                                          • Prohibit the Acquirer from contracting
                                                                            with any Dynamic Currency Conversion
                                                                            Merchant Outlet




588                                                  VISA PUBLIC                                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                Page: 626 of 1319
                                               PageID #: 3819
                                    Visa International Operating Regulations


      Dynamic                                Event                                  Visa Action or Fine
      Currency
     Conversion
       Action

    Dynamic             Uncorrected Acquirer, Acquirer's Merchant       Visa may revoke Dynamic Currency
    Currency            Outlet, VisaNet Processor, or Third             Conversion approval from the Acquirer,
    Conversion          Party Dynamic Currency Conversion               an Acquirer's Merchant Outlet, VisaNet
    Approval            violation                                       Processor, or Third Party Agent for:
    Revocation
                                                                        • Repeated or persistent violation of the
                                                                          Visa International Operating Regulations
                                                                          following notice from Visa to the Acquirer
                                                                          to remedy any breach and failure to do so
                                                                          within a reasonable time frame
                                                                        • Repeated or persistent Cardholder
                                                                          complaints identified against an Acquirer
                                                                          or an Acquirer's Merchant Outlet, VisaNet
                                                                          Processor, or Third Party Agent within a
                                                                          3-month period and the Acquirer failed
                                                                          to comply with the Visa International
                                                                          Operating Regulations regarding its
                                                                          Merchant Outlet, VisaNet Processor,
                                                                          or Third Party Agent pertaining to
                                                                          disclosure, Cardholder choice, and fee
                                                                          disclosure
                                                                        • Failure to ensure proper Merchant
                                                                          Outlet staff training and retraining on
                                                                          Dynamic Currency Conversion to ensure
                                                                          compliance
                                                                        • Failure to prevent its Merchant Outlet
                                                                          from deploying a Point-of-Transaction
                                                                          Terminal or other Merchant Outlet
                                                                          procedures that will lead or have led
                                                                          to a violation of the Visa International
                                                                          Operating Regulations

ID#: 171011-010410-0001293



Transaction Currency Requirement - CEMEA Region

Effective 1 May 2010 through 6 October 2010, in the CEMEA Region, the currency of all
Transactions must be the legal local currency(ies) of the Transaction Country.

Effective through 6 October 2010, a CEMEA Member that acquires Account Funding Transactions
and Original Credit Transactions may submit Transactions into VisaNet in a foreign currency, subject
to approved program parameters. This option is available only to Sending Members participating in
money transfer.

ID#: 111011-010410-0005366




18 October 2011                                      VISA PUBLIC                                                     589
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 627 of 1319
                                                   PageID #: 3820
                                    Visa International Operating Regulations




Transaction Currency Requirement - LAC Region

Effective 1 May 2010 through 14 April 2011, in the LAC Region, the currency of all Transactions
must be the legal local currency(ies) of the Transaction Country.

ID#: 111011-010410-0005285



Dynamic Currency Conversion - Merchant Requirements


Dynamic Currency Conversion Merchant Participation

Effective 1 May 2010 through 6 October 2010, a Merchant Outlet that was not actively conducting
Dynamic Currency Conversion as of 30 April 2010 must not process a Dynamic Currency Conversion
Transaction.

Effective 1 May 2010 through 6 October 2010, if a Merchant Outlet that was registered with Visa
to offer Dynamic Currency Conversion, and was actively conducting Dynamic Currency Conversion
as of 30 April 2010, changes its Acquirer, VisaNet Processor, or Third Party Agent relationship and
wishes to continue performing Dynamic Currency Conversion, the new Acquirer, VisaNet Processor
or Third Party must already be registered or must register with Visa to offer Dynamic Currency
Conversion.

ID#: 050411-010510-0025739



Dynamic Currency Conversion Merchant Requirements

A Merchant offering Dynamic Currency Conversion must:

• Inform the Cardholder that Dynamic Currency Conversion is optional
• Not impose any additional requirements on the Cardholder to have the Transaction processed in
  the local currency
• Not use any language or procedures that may cause the Cardholder to choose Dynamic Currency
  Conversion by default
• Not misrepresent, either explicitly or implicitly, that its Dynamic Currency Conversion service is a
  Visa service
• Not convert a Transaction amount in the local currency that has been approved by the Cardholder
  into an amount in the Cardholder's billing currency after the Transaction has been completed but
  not yet entered into Interchange
• Ensure that the Cardholder expressly agrees to a Dynamic Currency Conversion Transaction, as
  specified in "Dynamic Currency Conversion Transaction Receipt Requirements"

ID#: 111011-010410-0003100




590                                                VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 628 of 1319
                                               PageID #: 3821
                                    Visa International Operating Regulations




Multi-Currency Priced Transaction Requirement

Effective 9 September 2010, in a Multi-Currency Priced Transaction, the displayed price and
currency selected by the Cardholder must be the same price and currency charged to the Cardholder,
printed on the Transaction Receipt, and entered into Interchange by the Acquirer, as specified in the
International Transactions Guide.

ID#: 050411-090910-0026216



Dynamic Currency Conversion Transaction Receipt Requirements

In both a Card-Present and Card-Absent Environment, a Transaction Receipt representing Dynamic
Currency Conversion at the Point-of-Transaction must show separately:

• Currency symbol of the Merchant's local currency
• Transaction amount of the goods or services purchased in the Merchant's local currency
• Exchange rate used to determine the Transaction amount
• Currency conversion commission, fees, or, effective 1 October 2010, mark up on the exchange
  rate over a wholesale rate or government mandated rate
• Currency symbol of the Transaction Currency
• Effective through 6 October 2010, total Transaction amount charged by the Merchant in the
  Transaction Currency, followed by the words "Transaction Currency"
• Effective 7 October 2010, total Transaction amount charged by the Merchant in the Transaction
  Currency, and the words "Transaction Currency"
• Statement, easily visible to the Cardholder, that specifies the:
  – Effective through 6 October 2010, Cardholder's selected Transaction Currency is final
  – Cardholder has been offered a choice of currencies for payment, including the Merchant's local
    currency
  – Effective 1 October 2010, Cardholder expressly agrees to the Transaction Receipt information
    by marking an “accept” box on the Transaction Receipt

Effective through 30 September 2010, the Transaction Receipt must indicate that the Dynamic
Currency Conversion is conducted by the Merchant or that the Dynamic Currency Conversion is not
associated with or endorsed by Visa.

Effective 1 October 2010, the Transaction Receipt must indicate that Dynamic Currency Conversion
is conducted by the Merchant .

ID#: 050411-010410-0003101




18 October 2011                                    VISA PUBLIC                                     591
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 629 of 1319
                                                   PageID #: 3822
                                    Visa International Operating Regulations




Dynamic Currency Conversion Card-Absent Environment Transactions

Effective 1 October 2010 through 30 September 2011, before initiating a Dynamic Currency
Conversion Mail/Phone Order or Electronic Commerce Transaction, a Merchant must notify the
Cardholder of all the information listed in “Dynamic Currency Conversion Transaction Receipt
Requirements.”

Effective 1 October 2010 through 30 September 2011, for an Electronic Commerce Transaction,
the Cardholder must confirm receipt of the information required in “Dynamic Currency Conversion
Transaction Receipt Requirements,” by clicking on an “accept” or other affirmative button on the
payment page for the Transaction to indicate that proper disclosure has occurred.

ID#: 050411-011010-0025742



Dynamic Currency Conversion Priority Check-Out and Express Return Requirements

Before initiating Dynamic Currency Conversion for a Priority Check-out Transaction or an express-
return car rental Transaction, the Merchant must complete a written agreement with the Cardholder
that specifies:

• Cardholder has agreed that Dynamic Currency Conversion will take place
• Cardholder has been offered a choice of currencies for payment, including the Merchant's local
  currency
• Specific Transaction Currency agreed to by the Cardholder and Merchant
• Effective through 6 October 2010, choice of currency decided on between the Cardholder and
  Merchant is final
• Effective 1 October 2010, Cardholder expressly agrees to DCC by marking an "accept" box on
  the written agreement
• Currency conversion commission, fees, or, effective 1 October 2010, mark-up on the exchange
  rate over a wholesale rate or government mandated rate
• Exchange rate will be determined by the Merchant at a later time without additional consultation
  with the Cardholder

Effective through 30 September 2010, the written agreement must indicate that the Dynamic
Currency Conversion is conducted by the Merchant or that the Dynamic Currency Conversion is not
associated with or endorsed by Visa.

Effective 1 October 2010, the written agreement must indicate that the Dynamic Currency
Conversion is conducted by the Merchant

The Merchant must disclose to the Cardholder all of the Transaction Receipt requirements specified
in "Dynamic Currency Conversion Transaction Receipt Requirements."

ID#: 050411-010410-0008642




592                                                VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 630 of 1319
                                               PageID #: 3823
                                    Visa International Operating Regulations




Dynamic Currency Conversion Requirements - U.S. Region

Effective through 30 April 2010, in the U.S. Region, a Cardholder must expressly agree to a
Dynamic Currency Conversion Transaction.

A U.S. Merchant must not:

• Use any contractual language or procedures that result in the Cardholder choosing a Dynamic
  Currency Conversion Transaction by default
• Convert a Transaction amount in a local currency into an amount in a Cardholder's billing currency
  after the Transaction has been completed but not yet entered into Interchange
• Perform Dynamic Currency Conversion on:
  – Contactless Payment Transactions
  – No Signature Required Transactions
  – Small Ticket Transactions

Effective 1 May 2010 through 6 October 2010, a U.S. Merchant must not perform Dynamic
Currency Conversion on:

• Contactless Payment Transactions
• No Signature Required Transactions
• Small Ticket Transactions

ID#: 050411-010410-0008639



Currency Conversion Agreement for T&E Express Transactions - U.S. Region

Effective through 6 October 2010, in the U.S. Region, a Car Rental Merchant or Lodging Merchant
that offers T&E Express Services may establish an agreement with a Cardholder, in advance of hotel
check-out or car rental return, that the currency conversion rate will be determined by the Merchant
at a later time, without further consulting the Cardholder. The operating requirements specified in the
"Dynamic Currency Conversion - Additional Requirements for T&E Express Service Transactions -
U.S. Region" table apply.

For a T&E Express Service Transaction, a Merchant must:

• Send the Cardholder a copy of the Transaction Receipt through the postal service (or e-mail, if
  selected by the Cardholder) within 3 business days of completing the Transaction
• Process any delayed or amended charges at the same currency conversion rate as the original
  Dynamic Currency Conversion Transaction

ID#: 050411-010410-0008656




18 October 2011                                    VISA PUBLIC                                      593
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15                  Page: 631 of 1319
                                                   PageID #: 3824
                                    Visa International Operating Regulations




Dynamic Currency Conversion Operating Requirements - U.S. Region

Effective through 30 April 2010, for a Dynamic Currency Conversion Transaction, a U.S. Merchant
must comply with operating requirements specific to each Transaction environment, as specified in
the tables below.


                          Dynamic Currency Conversion Transaction Receipt
                       Requirements - U.S. Region (Effective through 30 April 2010)

            Transaction
                                                                 Operating Requirements
            Environment

      All                            Transaction Receipt
                                     In addition to the Transaction Receipt requirements specified in "Electronic and
                                     Manual Transaction Receipts" (Exhibit S), a Transaction Receipt for a Dynamic
                                     Currency Conversion Transaction must include:
                                     • The price of the goods or services in the Merchant's local currency
                                       accompanied by the currency symbol next to the amount
                                     • The total price in the Transaction Currency accompanied by the words
                                       Transaction Currency and the currency symbol next to the amount
                                     • The exchange rate used
                                     • Any additional mark up, commission, or fee for the Dynamic Currency
                                       Conversion service
                                     • A statement in an area easily seen by the Cardholder that:
                                        – The Cardholder was offered the choice of payment in the Merchant's local
                                          currency
                                        – The choice of currency is final
                                        – Either the currency conversion will not be conducted by Visa or the
                                          Merchant or Acquirer, as applicable, is providing the currency conversion
                                          service
                                     Each of the above data elements must be shown separately.




594                                                VISA PUBLIC                                       18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                  Page: 632 of 1319
                                               PageID #: 3825
                                    Visa International Operating Regulations



         Dynamic Currency Conversion Additional Requirements for Mail/Phone Order or
        Electronic Commerce Transactions - U.S. Region (Effective through 30 April 2010)

          Transaction
                                                                  Operating Requirements
          Environment

    Mail/Phone Order or              Disclosure
    Electronic Commerce              Before initiating a Dynamic Currency Conversion Transaction in the Mail/Phone
                                     Order or electronic commerce environment, a U.S. Merchant must notify the
                                     Cardholder of the following:
                                     • Price of the goods or services in the Merchant's local currency
                                     • Exchange rate, including any commission
                                     • Total price in the Transaction Currency
                                     • That the Cardholder has a choice of currencies, including the Merchant's
                                       local currency
                                     • That the choice of currency is final
                                     For an Electronic Commerce Transaction, the Cardholder must confirm receipt
                                     of the above information by clicking on an "accept" or other affirmative button to
                                     ensure proper disclosure.


Effective through 6 October 2010, for a Dynamic Currency Conversion Transaction, a U.S.
Merchant must comply with operating requirements for T&E Express Service Transactions, as
specified in the table below.




18 October 2011                                     VISA PUBLIC                                                      595
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15                   Page: 633 of 1319
                                                   PageID #: 3826
                                    Visa International Operating Regulations



            Effective through 6 October 2010, Dynamic Currency Conversion Additional
                 Requirements for T&E Express Service Transactions - U.S. Region

           Transaction
                                                                  Operating Requirements
           Environment

      T&E Express Service            Documentation
      Transactions Hotel             For a T&E Express Service Transaction, a U.S. Merchant must document
      Check-out or Car Rental        the terms of the Dynamic Currency Conversion in a written agreement. The
      Return                         agreement must be signed by the Cardholder in advance of a hotel check-out or
                                     car rental return.
                                     The written agreement must document:
                                     • The specific currency in which the conversion will take place
                                     • That the Cardholder has been offered a choice of currencies, including the
                                       Merchant's local currency
                                     • That the Cardholder understands that a Dynamic Currency Conversion
                                       Transaction will take place
                                     • That the currency choice is final
                                     • That the currency conversion rate will be determined at a later time without
                                       further Cardholder consultation
                                     • Effective 1 October 2010, any mark up on the exchange rate over a
                                       wholesale rate or government mandated rate, and any fees or commissions
                                     Transaction Receipt
                                     The Merchant must send the Cardholder a copy of the Transaction Receipt
                                     through the postal service (or by e-mail if selected by the Cardholder) within 3
                                     business days.
                                     Delayed or Amended Charges
                                     For any delayed or amended charges, the Merchant must process such
                                     charges at the same currency conversion rate as the original Dynamic Currency
                                     Conversion Transaction.

ID#: 050411-010410-0005210



Dynamic Currency Conversion - Acquirer Requirements


Dynamic Currency Conversion Acquirer Participation

Effective 1 May 2010 through 6 October 2010, an Acquirer must not process a Dynamic Currency
Conversion Transaction from a Merchant Outlet that was not actively conducting Dynamic Currency
Conversion as of 30 April 2010.

ID#: 050411-010510-0025737




596                                                 VISA PUBLIC                                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 634 of 1319
                                               PageID #: 3827
                                    Visa International Operating Regulations




Dynamic Currency Conversion Acquirer Requirements

Effective 1 May 2010 through 6 October 2010, in addition to the requirements specified in
"Dynamic Currency Conversion - Acquirer Requirements," an Acquirer that processes a Dynamic
Currency Conversion Transaction must:

• Comply with the Dynamic Currency Conversion Registration and Certification Guide
• Register, by 1 June 2010, itself and each Merchant, Merchant Outlet, VisaNet Processor, and Third
  Party that is actively conducting Dynamic Currency Conversion as of 30 April 2010, and provide
  evidence that each Merchant Outlet is actively conducting Dynamic Currency Conversion, as
  specified in the Dynamic Currency Conversion Registration and Certification Guide
• Ensure that each Dynamic Currency Conversion Merchant Outlet complies with the Visa
  International Operating Regulations and the Dynamic Currency Conversion Registration and
  Certification Guide
• Notify Visa if there is a change in the status of the Dynamic Currency Conversion services provided
  by its Merchants, Merchant Outlets, VisaNet Processors, or Third Parties
• Ensure that it, its VisaNet Processor, and Third Party is certified by Visa by 1 October 2010 and
  annually, as specified in the Dynamic Currency Conversion Registration and Certification Guide
• Notify Visa when it implements any Dynamic Currency Conversion-related platform changes that
  may require additional certification.

Effective 7 October 2010, before processing a Dynamic Currency Conversion Transaction, an
Acquirer must:

• Register for Dynamic Currency Conversion as specified in the International Transactions Guide
• Register any VisaNet Processor or Third Party Agent that is providing Dynamic Currency
  Conversion services to the Acquirer or its Merchant Outlets as specified in the International
  Transactions Guide
• Certify all Dynamic Currency Conversion solutions used by its Merchants, as specified in the
  International Transactions Guide
• Notify Visa when material changes are made to a Dynamic Currency Conversion solution used by
  its Merchants and recertify if required
• Ensure that each Merchant Outlet conducting Dynamic Currency Conversion complies with the
  Visa International Operating Regulations and the International Transactions Guide

ID#: 080411-010510-0025740



Dynamic Currency Conversion Merchant Registration Requirement

An Acquirer that offers its Merchants the facility to conduct Dynamic Currency Conversion must
provide to Visa the name and location of each of its Merchants’ Merchant Outlets that conduct
Dynamic Currency Conversion Transactions.




18 October 2011                                    VISA PUBLIC                                        597
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 635 of 1319
                                                   PageID #: 3828
                                    Visa International Operating Regulations



Effective 7 October 2010, an Acquirer is not, however, required to register each Sponsored
Merchant if Dynamic Currency Conversion is conducted by the Sponsored Merchant’s Internet
Payment Service Provider (IPSP).

Effective 7 October 2010, the Acquirer is responsible for registering with Visa the Merchant or
Merchant Outlet as specified in the International Transactions Guide, whether or not the Acquirer has
directly supplied the service to the Merchant or Merchant Outlet.

ID#: 111011-010410-0008657



Dynamic Currency Conversion Program Fee

Effective 1 October 2010, an Acquirer that participates in Dynamic Currency Conversion must pay
an annual program fee, as specified in the applicable regional fee guide. This fee will not be pro-
rated.

ID#: 050411-011010-0025741




Manual Cash Disbursements

Manual Cash Disbursements Requirements


Member Manual Cash Disbursements

Each Member, excluding one participating only in the Visa Electron or Plus programs, must make
Manual Cash Disbursements to other Issuers' Visa Cardholders from all of its Branches in its Country
of Domicile. This includes, but is not limited to, unembossed Visa Cards, and Visa Cards with a
generic identifier or no Cardholder name. This requirement is limited only by applicable law and the
Issuer's Cash Disbursement policy.

ID#: 081010-010410-0006851



Manual Cash Disbursements - Visa Electron Cards

A Member may make Manual Cash Disbursements to other Issuers' Visa Electron Cardholders if the
Member complies with the appropriate acceptance procedures.

ID#: 010410-010410-0006852



Manual Cash Disbursement - Foreign Branches

A foreign Branch of a Member licensed to use the Visa Program Marks outside of its Country of
Domicile may make Manual Cash Disbursements to:

• Other Issuers' Visa Cardholders


598                                                VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 636 of 1319
                                               PageID #: 3829
                                    Visa International Operating Regulations


• Other Issuers' Visa Electron Cardholders, if the Branch complies with the appropriate acceptance
  procedures

A Foreign Branch of a U.S. Member licensed to use the Visa Program Marks must make Manual
Cash Disbursements to other Issuers' Visa Cardholders up to the maximum Cash Disbursement limit
assigned to the Foreign Branches by the Member. (This only applies in the U.S. Region.)

ID#: 010410-010410-0008660



Manual Cash Disbursements - Related Companies

A Member may make Manual Cash Disbursements through the offices of its related companies if:

• The companies are primarily engaged in providing financial services to the public
• The Member or the Member's holding company wholly owns the company
• Visa has given the Member prior approval

A variance to this provision applies in the CEMEA Region for Members in South Africa.

ID#: 081010-010410-0006854



Visa Electron Acceptance for Manual Cash Disbursements

An Acquirer must use a Point-of-Transaction Terminal with Electronic Capability to accept Visa
Electron Cards for Manual Cash Disbursements.

ID#: 010410-010410-0006865



Manual Cash Disbursement Transaction Currency

The Transaction Currency for a Manual Cash Disbursement must be the:

• Currency dispensed
• Currency in the Authorization Request
• Currency presented into Interchange

ID#: 010410-010410-0006862



Manual Cash Disbursement Fee Disclosure

A Manual Cash Disbursement Transaction Receipt must state that the Issuer may assess a Cash
Disbursement fee or set-up charge.

ID#: 081010-010410-0006863




18 October 2011                                    VISA PUBLIC                                     599
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15       Page: 637 of 1319
                                                   PageID #: 3830
                                    Visa International Operating Regulations




Manual Cash Disbursement Transaction Receipt

An Acquirer must provide the Cardholder with a Manual Cash Disbursement Transaction Receipt that
includes the:

• Transaction amount
• Transaction date
• Account Number
• Acquirer name and location

ID#: 010410-010410-0007539



Manual Cash Disbursement Cardholder Identification Requirements in Australia – AP
Region

In addition to the requirements specified in “Validation of Cardholder Identity,” an Acquirer in Australia
must comply with the following Cardholder Verification Method requirements when making a Manual
Cash Disbursement. An Issuer making a Manual Cash Disbursement to its own Cardholder may set
its own verification requirements.

The Acquirer must verify that the person resembles the person described or depicted on one of the
following forms of primary identification:

• Credit or debit card bearing the Cardholder’s photograph
• Driver's license
• Photographic passport

If the Cardholder is unable to provide a primary identification, the Acquirer may request any two of the
following forms of secondary identification:

• Any other identity card bearing the Cardholder’s photograph
• Another signed debit/credit card
• Another signed document (e.g. employee identity card, union card, student card)
• Pensioner cards

ID#: 111011-060111-0026151



Non-Member Cash Disbursements - CEMEA Region

A CEMEA Acquirer may allow a non-Member that is ineligible for Visa membership to make Cash
Disbursements if:

• Visa has approved the applicable country, and the Member's principal place of business is within it
• The non-Member locations are within the approved country


600                                                VISA PUBLIC                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 638 of 1319
                                               PageID #: 3831
                                    Visa International Operating Regulations


• Visa has given its written approval
• The Acquirer assumes full responsibility for compliance with the Visa International Certificate of
  Incorporation and Bylaws and the Visa International Operating Regulations

A variance to this provision applies in the CEMEA Region for Members in South Africa.

ID#: 081010-150210-0005362



Manual Cash Disbursement Requirements - LAC Region

Before completing a Manual Cash Disbursement, an LAC Member must follow the "Card and
Cardholder Verification" procedures and write on the Transaction Receipt the:

• Cardholder name (if it is different from the name embossed on the Card)
• Cardholder address

ID#: 010410-010410-0005254



Manual Cash Disbursements - Chargeback Reasons - U.S. Region

A U.S. Issuer must not charge back a Manual Cash Disbursement that exceeds X, except for the
reasons listed .

A U.S. Issuer may, within 180 calendar days of the Central Processing Date, request Compliance,
only if either:

• The Issuer asserts that the Transaction was not authorized through the V.I.P. System
• The Acquirer's failure to provide the requested copy of a signed, imprinted, and legible Cash
  Disbursement Transaction Receipt or Transaction Record in a timely manner resulted in a loss to
  the Issuer

ID#: 111011-010410-0006934



Manual Cash Disbursements - Requirements and Limitations - U.S. Region

Each U.S. Member authorized to provide Cash Disbursements in the Visa U.S.A. Inc. Certificate of
Incorporation and Bylaws, Section 2.04, must make Manual Cash Disbursements to other Issuers'
Visa Cardholders. This includes, but is not limited to, valid Visa Payroll Cards and Visa Prepaid
Cards with an unembossed Cardholder name. This requirement is limited only by applicable law, the
Issuer's Cash Disbursement policy, and as specified in the Visa International Operating Regulations.

ID#: 010410-010410-0005111




18 October 2011                                    VISA PUBLIC                                         601
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 639 of 1319
                                                   PageID #: 3832
                                    Visa International Operating Regulations




Participant-Type Members Providing Cash Disbursements - U.S. Region

Before making Cash Disbursements, a Participant-Type Member in the U.S. Region that is authorized
to provide Cash Disbursements, as described in the Visa U.S.A. Inc. Certificate of Incorporation and
Bylaws, Section 2.04(j), must be separately approved for each type of Cash Disbursement by Visa.

ID#: 010410-010410-0005114



Manual Cash Disbursement - Card Security Features - U.S. Region 5.5.B.6.a, 3.7.A.1.m

Before completing a Manual Cash Disbursement, a U.S. Acquirer must:

• At the request of Visa, check one or more Card security features
• For a Visa Mini Card, request the corresponding full-sized card
• Compare the first 4 digits of the embossed or printed Account Number to the 4 digits printed above
  or below the Account Number. If the digits do not match, the Acquirer must attempt to recover the
  Card, as specified in "Card Recovery"
• Record the printed 4 digits by either:
  – Writing the digits in the space provided on the "80-Column Cash Disbursement Transaction
    Receipt" (Exhibit 7A)
  – Key entering and electronically printing the digits on the Cash Disbursement Transaction Record
    in the designated space (if using a Point-of-Transaction Terminal capable of printing key-entered
    numbers)
• Authorize all Manual Cash Disbursements via an Account-Number-Verifying Terminal

ID#: 010410-010410-0008663



Minimum and Maximum Cash Disbursement Amounts


Issuer Minimum Manual Cash Disbursement Amount - U.S. Region

A U.S. Issuer must not establish a minimum Manual Cash Disbursement amount.

ID#: 010410-010410-0006858



Acquirer Minimum Manual Cash Disbursement Amount - U.S. Region

Effective through 31 December 2010, a U.S. Acquirer may establish a minimum Manual Cash
Disbursement amount of US $25.




602                                                VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                     Page: 640 of 1319
                                               PageID #: 3833
                                    Visa International Operating Regulations



Effective 1 January 2011, a U.S. Acquirer must not establish a minimum Manual Cash
Disbursement amount.

ID#: 081010-010410-0005119



Manual Cash Disbursement Restrictions


Manual Cash Disbursement - Surcharge Prohibition

An Acquirer must not add a surcharge to a Manual Cash Disbursement unless local law expressly
requires that a Member be permitted to impose a surcharge. Any surcharge amount, if allowed, must
be included in the Transaction amount and not collected separately.

ID#: 010410-010410-0006864



Visa Electron and Visa TravelMoney Manual Cash Disbursement - U.S. Region

A U.S. Acquirer must not accept a Visa Electron Card for a Manual Cash Disbursement.

A U.S. Acquirer must not accept a Visa TravelMoney Card for a Manual Cash Disbursement, unless
the Card bears the Visa Brand Mark.

ID#: 111011-010410-0008669




Cash-Back Services

Cash-Back Services General Requirements


Cash-Back Services (Updated)

At the option of a Visa Region, a Visa or Visa Electron Merchant may provide Cash-Back to Visa or
Visa Electron Cardholders for Domestic Transactions only. The Merchant must:

• Provide Cash-Back only in conjunction with a purchase [84] [85]

• Authorize and complete the Transaction as a purchase and uniquely identify the Cash-Back portion
  of the Transaction amount

A variance to this provision applies in the CEMEA Region for Members in South Africa.




84   Effective 1 March 2010, a variance to this requirement applies in the AP Region for Members in India.
85   Effective 14 April 2012, a variance to this requirement applies in the U.S. Region.

18 October 2011                                    VISA PUBLIC                                                   603
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      Case: 4:13-cv-02226-JAR                    Doc. #: 85-5 Filed: 02/12/15                     Page: 641 of 1319
                                                    PageID #: 3834
                                    Visa International Operating Regulations



Effective 1 November 2010, a variance applies in the AP Region for Members in Australia.

ID#: 111011-010410-0002971



Cash-Back Service Requirements

Effective 1 October 2010, before offering Cash-Back, a Member must be certified with Visa for the
Visa Cash-Back Service.

ID#: 111011-011010-0026040



Cash-Back Amounts
                                                                                                                     [86]
Effective 1 October 2010, the Cash-Back amount must be less than the total Transaction amount
 [87]



Effective 1 October 2010, a Merchant offering Cash-Back through Visa may establish a minimum
or maximum Cash-Back amount. The maximum amount must not exceed US $200, or local currency
           [88]
equivalent

ID#: 080411-011010-0026042



Cash-Back Product Eligibility

Effective 1 October 2010, a Cash-Back Transaction may be performed using the Visa Cash-Back
Service on:

• A Visa debit product
• Certain Visa Prepaid Cards, as specified in the applicable Visa International Prepaid Program
  Guidelines
• A Visa credit product, with the prior written approval of Visa

Effective 1 October 2010, a Merchant must not process a credit refund or Credit Transaction
Receipt for the Cash-Back component of a Transaction

ID#: 080411-011010-0026045



Cash-Back Services General Requirements - AP Region

Effective 1 March 2010 through 30 September 2010, an AP Issuer who wishes to offer the service
to its Cardholders and an AP Acquirer to its Merchants must comply with all of the following:



86      Effective 1 October 2010,a variance applies to the AP Region for Members in India
87      Effective 1 November 2010, a variance applies to the AP Region for Members in Australia
88      Effective 1 November 2010, a variance applies to the AP Region for Members in Australia

604                                                  VISA PUBLIC                                       18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 642 of 1319
                                               PageID #: 3835
                                    Visa International Operating Regulations


• A Cash-Back Transaction must be conducted in a Face-to-Face Environment
• A Cash-Back Transaction must be authorized
• All Cash-Back Transactions submitted into VisaNet must contain unaltered full track or Chip data
• Cash-Back Transactions require Cardholder signature or PIN

Effective 1 March 2010 through 15 October 2010, an AP Issuer who wishes to offer the Visa Cash-
Back Service to its Cardholders and an AP Acquirer to its Merchants must ensure that Cash-Back is
not offered as part of a Small Ticket Transaction.

ID#: 080411-010310-0025736



Cash-Back Services in India - AP Region

In addition to the requirements specified in the AP Regional Operating Regulations and the Visa
International Operating Regulations, a Member in India that participates in the Cash-Back Service
must comply with all of the following:

• A Cash-Back Transaction must be a domestic transaction
• The Issuer must ensure that the Cash-Back Service is only available to the product types permitted
  by the Reserve Bank of India (RBI)
• The Cash-Back Service must be available irrespective of whether or not the Cardholder makes a
  purchase
• The Issuer must ensure that Cash-Back disbursements do not exceed the RBI-legislated daily
  Cash-Back limit per Card
• The Merchant must not process a Credit Transaction for the Cash-Back element of the Transaction
• The Cash-Back Transaction Receipt must include the amount of the Cash-Back element of the
  Transaction as a separate field, irrespective of whether there is a purchase component to the
  Transaction

ID#: 151011-060111-0026139



Cash-Back Services in Australia – AP Region

Effective 1 November 2010, in addition to the Cash-Back Services General Requirements specified
in the AP Regional Operating Regulations, an Issuer or Acquirer in Australia that participates in Cash-
Back services must comply with all of the following:

• A Cash-Back transaction must be a Domestic
• The Cash-Back service must be available irrespective of whether or not the Cardholder makes a
  purchase
• A Cash-Back transaction receipt must include the amount of the Cash-Back element of the
  Transaction as a separate field, irrespective of whether there is a purchase component to the
  Transaction
• Cash-Back transactions may only be performed on a Visa debit Card bearing a Visa Smart Debit
  and Credit (VSDC) Chip

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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 643 of 1319
                                                   PageID #: 3836
                                    Visa International Operating Regulations


• A Cash-Back Transaction must be sent Online for Authorization
• Fallback Transactions are prohibited
• Cash-Back transactions must be PIN-verified
• A Merchant must not process a credit refund or Credit Transaction Receipt for the Cash-
  Back component of a Transaction

ID#: 050411-060111-0026152



Cash-Back Services Participation Requirement in Australia – AP Region

Effective 16 April 2011, an Issuer in Australia must offer Cash-Back services on its Visa debit Chip
Cards.

Effective 16 April 2011, an Acquirer in Australia must be certified to support Cash-
Back Transactions.

ID#: 050411-060111-0026153



Cash-Back Service Requirements - CEMEA Region

Effective through 30 September 2010, before offering the Cash-Back Service, a CEMEA Member
must:

• Obtain prior approval from Visa
• Comply with Visa Cash-Back Service
• Be certified for the Cash-Back Service

Effective through 30 September 2010, an Acquirer must restrict the provision of Cash-Back to
Merchant Category Codes approved by Visa.

ID#: 050411-010410-0005249



Cash-Back Services Participation – U.S. Region (New)

Effective 14 April 2012, a U.S. Merchant may offer the Visa Cash-Back Service to Visa Debit
Cardholders and Visa Business Check Card Cardholders if the Cash-Back Transaction is processed
as a Visa Debit with PIN Transaction.

The Merchant may offer Cash-Back with or without a purchase.

ID#: 111011-140412-0026509




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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 644 of 1319
                                               PageID #: 3837
                                    Visa International Operating Regulations




General Cash-Back Service Requirements- U.S. Region (Updated)

Effective through 30 June 2015, a U.S. Merchant may offer the Visa Cash-Back Service to Visa
Check Card II Cardholders if the:

• Service is offered as a part of a purchase Transaction
• Transaction is processed using a Point-of-Transaction Terminal with PIN pad
• PIN is used for Cardholder identification purposes
• Transaction is processed through the Single Message System

ID#: 111011-010410-0005342



Maximum Cash Back - U.S. Region

Effective through 30 September 2010, a participating U.S. Merchant may establish its own
maximum cash back amount up to and including $200. The cash back amount must:

• Not exceed $200
• Be less than the total Transaction amount

ID#: 050411-010410-0009034



Cash-Back Transaction Requirements


Cash-Back Transaction Requirements

Effective 1 October 2010, all Cash-Back Transactions must be:

• Authorized online, regardless of the Merchant’s Floor Limit
• Processed in a Face-to-Face Environment only
• Conducted in the Merchant’s local currency

Effective 1 October 2010, in addition, Cash-Back Transactions must:

• Contain the full contents of track 1 or track 2 of the Magnetic Stripe or unaltered Chip
• Require Cardholder signature or PIN
• Comply with “BASE II Record Requirements” (Exhibit 2L)

ID#: 050411-011010-0026043




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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 645 of 1319
                                                   PageID #: 3838
                                    Visa International Operating Regulations




Cash-Back Receipt Requirements

Effective 1 October 2010, for a Cash-Back Transaction, the Transaction Receipt must include the
amount of the Cash-Back portion of the Transaction as a separate field, as specified in "Face-to-Face
Electronic Purchase or Credit Transaction Receipt Data Requirements Table 7I-1."

ID#: 080411-011010-0026044



Cash-Back Transaction Requirements - CEMEA Region

Effective through 30 September 2010, in the CEMEA Region, all Cash-Back Transactions must be:

• Authorized, regardless of the Merchant's Floor Limit
• Processed electronically at the Point-of-Transaction

ID#: 050411-010410-0005245



Cash-Back Receipt Requirements - CEMEA Region

Effective through 30 September 2010, in the CEMEA Region, if Cash-Back is performed, the
Transaction Receipt must include the amount of the Cash-Back element of the Transaction as a
separate field.

ID#: 050411-010410-0005246




ATM Transactions

ATM Transaction General Requirements


Visa Global ATM Program Participation

Acquirer participation in the Visa Global ATM Program is optional. A Member has complete discretion
over whether all, some, or none of its ATMs participate in the Visa Global ATM Program.

Only an ATM owned, leased, or controlled by a Member is eligible for participation in the Visa
Global ATM Program. A Member that sponsors a non-Member agent to deploy or operate an ATM
participating in the Visa Global ATM Program must ensure that the non-Member agent meets all
obligations specified in "Contract Requirements Between Members, VisaNet Processors, and Third
Parties," and that its ATMs comply with the applicable Visa International Operating Regulations.

ID#: 010410-010410-0004783




608                                                VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 646 of 1319
                                               PageID #: 3839
                                    Visa International Operating Regulations




ATM Acquirer Certification Requirements

Before acting as an ATM Acquirer, an Acquirer must successfully complete certification and comply
with:

• Licensing requirements
• Acquirer participation requirements specified in the Visa Global ATM Member Guide
• Processing requirements specified in the VisaNet manuals

ID#: 010410-010410-0004784



ATM Card Acceptance Requirements

A Visa/Plus ATM must accept all valid Cards as specified in the:

• Visa International Operating Regulations
• Visa Global ATM Member Guide

The above requirement does not apply in the Canada Region.

At the discretion of Visa, an ATM Acquirer that accepts Cards bearing the Plus Symbol may
selectively deny access to its ATMs.

An ATM Acquirer certified to accept Visa Cards may selectively deny access to its ATMs if the Card
presented is both issued to residents of the country where the ATM is located and billed in the local
currency.

An ATM with restricted access must display language with the Visa Brand Mark that both identifies
the ATM Acquirer and describes Card acceptance or the nature of any restrictions, as specified in the
Visa International Operating Regulations, the Visa Global ATM Member Guide, and the Visa Product
Brand Standards.

ID#: 111011-150210-0004785



ATM Account Number Acceptance

A Visa/Plus ATM and a Member ATM processing system must be able to accept all valid International
Organization for Standardization numbers 11-19 digits in length.

ID#: 010410-010410-0004786




18 October 2011                                    VISA PUBLIC                                      609
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 647 of 1319
                                                   PageID #: 3840
                                    Visa International Operating Regulations




ATM Transactions Using Single Message System

A new ATM Acquirer (excluding an Acquirer that processes through a VisaNet Processor with an
existing VisaNet endpoint) must process ATM Transactions using the Single Message System.

ID#: 010410-010410-0004789



ATM Acquirer Participation Requirements

An ATM Acquirer (including an Acquirer that processes through a VisaNet Processor with an existing
VisaNet endpoint) must:

• Be certified to participate in either the:
  – Single Message System
  – Custom Payment Services/ATM
• Meet all tier II requirements specified in the Visa Global ATM Member Guide

If an ATM Acquirer does not meet tier II requirements, Visa may remove the ATM Acquirer from the
tier II level.

ID#: 010410-010410-0008597



Magnetic Stripe Requirements for ATM Transactions

An ATM Acquirer must ensure that the entire unaltered contents of track 2 of the Magnetic Stripe or
the Magnetic-Stripe Image from the Chip on the Card is read and transmitted.

ID#: 010410-010410-0004792



ATM Authorization Routing - Cards Bearing the Plus Symbol

If an ATM Acquirer does not route all Transactions to Visa, it must:

• Install and use the Plus account range table within 3 business days of receipt from Visa
• Use the Plus account range table to determine the routing of an Authorization Request for a Card
  bearing the Plus Symbol. This requirement does not apply to licensees of the Plus System, Inc.

ID#: 010410-010410-0006993



Minimum ATM Cash Disbursement Requirements

An ATM must be able to make Cash Disbursements of at least X, or local currency equivalent, per
day, per Account Number.

ID#: 111011-010410-0006470



610                                                VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 648 of 1319
                                               PageID #: 3841
                                    Visa International Operating Regulations




ATM Currency Disbursement

An ATM must dispense the local currency or display the type of currency (or cheques) dispensed.

ID#: 010410-010410-0006471



ATM Transaction Currency

The Transaction Currency for an ATM Cash Disbursement must be the:

• Currency dispensed
• Currency in the Authorization Request
• Currency presented into Interchange

A variance to this requirement applies in the U.S. Region and in the jurisdiction of Visa Europe.

The above requirement does not apply to Merchant Sales of Foreign Currency, including Cheques, or
Visa TravelMoney Cards.

ID#: 111011-010410-0004801



ATM Transaction Reversal

For a cancelled ATM Transaction, the Acquirer must process a Reversal. The Reversal amount must
be the original Transaction amount.

ID#: 010410-010410-0002404



PIN Requirement at ATMs - U.S. Region

In the U.S. Region, for a Visa ATM Network Transaction, a PIN serves as a substitute for the
Cardholder signature and is required for all ATM Transactions. An ATM Acquirer must accept
and transmit PIN verification 4 to 12 alphanumeric characters long, as specified in the Payment
Technology Standards Manual and Transaction Acceptance Device Requirements. The PIN must be
either:

• Reversibly encrypted using the Data Encryption Standard
• Within a Physically Secure Device, as specified in the PIN Management Requirements Documents

ID#: 081010-010210-0003957



ATM Messages - U.S. Region

An ATM in the U.S. Region must be capable of communicating the following information, if applicable:



18 October 2011                                    VISA PUBLIC                                      611
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 649 of 1319
                                                   PageID #: 3842
                                    Visa International Operating Regulations


• Card invalid for this service
• Service unavailable now
• Invalid PIN - Re-enter
• Card retained
• Access fee will be assessed

ID#: 010410-010410-0004777



ATM Transaction Receipts


ATM Transaction Receipt Requirements Table 7I-2

An ATM must offer a Transaction Receipt for each ATM Cash Disbursement or Load Transaction.
Visa may waive this requirement.

The Transaction Receipt must include:

• ATM or Load Device Acquirer name and/or name of affiliated domestic or regional network
• ATM or Load Device Acquirer street location or location code
• ATM or Load Device Acquirer city and country (and state/province, if applicable)
• Transaction amount indicated in Transaction Currency
• Account Number or card number (at least 4 digits of the Account Number or card number must be
  disguised or suppressed)
• Type of account accessed
• Authorization Code
• Transaction type (Cash Disbursement)

ID#: 050411-010410-0005065



ATM Transaction Receipt Requirements - U.S. Region Table S-3

In the U.S. Region, an ATM Transaction Receipt must include:

• Account Number. The Account Number must be disguised or suppressed on the Cardholder's copy
  of the Transaction Receipt, except for the final 4 digits.
• ATM Acquirer name and/or name of affiliated local or regional network
• ATM street location or Location Code
• ATM city and state
• Transaction amount
• Access Fee, if any, imposed by the ATM Acquirer, as specified in "ATM Access Fee Disclosure on
  Transaction Receipt - U.S. Region 5.5.A."


612                                                VISA PUBLIC                       18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 650 of 1319
                                               PageID #: 3843
                                    Visa International Operating Regulations


• Transaction Date
• Transaction type (Cash Disbursement)
• Type of account accessed

ID#: 080411-220311-0026255



ATM Transaction Receipt - Cancellation Request - U.S. Region 5.5.A

In the U.S. Region, if an ATM cannot produce a Transaction Receipt and has a cancellation feature, it
must allow the Cardholder to request cancellation of the Transaction.

ID#: 010410-010410-0004972



ATM Cash Disbursement Transaction Receipt - CEMEA Region

In the CEMEA Region, an ATM that does not routinely produce a Transaction Receipt is not required
to do so.

An ATM that produces a Transaction Receipt is not required to include the complete Account
Number on the Transaction Receipt.

ID#: 010410-010410-0004729



ATM Misdispense


ATM Misdispense Message

For a misdispense, an ATM Acquirer must process an ATM confirmation message for the actual
amount dispensed.

ID#: 010410-010410-0002406



ATM Misdispense - U.S. Region

For a misdispense, an ATM in the U.S. Region must process an Adjustment within 45 calendar days
of the Central Processing Date of the original Transaction. The Adjustment must:

• Adjust the Cardholder account for the actual amount of the misdispense
• Be processed as specified in the appropriate VisaNet manual

For an over-dispense that is caused by a misloaded terminal, the U.S. Acquirer must not process an
Adjustment to the Cardholder account without prior consent from the Issuer (e.g., through a good-
faith collection).

ID#: 010410-010410-0008601




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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 651 of 1319
                                                   PageID #: 3844
                                    Visa International Operating Regulations




ATM Transaction Restrictions


Chip-Initiated ATM Transaction Requirements

If a Chip Card cannot be read, an ATM may complete the Transaction by reading the Magnetic Stripe.
If the Magnetic Stripe cannot be read, the Transaction must not be processed.

If the Acquirer-Country combination exceeds international Fallback Transaction thresholds, the
Member may be subject to penalties as specified in the Visa International Operating Regulations and
the Global Chip Fallback Monitoring Program Guide.

ID#: 050411-010410-0004787



ATM Transaction Timeout Time Limit

Neither an ATM nor its host system may timeout a Transaction in less than 45 seconds.

ID#: 010410-010410-0002405



Scrip Terminal as ATM - U.S. Region

A Scrip Terminal in the U.S. Region must not participate in the Visa ATM Network.

ID#: 010410-010410-0004778




Quasi-Cash Transactions

Quasi-Cash Transaction General Requirements


Quasi-Cash Transactions as a Purchase

Merchants and Members not previously processing Quasi-Cash Transactions as a Cash
Disbursement must:

• Process all Quasi-Cash Transactions as a purchase
• Not process a Quasi-Cash Transaction as a Cash Disbursement

All Quasi-Cash Transactions, except as specified in "Sale of Travelers Cheques and Foreign
Currency," must be:

• Processed as a purchase
• Not processed as a Cash Disbursement


614                                                VISA PUBLIC                      18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                 Page: 652 of 1319
                                               PageID #: 3845
                                    Visa International Operating Regulations



A variance to these requirements applies in the CEMEA Region for Members in South Africa.

ID#: 050411-010410-0002885



Quasi-Cash Transaction Types - U.S. Region

In the U.S. Region, a Quasi-Cash Transaction is a Transaction representing a Merchant's sale of
items that are directly convertible to cash, such as:

• Casino gaming chips
• Money orders
• Deposits
• Wire Transfer Money Orders
• Travelers cheques
• Visa TravelMoney Cards [89]

ID#: 081010-150210-0005158



Quasi Cash Transactions - Visa Electron Prohibition - U.S. Region

A U.S. Merchant must not accept a Visa Electron Card for a Quasi-Cash Transaction.

ID#: 010410-010410-0005162



Quasi-Cash Transactions in a Face-to-Face Environment - U.S. Region 3.7.A.1.m

In the U.S. Region, a Quasi-Cash Transaction that occurs in a Face-to-Face Environment must be
authorized using a Magnetic-Stripe and Account-Number-Verifying Terminal. The Merchant must
comply with the following:

• When the embossed or printed Account Number does not match the encoded Account Number:
     – Decline the Transaction and attempt to retain the Card by reasonable and peaceful means
     – Note the physical description of the Cardholder
     – Notify its Acquirer. The Acquirer must then notify the Issuers indicated by both the embossed or
       printed, and encoded Account Numbers of the incident.
     – Handle any recovered Card as specified in the Visa International Operating Regulations
• When the encoded Account Number cannot be read from the Magnetic Stripe, follow normal
  Authorization procedures and complete the approved Transaction using a Manual Imprinter




89    Members that previously processed Cash Disbursements to represent the sale of Visa TravelMoney Cards must comply
      with this requirement.

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      Case: 4:13-cv-02226-JAR                    Doc. #: 85-5 Filed: 02/12/15                  Page: 653 of 1319
                                                    PageID #: 3846
                                     Visa International Operating Regulations


• When the embossed or printed Account Number is the same as the encoded Account Number,
  follow normal Authorization procedures

ID#: 010410-010410-0005166



Wire Transfer Money Orders (WTMO)


Wire Transfer Money Order Merchant Requirements

A Wire Transfer money order Merchant may disburse checks or money orders. If it does so, the
Merchant must:

• Advise the Cardholder that the Merchant accepting the Card is the wire transfer company, not the
  payee. The check or money order must be payable to the party cashing the check or money order.
• Disclose any fee to the Cardholder and include it on the Transaction Receipt

ID#: 010410-010410-0002887



Third-Party Merchant Prohibition - U.S. Region

A U.S. Wire Transfer Money Order Merchant must not complete a Wire Transfer Money Order
Transaction if the funds are obtained to purchase goods or services and the sale occurs at a third-
party merchant outlet under the terms of an agreement between the Wire Transfer Money Order
Merchant and third-party merchant.

This does not apply to agreements involving a:

• Casino or other gambling establishment
• Check-cashing outlet
• Truck stop offering cash access services

ID#: 010410-010410-0008693



Wire Transfer Money Order Penalties - U.S. Region

A U.S. Acquirer that processes Wire Transfer Money Order Transactions from a prohibited Merchant
Outlet is subject to the following fines if it continues to process these Transactions after Notification:


                                    Wire Transfer Money Order Fines - U.S. Region

                           Assessment                                                   Fine

      4 months after Notification                                 US $100 per Merchant Outlet

      5 months after Notification                                 US $500 per Merchant Outlet




616                                                 VISA PUBLIC                                     18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15               Page: 654 of 1319
                                               PageID #: 3847
                                    Visa International Operating Regulations


                           Assessment                                                  Fine

    Each month thereafter                                        US $1,000 per Merchant Outlet

ID#: 111011-010410-0001314



Wire Transfer Money Order Acquirer Responsibilities - U.S. Region

A U.S. Acquirer that has a Merchant Agreement with a Wire Transfer Money Order Merchant must:

• Submit to Visa the following information about each Merchant Outlet:
  – Name and address where the Wire Transfer Money Order is issued
  – Type of business
  – Name and location of the third-party merchant under which wire transfer services are promoted,
    if applicable
  – Termination date of the Merchant Agreement, or date when the Acquirer may cancel without
    penalty
• Notify Visa of any change in the above information or in the status of any Merchant Agreement with
  a Wire Transfer Money Order Merchant
• Create a separate check or money order for each Wire Transfer Money Order Transaction
• Notify any Wire Transfer Money Order Merchant that participates in 3-D Secure that its Electronic
  Commerce Transactions are not eligible for Chargeback protection from:
  – Chargeback Reason Code 75, "Cardholder Does Not Recognize Transaction"
  – Chargeback Reason Code 83, "Fraudulent Transaction-Card-Absent Environment"

ID#: 081010-010410-0005172



Multiple Wire Transfer Money Orders - U.S. Region

A Wire Transfer Money Order Merchant in the U.S. Region must not include more than one Wire
Transfer Money Order Transaction on a single check or money order.

ID#: 010410-010410-0005175



Wire Transfer Money Order Disclosure Requirements - U.S. Region

In the U.S. Region, a Wire Transfer Money Order Merchant must disclose the following to the
Cardholder:

• Wire Transfer Money Order Merchant name (name of the Merchant accepting the Card)
• That the Visa Transaction is the purchase of a check or money order and any subsequent
  Transaction with the third-party merchant is the same as a transaction made with cash

The disclosure must be either:



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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15       Page: 655 of 1319
                                                   PageID #: 3848
                                    Visa International Operating Regulations


• In writing, for a Transaction completed through an electronic terminal, mail order, or service facility,
  before initiating the Transaction
• Verbal, for a telephone order

ID#: 010410-010410-0008646



Wire Transfer Money Order Requirements - U.S. Region

Except as specified below, a Wire Transfer Money Order completed in the U.S. Region must be a
written negotiable instrument that is:

• Signed by the maker or drawer
• Payable on demand
• Payable to order or to bearer

Except as specified below, the money order must contain the following:

• Federal Reserve routing symbol
• Suffix of the institutional identifier of the paying bank or nonbank payor
• Name, city, and state of the paying bank associated with the routing number

If authorized by the Cardholder, the Wire Transfer Money Order Merchant may, in accordance with
applicable law, process the Wire Transfer Money Order electronically without the creation of a written
negotiable instrument. The Merchant must offer the Cardholder the option of obtaining the Wire
Transfer Money Order as a written negotiable instrument, as specified above.

ID#: 081010-090709-0008440



Wire Transfer Money Order Fees - U.S. Region

A Wire Transfer Money Order Merchant in the U.S. Region must:

• Include any service fee in the total Transaction amount
• Disclose the fee to the Cardholder

The Merchant must not assess a fee for using a Visa Card for payment, unless the Merchant
assesses a fee when another payment method is used.

ID#: 010410-010410-0008691



Wire Transfer Money Order Advertising and Disclosure - U.S. Region

In the U.S. Region, all advertising and marketing materials associated with a money order purchase,
including but not limited to use of the Visa Brand Name, the Visa Flag Symbol, or the Visa Brand
Mark, must:



618                                                VISA PUBLIC                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 656 of 1319
                                               PageID #: 3849
                                    Visa International Operating Regulations


• Specify that the Transaction involves the purchase of a money order
• Clearly identify the Wire Transfer Money Order Merchant as the Merchant completing the
  Transaction

Unless the Merchant has a valid Merchant Agreement, the Visa Brand Name, the Visa Flag Symbol,
or the Visa Brand Mark must not appear by itself or be positioned in such as way as to imply that
Cardholders may use their Cards to either:

• Pay for goods or services at the Merchant Outlet
• Satisfy an outstanding debt to the Merchant

ID#: 010410-010410-0008687



Scrip


Scrip - Unattended Acceptance Terminals - CEMEA Region (Updated)

Effective through 14 October 2011, in the CEMEA Region, an Unattended Acceptance Terminal
used for the sale of Scrip must process the Transaction as a Cardholder-Activated Transaction Type
C.

Effective 15 October 2011, in the CEMEA Region, an Unattended Cardholder-Activated Terminal
used for the sale of Scrip must process the Transaction using PIN Verification.

ID#: 111011-010410-0005358



Sale of Travelers Cheques and Foreign Currency


Sale of Travelers Cheques and Foreign Currency

A Member or a non-Member financial institution with authority to make Cash Disbursements that sells
or disburses cheques or Foreign Currency must process the Transactions as either:

• A Quasi-Cash Transaction that must comply with "Quasi-Cash Transaction General Requirements"
• A Cash Disbursement that must comply with "Manual Cash Disbursement Requirements" and
  "Quasi-Cash Transaction General Requirements"

ID#: 010410-010410-0008694




18 October 2011                                    VISA PUBLIC                                     619
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15                      Page: 657 of 1319
                                                   PageID #: 3850
                                    Visa International Operating Regulations




Travelers Cheques or Foreign Currency Fees - U.S. Region

With the exception of taxes or other charges imposed by local law, a U.S. Acquirer must not add
to the Transaction amount any surcharge, commission, or fee for the sale of cheques or Foreign
Currency.

ID#: 010410-010410-0002986




Original Credit Transactions

Original Credit Transaction Processing Requirements


Original Credit Acceptance

Effective through 8 December 2010, an Issuer in a Visa Region that participates in Original Credit
processing must accept an Original Credit, unless prohibited by law. If prohibited by local law, the
Issuer must submit a written request to Visa to block incoming Original Credit processing.

An Issuer may:

• Initiate an Original Credit as an Originating Member
• Receive an Original Credit as a Recipient Member

Effective 9 December 2010, a Member must accept an incoming Original Credit Transaction unless
                         [90]
prohibited by local law.      If prohibited by local law, the Member must submit a written request to
Visa to block incoming Original Credit Transactions.

ID#: 151011-091210-0004062



Original Credit Transaction Posting

A Recipient Member must post an Original Credit to the Visa Account Number within 2 business days
of receiving the Clearing Transaction or it must charge back the Original Credit to the Originating
Member.

Effective 9 December 2010, for an Original Credit Transaction sent to a Cardholder’s Visa credit
Card account, the Recipient Member must post the funds as payment. (This requirement does not
apply to Members in Visa Europe).

ID#: 050411-010410-0004064




90    Effective 9 December 2010, in the U.S. Region, this requirement applies only to incoming Money Transfer Original Credit
      Transactions.

620                                                 VISA PUBLIC                                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 658 of 1319
                                               PageID #: 3851
                                    Visa International Operating Regulations




Original Credit Transaction Clearing Time Limit

An Originating Member must submit an Original Credit for Clearing within one business day of
receiving the approval response to the Original Credit Authorization Request, unless a Reversal is
sent.

ID#: 050411-010410-0005576



Original Credit - Reversal Time Limits

Effective through 8 December 2010, an Originating Member must process an Original Credit
Reversal within 24 hours of initiating a pre-Settlement message or a Single Message System
Transaction. An Original Credit Reversal is valid only for processing errors or if the consumer did not
complete the Transaction.

Effective through 8 December 2010, a Reversal of a BASE II Original Credit must be processed
within one business day of the Central Processing Date of the Original Credit and only for the
following reasons:

• Incorrect Account Number
• Incorrect Transaction amount
• Duplicate processing
• Incorrect Transaction code

ID#: 050411-010410-0008909



Original Credit Transaction Reversals

Effective 9 December 2010, an Originating Member must not reverse an Original Credit Transaction
initiated as an Online Financial Transaction (0200 message).

For an Original Credit Transaction initiated as a BASE I Authorization Request (0100 message), the
Originating Member may process a reversal within 24 hours of initiating the Transaction. The reversal
is valid only for processing errors or if the consumer did not complete the Transaction.

A Reversal of a BASE II Original Credit Transaction must be processed within one business day of
the Processing Date of the Original Credit Transaction and only for the following reasons:

• Incorrect Account Number
• Incorrect Transaction amount
• Duplicate processing
• Incorrect Transaction code

ID#: 050411-010100-0026074




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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 659 of 1319
                                                   PageID #: 3852
                                    Visa International Operating Regulations




Money Transfer Original Credit Transactions

Money Transfer Original Credit Transaction Processing Requirements


Money Transfer Original Credit Transaction Posting

Effective 9 December 2010, except as specified otherwise in “Money Transfer Original Credit
Transaction Posting – Fast Funds,” a Recipient Member must post a Money Transfer Original Credit
Transaction to the Visa Account Number within 2 business days of receiving either the Online
Financial Transaction or the Clearing Record or it must charge back the Money Transfer Original
Credit to the Originating Member.

ID#: 080411-091210-0026243



Money Transfer Original Credit Transaction Posting - Fast Funds

Effective 9 December 2010, a Recipient Member that participates in Fast Funds processing for
incoming Money Transfer Original Credit Transactions as specified in “Money Transfer Original Credit
Transactions - Fast Funds Processing” must make funds available to the Visa Cardholder within 30
minutes of successfully receiving and approving a Money Transfer Original Credit Transaction.

ID#: 171011-010100-0026244



Money Transfer Transaction Reversal - U.S. Region

Effective 15 February 2010 through 8 December 2010, a U.S. Originating Member may process
a Clearing Reversal of a Money Transfer Original Credit Transaction only for processing errors,
including, but not limited to:

• Incorrect Account Number
• Incorrect amount
• Incorrect Transaction Date
• Duplicate processing

Effective 15 February 2010 through 8 December 2010, a U.S. Originating Member must process
the Reversal within 24 hours of initiating a Single Message System Transaction.

ID#: 050411-091210-0025768




622                                                VISA PUBLIC                       18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 660 of 1319
                                               PageID #: 3853
                                    Visa International Operating Regulations




Money Transfer Original Credit Transaction Reversal

Effective 9 December 2010, an Originating Member must not reverse a Money Transfer Original
Credit Transaction initiated as an enhanced Online Financial Transaction (0200 message) as
specified in the Visa Money Transfer (VMT) Global Implementation Guide.

ID#: 151011-091210-0026245



Money Transfer Original Credit Transaction Posting to Credit Card Account

Effective 9 December 2010, for a Money Transfer Original Credit Transaction sent to a Cardholder’s
Visa credit Card account, the Recipient Member must post the funds as a payment.

ID#: 050411-091210-0026246



Money Transfer Original Credit Transaction Authorization Request

Effective 9 December 2010, an Originating Member must not initiate an Authorization Request (0100
message) for a Money Transfer Original Credit Transaction.

ID#: 050411-091210-0026247



Money Transfer Original Credit Compliance with Payment Card Industry Data Security
Standards

An Originating Member must comply with the Payment Card Industry Data Security Standard (PCI
DSS) when sending and managing sender data for a Money Transfer Original Credit Transaction.

The Originating Member must ensure that procedures are in place to validate sender data and
comply with applicable anti-money laundering regulations and anti-terrorist financing standards.
Proper disclosure must be given to the sender regarding the collection of sender data.

ID#: 080411-010410-0005328



Money Transfer Original Credit Transaction Sender Name and Address

For an International Money Transfer Original Credit Transaction, the Originating Member must
include the sender's name and primary address in the Online Financial Transaction (0200 message)
and the Clearing Record, as specified in:

• "BASE II Record Requirements" (Exhibit 2L)
• "Required Message Content for VisaNet Financial Transactions" (Exhibit 3A)




18 October 2011                                    VISA PUBLIC                                     623
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 661 of 1319
                                                   PageID #: 3854
                                    Visa International Operating Regulations



Effective 9 December 2010, prior to initiating an international Money Transfer Original Credit
Transaction to the countries specified in the Visa Money Transfer (VMT) Global Implementation
Guide, the Originating Member must submit the sender’s name and address to VisaNet for screening
against a regulatory watch list(s). The score returned to the Originating Member as a result of
screening must be included by the Originating Member in the Money Transfer Original Credit
Transaction message sent to the Recipient Member.

ID#: 080411-010410-0005579



Money Transfer Original Credit Transaction - Unique Sender Identification

For all Money Transfer Original Credit Transactions, the Originating Member must include in the
Online Financial Transaction (0200 message) and the Clearing Record, either the sender's account
number used to fund the Money Transfer Original Credit Transaction, or a transaction reference
number that uniquely identifies the sender if the sender's account number is not available.

The Originating Member must ensure that the sender data in both the Online Financial Transaction
(0200 message) and Clearing Record is identical.

ID#: 050411-010410-0008743



Money Transfer Original Credit Merchant Category Codes - U.S. Region

Effective 15 February 2010 through 8 December 2010, a Money Transfer Original Credit
Transaction must originate at a Merchant or Member properly assigned one of the following Merchant
Category Codes:

• Wire Transfer Money Orders (4829)
• Financial Institutions-Merchandise and Services (6012)

ID#: 050411-150210-0025681



Money Transfer Original Credit Merchant Category Codes

Effective 9 December 2010, a Money Transfer Original Credit Transaction must originate at a
Merchant or Member properly assigned one of the following Merchant Category Codes:

• Wire Transfer Money Orders (4829)
• Financial Institutions—Merchandise and Services (6012)

ID#: 050411-091210-0026248




624                                                VISA PUBLIC                      18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 662 of 1319
                                               PageID #: 3855
                                    Visa International Operating Regulations




Mobile Commerce Transactions - AP Region

Mobile Commerce Transactions in India - AP Region


mChek Platform - Issuer Requirements

An Issuer in India participating in the mChek Platform:

• May issue mobile payment Visa accounts on any domestic BIN for credit, debit, or Visa Prepaid
  Cards
• Must not issue a physical plastic Card if it chooses to use a unique BIN for its mobile payment Visa
  accounts
• Must block the BIN for Mail/Phone Order Transactions if it chooses to use a unique BIN for its
  mobile payment Visa accounts

ID#: 080411-060111-0026137



mChek Platform - Acquirer Requirements

An Acquirer in India participating in the mChek Platform must use a unique BIN to acquire mobile
commerce Transactions.

ID#: 050411-060111-0026138




Account Funding Transactions

Account Funding Transaction Processing Requirements


Account Funding Transaction Requirements

An Account Funding Transaction must:

• Be processed through VisaNet as a purchase Transaction
• If authorized, include the Account Funding Transaction indicator in the Authorization and Clearing
  Records
• Be cleared for the same amount approved in the Authorization

ID#: 010410-010410-0002890




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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 663 of 1319
                                                   PageID #: 3856
                                    Visa International Operating Regulations




Account Funding Transaction Requirements - U.S. Region

An Account Funding Transaction originating in the U.S. Region must:

• Be processed as a purchase Transaction
• Include the transmission of the Electronic Commerce Transaction indicator, as specified in
  "VisaNet Clearing Message Content Standards" (Exhibit NN) and "Required Data for Authorization
  Requests and Responses" (Exhibit OO)
• Include the transmission of the Account Funding Transaction indicator, as specified in the
  appropriate VisaNet manual

ID#: 010410-010410-0005191




Aggregated Transactions

Aggregated Transaction Requirements


Aggregated Transaction Processing Requirements

Only an Electronic Commerce Merchant may process an Aggregated Transaction. An Aggregated
Transaction must consist only of purchases made:

• From a single Electronic Commerce Merchant, including a Sponsored Merchant, with a single
  trading name
• Using the same Visa Account Number

ID#: 010410-010410-0002905



Aggregated Transaction Receipt Data

Upon completion of a purchase, the Electronic Commerce Merchant must provide an Electronic
Commerce Transaction Receipt with the information specified in "Electronic Commerce Transaction
Receipt Requirements 5.2.B.4 Table 7K-1" and an Aggregated Transaction Receipt that includes the
following for each individual purchase:

• Date
• Amount
• Description of purchase

ID#: 080411-010410-0002903




626                                                VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 664 of 1319
                                               PageID #: 3857
                                    Visa International Operating Regulations




Aggregated Transactions - Purchase Data Availability

Individual purchase information and Aggregated Transaction information must be available to a
Cardholder for a minimum of 120 days following the processing date of the Aggregated Transaction.

ID#: 010410-010410-0002904



Aggregated Transaction Restrictions

An Aggregated Transaction must not:

• Include purchases made more than 7 calendar days apart
• Exceed US $25, or local currency equivalent, in total aggregated purchases
• Be aggregated across more than one Visa Account Number

ID#: 010410-010410-0002906



Aggregated Transaction Cardholder Notification

Before a Cardholder's first purchase, an Electronic Commerce Merchant must inform the Cardholder
of the following:

• Confirmation that Transaction aggregation will occur
• Transaction aggregation terms, including the maximum number of calendar days and Transaction
  value
• How to obtain details of the aggregated purchases

ID#: 010410-010410-0002907



Aggregated Transactions - Prohibited Merchants - U.S. Region 5.2.K

A U.S. Merchant assigned one of the Merchant Category Codes in the High-Risk Chargeback
Monitoring Program must not aggregate Transactions.

ID#: 010410-010410-0005651



Aggregated Transaction Merchant Requirements - U.S. Region 5.2.K (Updated)

Effective through 30 June 2011, an Electronic Commerce Merchant in the U.S. Region, including an
Internet Payment Service Provider, that aggregates Transactions must:

• Obtain an Authorization of no more than US $15 at the start of each aggregation session
• Complete the aggregation session within 3 calendar days
• Aggregate Transactions from a single Merchant Outlet in each aggregation session


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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 665 of 1319
                                                   PageID #: 3858
                                    Visa International Operating Regulations


• Support Partial Authorization
• Submit a Sales Draft for the actual purchase amount
• At the check-out screen, inform the Cardholder of the following:
  – That Transactions are aggregated
  – The terms of aggregation, including the maximum number of calendar days, aggregated
    Transaction value, and that the Issuer may hold available funds up to US $15 for 3 calendar
    days
  – How details of Aggregated Transactions can be obtained
• Provide a Transaction Receipt, via e-mail, that captures the details of individual purchases during
  the aggregation session, as follows:
  – Goods or services purchased
  – Amount and date of each individual purchase
  – Total Transaction amount charged
  – Transaction Date (for Aggregated Transactions, the Transaction Date is the date the Merchant
    submits the Sales Draft to its Acquirer)
• If requested, provide Cardholder purchase history for 120 calendar days after purchase

In the U.S. Region, for an Aggregated Transaction, the aggregated purchases must be from a single
merchant brand of the direct seller to the Cardholder.

Effective 1 July 2011, an Electronic Commerce Merchant in the U.S. Region, including a Payment
Service Provider, that aggregates Transactions must:

• Obtain an Authorization of no more than US $15 at the start of each aggregation session
• Complete the aggregation session within 3 calendar days
• Aggregate Transactions from a single Merchant Outlet in each aggregation session
• Support Partial Authorization
• Submit a Sales Draft for the actual purchase amount
• At the check-out screen, inform the Cardholder of the following:
  – That Transactions are aggregated
  – The terms of aggregation, including the maximum number of calendar days, aggregated
    Transaction value, and that the Issuer may hold available funds of up to US $15 for 3 calendar
    days
  – How details of Aggregated Transactions can be obtained
• Provide a Transaction Receipt, via e-mail, that captures the details of individual purchases during
  the aggregation session, as follows:
  – Goods or services purchased
  – Amount and date of each individual purchase
  – Total Transaction amount charged



628                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 666 of 1319
                                               PageID #: 3859
                                    Visa International Operating Regulations


  – Transaction Date (for Aggregated Transactions, the Transaction Date is the date the Merchant
    submits the Sales Draft to its Acquirer)
• If requested, provide Cardholder purchase history for 120 calendar days after purchase

ID#: 111011-010410-0005652




Deferred Payments - U.S. Region

Deferred Payment Transactions


Account Number Verification for Deferred Payment - U.S. Region

A U.S. Merchant may use Account Number Verification for a Deferred Payment Transaction at the
time an order is placed.

ID#: 081010-010709-0007205



Authorization and Cardholder Notification - U.S. Region

A U.S. Merchant must:

• Request Authorization for a Deferred Payment Transaction on the date the Cardholder is billed,
  which must be no later than 90 days from the initial shipment date
• Include disclosure of the deferred payment process, including the exact date of the billing, with the
  initial shipment to the Cardholder

ID#: 010410-010410-0008737



Billing Date as Transaction Date - U.S. Region

In the U.S. Region, the billing date is considered to be the Transaction Date.

ID#: 010410-010410-0008736




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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15            Page: 667 of 1319
                                                   PageID #: 3860
                                    Visa International Operating Regulations




Acquirer Performance Standards - U.S. Region

Retrieval Performance Rates - U.S. Region


Retrieval Request Rate Acquirer Standards - U.S. Region

A U.S. Acquirer must not exceed the monthly Retrieval Request rate specified in the table below.
The Retrieval Request rate is the number of Transaction Receipts received as a percentage of all
Transactions processed by the Acquirer in the specific Merchant category.


                    Acquirer Monthly Retrieval Request Rate Standards - U.S. Region

                       Merchant Category                                       All Visa Cards

      Airline                                                                      0.25%

      Lodging/Cruise Line                                                          0.15%

      Car Rental                                                                   0.25%

      Department Store                                                             0.25%

      Mass Merchandiser                                                            0.15%

      Gas and Convenience Store                                                    0.25%

      Direct Marketing Catalog Merchant                                            0.07%

      Direct Marketing Combination Catalog and Retail                              0.06%
      Merchant

      Direct Marketing Outbound Telemarketing Merchant                             0.40%

      Direct Marketing Inbound Teleservices Merchant                               0.20%

      Direct Marketing Continuity/Subscription Merchant                            0.15%

      Direct Marketing Insurance Services Merchant                                 0.05%

      All Merchants (including those listed above)                                 0.17%

ID#: 111011-010410-0006436




630                                                VISA PUBLIC                                  18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15            Page: 668 of 1319
                                               PageID #: 3861
                                    Visa International Operating Regulations




Chargeback Performance Rates - U.S. Region


Chargeback Rate Acquirer Standards - U.S. Region

A U.S. Acquirer must not exceed the Chargeback rate for the respective Card program, as specified
in the table below. The Chargeback rate is the number of Chargebacks received as a percentage of
all Transaction Receipts processed.


                              Acquirer Chargeback Rate Standards - U.S. Region

                       Merchant Category                                       All Visa Cards

                        Chargeback Rate

    All Merchants                                                                  0.17%

    Department Store                                                               0.10%

    Mass Merchandiser                                                              0.07%

    Gas and Convenience Store                                                      0.13%

    Direct Marketing Catalog Merchant                                              0.22%

    Direct Marketing Combination Catalog and Retail                                0.18%
    Merchant

    Direct Marketing Outbound Telemarketing Merchant                               0.90%

    Direct Marketing Inbound Teleservices Merchant                                 0.80%

    Direct Marketing Continuity/Subscription Merchant                              0.75%

    Direct Marketing Insurance Services Merchant                                   0.25%

ID#: 010410-010410-0006439




In-Transit

In-Transit Service - General Requirements


Operational Plan for In-Transit Service Merchants (Updated)

Before entering into a Merchant Agreement with an In-Transit Service Merchant, an Acquirer must:

• Submit a detailed written operational plan to Visa. At a minimum, the operational plan must meet
  the requirements in the "In-Transit Business Plan - Basic Checklist," available upon request from
  Visa
• Receive Visa approval for each Merchant providing In-Transit Services

18 October 2011                                    VISA PUBLIC                                          631
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 669 of 1319
                                                   PageID #: 3862
                                    Visa International Operating Regulations



Effective through 14 October 2011, in addition to the Unattended Acceptance Terminal
requirements specified in the Visa International Operating Regulations, the operational plan for the In-
Transit Service Merchant must include:

• Type of service provided
• Type of In-Transit Terminal used
• Process for obtaining Authorization
• Criteria and processes intended for risk management

Effective 15 October 2011, the operational plan for the In-Transit Service Merchant must include:

• Type of service provided
• Type of In-Transit Terminal used
• Process for obtaining Authorization
• Criteria and processes intended for risk management

ID#: 111011-010410-0008745



In-Transit Service Gambling Merchant Agreement

An Acquirer entering into a Merchant Agreement with an In-Transit Service Gambling Merchant must
ensure that:

• Interchange Reimbursement Fees received from each Issuer as a result of a credit processed for
  Cardholder winnings are identified daily
• A funds disbursement is processed daily to each Issuer (using reason code 0240) for twice the
  amount of the Interchange Reimbursement Fee received from the Issuer of the original Account
  Number on the original Transaction
• The descriptor used in the funds disbursement is "In-Transit Gambling Reimbursement"

ID#: 010410-010410-0002471



In-Transit Terminal Display and Cardholder Options

An In-Transit Terminal must display the following information on the introductory screen:

• Merchant name
• Merchant location
• Terms and conditions, such as:
  – Refund policy
  – Return policy
  – Cancellation policy



632                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 670 of 1319
                                               PageID #: 3863
                                    Visa International Operating Regulations



Before initiating a Transaction, the In-Transit Terminal must allow the Cardholder to either accept the
terms and conditions or cancel the Transaction.

ID#: 010410-010410-0008747



In-Transit Terminal Transaction Receipt for Gambling

Upon completion of gambling activities, an itemized Transaction Receipt must be generated by an
In-Transit Terminal or from an on-board central printer and provided to the Cardholder. In addition
to the data elements in "Face-to-Face Electronic Purchase or Credit Transaction Receipt Data
Requirements Table 7I-1," the Transaction Receipt must contain the:

• Terminal number
• Date of play
• Net amount of winnings or losses per session
• Account Number with all but the last 4 digits disguised or suppressed

ID#: 080411-010410-0002475



In-Transit Merchant Description

The Acquirer must include in the Clearing Record a Merchant description containing at least:

• Merchant's primary place of business or country of incorporation in the Merchant country field
• Merchant's customer service telephone number and country in the Merchant city field
• Word "In-Transit" following the Merchant name in the Merchant name field

ID#: 010410-010410-0002960



In-Transit Transaction Receipt Delivery to Cardholder

An In-Transit Service Merchant must provide the Cardholder with a completed Transaction Receipt
either while in transit or through the mail.

If sent by mail, the Cardholder name and address must be captured by the In-Transit Terminal and
included on the Transaction Receipt.

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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15       Page: 671 of 1319
                                                   PageID #: 3864
                                    Visa International Operating Regulations




In-Transit Service - Authorization Requirements


In-Transit Service Transaction - Authorization Time Limit

An Authorization Request for an In-Transit Service Transaction may occur while in transit or at the
final destination, and must be within 24 hours of the Transaction Date. If Authorization data is stored
for processing until arrival at the final destination, it must be encrypted and kept in a secure location
with access limited to authorized personnel only.

ID#: 010410-010410-0002961



In-Transit Service Transaction - Authorization Requirements

An Authorization Request for an In-Transit Service Transaction must not be key-entered. The
Authorization Request must include the:

• Full, unaltered contents of the Magnetic Stripe or Magnetic-Stripe Image on the Chip
• Merchant Category Code most appropriate for the Transaction type

ID#: 010410-010410-0002962



In-Transit Service Transaction - Authorization for Movies and Games

An In-Transit Service Transaction Authorization Request for services such as in-transit movies or
video games may be for an hourly rate, unit rate, or accumulated amount.

ID#: 010410-010410-0002963



In-Transit Service Transaction - Authorization for Catalog and Direct Marketing

An In-Transit Service Transaction Authorization Request for catalog or direct marketing purchases
must be for the total amount of all purchases made by a single Cardholder in a single Transaction.
Fees for shipping and handling may be included in the Authorization amount, provided they are
disclosed to the Cardholder at the time of the Transaction. Merchandise must be shipped within 7
calendar days of the Authorization date.

ID#: 010410-010410-0002964



Multiple In-Transit Service Transactions

Multiple In-Transit Service Transactions are permitted if authorized and cleared individually.
Authorization Requests occurring at an In-Transit Terminal representing multiple Merchants must be
processed separately by each Merchant.

ID#: 010410-010410-0002965



634                                                VISA PUBLIC                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 672 of 1319
                                               PageID #: 3865
                                    Visa International Operating Regulations




In-Transit Service - Processing Requirements


Transaction Currency for In-Transit Service Transaction

An In-Transit Service Transaction must be cleared in the amount and Transaction Currency agreed
by the Cardholder and Merchant. If a Transaction Currency is not specified on the Transaction
Receipt, it will default to the currency of the Transaction Country.

ID#: 010410-010410-0002959



Transaction Date for In-Transit Service Transaction

The Transaction Date for an In-Transit Service Transaction is either the:

• Date the transport vehicle reaches its final destination
• Date merchandise is shipped

ID#: 010410-010410-0002966




General T&E

General T&E Requirements


Hotels and Cruise Lines - T&E Services

If requested, an Acquirer must provide its Hotel or Cruise Line with any of the Visa Hotel and Cruise
Line services. A Hotel or Cruise Line must hold a valid contract with an Acquirer for each Visa Hotel
and Cruise Line service in which it participates, either as part of the Merchant Agreement or as a
separate contract.

ID#: 010410-010410-0007009



T&E Merchant Agreement - U.S. Region

In the U.S. Region, a T&E Merchant must hold a valid contract with an Acquirer for each T&E Service
in which it participates, either as part of the Merchant Agreement or as an addendum.

If requested, an Acquirer must provide its T&E Merchant with any of the T&E Services. A T&E
Merchant may participate in any of the following T&E Services:

• Visa Reservation Service
• T&E Advance Deposit Service



18 October 2011                                    VISA PUBLIC                                      635
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 673 of 1319
                                                   PageID #: 3866
                                    Visa International Operating Regulations


• Priority Check-out Service

ID#: 010410-010410-0008757



T&E Delayed or Amended Charges


Delayed or Amended Charges - Acceptable Charges 5.2.M.4

A delayed or amended charge may include room, food, or beverage charges, taxes, mileage charges,
fuel, insurance, rental fees, and parking tickets and other traffic violations, and must not include
charges for loss, theft, or damage.

This provision does not apply to Transactions involving Issuers or Acquirers in the jurisdiction of
Visa Europe. For those Transactions, see "Delayed or Amended Charges for Visa Europe - General
Requirements" and "Delayed or Amended Charges for Visa Europe - Car Rental."

ID#: 050411-171009-0003628



T&E Delayed or Amended Charges Time Limit

A delayed or amended charge for a T&E service must be processed to the Cardholder's account
within 90 calendar days of the Transaction Date of the related T&E Transaction.

T&E services may include:

• Room
• Taxes
• Fuel
• Insurance
• Rental fees
• Parking tickets and other traffic violations
• Goods and services purchased aboard a Cruise Line
• Damage to rental vehicles as specified in "Delayed or Amended Charges for Visa Europe - General
  Requirements"

ID#: 010410-010410-0008791



Delayed or Amended Charges for Visa Europe - General Requirements

The following provisions apply to Transactions occurring between the jurisdictions of Visa Europe and
Visa Inc.

A Merchant may process delayed or amended charges if the Cardholder has consented to be liable
for delayed or amended charges for a Hotel, Car Rental Company, or Cruise Line Transaction.



636                                                VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15         Page: 674 of 1319
                                               PageID #: 3867
                                    Visa International Operating Regulations



A delayed or amended charge must be processed to the Cardholder's account within 90 calendar
days of the Transaction Date of the related Transaction.

This may include room, food, or beverage charges, taxes, fuel, insurance, rental fees, damage to
rental vehicles, parking tickets and other traffic violations, and goods and services purchased aboard
a Cruise Line.

If the charge is for a parking ticket or traffic violation, the:

• Incident must have occurred while the Cardholder was in possession of the vehicle
• Merchant must support the charge with documentation from the appropriate civil authority,
  including the license number of the rental vehicle, date, time, and location of the violation, statute
  violated, and amount of the penalty in local currency

The Merchant may deposit the Transaction Receipt without a Cardholder signature if the Merchant
has the Cardholder signature on file and:

• Includes the words "Signature on File" on the signature line
• Sends a copy to the Cardholder at the address shown on the rental contract or folio

ID#: 050411-171009-0007398




Airline Merchants

International Airline Merchant Requirements


International Airline Eligible Participants

An International Airline may participate in the International Airline program.

An Acquirer must meet the capitalization and reserve requirements of Visa. These requirements
cover any estimated exposure for Chargebacks, including liability for airline tickets purchased but not
redeemed by Cardholders.

ID#: 010410-010410-0005281



International Airline Business Plan

Before entering into a Merchant Agreement with an International Airline, an Acquirer must obtain
approval of its business plan from Visa. Visa will review the business plan within 30 calendar days of
receipt.

The business plan must include:




18 October 2011                                    VISA PUBLIC                                         637
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 675 of 1319
                                                   PageID #: 3868
                                    Visa International Operating Regulations


• All countries in which Merchant Outlets are to be located, demonstrated knowledge of key
  information on each country (for example, domestic Interchange Reimbursement Fee and business
  and legal restrictions), and a plan for Authorization support in each country
• All currencies in which the International Airline intends to complete Transactions and verification
  that the Member is able to process multi-currency Deposits and Interchange
• A plan for Chargeback support
• The Acquirer's proposed method of satisfying Retrieval Requests
• Information to satisfy the Acquirer risk criteria

An Acquirer must not sign an International Airline Merchant Outlet that is in a country not previously
specified in the business plan unless it first notifies Visa in writing.

ID#: 010410-010410-0006089



International Airline - Merchant Agreement Requirements - U.S. Region

An International Airline Merchant Agreement must contain, at a minimum, the following elements, in
addition to those specified for all U.S. Merchants in the Merchant Agreement requirements of the Visa
International Operating Regulations:

• Merchant procedures for International Airline Program Transactions, as specified in the Visa
  International Operating Regulations
• Acquirer's responsibilities to the Merchant for Chargeback resolution support. This support must
  include:
  – Written information on Chargeback rights and procedures
  – Merchant Chargeback procedures, including a list of Chargeback Reason Codes, Merchant
    recourse options, and a local contact for inquiries
• A list of countries from which the Acquirer will accept Transactions, including the Authorization
  support procedures and processes for each country
• A requirement that the Acquirer and the Merchant notify Visa if Authorization problems arise for any
  countries covered by the Merchant Agreement

ID#: 010410-010410-0008948




Car Rental Merchants

Delayed or Amended Charges


Delayed or Amended Charges Processing Time Limit VIOR 5.3.B, USOR 5.2.M.4

A delayed or amended charge must be processed to the Cardholder's account within 90 calendar
days of the Transaction Date of the related Transaction.



638                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 676 of 1319
                                               PageID #: 3869
                                    Visa International Operating Regulations



This provision does not apply to Transactions involving Issuers or Acquirers in the jurisdiction of
Visa Europe. For those Transactions, see "Delayed or Amended Charges for Visa Europe - General
Requirements" and "Delayed or Amended Charges for Visa Europe - Car Rental."

ID#: 050411-171009-0004133



Parking Tickets 5.3.B

For a parking ticket or traffic violation, a T&E Merchant must provide documentation from the
appropriate civil authority, including the license number of the rental vehicle, time and location of the
violation, statute violated, and amount of the penalty in local currency.

ID#: 010410-010410-0003085



Delayed or Amended Charges - Parking Ticket or Traffic Violation VIOR 5.3.B, USOR
5.2.M.4

If the delayed or amended charge is for a parking ticket or traffic violation, the:

• Incident must have occurred while the Cardholder was in possession of the vehicle
• Merchant must support the charge with documentation from the appropriate civil authority,
  including the license number of the rental vehicle, date, time, and location of the violation, statute
  violated, and amount of the penalty

This provision does not apply to Transactions involving Issuers or Acquirers in the jurisdiction of
Visa Europe. For those Transactions, see "Delayed or Amended Charges for Visa Europe - General
Requirements" and "Delayed or Amended Charges for Visa Europe - Car Rental."

ID#: 050411-171009-0003629



Delayed or Amended Charges - Signature on File VIOR 5.3.B, USOR 5.2.M.4

A Car Rental Merchant may deposit the Transaction Receipt for a delayed or amended charge
without a Cardholder signature if the Merchant has the Cardholder signature on file and:

• Includes the words "Signature on File" on the signature line
• Sends a copy to the Cardholder at the address shown on the rental contract or folio

This provision does not apply to Transactions involving Issuers or Acquirers in the jurisdiction of
Visa Europe. For those Transactions, see "Delayed or Amended Charges for Visa Europe - General
Requirements" and "Delayed or Amended Charges for Visa Europe - Car Rental."

ID#: 111011-171009-0003354




18 October 2011                                    VISA PUBLIC                                         639
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15       Page: 677 of 1319
                                                   PageID #: 3870
                                    Visa International Operating Regulations




Delayed or Amended Charges for Visa Europe - Car Rental VIOR 5.3.B

The following provisions apply to Transactions occurring between the jurisdictions of Visa Europe and
Visa Inc.

The Car Rental Company must:

• Ensure that the Cardholder is advised at the time of making the reservation that a confirmation
  receipt is available during the hours of operation of the outlet on return of the rented vehicle. This
  confirmation receipt confirms the mutually agreed condition of the rented car upon return.
• Provide the Cardholder with written confirmation of the Cardholder decision of whether or not to
  request a confirmation receipt as part of the reservation confirmation
• Provide the Cardholder with written confirmation of the visible damage status of the rented car
  upon return. If there is no visible damage, this must be clearly stated on the written confirmation
  and the Car Rental Company must not process a delayed or amended charge Transaction for any
  visible damage to the rented car.

If the Cardholder returns the car using an express drop-off facility, the written confirmation receipt
must be sent to the Cardholder within 5 business days of the return date of the rented car.

The Car Rental Company should advise the Cardholder to retain the confirmation receipt in case of a
dispute.

When a Car Rental Company initiates a delayed or amended charge Transaction for charges relating
to damage to a rental vehicle, the Merchant must provide the Acquirer with all of the following:

• A copy of the rental agreement
• An estimate of the cost of the damage from an organization that can legally provide repairs
• The relevant civil authority's accident report (if applicable)
• Documentation showing that the Cardholder has given prior consent that a delayed or amended
  charge Transaction may be processed using that Cardholder's Card to cover damages to a rental
  vehicle. Such consent must be evidenced by either the:
  – Cardholder's signature on the same page as, and close to, the description of the charges that
    may be covered by the delayed or amended charge Transaction
  – Cardholder's signature on the agreement and the Cardholder's initials on each page of the
    agreement, where the Cardholder's signature is not set out on the same page as the description
    of the charges which may be covered by the delayed or amended charge Transaction
• Any other documentation demonstrating that Cardholder's liability for the damage
• A copy of the insurance policy of the Car Rental Company, if that Car Rental Company requires
  that the Cardholder pay an insurance deductible for damages
• A copy of the car rental agreement showing that the Cardholder consents to be responsible for the
  insurance deductible

For rental car damages, the Merchant must provide documentation showing the Cardholder's consent
to pay for damages with their Visa Card.


640                                                VISA PUBLIC                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 678 of 1319
                                               PageID #: 3871
                                    Visa International Operating Regulations



For delayed or amended charge Transactions relating to damages, the Car Rental Company must
provide a written confirmation, within 10 business days of the return date of the rented car, containing
the:

• Details of the damage
• Cost of the damage
• Currency in which the cost of the damage will be charged to the Cardholder

For delayed or amended charge Transactions relating to damages where the Car Rental Company
has written to the Cardholder, the Cardholder may, at no cost to the Car Rental Company, provide
written confirmation of an alternative estimate for the cost of the damage within 10 business days of
receipt of original written confirmation detailing the cost of the damage from the Car Rental Company.

The Car Rental Company and the Cardholder may come to an agreement on the cost of the damage
before processing the delayed or amended charge Transaction. If agreement is not reached between
the Car Rental Company and the Cardholder for the cost of the damage, and if the Car Rental
Company processes the delayed or amended charge Transaction, the Cardholder retains the right to
dispute the delayed or amended charge Transaction.

The Car Rental Company must wait 20 business days from the date of the confirmation receipt
provided to the Cardholder before processing a delayed or amended Transaction for damages.

Other delayed or amended charge Transactions, as specified in the Visa International Operating
Regulations, may still apply.

ID#: 050411-171009-0004141



Car Rental Advance Deposit


Car Rental Advance Deposit Service - U.S. Region

In the U.S. Region, a Car Rental Company may participate in the T&E Advance Deposit Service. The
Merchant must follow all applicable requirements for the Advance Deposit Service and must:

• Accept all Visa Cards in its category of acceptance for an advance deposit if the Cardholder agrees
  to the service
• Hold a valid T&E Advance Deposit Service contract with an Acquirer, either as part of the Merchant
  Agreement or as a separate contract

ID#: 010410-010410-0002755



Car Rental Advance Deposit Information Requirements - U.S. Region

In the U.S. Region, a participating Car Rental Company must obtain from the Cardholder for a T&E
Advance Deposit Transaction:

• Cardholder name, Account Number, and expiration date as displayed on the Visa Card


18 October 2011                                    VISA PUBLIC                                       641
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 679 of 1319
                                                   PageID #: 3872
                                    Visa International Operating Regulations


• Telephone number and mailing address
• Scheduled date of rental
• Intended length of rental

ID#: 010410-010410-0002756



Car Rental Advance Deposit Amount - U.S. Region

In the U.S. Region, a Car Rental Merchant participating in the T&E Advance Deposit Service must
determine the Advance Deposit Transaction amount, not to exceed the cost of the intended term of
rental, which must not exceed 14 days.

The deposit amount must be applied to the total obligation.

ID#: 010410-010410-0008969



Car Rental Advance Deposit Reservation Information - U.S. Region

In the U.S. Region, a Car Rental Merchant participating in the T&E Advance Deposit Service must
inform the Cardholder of the:

• Car rental rate
• Car Rental Company name
• Number of days the vehicle will be held

ID#: 010410-010410-0002759



Car Rental Advance Deposit Confirmation Code - U.S. Region

In the U.S. Region, a Car Rental Merchant participating in the T&E Advance Deposit Service must
provide:

• A confirmation code, advising the Cardholder to retain it
• Advance deposit amount and cancellation policy requirements

ID#: 010410-010410-0002760



Disclosure of Car Rental Deposit Forfeiture - U.S. Region

In the U.S. Region, a Car Rental Company participating in the T&E Advance Deposit Service must
advise the Cardholder that it will retain the entire T&E Advance Deposit Transaction amount or the
amount specified in the Merchant's stated policy, if the Cardholder has not either:

• Rented the vehicle by the end of the last day of the rental period used to determine the amount of
  the Transaction



642                                                VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 680 of 1319
                                               PageID #: 3873
                                    Visa International Operating Regulations


• Cancelled the reservation within the specified time frames

ID#: 010410-010410-0009013



Car Rental Advance Deposit Transaction Receipts - U.S. Region

In the U.S. Region, a Car Rental Merchant participating in the T&E Advance Deposit Service must
complete a Transaction Receipt with the following information:

• Advance deposit amount
• Cardholder name, Account Number, and expiration date
• Cardholder telephone number and mailing address
• The words "Advance Deposit" on the Transaction Receipt signature line
• Confirmation code
• Scheduled vehicle rental date
• Date and time that cancellation privileges (if any) expire without deposit forfeiture

The Merchant must mail a Transaction Receipt copy and cancellation policy for the T&E Advance
Deposit Transaction to the address indicated by the Cardholder within 3 business days from the
Transaction Date.

ID#: 031209-150210-0009024



T&E Advance Deposit Service Cancellation Period - U.S. Region

In the U.S. Region, a Car Rental Merchant participating in the T&E Advance Deposit Service must
accept all Cardholder cancellations within the time limits specified by the Merchant.

The Merchant must provide a cancellation code and advise the Cardholder to retain it in case of
dispute.

ID#: 010410-010410-0009010



Car Rental Advance Deposit Credit Receipt - U.S. Region

A U.S. Car Rental Merchant participating in the T&E Advance Deposit Service that accepts a
cancellation must complete a Credit Transaction Receipt, including the following information:

• The entire T&E Advance Deposit Transaction amount
• Cardholder mailing address
• Cancellation code
• Words "Advance Deposit" on the Transaction Receipt signature line

The Merchant must:



18 October 2011                                    VISA PUBLIC                                     643
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 681 of 1319
                                                   PageID #: 3874
                                    Visa International Operating Regulations


• Deposit the Credit Transaction Receipt within 5 calendar days of the Transaction Date
• Mail the Cardholder's copy to the Cardholder within 3 calendar days of the Transaction Date of the
  Credit Transaction Receipt

ID#: 010410-010410-0002771



Advance Deposit Service - Unavailable Vehicle - U.S. Region 5.4.R

If a vehicle reserved under the T&E Advance Deposit Service is unavailable, a U.S. Car Rental
Merchant must provide the following services to the Cardholder without charge:

• Credit Transaction Receipt to refund the entire Advance Deposit Transaction amount
• At least a comparable vehicle for the number of days specified in the reservation, not to exceed 14
  days, or until the reserved vehicle becomes available, whichever comes first

ID#: 010410-010410-0002778



Visa Reservation Service for Car Rentals - U.S. Region


Unavailable Specialized Vehicle - U.S. Region VIOR 5.4.X

A Car Rental Company in the U.S. Region may participate in a service to guarantee Peak Time
reservations or reservations for Specialized Vehicles, as specified in the U.S. Regional Operating
Regulations.

ID#: 010410-010410-0008958



Car Rental Reservation Merchant Agreement Requirements - U.S. Region VIOR 5.4.X

A U.S. Acquirer must incorporate the applicable Visa Reservation Service requirements into all
Merchant Agreements for Car Rental Companies participating in the Visa Reservation Service.

ID#: 010410-010410-0002689



Car Rental Reservation Card Acceptance - U.S. Region 5.4.Q

In the U.S. Region, a Car Rental Company participating in the Visa Reservation Service must accept
all Visa Cards in its category of acceptance for reservations.

ID#: 010410-010410-0002671




644                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 682 of 1319
                                               PageID #: 3875
                                    Visa International Operating Regulations




Car Rental Reservation Billing Information - U.S. Region VIOR 5.4.X, USOR 5.4.Q

For a Specialized Vehicle or Peak Time reservation in the U.S. Region, a Car Rental company must
obtain the Cardholder name, Account Number, and expiration date as displayed on the Visa Card or
Visa Electron Card.

ID#: 010410-010410-0008949



Car Rental Peak-Time Reservation - Cardholder Disclosure Requirements - U.S.
Region 5.4.Q

If a Cardholder reserves a vehicle in the U.S. Region during Peak Time, the Car Rental Company
must inform the Cardholder that the reservation:

• Is within a Peak Time period and explain the meaning of Peak Time
• May be cancelled without penalty any time up to 8 hours before the scheduled rental time

ID#: 010410-010410-0002672



Car Rental Peak Time Reservation - Cancelled Flight - U.S. Region 5.4.Q

In the U.S. Region, if a Cardholder is traveling to a car rental location by Airline and the flight is
cancelled or the airport is closed, the Cardholder may cancel the Peak Time reservation without
penalty up to one hour before the scheduled rental time.

ID#: 010410-010410-0002673



Car Rental Peak Time Reservation - No-Show Fee Disclosure - U.S. Region 5.4.Q

In the U.S. Region, a Car Rental Company must advise the Cardholder that a "no-show" fee for Peak
Time reservations may be billed if the Cardholder has neither:

• Rented the vehicle by the end of the guarantee period
• Properly cancelled the reservation

The "no-show" fee must not exceed one day's rental plus applicable taxes.

ID#: 010410-010410-0002674



Specialized Vehicle Guaranteed Rental Period - U.S. Region VIOR 5.4.X, USOR 5.4.Q

In the U.S. Region, if a Cardholder reserves a Specialized Vehicle, the Car Rental Company must
inform the Cardholder that the reservation:

• Will be held until the scheduled pick-up time, unless cancelled



18 October 2011                                    VISA PUBLIC                                           645
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 683 of 1319
                                                   PageID #: 3876
                                    Visa International Operating Regulations


• May be cancelled without penalty up to 72 hours before the scheduled rental time
• If the reservation is made within 72 hours of the scheduled rental time, may be cancelled without
  penalty up to 8 hours before the scheduled rental time.

ID#: 010410-010410-0008960



Specialized Vehicle Reservation No-Show Disclosure Requirements - U.S. Region
VIOR 5.4.X, USOR 5.4.Q

A Car Rental Company in the U.S. Region must advise the Cardholder that a "no-show" fee for a
Specialized Vehicle reservation may be billed if the Cardholder has neither:

• Rented the Specialized Vehicle by the end of the guarantee period
• Properly cancelled the reservation

The "no show" fee must not exceed 2 days' rental.

ID#: 010410-010410-0008963



Car Rental Reservation Confirmation - U.S. Region VIOR 5.4.X, USOR 5.4.Q

In the U.S. Region, for a reservation made with at least 72 hours' notice, a Car Rental Company must
send the Cardholder a written confirmation containing:

• Cardholder name, Account Number, and expiration date as displayed on the Visa Card or Visa
  Electron Card
• Name and exact street address of the Merchant Outlet
• Confirmation code
• Rate
• Cardholder obligations
• Cancellation and any other service details

For reservations made with less than 72 hours' notice, the Car Rental Company must mail a
confirmation only on Cardholder request.

ID#: 010410-010410-0008950



Car Rental Cancellation Requests - U.S. Region VIOR 5.4.X, USOR 5.4.Q

A U.S. Car Rental company must:

• Accept a reservation cancellation request if made by the specified time
• Provide a cancellation code and advise the Cardholder to retain it in case of dispute

ID#: 010410-010410-0008951



646                                                VISA PUBLIC                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 684 of 1319
                                               PageID #: 3877
                                    Visa International Operating Regulations




Specialized Vehicle Reservation Cancellation Period - U.S. Region VIOR 5.4.X

A Car Rental Company in the U.S. Region must not require more than 72 hours' reservation
cancellation notification before the scheduled rental date of a Specialized Vehicle.

If the Cardholder makes the reservation within 72 hours of the scheduled rental date, the cancellation
deadline must be 12 hours before the scheduled rental time on the scheduled pick-up date.

ID#: 010410-010410-0008961



Car Rental Cancellation Written Confirmation - U.S. Region VIOR 5.4.X, USOR 5.4.Q

In the U.S. Region, if requested, a Car Rental company must provide the Cardholder with a written
reservation confirmation that contains the following information:

• Cardholder name, Account Number, and Card expiration date as displayed on the Visa Card
• Cancellation code
• Cancellation details

ID#: 010410-010410-0008954



Car Rental No-Show Requirements - U.S. Region VIOR 5.4.X, USOR 5.4.Q

A U.S. Car Rental Company must hold a Specialized Vehicle according to the reservation if the
Cardholder has not claimed or properly canceled the reservation by the specified time.

The Car Rental Company may then prepare a Transaction Receipt with the following information:

• No-Show Transaction fee plus tax, as applicable. The amount of the No-Show Transaction must
  not exceed the value of:
  – 2 days' rental, including tax, for a Specialized Vehicle reservation
  – One day's rental, including tax, for a Peak Time reservation
• Cardholder name, Account Number, and expiration date as displayed on the Card
• The words "No-Show" on the signature line of the Transaction Receipt

ID#: 010410-010410-0008955



Car Rental Reservation Authorization and Deposit Procedures - U.S. Region VIOR
5.4.X

In the U.S. Region, a Car Rental Company participating in the Visa Reservation Service must follow
normal Authorization and Deposit requirements for a Car Rental Company, as specified in "T&E
Authorizations" and "T&E Delayed or Amended Charges."

ID#: 010410-010410-0002703



18 October 2011                                    VISA PUBLIC                                      647
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 685 of 1319
                                                   PageID #: 3878
                                    Visa International Operating Regulations




Peak Time Reservation Vehicle Unavailable - U.S. Region 5.4.Q

In the U.S. Region, if a vehicle guaranteed as a Peak Time reservation is unavailable, the Car Rental
Company must provide the Cardholder with a comparable vehicle no later than one hour from the
scheduled rental time.

If a comparable vehicle cannot be provided within one hour, the Car Rental Company must provide
the following services at no charge to the Cardholder:

• Transportation to the Cardholder's destination
• Delivery of a comparable vehicle to the Cardholder's destination within 8 hours from the scheduled
  rental time
• Transportation, vehicle delivery, and one day's car rental

ID#: 010410-010410-0008959



Unavailable Specialized Vehicle - U.S. Region VIOR 5.4.X, USOR 5.4.Q

If a reserved Specialized Vehicle is unavailable, a Car Rental Company in the U.S. Region must
provide the following services at no charge to the Cardholder:

• Comparable vehicle at another car rental establishment for the reservation period
• Transportation to the alternate car rental establishment.

ID#: 010410-010410-0008962




Hotels and Cruise Lines

Hotel and Cruise Line General Requirements


Cruise Line On-Board Casinos

On-board gambling charges, such as the purchase of gaming chips, must be distinct from other
cruise charges. They must be:

• Authorized
• Processed with:
  – MCC 7995, "Betting, including Lottery Tickets, Casino Gaming Chips, Off-Track Betting, and
    Wagers at Race Tracks"
  – The Quasi-Cash/Online Gambling Transaction indicator

ID#: 010410-010410-0002705




648                                                VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 686 of 1319
                                               PageID #: 3879
                                    Visa International Operating Regulations




Hotel or Cruise Line Cash Disbursement

A Hotel or Cruise Line may make Cash Disbursements on a Visa Card to a registered Cardholder if
all of the following conditions apply:

• The Cardholder indicates at registration the intent to pay for the Hotel's services with a Visa Card
• Before disbursement, the Merchant reviews positive identification (such as a passport or driver's
  license) and, if permitted under applicable law, records type and number on the Transaction
  Receipt
• The Merchant completes a Cash Disbursement Transaction Receipt and writes on the front of
  the Transaction Receipt the Cardholder's positive identification and the 4 digits printed below the
  Account Number on the Card
• The Merchant does not disburse more than US $250, or local currency equivalent, during the
  Cardholder's stay or voyage
• The Merchant does not include any additional fees, excluding taxes or charges imposed by law, to
  the Transaction amount

ID#: 010410-010410-0002801



Hotel Guaranteed Reservations


Required Participation in the Hotel Reservation Service

A Hotel or its third-party booking agent must participate in the Hotel Reservation Service (known
in the U.S. Region as the Visa Reservation Service) if it accepts Visa Cards to guarantee Hotel
reservations.

An Acquirer must incorporate the Hotel Reservation Service requirements into all Merchant
Agreements.

In the U.S. Region, an Acquirer must incorporate these requirements into either: (This only applies in
the U.S. Region.)

• All Merchant Agreements (This only applies in the U.S. Region.)
• Separate contract for each of its T&E Merchants that guarantees reservations (This only applies in
  the U.S. Region.)

ID#: 010410-010410-0008681



Hotel Reservation Billing Information

A Hotel or its third-party booking agent must obtain the Cardholder name, Account Number, and Card
expiration date displayed on the Card for each reservation.

ID#: 010410-010410-0006087



18 October 2011                                    VISA PUBLIC                                        649
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 687 of 1319
                                                   PageID #: 3880
                                    Visa International Operating Regulations




Hotel Reservation Exact Name and Location

A Hotel or its third-party booking agent accepting a reservation must quote the reserved
accommodation rate and the exact name and physical address of the establishment.

ID#: 010410-010410-0006086



Hotel Reservation Amount of No Show

 A Hotel or its third-party booking agent must inform the Cardholder that one night's lodging will be
billed if the Cardholder has not either:

• Registered by check-out time the day following the scheduled arrival date
• Properly canceled the reservation

ID#: 010410-010410-0006085



Hotel Reservation Confirmation Code 5.4.R

A Hotel or its third-party booking agent must provide a reservation confirmation code and advise the
Cardholder to retain it in case of dispute.

ID#: 010410-010410-0002731



Hotel Reservation Information

A Hotel or its third-party booking agent must provide to the Cardholder reservation information and, if
requested, a written confirmation with the following information:

• Cardholder name, Account Number, and Card expiration date
• Confirmation code
• Exact physical address of the establishment
• Hotel Reservation Service provisions relating to the Cardholder's obligations
• Any other reservation details

ID#: 010410-010410-0006084



Hotel Reservation Cancellations

A Hotel or its third-party booking agent must accept all reservation cancellations before the specified
notification time.

The Hotel or its third-party booking agent must not require cancellation notification more than 72
hours before the scheduled arrival date.


650                                                VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 688 of 1319
                                               PageID #: 3881
                                    Visa International Operating Regulations



If a Cardholder makes the reservation within 72 hours of the scheduled arrival date, the cancellation
deadline must be no earlier than 6:00 p.m. Merchant Outlet time on the arrival date or date
guaranteed.

If the Hotel or its third-party booking agent requires that a Cardholder cancel before 6:00 p.m.
Merchant Outlet time on the date guaranteed, the Hotel or its third-party booking agent must mail the
cancellation policy, including the date and time that cancellation privileges expire, to the Cardholder.

ID#: 010410-010410-0008688



Hotel Reservation Cancellation Code

A Hotel or its third-party booking agent must provide a reservation cancellation code (if the
reservation is properly cancelled) and advise the Cardholder to retain it in case of dispute.

ID#: 010410-010410-0006079



Hotel Reservation Mail Confirmation

If requested by the Cardholder, a Hotel or its third-party booking agent must mail a confirmation of
cancellation. The confirmation must include the following:

• Cardholder name, Account Number, and Card expiration date
• Cancellation code
• Any other cancellation details

ID#: 010410-010410-0006080



Hotel Reservation Room Hold

If a Cardholder has not claimed or cancelled the Hotel Reservation Service accommodations by the
specified time, the Hotel or its third-party booking agent must hold the reserved rooms available until
check-out time the following day.

The Hotel or its third-party booking agent may then complete a Transaction Receipt that must
contain:

• Amount of one night's lodging plus applicable tax
• Cardholder name, Account Number, and Card expiration date
• The words "No-Show" on the signature line of the Transaction Receipt

ID#: 010410-010410-0008703




18 October 2011                                    VISA PUBLIC                                         651
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 689 of 1319
                                                   PageID #: 3882
                                    Visa International Operating Regulations




Hotel Reservation Unavailable Accommodations

If the accommodations guaranteed by the Hotel Reservation Service are unavailable, the Hotel must
provide the Cardholder with the following services at no charge:

• Comparable accommodations for one night at another establishment
• If requested, a 3-minute telephone call and message forwarding to the alternate establishment
• Transportation to the alternate establishment

ID#: 010410-010410-0006076



Hotel Reservation Service Card Acceptance - U.S. Region 5.4.P

In the U.S. Region, a Lodging Merchant participating in the Visa Reservation Service must accept all
Visa Cards in its category of acceptance for reservations.

ID#: 010410-010410-0002781



Advance Deposit Service


Advance Deposit Service - General Requirements VIOR 5.4.S, USOR 5.4.R

A Hotel or Cruise Line participating in the Advance Deposit Service must:

• Accept all Visa Cards or Visa Electron Cards for an advance deposit if the Cardholder agrees to
  the service
• Hold a valid Advance Deposit Service contract with an Acquirer

In the U.S. Region, the participating Merchant must accept all Visa Cards in its category of
acceptance. (This only applies in the U.S. Region.)

ID#: 031209-150210-0002706



Advance Deposit Service - Deposit Information Requirements VIOR 5.4.S, USOR 5.4.R

A Merchant participating in the Advance Deposit Service must obtain from the Cardholder:

• Cardholder name, Account Number, and expiration date as displayed on the Visa Card or Visa
  Electron Card
• Telephone number and mailing address
• Scheduled date of arrival for a Hotel, or embarkation for a Cruise Line




652                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 690 of 1319
                                               PageID #: 3883
                                    Visa International Operating Regulations


• Intended length of stay or voyage

ID#: 010410-010410-0002707



Advance Deposit Transaction Amount VIOR 5.4.S, USOR 5.4.R.2

A Merchant participating in the Advance Deposit Service must determine the Advance Deposit
Transaction amount, not to exceed the following:

• For lodging accommodations, the cost of the intended length of stay (not to exceed 14 nights)
• Cost of the cruise

The deposit amount must be applied to the total obligation.

ID#: 010410-010410-0008970



Advance Deposit Service - Reservation Information VIOR 5.4.S, USOR 5.4.R

A Merchant participating in the Advance Deposit Service must inform the Cardholder of the following,
as applicable:

• Reserved accommodation rate and the Transaction amount
• Exact Merchant name and location
• Name of the cruise ship and point of embarkation
• Merchant's intention to hold the accommodation for the number of nights paid for
• Merchant cancellation policy

ID#: 010410-010410-0002710



Advance Deposit Service - Deposit Information Code and Other Requirements VIOR
5.4.S, USOR 5.4.R

A Merchant participating in the Advance Deposit Service must provide:

• A confirmation code, and advise the Cardholder to retain it
• Advance deposit requirements, cancellation policy requirements, and the actual date and time that
  the cancellation privileges expire

The Merchant must advise the Cardholder that it will:

• Hold the accommodations according to the reservation
• Provide written confirmation of a Cardholder reservation change if requested

ID#: 010410-010410-0008971




18 October 2011                                    VISA PUBLIC                                     653
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 691 of 1319
                                                   PageID #: 3884
                                    Visa International Operating Regulations




Advance Deposit Service - Disclosure of Deposit Forfeiture VIOR 5.4.S, USOR 5.4.R

A Merchant participating in the Advance Deposit Service must advise the Cardholder that it will retain
the entire Advance Deposit Transaction amount or the amount specified in the Merchant's stated
policy if the Cardholder has not:

• Registered by check-out time the day following the specified last night of lodging for a Hotel (the
  Cardholder will lose the unused amount of the reservation)
• Checked in by embarkation time for a Cruise Line
• Canceled the reservation within the time limit specified by the Merchant

Under the Advance Deposit Service, a Merchant must not charge the Cardholder for a No-Show
Transaction.

ID#: 010410-010410-0009016



Advance Deposit Service - Transaction Receipt Completion and Delivery VIOR 5.4.S,
USOR 5.4.R

A Merchant participating in the Advance Deposit Service must complete a Transaction Receipt with
the following information:

• Advance deposit amount
• Cardholder name and Account Number
• Cardholder telephone number and mailing address
• The words "Advance Deposit" on the Transaction Receipt signature line
• Confirmation code
• Scheduled check-in or embarkation date
• Date and time that cancellation privileges (if any) expire without deposit forfeiture for unused
  accommodations

The Merchant must mail the Transaction Receipt copy and cancellation policy to the Cardholder
within 3 business days of the Transaction Date.

ID#: 010410-010410-0009025



Advance Deposit Service Cancellation Requirements VIOR 5.4.S, USOR 5.4.R

A Merchant participating in the Advance Deposit Service must accept all Cardholder cancellations
within the time limits specified the by the Merchant.




654                                                VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 692 of 1319
                                               PageID #: 3885
                                    Visa International Operating Regulations



The Merchant must provide a cancellation code and advise the Cardholder to retain it in case of
dispute.

ID#: 010410-010410-0009009



Advance Deposit Service - Credit Transaction Receipt VIOR 5.4.S, USOR 5.4.R

A Merchant participating in the Advance Deposit Service must complete a Credit Transaction Receipt,
including all of the following:

• Transaction amount
• Cardholder name, Account Number, and expiration date as displayed on the Visa Card or Visa
  Electron Card
• Cardholder mailing address
• Cancellation code
• The words "Advance Deposit" on the Transaction Receipt signature line

ID#: 010410-010410-0002719



Refund Requirements

Within 3 business days of the Transaction Date on the Credit Transaction Receipt, a Merchant
participating in the Advance Deposit Service must:

• Deposit the Credit Transaction Receipt
• Mail the Cardholder's copy to the Cardholder

In the U.S. Region, the Merchant must: (This only applies in the U.S. Region.)

• Deposit the Credit Transaction Receipt within 5 calendar days of the Transaction Date (This only
  applies in the U.S. Region.)
• Mail the Cardholder's copy to the Cardholder within 3 calendar days of the Transaction Date of the
  Credit Transaction Receipt (This only applies in the U.S. Region.)

ID#: 010410-010410-0008720



Unavailable Hotel Accommodations 5.4.S.9

If Hotel accommodations reserved under the Advance Deposit Service are unavailable, the Merchant
must provide the Cardholder with the following services without charge:

• Credit refund for the entire Transaction amount. The Merchant must provide the Credit Transaction
  Receipt copy to the Cardholder.




18 October 2011                                    VISA PUBLIC                                     655
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 693 of 1319
                                                   PageID #: 3886
                                    Visa International Operating Regulations


• Comparable accommodations at an alternate establishment for the number of nights specified in
  the reservation (not to exceed 14 nights) or until the reserved accommodations become available
  at the original establishment
• If requested, 2 3-minute telephone calls and message forwarding to the alternate establishment
• Transportation to the alternate establishment's location and return to the original establishment. If
  requested, the Merchant must provide daily transportation to and from the alternate establishment.

ID#: 010410-010410-0008721



Unavailable Cruise Accommodations 5.4.S.10

If Cruise Line accommodations reserved under the Advance Deposit Service are unavailable, and
no comparable accommodations are available on the ship, the Merchant must offer the Cardholder a
comparable cruise of similar itinerary and embarkation date at no additional cost to the Cardholder.

If the Cardholder accepts the alternate accommodations, the Merchant must provide either of the
following services without charge:

• An additional night's accommodation
• Airfare to a different port city

If the Cardholder declines the alternate accommodations, the Merchant must provide a credit refund
for the entire Advance Deposit Transaction amount. The Merchant must provide a copy of the Credit
Transaction Receipt to the Cardholder.

In addition, the Merchant must provide the Cardholder all of the following without charge:

• One night's Hotel accommodation, if the Cardholder requests it
• Transportation to the Hotel and airport
• Airline transportation to the airport nearest the Cardholder's residence
• Reasonable out-of-pocket expenses incurred by the Cardholder

ID#: 010410-010410-0008722



Priority Check-Out Service


General Requirements for Priority Check-Out

A Hotel or Cruise Line participating in the Priority Check-out Service must:

• Hold a valid Priority Check-out Service contract with an Acquirer
• Accept all Cards when a Cardholder requests the Priority Check-out Service




656                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 694 of 1319
                                               PageID #: 3887
                                    Visa International Operating Regulations


• Comply with all the requirements in "Dynamic Currency Conversion Priority Check-out and Express
  Return Requirements" if it offers Dynamic Currency Conversion

ID#: 010410-010410-0008735



Priority Check-out Agreement (Updated)

A Priority Check-out Agreement must include the following information:

• Merchant name and location
• A statement from the Cardholder to the Hotel's cashier to check the Cardholder out of Room
  Number XXXXX on departure date MMDDYY
• In the US region, the Merchant telephone number

Space must be provided for the Cardholder (guest) name and signature with a statement that the
Cardholder (guest) authorizes a charge to their Visa account for the amount of all costs incurred
during their stay

If requested by the Cardholder (guest), the Hotel must send a copy of the following:

• Visa Transaction Receipt
• Hotel bill
• Copy of the Priority Check-out Agreement

The Hotel may include space for the Cardholder name, company name and address, including state/
province and country in order to mail the receipt(s) to the Cardholder

Once completed, the agreement is Visa Confidential.

ID#: 151011-010100-0026517



Transaction Receipt and Priority Check-Out Agreement Completion

A Merchant participating in the Priority Check-out Service must:

• Ask the Cardholder to complete, sign, and return a Priority Check-out Agreement that must contain
  the information specified in "Manual Transaction Receipt - Data Requirements VIOR Table 7J-1
  USOR Table S-7" and "Manual Transaction Receipt - Hotels Table 7J-2." The Cardholder must
  include the mailing address to receive a copy of the Hotel bill.
• Complete a Transaction Receipt, including the total obligation amount and the words "Priority
  Check-out" on the signature line of the Transaction Receipt
• Review the completed Priority Check-out Agreement and ensure that the Account Number matches
  the Account Number on the Transaction Receipt, if applicable

ID#: 080411-010410-0002798




18 October 2011                                    VISA PUBLIC                                      657
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 695 of 1319
                                                   PageID #: 3888
                                    Visa International Operating Regulations




Priority Check-Out Service - Transaction Receipt Delivery (Updated)

At Cardholder request, a Merchant participating in the Priority Check-out Service must provide a
Transaction Receipt copy, the itemized bill, and the signed agreement with the information listed in
"Priority Check-out Agreement" in one of the following ways:

• Onsite
• By e-mail
• By mail within 3 business days of the Cardholder's departure

In the U.S. Region, a Lodging Merchant or Cruise Line merchant must mail the Transaction Receipt
copy, the itemized bill and, if requested, the signed Priority Check-out Agreement to the Cardholder
within 3 business days of the Cardholder's departure. (This only applies in the U.S. Region.)

ID#: 151011-010410-0008731



Priority Check-Out Service Document Retention

A Merchant participating in the Priority Check-out Service must retain the itemized bill and signed
Priority Check-out Agreement for a minimum of 6 months after the Transaction Date.

ID#: 010410-010410-0002800



Central Reservation Service


Physical Inspections of Central Reservation Service Premises - U.S. Region

A U.S. Acquirer must conduct a physical inspection of the Central Reservation Service business
premises and a review of:

• Solicitation or sales materials
• Operating procedures for Lodging Merchants to be serviced

ID#: 010410-010410-0003397



Central Reservation Service - Acquirer Requirement - U.S. Region

A U.S. Acquirer must maintain a file on a Central Reservation Service that:

• Includes all applicable documentation
• Is retained for a minimum of 2 years following discontinuance of the relationship, with reasons for
  discontinuance

ID#: 010410-010410-0003226




658                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 696 of 1319
                                               PageID #: 3889
                                    Visa International Operating Regulations




Merchant Agreement for Central Reservation Service - U.S. Region

For a Central Reservation Service Merchant to participate in the Advance Deposit Service, a U.S.
Acquirer must have a Merchant Agreement with the Central Reservation Service that includes the
provisions for the Advance Deposit Service.

ID#: 010410-010410-0008732



Central Reservation Service Requirements - U.S. Region

In the U.S. Region, a Central Reservation Service must:

• Have a written contract with the lodging establishment, executed by an officer or manager of the
  hotel
• Accept full responsibility for resolving Cardholder problems related to the Advance Deposit Service

ID#: 010410-010410-0002753



Central Reservation Service Agents - U.S. Region

In the U.S. Region, a Central Reservation Service must not use an agent to perform services on its
behalf.

ID#: 010410-010410-0002754




Timeshare Merchants

General Timeshare Merchant Requirements


Timeshare Merchant Category Code

An Acquirer must assign Merchant Category Code 7012, "Timeshares," to a Timeshare Merchant that
operates sales, rentals, or other uses not including full-service lodging (i.e., maid and room service).

The Acquirer must submit the assigned Merchant Category Code for a Timeshare Merchant either:

• With each Authorization Request
• Through BASE II

ID#: 010410-010410-0008741




18 October 2011                                    VISA PUBLIC                                       659
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 697 of 1319
                                                   PageID #: 3890
                                    Visa International Operating Regulations




Timeshare Merchants - Special Credit Refund Requirements

A Timeshare Merchant must provide a full credit refund when the:

• Transaction Receipt was processed
• Cardholder canceled the Transaction within 14 calendar days of the Transaction Date

ID#: 111011-010410-0003082




Real-Time Clearing - U.S. Region

Automated Fuel Dispensers Real-Time Clearing - U.S. Region


Automated Fuel Dispenser Real-Time Clearing Transaction Processing Requirements
- U.S. Region

In the U.S. Region, a Real-Time Clearing Transaction must properly identify the preauthorization time
limit in Field 63.2 of the Authorization message, as specified in the appropriate VisaNet manual.

Any applicable Interchange Reimbursement Fee may apply to a Real-Time Clearing Transaction.

ID#: 090411-010410-0007391




Gambling

Online Gambling


Online Gambling Merchant Requirements

An Acquirer must ensure that:

• An Online Gambling Merchant has a valid license or other appropriate authority to operate its
  Website under the local law of its Country of Domicile
• A Transaction completed by an Online Gambling Merchant is identified with:
  – Merchant Category Code 7995, "Betting," even when gambling services are not the Merchant's
    primary business
  – The Quasi-Cash/Online Gambling Transaction indicator in the Authorization and Clearing
    messages
• An Online Gambling Merchant Website complies with the Website requirements specified in
  "Online Gambling - Special Website Requirements"


660                                                VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 698 of 1319
                                               PageID #: 3891
                                    Visa International Operating Regulations


• The appropriate payment acceptance provisions are included in its Merchant Agreement or as a
  separate addendum

ID#: 010410-010410-0002474



Online Gambling Identifiers (Updated)

Effective through 30 June 2011, in addition to the requirements specified in "Electronic Commerce
Indicator Requirements," a Transaction completed by a Member, Merchant, Online Gambling
Merchant, Internet Payment Service Provider (IPSP), or Sponsored Merchant that processes Online
Gambling Transactions must be identified with:

• Merchant Category Code 7995, "Betting," even when gambling services are not the Merchant's
  primary business
• The Quasi-Cash/Online Gambling Transaction indicator in the Authorization Request and Clearing
  Record

If a Member, Merchant, IPSP, or Sponsored Merchant is unable to distinguish an Online Gambling
Transaction from other Transactions, it must:

• Identify all Transactions as Online Gambling Transactions
• Inform the Cardholder that Transactions may be identified on the billing statement as gambling
  Transactions

Effective 1 July 2011, in addition to the requirements specified in "Electronic Commerce Indicator
Requirements," a Transaction completed by a Member, Merchant, Online Gambling Merchant,
Payment Service Provider (PSP), or Sponsored Merchant that processes Online Gambling
Transactions must be identified with:

• Merchant Category Code 7995, "Betting, including Lottery Tickets, Casino Gaming Chips, Off-
  Track Betting, and Wagers at Race Tracks," even if gambling services are not the Merchant's or
  Sponsored Merchant's primary business
• The Quasi-Cash/Online Gambling Transaction indicator in the Authorization Request and Clearing
  Record

If a Member, Merchant, PSP, or Sponsored Merchant is unable to distinguish an Online Gambling
Transaction from other Transactions, it must:

• Identify all Transactions as Online Gambling Transactions
• Inform the Cardholder that Transactions may be identified on the billing statement as gambling
  Transactions

ID#: 111011-010410-0005919



Online Gambling Funds Transfer

If a funds transfer to an individual is to be used for an Online Gambling Transaction, an Acquirer
must:


18 October 2011                                    VISA PUBLIC                                       661
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 699 of 1319
                                                   PageID #: 3892
                                    Visa International Operating Regulations


• Identify the Transaction as an Online Gambling Transaction
• Ensure that adequate processes are in place that will identify and eliminate abuse by an individual
  or Online Gambling Merchant that attempts to circumvent proper Transaction identification

If Visa determines that an individual is facilitating Online Gambling Transactions through funds
transfers, Visa may impose these requirements on the funds transfer Merchant for any future funds
transfers to that individual.

ID#: 010410-010410-0002955



Online Gambling - Special Website Requirements

In addition to the Website requirements specified in "Website Requirements" and "Electronic
Commerce Merchant Refund Policy Disclosure," a Website for an Online Gambling Merchant must
contain:

• The statement "Internet Gambling may be illegal in the jurisdiction in which you are located; if so,
  you are not authorized to use your payment card to complete this transaction."
• A statement of the Cardholder's responsibility to know the laws concerning online gambling in their
  country of domicile
• A statement prohibiting the participation of minors
• A complete description of the:
  – Rules of play
  – Cancellation policies
  – Pay-out policies
• A statement recommending that the Cardholder retain a copy of transaction records and Merchant
  policies and rules
• An Acquirer numeric identifier, as specified in the Visa Acquirer Risk Management Guide

ID#: 010410-010410-0002957



Online Gambling Merchant Registration - LAC Region (Updated)

Effective through 31 May 2011, before an LAC Acquirer signs an Online Gambling Merchant,
it must comply with all of the applicable requirements for the monitoring of High-Risk Merchants
specified in the Visa International Operating Regulations.

Effective 1 June 2011, before an LAC Acquirer signs an Online Gambling Merchant, it must comply
with all of the applicable requirements for the monitoring of High-Brand Risk Merchants, as specified
in the Visa International Operating Regulations and any other risk reduction procedures imposed by
Visa.

ID#: 111011-010410-0005299




662                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 700 of 1319
                                               PageID #: 3893
                                    Visa International Operating Regulations




Online Gambling Merchant Registration Fees - LAC Region

To cover additional monitoring expenses, a registration fee for LAC Online Gambling Merchants is
required, as described in the Visa LAC Fee Guide or applicable local fee guide.

ID#: 081010-010410-0005301



Gambling Credits


Transactions Representing Gambling Winnings

A gambling Merchant may disburse winnings as an Original Credit if:

• The Original Credit is processed to the same Account Number that was used to place the winning
  wager
• The Transaction representing the winning wager was lawfully made, properly identified, and
  processed according to the Visa International Operating Regulations

ID#: 010410-010410-0002958



Original Credit - Gambling Credits

An Online Gambling Merchant must not deposit a credit Transaction to disburse winnings to
Cardholders, except for an Original Credit, as specified in "Transactions Representing Gambling
Winnings."

ID#: 010410-010410-0002956



In-Transit Gambling


In-Transit Service Gambling Merchant Operational Plan (Updated)

Effective through 14 October 2011, in addition to the Unattended Acceptance Terminal
requirements and In-Transit Service Merchant requirements specified in the Visa International
Operating Regulations, the operational plan for an In-Transit Service Gambling Merchant must
include the following information:

• Rules of play
• Odds of winning
• Pay-out ratios




18 October 2011                                    VISA PUBLIC                                     663
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15       Page: 701 of 1319
                                                   PageID #: 3894
                                    Visa International Operating Regulations



Effective 15 October 2011, in addition to the In-Transit Service Merchant requirements specified
in "Operational Plan for In-Transit Service Merchants," the operational plan for an In-Transit Service
Gambling Merchant must include the following information:

• Rules of play
• Odds of winning
• Pay-out ratios

ID#: 111011-010410-0002472



In-Transit Service Gambling Merchant - Independent Legal Source

An Acquirer must provide Visa with documentation from an independent legal source that:

• Specifies the type of gambling provided by its In-Transit Service Gambling Merchant
• Certifies the Merchant is not in violation of local or national laws regarding in-transit gambling

ID#: 010410-010410-0002473



In-Transit Gambling - BIN Blocked

An Acquirer must ensure that its In-Transit Service Gambling Merchant has the ability to prevent the
In-Transit Terminal from accepting a service request on any BIN blocked by an Issuer.

In addition to the rules specified in "In-Transit," an In-Transit Terminal providing gambling services
must:

• Verify that the BIN has not been blocked by the Issuer
• Display the following information on the introductory screen:
  – Rules of play
  – Odds of winning
  – Pay-out ratios

ID#: 010410-010410-0006091



In-Transit Gambling - Transaction Processing

An In-Transit Service Transaction involving gambling must be processed as a Quasi-Cash
Transaction.

ID#: 010410-010410-0002952




664                                                VISA PUBLIC                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 702 of 1319
                                               PageID #: 3895
                                    Visa International Operating Regulations




In-Transit Gambling - Pay-Out Ratio

In-Transit Service gambling minimum pay-out ratios must be established within the In-Transit Service
gambling Merchant's Visa Region.

ID#: 010410-010410-0002945



In-Transit Gambling - Winnings/Losses

An In-Transit Service Terminal providing gambling service must not permit either:

• Losses exceeding US $350, or local currency equivalent, per excursion
• Winnings exceeding US $3,500, or local currency equivalent, per excursion

ID#: 010410-010410-0002946



In-Transit Gambling - Single Trip

During a single trip on the same craft, a Cardholder may wager up to the total Transaction amount
permitted.

ID#: 010410-010410-0002947



In-Transit Gambling - Authorization Request

An Authorization Request at an In-Transit Terminal providing gambling services must be for the total
amount agreed to by the Cardholder.

An Authorization Request processed upon arrival at the final destination, as specified in "Transaction
Date for In-Transit Service Transaction," must not be more than the total amount of the loss.

ID#: 010410-010410-0006090



In-Transit Gambling - Authorization Reversals

If losses are less than the amount authorized, an Authorization Reversal must be submitted for the
difference.

ID#: 010410-010410-0002950




18 October 2011                                    VISA PUBLIC                                       665
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 703 of 1319
                                                   PageID #: 3896
                                    Visa International Operating Regulations




In-Transit Gambling - Cardholder Credit

Gambling winnings that are due to a Cardholder must be processed as a credit to the Account
Number used in the initial Transaction. Gambling winnings must not be dispensed in the form of
cash, check, or other payment method.

ID#: 010410-010410-0002951




Debt Repayment Program - U.S. Region

Debt Repayment Program


Qualification for Debt Repayment Program - U.S. Region

In the U.S. Region, a Visa Debit Card Transaction may qualify as a Visa Debt Repayment Program
Transaction if it meets the requirements specified in:

• "Merchant Requirements for Debt Repayment Program - U.S. Region"
• Visa Debt Repayment Program Guide

A Visa Debt Repayment Program Transaction may qualify for the Debt Repayment Program
Interchange Reimbursement Fee.

ID#: 010410-010410-0005198



Merchant Requirements for Debt Repayment Program - U.S. Region

For a U.S. Merchant to be eligible for the Debt Repayment Program, the Acquirer must ensure that
the Merchant:

• Participates in Limited Acceptance of Visa Consumer Debit Card products as a means of payment
  in all channels where payments are accepted (i.e., Card-Absent Environments and Card-Present
  Environments, as applicable). A Merchant may accept all Visa Cards for any of its other lines of
  businesses that do not participate in the Debt Repayment Program.
• Is properly assigned Merchant Category Code (MCC) 6012, "Financial Institutions - Merchandise
  and Services," or MCC 6051, "Non-Financial Institutions - Foreign Currency, Money Orders (not
  Wire Transfer), Travelers Cheques"
• Submits the debt repayment indicator for all Debt Repayment Program Transactions
• Ensures that the opportunity to pay with a Visa Consumer Debit Card is at least as prominently
  featured as all other accepted payment methods
• Only processes Visa Debt Repayment Program Transactions for an existing debt that has not
  been deemed uncollectible and is an approved debt type, as defined in the Visa Debt Repayment
  Program Guide


666                                                VISA PUBLIC                       18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 704 of 1319
                                               PageID #: 3897
                                    Visa International Operating Regulations


• Complies with all requirements in the Visa Debt Repayment Program Guide

ID#: 031209-150210-0005202



Merchants Not Participating in Debt Repayment Program - U.S. Region

A U.S. Merchant not participating in the Debt Repayment Program may accept Visa Debit Category
Cards for payments on existing debt, provided that it complies with all applicable U.S. Regional
Operating Regulations and is registered as a limited acceptor.

ID#: 010410-010410-0005201



Visa Right to Terminate Participation in Debt Repayment Program - U.S. Region

In the U.S. Region, Visa may at any time:

• Disqualify a Debt Repayment Program Merchant from participation
• Modify or discontinue the Visa Debt Repayment Program

ID#: 010410-010410-0005199




Tax and Other Government Payments

Tax and Other Government Payments - AP Region


Government Payments in Australia - AP Region

In Australia, a government Merchant with one of the following Merchant Category Codes may collect
the Transaction amount separately from the surcharge amount, if the government Merchant requires
this form of payment model. A government Merchant that does not require this model must include
the surcharge amount with the Transaction amount and not collect it separately.

• 9211, “Court Costs including Alimony and Child Support”
• 9222, “Fines”
• 9223, “Bail and Bond Payments”
• 9311, “Tax Payments”
• 9399, “Government Services-not elsewhere classified”
• 9405, “Intra Government Transactions”

A government Merchant may use a third party payment service provider to deposit Transaction
Receipts that result from a Transaction between a Cardholder and that government Merchant.

ID#: 090411-060111-0026163




18 October 2011                                    VISA PUBLIC                                     667
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 705 of 1319
                                                   PageID #: 3898
                                    Visa International Operating Regulations




Tax Payment Program Requirements - U.S. Region


Tax Payment Program Eligibility - U.S. Region

In the U.S. Region, the Visa Tax Payment Program allows a Tax Payment Program Merchant to
process Visa Card Transactions for the payment of certain eligible federal, state, and local taxes.

ID#: 010410-010410-0003043



Tax Payment Program Acquirer Requirements - U.S. Region

To participate in the U.S. Region Tax Payment Program, an Acquirer must register the Tax Payment
Program Merchant and be provided with a Merchant Verification Value, as specified in the Visa Tax
Payment Program Guide.

ID#: 010410-010410-0003044



Tax Payment Program Merchant Category Code Requirements - U.S. Region

In the U.S. Region, a Tax Payment Program Transaction must originate from a Tax Payment
Program Merchant using Merchant Category Code 9311, "Tax Payments."

ID#: 010410-010410-0003045



Tax Payment Program Data Requirements - U.S. Region

In the U.S. Region, an Acquirer participating in the Tax Payment Program must provide the Merchant
Verification Value, as specified in the VisaNet manuals.

ID#: 010410-010410-0003046



Tax Payment Program - Category Limitations - U.S. Region

In the U.S. Region, tax payments must be limited to the following categories:

• Federal and State personal and small business income taxes
• Real estate/property taxes

ID#: 010410-010410-0003047




668                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 706 of 1319
                                               PageID #: 3899
                                    Visa International Operating Regulations




Tax Payment Program Transaction Environments - U.S. Region

In the U.S. Region, a Tax Payment Program Transaction may be processed in either a Card-Present
Environment or a Card-Absent Environment.

ID#: 010410-010410-0003048



Tax Payment Program - Visa Rights - U.S. Region

In the U.S. Region, Visa may at any time:

• Disqualify a Tax Payment Program Merchant from participation
• Modify or discontinue the Tax Payment Program

ID#: 010410-010410-0003049



Tax Payment Program Fee Requirements - U.S. Region


Tax Payment Program Merchant Convenience Fee Requirements - U.S. Region 5.2.E

In the U.S. Region, a Tax Payment Program Merchant may charge a Convenience Fee for
processing a Tax Payment Transaction if the Convenience Fee:

• Is a fixed or flat amount regardless of the value of the tax payment
• Charged for a Visa Transaction is not greater than any fixed or flat fee charged for a transaction
  with any other payment card
• Is clearly disclosed before the completion of the Transaction and the Cardholder is given the
  opportunity to cancel

ID#: 010410-010410-0003053



Tax Payment Program Convenience Fee - U.S. Region 5.2.E

In the U.S. Region, a Convenience Fee may be charged for Tax Payment Transactions in either a
Card-Present Environment or a Card-Absent Environment, including for Recurring Transactions.

ID#: 010410-010410-0003055




18 October 2011                                    VISA PUBLIC                                         669
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 707 of 1319
                                                   PageID #: 3900
                                    Visa International Operating Regulations




Tax Payment Program - Interchange Reimbursement Fee Qualifications and Fee
Amount - U.S. Region 5.2.E

In the U.S. Region, to qualify for the Debit Tax Payment Interchange Reimbursement Fee (IRF)
specified in "Debit Tax Payment Interchange Reimbursement Fee - U.S. Region," the Convenience
Fee for a Visa Debit Card Transaction must be a fixed or flat amount not exceeding US $3.95 per
Transaction, regardless of the tax payment amount.

ID#: 010410-010410-0003054



Tax Payment Program Fee Processing Requirements - U.S. Region 5.2.E

In the U.S. Region, a Tax Payment Program Merchant that charges a Convenience Fee must process
the Convenience Fee amount as a separate Transaction.

ID#: 010410-010410-0003056



Tax Payment Program Merchant Option to Assess Fee - U.S. Region

In the U.S. Region, a Tax Payment Program Merchant may assess a variable service fee for
processing a Visa Consumer Credit Card or a Commercial Visa Product Transaction if:

• The Transaction is an eligible Tax Payment Transaction
• The service fee is clearly disclosed before the completion of the Transaction and the Cardholder is
  given the opportunity to cancel
• The service fee for a Tax Payment Transaction on a Visa Card is not greater than the fee
  charged to a Cardholder who pays with another comparable general purpose consumer credit or
  commercial payment card

ID#: 010410-010410-0003050



Tax Payment Program Service Fee Processing Requirements - U.S. Region

In the U.S. Region, the service fee for a Tax Payment Transaction must be processed separately
from the Transaction and not included with the amount of tax due.

A Tax Payment Program Merchant must not assess a service fee for a Visa Debit Card Transaction,
but may assess a Convenience Fee to process a Visa Debit Card Tax Payment Transaction, as
specified in "Tax Payment Program Merchant Convenience Fee Requirements - U.S. Region."

ID#: 010410-010410-0008917




670                                                VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 708 of 1319
                                               PageID #: 3901
                                    Visa International Operating Regulations




Travelers Cheques

Travelers Cheque Acceptance and Encashment


Travelers Cheque Acceptance Requirements

A Member must accept and encash all Cheques denominated in currencies usually exchanged in the
local market.

ID#: 010410-010410-0002657



Travelers Cheque Encashment Policy

A Member's encashment policy must be as favorable for Cheques as for other cheque brands.

ID#: 010410-010410-0002658



Travelers Cheque Signature Comparison

Visa guarantees reimbursement for a Cheque amount if the Member complies with the encashment
procedures outlined in the Visa International Operating Regulations.

When encashing a Cheque, a Member must both:

• Witness the customer countersigning the cheque in the lower left signature area
• Compare the countersignature with the signature appearing in the upper right signature area. If the
  signatures appear similar, the Member may accept the Cheque.

If the Member is uncertain about the similarity of the signatures, it may request that the customer sign
the Cheque on the back and provide identification. If the Member is satisfied with the identification
comparison, it may accept the Cheque.

ID#: 010410-010410-0008947



Travelers Cheque Encashment Limitations

If a Cheque has already been countersigned, or if the presenter is not the original purchaser of the
Cheque, the Member must only accept the Cheque if the presenter is a known customer and full
recourse is available.

ID#: 010410-010410-0003575




18 October 2011                                    VISA PUBLIC                                         671
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 709 of 1319
                                                   PageID #: 3902
                                    Visa International Operating Regulations




Health Care Transactions

Preauthorized Health Care Program Requirements - U.S. Region


Preauthorized Health Care Transaction Order Form - U.S. Region

In the U.S. Region, a Cardholder that purchases services from a Health Care Merchant that accepts
Preauthorized Health Care Transactions must provide a completed Order Form to the Merchant.

The Cardholder must specify at least the following on the Order Form:

• Request for the services to be charged to the Cardholder's account
• Authorization for the Health Care Merchant to charge the Cardholder's account for only that portion
  of the bill due subsequent to Merchant's receipt of any applicable insurance payment
• Duration of time, not to exceed one year, for which permission is granted

ID#: 081010-010410-0008706



Health Care Merchant Requirements - U.S. Region

For Preauthorized Health Care Transactions in the U.S. Region, a Health Care Merchant must:

• Retain a copy of the Order Form during the period it is in effect
• Provide a copy of the Order Form upon Issuer request for an original Transaction Receipt
• Type or print the words "PREAUTHORIZED HEALTH CARE" on the signature line of the
  Transaction Receipt
• Comply with the requirements of "Preauthorized Payment Cancellation Service Declined
  Transaction Procedures" and "Preauthorized Transaction Decline Response - U.S. Region"

The Health Care Merchant must not complete a Preauthorized Health Care Transaction after
receiving either a:

• Cancellation notice from the Cardholder or its Acquirer
• Decline Response

Upon receipt of the notice of adjudication from the Cardholder's insurance company, the Health Care
Merchant must:

• Request Authorization for the amount due
• Submit a Transaction Receipt into Interchange within 90 calendar days of the service date

ID#: 081010-010410-0008707




672                                                VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 710 of 1319
                                               PageID #: 3903
                                    Visa International Operating Regulations




Healthcare Auto-Substantiation - U.S. Region


Healthcare Auto-Substantiation Transactions - Acquirer Responsibilities - U.S. Region

A U.S. Acquirer or its Agent that processes a Healthcare Auto-Substantiation Transaction from a
SIGIS-certified Merchant must:

• Be licensed and certified by SIGIS
• Provide the Visa Flexible Savings Account (FSA) or Visa Health Reimbursement Account (HRA)
  BIN list to the certified Merchant
• Comply with all the requirements stipulated by SIGIS, including storage and fulfillment of
  Transaction Receipt detail data, as specified in:
  – Visa Healthcare Auto-Substantiation Transactions Retrieval of SIGIS Receipt Detail
    Implementation Guide
  – "Request for Transaction Receipt Copy and Substitute Transaction Receipt"
  – "Minimum Data Requirements for Retrieval Requests"
  – "Electronic Signature Criteria"
• Request an IIAS Merchant Verification Value (MVV) on behalf of the SIGIS-certified Merchant and
  provide the MVV to the Merchant
• Include the IIAS Merchant Verification Value (MVV) in the Authorization Request
• Comply with the following:
  – Visa Healthcare Auto-Substantiation Transaction Consolidated Technical Requirements
  – Visa Healthcare Auto-Substantiation Transactions Service Description and Implementation
    Guide

ID#: 050411-010410-0003106



Healthcare Auto-Substantiation Transactions - Merchant Responsibilities - U.S.
Region

A Merchant that participates in Healthcare Auto-Substantiation Transactions must:

• Obtain a license from, and be certified by, SIGIS
• Comply with the requirements specified in:
  – Visa Healthcare Auto-Substantiation Transaction Consolidated Technical Requirements
  – Visa Healthcare Auto-Substantiation Transactions Service Description and Implementation
    Guide

ID#: 050411-010100-0025549




18 October 2011                                    VISA PUBLIC                                     673
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 711 of 1319
                                                   PageID #: 3904
                                    Visa International Operating Regulations




Easy Pay Transaction - General Requirements - LAC Region


Easy Pay Transactions - Merchant Agreement - LAC Region

An LAC Acquirer that contracts with Merchants that accept Easy Pay Transactions must include the
Easy Pay Transaction requirements in the Merchant Agreement or in an additional contract.

ID#: 010410-010410-0005262



Easy Pay Patient Enrollment - LAC Region

In the LAC Region, a Medical Services Merchant must enroll a patient for participation in Easy Pay
Transactions by using the "Cardholder Participation Request and Consent" form. Upon enrolling a
patient, the Medical Services Merchant must obtain a Card Imprint.

The LAC Medical Services Merchant must:

• File a copy of the "Cardholder Participation Request and Consent" form
• Provide a copy of the "Cardholder Participation Request and Consent" form, accompanied by a
  copy of the Card Imprint, if the Issuer requests a Transaction Receipt
• Print or write on the signature line a message indicating that it is an Easy Pay Transaction

After receiving confirmation from the patient's medical insurance provider of the amount it will cover
for the medical service requested, the LAC Medical Services Merchant must:

• Request Authorization for the outstanding amount if it exceeds the applicable Floor Limit
• Send the Transaction Receipt to Interchange within 30 calendar days

If the Transaction amount is not within the range preauthorized by the Cardholder, the Merchant must
provide written notice at least 5 calendar days before the Transaction Date and obtain written consent
from the Cardholder.

The LAC Medical Services Merchant must not complete an Easy Pay Transaction when it has
received:

• A cancellation notice from its Acquirer or from the Cardholder
• A Decline Response

ID#: 010410-010410-0008728




674                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 712 of 1319
                                               PageID #: 3905
                                    Visa International Operating Regulations




Easy Pay - Authorization - LAC Region


Authorizations in Public and Private Hospitals - LAC Region

In the LAC Region, a Public and Private Hospital Merchant ("H&C Merchant," based on its Spanish
language acronym, MCC 8062) may use estimated Transaction amounts to request Authorizations or
Status Check Authorizations before providing its services.

The H&C Merchant may estimate the Transaction amounts for Authorizations based on any of the
following:

• The patient's length of stay indicated during check-in
• The room rate
• Applicable tax
• The fee rates for services
• Doctors' fees
• Routine lab tests
• Medical supplies and medicines

After completing the estimates, the H&C Merchant must comply with one of the following:

• If the estimated Transaction amount is equal to or below the Floor Limit, obtain a Status Check
  Authorization on the check-in date
• If the estimated Transaction exceeds the Floor Limit, obtain an Authorization and include the date,
  amount, and Authorization Code on the Transaction Receipt

After the check-in date and before the check-out date, the H&C Merchant may obtain and must
record Authorizations for additional amounts above any amount already authorized. The H&C
Merchant must obtain a final or additional Authorization, and include the date, amount, and
Authorization Code on the Transaction Receipt, if the actual Transaction amount exceeds the Floor
Limit or is 15% greater than the sum of the authorized amounts.

ID#: 031209-150210-0008729




18 October 2011                                    VISA PUBLIC                                      675
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      Case: 4:13-cv-02226-JAR               Doc. #: 85-5 Filed: 02/12/15   Page: 713 of 1319
                                               PageID #: 3906




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676                                           VISA PUBLIC                       18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 714 of 1319
                                               PageID #: 3907
                                    Visa International Operating Regulations




Chapter 7: Transaction Processing

Core Principle 7.1

Provide Authorization and Settlement Service


Ensuring Seamless Payment Processing

Participants in the Visa system agree to provide transaction authorization and settlement services to
their customers to ensure seamless payment processing.

ID#: 010410-010410-0007785




Core Principle 7.2

Rules Differ by Acceptance Environments


Defining Financial Responsibility between Issuers and Acquirers

Visa defines financial responsibility between issuers and acquirers, which may vary in different
merchant acceptance environments. For example, acquirers bear more responsibility for transactions
completed in card-absent environments.

ID#: 010410-010410-0007786




Core Principle 7.3

Financial Responsibility for Processed Transactions


Defining Issuer Financial Responsibility

Issuers are financially responsible for transactions that are accepted by the merchant as defined
in the Visa Operating Regulations, and properly processed by the acquirer. Financial responsibility
for transactions that are not processed as required by Visa may be returned from the issuer to the
acquirer.

ID#: 010410-010410-0007787




18 October 2011                                    VISA PUBLIC                                        677
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 715 of 1319
                                                   PageID #: 3908
                                    Visa International Operating Regulations




Core Principle 7.4

Authorize, Clear, and Settle International Transactions


Using VisaNet to Authorize, Clear, and Settle International Transactions

Visa participants must authorize, clear, and settle messages for international Visa transactions
through VisaNet, and report to Visa all domestic Visa transactions processed outside of VisaNet. In
some jurisdictions, participants must authorize, clear and settle all Visa transactions through VisaNet,
which enhances Visa's ability to manage risks, meet consumer expectations, and provide leading
fraud-protection solutions.

ID#: 090211-010410-0007788




Access to Visa Systems

VisaNet Access


Member Requirements for Visa Extended Access

If a Member has Visa Extended Access, the Member must use it to transmit its Interchange.

A Member must complete its migration to Visa Extended Access to access VisaNet. A Member must
not make or attempt to make any repair, adjustment, alteration, or modification to Visa Extended
Access, except as expressly authorized by Visa.

The above requirements do not apply to a U.S. Member using Direct Exchange (DEX).

ID#: 010410-010410-0008744



Member Support of Visa Extended Access

Each Member participating in Visa Extended Access must provide, without cost to Visa, reasonable
support requested by Visa for installing the V.I.P. System or BASE II, including:

• Providing a location that meets the requirements of Visa for installing Visa Extended Access on the
                        [91]
  Member's premises
• Providing a sufficient number of qualified personnel that the Member will train to meet Visa
  specifications
• Maintaining V.I.P. System and BASE II records, documents, and logs required by Visa and
  providing them at the request of Visa



678                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15             Page: 716 of 1319
                                               PageID #: 3909
                                    Visa International Operating Regulations


• Providing access to its premises and cooperating with Visa and its authorized agents in conjunction
                                                                                [92]
  with the installation, service, repair, or inspection of Visa Extended Access
• Notifying Visa promptly of any failure of Visa Extended Access to operate properly on its premises
                                                          [93]
  or the premises of its agent or independent contractor
• Providing computer time and a sufficient number of qualified personnel required to ensure prompt
  and efficient installation and use of the V.I.P. System or BASE II Edit Package software supplied by
  Visa

ID#: 010410-010410-0003332



Unavailability of Visa Extended Access

If a Member's Visa Extended Access is expected to be unavailable, the Member must proceed as
follows:

• If unavailable for fewer than 5 calendar days, the Member must prepare the transmission as usual
  and send the Interchange to Visa as soon as the VisaNet Access Point becomes available
• If unavailable for 5 or more calendar days, the Member must send the Interchange to Visa as soon
  as possible, as specified in the VisaNet manuals

This requirement does not apply to a U.S. Member using Direct Exchange (DEX).

ID#: 010410-010410-0003670



Visa Extended Access - Canada Region

Visa owns a Visa Extended Access server installed at a Canada Member's location and is
responsible for its acquisition, installation, and maintenance.

Unless otherwise agreed to by Visa:

• The Member may use the Visa Extended Access server only for V.I.P. System and BASE II
  processing
• Members must not share a Visa Extended Access server

ID#: 010410-010410-0008746



V.I.P. System User Fees - U.S. Region

In the U.S. Region, a V.I.P. System User must pay the applicable fees for systems, training, and
documentation services furnished to it, as specified in the Visa U.S.A. Fee Guide.

ID#: 081010-010410-0007347



91   This requirement does not apply to a U.S. Member using Direct Exchange (DEX).
92   This requirement does not apply to a U.S. Member using Direct Exchange (DEX).
93   This requirement does not apply to a U.S. Member using Direct Exchange (DEX).

18 October 2011                                    VISA PUBLIC                                           679
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      Case: 4:13-cv-02226-JAR                    Doc. #: 85-5 Filed: 02/12/15               Page: 717 of 1319
                                                    PageID #: 3910
                                     Visa International Operating Regulations




Data Quality

Authorization and Clearing Data Requirements


Acquirer Requirement for Complete and Valid Data

An Acquirer must ensure that all Authorization Requests and Clearing Records contain complete and
valid data. If data is missing or incorrect, the Acquirer may be subject to the Data Quality Compliance
Program.

The table below specifies the fines and penalties applicable to an Acquirer if Visa determines that the
Acquirer has failed to meet the requirements of the Data Quality Compliance Program.

For further information about these requirements, see the VisaNet manuals.


         Acquirer Penalties for Non-Compliance with the Data Quality Compliance Program

                  Violation                               Time Period                  Visa Action or Fine

                                    Problem Not Resolved After Second Notification Letter

      Problem not resolved after receipt       60 calendar days                  US $5,000
      of Notification

      Problem not resolved after receipt       90 calendar days                  US $10,000
      of Notification

      Problem not resolved after receipt       120 calendar days, plus           US $25,000 per month
      of Notification                          every 30 calendar days for
                                               each subsequent month until
                                               compliance is achieved

                                                   Resolution Date Not Met

      Problem not resolved by the              Agreed-upon resolution date       US $5,000
      agreed-upon date

      Problem not resolved                     Within 30 calendar days of the    US $10,000
                                               agreed-upon resolution date

      Problem not resolved                     Within 60 calendar days of the    US $25,000 per month
                                               agreed-upon resolution date,
                                               plus every 30 calendar days for
                                               each subsequent month until
                                               compliance is achieved


An Acquirer must ensure that all Authorization Requests contain complete and valid data. If data is
missing or incorrect, an Acquirer may be subject to the Data Quality Compliance Program.




680                                                 VISA PUBLIC                                  18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15            Page: 718 of 1319
                                               PageID #: 3911
                                    Visa International Operating Regulations



An Acquirer must ensure that all Clearing Records contain complete and valid data. If data is missing
or incorrect, an Acquirer may be subject to the Data Quality Compliance Program.

ID#: 050411-010410-0008752



Global Brand Protection Program Data Quality Requirements (New)

Effective 1 June 2011, to enable the valid identification of data for the Global Brand Protection
Program, an Acquirer must:

• Ensure that all High-Brand Risk Merchants have been correctly classified, as specified in the Visa
  Merchant Data Standards Manual
• Ensure that all Authorization Requests and Clearing Records contain complete and valid data, as
  specified in the VisaNet manuals and the Visa International Operating Regulations

If Visa determines that an Acquirer or its Merchant changed, modified, or altered the Merchant name
or Merchant data in any way to circumvent the Global Brand Protection Program, Visa may:

• Assess a fine of US $10,000 per Merchant, per month, to the Acquirer
• Require the Acquirer to implement risk reduction measures
• Prohibit the Acquirer from acquiring High-Brand Risk Merchants for a period of one year or more

ID#: 111011-010611-0026335



Online Gambling Transaction Identification Penalties

Effective through 31 May 2011, an Acquirer is subject to the penalties specified in the following
table if an Authorization Request for an Online Gambling Transaction contains incorrect data or fails
to include both:

• MCC 7995, "Betting," as specified in "Online Gambling Identifiers"
• POS Condition Code 59, as specified in "Required Message Content for VisaNet Authorization
  Requests" (Exhibit 3B)

              Acquirer Penalties for Failure to Correctly Identify Authorization Requests
                 for Online Gambling Transactions (Effective through 30 June 2010)

                  Violation                                 Month                   Visa Action or Fine

    Uncorrected violation                     Month 1                          US $25,000 fine per Merchant
                                                                               URL or Sponsored Merchant URL
                                                                               identified

    Uncorrected violation                     Month 2 in a 12-month period     US $50,000 fine per Merchant
                                                                               URL or Sponsored Merchant URL
                                                                               identified

    Uncorrected violation                     Month 3 in a 12-month period     US $100,000 fine per Merchant
                                                                               URL or Sponsored Merchant URL
                                                                               identified


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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15                   Page: 719 of 1319
                                                   PageID #: 3912
                                    Visa International Operating Regulations


                   Violation                                Month                           Visa Action or Fine

      Uncorrected violation                   Month 4 and subsequent months          Possible permanent
                                              in a 12-month period                   disqualification of the Merchant
                                                                                     or IPSP from participation in the
                                                                                     Visa Program




            Acquirer Penalties for Failure to Correctly Identify Authorization Requests for
             Online Gambling Transactions (Effective 1 July 2010 through 31 May 2011)

                    Violation
                               1                                         Visa Action or Fine

      First violation                           US $10,000 fine per Merchant URL or Sponsored Merchant URL
                                                identified

      Second violation in a rolling 12-         US $25,000 fine per Merchant URL or Sponsored Merchant URL
      month period                              identified

      Third and any subsequent violation        US $50,000 fine per Merchant URL or Sponsored Merchant URL
      in a rolling 12-month period              identified

      Fourth violation in a rolling 12-         Possible permanent disqualification of the Merchant or IPSP from
      month period                              participation in the Visa program
                                                Acquirer is eligible for the imposition of risk-reduction procedures, as
                                                specified in "Member Risk Reduction Requirements"

      1.   All violations must be corrected within 7 days of Notification


Effective through 31 May 2011, Visa may prohibit an Acquirer from contracting with a new Online
Gambling Merchant for a period of one year or more if the Acquirer has one or more non-compliant
Merchants identified for any 4 or more months during a 12-month period.

Effective 1 June 2011, an Acquirer is subject to the penalties, as specified in “Global Brand
Protection Program Penalties” if an Authorization Request for an Online Gambling Transaction
contains incorrect data or fails to include:

• An appropriate Merchant Category Code to identify the High-Brand Risk Merchant, as specified in
  “High-Brand Risk Merchant Category Codes”
• MCC 7995, "Betting," for an Online Gambling Transaction, as specified in "Online Gambling
  Identifiers"
• POS Condition Code 59, as specified in "Required Message Content for VisaNet Authorization
  Requests (Exhibit 3B)"

ID#: 171011-010410-0008753




682                                                VISA PUBLIC                                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 720 of 1319
                                               PageID #: 3913
                                    Visa International Operating Regulations




Interchange Data Element Requirements

An Acquirer sending Interchange through BASE II must use the data elements listed in "BASE II
Record Requirements" (Exhibit 2L) and the VisaNet manuals.

ID#: 010410-010410-0005521



Visa Prepaid Card Transaction Data Requirements

A Transaction representing the purchase of a Visa Prepaid Card must be processed as a retail
purchase, including transmission of a special Visa Prepaid Card indicator in the Transaction Record,
as specified in the "BASE II Record Requirements" (Exhibit 2L) and the VisaNet manuals.

ID#: 081010-010410-0002516



Merchant Category Code Assignment

An Acquirer must assign the appropriate Merchant Category Code to each Merchant and ensure that
the assigned Merchant Category Code is included in the Authorization Request and Clearing Record.

ID#: 010410-010410-0003133



High-Risk Merchant Category Codes (Updated)

Effective through 31 May 2011, a High-Risk Telemarketing Merchant must submit the appropriate
Merchant Category Code as follows:

• With each Authorization Request
• Through BASE II

ID#: 111011-010410-0005047



High-Brand Risk Merchant Category Code Processing (New)

Effective 1 June 2011, a High-Brand Risk Merchant must submit their Merchant Category Code in
each Authorization Request and Clearing Record.

ID#: 111011-010611-0026336



Quasi-Cash/Online Gambling Transaction Indicator

For a Quasi-Cash Transaction, the Quasi-Cash/Online Gambling Transaction indicator must appear
in both the Authorization Request and Clearing Record.




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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 721 of 1319
                                                   PageID #: 3914
                                    Visa International Operating Regulations



A variance applies to the CEMEA Region for Members in South Africa.

ID#: 050411-010410-0002886



Fines for Incorrect Merchant Descriptor - U.S. Region

In the U.S. Region, Visa assesses a fine using Fee Collection Transaction Reason Code 5010
or 5210 for each Merchant Descriptor that has inaccurate, invalid, or unrecognizable data in the
Authorization Request or Clearing Record. The fine is assessed monthly, as follows:

• US $100 per Merchant Descriptor, beginning in the fifth consecutive month in which the inaccurate
  data is not corrected
• US $200 per Merchant Descriptor, beginning in the ninth consecutive month in which the
  inaccurate data is not corrected

ID#: 010410-010410-0003496




Account BIN Range

Account Range Table


ATM Account Range Use

An ATM Acquirer must use the Visa account range table to determine the routing of an Authorization
Request.

The ATM Acquirer must install and use the table within 6 business days of its receipt from Visa.

ID#: 010410-010410-0008780



ATM Account Range Table Distribution Prohibition

An ATM Acquirer must not distribute the account range table without the prior written consent of Visa.

ID#: 010410-010410-0004799




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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 722 of 1319
                                               PageID #: 3915
                                    Visa International Operating Regulations




General Authorization Requirements

Authorization Services


Acquirer Provision of Authorization Services

An Acquirer that is a Principal or Merchant Bank must provide Authorization services to its
own Merchants and the Merchants signed by its sponsored Associates. This service includes
Authorization for Cash Disbursements at any of its Branches.

ID#: 010410-010410-0005478



Acquirer Participation in Authorization Services

An Acquirer must participate in the:

• International Automated Referral Service and comply with the International Automated Referral
  Service (IARS) User's Guide
• Card Verification Service

ID#: 050411-010410-0005407



Acquirer Authorization Service Requirements - U.S. Region

A U.S. Acquirer must provide Authorization service to:

• Its own Merchants and Merchants signed by its Sponsored Members located within the United
  States
• Authorizing Processors

This service may be provided:

• Directly, as an Authorizing Processor
• Through another Authorizing Processor
• Through the Operator Assistance Service
• By other means approved by Visa

ID#: 010410-010410-0006944




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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 723 of 1319
                                                   PageID #: 3916
                                    Visa International Operating Regulations




Authorization Services Outside of the U.S. - U.S. Region

A U.S. Acquirer or its Foreign Branch must provide Authorization service for its Merchant Outlets
located outside the United States, either itself or through another Authorizing Processor.

A Foreign Branch that issues Cards must provide Authorization service to other Members.

ID#: 010410-010410-0008751



Authorization Support for T&E Merchants without a Point-of-Transaction Terminal -
U.S. Region

A U.S. Acquirer that has a Merchant Agreement with a T&E Merchant that is not using a Point-of-
Transaction Terminal must provide Support Authorization Service to the Merchant whenever the
Merchant's primary Authorization number is unavailable, as specified in the appropriate VisaNet
manuals.

ID#: 010410-010410-0005570



ATM Authorization Currency

An ATM Acquirer must submit Authorization Requests in the Transaction Currency.

ID#: 010410-010410-0004794



Chip Card Authorization at ATM - U.S. Region 5.5.A

For Authorization requests involving Chip-initiated Transactions in the U.S. Region, an ATM must
either:

• Ensure that track 2 of the Magnetic-Stripe Image is read and transmitted
• Transmit all data elements that create the EMV-Online Card Authentication Cryptogram

ID#: 010410-010410-0004978



Authorization Computer Interface Requirements


Acquirer Computer Interface for Authorizations

An Acquirer must establish a computer interface between its Authorization system and the V.I.P.
System if it receives either:

• A monthly average of more than 5,000 Authorization Requests from other Members or VisaNet
  Processors in any 3 consecutive months



686                                                VISA PUBLIC                        18 October 2011
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                                               PageID #: 3917
                                    Visa International Operating Regulations


• Any Authorization Requests generated by a Point-of-Transaction Terminal from its Merchants or
  other Members for which it provides Authorization services

The Acquirer must submit to Visa a reasonable schedule for establishing its computer interface within
90 calendar days of notifying Visa that either of the above conditions exists.

ID#: 010410-010410-0006946



Acquirer Computer Interface for Authorizations - U.S. Region

A U.S. Acquirer must:

• Submit for approval a reasonable schedule for establishing a computer interface between its
  Authorization system and the V.I.P. System
• Notify Visa in writing at least 120 calendar days before the proposed date of implementation
• Establish the computer interface as specified by Visa

ID#: 010410-010410-0005690



Visa Computer Interface Responsibilities - U.S. Region

To establish a computer interface in the U.S. Region, Visa:

• Processes requests in the order received. However, Visa may reprioritize requests as necessary.
• Provides prototype computer interface, engineering liaison, and acceptance testing to support the
  Acquirer during installation
• Assesses fees as specified in the Visa U.S.A. Fee Guide

ID#: 081010-010410-0007352



Authorizing Processor Computer Interface Responsibilities - U.S. Region

An Authorizing Processor in the U.S. Region must:

• Assume responsibility and costs for development of software and systems necessary to interface
  with VisaNet
• Comply with Visa interface specifications

ID#: 010410-010410-0005692




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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 725 of 1319
                                                   PageID #: 3918
                                    Visa International Operating Regulations




Authorization Processing


Required Authorization Processing through VisaNet

An Acquirer must process all Authorizations for International Transactions through VisaNet.

ID#: 010410-010410-0003369



Account Range Table for Authorization Routing

An Acquirer may use the account range table provided by Visa to determine the routing of an
Authorization Request. An Acquirer that uses the account range table to validate Visa Cards must
install and use the table within 6 business days of receipt.

An Acquirer must not distribute the account range table without the prior written consent of Visa.

ID#: 010410-010410-0008754



Matching Data in ATM Authorization and Clearing Messages

An ATM Acquirer must ensure that the following information matches in the Authorization and
Clearing messages:

• Account Number
• Transaction Authorization Code
• Acquirer BIN
• Transaction amount
• Account selection processing code
• Merchant Category Code

ID#: 010410-010410-0004796



Private Agreements for Domestic Authorizations

Rules for Domestic Authorizations may be superseded in whole or in part by either Private
Agreements or the operating regulations of Group Members.

Effective 1 April 2011, this provision is not applicable in the AP Region for Members in Malaysia,
Philippines, Singapore, Thailand and Vietnam.

ID#: 050411-010411-0007248




688                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 726 of 1319
                                               PageID #: 3919
                                    Visa International Operating Regulations




Compliance with Authorization Requirements

Each Member that processes Authorizations must comply with:

• The Visa International Operating Regulations, and National Operating Regulations applicable in
  the Transaction Country or Visa Region, regardless of how the Authorization is routed or where it is
  processed
• "Required Message Content for VisaNet Financial Transactions" (Exhibit 3A)
• "Required Message Content for VisaNet Authorization Requests" (Exhibit 3B)
• VisaNet manuals

ID#: 010410-010410-0003368



Visa Authorization Service Fees

Visa provides Authorization processing to Members using the V.I.P. System. Members must pay for
Authorization processing and applicable fees and charges, as specified in the appropriate regional
fee guide.

ID#: 111011-010410-0005139



Acquirer Responsibility for Telecommunications Costs

An Acquirer must pay for telephone or fax calls made to an Issuer for Authorization purposes.
However, an Acquirer may record and recover these costs from the Issuer.

ID#: 050411-010410-0007979



V.I.P. System Services for Authorizing Processors - U.S. Region

Visa provides the following V.I.P. System services to U.S. Authorizing Processors upon written
request at least 120 calendar days before implementation:

• Message Processing Service, to provide Authorizations when an Authorizing Processor does not
  directly provide Authorization for its Merchants
• File change service, to update the Exception File and PIN Verification Value file
• Reports to advise Authorizing Processors of their V.I.P. System activity, other than message
  processing activity
• PIN Verification Service
• Key Management Service
• Operator Assistance Service




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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 727 of 1319
                                                   PageID #: 3920
                                    Visa International Operating Regulations


• Direct-Connect Merchant service

ID#: 010410-010410-0005757



Issuer Authorization Requirements


Minimum Activity File Parameters

An Issuer must select minimum Activity File Parameters for all Transactions, as specified in the
VisaNet manuals.

ID#: 010410-010410-0001857



Manual Cash Disbursement Authorization Limits

The Interchange Authorization Limits for Manual Cash Disbursements are specified in "Forwarding
of Authorization Request to Visa." If an Issuer chooses to set higher limits, it must identify them on
the "Visa Interchange Directory Update Form" (available through the Visa Publication Center on Visa
Online).

ID#: 080411-010410-0003138



Mandatory Minimum Authorization Limits

An Issuer is subject to the mandated minimum Positive Cardholder Authorization Service Activity File
Parameters and Issuer Limits as specified in the VisaNet manuals for the following Card types:

• Visa Gold/Premier Card
• Visa Infinite Card
• Visa Business Card
• Visa Corporate Card

A Visa Purchasing Card Issuer may apply a minimum Issuer Limit of zero for Authorization Requests.

ID#: 010410-010410-0008793



Mandatory Minimum Authorization Limits Exceptions

Mandatory minimum Authorization limits do not apply to a Visa Prepaid Card or debit Visa Card
Issuer.

Visa may exempt an Issuer from the mandatory minimum Authorization limits.

ID#: 010410-010410-0008794




690                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 728 of 1319
                                               PageID #: 3921
                                    Visa International Operating Regulations




Issuer Authorization Reversal - Issuer Requirements

An Issuer that receives an Authorization Reversal must attempt to match the Authorization Reversal
to a previous Authorization Request.

When matched, the Issuer must immediately:

• Process the Authorization Reversal as specified in the VisaNet manuals
• Release any applicable hold on the available funds in its Cardholder's account

ID#: 111011-010410-0025592



Commercial Visa Product Minimum Issuer Limits - U.S. Region

A Commercial Visa Product Issuer in the U.S. Region must apply minimum Issuer Limits for
international Authorization Requests as specified in the VisaNet manuals.

ID#: 050411-010410-0005447



Member Authorization Services


Issuer Authorization Service Requirement

An Issuer must provide Authorization services for all of its Cardholders, 24 hours a day, 7 days a
week, using one of the following methods:

• Directly, as a VisaNet Processor
• Through another VisaNet Processor
• By other means approved by Visa

ID#: 010410-010410-0004381



Issuer Authorization Response Requirements

An Issuer must provide Authorization Responses as specified in the VisaNet manuals and:

• Meet the assured Transaction response standards
• Participate in the International Automated Referral Service and comply with the International
                                                    [94]
  Automated Referral Service (IARS) User's Guide
• Participate in the Card Verification Service, as specified in "Card Verification Service Participation"




94   Not applicable to Visa Electron Issuers.

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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15                     Page: 729 of 1319
                                                   PageID #: 3922
                                    Visa International Operating Regulations



Visa recommends that the Issuer:

• Periodically review its international Authorization Responses
• Not systematically or permanently send a Decline Response to an Authorization Request for any of
  the following:
     – Mail/Phone Order Transactions
     – Electronic Commerce Transactions [95]

     – Transactions from a specific country

ID#: 111011-010410-0004382



Reversal of Duplicate Authorizations

An Issuer must reverse duplicate Authorization Transactions from its Cardholder records upon receipt
of Reversal information.

ID#: 010410-010410-0004383



Acquirer Authorization Service Requirement

An Acquirer must provide primary and backup Authorization service 24 hours a day, 7 days a week.
This service may be provided by any of the following:

• The Acquirer directly
• Another VisaNet Processor, including Visa
• Other means approved by Visa

ID#: 010410-010410-0005411



Code 10 Authorizations - U.S. Region


Suspicious Transaction Merchant Requirements - U.S. Region 5.2.K

If a U.S. Merchant is suspicious of a Transaction, the Merchant must:

• Contact the Issuer at the telephone number listed in the Visa Interchange Directory using an In or
  Out WATS line, if available, or a collect call
• Ensure that its employees are familiar with Code 10 procedures (available from Visa upon request)
• Request a Code 10 Authorization




95    For requirements specific to Electronic Commerce Transactions coded with an ECI value of "6", see "Decline Response
      Prohibition for Electronic Commerce Transactions."

692                                                VISA PUBLIC                                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 730 of 1319
                                               PageID #: 3923
                                    Visa International Operating Regulations


• If the Issuer is not available, process a normal Authorization Request

ID#: 010410-010410-0005648



Code 10 Issuer Contact Requirements - U.S. Region

To make a Code 10 Authorization Request, a U.S. Acquirer must contact the Issuer at the telephone
number listed in the Visa Interchange Directory under "Fraud - Lost/Stolen Contact."

If the Issuer or the Issuer's Authorizing Processor is unavailable, the Acquirer must process the
Authorization Request as specified in "Emergency Authorization for Transactions - Amount Limits -
U.S. Region."

ID#: 010410-010410-0008797



Authorization Amount


Authorization Currency and Conversion

An Authorization Request must be expressed in US dollars or the Transaction Currency.

If the Transaction Currency is not US dollars, an Acquirer may convert the Authorization amount
into US dollars before sending the Authorization Request to Visa. If the Acquirer converts the
Authorization amount, it must use a generally accepted Currency Conversion Rate.

ATM Cash Disbursements and Manual Cash Disbursements must be authorized in the Transaction
Currency.

ID#: 010410-010410-0008803



Authorization Request Amount - U.S. Region

A U.S. Acquirer must process an Authorization Request for the final amount of a Transaction that is
entered into Interchange, with the following exceptions:

• Hotel and Car Rental Transactions
• Transactions originating at restaurant Merchants
• Mail/Phone Order and Electronic Commerce Transactions
• Transactions conducted at Cruise Lines
• Transactions originating at a Merchant Outlet assigned any one of the following Merchant Category
  Codes:
  – 4121, "Taxicabs and Limousines"
  – 5813, "Bars and Taverns"
  – 7230, "Beauty and Barber Shops"



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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 731 of 1319
                                                   PageID #: 3924
                                    Visa International Operating Regulations


  – 7298, "Health and Beauty Spas"
• Account Number Verification Transactions
• Transactions at Merchants permitted to use the Status Check Procedure

ID#: 010410-010410-0005519



Status Check Availability for Lodging Merchants - U.S. Region

A U.S. Acquirer of a Lodging Merchant that wants to use the Status Check Procedure instead of an
Authorization Request for an estimated Transaction amount must:

• Obtain written permission from Visa for the Lodging Merchant to be eligible to use the Status
  Check Procedure
• Qualify for the Electronic Interchange Reimbursement Fee or the payment service Interchange
  Reimbursement Fee

ID#: 010410-010410-0008799



Merchants Eligible for Status Check Procedure - U.S. Region

In the U.S. Region, only a Prestigious Property or an Automated Fuel Dispenser Merchant may
use the Status Check Procedure to request an Authorization for US $1 instead of an Authorization
Request for the exact Transaction amount when the exact Transaction amount is not known.

ID#: 081010-010709-0007188



Merchants Not Eligible for Status Check Procedure - U.S. Region

In the U.S. Region, a Merchant that is not eligible to use the Status Check Procedure may use the
Account Number Verification Service.

ID#: 010410-010709-0007189



Status Check Procedure - Authorization Reversal - U.S. Region

In the U.S. Region, a Prestigious Property or Automated Fuel Dispenser Merchant that cancels a US
$1 Status Check is subject to the Authorization Reversal requirements specified in the U.S. Regional
Operating Regulations.

ID#: 081010-010709-0007190




694                                                VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 732 of 1319
                                               PageID #: 3925
                                    Visa International Operating Regulations




Manual Authorizations

Manual Authorization Procedures


Forwarding of Authorization Request to Visa

An Acquirer must forward an Authorization Request to Visa or the Issuer under any of the following
conditions:

• The Transaction amount added to previous Transactions on the same Account Number on the
  same day exceeds the Interchange Authorization Limit set by the Issuer, or the Floor Limits
  specified in "Maximum Authorized Floor Limits," whichever is greater
• The minimum Interchange Authorization Limit is US $350 for Retail Transactions and US $150 for
  Manual Cash Disbursements. If an Issuer has established higher limits, they appear on the Issuer's
  "Visa Interchange Directory Update Form" (available through the Visa Publication Center on Visa
  Online)
• A Merchant questions the validity of the Card or informs the Acquirer that it is suspicious about a
  Transaction
• A Cardholder wants to make a purchase in person (not a Mail/Phone Order Transaction) but does
  not have their Card
• A Cardholder presents an Expired Card
• A Cardholder presents a Card with a blank signature panel

ID#: 050411-010410-0005497



Visa Transaction Approval

If Visa approves a Transaction:

• Visa provides the Acquirer with an Authorization Code based on the date, time, and Account
  Number
• The Acquirer provides the Merchant with an Authorization Code

ID#: 111011-010410-0005498



Manual Authorization Code on Transaction Receipt

When an Authorization Code is obtained using manual Authorization procedures, the Merchant must
include it on the Transaction Receipt.

ID#: 010410-010410-0008981




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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 733 of 1319
                                                   PageID #: 3926
                                    Visa International Operating Regulations




Substitute Authorization Code

If a Transaction originating at an Authorization-Only Terminal does not require Authorization, the
Acquirer must use the substitute Authorization Code "0000N" in the Clearing Record.

ID#: 010410-010410-0005501




Emergency Authorizations

Emergency Authorization Procedures


Procedure During Communication Failure

An Acquirer must follow emergency Authorization procedures if it cannot transmit an Authorization
Request to Visa due to a communications failure.

An Acquirer must not use the procedures:

• For more than 4 hours
• If any other means of electronic interface with Visa is available

ID#: 010410-010410-0008800



Emergency Authorization Procedure for ATM and Unattended Transactions (Updated)

Effective through 14 October 2011, the emergency Authorization procedures do not apply to
ATM Cash Disbursements or Cardholder-Activated Transactions Type C. When an Acquirer cannot
transmit Authorization Requests, it must transmit a "service unavailable now" Authorization Response
to the terminal in reply to an Authorization Request.

Effective 15 October 2011, the emergency Authorization procedures do not apply to ATM Cash
Disbursements or Unattended Transactions where a PIN is present. When an Acquirer cannot
transmit Authorization Requests, it must transmit a "service unavailable now" Authorization Response
to the terminal in reply to an Authorization Request.

Effective through 14 October 2011, in the U.S. Region, the emergency Authorization procedures do
not apply to ATM Cash Disbursements or Automated Dispensing Machine Transactions. When the
Authorizing Processor cannot transmit Authorization Requests, it must transmit a "service unavailable
now" Authorization Response to the terminal in reply to the Authorization Request. (This only applies
in the U.S. Region.)

ID#: 111011-010410-0008801




696                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 734 of 1319
                                               PageID #: 3927
                                    Visa International Operating Regulations




Emergency Authorization for Transactions

If a Transaction amount is X or more, an Acquirer must contact the Issuer by telephone or fax for
Authorization, as specified in "Manual Authorization Requirements - Authorizations Sent to the
Issuer."

If the Transaction amount is less than X, the Acquirer is not required to contact the Issuer. The
Acquirer must:

• Review the appropriate Card Recovery Bulletin
• Provide the Merchant with an Authorization Code if the Account Number does not appear on the
  Card Recovery Bulletin

ID#: 111011-010410-0008827



Emergency Authorization for Transactions - Amount Limits - U.S. Region

In the U.S. Region, if a Transaction is more than X or the Cardholder presents an Expired
Card, the Authorizing Processor must:

• Call the Issuer at the telephone number listed in the Visa Interchange Directory
• Use an In or Out WATS line, if available, or call collect
• Provide the information specified in:
  – "Required Data for Authorization Requests and Responses" (Exhibit OO)
  – The appropriate VisaNet manual

If the Transaction is X or less, the Authorizing Processor must:

• Review the current National Card Recovery File and approve the requested Authorization if the
  Account Number does not appear
• Issue an Authorization Code

ID#: 111011-010410-0008828



Emergency Authorization Procedure Limitations - U.S. Region

In the U.S. Region, an Authorizing Processor must follow emergency Authorization procedures if it
cannot transmit an Authorization Request to Visa due to an emergency.

Emergency Authorization procedures must not be used during a routine system shutdown that the
Authorizing Processor can control.

An Authorization granted using emergency Authorization procedures does not constitute an
Authorization for purposes of Chargeback rights.

ID#: 010410-010410-0008802



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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 735 of 1319
                                                   PageID #: 3928
                                    Visa International Operating Regulations




Partial Authorizations

Partial Authorization Service Requirements


Partial Authorization Service Participation Requirements

An Acquirer and its Processor may participate in the Partial Authorization service.

To participate in the service, an Acquirer and its Processor must:

• Support Partial Authorization Transactions and Authorization reversals
• Obtain systems certification from Visa to receive and transmit Visa Partial Authorization
  transactions as specified in the appropriate VisaNet manual

ID#: 081010-010410-0002515



Partial Authorization Service Participation Requirements - U.S. Region

A U.S. Acquirer must:

• Support an Authorization Request message for terminals that have been programmed to accept a
  Partial Authorization Response
• Include the Partial Authorization indicator in the Authorization Request message, as specified in the
  VisaNet manuals
• Support partial approval amounts and Partial Authorization (Response Code "10") from an Issuer,
  as specified in the VisaNet manuals, for terminals that have been programmed to accept Partial
  Authorization Responses
• Accept and forward to Visa an Authorization Reversal received subsequent to a Partial
  Authorization Response
• Submit a Clearing Transaction for no more than the amount approved in the Partial Authorization
  Response
• Obtain systems certification from Visa to receive and transmit Visa Partial Authorization
  transactions as specified in the VisaNet manuals

ID#: 050411-010410-0003532




698                                                VISA PUBLIC                         18 October 2011
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                                               PageID #: 3929
                                    Visa International Operating Regulations




Non-Visa Transaction Authorizations

Processing Requirements


Stand-In Authorization Processing for Non-Visa Transactions

Visa may provide Stand-In Processing for non-Visa Card transactions if the authorization processing
service associated with the non-Visa Card is unavailable. Visa is not responsible for losses incurred
on non-Visa transactions authorized through the VisaNet Payment Gateway services.

ID#: 010410-010410-0005508



MasterCard Authorization Request Requirements - U.S. Region

In the U.S. Region, an Authorizing Processor that is directly linked to VisaNet must be capable of
receiving MasterCard authorization requests directly through VisaNet.

ID#: 010410-010410-0005593



Authorization Services for American Express Terminals - U.S. Region

A U.S. Acquirer must provide Visa Authorization services for its Merchant using an American Express
terminal if either:

• Authorization for a Visa Transaction to be cleared over the systems link cannot be obtained
  through use of an American Express terminal
• Referral Response is generated at an American Express terminal

ID#: 010410-010410-0005598




Stand-In Processing (STIP)

Stand-In Processing Requirements


Intraregional Authorization Requests - Maximum Time Limit for Response

Visa may establish time limits for Intraregional Authorization Requests. The maximum time limit for a
response to an Authorization Request is:

• 15 seconds without PIN data




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                                                   PageID #: 3930
                                    Visa International Operating Regulations


• 30 seconds with PIN data

ID#: 010410-010410-0004385



Authorization Requests - Maximum Time Limit for Response - CEMEA Region

In the CEMEA Region, the maximum time limit for a response to an Authorization Request is:

• 15 seconds without PIN data
• 25 seconds with PIN data

ID#: 010410-010410-0005509



Authorization Requests - Maximum Time Limit for Response - U.S. Region

In the U.S. Region, the maximum time limit for response to an Authorization Request to be received
by the V.I.P. System from a Point-of-Transaction Terminal is:

• 10 seconds without PIN data
• 25 seconds with PIN data

ID#: 010410-010410-0005426



Average Authorization Response Time Standard - U.S. Region

A U.S. Issuer or its Authorizing Member (including V.I.P. Stand-In Processing) must respond to all
Authorization Requests in an average time not exceeding 5 seconds during each calendar month.

ID#: 010410-010410-0005425



Assured Transaction Response

If Visa does not receive an Authorization Response from an Issuer within the specified time limit, Visa
will respond on behalf of the Issuer, using Stand-In Processing.

ID#: 010410-010410-0008804



Issuer Responsibility for Stand-In Processing Authorizations

The Issuer is responsible for Transactions authorized by Stand-In Processing.

ID#: 010410-010410-0004386




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                                               PageID #: 3931
                                    Visa International Operating Regulations




Visa Authorization Response

If Visa receives an Issuer Authorization Response after it has initiated Stand-In Processing, it will
not forward the Issuer-generated Authorization Response to the Acquirer. The Visa-generated
Authorization Response takes precedence over the Issuer's Authorization Response.

ID#: 010410-010410-0008805



Acquirer Stand-In Authorization for Domestic Visa Transactions in Australia – AP
Region

In Australia, if an Acquirer is temporarily unable to contact VisaNet, any domestic Authorization
Request, received by the Acquirer's Authorization processing center with the ability to perform stand-
in Authorization, may be approved unless either:

• The Visa Cardholder Account Number is listed on the negative file
• The value of the Authorization Request exceeds the current maximum amount allowable

ID#: 050411-060111-0026169



Issuer Availability in Australia – AP Region

In Australia, an Issuer or its VisaNet Processor must maintain Authorization availability of not less
than 98%.

ID#: 111011-060111-0026170



Authorization of Visa Signature Card and Visa Signature Preferred Card Transactions
- U.S. Region

In the U.S. Region, for Visa Signature Cards and Visa Signature Preferred Cards, if an Issuer is
unavailable and has not established stand-in limits, the V.I.P. System will use Stand-In Processing
and the PIN Verification Service to authorize up to X per day, per account.

ID#: 111011-010410-0008992




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                                                   PageID #: 3932
                                    Visa International Operating Regulations




Authorization Request Monitoring

Authorization Request Monitoring Requirements


Decline Threshold - U.S. Region

In the U.S. Region, if the number of Authorization Requests for a specific Account Number exceeds a
pre-determined threshold and fails data edits, Visa will decline all subsequent Authorization Requests
for that Account Number and send an advice to the Issuer.

Visa will remove the block on the Account Number upon notification from the Issuer.

ID#: 010410-010410-0008839



Issuer Authorization Monitoring - AP Region

An AP Issuer must monitor all Authorizations for each Cardholder Account Number daily. The Issuer
must retain a record of all Authorizations for at least 30 calendar days.

The Issuer must generate exception reports for the following categories if the parameters set by the
Issuer are exceeded:

• Individual authorized Transactions exceeding the Issuer's pre-set limit for Transaction amounts
• Total number of authorized Transactions exceeding the Issuer's pre-set limit for Transaction
  amounts
• Total number of Transactions exceeding the Issuer's pre-set limit for number of Authorizations per
  account

ID#: 081010-010410-0008840



Acquirer Authorization Monitoring - AP Region

An AP Acquirer must monitor and retain all Authorizations processed through its system for each
Merchant Outlet daily. The Acquirer must retain a record of all Authorizations for a minimum of 30
calendar days.

The Acquirer must generate exception reports if any of the following conditions occur:

• More than 3 Authorizations on an individual Cardholder Account Number during a 24-hour period
• An authorized Transaction exceeds the Acquirer's pre-set limit for Transaction amounts
• Ratio of key-entered Transactions to Magnetic-Stripe-read Authorizations exceeds the Acquirer's
  pre-set limit




702                                                VISA PUBLIC                           18 October 2011
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                                               PageID #: 3933
                                    Visa International Operating Regulations


• Repeated Authorization Requests for the same Transaction amount

ID#: 081010-010410-0008842




Authorization Response Standards

Approval, Referral, and Decline Rate Standards


Minimum Monthly Approval Rates

An Issuer must maintain the minimum monthly approval rates for its Visa Programs as listed in the
following table. The approval rate is the number of positive Authorization Responses as a percentage
of all Authorization Requests processed.


                                         Minimum Monthly Approval Rates

      Category             Visa           Visa Gold/        Visa            Visa          Visa      Visa Infinite
                          Classic          Premier        Business       Purchasing    Signature       Cards
                          Cards
                                1
                                            Cards
                                                 1        and Visa         Cards        Cards
                                                                                               2

                                                          Corporate
                                                           Cards

    Retail                 Not               95%             95%             Not         99%            99%
    Merchants           applicable                                        applicable

    Airlines                90%              95%             95%             Not         99%            99%
                                                                          applicable

    Hotels                  90%              95%             95%             Not         99%            99%
                                                                          applicable

    Cruise Lines            90%              95%             95%             Not         99%            99%
                                                                          applicable

    Car Rental              90%              95%             95%             Not         99%            99%
    Companies                                                             applicable

    Mail/Phone             Not               Not             Not             Not          Not           Not
    Orders              applicable        applicable      applicable      applicable   applicable    applicable

    Quasi-Cash             Not               Not             Not             Not          Not           Not
                        applicable        applicable      applicable      applicable   applicable    applicable

    ATM Cash               Not               65%             65%             Not         65%            65%
    Disbursements       applicable                                        applicable

    Manual                 Not               85%             Not             Not         85%            85%
    Cash                applicable                        applicable      applicable
    Disbursements

    1. A variance to this requirement applies in the U.S. Region.




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      Case: 4:13-cv-02226-JAR                    Doc. #: 85-5 Filed: 02/12/15                    Page: 741 of 1319
                                                    PageID #: 3934
                                     Visa International Operating Regulations


       Category            Visa            Visa Gold/          Visa          Visa             Visa        Visa Infinite
                          Classic           Premier          Business     Purchasing       Signature         Cards
                          Cards
                                1
                                             Cards
                                                   1         and Visa       Cards           Cards
                                                                                                   2

                                                             Corporate
                                                              Cards

      2. Effective 1 January 2011, this requirement also applies to Visa Signature Business Cards in the AP
      Region.

ID#: 050411-010410-0004404



Authorization Referral and Approval Response Rate Reporting

An Issuer must report to Visa its Referral Response and Approval Response rates for Domestic
Transactions on a quarterly basis.

ID#: 010410-010410-0004405



Minimum Monthly Approval Rate Requirements - General - U.S. Region

A U.S. Issuer must maintain the minimum monthly approval rates listed in the tables below for
its Visa Programs. The approval rate is the number of positive Responses as a percentage of all
Authorization Requests processed.


          Minimum Monthly Approval Rates - Visa Consumer Card Programs - U.S. Region

                                                                     Visa Signature and
                                                                                                   Consumer Visa
      Category                            Visa Traditional             Visa Signature
                                                                                                    Check Card
                                                                          Preferred

      Airlines/Car Rentals                      92%                         99%                          92%

      Lodging/Cruise Line                       95%                         99%                          95%
      Merchants

      Manual Cash                          Not Applicable                   95%                    Not Applicable
      Disbursements

      All Merchants (including                  95%                         99%                          95%
      those listed above)




             Minimum Monthly Approval Rates - Commercial Visa Products - U.S. Region

                                                        Visa Signature
      Category                      Visa Business                               Visa Corporate      Visa Purchasing
                                                           Business

      Airlines/Car                      96%                    99%                   98%               Not Applicable
      Rentals

      Lodging/Cruise                    97%                    99%                   98%               Not Applicable
      Line Merchants


704                                                 VISA PUBLIC                                        18 October 2011
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                                                 PageID #: 3935
                                     Visa International Operating Regulations


                                                        Visa Signature
    Category                        Visa Business                               Visa Corporate   Visa Purchasing
                                                           Business

    Manual Cash                     Not Applicable       Not Applicable         Not Applicable    Not Applicable
    Disbursements

    All Merchants                       96%                   99%                    98%          Not Applicable
    (including those
    listed above)

ID#: 111011-010410-0005446




3-D Secure Authentication

Authentication Request Requirements


CAVV Requirement

An Issuer must include a Cardholder Authentication Verification Value (CAVV) in the following
responses to an Authentication Request:

• Authentication Confirmation
• Attempt Response

The Issuer must:

• Retain a log of all Authentication Requests and Authentication Records
• Provide the log to Visa at Arbitration or Compliance

The CAVV must be validated during Authorization, or the CAVV is assumed to be valid.

ID#: 081010-010410-0008807



Authorization Response for Electronic Commerce Transactions - U.S. Region

A U.S. Acquirer must not submit an Authorization Request for an Electronic Commerce Transaction
that failed a 3-D Secure Authentication Request.

ID#: 010410-010410-0005569




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                                                   PageID #: 3936
                                    Visa International Operating Regulations




Automated Referral Service

Automated Referral Service (ARS) - U.S. Region


Issuer International Automated Referral Service Response Requirement - U.S. Region

A U.S. Issuer must be able to accept and immediately respond to an International Automated Referral
Service inquiry.

ID#: 050411-010410-0005742



Acquirer Inquiry Requirements - U.S. Region 6.2.F.3.a (Updated)

A U.S. Acquirer must:

• Generate an International Automated Referral Service inquiry for all Referral Responses received
  from the V.I.P. System, including Referral Responses involving a Visa Card issued outside the U.S.
  Region. This requirement does not apply to Authorization Requests where the Issuer and Acquirer
  use the same Authorizing Processor.
• Effective through 14 October 2011, meet or exceed the International Automated Referral Service
  inquiry standard of 40%. The inquiry standard, calculated for each BIN, is the number of Referral
  Responses processed through the International Automated Referral Service as a percentage of
  the total number of Referral Responses received by the Acquirer. It excludes duplicate Referral
  Responses on a single Transaction, Referral Responses on Mail/Phone Order Transactions, and
  Referral Responses to Cardholder-Activated Terminals.
• Effective 15 October 2011, meet or exceed the International Automated Referral Service
  inquiry standard of 40%. The inquiry standard, calculated for each BIN, is the number of Referral
  Responses processed through the International Automated Referral Service as a percentage of
  the total number of Referral Responses received by the Acquirer. It excludes duplicate Referral
  Responses on a single Transaction, Referral Responses on Mail/Phone Order Transactions, and
  Referral Responses to Unattended Cardholder-Activated Terminals.

ID#: 111011-010410-0005743



Referral Incentive Payment - U.S. Region

A U.S. Acquirer receives a referral incentive payment, as specified in the Visa U.S.A. Fee Guide:

• For each Referral Response processed through the International Automated Referral Service
• If the International Automated Referral Service inquiry is initiated within 20 minutes of the initial
  Referral Response




706                                                VISA PUBLIC                             18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 744 of 1319
                                               PageID #: 3937
                                    Visa International Operating Regulations



The Acquirer does not receive a referral incentive payment for a Referral Response generated in
response to a Manual Cash Disbursement Authorization Request.

ID#: 050411-010410-0008792



International Automated Referral Service - U.S. Region

In the U.S. Region, the International Automated Referral Service connects the Authorizing Processor
directly with the Issuer or its Authorizing Processor. However, the International Automated Referral
Service provides Stand-In Processing for Referral Responses or "system malfunction" (96) responses
if the:

• Issuer's telephone line is busy
• International Automated Referral Service call is not answered within 30 seconds
• International Automated Referral Service call is placed on hold for more than 30 seconds after the
  call is answered

If the International Automated Referral Service provides Stand-In Processing, it:

• Verifies that a Referral Response or "system malfunction" response was generated
• Checks the Account Number against the Exception File
• Requests that the Merchant review positive Cardholder identification. If the Cardholder does not
  provide positive identification, a Decline Response is issued.

ID#: 050411-010410-0008795



International Automated Referral Service Approval Response Limits - U.S. Region

If a U.S. Cardholder provides positive identification and the Account Number is not listed on the
Exception File with a Decline Response, the International Automated Referral Service issues an
Approval Response and a 4-digit Authorization Code followed by a letter.

ID#: 111011-010410-0005748



International Automated Referral Service Advice - U.S. Region

In the U.S. Region, the V.I.P. System forwards an advice to the Issuer for each Authorization
Response generated by the International Automated Referral Service.

An Authorization issued by the International Automated Referral Service is a valid Authorization.

ID#: 050411-010410-0008796




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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 745 of 1319
                                                   PageID #: 3938
                                    Visa International Operating Regulations




Referral Responses

Referral Response Requirements


Referral Response - Prohibited Transaction Types

An Issuer must not send a Referral Response to an Authorization Request for:

• ATM or Electronic Commerce Transactions. If the Issuer does so, VisaNet will reject the Referral
  Response and process the Authorization Request according to Stand-In Processing parameters.
• Telephone Service Transactions with Merchant Category Code 4814, "Telecommunication
  Services." If the Issuer does so, VisaNet will perform Stand-In Processing. If Stand-In Processing
  returns a Referral Response, the Referral Response will be converted to a Decline Response and
  forwarded to the Acquirer.

ID#: 010410-010410-0008832



Conversion of Referral Response to Decline Response - STIP-Generated
Authorization Request

A Referral Response generated on an International Transaction due to Issuer Stand-in Processing
parameters will be converted to a Decline Response if the Transaction amount is less than US $500
and the Issuer is unavailable.

ID#: 010410-010410-0004397



Conversion to Decline Response - Issuer-Generated Authorization Request (Updated)

A Referral Response generated on an International Transaction by an Issuer will be converted by
VisaNet to a Decline Response for:

• Mail/Phone Order Transactions
• Effective through 14 October 2011, Unattended Terminal Transactions
• Effective 15 October 2011, Unattended Transactions
• The following Merchant Category Codes when the transaction is less than US $100:
  – 4121, "Taxicabs and Limousines"
  – 4784, "Tolls and Bridge Fees"
  – 5411, "Grocery Stores and Supermarkets"
  – 5814, "Fast Food Restaurants"
  – 7523, "Parking Lots, Parking Meters, and Garages"



708                                                VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                 Page: 746 of 1319
                                               PageID #: 3939
                                    Visa International Operating Regulations


  – 7832, "Motion Picture Theaters"

ID#: 111011-010410-0008833



Maximum Issuer Monthly Referral Rates

An Issuer must not exceed the monthly referral rate listed in the table below for its Visa Program
in the specified Merchant categories. The referral rate is the number of Referral Responses as a
percentage of all Authorization Requests processed by an Issuer, excluding those processed by
Stand-In Processing.


                                          Maximum Monthly Referral Rates

               Category                Visa Classic Cards,       Visa Signature Cards,      Visa Electron Cards
                                       Visa Gold/Premier          Visa Infinite Cards
                                                                                     1

                                         Cards, and Visa
                                       Commercial Cards

    Retail Merchants                           0.5%                       0.3%                  Not allowed

    Airlines                                   0.5%                       0.3%                  Not allowed

    Hotels                                     0.5%                       0.2%                  Not allowed

    Cruise Lines                               0.5%                       0.3%                  Not allowed

    Car Rentals                                0.5%                       0.2%                  Not allowed

    Mail/Phone Orders                          0.5%                       0.3%                  Not allowed

    Quasi-Cash                                 0.5%                       0.3%                  Not allowed

    ATM Cash                                Not allowed                Not allowed              Not allowed
    Disbursements

    Referral rates listed for Mail/Phone Order Transactions also apply for Domestic Mail/Phone Order
    Transactions unless a different rate is specified in the applicable Regional Operating Regulations.

    1.    Effective 1 January 2011, this requirement also applies to Visa Signature Business Cards in the AP
          Region.

ID#: 050411-010410-0004401



Referral Response Prohibition for Visa Electron Cards

A Visa Electron Issuer must not generate a Referral Response to any Authorization Request for Visa
Electron Cards.

ID#: 010410-010410-0004402




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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15         Page: 747 of 1319
                                                   PageID #: 3940
                                    Visa International Operating Regulations




Issuer Referral Response Requirements

If an Issuer or its agent generates a Referral Response, it must both:

• Be available to receive the call or fax
• Respond with an Approval Response, Decline Response, or Pickup Response immediately after
  receiving the requested information

ID#: 111011-010410-0004403



Referral Response Requirements - Canada Region

The Referral Response standards specified in "Conversion of Referral Response to Decline
Response - STIP-Generated Authorization Request" and "Conversion to Decline Response - Issuer-
Generated Authorization Request" apply to Domestic Transactions and International Transactions in
the Canada Region.

ID#: 010410-010410-0005381



Referral Response Prohibitions and Rates - U.S. Region

A U.S. Issuer must not:

• Send a Referral Response to an Authorization Request involving an Electronic Commerce
  Transaction
• Exceed the monthly referral rate listed in the tables below for its Visa Consumer Card and
  Commercial Visa Product Programs, respectively, in the specified Merchant categories

The referral rate is the number of Referral Responses as a percentage of all Authorization Requests
processed by an Issuer, excluding those processed by Stand-In Processing.


           Maximum Monthly Referral Rates - Visa Consumer Card Programs - U.S. Region

                  Category                         Visa Consumer Credit        Consumer Visa Check Card

      Airlines                                              0.30%                       0.50%

      Lodging/Cruise Line Merchants                         0.20%                       0.15%

      Car Rental Companies                                  0.20%                       0.20%

      All Merchants (including those                        0.20%                       0.20%
      listed above)




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Case: 4:13-cv-02226-JAR                      Doc. #: 85-5 Filed: 02/12/15                   Page: 748 of 1319
                                                PageID #: 3941
                                     Visa International Operating Regulations



               Maximum Monthly Referral Rates - Commercial Visa Products - U.S. Region

                                                        Visa Signature
         Category                   Visa Business                               Visa Corporate    Visa Purchasing
                                                           Business

    Airlines                           0.30%                 0.30%                  0.20%             0.10%

    Lodging/Cruise                     0.10%                 0.10%                  0.10%             0.10%
    Line Merchants

    Car Rental                         0.15%                 0.15%                  0.10%             0.10%
    Companies

    All Merchants                      0.20%                 0.20%                  0.15%             0.10%
    (including those
    listed above)

ID#: 111011-010410-0005443



Referral Response for Mail/Phone Order Transactions - U.S. Region

If a U.S. Issuer replies with a Referral Response to an Authorization Request for a Mail/Phone Order
Transaction, the V.I.P. System will either:

• Forward Transactions greater than US $100 to the Acquirer's Authorizing Processor
• Return an "invalid response" code for Transactions less than or equal to US $100 to the Issuer or
  its Authorizing Member

Upon receipt of the "invalid response" code, the Issuer may generate an Approval Response or
Decline Response within the appropriate Authorization Response time limit.

If there is no Authorization Response within the appropriate time limit, Stand-In Processing generates
an Approval Response or Decline Response, as specified in the Issuer's "Issuer Unavailable" Activity
Limits.

ID#: 010410-010410-0005444



Maximum Monthly Referral Rates for International Transactions - U.S. Region

A Commercial Visa Product Issuer in the U.S. Region must not exceed the monthly referral rate listed
in the table below for international Authorization Requests during each calendar month.

The referral rate is the number of Referral Responses as a percentage of all Authorization Requests
processed by the Issuer, excluding those processed by Stand-In Processing.


    Maximum Monthly Referral Rates for International Authorization Requests - U.S. Region

                             Card Type                                    Maximum Monthly Referral Rate

    Visa Business                                                                        0.20%

    Visa Signature Business                                                              0.20%


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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15             Page: 749 of 1319
                                                   PageID #: 3942
                                    Visa International Operating Regulations


                             Card Type                                   Maximum Monthly Referral Rate

      Visa Corporate                                                                0.15%

      Visa Purchasing                                                               0.10%

ID#: 111011-010410-0005445



Stand-In Processing Referral Response (Point-of-Transaction Terminals) - U.S.
Region (Updated)

Stand-In Processing issues the Referral/Activity Default Response specified by a U.S. Issuer to an
Authorization Request from a Point-of-Transaction Terminal when:

• Either a Referral Response is indicated on the Exception File or Stand-In Processing generated a
  Referral Response because the Transaction exceeds the Activity File Parameters
• Transaction amount is US $150 or less
• Issuer's Authorizing Member is not available to process the request
• Transaction is not a Mail/Phone Order
• Effective through 31 May 2011, Transaction is not completed at a High-Risk Merchant
• Effective 1 June 2011, Transaction is not completed at a High-Brand Risk Merchant

ID#: 111011-010410-0005463




Authorization Reversals, Rejections, and Declines

Authorization Reversals and Rejections


Authorization Rejection

An Acquirer must not selectively reject or decline Authorization Requests based on an internally
developed table of BINs or Account Numbers. This prohibition includes, but is not limited to, tables
developed using the printed or tape versions of the Visa Interchange Directory.

In the U.S. Region, this prohibition does not include Authorization Requests originating from a
Limited Acceptance Merchant for Account Numbers that are within a BIN not accepted by the
Merchant. (This only applies in the U.S. Region.)

ID#: 010410-010410-0008817




712                                                VISA PUBLIC                                 18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 750 of 1319
                                               PageID #: 3943
                                    Visa International Operating Regulations




Requirement to Accept Authorization Reversal

An Acquirer that receives an Authorization Reversal from one of its Merchants must accept the
Authorization Reversal and forward it to Visa immediately.

ID#: 111011-010410-0005476



Visa Authorization Reversal Monitoring

Visa will monitor Authorization Reversals and may require an Acquirer to take corrective measures if
abnormal patterns of activity are observed.

ID#: 111011-010410-0025594



Transaction Processing Subsequent to an Authorization Reversal

An Acquirer must not submit into Interchange either:

• A Transaction that was subsequently reversed for the full amount
• A Transaction representing the amount of the partial Authorization Reversal

ID#: 111011-010410-0025593



Online Financial Transaction Reversal Requirements

An Acquirer must process a Reversal for an Online Financial Transaction if either the:

• Acquirer, Merchant, or terminal did not receive an Authorization Response
• Transaction is subsequently voided or cancelled

ID#: 010410-010410-0005477



Authorization Reversal Requirements - Canada Region

A Canada Issuer must acknowledge and act on 0400 messages (Authorization Reversals) received.

ID#: 010410-010410-0005382



Visa Monitoring of Authorization Reversals - U.S. Region

Visa monitors Authorization Reversals and may require a U.S. Acquirer to take corrective measures if
abnormal patterns of activity are observed.

ID#: 081010-010709-0007194




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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 751 of 1319
                                                   PageID #: 3944
                                    Visa International Operating Regulations




Match Authorization Reversal to an Authorization Request - U.S. Region

A U.S. Issuer that receives an Authorization Reversal must attempt to match the Authorization
Reversal to a previous Authorization Request. When matched, the Issuer must immediately:

• Process the Authorization Reversal, as specified in the appropriate VisaNet manual
• Release any applicable hold on the available funds in its Cardholder's account

ID#: 010410-010709-0008819



Authorization Reversals - Acquirer Requirements - U.S. Region

A U.S. Acquirer that receives an Authorization Reversal from a Merchant must accept the
Authorization Reversal and forward it to Visa immediately.

ID#: 081010-010709-0007192



Prohibition Against Clearing after Authorization Reversal - U.S. Region

A U.S. Acquirer that submits an Authorization Reversal for the full or partially approved amount of a
Transaction must not subsequently enter the Transaction into Interchange.

ID#: 081010-010709-0007193




Declined Authorizations

Decline Response Requirements


Decline Response Prohibition for Electronic Commerce Transactions

An Issuer must not systematically send a Decline Response to an Authorization Request for an
Electronic Commerce Transaction coded with Electronic Commerce Indicator value "6" unless there
is an immediate fraud threat. This prohibition does not apply to Visa products issued with restrictions
clearly communicated to the Cardholder, e.g., a Card product issued for use exclusively in a Card-
Present Environment.

ID#: 010410-010410-0004389




714                                                VISA PUBLIC                          18 October 2011
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                                               PageID #: 3945
                                    Visa International Operating Regulations




Decline Response Prohibition for Verified by Visa Transactions

An Issuer must not implement systematic decline response parameters on Verified by Visa
"attempted authentication" Transactions. An Issuer must not maintain systematic decline response
parameters for Transactions coded with Electronic Commerce Transaction Indicator value"6" (ECI
6) beyond the period of an immediate fraud threat. This requirement does not apply to Visa products
issued under restrictive terms clearly communicated to the Cardholder.

Visa monitors an Issuer's decline rates for ECI 6. An Issuer is determined to be non-compliant if it
exceeds 500 Authorizations a month and a decline rate of 50% or more.

ID#: 010410-010410-0004390



Decline Response for Illegal Transactions

An Issuer may systematically send a Decline Response to an Authorization Request for a Transaction
that has been determined to be illegal.

ID#: 010410-010410-0004388



Transaction Receiving Decline Response - USOR 4.2.H.15

An Acquirer must not enter a Transaction into Interchange that has received a Decline Response
unless the Transaction:

• Received a subsequent approval [96]

• In the U.S. Region, is a Preauthorized Transaction (This only applies in the U.S. Region.)

ID#: 171011-010410-0005701



Allowable Decline and Referral Reasons by Product


Visa Infinite Card Restriction on Declines due to Pre-Set Limits

For Visa Infinite Cards issued with no pre-set limit, Transactions must not be declined because of a
pre-set limit of any kind. Transactions must be approved or declined based on:

• The absence of suspected fraud
• The Cardholder's spending patterns
• Issuer determination of the likelihood of default

ID#: 010410-010410-0005422



96   This provision does not include Transactions that receive an Authorization Pickup Response of "04," "07," "41," or "43" or
     Authorization Requests submitted more than 12 hours after the submission of the first Authorization Request.

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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 753 of 1319
                                                   PageID #: 3946
                                    Visa International Operating Regulations




Visa Signature Card Restriction on Declines - U.S. Region

Except as specified in "Visa Signature Card Spending Limits and Payment Options - U.S. Region," a
Visa Signature Issuer in the U.S. Region must not decline a Transaction for exceeding a pre-set
spending limit of any kind. Transactions must be approved or declined based on:

• The absence of suspected fraud
• The Cardholder's spending patterns
• Issuer determination of the likelihood of default

ID#: 010410-010410-0005405



Visa Signature Preferred Card Allowable Decline and Referral Reasons - U.S. Region

A Visa Signature Preferred Issuer in the U.S. Region must give a Decline Response or Referral
Response only as specified

ID#: 111011-010410-0005414



Visa Signature Preferred Card Restriction on Declines - U.S. Region

Except as specified in "Visa Signature Preferred Card Spending Limits and Payment Options - U.S.
Region," a Visa Signature Preferred Issuer in the U.S. Region must not decline a Transaction for
exceeding a pre-set spending limit of any kind. Transactions must be approved or declined based on:

• The likelihood of suspected fraud
• The Cardholder's spending patterns
• Issuer determination of the likelihood of default
• Issuer safety and soundness considerations

ID#: 010410-010410-0005406




VisaNet Clearing

VisaNet Clearing - General Requirements


Issuer Requirement to Provide Clearing and Settlement

An Issuer must provide Clearing and Settlement services for its Cardholders.

ID#: 010410-010410-0005404




716                                                VISA PUBLIC                      18 October 2011
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                                               PageID #: 3947
                                    Visa International Operating Regulations




Reimbursement for Valid Transactions

Each Issuer must pay the Acquirer the amount due for Transactions occurring with the use of a
valid Card. This includes Transactions resulting from geographically restricted Card use outside the
country of issuance.

ID#: 010410-010410-0006558



Processing Time Limit for In-Transit Service Transactions

The Processing Date for an In-Transit Service Transaction must be within 5 calendar days of the
Transaction Date.

ID#: 010410-010410-0005571



General Clearing Requirements

For Domestic Transactions, the following rules that govern the Clearing of all Transactions may be
superseded by either Private Agreements or the operating regulations of Group Members.

Regardless of how a Transaction is routed or where it is processed, the Transaction is subject to the
applicable Visa International Operating Regulations, Regional Operating Regulations, or National
Operating Regulations affecting the Transaction Country.

A Member must clear International Transactions through VisaNet, as specified in the VisaNet
manuals, including those resulting from the use of restricted Cards outside the country of issuance.

ID#: 010410-010410-0008844



Submission of Domestic Transactions to VisaNet - AP Region

Unless prohibited by local law, an AP Member must submit, or at least submit by collection only, all
domestic Visa Transactions to VisaNet, including any Transaction that is processed:

• Through VisaNet
• Through a VisaNet Processor
• Under any domestic Private Agreements

The following Transaction types are not required to be submitted, although an AP Member may
choose to submit them:

• Domestic ATM Transactions
• Domestic On-Us Manual Cash Disbursements




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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15                Page: 755 of 1319
                                                   PageID #: 3948
                                    Visa International Operating Regulations



An AP Member may request a variance from Visa.

ID#: 050411-011109-0005424



Required Use of VisaNet for Processing – AP Region

Effective 1 October 2011, all Members in Malaysia, Philippines, Singapore, Thailand, and
                                                                    [97]
Vietnam must authorize, clear, and settle all Domestic Transactions      through VisaNet, including
On-Us Transactions and any Transaction that is processed through a VisaNet Processor or
through any other Agent. Transactions must be submitted in the relevant format as specified in the
VisaNet manuals.

ID#: 050411-011011-0026201



Required Use of VisaNet for Processing in Australia – AP Region

In the AP Region, all Members in Australia must authorize, clear, and settle all Domestic
Transactions through VisaNet. Transactions must be submitted in the relevant format as specified in
the VisaNet manuals.

This requirement does not apply to:

• On-Us Transactions
• Domestic Magnetic Stripe or contact Chip-initiated Transactions in a Face-to-Face Environment, on
  a co-badged Visa Card, processed on the domestic debit network associated with the co-badged
  acceptance mark

ID#: 050411-060111-0026168



VisaNet Transaction Types - Reporting - Canada Region

A Canada Member must process the non-ATM BASE II financial On-Us Transactions through
VisaNet.
A Visa Debit Acquirer must process all Visa Debit Transactions through VisaNet.

ID#: 161111-010410-0008891




97    Excluding ATM Transactions, On-Us Manual Cash Disbursements and Transactions on a co-badged Visa Card
      processed on the domestic debit network associated with the co-badged acceptance mark.

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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 756 of 1319
                                               PageID #: 3949
                                    Visa International Operating Regulations




Prohibition against Manual Cash Transaction Surcharge - U.S. Region

A U.S. Acquirer must submit a Manual Cash Disbursement Transaction for Clearing at the same
value as the cash dispensed to the Cardholder.

ID#: 010410-010410-0002985



Clearing of Transactions through VisaNet - U.S. Region

In the U.S. Region, all Transactions must be processed through VisaNet, except those processed by
another means approved by Visa, as specified in "Required Transaction Processing through VisaNet
- U.S. Region."

ID#: 010410-010410-0005682



Required Transaction Processing through VisaNet - U.S. Region

A U.S. Member must process Visa Transactions through VisaNet by one of the following means:

• Directly
• Through a Clearing Processor
• By other means approved by Visa

A Member requesting to process Transactions by a means other than through VisaNet must complete
a "VisaNet Processing Exception Request" (available upon request) and submit it to Visa.

ID#: 010410-010410-0005709



Reporting of Transactions Not Processed through VisaNet - U.S. Region

A U.S. Member must report to Visa, as specified in the appropriate VisaNet manuals, all
Transactions, Chargebacks, and Representments processed by other means approved by Visa.

ID#: 010410-010410-0005712



Account Number Processing Requirement - U.S. Region

All U.S. Member processing systems must be able to accept Account Numbers.

ID#: 111011-010410-0005726




18 October 2011                                    VISA PUBLIC                                     719
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 757 of 1319
                                                   PageID #: 3950
                                    Visa International Operating Regulations




Interchange Data through VisaNet - U.S. Region

A U.S. Member must be able to receive incoming Interchange data and must send outgoing
Interchange data through BASE II or the V.I.P. System.

ID#: 010410-010410-0005678



Transaction Delivery - U.S. Region

In the U.S. Region, VisaNet accepts the direct delivery of Visa Transactions for Clearing and
Settlement from a Direct-Connect Merchant.

A U.S. Acquirer must:

• Be capable of receiving BASE II advice records, as specified in the appropriate VisaNet manual, as
  notification that:
  – Clearing and Settlement occurred for those Transactions
  – Payment is due to the Merchant
• Accept total responsibility for Direct-Connect Merchant Transactions

ID#: 111011-010410-0006241



Acquirer Responsibility for Visa Transactions - U.S. Region

A U.S. Acquirer is responsible for Visa Transactions it submits into Interchange including, but not
limited to, any Transaction properly charged back by an Issuer, regardless of the Acquirer's ability to
return the Transaction to the Merchant for any reason.

ID#: 010410-010410-0005077



Clearing Processor Downgrade or Termination - U.S. Region

In the U.S. Region, if a Clearing Processor terminates receipt or transmission of Interchange, or
downgrades its VisaNet processing level, the Clearing Processor must:

• Notify Visa in writing at least 3 months before the termination or effective date of the downgrade
• Be responsible for the VisaNet access charges that would have been assessed until the
  designated termination date, if the Clearing Processor terminates the receipt or transmission of
  Interchange before the designated termination date

Access and processing levels must have been in effect at least 12 months on the designated effective
date of the downgrade or termination.

ID#: 050411-010410-0005685




720                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 758 of 1319
                                               PageID #: 3951
                                    Visa International Operating Regulations




Direct-Connect Merchant Downgrade or Termination - U.S. Region

In the U.S. Region, for Interchange processing access provided to a Direct-Connect Merchant
at a Clearing Member's request, the Clearing Member may terminate the receipt or transmission
of Interchange or downgrade its VisaNet processing level, as specified in "Clearing Processor
Downgrade or Termination - U.S. Region."

ID#: 010410-010410-0005686



Data Consistency Requirement - U.S. Region

In the U.S. Region, Clearing Record data must be the same as, or consistent with, comparable data
in the Authorization Request and Authorization Response, if an Authorization was obtained.

ID#: 010410-010410-0008892



Domestic Interchange


Domestic Interchange Processing

Only Domestic Interchange under Private Agreements may be processed outside of VisaNet.

These Agreements must exclude Interchange originating from an International Airline.

ID#: 010410-010410-0008920



Private Agreements - Change Notification

Members with Private Agreements may send Domestic Interchange to Visa if they provide Visa with
at least 30 calendar days' advance written notice. Members also must provide Visa with at least 30
calendar days' written notice for termination of these agreements.

ID#: 010410-010410-0003380



Private Agreements - Interchange Files

If Members with Private Agreements elect to send Domestic Interchange files to another Member,
they must do so by the fastest means possible.

ID#: 010410-010410-0005464




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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 759 of 1319
                                                   PageID #: 3952
                                    Visa International Operating Regulations




Submission of Transactions to VisaNet - CEMEA Region

A CEMEA Member must submit all domestic point-of-sale Visa Transactions to VisaNet, for Clearing
and Settlement or collection only. This includes all Transactions in a Card-Present Environment or a
Card-Absent Environment, and any Transaction that is processed:

• Through:
  – VisaNet
  – A VisaNet Processor
  – A domestic switch or Processor
  – Any other form of Processor
• Under any domestic Private Agreement or bilateral agreement

The following Transaction types are not required to be submitted to VisaNet. However, CEMEA
Members may choose to submit them:

• Domestic ATM Transactions
• Domestic Manual Cash Disbursements

ID#: 050411-011009-0008857



Interchange Files and Tapes


Duplicate Interchange File Requirements

A Member must generate a duplicate Interchange File before transmitting Interchange to Visa, and
retain this file for 15 calendar days after the Settlement Date.

ID#: 010410-010410-0003372



Currency Requirements


Transaction Currency for Original Presentments

An Acquirer must enter all original Presentments into Interchange in the exact amount of Transaction
Currency authorized by the Cardholder.

ID#: 010410-010410-0008358




722                                                VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 760 of 1319
                                               PageID #: 3953
                                    Visa International Operating Regulations




Basic Currency Conversion Rate Application - CEMEA Region

In the CEMEA Region, Visa applies the Basic Currency Conversion Rate to Transaction Receipts,
Credit Transaction Receipts, and Cash Disbursements. The Basic Currency Conversion Rate for
Intraregional and Interregional Transactions is either the wholesale Transactions market rate or
government-mandated rate in effect one day before the Central Processing Date.

The Issuer may apply an Optional Issuer Fee on the Basic Currency Conversion Rate. Visa will only
apply such a fee on the Issuer's instruction.

ID#: 010410-010410-0005450



Authorization Currency - CEMEA Region

A CEMEA Member must:

• Submit Authorization Requests in the Transaction Currency
• Receive Authorization Requests in its Billing Currency

ID#: 010410-010410-0008898



ATM Clearing


ATM Cash Disbursement Transaction Classification

An ATM Cash Disbursement is a Visa Transaction if it is made with a Visa Card or Visa Electron
Card.

An ATM Cash Disbursement is a Plus Transaction if it is made with a Proprietary Card bearing
the Plus Symbol. A Visa Region or its exclusive Plus Program sublicensee may redefine a Plus
Transaction involving a Card bearing the Plus Symbol for Intraregional Transactions.

ID#: 010410-010410-0008996



ATM Clearing Requirements

An ATM Transaction cleared through VisaNet must have been authorized through VisaNet.

ID#: 010410-010410-0004795




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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 761 of 1319
                                                   PageID #: 3954
                                    Visa International Operating Regulations




Non-Visa Transaction Processing - U.S. Region


PIN-Debit Network Requirements - U.S. Region

A U.S. Issuer that enables Non-Visa Debit Transaction processing on its Visa Check Card or Visa
Debit Card must ensure that all such transactions are facilitated by a PIN-Debit Network.

An Issuer that enables Non-Visa Debit Transaction processing and that does not require that all such
transactions be authenticated by a PIN must:

• Clearly communicate to its Cardholders at the time of implementation of such processing or at
  the time of issuance, and on an annual or more frequent basis thereafter, that it has enabled
  Non-Visa Debit Transaction processing and that it does not require that all such transactions be
  authenticated by a PIN
• Clearly communicate to its Cardholders the identity of the debit networks for which such
  transactions are enabled on the Visa Check Card or Visa Debit Card
• Provide Cardholders with examples of the types of Cardholder actions that may be required to
  initiate a Visa Transaction on such Cards
• At least 30 calendar days before implementation, notify Visa that it does not require that all Non-
  Visa Debit Transactions be authenticated by a PIN
• Clearly communicate to its Cardholders at the time of implementation of such processing or at
  the time of issuance, and on an annual or more frequent basis thereafter, that the provisions of its
  Cardholder agreement relating only to Visa Transactions are inapplicable to non-Visa transactions

ID#: 111011-010410-0008884




Single Message System (SMS)

General Requirements


Single Message System Participation Requirements

If a Member processes Online Financial and Deferred Clearing Transactions as part of the Single
Message System, it must:

• Be linked to the Single Message System either directly or through its VisaNet Processor
• Comply with the specifications for Authorization and Clearing specified in the Visa International
  Operating Regulations and the VisaNet manuals

ID#: 010410-010410-0003087




724                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 762 of 1319
                                               PageID #: 3955
                                    Visa International Operating Regulations




Single Message System Message Format Conversion

If a Single Message Service Transaction is sent to a non-participating Member, Visa converts
the Transaction to the appropriate BASE I or BASE II message format before transmitting the
Transaction.

ID#: 050411-010410-0005736




Online Financial and Deferred Clearing

Online Financial and Deferred Clearing General Requirements - U.S. Region


Online Financial and Deferred Clearing Transaction Processing - U.S. Region

A U.S. Member may process Online Financial and Deferred Clearing Transactions as part of the
Single Message Service.

A participating Member must comply with the requirements specified in "Single Message System
Participation Requirements."

ID#: 010410-010410-0008861



Deferred Clearing Transaction Requirements - U.S. Region

In the U.S. Region, a Deferred Clearing Transaction for a Visa or Visa Electron Transaction
completed in a Card-Present Environment must originate at a Point-of-Transaction Terminal and
include the:

• Entire unaltered contents of track 1 or track 2 of the Magnetic Stripe, Chip, or Contactless Payment
  chip
• Value of "05," "07," 90," or "91" in the POS Entry Mode code field of the Authorization Request (if
  applicable) and the Clearing Record

A Deferred Clearing Transaction (excluding a Visa Electron Transaction) may be key-entered either:

• If the Magnetic Stripe cannot be read
• In a Card-Absent Environment

ID#: 010410-010410-0008862




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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 763 of 1319
                                                   PageID #: 3956
                                    Visa International Operating Regulations




Clearing Reversals for Online Financial and Deferred Clearing Transactions - U.S.
Region

A U.S. Acquirer must process a Clearing Reversal for an Online Financial or Deferred Clearing
Transaction, as specified in the VisaNet manuals, if either the:

• Acquirer, Merchant, or terminal did not receive an Authorization Response
• Transaction is subsequently voided or cancelled

ID#: 010410-010410-0005735



Online Financial Transactions


Online Financial Transaction Authorization Request

An Online Financial Transaction Authorization Request for a Visa or Visa Electron Transaction must
originate at an ATM or a Point-of-Transaction Terminal and include the:

• Entire unaltered contents of track 1 or track 2 of the Magnetic Stripe or the Magnetic-Stripe Image
  on the Chip
• Final amount of the Transaction

A purchase Transaction may be key-entered either:

• In a Card-Absent Environment
• If the Magnetic Stripe cannot be read, unless it is a Visa Electron Transaction, which may not be
  key-entered

ID#: 010410-010410-0008863



Online Financial Transaction Authorization - U.S. Region

In the U.S. Region, every Online Financial Transaction must be authorized.

If an Online Financial Transaction is initiated in a Card Present Environment, the Online Financial
Transaction Authorization Request for a Visa or Visa Electron Transaction must originate at a Point-
of-Transaction Terminal and include the:

• Entire unaltered contents of track 1 or track 2 of the Magnetic Stripe, Chip, or Contactless Payment
  chip
• Value of "05," "07," "90," or "91" in the POS Entry Mode code field

An Online Financial Transaction Authorization Request for a Visa or Visa Electron Transaction must
include the final amount of the Transaction.




726                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 764 of 1319
                                               PageID #: 3957
                                    Visa International Operating Regulations



A Transaction (excluding a Visa Electron Transaction) may be key-entered if the Magnetic Stripe
cannot be read.

ID#: 010410-010410-0008865




Clearing Reversals and Adjustments

Clearing Reversals


Member Reversal of Duplicate Data through VisaNet

These regulations for reversing duplicate data apply to Members that clear Interchange through
VisaNet.

If Visa has processed an original file, the Member must reverse the duplicate data.

If the Receiving Member has processed the original file, the Sending Member must reverse the
duplicate data.

To reverse duplicate data, the Member must:

• Identify the Processing Date of the Transaction that it is reversing
• Replace the Transaction codes of the duplicate Transactions with the appropriate Reversal codes,
  as specified in the VisaNet manuals. The Member must not change any other information in the
  duplicate Transaction.
• Send the Reversals to Visa within one business day of notification of the duplicate data

ID#: 010410-010410-0008878



Issuer Reversal

An Issuer must reverse the duplicate Transactions from its Cardholder records upon receipt of
Reversal information. Visa reverses the duplicate Transactions using either the:

• Appropriate Basic Currency Conversion Rate
• Currency Conversion Rate effective on the Central Processing Date of the duplication

Visa assesses the responsible Members any foreign exchange loss due to currency fluctuation
between the Central Processing Date of the duplicate data and the Reversal date using the VisaNet
fee collection process.

ID#: 010410-010410-0008879




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      Case: 4:13-cv-02226-JAR                    Doc. #: 85-5 Filed: 02/12/15                      Page: 765 of 1319
                                                    PageID #: 3958
                                    Visa International Operating Regulations




Member Reversal of Duplicate Data for Members with Private Agreements

To reverse duplicate Interchange data, a Member with Private Agreements that processes Domestic
Interchange outside of VisaNet must:

• Identify the Processing Date of the Transactions that it is reversing
• Replace the Transaction codes of the duplicate Transactions with the appropriate Reversal codes,
  as specified in the VisaNet manuals. The Member must not change any other information in the
  duplicate Transaction.
• Send the Reversals to the Receiving Member within one business day of notification of the
  duplicate data

ID#: 010410-010410-0003392



Original Adjustment through VisaNet (Updated)

An Acquirer may initiate a credit Reversal only to correct inadvertent processing errors.

                                                                                            [98]
The Acquirer must process a credit Reversal or a debit Adjustment within 30                        calendar days of the
Processing Date of the initial credit Transaction.

ID#: 111011-010410-0008880



Permitted Use of Clearing Reversals - U.S. Region 6.2.I.5.a

In the U.S. Region, a Clearing Reversal may be initiated by the Clearing Processor that originated the
duplicate or erroneous transmission or by Visa.

The Clearing Processor may use a Clearing Reversal only to correct either:

• Inadvertent processing errors, as described in "Duplicate or Erroneous Data - U.S. Region"
• Individual Transactions that were transmitted twice or contain erroneous data

To reverse a duplicate or erroneous Interchange transmission, the Clearing Processor must:

• Ensure that Visa is aware of the duplicate or erroneous transmission
• Replace the transaction codes of the duplicate Transactions with the appropriate Clearing Reversal
  codes, as specified in "VisaNet Clearing Message Content Standards" (Exhibit NN). The Clearing
  Processor must not change any other information in the duplicate transactions.
• Send the corrected file on the next transmission day

ID#: 010410-010410-0008882




98    Effective 14 April 2012, a variance to this requirement applies in the U.S. Region.

728                                                  VISA PUBLIC                                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 766 of 1319
                                               PageID #: 3959
                                    Visa International Operating Regulations




Adjustments


Out-of-Balance Online Check Card Transactions - U.S. Region (Updated)

Effective for Transactions completed through 30 June 2015, a U.S. Acquirer may process an
Adjustment to an Online Check Card Transaction, as specified in the VisaNet manuals, to correct a
Merchant or Acquirer processing error that causes an out-of-balance situation. The Acquirer must:

• Process the Adjustment within 10 calendar days of the purchase date of the original Transaction
• Process a Clearing Reversal for the incorrect Transaction
• Process the Adjustment for the correct Transaction amount

Effective for Transactions completed through 30 June 2015, a U.S. Acquirer may process a first
Presentment Transaction as an Original Adjustment, as specified in the VisaNet manuals, when the:

• Original Transaction resulted from an Online Check Card Transaction
• Connection between the Merchant and its Authorizing Processor was inoperable
• Merchant completed the Transaction without obtaining an Authorization

An Acquirer must not process an Original Adjustment if the original Transaction received a Decline
Response.

ID#: 111011-010410-0008883



Adjustment and PIN/Magnetic-Stripe Storage or Transmission - U.S. Region

A U.S. Acquirer that processes an Adjustment or Original Adjustment must not store the:

• PIN, or provide it in the Adjustment
• Contents of the Magnetic Stripe or Chip, or provide it in the Adjustment

ID#: 010410-010410-0005740



Adjustment and Original Adjustment Chargeback Liability - U.S. Region

A U.S. Acquirer is liable for an Adjustment or Original Adjustment charged back in accordance with
the U.S. Regional Operating Regulations.

ID#: 010410-010410-0005741




18 October 2011                                    VISA PUBLIC                                       729
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 767 of 1319
                                                   PageID #: 3960
                                    Visa International Operating Regulations




Visa Debit with PIN Transaction Adjustments – U.S. Region (New)

Effective 14 April 2012, a U.S. Acquirer may process an Adjustment to a Visa Debit with PIN
Transaction, as specified in the VisaNet manuals, to correct a Merchant or Acquirer processing error
that causes an out-of-balance situation.

The Acquirer must:

• Process the Adjustment within 45 calendar days of the purchase date of the original Transaction
• Process the Adjustment for the correct Transaction amount

A U.S. Acquirer may process a first Presentment Transaction as an Original Adjustment, as specified
in the VisaNet manuals, when the:

• Original Transaction resulted from a Visa Debit with PIN Transaction
• Connection between the Merchant and its Authorizing Processor was inoperable
• Merchant completed the Transaction without obtaining an Authorization

An Acquirer must not process an Original Adjustment if the original Transaction received a Decline
Response.

The Acquirer must not process an Adjustment subsequent to a Chargeback.

ID#: 111011-140412-0026510




Duplicate or Erroneous Data

Duplicate or Erroneous Data Processing Requirements


Correction before Transmission through VisaNet

If a Member that clears Interchange through VisaNet:

• Detects duplicate data before sending it to Visa, it must correct the duplication before transmission
• Detects duplicate data on a file previously sent, it must immediately notify Visa of the situation by
  telephone or fax and provide the:
  – File Processing Date
  – Tape number, for a mailed tape

If Visa has received but not yet processed the file containing the duplicate data, the Member must
send the corrected file no later than the next business day.

ID#: 111011-010410-0008854




730                                                VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 768 of 1319
                                               PageID #: 3961
                                    Visa International Operating Regulations




Notification of Duplicate Data - Exceptions for Private Agreements

This section applies to Members with Private Agreements that process Domestic Interchange outside
of VisaNet.

If a Sending Member detects duplicate data before sending it to the Receiving Member, it must
correct the duplication before transmission.

If the Sending Member detects duplicate data on a file previously sent, it must immediately notify the
Receiving Member of the situation by telephone or fax and provide the:

• File Processing Date
• Tape number, for a mailed tape

If the Receiving Member has received but not yet processed the file containing the duplicate data, the
Sending Member must send the corrected file no later than the next business day.

ID#: 050411-010410-0008856



Australia Domestic Processing Error Notification Requirements – AP Region

In Australia, a Member must do one of the following in the event of a processing error:

• If the error impacts only one domestic Member, the Member may either:
  – Contact and advise the affected Member directly
  – Keep Visa informed of the processing error by e-mailing the details specified in “Australia
    Processing Error Advice to Visa - AP Region"
• If the error impacts more than one domestic Member, the Member may either:
  – Advise Visa of the processing error and request assistance to circulate the impact notification to
    other domestic Members with the information specified in “Australia Processing Error Advice to
    Visa - AP Region”
  – Advise Visa of the processing error and circulate the impact notification to other domestic
    Members directly with the information specified in “Australia Processing Error Advice to Visa -
    AP Region”

ID#: 080411-060111-0026164



Australia Processing Error Advice to Visa – AP Region

A Member in Australia notifying Visa of a processing error must send the advice to Visa within 24
hours of processing error identification. If the notification contains sensitive information (e.g. Card
account information) the file must be encrypted with password prior to e-mailing to Visa.

The advice to Visa must be sent via e-mail to Visa Client Support Services with the subject: AU,
Member Name – Processing Error Notification.



18 October 2011                                    VISA PUBLIC                                            731
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 769 of 1319
                                                   PageID #: 3962
                                    Visa International Operating Regulations



The e-mail must indicate the action required from Visa and must contain the following:

• Brief description of the error/impact including estimated volume of transactions
• Brief description of the action plan to rectify error/reduce impact
• Central Processing Date of the original file/transactions (whichever applicable)
• Central Processing Date of the duplicate file/transactions (whichever applicable)
• Transaction reference number range (if available)
• Merchant name (where appropriate)
• Anticipated file refund/reversal date (if applicable)
• Member contact information (telephone number, e-mail address etc.)

If the e-mail requires Visa assistance to broadcast to other domestic Members, Visa will assist to
circulate the impact notification to all impacted Members within the next business day.

ID#: 050411-060111-0026165



Duplicate or Erroneous Data - U.S. Region

In the U.S. Region, if a Clearing Processor that cleared Interchange through VisaNet detects
duplicate or erroneous data before sending it to Visa, the Clearing Processor must correct the data
before transmission.

The Clearing Processor must immediately notify Visa by telephone or fax if duplicate or erroneous
data is transmitted, including any of the following:

• An entire day's Interchange duplication
• Batches of previously transmitted Interchange
• Batches captured more than once on the same outgoing Interchange File

The Clearing Processor must rectify and send the correction on the next transmission day following
the incident of the duplicate or erroneous data.

A Clearing Processor that fails to comply with these procedures is assessed a fine.

ID#: 111011-010410-0008855




732                                                VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 770 of 1319
                                               PageID #: 3963
                                    Visa International Operating Regulations




Settlement

General Settlement Requirements


Establishment of Settlement Arrangements - U.S. Region

To establish Settlement arrangements, a U.S. Member must complete and return to Visa a "Funds
Transfer Instruction Form" as specified in the appropriate VisaNet manual.

ID#: 010410-010410-0003326



Australia Interchange File Exchange Settlement Cut-Off Time for BASE II Processors -
AP Region

A domestic VisaNet Processor in Australia must adhere to the applicable Australia Eastern Standard
Time or Eastern Daylight Savings Time based on the local Settlement Bank's Settlement site as the
cut-off time for the Clearing of BASE II files.

ID#: 050411-060111-0026166



Australia Local Settlement Bank Fee – AP Region

In Australia, a local Settlement Bank fee of AUD 245 is appointed to Members monthly. The fee is
applied quarterly by the central banker as AUD 735, excluding GST.

ID#: 050411-060111-0026167



Billing and Settlement Currencies


Issuers Using Multiple Billing Currencies

An Issuer receives Interchange in its Billing Currency. If the Issuer uses more than one Billing
Currency, it must have a separate BIN for each.

ID#: 010410-010410-0006559




18 October 2011                                    VISA PUBLIC                                     733
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 771 of 1319
                                                   PageID #: 3964
                                    Visa International Operating Regulations




Settlement Account Requirements


Member Settlement Account Requirements - AP Region

An AP Member must have sole ownership of any account it uses for funds transfers payable of
Settlement Amounts at the Member's Settlement Bank.

ID#: 010410-010410-0005419



Late Settlement Fee


Late Settlement Fee - Canada Region

A Canada Member may be required to pay a Late Settlement Fee, as specified in "Late Settlement
Fees," if a required Settlement Amount is not transferred to Visa in accordance with the requirements
of the Canadian National Net Settlement Policies and Procedures Guide.

ID#: 010410-010410-0005433



Settlement Financial Obligations


Member Responsibility for Settlement Financial Obligations - AP Region

In addition to the provisions specified in "Visa Rights in Calculating Settlement," an AP Member is
responsible for all financial obligations owed to Visa by any entity or subsidiary owned or controlled
by the Member, even if the entity is separately incorporated or in any other way legally independent of
the Member. Visa may offset any amount owed to Visa by the entity or subsidiary against the Member
accounts, branches, or other owned or controlled entity worldwide.

ID#: 010410-010410-0005423



Member Responsibility for Settlement Financial Obligations - U.S. Region

A U.S. Member is responsible for any amount due for all Transaction Receipts bearing its BIN and
resulting from a Merchant or another Member honoring a valid, properly presented Card.

ID#: 010410-010410-0005710




734                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 772 of 1319
                                               PageID #: 3965
                                    Visa International Operating Regulations




National Net Settlement


Participation in National Net Settlement - Canada Region

Unless a Member has a Private Agreement for Settlement of Domestic Transactions, Canada
Members must participate in the Canada Region's National Net Settlement (NNS) arrangements.

ID#: 010410-010410-0005429



National Net Settlement Policies and Procedures - Canada Region

Canada Members participating in National Net Settlement must comply with the Canadian National
Net Settlement Policies and Procedures Guide (available at https://visainfo.ca.) The Canadian
National Net Settlement Policies and Procedures Guide may be changed from time to time at the
discretion of Visa, subject to Members being provided reasonable advance notice of any changes that
might affect them.

ID#: 010410-010410-0005430



National Net Settlement Contacts - Canada Region

A Canada Member participating in National Net Settlement (NNS) must designate to Visa in writing
a primary and back-up point of contact with respect to its organization's participation in NNS. Any
change of the primary or back-up contact or its contact information must be provided to Visa in writing
within 15 calendar days of the change.

ID#: 010410-010410-0005431



Final Settlement Procedure - National Net Settlement - Canada Region

Final payment of amounts due in Settlement to Canada Members participating in National Net
Settlement (NNS) will not be initiated by Visa (unless waived by Visa at its discretion) until all of the
amounts due in Settlement from Members participating in NNS have been received.

ID#: 010410-010410-0005432



Suspension of National Net Settlement - Canada Region

In the Canada Region, Visa has the right to temporarily suspend National Net Settlement (NNS)
at any time in its sole discretion. When Visa suspends NNS, it will use reasonable efforts to advise
Members of the suspension and the reason for doing so and will resume Settlement as soon as is
practical.

ID#: 010410-010410-0005434




18 October 2011                                    VISA PUBLIC                                          735
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 773 of 1319
                                                   PageID #: 3966
                                    Visa International Operating Regulations




National Net Settlement Disputes - Canada Region

In the Canada Region, Visa is the sole and final authority for the resolution of any disputes with
respect to National Net Settlement (NNS).

ID#: 010410-010410-0005436



Member Settlement Failure in National Net Settlement - Canada Region

If a Canada Member fails to settle an amount owed in National Net Settlement (NNS) in accordance
with the timelines established in the Canadian National Net Settlement Policies and Procedures
Guide, Visa will offset any shortfall from any amount owed to the Member with respect to NNS.

ID#: 010410-010410-0005435



Payment to Merchants


Payments to Merchants, Sponsored Merchants, and Payment Service Providers
(Updated)

Effective through 30 June 2011, an Acquirer must pay or credit its Merchant's or Internet Payment
Service Provider's (IPSP) account promptly after Transaction Receipt Deposit. These payments must
be the same as the Transaction totals, less any applicable discounts or Credit Transaction Receipt
totals.

Effective 1 July 2011, an Acquirer may directly pay or credit its Payment Service Provider (PSP).

Effective 1 July 2011, an Acquirer that contracts with both a PSP and a Sponsored Merchant may
directly pay or credit the Sponsored Merchant for its portion of the Deposit, as permitted by local law.

Effective 1 July 2011, an Acquirer must pay or credit its Merchant's, Sponsored Merchant's, or
Payment Service Provider's (PSP) account promptly after Transaction Receipt Deposit. These
payments must be the same as the Transaction totals, less any applicable discounts or Credit
Transaction Receipt totals.

Effective 1 July 2011, a PSP must pay or credit its Sponsored Merchant's account promptly after
Transaction Receipt Deposit. These payments must be the same as the Transaction totals, less any
applicable discounts or Credit Transaction Receipt totals.

ID#: 111011-010410-0008850




736                                                VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                Page: 774 of 1319
                                               PageID #: 3967
                                    Visa International Operating Regulations




Acquirer Obligation to Pay - U.S. Region

A U.S. Acquirer must not waive, release, abrogate, or otherwise assign to a non-Member its
obligation to guarantee and ensure payment for all Transactions in which its Merchant honored a
valid Visa Card or Visa Electron Card properly presented for payment.

ID#: 010410-010410-0005146



Requirement for Funds Held by Acquirer - U.S. Region

A U.S. Acquirer holding funds as security to ensure proper Merchant performance must hold the
funds in an account in the Merchant's name.

ID#: 010410-010410-0005147




Transaction Receipt Processing

Transaction Receipt Processing Time Limits


Endorsement Date Requirements

The Endorsement Date on a Transaction Receipt entered into Interchange must comply with the table
below.

In calculating the processing time limits, the Endorsement Date and Transaction Date are each
counted as one day.


                                    Transaction Receipt Processing Time Limits

               For Transaction Receipts that a                        The Endorsement Date must be within:
               Merchant must deposit within:

    2 business days from the Transaction Date (Visa              3 calendar days from the Transaction Date,
    Electron Transactions only)                                  excluding local non-processing days, and the same
                                                                 date on which the Acquirer processes the BASE II
                                                                 Edit Package and transmits its outgoing Interchange

    3 business days from the Transaction Date                    15 calendar days from the Transaction Date

    21 calendar days from the Transaction Date                   30 calendar days from the Transaction Date

ID#: 111011-010410-0008823




18 October 2011                                    VISA PUBLIC                                                   737
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 775 of 1319
                                                   PageID #: 3968
                                    Visa International Operating Regulations




Transaction Receipt Submission Time Limits

An Acquirer must submit a Transaction Receipt no later than 2 business days from the Endorsement
Date.

ID#: 010410-010410-0005550



Processing Time Limit for ATM Transactions

The Processing Date for an ATM Transaction must not be more than 3 calendar days from the
Transaction Date.

The following are excluded in calculating the allowable number of days:

• Transaction Date
• Processing Date
• Sunday

ID#: 010410-010410-0008997



Transaction Receipt Processing Time Limits - AP Region

In the AP Region, the Endorsement Date on Transaction Receipts entered into Interchange must
be within 8 business days from the Transaction Date. The 8 business days includes the Transaction
Date and the Endorsement Date. This regulation does not apply to Visa Electron Transactions.

The Endorsement Date is one of the following dates on a Clearing Record:

• If cleared through BASE II, the Edit Package run date on which a Member submits outgoing
  Interchange
• If cleared through the Single Message System, the Settlement Date
• If cleared under a Private Agreement, the date on which a Member processes outgoing
  Interchange

For BASE II Transactions, the Endorsement Date is no later than the date on which the Member
creates the BASE II Interchange File. For Transactions with indecipherable or invalid Account
Numbers not cleared through BASE II, the Endorsement Date is the date on which the Transaction
was first entered into Interchange and mailed.

ID#: 010410-010410-0005340




738                                                VISA PUBLIC                      18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                Page: 776 of 1319
                                               PageID #: 3969
                                    Visa International Operating Regulations




Transaction Receipt Processing Time Limits in Malaysia - AP Region (New)

Effective 15 October 2011, in Malaysia, the Endorsement Date for a domestic Visa debit
Transaction conducted at an Automated Fuel Dispenser must be within 3 calendar days from the
Transaction Date, excluding local non-processing days. The 4 calendar days include the Transaction
Date and the Endorsement Date.

ID#: 111011-151011-0026500



Valid Transaction Dates - U.S. Region

In the U.S. Region, the Transaction Date is the date on which a Transaction between a Cardholder
and a Merchant or an Acquirer occurs. The U.S. Regional Operating Regulations recognize the valid
Transaction Dates in the table below.


                                          Transaction Dates - U.S. Region

                        Transaction Type                                          Transaction Date

    Lodging Transactions, including:                             Check-out or prepayment date
    • CPS/Hotel and Car Rental Card Not Present
    • CPS/Hotel and Car Rental Card Present
    • CPS/e-Commerce Preferred Hotel and Car
      Rental

    Cruise Line Transactions, including:                         Disembarkation, prepayment, or final payment date
    • CPS/Hotel and Car Rental Card Not Present
    • CPS/Hotel and Car Rental Card Present
    • CPS/e-Commerce Preferred Hotel and Car
      Rental

    Car Rental Transactions, including:                          Car return or prepayment date
    • CPS/Hotel and Car Rental Card Not Present
    • CPS/Hotel and Car Rental Card Present
    • CPS/e-Commerce Preferred Hotel and Car
      Rental

    Airline and passenger railway Transactions,                  Ticket-issuing date
    including:
    • CPS/Passenger Transport
    • CPS/e-Commerce Preferred Passenger
      Transport

    Preauthorized Health Care Transaction                        Date on which the Health Care Merchant receives
                                                                 notice of adjudication from the Cardholder's
                                                                 insurance company



18 October 2011                                    VISA PUBLIC                                                     739
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15                      Page: 777 of 1319
                                                   PageID #: 3970
                                    Visa International Operating Regulations


                        Transaction Type                                               Transaction Date

      Mail/Phone Order Transaction (including CPS/Card                 Date on which merchandise is shipped
      Not Present Transactions) where merchandise is to
      be shipped

ID#: 111011-010410-0005753



Processing Time Limits - U.S. Region

Transaction Receipt Processing Time Limits in the U.S. Region are specified in the following table. A
U.S. Acquirer's Processing Date and Transaction Date are each counted as one day.


                         Transaction Receipt Processing Time Limits - U.S. Region

      For Transaction Receipts that a Merchant must
                                                                       The Acquirer's Processing Date must be within:
      deposit within:

                             Transaction Receipts (Excluding Credit Transaction Receipts)

      5 calendar days of the Transaction Date                          10 calendar days from the Transaction Date

      15 calendar days of the Transaction Date
                                                     1                 20 calendar days from the Transaction Date

                                                Credit Transaction Receipts

      3 calendar days of the Transaction Date                          5 calendar days from the Transaction Date

      5 calendar days of the Transaction Date
                                                 1                     10 calendar days from the Transaction Date

      1. T & E Merchants are normally granted this allowance.


In the U.S. Region, additional requirements for Transaction Receipt processing time limits apply to
the following Transaction types:

• Electronic Interchange Reimbursement Fee Transactions
• Payment Service Interchange Reimbursement Fee Transactions
• Preauthorized Health Care Transactions
• Supermarket Incentive Program Transactions

ID#: 111011-010410-0008888



Transaction Receipt Processing Time Limit Violations - U.S. Region

A U.S. Clearing Processor must report to Visa consistent and flagrant violations of processing time
limits. Violation of these time limits does not automatically entitle the Issuer to a Chargeback right.

ID#: 010410-010410-0005755




740                                                      VISA PUBLIC                                      18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 778 of 1319
                                               PageID #: 3971
                                    Visa International Operating Regulations




Transaction Receipt Processing - Invalid or Illegible Account Number


Prohibition against Clearing Transaction Receipts with Illegible or Invalid Account
Numbers

An Acquirer must not clear original Transaction Receipts with illegible or invalid Account Numbers
through Visa until it determines the correct Account Number.

The Acquirer must not clear the Transaction Receipt through VisaNet if the Acquirer has contacted
the Issuer and the Issuer cannot determine the Account Number.

ID#: 010410-010410-0008825



Transaction Receipts with Illegible or Invalid Account Numbers - Requirements for
Counterfeit Losses

For a Transaction Receipt with an illegible or invalid Account Number, an Acquirer must comply with
the applicable rules for counterfeit losses specified in the Visa International Operating Regulations if it
appears that a Transaction Receipt resulted from the use of a:

• Counterfeit Card
• Misembossed or Misencoded Visa Card or Visa Electron Card

ID#: 010410-010410-0008824



Transaction Receipts with Illegible or Invalid Account Numbers - Issuer Assistance

If an Acquirer that receives a Transaction Receipt with an illegible or invalid Account Number can
identify the Issuer, the Acquirer may contact the Issuer for assistance in obtaining the Account
Number.

If the Acquirer contacts the Issuer for assistance in obtaining an Account Number, the Issuer:

• Must assist the Acquirer
• May require that all requests be in writing

If the Acquirer is not able to identify the Issuer, the Acquirer that first received the Transaction
Receipt is liable, unless the Acquirer can identify the Issuer within 12 months of the Transaction Date
and clear the Transaction Receipt directly with the Issuer.

ID#: 010410-010410-0008826




18 October 2011                                    VISA PUBLIC                                          741
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 779 of 1319
                                                   PageID #: 3972
                                    Visa International Operating Regulations




Chargeback Restrictions for Invalid or Illegible Account Numbers

Transaction Receipts settled under the procedures for Transaction Receipts with illegible or invalid
Account Numbers are not subject to Chargeback reason code 74, "Late Presentment."

ID#: 010410-010410-0005546



Transaction Receipts with Illegible or Invalid Account Numbers - Sending Member
Requirements

For Domestic Interchange cleared outside of VisaNet, a Sending Member must:

• Correct an illegible or invalid Account Number before clearing the Transaction Receipt
• Comply with the processing and clearing requirements for a Transaction Receipt with an illegible or
  invalid Account Number
• Follow the usual procedures after it determines the correct Account Number

ID#: 010410-010410-0005547



Invalid or Illegible Account Number Clearing with Issuer - U.S. Region

For a Transaction Receipt with an invalid or illegible Account Number, if a U.S. Acquirer has
contacted the Issuer and the Issuer cannot determine the Account Number, the Acquirer must clear
the Transaction Receipt directly with the Issuer.

ID#: 010410-010410-0005752




Original Credit

Original Credit - General


Original Credit - Compliance with Visa Requirements

A Recipient Member must comply with all Visa requirements specified in the Visa International
Operating Regulations, Visa Money Transfer (VMT) Global Implementation Guide, and Original
Credits Member Requirements.

ID#: 050411-010410-0006981



Original Credit - Deposit-Only Account Number

A Recipient Member must:



742                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 780 of 1319
                                               PageID #: 3973
                                    Visa International Operating Regulations


• Notify Visa that a BIN or account range is designated for Deposit-Only Account Numbers
• Ensure that a Deposit-Only Account Number is not used for any purpose other than Original Credit
  processing
• List a compromised Deposit-Only Account Number on the Exception File and, optionally, in the
  Card Recovery Bulletin

ID#: 010410-010410-0006983



Original Credit Transaction Authorization Request Requirements

For an Original Credit Transaction, an Originating Member may choose to send an Authorization
Request.

VisaNet will respond to an Originating Member on behalf of a Recipient Member that accepts the
Authorization Request if a response is not received within the 15-second Authorization Request
response time frame.

VisaNet will respond to an Originating Member on behalf of a Recipient Member that does not accept
an Authorization Request by sending either:

• An Approval Response, if no exception occurs
• A Decline Response, if an exception occurs, including one where a Recipient Member is prohibited
  from accepting an Original Credit

ID#: 050411-010410-0008698



Original Credit Transaction Authorization Message Decline Response

When an Originating Member receives a Decline Response to an Original Credit Authorization
Request, it must not send the Clearing Transaction.

ID#: 080411-010410-0005575




Money Transfer Original Credit Transactions

Money Transfer Original Credit - General


Money Transfer Original Credit - Compliance with Visa Requirements

Effective 9 December 2010, a Recipient Member must comply with all Visa requirements as,
specified in the Visa International Operating Regulations, Visa Money Transfer (VMT) Global
Implementation Guide, and Original Credits Member Requirements.

ID#: 080411-091210-0026249




18 October 2011                                    VISA PUBLIC                                     743
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 781 of 1319
                                                   PageID #: 3974
                                    Visa International Operating Regulations




Money Transfer Original Credit Transaction - Protection of Sender Data

When receiving and managing sender data for a Money Transfer Original Credit Transaction, a
Recipient Member must comply with the Payment Card Industry Data Security Standard (PCI DSS).

ID#: 080411-010410-0006982



Money Transfer Original Credit Transactions - Fast Funds Processing (Updated)

Effective 9 December 2010, a Recipient Member participating in Fast Funds must register with Visa.

Effective 9 December 2010, unless specified otherwise in “Money Transfer Original Credits –
Fast Funds Processing – AP Region and CEMEA Region,” a non-U.S. Recipient Member that
supports the receipt of Online Financial Transactions (0200 messages) or Authorization Requests
(0100 messages) in the enhanced format, as specified in the Visa Money Transfer (VMT) Global
Implementation Guide, must process as Fast Funds any incoming Money Transfer Original Credit
Transaction.

Effective 9 December 2010, a U.S. Recipient Member that supports the receipt of Online Financial
Transactions (0200 messages) or Authorization Requests (0100 messages) in the enhanced format,
as specified in the Visa Money Transfer (VMT) Implementation Guide, may process as Fast Funds
any incoming Money Transfer Original Credit Transaction.

ID#: 151011-091210-0026250



Money Transfer Original Credits - Fast Funds Processing - AP Region and CEMEA
Region (Updated)

Effective 14 April 2012, in the AP Region and CEMEA Region, a Recipient Member from the
countries listed in the table below, must accept incoming Money Transfer Original Credit Transactions
as either Online Financial Transactions (0200 messages) or Authorization Requests (0100
messages), as specified in the Visa Money Transfer (VMT) Global Implementation Guide.

Effective 14 April 2012, in the AP Region and CEMEA Region, a Recipient Member from the
countries listed in the table below, must participate in Fast Fund processing of incoming Money
Transfer Original Credit Transactions.

Effective 15 October 2011, in the CEMEA Region, an Originating Member in Russia must support
the initiation of Online Original Credit Financial Transactions (0200) in the enhanced format, as
specified in the Visa Money Transfer (VMT) Global Implementation Guide.


         Countries participating in Fast Fund Processing - AP Region and CEMEA Region

      Country                                                    Effective Date

      Armenia                                                    14 April 2012

      Azerbaijan                                                 14 April 2012



744                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15           Page: 782 of 1319
                                               PageID #: 3975
                                    Visa International Operating Regulations


    Country                                                      Effective Date

    Belarus                                                      14 April 2012

    Georgia                                                      14 April 2012

    Kazakhstan                                                   14 April 2012

    Kyrgyzstan                                                   14 April 2012

    Moldova                                                      14 April 2012

    Philippines
                  1                                              14 April 2012

    Russia                                                       15 October 2011

    Tajikistan                                                   14 April 2012

    Ukraine                                                      14 April 2012

    Uzbekistan                                                   14 April 2012

    1.    Excluding Visa Cards issued as a credit Card

ID#: 151011-091210-0026251



Money Transfer Original Credit Transaction Processing Requirements - U.S. Region

Effective 15 February 2010, a U.S. Originating Member must:

• Originate Money Transfer Original Credit Transactions only through the Single Message System
• Comply with the Payment Card Industry Data Security Standard (PCI DSS) when sending and
  managing sender data for a Money Transfer Original Credit Transaction
• Include in the Online Financial Transaction message the following data:
  – The sender’s Account Number used to fund the Money Transfer Original Credit Transaction or a
    Transaction reference number that uniquely identifies the sender if the sender’s Account Number
    is not available
  – Additional data as specified in the "VisaNet Clearing Message Content Standards" (Exhibit NN)
    and "Required Data for Authorization Requests and Responses" (Exhibit OO)

Effective 15 February 2010, when receiving and managing sender data for Money Transfer Original
Credit Transactions, a U.S. Recipient or Originating Member must comply with the Payment Card
Industry Data Security Standard (PCI DSS).

ID#: 050411-150210-0025766




18 October 2011                                    VISA PUBLIC                                         745
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15                     Page: 783 of 1319
                                                   PageID #: 3976
                                    Visa International Operating Regulations




Bill Payment - AP Region

Bill Payment Requirements


Australia Bill Payment Transaction Requirements – AP Region

A Domestic Australia Bill Payment Transaction must meet the following requirements:

• The BASE I Transaction record must contain a POS Condition Code 02 - Cardholder Activated
  Terminal and the BASE II message must include the Cardholder Activated Terminal indicator 3 -
  Cardholder-Activated Terminal Type B
• The Transaction must be initiated at a Merchant properly assigned one of the following Merchant
  Category Codes:
     – 5311, “Department Stores”
     – 5310, “Discount Stores”
     – 5331, “ Variety Stores”
     – 5411, “Grocery Stores and Supermarkets”
     – 5945, “Hobby, Toy and Game Shops”
•    The Transaction must be subsequently processed using one of the following biller Merchant
     Category Codes:
     – 4900, “Utilities - Electric, Gas, Water, and Sanitary”
     – 4814, “Telecommunication Services”
     – 6012, “Financial Institutions - Merchandise and Services”
     – 5311, “Department Stores” [99]

ID#: 080411-060111-0026171



Australia Bill Payment Transaction Receipt Data Requirements – AP Region

The Transaction Receipt data for an Australia Bill Payment Transaction initiated at a Cardholder-
Activated Terminal must include biller details for each payment.

ID#: 050411-060111-0026172




99    When the Transaction record contains an Electronic Commerce Indicator (ECI) 3 – Installment Transaction

746                                                VISA PUBLIC                                           18 October 2011
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                                               PageID #: 3977
                                    Visa International Operating Regulations




Australia Bill Payment Transaction BASE II Data Requirements – AP Region

The BASE II Transaction record for an Australia Bill Payment Transaction must include the billpay
descriptor (followed by name and location of the biller’s agent accepting payment).

ID#: 050411-060111-0026173




Bill Payment - U.S. Region

Bill Payment - U.S. Region


Bill Payment Transaction Data Requirements - U.S. Region

A U.S. Acquirer must identify a Bill Payment Transaction in the Authorization Request and Clearing
Record with required VisaNet data elements, as specified in the:

• "VisaNet Clearing Message Content Standards" (Exhibit NN)
• "Required Data for Authorization Requests and Responses" (Exhibit OO)
• Appropriate VisaNet manuals
• U.S. Interchange Reimbursement Fee Rate Qualification Guide

A Credit Voucher Transaction related to an original Bill Payment Transaction does not require
unique identification in the VisaNet Clearing Record and may be processed according to standard
procedures.

In the U.S. Region, any applicable Interchange Reimbursement Fee may apply to a Bill Payment
Transaction.

ID#: 010410-010410-0008913




File Correction Service

File Correction Service - Reversals


Duplicate Interchange File - Reversals

A Member that submits a duplicate Interchange File may request Visa to reverse any of the following:

• An entire day's Interchange duplication
• Batches of previously transmitted Interchange



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                                                   PageID #: 3978
                                    Visa International Operating Regulations


• Batches captured more than once on the same outgoing Interchange

ID#: 010410-010410-0005472



Request for Reversal of Interchange Items

A Clearing Processor that submits accepted Interchange items in error may request Visa to reverse
any of the items specified in "Duplicate or Erroneous Data - U.S. Region."

ID#: 010410-010410-0003705



Visa Reversal of Interchange Items

Visa may independently choose to perform this service on behalf of the Sending Member, if
circumstances warrant such action.

ID#: 010410-010410-0005473




748                                                VISA PUBLIC                      18 October 2011
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                                               PageID #: 3979
                                    Visa International Operating Regulations




Chapter 8: Risk Management

Core Principle 8.1

Adherence to Risk and Fraud Controls


Protecting Against Inappropriate Activity

To protect against inappropriate or unauthorized activity that may damage the payment system or
brand, participants in the Visa system agree to follow Visa-specified risk and fraud requirements &
controls.

ID#: 010410-010410-0007789




Core Principle 8.2

Report All Fraud Activity to Visa


Reporting Fraud for Monitoring and Analysis

To allow Visa to analyze and respond to new and evolving risks and security threats, Visa requires
participants in the Visa system to report all fraudulent transaction or other criminal risk activity to Visa
without delay.

ID#: 010410-010410-0007790




Core Principle 8.3

Protect Visa Account and Transaction Data


Following Standards for Data Protection

To protect all parties to the Visa system, participants with access to personal Visa account
information or Visa transaction information are responsible for following rigorous standards for data
protection set by Visa. These standards may be consistent with or exceed industry standards. For
example, the storage of magnetic stripe data is strictly prohibited.

ID#: 010410-010410-0007815



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                                                   PageID #: 3980
                                    Visa International Operating Regulations




Core Principle 8.4

Protect Against Illegal Activities


Preventing Illegal Activities in the Visa System

Participants in the Visa system agree to take appropriate measures to prevent the Visa system
from being used for or associated with illegal activities. These include, but are not limited to, child
pornography, money laundering or financing terrorist activities. Because Visa payments can be
subject to a variety of anti-money laundering laws in many countries, participants in the Visa system
are also responsible for complying with these laws, including, for participants in the U.S. Region, the
Bank Secrecy Act and the USA PATRIOT Act.

ID#: 010410-010410-0007816




Security and Fraud Control Requirements

General Security and Fraud Control Requirements


Risk Management and Fraud Control Standards and Compliance - AP Region

An AP Member must have a risk management/security and fraud control function.

Visa assesses a fine of US $12,000 for initial non-compliance with "Fraud Control Contact Availability
- AP Region" and "Security and Fraud Control Staff Information Access - AP Region," and for each
additional 12-month cycle of non-compliance.

ID#: 010410-010410-0007739



Fraud Control Contact Availability - AP Region

An AP Member's security and fraud control contact must be available (although not necessarily on
duty, on-site) 24 hours a day, 7 days a week.

ID#: 010410-010410-0000614



Security and Fraud Control Staff Information Access - AP Region

Security and fraud control staff of an AP Member must have access to at least 6 months of
Cardholder and Merchant activity information, as well as the authority to provide, upon request:

• Basic Cardholder identity information and any other relevant information


750                                                VISA PUBLIC                           18 October 2011
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                                               PageID #: 3981
                                    Visa International Operating Regulations


• Reported or suspected fraudulent account activity
• Details about any Card loss or theft

ID#: 010410-010410-0000615



Daily Merchant Investigation - CEMEA Region

A CEMEA Acquirer must investigate, daily, any Merchant appearing on its exception reports or
identified by its risk management systems.

ID#: 081010-010410-0003854



Acquirer Investigation Requirements - CEMEA Region

A CEMEA Acquirer must employ sufficient risk management staff resources and security controls to
undertake the following risk and fraud detection activities on its Merchants. These activities include,
but are not limited to:

• Cooperate fully with Visa in any investigation, and release all information relative to the Merchant
  upon request
• Terminate the Merchant agreement if it is determined that the Merchant:
  – Is a threat to the integrity of the Visa brand
  – Introduces a disproportionate level of fraud into the Visa system
• Take legal action to minimize losses, where appropriate
• Cooperate with Issuers and law enforcement agencies
• Hold funds while the Merchant is fully investigated, if possible
• Initiate criminal and civil proceedings against the Merchant, if applicable

ID#: 010410-010410-0002266



Merchant Fraud Reduction Initiatives - CEMEA Region

A CEMEA Acquirer must, where appropriate, implement fraud reduction initiatives at a CEMEA
Merchant Outlet, including, but not limited to:

• Fraud awareness education at Merchant Outlets
• Reduction of Floor Limits
• Secondary Cardholder identification checks
• Code 10 calls to the Acquirer's Authorization center
• Implementation of CVV2 processing

ID#: 010410-010410-0002268




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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 789 of 1319
                                                   PageID #: 3982
                                    Visa International Operating Regulations




Account and Transaction Information Security

Data Security


Member Reporting of Loss or Theft of Information

As specified in Global Visa Acquirer Fraud Control Manual, the Global Visa Issuer Fraud Control
Manual, and What To Do If Compromised, a Member must immediately report to Visa by telephone,
fax, or e-mail the suspected or confirmed loss, theft, or compromise, including loss, theft, or
compromise by one of its agents or Merchants, of any material or records that contain Visa account
or Transaction information.

In the U.S. Region, a loss, theft, or compromise of Visa account or Transaction information may be
reported on behalf of a Member by one of its agents, or by a Merchant or one of its agents. (This only
applies in the U.S. Region.)

The report must contain, to the extent possible:

• Member and Merchant or agent name
• Format, number, and range of account information missing
• Specific Account Numbers missing
• Type or data elements of account information on missing material, e.g. Track 1 data, Track 2 data,
  CVV2, Cardholder name, address
• Pertinent details about the loss, theft, or compromise and ensuing investigation
• Contact name and telephone number for additional information
• Name and telephone number of person reporting the loss or theft

ID#: 050411-010410-0007999



VisaNet Processor Disclosure of Account or Visa Transaction Information

A Member, in the event of the failure, including bankruptcy, insolvency, or other suspension of
business operations of one of its VisaNet Processors, must ensure that the VisaNet Processor does
not sell, transfer, or disclose any materials that contain Cardholder Account Numbers, personal
information, or other Visa Transaction Information to any other entity. The Member must ensure that
its VisaNet Processor either:

• Returns this information to the Member
• Provides acceptable proof of secure destruction of this information to the Member

ID#: 111011-010100-0025875




752                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 790 of 1319
                                               PageID #: 3983
                                    Visa International Operating Regulations




VisaNet Processor Contingency Plans

A Member must have in place contingency plans for its VisaNet Processors in the event of failure,
including bankruptcy, insolvency, or other suspension of business operations. The contingency plans
must be provided to Visa upon request.

ID#: 111011-010100-0025877



Cardholder and Transaction Information Disclosure Limitations (New)

Effective 1 June 2011, an Acquirer must obtain the prior written consent of the Issuer and Visa
before disclosing a Cardholder's Account Number, personal information, or other Transaction
Information to a third party that is not the Agent of the Acquirer for the sole purpose of completing a
Transaction. The Acquirer must ensure that its Agents and the Agents' employees:

• Make no further disclosure of the information
• Treat the information as confidential

An Acquirer or Merchant may only disclose Transaction Information to third parties, approved by Visa,
for the sole purpose of:

• Supporting a loyalty program
• Providing fraud control services

Procedures for approval of third parties are available from Visa, upon request.

ID#: 111011-010611-0026337



Cardholder and Transaction Information Disclosure Prohibitions (New)

Effective 1 June 2011, except as specified in "Cardholder and Transaction Information Disclosure
Limitations" a Merchant must not disclose a Cardholder Account Number, personal information, or
other Transaction Information to any entity other than to a registered Third Party, the Acquirer, or the
Agent of the Acquirer. Any such disclosure must be for the sole purpose of:

• Assisting the Merchant in completing the initial Merchant Transaction
• Specifically complying with local law

An Agent must not disclose a Cardholder Account Number, personal information, or other
Transaction Information to third parties, other than:

• For the sole purpose of completing the initial Merchant Transaction
• As required by local law




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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15        Page: 791 of 1319
                                                   PageID #: 3984
                                    Visa International Operating Regulations


• With the permission of the Issuer, Acquirer, or Visa, as specified in the Visa International Operating
  Regulations

ID#: 111011-010611-0026338



Merchant Disclosures (New)

Effective 1 June 2011, an Acquirer must ensure that its Merchant, Sponsored Merchant, High-Brand
Risk Merchant or High-Brand Risk Sponsored Merchant, have clearly disclosed throughout the order
process all of the following:

• Terms and conditions of a promotion, if restricted
• The length of the trial period, if offered, including clear disclosure that the Cardholder will be
  charged unless the Cardholder expressly rejects the charge
• The date on which any charges will commence
• Cancellation policy including, clear steps to be taken by the Cardholder to cancel the Transaction
  prior to the end of the trial period

ID#: 111011-010611-0026339



Transaction Data Retention Prohibition - AP Region

AP Merchants, non-Member agents, and processors must not retain or store, not even in encrypted
form, the following data subsequent to Authorization of a Transaction:

• The full contents of any track on the Magnetic Stripe
• Any Card Verification Value (e.g. CVV, CVV2, iCVV)
• The Personal Identification Number (PIN)
• The PIN verification value
• The Verified by Visa authentication data

ID#: 010410-010410-0000531



Transaction Data Retention Prohibition - LAC Region

An LAC Merchant or its agent must not retain sensitive authentication information after Authorization
(even if information is encrypted). This information includes:

• The full contents of any of the Magnetic Stripe tracks, of a Chip, or of any other device
• The Card Verification Value 2 (CVV2)
• The PIN Verification Value (PVV)
• Passwords for the Verified by Visa Service

ID#: 010410-010410-0002299




754                                                VISA PUBLIC                             18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 792 of 1319
                                               PageID #: 3985
                                    Visa International Operating Regulations




Loss of Information at Member's Agents - U.S. Region

A U.S. Member must implement policies and procedures requiring its contractors or Agents to notify
the Member if the contractor or Agent experiences a security breach or reasonably believes that
Cardholder information was compromised as a result of that breach.

ID#: 010410-010410-0001799



Cardholder and Transaction Information Disclosure Limitations - U.S. Region
(Updated)

Effective through 31 May 2011, a U.S. Acquirer must obtain the prior written consent of the Issuer
and Visa before disclosing a Cardholder's Account Number, personal information, or other Visa
Transaction Information to third parties other than the Acquirer's Agents for the sole purpose of
completing a Transaction. The Acquirer must ensure that its Agents and the Agents' employees:

• Make no further disclosure of the information
• Treat the information as confidential

A U.S. Acquirer or Merchant may only disclose Visa Transaction Information to third parties,
approved by Visa, for the sole purpose of:

• Supporting a loyalty program
• Providing fraud control services

Procedures for approval of third parties are available from Visa upon request.

ID#: 111011-010410-0008027



Cardholder and Transaction Information Disclosure Prohibitions - U.S. Region
(Updated)

Effective through 31 May 2011, except as specified in "Cardholder and Transaction Information
Disclosure Limitations - U.S. Region," a U.S. Merchant must not disclose a Cardholder Account
Number, personal information, or other Visa Transaction Information to any entity other than to a
registered Third Party, the Acquirer, or the Acquirer's Agent. This disclosure must be for the sole
purpose of:

• Assisting the Merchant in completing the initial Merchant Transaction
• As specifically required by law

If the Merchant undertaking the initial Transaction has an agreement with another Merchant that
allows the other Merchant to initiate a subsequent Transaction with the Cardholder, the subsequent
Transaction (after the initial Transaction has been completed) must be initiated as a new Transaction
such that:

• A separate Transaction process is initiated


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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 793 of 1319
                                                   PageID #: 3986
                                    Visa International Operating Regulations


• The Cardholder is required to enter their Primary Account Number separately for the subsequent
  Transaction
• All other Transaction requirements comply with the applicable sections of the U.S. Regional
  Operating Regulations

A U.S. Agent must not disclose a Cardholder Account Number, personal information, or other Visa
Transaction Information to third parties, other than:

• For the sole purpose of completing the initial Merchant Transaction
• As required by local law
• With the permission of the Issuer, Acquirer, or Visa, as specified in the Visa International Operating
  Regulations

ID#: 111011-010410-0008029



Data Storage Requirements - U.S. Region

A U.S. Merchant or its agent must:

• Store all material containing Cardholder Account Numbers or imprints (such as Transaction
  Receipts, car rental agreements, and carbons) in an area limited to selected personnel
• Render all data unreadable before discarding

ID#: 010410-010410-0001730



Cardholder Verification Value 2 Prohibition - U.S. Region

A U.S. Merchant or its agent must not request the Card Verification Value 2 data on any paper Order
Form.

ID#: 010410-010410-0001733



Security Standards for Account Information - U.S. Region

Except as specified below, if a fulfillment vendor is used to consolidate materials containing account
information before delivering it to the United States Postal Service or overnight courier, a U.S.
Issuer must ensure that the fulfillment vendor implements and maintains all of the security standards
specified in the Visa Global Physical Security Validation Requirements for Data Preparation,
Encryption Support and Fulfillment Card Vendors.

If a prepaid storage facility is used to consolidate materials containing account information before
delivering it to the United States Postal Service or overnight courier, the U.S. Issuer must ensure that
the prepaid storage facility implements and maintains all of the security standards specified in the
Visa Global Physical Security Validation Requirements for Data Preparation, Encryption Support and
Fulfillment Card Vendors.

ID#: 050411-010410-0008026




756                                                VISA PUBLIC                           18 October 2011
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                                               PageID #: 3987
                                    Visa International Operating Regulations




Confidential Consumer Cardholder Information


Visa Safeguards for Confidential Consumer Cardholder Information - U.S. Region

In the U.S. Region, Visa and its subsidiaries will restrict access to Confidential Consumer Cardholder
Information to those employees that Visa or its subsidiaries has determined need to know that
information to provide products and services to Members.

Visa and its subsidiaries will maintain physical, electronic, and procedural safeguards that are
designed to:

• Maintain the security and confidentiality of Confidential Consumer Cardholder Information
• Protect against anticipated threats or hazards to the security or integrity of Confidential Consumer
  Cardholder Information
• Prevent unauthorized access to, or use of, such Confidential Consumer Cardholder Information
  that could result in substantial harm or inconvenience to Consumer Cardholders

Visa will notify a Member in the event that Visa reasonably believes that Confidential Consumer
Cardholder Information about a Member's customer has been compromised due to a breach of
security.

ID#: 010410-010410-0008003



Visa Use and Disclosure of Confidential Consumer Cardholder Information - U.S.
Region

In the U.S. Region, Visa and its subsidiaries will not use or disclose Confidential Consumer
Cardholder Information to third parties, other than for any one of the following:

• Use or disclosure in the ordinary course of business to provide services to a Member or a
  Member's designated Agent, including, but not limited to:
  – Completing a Transaction
  – Risk control
  – Dispute resolution
  – Marketing services
• Use or disclosure with the consent of the Cardholder
• Other use or disclosure that is in accordance with applicable law

ID#: 010410-010410-0000508




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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15        Page: 795 of 1319
                                                   PageID #: 3988
                                    Visa International Operating Regulations




Destruction of Confidential Consumer Cardholder Information - U.S. Region

In the U.S. Region, Visa and its subsidiaries will use reasonable measures designed to ensure that all
Confidential Consumer Cardholder Information is erased or destroyed, in accordance with regulatory
guidelines, so as to render the information unreadable.

A U.S. Member must implement policies and procedures designed to ensure timely disposal
or destruction of Confidential Consumer Cardholder Information, in accordance with regulatory
guidelines, in a manner that makes the information unreadable.

ID#: 010410-010410-0008007



Information Security Programs


Account and Transaction Information Security Requirements VIOR 2.1.E

A Member must:

• Comply with the Account Information Security Program requirements and the validation and
  reporting requirements, as outlined in the Account Information Security (AIS) Program Guide
• Maintain all materials or records in any form that contains account or Transaction Information in a
  safe and secure manner with access limited to authorized personnel, as specified in the Payment
  Card Industry Data Security Standard (PCI DSS)
• Ensure that agreements and contracts with agents and Merchants clearly establish their
  responsibilities to meet Visa standards, the liabilities for failure to meet the standards, and the
  requirement to allow for inspections by the Member or Visa
• Ensure that all agents and Merchants with access to account or Transaction Information comply
  with the Payment Card Industry Data Security Standard (PCI DSS)
• Ensure that all agents and Merchants do not store any of the following, subsequent to
  Authorization:
  – Full contents of any data taken from the Magnetic Stripe (on a Card, in a Chip, or elsewhere)
  – Card Verification Value 2 used to verify Card-Absent Transactions
  – PIN or the encrypted PIN block
• Comply with, and ensure that all agents and Merchants use Payment Applications that comply with,
  the Payment Application Data Security Standard (PA-DSS)
• Upon request, certify to Visa that agents and Merchants are in compliance with the conditions
  specified in the Payment Card Industry Data Security Standard (PCI DSS)

ID#: 050411-010410-0002228




758                                                VISA PUBLIC                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 796 of 1319
                                               PageID #: 3989
                                    Visa International Operating Regulations




Global Fraud Information Service - AP Region

An AP Principal Member must subscribe to and participate in the Global Fraud Information Service, if
available in its local market.

ID#: 111011-010410-0008047



Australia and New Zealand Acquirer Compliance Program for Payment Card Industry
Data Security Standards (PCI DSS) – AP Region

In Australia and New Zealand, a Visa Level 4-Merchant Acquirer must provide to Visa a risk-based
compliance program for its Level 4 Merchants that includes, at a minimum, a:

• Timeline of critical events
• Risk profiling strategy
• Merchant education strategy
• Compliance strategy
• Compliance reporting strategy

An Acquirer must provide the Exhibit AP – 1 PCI DSS Implementation Plan Report to Visa, by 31
March and 30 September of each year.

ID#: 111011-060111-0026177



Account Information Security - Canada Region

Effective through 30 September 2010, a Canada Member must comply, and ensure that its
Merchants and agents comply, with the requirements of the Visa Canada Account Information
Security Compliance Program - Implementation Framework (the "AIS Framework") document
(available at https://visainfo.ca, in folder: Visainfo/Risk and Security/AIS Materials).

Effective through 30 September 2010, the Member must also comply with the Visa Canada AIS
Compliance Program as specified in the Visa Canada Account Information Security Compliance
Program - Terms of Reference (available at https://visainfo.ca, in folder: Visainfo/Risk and Security/
AIS Materials).

Effective 1 October 2010, a Canada Member must comply, and ensure that its Merchants and
agents comply, with the requirements of the Visa Canada Account Information Security Program
Guide.

ID#: 081010-010410-0008032




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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 797 of 1319
                                                   PageID #: 3990
                                    Visa International Operating Regulations




Account Information Security Program - CEMEA Region

A CEMEA Member must comply with the validation thresholds outlined in the Visa Account
Information Security (AIS) Program Guide.

ID#: 151011-010410-0002272



Account Information Security - LAC Region

An LAC Member, Merchant, or service provider that stores, processes, or transmits Cardholder
information must comply with the information security standards established in the Visa International
Operating Regulations, the LAC Account Information Security Program (AIS), and this section.

When requested, an Acquirer must provide a compliance plan from its organization, its agents, and its
Merchants, according to the specifications and timing established in the LAC AIS Program.

ID#: 050411-010410-0008196



Member Monitoring of Visa Compliance - U.S. Region

In the U.S. Region, Visa and its subsidiaries will adopt policies and procedures and provide Members
with appropriate reviews and reports to enable Members to monitor the compliance of Visa and its
subsidiaries with these commitments.

ID#: 010410-010410-0000512



Payment Application Compliance - U.S. Region

A U.S. Member must comply, and ensure that its Merchants and Agents use Payment Applications
that comply, with the Payment Application Data Security Standard (PA-DSS).

ID#: 081010-200509-0007978



Cardholder and Transaction Information Security - U.S. Region

A U.S. Member must comply, and ensure that its Merchants and Agents comply, with the
requirements of the Cardholder Information Security Program, available from Visa upon request or
online at http://www.visa.com/cisp.

A third party that supports a loyalty program or provides fraud control services, as specified in
"Disclosure of Visa Transaction Information - U.S. Region" and "Cardholder and Transaction
Information Disclosure Limitations - U.S. Region," must comply with the requirements of the
Cardholder Information Security Program.




760                                                VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15         Page: 798 of 1319
                                               PageID #: 3991
                                    Visa International Operating Regulations



A U.S. Member must comply, and ensure that its Merchants and Agents comply, with the Transaction
Information security requirements in the Visa International Operating Regulations, the Payment Card
Industry Data Security Standard (PCI DSS), and the validation and reporting requirements outlined
in the Cardholder Information Security Program. The Payment Card Industry Data Security Standard
(PCI DSS) and the Cardholder Information Security Program requirements are available online at
http://www.visa.com/cisp.

An Acquirer must ensure that its Merchant:

• Implements and maintains all of the security requirements, as specified in the Cardholder
  Information Security Program
• Immediately notifies Visa, through its Acquirer, of the use of a Third Party
• Ensures that the Third Party implements and maintains all of the security requirements, as
  specified in the Cardholder Information Security Program
• Immediately notifies Visa, through its Acquirer, of any suspected or confirmed loss or theft of
  material or records that contain account information and:
  – Demonstrates its ability to prevent future loss or theft of account or Transaction information,
    consistent with the requirements of the Cardholder Information Security Program
  – Allows Visa, or an independent third party acceptable to Visa, to verify this ability by conducting
    a security review, at the Acquirer's own expense

ID#: 010410-010410-0008031



Fines and Penalties


Non-Compliance with Account and Transaction Information Security Standards VIOR
2.1.E

If Visa determines that a Member, its agent, or a Merchant has been deficient or negligent in securely
maintaining the account or Transaction Information or reporting or investigating the loss of this
information, Visa may fine the Member, as specified in the Visa International Operating Regulations,
or require the Member to take immediate corrective action.

ID#: 010410-010410-0001753



Account Information Security Program Fines

A Member deemed non-compliant with the Account Information Security Program is subject to a
penalty, as specified in the table below and the Account Information Security (AIS) Program Guide.


              Fines for Non-Compliance with the Account Information Security Program

                    Violation                                  Fine

    First violation                                      Up to US $50,000



18 October 2011                                    VISA PUBLIC                                        761
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15                Page: 799 of 1319
                                                   PageID #: 3992
                                    Visa International Operating Regulations


                    Violation                                  Fine

      Second violation                                  Up to US $100,000

      Third or any subsequent violation                 Up to US $200,000

ID#: 050411-200509-0008193



Account and Transaction Information Program Service Fee - AP Region

All Principal AP Members will be levied an annual Account and Transaction Information Security
Program service fee as specified in the Visa Asia Pacific Fee Guide.

ID#: 081010-010410-0000530



Transaction Information Loss/Theft Notification Penalties - U.S. Region

If a U.S. Acquirer fails to immediately notify Visa of the suspected or confirmed loss or theft of any
Visa Transaction Information, the Acquirer is subject to a penalty of up to US $100,000 per incident.

ID#: 010410-010410-0003524



Cardholder Information Security Program Penalties - U.S. Region

A U.S. Member that fails to comply with the requirements of the Cardholder Information Security
Program is assessed a fine, as specified in the table below and the Account Information Security
(AIS) Program Guide.


                        Cardholder Information Security Program Fines - U.S. Region

                             Violation                                               Fine

      First violation                                                          Up to US $50,000

      Second violation                                                         Up to US $100,000

      Any third or subsequent violation                                        Up to US $200,000

ID#: 111011-010410-0009032




762                                                VISA PUBLIC                                     18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 800 of 1319
                                               PageID #: 3993
                                    Visa International Operating Regulations




Corporate Risk Reduction

Corporate Risk Reduction - General


Member Risk Reduction Requirements

Upon receipt of instructions imposing conditions, as specified in the applicable Certificate of
Incorporation and Bylaws, a Member or agent must implement risk reduction measures that may
include, but are not limited to:

• Prohibiting or limiting any of the following actions:
  – Issuing new or reissued Cards
  – Signing or re-signing Merchants
  – Using any independent sales organizations
• Blocking the Authorization of Cardholder Transactions or prohibiting Acquirers from obtaining
  Authorization for Transactions on behalf of certain Merchants
• Terminating some or all Merchants that:
  – Conduct Transactions where the Cardholder is not present or where goods or services are to be
    delivered after the Transaction Date
  – Receive a volume of Chargebacks that substantially exceeds the system average
• Effective through 14 October 2010, pledging collateral to secure a Member's or agent's
  obligations and reimbursement to Visa for any expenses incurred ensuring compliance
• Effective 14 October 2010 [100] , pledging collateral to secure:

  – A Member's or agent's obligations to Visa and reimbursement to Visa for any expenses incurred
    ensuring compliance, or
  – The liquidity impact to Visa of Settlement or other payments due to Visa of a Member, its
    affiliates or its Clearing Processor as approved by Visa, or
  – Reimbursement to Visa for any expenses incurred ensuring compliance.
• Effective 14 October 2010, consolidating into a single Funds Transfer Settlement Reporting Entity
  all or some of the Settlement payments in a Settlement Currency of a Member and its affiliates or
  of a Clearing Processor as approved by Visa for one or more Members arising from one or more
  Settlement systems operated by Visa or its subsidiaries or affiliates, operated privately, or by a
  third party, in order to reduce the liquidity impact of such Settlement payments on Visa (Settlement
  Payment Consolidation) or risk of Settlement Loss (as defined in the Visa U.S.A. Inc. Certificate of
  Incorporation and Bylaws and Section 9.01 of the Visa International Certificate of Incorporation and
  Bylaws).
• Redirecting Settlement funds to avoid potential losses, as specified in "Visa Rights in Calculating
  Settlement'" including, but not limited to:
  – Rerouting Settlement funds around the financial institution that normally holds the Member's or
    agent's funds


18 October 2011                                    VISA PUBLIC                                      763
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 801 of 1319
                                                   PageID #: 3994
                                    Visa International Operating Regulations


  – Holding funds to ensure the correct application of Cardholder funds
  – Holding funds for the payment of Merchants
  – Holding funds for the future payment of Chargebacks
  – Withholding funds for the purpose of obtaining collateral or meeting other Member obligations
  – Prohibiting or limiting a Member's right to sponsor Participant Members
• Requiring a Member to change one or more of its designated agents

Visa is not obligated to take these actions to protect any Member, Merchant, Sponsored Merchant, or
Cardholder from financial injury.

ID#: 080411-010410-0005057



Risk Reduction Requirements for Third Party Agents

For any violation of the Member requirements for Third Party Agents, Visa may impose corporate risk
reduction measures on a Member or Agent.

ID#: 111011-010100-0025869



Visa Anti-Bribery Program

Visa maintains an anti-bribery compliance program designed to comply with the requirements and
restrictions of the United States Foreign Corrupt Practices Act and other anti-bribery laws. A Member
must cooperate with Visa in the administration of the Visa anti-bribery program, including, but not
limited to, the following:

• Complete, annually, the "Visa Anti-Bribery Policy Questionnaire/Certification" form (available
  on Visa Online and www.visainfo.ca for Members in the Canada Region) disclosing the level of
  ownership, control, and influence of any non-U.S. government, agency, or instrumentality thereof in
  the Member
• Notify Visa when a non-U.S. government acquires (either as one agency or collectively through
  different agencies or instrumentalities) an equity interest of 30% or more in the Member.

This requirement does not apply to U.S. Members.

ID#: 081010-130809-0008836



Independent Audit of Internal Controls - U.S. Region

A U.S. Member must obtain and review an independent audit of the internal controls that support the
VisaNet interface:

• Upon designation of a VisaNet Processor
• In connecting directly to VisaNet for Interchange or Authorization services


100 Effective 14 April 2011 for the Canada Region only

764                                                VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15              Page: 802 of 1319
                                               PageID #: 3995
                                    Visa International Operating Regulations



The audit must be conducted annually, based on standards issued by the American Institute of
Certified Public Accountants.

ID#: 010410-010410-0005058



Corporate Risk Reduction - Acquirer Requirements


Prohibition against Illegal Transactions (Updated)

Effective through 31 May 2011, an Acquirer may be subject to corrective actions or fines, as
specified in "Visa Right to Fine," if its Merchant Outlet, agent, or Internet Payment Service Provider
(IPSP) processes illegal Transactions.

ID#: 111011-010410-0002465



Prohibition against Illegal Transactions and Brand Damaging Activities (Updated)

Effective 1 June 2011 through 30 June 2011, an Acquirer may be subject to corrective actions or
fines, as specified in "Visa Right to Fine," if its Merchant Outlet, Agent, or Internet Payment Service
Provider (IPSP) processes illegal Transactions or other prohibited Transactions, as specified in
“Brand Protection.”

Effective 1 July 2011, an Acquirer may be subject to corrective actions or fines, as specified in
"Visa Right to Fine," if its Merchant Outlet, Agent, or Payment Service Provider processes illegal
Transactions or other prohibited Transactions, as specified in "Brand Protection."

ID#: 111011-010611-0026363



Prohibition against and Penalties for Illegal Cross-Border Transaction Activity
(Updated)

Effective through 31 May 2011, an Acquirer is subject to the penalties specified in the table below
for failure to take appropriate action if a Merchant is identified by Visa as engaging in illegal cross-
border Transaction activity.


    Acquirer Penalties for Merchants Engaging in Illegal Cross-Border Transaction Activity

                  Violation                                 Month                       Visa Action or Fine

    Warning                                   First month in a 12-month period   Warning letter requesting
                                                                                 response with specific date for
                                                                                 correction

    Uncorrected Violation                     Second month in a 12-month         US $25,000 fine per Merchant,
                                              period                             Merchant URL, Sponsored
                                                                                 Merchant, or Sponsored
                                                                                 Merchant URL identified




18 October 2011                                    VISA PUBLIC                                                     765
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15               Page: 803 of 1319
                                                   PageID #: 3996
                                    Visa International Operating Regulations


                  Violation                                 Month                       Visa Action or Fine

      Uncorrected Violation                   Third month in a 12-month period   US $50,000 fine per Merchant,
                                                                                 Merchant URL, Sponsored
                                                                                 Merchant, or Sponsored
                                                                                 Merchant URL identified

      Uncorrected Violation                   Fourth month in a 12-month         Visa may permanently disqualify
                                              period                             the Merchant, Sponsored
                                                                                 Merchant, or IPSP from
                                                                                 participation in the Visa Program

      Uncorrected Violation                   Fifth month in a 12-month period   Visa may prohibit the Acquirer
                                                                                 from contracting with a new
                                                                                 Merchant for a period of 1 year, or
                                                                                 some other sanction

ID#: 111011-010410-0001294



Small Ticket Transaction Risk Management - LAC Region

Effective through 15 October 2010, in the event that participation by an LAC Acquirer or its
Merchant in the Small Ticket Service represents a severe economic risk situation for the payment or
banking system, Visa reserves the right to prohibit the processing of Small Ticket Transactions by the
Acquirer and/or any of its Merchants that are presenting problems.

ID#: 081010-010410-0003987



Acquirer Responsibility for Merchants - U.S. Region

A U.S. Acquirer that receives notice, or otherwise becomes aware, of the potential or actual
bankruptcy of, or any regulatory proceedings involving, one of its Merchants, must:

• Monitor those proceedings in order to ensure that no legal relief is being sought that would interfere
  with the Chargeback process
• If such relief is being sought, to the best of its ability, oppose that relief
• Notify Visa as soon as possible but no later than close of business on the next business day
  following such discovery

An Acquirer that fails to comply with the requirements of "Acquirer Responsibility for Visa
Transactions - U.S. Region" is subject to a penalty X, termination of its membership, or both.

ID#: 111011-010410-0008114



Merchant Diversification Requirements - U.S. Region

A U.S. Acquirer must maintain the minimum level of Merchant diversification specified by Visa.




766                                                VISA PUBLIC                                     18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 804 of 1319
                                               PageID #: 3997
                                    Visa International Operating Regulations



Visa considers a Merchant trading under a single, common Trade Name as one Merchant for
purposes of determining whether the Acquirer meets the diversification requirements.

ID#: 010410-010410-0008115



Acquirer Risk Requirements - U.S. Region

A U.S. Acquirer must comply with the requirements of the Visa Acquirer Risk Program Standards
Guide.

ID#: 050411-010410-0002107



Third Party Monitoring - U.S. Region

A U.S. Acquirer must:

• Review and monitor the performance of the activity of each of its Third Parties on a quarterly basis
• Submit to Visa an enhanced quarterly Third Party report

ID#: 010410-010410-0002109



Acquirer Responsibility for Agents and Merchants - U.S. Region

A U.S. Acquirer must:

• Provide its Agents with the training and education, as specified by Visa, and ensure that Agents are
  well versed on the Member's corporate policies and remain in compliance with those policies
• Hold and control reserves that are accumulated and derived from the Merchant settlement funds or
  used to guarantee a Merchant's payment system obligations to the Member

ID#: 010410-010410-0002110



Merchant Agreement Requirements - U.S. Region

A U.S. Acquirer must:

• Consent to the assignment and/or transfer of a Merchant Agreement to another Member
• Implement a policy and procedures for reviewing Merchant Agreements used by its Agents
• Ensure that all Merchant Agreements are approved by the Member before entering any
  Transaction into Interchange, as specified in the Merchant Agreement requirements in the U.S.
  Regional Operating Regulations
• Stipulate a clause in the Merchant Agreement that:
  – Provides for the immediate termination of a Merchant for any significant circumstances that
    create harm or loss of goodwill to the Visa system



18 October 2011                                    VISA PUBLIC                                      767
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 805 of 1319
                                                   PageID #: 3998
                                    Visa International Operating Regulations


  – Ensures that the Merchant acknowledges and understands the importance of compliance with
    Visa security requirements, such as those relating to Transaction information, storage, and
    disclosure
  – Requires the Merchant to notify the Acquirer of its use of any Agent that will have any access to
    Cardholder data

An Acquirer must ensure that each Merchant Agreement includes a disclosure page that identifies the
Member and its responsibilities, when an Agent is a party to the agreement, as specified in the Visa
Acquirer Risk Program Standards Guide.

ID#: 050411-010410-0007300



Anti-Money Laundering


Anti-Money Laundering Program Overview

Visa maintains an anti-money laundering program reasonably designed within the context of laws
and regulations applicable to Visa to prevent the Visa system from being used to facilitate money
laundering or the financing of terrorist activities.

ID#: 010410-010410-0003969



Anti-Money Laundering Program Implementation

Consistent with the legal and regulatory requirements applicable to a Member, a Member must
implement and maintain an anti-money laundering program that is reasonably designed to prevent
the use of the Visa system to facilitate money laundering or the financing of terrorist activities.

ID#: 010410-010410-0000652



Anti-Money Laundering Program - Member Requirements

A Member must cooperate with Visa in the administration of the Visa anti-money laundering program,
including, but not limited to:

• Effective 10 March 2011, completing the Anti-Money Laundering/Anti-Terrorist Financing
  Compliance Questionnaire/Certification form when requested by Visa and returning the form within
  the time limit specified by Visa
• Assisting Visa in guarding against Card issuance and Merchant acquiring in circumstances that
  could facilitate money laundering or the financing of terrorist activities
• Identifying circumstances of heightened risk and instituting policies, procedures, controls, or other
  actions specified by Visa to address the heightened risk
• Providing a copy of the Member's anti-money laundering plan if requested by Visa




768                                                VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 806 of 1319
                                               PageID #: 3999
                                    Visa International Operating Regulations


• Ensuring the adequacy of the applicable controls implemented by designated agents of the
  Member

ID#: 111011-010410-0000653



Anti-Money Laundering Requirements - U.S. Region (Updated)

Effective through 9 March 2011, a U.S. Member must:

• Implement and maintain an Anti-Money Laundering Program by:
  – Creating internal policies, procedures, and controls to prevent money laundering and terrorist
    financing
  – Designating a compliance officer to overlook the operations of the program
  – Training employees of the program on an ongoing basis
  – Hiring an independent audit company to monitor the program, as applicable
• In a timely manner, block the Authorization of Cardholder Transactions or terminate all Merchants
  that engage in the following activities:
  – The introduction of illegal funds into the Visa system
  – The laundering of money through the Visa system
  – The financing of terrorist activity through the Visa system
• Accept responsibility for the Anti-Money Laundering Program of any Agent used by the Member in
  connection with its Visa Program
• As requested by Visa, provide an independent assessment of the effectiveness of the Anti-Money
  Laundering Program of the Member or any Agent used by the Member
• Cooperate with Visa in the application of the Anti-Money Laundering Program, including:
  – Assisting Visa in guarding against money laundering and terrorist financing
  – Supplying Visa with a copy of its Anti-Money Laundering Program plan upon request

ID#: 111011-010410-0000648



Anti-Money Laundering Compliance


Anti-Money Laundering Program Compliance (Updated)

If Visa determines that a Member or the Member's designated agent has failed to comply with any
of the requirements specified in "Anti-Money Laundering Program Implementation" and "Anti-Money
Laundering Program - Member Requirements," Visa may, consistent with local law, impose conditions
on or require additional actions of the Member or the designated agent to prevent possible money
laundering or financing of terrorist activities. These actions may include, but are not limited to:

• Implementation of additional policies, procedures, or controls
• Termination of a Merchant Agreement


18 October 2011                                    VISA PUBLIC                                       769
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 807 of 1319
                                                   PageID #: 4000
                                    Visa International Operating Regulations


• Termination of a Cardholder agreement
• Termination of an agent agreement
• Termination of Visa membership
• Effective through 9 March 2011, assessment of fines or penalties
• Effective 10 March 2011, assessment of fines or penalties as specified in "General Fines
  Schedule" and "Member Failure to Return an Anti-Money Laundering/Anti-Terrorist Financing
  Questionnaire Penalties," as applicable
• Other action that Visa in its sole discretion determines to take with respect to the Member or the
  Member's designated agent

ID#: 111011-010410-0000654



Member Failure to Return an Anti-Money Laundering/Anti-Terrorist Financing
Questionnaire Penalties

Effective 10 March 2011, Visa assesses penalties for failure to return a completed Anti-Money
Laundering/Anti-Terrorist Financing Compliance Questionnaire/Certification form, as specified in
"Anti-Money Laundering Program - Member Requirements," as follows:


Penalties for Member Failure to Return a Completed Anti-Money Laundering/Anti-Terrorist
Financing Questionnaire to Visa

      Date                                                                      Fine Amount

      Due date + 1 calendar day to 30 calendar days                             US $500

      Due date + 31 calendar days to 60 calendar days                           US $2,500

      Due date + 61 calendar days to 90 calendar days                           US $5,000

      Due date + 91 calendar days and every 30 calendar days onward             US $10,000

ID#: 111011-100311-0026362



Acquirer Risk Program - U.S. Region


Acquirer Risk Policies - U.S. Region

A U.S. Acquirer must implement an underwriting, monitoring, and control policy for its:

• Merchants
• VisaNet Processors
• Third Parties

The Acquirer must ensure that its policies are approved by its board of directors. Visa may grant a
variance to this requirement.


770                                                VISA PUBLIC                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 808 of 1319
                                               PageID #: 4001
                                    Visa International Operating Regulations



The Acquirer must provide the policies to Visa upon request.

An Acquirer must implement a policy and procedures for reviewing solicitation materials used by its
Agents.

ID#: 010410-010410-0007132



Acquirer Risk Program Review - U.S. Region

In the U.S. Region, as determined by Visa, a Visa-approved entity may conduct a periodic review
of an Acquirer's operations at any time to ensure compliance with the Acquirer Risk Program
requirements.

The U.S. Acquirer must provide a copy of the review report to Visa upon request.

The Acquirer is responsible for the cost of the periodic review.

ID#: 010410-010410-0008053




Compliance Monitoring

Member Activity Monitoring Requirements


Merchant Chargeback Activity Monitoring

An Acquirer must monitor the Chargeback-to-Transaction volume ratio of its Merchants and identify
any Merchant that:

• Receives more than 100 Chargebacks per month
• Exceeds a Chargeback-to-Transaction volume ratio of 3%

ID#: 010410-010410-0002415



Merchant Weekly Activity Monitoring

An Acquirer must do all of the following for each of its Merchants:

• Retain at least the following weekly data:
  – Gross sales volume
  – Average Transaction amount
  – Number of Transaction Receipts
  – Average elapsed time between the Transaction Date of the Transaction Receipt and the
    Endorsement Date or Settlement Date (counting each as one day)


18 October 2011                                    VISA PUBLIC                                     771
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 809 of 1319
                                                   PageID #: 4002
                                    Visa International Operating Regulations


  – Number of Chargebacks
• Collect the data over a period of at least 1 month, beginning 30 calendar days after the Merchant
  Outlet's initial Deposit
• Use the data to determine the Merchant Outlet's normal weekly activity of the categories specified
  above
• Begin with the Merchant Outlet Deposit activity processed on the 31st calendar day from the first
  Deposit
• Adjust the Merchant Outlet's normal weekly activity on a monthly basis, using the previous month's
  activity
• Compare current related data to the normal weekly activity parameters

ID#: 010410-010410-0002416



Merchant Compliance Monitoring

An Acquirer must immediately investigate a Merchant that exceeds the parameters specified in
"Member Activity Monitoring Requirements." The Acquirer must ensure Merchant compliance with
the Visa International Operating Regulations and confirm the existence of risk control procedures by
conducting:

• A physical inspection of the Merchant location
• An audit of the Merchant Website, if applicable

ID#: 010410-010410-0002418



Merchant Exception Reports

An Acquirer must generate exception reports if either the:

• Current weekly Merchant gross sales volume equals or exceeds US $5,000, or local currency
  equivalent, and any of the following exceeds 150% of the normal weekly activity:
  – Number of weekly Transaction Receipt Deposits
  – Gross amount of weekly Deposits
  – Average Transaction amount
  – Number of weekly Chargebacks
• Average elapsed time between the Transaction Date and the Endorsement Date or Settlement
  Date for a Transaction (counting each as one day respectively) exceeds 15 calendar days

ID#: 010410-010410-0002417




772                                                VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 810 of 1319
                                               PageID #: 4003
                                    Visa International Operating Regulations




Acquirer Investigation of Merchant

An Acquirer must investigate any Merchant Outlet appearing on an exception report, as specified
in "Merchant Exception Reports," When the investigation reveals Merchant involvement in illegal
activity, the Acquirer must:

• Cooperate fully with Visa in any investigation, and release all information relative to the Merchant
  upon request
• Take appropriate legal action to minimize losses if the investigation reveals illegal or fraudulent
  activity
• Cooperate with Issuers and law enforcement agencies
• Attempt to make the Merchant responsible for the Transaction
• Hold funds, if possible
• Initiate criminal and civil proceedings against the Merchant, if applicable

ID#: 111011-010410-0002419



Merchant Activity Monitoring Standards Fines and Penalties

An Acquirer that fails to comply with the Merchant Activity Monitoring Standards is subject to the fines
and penalties specified in "General Fines Schedule."

ID#: 010410-010410-0002421



Payment Service Provider and Sponsored Merchant Activity Monitoring (New)

Effective 1 July 2011, an Acquirer must comply with Merchant monitoring standards for each of
its Payment Service Providers (PSP), as specified in "High-Risk Merchant Monitoring." Sponsored
Merchants that exceed Visa thresholds for excessive Chargebacks or Fraud Activity will be subject to
monitoring programs, as specified in "Compliance Monitoring."

Effective 1 July 2011, an Acquirer may delegate Sponsored Merchant underwriting and risk
monitoring to its PSP if the PSP fulfills the above requirements.

ID#: 111011-010711-0026439



Acquirer Compliance Requirements - AP Region

Before accepting Visa Transactions, an AP Acquirer must comply with the Visa International
Operating Regulations. In addition, the Acquirer must:

• Complete a self-audit questionnaire
• Submit the completed self-audit questionnaire to Visa
• Implement prudent industry practices


18 October 2011                                    VISA PUBLIC                                          773
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15       Page: 811 of 1319
                                                   PageID #: 4004
                                    Visa International Operating Regulations



If a review of the self-audit questionnaire identifies areas where the Visa International Operating
Regulations have been violated, or the AP Acquirer failed to establish and implement prudent industry
practices, the Acquirer must provide Visa with an explanation of the corrective actions to be taken
and an implementation schedule.

ID#: 010410-010410-0003982



Acquirer Monitoring Fee - AP Region

An AP Acquirer must pay a quarterly Acquirer monitoring fee, as specified in the Visa Asia Pacific
Fee Guide.

ID#: 081010-010410-0006047



Central Deposit Monitoring Requirements - LAC Region

An LAC Acquirer must conduct an investigation of any Merchant Outlet appearing in a Central
Deposit Monitoring report within 3 calendar days of receipt of the report. If the investigation reveals
Merchant involvement in any of the following, the Acquirer must take the appropriate action, as
specified in this section:

• Illegal activity
• Violation of the Visa International Operating Regulations or Merchant contract
• Activities likely to produce losses to Visa Members

If the Merchant is involved in any of the above activities, the Acquirer must:

• Cooperate with Visa, Issuers, and law enforcement agencies in any investigation
• Release all information regarding the Merchant upon request
• Terminate the Merchant, if appropriate
• Hold funds, if possible and legal
• Initiate criminal or civil proceedings against the Merchant, if applicable
• Take appropriate legal action to minimize losses, if the investigation discloses illegal or fraudulent
  activity

ID#: 010410-010410-0008119



Acquirer Monitoring Program Inspection - LAC Region

Visa may, on a quarterly basis, inspect the LAC Acquirer's and/or Agent's facilities when the quarterly
amount of confirmed purchase fraud exceeds US $100,000 and the quarterly average of confirmed
fraud purchase Transactions as a percentage of purchase sales volume for its affiliated Merchants
exceeds 0.30%.

ID#: 050411-010410-0000577



774                                                VISA PUBLIC                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 812 of 1319
                                               PageID #: 4005
                                    Visa International Operating Regulations




Acquirer Monitoring Program Inspection Costs - LAC Region

Visa will collect from the LAC Acquirer the costs and expenses incurred in connection with all
inspections. The on-site inspection fee is described in the Visa LAC Fee Guide or applicable local fee
guide.

ID#: 050411-010410-0000579



Merchant Chargeback Activity Monitoring - U.S. Region

A U.S. Acquirer must monitor the Chargeback-to-Interchange volume ratio of its Merchants and
identify any Merchant that experiences the following activity levels during any month:

• 100 or more Interchange Transactions
• 100 or more Chargebacks
• A 1% or higher ratio of overall Chargeback-to-Interchange volume

ID#: 010410-010410-0002220



Merchant Weekly Activity Reporting - U.S. Region

A U.S. Acquirer must, at a minimum, do all of the following for each of its Merchants:

• Retain at least the following weekly data:
  – Gross sales volume
  – Average Transaction amount
  – Number of Transaction Receipts
  – Average elapsed time between the Transaction Date of the Transaction Receipt and the
    Acquirer's Processing Date (counting each as one day)
  – Number of Chargebacks
• Collect the data over a period of the month following the Merchant Outlet's initial Deposit
• Use the data to determine the Merchant Outlet's normal weekly activity of the specified categories
• Adjust the Merchant Outlet's normal weekly activity on a monthly basis, using the previous month's
  activity
• Compare current related data to the normal weekly activity parameters

ID#: 010410-010410-0002221



Merchant Exception Reports - U.S. Region

Beginning with the Merchant Outlet Deposit activity processed on the 31st calendar day from the first
Deposit, a U.S. Acquirer must generate unusual activity reports if either of the following occurs:


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                                                   PageID #: 4006
                                    Visa International Operating Regulations


• Current weekly gross sales volume equals or exceeds US $5,000 and any of the following meets or
  exceeds 150% of the normal weekly activity:
  – Number of weekly Transaction Receipt Deposits
  – Gross amount of weekly Deposits
  – Average Transaction amount
  – Number of weekly Chargebacks
• Average elapsed time between the Transaction Date and the Acquirer's Processing Date for a
  Transaction (counting each as one day) exceeds 15 calendar days

ID#: 010410-010410-0002223



Internet Payment Service Provider and Sponsored Merchant Activity Monitoring - U.S.
Region (Updated)

Effective through 30 June 2011, a U.S. Acquirer must comply with Merchant monitoring standards
for each Internet Payment Service Provider, as specified in "High-Risk Telemarketing Merchant
Monitoring - U.S. Region."

Sponsored Merchants that exceed Visa thresholds for excessive Chargebacks, as specified in
"Merchant Chargeback Monitoring Program - U.S. Region" and Fraud Activity, as specified in "Risk
Identification Service Online Fines - U.S. Region," and "Excessive Fraud Activity Notification -
U.S. Region," for more than three months will be subject to RIS Online and Merchant Chargeback
Monitoring Programs.

ID#: 111011-010410-0003940



Chargeback Monitoring


Global Merchant Chargeback Monitoring Program Overview

Visa monitors Merchant Outlets and Acquirers that generate an excessive level of international
Chargebacks through the Global Merchant Chargeback Monitoring Program as noted below.
Disputes related to Chargeback Reason Code 93, "Merchant Fraud Performance Program," are
excluded from program monitoring.

A Merchant Outlet is identified in the Global Merchant Chargeback Monitoring Program if it meets or
exceeds all of the following monthly performance activity levels:

• 200 international Chargebacks
• 200 International Transactions
• 2% ratio of international Chargebacks to International Transactions

An Acquirer is identified in the Global Merchant Chargeback Monitoring Program if it meets or
exceeds all of the following monthly performance activity levels:




776                                                VISA PUBLIC                        18 October 2011
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                                               PageID #: 4007
                                    Visa International Operating Regulations


• 500 international Chargebacks
• 500 International Transactions
• 1.5% ratio of international Chargebacks to International Transactions
• One or more Merchants in the program during the reporting month

Visa may modify or create new monthly performance levels to respond to different Chargeback and
fraud trends that emerge.

Additional operational details regarding the program are specified in the Visa Global Merchant
Chargeback Monitoring Program (GMCMP) Program Guide.

ID#: 111011-010410-0006039



Global Merchant Chargeback Monitoring Program Handling Fees

Visa assesses an Acquirer a Chargeback handling fee of US $100 for each international Chargeback
received for each identified Merchant Outlet once the Merchant has been placed in the Global
Merchant Chargeback Monitoring Program.

Visa collects the Chargeback handling fee from the Acquirer and disburses US $70 to the Issuer that
initiated the Chargeback through the Visa Integrated Billing Statement. Visa retains the balance as an
administration fee.

If the Acquirer and Merchant have not implemented procedures to reduce Chargebacks, Visa
may assess the Acquirer an increased Chargeback handling fee not exceeding US $200 for each
international Chargeback received for its Merchant.

Visa may, at its discretion, assess the Acquirer Chargeback handling fees for Trailing Chargeback
Activity that occurs up to 4 months after Merchant termination, regardless of sales volume.

ID#: 111011-010410-0008120



Global Merchant Chargeback Monitoring Program Fees and/or Fines - Visa Rights
(Updated)

Visa may assess, suspend, or waive fees and/or fines, in whole or in part, to accommodate unique
or extenuating circumstances. Global Merchant Chargeback Monitoring Program fees and/or fines
will no longer be assessed once the Merchant has met acceptable performance levels; however,
fees and/or fines may continue to be assessed, or a Merchant may be prohibited from participating
in the Visa Program, as specified in the "High-Risk Merchants in the Global Merchant Chargeback
Monitoring Program - Acquirer Penalties" table or "Visa Right to Terminate Merchant, Payment
Service Provider, or Sponsored Merchant," if Visa determines that the Merchant is causing undue
economic hardship to the Visa system as a result of high dispute volumes.

ID#: 111011-010410-0001877




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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15                 Page: 815 of 1319
                                                   PageID #: 4008
                                    Visa International Operating Regulations




Global Merchant Chargeback Monitoring Program Penalties

Visa assesses Global Merchant Chargeback Monitoring Program penalties to the Acquirer, as
described in the following tables.


 Penalties for Global Merchant Chargeback Monitoring Program - Merchant-Level Thresholds

                               Event                                              Visa Action/Fee

      1. Merchant Outlet meets or exceeds the                    • Workout Period1
      Chargeback activity thresholds, as specified
      in “Global Merchant Chargeback Monitoring                  • No fee
      Program Overview,” in months 1-3 (month 1 = initial
      notification)

      2. Merchant Outlet meets or exceeds the                    • US $100 per international Chargeback for every
      Chargeback activity thresholds, as specified in              month the Merchant meets or exceeds the
      “Global Merchant Chargeback Monitoring Program                                 2
                                                                   program thresholds
      Overview,” in months 4-9
                                                                 • If the Acquirer and Merchant have not
                                                                   implemented procedures to reduce Chargebacks,
                                                                   Visa may assess the Acquirer a fee of US $200
                                                                   for each international Chargeback received for its
                                                                             2
                                                                   Merchant

      3. Merchant Outlet meets or exceeds the                    • US $100 per international Chargeback for every
      Chargeback activity thresholds, as specified in              month the Merchant meets or exceeds the
      “Global Merchant Chargeback Monitoring Program                                 2
                                                                   program thresholds
      Overview,” beyond month 9
                                                                 • If the Acquirer and Merchant have not
                                                                   implemented procedures to reduce Chargebacks,
                                                                   Visa may assess the Acquirer a fee of US $200
                                                                   for each international Chargeback received for its
                                                                             2
                                                                   Merchant
                                                                 • Acquirer is eligible for US $25,000 review fee
                                                                 • Visa may initiate Merchant disqualification
                                                                   processes against a Merchant Outlet and/or its
                                                                   principals

      1.   Effective through 31 May 2011, the Workout period is not applicable for Acquirer-level thresholds or
           High-Risk Merchants, as specified in "High-Risk Merchant Category Codes."
           Effective 1 June 2011, the Workout Period is not applicable for Acquirer-level thresholds, High-Risk
           Merchants or High-Brand Risk Merchants, as specified in “High-Brand Risk Merchant Category Codes.”
      2.   Visa allocates US $70 of each fee to the Issuer via a Funds Disbursement.




778                                                VISA PUBLIC                                      18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                   Page: 816 of 1319
                                               PageID #: 4009
                                    Visa International Operating Regulations



 Penalties for Global Merchant Chargeback Monitoring Program - Acquirer-Level Thresholds

                               Event                                              Requirements/Fine

    1. Acquirer meets or exceeds the Chargeback                  US $25,000 for every month the Acquirer meets or
    activity thresholds as specified in “Global Merchant         exceeds the program thresholds
    Chargeback Monitoring Program Overview”

    2. Acquirer meets or exceeds the Chargeback                  US $50,000 for every month the Acquirer meets or
    activity thresholds, as specified in “Global Merchant        exceeds the program thresholds
    Chargeback Monitoring Program Overview,” more
    than 3 times in a rolling 12-month period

    3. Acquirer meets or exceeds the Chargeback                  • US $100,000 for each subsequent month the
    activity thresholds, as specified in “Global Merchant          threshold is met or exceeded
    Chargeback Monitoring Program Overview,” more
    than 6 times in a rolling 12-month period                    • Acquirer is eligible for the imposition of Risk
                                                                   Reduction Procedures as specified in “Member
                                                                   Risk Reduction Requirements”
                                                                 • Visa may apply additional fines for repetitive
                                                                   or willful violations, as specified in “Repetitive
                                                                   Violations” and “Willful Violations”

ID#: 151011-010610-0025677



Global Merchant Chargeback Monitoring Program - Revocation of Workout Period

Visa may, at its discretion, revoke the Workout Period of a Merchant in the Global Merchant
Chargeback Monitoring Program if Visa deems that the Merchant’s activities may cause undue harm
to the goodwill of the Visa payment system.

ID#: 111011-010610-0025678



Global Merchant Chargeback Monitoring Program - Merchant Status

A Merchant that changes Acquirers while in the Global Merchant Chargeback Monitoring Program will
be assigned the equivalent status in the program with the new Acquirer.

ID#: 111011-010610-0025679



Global Merchant Chargeback Monitoring Program - Data Quality Compliance
(Updated)

To enable valid Global Merchant Chargeback Monitoring Program identifications, an Acquirer must:

• Ensure Merchant names and Merchant data are identified in accordance with the Visa Merchant
  Data Standards Manual
• Provide complete and accurate Authorization and Settlement data




18 October 2011                                    VISA PUBLIC                                                          779
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 817 of 1319
                                                   PageID #: 4010
                                    Visa International Operating Regulations



If Visa determines that an Acquirer or its Merchant changed, modified, or altered the Merchant name
or Merchant data in any way to circumvent the Global Merchant Chargeback Monitoring Program,
Visa may:

• Assess a fine of US $10,000 per Merchant, per month, to the Acquirer
• Permanently disqualify the Merchant and its principals from participating in the Visa Program

For the purposes of administering Merchant compliance under the Global Merchant Chargeback
Monitoring Program, if an Acquirer submits Interchange for a single Merchant Outlet under multiple
names, Visa may:

• Group the Merchant activity
• Notify the Acquirer of the Interchange grouping

Effective 1 June 2011 through 30 June 2011, Visa may evaluate Internet Payment Service Provider
(IPSP) performance either by aggregating all Interchange activity together or at the Sponsored
Merchant level.

Effective 1 July 2011, Visa may evaluate Payment Service Provider performance either by
aggregating all Interchange activity together or at the Sponsored Merchant level.

ID#: 111011-010610-0025680



Merchant Chargeback Monitoring Program - U.S. Region

Visa monitors the total volume of U.S. Domestic and International Interchange and Chargebacks for a
single Merchant Outlet and identifies U.S. Merchants that experience all of the following activity levels
during any month:

• 100 or more interchange transactions
• 100 or more Chargebacks
• A 1% or higher ratio of overall Chargeback-to-Interchange volume

For the purposes of the U.S. Merchant Chargeback Monitoring Programs, if an Acquirer submits
Interchange for a single Merchant Outlet under multiple names, Visa:

• Groups the Merchant activity
• Notifies the respective Acquirer of the Interchange grouping

ID#: 081010-010410-0008123




780                                                VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                   Page: 818 of 1319
                                               PageID #: 4011
                                    Visa International Operating Regulations




Merchant Chargeback Monitoring Program - Merchant Region - U.S. Region

A Merchant Outlet that moves to the U.S. Region at the time that it is in another Visa Region's
Chargeback monitoring program will be assigned the equivalent status in the U.S. Region's
comparable Chargeback monitoring program.

ID#: 010410-010410-0002352



Merchant Chargeback Monitoring Program - Acquirer Requirements - U.S. Region

Within 10 calendar days of receipt of a Notification that a Merchant Outlet has met or exceeded the
thresholds specified in "Merchant Chargeback Monitoring Program - U.S. Region," a U.S. Acquirer
must:

• Notify the Merchant
• Provide Visa with the specific information requested

ID#: 010410-010410-0002356



Merchant Chargeback Monitoring Program Fees - U.S. Region

Visa assesses Merchant Chargeback Monitoring Program fees to a U.S. Acquirer, as described in the
table below.


                      Merchant Chargeback Monitoring Program Fees - U.S. Region

                               Event                                               Requirements/Fee

    1. U.S. Merchant Outlet meets or exceeds the                 Initial Notification - month 0
    Chargeback activity thresholds specified in
                                                                 • No fee
    "Merchant Chargeback Monitoring Program - US
    Region"

    2. U.S. Merchant Outlet continues to meet or exceed          Notification - month 1
    the Chargeback activity thresholds for the month
                                                                 • US $5,000 for failure to return completed
    following initial Notification
                                                                   documentation within 10 calendar days of the
                                                                   Notification letter date
                                                                 • US $1,000 per day until completed
                                                                   documentation is received

    3. U.S. Merchant Outlet continues to meet or exceed          Notification - month 2
    the Chargeback activity thresholds for the second
                                                                 • US $10,000 for failure to respond with an
    month
                                                                   acceptable Chargeback reduction plan within 10
                                                                   calendar days of the Notification letter date
                                                                 • US $1,000 per day until acceptable Chargeback
                                                                   reduction plan is received




18 October 2011                                    VISA PUBLIC                                                    781
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15                  Page: 819 of 1319
                                                   PageID #: 4012
                                    Visa International Operating Regulations


                               Event                                             Requirements/Fee

      4. U.S. Merchant Outlet continues to meet or exceed        • US $50 per Chargeback for every month the
      the Chargeback activity thresholds for months 3, 4,          Merchant continues to meet or exceed the
      and 5                                                                              1
                                                                   Chargeback thresholds

      5. U.S. Merchant Outlet continues to meet or exceed        • US $100 per Chargeback for every month the
      the Chargeback activity thresholds for months 6 and          Merchant continues to meet or exceed the
      7                                                                                  2
                                                                   Chargeback thresholds

      6. U.S. Merchant Outlet continues to meet or exceed        • US $25,000 review fee
      the Chargeback activity thresholds for months 8 and
      9                                                          • US $100 per Chargeback for every month the
                                                                   Merchant continues to meet or exceed the
                                                                                         2
                                                                   Chargeback thresholds

      7. U.S. Merchant Outlet continues to meet or exceed        • US $100 per Chargeback for every month the
      the Chargeback activity thresholds beyond month 9            Merchant continues to meet or exceed the
                                                                                         2
                                                                   Chargeback thresholds
                                                                 • Merchant and its principals eligible for
                                                                   disqualification proceedings, as specified in
                                                                   "Critical Chargeback Levels - U.S. Region"

      1. Visa allocates US $40 of each fee to the Issuer via a Funds Disbursement.
      2. Visa allocates US $90 of each fee to the Issuer via a Funds Disbursement.

ID#: 050411-010410-0003490



Chargeback Activity Fines - U.S. Region

Fines for Chargeback activity may continue to be assessed to a U.S. Acquirer:

• For all Trailing Chargeback Activity that occurs up to 120 calendar days after Transaction
  processing has ceased
• Equivalent to the penalties being assessed to the Acquirer, as specified in "Merchant Chargeback
  Monitoring Program Fees - U.S. Region," at the time Transaction processing ceased

ID#: 010410-010410-0002358



Merchant Chargeback Monitoring Program - Merchant Disqualification - U.S. Region

If a U.S. Merchant Outlet continues to meet or exceed the Chargeback thresholds beyond the periods
specified in "Merchant Chargeback Monitoring Program Fees - U.S. Region," Visa may permanently
disqualify the Merchant from participating in the Visa Program. Visa notifies both the Acquirer and
Merchant of the disqualification and its effective date.

ID#: 010410-010410-0002359




782                                                VISA PUBLIC                                       18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 820 of 1319
                                               PageID #: 4013
                                    Visa International Operating Regulations




Critical Chargeback Levels - U.S. Region

If a U.S. Merchant Outlet demonstrates a critical level of Chargeback-to-Interchange volume at any
time during a given month, Visa may require the U.S. Acquirer to terminate the Merchant Agreement.

ID#: 010410-010410-0002360



Acquirer Chargeback Monitoring Program - U.S. Region

Visa monitors the total volume of U.S. Domestic and International Interchange and Chargebacks for
any U.S. Acquirer that experiences all the following activity levels during any month:

• 500 or more interchange transactions
• 500 or more Chargebacks
• A 1% or higher ratio of overall Chargeback-to-Interchange volume

ID#: 050411-010410-0002361



Acquirer Processing Activity Review - U.S. Region

For any U.S. Acquirer that has 3 or more Merchants in the Chargeback monitoring programs for 6
consecutive months, Visa may conduct a review of the U.S. Acquirer's and/or Merchants' Visa Card-
related processing activities:

• A senior officer of the Acquirer, as determined by Visa, is required to be present during the review
  process
• The Acquirer must take action on all recommendations resulting from the review, as directed by
  Visa

ID#: 010410-010410-0002368



Acquirer Chargeback Monitoring Program Penalties - U.S. Region

If Visa suspects that a U.S. Acquirer has terminated a Merchant Agreement and knowingly entered
into a new Merchant Agreement with the same Merchant under a different name, with the intent to
circumvent the provisions of the "Acquirer Chargeback Monitoring Program - U.S. Region," Visa:

• Assesses a fine, 60 calendar days after Acquirer Notification, as specified in "Acquirer Chargeback
  Monitoring Program Fees - U.S. Region" table
• May permanently disqualify the Merchant and its principals from participating in the Visa Program

The Acquirer may appeal to Visa during the 60-calendar-day period. If the Acquirer appeals, the
Acquirer must provide evidence to disprove the suspected activity.

ID#: 010410-010410-0008129




18 October 2011                                    VISA PUBLIC                                      783
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15                  Page: 821 of 1319
                                                   PageID #: 4014
                                    Visa International Operating Regulations




Acquirer Chargeback Monitoring Program Fees - U.S. Region

Visa assesses Acquirer Chargeback Monitoring Program fees to a U.S. Acquirer, as described in the
following table.


                       Acquirer Chargeback Monitoring Program Fees - U.S. Region

                               Event                                             Requirements/Fee

      1. Acquirer knowingly attempts to circumvent the           US $25,000 assessed 60 calendar days after
      provisions of "Acquirer Chargeback Monitoring              Notification to the Acquirer
      Program - U.S. Region"

      2. Acquirer meets or exceeds the Chargeback                US $25,000
      activity thresholds specified in "Acquirer Chargeback
      Monitoring Program - U.S. Region"

      3. Acquirer meets or exceeds the Chargeback                US $100,000 for each subsequent month that either
      activity thresholds more than 3 times in a rolling 12-     threshold is exceeded
      month period

      4. Acquirer has had 3 or more Merchants in the             Daily review fee of at least US $2,500, with a
      Merchant Chargeback Monitoring Programs for 6              one-week minimum fee of US $17,500, assessed
      consecutive months                                         while a review of the Acquirer's and/or Merchants'
                                                                 Visa Card-related processing activities is being
                                                                 conducted, as specified in "Acquirer Processing
                                                                 Activity Review - U.S. Region"

      5. Acquirer fails to take action on recommendations        US $75,000 minimum
      resulting from a review of the Acquirer's and/or
      Merchants' Visa Card-related processing activities

ID#: 010410-010410-0003491



Global Merchant Chargeback Monitoring Program - U.S. Region

The Acquirer of a U.S. Merchant in the Global Merchant Chargeback Monitoring Program, as
specified in the Visa International Operating Regulations, is subject to the terms of that program for
the Merchant's total volume of U.S. Domestic and International Chargebacks.

ID#: 010410-010410-0002369



Fraud Monitoring


Acquirer Monitoring Program

Visa monitors an Acquirer to determine disproportionate fraud-to-sales ratios.




784                                                VISA PUBLIC                                       18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 822 of 1319
                                               PageID #: 4015
                                    Visa International Operating Regulations



An Acquirer exceeding 3 times the worldwide or regional fraud-to-sales ratio for more than one
quarter will be considered non-compliant and may be subject, but not limited, to the following fines
and penalties:

• Monetary fines specified in the applicable Visa Regional Operating Regulations
• Temporary suspension of contracting with new Merchants
• Termination of membership

ID#: 010410-010410-0008130



Merchant Fraud Performance Program Description

The Merchant Fraud Performance Program measures Merchant Outlet activity and identifies
Merchant Outlets requiring performance improvement when fraud thresholds are met or exceeded,
as specified in the Merchant Fraud Performance Program - Program Guide. If a Merchant Outlet
continues to meet or exceed the fraud performance thresholds:

• The Acquirer will be liable under Chargeback Reason Code 93, "Merchant Fraud Performance
  Program," for fraudulent Transactions at Merchant Outlets in the program
• Visa will apply escalating financial penalties to the Acquirer
• Visa may ultimately disqualify the Merchant Outlet from the Visa payment system

ID#: 111011-010410-0000608



Merchant Fraud Performance Program Compliance

An Acquirer must comply with the Merchant Fraud Performance Program requirements specified in
the Merchant Fraud Performance Program - Program Guide.

ID#: 050411-010410-0002396



Merchant Fraud Performance Program Requirements

An Acquirer must address any fraud exposure attributed to a Merchant Outlet that is identified by
the Merchant Fraud Performance Program within the time period specified in the Merchant Fraud
Performance Program - Program Guide or face possible corrective actions.

ID#: 050411-010410-0001864




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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15                Page: 823 of 1319
                                                   PageID #: 4016
                                    Visa International Operating Regulations




Acquirer Performance Monitoring Program - AP Region

The Acquirer Performance Monitoring Program monitors AP Acquirers to determine disproportionate
fraud-to-sales ratios and identifies Acquirers requiring performance improvements when fraud
thresholds are met or exceeded, as specified in the Visa Acquirer Performance Monitoring Program
Guide - Asia Pacific and Central Europe, Middle East, and Africa. If an Acquirer exceeds the limits
specified in the guide, it may be subject to an on-site Acquirer performance review by Visa.

An AP Acquirer is subject to the penalties specified in the following table for failure to take appropriate
action if it is identified by Visa under the Acquirer Performance Monitoring Program, as specified in
the Visa Acquirer Performance Monitoring Guide - Asia Pacific and Central Europe, Middle East, and
Africa. Visa may review and modify the program thresholds and framework on a periodic basis, based
on current fraud trends.


                Acquirer Performance Monitoring Program Penalty Schedule - AP Region

                             Violation
          (Based on each quarter the Acquirer exceeds                           Visa Action or Fine
             the thresholds after the workout period)

      First violation                                            US $25,000

      Second consecutive violation                               US $50,000

      3 or more consecutive violations                           US $100,000 for every subsequent violation per
                                                                 quarter OR Visa may revoke or suspend the
                                                                 Acquirer's license

ID#: 050411-011008-0008180



Merchant Fraud Performance Program - AP Region

An AP Merchant Outlet is identified in the Merchant Fraud Performance Program if it violates the
Visa International Operating Regulations or if it meets or exceeds monthly international fraud levels
specified in the Visa Asia Pacific Merchant Fraud Performance Program Guide. Visa may modify
or create new monthly performance levels after evaluation of the program's success in identifying
Merchants that cause undue economic hardship or damage to the goodwill of the Visa system.

ID#: 010410-010410-0000612



Domestic Merchant Fraud Performance Program - Canada Region

Canada Members must comply with the requirements of the Canada Region's Domestic Merchant
Fraud Performance Program, as detailed in the Domestic Merchant Fraud Performance User's
Manual (Canada) available at http://www.visainfo.ca.

ID#: 050411-010410-0000616




786                                                VISA PUBLIC                                     18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 824 of 1319
                                               PageID #: 4017
                                    Visa International Operating Regulations




Risk Reduction Assistance - CEMEA Region

Once a CEMEA Member has exceeded risk program parameters, Visa may offer the Member
assistance in implementing risk reduction strategies.

Visa assistance, where deemed necessary, may consist of a CEMEA Member onsite visit and the
provision of a risk reduction recommendations report.

ID#: 010410-010410-0009033



Implementation of Risk Reduction Recommendations - CEMEA Region

CEMEA Members that fail to demonstrate implementation of Visa risk reduction recommendations
and/or remain in violation of Visa risk programs may be subject to a transfer of Transaction financial
liability using Chargeback reason code 93, "Merchant Fraud Performance Program."

ID#: 010410-010410-0002279



Fraud Activity Advices - U.S. Region

A program advice is sent to the U.S. Acquirer for each month that Fraud Activity exceeds all of the
following thresholds:

• 100 or more occurrences of Fraud Activity
• Fraud Activity amount in excess of US $50,000 per month
• Acquirer Fraud Activity-to-sales ratio of 2 to 3 times the average U.S. Fraud Activity-to-sales ratio

ID#: 010410-010410-0002089



Critical Fraud Activity Levels - U.S. Region

Visa may impose any of the following conditions on a U.S. Acquirer whose Fraud Activity-to-sales
ratio is 3 or more times the average U.S. Fraud Activity-to-sales ratio for 3 consecutive months:

• Onsite review by Visa
• Required corrective actions
• Suspension of the Acquirer program
• Termination of membership

ID#: 010410-010410-0002092




18 October 2011                                    VISA PUBLIC                                        787
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15             Page: 825 of 1319
                                                   PageID #: 4018
                                    Visa International Operating Regulations




Acquirer Monitoring Program Onsite Review - U.S. Region

In the U.S. Region, if Visa determines that an onsite review is required, the U.S. Acquirer will be
assessed a review fee of US $2,500, with a one-week minimum fee of US $17,500.

ID#: 010410-010410-0008179



Fraud Activity Alerts - U.S. Region

A program Alert is sent to a U.S. Acquirer for each month that Fraud Activity exceeds all of the
following thresholds:

• 100 or more occurrences of Fraud Activity
• Fraud Activity amount in excess of US $50,000 per month
• Acquirer Fraud Activity-to-sales ratio of 3 or more times the average U.S. Fraud Activity-to-sales
  ratio

Following the receipt of an Acquirer Monitoring Program Alert, the U.S. Acquirer must immediately
implement a remedial plan to reduce its Fraud Activity-to-sales ratio.

Upon receipt of the third consecutive program Alert, the U.S. Acquirer will enter a 3-month Workout
Period.

Visa monitors the effectiveness of the remedial plan during the Workout Period.

ID#: 010410-010410-0009027



Acquirer Monitoring Program Fines - U.S. Region

Beginning the first month after the Workout Period, Visa assesses the following fines if an Acquirer's
monthly Fraud Activity-to-sales ratio exceeds the Acquirer Monitoring Program Alert thresholds:


                      Fines for Excessive Fraud Activity-to-Sales Ratio - U.S. Region

              Month Following Workout Period                                      Fine

                            First month                                        US $25,000

                          Second month                                         US $50,000

                            Third month                                        US $75,000

                 Fourth and subsequent months                                  US $100,000




788                                                VISA PUBLIC                                18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                  Page: 826 of 1319
                                               PageID #: 4019
                                    Visa International Operating Regulations



Until the U.S. Acquirer's Fraud Activity-to-sales ratio remains below the program Alert thresholds
for 3 consecutive months, a fee will be assessed each month the ratio exceeds the program Alert
thresholds.

ID#: 010410-010410-0009029



Acquirer Monitoring Circumvention - U.S. Region

Visa may:

• Impose conditions on a U.S. Acquirer that knowingly acts to circumvent monitoring
• Assess fees, as specified in "Fines for Excessive Fraud Activity-to-Sales Ratio," table to an
  Acquirer that knowingly acts to circumvent monitoring

ID#: 010410-010410-0003489



Excessive Fraud Activity Notification - U.S. Region

A U.S. Acquirer that receives an Excessive Fraud Activity Notification for one of its Merchants enters
a 3-month Workout Period, and is subject to the requirements in the table below.

Within 10 calendar days of receipt of the Notification of fraud activity, the U.S. Acquirer must:

• Notify the Merchant
• Provide Visa with the specific information requested

Fraud Activity thresholds are available from Visa upon request.

An Identified Merchant will enter a remediation program that may last up to 10 months.


                     Risk Identification Service Online Workout Period - U.S. Region

                               Event                                                Requirements

    U.S. Acquirer receives an Excessive Fraud Activity           Initial Excessive Fraud Activity Notification. No fee
    Notification, and enters a 3-month workout period.
                                                                 • Acquirer must complete a "Risk Identification
                                                                   Service Online Questionnaire" and submit it to
                                                                   Visa within 10 days of receipt of the Notification,
                                                                   and take further action as specified above




18 October 2011                                    VISA PUBLIC                                                       789
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15                 Page: 827 of 1319
                                                   PageID #: 4020
                                    Visa International Operating Regulations


                               Event                                               Requirements

      Workout Period                                             Workout Period - month 1. No fee
      U.S. Acquirer receives Excessive Fraud Activity            • Acquirer must submit to Visa a fraud reduction
      Notification(s).                                             plan detailing corrective actions by the 15th
                                                                   of the month following the month in which the
                                                                   initial Excessive Fraud Activity Notification
                                                                   was received. If an acceptable plan is not
                                                                   submitted, the Acquirer immediately enters the
                                                                   fee period, and may be subject to the fee period
                                                                                              1
                                                                   requirements for month 1
                                                                 Workout Period - month 2. No fee
                                                                 • Acquirer evaluates the effectiveness of the
                                                                   fraud reduction plan and makes adjustments, as
                                                                   necessary
                                                                 Workout Period - month 3. No fee
                                                                 • Acquirer continues to evaluate the effectiveness
                                                                   of the fraud reduction plan and makes
                                                                   adjustments, as necessary

      1. If a U.S. Acquirer bypasses the Workout Period and enters the fee period, the fee schedule progresses
      each subsequent month from US $10,000 to US $100,000, according to the increments specified in "Risk
      Identification Service (RIS) Online Fine Schedule - U.S. Region."

ID#: 050411-010410-0008131



Risk Identification Service Online Merchant Name Consolidation - U.S. Region

For the purposes of Risk Identification Service (RIS) Online in the U.S. Region, if Visa determines
that Transactions from a single Merchant are entered into Interchange under multiple names, Visa
may:

• Consolidate the Merchant activity from all names into one
• Designate and monitor the Merchant as an Identified Merchant
• Track and report the consolidated Merchant activity under current RIS Online parameters

ID#: 010410-010410-0003483



Risk Identification Service Online Fines - U.S. Region

Visa assesses the following fines, as specified in the table below, to a U.S. Acquirer after the 3-month
Workout Period, as described in "Excessive Fraud Activity Notification - U.S. Region."




790                                                VISA PUBLIC                                      18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 828 of 1319
                                               PageID #: 4021
                                    Visa International Operating Regulations



                  Risk Identification Service (RIS) Online Fine Schedule - U.S. Region

                    Event                           Requirements/Fine

    Fine Period - month 1
                              1               US $10,000
    Acquirer receives Excessive
                                2
    Fraud Activity Notification

    Fine Period - month 2 or 3                US $25,000
    Acquirer receives Excessive
                                2
    Fraud Activity Notification

    Fine Period - month 4                     US $50,000
    Acquirer receives Excessive
                                2
    Fraud Activity Notification

    Fine Period - month 5                     US $75,000
    Acquirer receives Excessive
                                2
    Fraud Activity Notification

    Fine Period - month 6                     US $100,000
    Acquirer receives Excessive
                                2
    Fraud Activity Notification

    Fine Period - beyond month 6              • US $100,000 per month
    Acquirer receives subsequent              • Merchant and its principal(s)
    Excessive Fraud Activity                    eligible for disqualification
                    2
    Notification(s)                             proceedings, as specified in
                                                "Critical Chargeback Levels -
                                                U.S. Region"

    1. The Risk Identification Service Online remediation process,
    including Notification requirements, is described in "Excessive Fraud
    Activity Notification - U.S. Region."
    2. An Identified Merchant must remain below RIS Online Notification
    thresholds that incur a fine for at least 3 consecutive months for the
    Acquirer to exit the fine period specified in this table.

ID#: 111011-010410-0003481



Merchant Fraud Activity Monitoring - Merchant Region - U.S. Region

A U.S. Merchant Outlet that is in a Merchant Fraud Activity monitoring program in another Visa region
and moves to the U.S. Region is assigned the equivalent status in the RIS Online Fraud Activity
monitoring program.

ID#: 010410-010410-0001866




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                                                   PageID #: 4022
                                    Visa International Operating Regulations




Critical Merchant Fraud Activity Level - U.S. Region

In the U.S. Region, if an Identified Merchant demonstrates a critical level of Fraud Activity-to-sales
ratio at any time during a given month, Visa may require the Acquirer to terminate the Merchant
Agreement.

ID#: 010410-010410-0001871



Risk Identification Service Online - Merchant Data Alteration - U.S. Region

If Visa determines that a U.S. Acquirer or its Merchant changed, modified, or altered Merchant data
in any way to avoid detection by Risk Identification Service (RIS) Online, Visa may assess a US
$25,000 fee to the Acquirer for each occurrence identified.

ID#: 010410-010410-0003482



Risk Identification Service Online Conditions and Fees - U.S. Region

Visa may:

• Impose conditions on a U.S. Acquirer if any of its Merchants are designated as an Identified
  Merchant by RIS Online
• Assess a daily review fee of at least US $2,500, with a one-week minimum fee of US $17,500, if an
  onsite review is required

ID#: 010410-010410-0003484



High-Brand Risk Merchant Monitoring


High-Brand Risk Merchant Identification (New)

Effective 1 June 2011, Visa may revise the penalties and criteria used to identify a High-Brand Risk
Merchant.

ID#: 111011-010611-0026344



High-Brand Risk Merchant Category Codes (Updated)

A Merchant required to use one of the following Merchant Category Codes is considered high-risk:

• 5962, "Direct Marketing-Travel-Related Arrangement Services"
• 5966, "Direct Marketing-Outbound Telemarketing Merchants"
• 5967, "Direct Marketing-Inbound Telemarketing Merchants"



792                                                VISA PUBLIC                           18 October 2011
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                                               PageID #: 4023
                                    Visa International Operating Regulations


• 7995, "Betting, including Lottery Tickets, Casino Gaming Chips, Off-Track Betting, and Wagers at
  Race Tracks"
• Effective 1 June 2011, 5912, “Drug Stores, Pharmacies”
• Effective 1 June 2011, 5122, “Drugs, Drug Proprietaries, Druggist Sundries”

ID#: 111011-010410-0008137



Global Merchant Chargeback Monitoring Program - High-Brand Risk Merchants -
Penalties

Effective through 31 May 2011, the following table specifies the penalties per international
Chargeback for Acquirers of High-Risk Merchants placed in the Global Merchant Chargeback
Monitoring Program.

Effective 1 June 2011, the following table specifies the penalties per international Chargeback for
Acquirers of High-Brand Risk Merchants placed in the Global Merchant Chargeback Monitoring
Program.


                             High-Brand Risk Merchants in the Global Merchant
                            Chargeback Monitoring Program - Acquirer Penalties

                           Event                            Month                Visa Action or Fee/Fine

    Merchant meets or exceeds the specified              Months 1-3     US $100 per Chargeback per month for
                     1                                                                                 2
    Chargeback ratio                                                    each identified Merchant Outlet

    Merchant meets or exceeds the specified              Months 4-6     US $150 per Chargeback per month for
                     1                                                                                 2
    Chargeback ratio                                                    each identified Merchant Outlet

    Merchant meets or exceeds the specified              Month 7 and    US $150 per Chargeback per month for
    Chargeback ratio
                     1                                   subsequent                                     2
                                                                        each identified Merchant Outlet and
                                                         months         Visa may disqualify the Merchant from
                                                                        participation in the Visa Program

    Merchant meets or exceeds the specified                             Visa may disqualify the Merchant from
                      1
    Chargeback ratio without an effective                Single         participation in the Visa Program
    Chargeback reduction plan, and 2 of the              month
    following levels of Chargeback activity are          Single
    reached:                                             month
                                                         When
    • Merchant's Chargeback ratio is 2 or more
                                                         reached
      times the specified Chargeback ratio
    • Merchant is assessed fees for 3,000 or
      more Chargebacks
    • Merchant is assessed US $1 million or
      more in Global Merchant Chargeback
      Monitoring Program fees




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                                                   PageID #: 4024
                                    Visa International Operating Regulations


                           Event                            Month               Visa Action or Fee/Fine

      Effective through 31 May 2011, Acquirer            When           US $25,000 per Merchant per month
      does not identify a High-Risk Merchant with        violation
      the correct Merchant Category Code, as             occurs
      specified in "High-Risk Merchant Category
      Codes"
      Effective 1 June 2011, Acquirer does
      not identify a High-Brand Risk
      Merchant with the correct Merchant
      Category Code, as specified in "High-
      Brand Risk Merchant Category Codes"

      1.   The Chargeback ratio threshold is 2%.
      2.   Effective 1 June 2010, if the Acquirer and Merchant have not implemented procedures to reduce
           Chargebacks, Visa may assess the Acquirer a fee of US $200 for each international Chargeback
           received for its Merchant.

ID#: 111011-010410-0001289



High-Risk Telemarketing Merchants - Acquirer Requirements (Updated)

Effective through 31 May 2011, an Acquirer must do all of the following for each of its High-Risk
Telemarketing Merchants:

• Retain at least the following daily data:
  – Gross sales volume
  – Average Transaction amount
  – Number of Transaction Receipts
  – Average elapsed time between the Transaction Date of the Transaction Receipt and the
    Settlement Date (counting each as one day)
  – Number of Chargebacks
• Collect the data over a period of at least one month, beginning after each Merchant's initial Deposit
• Use the data to determine the Merchant's normal daily activity of the categories specified in this
  section
• Begin the daily monitoring of the Merchant's activity processed on the 31st calendar day from the
  first Deposit
• Compare current related data to the normal daily activity parameters at least daily
• Review the Merchant's normal daily activity at least weekly, using the previous week's activity
• Adjust the Merchant's normal daily activity at least monthly, using the previous month's activity

ID#: 111011-010410-0002422




794                                                VISA PUBLIC                                   18 October 2011
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                                               PageID #: 4025
                                    Visa International Operating Regulations




High-Risk Telemarketing Merchant Exception Reports (Updated)

Effective through 31 May 2011, an Acquirer must generate High-Risk Telemarketing Merchant
exception reports daily and report any unusual activity to Visa within 2 business days, if either:

• Current weekly gross sales volume equals or exceeds US $5,000 or local currency equivalent, and
  any of the following exceeds 150% of the normal daily activity:
  – Number of daily Transaction Receipt Deposits
  – Gross amount of daily Deposits
  – Average Transaction amount
  – Number of daily Chargebacks
• Average elapsed time between the Transaction Date and the Endorsement Date or Endorsement
  Date and Settlement Date for a Transaction (counting each as one day respectively) exceeds 15
  calendar days

ID#: 111011-010410-0002423



High-Risk Telemarketing Merchant Investigation (Updated)

Effective through 31 May 2011, an Acquirer must investigate any Merchant appearing on a High-
Risk Telemarketing Merchant exception report within one business day of generating the report.
When the investigation reveals Merchant involvement in illegal or fraudulent activity, the Acquirer
must:

• Cooperate fully with Visa in any investigation, and release all information relative to the Merchant
  upon request
• Take appropriate legal action to minimize losses
• Cooperate with Issuers and law enforcement agencies
• Attempt to make the Merchant responsible for the Transaction
• Hold funds, if possible
• Initiate criminal and civil proceedings against the Merchant, if applicable

ID#: 111011-010410-0002424



High-Risk Telemarketing Merchant Monitoring Standards (Updated)

Effective through 31 May 2011, Visa will determine whether an Acquirer has met the High-
Risk Telemarketing Merchant monitoring standards specified in the Visa International Operating
Regulations.

At the request of Visa, the Acquirer must provide both of the following to demonstrate compliance:

• Copies of actual reports or records used to monitor the Merchant's Deposits



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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 833 of 1319
                                                   PageID #: 4026
                                    Visa International Operating Regulations


• Any other data requested by Visa

ID#: 111011-010410-0005860



High-Brand Risk Merchants - Acquirer Requirements (New)

Effective 1 June 2011, for each of its High-Brand Risk Merchants an Acquirer must:

• Retain at least the following daily data:
  – Gross sales volume
  – Average Transaction amount
  – Number of Transaction Receipts
  – Average elapsed time between the Transaction Date of the Transaction Receipt and the
    Settlement Date (counting each as one day)
  – Number of Chargebacks
• Collect the data over a period of at least one month, beginning after each Merchant's initial Deposit
• Use the data to determine the Merchant's normal daily activity of the categories specified in this
  section
• Begin the daily monitoring of the Merchant's activity processed on the 31st calendar day from the
  first Deposit
• Compare current related data to the normal daily activity parameters at least daily
• Review the Merchant's normal daily activity at least weekly, using the previous week's activity
• Adjust the Merchant's normal daily activity at least monthly, using the previous month's activity

ID#: 111011-010611-0026340



High-Brand Risk Merchant Exception Reports (New)

Effective 1 June 2011, an Acquirer must generate High-Brand Risk Merchant exception reports daily
and report any unusual activity to Visa within 2 business days, if either:

• Current weekly gross sales volume equals or exceeds US $5,000 or local currency equivalent, and
  any of the following exceeds 150% of the normal daily activity:
  – Number of daily Transaction Receipt Deposits
  – Gross amount of daily Deposits
  – Average Transaction amount
  – Number of daily Chargebacks
• Average elapsed time between the Transaction Date and the Endorsement Date or Endorsement
  Date and Settlement Date for a Transaction (counting each as one day respectively) exceeds 15
  calendar days

ID#: 111011-010611-0026341




796                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 834 of 1319
                                               PageID #: 4027
                                    Visa International Operating Regulations




High-Brand Risk Merchant Investigation (New)

Effective 1 June 2011, an Acquirer must investigate any Merchant appearing on its High-Brand Risk
Merchant exception report within 1 business day of generating the report. When the investigation
reveals Merchant involvement in illegal or fraudulent activity, the Acquirer must:

• Cooperate fully with Visa in any investigation, and release all information relative to the Merchant
  upon request
• Take appropriate legal action to minimize losses
• Cooperate with Issuers and law enforcement agencies
• Attempt to make the Merchant responsible for the Transaction
• Hold funds, if possible
• Initiate criminal and civil proceedings against the Merchant, if applicable

ID#: 111011-010611-0026342



High-Brand Risk Merchant Monitoring Standards (New)

Effective 1 June 2011, Visa will determine whether an Acquirer has met the High-Brand Risk
Merchant monitoring standards, as specified in the Visa International Operating Regulations and the
Visa Global Acquirer Risk Standards.

At the request of Visa, the Acquirer must provide the following within 7 calendar days to demonstrate
compliance:

• Copies of actual reports or records used to monitor the Merchant's Deposits
• Any other data requested by Visa

ID#: 111011-010611-0026343



High-Risk Electronic Commerce Authentication Requirements (Updated)

Visa may impose security or authentication requirements on a Merchant considered to be a High-
Risk Electronic Commerce Merchant. An Electronic Commerce Merchant is considered high-risk if it
is identified by either:

• The Global Merchant Chargeback Monitoring Program or regional equivalent, and has not
  demonstrated a reduction in the number of disputes generated by its online business
• Other Visa risk management programs

ID#: 111011-010410-0002430




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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 835 of 1319
                                                   PageID #: 4028
                                    Visa International Operating Regulations




Acquirer Risk Management Review

An Acquirer causing undue economic hardship to the Visa system is subject to a risk management
review. An Acquirer is deemed to cause undue economic hardship if it has 3 or more Merchants in
the Global Merchant Chargeback Monitoring Program for 5 months during a consecutive 6-month
period.

Before the imposition of mandatory risk control measures, Visa will allow an Acquirer at least 3
months from the date of Notification to correct the deficiencies identified during the risk management
review. Mandatory risk control measures may include, but are not limited to:

• Logical or physical security controls, such as:
  – Installation of firewalls
  – Encryption of Account Number information
• Required use of the Address Verification Service, where available
• Implementation of an Authentication Method
• Required use of commercially available Transaction screening tools

ID#: 010410-010410-0008141



Acquirer Risk Control Measures

Mandatory risk control measures specified in "Acquirer Risk Management Review" must be
implemented within 6 months of Notification.

If the risk control measures are not implemented, the Acquirer will be subject to a monthly fine of US
$25,000, or until either of the following occurs:

• Merchant no longer exceeds the parameters specified in "High-Risk Electronic Commerce
  Merchant Requirements"
• Mandatory risk control measures are implemented

ID#: 010410-010410-0005861



Electronic Commerce Requirements - Acquirer Compliance

Visa may conduct a risk management review of Acquirer practices to determine compliance with Visa
electronic commerce requirements. The Acquirer is responsible for the cost of this review.

Visa may perform an additional risk management review to determine Acquirer compliance after 6
months.

ID#: 010410-010410-0005862




798                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 836 of 1319
                                               PageID #: 4029
                                    Visa International Operating Regulations




High-Risk Electronic Commerce Merchant Identification (Updated)

Visa may revise the penalties and criteria used to identify a High-Risk Electronic Commerce
Merchant.

ID#: 111011-010410-0002437



High-Risk Merchant and IPSP Registration - LAC Region (Updated)

Effective through 31 May 2011, in the LAC Region, before affiliating with and accepting any
Transaction from a High-Risk Merchant, High-Risk Internet Payment Service Provider, or High-Risk
Sponsored Merchant, each Acquirer, in each jurisdiction, must:

• Assign an exclusive BIN and Settlement Account for the acquiring and settlement of these
  Transactions
• Complete and deliver to Visa a "Regional Registration Form" (Exhibit LA-2) for each entity
• Obtain written confirmation from Visa approving each registration request
• Pay a one-time registration fee for each entity as described in the Visa LAC Fee Guide or
  applicable local fee guide

ID#: 111011-010410-0008934



Member Risk Policies - Acquirer Compliance - LAC Region

Before submitting a "Regional Registration Form" (Exhibit LA-2), an LAC Acquirer must comply with
the applicable Member Risk policies, which may be amended from time to time.

ID#: 010410-010410-0002291



Modifications to High-Risk Regional Registration Form - LAC Region (Updated)

Effective through 31 May 2011, an LAC Acquirer must immediately notify Visa of any changes
to the information on any "Regional Registration Form" (Exhibit LA-2) by submitting a revised form
indicating the change.

ID#: 111011-010410-0002293



High-Risk Chargeback Monitoring Program - U.S. Region (Updated)

Effective through 31 May 2011, Visa monitors the total volume of U.S. Domestic and International
Interchange and Chargebacks for U.S. Merchants specified in "High-Risk Merchant Category Codes"
and identifies Merchants that experience all of the following activity levels during any month:

• 100 or more interchange transactions
• 100 or more Chargebacks


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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15              Page: 837 of 1319
                                                   PageID #: 4030
                                    Visa International Operating Regulations


• A 1.00% or higher ratio of overall Chargeback-to-Interchange volume

For the purposes of the U.S. High-Risk Chargeback Monitoring Program, if a Merchant submits
Interchange under multiple names, Visa:

• Groups the Merchant activity
• Notifies the respective Acquirer of the Interchange grouping

ID#: 111011-010410-0008976



Additional Monitoring of High-Risk Merchants - U.S. Region (Updated)

Effective through 31 May 2011, a U.S. Merchant identified in the Merchant Chargeback Monitoring
Program may be monitored under the terms of the High-Risk Chargeback Monitoring Program if Visa
determines that the Merchant's activities may cause undue harm to the goodwill of the Visa system.

ID#: 151011-010410-0001885



High-Risk Chargeback Monitoring Program - Chargeback Ratios - U.S. Region
(Updated)

Effective through 31 May 2011, if a U.S. Merchant specified in "High-Risk Merchant Category
Codes" meets or exceeds either of the applicable Chargeback ratios specified in "High-Risk
Chargeback Monitoring Program - U.S. Region," Visa sends a Notification to the appropriate U.S.
Acquirer.

Within 15 calendar days of receipt of the Notification, the Acquirer must:

• Notify the Merchant
• Provide Visa with the specific information requested

ID#: 111011-010410-0009005



High-Risk Chargeback Monitoring Program Fees - U.S. Region

Effective through 31 May 2011, Visa assesses High-Risk Chargeback Monitoring Program fees to a
U.S. Acquirer, from the date of Notification, as described in the following table:


                             High-Risk Chargeback Monitoring Program Acquirer
                              Fees - U.S. Region (Effective through 31 May 2011)

                               Event                                           Requirements/Fee

      1. During months 1-3, the Merchant meets or                • US $5,000 review fee month 1
      exceeds the Chargeback activity thresholds
      specified in "High-Risk Chargeback Monitoring              • US $100 per Chargeback months 1-31
      Program - U.S. Region"




800                                                VISA PUBLIC                                    18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                Page: 838 of 1319
                                               PageID #: 4031
                                    Visa International Operating Regulations


                               Event                                            Requirements/Fee

    2. During months 4-6, the Merchant meets or                  • US $150 per Chargeback months 4-62
    exceeds the applicable Chargeback ratios specified
    in (1) above                                                 • US $25,000 review fee month 6

    3. After 6 months in which the Merchant has met or           • Visa may disqualify the Merchant from
    exceeded the Chargeback thresholds specified in                participation in the Visa Program
    "High-Risk Chargeback Monitoring Program - U.S.
    Region"

    4. Acquirer does not:                                        • US $25,000 per Merchant per month
    • Identify a High-Risk Telemarketing Merchant with           • US $100,000 after 3 violations in calendar year
      the correct Merchant Category Code                           and/or prohibition against signing High-Risk
                                                                                             3
    • Register a High-Risk Telemarketing Merchant                  Telemarketing Merchants

    5. Acquirer knowingly signs a disqualified Merchant          • US $250,000 per month until the Acquirer
    or any of the disqualified Merchant's principals                                                 3
                                                                   terminates the Merchant Agreement

    1. Visa allocates US $90 of each fee to the Issuer via a Funds Disbursement.
    2. Visa allocates US $135 of each fee to the Issuer via a Funds Disbursement.
    3. Visa may impose conditions on Acquirers for violations of the U.S. Regional Operating Regulations, up to
    and including termination of the Acquirer program.

ID#: 151011-010410-0003492



High-Brand Risk Chargeback Monitoring Program - U.S. Region

Effective 1 June 2011, Visa monitors the total volume of U.S. Domestic and International
Interchange and Chargebacks for U.S. Merchants specified in "High-Brand Risk Merchant Category
Codes" and identifies Merchants that experience all of the following activity levels during any month:

• 100 or more interchange Transactions
• 100 or more Chargebacks
• A 1.00% or higher ratio of overall Chargeback-to-Interchange volume

For the purposes of the U.S. High-Brand-Risk Chargeback Monitoring Program, if a Merchant submits
Interchange under multiple names, Visa:

• Groups the Merchant activity
• Notifies the respective Acquirer of the Interchange grouping

ID#: 111011-010611-0026367




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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15                 Page: 839 of 1319
                                                   PageID #: 4032
                                    Visa International Operating Regulations




Additional Monitoring of High-Brand Risk Merchants - U.S. Region (New)

Effective 1 June 2011, a U.S. Merchant identified in the Merchant Chargeback Monitoring Program
may be monitored under the terms of the High-Brand Risk Chargeback Monitoring Program if Visa
determines that the Merchant's activities may cause undue harm to the goodwill of the Visa system.

ID#: 111011-010611-0026368



High-Brand Risk Chargeback Monitoring Program - Chargeback Ratios - U.S. Region

Effective 1 June 2011, if a U.S. Merchant specified in "High-Brand Risk Merchant Category
Codes" meets or exceeds either of the applicable Chargeback ratios specified in "High-Brand Risk
Chargeback Monitoring Program - U.S. Region," Visa sends a Notification to the appropriate U.S.
Acquirer.

Within 15 calendar days of receipt of the Notification, the Acquirer must:

• Notify the Merchant
• Provide Visa with the specific information requested

ID#: 111011-010611-0026369



High-Brand Risk Chargeback Monitoring Program Fees - U.S. Region (Updated)

Effective 1 June 2011, Visa assesses High-Brand Risk Chargeback Monitoring Program fees to a
U.S. Acquirer, from the date of Notification, as described in the following table:


           High-Brand -Risk Chargeback Monitoring Program Acquirer Fees - U.S. Region

      Event                                                      Requirements/Fee

      1. During months 1-3, the Merchant meets or                • US $ 5,000 review fee month
      exceeds the Chargeback activity thresholds
      specified in "High-Brand Risk Chargeback                   • US 100 per Chargeback in months 1-31
      Monitoring Program - U.S. Region"

      2. During months 4-6, the Merchant meets or                • US $ 150 per Chargeback in months 4-62
      exceeds the applicable Chargeback ratios specified
      in (1) above                                               • US $ 25,000 review fee in month 6

      3. After 6 months in which the Merchant has met or         • Visa may disqualify the Merchant from
      exceeded the Chargeback thresholds specified in              participation in the Visa Program
      "High-Brand Risk Chargeback Monitoring Program -
      U.S. Region"

      4. Acquirer does not:                                      • US $25,000 per Merchant per month
      • Identify a High-Brand Risk Merchant with the             • US $100,000 after 3 violations in calendar year
        correct Merchant Category Code                             and/or prohibition against signing High-Brand
                                                                                   3
      • Register a High-Brand Risk Merchant                        Risk Merchants



802                                                VISA PUBLIC                                      18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15               Page: 840 of 1319
                                               PageID #: 4033
                                    Visa International Operating Regulations


    Event                                                        Requirements/Fee

    5. Acquirer knowingly signs a disqualified Merchant          • US $250,000 per month until the Acquirer
    or any of the disqualified Merchant's principals                                                 3
                                                                   terminates the Merchant Agreement

    1.    Visa allocates US $90 of each fee to the Issuer via a Funds Disbursement.
    2.    Visa allocates US $135 of each fee to the Issuer via a Funds Disbursement.
    3.    Visa may impose conditions on Acquirers for violations of the U.S. Regional Operating Regulations, up
          to and including termination of the Acquirer program.

ID#: 171011-010611-0026373



High-Risk Telemarketing Merchant Registration - U.S. Region (Updated)

Effective through 30 November 2011, before accepting Transactions from a High-Risk
Telemarketing Merchant, a U.S. Acquirer must submit to Visa a completed "High-Risk Merchant
Registration and Certification" form, which is available through Visa Online or upon request from Visa.

ID#: 111011-010410-0008166



Continuing Chargeback Activity Fines - U.S. Region

Fines for Chargeback activity may continue to be assessed to a U.S. Acquirer:

• For all Trailing Chargeback Activity that occurs up to 120 calendar days after Transaction
  processing has ceased
• Equivalent to the penalties being assessed to the Acquirer, as specified in "High-Risk Chargeback
  Monitoring Program Fees - U.S. Region," at the time Transaction processing ceased

ID#: 010410-010410-0001889



Merchant Disqualification - U.S. Region

Visa may disqualify a U.S. Merchant specified in "High-Risk Merchant Category Codes" from
participating in the Visa Program if the Merchant:

• Meets or exceeds a critical level of Chargeback activity, as determined by Visa
• Acts with the intent to circumvent Visa programs
• Causes harm to the Visa system

Visa will send a Notification to the Acquirer advising:

• The date the Acquirer must stop submitting the disqualified Merchant's Transactions
• Reasons for the disqualification
• Notice of the right to appeal



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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 841 of 1319
                                                   PageID #: 4034
                                    Visa International Operating Regulations



The Acquirer may appeal the disqualification as follows:

• The Acquirer's appeal letter must be received by Visa within 15 days of the Acquirer's receipt of the
  disqualification Notification
• The Acquirer must pay a US $5,000 non-refundable fee and include it with the appeal letter
• The evidence and arguments for the appeal must be submitted in the appeal letter
• No oral presentations are permitted

ID#: 010410-010410-0005865



High-Risk Telemarketing Merchant Monitoring - U.S. Region (Updated)

Effective through 30 November 2011, a U.S. Acquirer must monitor its High-Risk Telemarketing
Merchants, which are required to be registered with Visa as specified in "High-Risk Telemarketing
Merchant Registration - U.S. Region." An Acquirer of a U.S. High-Risk Internet Payment Service
Provider must:

• Register its High-Risk Sponsored Merchants as High-Risk Telemarketing Merchants
• Monitor its High-Risk Internet Payment Service Providers as specified in the Visa International
  Operating Regulations

ID#: 111011-010410-0003229



High-Risk Telemarketing Merchant Daily Activity Reporting - U.S. Region (Updated)

Effective through 30 November 2011, a U.S. Acquirer must do all of the following for each of its
High-Risk Telemarketing Merchants:

• Retain the following daily data:
  – Gross sales volume
  – Average Transaction amount
  – Number of Transactions
  – Average elapsed time between the Merchant Date of the Merchant Receipt and the Central
    Processing Date (counting each as one day)
  – Number of Chargebacks
• Collect the data over a period of at least 15 calendar days, beginning after each Merchant's initial
  Deposit
• Use the data to determine the Merchant's normal daily activity for each High-Risk Telemarketing
  Merchant category
• Begin daily monitoring of the Merchant's Deposit activity processed on the 15th calendar day from
  the first Deposit
• Compare current related data to the normal daily activity parameters at least daily



804                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 842 of 1319
                                               PageID #: 4035
                                    Visa International Operating Regulations


• Review and adjust the Merchant's normal daily activity at least weekly, using the previous week's
  activity

ID#: 111011-010410-0002097



High-Risk Telemarketing Merchant Unusual Activity Reporting - U.S. Region
(Updated)

Effective through 30 November 2011, for its High-Risk Telemarketing Merchants, a U.S. Acquirer
must generate unusual activity reports daily, and report any unusual activity to Visa within 2 business
days, if either of the following occurs:

• Current weekly gross sales volume equals or exceeds US $5,000 and any of the following exceeds
  150% of the normal daily activity:
  – Number of daily Transaction Receipt Deposits
  – Gross amount of daily Deposits
  – Average Transaction amount
  – Number of daily Chargebacks
• Average elapsed time between the Transaction Date and the Acquirer's Processing Date for a
  Transaction (counting each as one day) exceeds 15 calendar days

ID#: 111011-010410-0002099



High-Risk Telemarketing Merchant Fees and Charges - U.S. Region (Updated)

Effective through 30 November 2011, Visa assesses registration and annual charges for High-Risk
Telemarketing Merchants, as specified in the Visa U.S.A. Fee Guide.

Visa collects the annual charge each 1 September following the registration date.

ID#: 111011-010410-0008935



High-Brand Risk Merchant Registration - U.S. Region (Updated)

Effective 1 December 2011, in the U.S. Region, before accepting Transactions from a High-Brand
Risk Merchant, an Acquirer must register each High-Brand Risk Merchant using a Visa U.S.A. High
Risk Merchant Registration and Certification form, available upon request from Visa.

An Acquirer of a Merchant assigned with either MCC 5122 or MCC 5912 that is accredited by the
National Association of Boards of Pharmacy, or other legal regulatory body recognized by Visa, does
not need to register that Merchant as a High-Brand Risk Merchant with Visa.

ID#: 151011-011211-0026345




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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15       Page: 843 of 1319
                                                   PageID #: 4036
                                    Visa International Operating Regulations




High-Brand Risk Merchant Monitoring - U.S. Region (New)

Effective 1 December 2011, an Acquirer must monitor its High-Brand Risk Merchants, which are
required to be registered with Visa as specified in "High-Brand Risk Merchant Registration – U.S.
Region." An Acquirer of a High-Risk Payment Service Provider must:

• Register its High-Brand Risk Sponsored Merchants as High-Brand Risk Merchants
• Monitor its High-Risk Internet Payment Service Providers as specified in the Visa International
  Operating Regulations

ID#: 151011-011211-0026346



High-Brand Risk Merchant Unusual Activity Reporting - U.S. Region (Updated)

Effective 1 December 2011, for its High-Brand Risk Merchants, a U.S. Acquirer must generate
unusual activity reports daily, and report any unusual activity to Visa within 2 business days, if either
of the following occurs:

• Current weekly gross sales volume equals or exceeds US $5,000 and any of the following exceeds
  150% of the normal daily activity:
  – Number of daily Transaction Receipt Deposits
  – Gross amount of daily Deposits
  – Average Transaction amount
  – Number of daily Chargebacks
• Average elapsed time between the Transaction Date and the Acquirer's Processing Date for a
  Transaction (counting each as one day) exceeds 15 calendar days

ID#: 151011-011211-0026374



High-Brand Risk Merchant Fees and Charges - U.S. Region (New)

Effective 1 December 2011, Visa assesses registration and annual charges for High-Brand Risk
Merchants, as specified in the Visa U.S.A. Fee Guide.

Visa collects the annual charge each 1 September following the registration date.

ID#: 111011-011211-0026375



Electronic Commerce Monitoring


Electronic Commerce Merchant Monitoring Program - Acquirer Restrictions (Updated)

Effective through 31 May 2011, an Acquirer must:



806                                                VISA PUBLIC                            18 October 2011
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                                               PageID #: 4037
                                    Visa International Operating Regulations


• Ensure that a Merchant, Internet Payment Service Provider, or a Sponsored Merchant does
  not accept Visa Cards for, or displays a Visa-Owned Mark on a Website that is used in
  relation to, the purchase or trade of photographs, video imagery, computer-generated images,
  cartoons, simulation, or any other media or activities including, but not limited to, activities listed
  under "Brand Protection"
• Within 7 calendar days of Notification from Visa, terminate a Merchant or IPSP or require an IPSP
  to terminate its agreement with the Sponsored Merchant that is in violation of this rule.

ID#: 111011-010410-0008101



Electronic Commerce Merchant Monitoring Program - Acquirer Penalties (Updated)

Effective through 31 May 2011, an Acquirer is subject to the penalties specified in the table below
if it fails to terminate a Merchant, Internet Payment Service Provider (IPSP), or Sponsored Merchant
that displays a Visa-Owned Mark on its Website or accepts Cards in relation to, or for the purchase or
trade of, photographs, video imagery, computer-generated images, cartoons, simulation, or any other
media or activities including, but not limited to, activities listed under "Brand Protection."


                Acquirer Penalties for Non-Compliance with the Electronic Commerce
                   Merchant Monitoring Program (Effective through 31 May 2011)

                               Event                                              Visa Action or Fine

    Merchant or its principals, IPSP, or Sponsored               Notification of violation sent to Acquirer
    Merchant identified for 1 month in a 12-month period

    Merchant or its principals, IPSP, or Sponsored               US $50,000 per Merchant URL or Sponsored
    Merchant not terminated within 7 calendar days of            Merchant URL
    Notification

    Same Merchant or its principals, IPSP, or                    US $50,000 per Merchant URL or Sponsored
    Sponsored Merchant identified for any 2 months in a          Merchant URL
    12-month period

    Same Merchant or its principals, IPSP, or                    US $50,000 per Merchant URL or Sponsored
    Sponsored Merchant identified for any 3 months in a          Merchant URL, plus an additional US $250,000 fine
    12-month period

    Same Merchant or its principals, IPSP, or                    US $50,000 per Merchant URL or Sponsored
    Sponsored Merchant identified for any 4 months in a          Merchant URL, plus an additional US $250,000 fine
    12-month period                                              Visa may prohibit the Acquirer from contracting with
                                                                 a new Electronic Commerce Merchant or IPSP for a
                                                                 period of 1 year or more

    Same Merchant or its principals, IPSP, or                    US $50,000 per Merchant URL or Sponsored
    Sponsored Merchant identified for any 5 months in a          Merchant URL, plus an additional US $250,000 fine
    12-month period                                              Visa may both:
                                                                 • Require the Acquirer to terminate all existing
                                                                   Electronic Commerce Merchants and IPSPs
                                                                 • Prohibit the Acquirer from contracting with a new
                                                                   Electronic Commerce Merchant or IPSP




18 October 2011                                    VISA PUBLIC                                                      807
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15                       Page: 845 of 1319
                                                   PageID #: 4038
                                    Visa International Operating Regulations


                               Event                                               Visa Action or Fine

      Same Merchant or its principals, IPSP, or                    US $50,000 per Merchant URL or Sponsored
      Sponsored Merchant identified for any 6 months in a          Merchant URL, plus an additional US $250,000 fine
      12-month period                                              Visa may revoke the Member's acquiring privileges

ID#: 111011-010410-0001290



Electronic Commerce Merchant Monitoring Program - Acquirer Penalties - U.S.
Region

Effective through 31 May 2011, in the U.S. Region, Visa assesses Electronic Commerce Merchant
Monitoring Program fines to an Acquirer, as specified in the table below.


          Electronic Commerce Merchant Monitoring Program Acquirer Fines - U.S. Region

                             Violation                                                      Fine

      First violation
                     1                                             Warning letter with specific date for correction

      Second violation in a rolling 12-month period                US $50,000, assessed during each month the
                                                                   violation remains uncorrected

      Third violation in a rolling 12-month period                 US $250,000, assessed during each month the
                                                                   violation remains uncorrected

      Fourth violation in a rolling 12-month period                An Acquirer may be prohibited from signing new
                                                                   Electronic Commerce Merchants for at least one
                                                                   year.

      Fifth violation in a rolling 12-month period                 An Acquirer may be required to terminate all existing
                                                                   Electronic Commerce Merchants and prohibited
                                                                   from signing new Electronic Commerce Merchants.

      Sixth violation in a rolling 12-month period                 An Acquirer may have its acquiring license revoked.

      1. Internet Payment Service Providers are considered Electronic Commerce Merchants for the purpose of
      this program.

ID#: 151011-010410-0003691




Brand Protection

Global Brand Protection Program


Brand Protection Requirements (New)

Effective 1 June 2011 through 30 June 2011, an Acquirer must:




808                                                  VISA PUBLIC                                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 846 of 1319
                                               PageID #: 4039
                                    Visa International Operating Regulations


• Ensure that a Merchant, Internet Payment Service Provider (IPSP), Sponsored Merchant, High-
  Brand Risk Merchant, High-Risk Internet Payment Service Provider or High-Brand Risk Sponsored
  Merchant does not accept Visa Cards for, or displays a Visa-Owned Mark on a Website that is
  used in relation to, the purchase or trade of photographs, video imagery, computer-generated
  images, cartoons, simulation, or any other media or activities including, but not limited to, activities
  listed under "Brand Protection"
• Within 7 calendar days of Notification from Visa, correct the violation or, if requested by Visa,
  terminate a Merchant, IPSP, High-Brand Risk Merchant or High-Risk Internet Payment Service
  Provider, or require the IPSP or High-Risk Internet Payment Service Provider to terminate its
  agreement with the Sponsored Merchant or High-Brand Risk Sponsored Merchant that is in
  violation of this rule

Effective 1 July 2011, an Acquirer must:

• Ensure that a Merchant, Payment Service Provider (PSP), Sponsored Merchant, High-Brand
  Risk Merchant, High-Risk Internet Payment Service Provider (High-Risk IPSP), or High-Brand
  Risk Sponsored Merchant does not accept Visa Cards for, or display a Visa-Owned Mark on a
  Website that is used in relation to, the purchase or trade of photographs, video imagery, computer-
  generated images, cartoons, simulation, or any other media or activities including, but not limited
  to, activities listed under "Brand Protection"
• Within 7 calendar days of Notification from Visa, correct the violation or, if requested by Visa,
  terminate a Merchant, PSP, High-Brand Risk Merchant, or High-Risk IPSP, or require the PSP
  or High-Risk IPSP to terminate its agreement with the Sponsored Merchant or High-Brand Risk
  Sponsored Merchant that is in violation of this rule

ID#: 151011-010611-0026376



High-Brand Risk Acquirer Registration (New)

Effective 1 June 2011, Acquirers who previously did not acquire Electronic Commerce Merchants or
Mail/Phone Order Merchants classified by Visa as high-brand risk must:

• Complete and submit to Visa a registration form, available in the Visa Global Brand Protection
  Program Guide for Acquirers
• Not process or enter any High-Brand Risk Transactions into Interchange, until written confirmation
  has been received from Visa that the Acquirer has been registered and approved by Visa
• Immediately notify Visa of any changes to information provided on the registration form by
  submitting a revised form indicating the change

Additionally, Visa may require the Acquirer to undergo an assessment to ensure compliance with the
Global Brand Protection Program and the Visa International Operating Regulations.

An assessment may take the form of an onsite audit, as specified in “Visa Right to Monitor, Audit,
Inspect and Investigate.”

ID#: 111011-010611-0026379




18 October 2011                                    VISA PUBLIC                                         809
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 847 of 1319
                                                   PageID #: 4040
                                    Visa International Operating Regulations




High-Brand Risk Acquirer Registration Fee (New)

Effective 1 June 2011, Visa will assess a one-time registration fee for new Acquirers of High-Brand
Risk Transactions in a Card-Absent Environment, as specified in the applicable Visa regional fee
guide.

ID#: 111011-010611-0026380



High-Brand Risk Acquirer Non-Registration Penalties (New)

Effective 1 June 2011, if Visa determines that an Acquirer, that previously did not acquire High-
Brand Risk Transactions in a Card-Absent Environment, has failed to comply with the registration
requirements specified in “High-Brand Risk Acquirer Registration” Visa may assess a fine of US $
25,000 to the Acquirer per calendar month of non-compliance.

Continued non-compliance may result in Visa prohibiting that Acquirer from acquiring High-Brand
Risk Merchants.

ID#: 151011-010611-0026381



High-Brand Risk Acquirer Requirements (New)

Effective 1 December 2011, an Acquirer of High-Brand Risk Merchants, High-Risk Internet Payment
Service Providers or High-Brand Risk Sponsored Merchants must:

• Comply with all applicable Visa risk policies, as specified in the Visa International Operating
  Regulations, Regional Operating Regulations, Visa Global Brand Protection Program Guide for
  Acquirers and the Visa Global Acquirer Risk Standards
• Participate in the Visa Merchant Trace System (VMTS), where available and permitted under local
  applicable law and both:
  – Query VMTS prior to entering into an agreement with a prospective Electronic Commerce
    Merchant or Mail/Phone Order Merchant or Sponsored Merchant
  – List any Electronic Commerce Merchant or Mail/Phone Order Merchant or Sponsored Merchant
    has been terminated for just cause on VMTS
• For Acquirers in the U.S. Region, participate in the Terminated Merchant File, as specified in
  “Terminated Merchant File” (This only applies in the U.S. Region.)
• For Acquirers in the Canada Region, participate in the a common terminated Merchant database,
  as specified in “Common Terminated Merchant Database - Canada Region” (This only applies in
  the Canada Region.)




810                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                       Doc. #: 85-5 Filed: 02/12/15                          Page: 848 of 1319
                                                 PageID #: 4041
                                    Visa International Operating Regulations


• Provide Visa with a suspect violation report if a Merchant or Agent is identified by the Member as
                                                                                    [101]
  processing illegal or prohibited Transactions as specified in “Brand Protection.”

ID#: 111011-011211-0026382



High-Brand Risk Acquirer Capital Requirements (New)

Effective 1 June 2011 through 30 June 2011, an Acquirer that has not previously acquired
Transactions from Electronic Commerce Merchants, Mail/Phone Order Merchants, Internet Payment
Service Providers, or Sponsored Merchants classified as high-risk, as specified in “High-Brand Risk
Merchant Category Codes,” must:

• Be in good standing in all Visa risk management programs
• Be investment-grade, as defined by Visa, and meet a minimum equity requirement of US $ 100
          [102]
  million

Effective 1 July 2011, an Acquirer that has not previously acquired Transactions from Electronic
Commerce Merchants, Mail/Phone Order Merchants, or Sponsored Merchants classified as high-risk,
as specified in "High-Brand Risk Merchant Category Codes," must:

• Be in good standing in all Visa risk management programs
• Be rated above-standard (a Visa Member risk rating of "A" or "B") and meet a minimum equity
                                 [103]
  requirement of US $100 million

ID#: 111011-010611-0026383



Request for Information Requirements (New)

Effective 1 June 2011, an Acquirer must provide information relating to any request for information
presented by Visa, its designees, or any regulatory agency, as required under the Global Brand
Protection Program.

The required information must be provided in writing as soon as possible, but no later than 7 business
days following receipt of the request for information.

ID#: 111011-010611-0026384




101 Visa may waive or suspend penalties to accommodate unique or extenuating circumstances or if violations of the Visa
    International Operating Regulations are identified and rectified prior to receipt of formal Notification from Visa that a
    violation has occurred.
102 Effective through 30 June 2011, Visa may waive this requirement in exchange for assurance and evidence of the
    imposition of risk controls satisfactory to Visa. This may include, but is not limited to, the pledging of additional collateral.
103 Effective 1 July 2011, Visa may waive these requirements in exchange for assurance and evidence of the imposition of
    risk controls satisfactory to Visa. This may include, but is not limited to, the pledging of additional collateral.

18 October 2011                                        VISA PUBLIC                                                                 811
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15                      Page: 849 of 1319
                                                   PageID #: 4042
                                    Visa International Operating Regulations




Annual Assessments (Updated)

Effective 1 December 2011, an Acquirer will be subject to an annual assessment to ensure
compliance with the requirements of the Global Brand Protection Program and the Visa International
Operating Regulations if either:

• All of the following quarterly thresholds, as amended from time to time, are met or exceeded:
   – A minimum of 10,000 International Transactions in a Card Absent Environment classified as
     High-Brand Risk Transactions
   – US $1 million International Transactions in a Card Absent Environment classified as High-Brand
     Risk Transactions
   – A ratio of 10% of International Transactions in a Card-Absent Environment classified as High-
     Brand Risk Transactions versus all International Transactions acquired in a Card Absent
                  [104]
     Environment
• One or more Merchants is identified under the Global Brand Protection Program as having been
  involved in illegal or prohibited Transactions

ID#: 151011-011211-0026385



Global Brand Protection Program Annual Assessment Fee (New)

Effective 1 December 2011, an Acquirer that is subject to an annual assessment, as specified in
“Annual Assessments” will be subject to an annual assessment fee, as specified in the applicable
Visa regional fee guide.

ID#: 111011-011211-0026386




Fraud Reporting

Fraud Reporting Requirements


Fraud Activity Reporting

An Issuer must report Fraud Activity to Visa through VisaNet when either a:

• Fraudulent User has obtained a Card or Account Number
• Card was obtained through misrepresentation of identification or financial status

ID#: 010410-010410-0002389




104 The ratio is calculated, based on the Transaction Date, as a percentage of International Transactions processed as High-
    Brand Risk Transactions versus the total International Transactions acquired in a Card-Absent Environment over the
    period of the calculation.

812                                                VISA PUBLIC                                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 850 of 1319
                                               PageID #: 4043
                                    Visa International Operating Regulations




Fraud Activity Reporting Time Limit

An Issuer must report Fraud Activity upon detection, but no later than:

• 90 calendar days from the Transaction Date
• 30 calendar days following the receipt of the Cardholder's dispute notification, if the notification is
  not received within the 90-calendar-day period

ID#: 010410-010410-0002390



Fraud Activity Reporting Time Limit - AP Region

An AP Issuer must report all confirmed fraudulent Transactions immediately upon detection, but no
later than:

• 60 calendar days from the Transaction Date
• 30 calendar days following receipt of the Cardholder's dispute notification, if the notification is not
  received within the 60-calendar-day period

ID#: 010410-010410-0002246



Fraud Activity Reporting Time Limit - LAC Region

An LAC Issuer must report Fraud Activity upon detection, but no later than:

• 60 calendar days from the Transaction Date except for fraud type 03, "Fraudulent Application," and
  type 05, "Miscellaneous, Account Take Over"
• 30 calendar days following the receipt of the Cardholder's dispute notification, if the notification is
  not received within the 60-calendar-day period

ID#: 081010-010609-0007054



Fraud Activity Reporting Compliance - LAC Region

An LAC Issuer must report Fraud Activity, as detailed in the Fraud Reporting System (FRS) User's
Guide, and comply with the following:

• At least 95% of all fraud must be reported. This includes domestic and international, on-us, debit
  and credit, and ATM Transactions
• At least 90% of all reported fraud must be classified correctly
• No more than 5% of all reported fraud can be classified as fraud type 05, "Miscellaneous"
• In at least 90% of reported fraudulent Transactions, mandatory TCR2 fields must match with the
  corresponding BASE II record fields, except the Excluded Transaction Identifier Reason field

ID#: 081010-010609-0007259



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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15       Page: 851 of 1319
                                                   PageID #: 4044
                                    Visa International Operating Regulations




Rejected Fraud Activity Reporting

An Issuer must report Fraud Activity, as detailed in the Fraud Reporting System (FRS) User's Guide.
At least 90% of rejected Fraud Activity must be resubmitted and accepted into the Fraud Reporting
System.

ID#: 010410-010410-0008051



Counterfeit Activity Reporting

An Acquirer must report:

• Counterfeit activity through VisaNet using the appropriate fraud advice transaction code in the
  same manner as specified for Issuers in "Fraud Activity Reporting"
• A counterfeit Transaction within 60 calendar days of a Chargeback, when no Representment or
  Arbitration right is available

See the Fraud Reporting System (FRS) User's Guide.

ID#: 010410-010410-0002395



Fraud-Related Disputes - AP Region

An AP Issuer must complete TC40 fraud reporting before initiating all fraud-related disputes.

ID#: 010410-010410-0008048



Fraud-Related Disputes - U.S. Region

In the U.S. Region, if Fraud Activity has occurred on an account and the Issuer does not list the
Account Number on the Exception File with a Pickup Response for at least 30 calendar days,
Chargeback rights are restricted.

ID#: 010410-010410-0008049



Fraud Activity Reporting Corrections - U.S. Region

In the U.S. Region, if further investigation determines that a Transaction or occurrence is of a different
Fraud Activity type than previously reported, the Issuer must correct the activity.

ID#: 010410-010410-0002166




814                                                VISA PUBLIC                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                Page: 852 of 1319
                                               PageID #: 4045
                                    Visa International Operating Regulations




Cards Not Received as Issued - U.S. Region

A U.S. Member must report all U.S. Cardholder and U.S. Issuer mailing information on "Not Received
as Issued" Cards, whether or not Fraud Activity has occurred.

ID#: 010410-010410-0002167



Fraud Reporting Compliance


Fraud Activity Reporting Non-Compliance

If a Member does not comply with "Fraud Activity Reporting" and "Fraud Activity Reporting Time
Limit," the Member is subject to:

• An onsite audit by Visa staff at the Member's expense
• Penalties, as specified in the table below

                                        Penalties for Failure to Report Fraud

        Occurrence              Warning Letter           Suspension            Fine (Minimum       Onsite
                                                          of Fraud                Amount)        Member Audit
                                                         Chargeback
                                                                 1
                                                           Rights

    First                     Yes                    Not applicable        US $0               Not applicable

    Second                    Yes                    Not applicable        US $0               Not applicable

    Third                     Not applicable         90 calendar days      US $25,000          Not applicable

    Fourth                    Not applicable         180 calendar days     US $50,000          Yes

    Fifth                     Not applicable         Indefinite until      Regional decision   Not applicable
                                                     compliance            based upon
                                                     achieved              reevaluation

    1. Chargeback reason codes will be determined by Visa, as specified in the applicable Regional Operating
    Regulations.

ID#: 010410-010410-0002392



Fraud Activity Reporting Compliance - AP Region

An AP Member is compliant with Visa fraud reporting requirements if it:

• Reports at least 90% of confirmed fraud activities
• Reports at least 90% of fraud within 60 calendar days of the Transaction Date
• Uses correct fraud types for at least 90% of reported fraud



18 October 2011                                    VISA PUBLIC                                                  815
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 853 of 1319
                                                   PageID #: 4046
                                    Visa International Operating Regulations


• Populates all mandatory TC 40 fields

ID#: 010410-010410-0001759



Fraud Activity Reporting Non-Compliance - AP Region

Visa may require an AP Issuer that has failed to comply with the requirements specified in "Fraud
Activity Reporting Compliance - AP Region" and "Fraud-Related Disputes - AP Region," or one
suspected of under-reporting fraud, to undergo an onsite review. Visa will undertake an initial onsite
inspection of all AP Issuers with annual Retail Sales Volume exceeding US $650 million. The retail
sales volume (RSV) threshold is designed to identify Issuers that represent 90% of total Asia-Pacific
RSV and will be adjusted by Visa as necessary.

ID#: 010410-010410-0001758



Issuer Non-Compliance - AP Region

AP Issuers identified as non-compliant and that fail to resolve areas of non-compliance within a
reasonable period (to be agreed between AP Members and Visa) following an onsite review will have
the following fraud-related dispute rights suspended until compliant:

• Chargeback reason code 57, "Fraudulent Multiple Transactions"
• Chargeback reason code 62, "Counterfeit Transaction"
• Chargeback reason code 81, "Fraud - Card-Present Environment"
• Chargeback reason code 83, "Fraud - Card-Absent Environment"
• Chargeback reason code 93, "Merchant Fraud Performance Program"

ID#: 010410-010410-0001760



Fraud Alert Requirements - Canada Region

A Canada Member must comply with the CoFAS Procedures for Reporting Credit Skimming
Incidents manual available at https://visainfo.ca.

ID#: 010410-010410-0001757



Fraud Reporting Program Audit Fees - LAC Region

Visa may audit an LAC Issuer under the Fraud Reporting Program at any time. Issuers subject to an
onsite Fraud Reporting audit will be charged a fee.

ID#: 081010-010609-0007260




816                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                      Doc. #: 85-5 Filed: 02/12/15        Page: 854 of 1319
                                                PageID #: 4047
                                     Visa International Operating Regulations




Fines for Failure to Report Fraud - LAC Region

An LAC Issuer that does not comply with the Fraud Reporting Program's requirements as determined
by the third or higher consecutive onsite audit will be subject to a quarterly fine of US $10,000 until
found compliant by the Visa remote monitoring system and validated by an onsite audit. In addition,
the Issuer will be assessed a fee as specified in the Visa LAC Fee Guide.


                                    Fines for Failure to Report Fraud - LAC Region

                                       Occurrence                                     Penalty

    Onsite audit fee                                                                   None

    First non-compliant onsite audit                                                 US $2,500

    Second consecutive onsite audit resulting in non-compliance                      US $7,500

    Third consecutive onsite audit resulting in non-compliance                       US $22,500

ID#: 090411-010410-0007267



Fraud Reporting Fines and Penalties


Fraud Reporting Non-Compliance Penalty

If a Member is deemed non-compliant with the fraud reporting requirements specified in "Fraud
Activity Reporting Non-Compliance," the Member is subject to a penalty, as specified in the "Penalties
for Failure to Report Fraud" table.

ID#: 010410-010410-0003682



Fraud Reporting - Non-Compliance Penalties and Monitoring

If Visa determines that a Member is not in compliance for a given quarter:

• Penalties will be assessed, as specified in the "Penalties for Failure to Report Fraud" table
• The Member will be monitored and evaluated for the following 8 quarters

ID#: 010410-010410-0002393




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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 855 of 1319
                                                   PageID #: 4048
                                    Visa International Operating Regulations




Fraud Losses and Investigation


Skimming at a Common Purchase Point - AP Region

An AP Issuer experiencing 3 or more incidents of skimming at a Common Purchase Point must notify
the AP Acquirer and Visa.

Before notifying the AP Acquirer, the AP Issuer must:

• Confirm that Fraud Activity occurred
• Determine if a legitimate Account Number was skimmed by using the following criteria:
  – POS Entry Mode was 90
  – Card Verification Value transmitted in the Transaction matched the Card Verification Value for
    the compromised Account Number
  – Card was in possession of the Cardholder at the time of the Transaction
  – Possibility of other type of fraudulent activity has been eliminated

In the notification, the AP Issuer must provide the Acquirer and Visa with the following information:

• Account Number used in the Transaction
• Details of the Transaction suspected of being the point of compromise
• Status of fraud detected
• Additional information or rationale to support its suspicions

ID#: 010410-010410-0009030



Preliminary Report of Fraud at Common Purchase Point - AP Region

An AP Acquirer notified by an AP Issuer or Visa of fraud occurring at a Common Purchase Point must
investigate the circumstances surrounding the fraudulent Transaction and, within 10 calendar days,
provide the Issuer and Visa with a preliminary report of its investigation.

ID#: 010410-010410-0002234



Final Report of Fraud at Common Purchase Point - AP Region

An AP Acquirer must complete and forward its final investigative report to Visa within 30 calendar
days of notification and include the following information:

• Plan of action including the following, if determined:
  – Individual(s) responsible for the Fraud Activity
  – If the Account Number was compromised


818                                                VISA PUBLIC                          18 October 2011
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                                               PageID #: 4049
                                    Visa International Operating Regulations


  – How the Account Number was compromised
• Confirmation that the appropriate authorities were notified to enable proper investigation and
  prosecution by law enforcement agencies
• Corrective action taken to prevent similar occurrences at the same Merchant Outlet

ID#: 010410-010410-0002235



Fraud Reporting Non-Compliance - AP Region

An AP Acquirer that fails to comply with the requirements specified in "Final Report of Fraud at
Common Purchase Point - AP Region" will be assessed a fine of US $5,000.

ID#: 010410-010410-0002236



Common Point of Purchase Fine Transfer - AP Region

Visa will fine any AP Acquirer that has transferred Common Point of Purchase (CPP) fines to the
AP Merchant an equivalent of 3 times the fine, and, at Visa's discretion, reimburse the Merchant
the fine amount. Visa may waive CPP-related fines on a case-by-case basis based on commercial
considerations.

ID#: 081010-010410-0002237



Internal Data Compromise Disclosure - AP Region

An AP Member must disclose to Visa all incidents of internal compromise of data that would facilitate
the defrauding of Card or Merchant accounts of the AP Member or other Members. Visa will distribute
this information and its analysis, if warranted, to other Members and relevant parties in the AP Region
in order to advise them of potential corrective action, while maintaining the confidentiality of the
reporting Member.

ID#: 010410-010410-0000538




Card Recovery

Return of Recovered Cards


Recovered Card Return Requirement

An Acquirer must return recovered Visa Cards and Visa Electron Cards to the Issuer.

ID#: 010410-010410-0001782




18 October 2011                                    VISA PUBLIC                                      819
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15         Page: 857 of 1319
                                                   PageID #: 4050
                                    Visa International Operating Regulations




Recovered Card Return Procedures

Upon recovery of a valid or counterfeit Visa Card or Visa Electron Card, a Member must send the
following to the Issuer on the Input Date of the fee collection, but no later than 5 business days after
the Visa Card or Visa Electron Card is recovered:

• The recovered Card, rendered unusable as follows:
  – For a recovered Card without a Chip, the Card must be cut horizontally so as not to damage the
    Magnetic Stripe, hologram, or embossed or printed Account Number (if applicable)
  – For a recovered Chip Card, so as not to damage the Chip, the Member must either punch a hole
    through the middle of the Magnetic Stripe to make it unreadable or cut away the corner of the
    Card at the opposite end from the Chip
• "Recovered Card Advice" (Exhibit 1E) specifying the recovery reasons, such as:
  – Listed on Card Recovery Bulletin
  – Authorization Response to routine Authorization Request
  – Authorization Response to referral call
  – Inadvertently left by Cardholder

The requirement to return the Card does not apply to Non-Reloadable Cards recovered without a
Pickup Response or request from the Issuer.

For a Non-Reloadable Card recovered without a Pickup Response or a specific request from the
Issuer, the Member must cut the Card and render it unusable.

ID#: 050411-010410-0008090



Merchant Card Recovery Procedures

An Acquirer must ensure that its Merchants understand and comply with the requirements for
recovery of a Visa Card or Visa Electron Card as specified in "Merchant Card Recovery Procedures
at the Point of Sale."

A Merchant must notify its Acquirer that it has recovered a Card and ask for further instructions.

ID#: 010410-010410-0008091



Visa Lost/Stolen Card Procedures - U.S. Region

In the U.S. Region, if Visa receives a report of a lost or stolen Card, Visa will:

• Enter the Account Number of the lost or stolen Visa Card or Visa Electron Card on the Exception
  File with a:
  – Pickup Response code of 04
  – Region code of 0


820                                                VISA PUBLIC                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 858 of 1319
                                               PageID #: 4051
                                    Visa International Operating Regulations


  – Purge date of the following month (See the Card Recovery Bulletin Service (CRB) User's Guide.)
• Advise the Issuer of the Cardholder's report of a lost or stolen Visa Card or Visa Electron Card
• Return the recovered Card to the Issuer with any supporting documentation

ID#: 050411-010410-0002148



Merchant Recovered Card Return Procedures - U.S. Region 2.3.E

A U.S. Merchant that recovers a Visa Card or Visa Electron Card must:

• Cut the Visa Card or Visa Electron Card horizontally so as not to damage the Magnetic Stripe,
  Chip, hologram (if applicable), and embossed or printed Account Number (if applicable)
• Immediately send it to either:
  – Its Acquirer
  – A VisaNet Interchange Center, if Visa is designated as the Merchant's Authorizing Processor

The requirement to return the Card does not apply to Non-Reloadable Cards recovered without a
Pickup Response or request from the Issuer.

For a Non-Reloadable Card recovered without a Pickup Response or a specific request from the
Issuer, the Merchant or Acquirer must cut the Card and render it unusable.

For a Non-Reloadable Card where an Issuer Pickup Response has been sent, the Merchant should
attempt to recover the Card and:

• Cut the Card horizontally so as not to damage the Magnetic Stripe, Chip, hologram (if applicable),
  and embossed or printed Account Number (if applicable)
• Immediately send it to either:
  – Its Acquirer
  – A VisaNet Interchange Center, if Visa is designated as the Merchant's Authorizing Processor

ID#: 050411-010410-0008092



Law Enforcement Recovered Card Retention - U.S. Region

In the U.S. Region, if a recovered Visa Card or Visa Electron Card was retained by a law enforcement
agency, the Merchant must provide a legible copy of the front and back of the Visa Card or Visa
Electron Card to its Acquirer or a VisaNet Interchange Center, as applicable.

ID#: 010410-010410-0001766



Acquirer Recovered Card Procedures - Additional Notification Requirement - U.S.
Region

A U.S. Acquirer must immediately advise the following of the recovery of a Card:


18 October 2011                                    VISA PUBLIC                                       821
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 859 of 1319
                                                   PageID #: 4052
                                    Visa International Operating Regulations


• The Issuer, if the Visa Card or Visa Electron Card is recovered because the first 4 digits of the
  embossed or printed Account Number (if applicable) do not match the 4 digits printed above or
  below the Account Number
• Visa, if the embossed or printed BIN is not assigned to a Member

An Acquirer must retain a legible copy of the front and back of the recovered Visa Card or Visa
Electron Card.

ID#: 010410-010410-0008094



Recovered Card Procedures - U.S. Region (Updated)

A U.S. Member must send all of the following to the Issuer using a method that supplies proof
of delivery. These items must be sent on the Input Date of the fee collection, but no later than 5
business days after the Visa Card or Visa Electron Card is recovered:

• Recovered Visa Card or Visa Electron Card
• Completed "Recovered Card Advice" (Exhibit 1E) with any pertinent facts concerning the recovery
• If the recovered Card was retained by a law enforcement agency, a legible copy of its front and
  back

If the recovered Card was retained by a law enforcement agency, the "Recovered Card
Advice" (Exhibit 1E) and copy of the front and back of the Visa Card or Visa Electron Card are not
required to be sent by a method that supplies proof of delivery.

ID#: 151011-010410-0001770



Recovered Counterfeit Cards


Acquirer Recovered Counterfeit Card Procedures - AP Region

An AP Acquirer that receives a recovered Counterfeit Card bearing an embossed Account Number
of another AP Member must advise the Issuer of the Card recovery circumstances by the end of the
next business day after receiving the Card.

On the fee collection Input Date, but no later than 3 business days after the Card is recovered, the
Acquirer must send all of the following to Visa:

• Card (unless it is needed as evidence by local law enforcement authorities)
• Completed "Recovered Counterfeit Card Notification" (Exhibit 1F)
• Any other supporting documentation

ID#: 010410-010410-0008097




822                                                VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 860 of 1319
                                               PageID #: 4053
                                    Visa International Operating Regulations




Visa Recovered Counterfeit Card Procedures - AP Region

In the AP Region, Visa endorses the "Recovered Counterfeit Card Notification" (Exhibit 1F) and
sends:

• Endorsed "Recovered Counterfeit Card Notification" (Exhibit 1F) and any other supporting
  documentation to the AP Issuer
• Copy of the endorsed "Recovered Counterfeit Card Notification" (Exhibit 1F) to the remitting AP
  Acquirer

ID#: 010410-010410-0002240



Card Recovery at the Point of Sale


Merchant Card Recovery Procedures at the Point of Sale

A Merchant must not complete a Transaction and should attempt to recover a Visa Card or Visa
Electron Card for any of the following reasons:

• Account Number appears on a Card Recovery Bulletin
• Acquirer requests its retention
• 4 digits printed below the embossed or printed Account Number do not match the first 4 digits of
  the embossed or printed Account Number

ID#: 010410-010410-0002350



Visa Prepaid Card Compromise

A Merchant that sells Visa Prepaid Cards must not sell a Visa Prepaid Card if there is evidence of
potential Card compromise, such as tampered packaging. The Merchant must retain the Card and
follow the recovered Card requirements as specified in the Visa International Operating Regulations.

ID#: 081010-010111-0025787



Merchant Card Recovery Procedures - U.S. Region

A U.S. Merchant should attempt to recover a Visa Card or Visa Electron Card by reasonable,
peaceful means and must not complete a Transaction if the:

• Printed 4 digits below the embossed or printed Account Number do not match the first 4 digits of
  the Account Number
• Acquirer or its Authorizing Member requests its retention




18 October 2011                                    VISA PUBLIC                                       823
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15         Page: 861 of 1319
                                                   PageID #: 4054
                                    Visa International Operating Regulations


• Merchant has reasonable grounds to believe that the Visa Card or Visa Electron Card is
  counterfeit, fraudulent, or stolen

ID#: 010410-010410-0002316



Card Recovery at an ATM


Card Retention at an ATM

An ATM is not required to have the ability to retain Cards. If it does have this ability, it may retain a
Card only upon the specific request of the Issuer.

If a Card is retained, the Acquirer must log it under dual custody immediately after removal from the
terminal.

ID#: 010410-010410-0008063



ATM Card Retention and Return

If a Card is retained at the specific request of an Issuer, the Acquirer must render the Card unusable
and return it to the Issuer. If the Card bears a Chip, the Chip must not be damaged.

ID#: 010410-010410-0002409



Accidental Card Retention at an ATM

If a hardware or software failure causes mistaken or accidental Card retention, an ATM Acquirer must
return the Card to the Cardholder using the following procedures:

• Review positive Cardholder identification and compare the Cardholder's signature to that on the
  Card signature panel
• If the Cardholder does not request the return of the Card, the ATM Acquirer must follow the Card
  retention rules specified in the Visa International Operating Regulations

ID#: 010410-010410-0007014



Accidental Card Retention at an ATM - U.S. Region

If a hardware or software failure causes mistaken or accidental Card retention, an ATM Acquirer in
the U.S. Region may return the Card to the Cardholder using the following procedures:

• Review positive Cardholder identification and compare the Cardholder's signature to that on the
  Card signature panel
• Obtain the Issuer's Authorization to return the Card to the Cardholder
  – If the Cardholder requests a Cash Disbursement, Authorization for the Cash Disbursement is
    considered as the Issuer's authorization to return the Card to the Cardholder.


824                                                VISA PUBLIC                              18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15             Page: 862 of 1319
                                               PageID #: 4055
                                    Visa International Operating Regulations


  – If the Cardholder does not request a Cash Disbursement, the Acquirer must contact the Issuer's
    Authorizing Processor for Authorization to return the Card to the Cardholder.
• Notify the Issuer of the Card retention

ID#: 010410-010410-0004991



Recovered Card Handling Fees


Recovered Card Handling Fees

Handling fees for recovered Visa Cards and Visa Electron Cards are specified in the table below.


                                        Handling Fees for Recovered Cards

                  Description                         Member Charged                   Amount Charged

    Handling Fee for Recovered Visa Cards or Visa Electron Cards

    Card recovered at a Merchant or                         Issuer                           US $15
    ATM

    Effective through 14 October                            Issuer                           US $5
    2011, Card recovered by an
    Unattended Acceptance Terminal
    that performs Cardholder-
    Activated Transactions Type C
    Effective 15 October 2011, Card
    recovered by an Unattended
    Cardholder-Activated Terminal
    that accepts PINs for Cardholder
    Verification

    Handling Fee for Recovered Cards Bearing the Plus Symbol

     Visa Card or Visa Electron Card                        Issuer                           US $15
                         1,2
    recovered at an ATM

    1.    Acquirers participating only in the Plus Program.
    2.    A handling fee must not be collected if the recovered Card is a Proprietary Card bearing the Plus
          Symbol.

ID#: 151011-010410-0007990



ATM Recovered Card Handling Fee

An Issuer is not required to pay a reward to the Acquirer for a recovered Card. However, the Acquirer
may collect a handling fee, as specified in "Recovered Card Handling Fees."




18 October 2011                                    VISA PUBLIC                                                825
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 863 of 1319
                                                   PageID #: 4056
                                    Visa International Operating Regulations



An ATM Acquirer participating only in the Plus Program may collect a handling fee only if the
recovered card is a Visa Card or Visa Electron Card, as specified in "Recovered Card Handling
Fees."

ID#: 010410-010410-0008064



Acquirer Collection of Recovered Card Handling Fee

An Acquirer may collect a handling fee for a recovered Card, as specified in "Recovered Card
Handling Fees," whether or not the Merchant is entitled to a reward.

An AP Acquirer may collect a handling fee of US $15, or local currency equivalent. (This only applies
in the Asia Pacific Region.)

ID#: 010410-010410-0008065



Acquirer Recovered Card Handling Fee and Reward Collection - U.S. Region
(Updated)

In the U.S. Region, if a U.S. Acquirer has paid a reward for a recovered Card, the Acquirer may
collect the handling fee and the reward in one Fee Collection Transaction.

The fee collection must not be entered into Interchange before forwarding the "Recovered Card
Advice" (Exhibit 1E).

ID#: 151011-010410-0008066



Recovered Card Handling Fee and Collection - U.S. Region

A U.S. Acquirer may collect a handling fee for recovering a Visa Card or Visa Electron Card and
returning it to the Issuer. The fee is US $15 for a Card recovered at a Merchant or an ATM location.

ID#: 010410-010410-0006878



Recovered Card Rewards


Reward for Recovered Cards

An Issuer must pay a reward for a recovered Visa Card or Visa Electron Card and reimburse the
Acquirer for handling the recovered Card, as specified in "Recovered Card Handling Fees."

ID#: 010410-010410-0003653




826                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 864 of 1319
                                               PageID #: 4057
                                    Visa International Operating Regulations




Merchant Recovered Card Reward Requirement

An Acquirer must ensure that the minimum reward is paid to the Merchant that recovered a Card, as
specified in the "Rewards for Recovered Cards" table.

ID#: 010410-010410-0001784



Recovered Card Reward Limitations (Updated)

An Acquirer is not required to pay a reward for Visa Cards or Visa Electron Cards that are:

• Expired
• Effective through 14 October 2011, recovered at an ATM or Cardholder-Activated Terminal
• Effective 15 October 2011, recovered at an ATM or Unattended Cardholder-Activated Terminal
• Inadvertently left at a Merchant Outlet
• Non-Reloadable Cards recovered without a Pickup Response or request from the Issuer

Effective through 14 October 2011, an AP Acquirer is not required to pay a reward for Cards
recovered at an Automated Dispensing Machine. (This only applies in the Asia Pacific Region.)

ID#: 111011-010410-0008055



Recovered Card Rewards to Tellers and Merchants

If an Acquirer pays rewards to its tellers for the recovery of Visa Cards or Visa Electron Cards, it may
collect the reward amount from the Issuer, as specified in the table below.


                                            Rewards for Recovered Cards

              Paid To                        Amount

    Merchant                               US $25-$150

    Teller/Disbursing                      US $0-$150
    Member

ID#: 111011-010410-0001786



Recovered Counterfeit Card Rewards - AP Region

If an AP Disbursing Member pays rewards to its tellers for Counterfeit Card recovery, the Disbursing
Member may collect the local reward, not to exceed US $150 or local currency equivalent, from the
Issuer.

ID#: 010410-010410-0001777




18 October 2011                                    VISA PUBLIC                                        827
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15               Page: 865 of 1319
                                                   PageID #: 4058
                                    Visa International Operating Regulations




Recovered Card Rewards in Australia – AP Region

In Australia, an Acquirer must ensure that the minimum reward paid to a Merchant that recovers a
Card is as specified in the following table:


                           Rewards for Recovered Cards in Australia - AP Region

      Type of Recovery                                                                Amount

      For retention of a Card where the Merchant is suspicious of the Cardholder      AUD 200
      or Transaction

      For retention of a Card as a result of an Authorization Response                AUD 50

      For retention of a Card in the course of an attempted EFTPOS Transaction        AUD 50


The Acquirer is not required to pay a reward for Visa Cards or Visa Electron Cards that are:

• Expired
• Recovered at an ATM or Cardholder-Activated Terminal
• Inadvertently left at a Merchant Outlet

An Australia Issuer is not required to reimburse a reward paid by an Australia Acquirer to a person
who is not a Merchant or a staff member of a Merchant, such as law enforcement personnel or
employees of the Acquirer.

ID#: 111011-060111-0026174



Recovered Card Rewards - Canada Region

In the Canada Region, for each Card that is recovered, the Issuer must pay a reward to the Merchant
making the recovery, as specified in the table below.


                                Rewards for Recovered Cards - Canada Region

               Card Recovered as a Result of:                                  Minimum Reward Amount

      Issuer request, including when the Account Number                               CAD $50
      was listed on the Exception File

      Merchant suspicion and initiative when the Card was                            CAD $100
      not listed on the Exception File

      Merchant suspicion and initiative leading to arrest                           CAD $1,000
      and conviction of individual attempting to use the
      lost/stolen or Counterfeit Card




828                                                VISA PUBLIC                                   18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 866 of 1319
                                               PageID #: 4059
                                    Visa International Operating Regulations



Rewards for Card pick-up do not apply to Non-Reloadable Cards recovered without a Pickup
Response or request from the Issuer.

ID#: 111011-010410-0001754



Recovered Card Rewards - U.S. Region

If a U.S. Acquirer pays rewards to its tellers or other individuals for Visa Card or Visa Electron Card
recovery, it may collect this amount from the Issuer.

ID#: 010410-010410-0001774



Recovered Card Rewards - Special Circumstances - U.S. Region

A U.S. Acquirer must pay an individual that recovered a Card a reward of at least US $50 for each
Visa Card or Visa Electron Card that was recovered under any of the following circumstances:

• Account Number was listed on the National Card Recovery File
• Acquirer received a Pickup Response from an Authorization or Account Number Verification
  request
• At the Issuer's request

If the recovered Visa Card or Visa Electron Card was retained by a law enforcement agency, the
Acquirer must pay the reward upon receipt of a legible copy of the front and back of the recovered
Visa Card or Visa Electron Card.

ID#: 010410-010410-0001772



Recovered Card Reward Limitations - Issuer (Updated)

An Issuer is not required to reimburse the Acquirer for a reward for a Visa Card or a Visa Electron
Card that is:

• Effective through 14 October 2011, recovered at an ATM, Automated Dispensing Machine, or
  Self-Service Terminal
• Effective 15 October 2011, recovered at an ATM or Unattended Cardholder-Activated Terminal
• Inadvertently left at a Merchant Outlet
• A Non-Reloadable Visa Prepaid Card recovered without an Issuer's request or in the absence of a
  Pickup Response

ID#: 111011-010410-0002192




18 October 2011                                    VISA PUBLIC                                        829
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15       Page: 867 of 1319
                                                   PageID #: 4060
                                    Visa International Operating Regulations




Recovered Card Rewards - Suspicious Circumstances - U.S. Region

A U.S. Acquirer must pay the Merchant a reward of at least US $100 if a recovered Visa Card or
Visa Electron Card was not listed in the Exception File with a Pickup Response and the Merchant's
request for Authorization was due to either:

• Suspicious circumstances (Code 10 Authorization)
• Presentation of a Visa Card or Visa Electron Card on which the first 4 digits of the embossed
  or printed Account Number (if applicable) do not match the 4 digits printed above or below the
  Account Number

ID#: 010410-010410-0001773



Reimbursement of Recovered Card Rewards - U.S. Region

A U.S. Issuer must reimburse the Acquirer for the amount of a reward paid for Card recovery, up to
US $100.

Reimbursement of a reward payment must not exceed US $250 per instance of multiple Visa Card or
Visa Electron Card recovery.

ID#: 010410-010410-0008056




Counterfeit Losses

Counterfeit Transaction Liability


Assignment of Liability for Counterfeit Transactions

Visa assigns liability to the Issuer or Acquirer for counterfeit Transactions, based on the following
priorities in the order shown:

• The Acquirer, if the Merchant identified on a Risk Identification Service Chargeback Exception
                                                                                [105]
  Report contributed to the origination of the Counterfeit Transaction Receipt
• The Acquirer first receiving the Counterfeit Transaction Receipt, if the BIN is not assigned to a
  Member
• The Acquirer that submitted the Transaction into Interchange, if an Authorization was required
  and not obtained or the Account Number encoded on the Magnetic Stripe of a Visa Card or Visa
  Electron Card was authorized but was different than the embossed or printed Account Number
                             [106]
  submitted into Interchange




830                                                VISA PUBLIC                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                         Page: 868 of 1319
                                               PageID #: 4061
                                    Visa International Operating Regulations


• The Issuer identified by the manufacturer product information printed on the reverse side of
  the Visa Card or Visa Electron Card, if the counterfeit Visa Card or Visa Electron Card was
  recovered and resulted from either the loss or theft of an unembossed and unencoded Visa Card or
                                                                    [107]
  unencoded Visa Electron Card bearing the Visa Program Marks
• The Issuer, if its BIN appears on the Counterfeit Transaction Receipt or the BASE II Clearing
                                         [108]
  Record for the counterfeit Transaction

ID#: 050411-010410-0001812



Issuer Identification on Card

Visa identifies the Issuer that ordered the manufacture of a Visa Card or Visa Electron Card by either
the name printed on the Visa Card or Visa Electron Card or the manufacturer product information
printed on the back of the Visa Card or Visa Electron Card.

There is no time limit on a Member's right to reassign liability to the Issuer under this section.

ID#: 010410-010410-0008158



Counterfeit Card Transaction Reporting

If a Member discovers Counterfeit Card activity, the Member must immediately report the Account
Number to Visa.

ID#: 010410-010410-0001816



Account Data Compromise Recovery (ADCR)


Account Data Compromise Recovery Process Description - U.S. Region

In the U.S. Region, the Account Data Compromise Recovery (ADCR) process allows Visa to
determine the monetary scope of an account compromise event, collect from the responsible
Member, and reimburse Members that have incurred losses as a result of the event.

ADCR allows the recovery of counterfeit transaction losses across all Visa-owned brands (i.e., Visa,
Interlink, and Plus) when a violation attributed to another Visa Member could have allowed data to be
compromised and the subsequent financial loss was associated with any of the following:

• A Visa Transaction


105 For qualifying Transactions, the EMV Liability Shift, as specified in "EMV Liability Shift Participation," takes precedence
    over this section to assess liability in the event of a conflict.
106 For qualifying Transactions, the EMV Liability Shift, as specified in "EMV Liability Shift Participation," takes precedence
    over this section to assess liability in the event of a conflict.
107 For qualifying Transactions, the EMV Liability Shift, as specified in "EMV Liability Shift Participation," takes precedence
    over this section to assess liability in the event of a conflict.
108 For qualifying Transactions, the EMV Liability Shift, as specified in "EMV Liability Shift Participation," takes precedence
    over this section to assess liability in the event of a conflict.

18 October 2011                                      VISA PUBLIC                                                              831
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 869 of 1319
                                                   PageID #: 4062
                                    Visa International Operating Regulations


• An Interlink transaction
• A Plus transaction

This process is only available when there has been a violation of at least one of the following:

• Operating Regulations involving electronic storage of the full contents of any track on the Magnetic
  Stripe subsequent to Authorization of a Transaction
• Operating Regulations involving non-compliance with the Payment Card Industry Data Security
  Standard (PCI DSS) that could allow a compromise of the full contents of any track on the
  Magnetic Stripe
• Operating Regulations involving the PIN Management Requirements Documents that could allow
  a compromise of PIN data for a Visa Transaction, a Plus transaction, or an Interlink transaction
  subsequent to Authorization

The Account Data Compromise Recovery process includes:

• Counterfeit Fraud Recovery
• Operating Expense Recovery

ID#: 111011-010410-0000877



Transactions Excluded from ADCR Process - U.S. Region

In the U.S. Region, violations of the Visa International Operating Regulations not involving storage of
Magnetic-Stripe Data are excluded from this process.

In the U.S. Region, violations not involving non-compliance with the Payment Card Industry Data
Security Standard (PCI DSS) that could allow a compromise of the full contents of any track on the
Magnetic Stripe are excluded from this process.

Violations not involving a Transaction are resolved as specified in "Visa Right to Fine" and as deemed
appropriate by Visa.

ID#: 081010-010410-0000878



Determination of ADCR Eligibility - U.S. Region

Following the fraud analysis and investigation of the compromise event, the U.S. Member is provided
with:

• Findings in support of the preliminary determination that the event is eligible for the ADCR process
• Any estimated counterfeit fraud and operating expense liability amounts

ID#: 050411-010410-0009035




832                                                VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 870 of 1319
                                               PageID #: 4063
                                    Visa International Operating Regulations




Counterfeit Fraud Recovery Process - U.S. Region

A U.S. Member is compensated for a portion of its counterfeit fraud losses incurred as the result of a
Magnetic-Stripe Data account compromise event. The Counterfeit Fraud Recovery process is initiated
by Visa when:

• An account compromise event occurs
• A Compromised Account Management System (CAMS) Alert, or multiple CAMS Alerts for the
  same account compromise event, is sent to affected Members
• The account compromise event involves at least 10,000 Account Numbers and a combined total of
  US $100,000 or more recovery for all Issuers involved in the event
• At least one of the following:
  – The full contents of any track on the Magnetic Stripe was stored subsequent to Authorization of a
    Transaction
  – A violation of the Payment Card Industry Data Security Standard (PCI DSS) could have allowed
    a compromise of the full contents of any track on the Magnetic Stripe
  – A violation of the PIN Management Requirements Documents could have allowed a compromise
    of PIN data for a Visa Transaction, a Plus transaction, or an Interlink transaction subsequent to
    Authorization
• Incremental fraud is attributed to the particular account compromise event

ID#: 111011-010410-0000880



Counterfeit Fraud Reimbursement Conditions - U.S. Region

In the U.S. Region, only counterfeit fraud properly reported as specified in the Visa International
Operating Regulations is considered when determining any reimbursement due.

ID#: 010410-010410-0000881



Baseline Counterfeit Fraud Level Determination - U.S. Region

In the U.S. Region, Visa determines a baseline counterfeit fraud level by analyzing reported
Magnetic-Stripe-read counterfeit fraud losses that occurred up to 12 months before a Qualifying
CAMS Event date and one month after the Qualifying CAMS Event date.

ID#: 010410-010410-0000882



Counterfeit Fraud Recovery Eligibility - U.S. Region

U.S. Members are eligible for Counterfeit Fraud Recovery when there is incremental counterfeit fraud
activity above the baseline counterfeit fraud level, as determined by Visa.

ID#: 010410-010410-0000883



18 October 2011                                    VISA PUBLIC                                        833
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 871 of 1319
                                                   PageID #: 4064
                                    Visa International Operating Regulations




Counterfeit Fraud Recovery Process - U.S. Region

The U.S. Member deemed responsible for an account compromise event is notified of its estimated
counterfeit fraud liability.

After the deadline for fraud reporting has passed, a Member communication broadcast is used to
notify affected U.S. Members that an account compromise event qualifies for Counterfeit Fraud
Recovery and advises them of their recovery amount.

The U.S. Member deemed responsible for the account compromise event is then notified of its actual
counterfeit fraud liability.

ID#: 050411-010410-0008117



ADCR Reimbursement Guidelines - U.S. Region

The following rules are related to the recovery process in the U.S. Region:

• Only recovery amounts of US $25 or more are collected and distributed to affected U.S. Members.
• Only U.S. Members that were registered to receive CAMS Alerts at the time of the first CAMS Alert
  for the event that is the subject of the ADCR proceeding are eligible to receive counterfeit fraud
  reimbursement.
• Counterfeit fraud losses on Account Numbers that were included in a different Qualifying CAMS
  Event within the 12 months before the Qualifying CAMS Event date are excluded.
• If 2 or more Qualifying CAMS Events occur within 30 days of each other, and the events each
  involve a minimum of 100,000 Account Numbers, the responsible U.S. Members share liability for
  the counterfeit fraud amount attributed to the accounts in common.

ID#: 010410-010410-0000887



Counterfeit Fraud Liability Collection and Distribution - U.S. Region

Counterfeit fraud liability is collected from the responsible U.S. Member(s) through the Global
Member Billing Solution. Funds are distributed the following month, at the Business ID level, through
the Global Member Billing Solution, to affected Members.

ID#: 010410-010410-0000888



ADCR Administrative Fees - U.S. Region

In the U.S. Region, an administrative fee is charged to the Issuer for each reimbursement issued, as
specified in the Visa U.S.A. Fee Guide.

ID#: 081010-010410-0000889




834                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 872 of 1319
                                               PageID #: 4065
                                    Visa International Operating Regulations




Operating Expense Recovery Process - U.S. Region

A U.S. Member enrolled in the Operating Expense Recovery process is compensated for a portion of
its operating expenses incurred as a result of a Magnetic-Stripe Data account compromise event. The
Operating Expense Recovery process is initiated by Visa when:

• An account compromise event occurs
• A CAMS Alert, or multiple CAMS Alerts for the same account compromise event, is sent to affected
  Members
• The account compromise event involves at least 10,000 Account Numbers and a combined total of
  US $100,000 or more recovery for all Issuers involved in the event
• At least one of the following:
  – The full contents of any track on the Magnetic Stripe were stored subsequent to Authorization of
    a Transaction
  – A violation of the Payment Card Industry Data Security Standard (PCI DSS) could have allowed
    a compromise of the full contents of any track on the Magnetic Stripe
  – A violation of the PIN Management Requirements Documents could have allowed a compromise
    of PIN data for a Visa Transaction, a Plus transaction, or an Interlink transaction subsequent to
    Authorization

ID#: 111011-010410-0000890



Operating Expense Recovery Enrollment - U.S. Region

U.S. Members must complete the one-time Operating Expense Recovery enrollment process to be
eligible to receive operating expense reimbursement. Members may enroll at any time but are only
eligible for operating expense reimbursement for Qualifying CAMS Events that occur after enrollment
is complete. Members not enrolled prior to a Qualifying CAMS Event date are not eligible to receive
operating expense reimbursement.

ID#: 010410-010410-0000891



Operating Expense Liability Notification - U.S. Region

The U.S. Member deemed responsible for an account compromise event is notified of its estimated
operating expense liability.

A Member communication broadcast is used to notify affected U.S. Members enrolled in the
Operating Expense Recovery process that an account compromise event qualifies for Operating
Expense Recovery and advises them of their recovery amount.

The U.S. Member deemed responsible for the account compromise event is then notified of its actual
operating expense liability.

ID#: 010410-010410-0008116




18 October 2011                                    VISA PUBLIC                                     835
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 873 of 1319
                                                   PageID #: 4066
                                    Visa International Operating Regulations




Operating Expense Recovery Conditions - U.S. Region

The following rules are related to the recovery process in the U.S. Region:

• Only recovery amounts of US $25 or more are collected and distributed to affected U.S. Members
  enrolled in the Operating Expense Recovery process.
• Only U.S. Members that were registered to receive CAMS Alerts at the time of the first CAMS Alert
  for the event that is the subject of the ADCR proceeding are eligible to receive operating expense
  reimbursement.
• Operating expenses for Account Numbers that were included in a different Qualifying CAMS Event
  within the 12 months before the CAMS Event date are excluded.
• If 2 or more Qualifying CAMS Events occur within 30 days of each other, and the events each
  involve a minimum of 100,000 Account Numbers, the responsible U.S. Members share liability for
  the operating expense attributed to the accounts in common.

ID#: 010410-010410-0000895



Operating Expense Liability Collection and Distribution - U.S. Region

Operating expense liability is collected from the responsible U.S. Member(s) through the Global
Member Billing Solution. Funds are distributed the following month, at the Business ID level, through
the Global Member Billing Solution to affected Members enrolled in the Operating Expense Recovery
process.

ID#: 010410-010410-0000896



Operating Expense Recovery Administration Fee - U.S. Region

In the U.S. Region, an administrative fee is charged to the Issuer for each reimbursement issued, as
specified in the Visa U.S.A. Fee Guide.

ID#: 081010-010410-0000897



Operating Expense Reimbursement Conditions - U.S. Region

Reimbursements to affected U.S. Members are based solely upon the ability of Visa to collect the
counterfeit fraud and operating expense liability amounts from the responsible Member.

ID#: 010410-010410-0000898




836                                                VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 874 of 1319
                                               PageID #: 4067
                                    Visa International Operating Regulations




Catastrophic Account Compromise Event - U.S. Region

In the U.S. Region, if an account compromise event is deemed catastrophic, Visa reserves the right
to implement an alternative process.

ID#: 010410-010410-0008929



ADCR Appeal - U.S. Region

A U.S. Member may appeal a determination of eligibility to Visa by submitting an appeal letter. The
appeal letter must:

• Be received by Visa within 30 calendar days of the Member's receipt of the Notification of eligibility
  and estimated liability
• Include written arguments and supporting information for the appeal

In the U.S. Region, the appeal rights, as specified in "Enforcement Appeals - U.S. Region," are not
applicable to ADCR.

Visa will notify the U.S. Member of the final disposition of the appeal.

In the U.S. Region, the decision on any appeal is final and not subject to any challenge.

Visa will collect from the U.S. Member an appeal fee, as specified in the Visa U.S.A. Fee
Guide, through the Global Member Billing Solution. For a data compromise event that qualifies under
both the ADCR process and the international Data Compromise Recovery solution, Visa will collect
only one appeal fee from the Member, as specified in the Visa U.S.A. Fee Guide.

ID#: 050411-010410-0009036



Data Compromise Recovery Solution (DCRS)


Data Compromise Recovery Solution Overview

An Issuer of Visa International or Visa Europe may recover incremental counterfeit fraud losses
resulting from a Data Compromise event involving theft of full Magnetic-Stripe Data under the Data
Compromise Recovery solution from Member(s) to whom liability for such loss has been assigned
pursuant to the Data Compromise Recovery solution.

ID#: 010410-010410-0003334




18 October 2011                                    VISA PUBLIC                                        837
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 875 of 1319
                                                   PageID #: 4068
                                    Visa International Operating Regulations




Data Compromise Recovery Solution Eligibility

Visa will determine a data compromise event, fraud, and Issuer eligibility under the Data Compromise
Recovery Solution.

ID#: 010410-010410-0003335



Data Compromise Event Eligibility

Visa will determine data compromise event eligibility based on:

• Forensic confirmation or preponderance of evidence that a breach exists
• A violation of the Payment Card Industry Data Security Standard (PCI DSS) occurred that could
  allow a compromise of account data
• Full Magnetic Stripe counterfeit fraud occurred on a portion of exposed Account Numbers
• Effective for a determined data compromise event occurring on or before 8 December
  2010, a minimum of 10,000 Account Numbers were exposed and a minimum of US $100,000 in
  Magnetic Stripe counterfeit fraud occurred during the data compromise event time period
• Effective for a determined data compromise event occurring on or after 9 December 2010, a
  minimum of 10,000 Account Numbers were exposed and there is a combined total of US $100,000
  or more in recovery for all Issuers involved in the event

ID#: 050411-010410-0000867



Data Compromise Fraud Eligibility Criteria

Visa will determine fraud eligibility based on all of the following:

• Counterfeit fraud was reported to Visa
• Authorized counterfeit fraud Transactions with full Magnetic-Stripe Data occurred, including Card
  Verification Value
• Counterfeit fraud Transactions occurred after the Magnetic-Stripe Data was exposed

ID#: 010410-010410-0000868



Unrecovered Counterfeit Fraud Losses

Visa will determine Issuer eligibility for unrecovered counterfeit fraud losses, based on the Issuer
being:

• Capable of receiving Visa data compromise fraud alerts
• In compliance with regional Issuer fraud control programs

ID#: 010410-010410-0000869




838                                                VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 876 of 1319
                                               PageID #: 4069
                                    Visa International Operating Regulations




Data Compromise Recovery Liability Time Limit

An Acquirer's liability under the Data Compromise Recovery solution is limited to a maximum time
period of 13 months and is associated with a single data compromise event.

ID#: 010410-010410-0000870



Data Compromise Event Time Period

The data compromise event time period begins with the earliest known data exposure, not to exceed
12 months before the data compromise event alert and concludes 30 calendar days following the
data compromise event alert.

ID#: 010410-010410-0000871



Data Compromise Fraud Loss Recovery

Issuers' total fraud loss recovery is limited to the:

• Maximum liability assigned to the Acquirer by Visa
• Amount recoverable from the Acquirer

ID#: 010410-010410-0000872



Visa Liability for Data Compromise Recovery Amount

Visa has no liability for an Acquirer's or any other party's inability to pay any amount owed during
Data Compromise Recovery.

ID#: 010410-010410-0000873



Acquirer Liability for Data Compromise Event

Acquirers deemed liable for a data compromise event will be obligated to bear the assigned liability
as determined by Visa.

ID#: 010410-010410-0000874



Visa Rights Pertaining to Data Compromise Event Liability

Visa reserves the right to adjust an Acquirer's total liability for a data compromise event.

ID#: 010410-010410-0000875




18 October 2011                                    VISA PUBLIC                                         839
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15        Page: 877 of 1319
                                                   PageID #: 4070
                                    Visa International Operating Regulations




Data Compromise Recovery Debits, Credits, and Fees

Visa will submit debits to the Acquirer responsible for the data compromise event and credits, less
administrative fees, to eligible Issuers through the Global Member Billing Solution. Visa will retain an
administration fee, as specified in the applicable regional fee guide.

The debit and credit amounts as determined by Visa are final and not subject to any appeal or other
challenge.

ID#: 111011-010410-0009031



Data Compromise Event Appeal

An Acquirer may appeal a determination of eligibility to Visa by submitting an appeal letter. The
appeal letter must:

• Be received by Visa within 30 calendar days of the Acquirer's receipt of the Notification of eligibility
  and estimated liability
• Include written arguments and supporting information for the appeal

ID#: 050411-310309-0006892



Data Compromise Event Appeal Fee

Visa will collect from the Acquirer an appeal fee, as specified in the applicable regional fee guide,
through the Global Member Billing Solution.

For a data compromise event that qualifies under both the Data Compromise Recovery solution and
any other Visa Region-specific data compromise recovery program, Visa will collect only one appeal
fee from the Acquirer, as specified in the applicable regional fee guide.

ID#: 050411-310309-0006893



Data Compromise Event Appeal Decision

Visa will notify the Acquirer of the final disposition of the appeal. The decision on any appeal is final
and not subject to any challenge.

ID#: 050411-310309-0006894




840                                                VISA PUBLIC                             18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 878 of 1319
                                               PageID #: 4071
                                    Visa International Operating Regulations




POS Entry Mode Compliance Liability - AP Region


Acquirer Liability for Counterfeit Transactions - AP Region

An AP Acquirer is liable for counterfeit loss, as specified in "Compliance Rights for Counterfeit
Transactions - AP Region":

• When a key-entered Transaction occurs at a Merchant Outlet in a Face-to-Face Environment
• For a POS Entry Mode Code 00 Transaction, unless the Acquirer demonstrates that the
  Authorization Request was submitted by fax or telephone from a Merchant that does not have a
  Magnetic-Stripe Terminal

Visa will require an Acquirer to install a Magnetic-Stripe Terminal at a Merchant with excessive
counterfeit Transactions that were processed with a POS Entry Mode Code 00 and 01.

ID#: 050411-010410-0008175



Compliance Rights for Counterfeit Transactions - AP Region

An AP Issuer may file Compliance to recover the value of a key-entered or POS Entry Mode Code 00,
"Unknown," Transaction when the:

• Cardholder disputes the Transaction in writing
• Issuer certifies the Account Number is counterfeit
• Account Number was blocked on the Exception File before or on the pre-Compliance filing date
• Transaction Receipt proves that the Cardholder did not participate in the Transaction
• Issuer is certified as a Card Verification Value participant and is referring or declining Transactions
  when the Card Verification Value fails
• Transaction occurred at a Merchant Outlet in a Face-to-Face Environment

ID#: 010410-010410-0008011




Authentication Requirements

PIN Requirements


PIN Security Requirements

An Acquirer must ensure the security of a PIN when used to identify the Cardholder in a Transaction,
as specified in the PCI PIN Security Requirements manual.




18 October 2011                                    VISA PUBLIC                                         841
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 879 of 1319
                                                   PageID #: 4072
                                    Visa International Operating Regulations



An Issuer or its agent receiving a non-secure PIN block format from Visa must convert to a secure
PIN block format, as specified in the PCI PIN Security Requirements manual.

ID#: 010410-010410-0005291



PIN Security Compliance VIOR 2.1.E

An Acquirer or its agent processing PINs for Visa Transactions must comply with the security
requirements specified in the PCI PIN Security Requirements manual, including the requirement to
perform a "PIN Security Requirements Self-Audit." Failure to comply with the security requirements
specified in the manual may subject the Acquirer to the fines specified in "PIN Security Non-
Compliance Penalties."

ID#: 010410-010410-0001790



PIN Verification Requirements

PIN Verification is required for all ATM Transactions.

An Issuer may provide PIN Verification for each Transaction itself or using the Visa PIN Verification
Service.

• If the Issuer performs PIN Verification, it must:
  – Install a direct computer interface to the V.I.P. System
  – Comply with requirements for PIN processing specified in the VisaNet manuals
• If the Issuer uses the PIN Verification Service, it must comply with the Key Management Service
  procedures specified in the Payment Technology Standards Manual.

ID#: 081010-010210-0008138



PIN Verification Service Description

The PIN Verification Service is an optional Visa service that verifies the Cardholder's PIN in an
Authorization Request. An Issuer may choose to use this service by submitting a written request
to Visa at least 90 calendar days before implementation. An Issuer may choose to use the PIN
Verification Service either:

• As a full-time service for all Authorization Requests that include a PIN
• On a limited basis, if the Issuer is unavailable or unable to respond within the time required by the
  assured Transaction response parameters

ID#: 111011-010410-0001856




842                                                VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 880 of 1319
                                               PageID #: 4073
                                    Visa International Operating Regulations




PIN as Cardholder Verification Method in Australia – Acquirer Requirements – AP
Region (Updated)

Effective 1 April 2012, in Australia an Acquirer and its Merchants must:

• Activate their PIN pads at Chip-Reading Devices to enable EMV PIN Transactions
• Provide PIN bypass facilities for Chip-Initiated Transactions on PIN-preferring Chip Cards. PIN-
  bypass Transactions must be verified in accordance with the Card’s Cardholder Verification
  Method list, be completed in accordance with EMV and VIS specifications and follow the correct
  Card acceptance procedures as defined in the Visa International Operating Regulations.

An Acquirer must ensure that appropriate training of its Merchants takes place in advance of the
above requirement coming into effect.

ID#: 111011-210611-0026175



PIN as Cardholder Verification Method in New Zealand – Acquirer Requirements – AP
Region (Updated)

Effective 1 April 2012, in New Zealand an Acquirer and its Merchants must:

• Activate their PIN pads at Chip-Reading Devices to enable EMV PIN Transactions
• Provide PIN bypass facilities for Chip-Initiated Transactions on PIN-Preferring Chip Cards. PIN-
  bypass Transactions must be verified in accordance with the Card's Cardholder Verification
  Method List, be completed in accordance with EMV and VIS specifications and follow the correct
  Card acceptance procedures as defined in the Visa International Operating Regulations

Acquirers must ensure that appropriate training of Merchants takes place prior to the above
regulations coming into effect.

ID#: 171011-210611-0026143



Issuer PIN Security Requirements - Canada Region

A Canada Issuer or its agent issuing PINs for Visa Chip Cards must comply with the security
requirements specified in the Issuer PCI PIN Security Requirements manual at http://www.visainfo.ca
and which may be changed from time to time by Visa management in its sole discretion. Canada
Members will be provided reasonable advance notice of all such changes.

ID#: 010410-010410-0001795



PIN Verification Service - Issuer Requirements - U.S. Region

If a U.S. Issuer uses the PIN Verification Service, the Issuer must either:




18 October 2011                                    VISA PUBLIC                                     843
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 881 of 1319
                                                   PageID #: 4074
                                    Visa International Operating Regulations


• Encode the PIN Verification Field on the Magnetic Stripe, and for Cards containing a Chip, both the
  Magnetic Stripe and Chip
• Ensure that the PIN Verification Value resides on the PIN Verification Value File

If the U.S. Issuer does not require Stand-In Processing to verify PINs, the Issuer is not required to
encode PIN Verification data on the Magnetic Stripe or Chip.

ID#: 010410-010410-0007045



PIN Security Requirements - U.S. Region

A U.S. Acquirer or its agent processing PINs for Visa Transactions must comply with the security
requirements specified in the PIN Management Requirements Documents.

Each year, on a predetermined due date, a U.S. Acquirer or its agent must complete and return to
Visa:

• The "PIN Security Requirements Self-Audit Compliance Statement"
• If required, the "PIN Security Requirements Self-Audit Exception Form"

In addition, every 36 months, on the same predetermined due date, a U.S. Acquirer must complete
and return the "PIN Security Requirements Self-Audit" form.

See "PIN Security Non-Compliance Penalties - U.S. Region" for penalties for failure to comply.

ID#: 010410-010410-0007046



Triple DES


Triple Data Encryption Standard Requirements - AP Region

An AP Issuer must be certified to receive and process Triple Data Encryption Standard (DES)
Transactions.

An AP Acquirer must ensure that:

• All ATMs must support Triple DES
• All PIN-based point-of-sale (POS) acceptance devices must support Triple DES
• All transactions initiated at Triple DES-capable devices must be Triple DES-encrypted from point of
  acceptance to Visa

ID#: 010410-010410-0008139




844                                                VISA PUBLIC                           18 October 2011
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                                               PageID #: 4075
                                    Visa International Operating Regulations




ATM Triple Data Encryption Standard Requirements - Canada Region

All ATMs in the Canada Region must be Triple Data Encryption Standard (Triple DES) capable and
all online PIN-based Transactions initiated at ATMs must be Triple DES encrypted end-to-end using
double-length keys.

ID#: 111011-010710-0004709



Card Verification Value (CVV)


Card Verification Service Participation

All Members must participate in the Card Verification Service.

ID#: 111011-010410-0003234



Card Verification Value Requirements

An Issuer must be capable of receiving the POS Entry Mode code and processing the Card
Verification Value according to the procedures specified in the VisaNet manuals.

All Cards must be encoded with the Card Verification Value, as specified in the Payment Technology
Standards Manual.

Subject to the rule below, at the Issuer's option, the Cardholder Verification Value contained in the
Magnetic-Stripe Image (track 2 equivalent data) on the Chip (Chip Card Verification Value-iCVV) may
differ from the Card Verification Value encoded on the Card's Magnetic Stripe.

All newly issued EMV Chip Cards and existing EMV Chip Cards on renewal must use Chip Card
Verification Value-iCVV as part of the Magnetic-Stripe Image, as defined in the Payment Technology
Standards Manual.

ID#: 050411-010410-0008133



Card Acceptance Terminal Requirements

An Acquirer must ensure that its Merchant Card acceptance terminal transmits the entire unaltered
contents of the Magnetic Stripe or be subject to a Chargeback.

ID#: 010410-010410-0000666




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                                                   PageID #: 4076
                                    Visa International Operating Regulations




Card Verification Value Encoding Requirements

All Cards, including Emergency Card Replacements, must be encoded with the Card Verification
Value, as specified in the Card Verification Value Specifications Guide and the Payment Technology
Standards Manual.

ID#: 081010-010210-0003604



Authorized Transactions with Failed CVV - AP Region

An AP Issuer is prohibited from initiating a Chargeback if the Transaction failed CVV, but was
authorized by the Issuer or Stand-In Processing.

ID#: 010410-010410-0000613



Integrated Circuit Card Verification Value (iCVV) Requirements - AP Region

All new AP Chip Card Issuers must certify support for Integrated Circuit Card Verification Value
(iCVV) in the Magnetic Stripe data encoded on the Chip.

All AP Visa Smart Debit and Credit (VSDC) Card Issuers must certify support for Integrated Circuit
Card Verification Value (iCVV) in the Magnetic Stripe data encoded on the Chip.

All newly issued AP Visa Smart Debit and Credit (VSDC) Cards must contain an Integrated Circuit
Card Verification Value (iCVV) in the Magnetic Stripe data encoded on the Chip.

The Card Verification Value (CVV) encoded on other (non-Magnetic Stripe) technologies must differ
from the CVV value encoded on the physical Magnetic Stripe.

ID#: 010410-010410-0004087



dCVV for Contactless Payment Program - U.S. Region

A U.S. Issuer must support Dynamic Card Verification Value (dCVV) authentication for its Contactless
Payment Program, as specified in the Visa U.S.A. Contactless Payment Program Technical
Implementation Guide.

ID#: 010410-010410-0000671



Card Verification Value 2 (CVV2)


CVV2 on Visa Cards

All Visa Cards must bear a Card Verification Value 2 (CVV2), as specified in the:




846                                                VISA PUBLIC                         18 October 2011
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                                               PageID #: 4077
                                    Visa International Operating Regulations


• Card Verification Value Specifications Guide
• Payment Technology Standards Manual
• Visa Product Brand Standards

CVV2 is optional for a Proprietary Card bearing the Plus Symbol.

ID#: 010410-010210-0000676



CVV2 on Visa Electron Cards

If the full Account Number is used, an Issuer must indent-print a Card Verification Value 2 on the back
of a Visa Electron Card, as specified in the:

• Card Verification Value Specifications Guide
• Payment Technology Standards Manual
• Visa Product Brand Standards

ID#: 010410-010210-0000677



CVV2 for Card-Absent Transactions - AP Region

In a Card-Absent transaction where the CVV2 was supplied by the AP Acquirer as part of the
Authorization message, an AP Issuer will be liable for Transactions approved showing a CVV2 result
code of N.

ID#: 010410-010410-0000674



Card Verification Value 2 (CVV2) Requirements in Australia – AP Region (Updated)

Effective 1 April 2012, all Electronic Commerce Merchants must capture CVV2 and include it in the
Authorization record.

This requirement does not apply to:

• Merchants who participate in Verified By Visa
• Transactions involving Visa Commercial Card Virtual Accounts

Effective 1 April 2012, all Acquirers must correctly process CVV2 response codes.

ID#: 111011-140411-0026176




18 October 2011                                    VISA PUBLIC                                      847
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 885 of 1319
                                                   PageID #: 4078
                                    Visa International Operating Regulations




Card Verification Value 2 (CVV2) Requirements in Hong Kong – AP Region (Updated)

Effective 1 October 2011, all Electronic Commerce Merchants in Hong Kong must capture CVV2
and include it in the Authorization Request. Transactions involving Visa Commercial Card Virtual
Accounts are excluded from this mandate.

Effective 1 October 2011, all Acquirers in Hong Kong must correctly process CVV2 response codes.

ID#: 151011-011011-0026538



Card Verification Value 2 (CVV2) Requirements in New Zealand – AP Region

Effective 1 April 2012, all Electronic Commerce Merchants must capture CVV2. Visa Commercial
Card Virtual Accounts are excluded from this requirement.

Effective 1 April 2012, all Acquirers must correctly process CVV2 response codes.

ID#: 050411-060111-0026144



CVV2 Requirements - Canada Region

A Canada Acquirer participating in the Card Verification Value 2 (CVV2) service must populate the
CVV2 results code received in the Authorization Response in a Transaction's corresponding Clearing
Record.

ID#: 010410-010410-0000675



CVV2 Issuer Requirements - U.S. Region

All U.S. Issuers must:

• Be certified as able to receive and respond to Authorization Requests containing the values for
  Card Verification Value 2 (CVV2), as specified in the applicable VisaNet manual
• Provide Visa with valid CVV2 encryption keys and test account numbers with CVV2 values and
  expiration dates

ID#: 010410-010410-0000672



CVV2 Acquirer Requirements - U.S. Region

All U.S. Acquirers must be certified as able to send, and receive responses to, Authorization
Requests containing the values for Card Verification Value 2, as specified in the applicable VisaNet
manual.

ID#: 010410-010410-0003845




848                                                VISA PUBLIC                         18 October 2011
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                                               PageID #: 4079
                                    Visa International Operating Regulations




CVV2 Validation - U.S. Region (Updated)

Effective through 14 October 2011, a U.S. Merchant certified by Visa may validate the Card
Verification Value 2 (CVV2) on the Card when the Magnetic Stripe on a Visa Card cannot be read.
A CVV2 result code M, "Fully Matched," is considered an Imprint for the purposes of Chargeback
Reason Code 81, "Fraudulent Transaction - Card-Present Environment."

ID#: 111011-010410-0002849



CVV2 Submission in a Face-to-Face Environment - U.S. Region (New)

Effective 15 October 2011, in the U.S. Region, for a Transaction in a Face-to-Face Environment, if
the Magnetic Stripe cannot be read, the Card Verification Value 2 (CVV2) is an Imprint if the:

• Transaction is key-entered
• CVV2 is included in the Authorization Request
• Merchant is not assigned Merchant Category Code 7995, "Betting, including Lottery Tickets,
  Casino Gaming Chips, Off-Track Betting, and Wagers at Race Tracks"
• Transaction is not a:
  – Quasi-Cash Transaction
  – Cash-Back Transaction
  – Manual Cash Disbursement
• Authorization was obtained

ID#: 111011-151011-0026370



CVV2 in Lieu of Imprint - U.S. Region (Updated)

Effective through 14 October 2011, a U.S. Acquirer whose Merchant meets the following criteria
may request certification from Visa for its Merchant to qualify for the CVV2 in lieu of Imprint program:

• Cardholder Information Security Program Level 1-compliant, with a complete Report on
  Compliance filed with the Acquirer
• A key-entered Transaction rate below 3.5% of total Transactions
• A face-to-face fraud-related Chargeback rate below 0.02% [109]

U.S. Acquirers of Merchants qualifying for the CVV2 in lieu of Imprint program will receive written
certification from Visa.

ID#: 111011-010410-0008173




109 The face-to-face fraud-related Chargeback rate is the U.S. dollar amount of Chargebacks processed with Chargeback
    Reason Code 81, "Fraud - Card Present Environment," as a percentage of all face-to-face Transaction U.S. sales dollars.

18 October 2011                                    VISA PUBLIC                                                          849
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15               Page: 887 of 1319
                                                   PageID #: 4080
                                    Visa International Operating Regulations




Authentication Fines and Penalties


PIN Security Non-Compliance Penalties

A Member is subject to the fines specified in the table below if it fails to comply with "PIN Security
Compliance" and:

• Complete and return the "PIN Security Requirements Self-Audit" form
• Complete and return the "PIN Security Requirements Self-Audit Compliance Statement"
• Respond to a non-compliance Notification

             Fines for Failure to Complete the PIN Security Requirements Self-Audit or
           Self-Audit Compliance Statement, or Respond to Non-Compliance Notification

                          Calendar Days                                             Fine

      Annual due date + 29 calendar days                                           No fine

      Due date + 30 calendar days to 59 calendar days                          US $10,000 fine

      Due date + 60 calendar days to 89 calendar days                          US $10,000 fine

      Due date + 90 calendar days to 119 calendar days                         US $10,000 fine

      Due date + 120 calendar days and every 30                                US $25,000 fine
      calendar days onward

ID#: 010410-010410-0001288



PIN Security Violation Penalties

An Acquirer that fails to respond within 30 calendar days of receipt of a non-compliance Notification,
following an onsite inspection for PIN security violations, may be fined or have its certification
suspended until the response has been received and acknowledged by Visa.

An Acquirer that provides an action plan in response to a Notification but does not perform its
commitments must post a performance bond or escrow of US $100,000 until either:

• Compliance is confirmed by Visa
• Acquirer certification is suspended

If Acquirer certification is suspended, the Acquirer may forfeit the posted or escrowed amount.

ID#: 010410-010410-0005872




850                                                VISA PUBLIC                                   18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 888 of 1319
                                               PageID #: 4081
                                    Visa International Operating Regulations




PIN Security Review Fee - AP Region

As specified in the Visa Asia Pacific Fee Guide, a fee will be assessed for each initial AP PIN Security
review performed. If, after a PIN review, Visa determines that an AP Member fails to demonstrate full
compliance with the PCI PIN Security Requirements, the Member is responsible for:

• Follow-up review fee dependent on the level of non-compliance identified
• Cost associated with additional reviews until compliant

ID#: 081010-010410-0001794



PIN Security Non-Compliance Penalties - U.S. Region

If a U.S. Member fails to complete and return the "PIN Security Requirements Self-Audit" form or the
"PIN Security Requirements Self-Audit Compliance Statement," the Member is assessed a fine, as
specified in the table below.


                          Fines for Failure to Complete PIN Security Requirements
                             Self-Audit or Compliance Statement - U.S. Region

                                Calendar Days                                       Fine

    Annual due date + 29 calendar days                                             No fine

    Due date + 30 calendar days to 59 calendar days                            US $10,000 fine

    Due date + 60 calendar days to 89 calendar days                            US $10,000 fine

    Due date + 90 calendar days to 119 calendar days                           US $10,000 fine

    Due date + 120 calendar days and each subsequent 30-                       US $25,000 fine
    calendar-day period

ID#: 111011-010410-0003708



Contesting of PIN Requirement Non-Compliance Penalty - U.S. Region

A U.S. Issuer may contest an assessed PIN requirements penalty by submitting evidence to Visa that
the penalty was not warranted.

If an Issuer contests an assessed penalty because it may be eligible for a variance, Visa will consider
the opposition as a request for a variance and submit it to the Board for resolution.

If the Board grants a variance, Visa will waive the assessed penalty.

ID#: 010410-010410-0008152




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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 889 of 1319
                                                   PageID #: 4082
                                    Visa International Operating Regulations




Terminated Merchant File

Terminated Merchants


Required Use of Visa Merchant Trace System - AP Region

Effective 1 March 2011, in the AP Region all Acquirers located in Australia, Cambodia, Hong Kong,
India, Indonesia, Macau, Malaysia, New Zealand, Philippines, Sri Lanka and Thailand must:

• Enter terminated Merchant details into the Visa Merchant Trace System database within one
  business day after terminating a Merchant Agreement due to one of the reasons specified in
  the “Terminated Merchant Listing Reasons” in the Visa Merchant Trace System Participation
  Requirements
• Comply with all requirements specified in the Visa Merchant Trace System Service Participation
  Requirements

ID#: 151011-010311-0026131



Common Terminated Merchant Database - Canada Region

All Canada Acquirers in Canada must participate in a common terminated Merchant database. The
database must be an automated Merchant risk database that Acquirers within Canada may use to
determine if a Merchant's contract has been terminated for cause by another Acquirer. An Acquirer
must use either:

• An externally managed common terminated Merchant database
• Visa National Merchant Alert Service

ID#: 010410-010410-0007377



National Merchant Alert Service - Canada Region

Canada Acquirers must:

• Concurrent with the closure of a Merchant Outlet, list the Merchant on a common terminated
  merchant database or the National Merchant Alert Service file for a period of 3 years if the
  Merchant violated the Merchant Agreement and was subsequently terminated for cause
• Retain Merchant Agreement termination information for all Merchants listed on a common
  terminated merchant database or the National Merchant Alert Service file for a period of 3 years

ID#: 010410-010410-0007378




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                                               PageID #: 4083
                                    Visa International Operating Regulations




National Merchant Alert Service Fee - Canada Region

Canada Acquirers must pay Visa a National Merchant Alert Service fee to be collected through
VisaNet if the service is utilized.

ID#: 010410-010410-0007380



Terminated Merchant Non-Compliance Fines - Canada Region

If a Canada Acquirer fails to comply with the requirements of "Common Terminated Merchant
Database - Canada Region," Visa may assess a fine of CAD $2,500 per violation.

ID#: 010410-010410-0007381



Terminated Merchant File Listing Requirements - U.S. Region 2.2.C.2.a

A U.S. Acquirer must add a terminated Merchant to the file as soon as possible, but no later than
close of business on the day following the date the Merchant is notified of the intent to terminate the
agreement. An Acquirer must list the Merchant if terminated for one or more of the following reasons:

• Merchant was convicted of credit or debit card fraud
• Merchant deposited excessive Counterfeit Transaction Receipts
• Merchant deposited excessive Transaction Receipts unauthorized by Cardholders
• Merchant deposited Transaction Receipts representing sales of goods or services generated by
  another Merchant (laundering)
• Acquirer received an excessive number of Chargebacks due to Merchant's business practices or
  procedures

ID#: 010410-010410-0007386



Terminated Merchant File Information Requirements - U.S. Region

A U.S. Acquirer must add a Merchant to the Terminated Merchant File within 24 hours of determining
that:

• The Merchant was terminated for reasons other than those listed in "Terminated Merchant File
  Listing Requirements - U.S. Region"
• Within 90 calendar days of the termination date, the Acquirer determines that the Merchant should
  have qualified for the listing

The Merchant listing must include the:

• Business name
• Names and identification of principals of terminated Merchants



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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 891 of 1319
                                                   PageID #: 4084
                                    Visa International Operating Regulations



The Acquirer must report terminated Merchants, as specified.

ID#: 111011-010410-0007969



Terminated Merchant File Deletion - U.S. Region

Only the U.S. Member that added the Merchant to the Terminated Merchant File may request
deletion of the Merchant name or information.

A Member that incorrectly adds a Merchant to the file must request correction of the file immediately
upon recognition of an error.

ID#: 010410-010410-0007963



Terminated Merchant File Compliance Reasons - U.S. Region

A U.S. Member that fails to comply with the Terminated Merchant File requirements specified in the
U.S. Regional Operating Regulations may be subject to Compliance, including liability for losses
incurred by another Member as a result of the failure to comply.

ID#: 010410-010410-0008174




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                                               PageID #: 4085
                                    Visa International Operating Regulations




Chapter 9: Dispute Resolution

Core Principle 9.1

Attempt to Honor/Post all Transactions


Issuer Transaction Acceptance

Participating issuers are responsible for accepting and attempting to honor all transactions, but they
may have rights to return transactions for reasons specified by Visa. These reasons can include
events such as inadvertent processing errors, some types of fraud and certain cardholder disputes.

ID#: 171009-171009-0025563




Core Principle 9.2

Offer Mutual Assistance to Other Participants


Assisting in the Resolution of Disputes

Participants in the Visa system agree to attempt to offer mutual assistance to other participants to
resolve transaction disputes prior to escalating the dispute to Visa for final resolution.

ID#: 171009-171009-0025564




Core Principle 9.3

Prevent Unjust Enrichment


Unjust Enrichment

Visa participants agree to take appropriate action to prevent unjust enrichment to themselves or their
customers by failing to credit a customer for a transaction that is charged back, or by taking multiple
credits for a single transaction.

ID#: 171009-171009-0025565




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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 893 of 1319
                                                   PageID #: 4086
                                    Visa International Operating Regulations




Core Principle 9.4

Visa Acts as Arbitrator


Arbitrating Unresolved Disputes

For unresolved transaction disputes, Visa acts essentially as an arbitrator between participants.

ID#: 171009-171009-0025566




Dispute Resolution Process

Cardholder Disputes


Introduction to Dispute Resolution - U.S. Region (Updated)

Effective for Transactions completed through 30 June 2015, for a U.S. Domestic Transaction,
an Issuer must resolve Cardholder disputes under the Operating Regulations by extending to
Cardholders all protections provided on any Visa Card under Federal law or regulation and by
utilizing the Issuer's customary practices to resolve Cardholder disputes, regardless of which
type of Visa Card was used. Thus, the resolution of such Cardholder disputes will be the same
in similar circumstances regardless of which type of Visa Card was used. The foregoing applies
only with respect to Transactions on Cards using the Visa Flag Symbol or Visa Brand Mark, not to
Transactions using any other payment card brand even if such brand is on the Visa Card. By way of
example, a purchase made with a Visa Check Card that is not a Visa Check Card II and is processed
as another brand network transaction, such as a domestic PIN network, is not governed by this rule
because the purchase is not a Transaction made using the Visa Flag Symbol or Visa Brand Mark.

Effective for Transactions completed on or after 1 July 2015, for a U.S. Domestic Transaction,
an Issuer must resolve Cardholder disputes under the Operating Regulations by extending to
Cardholders all protections provided on any Visa Card under Federal law or regulation and by
utilizing the Issuer's customary practices to resolve Cardholder disputes, regardless of which
type of Visa Card was used. Thus, the resolution of such Cardholder disputes will be the same
in similar circumstances regardless of which type of Visa Card was used. The foregoing applies
only with respect to Transactions on Cards using the Visa Flag Symbol or Visa Brand Mark, not to
Transactions using any other payment card brand even if such brand is on the Visa Card. By way
of example, a purchase made with a Visa Check Card that is processed as another brand network
transaction, such as a domestic PIN network, is not governed by this rule because the purchase is
not a Transaction made using the Visa Flag Symbol or Visa Brand Mark.

ID#: 111011-171009-0003557




856                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 894 of 1319
                                               PageID #: 4087
                                    Visa International Operating Regulations




Mutual Assistance


Mutual Assistance Between Members

A Member must attempt to offer mutual assistance to other Members to resolve disputes between
both:

• Its Cardholder and another Member's Merchant
• Its Merchant and another Member's Cardholder

If a Cardholder or Merchant accepts financial liability for a Transaction, its Member must reimburse
the other Member directly.

ID#: 171009-171009-0003250




Transaction Receipt

Request for Transaction Receipt Copy


Transaction Receipt Request

An Issuer may request a Transaction Receipt from an Acquirer.

ID#: 171009-171009-0003257



Request for Transaction Receipt Copy and Substitute Transaction Receipt

Effective through 15 October 2010, an Issuer may request a Transaction Receipt copy from
an Acquirer for the reasons specified in the following table. The Issuer must accept a Substitute
Transaction Receipt for certain Transactions, as specified in the following table. For Intraregional
card-present Transactions in the AP Region, Substitute Transaction Receipts are considered invalid
Transaction Receipts. For Canada Domestic card-present Transactions, Substitute Transaction
Receipts are considered invalid Transaction Receipts.

Effective 16 October 2010, an Issuer may request a Transaction Receipt copy from an Acquirer
only for the reasons specified in the following table. The Issuer must accept a Substitute Transaction
Receipt for certain Transactions, as applicable. For Transactions conducted in a Card-Present
Environment, Substitute Transaction Receipts are considered invalid Transaction Receipts.




18 October 2011                                    VISA PUBLIC                                         857
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15                  Page: 895 of 1319
                                                   PageID #: 4088
                                    Visa International Operating Regulations



                                Transaction Receipt Retrieval Request Reasons

      Request Reason for Copy BASE II Transaction Code 52                        BASE II         Single Message
      (Field 63.3 in Single Message System)                                    Request Code          System
                                                                                                  Request Code

      Request for copy bearing signature
                                            1                                       28                 0028

      T&E Document request                                                          29                 0029

      Cardholder request due to dispute                                             30                 0030

      Fraud analysis request                                                        33                 0033

      Legal process request                                                         34                 0034

      1.   Not applicable to a Vehicle-Specific Fleet Card Transaction.

ID#: 050411-171009-0003255



Minimum Data Requirements for Retrieval Requests (Updated)

Each Retrieval Request must contain at least the following data:

• Acquirer Reference Number
• Account Number
• Transaction Date of original Presentment
• Merchant Category Code
• Either the Transaction amount in the Transaction Currency or a complete Merchant description
• Applicable Retrieval Request reason code from the Transaction Receipt Retrieval Request
  Reasons table
• The following provisions apply to U.S. Domestic Transactions: (This only applies in the U.S.
  Region.)
  – Merchant city and state (This only applies in the U.S. Region.)
  – Acquirer's Business I.D. (This only applies in the U.S. Region.)
  – Transaction Identifier, if present in the original Presentment (This only applies in the U.S.
    Region.)
  – Effective through 14 October 2011, Cardholder-Activated Terminal indicator, if present in the
    original Presentment (This only applies in the U.S. Region.)
  – Visa Prepaid Card indicator, if present in the original Presentment (This only applies in the U.S.
    Region.)
  – Transaction amount (This only applies in the U.S. Region.)

ID#: 111011-171009-0000314




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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15               Page: 896 of 1319
                                               PageID #: 4089
                                    Visa International Operating Regulations




Transaction Receipt Retrieval Request Reasons - LAC Region

For an Intraregional Transaction in the LAC Region, the following table lists the reason for requesting
copies of the Transaction Receipt and H&C Document, and their corresponding BASE II request and
confirmation codes. (This only applies in the Latin America & Caribbean Region.)


                       Transaction Receipt Retrieval Request Reason - LAC Region

                   Copy Request Reason for                                     Base II Request Code
                  Base II Transaction Code 52

    Cardholder requests copy bearing signature and/or                                  28
    H&C Document

ID#: 111011-171009-0003426



Request for Easy Pay Transaction Receipt Copy - LAC Region

For an Intraregional Transaction in the LAC Region, to fulfill a request for a BASE II Copy Request
code for an Easy Pay Transaction, the LAC Acquirer must provide a copy of the "Cardholder
Participation Request and Consent Form," including all of the following: (This only applies in the Latin
America & Caribbean Region.)

• Cardholder name (This only applies in the Latin America & Caribbean Region.)
• Account Number (This only applies in the Latin America & Caribbean Region.)
• Card expiration date (if available) (This only applies in the Latin America & Caribbean Region.)
• Cardholder signature (This only applies in the Latin America & Caribbean Region.)
• Merchant name and location (This only applies in the Latin America & Caribbean Region.)
• Description of good(s) or service(s) (This only applies in the Latin America & Caribbean Region.)
• Detail of services charged (This only applies in the Latin America & Caribbean Region.)

ID#: 171009-171009-0003655



Retention


Transaction Receipt Retention Periods 7.3.B

If requested, an Acquirer must provide an Issuer with a legible Transaction Receipt copy during the
required retention period, as specified in the following table.




18 October 2011                                    VISA PUBLIC                                             859
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15                 Page: 897 of 1319
                                                   PageID #: 4090
                                    Visa International Operating Regulations



                                      Transaction Receipt Retention Periods

      Document                                       Retention Period

      Original Transaction Receipt                   According to applicable law

      Transaction Receipt copy or substitute         Effective through 14 October 2011, 12 months from
                                                     Processing Date
                                                     Effective 15 October 2011, 13 months from Processing Date
                                                     For Intraregional Transactions in the LAC Region, refer to
                                                     Document Retention Period - LAC Region.

      T&E Document                                   6 months from Processing Date

      Recurring Transaction Receipt                  Effective through 14 October 2011, 12 months from
                                                     Processing Date of latest Transaction
                                                     Effective 15 October 2011, 13 months from Processing Date
                                                     of latest Transaction

ID#: 111011-171009-0003258



Document Retention Period - LAC Region

For an Intraregional Transaction in the LAC Region, if requested, an Acquirer must provide an Issuer
with legible Transaction Receipt copies during the required retention period, as specified in the
following table. (This only applies in the Latin America & Caribbean Region.)


                                     Document Retention Period - LAC Region

                             Document                                              Retention Period

      Copy of Transaction Receipt or substitute                  12 months from the Endorsement Date or
                                                                 Settlement Date

      H&C Document                                               6 months from Endorsement Date or Settlement
                                                                 Date

      Easy Pay Transaction                                       12 months from the Endorsement Date or
                                                                 Settlement Date of the latest Transaction

ID#: 111011-171009-0003427



Request and Fulfillment


Transaction Fulfillment Document Requirements - Small Ticket Transaction

Effective for Transactions completed through 15 October 2010, each Fulfillment for a Small
Ticket Transaction, excluding a U.S. Domestic Small Ticket Transaction, must contain at least the
following data:




860                                                VISA PUBLIC                                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15              Page: 898 of 1319
                                               PageID #: 4091
                                    Visa International Operating Regulations


• Merchant name
• Total Transaction amount
• Date
• Confirmation that Cardholder performed payment using a Visa Card or a Visa Electron Card or a
  Proximity Payment Device

ID#: 081010-171009-0003259



Transaction Receipt Fulfillment Documents - Data Requirements

The following tables specify the Substitute Transaction Receipt data requirements, excluding
Domestic Transactions in Brazil and U.S. Domestic Transactions. For U.S. Domestic Transactions,
refer to "Substitute Transaction Receipt Data Requirements - U.S. Region." For Domestic
Transactions in Brazil, refer to “Substitute Transaction Receipt Data Requirements for Brazil - LAC
Region.”


         Substitute Transaction Receipt Fulfillment Documents - Unattended Acceptance
           Terminals (Effective for Transactions Completed through 14 October 2011)

    Transaction Type

                                                    Cardholder-Activated         Cardholder-Activated Transaction
                                                  Transaction Type A (Not             Type B or Type C (Not
                                                applicable for Magnetic-Stripe    applicable for Magnetic-Stripe
                                                  Telephone Transactions)            Telephone Transactions)

    Requested Document                        Transaction log                    Transaction log

    Required Data on Document

    Account Number                                              X

    Transaction Date                                            X                                  X

    Transaction Time                                                                               X

    Transaction Amount                                          X

    Authorization Code                                                                             X

    Evidence of electronic Card                                                                    X
    Imprint




18 October 2011                                    VISA PUBLIC                                                861
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      Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                  Page: 899 of 1319
                                                     PageID #: 4092
                                    Visa International Operating Regulations



                    Substitute Transaction Receipt Fulfillment Documents - Recurring,
                     Mail/Phone Order, Retail, and Electronic Commerce Transactions

      Transaction Type

                                     Recurring or Mail Order           Recurring, Mail/Phone    Electronic Commerce
                                     (Excludes Phone Order)             Order, or Retail as
                                                                       permitted in Retrieval
                                                                          Request Reason
                                                                        Code 30 Fulfillment
                                                                         (Effective through
                                                                         15 October 2010)

       Requested Document                   Cardholder                       Substitute             Substitute
                                        written permission               Transaction Receipt    Transaction Receipt

      Required Data on Document

      Account Number                               X                             X                       X

      Cardholder Name                              X                             X                       X
      (Effective through 15
      October 2010)

      Transaction Date                             X                             X                       X

      Transaction Amount                           X                             X                       X

      Transaction Currency                Not applicable                   Not applicable                X

      Authorization Code                         If any                        If any                    X

      Cardholder Signature                        X
                                                    1                      Not applicable          Not applicable

      Merchant Name                                X                             X                       X

      Merchant Location                            X                             X                Online address

      Description                    Merchandise or services          Merchandise or services      Merchandise
                                                                                                              2
                                                                                                   or services

      Itemized Charges                             X                       Not applicable          Not applicable

      1.   The Recurring Services Merchant must retain the Cardholder's permission in a format such as an
           e-mail, other electronic record, or in paper form, for the duration of the Recurring Transactions and
           provide it upon Issuer request.
      2.   To remedy a Retrieval Request or use Reason Code 75, "Transaction Not Recognized" for an
           Aggregated Transaction, an Electronic Commerce Merchant must provide the details for the individual
           purchases that have been aggregated.

              Substitute Transaction Receipt Fulfillment Documents - T&E Transactions

      Document Type           Transaction Type

                                    Car Rental                 Airline                  Hotel          Cruise Line

      Copy                             Copy                     Copy                    Copy              Copy




862                                                     VISA PUBLIC                                   18 October 2011
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Case: 4:13-cv-02226-JAR                      Doc. #: 85-5 Filed: 02/12/15                   Page: 900 of 1319
                                                PageID #: 4093
                                    Visa International Operating Regulations


    Document Type             Transaction Type

                                    Car Rental              Airline                Hotel             Cruise Line

    Substitute                          X                      X                     X                    X
    Transaction
    Receipt

    T&E Document                        X
                                         1
                                                                                    X
                                                                                      1
                                                                                                         X
                                                                                                           1



    Required Data on Document

    Account Number                      X                      X                     X                    X

    Cardholder Name                     X                If applicable               X                    X

    Passenger or                                               X                     X                    X
    Guest Name,
    if different than
    Cardholder Name

    Cardholder                          X
    Address

    Address where                                        If available
    tickets were sent                                   and applicable

    Transaction Date                                           X

    Rental and Return                   X
    Dates

    Transaction Code                  If any

    Transaction                         X                      X                     X                    X
    Amount

    Authorization Code                If any                If any                 If any               If any

    Merchant Name                       X                      X                     X                    X

    Merchant Location                                                                X                    X

    Rental and Return                   X
    location

    Travel Agent                                         If applicable
    Name and Address

    Rental Agreement                    X
    Number

    Description                         X
                                         2               Airline flight        Dates of stay,       Dates of cruise
                                                         information           check-in, and       embarkation and
                                                                                 check-out          disembarkation

    Itemized Charges                                                                X
                                                                                      3
                                                                                                         X
                                                                                                           3




18 October 2011                                    VISA PUBLIC                                                     863
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      Case: 4:13-cv-02226-JAR                    Doc. #: 85-5 Filed: 02/12/15               Page: 901 of 1319
                                                    PageID #: 4094
                                    Visa International Operating Regulations


      Document Type           Transaction Type

                                    Car Rental              Airline               Hotel              Cruise Line

      1.   Must include a copy of all documents pertaining to a T&E Transaction, including the Transaction
           Receipt, car rental agreement, or if one was created, a Guest Folio, as applicable. The Card Imprint
           and Cardholder signature must also be included if either or both were obtained.
      2.   Includes type of car, mileage, rental rates, actual rate, refueling and insurance charges, adjustments,
           tax, cash received, billing method, and rental agent ID number.
      3.   Includes room rate, tax, and food, beverage, and incidental charges.

ID#: 111011-171009-0003260



Retrieval Request Requirements

Effective through 15 October 2010, to satisfy a Retrieval Request, excluding Intraregional
Transactions in the AP Region and Canada Domestic Transactions, the Acquirer must:

• Provide a Transaction Receipt copy, or
• Provide a Substitute Transaction Receipt containing the required data
• T&E Document, if applicable

Effective 16 October 2010, to satisfy a Retrieval Request, the Acquirer must:

• Provide a Transaction Receipt copy, or
• Provide a Substitute Transaction Receipt containing the required data for a Transaction conducted
  in a Card-Absent Environment.

ID#: 111011-171009-0003540



Order Form for Retrieval Requests

Effective through 15 October 2010, to satisfy a Retrieval Request Reason Code 28, "Request for
Copy Bearing Signature," Retrieval Request Reason Code 33, "Fraud Analysis Request," or Retrieval
Request Reason Code 34, "Legal Process Request," resulting from a mail order or Recurring
Transaction, excluding Intraregional Transactions in the AP Region, Domestic Transactions in Brazil
completed on or after 1 July 2010, and Canada Domestic Transactions, the Acquirer must provide
a copy of the Order Form, containing the following:

• Account Number
• Cardholder name
• Card expiration date (if available)
• Cardholder signature
• Merchant name and location
• Description of the merchandise or services
• Itemized charges


864                                                VISA PUBLIC                                     18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 902 of 1319
                                               PageID #: 4095
                                    Visa International Operating Regulations



If the Transaction is not a mail order or Recurring Transaction, the Acquirer must provide a copy of
the Transaction Receipt, excluding Domestic Transactions in Brazil completed on or after 1 July
2010.

For a U.S. Domestic Transaction, to satisfy a Retrieval Request Reason Code 28, "Request for Copy
Bearing Signature," Retrieval Request Reason Code 33, "Fraud Analysis Request," or Retrieval
Request Reason Code 34, "Legal Process Request," resulting from a Preauthorized Health Care
Transaction, the Acquirer must provide a copy of the Order Form, containing the following: (This only
applies in the U.S. Region.)

• Account Number (This only applies in the U.S. Region.)
• Cardholder name (This only applies in the U.S. Region.)
• Card expiration date (if available) (This only applies in the U.S. Region.)
• Cardholder signature (This only applies in the U.S. Region.)
• Merchant name and location (This only applies in the U.S. Region.)
• Description of the merchandise or services (This only applies in the U.S. Region.)
• Itemized charges (This only applies in the U.S. Region.)

If the Transaction is not a Preauthorized Health Care Transaction, the Acquirer must provide a copy
of the Transaction Receipt. (This only applies in the U.S. Region.)

ID#: 081010-171009-0003541



Substitute Transaction Receipt Requirements

Effective through 15 October 2010, to satisfy a Retrieval Request Reason Code 30, "Request Due
to Cardholder Dispute," resulting from a Transaction other than as specified in Substitute Transaction
Receipt Data Requirements, the Acquirer may provide a Substitute Transaction Receipt, containing
the following:

• Account Number
• Cardholder name
• Card expiration date
• Transaction Date
• Transaction amount
• Authorization Code (if any)
• Merchant name and location
• Description of the merchandise or services
• "Ship to" address (if applicable)

These provisions do not apply to Intraregional Transactions in the AP Region and Canada Domestic
Transactions.




18 October 2011                                    VISA PUBLIC                                         865
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15             Page: 903 of 1319
                                                   PageID #: 4096
                                    Visa International Operating Regulations



Effective 16 October 2010, to satisfy a Retrieval Request resulting from a Transaction conducted in
a Card-Absent Environment, the Acquirer may provide a Substitute Transaction Receipt, containing
the following:

• Account Number
• Transaction Date
• Transaction amount
• Authorization Code (if any)
• Merchant name and location
• Description of the merchandise or services
• "Ship to" address (if applicable)

ID#: 081010-171009-0003543



T&E Document Retrieval Request

To satisfy a Retrieval Request for a T&E Document, excluding an Intraregional Transaction in the AP
Region, a Domestic Transaction in Brazil, and a Canada Domestic Transaction, the Acquirer must
provide a copy of all documents pertinent to the Transaction, including the Transaction Receipt, car
rental agreement, or Guest Folio, if created. The Card Imprint and Cardholder signature must be
included if either or both was obtained.

ID#: 111011-171009-0003544



Substitute Transaction Receipt Data Requirements - U.S. Region

Effective through 15 October 2010, these provisions apply to U.S. Domestic Transactions. For
Substitute Transaction Receipt data requirements (Transactions conducted in a Card-Absent
Environment only) for International Transactions, refer to "Transaction Receipt Fulfillment Documents
- Data Requirements."

Effective through 15 October 2010, to satisfy a Retrieval Request for a Transaction which included
the Card Verification Value 2 in the Authorization Request and received a result code "M" (fully-
matched) or "U" (unsupported), the Acquirer must also provide a copy of the certification provided by
Visa for the Merchant.

Effective through 15 October 2010, the following tables specify the Substitute Transaction Receipt
data requirements for U.S. Domestic Transactions.


                   Substitute Transaction Receipt Data Requirements - Cardholder-
                 Activated Terminals - U.S. Region (Effective through 15 October 2010)

                                                      Automated       Self-Service   Automated       Limited-
                   Required Data                      Dispensing       Terminal         Fuel          Amount
                                                       Machine
                                                               1                     Dispenser       Terminal
                                                                                                              1



      Account Number                                                           X        X                X


866                                                VISA PUBLIC                                   18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                 Page: 904 of 1319
                                               PageID #: 4097
                                    Visa International Operating Regulations


                                                      Automated          Self-Service   Automated           Limited-
                   Required Data                      Dispensing          Terminal         Fuel              Amount
                                                       Machine
                                                               1                        Dispenser           Terminal
                                                                                                                     1



    Transaction Date                                        X                   X            X                   X

    Transaction Time                                        X

    Transaction Amount                                      X                   X            X                   X

    Authorization Code                                      X                   X       If applicable

    Evidence of electronic Card Imprint                     X

    Card Expiration Date                                                        X            X

    Merchant Name and Location                                           See footnote        X
                                                                           2 below

    Service Station ID Number                                                                X

    Invoice Number                                                       If available

    Description of Merchandise or Services                                      X       Product Sold

    1.    The Acquirer is not required to provide a copy of the Transaction Receipt that was given to the
          Cardholder. A Transaction log containing the required data elements may be provided to satisfy a
          Retrieval Request.
    2.    Merchant name, Self-Service Terminal location code, or city and state

                  Substitute Transaction Receipt Data Requirements - Recurring, Mail/
                   Phone Order, Electronic Commerce, and Preauthorized Health Care
                    Transactions - U.S. Region (Effective through 15 October 2010)

                                                        Recurring, Mail/Phone
                                                        Order, or Preauthorized           Electronic Commerce
                   Required Data
                                                                                1             Transactions
                                                       Health Care Transactions

    Account Number                                                   X                                  X

    Card Expiration Date                                        If available                            X

    Cardholder Name                                                  X                                  X

    Transaction Date                                                 X                                  X

    Transaction Amount                                               X                                  X

    Authorization Code                                               X                                  X

    Merchant Name                                                    X                                  X

    Merchant Location                                                X                         Online Address

    Description                                         Merchandise or services          Merchandise or services
                                                                                                                     2



    "Ship to" Address                                           If applicable                    If applicable

    Address Verification Service Response               If used and the response          If used and the response
    Code                                                     code is available                 code is available


18 October 2011                                    VISA PUBLIC                                                       867
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15                       Page: 905 of 1319
                                                   PageID #: 4098
                                    Visa International Operating Regulations


                                                        Recurring, Mail/Phone
                                                        Order, or Preauthorized             Electronic Commerce
                    Required Data
                                                                                1               Transactions
                                                       Health Care Transactions

      1.   For Retrieval Request Reason Code 28, "Request for Copy Bearing Signature," see Order Form for
           Retrieval Requests.
      2.   For Aggregated Transactions, details of the individual purchases that have been aggregated are
           required in order to remedy a Retrieval Request or Reason Code 75 "Transaction Not Recognized"
           Chargeback.

                        Substitute Transaction Receipt Data Requirements - T&E
                     Transactions - U.S. Region (Effective through 15 October 2010)

                                                                                  Airline or
                                                                                                        Lodging or
                    Required Data                        Car Rental              Passenger
                                                                                                        Cruise Line
                                                                                  Railway

      Account Number                                          X                       X                       X

      Card Expiration Date                                    X                  If available            If available

      Cardholder Name                                         X                  If available                 X

      Passenger or Guest Name                                                         X                       X

      Cardholder Address                                      X

      Address where Tickets were Sent                                           If available
                                                                               and applicable

      Transaction Date                                                                X

      Rental and Return Dates                                 X

      Transaction Amount                                      X                       X                       X

      Authorization Code                                      X                       X                       X

      Merchant Name                                           X                       X                       X

      Merchant Location                                                                                       X

      Rental and Return Location                              X

      Travel Agent Name and Address                                             If applicable

      Rental Agreement Number                                 X

      Description                                             X
                                                               1                  Airline and           Dates of stay,
                                                                               railway itinerary        check-in and
                                                                                 information
                                                                                             2           check-out

      Itemized Charges                                                                                       X
                                                                                                               3



      Parking Ticket/Moving Violation                    If applicable
      Information




868                                                VISA PUBLIC                                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                  Page: 906 of 1319
                                               PageID #: 4099
                                    Visa International Operating Regulations


                                                                                 Airline or
                                                                                                       Lodging or
                   Required Data                         Car Rental             Passenger
                                                                                                       Cruise Line
                                                                                 Railway

    Address Verification Service Response                                      If used and the
    Code                                                                       response code
                                                                                  is available

    1.    Includes, as appropriate, type of vehicle; mileage; rental rates; actual rate, refueling, and insurance
          charges; adjustments; tax; cash received; billing method; and rental agent ID number
    2.    Includes, as appropriate, original departure date, origination city, destination city, airport codes, carrier
          ID, and/or additional services provided, such as excess baggage, or other agent services
    3.    Includes room rate; tax; and food, beverage, and incidental charges

    Substitute Transaction Receipt Data Requirements - Data-Captured Retail Transactions
          (May be used only to satisfy Retrieval Request Reason Code 30, "Request
        Due to Cardholder Inquiry") - U.S. Region (Effective through 14 October 2011)

                                                                                                Data-Captured
                                       Required Data
                                                                                              Retail Transactions

    Account Number                                                                                     X

    Effective through 15 October 2010, Card Expiration Date                                            X

    Effective through 15 October 2010, Cardholder Name                                            If available

    Transaction Date                                                                                   X

    Transaction Time                                                                               Optional

    Authorization Code                                                                                 X

    Merchant Name                                                                                      X

    Merchant Location                                                                                  X

    Description                                                                            Merchandise or service

    Store Department                                                                               Optional

    "Ship to" Address                                                                             If applicable

ID#: 050411-171009-0003545



Substitute Transaction Receipt Data Requirements for Brazil - LAC Region

For Domestic Transactions in Brazil, Substitute Transaction Receipts must contain the elements
listed below. For Substitute Transaction Receipt data requirements for International Transactions,
refer to "Transaction Receipt Fulfillment Documents - Data Requirements."

For car rental, Airline, passenger railway, lodging, or Cruise Line Transactions:

• Product type
• Account Number


18 October 2011                                    VISA PUBLIC                                                       869
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 907 of 1319
                                                   PageID #: 4100
                                    Visa International Operating Regulations


• Transaction Date
• Transaction time
• Transaction amount
• Sales type
• Authorization Code
• POS Entry Mode code
• Merchant name
• Merchant location
• Merchant ID
• Terminal ID
• Chip Cryptogram code, if applicable
• Transaction with PIN, if applicable

For Recurring Transactions, Mail/Phone Order Transactions, retail Transactions, or Electronic
Commerce Transactions:

• Product type
• Account Number
• Transaction Date
• Transaction time
• Transaction amount
• Sales type
• Authorization Code
• POS Entry Mode
• Merchant name
• Merchant location
• Merchant ID
• Terminal ID
• TC Chip Cryptogram code, if applicable
• Transaction Receipt Fulfillment Documents

ID#: 111011-010710-0025769




870                                                VISA PUBLIC                       18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15              Page: 908 of 1319
                                               PageID #: 4101
                                    Visa International Operating Regulations




Transaction Receipt Fulfillment Documents - H&C Transaction Data Requirements -
LAC Region

For Intraregional H&C Transactions in the LAC Region, the following table details the requirements
an Acquirer has to comply with in order to fulfill the Transaction Receipt Retrieval Request for H&C
Transactions. (This only applies in the Latin America & Caribbean Region.)


            Transaction Receipt Fulfillment Documents - H&C Documents - LAC Region

                                              Public and Private Hospitals (H&C)

                                                     Type of Document

    Original or Copy                                                                 Copy

    Substitute Transaction Receipt                                                     X

    H&C Document                                                                       X
                                                                                        1



                                                Required Data on Document

    Account Number                                                                     X

    Cardholder name                                                                    X

    Patient name                                                                       X

    Cardholder address                                                                 X

    Check-in and check-out dates                                                       X

    Transaction code                                                                 If any

    Transaction Amount                                                                 X

    Authorization Code                                                               If any

    Merchant name                                                                      X

    Public and private hospital location                                               X

    Itemized charges                                                                   X
                                                                                        2



    1.    Must include a copy of all documents pertaining to an H&C Transaction, including the Transaction
          Receipt and hospitalization agreement, if any. The Card Imprint and Cardholder signature must also be
          included, if either or both were obtained.
    2.    Includes doctors' fees (if applicable), the room rate, taxes and charges for medications and supplies.

ID#: 111011-171009-0003428




18 October 2011                                    VISA PUBLIC                                                     871
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15                   Page: 909 of 1319
                                                   PageID #: 4102
                                    Visa International Operating Regulations




Transaction Receipt Fulfillment Documents - Easy Pay Transaction Data
Requirements - LAC Region

For Intraregional Easy Pay Transactions in the LAC Region, the following table details the
requirements that an Acquirer must comply with in order to fulfill Copy Requests for Easy Pay
Transactions. (This only applies in the Latin America & Caribbean Region.)


                    Transaction Receipt Fulfillment Documents - Easy Pay - LAC Region

                                                    Easy Pay Transaction

                                                     Type of Document

      Original or Copy                                                            Original or copy

      Document requested                                                   Cardholder's written permission

                                                Required Data on Document

      Account Number                                                                      X

      Card expiration date                                                           If available

      Cardholder name                                                                     X

      Transaction date                                                                    X

      Transaction amount                                                                  X

      Authorization Code                                                               If any

      Cardholder signature                                                               X
                                                                                           1



      Merchant name                                                                       X

      Merchant location                                                                   X

      Description                                                                Goods or services

      Itemized charges                                                                   X
                                                                                           2



      1.   A Merchant that accepts Easy Pay Transactions must retain the written permission signed by the
           Cardholder in a format such as e-mail, other electronic record, or in paper form, for the duration of the
           period agreed upon by the Cardholder for Easy Pay Transactions with said Merchant and provide it at
           the request of the Issuer.
      2.   Includes doctors' fees (if applicable), taxes and charges for medicines and supplies.

ID#: 171009-171009-0003654




872                                                VISA PUBLIC                                       18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 910 of 1319
                                               PageID #: 4103
                                    Visa International Operating Regulations




VisaNet Copy Request and Fulfillment Service


VisaNet Copy Request and Fulfillment Service Participation

All Issuers and Acquirers must participate in the VisaNet Copy Request and Fulfillment Service when
initiating or responding to a Retrieval Request.

ID#: 171009-171009-0007035



Acquirer Response to Retrieval Request

An Acquirer must respond within 30 calendar days of the Retrieval Request Processing Date with one
of the following:

• Fulfillment
• Nonfulfillment Message
• Interchange log indicating that full credit for the original Transaction amount was processed to the
  Cardholder Account Number

ID#: 171009-171009-0000571



Fulfillment for Retrieval Request Reason Code 30

Effective through 15 October 2010, when a Transaction Receipt contains a truncated or disguised
Account Number, an Acquirer may respond to a Retrieval Request reason code 30, "Cardholder
request due to dispute," with a Substitute Transaction Receipt containing the complete Account
Number and the data elements specified in the "Substitute Transaction Receipt Fulfillment
Documents - Recurring, Mail/Phone Order, Retail, and Electronic Commerce Transactions" table.
For card-present Intraregional Transactions in the AP Region, Substitute Transaction Receipts are
considered invalid Transaction Receipts. For card-present Canada Domestic Transactions, Substitute
Transaction Receipts are considered invalid Transaction Receipts.

ID#: 081010-171009-0000541



Truncated or Disguised Account Number

The Acquirer may provide the Issuer with a Transaction Receipt that contains a truncated or
disguised Account Number.

ID#: 171009-171009-0000542



Transaction Receipt Fulfillment Exceptions

The Acquirer is not required to provide a Transaction Receipt for any of the following:



18 October 2011                                    VISA PUBLIC                                      873
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 911 of 1319
                                                   PageID #: 4104
                                    Visa International Operating Regulations


• ATM Cash Disbursement
• Effective for Transactions completed through 14 October 2011, Magnetic-Stripe Telephone
  Transaction
• EMV PIN Transaction, excluding:
  – Retrieval Request reason code 29, “T&E Document Request”
  – Retrieval Request for a Manual Cash Disbursement or Quasi-Cash Transaction
• Effective for Transactions completed on or after 16 October 2010, Visa Easy Payment Service
  Transaction
• Effective for Transactions completed on or after 15 October 2011, Unattended Transaction

Effective for Transactions completed on or after 14 April 2012, for U.S. Domestic Transactions,
the Acquirer is not required to provide a Transaction Receipt for a Visa Debit with PIN Transaction.
(This only applies in the U.S. Region.)

Effective for Transactions completed through 15 October 2010, for U.S. Domestic Transactions,
the Acquirer is not required to provide a Transaction Receipt for any of the following: (This only
applies in the U.S. Region.)

• Small Ticket Transactions (This only applies in the U.S. Region.)
• No Signature Required Transaction (This only applies in the U.S. Region.)
• Transactions under $25 completed at a Point-of-Transaction Terminal with Contactless Payment
  capability (This only applies in the U.S. Region.)

For Canada Domestic Transactions, the Acquirer is not required to provide a Transaction Receipt for
any of the following: (This only applies in the Canada Region.)

• Effective for Transactions completed through 15 October 2010, No Signature Required
  Transactions (This only applies in the Canada Region.)
• Effective for Transactions completed through 15 October 2010, Proximity Payment
  Transactions (This only applies in the Canada Region.)
• Effective 1 October 2010, fully-Compliant Chip Card Transactions (This only applies in the
  Canada Region.)

For Domestic Transactions in Brazil, the Acquirer is not required to provide a Transaction Receipt for
any of the following: (This only applies in the Latin America & Caribbean Region.)

• Chip-initiated Transaction with PIN Verification (This only applies in the Latin America & Caribbean
  Region.)
• Chip-initiated Transaction with no PIN Verification (This only applies in the Latin America &
  Caribbean Region.)
• Magnetic-Stripe-read Transaction with PIN Verification (This only applies in the Latin America &
  Caribbean Region.)
• Magnetic-Stripe-read Transaction at a Chip-Reading Device (This only applies in the Latin
  America & Caribbean Region.)



874                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                   Page: 912 of 1319
                                               PageID #: 4105
                                    Visa International Operating Regulations


• Brazil Domestic Installment Transaction - Excluding the first Installment Transaction (This only
  applies in the Latin America & Caribbean Region.)
• Proximity Payment Transaction (This only applies in the Latin America & Caribbean Region.)
• Card-Absent Environment Transaction (This only applies in the Latin America & Caribbean
  Region.)
• Manual or key-entered Transaction (POS Entry Mode code value of "01") (This only applies in the
  Latin America & Caribbean Region.)
• Transaction under R $15 (This only applies in the Latin America & Caribbean Region.)

ID#: 151011-171009-0000543



Fulfillment Requirements

A Fulfillment must comply with all of the following:

• Be legible enough for the Cardholder to read or for the Issuer to identify the Account Number
• Include the unique 12-digit Copy Request Identifier assigned by VisaNet
• For a U.S. Domestic Transaction, include a unique nine-digit control number assigned by the Issuer
  to identify the internal source of the request. (This only applies in the U.S. Region.)

These requirements do not apply to Copy Requests for Intraregional Healthcare Auto-Substantiation
Transactions in the U.S. Region. Refer to the Visa Healthcare Auto-Substantiation Transactions
Retrieval of SIGIS Receipt Detail Implementation Guide for additional information on handling such
requests. (This only applies in the U.S. Region.)

ID#: 050411-171009-0003341



Nonfulfillment Message Requirements

A Nonfulfillment Message must include the Copy Request Identifier and one of the message codes
listed in the following table.


          VisaNet Copy Request and Fulfillment Service - Nonfulfillment Message Codes

                          Message Code                                                Description

                                    01                               Invalid Request: Incorrect Account Number

                                    02                                         Invalid Request: Not a valid
                                                                               Acquirer Reference Number

                                    03                                 Item could not be located-Charge back

                                    04                                   Acquirer will not fulfill-Charge back




18 October 2011                                    VISA PUBLIC                                                   875
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15                     Page: 913 of 1319
                                                   PageID #: 4106
                                    Visa International Operating Regulations


                                    05                                            Transaction Receipt not
                                                                               required or previously fulfilled

ID#: 111011-171009-0003262



Issuer Rights

An Issuer may exercise a Chargeback right for the Chargeback reason code applicable to the
dispute, if one of the following applies:

• Acquirer did not respond to a Retrieval Request within 30 calendar days of the request
• Acquirer sent a Nonfulfillment Message
• Acquirer did not send a valid or correct Fulfillment

For Intraregional Transactions in the LAC Region, Members in Venezuela must not process a
domestic T&E Chargeback for an amount less than US $5, or local currency equivalent. (This only
applies in the Latin America & Caribbean Region.)

ID#: 010410-171009-0003264



Retrieval Fees


Retrieval Request Fees

Visa charges the Issuer and reimburses the Acquirer for a Retrieval Request.

ID#: 171009-171009-0003343



Retrieval Request Fee Recovery

The Issuer may recover fees for Retrieval Requests for any of the following reasons:

• Acquirer did not properly supply the requested Transaction Receipt
• Substitute Transaction Receipt does not include the required data
• Request resulted from an incorrect Merchant description or a zero-filled or incorrect Transaction
  Date in the VisaNet transmission

For U.S. Domestic Transactions, one of the following: (This only applies in the U.S. Region.)

• Requested copy was illegible (This only applies in the U.S. Region.)
• Acquirer did not properly supply the required Healthcare Auto-Substantiation Transaction detail
  (This only applies in the U.S. Region.)
• The Acquirer may collect a US $25 handling fee from the Issuer if the original Clearing Record
  contained one of the following: (This only applies in the U.S. Region.)



876                                                VISA PUBLIC                                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 914 of 1319
                                               PageID #: 4107
                                    Visa International Operating Regulations


  – Airline/Railway Passenger Itinerary Data (This only applies in the U.S. Region.)
  – A "1" in the Lodging/Car Rental No Show Indicator (This only applies in the U.S. Region.)

ID#: 171009-171009-0003345



VisaNet Copy Request and Fulfillment Service Fees - U.S. Region

A U.S. Member participating in the VisaNet Copy Request and Fulfillment Service is assessed service
charges.

ID#: 111011-010410-0007987



Healthcare Auto-Substantiation Transaction Retrieval Request Fees - U.S. Region

A U.S. Issuer must pay a fee of X to the Acquirer per request for Copy for retrieval of line item detail
for a Healthcare Auto-Substantiation Transaction.

ID#: 111011-041008-0007988




Chargebacks and Representments

Chargeback and Representment Process


Chargeback and Representment for a Transaction

A Member must process a Chargeback or Representment for a Transaction through VisaNet in
accordance with the VisaNet manuals. A Member may also transmit a Chargeback for a Domestic
Transaction through an Interchange tape or by other means under a Private Agreement.

ID#: 171009-171009-0003271



Chargeback or Representment Documentation Submission Time Limit

Effective through 15 October 2010, a Member sending Chargeback or Representment
documentation must do so within 8 calendar days of the Chargeback or Representment Processing
Date, using Visa Resolve Online.

Effective 16 October 2010, a Member sending Chargeback or Representment documentation must
do so within 5 calendar days of the Chargeback or Representment Processing Date, using Visa
Resolve Online.

ID#: 081010-171009-0003272




18 October 2011                                    VISA PUBLIC                                         877
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 915 of 1319
                                                   PageID #: 4108
                                    Visa International Operating Regulations




Non-Automated Submission of Chargeback or Representment Documentation

The Member must not send Chargeback or Representment documentation by mail, fax, or any other
non-automated method.

ID#: 171009-171009-0003273



Chargeback and Representment Process VIOR 7.4.A USOR 1.3

After receiving a Presentment, an Issuer may charge back a Transaction to the Acquirer under
the conditions specified beginning in Reason Codes. Similarly, the Acquirer may represent the
Transaction to the Issuer.

The Issuer must not charge back the Transaction a second time, with the exception of Reason Code
93, "Merchant Fraud Performance Program," and the Acquirer must not represent the Transaction
a second time. The Chargeback and Representment Process Through VisaNet figure illustrates this
process.

The following provisions apply to U.S. Domestic Transactions: (This only applies in the U.S. Region.)

• If requested by the Acquirer, and permitted under applicable law, the Issuer should provide the
  Cardholder's address (This only applies in the U.S. Region.)
• An Acquirer must not process a Transaction as a first Presentment if the Transaction has been
  previously charged back (This only applies in the U.S. Region.)
• A Transaction is considered to take place within the U.S. Region if it occurs at a U.S. military base
  or U.S. embassy or consulate outside the U.S. and is both: (This only applies in the U.S. Region.)
  – Deposited with a U.S. Member by the U.S. government (This only applies in the U.S. Region.)
  – Completed with a Card issued by a U.S. Member governed by these Operating Regulations
    (This only applies in the U.S. Region.)

Chargeback and Representment Process Through VisaNet




878                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 916 of 1319
                                               PageID #: 4109
                                    Visa International Operating Regulations




A Member may have the right to file for Arbitration after completing the Chargeback/Representment
cycle (see Arbitration). In some instances, Compliance may be available.

ID#: 090411-171009-0003277



Intercompany Chargeback Process for Visa Easy Payment Service (VEPS) and Visa
Europe Small Ticket Transactions

Effective 16 October 2010, a process exists for Visa Easy Payment Service Transaction
Chargebacks that are not valid in Visa International Regions but are valid in Visa Europe.

Visa will pay in lieu of an Acquirer in the Visa International Region for a Chargeback received from a
Visa Europe Issuer if all of the following occur:

• The Transaction qualifies as a Visa Easy Payment Service Transaction in the Visa International
  Region
• The Merchant Category Code does not qualify for a Small Ticket Transaction in Visa Europe as
  specified in the Visa Europe Operating Regulations
• The Transaction is confirmed by Visa as being eligible for Chargeback in accordance with the
  requirements specified in the Visa Europe Operating Regulations

ID#: 081010-161010-0025699



Attempt to Settle

Before exercising a Chargeback right, the Issuer must attempt to honor the Transaction.

If this fails and the Issuer has already billed the Transaction to the Cardholder, the Issuer must credit
the Cardholder for the Chargeback amount.



18 October 2011                                    VISA PUBLIC                                         879
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 917 of 1319
                                                   PageID #: 4110
                                    Visa International Operating Regulations



An Issuer must credit its Cardholder's account for the amount in dispute, whether or not a
Chargeback was initiated, if the dispute involves an Electronic Commerce Transaction and the
conditions are met for any of the following Chargebacks:

• Reason Code 30, "Services Not Provided or Merchandise Not Received"
• Reason Code 41, "Cancelled Recurring Transaction"
• Reason Code 53, "Not as Described or Defective Merchandise"
• Reason Code 83, "Fraud-Card-Absent Environment"
• Reason Code 85, "Credit Not Processed"

The Issuer must not be reimbursed twice for the same Transaction.

A Cardholder must not be credited twice as a result of both a:

• Chargeback
• Credit processed by a Merchant

ID#: 171009-171009-0003287



Calculation of Chargeback Time Limit

The Chargeback time limit is calculated from the Transaction Processing Date.

ID#: 171009-171009-0003288



Transaction Chargeback Method (Updated)

An Issuer must charge back each Transaction separately. The Issuer must not combine Transactions
and charge them back as a single Transaction.

Effective for Transactions completed through 14 October 2011, this rule does not apply to a
Magnetic-Stripe Telephone or Telephone Service Transaction for which the Cardholder did not give
permission or when a Fictitious Account Number was used or no valid Card was outstanding. This
provision does not apply to U.S. Domestic Transactions.

Effective for Transactions completed on or after 15 October 2011, this rule does not apply to a
Telephone Service Transaction where the Cardholder did not give permission or when a Fictitious
Account Number was used or no valid Card was outstanding. This provision does not apply to U.S.
Domestic Transactions.

ID#: 111011-171009-0003570




880                                                VISA PUBLIC                       18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 918 of 1319
                                               PageID #: 4111
                                    Visa International Operating Regulations




Start of Chargeback Time Limit

The Chargeback time limit begins on the calendar day following the Transaction Processing Date.

ID#: 171009-171009-0003291



Minimum Cardholder Certification Requirements

If an Issuer is required by the Operating Regulations to provide an Acquirer with a signed Cardholder
certification denying participation in the Transaction for asserted fraudulent use of a Card or Account
Number, at a minimum the signed Cardholder certification must include all of the following:

• Cardholder's Account Number (complete or partial Account Number is acceptable)
• Merchant name(s), as set out in BASE II Record Requirements (Exhibit 2L)
• Transaction Amount(s)
• The following provisions apply to U.S. Domestic Transactions: (This only applies in the U.S.
  Region.)
  – For a Vehicle-Specific Fleet Card Transaction, a signed certification, or statement to the Issuer,
    from the individual that engaged in the Transaction with the Merchant (This only applies in the
    U.S. Region.)
  – For all other non-fraud related Commercial Visa Product Transactions, a letter or statement
    from an individual representing the Issuer's commercial customer, in lieu of the Cardholder
    or individual that engaged in the Transaction with the Merchant (This only applies in the U.S.
    Region.)

The signed Cardholder certification may include a signature received in a secure online banking
environment maintained by the Issuer. Each fraudulent Transaction does not require a separate
certification. When a signed Cardholder certification is received in an online banking environment, the
Issuer must certify with the Chargeback that the unique identity represents the Cardholder signature.

Effective 16 April 2011, if an Acquirer provides sufficient evidence that a Cardholder letter is
required for legal proceedings, for a law enforcement investigation, or if required by local law,
the Issuer must supply a Cardholder letter to the Acquirer. This requirement does not apply to
Transactions involving Issuers or Acquirers in Visa Europe.

All documentation that must be provided by an Issuer as required for each Chargeback reason in the
Dispute Resolution Rules must be provided in English.

ID#: 081010-171009-0004139



Chargeback Amount

The Issuer must charge back for either:

• Actual billed amount in the Billing Currency



18 October 2011                                    VISA PUBLIC                                       881
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 919 of 1319
                                                   PageID #: 4112
                                    Visa International Operating Regulations


• Partial Transaction amount equal to the disputed amount

ID#: 171009-171009-0003297



Currency Conversion

Visa converts the Billing Currency to the Acquirer's Settlement Currency using the Basic Currency
Conversion Rate.

ID#: 171009-171009-0003298



Representment Documentation

The Acquirer must return the same reason code that was received in the Chargeback Clearing
Record.

An Acquirer must provide the Issuer with the following Representment documentation, if required:

• Documentation to remedy the Chargeback
• Completed appropriate Visa Resolve Online Dispute Questionnaire or exhibit, including the
  Chargeback reference number, if used. See the Visa Resolve Online Dispute Questionnaire or
  BASE II Record Requirements (Exhibit 2L).
• Translations of any non-English documentation
• For U.S. Domestic Transactions, any of the following: (This only applies in the U.S. Region.)
  – When a Member message text is not available, documentation, Acquirer certification, or
    information on the Visa Resolve Online Dispute Resolution Questionnaire to support a
    Representment (This only applies in the U.S. Region.)
  – For non-fraud related disputes, the Acquirer may also provide documentation or Acquirer
    certification, in lieu of a Merchant letter, to convey the required information for a Representment
    right (This only applies in the U.S. Region.)
• Effective for Transactions completed through 15 October 2010, for a Canada Domestic No
  Signature Required Transaction, an Acquirer may provide the Issuer with an Authorization or
  Clearing Record log containing the Transaction details, if required, to remedy a Chargeback in lieu
  of a Transaction Receipt. (This only applies in the Canada Region.)

Effective through 15 October 2010, a Member sending Representment documentation must do so
within 8 calendar days of the Representment Processing Date, using Visa Resolve Online.

Effective 16 October 2010, a Member sending Representment documentation must do so within 5
calendar days of the Representment Processing Date, using Visa Resolve Online.

ID#: 081010-171009-0003304



Representment Amount Field Requirements

For a Representment, the Representment amount field must contain one of the following:


882                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                Page: 920 of 1319
                                               PageID #: 4113
                                    Visa International Operating Regulations


• Same amount in the same Transaction Currency as in the original Presentment
• Partial Transaction amount to remedy the Chargeback
• Same or corrected amount in the Settlement Currency as received by the Acquirer for the
  Chargeback

ID#: 171009-171009-0003305



Currency Conversion Difference

If the Transaction Currency and the Billing Currency are denominated in the euro or one of its
national currency units, VisaNet converts the Transaction amount to the Billing Currency using the
Basic Currency Conversion Rate. For all other Transactions, VisaNet converts the Transaction
amount to the Billing Currency using the Currency Conversion Rate.

• The Acquirer is liable for any difference between the Chargeback amount and the Representment
  amount
• The Issuer is liable for any difference between the amount originally presented and the
  Representment amount

ID#: 171009-171009-0003306



Representment Reasons and Conditions

An Acquirer may represent a Transaction to the Issuer for one of the reasons listed in the following
table within 45 calendar days. The Representment time limit is calculated from the Chargeback
Processing Date. Representment information in the following table appears in more detail in the
Reason Codes section.


                                      Representment Reason and Time Limits

                                                                                                      Time
                                                                                                      1
       Representment Reason                                    Conditions                        Limit (Calendar
                                                                                                      Days)

    Missing or incomplete                  Effective through 15 October 2010, Acquirer must               45
    substantiating Chargeback              allow 8 calendar days from the Central Processing
    documentation                          Date of the Chargeback for document receipt and
                                           then must exercise its Representment right within
                                           the next 37 calendar days.
                                           Effective 16 October 2010, Acquirer must allow 5
                                           calendar days from the Central Processing Date of
                                           the Chargeback for document receipt and then must
                                           exercise its Representment right within the next 40
                                           calendar days.

    Invalid Acquirer Reference                                    None                                    45
    Number and/or Account
    Number

    Improper Chargeback                    See each Chargeback listed in Reason Codes.                    45


18 October 2011                                    VISA PUBLIC                                                 883
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15            Page: 921 of 1319
                                                   PageID #: 4114
                                    Visa International Operating Regulations


                                                                                                 Time
                                                                                                  1
           Representment Reason                                Conditions                   Limit (Calendar
                                                                                                 Days)

      Additional information               See each Chargeback listed in Reason Codes                 45
      available to remedy the
      Chargeback

      Chargeback Reason Code               Send legible copy of requested item.                       45
      60 - illegible fulfillment can be
      remedied

      All Representments                   See each Chargeback listed in Reason Codes                 45

      1.    Time limit is calculated from the Processing Date of the Chargeback. The Processing Date of the
            Chargeback is not counted as one day. The Processing Date of the Representment is counted as one
            day.

ID#: 050411-171009-0004110




Reason Codes

Reason Code 30 Services Not Provided or Merchandise Not Received


Overview - Reason Code 30

Time Limit: 120 calendar days

Merchant was unable or unwilling to provide services (including Visa Prepaid Load Services), or
Cardholder or authorized person did not receive the ordered merchandise at the agreed upon location
or by the agreed upon date.

ID#: 081010-171009-0007460



Chargeback Conditions - Reason Code 30

One of the following:

1. Cardholder or authorized person participated in the Transaction and did not receive purchased
   services, including Visa Prepaid Load Services, because the Merchant or Prepaid Partner was
   unwilling or unable to provide the services.
2. Cardholder or authorized person participated in the Transaction and did not receive ordered
   merchandise.

ID#: 081010-171009-0007461



Chargeback Rights and Limitations - Reason Code 30
1. Minimum Chargeback amount:

884                                                VISA PUBLIC                                18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 922 of 1319
                                               PageID #: 4115
                                    Visa International Operating Regulations


    a. For a T&E Transaction, US $25 or equivalent
    b. For a Canada Domestic T&E Transaction, CAD $25 (This only applies in the Canada
       Region.)
    c.    For all other Canada Domestic Transactions, CAD $10 (This only applies in the Canada
          Region.)
    d. For a Domestic T&E Transaction in Brazil, excluding airport tax Transactions, R$25 (This
       only applies in the Latin America & Caribbean Region.)
    e. For all other Domestic Transactions in Brazil, excluding airport tax Transactions, R$15 (This
       only applies in the Latin America & Caribbean Region.)
2. Prior to exercising the Chargeback right, Cardholder must attempt to resolve the dispute with the
   Merchant or the Merchant's liquidator, if applicable. (Not applicable if prohibited by local law.)
3. Effective through 15 October 2010, if date services were expected or delivery date for the
   goods is not specified, Issuer must wait 30 calendar days from the Transaction Date before
   exercising the Chargeback right. Does not apply if the waiting period causes Chargeback to
   exceed Chargeback time frame.
4. Effective 16 October 2010, if date services were expected or delivery date for the goods is not
   specified, Issuer must wait 15 calendar days from the Transaction Date before exercising the
   Chargeback right. Does not apply if the waiting period causes Chargeback to exceed Chargeback
   time frame.
5. Chargeback amount is limited to the portion of services or merchandise not received.
6. For disputes involving merchandise:
    a. Prior to exercising the Chargeback right, if merchandise was delivered after the agreed upon
       delivery date, Cardholder must attempt to return the merchandise
    b. Effective through 15 October 2010, if merchandise was returned due to late delivery,
       the Issuer must wait at least 30 calendar days from the date the Cardholder returned or
       attempted to return the merchandise prior to exercising the Chargeback right. Does not
       apply if the waiting period causes Chargeback to exceed Chargeback time frame or if the
       Chargeback was already processed prior to the goods being received.
    c.    Effective 16 October 2010, if merchandise was returned due to late delivery, the Issuer must
          wait at least 15 calendar days from the date the Cardholder returned or attempted to return
          the merchandise prior to exercising the Chargeback right. Does not apply if the waiting period
          causes Chargeback to exceed Chargeback time frame or if the Chargeback was already
          processed prior to the goods being received.

ID#: 111011-171009-0007462



Invalid Chargebacks - Reason Code 30

Chargeback is invalid for any of the following:

1. If the Cardholder cancelled merchandise or service prior to the expected delivery or service date
2. If merchandise is being held by the customs agency of the Cardholder's country
3. When the Cardholder states that the Transaction was fraudulent



18 October 2011                                    VISA PUBLIC                                       885
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 923 of 1319
                                                   PageID #: 4116
                                    Visa International Operating Regulations


4. For disputes regarding the quality of merchandise or service rendered
5. For a No-Show Transaction
6. For the initial payment of a Delayed Delivery Transaction when the remaining balance was not
   paid and Merchant is willing and able to provide services or merchandise
7. For ATM Cash Disbursements
8. Effective through 30 September 2010, effective for Transactions completed on or after 1
   March 2010, for any Cash-Back portion of a Visa or Visa Electron Transaction (This only applies
   to the AP Region for Members in India and, effective 1 November 2010, Australia.) (This only
   applies in the Asia Pacific Region.)
9. Effective 1 October 2010, for any Cash-Back portion of a Visa Cash-Back Transaction

ID#: 111011-171009-0007463



Chargeback Time Limit - Reason Code 30
1. 120 calendar days from Transaction Processing Date.
2. If the services were to be provided after the Transaction Processing Date, the 120 calendar-day
   time frame is calculated from the date that the Cardholder expected to receive the service or
   when the Cardholder was first made aware that the service would not be provided, not to exceed
   540 calendar days from the Transaction Central Processing Date.
3. If the merchandise was to be provided after the Transaction Processing Date, the 120 calendar
   day time frame is calculated from the last date that the Cardholder expected to receive the
   merchandise or when the Cardholder was first made aware that the merchandise would not be
   provided, not to exceed 540 calendar days from the Transaction Central Processing Date.

ID#: 111011-171009-0007464



Chargeback Processing Requirements - Reason Code 30

Member Message Text:

1. SERVICES NOT RENDERED MMDDYY
2. MERCH NOT RECEIVED MMDDYY

ID#: 171009-171009-0007465



Documentation - Reason Code 30

Visa Resolve Online Dispute Questionnaire or Exhibit 2E-6 Issuer stating any of the following, as
applicable:

1. Services not rendered by expected date
2. Merchandise was not received
3. Expected arrival date of the merchandise
4. Merchandise not received at agreed-upon location (Issuer must specify)

886                                                VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 924 of 1319
                                               PageID #: 4117
                                    Visa International Operating Regulations


5. Cardholder attempt to resolve with Merchant
6. Effective 16 October 2010, merchandise returned MMDDYY
7. Effective for Chargebacks processed on or after 1 July 2010, for Domestic Transactions in
   Brazil, the Issuer may provide certification in lieu of the Cardholder letter. (This only applies in the
   Latin America & Caribbean Region.)

ID#: 081010-171009-0007466



Representment Time Limit - Reason Code 30

45 calendar days from the Chargeback Processing Date

ID#: 171009-171009-0007467



Representment Processing Requirements - Reason Code 30

Member Message Text:

1. Credit or Reversal was processed.
    a. Either that applies:
          i.    CRED MMDDYY ARN X...X (23 or 24 digits)
          ii.   REVERSAL MMDDYY
    b. Documentation: None required.
2. Issuer did not meet the applicable Chargeback conditions.
    a. Member Message Text: X...X (Specify the reason)
    b. Documentation: None required.
3. Acquirer can remedy the Chargeback.
    a. Member Message Text: None required.
    b. Documentation: Both:
          i.    Visa Resolve Online Dispute Questionnaire or Exhibit 2E-6 Acquirer
          ii.   Documentation to prove that Cardholder or authorized person received services or
                merchandise was received by Cardholder or authorized person on agreed-upon date or
                at agreed-upon location

ID#: 081010-171009-0007468



Additional Information - Reason Code 30
1. Proof of shipping does not constitute proof of receipt.
2. Merchant is responsible for goods held within its own country's customs agency.




18 October 2011                                    VISA PUBLIC                                          887
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15          Page: 925 of 1319
                                                   PageID #: 4118
                                    Visa International Operating Regulations


3. Acquirer Right of Assignment requirements may apply to certain chargebacks involving specific
   bankrupt merchants (such as an airline) where Visa Canada has formally notified Members of
   same. This provision applies to Canada Domestic Transactions. (This only applies in the Canada
   Region.)

ID#: 171009-171009-0007469



Reason Code 41 Cancelled Recurring Transaction


Overview - Reason Code 41

Time Limit: 120 calendar days

The Merchant continued to charge a Cardholder for a Recurring Transaction despite notification of
cancellation.

ID#: 171009-171009-0007470



Chargeback Conditions - Reason Code 41

One of the following:

1. Cardholder withdrew permission to charge the account for a Recurring Transaction.
2. Acquirer or Merchant received notification that the Cardholder's account was closed before the
   Transaction was processed.
3. An initial membership Transaction was previously charged back and the Cardholder did not
   expressly renew the membership.
4. For a U.S. Domestic Transaction, Transaction amount was not within the preauthorized range
   of amounts or Merchant was to notify the Cardholder prior to processing each Recurring
   Transaction, and Merchant either: (This only applies in the U.S. Region.)
      a. Did not notify Cardholder in writing within 10 calendar days of the Transaction Date (This
         only applies in the U.S. Region.)
      b. Notified Cardholder within 10 calendar days of the Transaction Date and Cardholder did not
         consent to the charge (This only applies in the U.S. Region.)
5.    For a LAC Easy Pay Transaction, Transaction occurred and both: (This only applies in the Latin
      America & Caribbean Region.)
      a. The Transaction amount was not within the range of amounts approved by the Cardholder
         (This only applies in the Latin America & Caribbean Region.)
      b.    Merchant, either: (This only applies in the Latin America & Caribbean Region.)
           i.   Did not notify the Cardholder in writing at least 5 calendar days prior to the Transaction
                Date (This only applies in the Latin America & Caribbean Region.)




888                                                VISA PUBLIC                              18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 926 of 1319
                                               PageID #: 4119
                                    Visa International Operating Regulations


          ii.   Notified the Cardholder at least 5 calendar days prior to the Transaction Date and the
                Cardholder declined the charge in writing (This only applies in the Latin America &
                Caribbean Region.)

ID#: 171009-171009-0007471



Chargeback Rights and Limitations - Reason Code 41
1. Minimum Chargeback amount:
    a. For a T&E Transaction, US $25 or equivalent
    b. For a Canada Domestic T&E Transaction, CAD $25 (This only applies in the Canada
       Region.)
    c.    For all other Canada Domestic Transactions, CAD $10 (This only applies in the Canada
          Region.)
    d. For a Domestic T&E Transaction in Brazil, excluding airport tax Transactions, R$25 (This
       only applies in the Latin America & Caribbean Region.)
    e. For all other Domestic Transactions in Brazil, excluding airport tax Transactions, R$15 (This
       only applies in the Latin America & Caribbean Region.)
2. Chargeback amount is limited to the unused portion of the service or merchandise.
3. Issuer must determine that the Cardholder attempted to resolve the dispute with the Merchant.
   (Not applicable if prohibited by local law.)
4. For Chargeback Condition 3, cancellation of a membership Transaction purchased via the mail,
   telephone, or electronic commerce may occur before or during the membership period

ID#: 111011-171009-0007472



Invalid Chargebacks - Reason Code 41

Chargeback is invalid for any of the following:

1. For Chargeback Condition 1, any of the following:
    a. If Cardholder did not withdraw permission to charge the account
    b. For Installment Transactions

ID#: 171009-171009-0007473



Chargeback Time Limit - Reason Code 41

120 calendar days from Transaction Processing Date

ID#: 171009-171009-0007474




18 October 2011                                    VISA PUBLIC                                           889
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15        Page: 927 of 1319
                                                   PageID #: 4120
                                    Visa International Operating Regulations




Chargeback Processing Requirements - Reason Code 41

Member Message Text: Any of the following that apply:

1. CH CANCELLED MMDDYY
2. NOTIFICATION ACCT CLOSED MMDDYY
3. PREVIOUS CB MMDDYY ARN X...X (23 or 24 digits)
4. CARDHOLDER NOT RENEWED
5. For a U.S. Domestic Transaction, TX AMT EXCEEDS CH PREAUTHD RANGE (This only
   applies in the U.S. Region.)
6. For an Intraregional Transaction in the LAC Region, TX AMT EXCEEDS CH PREAUTHD
   RANGE (This only applies in the Latin America & Caribbean Region.)

ID#: 171009-171009-0007475



Documentation - Reason Code 41
1. For Easy Pay Transactions in the LAC Region, both: (This only applies in the Latin America &
   Caribbean Region.)
      a. Cardholder letter stating that the Transaction exceeds the maximum amount approved by the
         Cardholder for Easy Pay (This only applies in the Latin America & Caribbean Region.)
      b. Visa Resolve Online Dispute Questionnaire or Exhibit 2E-6 Issuer stating Merchant either:
         (This only applies in the Latin America & Caribbean Region.)
          i.    Did not provide a written communication at least 5 calendar days prior to the Transaction
                Date. (This only applies in the Latin America & Caribbean Region.)
          ii.   Provided a written communication at least 5 calendar days prior to the Transaction Date,
                but the Cardholder declined the charge in writing. (This only applies in the Latin America
                & Caribbean Region.)
2. For Domestic Transactions in Brazil, the Issuer may provide certification in lieu of the Cardholder
   letter (This only applies in the Latin America & Caribbean Region.)

ID#: 111011-171009-0007476



Representment Time Limit - Reason Code 41

45 calendar days from the Chargeback Processing Date

ID#: 171009-171009-0007477



Representment Processing Requirements - Reason Code 41
1. Credit or Reversal was processed.
      a. Member Message Text: Either that applies:


890                                                VISA PUBLIC                             18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 928 of 1319
                                               PageID #: 4121
                                    Visa International Operating Regulations


          i.    CRED MMDDYY ARN X...X (23 or 24 digits)
          ii.   REVERSAL MMDDYY
    b. Documentation: None required.
2. Issuer did not meet the applicable Chargeback conditions.
    a. Member Message Text:
          i.    X...X (Specify the reason)
          ii.   For an Intraregional Transaction in the LAC Region, SUPPORTING DOCUMENTATION
                NOT RECEIVED (This only applies in the Latin America & Caribbean Region.)
    b. Documentation: None required.
3. Acquirer can remedy the Chargeback
    a. Member Message Text: None required.
    b. Documentation: Visa Resolve Online Dispute Questionnaire or Exhibit 2E-5 Acquirer and any
       of the following, as applicable:
          i.    Documentation to prove that service was not cancelled
          ii.   Documents to prove Acquirer or Merchant not notified that account was closed
          iii. Documents to prove Transaction was not previously charged back
          iv.    The Transaction was not within the range of amounts approved by the Cardholder and,
                both: This provision applies to Intraregional Transactions in the LAC Region (This only
                applies in the Latin America & Caribbean Region.)
                •   Cardholder was notified at least 5 calendar days prior to the Transaction Date (This
                    only applies in the Latin America & Caribbean Region.)
                •   Cardholder did not reply (This only applies in the Latin America & Caribbean
                    Region.)

ID#: 171009-171009-0007478



Additional Information - Reason Code 41
1. Issuer may supply a copy of the cancellation notice to the Acquirer or Merchant if available.
2. Proper disclosure of the Merchant's cancellation/refund policy has no bearing

ID#: 171009-171009-0007479



Reason Code 53 Not as Described or Defective Merchandise


Overview - Reason Code 53

Time Limit: 120 calendar days




18 October 2011                                    VISA PUBLIC                                         891
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 929 of 1319
                                                   PageID #: 4122
                                    Visa International Operating Regulations



The Cardholder received damaged or defective merchandise, or the merchandise or service did not
match what was described on the Transaction Receipt or other documentation presented at the time
of purchase.

The Cardholder received damaged or defective merchandise, or the merchandise or service did not
match what was described on the Transaction Receipt or other documentation presented at the time
of purchase or the merchandise was otherwise unsuitable for the purpose sold. This provision applies
to U.S. Domestic Transactions. (This only applies in the U.S. Region.)

ID#: 171009-171009-0007480



Chargeback Conditions - Reason Code 53

One of the following:

1. Cardholder returned merchandise or cancelled services that did not match what was described
   on the Transaction Receipt or other documentation presented at the time of purchase.
2. For a U.S. Domestic Transaction, Cardholder returned, or attempted to return, merchandise or
   cancelled services that did not match what was described on the Transaction Receipt or other
   documentation presented at the time of purchase. For a Card-Absent Environment Transaction,
   not the same as the Merchant's verbal description. (This only applies in the U.S. Region.)
3. Merchandise received by the Cardholder was damaged or defective, and Cardholder returned the
   merchandise to the Merchant.

ID#: 081010-171009-0007481



Chargeback Rights and Limitations - Reason Code 53
1. Minimum Chargeback amount:
      a. For a T&E Transaction, US $25 or equivalent
      b. For a Canada Domestic T&E Transaction, CAD $25 (This only applies in the Canada
         Region.)
      c.   For all other Canada Domestic Transactions, CAD $10 (This only applies in the Canada
           Region.)
      d. For a Domestic T&E Transaction in Brazil, excluding airport tax Transactions, R$25 (This
         only applies in the Latin America & Caribbean Region.)
      e. For all other Domestic Transactions in Brazil, excluding airport tax Transactions, R$15 (This
         only applies in the Latin America & Caribbean Region.)
2. Chargeback amount is limited to the unused portion of the service or value of the returned
   merchandise.
3. Chargeback amount must not exceed original Transaction amount.
4. Effective through 15 October 2010, Issuer must wait 30 calendar days from the date the
   merchandise was returned or the service was cancelled, prior to exercising the Chargeback right.
   Does not apply if the waiting period causes Chargeback to exceed Chargeback time frame.



892                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 930 of 1319
                                               PageID #: 4123
                                    Visa International Operating Regulations


5. Effective 16 October 2010, Issuer must wait 15 calendar days from the date the merchandise
   was returned or the service was cancelled, prior to exercising the Chargeback right. Does not
   apply if the waiting period causes Chargeback to exceed Chargeback time frame.
6. For merchandise or services provided after the Transaction Processing Date, Chargeback time
   frame is calculated from the date the Cardholder received the merchandise or services.
7. Effective for Chargebacks processed on or after 16 April 2011, Chargeback is valid if
   returned merchandise is refused by the Merchant and Issuer can certify details of the refusal. The
   right to certify does not apply to Transactions involving Issuers or Acquirers in Visa Europe.
8. Effective for Chargebacks processed on or after 16 April 2011, for Transactions involving
   Issuers or Acquirers in Visa Europe, Chargeback is valid if returned merchandise is refused by
   the Merchant and Issuer can provide evidence of refusal. (This only applies in Visa Europe.)
9. Issuer must determine that the Cardholder attempted to resolve the dispute with the Merchant.
   (Not applicable if prohibited by local law.)
10. An Issuer must not initiate a Chargeback for disputes regarding Value-Added Tax (VAT).
11. For a U.S. Domestic Transaction, Chargeback is valid if any of the following: (This only applies
    in the U.S. Region.)
    a. Effective through 15 October 2010, Issuer must wait 30 calendar days from the date the
       Cardholder returned, or attempted to return, the merchandise or cancelled the services prior
       to exercising the Chargeback right. (This only applies in the U.S. Region.)
    b. Effective 16 October 2010, Issuer must wait 15 calendar days from the date the Cardholder
       returned, or attempted to return, the merchandise or cancelled the services prior to exercising
       the Chargeback right. (This only applies in the U.S. Region.)
    c.    Chargeback is valid if returned merchandise is refused by the merchant. (This only applies in
          the U.S. Region.)
    d.     If goods or services did not match, Chargeback Condition 1, Chargeback may apply to
          disputes relating to the quality of goods or services received for the following Transaction
          types: (This only applies in the U.S. Region.)
          i.    Card-Present Environment Transaction, where the merchandise or services did not
                match the Merchant's written description provided to the Cardholder at the time of the
                purchase, or (This only applies in the U.S. Region.)
          ii.   Card-Absent Environment Transaction, where the merchandise or services did not match
                the Merchant's verbal description provided to the Cardholder at the time of purchase
                (This only applies in the U.S. Region.)

ID#: 111011-171009-0007482



Invalid Chargebacks - Reason Code 53

Chargeback is invalid for any of the following:

1. Effective through 30 September 2010, effective for Transactions completed on or after 1
   March 2010, for any Cash-Back portion of a Visa or Visa Electron Transaction (This only applies
   to the AP Region for Members in India and, effective 1 November 2010, Australia.) (This only
   applies in the Asia Pacific Region.)



18 October 2011                                    VISA PUBLIC                                           893
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 931 of 1319
                                                   PageID #: 4124
                                    Visa International Operating Regulations


2. Effective for Transactions completed through 15 October 2010, for a U.S. Domestic Small
   Ticket Transaction (This only applies in the U.S. Region.)
3. For a U.S. Domestic ATM Cash Disbursement Transaction (This only applies in the U.S.
   Region.)
4. Effective through 30 September 2010, for a U.S. Domestic Transaction, Cash-Back portion of a
   Visa Cash Back Service Transaction (This only applies in the U.S. Region.)
5. Effective 1 October 2010, for any Cash-Back portion of a Visa Cash-Back Transaction

ID#: 080411-171009-0007483



Chargeback Time Limit - Reason Code 53

One of the following:

1. 120 calendar days from one of the following:
      a. Central Processing Date of the Transaction
      b. For merchandise or services purchased on or before the Central Processing Date, the date
         Cardholder received the merchandise or services
      c.   For a Delayed Delivery Transaction, 120 calendar days from the Central Processing Date of
           the balance portion of the Transaction
2. For a U.S. Domestic Transaction, 60 calendar days from receipt date of the first Cardholder
   notification to the Issuer of the dispute, if there is evidence in the notification of previous
   negotiations between the Cardholder and the Merchant to resolve the dispute. The negotiations
   must have occurred within 120 days from the Processing Date. (This only applies in the U.S.
   Region.)

ID#: 171009-171009-0007484



Chargeback Processing Requirements - Reason Code 53

Member Message Text:

1. NOT AS DESCRIBED
2. DEFECTIVE MERCHANDISE

Documentation:

1. Visa Resolve Online Dispute Questionnaire or Exhibit 2E-5 Issuer stating all of the following, as
   applicable:
      a. Date merchandise was returned or service was cancelled
      b. Name of shipping company
      c.   Invoice/tracking number (if available)
      d. Date Merchant received the merchandise



894                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 932 of 1319
                                               PageID #: 4125
                                    Visa International Operating Regulations


    e. Effective for Chargebacks processed on or after 16 April 2011, in lieu of documentation,
       Issuer certification that Merchant either refused to provide a return merchandise authorization
       or informed the Cardholder not to return the merchandise, if applicable. The right to
       certify does not apply to Transactions involving Issuers or Acquirers in Visa Europe.
    f.    Cardholder attempted to resolve the dispute with the Merchant
    g. Explanation of what was not as described or defective
    h. Date Cardholder received merchandise or services, if Chargeback time frame is calculated
       from date of receipt
    i.    For a U.S. Domestic Transaction, Date merchandise was returned, or attempted to be
          returned, or service was cancelled (This only applies in the U.S. Region.)
2. Effective through 15 April 2011, proof that Merchant refused the return of merchandise, refused
   to provide a return merchandise authorization, or informed the Cardholder not to return the
   merchandise, if applicable
3. Effective for Chargebacks processed on or after 16 April 2011, for Transactions involving
   Issuers or Acquirers in Visa Europe, proof that Merchant refused the return of merchandise,
   refused to provide a return merchandise authorization, or informed the Cardholder not to return
   the merchandise, if applicable (This only applies in Visa Europe.)
4. For Domestic Transactions in Brazil, the Issuer may provide certification in lieu of the Cardholder
   letter (This only applies in the Latin America & Caribbean Region.)

ID#: 111011-171009-0007485



Representment Time Limit - Reason Code 53

45 calendar days from Central Processing Date of Chargeback

ID#: 171009-171009-0007486



Representment Processing Requirements - Reason Code 53
1. Credit or Reversal was processed.
    a. Member Message Text: Either that applies:
          i.    CRED MMDDYY ARN X...X (23 or 24 digits)
          ii.   REVERSAL MMDDYY
    b. Documentation: None required.
2. Issuer did not meet the applicable Chargeback conditions.
    a. Member Message Text:
          i.    X...X (Specify the reason)
    b. Documentation: None required.
3. Acquirer can remedy the Chargeback.
    a. Member Message Text: RETURNED MDSE NOT RECEIVED (if applicable)
    b. Documentation: Both:

18 October 2011                                    VISA PUBLIC                                      895
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 933 of 1319
                                                   PageID #: 4126
                                    Visa International Operating Regulations


          i.    Visa Resolve Online Dispute Questionnaire or Exhibit 2E-5 Acquirer
          ii.   Documents to prove that the service or merchandise was correctly described or the
                merchandise was not defective

ID#: 171009-171009-0007487



Additional Information - Reason Code 53
1. For Chargeback Condition 1, the Issuer may provide a copy of the Transaction Receipt or other
   documentation containing a written description of the merchandise or services purchased, if
   available.
2. Proof of shipping does not constitute proof of receipt.
3. Merchant is responsible for goods held within its own country's customs agency.
4. A neutral 3rd party opinion is not required, but is recommended, to help the Member support its
   claim.
5. For Chargeback Condition 1 and 3, the Issuer may be required to provide proof of shipping of
   returned merchandise.
6. For a U.S. Domestic Transaction, the return of merchandise condition is met if the Merchant
   refuses to provide a return merchandise authorization or return address and the Issuer can
   provide evidence of the refusal. (This only applies in the U.S. Region.)

ID#: 010410-171009-0007488



Reason Code 57 Fraudulent Multiple Transactions


Overview - Reason Code 57

Time Limit: 120 calendar days

Multiple Transactions occurred on a single Card at the same Merchant Outlet without the
Cardholder's permission.

ID#: 171009-171009-0007489



Chargeback Conditions - Reason Code 57

All of the following:

1. All disputed Transactions occurred at the same Merchant Outlet.
2. Cardholder acknowledges participating in at least one Transaction at the same Merchant Outlet.
3. Cardholder denies authorizing or participating in the disputed Transaction.
4. Card was in Cardholder's possession at the time of the disputed Transaction.

ID#: 171009-171009-0007490




896                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 934 of 1319
                                               PageID #: 4127
                                    Visa International Operating Regulations




Chargeback Rights and Limitations - Reason Code 57
1. Minimum Chargeback amount:
    a. For a T&E Transaction, US $25 or equivalent
    b. For a Canada Domestic T&E Transaction, CAD $25 (This only applies in the Canada
       Region.)
    c.    For all other Canada Domestic Transactions, CAD $10 (This only applies in the Canada
          Region.)
    d. For a Domestic T&E Transaction in Brazil, excluding airport tax Transactions, R$25 (This
       only applies in the Latin America & Caribbean Region.)
    e. For all other Domestic Transactions in Brazil, excluding airport tax Transactions, R$15 (This
       only applies in the Latin America & Caribbean Region.)
2. Effective for Transactions completed through 15 October 2010, Issuer must make a Retrieval
   Request for the disputed Transactions, excluding Small Ticket Transactions in the U.S. Region
3. Effective for Transactions completed on or after 16 October 2010, Issuer must make a
   Retrieval Request for disputed Transactions, excluding Visa Easy Payment Service Transactions.
   For Transactions between Visa Inc. and Visa Europe, an Issuer must make a Retrieval Request
   for disputed Transactions unless the Transaction is one of the following:
    a. A Magnetic Stripe or contact Chip (Visa Europe) Small Ticket Transaction conducted at
       Merchant Category Codes 4111, 4121, 4131, 4784, 5331, 5499, 5812, 5814, 5912, 5993,
       5994, 7211, 7216, 7338, 7523, 7542, 7832, and 7841.
    b. A qualifying Contactless Transaction

ID#: 111011-171009-0007491



Invalid Chargebacks - Reason Code 57 (Updated)

Chargeback is invalid for any of the following:

1. Card-Absent Environment Transactions
2. EMV PIN Transactions
3. T&E delayed or amended charges
4. ATM Cash Disbursement
5. Emergency Cash Disbursement
6. Effective for Transactions completed on or after 14 April 2012, Visa Debit with PIN
   Transactions (This only applies in the U.S. Region.)

ID#: 111011-171009-0007492




18 October 2011                                    VISA PUBLIC                                     897
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 935 of 1319
                                                   PageID #: 4128
                                    Visa International Operating Regulations




Chargeback Time Limit - Reason Code 57

120 calendar days from Transaction Processing Date

ID#: 171009-171009-0007493



Chargeback Processing Requirements - Reason Code 57

Member Message Text:

RR DATE MMDDYY, if requested Transaction Receipt not fulfilled.

Documentation:

All of the following:

1. Visa Resolve Online Dispute Questionnaire or Exhibit 2E-2 Issuer
2. Effective through 15 April 2011,Cardholder letter
3. Effective for Chargebacks processed on or after 16 April 2011, in lieu of documentation,
   Issuer certification (the right to certify does not apply to Transactions involving Issuers or
   Acquirers in Visa Europe)
4. Effective for Chargebacks processed on or after 16 April 2011, for Transactions involving
   Issuers or Acquirers in Visa Europe, Cardholder letter
5. Effective through 15 April 2011, if acknowledged Transaction was not processed, Issuer must
   supply the Cardholder copy of the Transaction Receipt.
6. Effective for Chargebacks processed on or after 16 April 2011, in lieu of documentation,
   Issuer certification that acknowledged Transaction was not processed. The right to certify does
   not apply to Transactions involving Issuers or Acquirers in Visa Europe.
7. Effective for Chargebacks processed on or after 16 April 2011, for Transactions involving
   Issuers or Acquirers in Visa Europe, if acknowledged Transaction was not processed, Issuer
   must supply the Cardholder copy of the Transaction Receipt.

ID#: 171011-171009-0007494



Representment Time Limit - Reason Code 57

45 calendar days from the Central Processing Date of the Chargeback

ID#: 171009-171009-0007495




898                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 936 of 1319
                                               PageID #: 4129
                                    Visa International Operating Regulations




Representment Rights and Limitations - Reason Code 57
1. Representment is invalid if Acquirer failed to respond to Retrieval Request or responded with a
   Nonfulfillment Message code "03" or "04." Effective for Transactions completed on or after 16
   October 2010, this condition does not apply to Visa Easy Payment Service Transactions.

ID#: 081010-171009-0007496



Representment Processing Requirements - Reason Code 57
1. Credit or Reversal was processed.
    a. Member Message Text: Either that applies:
          i.    CRED MMDDYY ARN X...X (23 or 24 digits)
          ii.   REVERSAL MMDDYY
    b. Documentation: None required.
2. Issuer did not meet the applicable Chargeback conditions.
    a. Member Message Text:
          i.    X...X (Specify the reason)
    b. Documentation: None required.
3. Acquirer can remedy the Chargeback.
    a. Member Message Text: None required.
    b. Documentation: All of the following:
          i.    Visa Resolve Online Dispute Questionnaire or Exhibit 2E-2 Acquirer
          ii.   Irrefutable evidence to demonstrate the Cardholder participated in the disputed
                Transactions
          iii. Evidence that Transactions were Card-Absent Environment (if applicable)
          iv. Evidence that Transactions were EMV PIN Transactions (if applicable)
          v.    Evidence that Transactions represent valid delayed or amended charges for a T&E
                Transaction

ID#: 171011-171009-0007497



Additional Information - Reason Code 57
1. The Transaction Receipts may contain different Transaction Dates and amount.
2. Visa may consider a Chargeback invalid for POS Entry Mode "90," "91," "05," or "07"
   Transactions completed more than x apart; however, Visa may take other factors into
   consideration when determining whether multiple unauthorized Transactions occurred.

ID#: 111011-171009-0007498




18 October 2011                                    VISA PUBLIC                                     899
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 937 of 1319
                                                   PageID #: 4130
                                    Visa International Operating Regulations




Reason Code 60 Illegible Fulfillment


Overview - Reason Code 60

Time Limit: 120 calendar days

The Fulfillment supplied in response to a Retrieval Request is illegible.

ID#: 171009-171009-0007499



Chargeback Conditions - Reason Code 60

Issuer requested and received a Transaction Receipt or Substitute Transaction Receipt and the
Account Number or amount is illegible.

ID#: 010410-171009-0007500



Chargeback Rights and Limitations - Reason Code 60
1. Minimum Chargeback amount:
      a. For a Canada Domestic T&E Transaction, CAD $25 (This only applies in the Canada
         Region.)
      b. For all other Canada Domestic Transactions, CAD $10 (This only applies in the Canada
         Region.)
      c.   For a Domestic T&E Transaction in Brazil, excluding airport tax Transactions, R$25 (This
           only applies in the Latin America & Caribbean Region.)
      d. For all other Domestic Transactions in Brazil, excluding airport tax Transactions, R$15 (This
         only applies in the Latin America & Caribbean Region.)
2. Chargeback is valid if the truncated or disguised Account Number is illegible
3. For an Intraregional Transaction in the LAC Region, Chargeback is valid if Request for Copy
   bearing Signature and Public and Private H&C Document is illegible (This only applies in the
   Latin America & Caribbean Region.)

ID#: 111011-171009-0007501



Invalid Chargebacks - Reason Code 60

Chargeback is invalid for any of the following:

1. Telephone Service Transactions excluding U.S. Domestic Transactions
2. ATM Cash Disbursements




900                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                  Page: 938 of 1319
                                               PageID #: 4131
                                    Visa International Operating Regulations


3. Effective for Transactions completed on or after 16 October 2010, Visa Easy Payment
   Service Transactions. (This provision does not apply to Transactions involving Issuers or
                              [110]
   Acquirers in Visa Europe).
4. If the embossed six-digit BIN of the Account Number and the embossed Cardholder name are
   legible
5. If the Acquirer provides the VisaNet record in response to a Retrieval Request to demonstrate
   that a Credit Transaction Receipt was processed
6. EMV PIN Transactions, excluding Manual Cash Disbursements, Quasi-Cash Transactions, and
   T&E Transactions
7. Effective for Transactions completed on or after 15 August 2009 through 15 October
   2010, Canada Domestic Proximity Payment Transactions CAD $50 or less
8. Effective for Transactions completed through 15 October 2010, U.S. Domestic Small Ticket
   Transactions
9. Effective for Transactions completed on or after 17 April 2010 through 15 October 2010,
   U.S. No Signature Required Transactions
10. Effective for Transactions completed on or after 14 April 2012, Visa Debit with PIN
    Transactions (This only applies in the U.S. Region.)

ID#: 111011-171009-0007502



Chargeback Time Limit - Reason Code 60

120 calendar days from the Transaction Processing Date

ID#: 171009-171009-0007503



Chargeback Processing Requirements - Reason Code 60

Member Message Text: RR DATE MMDDYY

Documentation: None required.

ID#: 171009-171009-0007504



Representment Time Limit - Reason Code 60

45 calendar days from the Chargeback Processing Date

ID#: 171009-171009-0007505




110 Effective for Transactions completed on or after 16 October 2010 between Visa Inc. and Visa Europe, Chargeback
    is invalid for: (1) Magnetic Stripe or contact Chip Transactions conducted at Merchant Category Codes 4111, 4121,
    4131, 4784, 5331, 5499, 5812, 5814, 5912, 5993, 5994, 7211, 7216, 7338, 7523, 7542, 7832, and 7841. (2) Proximity
    Payment Transactions that qualify as (Visa Europe) Small Ticket Transactions or Visa Inc. Visa Easy Payment Service
    Transactions

18 October 2011                                    VISA PUBLIC                                                        901
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15    Page: 939 of 1319
                                                   PageID #: 4132
                                    Visa International Operating Regulations




Representment Conditions - Reason Code 60

Representment is invalid if a Fulfillment was not transmitted electronically through a Visa-approved
method.

ID#: 171011-171009-0007506



Representment Processing Requirements - Reason Code 60
1. Credit or Reversal was processed.
      a. Member Message Text: Either that applies:
          i.    CRED MMDDYY ARN X...X (23 or 24 digits)
          ii.   REVERSAL MMDDYY
      b. Documentation: None required.
2. Issuer did not meet the applicable Chargeback conditions.
      a. Member Message Text:
          i.    X...X (Specify the reason)
      b. Documentation: None required.
3. Acquirer can remedy the Chargeback.
      a. Member Message Text: None required.
      b. Documentation: Both:
          i.    Visa Resolve Online Questionnaire or Exhibit 2E-1 Acquirer
          ii.   Legible copy of the Transaction Receipt

ID#: 171009-171009-0007507



Reason Code 62 Counterfeit Transaction


Overview - Reason Code 62

Time Limit: 120 calendar days

A Counterfeit Card was used for a Magnetic-Stripe or Chip-initiated Transaction that received
Authorization but the Authorization Request did not include the required data, or contained altered
data or a Counterfeit Transaction occurred at a Merchant or Member location where required risk
control procedures were not followed.

ID#: 171009-171009-0007508




902                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 940 of 1319
                                               PageID #: 4133
                                    Visa International Operating Regulations




Chargeback Conditions - Reason Code 62

Transaction was completed with a Counterfeit Card and any of the following:

1. All of the following:
    a. Cardholder denies authorizing or participating in the disputed Transaction
    b. One of the following:
          i.    Card Verification Value (CVV) was encoded on the Magnetic Stripe of the Card in
                question
          ii.   Integrated Circuit Card Verification Value (iCVV) was on the Magnetic-Stripe Data (MSI)
                of the Chip of the Card in question
          iii. Dynamic Card Verification Value (dCVV) can be produced by the Chip of the Card in
               question
    c.    Online Authorization was obtained without transmission of the entire unaltered data on track
          1 or 2
    d. Issuer reported this Transaction as counterfeit Fraud Activity through VisaNet
2. Cardholder denies authorizing or participating in the disputed Transaction and both of
   the following (for qualifying Transactions and effective dates, refer to "EMV Liability Shift
   Participation"):
    a. Card is a Chip Card containing a Visa or Visa Electron Smart Payment Application or an EMV
       and VIS-Compliant Plus application
    b. Card-Present Transaction did not take place at a Chip-Reading Device and was not a
       Fallback Transaction completed following correct acceptance procedures as defined in the
       Visa International Operating Regulations
3. Both:
    a. Cardholder denies authorizing or participating in the disputed Transaction
    b. Transaction was completed with a Counterfeit Card and was a Manual Cash Disbursement
       or Quasi-Cash Transaction completed in a Face-to-Face Environment and the Merchant or
       Member failed to both:
          i.    Compare the first four digits of the embossed or printed Account Number to the four digits
                printed below the embossed or printed Account Number
          ii.   Record the printed digits on the Transaction Receipt

ID#: 151011-171009-0007509



Chargeback Rights and Limitations - Reason Code 62
1. Minimum Chargeback amount:
    a. For a Canada Domestic T&E Transaction, CAD $25 (This only applies in the Canada
       Region.)




18 October 2011                                    VISA PUBLIC                                         903
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15       Page: 941 of 1319
                                                   PageID #: 4134
                                    Visa International Operating Regulations


      b. For all other Canada Domestic Transactions, CAD $10 (This only applies in the Canada
         Region.)
      c.   For a Domestic T&E Transaction in Brazil, excluding airport tax Transactions, R$25 (This
           only applies in the Latin America & Caribbean Region.)
      d. For all other Domestic Transactions in Brazil, excluding airport tax Transactions, R$15 (This
         only applies in the Latin America & Caribbean Region.)
2. The Issuer must meet all of the following conditions on or before the Chargeback Processing
   Date:
      a. Close the Cardholder account
      b. For Chargeback Condition 1 and 3, both of the following:
           i.    List the Account Number on the Exception File with a Pickup Response, for a minimum of
                 30 calendar days
           ii.   Report the Fraud Activity through VisaNet using Fraud Type Code 4
      c.   For Chargeback Condition 2, both of the following:
           i.    List the Account Number on the Exception File with a Pickup Response, for a minimum of
                 60 calendar days
           ii.   Report the Fraud Activity through VisaNet using Fraud Type Code 4

ID#: 111011-171009-0007510



Invalid Chargebacks - Reason Code 62

Chargeback is invalid for any of the following:

1. For Chargeback Condition 1, if either:
      a. The V.I.P. System Authorization Record POS Entry Mode code value is "05," "07," 90," or
         "91"
      b. All data elements that create the EMV Online Card Authentication Cryptogram are contained
         in the message
2. For Chargeback Condition 1, if any of the following:
      a. Transaction is key-entered
      b. Transaction is Chip-initiated and offline-authorized
      c.   The Issuer was not a Card Verification Service participant at the time the Transaction
           occurred
      d. If the Card Verification Value was not encoded on the Magnetic Stripe or the Chip of the Card
         in question.
3. For Chargeback Condition 2, if any of the following:
      a. For all Chip-initiated Transactions
      b. The Authorization record contains a POS Entry Mode code value of "90" and the Service
         Code encoded on the Magnetic Stripe of the Card does not indicate the presence of a Chip
4. For Chargeback Condition 3, an ATM Transaction

904                                                VISA PUBLIC                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15           Page: 942 of 1319
                                               PageID #: 4135
                                    Visa International Operating Regulations


5. An Emergency Cash Disbursement
6. For Chargeback Condition 1 and 3, Transactions completed with a Proprietary Card bearing
   the Plus Symbol. For U.S. Domestic Plus Transactions, refer to the Plus System Inc. Operating
   Regulations.

ID#: 050411-171009-0007511



Chargeback Time Limit - Reason Code 62

120 calendar days from the Transaction Processing Date

ID#: 171009-171009-0007512



Chargeback Processing Requirements - Reason Code 62

Member Message Text:

1. For Chargeback Condition 1
    a. For an ATM Transaction: CH DISP, CVV ENCODED, FRD RPT, ISS CVS PARTICIPANT
    b. Documentation: For an ATM Transaction, none required.
       For all other Transactions: All of the following:
          i.    Visa Resolve Online Questionnaire or Exhibit 2E-2 Issuer certifying:
                •   Card Verification Value was encoded on the Card in question
                •   Issuer was a participant in the Card Verification Service at the time of Authorization
          ii.   Effective through 15 April 2011, Cardholder letter denying authorization or participation
                in the Transaction
          iii. Effective for Chargebacks processed on or after 16 April 2011, for Transactions
               involving Issuers or Acquirers in Visa Europe, Cardholder letter denying authorization or
               participation in the Transaction (This only applies in Visa Europe.)
          iv. Effective for Chargebacks processed between 16 April 2011 and 14 October 2011,
              for Transactions not involving Issuers or Acquirers in Visa Europe, either Cardholder
              letter denying authorization or participation in the Transaction, or:
                •   Certification that the Cardholder denies authorization or participation in the
                    Transaction
                •   Certification of the Card status at the time of the Transaction (lost, stolen, counterfeit)
                •   Certification of the date Fraud Activity was reported through VisaNet using Fraud
                    Type Code 4, “Issuer-Reported Counterfeit”
                •   Certification of the date Account Number was listed on the Exception File
          v.    Effective for Chargebacks processed on or after 15 October 2011, for Transactions
                not involving Issuers or Acquirers in Visa Europe:
                •   Cardholder letter denying authorization or participation in the Transaction, or
                    certification that the Cardholder denies authorization or participation in the
                    Transaction

18 October 2011                                    VISA PUBLIC                                              905
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15           Page: 943 of 1319
                                                   PageID #: 4136
                                    Visa International Operating Regulations


                •   Certification of the Card status at the time of the Transaction (lost, stolen, counterfeit)
                •   Certification of the date Fraud Activity was reported through VisaNet using Fraud
                    Type Code 4, “Issuer-Reported Counterfeit”
                •   Certification of the date Account Number was listed on the Exception File
          vi. For Domestic Transactions in Brazil, the Issuer may provide certification in lieu of the
              Cardholder letter. (This only applies in the Latin America & Caribbean Region.)
2. For Chargeback Condition 2:
      a. Member Message Text: EMV CARD, NON EMV DEVICE
      b. Documentation or certification using Visa Resolve Online Questionnaire or Exhibit 2E-2
         Issuer: All of the following:
          i.    Effective through 15 April 2011, Cardholder letter denying Authorization or participation
                in the Transaction
          ii.   Effective for Chargebacks processed on or after 16 April 2011, for Transactions
                involving Issuers or Acquirers in Visa Europe, Cardholder letter denying authorization or
                participation in the Transaction (This only applies in Visa Europe.)
          iii. Effective for Chargebacks processed between 16 April 2011 and 14 October 2011,
               for Transactions not involving Issuers or Acquirers in Visa Europe, either Cardholder
               letter denying authorization or participation in the Transaction, or:
                •   Certification that the Cardholder denies authorization or participation in the
                    Transaction
                •   Certification of the Card status at the time of the Transaction (lost, stolen, counterfeit)
                •   Certification of the date Fraud Activity was reported through VisaNet using Fraud
                    Type Code 4, "Issuer-Reported Counterfeit"
                •   Certification of the date Account Number was listed on the Exception File
          iv. Effective for Chargebacks processed on or after 15 October 2011, for Transactions
              not involving Issuers or Acquirers in Visa Europe:
                •   Cardholder letter denying authorization or participation in the Transaction, or
                    certification that Cardholder denies authorization or participation in the Transaction
                •   Certification of the Card status at the time of the Transaction (lost, stolen, counterfeit)
                •   Certification of the date Fraud Activity was reported through VisaNet using Fraud
                    Type Code 4, "Issuer-Reported Counterfeit"
                •   Certification of the date Account Number was listed on the Exception File
          v.    For Domestic Transactions in Brazil, the Issuer may provide certification in lieu of the
                Cardholder letter. (This only applies in the Latin America & Caribbean Region.)
3. For Chargeback Condition 3:
      a. Member Message Text: For a Manual Cash Disbursement or Quasi-Cash Transaction:
         EMBOSSED/PRINTED DIGITS NOT COMPARED
      b. Documentation or certification using Visa Resolve Online Questionnaire or Exhibit 2E-2
         Issuer: All of the following:
          i.    Legible Transaction Receipt copy


906                                                VISA PUBLIC                                18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15           Page: 944 of 1319
                                               PageID #: 4137
                                    Visa International Operating Regulations


          ii.   Effective through 15 April 2011, Cardholder letter denying authorization or participation
                in the Transaction
          iii. Effective for Chargebacks processed on or after 16 April 2011, for Transactions
               involving Issuers or Acquirers in Visa Europe, Cardholder letter denying authorization or
               participation in the Transaction (This only applies in Visa Europe.)
          iv. Effective for Chargebacks processed between 16 April 2011 and 14 October 2011,
              for Transactions not involving Issuers or Acquirers in Visa Europe, either Cardholder
              letter denying authorization or participation in the Transaction, or:
                •   Certification that the Cardholder denies authorization or participation in the
                    Transaction
                •   Certification of the Card status at the time of the Transaction (lost, stolen, counterfeit)
                •   Certification of the date Fraud Activity was reported through VisaNet using Fraud
                    Type Code 4, "Issuer-Reported Counterfeit"
                •   Certification of the date Account Number was listed on the Exception File
          v.    Effective for Chargebacks processed on or after 15 October 2011, for Transactions
                not involving Issuers or Acquirers in Visa Europe:
                •   Cardholder letter denying authorization or participation in the Transaction, or
                    certification that Cardholder denies authorization or participation in the Transaction
                •   Certification of the Card status at the time of the Transaction (lost, stolen, counterfeit)
                •   Certification of the date Fraud Activity was reported through VisaNet using Fraud
                    Type Code 4, "Issuer-Reported Counterfeit"
                •   Certification of the date Account Number was listed on the Exception File
          vi. For Domestic Transactions in Brazil, the Issuer may provide certification in lieu of the
              Cardholder letter. (This only applies in the Latin America & Caribbean Region.)

ID#: 171011-171009-0007513



Representment Time Limit - Reason Code 62

45 calendar days from the Chargeback Processing Date

ID#: 171009-171009-0007514



Representment Rights and Limitations - Reason Code 62 (Updated)
1. Effective through 31 December 2013, for Chargeback Condition 1 and 2, the Acquirer or Load
   Acquirer must have been certified as a Card Verification Service participant at the time the
   Authorization occurred.
2. Effective 1 January 2014, for Chargeback Condition 1 and 2, the Acquirer must have been
   certified as a Card Verification Service participant at the time the Authorization occurred.
3. For a Representment due to an Issuer failing to meet the requirements specified in Chargeback
   Rights and Limitations 2, the Acquirer must provide information/documentation to support this
   claim such as evidence indicating Card Account number was not listed on the Exception File or
   account was not closed or Transaction was not reported as fraud.

18 October 2011                                    VISA PUBLIC                                              907
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 945 of 1319
                                                   PageID #: 4138
                                    Visa International Operating Regulations


4. Effective for Chargebacks processed on or after 16 April 2011, the Acquirer must not
   represent a Transaction because of the failure by the Issuer to certify the following: (The right to
   certify does not apply to Transactions involving Issuers or Acquirers in Visa Europe.)
      a. Card status at the time of the Transaction (lost, stolen, counterfeit)
      b. Date Fraud Activity was reported through VisaNet
      c.   Date Account Number was listed on the Exception File

ID#: 111011-171009-0007515



Representment Processing Requirements - Reason Code 62
1. Credit or Reversal was processed.
      a. Member Message Text: Either that applies:
           i.    CRED MMDDYY ARN X...X (23 or 24 digits)
           ii.   REVERSAL MMDDYY
      b. Documentation: None required.
2. Issuer did not meet the applicable Chargeback conditions.
      a. For Chargeback Condition 1:
           i.    Member Message Text:
                 •   AUTH DATE MMDDYY CODE X...X
                 •   POS XX (Specify POS Entry Mode code value)
                 •   AUTHENTICATION CRYPT IN AUTH
           ii.   Documentation: As applicable
      b. For Chargeback Condition 2:
           i.    Member Message Text (for qualifying Transactions and effective dates, refer to "EMV
                 Liability Shift Participation"):
                 •   X...X (Specify the reason)
                 •   EMV DEVICE, POS 90, NON CHIP SVCE CODE
                 •   EXCP FILE NOT LSTD, FRD NOT RPT, ACC NOT CLSD
           ii.   Documentation: As applicable.
      c.   For Chargeback Condition 3:
           i.    Member Message Text:
                 •   X...X (Specify the reason)
                 •   EXCP FILE NOT LSTD, FRD NOT RPT, ACC NOT CLSD
           ii.   Documentation: As applicable.
3. Acquirer can remedy the Chargeback.
      a. Member Message Text:



908                                                VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 946 of 1319
                                               PageID #: 4139
                                    Visa International Operating Regulations


          i.    X...X (Specify the reason)

ID#: 050411-171009-0007516



Reason Code 70 Card Recovery Bulletin or Exception File


Overview - Reason Code 70

Time Limit: 75 calendar days

A Merchant did not check the Card Recovery Bulletin or Exception File for a Transaction with an
amount that was below the Floor Limit, excluding U.S. Domestic Transactions.

ID#: 171009-171009-0007518



Chargeback Conditions - Reason Code 70
1. All of the following:
    a. Transaction was below the Merchant's Floor Limit
    b. Merchant did not obtain Authorization
    c.    Account Number was listed in the Card Recovery Bulletin in the jurisdiction of the Merchant's
          Visa Regional Office on the Transaction Date
2. All of the following:
    a. Transaction was below the Merchant's Floor Limit
    b. Merchant did not obtain Authorization
    c.    Merchant did not perform Account Number Verification
    d. Both:
          i.    Transaction originated at a U.S. Merchant Outlet
          ii.   Account Number was listed on the Exception File with a Pickup Response by 4 a.m.
                Greenwich Mean Time on the date preceding the Transaction Date

ID#: 171009-171009-0007519



Chargeback Rights and Limitations - Reason Code 70
1. Minimum Chargeback amount:
    a. For a T&E Transaction, US $25 or equivalent
    b. For a Canada Domestic T&E Transaction, CAD $25 (This only applies in the Canada
       Region.)
    c.    For all other Canada Domestic Transactions, CAD $10 (This only applies in the Canada
          Region.)




18 October 2011                                    VISA PUBLIC                                      909
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 947 of 1319
                                                   PageID #: 4140
                                    Visa International Operating Regulations


      d. For a Domestic T&E Transaction in Brazil, excluding airport tax Transactions, R$25 (This
         only applies in the Latin America & Caribbean Region.)
      e. For all other Domestic Transactions in Brazil, excluding airport tax Transactions, R$15 (This
         only applies in the Latin America & Caribbean Region.)
2. If the Transaction Date was not transmitted in the Clearing Record, Chargeback is valid if one of
   the following:
      a. For Chargeback Condition 1, Account Number was listed on the Card Recovery Bulletin
         within 10 calendar days prior to the Transaction Processing Date
      b. For Chargeback Condition 2, Account Number Verification was performed or the Account
         Number was listed on the Exception File within 10 calendar days prior to the Transaction
         Processing Date

ID#: 111011-171009-0007520



Invalid Chargebacks - Reason Code 70

Chargeback is invalid for any of the following:

1. For Chargeback Condition 1, Transactions occurred at a Chip-Reading Device (for qualifying
   Transactions and effective dates, refer to "EMV Liability Shift Participation")
2. Transactions authorized through Emergency Payment Authorization Service
3. T&E Transaction if Account Number was not listed on the Exception File with a negative
   response on the Chargeback Processing Date

ID#: 050411-171009-0007521



Chargeback Time Limit - Reason Code 70

75 calendar days from the Transaction Processing Date

ID#: 171009-171009-0007522



Chargeback Processing Requirements - Reason Code 70
1. For Chargeback Condition 1:
      a. Member Message Text:
          i.   LISTED CRB DATE MMDDYY CRB REGION XX
      b. Documentation: None required.
2. For Chargeback Condition 2:
      a. Member Message Text:
          i.   LISTED EXCEPT FILE MMDDYY
      b. Documentation: None required.

ID#: 171009-171009-0007523


910                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 948 of 1319
                                               PageID #: 4141
                                    Visa International Operating Regulations




Representment Time Limit - Reason Code 70

45 calendar days from the Chargeback Processing Date

ID#: 171009-171009-0007524



Representment Processing Requirements - Reason Code 70
1. Credit or Reversal was processed.
    a. Member Message Text: Either that applies:
          i.    CRED MMDDYY ARN X...X(23 or 24 digits)
          ii.   REVERSAL MMDDYY
    b. Documentation: None required.
2. Issuer did not meet the applicable Chargeback conditions.
    a. Member Message Text:
          i.    X...X (Specify the reason)
    b. Documentation: None required.
3. Acquirer can remedy the Chargeback.
    a. For Chargeback Condition 1:
          i.    Member Message Text: As applicable:
                •   ACCT NUM NOT ON CRB TRAN DATE MMDDYY
                •   CHECK-IN DATE MMDDYY
                •   RENTAL DATE MMDDYY
                •   EMBARK DATE MMDDYY
                •   AUTH DATE MMDDYY CODE X...X
          ii.   Documentation: Evidence that the Transaction was Chip-initiated and offline-authorized,
                if applicable.
    b. For Chargeback Condition 2:
          i.    Member Message Text: As applicable:
                •   ACCT NUM NOT ON EXCPT FILE TRAN DATE MMDDYY

ID#: 111011-171009-0007525



Additional Information - Reason Code 70
1. Chargeback is valid whether or not a specific Account Number in a blocked BIN appears in the
   Card Recovery Bulletin or Exception File.
2. For a T&E Transaction, the Transaction date is the check-in, car rental, or embarkation date.



18 October 2011                                    VISA PUBLIC                                       911
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 949 of 1319
                                                   PageID #: 4142
                                    Visa International Operating Regulations


3. If the Member's Authorization records conflicts, the V.I.P System Authorization record will prevail
   at Arbitration.

ID#: 111011-171009-0007526



Reason Code 71 Declined Authorization


Overview - Reason Code 71

Time Limit: 75 calendar days

A Merchant completed a Transaction after an Authorization Request received a Decline Response.

ID#: 171009-171009-0007528



Chargeback Conditions - Reason Code 71

One of the following:

1. Authorization Request received a Decline or Pickup Response and a Merchant completed the
   Transaction.
2. Both:
      a. Authorization Request for a Magnetic-Stripe read or Chip-initiated Transaction received a
         Decline, Pickup, or Referral Response and subsequent Authorization was obtained by a
         means other than Voice Authorization and Merchant completed the Transaction
      b. Transaction is Counterfeit
3. All of the following:
      a. Chip-Reading Device transmitted all data elements that create the EMV-Online Card
         Authentication Cryptogram with a POS Entry Mode value of "05"
      b. Authorization Response was a Referral Response
      c.   Authorization Request was approved by means other than Voice Authorization
      d. Approved Transaction is fraudulent
      e. Issuer reported the Transaction as Fraud Activity through VisaNet
      f.   Account Number was resident on the Exception File with a Pickup Response on the
           Processing Date of the Chargeback, and was on the Exception File for a total period of at
           least 60 calendar days from the date of listing

ID#: 171009-171009-0007529



Chargeback Rights and Limitations - Reason Code 71
1. Minimum Chargeback amount:
      a. For a T&E Transaction, US $25 or equivalent


912                                                VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 950 of 1319
                                               PageID #: 4143
                                    Visa International Operating Regulations


    b. For a Canada Domestic T&E Transaction, CAD $25 (This only applies in the Canada
       Region.)
    c.    For all other Canada Domestic Transactions, CAD $10 (This only applies in the Canada
          Region.)
    d. For a Domestic T&E Transaction in Brazil, excluding airport tax Transactions, R$25 (This
       only applies in the Latin America & Caribbean Region.)
    e. For all other Domestic Transactions in Brazil, excluding airport tax Transactions, R$15 (This
       only applies in the Latin America & Caribbean Region.)
2. For Hotels, Car Rental Companies, and Cruise Lines that rendered services, Chargeback is
   limited to the amount over the Floor Limit if the Account Number was not listed in the Card
   Recovery Bulletin on the rental, check-in, or embarkation date, excluding U.S. Domestic
   Transactions.
3. For a U.S. Domestic T&E Transaction, Account Number must also be listed on the Exception
   File with a Negative Response on the Chargeback Central Processing Date and remain on the
   Exception file with a Negative Response for at least 90 calendar days. (This only applies in the
   U.S. Region.)
4. For a U.S. Domestic lodging Transaction where services were rendered, Chargeback is limited
   to the amount over the Chargeback Protection Limit if the Account Number was not listed on
   the Exception File with a Pickup Response at 8 p.m. Pacific Time on the date preceding the
   Transaction initiation date. (This only applies in the U.S. Region.)
5. Chargeback is valid if both of the following apply:
    a. Authorization Request was processed through the International Automated Referral Service
    b. Decline Response was provided
6. For an Intraregional Transaction in the LAC Region, a H&C Merchant that provided services, the
   Chargeback amount is the amount above the Floor Limit if the Account Number was not listed in
   the Card Recovery Bulletin on the patient's check-in date. (This only applies in the Latin America
   & Caribbean Region.)

ID#: 111011-171009-0007530



Invalid Chargebacks - Reason Code 71

Chargeback is invalid for any of the following:

1. If Authorization was obtained as a result of Visa Stand-In Processing
2. For a T&E Transaction if the Account Number was not listed on the Exception File with a negative
   response on the Chargeback Processing Date
3. For Transaction authorized through the Emergency Payment Authorization Service
4. For a U.S. Domestic Transaction, Chargeback is invalid for any of the following: (This only applies
   in the U.S. Region.)
    a. CPS Transaction (This only applies in the U.S. Region.)
    b. ATM Cash Disbursement (This only applies in the U.S. Region.)




18 October 2011                                    VISA PUBLIC                                     913
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15                       Page: 951 of 1319
                                                   PageID #: 4144
                                    Visa International Operating Regulations


      c.   Transactions processed according to assured Transaction Response procedures (This only
           applies in the U.S. Region.)
      d. Transactions that are Chip-initiated and authorized offline (This only applies in the U.S.
         Region.)
      e. For a T&E Transaction if the Account Number was not listed on the Exception File with a
         negative response for at least 90 calendar days from the Chargeback Processing Date (This
         only applies in the U.S. Region.)
      f.   For a Transaction where Authorization was not required and both: (This only applies in the
           U.S. Region.)
           i.    Merchant initiated an Authorization Request because it was suspicious (This only applies
                 in the U.S. Region.)
           ii.   Merchandise or services were expended prior to receiving a Negative Response (This
                 only applies in the U.S. Region.)
      g. Effective for Transactions completed on or after 14 April 2012, for a resubmission of a
         Visa Debit with PIN Transaction if: (This only applies in the U.S. Region.)
           i.    The Decline Response is one of the following: (This only applies in the U.S. Region.)
                 •   Response code 51, "Insufficient Funds" (This only applies in the U.S. Region.) (This
                     only applies in the U.S. Region.)
                 •   Response code 61, "Exceeds Approval Amount Limit" (This only applies in the U.S.
                     Region.)
                 •   Response code 65, "Exceeds Withdrawal Frequency Limit" (This only applies in the
                     U.S. Region.)
           ii.   Authorization was obtained within 9 calendar days after the original Transaction Date
                 (This only applies in the U.S. Region.)
5. For Chargeback Condition 1, if Authorization was obtained after a Decline or Referral Response
                                       [111]
   was received for the same purchase

ID#: 151011-171009-0007532



Chargeback Time Limit - Reason Code 71

75 calendar days from the Transaction Processing Date

ID#: 171009-171009-0007534



Chargeback Processing Requirements - Reason Code 71
1. For Chargeback Condition 1 or 3:
      a. Member Message Text:
           i.    AUTH DECLINED MMDDYY
2. For Chargeback Condition 2:

111 This provision does not include Transactions that receive an Authorization Pickup Response of "04," "07," "41," or "43" or
    Authorization Requests submitted more than 12 hours after the submission of the first Authorization Request.

914                                                 VISA PUBLIC                                             18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 952 of 1319
                                               PageID #: 4145
                                    Visa International Operating Regulations


    a. Member Message Text:
          i.    ISS CERT TX COUNTERFEIT

ID#: 171009-171009-0007535



Documentation - Reason Code 71

Any of the following, as applicable:

For Chargeback Condition 2, either of the following:

1. Visa Resolve Online Dispute Questionnaire or Exhibit 2E-3 Issuer stating all of the following:
    a. Date and time the call was received from the International Automated Referral Service
    b. Account Number
    c.    Transaction amount
    d. Issuer response
2. Visa Resolve Online Dispute Questionnaire or Exhibit 2E-3 Issuer with Issuer certification that
   the approved Transaction was Counterfeit and both the initial and subsequent Authorization
   Requests contained the following identical data:
    a. Account Number
    b. Transaction Date
    c.    Transaction amount
    d. Merchant identification

For Chargeback Condition 3:

1. Visa Resolve Online Dispute Questionnaire or Exhibit 2E-3 Issuer with Issuer certification of all of
   the following:
    a. The approved Transaction was fraudulent
    b. Both the initial and subsequent Authorization Requests contained the following identical data:
          i.    Account Number
          ii.   Transaction Date
          iii. Transaction amount
          iv. Merchant identification
    c.    The Account Number was resident on the Exception File with a Pickup Response on the
          Processing Date of the Chargeback, and was on the Exception File for a total period of at
          least 60 calendar days from the date of listing.

ID#: 171009-171009-0007531




18 October 2011                                    VISA PUBLIC                                        915
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15         Page: 953 of 1319
                                                   PageID #: 4146
                                    Visa International Operating Regulations




Representment Time Limit - Reason Code 71

45 calendar days from the Chargeback Processing Date

ID#: 171009-171009-0007536



Representment Processing Requirements - Reason Code 71
1. Credit or Reversal was processed.
      a. Member Message Text: Either that applies:
          i.    CRED MMDDYY ARN X...X (23 or 24 digits)
          ii.   REVERSAL MMDDYY
      b. Documentation: None required.
2. Issuer did not meet the applicable Chargeback conditions.
      a. Member Message Text:
          i.    X...X (Specify the reason)
      b. Documentation: None required.
3. Acquirer can remedy the Chargeback.
      a. Member Message Text:
          i.    AUTH DATE MMDDYY CODE X...X
          ii.   TRAN IS MMDDYY NOT MMDDYY
      b. Documentation:
          i.    For a dispute involving special Authorization procedures, both:
                •   Visa Resolve Online Dispute Questionnaire or Exhibit 2E-3 Acquirer
                •   Visa Resolve Online Dispute Questionnaire or Certification of Special Authorization
                    Representment Amount Exhibit 3C), excluding U.S. Domestic Transactions
          ii.   Evidence that the Transaction was Chip-initiated and offline-authorized, if applicable
          iii. For a Intraregional Transaction in the LAC Region, Chargeback Condition 3, Supporting
               Documents to Issuer, Certification of Authorization Representment Amount for Public and
               Private Hospitals (This only applies in the Latin America & Caribbean Region.)

ID#: 171009-171009-0007537



Additional Information - Reason Code 71
1. Chargeback is valid for Transactions above or below the Floor Limit when a Decline Response
   was received.
2. For Chargeback Condition 2, the Issuer may provide a copy of either:
      a. International Automated Referral Service log reflecting the Issuer's Decline Response



916                                                VISA PUBLIC                             18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 954 of 1319
                                               PageID #: 4147
                                    Visa International Operating Regulations


    b. Issuer's internal Authorization log containing the following elements:
          i.    Date and time the call was received from the International Automated Referral Service
          ii.   Account Number
          iii. Transaction amount
          iv. Issuer response
3. Special Authorization procedures are allowed for Lodging Merchants, Cruise Line Merchants, and
   Car Rental.
4. If the Member's Authorization records conflict, the V.I.P. System Authorization record will prevail
   at Arbitration.

ID#: 010410-171009-0007538



Reason Code 72 No Authorization


Overview - Reason Code 72

Time Limit: 75 calendar days

Authorization was required for a Transaction, but the Merchant did not obtain proper Authorization.

ID#: 171009-171009-0007540



Chargeback Conditions - Reason Code 72
1. Transaction exceeded the Floor Limit and Authorization was not obtained on the Transaction
   Date.
2. Authorization was obtained using invalid or incorrect data, or Merchant Category Code used in
   the V.I.P. System Authorization Request does not match the Merchant Category Code in the
   Clearing Record of the first Presentment for the same Transaction.

ID#: 171009-171009-0007541



Chargeback Rights and Limitations - Reason Code 72
1. Minimum Chargeback amount:
    a. For a T&E Transaction, US $25 or equivalent
    b. For a Canada Domestic T&E Transaction, CAD $25 (This only applies in the Canada
       Region.)
    c.    For all other Canada Domestic Transactions, CAD $10 (This only applies in the Canada
          Region.)
    d. For a Domestic T&E Transaction in Brazil, excluding airport tax Transactions, R$25 (This
       only applies in the Latin America & Caribbean Region.)
    e. For all other Domestic Transaction in Brazil, excluding airport tax Transactions, R$15 (This
       only applies in the Latin America & Caribbean Region.)

18 October 2011                                    VISA PUBLIC                                          917
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15        Page: 955 of 1319
                                                   PageID #: 4148
                                    Visa International Operating Regulations


2. Chargeback is valid for any of the following:
      a. Only for the amount of the Transaction that exceeds the Floor Limit if both:
           i.    Services were rendered for a Hotel, Car Rental Company, or Cruise Line
           ii.   Account Number was not on the Card Recovery Bulletin on the Transaction Date
      b. A Chip-initiated, Offline Authorized Transaction for an amount exceeding the Merchant’s Chip
         Floor Limit
      c.   A Chip-initiated Transaction that was cleared with an Authorization Request Cryptogram
           (ARQC) that did not receive an approval response to an Online Authorization request from
           the Issuer or the Issuer’s agent
      d. For an Automated Fuel Dispenser, for the amount exceeding one of the following:
           i.    Amount authorized by the Issuer
           ii.   For an EMV PIN Transaction, US $100, or local currency equivalent, if a Status Check
                 Authorization was obtained
           iii. For all other Transactions, US $75 or local currency equivalent, if a Status Check
                Authorization was obtained
           iv. For a U.S. Domestic Visa Fleet Card Transaction, US $150, if a Status Check
               Authorization was obtained (This only applies in the U.S. Region.)
      e. For a Mail/Phone Order or Electronic Commerce Transaction, Authorization is valid if either:
           i.    Transaction amount is within 15% of the authorized amount, if the additional amount
                 represents shipping cost
           ii.   Authorization was obtained within 7 calendar days of the Transaction Date
3. For a restaurant, excluding Domestic Transactions in Brazil , if the Transaction amount is more
   than 20% greater than the authorized amount, Issuer may charge back only the amount that
   exceeds the additional 20%.
4. If Authorization was obtained for an amount less than the Transaction amount, Chargeback is
   limited only to the amount that was not authorized.
5. If a Partial Authorization was obtained for an amount less than the Transaction amount,
   Chargeback is limited only to the amount that was not authorized if the Clearing Record includes
   the Authorization Code.
6. Chargeback is valid if the Transaction required Authorization and the Authorization was obtained,
   but subsequently reversed.
7. Authorization is invalid for Fallback Transactions where the appropriate values identifying the
   Transaction as a Fallback Transaction are not included in the Authorization message. For
   Fallback Transactions, the Merchant Floor Limit is zero. Appropriate values to indicate a Fallback
   Transaction must include but are not limited to the following:
      a. VIP Field 22 - POS Entry Mode Code: Values 01, 02 or 90
      b. VIP Field 60, Position 2 - Terminal Entry Capability:
      c.   Where VIP Field 22 Value = Field 35 - Service Code
      d. Where VIP Field 22 Value = Field 25 - POS Condition Code
8. For Chargeback Condition 2, all of the following:


918                                                VISA PUBLIC                             18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 956 of 1319
                                               PageID #: 4149
                                    Visa International Operating Regulations


    a. Chargeback is valid for the entire Transaction amount
    b. Chargeback applies when the Authorization Request and Clearing Record are processed by
       either the same or different Acquirers
    c.    Chargeback does not apply to Transactions Authorized with Merchant Category Codes 9701
          or 9702
    d. Authorization is invalid if Merchant used invalid or incorrect Transaction data, as specified in
       the VisaNet manuals, such as one of the following:
          i.    Incorrect Transaction Date
          ii.   Incorrect Merchant Category Code
          iii. Incorrect indicator for the Merchant or Transaction type
          iv. Incorrect country code/state or special condition indicator
9. For an Intraregional Transaction in the LAC Region, a H&C Merchant that provided services, the
   Chargeback is valid only for the amount above the Floor Limit if the Account Number was not
   listed in the Card Recovery Bulletin on the date the Transaction was initiated (This only applies in
   the Latin America & Caribbean Region.)
10. For U.S. Domestic Transactions, Chargeback is valid as follows: (This only applies in the U.S.
    Region.)
    a.     For a Transaction with one of the following Merchant Category Codes: (This only applies in
          the U.S. Region.)
          i.    Taxicabs and Limousines (4121) (This only applies in the U.S. Region.)
          ii.   Bars and Taverns (5813) (This only applies in the U.S. Region.)
          iii. Beauty and Barber Shops (7230) (This only applies in the U.S. Region.)
          iv. Health and Beauty Spas (7298) (This only applies in the U.S. Region.)
    b.    If the Merchant received a Partial Authorization, only the amount exceeding the Partial
          Authorization amount. (This only applies in the U.S. Region.)
    c.     For lodging, cruise line, or car rental Transactions where services were rendered, Issuer may
          charge back for either: (This only applies in the U.S. Region.)
          i.    The amount for which Authorization was not obtained or (This only applies in the U.S.
                Region.)
          ii.   For a Lodging Merchant, the amount over the Merchant's Chargeback Protection Limit of
                15% (This only applies in the U.S. Region.)
    d. For a Transaction completed by a Merchant accepting Partial Authorizations, if the
       Transaction amount is greater than the amount approved in the Partial Authorization, Issuer
       may charge back the amount exceeding the Partial Authorization amount. (This only applies
       in the U.S. Region.)
    e.     For a Transaction that received an Electronic Interchange Reimbursement Fee, Chargeback
          is valid if Transaction amount is below the Issuer Limit and both: (This only applies in the U.S.
          Region.)
          i.    Account Number was listed on the Exception File on or before 8 p.m. Pacific Time on the
                calendar day preceding the Transaction Date (This only applies in the U.S. Region.)



18 October 2011                                    VISA PUBLIC                                          919
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15          Page: 957 of 1319
                                                   PageID #: 4150
                                    Visa International Operating Regulations


           ii.   Exception File response indicated that Card was invalid (This only applies in the U.S.
                 Region.)
      f.   Chargeback is valid if the Transaction required Authorization and the Authorization was
           obtained, but subsequently reversed for the full amount. (This only applies in the U.S.
           Region.)
      g. Issuer must verify that Transaction was not authorized and that every possibility of honoring
         the Transaction Receipt has been explored (This only applies in the U.S. Region.)
      h. For T&E Transactions, Account Number must also be listed on the Exception File with
         a Negative Response on the Chargeback Central Processing Date and remain on the
         Exception file with a Negative Response for at least 90 calendar days from the Chargeback
         Central Processing Date. (This only applies in the U.S. Region.)
      i.   Effective for Transactions completed on or after 14 April 2012, Chargeback is valid for a
           Visa Debit with PIN Transaction if a Completion Message was sent more than X hours after
           the preauthorization request. (This only applies in the U.S. Region.)

ID#: 161111-171009-0007542



Invalid Chargebacks - Reason Code 72 (Updated)

Chargeback is invalid for any of the following:

1. Effective for Transactions completed through 14 October 2011, for Cardholder-Activated
                       [112]
   Transaction Type A
2. For any ATM Cash Disbursement
3. For Transactions authorized through the Emergency Payment Authorization Services
4. For a T&E Transaction if the Account Number was not listed on the Exception File with a negative
   response on the Chargeback Processing Date
5. If any of the following apply:
      a. Authorization was processed through the International Automated Referral Service
      b. Transaction was authorized by Stand-In Processing
      c.   Authorized amount is greater than the Transaction amount
6. For an Automated Fuel Dispenser, excluding Transactions involving Issuers and Acquirers in Visa
   Europe, if both:
      a. Status Check Authorization was obtained
      b. Transaction amount is one of the following:
           i.    For an EMV PIN Transaction, US $100 or less, or local currency equivalent
           ii.   For all other Transactions, US $75 or less, or local currency equivalent
           iii. For a U.S. Domestic Visa Fleet Card Transaction, US $150 or less, or local currency
                equivalent (This only applies in the U.S. Region.)
7. If the Transaction and Billing Currencies are different, and the Transaction amount is within
   10% of the Authorization amount (to allow for currency fluctuation), excluding U.S. Domestic
   Transactions


920                                                VISA PUBLIC                              18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 958 of 1319
                                               PageID #: 4151
                                    Visa International Operating Regulations


8. If the Cardholder Authentication Verification Value was not validated during Authorization of an
   Electronic Commerce Transaction
9.    For a U.S. Domestic Transaction, Chargeback is invalid for any of the following: (This only
     applies in the U.S. Region.)
     a. Effective for Transactions completed through 14 October 2011, for any Limited-Amount
        Terminal Transaction (This only applies in the U.S. Region.)
     b.    If a Transaction where a Partial Authorization was obtained and both: (This only applies in
          the U.S. Region.)
          i.    Partial Authorization indicator was present in the Authorization Request (This only applies
                in the U.S. Region.)
          ii.   Transaction amount does not exceed the amount in the Partial Authorization Response
                (This only applies in the U.S. Region.)
     c.   Effective for Transactions completed through 30 June 2015, an Online Check Card
          Transaction completed at an Automated Fuel Dispenser, if all of the following: (This only
          applies in the U.S. Region.)
          i.    Estimated Transaction amount did not exceed US $75 (This only applies in the U.S.
                Region.)
          ii.   Authorization was obtained for an amount based on the estimated Transaction amount
                (This only applies in the U.S. Region.)
          iii. Transaction amount did not exceed the estimated amount (This only applies in the U.S.
               Region.)
     d. Effective for Transactions completed through 30 June 2015, an Online Check Card
        Transaction completed at an Automated Fuel Dispenser if the final Transaction amount was
        processed within X hours of either the Status Check or the estimated Transaction amount
        Approval (This only applies in the U.S. Region.)
     e. Effective through 30 June 2010, a Store and Forward Transaction that receives both: (This
        only applies in the U.S. Region.)
          i.    One of the following Negative Responses: (This only applies in the U.S. Region.)
                •   "Insufficient funds" (Response Code "51") (This only applies in the U.S. Region.)
                •   "Exceeds approval amount limit" (Response Code "61") (This only applies in the U.S.
                    Region.)
                •   "Exceeds withdrawal frequency limit" (Response code "65") (This only applies in the
                    U.S. Region.)
          ii.   A subsequent Approval Response within 9 calendar days of the Transaction Date (This
                only applies in the U.S. Region.)
     f.   For Manual Cash Disbursements that exceed US $5,000 (This only applies in the U.S.
          Region.)




18 October 2011                                    VISA PUBLIC                                          921
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15                      Page: 959 of 1319
                                                   PageID #: 4152
                                    Visa International Operating Regulations


      g. Effective for Transactions completed on or after 14 April 2012, a Visa Debit with PIN
         Transaction where a Completion Message was sent within X hours of the preauthorization
         request. (This only applies in the U.S. Region.)

ID#: 161111-171009-0007543



Chargeback Time Limit - Reason Code 72

75 calendar days from the Transaction Processing Date

ID#: 171009-171009-0007544



Chargeback Processing Requirements - Reason Code 72
1. For Chargeback Condition 1:
      a. Member Message Text, as applicable:
          i.    NO AUTHORIZATION
          ii.   EMV CARD, NO AUTH, EXCD CHIP FLOOR LIMIT
          iii. EMV CARD, INVALID FALLBACK DATA
          iv. TRAN EXCEEDS AUTH AMOUNT
      b. Documentation: None required.
2. For Chargeback Condition 2
      a. Member Message Text:
          i.    AUTH OBTAINED USING INVALID DATA
      b. Documentation:
          i.    Completed Visa Resolve Online Questionnaire or Issuer Chargeback/Acquirer
                Representment Form - Non-Matching Merchant Category Code including the Chargeback
                Reference Number, if used.
          ii.   Effective through 15 April 2011, documentation to support the Issuer's claim that the
                Transaction would have been declined if Transaction data had been provided in the
                Authorization Request.
          iii. Effective for Chargebacks processed on or after 16 April 2011, in lieu of
               documentation, Issuer certification that the Transaction would have been declined if
               Transaction data had been provided in the Authorization Request. The right to certify
               does not apply to Transactions involving Issuers or Acquirers in Visa Europe.
          iv. Effective for Chargebacks processed on or after 16 April 2011, for Transactions
              involving Issuers or Acquirers in Visa Europe, documentation to support the Issuer's
              claim that the Transaction would have been declined if Transaction data had been
              provided in the Authorization Request. (This only applies in Visa Europe.)

ID#: 081010-171009-0007545



112 Effective for Transactions completed through 31 March 2009, for Transactions involving Issuers or Acquirers in Visa
    Europe, Chargeback is valid for Cardholder-Activated Transaction Type A.

922                                                VISA PUBLIC                                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 960 of 1319
                                               PageID #: 4153
                                    Visa International Operating Regulations




Representment Time Limit - Reason Code 72

45 calendar days from the Chargeback Processing Date

ID#: 171009-171009-0007546



Representment Conditions - Reason Code 72
1. For a T&E Transaction where special Authorization procedures were followed, Representment
   is limited to the sum of the Authorization amounts plus 15%. This total must not exceed the
   Transaction amount.
2. One of the following:
    a. Chargeback is improper or invalid or credit was processed
    b. Merchant obtained Authorization on the Transaction Date
    c.    Merchant obtained Authorization for a Mail/Phone Order or Electronic Commerce Transaction
          within 7 calendar days prior to the Transaction Date and merchandise was shipped or
          delivered
    d. Restaurant Transaction amount exceeds Authorization amount by 20% or less, excluding
       Domestic Transactions in Brazil
    e. For a T&E Transaction, Merchant obtained valid Authorization between the dates that the
       Transaction was initiated and completed, using special Authorization procedures
    f.    Transaction authorized, except for Transactions authorized using V.I.P. System emergency
          procedures
    g. Merchant obtained Authorization using correct Transaction data
    h. For a U.S. Domestic Transaction, Merchant obtained an Approval Response for a Store and
       Forward Transaction within 9 calendar days of the Transaction Date. (This only applies in the
       U.S. Region.)

ID#: 111011-171009-0007547



Representment Rights and Limitations - Reason Code 72
1. If special Authorization procedures used, Representment Condition 2e, Representment is limited
   to the sum of the Authorization amounts plus 15%. This total must not exceed the Transaction
   amount.
2. If special Authorization procedures used, Representment Condition 2e, and if internal
   Authorization records conflict, the Acquirer must provide Transaction Receipt or Substitute
   Transaction Receipt.
3. For a U.S. Domestic Transaction, if an Electronic Interchange Reimbursement Fee was not
   processed as specified, Acquirer must not represent the Transaction at the Standard Interchange
   Reimbursement Fee rate. Acquirer is liable for the Transaction. (This only applies in the U.S.
   Region.)

ID#: 050411-171009-0007549



18 October 2011                                    VISA PUBLIC                                     923
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15         Page: 961 of 1319
                                                   PageID #: 4154
                                    Visa International Operating Regulations




Representment Processing Requirements - Reason Code 72
1. Credit or Reversal was processed.
      a. Member Message Text: Either that applies:
          i.    CRED MMDDYY ARN X...X (23 or 24 digits)
          ii.   REVERSAL MMDDYY
      b. Documentation: None required.
2. Issuer did not meet the applicable Chargeback conditions.
      a. Member Message Text:
          i.    X...X (Specify the reason)
          ii.   EMV CARD, VALID FALLBACK DATA
          iii. NOT AN EMV CARD, NON EMV DEVICE
      b. Documentation: As applicable.
3. Acquirer can remedy the Chargeback.
      a. For Chargeback Condition 1:
          i.    Member Message Text:
                •   AUTH DATE MMDDYY CODE X...X AMT $XXX
                •   TRAN DATE IS MMDDYY NOT MMDDYY
                •   If a U.S. Domestic Mail/Phone Order or Electronic Commerce Transaction,
                    Representment Condition 2c: MO/TO (or EC) ORDER DATE MMDDYY CODE
                    XXXXX AMT $XXXX (This only applies in the U.S. Region.)
                •   For a U.S. Domestic Transaction, if Representment Condition 2d: MERCHANT IS
                    RESTAURANT MMDDYY CODE XXXXX AMT $XXXX (This only applies in the U.S.
                    Region.)
          i.    Documentation: For a dispute involving special Authorization procedures, both:
                •   Visa Resolve Online Dispute Questionnaire or Exhibit 2E-3 Acquirer
                •   Certification of Special Authorization Representment Amount (Exhibit 3C)
                •   Any of the following, as applicable:
                    –     For a U.S. Domestic Transaction, if necessary, documentation or information on
                          the Visa Resolve Online Dispute Resolution Questionnaire to prove (This only
                          applies in the U.S. Region.)
                    –     For a U.S. Domestic Transaction, if special Authorization procedures used,
                          Representment Condition 2e, Acquirer certification that Merchant used special
                          Authorization procedures. (This only applies in the U.S. Region.)
                    –     For a U.S. Domestic Transaction, if special Authorization procedures used
                          and Authorization records conflict, Representment Rights and Limitations 2,
                          Transaction Receipt or Substitute Transaction Receipt to prove no conflict with
                          internal (This only applies in the U.S. Region.)



924                                                VISA PUBLIC                              18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 962 of 1319
                                               PageID #: 4155
                                    Visa International Operating Regulations


                    –     For Intraregional H&C Transactions in the LAC Region, Certification of
                          Authorization Representment Amount for Public and Private Hospitals (Exhibit
                          LA-3) (This only applies in the Latin America & Caribbean Region.)
    b. For Chargeback Condition 2:
          i.    Member Message Text:
                •   None
          ii.   Documentation:
                •   Visa Resolve Online Questionnaire
                •   V.I.P Transaction Research Service Transaction Detail Report (available from Visa)
                    and the Clearing Record of the First Presentment

ID#: 171009-171009-0007548



Additional Information - Reason Code 72
1. A 20% variance is allowed to restaurants in consideration of a gratuity, excluding Domestic
   Transactions in Brazil
2. For Chargeback Condition 2, an Issuer must include documentation supporting the Issuer's claim
   that the Transaction would have been declined if correct Transaction data had been provided in
   the Authorization Request.
3. Special Authorization procedures are allowed for Lodging, Cruise Line, and Car Rental
   Transactions. Any Authorization obtained for a T&E Transaction between the Transaction
   initiation and completion dates is valid.
4. When an Issuer's and Acquirer's Authorization records differ, the Visa System records will prevail.

ID#: 111011-171009-0007550



Reason Code 73 Expired Card


Overview - Reason Code 73

Time Limit: 75 calendar days

A Merchant completed a Transaction with a Card that expired prior to the Transaction Date, and the
Merchant did not obtain Authorization.

ID#: 171009-171009-0007551



Chargeback Conditions - Reason Code 73

Both:

1. Card expired prior to the Transaction Date



18 October 2011                                    VISA PUBLIC                                           925
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 963 of 1319
                                                   PageID #: 4156
                                    Visa International Operating Regulations


2. Merchant did not obtain Authorization

ID#: 171009-171009-0007552



Chargeback Rights and Limitations - Reason Code 73
1. Minimum Chargeback amount:
      a. For a T&E Transaction, US $25 or equivalent
      b. For a Canada Domestic T&E Transaction, CAD $25 (This only applies in the Canada
         Region.)
      c.   For all other Canada Domestic Transactions, CAD $10 (This only applies in the Canada
           Region.)
      d. For a Domestic T&E Transaction in Brazil, excluding airport tax Transactions, R$25 (This
         only applies in the Latin America & Caribbean Region.)
      e. For all other Domestic Transactions in Brazil, excluding airport tax Transactions, R$15 (This
         only applies in the Latin America & Caribbean Region.)
2. Transaction Date is as follows:
      a. Hotel: Check-in date
      b. Car Rental Company: Date the car was rented
      c.   Cruise Line: Embarkation date
      d. For an Intraregional H&C Transaction in the LAC Region: Check-in date (This only applies in
         the Latin America & Caribbean Region.)
3. For a Mail/Phone Order or Electronic Commerce Transaction, the expiration date provided by the
   Cardholder is assumed to be correct.

ID#: 111011-171009-0007553



Invalid Chargebacks - Reason Code 73

Chargeback is invalid for any of the following:

1. Transaction authorized through the Emergency Payment Authorization Service
2. Chip-initiated Transactions
3. T&E Transaction if the Account Number was not listed on the Exception File with a negative
   response on the Chargeback Processing Date
4. For a U.S. Domestic T&E Transaction, if the Account Number was not listed on the Exception File
   with a Negative Response on the Chargeback Central Processing Date and did not remain on
   the Exception File with a Negative Response for at least 90 calendar days from the Chargeback
   Central Processing Date (This only applies in the U.S. Region.)

ID#: 010410-171009-0007554




926                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 964 of 1319
                                               PageID #: 4157
                                    Visa International Operating Regulations




Chargeback Time Limits - Reason Code 73

75 calendar days from the Transaction Processing Date

ID#: 171009-171009-0007555



Chargeback Processing Requirements - Reason Code 73

Member Message Text: CARD EXPIRED MMDDYY

Documentation: None required.

ID#: 171009-171009-0007556



Representment Time Limits - Reason Code 73

45 calendar days from the Chargeback Processing Date

ID#: 171009-171009-0007557



Representment Processing Requirements - Reason Code 73
1. Credit or Reversal was processed.
    a. Member Message Text: Either that applies:
          i.    CRED MMDDYY ARN X...X (23 or 24 digits)
          ii.   REVERSAL MMDDYY
    b. Documentation: None required.
2. Issuer did not meet the applicable Chargeback conditions.
    a. Member Message Text: X...X (Specify the reason)
    b. Documentation: None required.
3. Acquirer can remedy the Chargeback.
    a. Member Message Text:
          i.    AUTH DATE MMDDYY
          ii.   CARD NOT EXPIRED ON TRAN DATE
          iii. CHECK-IN DATE MMDDYY
          iv. RENTAL DATE MMDDYY
          v.    EMBARK DATE MMDDYY
    b. Documentation:
          i.    Visa Resolve Online Dispute Questionnaire or Exhibit 2E-3 Acquirer and one of the
                following:


18 October 2011                                    VISA PUBLIC                                      927
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15       Page: 965 of 1319
                                                   PageID #: 4158
                                    Visa International Operating Regulations


          ii.   Merchant's Authorization log
          iii. Documentation to prove the Card was not expired on the Transaction Date
          iv. Evidence that the Transaction was Chip-initiated and offline-authorized, if applicable

ID#: 010410-171009-0007558



Additional Information - Reason Code 73
1. The Card expiration date is the last day of the month.
2. If the Member's Authorization records conflicts, the V.I.P System Authorization record will prevail
   at Arbitration
3. Prior to initiating a Chargeback, an Issuer should verify that an Authorization was not obtained.

ID#: 010410-171009-0007559



Reason Code 74 Late Presentment


Overview - Reason Code 74

Time Limit: 120 calendar days

Transaction was not processed within the required time limits and the account was not in good
standing on the Processing Date, or the Transaction was processed more than 180 calendar days
from the Transaction Date.

ID#: 171009-171009-0007560



Chargeback Conditions - Reason Code 74

One of the following:

1. Both:
      a. Transaction was not processed within the required time limit
      b. Account Number was not in good standing on the Chargeback Processing Date
2. Transaction Date is more than 180 calendar days prior to the Processing Date.

ID#: 171009-171009-0007561



Chargeback Rights and Limitations - Reason Code 74
1. Minimum Chargeback amount:
      a. For a T&E Transaction, US $25 or equivalent
      b. For a Canada Domestic T&E Transaction, CAD $25 (This only applies in the Canada
         Region.)


928                                                VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15          Page: 966 of 1319
                                               PageID #: 4159
                                    Visa International Operating Regulations


    c.    For all other Canada Domestic Transactions, CAD $10 (This only applies in the Canada
          Region.)
    d. For a Domestic T&E Transaction in Brazil, excluding airport tax Transactions, R$25 (This
       only applies in the Latin America & Caribbean Region.)
    e. For all other Domestic Transaction in Brazil, excluding airport tax Transactions, R$15 (This
       only applies in the Latin America & Caribbean Region.)
2. For Chargeback Condition 1, for a Visa Electron Card, Transaction Date is more than 6 calendar
   days prior to the Processing Date, excluding U.S. Domestic Transactions.
3. For Chargeback Condition 1, for an ATM or Load Transaction, Transaction Date is more than 10
   calendar days prior to the Processing Date.
4. For a T&E Transaction, Transaction Date is as follows:
    a. Hotel: Check-out date
    b. Car Rental Company: Return date
    c.    Cruise Line: Disembarkation date
5. For Chargeback Condition 1, for all other Transactions, Transaction Date is more than 30
   calendar days prior to the Processing Date.
6. Effective for Chargebacks processed on or after 18 May 2011, for Chargeback Condition 1,
   for a U.S. Domestic Transaction, Transaction Date is more than: (This only applies in the U.S.
   Region.)
    a. 10 calendar days prior to the Processing Date for any of the following: (This only applies in
       the U.S. Region.)
          i.    Account that is not in good standing, including "not sufficient funds" (This only applies in
                the U.S. Region.)
          ii.   Effective for Transactions completed through 30 June 2015, ATM, Load, or Online
                Check Card Transaction (This only applies in the U.S. Region.)
          iii. Effective for Transactions completed on or after 1 July 2015, ATM or Load
               Transaction (This only applies in the U.S. Region.)
    b. Effective for Visa Debit with PIN Transactions completed on or after 14 April 2012, 10
       calendar days from the Transaction Date (This only applies in the U.S. Region.)
    c.    For Merchants with multiple Merchant Outlets, 20 calendar days prior to the Processing Date
          for an account that is not in good standing, including "not sufficient funds" (This only applies
          in the U.S. Region.)
7. For an Intraregional H&C Transaction in the LAC Region, Transaction Date is the patient's check-
   out date (This only applies in the Latin America & Caribbean Region.)
8. Effective for Chargebacks processed through 17 May 2011, for a U.S. Domestic ATM, Load,
   or Online Check Card Transaction, Transaction Date is more than 10 calendar days prior to the
   Processing Date. (This only applies in the U.S. Region.)
9. For Chargeback Condition 1, for a T&E Transaction, Issuer must list the Account Number on the
   Exception File with a negative response on the Chargeback Processing Date.




18 October 2011                                    VISA PUBLIC                                            929
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 967 of 1319
                                                   PageID #: 4160
                                    Visa International Operating Regulations


10. For Chargeback Condition 1, for a U.S. Domestic T&E Transaction, Issuer must list the Account
    Number on the Exception File with a Negative Response on the Chargeback Central Processing
    Date. The Account Number must remain on the Exception File with a Negative Response for at
    least 90 calendar days from the Central Processing Date. (This only applies in the U.S. Region.)
11. Effective for Transactions processed on or after 15 October 2011, for Chargeback condition
    1, for a Malaysia Domestic Visa debit Transaction conducted at an Automated Fuel Dispenser,
    Transaction Date is more than 6 calendar days prior to the Processing Date. (This only applies in
    the Asia Pacific Region.)

ID#: 171011-171009-0007562



Chargeback Time Limit - Reason Code 74 (Updated)

One of the following::

1. 120 calendar days from the Central Processing Date of the Presentment
2. Effective for Transactions completed through 30 June 2015, for Chargeback Rights and
   Limitations 6, if ATM, Visa TravelMoney, or Online Check Card Transaction, 20 calendar days
   from the Central Processing Date of the Adjustment. (This only applies in the U.S. Region.)
3. Effective for Transactions completed on or after 1 July 2015, for Chargeback Rights and
   Limitations 6, if ATM or Visa TravelMoney Transaction, 20 calendar days from the Central
   Processing Date of the Adjustment. (This only applies in the U.S. Region.)

ID#: 111011-171009-0007572



Chargeback Processing Requirements - Reason Code 74
1. For Chargeback Condition 1:
      a. Member Message Text:
          i.    ACCOUNT STATUS CODE (Supply the appropriate code in the last position of the text)
                •   X=Counterfeit
                •   O=Account Closed
                •   C=Account Problem
          ii.   Effective for Chargebacks processed on or after 18 May 2011, for a U.S. Domestic
                Transaction, C=Account Problem (including NSF) (This only applies in the U.S. Region.)
          iii. F=Other Fraud (e.g., lost, stolen, not received)
      b. Documentation: None required.
2. For Chargeback Condition 2:
      a. Member Message Text: MORE THAN 180 DAYS LATE
      b. Documentation: None required.
3. Effective for Transactions completed on or after 14 April 2012, for a U.S. Domestic Visa
   Debit with PIN Transaction: (This only applies in the U.S. Region.)
      a. Member Message Text: (This only applies in the U.S. Region.)


930                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15            Page: 968 of 1319
                                               PageID #: 4161
                                    Visa International Operating Regulations


          i.    Contact name and fax number (10 digits) followed by: (This only applies in the U.S.
                Region.)
          ii.   TRAN MORE THAN 10 DAYS LATE (This only applies in the U.S. Region.)
4. Effective for Transactions completed through 30 June 2015, for a U.S. Domestic ATM,
   Load, or Online Check Card Transaction: (This only applies in the U.S. Region.)
    a.     Member Message Text: (This only applies in the U.S. Region.)
          i.    Contact name and fax number (10 digits) followed by: (This only applies in the U.S.
                Region.)
                •   ACCOUNT STATUS CODE __ (supply the appropriate code in the last position in the
                    text) (This only applies in the U.S. Region.)
                    –     C = Credit Problem (Also NSF for ATM Transactions, Load Transactions, or
                          Online Check Card Transaction Adjustments) (This only applies in the U.S.
                          Region.)
                    –     F = Other Fraud (lost, stolen, not received) (This only applies in the U.S.
                          Region.)
                    –     X = Counterfeit (This only applies in the U.S. Region.)
                    –     O = Account Closed (This only applies in the U.S. Region.)
5. Effective for Transactions completed on or after 1 July 2015, for a U.S. Domestic ATM
   Transaction or Load Transaction: (This only applies in the U.S. Region.)
    a. Member Message Text: (This only applies in the U.S. Region.)
          i.    Contact name and fax number (10 digits) followed by: (This only applies in the U.S.
                Region.)
                •   ACCOUNT STATUS CODE __ (supply the appropriate code in the last position in the
                    text) (This only applies in the U.S. Region.)
                    –     C = Credit Problem (Also NSF for ATM Transactions or Load Transaction
                          Adjustments) (This only applies in the U.S. Region.) (This only applies in the
                          U.S. Region.)
                    –     F = Other Fraud (lost, stolen, not received) (This only applies in the U.S.
                          Region.)
                    –     X = Counterfeit (This only applies in the U.S. Region.)
                    –     O = Account Closed (This only applies in the U.S. Region.)

ID#: 171011-171009-0007573



Representment Time Limit - Reason Code 74

45 calendar days from the Chargeback Processing Date

ID#: 171009-171009-0007574



Representment Processing Requirements - Reason Code 74
1. For Chargeback Condition 1 or 2:

18 October 2011                                    VISA PUBLIC                                             931
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 969 of 1319
                                                   PageID #: 4162
                                    Visa International Operating Regulations


      a. Credit or Reversal was processed.
           i.    Member Message Text: Either that applies:
                 •   CRED MMDDYY ARN X...X (23 or 24 digits)
                 •   REVERSAL MMDDYY
           ii.   Documentation: None required.
      b. Issuer did not meet the applicable Chargeback conditions.
           i.    Member Message Text: X...X (Specify the reason)
           ii.   Documentation: None required.
      c.   Acquirer can remedy the Chargeback.
           i.    Member Message Text: CORRECT TRAN DATE MMDDYY
           ii.   Documentation: Both:
                 •   Visa Resolve Online Dispute Questionnaire or Exhibit 2E-4 Acquirer
                 •   Transaction Receipt with Transaction Date that disproves late Presentment

ID#: 171009-171009-0007575



Additional Information - Reason Code 74

For a T&E delayed or amended charge, the Transaction Date is the date of the Transaction Receipt
representing the charge, not the return or check-out date. For additional information refer to "T&E
Delayed or Amended Charges" and "Delayed or Amended Charges" for Car Rental Merchants.

ID#: 081010-010100-0025745



Reason Code 75 Transaction Not Recognized


Overview - Reason Code 75

Time Limit: 120 calendar days

The Cardholder does not recognize the Transaction and additional information beyond the data
required in the Clearing Record is needed to determine Transaction validity.

ID#: 171009-171009-0007576



Chargeback Conditions - Reason Code 75
1. The Cardholder does not recognize the Transaction and additional information beyond the data
   required in the Clearing Record is needed to assist the Cardholder in identifying the Transaction.

ID#: 171009-171009-0007577




932                                                VISA PUBLIC                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 970 of 1319
                                               PageID #: 4163
                                    Visa International Operating Regulations




Chargeback Rights and Limitations - Reason Code 75
1. Minimum Chargeback amount:
    a. For a U.S. Domestic T&E Transaction, US $25 (This only applies in the U.S. Region.)
    b. For a Canada Domestic T&E Transaction, CAD $25 (This only applies in the Canada
       Region.)
    c.    For all other Canada Domestic Transactions, CAD $10 (This only applies in the Canada
          Region.)
    d. For a Domestic T&E Transaction in Brazil, excluding airport tax Transactions, R$25 (This
       only applies in the Latin America & Caribbean Region.)
    e. For all other Domestic Transactions in Brazil, excluding airport tax Transactions, R$15 (This
       only applies in the Latin America & Caribbean Region.)
2. Issuer must retrieve a copy of the Transaction Receipt prior to exercising the Chargeback right
   unless the Transaction is one of the following:
    a. Mail/Phone Order
    b. Electronic Commerce Transaction
    c.    Recurring Transaction
    d. EMV PIN Transaction, excluding Manual Cash Disbursement and Quasi-Cash Transactions
       and requests for T&E Documents
    e. U.S. Domestic Preauthorized Health Care Transaction (This only applies in the U.S. Region.)
    f.    Effective for Transactions completed on or after 15 October 2011, Unattended
          Transaction
3. For a U.S. Domestic Transaction, Issuer must make a good-faith effort to assist the Cardholder
   in identifying the Transaction and the Cardholder Account must be in good standing. (This only
   applies in the U.S. Region.)
4. If a Retrieval Request is required, Issuer must wait 30 calendar days from the Retrieval Request
   Processing Date to receive the Fulfillment or Nonfulfillment Message code prior to exercising the
   Chargeback right. The waiting period does not apply if a Fulfillment or Nonfulfillment Message is
   received.
5. For a U.S. Domestic Transaction Chargeback is valid, regardless of Electronic Commerce
   indicator value, for Electronic Commerce Transactions conducted by Merchants in the following
   Merchant categories: (This only applies in the U.S. Region.)
    a. Wire Transfer Money Orders (4829) (This only applies in the U.S. Region.)
    b. Direct Marketing - Inbound Teleservices Merchant (5967) (This only applies in the U.S.
       Region.)
    c.    Non-Financial Institutions - Foreign Currency, Money Orders (not Wire Transfer), Travelers'
          Cheques (6051) (This only applies in the U.S. Region.)
    d. Betting, including Lottery Tickets, Casino Gaming Chips, Off-Track Betting, and Wagers at
       Race Tracks (7995) (This only applies in the U.S. Region.)




18 October 2011                                    VISA PUBLIC                                       933
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15         Page: 971 of 1319
                                                   PageID #: 4164
                                    Visa International Operating Regulations


6. For Domestic Electronic Commerce Transactions in Brazil, Chargeback is valid if the Transaction
   was processed with Electronic Commerce indicator value "6." (This only applies in the Latin
   America & Caribbean Region.)

ID#: 111011-171009-0007578



Invalid Chargebacks - Reason Code 75

Chargeback is invalid if any of the following:

1. Issuer used Retrieval Request reason code 33, "Fraud Analysis Request" or Retrieval Request
   reason code 34, "Legal Process Request"
2. Acquirer supplies a Fulfillment with all required data specified in the "Transaction Receipt
   Fulfillment Documents - Data Requirements" section
3. Lodging/Car Rental No-Show indicator in the Clearing Record is "1"
4. Acquirer provided evidence of an Imprint and signature or PIN. Does not apply to EMV
   PIN Transactions that are Manual Cash Disbursements, Quasi-Cash Transactions, or T&E
   Transactions.
5. When Cardholder states Transaction was fraudulent
6. ATM Cash Disbursement
7. Telephone Service Transaction
8. Excluding U.S. Domestic Transactions, Electronic Commerce Transaction that was processed
   with Electronic Commerce indicator value "5" or "6"
9. Excluding Domestic Transactions in Brazil, Electronic Commerce Transaction that was processed
   with Electronic Commerce indicator value "6" (This only applies in the Latin America & Caribbean
   Region.)
10. Canada Domestic Proximity Payment Transactions (This only applies in the Canada Region.)
11. For a U.S. Domestic Transaction, Chargeback is invalid for any of the following: (This only applies
    in the U.S. Region.)
      a. CPS/Passenger Transport Transaction (This only applies in the U.S. Region.)
      b. CPS/Automated Fuel Dispenser Transaction (This only applies in the U.S. Region.)
12. For a Visa Easy Payment Service Transaction (This provision does not apply to Transactions
    involving Issuers or Acquirers in Visa Europe).
13. An Electronic Commerce Transaction as follows: [113] (This only applies in the U.S. Region.)

      a.    For a Secure Electronic Commerce Transaction processed with electronic Commerce
           indicator value "5" in the Authorization Request, if both: (This only applies in the U.S.
           Region.)
           i.    The Issuer responded to an Authentication Request with an Authentication Confirmation
                 using 3-D Secure (This only applies in the U.S. Region.)
           ii.   A Cardholder Authentication Verification Value was included in the Authorization Request
                 (This only applies in the U.S. Region.)




934                                                VISA PUBLIC                             18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                    Page: 972 of 1319
                                               PageID #: 4165
                                    Visa International Operating Regulations


    b.     For Non-Authenticate Security Transactions processed with Electronic Commerce indicator
                                                           [114]
          value "6" in the Authorization Request, if both:       (This only applies in the U.S. Region.)
          i.    The Issuer, or Visa on behalf of an Issuer, responded to an Authentication Request with
                an Attempt Response using 3-D Secure (This only applies in the U.S. Region.)
          ii.   Either: (This only applies in the U.S. Region.)
                •   A Cardholder Authentication Verification Value was included in the Authorization
                    Request (This only applies in the U.S. Region.)
                •   A Cardholder Authentication Verification Value was not included in the Authorization
                    Request and the Verified Enrollment Response is "N" (This only applies in the U.S.
                    Region.)
14. Effective for Transactions completed on or after 14 April 2012, Visa Debit with PIN
    Transactions (This only applies in the U.S. Region.)

Exceptions apply to anonymous Visa Prepaid Card Transactions, Commercial Visa Product Card
Transactions, and Transactions conducted in New Channels. (This only applies in the U.S. Region.)

ID#: 151011-171009-0007579



Chargeback Time Limits - Reason Code 75

120 calendar days from the Transaction Processing Date

ID#: 171009-171009-0007580



Chargeback Processing Requirements - Reason Code 75

Member Message Text: Both:

1. XX CH DOES NOT RECOGNIZE
    a. "XX" must be one of the following codes
          i.    01=Merchant Name
          ii.   02=Merchant Location
          iii. 03=Transaction amount
          iv. 04=Transaction Date
          v.    05=Other (must specify)
2. RR DATE MMDDYY, (if requested Transaction Receipt not fulfilled)

ID#: 171009-171009-0007581



113 An Electronic Commerce Merchant identified by the U.S. Merchant Chargeback Monitoring Program or Risk Identification
    Service (RIS) Online must include Electronic Commerce Indicator value of "7," and is subject to this Chargeback for the
    period of time it remains in the Merchant Chargeback Monitoring Program or RIS Online, plus 4 additional months.
114 An Electronic Commerce Merchant identified by the U.S. Merchant Chargeback Monitoring Program or Risk Identification
    Service (RIS) Online must include Electronic Commerce Indicator value of "7," and is subject to this Chargeback for the
    period of time it remains in the Merchant Chargeback Monitoring Program or RIS Online, plus 4 additional months.

18 October 2011                                    VISA PUBLIC                                                          935
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 973 of 1319
                                                   PageID #: 4166
                                    Visa International Operating Regulations




Additional Member Message Text Requirements - Reason Code 75

Additional Member Message Text Requirements for U.S. Domestic Transactions: (This only applies in
the U.S. Region.)

1. UNABLE TO AUTHENTICATE RESPONSE (This only applies in the U.S. Region.)
2. AUTHENTICATION DENIAL (This only applies in the U.S. Region.)
3. SEE 3D SECURE RESPONSE SENT MMDDYY (This only applies in the U.S. Region.)
4. CAVV MISSING IN AUTH (This only applies in the U.S. Region.)

ID#: 171009-171009-0007582



Documentation - Reason Code 75

None required.

For Domestic Transactions in Brazil, the Issuer may provide certification in lieu of the Cardholder
letter. (This only applies in the Latin America & Caribbean Region.)

ID#: 111011-171009-0007583



Representment Time Limit - Reason Code 75

45 calendar days from the Chargeback Processing Date

ID#: 171009-171009-0007584



Representment Rights and Limitations - Reason Code 75
1. Representment is invalid if:
      a. For non-EMV PIN Transactions, Representment is invalid if Acquirer failed to respond to
         Retrieval Request or responded with a Nonfulfillment Message code “03” or “04,” or provided
         a Fulfillment which does not contain all the required data elements
      b. For EMV PIN Transactions, Representment is invalid if Acquirer failed to respond to Retrieval
         Request or responded with a Nonfulfillment Message code "03" or "04" and any of the
         following:
          i.    Transaction was Manual Cash or Quasi-Cash
          ii.   Effective through 14 October 2011, Retrieval Request reason code was "29"
          iii. Effective for Chargebacks processed on or after 16 April 2011, for Transactions
               involving Issuers or Acquirers in Visa Europe, Retrieval Request reason code was "29"
               (This only applies in Visa Europe.)




936                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 974 of 1319
                                               PageID #: 4167
                                    Visa International Operating Regulations


    c.    If Acquirer failed to include additional information or Transaction data that was not required in
          the Clearing Record.

ID#: 111011-171009-0007585



Representment Processing Requirements - Reason Code 75
1. Member Message Text:
2. Credit or Reversal was processed.
    a. Member Message Text: Either that applies:
          i.     CRED MMDDYY ARN X...X (23 or 24 digits)
          ii.    REVERSAL MMDDYY
    b. Documentation: None required.
3. Issuer did not meet the applicable Chargeback conditions.
    a. Member Message Text: X...X (Specify the reason)
    b. Documentation: None required.
4. Acquirer can remedy the Chargeback.
    a. Member Message Text: None required.
    b. Documentation: Visa Resolve Online Dispute Questionnaire or Exhibit 2E-1 Acquirer and
       one of the following:
          i.     Copy of Transaction Receipt or other document with additional information or Transaction
                 data that was not required on the Clearing Record, if applicable
          ii.    Representment for an Aggregated Transaction must include details of the individual
                 purchases that have been aggregated, if applicable
          iii. For Domestic Transactions in Brazil conducted by Merchants in the following Merchant
               Category Codes:
         – 3000-3299, “Airlines, Air Carriers"
         – 4511, “Airlines and Air Carriers (Not Elsewhere Classified)”
         – 4722, “Travel Agencies and Tour Operators”
             All of the following is required:
         – Copy of the front of the Card
         – Copy of the front and back of a legal document that identifies the Cardholder
         – Copy of a voucher or ticket with passenger's name issued by travel agency and/or airline
         – Copy of the debit authorization form with all of the following:
               • Primary Cardholder's name
               • Passengers names
               • Account number
               • Card expiration date
               • Primary Cardholder's phone number

18 October 2011                                    VISA PUBLIC                                          937
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15       Page: 975 of 1319
                                                   PageID #: 4168
                                    Visa International Operating Regulations


             • Airline name
             • Authorization Code
             • Transaction amount
             • Installment Transaction count
             • Installment Transaction amount
             • Airport tax amount
             • Date of the debit authorization form
             • Cardholder signature (must match Cardholder's signature on the signature panel)
               (This only applies in the Latin America & Caribbean Region.)
           iv. For Domestic Transactions in Brazil conducted by Merchants in the following Merchant
               Category Codes:
           – 5814 "Fast Food Restaurants"
           – 7922 "Theatrical Producers (Except Motion Pictures) and Ticket Agencies"
               The following is required:
           – Documentation signed by the Cardholder to prove that Cardholder received services or
             merchandise at agreed-upon location
               (This only applies in the Latin America & Caribbean Region.)

ID#: 111011-171009-0007586



Additional Information - Reason Code 75
1. Visa recommends that the Acquirer supply all available Transaction details when responding to
   Chargeback Reason Code 75, "Transaction Not Recognized," if a Representment right exists.
   The Acquirer should provide additional details, such as:
      a. Detailed description of goods or services that were provided
      b. Description of how Merchant confirmed the Cardholder's participation, e.g., Cardholder
         signature, PIN, or other verification method
      c.   Description of how delivery address was confirmed, if applicable, e.g., use of an address
           verification method
2. Excluding U.S. Domestic Transactions and Domestic Transactions in Brazil completed on
   or after 1 July 2010, the Issuer may have a Compliance right for an Electronic Commerce
   Transaction that was coded with an Electronic Commerce indicator value "6" if both:
      a. Acquirer failed to respond to the Issuer's Retrieval Request or responded with a
         Nonfulfillment Message code "03" or "04"
      b. Cardholder required more information about the Transaction
3. In the U.S. Region, the Acquirer may collect a US $25 handling fee from the Issuer if the original
   Clearing Record contained: (This only applies in the U.S. Region.)
      a. Airline/Railway Passenger Itinerary Data or (This only applies in the U.S. Region.)
      b. "1" in the Lodging/Car Rental No Show Indicator (This only applies in the U.S. Region.)




938                                                VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 976 of 1319
                                               PageID #: 4169
                                    Visa International Operating Regulations


4. For Chargeback Rights and Limitations 2, use the MOTO or ECI indicator or the Merchant
   Category Code to determine Transaction type.

ID#: 081010-171009-0007587



Reason Code 76 Incorrect Currency or Transaction Code or Domestic
Transaction Processing Violation


Overview - Reason Code 76

Time Limit: 120 calendar days

Transaction was processed with an incorrect Transaction code, or an incorrect currency code, or
the Merchant did not deposit a Transaction Receipt in the country where the Transaction occurred,
or the Cardholder was not advised that Dynamic Currency Conversion would occur or was refused
the choice of paying in the Merchant's local currency, or, effective for Chargebacks processed on
or after 16 April 2011, the Merchant processed a credit refund and did not process a Reversal or
Adjustment within 30 days for a Transaction Receipt processed in error.

ID#: 081010-171009-0007588



Chargeback Conditions - Reason Code 76

One of the following:

1. Transaction code is incorrect.
2. Transaction Currency is different than the currency transmitted through VisaNet
3. A Domestic Transaction Receipt was not deposited in the country where the Transaction
   occurred and was processed with an incorrect Transaction Country code and was not one of the
   following:
    a. International Airline Transaction
    b. Result of a Transaction occurring at a military base, embassy, or consulate. Visa considers
       these Merchant Outlets to be within the Merchant's Country and Region of Domicile.
4. Cardholder was not advised that Dynamic Currency Conversion would occur or was refused the
   choice of paying in the Merchant's local currency.
5. Effective for Chargebacks processed on or after 16 April 2011, Merchant processed a
   credit refund and did not process a Reversal or an Adjustment within 30 calendar days for a
   Transaction Receipt processed in error.

ID#: 081010-171009-0007589



Chargeback Rights and Limitations - Reason Code 76
1. Minimum Chargeback amount:
    a. For a T&E Transaction, US $25 or equivalent


18 October 2011                                    VISA PUBLIC                                     939
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 977 of 1319
                                                   PageID #: 4170
                                    Visa International Operating Regulations


      b. For a Canada Domestic T&E Transaction, CAD $25 (This only applies in the Canada
         Region.)
      c.   For all other Canada Domestic Transactions, CAD $10 (This only applies in the Canada
           Region.)
      d. For a Domestic T&E Transaction in Brazil, excluding airport tax Transactions, R$25 (This
         only applies in the Latin America & Caribbean Region.)
      e. For all other Domestic Transactions in Brazil, excluding airport tax Transactions, R$15 (This
         only applies in the Latin America & Caribbean Region.)
2. For Chargeback Condition 1, for a Transaction processed with an incorrect Transaction code,
   Chargeback amount is double the Transaction amount when either:
      a. Credit was processed as a debit
      b. Debit was processed as a credit
3. For Chargeback Condition 2, 3, & 4, Chargeback is valid for the entire Transaction amount.
4. Effective for Chargebacks processed on or after 16 April 2011, for Chargeback Condition 5,
   excluding U.S. Domestic Transactions and Canada Domestic Transactions, the Chargeback must
   be limited to the difference between the Credit Transaction and original debit.

ID#: 111011-171009-0007590



Invalid Chargebacks - Reason Code 76

Chargeback is invalid for:

1. Chargeback Condition 2, for a Transaction originating at a non-US ATM connected to the Plus
   System, Inc. and settled in US dollars
2. Chargeback Condition 3, if a Transaction was processed as allowed under Country of Domicile
   rules.
3. ATM Cash Disbursement. This provision applies to U.S. Domestic Transactions. (This only
   applies in the U.S. Region.)

ID#: 171009-171009-0007591



Chargeback Time Limits - Reason Code 76

120 calendar days from the Transaction Processing Date

ID#: 171009-171009-0007592



Chargeback Processing Requirements - Reason Code 76

Member Message Text:

1. For Chargeback Condition 1:
      a. CREDIT POSTED AS DEBIT


940                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15         Page: 978 of 1319
                                               PageID #: 4171
                                    Visa International Operating Regulations


    b. DEBIT POSTED AS CREDIT
    c.    PURCHASE POSTED AS CASH
    d. CASH POSTED AS PURCHASE
2. For Chargeback Condition 2:
    a. TRAN CURRENCY IS XXX NOT XXX (XXX = numeric Currency Code value as specified in
       the VisaNet manuals)
3. For Chargeback Condition 3:
    a. TRAN OCCURRED IN X...X
4. For Chargeback Condition 4, either that applies:
    a. DCC -- CARDHOLDER NOT ADVISED
    b. DCC -- CARDHOLDER REFUSED OPTION OF LOCAL CURRENCY
5. Effective for Chargebacks processed on or after 16 April 2011, for Chargeback Condition 5:
    a. CREDIT INSTEAD OF REVERSAL

Documentation:

1. For Chargeback Conditions 1, 2, and 3: None Required
2. For Chargeback Condition 4: All of the following:
    a. Visa Resolve Online Dispute Questionnaire or Exhibit 2E-4 Issuer
    b. Effective through 15 April 2011, Cardholder letter stating the Cardholder was not advised
       that Dynamic Currency Conversion would occur or was not offered a choice to pay in the
       Merchant's local currency
    c.    Effective for Chargebacks processed on or after 16 April 2011, for Transactions involving
          Issuers or Acquirers in Visa Europe, Cardholder letter stating the Cardholder was not advised
          that Dynamic Currency Conversion would occur or was not offered a choice to pay in the
          Merchant's local currency (This only applies in Visa Europe.)
    d. Effective through 15 April 2011, copy of the Cardholder's Transaction Receipt (if available)
    e. Effective for Chargebacks processed on or after 16 April 2011, for Transactions involving
       Issuers or Acquirers in Visa Europe, copy of the Cardholder's Transaction Receipt (if
       available) (This only applies in Visa Europe.)
3. Effective for Chargebacks processed on or after 16 April 2011, for Chargeback Condition 5:
    a. Visa Resolve Online Questionnaire or "Issuer Chargeback Form - Processing Error" (Exhibit
       2E-4)
          i.    Explanation of why the Credit Transaction was processed in error
          ii.   Information to support the original Transaction and credit transaction
    b. Effective for Chargebacks processed on or after 16 April 2011, for Transactions involving
       Issuers or Acquirers in Visa Europe, if the credit transaction resulted from a Transaction
       where the Cardholder asserts fraud, a copy of the signed Cardholder letter (This only applies
       in Visa Europe.)

ID#: 081010-171009-0007593



18 October 2011                                    VISA PUBLIC                                       941
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 979 of 1319
                                                   PageID #: 4172
                                    Visa International Operating Regulations




Representment Time Limit - Reason Code 76

45 calendar days from Processing Date of the Chargeback

ID#: 171009-171009-0007594



Representment Conditions - Reason Code 76

Chargeback is improper or invalid.

ID#: 171009-171009-0007595



Representment Rights and Limitations - Reason Code 76
1. For Chargeback Condition 4, if the Chargeback is valid, the Acquirer may only represent the
   Transaction in the Merchant's local currency for the Transaction Amount prior to Dynamic
   Currency Conversion. The Representment must:
      a. Exclude fees or commission charges directly related to Dynamic Currency Conversion that
         were applied to the Transaction
      b. Include a copy of the Dynamic Currency Conversion Transaction Receipt

ID#: 171009-171009-0007596



Representment Processing Requirements - Reason Code 76
1. Effective for Chargebacks processed through 15 April 2011, Credit or Reversal was
   processed.
      a. Either that applies:
          i.    CRED MMDDYY ARN X...X (23 or 24 digits)
          ii.   REVERSAL MMDDYY
      b. Documentation: None required
2. Effective for Chargebacks processed on or after 16 April 2011, Reversal or Adjustment was
   processed.
      a. Member Message Text: Either that applies:
          i.    ADJUSTMENT MMDDYY
          ii.   REVERSAL MMDDYY
      b. Documentation: None required
3. Issuer did not meet the applicable Chargeback conditions.
      a. Member Message Text: X...X (Specify the reason)
      b. Documentation: None required
4. Acquirer can remedy the Chargeback.


942                                                VISA PUBLIC                      18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 980 of 1319
                                               PageID #: 4173
                                    Visa International Operating Regulations


    a. Member Message Text: None Required
    b. Effective for Chargebacks processed on or after 16 April 2011, for Chargeback Condition
       5:
       Documentation:
          i.    Visa Resolve Online Questionnaire or "Acquirer Representment Form - Processing
                Error" (Exhibit 2E-4)
          ii.   Explanation of why a credit transaction was processed instead of a Reversal or an
                Adjustment

ID#: 050411-171009-0007597



Documentation - Reason Code 76
1. Credit or Reversal was processed.
    a. None required.
2. Issuer did not meet the applicable Chargeback conditions.
    a. None required.
3. Acquirer can remedy the Chargeback.
    a. For Chargeback Condition 1:
          i.    For an ATM Transaction, none required.
    b. For all other Transactions, both:
          i.    Visa Resolve Online Dispute Questionnaire or Exhibit 2E-4 Acquirer
          ii.   Transaction Receipt or other record that proves that either:
                •   For Chargeback Condition 1, the Transaction code was correct
                •   For Chargeback Condition 2, Transaction currency was correct
                •   For Chargeback Condition 3, Transaction was deposited properly and processed
                    with the correct Transaction Country code or Transaction occurred at a military base,
                    embassy, consulate, or is an International Airline Transaction
                •   For Chargeback Condition 4, Acquirer certification that the Merchant is registered to
                    offer Dynamic Currency Conversion

ID#: 171009-171009-0007598



Additional Information - Reason Code 76
1. For Chargeback Condition 2:
    a. Transaction Currency appearing on the Transaction Receipt may be any currency agreed
       upon by the Merchant and Cardholder.
    b. If not specified, the Transaction Currency is the domestic currency of the Transaction
       Country.
    c.    The currency and amount in the total box on a Transaction Receipt is considered the agreed
          upon currency. Currency and amounts noted elsewhere will not be considered.


18 October 2011                                    VISA PUBLIC                                         943
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15       Page: 981 of 1319
                                                   PageID #: 4174
                                    Visa International Operating Regulations


2. For Chargeback Condition 3, an Acquirer must not contract with a Merchant Outlet that is outside
   its Country of Domicile, unless any of the following is true:
      a. Visa has approved this arrangement, and the country or territory is either:
           i.    Not any other Principal's Country of Domicile
           ii.   One where the Acquirer has a Branch
      b. Merchant is an International Airline and the Acquirer maintains the relationship as specified in
         the International Airline Program regulations.
      c.   Merchant Outlet is a military base, embassy, or consulate on foreign territory. The currency
           used to complete the Transaction must be disclosed on the Transaction Receipt.
3. For Chargeback Condition 4:
      a. Transaction Currency appearing on the Transaction Receipt must be the currency approved
         by the Cardholder.
      b. If Dynamic Currency Conversion is not approved at the Point-of-Transaction the Transaction
         Currency must be in the Merchant's local currency.
      c.   If the Acquirer processes through the Single Message System, it may process the
           Transaction as a first Presentment instead of representing.

ID#: 050411-171009-0007599



Reason Code 77 Non-Matching Account Number


Overview - Reason Code 77

Time Limit: 75 calendar days

Transaction did not receive Authorization and was processed using an Account Number that does
not match any on the Issuer's master file or an Original Credit (including a Money Transfer Original
Credit) was processed using an Account Number that does not match any on the Issuer's master file.

ID#: 050411-171009-0007600



Chargeback Conditions - Reason Code 77
1. Merchant or Acquirer processed a Transaction for an Account Number not matching any on the
   Issuer's master file and did not receive an Authorization.
2. Originating Member processed an Original Credit for an Account Number not matching any on
   the Issuer's master file.
3. For Intraregional Transactions in the AP Region, Transaction occurring on a non-matching
   Account Number, the Chargeback is valid only when the Transaction was authorized by Visa
   Stand-In Processing and is within the Issuer T&E minimum limit levels. (This only applies in the
   Asia Pacific Region.)

ID#: 111011-171009-0007601




944                                                VISA PUBLIC                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 982 of 1319
                                               PageID #: 4175
                                    Visa International Operating Regulations




Chargeback Rights and Limitations - Reason Code 77

Any of the following that apply:

1. Minimum Chargeback amount:
    a. For T&E Transaction, US $25 or equivalent
    b. For Canada Domestic T&E Transaction, CAD $25 (This only applies in the Canada Region.)
    c.    For all other Canada Domestic Transactions, CAD $10 (This only applies in the Canada
          Region.)
2. For Intraregional Transactions in the AP Region, Chargeback Condition 4: (This only applies in
   the Asia Pacific Region.)
    a. Chargeback is invalid if a non-matching Account Number was used on a T&E Transaction
       that is above the Issuer T&E minimum limits, and was authorized by the Issuer or Stand-In
       Processing (This only applies in the Asia Pacific Region.)
    b. Effective through 15 April 2011, prior to processing the Chargeback, the Account Number
       must be listed on the Exception File with a negative response (This only applies in the Asia
       Pacific Region.)

ID#: 050411-171009-0007602



Invalid Chargebacks - Reason Code 77
1. For Chargeback Condition 1, Chargeback is invalid for Transactions that received an
   Authorization (either Online or Offline Authorization).

ID#: 111011-171009-0007603



Chargeback Time Limit - Reason Code 77

75 calendar days from the Central Processing Date of the Transaction

ID#: 171009-171009-0007604



Chargeback Processing Requirements - Reason Code 77
1. For Chargeback Condition 1 and 3:
    a. Member Message Text: NO SUCH ACCT NUMBER
    b. Documentation: None required.
2. For Chargeback Condition 2:
    a. Member Message Text for Original Credit:
          i.    ACCOUNT CLOSED
          ii.   ACCOUNT NOT ON FILE



18 October 2011                                    VISA PUBLIC                                      945
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15          Page: 983 of 1319
                                                   PageID #: 4176
                                    Visa International Operating Regulations


      b. Documentation: None required.

ID#: 111011-171009-0007605



Representment Time Limits - Reason Code 77

45 calendar days from the Central Processing Date of the Chargeback

ID#: 171009-171009-0007606



Representment Processing Requirements - Reason Code 77
1. Credit or Reversal was processed.
      a. Member Message Text: Either that applies:
      b. CRED MMDDYY ARN X...X (23 or 24 digits)
      c.   REVERSAL MMDDYY
      d. Documentation: None required.
2. Issuer did not meet the applicable Chargeback conditions.
      a. Member Message Text: X...X (Specify the reason)
      b. Documentation: None required.
3. Acquirer can remedy the Chargeback.
      a. For Chargeback Condition 1 & 3:
           i.    Member Message Text: AUTH DATE MMDDYY CODE X...X (if applicable)
           ii.   Documentation: All of the following:
                 •   Visa Resolve Online Dispute Questionnaire or Exhibit 2E-4 Acquirer
                 •   Legible Transaction Receipt to prove that the Account Number was processed
                     correctly
                 •   Evidence that the Transaction was Chip-initiated and offline authorized (if applicable)
                     (This only applies in the U.S. Region.)
      b. For Chargeback Condition 2:
           i.    Member Message Text: X...X (Specify the reason)
           ii.   Documentation: None required.

ID#: 111011-171009-0007607



Additional Information - Reason Code 77
1. An incorrectly entered Account Number must be processed as an original Presentment. Acquirer
   may be responsible for any late Presentment.

ID#: 171009-171009-0007608




946                                                VISA PUBLIC                              18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                       Page: 984 of 1319
                                               PageID #: 4177
                                    Visa International Operating Regulations




Reason Code 78 Service Code Violation


Overview - Reason Code 78

Time Limit: 75 calendar days

Authorization was not obtained for a Magnetic-Stripe read Transaction on a Visa Electron Card or
on a Visa Card in a registered mandatory positive Authorization (Service Code) account range,
excluding U.S. Domestic Transactions.

ID#: 111011-171009-0007609



Chargeback Conditions - Reason Code 78

Both:

1. A Merchant completed a Magnetic-Stripe read Transaction on a Visa Electron Card or a Visa
                                                                            [115]
   Card in a registered positive Authorization (Service Code) account range
2. Merchant did not obtain Authorization

ID#: 161111-171009-0007610



Chargeback Rights and Limitations - Reason Code 78
1. Minimum Chargeback amount:
     a. For T&E Transaction, US $25 or equivalent
     b. For Canada Domestic T&E Transaction, CAD $25 (This only applies in the Canada Region.)
     c.   For all other Canada Domestic Transactions, CAD $10 (This only applies in the Canada
          Region.)
     d. For a Domestic T&E Transaction in Brazil, excluding airport tax Transactions, R$25 (This
        only applies in the Latin America & Caribbean Region.)
     e. For all other Domestic Transactions in Brazil, excluding airport tax Transactions, R$15 (This
        only applies in the Latin America & Caribbean Region.)

ID#: 111011-171009-0007611



Invalid Chargebacks - Reason Code 78
1. Chargeback is invalid for Transactions authorized through the Emergency Payment Authorization
   Service

ID#: 171009-171009-0007612



115 All Visa Electron Cards must be issued with positive Authorization (Service Code) therefore registration is not required for
    a Visa Electron account range.

18 October 2011                                      VISA PUBLIC                                                             947
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15   Page: 985 of 1319
                                                   PageID #: 4178
                                    Visa International Operating Regulations




Chargeback Time Limit - Reason Code 78

75 calendar days from the Transaction Processing Date

ID#: 171009-171009-0007613



Chargeback Processing Requirements - Reason Code 78
1. Member Message Text:
      a. None required.
2. Documentation:
      a. None required.

ID#: 171009-171009-0007614



Representment Time Limit - Reason Code 78

45 calendar days from the Chargeback Processing Date

ID#: 171009-171009-0007615



Representment Processing Requirements - Reason Code 78
1. Credit or Reversal was processed.
      a. Member Message Text: Either that applies:
      b. CRED MMDDYY ARN X...X (23 or 24 digits)
      c.   REVERSAL MMDDYY
      d. Documentation: None required.
2. Issuer did not meet the applicable Chargeback conditions.
      a. Member Message Text: X...X (Specify the reason)
      b. Documentation: None required.
3. Acquirer can remedy the Chargeback.
      a. Member Message Text: AUTH DATE MMDDYY
      b. Documentation: Visa Resolve Online Dispute Questionnaire or Exhibit 2E-3 Acquirer and one
         of the following:
           i.   Documentation to prove that either:
           – Service Code was valid for Transaction
           – Authorization was obtained




948                                                VISA PUBLIC                      18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 986 of 1319
                                               PageID #: 4179
                                    Visa International Operating Regulations


          ii.   Account was not in a registered positive Authorization (Service Code) account range. All
                Visa Electron Cards must be issued with positive Authorization (Service Code) therefore,
                registration is not required for a Visa Electron account range.

ID#: 111011-171009-0007616



Reason Code 80 Incorrect Transaction Amount or Account Number


Overview - Reason Code 80

Time Limit: 120 calendar days

Transaction amount is incorrect, or an addition or transposition error was made when calculating
the Transaction amount, or Merchant altered the Transaction amount after the Transaction was
completed without the consent of the Cardholder, or a Transaction was processed using an incorrect
Account Number.

ID#: 171009-171009-0007617



Chargeback Conditions - Reason Code 80 (Updated)

One of the following:

1. Transaction amount is incorrect or addition or transposition error occurred.
2. Effective through 15 April 2011, Merchant altered the Transaction amount after the Transaction
   was completed without the consent of the Cardholder.
3. Effective for Chargebacks processed on or after 16 April 2011, for Transactions involving
   Issuers or Acquirers in Visa Europe, Merchant altered the Transaction amount after the
   Transaction was completed without the consent of the Cardholder. (This only applies in Visa
   Europe.)
4. Account Number processed through VisaNet does not match the Account Number on the
   Transaction Receipt.
5. Effective for Transactions completed through 13 April 2012, for a U.S. Domestic Transaction,
   Acquirer processed an Adjustment of an ATM Cash Disbursement Transaction and one of the
   following: (This only applies in the U.S. Region.)
    a. Adjustment contains either: (This only applies in the U.S. Region.)
          i.    Incorrect Account (This only applies in the U.S. Region.)
          ii.   Non-matching Account Number (This only applies in the U.S. Region.)
    b. Adjustment posted to a “closed” or “non-sufficient funds” account and the Adjustment was
       processed more than 10 days from the Transaction date (This only applies in the U.S.
       Region.)
    c.    Adjustment was processed more than 45 days from Transaction Date (This only applies in
          the U.S. Region.)




18 October 2011                                    VISA PUBLIC                                       949
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15     Page: 987 of 1319
                                                   PageID #: 4180
                                    Visa International Operating Regulations


      d. Adjustment was processed more than once for the same Transaction (This only applies in the
         U.S. Region.)
      e. Cardholder disputes validity of Adjustment due to amount of Adjustment, or original
         Transaction was cancelled or reversed (This only applies in the U.S. Region.)
6. Effective for Transactions completed on or after 14 April 2012, for a U.S. Domestic
   Transaction, Acquirer processed an Adjustment of an ATM Cash Disbursement Transaction or a
   Visa Debit with PIN Transaction and one of the following: (This only applies in the U.S. Region.)
      a. Adjustment contains either: (This only applies in the U.S. Region.)
           i.    Incorrect Account (This only applies in the U.S. Region.)
           ii.   Non-matching Account Number (This only applies in the U.S. Region.)
      b. Adjustment posted to a “closed” or “non-sufficient funds” account and the Adjustment was
         processed more than 10 days from the Transaction Date (This only applies in the U.S.
         Region.)
      c.   Adjustment was processed more than 45 days from Transaction Date (This only applies in
           the U.S. Region.)
      d. Adjustment was processed more than once for the same Transaction (This only applies in the
         U.S. Region.)
      e. Cardholder disputes validity of Adjustment due to amount of Adjustment, or original
         Transaction was cancelled or reversed (This only applies in the U.S. Region.)

ID#: 151011-171009-0007618



Chargeback Rights and Limitations - Reason Code 80
1. Minimum Chargeback amount:
      a. For T&E Transaction, US $25 or equivalent
      b. For Canada Domestic T&E Transaction, CAD $25 (This only applies in the Canada Region.)
      c.   For all other Canada Domestic Transactions, CAD $10 (This only applies in the Canada
           Region.)
      d. For a Domestic T&E Transaction in Brazil, excluding airport tax Transactions, R$25 (This
         only applies in the Latin America & Caribbean Region.)
      e. For all other Domestic Transactions in Brazil, excluding airport tax Transactions, R$15 (This
         only applies in the Latin America & Caribbean Region.)
2. For Chargeback Condition 1:
      a. For a T&E Transaction, Chargeback is valid only when the difference in the amounts exceeds
         US $25 or local currency equivalent
      b. For incorrect Transaction amount, if the written Transaction amount differs from the imprinted
         amount, the handwritten amount must be used to determine the processing error
3. For Chargeback Condition 1 & 2, Chargeback amount is limited to the difference in the amounts.

ID#: 111011-171009-0007631




950                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 988 of 1319
                                               PageID #: 4181
                                    Visa International Operating Regulations




Invalid Chargebacks - Reason Code 80

Chargeback is invalid for any of the following:

1. For Chargeback Condition 1, the difference between the quoted price and the actual charges
   made by the T&E Merchant
2. For Chargeback Condition 1 and 2, a No-Show or Advance Deposit Transaction completed in a
   Card-Absent Environment
3. For Chargeback Condition 2, if Merchant has the right to alter the Transaction Receipt
4. For Chargeback Condition 1 and 3, Chip-initiated Transactions containing a valid Cryptogram
5. For Chargeback Condition 2, EMV PIN Transactions containing a valid Cryptogram
6. ATM Cash Disbursements, excluding U.S. Domestic Transactions
7. Effective for Transactions completed through 15 October 2010, U.S. Domestic Small Ticket
   Transactions (This only applies in the U.S. Region.)
8. Effective for Transactions completed through 15 October 2010, Canada Domestic No
   Signature Required Program Transactions (This only applies in the Canada Region.)
9. Effective for Transactions completed on or after 15 August 2009 through 15 October
   2010, Canada Domestic Proximity Payment Transactions CAD $50 or less (This only applies in
   the Canada Region.)

ID#: 111011-171009-0007632



Chargeback Time Limit - Reason Code 80

Either:

1. 120 calendar days from the Transaction Processing Date
2. For a U.S. Domestic Transaction,120 calendar days from the Transaction Date of the Adjustment
   (This only applies in the U.S. Region.)

ID#: 171009-171009-0007633



Chargeback Processing Requirements - Reason Code 80

Member Message Text:

1. For Chargeback Condition 1:
    a. TRAN AMT XXXX NOT XXXX
    b. ERROR IN AMOUNT
2. For Chargeback Condition 2:
    a. Effective through 15 April 2011, ALTERED FROM XXXX AMT TO XXXX AMT



18 October 2011                                    VISA PUBLIC                                     951
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15       Page: 989 of 1319
                                                   PageID #: 4182
                                    Visa International Operating Regulations


      b. Effective for Chargebacks processed on or after 16 April 2011, for Transactions involving
         Issuers or Acquirers in Visa Europe, ALTERED FROM XXXX AMT TO XXXX AMT (This only
         applies in Visa Europe.)
3. For Chargeback Condition 4:
      a. INCORRECT ACCT NUMBER
4.    For invalid Adjustment, one of the following, as appropriate: (This only applies in the U.S.
      Region.)
      a. INCORRECT ACCT NO (This only applies in the U.S. Region.)
      b. NON-MATCHING ACCT NO (This only applies in the U.S. Region.)
      c.   INVALID (Specify Reason) (This only applies in the U.S. Region.)
      d. ACCT CLOSED (This only applies in the U.S. Region.)
      e. NSF (This only applies in the U.S. Region.)
      f.   ADJ PROCESSED PAST 45 DAYS (This only applies in the U.S. Region.)
      g. FIRST ADJ DATED MMDDYY (This only applies in the U.S. Region.)
      h. ADJ AMT $XXXX NOT $XXXX (This only applies in the U.S. Region.)
      i.   ORIG TRANS CNCLD OR REVERSED (This only applies in the U.S. Region.)

Documentation:

1. For Chargeback Condition 2, both:
      a. Visa Resolve Online Dispute Questionnaire or Exhibit 2E-4 Issuer
      b. Effective through 15 April 2011, copy of the Cardholder's Transaction Receipt showing
         different Transaction amounts
      c.   Effective for Chargebacks processed on or after 16 April 2011, for Transactions involving
           Issuers or Acquirers in Visa Europe, copy of the Cardholder's Transaction Receipt showing
           different Transaction amounts (This only applies in Visa Europe.)

ID#: 081010-171009-0007634



Representment Time Limits - Reason Code 80

45 calendar days from the Chargeback Processing Date

ID#: 171009-171009-0007635



Representment Rights and Limitations - Reason Code 80
1. For Chargeback Condition 3, if the Account Number was incorrectly transmitted, Acquirer
   must process the Transaction as a new Presentment. Acquirer may be responsible for a Late
   Presentment Chargeback.




952                                                VISA PUBLIC                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15         Page: 990 of 1319
                                               PageID #: 4183
                                    Visa International Operating Regulations


2. For U.S. Domestic Mail/Phone Order Transaction, if the Account Number is correct, Authorization
   for a Mail/Phone Order Transaction where the merchandise was shipped or delivered is
   considered valid if it was obtained. (This only applies in the U.S. Region.)

ID#: 171009-171009-0007636



Representment Processing Requirements - Reason Code 80
1. Credit or Reversal was processed.
    a. Member Message Text: Either that applies:
    b. CRED MMDDYY ARN X...X (23 or 24 digits)
    c.    REVERSAL MMDDYY
    d. Documentation: None required.
2. Issuer did not meet the applicable Chargeback conditions.
    a. Member Message Text: X...X (Specify the reason)
    b. Documentation: None required.
3. Acquirer can remedy the Chargeback.
    a. For Chargeback Condition 1:
          i.    Member Message Text: None required.
          ii.   Documentation: Both:
                •   Visa Resolve Online Dispute Questionnaire or Exhibit 2E-4 Acquirer
                •   Transaction Receipt or other record to prove that Transaction Amount was correct
    b. For Chargeback Condition 2:
          i.    Member Message Text: None required.
          ii.   Documentation:
                •   Visa Resolve Online Dispute Questionnaire or Exhibit 2E-4 Acquirer and either:
                •   Documents to prove one of the following:
                    –     Transaction Receipt was not altered
                    –     Cardholder agreed to the altered amount
                    –     Merchant is permitted or required to alter the Transaction amount
    c.    For Chargeback Condition 3:
          i.    Member Message Text: None required.
          ii.   Documentation: Both:
                •   Visa Resolve Online Dispute Questionnaire or Exhibit 2E-4 Acquirer
                •   Transaction Receipt or other record to prove that the Account Number is correct
    d.    For Chargeback Condition 4, U.S. Domestic Transactions: (This only applies in the U.S.
          Region.)



18 October 2011                                    VISA PUBLIC                                         953
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15      Page: 991 of 1319
                                                   PageID #: 4184
                                    Visa International Operating Regulations


          i.    Member Message Text: ORIG TRAN DATE MMDDYY TRACE NUMBER XXXXXX (This
                only applies in the U.S. Region.)
          ii.   Documentation: None required. (This only applies in the U.S. Region.)

ID#: 050411-171009-0007637



Additional Information - Reason Code 80
1. For Chargeback Condition 1, Visa recommends that the Issuer provide documentation to
   demonstrate that the Transaction amount is incorrect.

ID#: 010410-171009-0007638



Reason Code 81 Fraud – Card-Present Environment


Overview - Reason Code 81

Time Limit: 120 calendar days

A Merchant did not obtain an Imprint and a signature (or a PIN) in a Card-Present Environment, and
the Merchant completed the Transaction without the Cardholder's permission, or a Transaction was
processed with a Fictitious Account Number, or no valid Card was outstanding bearing the Account
Number on the Transaction Receipt.

ID#: 171009-171009-0007639



Chargeback Conditions - Reason Code 81

One of the following:

1. Cardholder did not authorize or participate in a Card-Present Environment Transaction.
2. Fraudulent Transaction was completed in a Card-Present Environment using a Fictitious Account
   Number or no valid Card was issued or outstanding that bears the Account Number and no
   Authorization was obtained.
3. Cardholder did not authorize or participate in a Card-Present Environment Transaction and Card
   is a PIN-Preferring Chip Card and either (for qualifying Transactions and effective dates, refer to
   "EMV Liability Shift Participation"):
      a. Card-Present Environment Transaction did not take place at a Chip-Reading Device and was
         not a Fallback Transaction completed following correct acceptance procedures, as specified
         in the Visa International Operating Regulations
      b. Chip-initiated Transaction took place at a device that was not EMV PIN-compliant

ID#: 111011-171009-0007640




954                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 992 of 1319
                                               PageID #: 4185
                                    Visa International Operating Regulations




Chargeback Rights and Limitations - Reason Code 81
1. Minimum Chargeback amount:
    a. For T&E Transaction, US $25 or equivalent
    b. For Canada Domestic T&E Transaction, CAD $25 (This only applies in the Canada Region.)
    c.    Effective for Transactions completed through 30 March 2011, for Canada Domestic
          Fuel Transactions with MCC 5541 or MCC 5542, CAD $X (This only applies in the Canada
          Region.)
    d. Effective for Transactions completed on or after 31 March 2011, for Chargeback
       Condition 1 and 2, Canada Domestic Fuel Transactions with MCC 5541 or MCC 5542, CAD
       $X (This only applies in the Canada Region.)
    e. Effective for Transactions completed on or after 1 December 2011 through 30
       September 2013, for Chargeback Condition 1 and 2, Canada Domestic Proximity Payment
       Transactions with MCC 5542, CAD $100.01 (This only applies in the Canada Region.)
    f.    For all other Canada Domestic Transactions, CAD $10 (This only applies in the Canada
          Region.)
    g. For U.S. Domestic Automated Fuel Dispenser Transaction, US $10 (This only applies in the
       U.S. Region.)
    h. For a Domestic T&E Transaction in Brazil, excluding airport tax Transactions, R$25 (This
       only applies in the Latin America & Caribbean Region.)
    i.    For all other Domestic Transactions in Brazil, excluding airport tax Transactions, R$15 (This
          only applies in the Latin America & Caribbean Region.)
2. For Chargeback Condition 1 and 2, Issuer must request a copy of the Transaction Receipt prior to
   exercising the Chargeback right unless Transaction is one of the following:
    a. Effective for Transactions completed through 14 October 2011, Magnetic-Stripe
       Telephone Transaction
    b. Effective for Transactions completed through 14 October 2011, Cardholder-Activated
       Transaction Type B. This provision does not apply to U.S. Domestic Transactions
    c.    Effective for Transactions completed on or after 15 October 2011, Unattended
          Transaction
    d. Effective for Transactions completed through 15 October 2010, for a U.S. Domestic
       Transaction, any of the following:
          i.    Small Ticket Transaction
          ii.   CPS/Small Ticket Transaction
          iii. Self-Service Terminal Transaction
          iv. No Signature Required Transaction
    e. Effective for Transactions completed through 14 October 2011, a Self-Service Terminal
       Transaction (This only applies in the U.S. Region.)
    f.    Effective for Transactions completed through 15 October 2010, a No Signature
          Required Transaction (This only applies in the Canada Region.)



18 October 2011                                    VISA PUBLIC                                       955
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15                  Page: 993 of 1319
                                                   PageID #: 4186
                                    Visa International Operating Regulations


      g. Effective for Transactions completed on or after 16 October 2010, a Visa Easy Payment
         Service Transaction
3. For Chargeback Condition 1 and 3, the Issuer must meet all of the following conditions on or
   before the Chargeback Processing Date:
      a. Close the Cardholder account
      b. List the Account Number on the Exception File with a Pickup Response for a minimum of:
           i.    30 calendar days for Chargeback Condition 1
           ii.   60 calendar days for Chargeback Condition 3
      c.   Report the Fraud Activity through VisaNet. For Chargeback Condition 3, fraud must be
           reported using Fraud Type codes 0, 1, or 2
4. Effective for Transactions completed through 14 October 2011, for Chargeback Condition
   1 and 2, for a Cardholder Activated Transaction Type B or Self-Service Terminal Transaction,
   Account Number must both:
      a. Be listed on the Exception File with a Pickup Response on or before the Chargeback
         Processing Date
      b. Remain on the Exception File for a minimum of X calendar days For Domestic Transactions
         in the jurisdiction of the U.S. Region, the Account Number must remain on the Exception File
         for a minimum of X days.
5. Effective for Transactions completed on or after 15 October 2011, for Chargeback Condition
   1 and 2, for an Unattended Transaction, Account Number must both:
      a. Be listed on the Exception File with a Pickup Response on or before the Chargeback
         Processing Date
      b. Remain on the Exception File for a minimum of X calendar days [116]

6. Effective for Transactions completed through 14 October 2011, for Chargeback Condition 1
   and 2, one Chargeback may contain up to 25 Magnetic-Stripe Telephone Transactions if all of the
   following are true: This provision does not apply to U.S. Domestic Transactions.
      a. Each Transaction amount is less than US $40
      b. All of the Transactions appear on "Summary of Unauthorized Telephone Service
         Transactions" (Exhibit 2F)
      c.   Chargeback uses the Acquirer Reference Number/Tracing Data of the earliest Transaction
7. Effective for Transactions completed on or after 15 October 2011, for Chargeback Condition
   1 or 2, one Chargeback may contain up to 25 Telephone Service Transactions if all of the
   following are true:
      a. Each Transaction amount is less than US $40
      b. All of the Transactions appear on "Summary of Unauthorized Telephone Service
         Transactions" (Exhibit 2F)
      c.   Chargeback uses the Acquirer Reference Number/Tracing Data of the earliest Transaction

ID#: 111011-171009-0007641



116 For Domestic Transactions in the U.S. Region, the Account Number must remain on the Exception File for a minimum of
    X days.

956                                                VISA PUBLIC                                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 994 of 1319
                                               PageID #: 4187
                                    Visa International Operating Regulations




Invalid Chargebacks - Reason Code 81

Chargeback is invalid for:

1. A Card-Absent Environment Transaction
2. An ATM Transaction
3. An Emergency Cash Disbursement Transaction
4. For Chargeback Condition 1 and 2, a Transaction where both of the following were obtained:
    a. A legible Imprint for the Transaction in question
    b. Signature or PIN
5. For Chargeback Condition 3, a Transaction where both of the following were obtained:
    a. A legible Imprint for the Transaction in question
    b. PIN
6. Effective for Transactions completed through 15 October 2010, a Canada Domestic
   Proximity Payment Transaction CAD X or less. (This only applies in the Canada Region.)
7. Effective for Transactions completed through 15 October 2010, a Canada Domestic No
   Signature Required Program Transaction. (This only applies in the Canada Region.)
8. Effective for Transactions completed through 15 October 2010, a No Signature Required
   Program Transaction. This provision applies to U.S. Domestic Transactions. (This only applies in
   the U.S. Region.)
9. Effective for Transactions completed through 15 October 2010, for Chargeback Condition 1
   and 2, a Small Ticket Transaction
10. Effective for Transactions completed on or after 16 October 2010, for Chargeback
    Condition 1 and 2, a Visa Easy Payment Service Transaction. (This provision does not apply to
                                                                [117]
    Transactions involving Issuers or Acquirers in Visa Europe)
11. Effective for Transactions completed through 14 October 2011, Chargeback Condition 1, for
                                                         [118]
    a Cardholder-Activated Transaction Type B that both:
    a. Originated with a Counterfeit Card
    b. Received an Approval Response that included a "90", "91," "05," or "07" in the POS Entry
       Mode Code field
12. Effective for Transactions completed on or after 15 October 2011, Chargeback condition 1,
    for an Unattended Transaction that both:
    a. Originated with a Counterfeit Card
    b. Received an Approval Response that included a "90," "91," "05," or "07" in the POS Entry
       Mode Code field
13. Chargeback Condition 2, if one of the following:
    a. If the Transaction received an Authorization
    b. For an Intraregional Transaction in the AP Region, Automated Fuel Dispenser Transaction
       (This only applies in the Asia Pacific Region.)


18 October 2011                                    VISA PUBLIC                                     957
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15            Page: 995 of 1319
                                                   PageID #: 4188
                                    Visa International Operating Regulations


14. Chargeback Condition 3, if the Device is EMV PIN-Compliant and the Transaction was correctly
    processed to completion in accordance with EMV and VIS using the Chip Card data.
15. Effective for Transactions completed through 14 October 2011, Chargeback Condition 1
    and 2, for a Cardholder-Activated Transaction Type A (excluding Magnetic-Stripe Telephone
    Transactions.) This provision does not apply to U.S. Domestic Transactions.
16. Effective for Transactions completed on or after 15 October 2011, Chargeback Condition
    1 and 2, for a below-Floor Limit Transaction completed at an Unattended Cardholder-Activated
    Terminal assigned one of the following Merchant Category Codes:
      a. 4111, "Local and Suburban Passenger Transportation, including Ferries"
      b. 4112, "Passenger Railways"
      c.   4131, "Bus Lines"
      d. 4784, "Tolls and Bridge Fees"
      e. 7523, "Parking Lots and Garages"
17. Effective for Transactions completed through 14 October 2011, for a U.S. Domestic
    Transaction completed by a Merchant certified to use Card Verification Value 2 in lieu of an
    Imprint and all of the following: (This only applies in the U.S. Region.)
      a. An Imprint is missing from the draft (This only applies in the U.S. Region.)
      b. A result code of "M" (fully matched) or "U" (unsupported) is received in response to Card
         Verification Value 2 data in the Authorization Request (This only applies in the U.S. Region.)
      c.   The Acquirer fulfilled the Retrieval Request by also providing a copy of the certification
           provided by Visa to the Acquirer for that Merchant (This only applies in the U.S. Region.)
18. Effective for Transactions completed on or after 15 October 2011, for a U.S. Domestic
    Transaction, for Chargeback Condition 1, both: (This only applies in the U.S. Region.)
      a. The Transaction meets the following requirements: (This only applies in the U.S. Region.)
           [119]


           i.      Transaction is key-entered (This only applies in the U.S. Region.)
           ii.     CVV2 is included in the Authorization Request (This only applies in the U.S. Region.)
           iii. Merchant is not assigned Merchant Category Code 7995, "Betting, including Lottery
                Tickets, Casino Gaming Chips, Off-Track Betting, and Wagers at Race Tracks" (This only
                applies in the U.S. Region.)
           iv. Transaction is not a: (This only applies in the U.S. Region.)
                   •   Quasi-Cash Transaction (This only applies in the U.S. Region.)
                   •   Cash-Back Transaction (This only applies in the U.S. Region.)
                   •   Manual Cash Disbursement (This only applies in the U.S. Region.)
           v.      Authorization was obtained (This only applies in the U.S. Region.)
      b. A signature was obtained (This only applies in the U.S. Region.)
19. For a U.S. Domestic Transaction, any of the following Card-Present Environment Transaction
    types: (This only applies in the U.S. Region.)
      a. CPS/Retail, unless no signature or PIN was obtained (This only applies in the U.S. Region.)



958                                                VISA PUBLIC                               18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                  Page: 996 of 1319
                                               PageID #: 4189
                                    Visa International Operating Regulations


    b. Effective for Transactions completed through 14 October 2011, Limited-Amount
       Terminal, unless Magnetic-Stripe Telephone (This only applies in the U.S. Region.)
    c.    Effective for Transactions completed through 14 October 2011, Self-Service Terminal
          Transaction that was completed with a Counterfeit Card and received an Approval Response
          to a request that included a "05," "07," "90," or "91" in the POS Entry Mode code field (This
          only applies in the U.S. Region.)
    d. Vehicle-Specific Fleet Card Transaction, if Imprint obtained (This only applies in the U.S.
       Region.)
    e. Effective for Transactions completed on or after 17 April 2010 through 15 October
       2010, Visa Easy Payment Service Transactions less than or equal to US $25 completed at
       a Point-of-Transaction Terminal with Contactless Payment capability. This condition applies
       to certain Custom Payment Service qualified Contactless Payment Transactions, Magnetic-
       Stripe Transactions, or Chip Transactions (i.e., CPS/Retail, CPS/ Supermarket, CPS/Retail
       2, CPS/Restaurant, CPS/Service Station, CPS/Small Ticket in Face-To-Face Environments),
       except for Transactions where the Account Number was key entered. The Issuer must verify
       that the POS Entry Mode field indicated that the Account Number was key-entered. (This
       only applies in the U.S. Region.)

ID#: 151011-171009-0007642



Chargeback Time Limit - Reason Code 81

120 calendar days from the Transaction Processing Date

ID#: 171009-171009-0007644



Chargeback Processing Requirements - Reason Code 81

Member Message Text:

1. For Chargeback Condition 1: RR DATE MMDDYY, if requested Transaction Receipts not fulfilled
2. For Chargeback Condition 2: One of the following, as applicable:
    a. NO SUCH CARD
    b. FICTITIOUS ACCOUNT NUMBER
    c.    RR DATE MMDDYY, if requested Transaction Receipt not fulfilled
3. For Chargeback Condition 3, either that applies:
    a. PIN PREFERRING CHIP CARD, DEVICE NON PIN COMP
    b. EMV CARD, NON EMV DEVICE


117 Effective for Transactions completed on or after 16 October 2010 between Visa Inc. and Visa Europe, Chargeback
    is invalid for: (1) Magnetic Stripe or contact Chip Transactions conducted at Merchant Category Codes 4111, 4121,
    4131, 4784, 5331, 5499, 5812, 5814, 5912, 5993, 5994, 7211, 7216, 7338, 7523, 7542, 7832, and 7841; (2) Proximity
    Payment Transactions that qualify as (Visa Europe) Small Ticket Transactions or Visa Inc. Visa Easy Payment Service
    Transactions.
118 This provision does not apply to U.S. Domestic Transactions.
119 As specified in "CVV2 Submission in a Face-to-Face Environment - U.S. Region."

18 October 2011                                    VISA PUBLIC                                                        959
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15             Page: 997 of 1319
                                                   PageID #: 4190
                                    Visa International Operating Regulations



Documentation or certification using Visa Resolve Online Questionnaire or Exhibit 2E-2 Issuer:

1. For Chargeback Condition 1: All of the following:
      a. The information required on the "Summary of Unauthorized Telephone Service
         Transactions" (Exhibit 2F) if applicable
      b. Effective through 15 April 2011, Cardholder letter denying authorization or participation in
         the Transaction
      c.   Effective for Chargebacks processed on or after 16 April 2011, for Transactions involving
           Issuers or Acquirers in Visa Europe, Cardholder letter denying authorization or participation in
           the Transaction (This only applies in Visa Europe.)
      d. Effective for Chargebacks processed between 16 April 2011 and 14 October 2011, for
         Transactions not involving Issuers or Acquirers in Visa Europe, either the Cardholder letter
         denying authorization or participation in the Transaction, or:
           i.    Certification that the Cardholder denies authorization or participation in the Transaction
           ii.   Certification of the Card status at the time of the Transaction (lost, stolen, counterfeit)
           iii. Certification of the date Fraud Activity was reported through VisaNet
           iv. Certification of the date Account Number was listed on the Exception File
      e. Effective for Chargebacks processed on or after 15 October 2011, for Transactions not
         involving Issuers or Acquirers in Visa Europe:
           i.    Cardholder letter denying authorization or participation in the Transaction, or certification
                 that Cardholder denies authorization or participation in the Transaction
           ii.   Certification of the Card status at the time of the Transaction (lost, stolen, counterfeit)
           iii. Certification of the date Fraud Activity was reported through VisaNet
           iv. Certification of the date Account Number was listed on the Exception File
      f.   For Domestic Transactions in Brazil, the Issuer may provide certification in lieu of the
           Cardholder letter. (This only applies in the Latin America & Caribbean Region.)
2. For Chargeback Condition 3: All of the following:
      a. Issuer certification that the Card was a PIN-Preferring Chip Card
      b. Effective through 15 April 2011, Cardholder letter denying authorization or participation in
         the Transaction
      c.   Effective for Chargebacks processed on or after 16 April 2011, for Transactions involving
           Issuers or Acquirers in Visa Europe, Cardholder letter denying authorization or participation in
           the Transaction (This only applies in Visa Europe.)
      d. Effective for Chargebacks processed between 16 April 2011 and 14 October 2011, for
         Transactions not involving Issuers or Acquirers in Visa Europe, Cardholder letter denying
         authorization or participation in the Transaction, or:
           i.    Certification that the Cardholder denies authorization or participation in the Transaction
           ii.   Certification of the Card status at the time of the Transaction (lost, stolen, counterfeit)
           iii. Certification of the date Fraud Activity was reported through VisaNet using Fraud Type
                Codes 0, “Lost,” 1, “Stolen,” or 2, “Card not Received as Issued (NRI)”


960                                                VISA PUBLIC                                  18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15           Page: 998 of 1319
                                               PageID #: 4191
                                    Visa International Operating Regulations


          iv. Certification of the date Account Number was listed on the Exception File
    e. Effective for Chargebacks processed on or after 15 October 2011, for Transactions not
       involving Issuers or Acquirers in Visa Europe:
          i.    Cardholder letter denying authorization or participation in the Transaction, or certification
                that Cardholder denies authorization or participation in the Transaction
          ii.   Certification of the Card status at the time of the Transaction (lost, stolen, counterfeit)
          iii. Certification of the date Fraud Activity was reported through VisaNet using Fraud Type
               Codes 0, “Lost,” 1, “Stolen,” or 2, “Card not Received as Issued (NRI)”
          iv. Certification of the date Account Number was listed on the Exception File
    f.    For Domestic Transactions in Brazil, the Issuer may provide certification in lieu of the
          Cardholder letter. (This only applies in the Latin America & Caribbean Region.)

ID#: 111011-171009-0007645



Representment Time Limits - Reason Code 81

45 calendar days from the Chargeback Processing Date

ID#: 171009-171009-0007646



Representment Rights and Limitations - Reason Code 81
1. For Chargeback Condition 1, any of the following:
    a. Account was not closed
    b. Account was not listed on the Exception File
    c.    Transaction was not reported as fraud
    d. For a Self-Serve Terminal Transaction, Transaction was reported as counterfeit fraud type 4
2. For Chargeback Condition 3, any of the following:
    a. Account was not closed
    b. Account was not listed on the Exception File
    c.    Transaction was not reported as fraud
    d. Transaction was reported as counterfeit fraud type 4
3. For Chargeback Condition 1 and 2, Representment is invalid if Acquirer failed to respond to
   Retrieval Request or responded with a Nonfulfillment Message code "03" or "04," or provided a
   Fulfillment which does not contain all the required data elements, as specified in "Transaction
   Receipt Fulfillment Documents - Data Requirements."
4. Effective for Transactions completed through 14 October 2011, for a U.S. Domestic
   Transaction, a certified Merchant included the Card Verification Value 2 in the Authorization
   Request and received a result code of "M" (fully matched) or "U" (unsupported) (This only applies
   in the U.S. Region.)
5. Effective for Chargebacks processed on or after 15 October 2011, for a U.S. Domestic
   Transaction, for Chargeback Condition 1, both: (This only applies in the U.S. Region.)

18 October 2011                                    VISA PUBLIC                                                961
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      Case: 4:13-cv-02226-JAR                   Doc. #: 85-5 Filed: 02/12/15            Page: 999 of 1319
                                                   PageID #: 4192
                                    Visa International Operating Regulations


      a. The Transaction meets the following requirements: (This only applies in the U.S. Region.)
           [120]


           i.      Transaction is key-entered (This only applies in the U.S. Region.)
           ii.     CVV2 is included in the Authorization Request (This only applies in the U.S. Region.)
           iii. Merchant is not assigned Merchant Category Code 7995, "Betting, including Lottery
                Tickets, Casino Gaming Chips, Off-Track Betting, and Wagers at Race Tracks" (This only
                applies in the U.S. Region.)
           iv. Transaction is not a: (This only applies in the U.S. Region.)
                   •   Quasi-Cash Transaction (This only applies in the U.S. Region.)
                   •   Cash-Back Transaction (This only applies in the U.S. Region.)
                   •   Manual Cash Disbursement (This only applies in the U.S. Region.)
           v.      Authorization was obtained (This only applies in the U.S. Region.)
      b. A signature was obtained (This only applies in the U.S. Region.)
6. For a LAC Easy Pay Transaction, the Acquirer can provide information or documentation to
   support the claim (This only applies in the Latin America & Caribbean Region.)
7. Effective for Chargebacks processed on or after 16 April 2011, the Acquirer must not
   represent a Transaction because of the failure by the Issuer to certify the following: (The right to
   certify does not apply to Transactions involving Issuers or Acquirers in Visa Europe.)
      a. Card status at the time of the Transaction (lost, stolen, counterfeit)
      b. Date Fraud Activity was reported through VisaNet
      c.   Date Account Number was listed on the Exception File

ID#: 151011-171009-0007647



Representment Processing Requirements - Reason Code 81 (Updated)

Member Message Text:

1. Credit or Reversal was processed.
      a. Either that applies:
           i.      CRED MMDDYY ARN X...X (23 or 24 digits)
           ii.     REVERSAL MMDDYY
2. Issuer did not meet the applicable Chargeback conditions.
      a. For Chargeback Condition 1 and 2: X...X (Specify the reason)
      b. For Chargeback Condition 3: As applicable:
           i.      X...X (Specify the reasons)
           ii.     EMV PIN COMPL DVCE, NON PIN PREF CD



120 As specified in "CVV2 Submission in a Face-to-Face Environment - U.S. Region"

962                                                VISA PUBLIC                               18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                Page: 1000 of 1319
                                                PageID #: 4193
                                     Visa International Operating Regulations


           iii. NO PED, MAG STRIPE READ
           iv. PIN BYPASS, CVM/IAC FOLLOWED
           v.    EXCP FILE NOT LSTD, FRD NOT RPT, ACC NOT CLSD
3. Acquirer can remedy the Chargeback.
     a. For Chargeback Condition 1: CVV2, POS XX, ISSUER AUTHD (indicate 00 or 01) (if
        applicable)
     b. For Chargeback Condition 2: AUTH DATE MMDDYY CODE X...X (if applicable)

ID#: 111011-171009-0007648



Documentation - Reason Code 81
1. Issuer did not meet the applicable Chargeback conditions.
     a. For a Representment due to an Issuer failing to meet the requirements specified in
        Chargeback Rights and Limitations 2, the Acquirer must provide information/documentation
        to support this claim, such as evidence indicating Card Account Number was not listed on
        the Exception File, or account was not closed or Transactions were not reported as fraud or
        Transaction was reported as counterfeit fraud type 4
     b. As applicable
2. Acquirer can remedy the Chargeback.
     a. For Chargeback Condition 1 and 2: Visa Resolve Online Dispute Questionnaire or Exhibit
        2E-2 Acquirer and one of the following:
           i.    Evidence of both:
                 •     A legible Imprint for the Transaction in question
                                                                                [121]


                 •     A signature or PIN
           ii.   For a below-Floor Limit Transaction, evidence of signature or PIN and internal record or
                 log proving Magnetic-Stripe read or Chip-initiated, with explanation of fields
           iii. For an above-Floor Limit Transaction (excluding U.S. Domestic Transactions) that was
                key-entered following a Referral Response, all of the following:
                 •     Referral Authorization record proving Magnetic-Stripe read or Chip-initiated within 24
                       hours of the Transaction
                 •     International Automated Referral Service log
                 •     Evidence of signature or PIN
           iv. For an Airline Transaction only (excluding U.S. Domestic Transactions) for Chargeback
               Condition 1, compelling evidence that the Cardholder participated in the Airline
               Transaction
     b. For Chargeback Condition 3: Visa Resolve Online Dispute Questionnaire or Exhibit 2E-2
        Acquirer and evidence of both:
           i.    A valid Imprint for the Transaction in question
           ii.   PIN



18 October 2011                                     VISA PUBLIC                                              963
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      Case: 4:13-cv-02226-JAR                  Doc. #: 85-5 Filed: 02/12/15                Page: 1001 of 1319
                                                   PageID #: 4194
                                    Visa International Operating Regulations


      c.   For a LAC Easy Pay Transaction, "Participation Request and Consent Form" with Card
           Imprint and Cardholder Signature (This only applies in the Latin America & Caribbean
           Region.)

ID#: 151011-171009-0007649



Additional Information - Reason Code 81
1. Validity of the Chargeback is not dependent on Authorization.
2. Effective for Transactions completed on or after 15 October 2011, for a key-entered
   U.S. Domestic Transaction in a Face-to-Face Environment, validity of the Chargeback is not
   dependent on Authorization, unless the Card Verification Value 2 was present in the Authorization
   Request.
3. "Signature on file" notation is not an acceptable signature.
4. Pencil rubbing of Card or photocopy of Card is not considered proof of a valid Imprint.

ID#: 111011-171009-0007650



Reason Code 82 Duplicate Processing


Overview - Reason Code 82

Time Limit: 120 calendar days

A single Transaction was processed more than once.

ID#: 171009-171009-0007658



Chargeback Conditions - Reason Code 82

A single Transaction was processed more than once.

ID#: 171009-171009-0007659



Chargeback Rights and Limitations - Reason Code 82
1. Minimum Chargeback amount:
      a. For a T&E Transaction, US $25 or equivalent
      b. For a Canada Domestic T&E Transaction, CAD $25 (This only applies in the Canada
         Region.)
      c.   For all other Canada Domestic Transactions, CAD $10 (This only applies in the Canada
           Region.)


121 Effective for Chargebacks processed on or after 15 October 2011, for Chargeback Condition 1, for U.S. Domestic
    Transactions, for Transactions processed as specified in "CVV2 Submission in a Face-to-Face Environment - U.S.
    Region"

964                                                VISA PUBLIC                                      18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1002 of 1319
                                                PageID #: 4195
                                     Visa International Operating Regulations


     d. For a Domestic T&E Transaction in Brazil, excluding airport tax Transactions, R$25 (This
        only applies in the Latin America & Caribbean Region.)
     e. For all other Domestic Transactions in Brazil, excluding airport tax Transactions, R$15 (This
        only applies in the Latin America & Caribbean Region.)
2. If the Transaction was processed by different Acquirers or Originating Members, the Acquirer or
   Originating Member that processed the second Transaction is responsible for the Chargeback.
3. Effective for Transactions completed on or after 17 April 2010 through 15 October 2010, for
   a U.S. Domestic Transaction less than or equal to US $25 completed at a Point-of-Transaction
   Terminal with Contactless Payment capability, Transaction amounts must be the same (This only
   applies in the U.S. Region.)
4. Effective for Transactions completed through 15 October 2010, for a U.S. Domestic Small
   Ticket Transaction, Transaction amount must be the same (This only applies in the U.S. Region.)

ID#: 111011-171009-0007660



Invalid Chargebacks - Reason Code 82 (Updated)

Chargeback is invalid for any of the following:

1. Effective for Transactions completed through 14 October 2011, Magnetic-Stripe Telephone
   Transaction for an individual call charge, if the following information is not identical to a previously
   submitted Transaction (excluding U.S. Domestic Transactions):
     a. Date of call
     b. Number of minutes of the call
     c.    Telephone number called
     d. Transaction amount in the Transaction Currency
2. Effective for Transactions completed on or after 15 October 2011, a Telephone Service
   Transaction completed at an Unattended Cardholder-Activated Terminal, if the following
   information is not identical to a previously submitted Transaction (excluding U.S. Domestic
   Transactions):
     a. Date of call
     b. Number of minutes of the call
     c.    Telephone number called
     d. Transaction amount in the Transaction Currency
3. Chip-initiated Transactions with differing application Transaction counter values
4. Effective for Transactions completed on or after 14 April 2012, Adjustments of Visa Debit
   with PIN Transactions (This only applies in the U.S. Region.)

ID#: 111011-171009-0007661




18 October 2011                                     VISA PUBLIC                                         965
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      Case: 4:13-cv-02226-JAR                  Doc. #: 85-5 Filed: 02/12/15    Page: 1003 of 1319
                                                   PageID #: 4196
                                    Visa International Operating Regulations




Chargeback Time Limit - Reason Code 82

120 calendar days from the Transaction Processing Date

ID#: 171009-171009-0007662



Chargeback Processing Requirements - Reason Code 82

Member Message Text:

TRAN DATE MMDDYY, REF X...X (23- or 24-digit Acquirer Reference Number or applicable Tracing
Data)

Documentation: None required.

ID#: 111011-171009-0007663



Representment Time Limit and Conditions - Reason Code 82

45 calendar days from the Chargeback Processing Date

ID#: 171009-171009-0007664



Representment Processing Requirements - Reason Code 82 (Updated)
1. Credit or Reversal was processed.
      a. Member Message Text: Either that applies:
          i.    CRED MMDDYY ARN X...X (23 or 24 digits)
          ii.   REVERSAL MMDDYY
      b. Documentation: None required.
2. Issuer did not meet the applicable Chargeback conditions, either that applies:
      a. Member Message Text:
          i.    X...X (Specify the reason)
          ii.   DIFF. APPL. TRXN. COUNTERS
      b. Documentation: None required.
3. Acquirer can remedy the Chargeback.
      a. Member Message Text: For an ATM Transaction processed more than once, either that
         applies:
          i.    CASH DISPNS SEQ #XXXXX AND SEQ #XXXXX
          ii.   ACQR CERTS ATM IN BALANCE ON MMDDYY
      b. Documentation:


966                                                VISA PUBLIC                      18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15          Page: 1004 of 1319
                                                PageID #: 4197
                                     Visa International Operating Regulations


           i.    For an ATM Transaction, none required.
           ii.   For all other Transactions, both:
                 •   Visa Resolve Online Dispute Questionnaire or Exhibit 2E-4 Acquirer
                 •   Either:
                     –     Submit 2 separate signed or imprinted Transaction Receipts or other record to
                           prove separate Transactions were processed
                     –     Effective for Transactions completed through 14 October 2011, for a
                           Magnetic-Stripe Telephone Transaction, documentation to demonstrate that the
                           time of the call is different for each Transaction
                     –     Effective for Transactions completed on or after 15 October 2011, for
                           a Telephone Service Transaction completed at an Unattended Cardholder-
                           Activated Terminal, documentation to demonstrate that the time of the call is
                           different for each Transaction

ID#: 151011-171009-0007665



Additional Information - Reason Code 82
1. For a Representment, if two separate signed or imprinted Transaction Receipts are not provided,
   evidence should be proof that the Transactions were not for the same service or merchandise.
2. Chargeback is available if Transaction amounts or dates are different.

ID#: 171009-171009-0007666



Reason Code 83 Fraud—Card-Absent Environment


Overview - Reason Code 83

Time Limit: 120 calendar days

Cardholder did not authorize or participate in a Card-Absent Transaction or Transaction was
processed with a Fictitious Account Number or no valid Card was outstanding bearing the Account
Number on the Transaction Receipt.

ID#: 171009-171009-0007668



Chargeback Conditions - Reason Code 83
1. Cardholder did not authorize or participate in a Card-Absent Environment Transaction.
2. No valid Card was issued or outstanding that bears the Account Number used in a Card-Absent
   Environment, or a fraudulent Transaction was completed in a Card-Absent Environment using a
   Fictitious Account Number and no Authorization was obtained.

ID#: 171009-171009-0007669




18 October 2011                                     VISA PUBLIC                                            967
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      Case: 4:13-cv-02226-JAR                  Doc. #: 85-5 Filed: 02/12/15      Page: 1005 of 1319
                                                   PageID #: 4198
                                    Visa International Operating Regulations




Chargeback Rights and Limitations - Reason Code 83
1. Minimum Chargeback amount:
      a. For a T&E Transaction, US $25 or equivalent
      b. For a Canada Domestic T&E Transaction, CAD $25 (This only applies in the Canada
         Region.)
      c.   For all other Canada Domestic Transactions, CAD $10 (This only applies in the Canada
           Region.)
      d. For a Domestic T&E Transaction in Brazil, excluding airport tax Transactions, R$25 (This
         only applies in the Latin America & Caribbean Region.)
      e. For all other Domestic transactions in Brazil, excluding airport tax Transactions, R$15 (This
         only applies in the Latin America & Caribbean Region.)
2. Issuer must retrieve a copy of the Transaction Receipt prior to exercising the Chargeback right
   unless Transaction is one of the following:
      a. Mail/Phone Order Transaction
      b. Electronic Commerce Transaction
      c.   Recurring Transaction
      d. For a U.S. Domestic Preauthorized Health Care Transaction (This only applies in the U.S.
         Region.)
      e. For a U.S. Domestic Transaction where the Merchant city field of the Clearing Record of an
         Airline or passenger railway Transaction contains the words "ticket mailed" (This only applies
         in the U.S. Region.)
3. For Chargeback Condition 1, on or before the Chargeback Processing Date, the Issuer must
   complete all of the following:
      a. Close the Cardholder account [122]

      b. List the Account Number on the Exception File with a Pickup Response, for a minimum of 30
                        [123]
         calendar days
      c.   Report the Fraud Activity through VisaNet
4. For Chargeback Condition 1 or 2, prior to processing the Chargeback, the Account Number must
   be listed on the Exception File with a negative response. This provision applies to Intraregional
   Transactions in the AP Region. (This only applies in the Asia Pacific Region.)
5. One Chargeback may contain up to 25 Telephone Service Transactions if all of the following are
   true (excluding U.S. Domestic Transactions):
      a. Amount of each Transaction is less than US $40
      b. All Transactions appear on the "Summary of Unauthorized Telephone Service
         Transactions" (Exhibit 2F)
      c.   Chargeback uses the Acquirer Reference Number/Tracing Data of the earliest Transaction
6. For Chargeback Condition 1, Chargeback is valid for an Electronic Commerce Transaction where
   the Issuer responded to an Authentication Request with either:



968                                                VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15               Page: 1006 of 1319
                                                PageID #: 4199
                                     Visa International Operating Regulations


     a. An Unable-to-Authenticate Response or Authentication Denial
     b. A Cardholder Authentication Verification Value and Authentication Identifier, but either the:
           i.    Acquirer did not provide a Cardholder Authentication Verification Value in the
                 Authorization Request
           ii.   Cardholder Authentication Verification Value results code is "0"
7. Chargeback is valid, regardless of the Electronic Commerce indicator value for Electronic
   Commerce Transactions conducted by Merchants in the following Merchant categories: This
   provision applies to U.S. Domestic Transactions. (This only applies in the U.S. Region.)
     a. Wire Transfer Money Orders (4829) (This only applies in the U.S. Region.)
     b. Direct Marketing - Inbound Teleservices Merchant (5967) (This only applies in the U.S.
        Region.)
     c.    Non-Financial Institutions - Foreign Currency, Money Orders (not Wire Transfer), Travelers'
           Cheques (6051) (This only applies in the U.S. Region.)
     d. Betting, including Lottery Tickets, Casino Gaming Chips, Off-Track Betting, and Wagers at
        Race Tracks (7995) (This only applies in the U.S. Region.)
8. For Domestic Transactions in the U.S. Region, Chargeback is valid for Advance Payment
   Services. (This only applies in the U.S. Region.)
9. For a LAC Easy Pay Transaction, Issuer does not have to obtain a copy of the Transaction
   Receipt from the Acquirer to verify a Chargeback right. (This only applies in the Latin America &
   Caribbean Region.)
10. For a Domestic Electronic Commerce Transaction in Brazil, Chargeback is valid if the Transaction
    was processed with Electronic Commerce indicator value "6." (This only applies in the Latin
    America & Caribbean Region.)

ID#: 171011-171009-0007670



Invalid Chargebacks - Reason Code 83

Chargeback is invalid for any of the following:

1. Emergency Cash Disbursement
2. Chargeback Condition 2, for a Transaction where an Authorization was obtained
3. Chargeback Condition 2, for a Transaction where a Fictitious Account Number was used and
   was authorized by the Issuer or Stand-In Processing This provision applies to Intraregional
   Transactions in the AP Region. (This only applies in the Asia Pacific Region.)
4. Chargeback Condition 1 for Intraregional Electronic Commerce Transactions in the AP Region
   processed with an Electronic Commerce indicator of "5" or "6," all of the following: (This only
   applies in the Asia Pacific Region.)




122 This provision does not apply to Domestic Merchant Proximity Payment Device (MPPD) Transactions in the Canada
    Region.
123 This provision does not apply to Domestic Merchant Proximity Payment Device (MPPD) Transactions in the Canada
    Region.

18 October 2011                                     VISA PUBLIC                                                     969
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      Case: 4:13-cv-02226-JAR                  Doc. #: 85-5 Filed: 02/12/15        Page: 1007 of 1319
                                                   PageID #: 4200
                                    Visa International Operating Regulations


      a. The Card Verification Value 2 presence indicator in the Authorization Request is "1 - CVV2
         value is present" (This only applies in the Asia Pacific Region.)
      b. The Card Verification Value 2 results code in the Authorization message is "N - No Match"
         (This only applies in the Asia Pacific Region.)
      c.   The Authorization Request was approved (This only applies in the Asia Pacific Region.)
5. For Intraregional Transactions in the CEMEA Region (excluding Recurring Transactions) all of the
              [124]
   following:       (This only applies in the CEMEA Region.)
      a. The Card Verification Value 2 results code in the Authorization message is "N - No Match"
         (This only applies in the CEMEA Region.)
      b. The Authorization Request was approved (This only applies in the CEMEA Region.)
6. Transactions authorized through the Emergency Payment Authorization Service, excluding U.S.
   Domestic Transactions
7. Mail/Phone Order or Electronic Commerce Transactions, if the Issuer was unable to respond to
   Address Verification Service Authorization Request because Transaction was attempted with a
   Visa Commercial Card or a Card type where the Cardholder is anonymous. This provision applies
   to Canada Domestic Transactions. (This only applies in the Canada Region.)
8. Mail/Phone Order or Electronic Commerce Transactions, if both: This provision applies to U.S.
   Domestic Transactions (This only applies in the U.S. Region.)
      a. Merchandise was shipped or delivered, or services were purchased (This only applies in the
         U.S. Region.)
      b. Issuer was not a participant in the Address Verification Service on the Transaction Date and
         Acquirer received an Address Verification Service response code "U" (This only applies in the
         U.S. Region.)
9. Airline ticket purchase, if either of the following: This provision applies to U.S.
   Domestic Transactions (This only applies in the U.S. Region.)
      a. Issuer response to an Address Verification Service inquiry was "Y" and tickets were mailed to
         the Cardholder billing address on the Issuer file (This only applies in the U.S. Region.)
      b. Issuer was not a participant in the Address Verification Service on the Transaction Date (This
         only applies in the U.S. Region.)
10. Transactions where both:
      a. The Card Verification Value 2 results code in the Authorization message is "U - Issuer not
         participating in CVV2 program"
      b. The Card Verification Value 2 presence indicator in the Authorization Request is one of the
         following:
           i.    "1 - CVV2 value is present"
           ii.   "2 - CVV2 value is on the Card but is illegible"
           iii. "9 - Cardholder states CVV2 is not present on the Card"
11. The following Electronic Commerce Transactions (excluding U.S. Domestic Transactions): [125]

      a. Secure Electronic Commerce Transaction, if both:




970                                                VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15         Page: 1008 of 1319
                                                PageID #: 4201
                                     Visa International Operating Regulations


           i.    Issuer responded to an Authentication Request with an Authentication Confirmation using
                 3-D Secure
           ii.   Both of the following were included in the Authorization Request:
                 •   Cardholder Authentication Verification Value
                 •   Authentication Identifier
     b. Non-Authenticated Security Transaction, excluding Domestic Transactions in Brazil,
        processed with Electronic Commerce indicator value "6" if either:
           i.    Issuer, or Visa on behalf of an Issuer, responded to an Authentication Request with a
                 Non-Participation Message
           ii.   All of the following:
                 •   Issuer, or Visa on behalf of an Issuer, responded to an Authentication Request with
                     an Attempt Response using 3-D Secure
                 •   A Cardholder Authentication Verification Value and Authentication Identifier were
                     included in the Authorization Request
                 •   An exception applies to anonymous Visa Prepaid Card Transactions, Visa
                     Commercial Card Transactions and Transactions conducted in New Channels. The
                     exclusion of Visa Commercial Cards does not apply to the Intraregional Transactions
                     in the jurisdiction of the Asia-Pacific Region.
12. Intraregional Electronic Commerce Transactions in the jurisdiction of the U.S. region, as
    follows: An Electronic Commerce Merchant identified by the U.S. Merchant Chargeback
    Monitoring Program or Risk Identification Service (RIS) Online must include an Electronic
    Commerce indicator value of "7," and is subject to this Chargeback for the period of time it
    remains in the Merchant Chargeback Monitoring Program or RIS Online, plus 4 additional
    months. (This only applies in the U.S. Region.)
     a.     For a Secure Electronic Commerce Transaction processed with Electronic Commerce
           indicator value "5" in the Authorization Request, if both: (This only applies in the U.S.
           Region.)
           i.    The Issuer responded to an Authentication Request with an Authentication Confirmation
                 using 3-D Secure (This only applies in the U.S. Region.)
           ii.   A Cardholder Authentication Verification Value was included in the Authorization Request
                 (This only applies in the U.S. Region.)
     b. Non-Authenticated Security Transaction processed with Electronic Commerce indicator value
        "6" in the Authorization Request, if both: (This only applies in the U.S. Region.)
           i.    The Issuer, or Visa on behalf of an Issuer, responded to an Authentication Request with
                 an Attempt Response using 3-D Secure (This only applies in the U.S. Region.)
           ii.   Any of the following: (This only applies in the U.S. Region.)
                 •   A Cardholder Authentication Verification Value was included in the Authorization
                     Request or (This only applies in the U.S. Region.)
                 •   A Cardholder Authentication Verification Value was not included in the Authorization
                     Request and the Verified Enrollment Response is "N" (This only applies in the U.S.
                     Region.)




18 October 2011                                     VISA PUBLIC                                          971
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      Case: 4:13-cv-02226-JAR                  Doc. #: 85-5 Filed: 02/12/15                       Page: 1009 of 1319
                                                   PageID #: 4202
                                    Visa International Operating Regulations


               •    An exception applies to anonymous Visa Prepaid Card Transactions, Commercial
                    Visa Product Transactions, and Transactions conducted in New Channels. (This only
                    applies in the U.S. Region.)

ID#: 111011-171009-0007671



Chargeback Time Limit - Reason Code 83

120 calendar days from the Transaction Processing Date

ID#: 171009-171009-0007672



Chargeback Processing Requirements - Reason Code 83

Member Message Text:

For Chargeback Condition 1:

1. RR DATE MMDDYY, if requested Transaction Receipts not fulfilled
2. One of the following, as applicable:
      a. UNABLE TO AUTHENTICATE RESPONSE
      b. AUTHENTICATION DENIAL
      c.   CAVV AND AUTHENTICATION IDENTIFIER MISSING IN AUTH
      d. SEE 3-D SECURE RESPONSE SENT MMDDYY

Documentation or certification using Visa Resolve Online Questionnaire or Exhibit 2E-2 Issuer: All of
the following:

1. The information required on the "Summary of Unauthorized Telephone Service
   Transactions" (Exhibit 2F), if applicable
2. Effective through 15 April 2011, Cardholder letter denying authorization or participation in the
   Transaction
3. Effective for Chargebacks processed on or after 16 April 2011, for Transactions involving
   Issuers or Acquirers in Visa Europe, Cardholder letter denying authorization or participation in the
   Transaction (This only applies in Visa Europe.)
4. Effective for Chargebacks processed between 16 April 2011 and 14 October 2011, for
   Transactions not involving Issuers or Acquirers in Visa Europe, Cardholder letter denying
   authorization or participation in the Transaction, or:
      a. Certification that the Cardholder denies authorization or participation in the Transaction
      b. Certification of the Card status at the time of the Transaction (lost, stolen, counterfeit)

124 An Electronic Commerce Merchant identified by the U.S. Merchant Chargeback Monitoring Program or Risk Identification
    Service (RIS) Online must include an Electronic Commerce indicator value of "7," and is subject to this Chargeback for
    the period of time it remains in the Merchant Chargeback Monitoring Program or RIS Online, plus 4 additional months.
125 An Electronic Commerce Merchant identified by the Global Merchant Chargeback Monitoring Program must include
    Electronic Commerce Indicator value "7" and is subject to this Chargeback for the period of time it remains in the Global
    Merchant Chargeback Monitoring Program, plus 3 additional months

972                                                 VISA PUBLIC                                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1010 of 1319
                                                PageID #: 4203
                                     Visa International Operating Regulations


     c.    Certification of the date Fraud Activity was reported through VisaNet
     d. Certification of the date Account Number was listed on the Exception File
5. Effective for Chargebacks processed on or after 15 October 2011, for Transactions not
   involving Issuers or Acquirers in Visa Europe:
     a. Cardholder letter denying authorization or participation in the Transaction, or certification that
        Cardholder denies authorization or participation in the Transaction
     b. Certification of the Card status at the time of the Transaction (lost, stolen, counterfeit)
     c.    Certification of the date Fraud Activity was reported through VisaNet
     d. Certification of the date Account Number was listed on the Exception File
6. For Domestic Transactions in Brazil, the Issuer may provide certification in lieu of the Cardholder
   letter. (This only applies in the Latin America & Caribbean Region.)

 For Chargeback Condition 2:

1. NO SUCH CARD
2. FICTITIOUS ACCOUNT NUMBER
3. RR DATE MMDDYY (if requested Transaction Receipt not fulfilled)

Documentation: None required.

ID#: 171011-171009-0007673



Representment Time Limits - Reason Code 83

45 calendar days from the Chargeback Processing Date

ID#: 171009-171009-0007674



Representment Conditions - Reason Code 83
1. Chargeback is improper or invalid or credit was processed.
2. Representment is invalid if Acquirer failed to respond to Retrieval Request or responded with a
   Nonfulfillment Message code "03" or "04," or provided a Fulfillment which does not contain all
   the required data elements as specified in the Transaction Receipt Fulfillment Documents - Data
   Requirements section
3. For a LAC Easy Pay Transaction, the Acquirer can provide information or documentation to
   support the claim. (This only applies in the Latin America & Caribbean Region.)
4. Transaction Receipt contains both a signature (or PIN was obtained) and an Electronic Imprint
   (use of POS entry code of "02," "90," "05," or "07") or a Manual Imprint for the disputed
   Transaction in question
5. Merchant attempted to authenticate the Cardholder using the 3-D Secure Specification but the
   Cardholder was not participating.




18 October 2011                                     VISA PUBLIC                                        973
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      Case: 4:13-cv-02226-JAR                  Doc. #: 85-5 Filed: 02/12/15       Page: 1011 of 1319
                                                   PageID #: 4204
                                    Visa International Operating Regulations


6. Acquirer must not re-present a No-Show Transaction related to a Peak-Time car rental
   reservation. This provision applies to U.S. Domestic Transactions. (This only applies in the U.S.
   Region.)
7. Transaction was Chip-Initiated and contained a valid Cryptogram. This provision applies to
   Intraregional Transactions in the CEMEA Region. (This only applies in the CEMEA Region.)

ID#: 081010-171009-0007675



Representment Rights and Limitations - Reason Code 83
1. Effective for Chargebacks processed on or after 16 April 2011, the Acquirer must not
   represent a Transaction because of the failure by the Issuer to certify the following: (The right to
   certify does not apply to Transactions involving Issuers or Acquirers in Visa Europe.)
      a. Card status at the time of the Transaction (lost, stolen, counterfeit)
      b. Date Fraud Activity was reported through VisaNet
      c.   Date Account Number was listed on the Exception File

ID#: 050411-010100-0026107



Representment Processing Requirements - Reason Code 83

Member Message Text:

1. If Credit or Reversal was processed.
      a. Either that applies:
           i.    CRED MMDDYY ARN X...X (23 or 24 digits)
           ii.   REVERSAL MMDDYY
2. If Issuer did not meet the applicable Chargeback conditions
      a. X...X (Specify the reason)
3. Acquirer can remedy the Chargeback.
      a. For Chargeback Condition 1, none required.
      b. For Chargeback Condition 2, AUTH MMDDYY CODE X...X (if applicable)
      c.   Chargeback Condition 1 and 2 - CVV2 NON MATCH; ISSR AUTH'D; CVV2 CHECKED This
           provision applies to Intraregional Transactions in the CEMEA Region (This only applies in the
           CEMEA Region.)

Documentation:

1. If Credit or Reversal was processed, none required.
2. Issuer did not meet the applicable Chargeback conditions




974                                                VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15         Page: 1012 of 1319
                                                PageID #: 4205
                                     Visa International Operating Regulations


     a. For a Representment due to an Issuer failing to meet the requirements as specified in
        Chargeback Rights and Limitations 3, the Acquirer must provide information/documentation
        to support this claim such as evidence indicating Card Account Number was not listed on the
        Exception File, or account was not closed, or Transactions were not reported as fraud.
3. If Acquirer can remedy the Chargeback, as follows:
     a. Visa Resolve Online Dispute Questionnaire or Exhibit 2E-2 Acquirer
     b. Evidence of Imprint and signature or PIN
     c.    If a Secure Electronic Commerce or Non-Authenticated Security Transaction has an
           Electronic Commerce indicator value "6," proof that Issuer responded to the Authentication
           Request with a Cardholder Authentication Verification Value and Authentication Identifier (if
           applicable)
     d. For Chargeback Condition 1, compelling evidence that the Cardholder participated in the
        Transaction, excluding U.S. Domestic Transactions
     e. For a LAC Easy Pay Transactions, "The Participation Request and Consent Form" with
        Card Imprint and Cardholder signature (This only applies in the Latin America & Caribbean
        Region.)
     f.    Completed Visa Resolve Online Questionnaire, and for Representment Condition 8,
           documents to prove. This provision applies to Intraregional Transactions in the CEMEA
           Region (This only applies in the CEMEA Region.)
     g. The following provisions apply to Intraregional Transactions in the U.S. Region: (This only
        applies in the U.S. Region.)
           i.    For a Fictitious Account Number properly authorized information to prove. (This only
                 applies in the U.S. Region.)
           ii.   For a Chip-initiated Transaction, documents to prove valid PIN (offline or online). (This
                 only applies in the U.S. Region.)
           iii. For a Secure Electronic Commerce Transaction, 3-D Secure Authentication History log to
                prove authentication. (This only applies in the U.S. Region.)
           iv. Documents to prove No-Show Transaction was processed properly, including all of the
               following: (This only applies in the U.S. Region.)
                 •   Cardholder telephone number and mailing address (This only applies in the U.S.
                     Region.)
                 •   Scheduled check-in date (This only applies in the U.S. Region.)
                 •   Confirmation code (This only applies in the U.S. Region.)
           v.    Acquirer's log showing the Address Verification Service response of "Y" and carrier
                 certification that merchandise was delivered to the address indicated in the Address
                 Verification Service. (This only applies in the U.S. Region.)
           vi. Address Verification Service log and Substitute Transaction Receipt or other record
               proving Airline ticket sent to Cardholder billing address. (This only applies in the U.S.
               Region.)
           vii. For a CPS/Passenger Transport, Card-Not-Present Transaction, copy of Cardholder
                signed agreement. (This only applies in the U.S. Region.)




18 October 2011                                     VISA PUBLIC                                              975
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      Case: 4:13-cv-02226-JAR                  Doc. #: 85-5 Filed: 02/12/15          Page: 1013 of 1319
                                                   PageID #: 4206
                                    Visa International Operating Regulations


          viii. For a Preauthorized Health Care Transaction, Preauthorized Health Care Transaction
                Form that contains a signature and Imprint. (This only applies in the U.S. Region.)
          ix.    For an Advance Payment Service Transaction, all of the following: (This only applies in
                the U.S. Region.)
                •   Cardholder telephone number (This only applies in the U.S. Region.)
                •   Cardholder mailing address (This only applies in the U.S. Region.)
                •   Confirmation code provided to Cardholder (This only applies in the U.S. Region.)
          x.    For Domestic Transactions in Brazil conducted by Merchants in the following Merchant
                Category Codes: (This only applies in the Latin America & Caribbean Region.)
         – 3000-3299, “Airlines, Air Carriers" (This only applies in the Latin America & Caribbean
           Region.)
         – 4511, “Airlines and Air Carriers (Not Elsewhere Classified)” (This only applies in the Latin
           America & Caribbean Region.)
         – 4722, “Travel Agencies and Tour Operators” (This only applies in the Latin America &
           Caribbean Region.)
              All of the following is required: (This only applies in the Latin America & Caribbean
             Region.)
         – Copy of the front of the Card (This only applies in the Latin America & Caribbean Region.)
         – Copy of the front and back of a legal document that identifies the Cardholder (This only
           applies in the Latin America & Caribbean Region.)
         – Copy of a voucher or ticket with passenger's name issued by travel agency and/or airline
           (This only applies in the Latin America & Caribbean Region.)
         –    Copy of the debit authorization form with all of the following: (This only applies in the Latin
             America & Caribbean Region.)
             • Primary Cardholder's name (This only applies in the Latin America & Caribbean
               Region.)
             • Passengers names (This only applies in the Latin America & Caribbean Region.)
             • Account number (This only applies in the Latin America & Caribbean Region.)
             • Card expiration date (This only applies in the Latin America & Caribbean Region.)
             • Primary Cardholder's phone number (This only applies in the Latin America & Caribbean
               Region.)
             • Airline name (This only applies in the Latin America & Caribbean Region.)
             • Authorization Code (This only applies in the Latin America & Caribbean Region.)
             • Transaction amount (This only applies in the Latin America & Caribbean Region.)
             • Installment Transaction count (This only applies in the Latin America & Caribbean
               Region.)
             • Installment Transaction amount (This only applies in the Latin America & Caribbean
               Region.)
             • Airport tax amount (This only applies in the Latin America & Caribbean Region.)



976                                                VISA PUBLIC                               18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1014 of 1319
                                                PageID #: 4207
                                     Visa International Operating Regulations


             • Date of the debit authorization form (This only applies in the Latin America & Caribbean
               Region.)
             • Cardholder signature (must match Cardholder's signature on the signature panel) (This
               only applies in the Latin America & Caribbean Region.)
           xi. For Domestic Transactions in Brazil conducted by Merchants in the following Merchant
               Category Codes:
          – 5814 "Fast Food Restaurants"
          – 7922 "Theatrical Producers (Except Motion Pictures) and Ticket Agencies"
               The following is required:
          – Documentation signed by the Cardholder to prove that Cardholder received services or
            merchandise at agreed-upon location
              (This only applies in the Latin America & Caribbean Region.)

ID#: 111011-171009-0007676



Additional Information - Reason Code 83
1. "Signature on file" notation is not an acceptable signature.
2. Pencil rubbing of the Card or a photocopy of the Card is not considered proof of a valid Imprint.
3. For Chargeback Rights and Limitations 2, use the MOTO or ECI indicator or the Merchant
   Category Code to determine Transaction type.

ID#: 171009-171009-0007677



Reason Code 85 Credit Not Processed


Overview - Reason Code 85

Time Limit: 120 calendar days

A Merchant did not process a Credit Transaction Receipt as required.

ID#: 171009-171009-0007678



Chargeback Conditions - Reason Code 85
1. Effective through 15 April 2011, Cardholder received a Credit or voided Transaction Receipt
   that was not processed.
2. Effective for Chargebacks processed on or after 16 April 2011, for Transactions involving
   Issuers or Acquirers in Visa Europe, Cardholder received a Credit or voided Transaction Receipt
   that was not processed.
3. All of the following:
     a. Cardholder returned merchandise, cancelled merchandise, or cancelled services



18 October 2011                                     VISA PUBLIC                                      977
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      Case: 4:13-cv-02226-JAR                  Doc. #: 85-5 Filed: 02/12/15        Page: 1015 of 1319
                                                   PageID #: 4208
                                    Visa International Operating Regulations


      b. Merchant did not issue or process a Credit or, effective 16 April 2011, voided Transaction
         Receipt
      c.   Effective for Chargebacks processed on or after 16 April 2011, for Transactions involving
           Issuers or Acquirers in Visa Europe, Merchant did not issue or process a Credit Transaction
           Receipt
      d. Merchant did not properly disclose or did disclose, but did not apply a limited return or
         cancellation policy at the time of the Transaction
4. All of the following:
      a. Cardholder cancelled a Timeshare Transaction
      b. Cancellation was within 14 calendar days from the contract date or receipt date of the
         contract or related documents
      c.   Merchant did not issue a Credit Transaction Receipt
5. Any of the following:
      a. Cardholder properly cancelled the guaranteed reservation
      b. Cardholder was billed a No-Show Transaction and properly cancelled
      c.   Cardholder provides cancellation code provided by a Hotel or third party booking agent. A
           Hotel using a third party booking agent must accept the cancellation code provided by the
           third party booking agent.
      d. Merchant or third party booking agent failed to accept cancellation or provide a cancellation
         code
      e. Cardholder attempted to cancel before 6:00 p.m. Merchant Outlet time and the reservation
         was made within 72 hours of the scheduled arrival date but was billed for a No-Show
         Transaction
      f.   A Hotel Merchant or third party booking agent billed for a No-Show Transaction for more than
           one night's stay and applicable taxes when reservation was cancelled or unclaimed
6. For an Advance Deposit Transaction, one of the following:
      a. Cardholder properly cancelled the Advance Deposit Transaction but Merchant did not issue a
         Credit Transaction Receipt
      b. Merchant provided alternate accommodations but did not issue a Credit Transaction Receipt
      c.   For a U.S. Domestic Transaction, Merchant provided alternate accommodations or an
           alternate vehicle but did not issue a Credit Transaction Receipt (This only applies in the U.S.
           Region.)
      d. Merchant did not inform Cardholder of the Hotel or Cruise Line cancellation policy
7. An Original Credit Transaction (including a Money Transfer Original Credit Transaction) was not
   accepted because either:
      a. Recipient refused the Original Credit
      b. Original Credit is prohibited by local law




978                                                VISA PUBLIC                             18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1016 of 1319
                                                PageID #: 4209
                                     Visa International Operating Regulations


8. For a U.S. Domestic Advance Payment Service Transaction, Cardholder properly cancelled the
   Advance Payment Service Transaction but Merchant did not issue a Credit Transaction Receipt
   (This only applies in the U.S. Region.)

ID#: 111011-171009-0007679



Chargeback Rights and Limitations - Reason Code 85
1. For Chargeback Condition 1, 2, 3, 4, 5, and 6:
     a. Minimum Chargeback amount for a T&E Transaction is US $25 or equivalent
     b. Minimum Chargeback amount for a Canada Domestic T&E Transaction is CAD $25 (This
        only applies in the Canada Region.)
     c.    Minimum Chargeback amount for all other Canada Domestic Transactions is CAD $10
     d. For a Domestic T&E Transaction in Brazil, excluding airport tax Transactions, R$25 (This
        only applies in the Latin America & Caribbean Region.)
     e. For all other Domestic Transactions in Brazil, excluding airport tax Transactions, R$15 (This
        only applies in the Latin America & Caribbean Region.)
     f.    Issuer must determine that the Cardholder attempted to resolve the dispute with the
           Merchant. (Not applicable if prohibited by local law.)
     g. For Domestic Transactions in Brazil, the Issuer may provide certification in lieu of the
        Cardholder letter. (This only applies in the Latin America & Caribbean Region.)
2. Effective through 15 October 2010, for Condition 1, Issuer must wait 30 calendar days from
   date on the Credit Transaction Receipt before initiating a Chargeback.
3. Effective 16 October 2010, for Condition 1, Issuer must wait 15 calendar days from date on the
   Credit Transaction Receipt before initiating a Chargeback.
4. For Chargeback Condition 3, any of the following:
     a. For a dispute involving returned merchandise, Chargeback amount is limited to the unused
        portion of the returned merchandise
     b. Chargeback is valid if returned merchandise is refused by the Merchant
     c.    Effective through 15 October 2010, Issuer must wait 30 calendar days from the date of the
           merchandise was returned prior to exercising the Chargeback right. Does not apply if waiting
           period causes Chargeback to exceed Chargeback time frame.
     d. Effective 16 October 2010, Issuer must wait 15 calendar days from the date the
        merchandise was returned prior to exercising the Chargeback right. Does not apply if waiting
        period causes Chargeback to exceed Chargeback time frame.
5. For Chargeback Condition 4, Chargeback is valid for a Timeshare Transaction not processed with
   the correct Merchant Category Code.
6. Effective through 15 October 2010, if the Credit Transaction Receipt is undated, the 30-
   calendar day waiting period does not apply.
7. Effective 16 October 2010, if the Credit Transaction Receipt is undated, the 15-calendar day
   waiting period does not apply.




18 October 2011                                     VISA PUBLIC                                      979
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      Case: 4:13-cv-02226-JAR                  Doc. #: 85-5 Filed: 02/12/15        Page: 1017 of 1319
                                                   PageID #: 4210
                                    Visa International Operating Regulations


8. Chargeback is valid if a "void" or "cancelled" notation appears on the Transaction Receipt.

ID#: 111011-171009-0007680



Invalid Chargebacks - Reason Code 85
1. Chargeback is invalid for disputes regarding the quality of the service rendered or the quality of
   merchandise.
2. ATM Cash Disbursement
3. Effective through 30 September 2010, effective for Transactions completed on or after 1
   March 2010, for any Cash-Back portion of a Visa or Visa Electron Transaction (This only applies
   in the AP Region for Members in India and, effective 1 November 2010, Australia. (This only
   applies in the Asia Pacific Region.)
4. Effective 1 October 2010, for any Cash-Back portion of a Visa Cash-Back Transaction

ID#: 050411-171009-0007681



Chargeback Time Limit - Reason Code 85

The 120 calendar-day Chargeback time limit is calculated from either the Central Processing Date of
the Transaction or one of the following dates as applicable:

1. For Chargeback Condition 1 or 2, any of the following:
      a. Date on the Credit Transaction Receipt
      b. Date of the Cardholder letter, if Credit Transaction Receipt is undated
      c.   Date the Issuer received the Cardholder letter, if both the Credit Transaction Receipt and
           Cardholder letter are undated
2. For Chargeback Condition 3, date the merchandise was received or the expected date to receive
   services
3. For Chargeback Condition 6a, date of the Cardholder cancellation
4. For Chargeback Condition 6b and 6c, date of Cardholder's scheduled arrival
5. For Chargeback Condition 7, Processing Date of the Original Credit, excluding a U.S. Domestic
   Transaction

ID#: 111011-171009-0007682



Chargeback Processing Requirements - Reason Code 85

If multiple Member Message Text are used, a Member may submit the Visa Resolve Online Dispute
Questionnaire.

1. For Chargeback Condition 1 and 2:
      a. Member Message Text: CREDIT NOT PROCESSED
      b. Documentation: Both:


980                                                VISA PUBLIC                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1018 of 1319
                                                PageID #: 4211
                                     Visa International Operating Regulations


           i.    Visa Resolve Online Dispute Questionnaire or Exhibit 2E-5 Issuer stating Cardholder
                 attempted to resolve the dispute with the Merchant
           ii.   Copy of credit or voided Transaction Receipt
2. For Chargeback Condition 3:
     a. Member Message Text:
           i.    MERCHANDISE RETURNED MMDDYY
           ii.   MERCHANDISE CANCELLED MMDDYY
           iii. SERVICE CANCELLED MMDDYY
     b. Documentation:
           i.    Visa Resolve Online Dispute Questionnaire or Exhibit 2E-5 Issuer stating all of the
                 following:
                 •   Date merchandise was cancelled or returned or service cancelled
                 •   Name of shipping company, if applicable
                 •   Invoice/tracking number, if available
                 •   Date Merchant received merchandise, if available
                 •   Cardholder attempted to resolve the dispute with the Merchant
           ii.   Effective through 15 April 2011, proof that Merchant refused the return of merchandise,
                 refused to provide a return merchandise authorization, or informed the Cardholder not to
                 return the merchandise, excluding U.S. Domestic Transactions, if applicable
           iii. Effective for Chargebacks processed on or after 16 April 2011, in lieu of
                documentation, Issuer certification that Merchant refused the return of merchandise,
                refused to provide a return merchandise authorization, or informed the Cardholder not to
                return the merchandise, if applicable. The right to certify does not apply to Transactions
                involving Issuers or Acquirers in Visa Europe.
           iv. Effective for Chargebacks processed on or after 16 April 2011, for Transactions
               involving Issuers or Acquirers in Visa Europe, proof that Merchant refused the return
               of merchandise, refused to provide a return merchandise authorization, or informed
               the Cardholder not to return the merchandise, if applicable (This only applies in Visa
               Europe.)
3. For Chargeback Condition 4:
     a. Member Message Text:
           i.    TIMESHARE CANC MMDDYY & CONTRACT RECEIPT MMDDYY (contract receipt date
                 if applicable)
           ii.   CH ATTEMPT TO RESOLVE
     b. Documentation: None required.
4. For Chargeback Condition 5:
     a. Member Message Text:
           i.    CANC MMDDYY CODE XXXX
           ii.   CH ATTEMPT TO RESOLVE


18 October 2011                                     VISA PUBLIC                                         981
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      Case: 4:13-cv-02226-JAR                  Doc. #: 85-5 Filed: 02/12/15         Page: 1019 of 1319
                                                   PageID #: 4212
                                    Visa International Operating Regulations


           iii. Effective 15 October 2011, CH NOT ADVISED OF CANC POLICY
      b. Documentation:
           i.    Visa Resolve Online Dispute Questionnaire or Exhibit 2E-5 Issuer stating any of the
                 following:
           ii.   Cardholder properly cancelled the guaranteed reservation and one of the following:
                 •   Merchant billed a No-Show Transaction
                 •   Merchant failed to accept cancellation or provide a cancellation code
                 •   Reservation was made within 72 hours of arrival date and canceled prior to 6 p.m.
           iii. A Hotel Merchant or third party booking agent billed a No-Show Transaction for more
                than one night's stay
           iv. Cancellation code, if available
5. For Chargeback Condition 6 and 8:
      a. Member Message Text:
           i.    For Chargeback Condition 6a or 6b, any of the following:
           ii.   CANC MMDDYY CODE XXXX
           iii. ALT ACCOMM PROVIDED NO CREDIT ISSUED
           iv. CH NOT ADVISED OF CANC POLICY
           v.    CH ATTEMPT TO RESOLVE
           vi. For a U.S. Domestic Transaction, for Chargeback Condition 6b or 6c, either that applies:
               (This only applies in the U.S. Region.)
                 •   DATE CANC MMDDYY (This only applies in the U.S. Region.)
                 •   ALT ACCOMM/VEHICLE PROVIDED NO CREDIT ISSUED (This only applies in the
                     U.S. Region.)
      b. Documentation: None required.
6. For Chargeback Condition 7:
      a. Effective for Chargebacks processed through 15 April 2011, Member Message Text:
           i.    RECIPIENT REFUSES CREDIT
           ii.   NOT ALLOWED BY LOCAL LAW
      b. Effective for Chargebacks processed on or after 16 April 2011, Member Message Text:
           i.    RECIPIENT REFUSES CREDIT
           ii.   NOT ALLOWED BY LOCAL LAW
      c.   Documentation: None required.

ID#: 111011-171009-0007683




982                                                VISA PUBLIC                               18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1020 of 1319
                                                PageID #: 4213
                                     Visa International Operating Regulations




Representment Time Limit - Reason Code 85

45 calendar days from the Chargeback Processing Date

ID#: 171009-171009-0007684



Representment Processing Requirements - Reason Code 85
1. Credit or Reversal was processed.
     a. Member Message Text: Either that applies:
           i.    CRED MMDDYY ARN X...X (23 or 24 digits)
           ii.   REVERSAL MMDDYY
     b. Documentation: None required.
2. Issuer did not meet the applicable Chargeback conditions.
     a. Member Message Text: Either that applies:
           i.    X...X (Specify the reason)
           ii.   For Chargeback Condition 3, RETURNED MDSE NOT RECEIVED (if applicable)
     b. Documentation: None required.
3. Acquirer can remedy the Chargeback.
     a. For Chargeback Condition 1:
           i.    Member Message Text: X...X (Specify the reason)
           ii.   Documentation: None required.
     b. For Chargeback Condition 3:
           i.    Member Message Text: None required
           ii.   Documentation: Both:
                 •   Visa Resolve Online Dispute Questionnaire or Exhibit 2E-5 Acquirer
                 •   Transaction Receipt or other records to prove Merchant properly disclosed a limited
                     return or cancellation policy at the time of the Transaction, as applicable
     c.    For Chargeback Condition 4:
           i.    Member Message Text: None required.
           ii.   Documentation:
                 •   Visa Resolve Online Dispute Questionnaire or Exhibit 2E-5 Acquirer
                 •   Documents to prove that Transaction was not cancelled within 14 calendar days of
                     the contract receipt date
     d. For Chargeback Condition 5:
           i.    Member Message Text: None required.
           ii.   Documentation:


18 October 2011                                     VISA PUBLIC                                         983
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      Case: 4:13-cv-02226-JAR                  Doc. #: 85-5 Filed: 02/12/15         Page: 1021 of 1319
                                                   PageID #: 4214
                                    Visa International Operating Regulations


                 •   Visa Resolve Online Dispute Questionnaire or Exhibit 2E-5 Acquirer
                 •   Explanation of why the cancellation code was invalid, if applicable
      e. For Chargeback Condition 6
           i.    Member Message Text: None required.
           ii.   Documentation: Both:
                 •   Visa Resolve Online Dispute Questionnaire or Exhibit 2E-5 Acquirer
                 •   Documents to prove that Cardholder was informed about cancellation policy (if
                     applicable)
      f.   For Chargeback Condition 8, Originating Member can remedy the Chargeback.
           i.    Member Message Text: X...X (Specify the reason)
           ii.   Documentation: None required.

ID#: 081010-171009-0007685



Additional Information - Reason Code 85
1. If merchandise was shipped prior to cancellation the Cardholder must return the merchandise, if
   received.
2. If the Issuer provides a valid Credit or voided Transaction Receipt to support a cancellation or
   return:
      a. Proper disclosure of the Merchant's refund policy will not be considered
      b. Cardholder attempt to resolve with Merchant is not required
3. For Chargeback Condition 1 or 2, any of the following:
      a. Refund acknowledgments and credit letters do not qualify as Credit Transaction Receipts
         unless they contain all required data.
      b. A lost ticket application or refund application is not considered a Credit Transaction Receipt
      c.   An Issuer must not initiate a Chargeback regarding Value-Added Tax (VAT) unless the
           Cardholder provides a Credit Transaction Receipt
4. For Chargeback Condition 3, any of the following:
      a. Proof of shipping does not constitute proof of receipt
      b. Merchant is responsible for goods held within its own country's customs agency
5. For Chargeback Condition 4, Visa recommends that the Issuer provide a copy of the cancellation
   notification to the Merchant.
6. For Representment of Chargeback Condition 5, an explanation of why a cancellation code was
   not provided, if applicable.

ID#: 140511-171009-0007686




984                                                VISA PUBLIC                             18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1022 of 1319
                                                PageID #: 4215
                                     Visa International Operating Regulations




Reason Code 86 Paid by Other Means


Overview - Reason Code 86

Time Limit: 120 calendar days

Merchandise or service was received but paid by other means.

ID#: 171009-171009-0007687



Chargeback Conditions - Reason Code 86

Cardholder paid for the same merchandise or service by other means.

ID#: 171009-171009-0007688



Chargeback Rights and Limitations - Reason Code 86
1. Minimum Chargeback amount:
     a. For a T&E Transaction, US $25 or equivalent
     b. For a Canada Domestic T&E Transaction, CAD $25 (This only applies in the Canada
        Region.)
     c.    For all other Canada Domestic Transactions, CAD $10 (This only applies in the Canada
           Region.)
     d. For a Domestic T&E Transaction in Brazil, excluding airport tax Transactions, R$25 (This
        only applies in the Latin America & Caribbean Region.)
     e. For all other Domestic Transactions in Brazil, excluding airport tax Transactions, R$15 (This
        only applies in the Latin America & Caribbean Region.)
2. Prior to exercising the Chargeback right, Cardholder must attempt to resolve with Merchant,
   unless prohibited by local law.
3. Chargeback is valid when the contract reflects that the Merchant accepted a voucher issued by
   a third party as payment of goods or services rendered, and subsequently bills the Cardholder
   because the Merchant is unable to collect payment from the third party.

ID#: 111011-171009-0007689



Invalid Chargebacks - Reason Code 86

Chargeback invalid for any of the following:

1. Initial payment of a Delayed Delivery Transaction if the balance payment is not authorized and
   the balance was not paid by alternate means




18 October 2011                                     VISA PUBLIC                                      985
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      Case: 4:13-cv-02226-JAR                  Doc. #: 85-5 Filed: 02/12/15     Page: 1023 of 1319
                                                   PageID #: 4216
                                    Visa International Operating Regulations


2. If payment for services made to two different Merchants, e.g., payment to travel agent and T&E
   Merchant, unless there is evidence that the payment was passed from the travel agent to the T&E
   Merchant

ID#: 010410-171009-0007690



Chargeback Time Limit - Reason Code 86

120 calendar days from the Transaction Processing Date

ID#: 171009-171009-0007691



Chargeback Processing Requirements - Reason Code 86

Member Message Text: None required.

Documentation:

All of the following:

1. Visa Resolve Online Dispute Questionnaire or Exhibit 2E-4 Issuer
2. Proof that Merchant received payment by other means
      a. Supply Visa Acquirer Reference Number or Transaction information, if paid by a Visa Card,
         or supply statement, if paid by other card. This requirement does not apply to Transactions
         involving Issuers or Acquirers in Visa Europe.
      b. Cash receipt or copy of front and back of check. This requirement does not apply to
         Transactions involving Issuers or Acquirers in Visa Europe.
3. For Chargeback Rights and Limitations 3, evidence that the Merchant accepted the voucher
   for payment towards merchandise or service (e.g., rental contract showing that voucher was
   accepted by Merchant)
4. Cardholder attempted to resolve the dispute with the Merchant
5. For Domestic Transactions in Brazil, the Issuer may provide certification in lieu of the Cardholder
   letter. (This only applies in the Latin America & Caribbean Region.)

ID#: 111011-171009-0007692



Representment Time Limit - Reason Code 86

45 calendar days from the Chargeback Processing Date

ID#: 171009-171009-0007693



Representment Processing Requirements - Reason Code 86
1. Credit or Reversal was processed.
      a. Member Message Text: Either that applies:

986                                                VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1024 of 1319
                                                PageID #: 4217
                                     Visa International Operating Regulations


           i.    CRED MMDDYY ARN X...X (23 or 24 digits)
           ii.   REVERSAL MMDDYY
     b. Documentation: None required.
2. Issuer did not meet the applicable Chargeback conditions.
     a. Member Message Text: X...X (Specify the reason)
     b. Documentation: None required.
3. Acquirer can remedy the Chargeback.
     a. Member Message Text: None required.
     b. Documentation: Both:
           i.    Visa Resolve Online Dispute Questionnaire or Exhibit 2E-4 Acquirer
           ii.   Documents (other than Transaction Receipts) to prove that Merchant did not receive
                 payment by other means for the same merchandise or service

ID#: 171009-171009-0007694



Reason Code 90 Non-Receipt of Cash or Load Transaction Value at ATM or
Load Device


Overview - Reason Code 90

Time Limit: 120 calendar days

Cardholder participated in the Transaction, and did not receive, or received only a portion of cash or
Load Transaction value

ID#: 171009-171009-0007695



Chargeback Conditions - Reason Code 90
1. Cardholder participated in the Transaction and did not receive cash or Load Transaction value or
   received a partial amount.

ID#: 171009-171009-0007696



Chargeback Rights and Limitations - Reason Code 90
1. Chargeback is limited to:
     a. Amount not received
     b. For Canada Domestic Transactions, Transactions over CAD $10 (This only applies in the
        Canada Region.)




18 October 2011                                     VISA PUBLIC                                       987
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      Case: 4:13-cv-02226-JAR                  Doc. #: 85-5 Filed: 02/12/15       Page: 1025 of 1319
                                                   PageID #: 4218
                                    Visa International Operating Regulations


      c.   For all Domestic Transactions in Brazil, Transactions over R $15 (This only applies in the
           Latin America & Caribbean Region.)

ID#: 111011-171009-0007697



Invalid Chargebacks - Reason Code 90
1. Chargeback is invalid when Cardholder states that the Transaction was fraudulent or the
   Transaction was posted twice.

ID#: 171009-171009-0007698



Chargeback Time Limit - Reason Code 90

120 calendar days from the Transaction Processing Date

ID#: 171009-171009-0007699



Chargeback Processing Requirements - Reason Code 90

Member Message Text:

1. CASH/VALUE NOT RECEIVED
2. CASH/VALUE AMT $XXXX RECD $XXXX

Documentation: None required.

ID#: 171009-171009-0007700



Representment Time Limit - Reason Code 90

45 calendar days from the Chargeback Processing Date

ID#: 171009-171009-0007701



Representment Processing Requirements - Reason Code 90
1. Credit or Reversal was processed.
      a. Member Message Text: Either that applies:
           i.    CRED MMDDYY ARN X...X (23 or 24 digits)
           ii.   REVERSAL MMDDYY
      b. Documentation: None required.
2. Issuer did not meet the applicable Chargeback conditions.
      a. Member Message Text: X...X (Specify the reason)
      b. Documentation: None required.

988                                                VISA PUBLIC                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1026 of 1319
                                                PageID #: 4219
                                     Visa International Operating Regulations


3. Acquirer can remedy the Chargeback.
     a. Member Message Text: Either that applies:
           i.    TX TIME HH:MM, SEQ #XXXXX, AMT DISPNS $XXX.XX
           ii.   ACQR CERTS ATM IN BALANCE ON MMDDYY
     b. Documentation: None required.

ID#: 171009-171009-0007702



Reason Code 93 Merchant Fraud Performance Program


Overview - Reason Code 93

Time Limit: 120 calendar days

Visa notified the Issuer that the Transaction is identified by the Merchant Fraud Performance
Program. This provision does not apply to U.S. Domestic Transactions.

ID#: 171009-171009-0007703



Chargeback Conditions - Reason Code 93

Both:

1. Visa notified the Issuer that the Transaction is identified by the Merchant Fraud Performance
   Program
2. Issuer has not successfully charged back the Transaction for another reason

ID#: 171009-171009-0007704



Chargeback Rights and Limitations - Reason Code 93
1. Minimum Chargeback amount:
     a. For a Canada Domestic T&E Transaction, CAD $25 (This only applies in the Canada
        Region.)
     b. For all other Canada Domestic Transactions, CAD $10 (This only applies in the Canada
        Region.)
     c.    For a Domestic T&E Transaction in Brazil, excluding airport tax Transactions, R$25 (This
           only applies in the Latin America & Caribbean Region.)
     d. For all other Domestic Transactions in Brazil, excluding airport tax Transactions, R$15 (This
        only applies in the Latin America & Caribbean Region.)

ID#: 111011-171009-0007705




18 October 2011                                     VISA PUBLIC                                       989
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      Case: 4:13-cv-02226-JAR                  Doc. #: 85-5 Filed: 02/12/15         Page: 1027 of 1319
                                                   PageID #: 4220
                                    Visa International Operating Regulations




Invalid Chargebacks - Reason Code 93

Chargeback is invalid for Emergency Cash Disbursements.

ID#: 171009-171009-0007706



Chargeback Time Limit - Reason Code 93

120 calendar days from the date of the identification by the Merchant Fraud Performance Program

ID#: 171009-171009-0007707



Chargeback Processing Requirements - Reason Code 93

Member Message Text: MFP RPT DT MMDDYY

Documentation: One of the following:

1. None required.
2. For Intraregional counterfeit Transactions in the AP Region, the Issuer's Center manager must
   provide the Acquirer with written certification of all of the following: (This only applies in the Asia
   Pacific Region.)
      a. Issuer was a participant in the Card Verification Service at the time of the Transaction (This
         only applies in the Asia Pacific Region.)
      b. Card was encoded with the Card Verification Value (This only applies in the Asia Pacific
         Region.)
      c.   Issuer did not approve an invalid or failed Card Verification Value-qualified Authorization
           Request (This only applies in the Asia Pacific Region.)

ID#: 171009-171009-0007708



Representment Time Limit and Conditions - Reason Code 93

45 calendar days from the Chargeback Processing Date.

ID#: 171009-171009-0007709



Representment Rights and Limitations - Reason Code 93
1. For an Intraregional Transaction in the AP Region, an Acquirer may represent the Transaction if
   all of the following occurred: (This only applies in the Asia Pacific Region.)
      a. Transaction originated at a Zero Floor Limit Merchant Outlet through a Magnetic-Stripe
         Terminal capable of reading the Card Verification Value (This only applies in the Asia Pacific
         Region.)



990                                                VISA PUBLIC                              18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1028 of 1319
                                                PageID #: 4221
                                     Visa International Operating Regulations


     b. Value of "90" was present in field 22 of the Transaction generation method indicator field
        (This only applies in the Asia Pacific Region.)
     c.    Issuer approved an invalid Card Verification Value response (This only applies in the Asia
           Pacific Region.)

ID#: 171009-171009-0007710



Representment Processing Requirements - Reason Code 93
1. Credit or Reversal was processed.
     a. Member Message Text: Either that applies:
           i.    CRED MMDDYY ARN X...X (23 or 24 digits)
           ii.   REVERSAL MMDDYY
     b. Documentation: None required.
2. Issuer did not meet the applicable Chargeback conditions.
     a. Member Message Text: X...X (Specify the reason)
     b. Documentation: None required.
3. Acquirer can remedy the Chargeback.
     a. Member Message Text: PREV CB MMDDYY RC XX
     b. Documentation:
           i.    One of the following:
                 •   None required.
                 •   For an Intraregional Transaction in the AP Region, Acquirer must provide the Issuer
                     with a copy of the Authorization log documenting the invalid Card Verification Value
                     response (This only applies in the Asia Pacific Region.) .

ID#: 171009-171009-0007711



Additional Information - Reason Code 93
1. If an Issuer has charged back the Transaction using another reason code and the Acquirer
   successfully represented, the Issuer may charge back the Transaction as a second first
   Chargeback only when Notification is received that the Merchant is identified by the Merchant
   Fraud Performance Program. The time limit for the second Chargeback begins with the date the
   Notification is received.

ID#: 171009-171009-0007712




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      Case: 4:13-cv-02226-JAR                  Doc. #: 85-5 Filed: 02/12/15        Page: 1029 of 1319
                                                   PageID #: 4222
                                    Visa International Operating Regulations




Reason Code 96 Transaction Exceeds Limited Amount


Overview - Reason Code 96 (Updated)

Effective for Transactions completed through 14 October 2011:

Time Limit: 75 calendar days

An Unattended Acceptance Terminal that performs Cardholder-Activated Transaction Type A or
Cardholder-Activated Transaction Type B exceeded the allowed amount.

ID#: 111011-171009-0007713



Chargeback Conditions - Reason Code 96 (Updated)

Effective for Transactions completed through 14 October 2011:

1. A Cardholder-Activated Transaction Type A or Cardholder-Activated Transaction Type B exceeds
   the permitted amount, excluding a U.S. Domestic Transaction.
2. For a U.S. Domestic Transaction, one of the following: (This only applies in the U.S. Region.)
      a. Limited-Amount Terminal Transaction exceeded US $25 (This only applies in the U.S.
         Region.)
      b. Self-Service Terminal Transaction exceeded US $50, excluding a Transaction at an
         Automated Fuel Dispenser (This only applies in the U.S. Region.)
      c.   For an Automated Fuel Dispenser Transaction, excluding a Real-Time Clearing Transaction,
           one of the following: (This only applies in the U.S. Region.)
           i.    For a Visa Fleet Card, Transaction exceeded US $150 (This only applies in the U.S.
                 Region.)
           ii.   For all other Cards, Transaction exceeded US $75 (This only applies in the U.S.
                 Region.)
           iii. For a Real-Time Clearing Transaction, Transaction exceeded US $500 (This only applies
                in the U.S. Region.)

ID#: 111011-171009-0007714



Chargeback Rights and Limitations - Reason Code 96

Effective for Transactions completed through 14 October 2011:

1. Minimum Chargeback amount:
      a. For a T&E Transaction, US $25 or equivalent
      b. For a Canada Domestic T&E Transaction, CAD $25 (This only applies in the Canada
         Region.)


992                                                VISA PUBLIC                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                    Page: 1030 of 1319
                                                PageID #: 4223
                                     Visa International Operating Regulations


     c.    For all other Canada Domestic Transactions, CAD $10 (This only applies in the Canada
           Region.)
     d. For a Canada Domestic Limited-Amount Terminal Transaction, Chargeback amount must
        exceed CAD X (This only applies in the Canada Region.)
     e. Effective for Chargebacks processed on or after 1 July 2010, for a Domestic T&E
        Transaction in Brazil, excluding airport tax Transactions, R$25 (This only applies in the Latin
        America & Caribbean Region.)
     f.    Effective for Chargebacks processed on or after 1 July 2010, for all other Domestic
           Transactions in Brazil, excluding airport tax Transactions, R$15 (This only applies in the Latin
           America & Caribbean Region.)
2. Either of the following, excluding U.S. Domestic Transactions: [126]

     a. For a Cardholder-Activated Transaction Type A, Chargeback is valid for the entire
        Transaction amount
     b. For a Cardholder-Activated Transaction Type B, Chargeback is valid only for the amount
        exceeding US $100, excluding a Real-Time Clearing Transaction.
3. For a Real-Time Clearing Transaction, Chargeback is valid only for the amount exceeding the
                      [127]
   authorized amount.
4. For a U.S. Domestic Transaction, any of the following that apply: (This only applies in the U.S.
   Region.)
     a. One of the following: (This only applies in the U.S. Region.)
           i.    For a Limited-Amount Terminal Transaction, Chargeback is valid for the entire
                 Transaction amount (This only applies in the U.S. Region.)
           ii.   For a Self-Service Terminal Transaction, excluding an Automated Fuel Dispenser,
                 Chargeback is valid only for the amount exceeding US $50 (This only applies in the U.S.
                 Region.)
     b. For an Automated Fuel Dispenser Transaction, Chargeback is valid only for the amount
        exceeding one of the following amounts: (This only applies in the U.S. Region.)
           i.    For Visa Fleet Card, US $150 (This only applies in the U.S. Region.)
           ii.   For all other Cards, US $75 (This only applies in the U.S. Region.)

ID#: 111011-171009-0007715



Invalid Chargebacks - Reason Code 96 (Updated)

Effective for Transactions completed through 14 October 2011, Chargeback is invalid for any of
the following:

1.    In-Transit Service Transaction, excluding U.S. Domestic Transactions



126 Effective for Transactions completed through 31 March 2009, for Transactions involving Issuers or Acquirers in the
    jurisdiction of Visa Europe, Chargeback is valid for the entire Transaction amount.
127 Provisions related to Real-Time Clearing are not applicable to Transactions involving Issuers or Acquirers in the
    jurisdiction of Visa Europe.

18 October 2011                                     VISA PUBLIC                                                          993
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      Case: 4:13-cv-02226-JAR                  Doc. #: 85-5 Filed: 02/12/15    Page: 1031 of 1319
                                                   PageID #: 4224
                                    Visa International Operating Regulations


2. For a U.S. Domestic Transaction, ATM Cash Disbursement (This only applies in the U.S.
   Region.)
3. In the AP Region, a domestic Australia Bill Payment Transaction (This only applies in the Asia
   Pacific Region.)

ID#: 151011-171009-0007716



Chargeback Time Limit - Reason Code 96 (Updated)

Effective for Transactions completed through 14 October 2011, 75 calendar days from the
Transaction Processing Date

ID#: 111011-171009-0007717



Chargeback Processing Requirements - Reason Code 96 (Updated)

Effective for Transactions completed through 14 October 2011, Member Message Text:

1. None required.
2. For a U.S. Domestic Transaction, one of the following: (This only applies in the U.S. Region.)
      a. LIMIT-AMT TERM TRANS EXCEEDS $25 (This only applies in the U.S. Region.)
      b. SELF-SERV TERM TRANS EXCEEDS $XXX (50, 75, 150) (This only applies in the U.S.
         Region.)

ID#: 111011-171009-0007718



Documentation - Reason Code 96 (Updated)

Effective for Transactions completed through 14 October 2011, none required.

ID#: 111011-171009-0007719



Representment Time Limit - Reason Code 96 (Updated)

Effective for Transactions completed through 14 October 2011, 45 calendar days from the
Chargeback Processing Date

ID#: 111011-171009-0007720



Representment Rights and Limitations - Reason Code 96 (Updated)
1. Effective for Transactions completed through 14 October 2011, for a U.S. Domestic
   Transaction, Transaction type was not for a Self-Service or Limited-Amount Terminal (This only
   applies in the U.S. Region.)

ID#: 111011-171009-0007721



994                                                VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1032 of 1319
                                                PageID #: 4225
                                     Visa International Operating Regulations




Representment Processing Requirements - Reason Code 96 (Updated)

Effective for Transactions completed through 14 October 2011:

1. Credit or Reversal was processed.
     a. Member Message Text: Either that applies:
           i.    CRED MMDDYY ARN X...X (23 or 24 digits)
           ii.   REVERSAL MMDDYY
           iii. Documentation: None required.
2. Issuer did not meet the applicable Chargeback conditions.
     a. Member Message Text: X...X (Specify the reason)
     b. Documentation: None required.
3. Acquirer can remedy the Chargeback.
     a. Member Message Text: None required.
     b. Documentation: Both:
           i.    Visa Resolve Online Dispute Questionnaire or Exhibit 2E-4 Acquirer
           ii.   Documents to prove either:
                 •   Transaction was not a Cardholder-Activated Transaction Type A or Cardholder-
                     Activated Transaction Type B, excluding a U.S. Domestic Transaction
                 •   Transaction did not exceed limited amount
                 •   For a U.S. Domestic Transaction, Transaction type was not for a Self-Service or
                     Limited-Amount Terminal (This only applies in the U.S. Region.)

ID#: 111011-171009-0007722




Arbitration

Arbitration Process


Arbitration Description

Arbitration allows Visa to assign liability for a disputed Transaction when the Chargeback and
Representment process fails to resolve the dispute.




18 October 2011                                     VISA PUBLIC                                        995
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      Case: 4:13-cv-02226-JAR                  Doc. #: 85-5 Filed: 02/12/15      Page: 1033 of 1319
                                                   PageID #: 4226
                                    Visa International Operating Regulations



If an Issuer disputes a Representment from an Acquirer, the Issuer may file for Arbitration with Visa.
In Arbitration, Visa decides which party is responsible for the disputed Transaction. The decision by
Visa is final, except for any right of appeal permitted, and must be accepted by both the Issuer and
Acquirer. During Arbitration, the Arbitration and Compliance Committee reviews all documentation/
information submitted by both Members to determine who has final liability for the Transaction. The
filing Member is liable for any difference due to currency fluctuation between the amount originally
presented and the Chargeback or Representment amount.

ID#: 171009-171009-0007036



Pre-Arbitration Conditions (Updated)

Before filing for Arbitration, the requesting Member must make a pre-Arbitration attempt if any of the
following conditions apply:

• New documentation or information is being provided to the opposing Member about the dispute
• The Issuer changes the reason code for the dispute after the Representment was processed
• Acquirer represented for Chargeback Reason Code 81 "Fraudulent - Card-Present Transaction"
  involving an Airline Transaction or for Chargeback Reason Code 83 "Fraud - Card-Absent
  Environment" with compelling evidence that the Cardholder participated in the Transaction. For
  Transactions involving Visa Europe Members, the Issuer must include recertification that states
  that the Cardholder did not participate in the Transaction.
• The Transaction is an ATM Transaction and the ATM Transaction Record is required. The Issuer
  must certify that either:
  – The Cardholder requires a copy of the ATM Transaction Record
  – The ATM Transaction Record is required for legal or insurance purposes

Effective through 31 December 2013, the Acquirer or Load Acquirer must provide a copy of the
ATM Transaction Record at pre-Arbitration to prove disbursed cash amount or Load Transaction
value. The Transaction Record must be in English with an explanation or key to the data fields in the
Transaction Record.

Effective 1 January 2014, the Acquirer must provide a copy of the ATM Transaction Record at pre-
Arbitration to prove disbursed cash amount or Load Transaction value. The Transaction Record must
be in English with an explanation or key to the data fields in the Transaction Record.

ID#: 111011-171009-0002878



Pre-Arbitration Acceptance - ATM Disputes

An Acquirer that receives a pre-Arbitration attempt, as specified in Pre-Arbitration Conditions, must
supply within 30 calendar days of the pre-Arbitration notification date, a copy of the ATM Cash
Disbursement Transaction log containing at least:

• Account Number
• Transaction Date


996                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1034 of 1319
                                                PageID #: 4227
                                     Visa International Operating Regulations


• Transaction time or sequential number identifying the individual Transaction
• ATM number
• Code indicating whether the Transaction was successful

The Transaction Record must be in English with an explanation or key to the data fields in the
Transaction Record.

ID#: 171009-171009-0001444



Pre-Arbitration Attempt Information

A pre-Arbitration attempt must include the information required in Pre-Arbitration Attempt (Visa
Resolve Online Dispute Questionnaire or Exhibit 2N).

ID#: 171009-171009-0001414



Pre-Arbitration Attempt Using Visa Resolve Online

The pre-Arbitration attempt must be initiated using Visa Resolve Online, at least 30 calendar days
prior to the Arbitration filing date.

If an Issuer is not required to send a pre-Arbitration notification to the Acquirer, but elects to do so,
the Issuer must still provide the Acquirer with 30 calendar days for a response and the notification
must include the field information.

ID#: 171009-171009-0001415



Accepting Financial Liability for Pre-Arbitration

If the opposing Member accepts financial responsibility for the disputed Transaction, it must credit the
requesting Member for the last amount received by the requesting Member through VisaNet within 30
calendar days of the pre-Arbitration attempt date.

ID#: 171009-171009-0001896



Accepting Financial Liability for Pre-Arbitration - U.S. Region

For U.S. Domestic Transactions, if the opposing Member accepts financial responsibility for the
disputed Transaction, it must either:

• Credit the requesting Member through VisaNet within 30 calendar days of the pre-Arbitration
  notification date
• Credit the requesting Member through Visa Resolve Online within 30 calendar days of the pre-
  Arbitration notification date

ID#: 171009-171009-0007368




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      Case: 4:13-cv-02226-JAR                  Doc. #: 85-5 Filed: 02/12/15     Page: 1035 of 1319
                                                   PageID #: 4228
                                    Visa International Operating Regulations




Not Accepting Financial Liability for Pre-Arbitration

If the opposing Member does not accept financial responsibility for the disputed Transaction, the
requesting Member may pursue Arbitration.

ID#: 171009-171009-0001418



Filing for Arbitration


Arbitration Filing Reasons

The conditions under which a Member may file for Arbitration include, but are not limited to:

• Effective through 15 April 2011, required documentation to support the Representment was
  incomplete or not transmitted within 8 calendar days of the Representment Processing Date
• Effective 16 April 2011, required documentation to support the Representment was incomplete or
  not transmitted within 5 calendar days of the Representment Processing Date
• Acquirer improperly represented a Chargeback
• Issuer processed a prohibited second Chargeback following any Representment
• Acquirer processed a prohibited second Representment
• Acquirer Reference Number/Tracing Data or Account Number did not match the original data in the
  first Presentment or Chargeback record

The conditions under which a Member may be held liable for a disputed Transaction include, but are
not limited to:

• A Chargeback or Representment was initiated past the time frame allowed
• Required supporting documentation/information was not sent to the opposing Member
• Member was not able to demonstrate to Visa that its case was reasonable

When a Cardholder disputes the Transaction for several issues, the Merchant's rebuttal should
address all issues. The Issuer may present the Merchant's rebuttal to the Cardholder so that the
Cardholder can address any issues raised by the Merchant.

Any documentation/information supplied at Arbitration that has not been previously submitted to the
opposing Member at the pre-Arbitration stage will not be considered or reviewed by the Committee.

ID#: 111011-171009-0002604



Arbitration Filing Authority

The requesting Member may file its Arbitration request with either:

• Its Group Member


998                                                VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1036 of 1319
                                                PageID #: 4229
                                     Visa International Operating Regulations


• Visa

In Visa Europe, the option to file directly with Visa International applies only to a Member that does
not have a Group Member.

ID#: 171009-171009-0001421



Arbitration Filing Time Limit

The requesting Member must file its Arbitration request with Visa within one of the following:

• 30 calendar days of the Processing Date of the last Chargeback or Representment, if pre-
  Arbitration was not initiated
• For disputes involving pre-Arbitration, 60 calendar days of the Processing Date of the last
  Chargeback or Representment. The 60 calendar-day period includes the 30 calendar-day pre-
  Arbitration waiting period

The Processing Date is not counted as one day.

ID#: 171009-171009-0001447



Group Member Filing Time Limit

In addition to the time limits specified in Arbitration Filing Time Limit, a Group Member has 30
additional calendar days to forward a case submitted by its Member to Visa. In Visa Europe, the
option to file directly with Visa International applies only to a Member that does not have a Group
Member.

ID#: 171009-171009-0001423



Required Documentation for Arbitration

When seeking Arbitration, the requesting Member must provide all of the following, in English:

• Information required in Visa Resolve Online Dispute Questionnaire or Summary of Arbitration
  Documentation for each Transaction
• Information required in Visa Resolve Online Dispute Questionnaire or Pre-Arbitration Attempt
• Information required in Visa Resolve Online Dispute Questionnaire or Dispute Resolution Form, as
  applicable
• For non-English documents, translations (unless the requesting Member did not receive the
  previously submitted documents in English)
• Any supporting documentation to ensure a fair decision, such as Authorization records, registers,
  Merchant documents, and Member files




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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15      Page: 1037 of 1319
                                                   PageID #: 4230
                                    Visa International Operating Regulations



Additional information or documentation not previously provided to the opposing Member must
not be included in the case filing, unless specifically requested by the Arbitration and Compliance
Committee.

ID#: 171009-171009-0001424



Arbitration Filing Fee Collection

Visa collects a filing fee through VisaNet for requests submitted to Visa.

ID#: 171009-171009-0001425



Arbitration Notification

The Member must send the Arbitration documentation for Arbitration cases electronically, using Visa
Resolve Online.

ID#: 171009-171009-0002397



Invalid Arbitration Request for Group Members

If the Group Member determines that a request is invalid, it must return the request to the requesting
Member. The requesting Member has no further recourse with Visa.

ID#: 171009-171009-0001427



Visa Arbitration Case Rejection

If a request for Arbitration is rejected by the Arbitration and Compliance Committee, the filing fee may
still be charged. If the Arbitration and Compliance Committee determines that a request is invalid, it
may reject the case and retain the filing fee in circumstances, such as one of the following:

• Requesting Member did not file the request within the required time limits
• Multiple Acquirers, Issuers, Account Numbers, Merchants and filing reasons are involved
• A bundled case filing, containing more than 10 Chargebacks, was submitted

ID#: 081010-171009-0001449



Visa Notification of Arbitration Case Acceptance

For a valid request, Visa notifies both Members of case acceptance.

ID#: 171009-171009-0001429




1000                                               VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1038 of 1319
                                                PageID #: 4231
                                     Visa International Operating Regulations




Opposing Member's Response to Arbitration Case Acceptance

If the opposing Member chooses to respond, it must do so within 14 calendar days of the Visa
Notification date, and either:

• Respond to the Notification
• Accept financial responsibility for the Transaction through Visa Resolve Online

ID#: 171009-171009-0001430



Requesting Member's Withdrawal of Arbitration Case

The requesting Member may withdraw its request. Once the case is withdrawn, Visa will collect the
filing fee from the responsible Member through VisaNet.

ID#: 171009-171009-0002521



Member Exceptions Due to Visa System Problems During the Chargeback and
Arbitration Process

In the event a Member misses a deadline or fails to submit documentation electronically due to Visa
back office service platform failure, Visa may negate the impact by granting an exception to Visa
dispute processing deadlines or documentation requirements.

ID#: 171009-171009-0006595



Arbitration Financial Liability

An Arbitration decision may result in either:

• One Member assigned full liability
• Members sharing financial liability

The responsible Member is financially liable for all of the following:

• Transaction amount
   – If the opposing Member is responsible, the requesting Member may collect this amount from
     the opposing Member through VisaNet within 60 calendar days of written Notification from the
     Arbitration and Compliance Committee.
   – For U.S. Domestic Transactions, Visa will debit or credit the Members involved as appropriate,
     through the Global Member Billing Solution. (This only applies in the U.S. Region.)
• Review fee
   – If the responsible Member has domestic currency exchange controls, Visa collects this fee
     through VisaNet within 30 calendar days of Notification to the Member.



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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 1039 of 1319
                                                   PageID #: 4232
                                    Visa International Operating Regulations


• Filing fee

When the case is adjudicated Visa will collect the filing and review fees through VisaNet from the
responsible Member.

Either Member in an Arbitration dispute may also be liable for a penalty fee for each technical
violation of the applicable Operating Regulations. Technical penalty fees do not apply to Visa Europe
Members.

ID#: 111011-171009-0003623



Arbitration Appeal


Arbitration Appeal Amount

The U.S. dollar amount, or local currency equivalent of the case, determines whether the adversely
affected Member may appeal the decision, as shown in the following table:


                                              Arbitration Appeal Rights

             Disputed Amount                            Appeal Right             Appeal Authority

    Less than US $5,000                                       No                  Not applicable

    US $5,000 to US $100,000                     Only if Member can provide       Arbitration and
                                                 new evidence not previously   Compliance Committee
                                                   available at the time of
                                                   the original case filing

    Greater than US $100,000                     Only if Member can provide       Arbitration and
                                                 new evidence not previously   Compliance Committee
                                                   available at the time of
                                                   the original case filing

ID#: 111011-171009-0002997



Arbitration Appeal Time Limit

The adversely affected Member must file for appeal within 60 calendar days of the decision
Notification date.

ID#: 171009-171009-0002998



Arbitration Appeal Filing Fee

The requesting Member:

• Is assessed a filing fee as specified in the applicable regional fee guide



1002                                               VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1040 of 1319
                                                PageID #: 4233
                                     Visa International Operating Regulations


• Must not collect the filing fee from the opposing Member if the original decision is reversed

ID#: 111011-171009-0000861



Finality of Decision on Arbitration Appeal

The decision on any permitted appeal is final and not subject to any challenge.

ID#: 171009-171009-0001440




Compliance

Compliance Process


Compliance Description

Compliance allows a Member that has no Chargeback, Representment, pre-Arbitration, or Arbitration
right to file a complaint against a Member for a violation of the Visa International Operating
Regulations. A requesting Member is liable for any difference due to currency fluctuation between the
amount originally presented and the Chargeback or Representment amount.

ID#: 010410-171009-0001454



Compliance Filing Conditions


Compliance Filing Conditions

A Member may file for Compliance if all of the following are true:

• Violation of the Visa International Operating Regulations occurred
• Member has no Chargeback or Representment right
• Member incurred or will incur a financial loss as a direct result of the violation
• Member would not have incurred the financial loss had the violation not occurred

A violation not involving a Transaction is resolved as specified in Regulation Enforcement, and as
deemed appropriate by Visa.

ID#: 171009-171009-0001455




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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15    Page: 1041 of 1319
                                                   PageID #: 4234
                                    Visa International Operating Regulations




Interchange Reimbursement Fee Compliance Filing

A Member may file for Compliance for violations of the Visa International Operating Regulations
that result in the assessment of an incorrect Interchange Reimbursement Fee. Conditions and
requirements for filing Interchange Reimbursement Fee Compliance are specified in "Interchange
Reimbursement Fee Compliance."

ID#: 111011-171009-0003418



Pre-Compliance for Violations


Pre-Compliance Conditions

Before filing for Compliance, the requesting Member must attempt to resolve the dispute with the
opposing Member. This attempt must include all of the following:

• Attempt date
• Clear identification as pre-Compliance attempt
• Planned Compliance filing date
• All pertinent documentation
• Specific violation of the Visa International Operating Regulations

ID#: 171009-171009-0003430



Pre-Compliance Attempt

A pre-Compliance attempt must include the information required in the Pre-Compliance Attempt
Questionnaire. The pre-Compliance attempt must be sent electronically, using Visa Resolve Online,
at least 30 calendar days prior to the Compliance filing date.

ID#: 171009-171009-0003431



Pre-Compliance Acceptance

If the opposing Member accepts financial liability for the disputed Transaction, it must credit the
requesting Member for the last amount received by the requesting Member through VisaNet within 30
calendar days of the pre-Compliance attempt date.

ID#: 171009-171009-0003432




1004                                               VISA PUBLIC                       18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1042 of 1319
                                                PageID #: 4235
                                     Visa International Operating Regulations




Pre-Compliance Rebuttal

If the opposing Member does not accept financial liability for the disputed Transaction, the requesting
Member may pursue Compliance.

ID#: 171009-171009-0003433



Pre-Compliance Response

Acceptance or rebuttal of a pre-Compliance attempt must be made through Visa Resolve Online.

ID#: 171009-171009-0003434



Data Compromise Recovery Event Resolution

Effective for data compromise event alerts issued on or after 1 October 2007, a violation
involving a data compromise event is not resolved through Compliance. Such violations are resolved
through the Data Compromise Recovery Solution, as specified in "Data Compromise Recovery
Solution (DCRS)" and as determined by Visa.

ID#: 111011-010100-0026000



Data Compromise Recovery - U.S. Region

In the U.S. Region, violations involving storage of the full contents of a track on the Magnetic
Stripe and/or the PIN subsequent to Authorization of a Transaction, failure to comply with the
PIN Management Requirements Documents, or non-compliance with the Payment Card Industry
Data Security Standard (PCI DSS) that could allow a compromise of Magnetic-Stripe Data are not
resolved through the Compliance process. Such violations are resolved through the Account Data
Compromise Recovery process, as specified in "Account Data Compromise Recovery (ADCR)" and
as determined by Visa.

ID#: 050411-010100-0026001



Compliance for Violations


Compliance Filing Reasons

A Member may file for Compliance for any violation of the Visa International Operating Regulations,
except as specified in "Data Compromise Recovery" and "Data Compromise Recovery - U.S.
Region."

ID#: 081010-171009-0006998




18 October 2011                                     VISA PUBLIC                                    1005
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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15    Page: 1043 of 1319
                                                   PageID #: 4236
                                    Visa International Operating Regulations




Chargeback Reduction Service Returned Valid Chargeback or Representment for
Invalid Data 7.11.A.1.a

A Member may file for Compliance if the Chargeback Reduction Service returned a valid Chargeback
or Representment resulting from a Member transmitting invalid data such as:

• Incorrect Transaction Date
• Incorrect Merchant Category Code
• Invalid indicator for the Merchant or Transaction type
• Incorrect state/country code or special condition indicator

Required Documentation:

Both:

• Evidence of incorrect or invalid data
• Evidence Member was able to meet Chargeback or Representment conditions

ID#: 050411-171009-0001462



Chargeback Reduction Service Returned Transaction with Valid Authorization

A Member may file for Compliance if the Chargeback Reduction Service returned a Transaction with
a valid Authorization.

Required Documentation: All of the following:

• Transaction Receipt
• Proof that the Transaction received an Authorization
• Evidence of the Chargeback Reduction Service return

ID#: 050411-171009-0001463



Visa Reservation Service Compliance Filing

The provisions in this section also apply to U.S. Domestic Car Rental Peak-Time reservation
Transactions. (This only applies in the U.S. Region.)

A Member may file for Compliance if a Cardholder used a Card at a Visa Reservation Service to
make a reservation, and one of the following occurred:

• Merchant provided alternate accommodations or vehicle but the Cardholder was charged for the
  Transaction




1006                                               VISA PUBLIC                       18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15         Page: 1044 of 1319
                                                PageID #: 4237
                                     Visa International Operating Regulations


   – Required Documentation: Cardholder letter confirming the check-in date or car rental date,
     Merchant Outlet, and location of the alternate accommodations or vehicle. For U.S. Domestic
     Transactions, Issuer may provide certification in lieu of the Cardholder letter.
• No-Show Transaction amount was different than that quoted to the Cardholder
   – Required Documentation: Written confirmation copy with the quoted rates
• Merchant did not inform the Cardholder of the exact Merchant Outlet location. Cardholder used and
  paid for the accommodations or car rental at another outlet of that Merchant.
   – Required Documentation: Payment receipt copy for other Merchant Outlet

ID#: 111011-171009-0001570



Unauthorized Signature 7.11.A.3

A Member may file for Compliance if a Cardholder's account was charged for a Transaction under the
following circumstances (not applicable to Vehicle-Specific Fleet Card Transactions):

• Cardholder denies authorizing or participating in the Transaction
• Card that was lost or stolen, and recovered, was used in the disputed Transaction
• First initial, the first initial of the first name, or the surname of the signature on the Transaction
  Receipt is not spelled the same as the one on the Card signature panel
• Transaction type was not an Emergency Cash Disbursement, an Emergency Cheque Refund, or a
  Priority Check-out

Required Documentation: All of the following:

• Cardholder letter denying authorization and participation in the Transaction
• Issuer certification, completed Visa Resolve Online Dispute Questionnaire or Unauthorized
  Signature-Issuer Certification (Exhibit 2G), stating that the recovered Card signature panel was
  unaltered and describing the Card recovery circumstances. For U.S. Domestic Transactions,
  completed Visa Resolve Online Dispute Questionnaire or Exhibit 2G (This only applies in the U.S.
  Region.) .
• Transaction Receipt
• Copy of front and back of recovered Card

ID#: 171009-171009-0001465



Cardholder Letter Required for Legal Purposes

Effective for pre-Compliance attempts sent on or after 16 April 2011, a Member may file for
Compliance if an Acquirer or Merchant requires a signed Cardholder letter for legal proceedings, for
a law enforcement investigation, or if required by local law. This Compliance right does not apply to
Transactions involving Issuers or Acquirers in Visa Europe.

Required Documentation: Either:



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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1045 of 1319
                                                   PageID #: 4238
                                    Visa International Operating Regulations


• Evidence that the signed Cardholder letter is required for legal proceedings (e.g., court order or
  subpoena)
• Acquirer certification that the signed Cardholder letter is required by local law or for a law
  enforcement investigation

ID#: 081010-010100-0025789



Illegible Fulfillment - Unable to Provide Legible Transaction Receipt Copy

A Member may file for Compliance if an Acquirer cannot remedy Chargeback Reason Code 60,
Illegible Fulfillment because it is not able to provide a legible Transaction Receipt copy because it is
physically damaged, due to circumstances beyond the Acquirer's or Merchant's control, such as a
natural disaster.

ID#: 171009-171009-0007364



Copy of Transaction Receipt for Legal Proceeding or Law Enforcement Investigation

Effective through 14 October 2011, a Member may file for Compliance if an Issuer or Cardholder
requires copy of Transaction Receipt for legal proceedings or a law enforcement investigation, and
the Retrieval Request was made within 12 months of the Transaction Processing Date.

Effective 15 October 2011, a Member may file for Compliance if an Issuer or Cardholder requires
a copy of the Transaction Receipt for legal proceedings or a law enforcement investigation, and the
Retrieval Request was made within 13 months of the Transaction Processing Date.

Required Documentation: Either:

• Evidence that the Transaction Receipt is required for legal proceedings (e.g., court order or
  subpoena)
• A written statement from the Issuer stating that the Transaction Receipt is required for a law
  enforcement investigation

ID#: 111011-171009-0007365



Non-Card

A Member may file for Compliance if a Merchant created a Transaction Receipt that has an Imprint
but no Authorization and the card was not a Visa Card, Visa Electron Card, or Counterfeit Card. This
provision does not apply to U.S. Domestic Transactions.

ID#: 171009-171009-0001472



Authorization Obtained Using Incorrect Data - U.S. Region 3.7.A.1.h

This provision applies to U.S. Domestic Transactions. (This only applies in the U.S. Region.)




1008                                               VISA PUBLIC                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1046 of 1319
                                                PageID #: 4239
                                     Visa International Operating Regulations



A Member may file for Compliance if an Authorization was obtained with invalid or incorrect data and
Issuer attempted a valid Chargeback which was returned. When an Issuer's and Acquirer's records
differ, the V.I.P. System records will prevail. (This only applies in the U.S. Region.)

Required Documentation: Copy of the Authorization log and Transaction Receipt to support the
discrepancy. (This only applies in the U.S. Region.)

ID#: 171009-171009-0003424



Electronic Commerce Transaction Compliance Reason

This provision does not apply to U.S. Domestic Transactions.

A Member may file for Compliance if a Cardholder requires additional information about an Electronic
Commerce Transaction coded with ECI value "6" and both:

• Cardholder did not assert that the Transaction was fraudulent
• Acquirer did not respond to the Retrieval Request with a Fulfillment or responded with a
  Nonfulfillment Message code "03" or "04"

Required Documentation: Cardholder letter requesting more information about the Transaction

ID#: 111011-171009-0001473



EMV Liability Shift - Account Generated Counterfeit Fraud

A Member may file for Compliance for account generated counterfeit fraud. Counterfeit Transactions
completed in a Card-Present Environment are the liability of the Acquirer, as specified in "EMV
Liability Shift - Acquirer Liability for Account Generated Counterfeit Fraud," if all of the following
conditions are met:

• Transaction did not take place at a Chip-Reading Device
• Account Number was not resident on the Issuer's Master File on the Transaction Date
• All valid Cards bearing Account Numbers within the same account range as the Counterfeit Card
  are Chip Cards containing a Visa or Visa Electron Smart Payment Application
• Transaction was below Merchant's Floor Limit and did not receive Authorization
• Account Number was on the Exception File with a Pickup Response on the Processing Date of the
  Compliance filing and was on the Exception File for a total period of at least 60 calendar days from
  the date of listing

Effective 9 December 2010, the requirements in this section apply to qualifying Transactions, as
specified in "EMV Liability Shift Participation."

ID#: 050411-171009-0003135




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                                                   PageID #: 4240
                                    Visa International Operating Regulations




Filing for Compliance


Compliance Filing Procedures

The requesting Member may file its Compliance request with either:

• Its Group Member
• Visa

In Visa Europe, the option to file directly with Visa International applies only to a Member that does
not have a Group Member.

ID#: 171009-171009-0001475



Compliance Time Limits

The requesting Member must file its request within 90 calendar days of the following dates. The 90
calendar-day period includes pre-Compliance and begins on the day following these dates:

• For a Transaction violation, either:
  – Processing Date
  – Date the Member discovered that a violation occurred (not to exceed 2 years from the
    Transaction Date), if no evidence of the violation was previously available to the Member
• For other violations, the violation date. If the requesting Member does not meet the allowed time
  limits, it loses its Compliance right and is financially liable for the Transaction.

ID#: 171009-171009-0003651



Compliance Time Limit for Group Members

In addition to the time limit specified in Compliance Time Limits, a Group Member has 30 additional
calendar days to forward a case submitted by its Member to Visa.

ID#: 171009-171009-0001478



Terminated Merchant File Information Requirements - U.S. Region

For U.S. Domestic Transactions, for a violation involving the Terminated Merchant File listing
requirements, one of the following: (This only applies in the U.S. Region.)

• Date the Merchant was notified by the previous Acquirer of its intent to terminate the Merchant
  Agreement (This only applies in the U.S. Region.)
• Date the previous Acquirer should have retroactively listed the Merchant on the Terminated
  Merchant File (This only applies in the U.S. Region.)


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                                                PageID #: 4241
                                     Visa International Operating Regulations


• Day following the date the Member discovered that a violation had occurred, not to exceed 2 years
  from the Transaction Date, if evidence of the violation was not previously available to the Member
  (This only applies in the U.S. Region.)

For other violations, the violation date. (This only applies in the U.S. Region.)

ID#: 111011-171009-0007396



Compliance Case Filing Through Visa Resolve Online

The requesting Member must file all Compliance cases electronically, using Visa Resolve Online.

ID#: 171009-171009-0003809



Required Documentation for Compliance

When seeking Compliance, the requesting Member must submit all of the following in English:

• Information required in the Visa Resolve Online Dispute Questionnaire or Summary of Compliance
  Documentation (Exhibit 2K) for each Transaction
• Information required in the Visa Resolve Online Dispute Questionnaire or Pre-Compliance Attempt
  (Exhibit 2O)
• If the Compliance involves a prior Chargeback, a completed the Visa Resolve Online Dispute
  Questionnaire or Dispute Resolution Form (Exhibit 2E) for each Chargeback or Representment
• Any supporting documentation to ensure a fair decision, such as Authorization records, registers,
  Merchant documents, and Member files
• Documentation substantiating that a financial loss would not have resulted had the violation not
  occurred
• For non-English documents, translations (unless the requesting Member did not receive the
  previously submitted documents in English)

Additional information or documentation not previously provided to the opposing Member must not be
included in the case filing.

ID#: 171009-171009-0001479



Compliance Filing Fee Collection

Visa collects a filing fee through VisaNet for requests submitted to Visa.

ID#: 171009-171009-0001480




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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15      Page: 1049 of 1319
                                                   PageID #: 4242
                                    Visa International Operating Regulations




Compliance Notification through Visa Resolve Online

The requesting Member must send the required Compliance documentation for Compliance cases
electronically, using Visa Resolve Online.

ID#: 171009-171009-0001481



Invalid Compliance Requests for Group Members

If the Group Member determines that a request is invalid, it must return the request to the requesting
Member. The requesting Member has no further recourse with Visa.

ID#: 171009-171009-0001482



Visa Determination of Invalid Compliance Request

If a request for Compliance is rejected by the Arbitration and Compliance Committee, the filing fee
may still be charged.

If the Visa Arbitration and Compliance Committee determines that a request is invalid, it may reject
the case and retain the filing fee in certain circumstances, such as one of the following:

• Requesting Member did not file the request within the required time limits
• Multiple Acquirers, Issuers, Account Numbers, Merchants are involved
• A bundled case filing, containing more than 10 Chargebacks, was submitted

ID#: 050411-171009-0001483



Visa Notification

For a valid request, the Arbitration and Compliance Committee notifies both Members of acceptance.

ID#: 171009-171009-0001484



Opposing Member's Response

Should the opposing Member choose to respond, it must, respond within 14 calendar days of the Visa
Notification date, either:

• Respond to the Notification using Visa Resolve Online
• Accept financial liability for the Transaction by notifying Visa using Visa Resolve Online

ID#: 171009-171009-0001485




1012                                               VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1050 of 1319
                                                PageID #: 4243
                                     Visa International Operating Regulations




Compliance Withdrawal Request

The requesting Member may withdraw its request.

ID#: 171009-171009-0001486



Compliance Filing Fee Collection After Withdrawal Request

Once the case is withdrawn, Visa will collect the filing fee through VisaNet.

ID#: 171009-171009-0001489



Member Exceptions Due to Visa System Problems During the Compliance Process

In the event a Member misses a deadline or fails to submit documentation electronically due to Visa
back office service platform failure, Visa may negate the impact by granting an exception to Visa
dispute processing deadlines or documentation requirements.

ID#: 171009-171009-0006594



Arbitration and Compliance Committee Decision

The Arbitration and Compliance Committee bases its decision on all information available to it at the
time of reaching the decision, including, but not limited to, the provisions of the Visa International
Operating Regulations effective on the Transaction Date and may, at its sole discretion, consider
other factors such as the objective of ensuring fairness. The decision is:

• Delivered to both Members
• Final and not subject to any challenge, except for any right of appeal permitted under Appeal
  Rights

If the Arbitration and Compliance Committee determines that the delayed or amended charge
specified in “Delayed or Amended Charges - Acceptable Charges” is unsupportable or unreasonable,
the Arbitration and Compliance Committee may find the Acquirer liable for some or all of the charge.

ID#: 010410-171009-0001490



Assignment of Liability by Arbitration and Compliance Committee

A Compliance decision may result in either:

• One Member assigned full liability
• Members sharing financial liability

ID#: 111011-171009-0001492




18 October 2011                                     VISA PUBLIC                                    1013
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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15          Page: 1051 of 1319
                                                   PageID #: 4244
                                    Visa International Operating Regulations




Responsible Member Financial Liability for Compliance

The responsible Member is financially liable for all of the following. Visa will collect the filing and
review fees through VisaNet from the responsible Member.

• Transaction amount
  – If the opposing Member is responsible, the requesting Member may collect this amount from
    the opposing Member through VisaNet within 60 calendar days of written Notification from the
    Arbitration and Compliance Committee.
• Review fee
  – If the responsible Member has domestic currency exchange controls, Visa collects this fee
    through VisaNet within 30 calendar days of written Notification to the Member.
• Filing fee

For U.S. Domestic Transactions, Visa will debit or credit U.S. Members for the disputed amount
involved as appropriate, including split amounts if both U.S. Members share responsibility for the
disputed amount and/or filing fee/review fee. (This only applies in the U.S. Region.)

Each Member involved in Compliance may be liable for a penalty fee.

ID#: 171009-171009-0001579



Compliance Appeal Rights


Compliance Appeal Amount

The U.S. dollar amount, or local currency equivalent of the case, determines whether the adversely
affected Member may appeal the decision, as shown in the following table:


                                              Compliance Appeal Rights

             Disputed Amount                            Appeal Right               Appeal Authority

    Less than US $5,000                                       No                     Not applicable

    US $5,000 to US $100,000                     Only if Member can provide         Arbitration and
                                                 new evidence not previously     Compliance Committee
                                                   available at the time of
                                                   the original case filing

    Greater than US $100,000                     Only if Member can provide         Arbitration and
                                                 new evidence not previously     Compliance Committee
                                                   available at the time of
                                                   the original case filing

ID#: 111011-171009-0003187




1014                                               VISA PUBLIC                               18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1052 of 1319
                                                PageID #: 4245
                                     Visa International Operating Regulations




Compliance Appeal Time Limits

The adversely affected Member must file any appeal within 60 calendar days of the decision
Notification date.

ID#: 171009-171009-0003188



Compliance Appeal Filing Fee

The requesting Member:

• Is assessed a filing fee as specified in the applicable regional fee guide
• Must not collect the filing fee from the opposing Member if the original decision is reversed

ID#: 111011-171009-0003189



Compliance Appeal Decision

The decision on any permitted appeal is final and not subject to any challenge.

ID#: 171009-171009-0003191




Interchange Reimbursement Fee Compliance

IRF Compliance Process Introduction


IRF Compliance Process Introduction

The Interchange Reimbursement Fee Compliance process allows a Visa International Member
to request Compliance against another Visa International Member for violations of the Visa
International Operating Regulations that result in the application of an incorrect Interchange
Reimbursement Fee to a large number of Transactions. Compliance procedures for violations
unrelated to Interchange Reimbursement Fee (IRF) are specified in the Compliance section.

The process permits a filing Member to aggregate multiple Transactions affected by the application
of an incorrect Interchange Reimbursement Fee (IRF) into a single claim as specified in Transaction
Aggregation Criteria.

Effective 13 January 2011, a separate process exists for Visa Inc. Members to file for Compliance
against Visa Europe Members or vice-versa, as specified in “Intercompany Interchange
Reimbursement Fee Compliance Process.” Members may obtain additional information upon request
from Visa.

ID#: 151011-130111-0001500



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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 1053 of 1319
                                                   PageID #: 4246
                                    Visa International Operating Regulations




Filing Conditions


IRF Compliance Filing Conditions

A Member that fails to meet the specified Interchange Reimbursement Fee (IRF) Compliance criteria
may use the standard Compliance process if it meets the applicable Compliance criteria.

Visa reserves the right to refuse participation in the IRF Compliance process by a filing Member. The
decision by Visa to refuse participation is final and not subject to any challenge.

ID#: 171009-171009-0002055



IRF Compliance Eligibility Criteria

A Member may file for Interchange Reimbursement Fee Compliance if all of the following can be
substantiated:

• Violation of the Visa International Operating Regulations or any applicable regional or domestic
  Interchange Reimbursement Fee (IRF) guide occurred
• Member received or paid incorrect IRF as a direct result of the violation
• Member's financial loss is a direct result of an incorrectly applied IRF rate
• Member would not have incurred a financial loss had the violation not occurred
• The violating Transaction was processed through VisaNet
• The IRF rate paid or received is not governed by any bi-lateral or private agreements, either
  domestic, intra-regional, or inter-regional
• Visa has screened the request in accordance with IRF Compliance Screening and granted
  permission for the Member to file

ID#: 171009-171009-0001501



Transaction Aggregation Criteria

For purported violations involving an incorrectly assessed Interchange Reimbursement Fee
(IRF) rate, a filing Member may aggregate Transactions into a single IRF Compliance case. The
aggregated Transactions must have:

• Violated the same Visa International Operating Regulation or the same regional or domestic IRF
  guide requirement
• Involved the same opposing Member

ID#: 171009-171009-0001502




1016                                               VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1054 of 1319
                                                PageID #: 4247
                                     Visa International Operating Regulations




Transaction Aggregation Limit

The number of Transactions a Member can aggregate into a single Interchange Reimbursement Fee
Compliance case must be:

• More than 500
• Less than 50,000

ID#: 171009-171009-0001503



Interchange Reimbursement Fee Compliance Screening and Filing


IRF Compliance Screening

A Member must submit a screening request to Visa prior to filing an Interchange Reimbursement Fee
Compliance case.

ID#: 171009-171009-0006999



IRF Compliance Process Permissions

A Member must contact Visa for permission to use the Interchange Reimbursement Fee Compliance
process and request the Interchange Reimbursement Fee Compliance Screening Form and the
Global Interchange Reimbursement Fee Compliance Process Guide.

ID#: 171009-171009-0001504



IRF Compliance Screening Form

The Interchange Reimbursement Fee Compliance Screening Form must be completed by an officer
of the filing Member and submitted within the time limits specified in IRF Compliance Filing Period.

ID#: 171009-171009-0001505



IRF Compliance Screening Form Documentation

The Interchange Reimbursement Fee Compliance Screening Form must be submitted along
with other necessary supporting documentation including a data file containing the list of affected
Transactions and the following information:

• The specific section of the Visa International Operating Regulations or regional or domestic
  Interchange Reimbursement Fee (IRF) guide in dispute
• Description of the alleged IRF violation
• The IRF type for which the Transactions were eligible


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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15     Page: 1055 of 1319
                                                   PageID #: 4248
                                    Visa International Operating Regulations


• The total IRF assessed
• Name of the opposing Member
• Number of Transactions
• Range of Transaction Dates included in the aggregated claim
• Selected filing period, as specified in IRF Compliance Filing Period
• Certification that all Transactions included in the aggregated claim have been accurately identified
  as having received an incorrect IRF rate

ID#: 171009-171009-0001506



IRF Compliance Filing Period

The filing Member must submit the Interchange Reimbursement Fee Compliance Screening Form to
Visa within 90 calendar days of either:

• The Processing Date of the oldest Transaction submitted in the aggregated claim
• The date the Member discovered the violation, not to exceed two years from the Processing Date
  of the oldest Transaction submitted in the aggregated claim

ID#: 171009-171009-0001507



IRF Compliance Filing Time Limit

Visa will reject a Member's request to include Transactions beyond 90 days of the Processing Date of
the oldest Transaction submitted in the aggregated claim except when it determines that extenuating
circumstances prevented the Member from discovering the violation sooner.

ID#: 171009-171009-0001508



IRF Compliance Screening Form Resubmission

If Visa rejects a Member's attempt to include Transactions beyond 90 days of the Processing Date,
as specified in IRF Compliance Filing Time Limit, the Member may resubmit a revised Interchange
Reimbursement Fee Compliance Screening Form containing only the Transactions within 90 calendar
days of the Processing Date.

ID#: 171009-171009-0001509



IRF Compliance Member Certification

The Member must certify that all Transactions in the aggregated claim were assessed an incorrect
Interchange Reimbursement Fee rate.

ID#: 171009-171009-0001510




1018                                               VISA PUBLIC                         18 October 2011
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                                                PageID #: 4249
                                     Visa International Operating Regulations




IRF Compliance Visa Rights

Visa reserves the right to reject all or part of a claim, as specified in IRF Compliance Request
Denial, if it determines that some Transactions in the aggregated claim were assessed the correct
Interchange Reimbursement Fee.

ID#: 171009-171009-0001511



IRF Compliance Screening Form Analysis

Visa will analyze all the information made available by the requesting Member upon receipt of the
Interchange Reimbursement Fee Compliance Screening Form.

ID#: 171009-171009-0001512



IRF Compliance Request Eligibility

Visa will determine the eligibility of each request on the basis of the information provided by the
Member in accordance with the rules in effect on the Transaction Date, as stipulated in the applicable
Operating Regulations and the Global Interchange Reimbursement Fee (IRF) Compliance Process
Guide and the appropriate regional or domestic IRF guide, as applicable.

ID#: 171009-171009-0001513



IRF Compliance Decision Notification

Visa will communicate its screening decision to the requesting Member within 10 calendar days of
receipt of the Interchange Reimbursement Fee Compliance Screening Form. The decision is final and
not subject to any challenge.

ID#: 171009-171009-0001514



IRF Compliance Request Approval

If Visa approves a Member's request to use the Interchange Reimbursement Fee Compliance
process, the Member may file pre-Compliance as specified in Interchange Reimbursement Fee Pre-
Compliance.

ID#: 171009-171009-0001515



IRF Compliance Request Denial

If Visa denies a Member's request to use the Interchange Reimbursement Fee Compliance process,
the Member:

• Must not resubmit the claim except as specified in IRF Compliance Resubmission


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                                                   PageID #: 4250
                                    Visa International Operating Regulations


• May use the standard Compliance process
• Forfeits the Interchange Reimbursement Fee Compliance Screening fee

ID#: 171009-171009-0001516



IRF Compliance Request Rejection

Visa reserves the right to reject a Member's request to file Interchange Reimbursement Fee
Compliance for any reason, including those specified in IRF Compliance Request Denial.

ID#: 171009-171009-0001517



IRF Compliance Request Denial Reasons

Visa may deny a Member's request to use Interchange Reimbursement Fee (IRF) Compliance for any
reason including, but not limited to, the following:

• It reasonably concludes that a Member's failure to exercise due diligence prevented the violation
  from being discovered within 90 days from the Transaction Processing Date
• It determines that the assessment of the incorrect IRF resulted from an error (intentional or
  accidental) by the filing Member
• If, contrary to Member certification specified in IRF Compliance Member Certification, Visa
  determines that some Transactions included in the aggregated list were assessed the correct IRF

ID#: 171009-171009-0001518



IRF Compliance Decision

The decision regarding a Member's ability to file Interchange Reimbursement Fee Compliance is final
and not subject to any challenge.

ID#: 171009-171009-0001519



IRF Compliance Request Rejection and Resubmission

A Member whose request for Interchange Reimbursement Fee Compliance has been rejected may
resubmit the request under certain circumstances as stated in IRF Compliance Resubmission.

ID#: 171009-171009-0001520




1020                                               VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1058 of 1319
                                                PageID #: 4251
                                     Visa International Operating Regulations




IRF Compliance Resubmission

If a Member's Interchange Reimbursement Fee Compliance Screening request is rejected due
to the Member's failure to discover the violation within 90 calendar days, as specified in IRF
Compliance Request Denial Reasons, the Member may resubmit the Interchange Reimbursement
Fee Compliance Screening request with Transactions that are within 90 calendar days of the
Processing Date of the oldest Transaction submitted in the aggregated claim.

ID#: 171009-171009-0001521



IRF Compliance Failure to Meet Certification Requirements

Except as specified in IRF Compliance Resubmission, a Member may not resubmit any Transactions
for Interchange Reimbursement Fee Compliance if the original request was denied by Visa for failing
to meet the certification requirements specified in IRF Compliance Member Certification.

ID#: 171009-171009-0001522



IRF Compliance Process Denial

A Member who has been denied use of the Interchange Reimbursement Fee Compliance process
may file Compliance as specified in Compliance if the Transactions qualify for the time limits
established for the standard Compliance process.

ID#: 171009-171009-0001523



IRF Compliance Screening Fee

Visa assesses a screening fee to the requesting Member for each aggregated Interchange
Reimbursement Fee Compliance Screening Form submitted, as specified in the applicable regional
fee guide.

ID#: 111011-130111-0001524



IRF Compliance Screening Fee Collection

The Interchange Reimbursement Fee Compliance Screening fee is collected through the Global
Member Billing Solution, and charged to the BIN noted on the Interchange Reimbursement Fee
Compliance Screening Form.

ID#: 171009-171009-0001525




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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15    Page: 1059 of 1319
                                                   PageID #: 4252
                                    Visa International Operating Regulations




IRF Compliance Screening Fee Forfeiture

If the Member's request to use the Interchange Reimbursement Fee Compliance process is denied,
the Member forfeits the Interchange Reimbursement Fee Compliance Screening fee.

ID#: 171009-171009-0001526



IRF Pre-Compliance


IRF Pre-Compliance

If Visa approves a Member's screening request for Interchange Reimbursement Fee Compliance
as specified in IRF Compliance Decision Notification, the Member must first attempt to resolve the
dispute with the opposing Member through the pre-Compliance process.

ID#: 171009-171009-0007000



Initiating IRF Pre-Compliance

To initiate Interchange Reimbursement Fee pre-Compliance, the filing Member must submit to the
opposing Member a properly completed Pre-Compliance Questionnaire (Exhibit 2O), through Visa
Resolve Online.

ID#: 171009-171009-0001527



IRF Compliance Process


Inappropriate IRF Violation Code

The filing Member must choose the violation code that corresponds to "Inappropriate Interchange
Reimbursement Fee" in Visa Resolve Online.

ID#: 171009-171009-0001528



Pre-Compliance Questionnaire Requirement

In addition to filing through Visa Resolve Online, the filing Member must send a copy of the signed
Pre-Compliance Questionnaire (Exhibit 2O) to Visa.

ID#: 171009-171009-0001529




1022                                               VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1060 of 1319
                                                PageID #: 4253
                                     Visa International Operating Regulations




Filing Member Submission Requirements

The filing Member must also submit to Visa the following:

• The Interchange Reimbursement Fee Compliance Screening Form evidencing Visa approval of a
  Member's Request to file Interchange Reimbursement Fee Compliance
• An encrypted spreadsheet file containing a list of disputed Transactions and the data fields
  specified in Required Information for Transactions Aggregated in an IRF Compliance Claim. The
  file must be transmitted to Visa. Visa forwards the file to the opposing Member.
• Any other pertinent documentation

ID#: 171009-171009-0001530



Required Information for Transactions Aggregated in an IRF Compliance Claim

For each Transaction aggregated in the claim, the filing Member must include the following
information:

• Account Number
• Acquirer BIN
• Acquirer Reference Number
• Processing Date
• Transaction Date
• Transaction amount
• Interchange Reimbursement Fee applied
• Expected Interchange Reimbursement Fee
• Interchange Reimbursement Fee differential amount being claimed
• Merchant name
• For U.S. Domestic Transactions, Transaction Identifier (This only applies in the U.S. Region.)

ID#: 171009-171009-0001531



IRF Compliance Questionnaire Submission Requirements

The Member must submit the Pre-Compliance Questionnaire (Exhibit 2O) through Visa Resolve
Online to the opposing Member. At the same time, the filing Member must electronically transmit
another copy of the Pre-Compliance Questionnaire (Exhibit 2O) to Visa via a Visa-approved secure
mechanism as specified in the Global Interchange Reimbursement Fee Compliance Process Guide
or as instructed by Visa.

ID#: 171009-171009-0001532




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                                                   PageID #: 4254
                                    Visa International Operating Regulations




IRF Compliance Data File Requirements

In addition to the Pre-Compliance Questionnaire (Exhibit 2O), the filing Member must transmit a data
file containing the Transaction information in an encrypted format through the same Visa-approved
secure mechanism.

ID#: 171009-171009-0001533



IRF Compliance Data File Transmission to Opposing Member

Visa will forward the encrypted data file to the opposing Member through the same secure process.
The filing Member may not forward the file directly to the opposing Member.

ID#: 171009-171009-0001534



IRF Compliance Pre-Compliance Questionnaire Time Limit

The Pre-Compliance Questionnaire (Exhibit 2O) must be sent to the opposing Member and Visa
within:

• 10 calendar days of receiving screening approval from Visa, as specified in IRF Compliance
  Decision Notification
• At least 30 days before filing Interchange Reimbursement Fee Compliance

ID#: 171009-171009-0001535



IRF Compliance Time Period Calculation

The 10 day period begins from the date stamped on the Interchange Reimbursement Fee
Compliance Screening Form returned by Visa approving the Member's request to file Interchange
Reimbursement Fee Compliance.

ID#: 171009-171009-0001536



IRF Pre-Compliance Acceptance

If the opposing Member accepts financial responsibility for the disputed Transactions or if the filing
Member and the opposing Member reach a mutually agreeable settlement, the opposing Member
must credit the requesting Member through VisaNet within 30 calendar days of the Interchange
Reimbursement Fee pre-Compliance correspondence date.

The filing Member may collect the screening fee from the responsible Member.

The opposing Member must notify Visa of the settlement.

ID#: 171009-171009-0001537



1024                                               VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1062 of 1319
                                                PageID #: 4255
                                     Visa International Operating Regulations




Filing IRF Compliance

If the opposing Member does not accept financial responsibility for the disputed Transactions and
an agreeable settlement cannot be reached, the filing Member may proceed to file Interchange
Reimbursement Fee Compliance. Before filing for Compliance, the filing Member must verify that no
credit has been received from the opposing Member.

ID#: 171009-171009-0001538



IRF Compliance Filing Reasons

A Member may file Interchange Reimbursement Fee (IRF) Compliance for a violation of the Visa
International Operating Regulations or regional or domestic IRF guide which results in an incorrect
IRF assessment, if the Member's attempt to settle the dispute with the opposing Member via the pre-
Compliance process is unsuccessful.

ID#: 171009-171009-0001539



IRF Compliance Filing Documentation

The filing Member must submit to Visa all necessary documentation approved by the Center manager
or an authorized officer.

ID#: 171009-171009-0001540



Additional Documentation Submission for IRF Compliance

Unless specifically requested by Visa, no additional documents will be accepted subsequent to the
initial Interchange Reimbursement Fee Compliance filing.

ID#: 171009-171009-0001541



IRF Compliance Questionnaire Submission Time Limit

The Member must submit a completed Summary of Compliance Questionnaire (Exhibit 2K) through
Visa Resolve Online within 60 calendar days of filing the Pre-Compliance Questionnaire (Exhibit 2O),
as specified in Initiating IRF Pre-Compliance.

ID#: 171009-171009-0001542




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                                                   PageID #: 4256
                                    Visa International Operating Regulations




IRF Compliance Time Limit Calculation

The calendar day period begins on the day following the date on which the Member submits the Pre-
Compliance Questionnaire (Exhibit 2O).

ID#: 171009-171009-0001543



IRF Compliance Documentation Delivery Requirements

Any additional documentation required to support an Interchange Reimbursement Fee Compliance
filing must be transmitted through Visa Resolve Online:

• On the same day as the case filing
• As specified in the Visa International Operating Regulations or Regional Operating Regulations and
  in the appropriate VisaNet manuals

ID#: 171009-171009-0001544



IRF Compliance Review Fee

For Interchange Reimbursement Fee Compliance requests submitted to Visa, the filing Member will
be assessed a review fee, as specified in the applicable regional fee guide.

ID#: 111011-130111-0001545



IRF Compliance Withdrawal

If either the opposing Member or the filing Member withdraw the Interchange Reimbursement Fee
Compliance case prior to a decision by Visa, as specified in IRF Compliance Filing Withdrawal, Visa
will reimburse the review fee to the filing Member.

ID#: 171009-171009-0001546



IRF Compliance Review Fee Forfeiture

The filing Member forfeits the review fee if Visa determines that the case has no merit.

ID#: 171009-171009-0001547



Invalid Requests for IRF Compliance

If Visa determines that a request is invalid, it may retain the review fee in certain circumstances, such
as:

• Documentation is insufficient or illegible


1026                                               VISA PUBLIC                             18 October 2011
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                                                PageID #: 4257
                                     Visa International Operating Regulations


• Required documentation was not provided to the opposing Member
• Authorization of the Member's Center manager is missing
• Requesting Member did not file the request within the required time limits
• Requesting Member did not use available remedies provided for in the Visa International Operating
  Regulations
• Submitted documentation does not include evidence of a valid pre-Compliance attempt

ID#: 171009-171009-0001548



IRF Compliance Filing Withdrawal

A filing Member or the opposing Member may withdraw the request for Interchange Reimbursement
Fee Compliance. The withdrawal request must be submitted to Visa through Visa Resolve Online no
later than 30 days from the date of submission. Visa retains the screening fee.

ID#: 171009-171009-0001549



IRF Compliance Claim Investigation

Upon receipt of the supporting documentation, Visa investigates the claim and communicates its
decision to both Members in writing.

ID#: 171009-171009-0001550



Using Available Information at Time of Transaction for IRF Compliance

Visa uses all the information available to it at the time of reaching its decision and refers to the Visa
International Operating Regulations in effect on the date of the Transactions.

ID#: 171009-171009-0001551



Visa Rights for IRF Compliance

Visa reserves the right to rule in favor of the filing Member if Visa determines that the claim has merit
and the opposing Member does not respond.

ID#: 171009-171009-0001552



Assignment of Liability for IRF Compliance

If Visa determines that a request is valid, it may allocate financial liability as specified in Financial
Liability for IRF Compliance Decision.

ID#: 171009-171009-0001553




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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15      Page: 1065 of 1319
                                                   PageID #: 4258
                                    Visa International Operating Regulations




Use of VIP System Records for IRF Compliance

When an Issuer's and Acquirer's records differ, V.I.P. System records will prevail.

ID#: 171009-171009-0001554



IRF Compliance Decision


IRF Compliance Decision Written Notification

Visa informs both Members of its decision in writing.

ID#: 171009-171009-0001555



Finality of IRF Compliance Decision

The decision by Visa is final and not subject to any challenge, except for the right of appeal permitted
under IRF Compliance Appeal Documentation Requirements.

ID#: 171009-171009-0001556



Financial Liability for IRF Compliance Decision

If Visa determines that the opposing Member is responsible, the opposing Member is financially liable
for all of the following:

• Interchange Reimbursement Fee Compliance Screening fee
• Interchange Reimbursement Fee Compliance review fee
• The amount of the claim, or a portion thereof

ID#: 171009-171009-0001557



IRF Compliance Decision Against Filing Member

If the opposing Member is not found responsible, the filing Member:

• Forfeits the entire claim amount
• Forfeits the Interchange Reimbursement Fee Compliance Screening fee and the review fee
• Is prohibited from resubmitting any Transactions from that claim through another Interchange
  Reimbursement Fee Compliance process

ID#: 171009-171009-0001558




1028                                               VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1066 of 1319
                                                PageID #: 4259
                                     Visa International Operating Regulations




Settled Claim Collection for IRF Compliance

Visa collects the settled claim amount from the responsible Member through VisaNet and disburses it
to the prevailing Member.

ID#: 171009-171009-0001559



IRF Compliance Fee Collection

If the opposing Member is responsible, Visa collects the Interchange Reimbursement Fee
Compliance Screening fee and the review fee to reimburse the filing Member, in addition to the claim
amount disbursed through VisaNet.

ID#: 171009-171009-0001560



Currency Conversion for IRF Compliance Cases

If the Transactions involve currency conversion, Visa will use the currency exchange rate in effect on
the day of the Interchange Reimbursement Fee Compliance filing.

ID#: 171009-171009-0001561



Claims and Liability for Currency Conversion Differences for IRF Compliance Cases

Visa is not liable for any Claims or Liabilities arising from any losses incurred by the filing or opposing
Member as a result of differences in the exchange rate between the Transaction Processing Date and
the date the claim is settled.

ID#: 171009-171009-0001562



IRF Compliance Appeal


IRF Compliance Appeal Filing Requirements

Any appeal by the adversely affected Member must be filed through Visa Resolve Online within 45
calendar days of the decision Notification date.

ID#: 171009-171009-0001563




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                                                   PageID #: 4260
                                    Visa International Operating Regulations




IRF Compliance Appeal Documentation Requirements

The appealing Member must submit with the appeal any new or additional information necessary to
substantiate its request for an appeal.

ID#: 171009-171009-0001564



IRF Compliance Appeal Fee

Visa will collect from the Member an appeal fee as specified in the applicable regional fee guide.

ID#: 111011-171009-0001565



Finality of IRF Compliance Appeal Decision

Visa bases its decision on the new information provided by the requesting Member. Each Member
may submit arguments supporting its position. All decisions are final and not subject to any challenge.

ID#: 171009-171009-0001566



Visa Right to Decline IRF Compliance Appeal Request

Visa may decline an appeal if the new information is insufficient to support a change to the initial Visa
decision. If the appeal is not accepted, Visa retains the appeal fee.

ID#: 171009-171009-0001567




Intercompany Interchange Reimbursement Fee
Compliance

Intercompany Interchange Reimbursement Fee Compliance Process


Intercompany Interchange Reimbursement Fee Compliance Process Introduction

Effective 13 January 2011, the Intercompany Interchange Reimbursement Fee Compliance process
allows a Visa Inc. or a Visa Europe Member to request Compliance against each other for respective
violations of the Visa International Operating Regulations or Visa Europe Operating Regulations that
result in the application of an incorrect Interchange Reimbursement Fee.




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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1068 of 1319
                                                PageID #: 4261
                                     Visa International Operating Regulations



Effective 13 January 2011, the Intercompany Interchange Reimbursement Fee Compliance process
does not replace either Visa Europe’s existing Interchange Reimbursement Fee Adjustment Policy
for settling disputes between Visa Europe Members or Visa Inc.’s Interchange Compliance Process
for settling disputes between Visa Inc. Members. The Intercompany Interchange Reimbursement Fee
Compliance Process applies only to disputed Transactions between a Visa Inc. and a Visa Europe
Member.

The Intercompany Interchange Reimbursement Fee Compliance process is not available for errors
caused by either Visa Inc. or Visa Europe. A Member must obtain Visa approval prior to initiating
Intercompany Interchange Reimbursement Fee Compliance process.

ID#: 080411-130111-0026213




18 October 2011                                     VISA PUBLIC                                  1031
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   Case: 4:13-cv-02226-JAR                 Doc. #: 85-5 Filed: 02/12/15   Page: 1069 of 1319
                                               PageID #: 4262




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1032                                          VISA PUBLIC                      18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1070 of 1319
                                                PageID #: 4263
                                     Visa International Operating Regulations




Chapter 10: Pricing, Fees and Interchange

Core Principle 10.1

Fees for Access and Use of Visa Products and Services


Establishing Fees for Access

Visa system participants pay fees to Visa for access to and use of Visa products and services.
Visa establishes certain fees between issuers and acquirers for specific participant actions such as
rewards paid to store clerks for card recovery or the fulfillment of sales receipt copies.

ID#: 010410-010410-0007825




Core Principle 10.2

Participants Pay or Receive Interchange for Transactions


Paying or Receiving Interchange

Participating acquirers and issuers pay or receive interchange every time a Visa product is used. For
example, acquirers pay interchange to issuers for purchase transactions and issuers pay interchange
to acquirers for cash transactions and credit vouchers. In the case of a credit or a chargeback,
interchange flows in reverse.

ID#: 010410-010410-0007826



What is Interchange?

Interchange reimbursement fees help to make electronic payments possible by enabling Visa to
expand card holding and use, increasing the places consumers can use their cards and providing a
financial incentive for all parties to pursue system-wide improvements, such as rewards, innovation
and security. An interchange reimbursement fee is a default transfer price between acquirers
and issuers within the Visa system. Merchants pay what is known as a merchant discount fee or
merchant service fee negotiated with their acquirer which may take into account the interchange
fee, processing costs, fees for terminal rental, customer services, and other financial services. The
merchant discount fee or merchant service fee is negotiated individually with the merchant's acquirer;
each acquirer sets its fees independently, in competition with other acquirers, competing payment
systems, and other forms of payment.




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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15    Page: 1071 of 1319
                                                   PageID #: 4264
                                    Visa International Operating Regulations



Interchange is consistently monitored and adjusted - sometimes increased and sometimes decreased
- in order to ensure that the economics present a competitive value proposition for all parties.
Interchange reimbursement fees must encourage card holding and use, as well as expansion in
the number and types of businesses that accept cards. If rates are too high, retailers won't accept
cards; if rates are too low, issuers won't issue cards. Visa may establish different interchange
reimbursement fees in order to promote a variety of system objectives, such as enhancing the value
proposition for Visa products, providing incentives to grow merchant acceptance and usage, and
reinforcing strong system security and transaction authorization practices.

ID#: 010410-010410-0024115




Core Principle 10.3

Visa Determines Interchange Reimbursement Fees


Visa Determines and Publishes IRF

Interchange reimbursement fees are determined by Visa and provided on Visa’s published fee
schedule, or may be customized where members have set their own financial terms for the
interchange of a Visa transaction or Visa has entered into business agreements to promote
acceptance and card usage.

ID#: 010410-080210-0024122




Global Interchange

Interchange Overview


Interchange Reimbursement Fee Rate Sheets and Guides

The Interchange Reimbursement Fee (IRF) is based on several factors. These primarily include Card
type, Merchant type, and Transaction type. Interchange Reimbursement Fee rates are available to
Members through regional online resources or Visa account executives. Interchange requirements
are contained in the Visa International Operating Regulations and the applicable domestic or regional
Interchange Qualification Guide. In addition, there are many other types of Visa transactions, such as
Original Credits, ATM inquiries, etc., that are detailed in the Operating Regulations.

ID#: 010410-010410-0006577




1034                                               VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1072 of 1319
                                                PageID #: 4265
                                     Visa International Operating Regulations




General Interchange Requirements


Original Credit Interchange Reimbursement Fee

Effective 9 December 2010, a Member that originates or receives an Original Credit Transaction,
including a Money Transfer Original Credit Transaction, is subject to, or eligible for, the Original Credit
Interchange Reimbursement Fee if the Original Credit Transaction is processed in accordance with
the requirements specified in the following, as applicable:

• Visa International Operating Regulations
• Original Credits Member Requirements
• Applicable regional Interchange rate sheet
• U.S. Interchange Reimbursement Fee Rate Qualification Guide

ID#: 080411-091210-0026075



Fast Funds Money Transfer Original Credit Interchange Reimbursement Fee

Effective 9 December 2010, a Recipient Member that participates in Fast Funds service for an
incoming Money Transfer Original Credit Transaction qualifies for the Visa Money Transfer Fast
Funds Interchange Reimbursement Fee if the Transaction meets the qualification requirements
specified in these Operating Regulations and the following, as applicable:

• Visa Money Transfer (VMT) Global Implementation Guide
• Applicable regional Interchange rate sheet
• U.S. Interchange Reimbursement Fee Rate Qualification Guide

ID#: 050411-091210-0026076




Interchange Reimbursement Fees - U.S. Region

General Interchange Reimbursement Fee Requirements - U.S. Region


Interchange Reimbursement Fee Requirements - U.S. Region

In the U.S. Region, a Transaction must meet the qualifications defined in the Visa International
Operating Regulations and the U.S. Interchange Reimbursement Fee Rate Qualification Guide to
qualify for a particular Interchange Reimbursement Fee.

ID#: 081010-010410-0006611




18 October 2011                                     VISA PUBLIC                                       1035
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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15    Page: 1073 of 1319
                                                   PageID #: 4266
                                    Visa International Operating Regulations




Cash Disbursement - U.S. Region

In the U.S. Region, for any Cash Disbursement, the Issuer pays to the Acquirer a Cash Disbursement
Interchange Reimbursement Fee. This Acquirer is the Member making the Cash Disbursement.

ID#: 080411-010410-0006494



National Merchant Interchange Reimbursement Fee - U.S. Region

A national Merchant entering into a national account agreement may, with the prior approval of Visa,
authorize and send Transaction Receipts directly to Issuers through VisaNet at a reimbursement fee
to be determined by Visa.

ID#: 010410-010410-0006526



Inappropriate Interchange Reimbursement Fees - U.S. Region

A U.S. Acquirer must request the correct Interchange Reimbursement Fee when submitting
Transactions into Interchange. Fines will be assessed to any Acquirer who requests an inappropriate
Interchange Reimbursement Fee, per Merchant Outlet, as specified in "Fine for Inappropriate
Interchange Reimbursement Fee - U.S. Region."

ID#: 081010-010410-0007874



Cash-Back Interchange Reimbursement Fee - U.S. Region (Updated)

Effective through 30 June 2015, in the U.S. Region, the Interchange Reimbursement Fee for a Visa
Check Card II Transaction involving Cash-Back is calculated using the purchase amount only. The
Cash-Back portion of the Transaction is not subject to Interchange Reimbursement Fees.

ID#: 111011-010410-0005677



ReadyLink Interchange Reimbursement Fee - U.S. Region

In the U.S. Region, the Visa ReadyLink Interchange Reimbursement Fee applies to load Transactions
that are authorized and settled through VisaNet. The Visa Prepaid Card Issuer pays an Interchange
Reimbursement Fee to the Acquirer of the Visa ReadyLink Transaction, as specified in Visa U.S.A.
Interchange Reimbursement Fees.

ID#: 050411-010410-0004112




1036                                               VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1074 of 1319
                                                PageID #: 4267
                                     Visa International Operating Regulations




Standard and Electronic Interchange Reimbursement Fees - U.S. Region


Standard Interchange Reimbursement Fee Eligibility - U.S. Region

In the U.S. Region, a Transaction that does not qualify for any other Interchange Reimbursement Fee
is cleared at the Standard Interchange Reimbursement Fee.

A Transaction effected by the following Merchants is eligible only for the Standard Interchange
Reimbursement Fee:

• Effective through 31 May 2011, High-Risk Telemarketing Merchant
• High-Risk Merchant
• Effective 1 June 2011, High-Brand Risk Merchant assigned a Merchant Category Code of either
  5962, 5966 or 5967

Non-Secure Electronic Commerce Transactions are eligible only for the Standard Interchange
Reimbursement Fee.

A Transaction using any of the following is eligible only for the Standard Interchange Reimbursement
Fee:

• V.I.P. System emergency Authorization procedures
• "Code 10" Authorization procedures
• "Referral" Authorization procedures

ID#: 111011-010410-0006612



Electronic Interchange Reimbursement Fee - General Qualification - U.S. Region

In the U.S. Region, Electronic Interchange Reimbursement Fee qualifications are:

• Transaction must be entered into VisaNet, as specified in the appropriate VisaNet manuals
• Transaction must be authorized
• Authorization Request contains the information specified in "Required Data for Authorization
  Requests and Responses" (Exhibit OO)
• Clearing Record contains all data elements specified in "VisaNet Clearing Message Content
  Standards" (Exhibit NN) and the appropriate VisaNet manual
• Transaction processing time limits meet requirements specified in "Interchange Reimbursement
  Fee Qualification Processing Holidays - U.S. Region."




18 October 2011                                     VISA PUBLIC                                   1037
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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                Page: 1075 of 1319
                                                   PageID #: 4268
                                    Visa International Operating Regulations



Visa will process Transactions that do not meet the requirements for the Electronic Interchange
Reimbursement Fee rate specified in this section under the Standard Interchange Reimbursement
Fee rate.

ID#: 081010-010410-0008361



Interchange Reimbursement Fee Qualification Processing Holidays - U.S. Region

To qualify for Interchange Reimbursement Fees in the U.S. Region, the Central Processing Date of
the Transaction must not exceed the number of calendar days from the Transaction Date specified
in the "Processing Time Limits for Custom Payment Services Interchange Reimbursement Fee
Transactions - U.S. Region" table or the "Processing Days for Transactions Qualifying for the
Electronic Interchange Reimbursement Fee - U.S. Region" table.

When calculating days, exclude the Transaction Date, Central Processing Date, Sundays, and the
following U.S. holidays:

• New Year's Day
• Martin Luther King, Jr. Day
• Presidents' Day (Observed)
• Good Friday
• Memorial Day (Observed)
• Independence Day
• Labor Day
• Columbus Day (Observed)
• Veterans Day
• Thanksgiving Day
• Christmas Day

The following table specifies the last qualifying central processing day for a given Transaction day.


                            Processing Days for Transactions Qualifying for the
                          Electronic Interchange Reimbursement Fee - U.S. Region

                         Transaction Day                                       Central Processing Day

                               Sunday                                                Thursday

                              Monday                                                   Friday

                              Tuesday                                                 Saturday

                            Wednesday                                                 Monday

                             Thursday                                                 Tuesday

                               Friday                                               Wednesday


1038                                               VISA PUBLIC                                    18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15         Page: 1076 of 1319
                                                PageID #: 4269
                                     Visa International Operating Regulations


                               Saturday                                         Thursday

ID#: 010410-010410-0008986



Non-Member-Owned Terminal - U.S. Region

In the U.S. Region, Transactions captured by a Point-of-Transaction Terminal owned or controlled
by a non-Member VisaNet Processor or credit or charge card issuer (including their subsidiaries and
affiliates) qualify only for the Standard Interchange Reimbursement Fee if either:

• The entity directly or indirectly discriminates against Visa or any of its Members in availability or
  pricing of services
• Visa determines that the entity unfairly prevents Visa or its Members from competing with that
  entity

ID#: 010410-010410-0006651



Competitor-Owned Terminal - U.S. Region

In the U.S. Region, Transactions captured by a terminal that is owned or controlled by an issuer of
a credit or charge card deemed competitive by Visa are eligible only for the Standard Interchange
Reimbursement Fee, unless the U.S. Acquirer:

• Has a Merchant Agreement with the U.S. Merchant
• Maintains full responsibility and control over the U.S. Merchant

ID#: 010410-010410-0006652



Electronic Interchange Reimbursement Fee Status Check - U.S. Region

A Transaction originating at a U.S. Prestigious Property Merchant that used the Status Check
Procedure may qualify for the Electronic Interchange Reimbursement Fee.

ID#: 010410-010410-0006637




Custom Payment Services (CPS) - U.S. Region

Custom Payment Services General - U.S. Region


Custom Payment Services Overview - U.S. Region

In the U.S. Region, Visa offers Custom Payment Services, as defined in the U.S. Regional Operating
Regulations, for a variety of segments. These services include:

• CPS/Account Funding


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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15    Page: 1077 of 1319
                                                   PageID #: 4270
                                    Visa International Operating Regulations


• CPS/Automated Fuel Dispenser
• CPS/Card Not Present
• CPS/e-Commerce Basic
• CPS/e-Commerce Preferred Hotel and Car Rental
• CPS/e-Commerce Preferred Passenger Transport
• CPS/e-Commerce Preferred Retail
• CPS/Hotel and Car Rental Card Not Present
• CPS/Hotel and Car Rental Card Present
• CPS/Passenger Transport
• CPS/Restaurant
• CPS/Retail
• CPS/Retail 2
• CPS/Retail Key-Entry
• CPS/Service Station
• CPS/Small Ticket
• CPS/Supermarket

For additional details, see the U.S. Interchange Reimbursement Fee Rate Qualification Guide.

ID#: 081010-010100-0025805



Basic Custom Payment Services (CPS) Requirements - U.S. Region

In the U.S. Region, a Custom Payment Services (CPS) Transaction must:

• Comply with:
  – Visa International Operating Regulations
  – Appropriate VisaNet manuals
  – "VisaNet Clearing Message Content Standards" (Exhibit NN)
  – "Required Data for Authorization Requests and Responses" (Exhibit OO)
• Be authorized through the V.I.P. System
• Be submitted through VisaNet, as specified in the appropriate VisaNet manuals
• Meet qualification criteria specified in the U.S. Interchange Reimbursement Fee Rate Qualification
  Guide

CPS Transactions submitted into VisaNet qualify individually as Custom Payment Service (CPS)
Transactions.

ID#: 081010-010410-0006613




1040                                               VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15              Page: 1078 of 1319
                                                PageID #: 4271
                                     Visa International Operating Regulations




Processing Time Limits for Custom Payment Services (CPS) Programs - U.S. Region

In the U.S. Region, to qualify for the Custom Payment Services (CPS) programs Interchange
Reimbursement Fee, the Central Processing Date of the CPS Transaction must comply with the
following table.


                            Processing Time Limits for Custom Payment Services
                         Interchange Reimbursement Fee Transactions- U.S. Region

                                                   Central Processing Date            Exclude The Following
              Transaction Type
                                                   Must Be No More Than:              When Counting Days:

     CPS/Retail                                2 calendar days from the         Transaction Date, Central
     CPS/Retail Key-Entry                      Transaction Date                 Processing Date, Sundays, and
                                                                                the U.S. holidays specified in
     CPS/Restaurant                                                             "Interchange Reimbursement Fee
     CPS/Service Station                                                        Qualification Processing Holidays
                                                                                - U.S. Region"
     CPS/Hotel and Car Rental Card
     Not Present
     CPS/Hotel and Car Rental Card
     Present
     CPS/Card Not Present
     CPS/Automated Fuel Dispenser
     CPS/Account Funding
     CPS/e-Commerce Basic
     CPS/e-Commerce Preferred
     Retail
     CPS/e-Commerce Preferred
     Hotel and Car Rental
     CPS/Small Ticket
     CPS/Supermarket

     CPS/Automated Fuel Dispenser              Completion Message with          N/A
     processed as Real-Time Clearing           the final Transaction amount
                                               must be sent within X of the
                                               preauthorization

     CPS/Retail 2                              3 calendar days from the         Transaction Date, Central
                                               Transaction Date                 Processing Date, Sundays, and
                                                                                the U.S. holidays specified in
                                                                                "Interchange Reimbursement Fee
                                                                                Qualification Processing Holidays
                                                                                - U.S. Region"




18 October 2011
1041                                                VISA PUBLIC
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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15             Page: 1079 of 1319
                                                   PageID #: 4272
                                    Visa International Operating Regulations


                                                  Central Processing Date          Exclude The Following
             Transaction Type
                                                  Must Be No More Than:            When Counting Days:

    CPS/Passenger Transport                   8 calendar days from the         Transaction Date, Central
    CPS/e-Commerce Preferred                  Transaction Date                 Processing Date, Sundays, and
    Passenger Transport                                                        the U.S. holidays specified in
                                                                               "Interchange Reimbursement Fee
                                                                               Qualification Processing Holidays
                                                                               - U.S. Region"

ID#: 111011-010410-0006656



CPS Ineligible Transactions - U.S. Region (Updated)

The following Transactions are not eligible for Custom Payment Services (CPS) Interchange
Reimbursement Fees:

• Cash Disbursements
• Quasi-Cash Transactions
• Effective through 31 May 2011, Transactions effected by High-Risk Telemarketing Merchants
• Transactions effected by High-Risk Merchants
• Effective 1 June 2011, Transactions performed by High-Brand Risk Merchants assigned a
  Merchant Category Code of 5962, 5966 or 5967
• Transactions using any of the following:
  – V.I.P. System emergency Authorization procedures
  – "Code 10" Authorization procedures
  – "Referral" Authorization procedures

ID#: 111011-080210-0008491



CPS Processing Days - U.S. Region

The following table specifies the last qualifying central processing day for a given Custom Payment
Services (CPS) Transaction day in the U.S. Region:




1042
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                Page: 1080 of 1319
                                                PageID #: 4273
                                     Visa International Operating Regulations



                Processing Days: Custom Payment Services Transactions - U.S. Region

                                                                     Transaction Type

                                            CPS/Retail                 CPS/Retail 2           CPS/Passenger
                                       CPS/Retail Key-Entry                                      Transport
                                          CPS/Restaurant                                     CPS/e-Commerce
                                        CPS/Service Station                                 Preferred Passenger
                                        CPS/Hotel and Car                                        Transport
                                      Rental Card Not Present
                                        CPS/Hotel and Car
                                        Rental Card Present
                                       CPS/Card Not Present
                                          CPS/Automated
                                          Fuel Dispenser
                                       CPS/Account Funding
                                      CPS/e-Commerce Basic
                                         CPS/e-Commerce
                                          Preferred Retail
                                         CPS/e-Commerce
                                          Preferred Hotel
                                          and Car Rental
                                         CPS/Small Ticket
                                         CPS/Supermarket

         Transaction Day                                 Last Qualifying Central Processing Day

               Sunday                       Wednesday                    Thursday           Second Wednesday

               Monday                         Thursday                     Friday            Second Thursday

              Tuesday                          Friday                    Saturday             Second Friday

             Wednesday                        Saturday                    Monday             Second Saturday

              Thursday                        Monday                     Tuesday              Second Monday

                Friday                        Tuesday                   Wednesday            Second Tuesday

              Saturday                      Wednesday                    Thursday           Second Wednesday

ID#: 081010-080210-0006659



CPS Transaction Amount - Authorization and Clearing - U.S. Region

In the U.S. Region, the cleared Custom Payment Services (CPS) Transaction amount must equal
the authorized amount for CPS/Retail, CPS/Supermarket, and CPS/Account Funding Transactions
completed with a Visa Check Card, excluding Transactions with the following Merchant Category
Codes:

• MCC 4121, "Taxicabs and Limousines"
• MCC 5813, "Bars and Taverns"
• MCC 7230, "Beauty and Barber Shops"
• MCC 7298, "Health and Beauty Spas"


18 October 2011
1043                                                VISA PUBLIC
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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                      Page: 1081 of 1319
                                                   PageID #: 4274
                                    Visa International Operating Regulations



The Transaction amount transmitted in the Authorization Request and in the Clearing Record must be
in the same currency.

ID#: 081010-010410-0008488



CPS Clearing Record Requirements - U.S. Region

In the U.S. Region, Visa allows only one Clearing Record message per Custom Payment Services
(CPS) Transaction, except as specified below.

For a CPS/Passenger Transport Transaction or CPS/e-Commerce Preferred Passenger Transport
Transaction, Visa allows one or more Clearing Record messages per Transaction.

ID#: 081010-010410-0008495



CPS Electronic Commerce Transactions - U.S. Region

The following table details Custom Payment Services (CPS) program availability and qualification
requirements applicable to Electronic Commerce Transactions.


                       Electronic Commerce Transaction Qualification - U.S. Region

                  Custom Payment Services                                                Qualification

    CPS/e-Commerce Basic                                         Available for retail Non-Authenticated Security
                                                                 Transactions where the Merchant did not attempt
                                                                 Cardholder authentication using 3-D Secure.

    CPS/e-Commerce Preferred Retail                              Available for retail:
                                                                 • Secure Electronic Commerce Transactions that
                                                                   comply with the 3-D Secure Specification or
                                                                 • Non-Authenticated Security Transactions
                                                                   where the Merchant attempted Cardholder
                                                                   authentication using 3-D Secure

    CPS/e-Commerce Preferred Hotel and Car Rental                Available for Electronic Commerce Transactions
                                                                 originating from a hotel, cruise line, or car rental
                                                                 Merchant that are:
                                                                 • Secure Electronic Commerce Transactions that
                                                                   comply with the 3-D Secure Specification or
                                                                 • Non-Authenticated Security Transactions
                                                                   where the Merchant attempted Cardholder
                                                                   authentication using 3-D Secure




1044
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                  Page: 1082 of 1319
                                                PageID #: 4275
                                     Visa International Operating Regulations


     CPS/e-Commerce Preferred Passenger Transport                  Available for Electronic Commerce Transactions
                                                                   originating from Airline or passenger railway
                                                                   Merchants, or their agents, and that are:
                                                                   • Secure Electronic Commerce Transactions that
                                                                     comply with the 3-D Secure Specification or
                                                                   • Non-Authenticated Security Transactions
                                                                     where the Merchant attempted Cardholder
                                                                     authentication using 3-D Secure

     CPS/Hotel and Car Rental Card Not Present                     Available for Electronic Commerce Transactions that
                                                                   originate from a Hotel, Cruise Line, or Car Rental
                                                                   Company:
                                                                   • That are Non-Authenticated Security
                                                                     Transactions and
                                                                   • Where the Merchant did not attempt Cardholder
                                                                     authentication using 3-D Secure

     CPS/Passenger Transport                                       Available for Electronic Commerce Transactions
                                                                   originating from an Airline or passenger railway
                                                                   Merchant, or their agent:
                                                                   • That are Non-Authenticated Security
                                                                     Transactions and
                                                                   • Where the Merchant did not attempt Cardholder
                                                                     authentication using 3-D Secure

ID#: 010410-010410-0006626



CPS Authorization and Clearing Requirements - U.S. Region (Updated)

In the U.S. Region, an Authorization Request for a Custom Payment Services (CPS) Transaction
must meet the requirements specified in the table below and all requirements in the U.S. Interchange
Reimbursement Fee Rate Qualification Guide for the CPS program:


                                Authorization Request Requirements for Custom
                                 Payment Services Transactions - U.S. Region

                                                                         POS Entry       Visa or Visa
                                        Point-of-        Reads/
                                                                         Mode Code         Electron         Signature
     Transaction Type                  Transaction      Transmits
                                                                 5
                                                                          is 05, 07,       Card is        is Obtained
                                                                                                                      7
                                        Terminal        Full Data                 5
                                                                           90, 91          Present

     CPS/Supermarket                        X               X
                                                              1                 X             X
                                                                                                2
                                                                                                               X
                                                                                                                2



     CPS/Retail                             X               X
                                                              1                 X             X
                                                                                                2
                                                                                                               X
                                                                                                                2



     CPS/Retail Key-Entry                  X
                                            1, 3                                               X               X

     CPS/Retail 2                           X
                                               4                                               X               X

     CPS/Service Station                    X               X
                                                              1
                                                                                X             X
                                                                                                2
                                                                                                               X
                                                                                                                2




18 October 2011
1045                                                 VISA PUBLIC
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   Case: 4:13-cv-02226-JAR                      Doc. #: 85-5 Filed: 02/12/15                 Page: 1083 of 1319
                                                    PageID #: 4276
                                    Visa International Operating Regulations


                                                                       POS Entry        Visa or Visa
                                       Point-of-        Reads/
                                                                       Mode Code          Electron         Signature
    Transaction Type                  Transaction      Transmits
                                                                5
                                                                        is 05, 07,        Card is        is Obtained
                                                                                                                     7
                                       Terminal        Full Data                5
                                                                         90, 91           Present

    CPS/Restaurant                         X               X
                                                             1
                                                                               X             X
                                                                                               2
                                                                                                              X
                                                                                                                2



    CPS/Hotel and Car                              An Acquirer must acknowledge in the Authorization
    Rental Card Not Present                      Request that it may forfeit certain Representment rights.

    CPS/Hotel and Car                                      X
                                                             1
                                                                               X
                                                                                6
                                           X                                                  X                X
    Rental Card Present

    CPS/Passenger                                   An Acquirer may perform an Address Verification
    Transport                                    Service inquiry at the time of the Authorization Request.

    CPS/Card Not Present                  An Acquirer must perform an Address Verification Service inquiry at the
                                        time of the Authorization Request for each Transaction, except as specified
                                           in the U.S. Interchange Reimbursement Fee Rate Qualification Guide.

    CPS/Automated Fuel                     X                X                  X              X
    Dispenser

    CPS/Account Funding               An Acquirer must perform an Address Verification Service and Card Verification
                                          Value 2 inquiry at the time of the Authorization Request, as specified in
                                      "Additional Authorization Requirements - CPS/Account Funding - U.S. Region."

    CPS/e-Commerce Basic                   An Acquirer must perform an Address Verification Service inquiry at
                                          the time of the Authorization Request for each Transaction, except as
                                        specified in "CPS/e-Commerce Basic Address Verification - U.S. Region."

    CPS/e-Commerce                       An Acquirer must meet the Authorization requirements, as specified in
    Preferred Retail                    "CPS/e-Commerce Preferred Retail - U.S. Region," and must perform an
                                       Address Verification Service inquiry at the time of the Authorization Request.

    CPS/e-Commerce                        An Acquirer must meet the Authorization requirements, as specified in
    Preferred Hotel and Car            "Additional Authorization Requirements - CPS/e-Commerce Preferred Hotel,
    Rental                              Car Rental, and Passenger Transport - U.S. Region," and may perform an
                                       Address Verification Service inquiry at the time of the Authorization Request.

    CPS/e-Commerce                        An Acquirer must meet the Authorization requirements, as specified in
    Preferred Passenger                "Additional Authorization Requirements - CPS/e-Commerce Preferred Hotel,
    Transport                           Car Rental, and Passenger Transport - U.S. Region," and may perform an
                                       Address Verification Service inquiry at the time of the Authorization Request.

    CPS/Small Ticket                       X
                                            2               X                  X              X




1046
18 October 2011                                     VISA PUBLIC
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                 Page: 1084 of 1319
                                                PageID #: 4277
                                     Visa International Operating Regulations


                                                                        POS Entry       Visa or Visa
                                        Point-of-        Reads/
                                                                        Mode Code         Electron         Signature
     Transaction Type                  Transaction      Transmits
                                                                 5
                                                                         is 05, 07,       Card is        is Obtained
                                                                                                                     7
                                        Terminal        Full Data                5
                                                                          90, 91          Present

     1.    The Authorization Request must originate at an attended Point-of-Transaction Terminal.
     2.    Effective through 14 October 2011, Transaction must be completed in either a Face-to-Face
           Environment or at a Self-Service Terminal or an Automated Dispensing Machine. Effective 15 October
           2011, Transaction must be authorized and completed in either a Face-to-Face Environment or at an
           Unattended Cardholder-Activated Terminal.
     3.    An Acquirer must perform an Address Verification Service Inquiry at the time of the Authorization
           Request and receive a “full match,” “unsupported,” or “retry” response to a “ZIP code only match”
           request.
     4.    Transactions for which the Card is not present and signature is not obtained are eligible for CPS/Retail
           2, as specified in "CPS/Retail 2 Merchant Category Codes - U.S. Region"
     5.    Full unaltered contents of track 1 or track 2 of Magnetic Stripe, Chip, or Contactless Payment chip.
     6.    At least the first Authorization Request.
     7.    Effective through 15 October 2010, Cardholder signature is not required if the Transaction qualifies
           as a No Signature Required Transaction. Effective 16 October 2010, Cardholder signature is not
           required if the Transaction qualifies as a Visa Easy Payment Service Transaction.

ID#: 111011-010410-0006633



CPS Authorization Code Requirements - U.S. Region

A U.S. Acquirer must obtain an Authorization Code for each Custom Payment Services
(CPS) Transaction, as specified in the table below:


                        Custom Payment Services Authorization Code Requirements

                  Transaction Type                       Authorization Code Requirements for Each Transaction

     CPS/Retail                                        Exactly one, obtained on the Transaction Date

     CPS/Retail Key-Entry                              Exactly one, obtained on the Transaction Date

     CPS/Retail 2                                      Exactly one, obtained on the Transaction Date

     CPS/Restaurant                                    Exactly one, obtained on the Transaction Date

     CPS/Service Station                               Exactly one, obtained on the Transaction Date

     CPS/Hotel and Car Rental Card Not                 At least one. The Acquirer may obtain multiple Authorization
     Present                                           Codes for a Transaction.

     CPS/Hotel and Car Rental Card Present             At least one. The Acquirer may obtain multiple Authorization
                                                       Codes for a Transaction.

     CPS/Passenger Transport                           Exactly one

     CPS/Card Not Present                              Exactly one




18 October 2011
1047                                                 VISA PUBLIC
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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                 Page: 1085 of 1319
                                                   PageID #: 4278
                                    Visa International Operating Regulations


                 Transaction Type                       Authorization Code Requirements for Each Transaction

    CPS/Automated Fuel Dispenser                     A Status Check (or estimated amount, if using Real-Time
                                                     Clearing) request originated at an Automated Fuel Dispenser

    CPS/Account Funding                              Exactly one, obtained on the Transaction Date

    CPS/e-Commerce Basic                             Exactly one

    CPS/e-Commerce Preferred Retail                  Exactly one

    CPS/e-Commerce Preferred Hotel and               At least one. The Acquirer may obtain multiple Authorization
    Car Rental                                       Codes for a Transaction.

    CPS/e-Commerce Preferred Passenger               Exactly one
    Transport

    CPS/Small Ticket                                 Exactly one, obtained on the Transaction Date

ID#: 081010-010410-0006800



CPS/Automated Fuel Dispenser - U.S. Region


CPS/Automated Fuel Dispenser - Merchant Requirements - U.S. Region

To be eligible to submit CPS/Automated Fuel Dispenser Transactions, a U.S. Merchant must:

• Complete the required business certification prior to submitting Transactions into Interchange
• Maintain a "velocity-check" program to monitor the volume and frequency of Transactions

The Merchant must not exceed the CPS/Automated Fuel Dispenser fraud or Chargeback thresholds
specified by Visa.

ID#: 010410-010410-0008556



Additional Authorization Requirements-CPS/Automated Fuel Dispenser - U.S. Region

A U.S. Merchant must either:

• Perform a Status Check for a CPS/Automated Fuel Dispenser Transaction
• For a Real-Time Clearing Transaction, estimate the Authorization amount based on the Merchant's
  good faith estimate of the final Transaction amount, taking into account among other factors typical
  spending patterns at the Merchant location, not to exceed US $500. The CPS/Automated Fuel
  Dispenser Interchange Reimbursement Fee does not apply if the Completion Message with the
  final Transaction amount is not sent within X of the preauthorization request.

ID#: 111011-010410-0008557




1048                                               VISA PUBLIC                                       18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1086 of 1319
                                                PageID #: 4279
                                     Visa International Operating Regulations




CPS/Automated Fuel Dispenser Transaction Amount - U.S. Region (Updated)

In the U.S. Region, except as set forth below for a CPS/Automated Fuel Dispenser Transaction, the
Transaction amount must not exceed:

• For a Visa Fleet Card, US $150
• For all other Cards, US $75
• For a Real-Time Clearing Transaction, US $500

Effective through 17 June 2011, as specified in the U.S. Interchange Reimbursement Fee Rate
Qualification Guide, only for the purpose of calculating the applicable Interchange Reimbursement
Fee, Automated Fuel Dispenser Transactions of US $75 or less are eligible for the Custom Payment
Services (CPS) Interchange Reimbursement Fee for CPS/Automated Fuel Dispenser Transactions.

Effective 18 June 2011, as specified in the U.S. Interchange Reimbursement Fee Rate Qualification
Guide, only for the purpose of calculating the applicable Interchange Reimbursement Fee in the U.S.
Region, for a CPS/Automated Fuel Dispenser Transaction, the Transaction amount must not exceed:

• For a Real-Time Clearing Transaction, US $500
• For all other Transactions, US $125

ID#: 151011-010410-0006823



CPS/Hotel and Car Rental - Card Not Present and Card Present - U.S. Region


CPS Hotel and Car Rental Chargeback Protection Limit - U.S. Region

For a Lodging Merchant in the U.S. Region, if the Transaction amount is greater than the Chargeback
Protection Limit, the Transaction must:

• Be authorized as specified in "Hotel Estimated Authorization Amount"
• Be no more than 15% greater than the sum of the authorized amounts
• Meet the Authorization Reversal requirements specified below

For a non-Prestigious Property Transaction, the cleared Transaction amount must be within 15%,
plus or minus, of the total estimated amount authorized.

• The Acquirer may submit one full or partial Authorization Reversal to meet the 15% Authorization
  variance requirement.
• The Authorization Reversal may be greater than the amount of the initial Authorization Request.

An Acquirer may use the Status Check Procedure for a Prestigious Property Transaction if the
cleared Transaction amount is less than or equal to the Chargeback Protection Limit.

ID#: 081010-010410-0008569



18 October 2011                                     VISA PUBLIC                                  1049
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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15      Page: 1087 of 1319
                                                   PageID #: 4280
                                    Visa International Operating Regulations




Car Rental Merchant CPS Authorization Requirements - U.S. Region

An Acquirer of a Car Rental Merchant in the U.S. Region may use an estimated Transaction amount
for submitting an Authorization Request. If the final Transaction amount is greater than the authorized
amount, the Transaction must:

• Be authorized as specified in "Car Rental Estimated Authorization Amount"
• Be no more than 15% greater than the sum of the authorized amounts
• Meet the Authorization Reversal requirements specified below

For an estimated Car Rental Merchant Transaction, the cleared Transaction amount must be within
15%, plus or minus, of the total amount authorized.

• The Acquirer may submit one full or partial Authorization Reversal to meet the 15% Authorization
  variance requirement.
• The Authorization Reversal may be greater than the amount of the initial Authorization Request.

ID#: 010410-010410-0008570



CPS/Supermarket - U.S. Region


CPS/Supermarket Qualification - U.S. Region

In the U.S. Region, the CPS/Supermarket Interchange Reimbursement Fee qualification
requirements apply only to those Supermarket Incentive Program Transactions processed as
specified below.

The Transactions must have the following characteristics:

• Completed in a Face-to-Face Environment
• The full contents of track 1 or track 2 of the Magnetic Stripe, unaltered Chip, or unaltered
  Contactless Payment data are read and transmitted
• Merchant is properly assigned Merchant Category Code 5411, "Grocery Stores and Supermarkets"
• Merchant is a non-membership retail store primarily engaged in selling food for home preparation
  and consumption
• Merchant offers a complete line of food merchandise, including self-service groceries, meat,
  produce, and dairy products
• Merchant has monthly sales of perishables (packaged and in-store bakery goods, dairy products,
  delicatessen products, floral items, frozen foods, meat, and produce) representing at least 45% of
  total monthly sales
• Merchant accepts Visa Cards or Visa Electron Cards for the purchase of all goods and services
  sold in the store, at all check-out lanes that accept checks




1050                                               VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1088 of 1319
                                                PageID #: 4281
                                     Visa International Operating Regulations


• Complies with the U.S. Interchange Reimbursement Fee Rate Qualification Guide

ID#: 081010-010410-0008523



CPS/Rewards - U.S. Region


Custom Payment Services - Traditional Rewards Card and Visa Signature Card
Transactions - U.S. Region

In the U.S. Region, a Transaction completed with a Visa Traditional Rewards Card or Visa Signature
Card may qualify for either:

• CPS/Rewards 1 Interchange Reimbursement Fee
• CPS/Rewards 2 Interchange Reimbursement Fee

The CPS/Rewards 1 Interchange Reimbursement Fee is available to Visa Traditional Rewards Card
Transactions that meet the requirements for one of the following Custom Payment Services (CPS)
programs:

• CPS/Retail
• CPS/Supermarket

The CPS/Rewards 2 Interchange Reimbursement Fee is available for Transactions completed with a
Visa Traditional Rewards Card that meet the requirements for one of the following Custom Payment
services (CPS) programs:

• CPS/Card Not Present
• CPS/Retail Key-Entry
• CPS/Hotel and Car Rental Card Present
• CPS/Hotel and Car Rental Card Not Present
• CPS/Passenger Transport
• CPS/Restaurant
• CPS/e-Commerce Basic
• CPS/e-Commerce Preferred Hotel and Car Rental
• CPS/e-Commerce Preferred Passenger Transport

The CPS/Rewards 1 Interchange Reimbursement Fee is available to Visa Signature Card
Transactions that qualify for one of the following Custom Payment Services (CPS) programs or are
completed by a Merchant qualified for the applicable performance threshold program:

• CPS/Retail
• CPS/Retail Performance Threshold I
• CPS/Retail Performance Threshold II



18 October 2011                                     VISA PUBLIC                                  1051
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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15    Page: 1089 of 1319
                                                   PageID #: 4282
                                    Visa International Operating Regulations


• CPS/Retail Performance Threshold III
• CPS/Supermarket
• CPS/Supermarket Performance Threshold I
• CPS/Supermarket Performance Threshold II
• CPS/Supermarket Performance Threshold III

The CPS/Rewards 2 Interchange Reimbursement Fee is available to Visa Signature Card
Transactions that qualify for one of the following Custom Payment Services (CPS) programs:

• CPS/Card Not Present
• CPS/Retail Key-Entry
• CPS/e-Commerce Basic

ID#: 081010-010410-0008984



CPS/Rewards 1 and CPS/Rewards 2 for Visa Signature Card Transactions - U.S.
Region

In the U.S. Region, the CPS/Rewards 1 Interchange Reimbursement Fee is available to Visa
Signature Card Transactions that qualify for one of the following Custom Payment Services (CPS)
programs, or are completed by a Merchant qualified for the applicable performance threshold
program:

• CPS/Retail, CPS/Retail Performance Threshold I, CPS/Retail Performance Threshold II, CPS/
  Retail Performance Threshold III
• CPS/Supermarket, CPS/Supermarket Performance Threshold I, CPS/Supermarket Performance
  Threshold II, CPS/Supermarket Performance Threshold III

The CPS/Rewards 2 Interchange Reimbursement Fee is available to Visa Infinite Card or Visa
Signature Card Transactions that qualify for one of the following Custom Payment Services (CPS)
programs:

• CPS/Card Not Present
• CPS/Retail Key-Entry
• CPS/e-Commerce Basic

ID#: 010410-010410-0008568




1052                                               VISA PUBLIC                      18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1090 of 1319
                                                PageID #: 4283
                                     Visa International Operating Regulations




CPS/Small Ticket - U.S. Region


CPS/Small Ticket Merchant Category Codes - U.S. Region

Effective 16 October 2010, in the U.S. Region, in addition to the exclusions specified in “Visa Easy
Payment Service (VEPS) Merchant Category Code Exclusions,” a Visa Easy Payment Service
(VEPS) Transaction does not qualify for the CPS/Small Ticket Interchange Reimbursement Fee if the
Transaction is one of the following:

• Visa Signature Preferred Transaction
• Commercial Visa Product Transaction
• Visa Debit Card Transaction with one of the following MCCs:
   – 5541, “Service Stations”
   – 5411, “Grocery Stores and Supermarkets”
   – 5499, “Miscellaneous Food Stores — Convenience Stores and Specialty Markets”
• Visa Consumer Card (including Visa Signature Card) Transaction at a Merchant that is eligible
  for the Performance Threshold Interchange Reimbursement Fee Program. An exception applies
  to Transactions with MCC 5812, “Eating Places and Restaurants,” or MCC 5814, “Fast Food
  Restaurants”

ID#: 111011-161010-0026011




Industry-Specific Merchant Programs - U.S. Region

Industry-Specific Merchant Program Requirements - U.S. Region


Industry-Specific Merchant Incentive Programs - U.S. Region

In the U.S. Region, Visa offers incentive programs for Transactions completed by Merchants in
specific Merchant segments. Visa reserves the right to disqualify a Merchant from participation in, or
to modify or discontinue a Merchant incentive program at any time.

ID#: 050411-010100-0025930




18 October 2011                                     VISA PUBLIC                                    1053
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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15     Page: 1091 of 1319
                                                   PageID #: 4284
                                    Visa International Operating Regulations




Visa Utility Program Interchange Reimbursement Fee Qualification - U.S. Region
(Updated)

Effective through 14 October 2011, in the U.S. Region, only Visa Consumer Card Transactions or
Visa Business Card Transactions (including Visa Signature Business Card) completed by a Merchant
registered with the Visa Utility Interchange Reimbursement Fee Program may qualify for the Visa
Utility Program Interchange Reimbursement Fee as specified in the U.S. Interchange Reimbursement
Fee Rate Qualification Guide and the Visa Utility Interchange Reimbursement Fee Program Guide.

Effective 15 October 2011, in the U.S. Region, only Visa Consumer Card Transactions or Visa
Business Card Transactions (including Visa Business Enhanced Card and Visa Signature Business
Card) completed by a Merchant registered with the Visa Utility Interchange Reimbursement Fee
Program may qualify for the Visa Utility Program Interchange Reimbursement Fee, as specified in
the U.S. Interchange Reimbursement Fee Rate Qualification Guide and the Visa Utility Interchange
Reimbursement Fee Program Guide.

Utility Transactions involving registered Visa Merchants properly assigned Merchant Category Code
4900, "Utilities - Electric, Gas, Water, Sanitary" receive the utility Interchange Reimbursement Fee by
meeting certain business requirements. Credit Voucher Transactions are not eligible for this program.

To qualify for the Visa Utility Interchange Reimbursement Fee Program, a U.S. Merchant must:

• Contract directly with an Acquirer to be a Merchant, and the Merchant Outlet must be properly
  identified in the Authorization and Clearing Records
• Be properly assigned Merchant Category Code 4900, "Utilities - Electric, Gas, Water, Sanitary"
• Accept Visa as a means of payment in all channels where payments are accepted (e.g., Face-to-
  Face Environments and Card-Absent Environments, as applicable)
• Visually represent the Visa Flag Symbol or Visa Brand Mark or Visa Brand Name on its Website
• Not charge a Convenience Fee to a Cardholder for processing a Visa Transaction. This restriction
  also applies to a third-party agent that processes Transactions for a utility Merchant.
• Feature the opportunity to pay with Visa at least as prominently as all other payment methods
• Be registered with Visa by its Acquirer

Transactions completed by a Merchant providing telecommunication or cable services are not eligible
to participate in the Visa Utility Interchange Reimbursement Fee Program (Merchant Category Code
4900 is not applicable to such Merchants). Visa reserves the right to disqualify a Merchant from
participation in or to modify or discontinue the Visa Utility Interchange Reimbursement Fee Program
at any time.

An Acquirer must register the Visa Utility Payment Program Merchant as specified in the Visa Utility
Interchange Reimbursement Fee Program Guide.

ID#: 111011-010410-0008990




1054                                               VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1092 of 1319
                                                PageID #: 4285
                                     Visa International Operating Regulations




Visa Debt Repayment Program - U.S. Region

In the U.S. Region, Visa Debt Repayment Program Transactions completed by a registered Visa
Merchant qualify for the Debt Repayment Program Interchange Reimbursement Fee by meeting the
applicable business requirements specified in the Visa Debt Repayment Program Guide and the U.S.
Interchange Reimbursement Fee Rate Qualification Guide.

Transactions must have the following characteristics:

• Transaction is completed with a Visa Debit Card
• Merchant is properly assigned Merchant Category Code 6012, "Financial Institutions - Merchandise
  and Services," or 6051, "Non-Financial Institutions - Foreign Currency, Money Orders (not Wire
  Transfer), Travelers Cheques"
• Transaction is a U.S. Domestic Transaction
• The bill payment and existing debt indicators are included in the Authorization Request and
  Clearing Record

To qualify for the Debt Repayment Program Interchange Reimbursement Fee, the Merchant must:

• Not assess any fee, including a Convenience Fee, to a Cardholder for processing the Visa
  Transaction. This restriction also applies to a third-party agent that processes Transactions for a
  Debt Repayment Program Merchant.
• Comply with "Basic Custom Payment Services (CPS) Requirements - U.S. Region"
• Be registered by its Acquirer as specified in the Visa Debt Repayment Program Guide

ID#: 081010-010410-0006781



Debit Tax Payment Interchange Reimbursement Fee Qualification - U.S. Region

In the U.S. Region, Tax Payment Transactions from a qualified Visa Merchant qualify for the Debit
Tax Payment Interchange Reimbursement Fee by meeting the applicable business requirements
specified in the Visa Tax Payment Program Guide and the U.S. Interchange Reimbursement Fee
Rate Qualification Guide.

Transactions must have the following characteristics:

• Transaction is completed with a Visa Debit Card
• Merchant is properly assigned Merchant Category Code 9311, "Tax Payments"
• Merchant complies with Convenience Fee requirements

The Acquirer must register the Tax Payment Program Merchant as specified in the Visa Tax
Payment Program Guide.

The following Transactions are not eligible for the Tax Payment Program:

• Transactions completed with a Visa Consumer Credit Card or Commercial Visa Product


18 October 2011                                     VISA PUBLIC                                     1055
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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15    Page: 1093 of 1319
                                                   PageID #: 4286
                                    Visa International Operating Regulations


• Credit Voucher

Visa reserves the right to disqualify a Tax Payment Program Merchant from participation in, modify,
or discontinue the Debit Tax Payment Interchange Reimbursement Fee program at any time.

ID#: 081010-010410-0006762



GSA Large Ticket Interchange Reimbursement Fee Qualification - U.S. Region

In the U.S. Region, the GSA Large Ticket Interchange Reimbursement Fee program supports the
GSA requirements for enhanced processing of GSA Large Ticket Transactions. These Transactions
take place at external suppliers (non-government Merchants) and are authorized, cleared, and settled
for up to a maximum individual amount of US $10 million.

To qualify for the GSA Purchasing Card Large Ticket Interchange Reimbursement Fee program, a
Transaction must have the following characteristics:

• Completed using a GSA Visa Purchasing Card
• Meet the qualification requirements specified in the U.S. Interchange Reimbursement Fee Rate
  Qualification Guide and the Visa Purchasing Card Large Ticket Program Implementation Guide
• CPS-qualified
• Not completed by a Travel Service Category or Passenger Transport Service Category Merchant

ID#: 050411-010410-0008539



GSA Government-to-Government (G2G) Interchange Reimbursement Fee
Qualification - U.S. Region

In the U.S. Region, under the GSA Government-to-Government Program, federal government-
to-government Transactions from eligible Visa Merchants will receive the GSA Government-to-
Government (G2G) Interchange Reimbursement Fee by meeting certain processing requirements as
specified in the Visa Government-to-Government (G2G) Program Guide.

The GSA Government-to-Government (G2G) Interchange Reimbursement Fee applies to GSA Visa
Purchasing Card original Transactions and related Chargebacks, Representments, and Clearing
Reversals. Credit Vouchers are not eligible for this program.

To qualify for the GSA Government-to-Government Program, a Transaction must be completed by a
qualified Merchant and have the following characteristics:

• Completed with a GSA Visa Purchasing Card
• Merchant is properly assigned one of the following Merchant Category Codes:
  – 9399 "Government Services Not Elsewhere Classified"
  – 9402 "Postal Services - Government Only"
• Merchant Verification Value (MVV) is present, valid, and matches the MVV and Acquirer BIN
  relationship



1056                                               VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1094 of 1319
                                                PageID #: 4287
                                     Visa International Operating Regulations


• Registered with Visa
• CPS-qualified
• Not completed by a Travel Service Category or Passenger Transport Service Category Merchant

ID#: 111011-010100-0026015



GSA Government-to-Government Disqualification - U.S. Region

In the U.S. Region, Visa reserves the right to disqualify a Merchant from participation in, modify, or
discontinue the GSA Government-to-Government Program at any time.

ID#: 081010-041008-0007196




Interchange Reimbursement Fee Programs - U.S. Region

Credit Voucher Program - U.S. Region


Credit Voucher Program Qualification - U.S. Region (Updated)

In the U.S. Region, Interchange Reimbursement Fees are paid by the Issuer to the Acquirer on
merchandise credits, or Credit Vouchers. The Interchange Reimbursement Fee for a Credit Voucher
Transaction will be determined by the following combinations of Card type and Merchant segment:

• Transactions on all Card types with passenger transport Merchant Category Codes (MCCs
  3000-3299, 4112, and 4511)
• Transactions involving Visa Consumer Cards with non-passenger transport Merchant Category
  Codes (all MCCs except 3000-3299, 4112, and 4511)
• Transactions involving Commercial Cards with non-passenger transport Merchant Category Codes
  (all MCCs except 3000-3299, 4112, and 4511)
• Effective through 31 May 2011, Transactions involving Visa Consumer Cards that originate from
  certain U.S. Merchants may also qualify for the Credit Voucher Transaction -- Mail/Phone Order
  and Electronic Commerce Merchant - Consumer (Credit /Debit) Program if the merchant meets the
  eligibility requirements specified in the U.S. Interchange Reimbursement Fee Rate Qualification
  Guide. These Transactions must not take place at a passenger transport Merchant location (MCCs
  3000-3299, 4112, and 4511) or a High-Risk Telemarketing Merchant location (MCCs 5962, 5966,
  and 5967).
• Effective 1 June 2011, Consumer (Credit /Debit) Program if the Merchant meets the eligibility
  requirements specified in the U.S. Interchange Reimbursement Fee Rate Qualification Guide.
  These Transactions must not take place at a passenger transport Merchant location (MCCs
  3000-3299, 4112, and 4511) or a High-Brand Risk Merchant location (MCCs 5962, 5966, and
  5967).

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18 October 2011                                     VISA PUBLIC                                      1057
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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15    Page: 1095 of 1319
                                                   PageID #: 4288
                                    Visa International Operating Regulations




Credit Vouchers for Airline/Railway Ticket - U.S. Region

For CPS/Passenger Transport Transactions in the U.S. Region, an Acquirer must provide the Airline/
Railway Ticket Identifier that was associated with the original Transaction for the related Credit
Voucher Transaction.

ID#: 081010-010410-0006542



Credit Vouchers for GSA Large Ticket Transactions - U.S. Region

For GSA Large Ticket Transactions in the U.S. Region, an Acquirer must process the Credit Voucher
Transaction at the Interchange Reimbursement Fee applied to the original related Transaction.

ID#: 010410-010410-0006543



Credit Vouchers for Large Purchasing Ticket Transactions - U.S. Region

For Credit Vouchers involving Visa Purchasing Large Ticket Transactions in the U.S. Region:

• If the credit amount is equal to the original Transaction amount or exceeds the threshold amount
  specified in Visa U.S.A. Interchange Reimbursement Fees, an Acquirer must process the Credit
  Voucher Transaction at the Interchange Reimbursement Fee applied to the original related
  Transaction
• If the credit amount is less than the threshold amount specified in Visa U.S.A. Interchange
  Reimbursement Fees, the Acquirer must process the Credit Voucher Transaction at the applicable
  Interchange Reimbursement Fee

ID#: 050411-010410-0006544



Credit Voucher Interchange Reimbursement Fee for Mail/Phone Order and Electronic
Commerce Merchants - U.S. Region (Updated)

In the U.S. Region, Transactions completed with a Visa Consumer Card qualify for the applicable
Credit Voucher Interchange Reimbursement Fee if 70% or more of the Merchant's cumulative Visa
Consumer Card sales volume during the previous calendar-year quarter was processed using one of
the following programs:

• CPS/Card Not Present Interchange Reimbursement Fee
• CPS/e-Commerce (Basic or Preferred) Interchange Reimbursement Fee

The following Transaction types are not eligible:

• Account Funding Transactions
• Commercial Visa Product Transactions
• Quasi-Cash Transactions



1058                                               VISA PUBLIC                       18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1096 of 1319
                                                PageID #: 4289
                                     Visa International Operating Regulations


• Effective through 31 May 2011, Transactions originating from High-Risk Telemarketing
  Merchants
• Effective 1 June 2011, Transactions originating from High-Brand Risk Merchants (Merchant
  Category Codes 5962, 5966, and 5967)
• Transactions originating from Passenger Transport Service Category Merchants

An Acquirer may apply the Credit Transaction Interchange Reimbursement Fee beginning 30 days or
less after the quarter end in which the Merchant meets eligibility requirements.

ID#: 111011-010410-0006545



ATM Tiered Interchange Reimbursement Fee - U.S. Region


ATM Interchange Reimbursement Fee Qualification - U.S. Region

A U.S. Member with ATMs that qualify for the ATM Interchange Reimbursement Fee Tier 1 level must
comply with registration requirements, available from Visa upon request.

In the U.S. Region, an ATM may qualify for the ATM Interchange Reimbursement Fee Tier 1 level if
the ATM meets the requirements in the "Visa/Plus ATM Portfolio Profile" form. The "Visa/Plus ATM
Portfolio Profile" form is available from Visa upon request.

An ATM that does not qualify for the ATM Interchange Reimbursement Fee Tier 1 level will be subject
to the ATM Interchange Reimbursement Fee Tier 2 level.

ID#: 081010-010410-0006709



ATM Interchange Reimbursement Fee - Tier 2 - U.S. Region

In the U.S. Region, an ATM that does not qualify for the ATM Interchange Reimbursement Fee Tier 1
level will be subject to the ATM Interchange Reimbursement Fee Tier 2 level.

ID#: 010410-010410-0006710




18 October 2011                                     VISA PUBLIC                                  1059
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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15     Page: 1097 of 1319
                                                   PageID #: 4290
                                    Visa International Operating Regulations




Performance Threshold Interchange Reimbursement Fees
- U.S. Region

Performance Threshold Interchange Reimbursement Fee Consumer Credit and
Consumer Debit - U.S. Region


Performance Threshold Interchange Reimbursement Fee - Visa Consumer Credit -
U.S. Region (Updated)

In the U.S. Region, the Performance Threshold Interchange Reimbursement Fee Program -
Consumer Credit provides incentive Interchange Reimbursement Fee rates to Retail Merchant
and supermarket Transactions meeting certain performance threshold requirements. Consumer
Credit Transactions, including, effective 24 February 2011, Visa Charge Card Transactions, from
eligible Merchants receive incentive Interchange Reimbursement Fee rates on Transactions that
would otherwise be eligible for CPS/Retail and CPS/Supermarket Interchange Reimbursement Fee
Programs.

Transactions from qualified Merchants that meet the performance threshold requirements must have
the following characteristics:

• Completed with a Visa Traditional or Visa Traditional Rewards Card
• U.S. Domestic Transaction
• CPS-qualified using the fee edit criteria for CPS/Retail or CPS/Supermarket

U.S. Merchant eligibility for the Performance Threshold Interchange Reimbursement Fee Program
- Visa Consumer Credit will be determined by Visa annually. The performance thresholds specified
in the U.S. Interchange Reimbursement Fee Rate Qualification Guide apply to qualified Visa
Consumer Credit Card original Transactions and related Chargebacks, Representments, and
Clearing Reversals.

Visa Signature CPS/Retail and CPS/Supermarket Transactions are ineligible for Performance
Threshold Interchange Reimbursement Fees. Such Transactions may qualify for the CPS/Rewards 1
Interchange Reimbursement Fee.

Performance Threshold Interchange Reimbursement Fee eligibility requirements are based on
annual volume criteria as specified by Visa. Additionally, Visa will determine the timing and manner
of implementation for the Performance Threshold Interchange Reimbursement Fees available to
Acquirers related to the Performance Threshold Interchange Reimbursement Fee Program - Visa
Consumer Credit.

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1060                                               VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1098 of 1319
                                                PageID #: 4291
                                     Visa International Operating Regulations




Performance Threshold Interchange Reimbursement Fee - Visa Consumer Debit -
General - U.S. Region

In the U.S. Region, the Performance Threshold Interchange Reimbursement Fee Program provides
incentive Interchange Reimbursement Fee rates to retail and supermarket Transactions meeting
certain performance threshold requirements. Transactions from eligible Merchants receive the
incentive Interchange Reimbursement Fee rates on Transactions that would otherwise be eligible for
CPS/Retail and CPS/Supermarket Interchange Reimbursement Fee programs.

Transactions from qualified Merchants that meet the performance threshold requirements must have
the following characteristics:

• Completed with a Visa Debit Card
• U.S. Domestic Transaction
• CPS-qualified using the fee edit criteria for CPS/Retail or CPS/Supermarket

U.S. Merchant eligibility for the Performance Threshold Interchange Reimbursement Fee Program -
Visa Consumer Debit will be determined by Visa annually. The performance thresholds specified in
the U.S. Interchange Reimbursement Fee Rate Qualification Guide apply to qualified Visa Debit Card
original Transactions and related Chargebacks, Representments, and Clearing Reversals.

Performance Threshold Interchange Reimbursement Fee eligibility requirements are based on
annual volume criteria as specified by Visa. Additionally, Visa will determine the timing and manner
of implementation for the Performance Threshold Interchange Reimbursement Fees available to
Acquirers related to the Performance Threshold Interchange Reimbursement Fee Program - Visa
Consumer Debit.

ID#: 081010-010410-0006724




Visa Signature Preferred Interchange Reimbursement Fees
- U.S. Region

Visa Signature Preferred Interchange Reimbursement Fee Requirements - U.S.
Region


Visa Signature Preferred Interchange Reimbursement Fee Qualification - U.S. Region

In the U.S. Region, Visa Signature Preferred Card Transactions may be CPS-qualified under one of
the consumer programs as defined in the U.S. Regional Operating Regulations and as specified in
the U.S. Interchange Reimbursement Fee Rate Qualification Guide.

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18 October 2011                                     VISA PUBLIC                                   1061
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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15    Page: 1099 of 1319
                                                   PageID #: 4292
                                    Visa International Operating Regulations




Visa Signature Preferred Standard Interchange Reimbursement Fee - U.S. Region

In the U.S. Region, a Visa Signature Preferred Transaction that does not qualify for any Custom
Payment Services (CPS) program may only be eligible for the Visa Signature Preferred Standard
Interchange Reimbursement Fee.

ID#: 081010-010410-0008989



Visa Signature Preferred Electronic Interchange Reimbursement Fee - U.S. Region

To qualify for the Visa Signature Preferred Electronic Interchange Reimbursement Fee, the Visa
Signature Preferred Transaction must be conducted at a Travel Service Category Merchant and must
be CPS-qualified as specified in the U.S. Interchange Reimbursement Fee Rate Qualification Guide.

ID#: 081010-010100-0025806



Visa Signature Preferred Retail Interchange Reimbursement Fee - U.S. Region

In the U.S. Region, a Visa Signature Preferred Consumer Credit Card Transaction that originates at
a non-Travel Service Category Merchant Outlet may qualify for the Visa Signature Preferred Retail
Interchange Reimbursement Fee. To qualify for this program, the Transaction must be CPS-qualified,
occur at a Retail Merchant, and meet the applicable requirements specified in the U.S. Interchange
Reimbursement Fee Rate Qualification Guide.

ID#: 081010-010410-0006758



Visa Signature Preferred Card Not Present Interchange Reimbursement Fee - U.S.
Region

In the U.S. Region, a Mail/Phone Order Transaction, Electronic Commerce Transaction, or
a Transaction completed by a Merchant in a select developing market as defined in the U.S.
Interchange Reimbursement Fee Rate Qualification Guide (excluding Travel Service Category
Transactions) may qualify for the Visa Signature Preferred Card CPS/Card Not Present Interchange
Reimbursement Fee.

ID#: 081010-010410-0006756




1062                                               VISA PUBLIC                      18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1100 of 1319
                                                PageID #: 4293
                                     Visa International Operating Regulations




Visa Signature Preferred Business-to-Business Interchange Reimbursement Fee -
U.S. Region

In the U.S. Region, a Visa Signature Preferred Transaction completed at a non-Travel Service
Category Merchant Outlet may qualify for the Visa Signature Preferred Business-to-Business
Interchange Reimbursement Fee. To qualify for this program, the Transaction must be CPS-qualified
as specified in the U.S. Interchange Reimbursement Fee Rate Qualification Guide and occur at a
Merchant Outlet properly assigned a business-to-business Merchant Category Code as specified in
the Visa Merchant Data Standards Manual.

ID#: 081010-010410-0008519



Visa Signature Preferred Fuel Interchange Reimbursement Fee - U.S. Region

A Visa Signature Preferred Transaction completed at an Automated Fuel Dispenser or service station
may qualify for the Signature Preferred Fuel Interchange Reimbursement Fee. The Transaction must
be CPS-qualified for CPS/Automated Fuel Dispenser, CPS/Retail Service Station, or CPS/Small
Ticket.

ID#: 081010-010100-0025807



Visa Signature Preferred Utility Interchange Reimbursement Fee - U.S. Region

In the U.S. Region, a Visa Signature Preferred Card Transaction conducted at a Merchant properly
assigned Merchant Category Code 4900, "Utilities - Electric, Gas, Water, Sanitary" may be eligible
to receive the Visa Utility Interchange Reimbursement Fee, as specified in the U.S. Interchange
Reimbursement Fee Rate Qualification Guide and the Visa Utility Interchange Reimbursement Fee
Program Guide.

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18 October 2011                                     VISA PUBLIC                                  1063
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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15    Page: 1101 of 1319
                                                   PageID #: 4294
                                    Visa International Operating Regulations




Commercial Interchange Reimbursement Fees - U.S.
Region

Commercial Interchange Reimbursement Fees and Programs - U.S. Region


Commercial Card Standard Interchange Reimbursement Fee - U.S. Region

In the U.S. Region, Commercial Visa Product Transactions that do not qualify for CPS and do
not meet the Level II Enhanced Data requirement will qualify for the Commercial Card Standard
Interchange Reimbursement Fee program as specified in the U.S. Interchange Reimbursement
Fee Rate Qualification Guide and are assessed the Commercial Card Standard Interchange
Reimbursement Fee rate.

ID#: 081010-151010-0026002



Commercial Card Electronic Interchange Reimbursement Fee - U.S. Region (Updated)

In the U.S. Region, Commercial Visa Product Transactions are eligible for the Electronic Interchange
Reimbursement Fee as specified in the U.S. Interchange Reimbursement Fee Rate Qualification
Guide. The following Commercial Visa Product Transactions are specifically excluded:

• Effective through 31 May 2011, High-Risk Telemarketing Merchants (Merchant Category Codes
  5962, 5966, and 5967)
• Effective 1 June 2011, High-Brand Risk Merchants (Merchant Category Codes 5962, 5966, and
  5967)
• Non-Secure Transactions

ID#: 111011-151010-0026003



Commercial Card - Non-Travel Service, Level II Interchange Reimbursement Fee - U.S.
Region

In the U.S. Region, the Commercial Level II (non-Travel Service Category) Interchange
Reimbursement Fee is available for taxable Commercial Visa Product Transactions that are
CPS-qualified and meet certain additional data requirements as specified in the U.S. Interchange
Reimbursement Fee Rate Qualification Guide. Tax-exempt Commercial Visa Product Transactions
and Commercial Visa Product Transactions using the CPS/Account Funding program are not eligible
for the Commercial Level II (non-Travel Service Category) Interchange Reimbursement Fee.

ID#: 081010-151010-0026004




1064                                               VISA PUBLIC                       18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1102 of 1319
                                                PageID #: 4295
                                     Visa International Operating Regulations




Purchasing Card Electronic with Data Interchange Reimbursement Fee - U.S. Region

In the U.S. Region, the Purchasing Card Electronic with Data Interchange Reimbursement Fee is
available to non-General Services Administration (non-GSA) Visa Purchasing Card Transactions
that meet certain additional data requirements, but are not CPS-qualified, as specified in the U.S.
Interchange Reimbursement Fee Rate Qualification Guide. Visa Purchasing Card Transactions using
the CPS/Account Funding program are not eligible for the Purchasing Card Electronic with Data
Interchange Reimbursement Fee.

ID#: 081010-151010-0026005



Purchasing Card Level III (Non-Travel Service Category) - U.S. Region

In the U.S. Region, the Purchasing Card Level III (non-Travel Service Category) Interchange
Reimbursement Fee is available to Visa Purchasing Card Transactions that are CPS-qualified and
meet certain additional data requirements as specified in the U.S. Interchange Reimbursement
Fee Rate Qualification Guide. Visa Purchasing Card Transactions using the CPS/Account Funding
program are not eligible for the Purchasing Card Level III (non-Travel Service Category) Interchange
Reimbursement Fee.

ID#: 081010-151010-0026006



Utility Business Program - U.S. Region (Updated)

Effective through 14 October 2011, in the U.S. Region, Visa Business Card or Visa Signature
Business Card Transactions conducted at a Merchant properly assigned Merchant Category code
4900, “Utilities - Electric, Gas, Water, Sanitary” may be eligible to receive the Utility Business
Interchange Reimbursement Fee as specified in the U.S. Interchange Reimbursement Fee Rate
Qualification Guide.

Effective 15 October 2011, in the U.S. Region, Visa Business Card, Visa Business Enhanced
Card, or Visa Signature Business Card Transactions conducted at a Merchant properly assigned
Merchant Category Code 4900, “Utilities - Electric, Gas, Water, Sanitary,” may be eligible to
receive the Utility Business Interchange Reimbursement Fee, as specified in the U.S. Interchange
Reimbursement Fee Rate Qualification Guide.

ID#: 111011-151010-0026007



Commercial Card Retail Interchange Reimbursement Fee - U.S. Region

In the U.S. Region, Commercial Visa Product Transactions completed at a non-Travel Service
Category Merchant Outlet that do not meet the Level II Enhanced Data requirement may qualify for
the Commercial Retail Interchange Reimbursement Fee. To qualify for this program, the Transaction
must be CPS-qualified for certain CPS programs as specified in the U.S. Interchange Reimbursement
Fee Rate Qualification Guide and occur at a Retail Merchant Outlet.

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18 October 2011                                     VISA PUBLIC                                      1065
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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15    Page: 1103 of 1319
                                                   PageID #: 4296
                                    Visa International Operating Regulations




Commercial Card - Card Not Present Interchange Reimbursement Fee - U.S. Region

In the U.S. Region, Mail/Phone Order Transactions, Electronic Commerce Transactions, or
Transactions completed by a Merchant in a select developing market as defined in the U.S.
Interchange Reimbursement Fee Rate Qualification Guide (excluding Travel Service Category
Transactions) and that do not meet the Level II Enhanced Data requirement may qualify for the
Commercial Card-Card Not Present rate. To qualify for this program, the Transaction must be CPS-
qualified for certain CPS programs as specified in the U.S. Interchange Reimbursement Fee Rate
Qualification Guide.

ID#: 081010-010100-0025812



Commercial Card Business-to-Business (B2B) Interchange Reimbursement Fee - U.S.
Region

In the U.S. Region, Commercial Visa Product Transactions that do not meet the Level II Enhanced
Data requirement will qualify for the Commercial Business-to-Business Interchange Reimbursement
Fee. To qualify for this program, the Transaction must be CPS-qualified as specified in the U.S.
Interchange Reimbursement Fee Rate Qualification Guide and be completed at a Merchant properly
assigned a business-to-business Merchant Category Code as specified in the Visa Merchant Data
Standards Manual.

ID#: 081010-010100-0025810




Visa Purchasing Large Ticket Interchange Reimbursement
Fee - U.S. Region

Visa Purchasing Large Ticket Interchange Reimbursement Fee - General - U.S.
Region


Visa Purchasing Large Ticket Interchange Reimbursement Fee Qualification - U.S.
Region

In the U.S. Region, the Visa Purchasing Large Ticket Interchange Reimbursement Fee program
supports the requirements for enhanced processing of non-General Services Administration (GSA)
Large ticket Transactions. These Transactions are authorized, cleared, and settled for up to a
maximum individual amount of US $10 million.

To qualify for the Visa Purchasing Large Ticket Interchange Reimbursement Fee program, the
Transaction must have the following characteristics:

• Submitted by an eligible Merchant, other than a Travel Service Category or Passenger Transport
  Service Category Merchant, that has been registered with Visa as specified in the Visa Purchasing
  Card Large Ticket Program Implementation Guide



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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1104 of 1319
                                                PageID #: 4297
                                     Visa International Operating Regulations


• Completed with a non-GSA Visa Purchasing Card
• U.S. Domestic Transaction
• Merchant Verification Value (MVV) is present, valid, and matches the MVV and Acquirer BIN
  relationship registered with Visa
• Meets the applicable requirements specified in the U.S. Interchange Reimbursement Fee Rate
  Qualification Guide and the Visa Purchasing Card Large Ticket Program Implementation Guide

ID#: 111011-010410-0008758




Visa Fees - General

Fee Assessment and Responsibility


Fee and Charge Revisions

As with all Operating Regulations, fees and charges are subject to change by Visa.

For information about VisaNet processing charges, membership fees, and other service and program
fees, see the applicable regional fee guide.

ID#: 111011-010410-0003014



Responsibility for Charges - U.S. Region

All charges imposed by Visa, whether in the form of fees, exchange rates, or otherwise, are charges
imposed on U.S. Members or VisaNet Processors or Agents operating on behalf of a U.S. Member. A
U.S. Member or VisaNet Processor or Agent operating on behalf of a U.S. Member is responsible for
paying all charges, regardless of whether it absorbs the charges, passes them on, or increases them
in billing its customer (e.g., Cardholder, Merchant). The Member, VisaNet Processor, or Agent must
not represent to its customer that Visa imposes any charge on its customer.

ID#: 010410-010410-0003015




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                                                   PageID #: 4298
                                    Visa International Operating Regulations




Fee Collection

Visa Fee Collection and Funds Disbursement


Card Service Fee Collection (Updated)

Visa assesses and collects Card service fees through the Global Member Billing Solution or other
designated method.

ID#: 111011-010410-0007886



Fee Adjustments (Updated)

Effective 1 October 2011, if Visa confirms that a Member has either underpaid or overpaid its fees,
Visa may process a fee adjustment. The fee adjustment time period is limited to the 2 years prior to
the date that either:

• The overpayment or underpayment was reported to Visa by the Member
• Visa discovered that an adjustment was due to the Member

Visa reserves the right to collect an underpayment from a Member beyond the 2-year period.

In the AP Region, Card service fees paid will be refunded for the most recent quarter. The Member
must submit its refund request within 60 days from the close of the quarter in question. For all other
fees, the provisions specified above apply.

Any collection or refund does not include interest.

ID#: 171011-010100-0026403



Fee Collection and Funds Disbursement Reason Codes - U.S. Region

Reason Codes for Fee Collection Transactions and Funds Disbursement Transactions for use in
the U.S. Region are listed in the table below. Visa may collect or disburse the listed fee and charge
types from U.S. Members through VisaNet, as specified in the appropriate VisaNet manuals. Fees
and charges are listed on the Visa Billing Statement and collected through the Global Member Billing
Solution.


 Fee Collection Transactions and Funds Disbursement Fees and Reason Codes - U.S. Region

    Fees and Charges                                                           Reason Code

    Global Member Billing Solution                                                5010

    BIN Licensing and Administration Program fees                              5010 or 5195
    Sponsored Member Registration Program

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                                                PageID #: 4299
                                     Visa International Operating Regulations


     Fees and Charges                                                           Reason Code

     Supermarket Incentive Program marketing fee                                   5015

     Arbitration/Compliance filing and/or review fee                               5020

     BASE II access charge                                                         5030

     Miscellaneous fees or charges                                                 5040

     Issuers' Clearinghouse Service fees                                           5050

     Risk Identification Service (RIS) Online fees                                 5060

     Visa account tracking service                                                 5090

     Third Party registration fee/annual fee                                       5140

     Chargeback handling fees                                                      5150

     VisaNet Copy Request and Fulfillment Service                                  5160
     Fulfillment fee

     VisaNet Copy Request and Fulfillment Service                                  5165
     access fee

     VisaNet Copy Request and Fulfillment Service                                  5170
     Nonfulfillment fee

     Merchant review fee                                                           5180

     Membership compliance fees and penalties                                      5185

     BIN licensing and administration program fees                                 5190

     Inaccurate Merchant data fine                                                 5210

     Initial or quarterly service fee and/or late payment                          5245
     fees

     Member or VisaNet Processor indemnification                                   5250
     reimbursement

     Corporate indemnification of settlement risk                                  5290

ID#: 111011-010410-0003149




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1069                                                VISA PUBLIC
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                                                   PageID #: 4300
                                    Visa International Operating Regulations




Member Fee Collection and Funds Disbursement


Fee Collection/Funds Disbursement Process - U.S. Region

A U.S. Member or its Authorizing Processor may collect fees or disburse funds as allowed through
VisaNet using the Fee Collection Transaction (transaction code 10) or Funds Disbursement
Transaction (transaction code 20) specified in the "Fee Collection Dispute Resolution - U.S. Region"
table and "Fee Collection Transactions and Funds Disbursement Fees and Reason Codes Used
by Members and Authorizing Processors - U.S. Region" table. No other use of the Fee Collection
Transaction/Funds Disbursement Transaction process is permitted.

ID#: 010410-010410-0003152



Fee Collection and Funds Disbursement Time Limit - U.S. Region

A U.S. Member or its Authorizing Processor must collect fees or disburse funds within 45 days from
the related event, unless otherwise specified.

ID#: 010410-010410-0003153



Data and Documentation Requirements for Fee Collections and Funds Disbursements
- U.S. Region (Updated)

The table below lists fee types and funds that are settled through VisaNet, the corresponding Reason
Codes, and the data and documentation required for each fee or disbursement in the U.S. Region.


               Fee Collection Transactions and Funds Disbursement Fees and Reason
                 Codes Used by Members and Authorizing Processors - U.S. Region

                                                           Reason
                             Fee                                           Data and Documentation Required
                                                            Code

    Lost/Stolen Card Reporting Service fees                  0130     Must specify in the message text the date of
                                                                      loss as reported by the Cardholder.
                                                                      Member must return "Lost or Stolen Card
                                                                      Report" (Exhibit 1A) to the Issuer, as specified
                                                                      in "Lost or Stolen Card Reporting."




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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                 Page: 1108 of 1319
                                                PageID #: 4301
                                     Visa International Operating Regulations


                                                            Reason
                              Fee                                           Data and Documentation Required
                                                             Code

     Recovered Visa Card, or Visa Electron Card               0150     Must specify in the message text:
     handling fees/rewards
                                                                       • Cardholder name on the recovered Visa
                                                                         Card or, if applicable, on the Visa Electron
                                                                         Card
                                                                       • If the Visa Card or Visa Electron Card
                                                                         was recovered as the result of a Code 10
                                                                         Authorization, the words "Code 10"
                                                                       Must specify in the event date field the date
                                                                       the Visa Card or Visa Electron Card was
                                                                       recovered.
                                                                       Must return recovered Visa Card or Visa
                                                                       Electron Card and "Recovered Card
                                                                       Advice" (Exhibit 1E) to the Issuer, as specified
                                                                       in "Card Recovery."

     Recovery of Retrieval Request fees                       0170     Must specify in the message text:
                                                                       • Acquirer Reference Number
                                                                       • VisaNet Retrieval Request date
                                                                       • Reason for recovery (such as "copy
                                                                         illegible")

     Emergency Card Replacement distribution fee              0200     Must specify in the message text the date
                                                                       of Visa Card, Visa Electron Card, or Visa
                                                                       TravelMoney Card distribution.

     Emergency Cash Disbursement handling fee                 0210     Must specify in the message text the
                                                                       Transaction amount.

     Arbitration/Compliance case decision or filing           0220     Must specify in the message text:
     fee
                                                                       • Cardholder name
                                                                       • Acquirer Reference Number of the
                                                                         Transactions involved
                                                                       • Notification date of the Visa decision, or
                                                                         date of the other Member's withdrawal
                                                                         notification to Visa, as applicable




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1071                                                VISA PUBLIC
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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                   Page: 1109 of 1319
                                                   PageID #: 4302
                                    Visa International Operating Regulations


                                                           Reason
                             Fee                                           Data and Documentation Required
                                                            Code

    Incorrect Merchant Identification/Transaction            0230     Must be collected within 45 calendar days of
    Date handling fee                                                 the receipt date of the Transaction Receipt.
                                                                      Must specify in the message text:
                                                                      • Acquirer Reference Number
                                                                      • VisaNet Transaction Receipt request date
                                                                      • Transaction Receipt receipt date
                                                                      • Reason for the fee collection, specifying
                                                                        both the incorrect and correct information
                                                                        (such as, "Merchant name is XXXX not
                                                                        YYYY" )
                                                                      Handling fee must not be collected for an
                                                                      incorrect Transaction Date if the Transaction
                                                                      Date field either:
                                                                      • Is zero-filled, as specified in
                                                                        "VisaNet Clearing Message Content
                                                                        Standards" (Exhibit NN)
                                                                      • For a Lodging, Cruise Line, or Car Rental
                                                                        Merchant Transaction, contains either the
                                                                        date the Card was first presented or the
                                                                        date the Transaction was completed

                                                                      Must specify the date of the "Good Faith"
                                                                      collection letter in the event date field of the
                                                                      VisaNet Funds Disbursement record. Must
    "Good Faith" collection letter acceptance                         specify in the message text:
                                                             0240
    Funds Disbursement                                                • Acquirer Reference Number, if applicable
                                                                      • Words "Good Faith Collection Letter"
                                                                      • File number, if provided

    "Cardholder Does Not Recognize Transaction"              0250     Must be collected within 45 calendar days
    Chargeback handling fee                                           of the Central Processing Date of the
                                                                      Representment.
                                                                      Must specify in the message text:
                                                                      • Transaction Amount
                                                                      • Either:
                                                                         – "Itinerary provided"
                                                                         – "No Show indicator present"

                                                                      Must specify the date of the pre-Arbitration or
                                                                      pre-Compliance letter in the event date field of
                                                                      the VisaNet Funds Disbursement record.
    Pre-Arbitration/pre-Compliance acceptance                         Must specify in the message text:
                                                             0350
    Funds Disbursement                                                • Acquirer Reference Number, if applicable
                                                                      • Words "pre-Arbitration" or "pre-Compliance"
                                                                      • File number, if provided


1072
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                 Page: 1110 of 1319
                                                PageID #: 4303
                                     Visa International Operating Regulations


                                                            Reason
                              Fee                                           Data and Documentation Required
                                                             Code

     Interchange Reimbursement Fee pre-                       0350     Must specify the date of the Interchange Fee
     Compliance acceptance Funds Disbursement                          pre-Compliance letter in the event date field of
                                                                       the VisaNet Funds Disbursement record.
                                                                       Must specify in the message text:
                                                                       • Acquirer Reference Number, if applicable
                                                                       • Words "Interchange Fee pre-Compliance"
                                                                       • File number, if provided

ID#: 151011-010410-0006472



Fee Collection Disputes - U.S. Region

A U.S. Member receiving a Fee Collection Transaction initiated by another U.S. Member through
VisaNet may return it within 45 calendar days of the Central Processing Date if there is an error in the
original VisaNet Fee Collection Transaction.

ID#: 010410-010410-0006493



Fee Collection Dispute Resolution - U.S. Region

The table below specifies the actions, reasons, and rules governing Fee Collection Transaction
disputes between U.S. Members and their resolution.




18 October 2011
1073                                                VISA PUBLIC
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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                  Page: 1111 of 1319
                                                   PageID #: 4304
                                    Visa International Operating Regulations



                                Fee Collection Dispute Resolution - U.S. Region

    Action               Reason                                          Rules

    Fee Collection       One of the following events must occur:         A Member receiving a Fee Collection must
    Returns                                                              return it using the same format as the
                         • Wrong Member receives the Fee
                                                                         original Fee Collection, as specified in the
                           Collection
                                                                         appropriate VisaNet manuals.
                         • Required information in the message           The message text field must contain the
                           text portion of the Fee Collection is not     word "return" (or its abbreviation) and the
                           received or is inaccurate or inadequate       return reason.
                         • Fee Collection exceeds the maximum            A Member must wait 21 calendar days
                           fee amount allowed. Note: The Member          from the Central Processing Date for the
                           may return only the amount in excess.         documentation. If it does not, the fee may
                                                                         be returned within the next 24 calendar
                         • Receiving Member claims the Fee
                                                                         days.
                           Collection is improper under the US.
                           Regional Operating Regulations                An Issuer must not return the fee for a
                                                                         Recovered Card Handling Fees/Rewards
                         • Fee Collection was duplicated in error        (Reason Code 0150) if the Issuer does not
                           and not reversed, as specified in             receive the "Interchange Recovered Card
                           "Duplicate or Erroneous Data"                 Advice"(Exhibit G) and the recovered Visa
                                                                         Card or Visa Electron Card or a legible
                                                                         copy of the front and back of the recovered
                                                                         Visa Card or Visa Electron Card within 21
                                                                         calendar days of the Central Processing
                                                                         Date. If this documentation is not received,
                                                                         the Issuer may request Compliance, as
                                                                         specified in "Compliance Process" within 90
                                                                         calendar days from the Central Processing
                                                                         Date of the Fee Collection.

    Resubmission         The Fee Collection was returned because         A Member resubmitting a returned Fee
    of Returned          the information or documentation was not        Collection must:
    Fee Collection       received.
                                                                          • Comply with the appropriate VisaNet
                                                                            manuals
                                                                          • Make the resubmission within 45
                                                                            calendar days from the Central
                                                                            Processing Date of the returned Fee
                                                                            Collection
                                                                          • Provide the information or
                                                                            documentation
                                                                         A Member must not resubmit a Fee
                                                                         Collection for Recovered Card Handling
                                                                         Fees/Rewards (Reason Code 0150)
                                                                         or Recovery of Retrieval Request fees
                                                                         (Reason Code 0170).

    Return of            The Member receiving a resubmitted              The Member must process the returned
    Resubmitted          Fee Collection may return it, if supporting     Fee Collection as specified for Fee
    Fee Collection       information or documentation is not             Collection Returns (above) and may then
                         received within 21 calendar days the            re-return the Fee Collection during the next
                         Central Processing Date.                        24 calendar days.

ID#: 111011-010410-0003168



1074
18 October 2011                                    VISA PUBLIC
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1112 of 1319
                                                PageID #: 4305
                                     Visa International Operating Regulations




Limits of Fee Collection Returns - U.S. Region 9.6.D.3

In no case may there be a third submission or third return of a Fee Collection Transaction through
VisaNet. A U.S. Member must submit an outstanding Fee Collection Transaction for Compliance,
except for the following disputes, which must be settled directly between the Members involved and
are not subject to Compliance procedures:

• "Good Faith" Collection Letter Settlement Funds Disbursement (Reason Code 0240)
• Pre-Compliance Interchange Reimbursement Fee pre-Compliance Settlement Funds
  Disbursement (Reason Code 0350)

ID#: 010410-010410-0003162



Automated Clearing House Service Fee Collection and Funds Disbursement -
U.S. Region


Automated Clearing House Service Authorization Agreement - U.S. Region

Visa will provide a U.S. Member or VisaNet Processor with an automated clearing house
authorization agreement for Fee Collection Transactions and Funds Disbursement Transactions. This
agreement must be signed and returned to Visa before the initiation of any automated clearing house
transaction.

The signed agreement remains valid for all Fee Collection Transactions and Funds Disbursement
Transactions until the U.S. Member or VisaNet Processor notifies Visa of either:

• Its replacement by a new agreement
• Revocation of the agreement because the Member or VisaNet Processor was terminated

ID#: 010410-010410-0007974



Automated Clearing House Service Requirements - U.S. Region

Upon Visa request, a U.S. Member or VisaNet Processor must provide all of the following for the
purpose of collecting fees and disbursing funds through the automated clearing house service:

• Valid automated clearing house transit/routing number
• Associated financial institution depository account number
• Signed automated clearing house authorization agreement

If any account information (such as the account number or financial institution) changes, the Member
or VisaNet Processor must:

• Notify Visa at least 10 calendar days before the effective date of the change



18 October 2011                                     VISA PUBLIC                                   1075
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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15    Page: 1113 of 1319
                                                   PageID #: 4306
                                    Visa International Operating Regulations


• Submit a new automated clearing house authorization agreement with the change

ID#: 010410-010410-0008067



Rejection of Automated Clearing House Transactions - U.S. Region

Visa may require a same-day wire transfer or initiate a Fee Collection Transaction through VisaNet
if a valid automated clearing house transaction is rejected or cannot be initiated for any reason,
including:

• U.S. Member did not comply with "Automated Clearing House Service Requirements - U.S.
  Region"
• Existing automated clearing house authorization agreement was revoked before a replacement
  authorization agreement took effect

ID#: 010410-010410-0007881



Non-Use of Automated Clearing House Service - U.S. Region

A U.S. Member or VisaNet Processor that is required to use the automated clearing house service
may be required to reimburse Visa for any expense incurred for processing any payment made by a
means other than the automated clearing house service.

ID#: 010410-010410-0007882



Initial Service Fee Collection through Automated Clearing House Service - U.S.
Region

Visa may collect initial service fees through the automated clearing house service from all new
U.S. Principal-type and Associate-type Members, as specified in Article III of the Visa U.S.A. Inc.
Certificate of Incorporation and Bylaws and "Automated Clearing House Service Fee Collection - U.S.
Region."

ID#: 010410-010410-0007884



Automated Clearing House Service Requirements for Principal-Type or Associate-
Type Members - U.S. Region

Upon Visa request, a U.S. Principal-type or Associate-type Member, or an applicant for Principal-type
or Associate-type membership, must comply with "Automated Clearing House Service Requirements
- U.S. Region" for the purpose of collecting fees and disbursing funds through the automated clearing
house service.

ID#: 010410-010410-0007885




1076                                               VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1114 of 1319
                                                PageID #: 4307
                                     Visa International Operating Regulations




Automated Clearing House Collections Made in Error - U.S. Region

Visa is not liable for U.S. automated clearing house collections in error, except through intentional
misconduct.

ID#: 010410-010410-0007883




Visa Interchange Reimbursement Fee Adjustments

Interchange Reimbursement Fee Adjustments


Visa Right to Adjust Interchange Reimbursement Fees

If Interchange Reimbursement Fees are inappropriately received or paid on Transactions, Visa
reserves the right to rectify the improper allocations in the event of Visa, VisaNet, or Visa computer
systems errors, under the conditions and process specified in "Interchange Reimbursement Fee
Adjustments."

This provision is not applicable to Transactions involving Issuers or Acquirers in the jurisdiction of
Visa Europe.

ID#: 010410-010410-0007959



Interchange Reimbursement Fee Adjustment Conditions

Interchange Reimbursement Fee adjustments may only be made as follows:

• Adjustments are limited to Transactions occurring within 90 calendar days of the Processing Date
  of the oldest Transaction submitted by the Member or identified by Visa
• Transactions beyond 90 calendar days (not to exceed 2 years from the date submitted by
  the Member or identified by Visa) may be considered for adjustment if Visa determines that
  extenuating circumstances prevented the Member from discovering the violation sooner
• When an Issuer or Acquirer is at fault, the impacted Issuer(s) or Acquirer(s) is required to use the
  Interchange Reimbursement Fee Compliance process
• Adjustments will only be made when the total Interchange Reimbursement Fee amount to be
  corrected is greater than US $2,500
• Individual correcting Transactions will only be made if the amount of the correcting transaction is
  greater than US $50

Visa may, at its sole discretion, offer to use this adjustment process regardless of the adjustment
amount.

ID#: 010410-010410-0007972




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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15          Page: 1115 of 1319
                                                   PageID #: 4308
                                    Visa International Operating Regulations




Interchange Reimbursement Fee Adjustment Process

Interchange Reimbursement Fee adjustments will be processed as follows:

• Visa will notify the Members that will receive a correcting Transaction
• Visa will initiate correcting Fee Collection Transaction (transaction code 10) and Funds
  Disbursement Transaction (transaction code 20) through VisaNet
• All Visa decisions are final
• A Member may appeal a decision only if the Member can provide new evidence not previously
  available and the amount in dispute is greater than US $5,000

ID#: 010410-010410-0007960




Interchange Reimbursement Fee-Related Fines

Interchange Reimbursement Fee Fines


Fine for Inappropriate Interchange Reimbursement Fee - U.S. Region

A U.S. Acquirer whose Merchant Outlet is identified for 4 or more months as receiving an Interchange
Reimbursement Fee not meeting the Interchange Reimbursement Fee processing requirements is
assessed a fine, per Merchant Outlet, as specified in the table below.


                             Fines Related to a Merchant Outlet Receiving an
                       Inappropriate Interchange Reimbursement Fee - U.S. Region

                             Violation                                            Fine

    Fourth month                                                               US $1,000

    Fifth month                                                                US $5,000

    Each month after the fifth month                                           US $10,000

ID#: 010410-010410-0003493




1078                                               VISA PUBLIC                              18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1116 of 1319
                                                PageID #: 4309
                                     Visa International Operating Regulations




Fine for Inappropriate Credit Transaction Interchange Reimbursement Fee - U.S.
Region

A U.S. Acquirer whose Merchant Outlet is identified during 2 consecutive months as receiving an
inappropriate Interchange Reimbursement Fee for Credit Transactions is assessed a fine equal to
3 times the U.S. dollar value of the fees that were due to the Issuer during the previous 12-month
period.

ID#: 010410-010410-0003494



Fine for Failure to Qualify for Supermarket Classification - U.S. Region

A U.S. Acquirer whose Merchant Outlet is identified as failing to meet the qualification requirements
for Merchant Category Code 5411, "Supermarkets," classification, as specified for the Supermarket
Incentive Program, is assessed a penalty of US $5,000 per month, per Merchant Outlet, until the
qualification requirements are met.

ID#: 010410-010410-0003495




18 October 2011                                     VISA PUBLIC                                      1079
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   Case: 4:13-cv-02226-JAR                 Doc. #: 85-5 Filed: 02/12/15   Page: 1117 of 1319
                                               PageID #: 4310




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1080                                          VISA PUBLIC                      18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1118 of 1319
                                                PageID #: 4311
                                     Visa International Operating Regulations




Glossary

Terms and Definitions

0-9


3-D Secure

A Visa-approved Authentication Method that is the global authentication standard for Electronic
Commerce Transactions.

ID#: 010410-010410-0024200



3-D Secure Authenticated Payment Program - U.S. Region

A Visa program for Members and Merchants that is the global authentication standard for Electronic
Commerce Transactions.

ID#: 010410-010410-0024201



3-D Secure Authentication Request - U.S. Region

See Authentication Request.

ID#: 010410-010410-0024202



3-D Secure Electronic Commerce Transaction Specification

A software protocol that enables secure processing of Transactions over the Internet and other
networks.

ID#: 010410-010410-0024203



3-D Secure Specification - U.S. Region

A software protocol that enables secure processing of Transactions over the Internet and other
networks.

ID#: 010410-010410-0024204




18 October 2011                                     VISA PUBLIC                                   1081
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    Case: 4:13-cv-02226-JAR                    Doc. #: 85-5 Filed: 02/12/15        Page: 1119 of 1319
                                                   PageID #: 4312
                                    Visa International Operating Regulations




A


Acceptance Mark - U.S. Region

A Visa-Owned Mark that denotes Point-of-Transaction acceptance for payments and Cash
Disbursements under specific rules.

ID#: 150511-010410-0024205



Access Control Server - U.S. Region

A component of the 3-D Secure Authenticated Payment Program that provides functionality for
authentication, attempted authentication, and related Authentication Record messaging, as specified
in the 3-D Secure Issuer Implementation Guide.

ID#: 010410-010410-0024206



Access Fee

A fee that is imposed by an ATM Acquirer as part of a Cash Disbursement Transaction, to a
Cardholder for use of its ATM.

ID#: 150511-180409-0024207



Account Data Compromise Recovery Process - U.S. Region

A Visa-initiated process to facilitate allocation of liability between Members for certain losses incurred
as the result of an account compromise event.

ID#: 010410-010410-0024212



Account Funding Transaction

A Transaction that transfers funds from a Visa account to another account.

ID#: 050411-010410-0024213



Account Funding Transaction - U.S. Region

An Electronic Commerce Transaction that meets the Account Funding Transaction requirements
specified in the U.S. Regional Operating Regulations.

ID#: 010410-010410-0024214




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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1120 of 1319
                                                PageID #: 4313
                                     Visa International Operating Regulations




Account Information Security Program

A program managed by Visa that defines the standards of due care and enforcement for protecting
sensitive Cardholder information and supports both:

• Payment Card Industry Data Security Standard (PCI DSS)
• Payment Card Industry Payment Application Data Security Standard (PA-DSS)

ID#: 050411-200509-0024215



Account Number

An Issuer-assigned number that identifies an account in order to post a Transaction.

ID#: 010410-010410-0024216



Account Number Verification

A process by which a Member or its VisaNet Processor determines, using a currency unit of zero, if
there is negative information on an Account Number in the Exception File for Transactions that do not
require Authorization.

ID#: 111011-010410-0024217



Account Number Verification Service - U.S. Region

A service that:

• Is available to a Merchant’s Authorizing Processor that has a computer interface with BASE I
• Electronically verifies whether negative Account Number information is listed on the Exception File

ID#: 230711-010410-0024218



Account-Number-Verifying Terminal - U.S. Region

A Point-of-Transaction Terminal that:

• May be required at specified high-risk locations
• Reads the Account Number encoded on the Magnetic Stripe or Chip
• Compares the last four digits of the encoded Account Number to the key-entered last four digits of
  the embossed or printed Account Number
• Transmits the full, unaltered contents of the Magnetic Stripe or Chip in the Authorization Message

ID#: 080411-010410-0024210




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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15    Page: 1121 of 1319
                                                   PageID #: 4314
                                    Visa International Operating Regulations




Acquirer

A Member that signs a Merchant or disburses currency to a Cardholder in a Cash Disbursement, and
directly or indirectly enters the resulting Transaction Receipt into Interchange.

ID#: 010410-010410-0024219



Acquirer Activity File

A file that an Acquirer maintains of approved and declined Authorization Requests from other
Members’ Cardholders.

ID#: 010410-010410-0024220



Acquirer Chip Rate

An Interregional Interchange Reimbursement Fee paid for any Transaction that meets the Electronic
Rate requirements and is initiated by a Magnetic-Stripe-only Card at a Chip-Reading Device.

ID#: 010410-010410-0024221



Acquirer Device Validation Toolkit (ADVT)

A set of cards or simulated cards and test scenarios used to validate new or upgraded EMV Chip-
Reading Devices.

ID#: 010410-010410-0024222



Acquirer Monitoring Program - U.S. Region

A program that monitors an Acquirer’s Fraud Activity level and provides reports to the Acquirer when
its Fraud Activity level exceeds established thresholds.

ID#: 010410-010410-0024224



Acquirer Processor - Canada Region

A Non-Member Agent or Processor that a Member has engaged to support its Visa acquiring
business.

ID#: 010410-010410-0024225




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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1122 of 1319
                                                PageID #: 4315
                                     Visa International Operating Regulations




Acquirer Reference Number

A 23-digit identification number included in a BASE II Clearing Record, as specified in the VisaNet
manuals. See Tracing Data.

ID#: 050411-010410-0024226



Acquirer’s Processing Date - U.S. Region

One of the following dates on a Clearing Record:

• If cleared through BASE II, the Edit Package run date on which a Member submits outgoing
  Interchange
• If cleared through the Single Message System, the Settlement Date

ID#: 010410-010410-0024227



Acquisition

The purchase of a Member organization by another organization where the acquired Member's
charter remains intact.

ID#: 111011-010410-0024229



Activate Later Feature - Canada Region

A feature that allows a Cardholder who holds a Card issued by a Canada Member to postpone
enrollment in 3-D Secure (commonly known as the Verified by Visa program) during an Electronic
Commerce Transaction at an Activate Later Merchant.

ID#: 010410-010410-0024230



Activate Later Merchant - Canada Region

An Electronic Commerce Merchant that meets the requirements of "Verified by Visa Activate Later
Feature Merchant Requirements - Canada Region."

ID#: 050411-010410-0024231



Activation and Load Service

A Visa processing service that enables the activation of Visa Prepaid Cards, and the activation of
funds associated with a Load Transaction to a Visa Prepaid Card, at a Prepaid Partner.

ID#: 081010-010100-0025556



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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15    Page: 1123 of 1319
                                                   PageID #: 4316
                                    Visa International Operating Regulations




Activity File

A V.I.P. System file used for Stand-In Processing that contains accumulated Transaction activity
processed for each Cardholder within a specified time period, as specified in the appropriate VisaNet
manual.

ID#: 050411-010410-0024233



Activity File Parameter

A maximum limit that an Issuer establishes on the number and value of Transactions that Visa may
authorize on its behalf. (See the VisaNet manuals.)

ID#: 010410-010410-0024234



Activity Limits - U.S. Region

See Activity File Parameters.

ID#: 010410-010410-0024235



Additional Commercial Card Data - U.S. Region

Data contained in the Clearing Record for a Commercial Visa Product Transaction as follows:

• Sales tax, if completed with a Visa Business Card or Visa Corporate Card
• Sales tax and accounting code, if completed with a Visa Purchasing Card
• Data required when completed with a Visa Fleet Card for the purchase of fuel from a Visa Fleet
  Service Merchant

ID#: 010410-010410-0024236



Address Verification Service - Canada Region

An optional VisaNet service through which a Merchant can verify a Cardholder’s billing address
before completing a Transaction in a Card-Absent Environment.

ID#: 010410-010410-0024237



Address Verification Service - U.S. Region

A VisaNet service through which a Merchant may verify a Cardholder’s billing address before
completing any one of the following:




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                                                PageID #: 4317
                                     Visa International Operating Regulations


• A Mail/Phone Order or Electronic Commerce Transaction where merchandise or airline tickets will
  be delivered to the Cardholder or the Cardholder’s designee, or where services were purchased
• A CPS/Retail Key-Entry Transaction
• A CPS/Account Funding Transaction or CPS/e-Commerce Basic Transaction
• A CPS/e-Commerce Preferred Retail Transaction
• A CPS/e-Commerce Preferred Hotel and Car Rental Transaction
• An Automated Fuel Dispenser Transaction (ZIP only inquiry)
• A Face-To-Face Environment Transaction if the Merchant has been qualified by Visa to use the
  Address Verification Service (ZIP only inquiry)

ID#: 010410-010410-0024238



Address Verification Service Authentication Request - Canada Region

A request to verify a Cardholder’s billing address through the Address Verification Service.

ID#: 010410-010410-0024239



Adjustment

A Single Message System message used to partially or fully negate or cancel a transaction that has
been sent through Interchange in error.

ID#: 010410-010410-0024241



Advance Deposit Service

A service that a Hotel or Cruise Line provides to a Visa Cardholder, allowing use of a Visa Card to
pay an advance deposit required by the Merchant to reserve accommodations.

ID#: 010410-010410-0024246



Advance Deposit Transaction

A Transaction that a Hotel or Cruise Line completes, resulting from a Visa Cardholder’s agreement to
use a Visa Card for payment of an advance deposit to reserve accommodations.

ID#: 010410-010410-0024247




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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15     Page: 1125 of 1319
                                                   PageID #: 4318
                                    Visa International Operating Regulations




Advance Payment Service - U.S. Region

A Visa service that allows a Cardholder to use their Card for a partial or complete advance payment
for recreational services or activities provided by an Advance Payment Service Merchant.

ID#: 010410-010410-0024250



Advance Payment Service Merchant - U.S. Region

A non-T&E Merchant participating in the Advance Payment Service, whose primary function is to
provide recreational services related to tourism and travel, such as the purchase of provisions and
transport equipment or hiring of staff before the scheduled services. These services include, but are
not limited to:

• Fishing boat or scuba-diving charters
• Hot-air balloon rides
• Whitewater rafting

ID#: 010410-010410-0024251



Advance Payment Service Transaction - U.S. Region

A Transaction completed by an Advance Payment Service Merchant.

ID#: 010410-010410-0024252



Advanced Resolution Services - U.S. Region

Advanced Resolution Services, Inc., a wholly-owned subsidiary of Visa U.S.A. that provides to
Members Advanced ID Solutions and Strategic Bankruptcy Solutions, among other services.

ID#: 010410-010410-0024245



Advice File

A file listing Authorization Responses issued by Stand-In Processing on behalf of Issuers.

ID#: 111011-010410-0024253




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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1126 of 1319
                                                PageID #: 4319
                                     Visa International Operating Regulations




Advice Limit

An Issuer-selected dollar amount below which Authorization Requests for purchase Transactions are
checked against the Exception File. No Advice File records are created, and the Activity File is not
checked or updated. The Issuer’s Advice Limit must not exceed the Issuer Limit.

ID#: 010410-010410-0024254



Affiliate - U.S. Region

A Member or Licensee of Visa International, or a Member of Visa U.S.A.

ID#: 010410-010410-0024257



Affiliated-merchant - U.S. Region

An entity that:

• Provides goods or services directly to a retail customer
• Is an affiliate of a Member or an Affinity Partner
• Honors any charge or credit card plan as a means of payment

"Affiliate" has the same meaning as defined in the Federal Bank Holding Company Act of 1956, as
amended, 12USC 1841(k).

ID#: 010410-010410-0024255



Affinity Card - Canada Region

A Card issued as specified for the Affinity Card Program, as specified in the Canada Regional
Operating Regulations.

ID#: 010410-010410-0024258



Affinity Card - U.S. Region

A Visa Consumer Card bearing the Trade Name or Mark of an Affinity Partner, as specified in the
U.S. Regional Operating Regulations.

ID#: 010410-010410-0024259




18 October 2011                                     VISA PUBLIC                                   1089
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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15      Page: 1127 of 1319
                                                   PageID #: 4320
                                    Visa International Operating Regulations




Affinity Card Program - Canada Region

A Card program as specified in the Canada Regional Operating Regulations.

ID#: 010410-010410-0024261



Affinity Participant - Canada Region

An entity that is not eligible to be a customer of Visa Canada that is participating with a Member in an
Affinity Card Program.

ID#: 010410-010410-0024265



Affinity Participant Agreement - Canada Region

The agreement between the Member and the Affinity Participant relating to the Affinity Participant’s
Affinity Card Program.

ID#: 010410-010410-0024266



Affinity Partner - U.S. Region

A non-Member entity that:

• Is not eligible for membership in Visa
• Has a relationship with an Issuer for the issuance of Affinity Cards

ID#: 010410-010410-0024267



Agent

An entity that acts as a VisaNet Processor, a Third Party Agent, or both.

ID#: 111011-010100-0025920



Agent Reference File - U.S. Region

A file maintained by Visa containing information about Third Parties.

ID#: 010410-010410-0024269




1090                                               VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1128 of 1319
                                                PageID #: 4321
                                     Visa International Operating Regulations




Aggregated Transaction

A Transaction completed by an Electronic Commerce Merchant that combines multiple purchases
made by the same Cardholder on the same Visa Account Number into a single Transaction before
submitting it for payment processing.

ID#: 010410-010410-0024270



Aggregated Transaction Receipt

A Transaction Receipt provided to the Cardholder by an Electronic Commerce Merchant when
Transaction aggregation is performed.

ID#: 010410-010410-0024271



AID - Canada Region

Application Identifier.

ID#: 010410-010410-0024272



Airline

Either:

• A passenger airline Merchant
• Its authorized agent that sells airline tickets on behalf of the airline

ID#: 010410-010410-0024273



Airline Authorizing Processor

A Visa-approved non-Member whose primary function is to provide reservation and Authorization
services for Airline Transactions, or travel-related services that includes the purchase of an Airline
ticket.

ID#: 010410-010410-0024274



Airline Ticket Identifier

A 13-digit number on an Airline Transaction Receipt comprising either:

• The servicing carrier code and a transmission control number, excluding the check-digit, if the
  Airline ticket is printed on a transitional automated ticket form




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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15      Page: 1129 of 1319
                                                   PageID #: 4322
                                    Visa International Operating Regulations


• A carrier number, form number, and serial number, excluding the check-digit, if the Airline ticket is
  printed on an automated ticket/boarding pass form

ID#: 010410-010410-0024278



Airline/Railway Ticket Identifier - U.S. Region

A 13-digit number on an Airline or railway Transaction Receipt comprising either:

• The servicing carrier code and a transmission control number, excluding the check-digit, if the
  ticket is printed on a transitional automated ticket form
• A carrier number, form number, and serial number, excluding the check-digit, if the ticket is printed
  on an automated ticket/boarding pass form

ID#: 010410-010410-0024277



Alert - U.S. Region

A Notification to an Acquirer when its Fraud Activity-to-sales ratio exceeds Visa-specified Acquirer
Monitoring Program Alert thresholds.

ID#: 010410-010410-0024279



Anti-Money Laundering Program - U.S. Region

A program that a Member implements and maintains to prevent money laundering and terrorist
financing.

ID#: 010410-010410-0024280



AP

Asia-Pacific.

ID#: 010410-010410-0024281



Appeal Committee - U.S. Region

Effective through 14 February 2011, a group of Visa senior management that determines the
appeal outcome for a Member that arises from a determination of an Operating Regulation violation,
as specified in "Compliance Enforcement Appeals."

ID#: 050411-010410-0024282




1092                                               VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1130 of 1319
                                                PageID #: 4323
                                     Visa International Operating Regulations




Application Identifier - Canada Region

An EMV-compliant identifier that specifies a unique payment application contained in a Compliant
Chip Card.

ID#: 010410-010410-0024283



Application Selection Flag - Canada Region

An EMV-compliant Canadian payment industry specification that allows an Issuer to control which
payment applications that are contained in a Compliant Chip Card can process a Transaction at a
POS or an ATM.

ID#: 010410-010410-0024284



Application Transaction Counter - U.S. Region

An application on a Contactless Card that sequentially tracks the number of times the Chip is read
and used by the Issuer during the Authorization process to help ensure the Transaction is valid.

ID#: 010410-010410-0024286



Approval Response

An Authorization Response where the Transaction was approved.

ID#: 010410-010410-0024287



Approved Fulfillment Vendor

An entity approved by Visa to package, store, or ship Visa Products that is not an Approved
Manufacturer or Approved Personalizer as specified in the Approved Vendor Program.

ID#: 111011-010100-0025522



Approved Manufacturer

An entity approved by Visa to manufacture or print Visa Products.

ID#: 050411-010410-0024288




18 October 2011                                     VISA PUBLIC                                    1093
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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 1131 of 1319
                                                   PageID #: 4324
                                    Visa International Operating Regulations




Approved Personalizer

An entity approved by Visa to personalize Visa Products.

ID#: 111011-010100-0025523



Approved Vendor

An entity approved by Visa to act as a manufacturer, a personalizer, or an encryption support or a
fulfillment vendor.

ID#: 111011-010100-0025521



Arbitration

A process where Visa determines financial liability between Members for Interchange Transactions
that are presented and charged back.

ID#: 010410-010410-0024289



Arbitration and Compliance Committee

A Visa committee that resolves certain disputes between Members that arise from Chargebacks or
from violations of any Visa International Operating Regulations.

ID#: 010410-010410-0024290



ASF - Canada Region

Application Selection Flag.

ID#: 010410-010410-0024291



Associate-Type Member

A Member of Visa with rights and responsibilities, as defined in the applicable Certificate of
Incorporation and Bylaws, that is either an:

• Associate, as defined in the applicable Certificate of Incorporation and Bylaws
• Acquiring Associate, as defined under the Visa U.S.A. Inc. Certificate of Incorporation and Bylaws,
  Article II, Section 2.04(e)

ID#: 111011-010410-0024293




1094                                               VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1132 of 1319
                                                PageID #: 4325
                                     Visa International Operating Regulations




Assuming Member - U.S. Region

The Member that assumes the Visa programs of a failed Member upon a regulatory closure of that
failed Member.

ID#: 111011-010100-0025754



ATM

An unattended Magnetic-Stripe or Chip-reading Terminal that has Electronic Capability, accepts
PINs, and disburses currency.

ID#: 010410-010410-0024295



ATM Acceptance Mark - U.S. Region

An Acceptance Mark that denotes Card acceptance at an ATM.

ID#: 010410-010410-0024297



ATM Acquirer

An Acquirer that provides ATM services.

ID#: 010410-010410-0024298



ATM Cash Disbursement

A Cash Disbursement obtained at an ATM displaying the Visa, Plus, or Visa Electron Acceptance
Mark, for which the Cardholder’s PIN is accepted.

ID#: 010410-010410-0024299



ATM Mark

A Mark that denotes ATM acceptance.

ID#: 010410-010410-0024300




18 October 2011
1095                                                VISA PUBLIC
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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 1133 of 1319
                                                   PageID #: 4326
                                    Visa International Operating Regulations




ATM Operator - U.S. Region

An entity authorized by a Member or the Member’s Agent to originate a Transaction through the
connection of an ATM to the Visa ATM Network, and that displays an Acceptance Mark. ATM
Operators own, operate, or lease ATMs that are connected to the Visa ATM Network and may exhibit
either or both of the following characteristics:

• Receive revenue from the Interchange process or from fees assessed with Transactions
• Manage cryptographic functions or stock ATMs with cash

ID#: 010410-010410-0024301



Attempt Response

A message from a 3-D Secure Issuer in response to an Authentication Request from a 3-D Secure
Merchant, indicating that the Cardholder is not participating in 3-D Secure.

ID#: 010410-010410-0024302



Australia Bill Payment Transaction – AP Region

A Transaction which is in accordance with the requirements specified in “Australia Bill Payment
Transaction Requirements – AP Region."

ID#: 080411-060111-0026178



Authentication

A cryptographic process that validates the identity and integrity of Chip data.

ID#: 010410-010410-0024303



Authentication Confirmation

A message from a 3-D Secure Issuer in response to an Authentication Request from a 3-D Secure
Merchant, confirming Cardholder authentication.

ID#: 010410-010410-0024304



Authentication Data - U.S. Region

All Transaction-related data associated with a Three-Domain Secure Authentication Request.

ID#: 010410-010410-0024305




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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1134 of 1319
                                                PageID #: 4327
                                     Visa International Operating Regulations




Authentication Denial

A message from a 3-D Secure Issuer in response to an Authentication Request from a 3-D Secure
Merchant, denying Cardholder authentication.

ID#: 010410-010410-0024306



Authentication History Server - U.S. Region

A component of the 3-D Secure Authenticated Payment Program. A Visa-operated database of all 3-
D Secure Authentication Records, as specified in the 3-D Secure Issuer Implementation Guide.

ID#: 010410-010410-0024307



Authentication Identifier

A unique value for each authentication Transaction, as specified in the 3-D Secure Member
implementation guides.

ID#: 010410-010410-0024308



Authentication Mechanism

A Visa-approved method that validates a participant’s identity in an Electronic Commerce
Transaction. Authentication Mechanisms include, but are not limited to:

• Password
• Digital Certificate

ID#: 010410-010410-0024309



Authentication Method

A Visa-approved protocol, such as 3-D Secure, that meets the minimum standards for authenticating
the Cardholder in an Electronic Commerce Transaction.

ID#: 010410-010410-0024310



Authentication Record

A record of 3-D Secure authentication status from a 3-D Secure Issuer in response to an
Authentication Request from a 3-D Secure Merchant.

ID#: 111011-010410-0024311




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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15    Page: 1135 of 1319
                                                   PageID #: 4328
                                    Visa International Operating Regulations




Authentication Record - U.S. Region

A record of 3-D Secure authentication status from a 3-D Secure Issuer, or Visa on behalf of an Issuer,
in response to an Authentication Request from a 3-D Secure Merchant. Authentication Records
include:

• Attempt Responses
• Authentication Confirmations
• Authentication Denials
• Unable-to-Authenticate Responses

ID#: 010410-010410-0024312



Authentication Request

A request for Cardholder authentication from a 3-D Secure Merchant.

ID#: 010410-010410-0024313



Authorization

A process where an Issuer, a VisaNet Processor, or Stand-In Processing approves a Transaction.
This includes Offline Authorization.

ID#: 080411-010410-0024316



Authorization Code

A code that an Issuer, its VisaNet Processor, or Stand-In Processing provides to indicate approval of
a Transaction. The code is returned in the Authorization Response message and is usually recorded
on the Transaction Receipt as proof of Authorization.

ID#: 010410-010410-0024317



Authorization Preferred Visa Prepaid Card

A Visa Prepaid Card, bearing the Visa Brand Mark or Visa Brand Mark with the Electron Identifier,
that has a Service Code denoting "Online Authorization mandatory" encoded on the Magnetic Stripe.

ID#: 081010-010410-0024318




1098                                               VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1136 of 1319
                                                PageID #: 4329
                                     Visa International Operating Regulations




Authorization Request

A Merchant’s or Acquirer’s request for an Authorization.

ID#: 010410-010410-0024319



Authorization Request Cryptogram

An application Cryptogram generated by a Chip Card when requesting Online Authorization.

ID#: 111011-150410-0025502



Authorization Response

An Issuer’s reply to an Authorization Request or Account Number Verification that refers to the
following types of Authorization Responses:

• Approval Response
• Decline Response
• Pickup Response
• Referral Response

ID#: 111011-010410-0024321



Authorization Response - U.S. Region

An Issuer, Authorizing Processor, or Stand-In Processing reply to an Authorization Request or
Account Number Verification. The U.S. Regional Operating Regulations refers to the following types
of Authorization Response:

• Approval Response
• Decline Response
• Pickup Response
• Referral Response

ID#: 010410-010410-0025500




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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15    Page: 1137 of 1319
                                                   PageID #: 4330
                                    Visa International Operating Regulations




Authorization Reversal

A VisaNet message that negates an Approval Response previously sent through the V.I.P. System
as specified in the Visa International Operating Regulations and appropriate VisaNet manual. An
Authorization Reversal may be for the full amount of the previous Authorization or an amount less
than the previous Authorization amount.

ID#: 111011-010410-0025601



Authorizing Member - U.S. Region

See Authorizing Processor.

ID#: 010410-010410-0024323



Authorizing Processor - U.S. Region

A Member of Visa or its VisaNet Processor that provides Authorization services for Merchants or
other Members. This definition does not imply or confer membership rights as defined in the Visa
U.S.A. Inc. Certificate of Incorporation and Bylaws, Article II.

ID#: 010410-010410-0024324



Automated Dispensing Machine (Updated)

Effective through 14 October 2011, see Unattended Acceptance Terminal and Cardholder-
Activated Transaction Type C.

ID#: 111011-010410-0024326



Automated Dispensing Machine - U.S. Region (Updated)

Effective through 14 October 2011, a Cardholder-Activated Terminal that accepts payment for
dispensed goods, has Electronic Capability, and accepts PINs.

ID#: 111011-010410-0024327



Automated Fuel Dispenser (Updated)

Effective through 14 October 2011, an Unattended Acceptance Terminal that dispenses only fuel.
See also Cardholder-Activated Transaction Type B and Cardholder-Activated Transaction Type C.




1100                                               VISA PUBLIC                       18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1138 of 1319
                                                PageID #: 4331
                                     Visa International Operating Regulations



Effective 15 October 2011, an Unattended Cardholder-Activated Terminal that dispenses only fuel
such as gasoline, diesel fuel, or propane.

ID#: 111011-010410-0024328



Automated Fuel Dispenser - U.S. Region (Updated)

Effective through 14 October 2011, a Self-Service Terminal or Automated Dispensing Machine that
dispenses fuel such as gasoline, diesel fuel, or propane.

ID#: 111011-010410-0024331



B


Balance Inquiry

A Cardholder request for their account balance that is initiated at an ATM and processed as a
separate, non-financial transaction.

ID#: 010410-010410-0024334



Balance Inquiry Service

An ATM service that allows a Cardholder to check their account balance through VisaNet.

ID#: 010410-010410-0024335



Bank Identification Number - U.S. Region

See BIN.

ID#: 010410-010410-0024339



Bank of America Visa Mini Card Exclusive License Agreement - U.S. Region

The Exclusive License Agreement entered into by and between Bank of America Corporation and
Visa U.S.A. Inc. dated as of January 31, 2003 in connection with the issuance of the Visa Mini Card.
The initial term of such agreement expires on January 31, 2013, but is subject to earlier termination or
forfeiture of usage rights in the event of a breach by Visa.

ID#: 010410-010410-0024340




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                                                   PageID #: 4332
                                    Visa International Operating Regulations




Bankruptcy Notification Service - U.S. Region

A Strategic Bankruptcy Solutions service that identifies:

• Visa and non-Visa card applicants
• Cardholders and non-Visa cardholders who have filed bankruptcy

ID#: 010410-010410-0024337



Bankruptcy Retrieval Service - U.S. Region

A service that:

• Collects and validates certain data contained in bankruptcy filings obtained from bankruptcy courts
• Transmits this data on a scheduled basis to the Strategic Bankruptcy Solutions system

ID#: 010410-010410-0024338



BankruptcyPredict Service - U.S. Region

An optional service provided by Experian Information Solutions, Inc. and Integrated Solutions
Concepts, Inc. that uses Member-supplied account performance data, Transaction data, consumer
credit data, and a proprietary model to score Cardholders, cardholders of non-Visa cards, and
customers of other Visa and non-Visa products to predict the likelihood of bankruptcy.

ID#: 010410-010410-0024336



BASE I

A component of the V.I.P. System that provides Authorization-related services for Transactions that
are subsequently cleared and settled through BASE II.

ID#: 050411-010410-0024343



BASE II

A VisaNet system that provides deferred Clearing and Settlement services to Members.

ID#: 010410-010410-0024341



BASE II Software - U.S. Region

Software developed for use in connection with BASE II.

ID#: 010410-010410-0024342



1102                                               VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1140 of 1319
                                                PageID #: 4333
                                     Visa International Operating Regulations




Basic Currency Conversion Rate

A rate selected by Visa from the range of rates available in wholesale currency markets for
the applicable Processing Date, which rate may vary from the rate Visa itself receives; or the
government-mandated rate in effect for the applicable Processing Date.

ID#: 010410-010410-0024345



Bill Payment Transaction – Australia – AP Region

See "Australia Bill Payment Transaction – AP Region"

ID#: 050411-060111-0026186



Bill Payment Transaction - U.S. Region

A Transaction that results from an agreement between a Cardholder and a Merchant where the
Cardholder is billed for goods or services within an ongoing service cycle that is known and agreed
upon, in advance, by both the Merchant and the Cardholder. Transactions may occur monthly or on a
periodic basis. Such Transactions include:

• Single payments initiated by the Cardholder in either a Face-to-Face Environment or Card-Absent
  Environment
• Recurring Transactions
• Installment Billing Transactions

ID#: 010410-010410-0024350



Billing Currency

The currency in which an Issuer bills a Cardholder for Transactions. If the Billing Currency is the euro
or one of its national currency units, either may be used for Chargeback or statementing purposes.

ID#: 010410-010410-0024349



BIN

A 6-digit number assigned by Visa and used to identify a Member or VisaNet Processor for
Authorization, Clearing, or Settlement processing.

ID#: 010410-010410-0024351




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                                                   PageID #: 4334
                                    Visa International Operating Regulations




BIN Licensee

A Member or non-Member VisaNet Processor that is allocated responsibility by Visa for a specific
BIN, as specified in the Visa International Operating Regulations and applicable Certificate of
Incorporation and Bylaws.

ID#: 111011-010410-0024352



BIN User

Any Member authorized to use a BIN licensed to its Sponsor, as specified in the Visa International
Operating Regulations.

ID#: 111011-010100-0025530



Board

See Board of Directors.

ID#: 010410-010410-0024353



Board of Directors

One of the following as applicable:

• Visa Inc. Board of Directors
• Visa International Board of Directors
• Visa U.S.A. Board of Directors
• Visa Canada Board of Directors
• Visa Worldwide Board of Directors

ID#: 010410-010410-0024354



Branch

The office of a Member where Manual Cash Disbursements must be made and Cards may also be
issued.

ID#: 010410-010410-0024355




1104
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1142 of 1319
                                                PageID #: 4335
                                     Visa International Operating Regulations




Business I.D. - U.S. Region

A unique Member identification number assigned by Visa.

ID#: 010410-010410-0024356



C


Campus Card - U.S. Region

A Card issued to a student, staff member, or faculty member of an educational organization in the
U.S. Region as an integral part of a campus identification card that:

• Bears the Visa Mark
• Is linked to a deposit account
• Includes one or more of the following applications: identification, building access, library access, or
  a proprietary closed loop payment application for use only on a college or university campus

ID#: 081010-090409-0024358



CAMS Alert - U.S. Region

A notification through CAMS sent to alert Issuers of Account Numbers involved in a potential
compromise event.

ID#: 010410-010410-0024359



CAMS Event - U.S. Region

An account compromise event wherein one CAMS Alert or multiple, related CAMS Alerts are sent
notifying Issuers of Account Numbers involved in a potential compromise.

ID#: 010410-010410-0024360



Car Rental Company

A Merchant whose primary business is the rental of passenger vehicles at either a corporate or
franchise location, or at locations of licensees bearing the name of the corporate entity.

ID#: 010410-010410-0024404




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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15     Page: 1143 of 1319
                                                   PageID #: 4336
                                    Visa International Operating Regulations




Car Rental Merchant - U.S. Region

See Car Rental Company.

ID#: 010410-010410-0024405



Card

A valid Visa Card, Visa Electron Card, or Proprietary Card bearing the Plus Symbol.

ID#: 010410-010410-0024365



Card Dispensing Machine (Updated)

Effective through 31 December 2013, a device that dispenses Visa Cash Cards when the
purchaser makes appropriate payment. A Card Dispensing Machine may accept cash or payment
cards as payment for Visa Cash Cards.

ID#: 111011-010410-0024386



Card Distribution Point

A location, other than a Branch, where a Visa or Visa Electron Card may be issued. Cards issued at a
Card Distribution Point must comply with all Visa security requirements for Card embossing, printing,
encoding, storing, shipping, and distribution. Examples include, but are not limited to, the following:

• Travel agencies
• Corporate entities

ID#: 010410-010410-0024387



Card Manufacturing Agreement - U.S. Region

An agreement provided by Visa that specifies security procedures to be followed by a Certified
Manufacturer.

ID#: 010410-010410-0024388



Card Personalization - U.S. Region

The process that includes the embossing, printing, or encoding of a Visa Card, or the embedding or
initializing of an Integrated Circuit Chip on a Visa Card.

ID#: 010410-010410-0024389




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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1144 of 1319
                                                PageID #: 4337
                                     Visa International Operating Regulations




Card Recovery Bulletin

A directory of blocked Account Numbers listed on the International Exception File, intended for
distribution to Merchants. The Card Recovery Bulletin may take one of the following forms:

• National Card Recovery Bulletin
• National Card Recovery File
• Regional Card Recovery File

ID#: 010410-010410-0024390



Card Recovery Bulletin Listing

A single Account Number that an Issuer requests to be included in a specified Card Recovery Bulletin
Region.

ID#: 010410-010410-0024391



Card Recovery Bulletin Region

A geographical area comprising countries where a given set of Card Recovery Bulletin Listings is
effective for a specified period.

ID#: 010410-010410-0024392



Card Recovery Bulletin Service

A service where an Issuer notifies Acquirers of blocked Account Numbers. The service comprises
distribution of both:

• A printed Card Recovery Bulletin
• The Regional Card Recovery File

ID#: 010410-010410-0024395



Card Verification Service

A VisaNet service where Visa validates the Card Verification Value in an Authorization Request on
behalf of an Issuer.

ID#: 010410-010410-0024398




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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15    Page: 1145 of 1319
                                                   PageID #: 4338
                                    Visa International Operating Regulations




Card Verification Value

A unique check value encoded on the Magnetic Stripe of a Card to validate Card information during
the Authorization process. The Card Verification Value is calculated from the data encoded on the
Magnetic Stripe using a secure cryptographic process.

ID#: 010410-010410-0024399



Card Verification Value 2

A unique check value printed on the back of a Card, which is generated using a secure cryptographic
process, as specified in the Payment Technology Standards Manual.

ID#: 010410-010410-0024400



Card Verification Value 2 - U.S. Region

A unique check value generated using a secure cryptographic process, as specified in the Payment
Technology Standards Manual, that is indent-printed on the back of a Visa Card, or provided to a
Virtual Account-Holder.

ID#: 010410-010410-0024401



Card Verification Value 2 Program - U.S. Region

A Visa program that enables Issuers to validate the Card Verification Value 2, ensuring that it
matches the value indent-printed on the Visa Card at the time of issuance or provided to a Virtual
Account Holder.

ID#: 050411-010410-0024402



Card-Absent Environment

An environment where a Transaction is completed under both of the following conditions:

• Cardholder is not present
• Card is not present

ID#: 010410-010410-0024362




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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1146 of 1319
                                                PageID #: 4339
                                     Visa International Operating Regulations




Card-Present Environment

An environment that comprises the conditions of either the Face-to-Face or Unattended
Environments.

ID#: 010410-010410-0024363



Cardholder

An individual who is issued and authorized to use a:

• Card
• Virtual Account

ID#: 010410-010410-0024372



Cardholder Access Device

A terminal, personal computer, or other device that a Cardholder uses to initiate an Electronic
Commerce Transaction.

ID#: 010410-010410-0024374



Cardholder Authentication Verification Value

A unique value transmitted by an Issuer in response to an Authentication Request from a 3-D Secure
Merchant.

ID#: 010410-010410-0024375



Card-Present Environment - U.S. Region (Updated)

Effective through 14 October 2011, an environment that comprises the conditions of either the
Face-To-Face or Cardholder-Activated Terminal environment.

ID#: 111011-010410-0024364



Cardholder Authentication Verification Value - U.S. Region

A unique value transmitted by an Issuer, or Visa on behalf of an Issuer, in response to an
Authentication Request from a 3-D Secure Merchant.

ID#: 010410-010410-0024376




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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15      Page: 1147 of 1319
                                                   PageID #: 4340
                                    Visa International Operating Regulations




Cardholder Information Security Program - U.S. Region

A program developed by Visa that defines the standard of due care and enforcement for protecting
sensitive Cardholder information.

ID#: 010410-010410-0024378



Cardholder Inquiry Service

A service that assists a Cardholder in reaching their Issuer when calling the Visa Global Customer
Care Services for account information.

ID#: 081010-010410-0024379



Cardholder Maintenance File - U.S. Region

A file consisting of Cardholder names, addresses, and account information for all eligible Visa
Traditional Rewards, Visa Signature Cardholders, and provided to Visa on an ongoing basis in
accordance with the requirements and the format specified in the Visa Incentive Network Member
Implementation Guide and the VisaNet manuals.

ID#: 010410-010410-0024380



Cardholder Verification

The process of validating a Cardholder’s identity through verification of the Cardholder’s signature or
PIN and other methods as required in the Visa International Operating Regulations (e.g., Cardholder
identification for Manual Cash Disbursements).

ID#: 010410-010410-0024381



Cardholder Verification Method

Instructions encoded within a Chip that define how the authenticity of a Cardholder’s identity is to be
verified.

ID#: 010410-010410-0024382



Cardholder Verification Method List

An Issuer-defined list contained within a Chip establishing the hierarchy of preferences for verifying a
Cardholder’s identity.

ID#: 010410-010410-0024383




1110                                               VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1148 of 1319
                                                PageID #: 4341
                                     Visa International Operating Regulations




Cash Disbursement

Currency, including travelers cheques, paid out to a Cardholder using a Card, excluding Cash-Back.

ID#: 010410-010410-0024407



Cardholder-Activated Terminal (Updated)

Effective through 14 October 2011, see Unattended Acceptance Terminal.

ID#: 111011-010410-0024366



Cash Disbursement Draft - U.S. Region

See Cash Disbursement Transaction Receipt.

ID#: 010410-010410-0024408



Cardholder-Activated Terminal - U.S. Region (Updated)

Effective through 14 October 2011, a Magnetic-Stripe Terminal or Chip-Reading Device (such as
an Automated Dispensing Machine, Limited-Amount Terminal, or Self-Service Terminal) that is not an
ATM.

ID#: 111011-010410-0024367



Cardholder-Activated Transaction (Updated)

Effective through 14 October 2011, a Transaction that is initiated by a Cardholder at an Unattended
Acceptance Terminal. See Cardholder-Activated Transaction Type A, Cardholder-Activated
Transaction Type B, and Cardholder-Activated Transaction Type C.

ID#: 111011-010410-0024368



Cash Disbursement Fee

A fee paid by an Issuer to an Acquirer for performing a Cash Disbursement.

ID#: 010410-010410-0024409



Cash Disbursement Machines of Non-Member Institutions - LAC Region

See ATMs of Non-Member Institutions.

ID#: 010410-010410-0024410



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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                     Page: 1149 of 1319
                                                   PageID #: 4342
                                    Visa International Operating Regulations




Cardholder-Activated Transaction Type A (Updated)

Effective through 14 October 2011, a Transaction that takes place at an Unattended Acceptance
Terminal and has all of the following characteristics:

• Is less than US $40, or local currency equivalent
• Is not authorized
• Has no Cardholder Verification performed

Examples of a Cardholder-Activated Transaction Type A are:

• Parking garage fee
• Road toll
• Motion picture theater admission
• Magnetic-Stripe Telephone call

ID#: 111011-010410-0024369



Cardholder-Activated Transaction Type B (Updated)

Effective through 14 October 2011, a Transaction that takes place at an Unattended Acceptance
Terminal and has all of the following characteristics:

• Is limited to US $100, [128] or local currency equivalent

• For a Real-Time Clearing Transaction, is US $500 or less, or local currency equivalent
• Is authorized
• Has no Cardholder Verification performed

Examples of a Cardholder-Activated Transaction Type B are:

• Fuel purchase without a PIN
• Visa Prepaid Card purchase
• Video rental

ID#: 111011-010410-0024370



Cash Disbursement Transaction Receipt

A Transaction Receipt evidencing a Manual Cash Disbursement.

ID#: 010410-010410-0024412




128 A variance to this requirement applies in the U.S. Region for Automated Fuel Dispenser Transactions.

1112                                               VISA PUBLIC                                             18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1150 of 1319
                                                PageID #: 4343
                                     Visa International Operating Regulations




Cash-Back

Cash obtained from a Visa or Visa Electron Merchant through use of a Visa or Visa Electron Card, in
conjunction with, and processed as, a Retail Transaction.

ID#: 010410-010410-0024406



Cardholder-Activated Transaction Type C (Updated)

Effective through 14 October 2011, a Transaction that takes place at an Unattended Acceptance
Terminal and has both of the following characteristics:

• Is authorized
• Has PIN Verification performed

An example of a Cardholder-Activated Transaction Type C is a fuel purchase with a PIN.

ID#: 111011-010410-0024371



CEMEA

Central and Eastern Europe, Middle East, and Africa.

ID#: 010410-010410-0024413



Center

A Member or VisaNet Processor facility where Authorization, Clearing, Settlement, or other related
activities take place.

ID#: 010410-010410-0024415



Central Bank

A government agency responsible for the supervision and operation of banking activities for the
national government. Central Bank activities generally include maintaining reserve accounts required
of depository institutions, regulating money supply, transferring funds, and acting as fiscal agent for
the government.

ID#: 010410-010410-0024418



Central Processing Date - U.S. Region

One of the following:



18 October 2011                                     VISA PUBLIC                                    1113
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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 1151 of 1319
                                                   PageID #: 4344
                                    Visa International Operating Regulations


• For Transactions processed through BASE II, the date (based on Greenwich Mean Time) on which
  a Member inputs Interchange data to, and the data is accepted by, a VisaNet Interchange Center
• For Transactions processed through the Single Message System, the date the Transaction is
  settled (for financial Transactions) or date the Transaction is entered into the Single Message
  System (for non-financial transactions)

ID#: 010410-010410-0024420



Central Reservation Service - U.S. Region

An entity that acts as a reservations resource for various geographically contiguous lodging
establishments.

ID#: 010410-010410-0024421



Certification Authority

An entity that issues and manages Digital Certificates for use with Visa products and services in
accordance with Visa-specified requirements. Entities eligible to be Certification Authorities within the
Visa Certification Authority hierarchy include:

• Visa
• Visa Regions
• Visa Members

ID#: 010410-010410-0024423



Chargeback

A Transaction that an Issuer returns to an Acquirer.

ID#: 010410-010410-0024424



Chargeback Period

The number of calendar days from the Endorsement Date or Processing Date, as set out in the
Dispute Resolution rules, of a Transaction Receipt during which time the Issuer may exercise a
Chargeback right.

ID#: 010410-010410-0024426




1114                                               VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1152 of 1319
                                                PageID #: 4345
                                     Visa International Operating Regulations




Chargeback Protection Limit - U.S. Region

A dollar amount that has been established for single Transactions at specific types of Merchant
Outlets below which the Acquirer is protected from a “No Authorization” (Reason Code 72)
Chargeback.

ID#: 010410-010410-0024427



Chargeback Reduction Service

A VisaNet service that screens Presentments and Chargebacks and returns certain invalid items to
the Acquirer or Issuer, as appropriate.

ID#: 010410-010410-0024429



Chargeback Reference Number - U.S. Region

An Issuer-assigned number that identifies the source of an outgoing Chargeback.

ID#: 010410-010410-0024430



Cheque

A travelers cheque that a Member issues and that bears the Visa-Owned Marks.

ID#: 010410-010410-0024431



Chip

An electronic component designed to perform processing or memory functions.

ID#: 010410-010410-0024436



Chip Card

A Card embedded with a Chip that communicates information to a Point-of-Transaction Terminal.

ID#: 010410-010410-0024438



Chip Compliance Reporting Tool (CCRT)

Effective 1 October 2010, a centralized, server-based, online solution for the systematic reporting of
Acquirer Device Validation Toolkit (ADVT) test results.

ID#: 081010-011010-0025676



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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15         Page: 1153 of 1319
                                                   PageID #: 4346
                                    Visa International Operating Regulations




Chip Specifications - Canada Region

All requirements set out in the EMV, VIS, VSDC, PCI, and Visa PIN Entry Device specifications
available at www.visainfo.ca, as may be amended and/or replaced from time to time.

ID#: 010410-010410-0024439



Chip-initiated Transaction

An EMV and VIS-Compliant Chip Card Transaction that is processed at a Chip-Reading Device using
Full-Chip Data, and limited to Visa and Visa Electron Smart Payment Applications, or EMV and VIS-
Compliant Plus applications.

ID#: 010410-010410-0024433



Chip-Reading Device

A Point-of-Transaction Terminal capable of reading, communicating, and processing Transaction data
from a Chip Card.

ID#: 010410-010410-0024435



Classic Visa Check Card - U.S. Region

See Consumer Visa Check Card.

ID#: 010410-010410-0024442



Classic Wordmark

A Visa-Owned Mark comprising the word “Classic” when used in connection with the Visa Program.

ID#: 010410-010410-0024443



Clearing

All of the functions necessary to collect a Clearing Record from an Acquirer in the Transaction
Currency and deliver it to the Issuer in the Billing Currency, or to reverse this transaction, or to
process a Fee Collection Transaction.

ID#: 010410-010410-0024444




1116                                               VISA PUBLIC                              18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1154 of 1319
                                                PageID #: 4347
                                     Visa International Operating Regulations




Clearing Processor

Effective 14 October 2010, a Member or its Visa-approved VisaNet Processor that provides Clearing
and/or Settlement services for Merchants or other Members. This definition does not imply or confer
membership rights as defined in the Visa International Certificate of Incorporation and Bylaws, Article
II, in the Visa U.S.A. Inc. Certificate of Incorporation and Bylaws, Article II, or in the Visa Worldwide
Supplementary Operating Regulations (for Asia-Pacific), Section 1.

ID#: 111011-141010-0026051



Clearing Processor - U.S. Region

Effective through 13 October 2010, a Member or its VisaNet Processor that provides Clearing
and Settlement services for Merchants or other Members. This definition does not imply or confer
membership rights as defined in the Visa U.S.A. Inc. Certificate of Incorporation and Bylaws, Article II.

ID#: 111011-010410-0026586



Clearing Record

A record of a Presentment, Chargeback, Representment, Reversal, or Adjustment in the format
necessary to clear the Transaction.

ID#: 010410-010410-0024446



Clearing Reversal - U.S. Region

A VisaNet Transaction that negates a Transaction previously sent through BASE II or the Single
Message System, as specified in the U.S. Regional Operating Regulations and appropriate VisaNet
manual.

ID#: 010410-010410-0024447



Client Organization

Effective 14 October 2010, a company or organization that sponsors a Commercial Visa Product
program, such as Visa Business, Visa Corporate, Visa Purchasing (including Visa Fleet in the
U.S. Region), and any other Commercial Card program combining the functionality of these
Cards, wherein Cards are provided to users for business-related purchases. Such companies or
organizations may include public or private-sector companies, including sole proprietors and self-
employed individuals.

ID#: 050411-141010-0026020




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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15    Page: 1155 of 1319
                                                   PageID #: 4348
                                    Visa International Operating Regulations




Client Organization - Canada Region

Effective 11 February 2010 through 13 October 2010, a company or organization that sponsors
a Commercial Visa Product program, such as Visa Business, Visa Corporate, Visa Purchasing, and
any other Commercial Card program combining the functionality of these Cards, wherein Cards are
provided to users for business-related purchases. Such companies or organizations may include
public or private-sector companies, including sole proprietors and self-employed individuals.

ID#: 050411-110210-0025609



Client Organization - U.S. Region

Effective through 13 October 2010, a company or organization that sponsors a Commercial Visa
Product program, such as Visa Business, Visa Corporate, Visa Purchasing (including Visa Fleet),
and any other Commercial Card program combining the functionality of these Cards, wherein Cards
are provided to users for business-related purchases. Such companies or organizations may include
public or private-sector companies, including sole proprietors and self-employed individuals.

ID#: 050411-010410-0024448



Client Portfolio Management Self-Service Tools (New)

Effective 8 September 2011, a set of tools, available through Visa Online to Members, VisaNet
Processors, and designated Agents, providing the ability to manage and support Visa profile
information and associated programs and comprising the following:

• Visa Membership Management (VMM)
• Electronic Client Information Questionnaire (eCIQ)
• Visa Client Support Application (VCSA)

ID#: 111011-010100-0026479



Collateral Material - Canada Region

Printed, broadcast, electronic, or other material bearing any of the Visa Program Marks.

ID#: 050411-010410-0024450



Collateral Material - U.S. Region

Printed, broadcast, or other communications regarding the Affinity Partner’s Trade Name or Mark.
These may include, but are not limited to, solicitations, promotional materials, advertisements,
statements, statement inserts, direct mail solicitations, and telemarketing operator scripts.

ID#: 010410-010410-0024452




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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1156 of 1319
                                                PageID #: 4349
                                     Visa International Operating Regulations




Collision/Loss Damage Waiver

A Visa Card feature that provides collision or loss damage insurance on car rental Transactions to
Visa Cardholders.

ID#: 050411-010410-0024453



Combined Data Authentication - Canada Region

An Authentication as specified in the Chip Specifications.

ID#: 050411-010410-0024455



Combined Terminated Merchant File - U.S. Region

See Terminated Merchant File.

ID#: 010410-010410-0024456



Comet Design

A Visa-Owned Mark that consists of a curved graphic element.

ID#: 010410-010410-0024457



Commercial Card - U.S. Region

See Commercial Visa Product.

ID#: 010410-010410-0024458



Commercial Card Enhanced Data Transport - U.S. Region

A Visa service that enables Issuers to provide their Commercial Visa Product customers with
optional enhanced reporting of Commercial Card Transaction information provided by Merchants and
Acquirers.

ID#: 010410-010410-0024459



Commercial Level II Transaction - U.S. Region

A Commercial Visa Product Transaction that is authorized and processed to qualify for the
Commercial Level II Interchange Reimbursement Fee.

ID#: 010410-010410-0024462



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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15    Page: 1157 of 1319
                                                   PageID #: 4350
                                    Visa International Operating Regulations




Commercial Level III Transaction - U.S. Region

A Commercial Visa Product Transaction that is authorized and processed to qualify for the
Commercial Level III Interchange Reimbursement Fee.

ID#: 010410-010410-0024461



Commercial Visa Prepaid Product

A Commercial Visa Product, issued as a Visa Prepaid Card, in which the corporation depositing the
funds remains the owner of the funds in the Visa Prepaid Card account. Commercial Visa Prepaid
Products are offered to client organizations solely to provide a means to pay for the acquisition of
business-related goods and services.

ID#: 081010-010410-0024463



Commercial Visa Product - U.S. Region

A Visa Card that bears the Marks Area and the descriptive term “Business Card,” “Corporate Card,”
“Purchasing Card,” “Fleet Card,” “Visa Commercial,” “Visa Meetings,” or “Visa Signature Business” on
the front of the Card.

ID#: 010410-010410-0024464



Completion Message

A Clearing Record to follow a preauthorization as part of Real-Time Clearing Processing.

ID#: 010410-010410-0024469



Compliance

A process where Visa resolves disputes between Members arising from violations of the Visa
International Operating Regulations, when the requesting Member can certify that a financial loss has
occurred or will occur for a specific amount, and no Chargeback right is available.

ID#: 010410-010410-0024470



Compliant Chip Card - Canada Region

A Chip Card that contains a Visa Smart Payment Application capable of processing Full Data and that
complies with Chip Specifications.

ID#: 010410-010410-0024471




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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1158 of 1319
                                                PageID #: 4351
                                     Visa International Operating Regulations




Compliant Chip Card Offline Authorization - Canada Region

A process that allows an Authorization Request initiated by a Compliant Chip Card to be processed
as a Full Data Transaction in a below-Floor Limit Environment without sending the Authorization
Request to the Issuer.

ID#: 010410-010410-0024472



Compliant Chip Card Reading Device - Canada Region

A Point-of-Transaction Terminal or a POS capable of reading, communicating, and processing Full
Data Transactions from a Compliant Chip Card.

ID#: 010410-010410-0024473



Compliant Chip Transaction - Canada Region

An Online or offline authorized Transaction generated by a Compliant Chip Card and its PIN at a
Compliant Chip Card Reading Device with a Compliant PED.

ID#: 010410-010410-0024474



Compliant PED - Canada Region

A PIN entry device that meets the requirements set out in the Chip Specifications and that supports
plaintext and enciphered offline PIN at POS, or enciphered online PIN at ATMs.

ID#: 010410-010410-0024475



Compromised Account Management System - U.S. Region

The reporting system used by Visa to notify Issuers of Account Numbers that may have been
compromised.

ID#: 010410-010410-0024476



Confidential Consumer Cardholder Information - U.S. Region

An Account Number, or other personally identifiable information relating to a Consumer Cardholder.

ID#: 220411-010100-0026359




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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15    Page: 1159 of 1319
                                                   PageID #: 4352
                                    Visa International Operating Regulations




Confidential Enhanced Merchant-Level Data - U.S. Region

Merchant-related data provided through Visa to an Issuer in connection with a Commercial Visa
Product. This data includes all Enhanced Merchant-Level Data except for Non-Confidential Enhanced
Merchant-Level Data, and is subject to the disclosure restrictions as specified in the U.S. Regional
Operating Regulations.

ID#: 010410-010410-0024477



Consumer Card - U.S. Region

See Visa Consumer Card.

ID#: 010410-010410-0024480



Consumer Cardholder - U.S. Region

A Cardholder, other than the Cardholder of a Commercial Visa Product.

ID#: 010410-010410-0024479



Consumer Visa Check Card - U.S. Region

A Visa Check Card that accesses a deposit, investment, or other asset account of a consumer,
including a fiduciary account.

ID#: 010410-010410-0024481



Consumer Visa Deferred Debit Card - U.S. Region

A Consumer Card that accesses a deposit, investment, or other asset account of a consumer,
including a fiduciary account, where the amount of any individual Transaction is not accessed,
held, debited, or settled from the consumer asset account sooner than 14 days from the date of the
Transaction.

ID#: 010410-010410-0024482



Contactless Card - U.S. Region

See Visa Contactless.

ID#: 010410-010410-0024483




1122                                               VISA PUBLIC                       18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1160 of 1319
                                                PageID #: 4353
                                     Visa International Operating Regulations




Contactless Payment - U.S. Region

A form of Visa payment conducted in the Card-Present Environment at the Point-of-Transaction
through a Visa-approved wireless interface such as radio frequency or infrared technology.

ID#: 010410-010410-0024484



Contactless Payment Terminal - U.S. Region

A Point-of-Transaction Terminal that reads the Magnetic-Stripe Data on a Contactless Payment Chip
through a Visa-approved wireless interface, and that includes Magnetic-Stripe-reading capability.

ID#: 010410-010410-0024485



Contactless Payment Transaction - U.S. Region

A Transaction completed at a Point-of-Transaction Terminal through a Visa-approved wireless
interface in the Card-Present Environment.

ID#: 010410-010410-0024486



Convenience Fee - U.S. Region

A fee charged by a Merchant for an added convenience to the Cardholder, as specified in
“Convenience Fee General Requirements.”

ID#: 050411-010410-0024488



Copy - U.S. Region

See Transaction Receipt.

ID#: 010410-010410-0024490



Copy Request

A Retrieval Request that is processed through an electronic documentation transfer method.

ID#: 010410-010410-0024491




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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1161 of 1319
                                                   PageID #: 4354
                                    Visa International Operating Regulations




Copy Request Identifier

A unique 12-digit identification number that VisaNet assigns to a Copy Request. In the Single
Message System, the Retrieval Request identifier.

ID#: 010410-010410-0024492



Copyright

A form of protection that the laws of various countries provide for original literary, dramatic, musical,
artistic, and certain other intellectual works.

ID#: 010410-010410-0024489



Correspondent Bank

A depository institution that holds an account with, or on behalf of, a Settlement Bank, and engages in
an exchange of services with that bank.

ID#: 010410-010410-0024494



Counterfeit Card

One of the following:

• A device or instrument that is printed, embossed, or encoded so as to purport to be a Card, but that
  is not a Card because an Issuer did not authorize its printing, embossing, or encoding
• An instrument that is printed with the authority of the Issuer and that is subsequently embossed or
  encoded without the authority of the Issuer
• A Card that an Issuer has issued and that is altered or re-fabricated, except one on which the only
  alteration or re-fabrication comprises modification of the signature panel or Cardholder signature

ID#: 010410-010410-0024495



Counterfeit Fraud Recovery - U.S. Region

A subset of the Account Data Compromise Recovery Process that allocates responsibility and
reimbursement for incremental counterfeit fraud losses incurred as a result of an account compromise
event involving Magnetic-Stripe Data and/or PIN data.

ID#: 010410-010410-0024496




1124                                               VISA PUBLIC                             18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1162 of 1319
                                                PageID #: 4355
                                     Visa International Operating Regulations




Counterfeit Transaction Receipt

A Transaction Receipt arising from the use of a Counterfeit Card.

ID#: 010410-010410-0024497



Country of Domicile

The country in which a Member has its principal place of business.

ID#: 010410-010410-0024499



Country Office

A secondary office location of a Visa Region, located in a country within the same Visa Region.

ID#: 010410-010410-0024498



CPS Transaction - U.S. Region

A Transaction that meets one of the Custom Payment Services (CPS) requirements in the U.S.
Regional Operating Regulations.

ID#: 010410-010410-0024523



CPS/Account Funding - U.S. Region

A payment service for Electronic Commerce Transactions where the Cardholder is funding a host-
based prepaid product, a brokerage account, or escrow account with a Visa product in a secure
Internet environment, as specified in the U.S. Interchange Reimbursement Fee Rate Qualification
Guide.

ID#: 081010-010410-0024500



CPS/Automated Fuel Dispenser - U.S. Region

A payment service for Transactions that take place at an Automated Fuel Dispenser properly
assigned Merchant Category Code 5542, "Automated Fuel Dispensers," where the full contents of
track 1 or track 2 of the Magnetic Stripe, unaltered Chip, or unaltered Contactless Payment data are
read and transmitted and that meet the applicable requirements specified in the U.S. Interchange
Reimbursement Fee Rate Qualification Guide.

ID#: 081010-010410-0024501




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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15    Page: 1163 of 1319
                                                   PageID #: 4356
                                    Visa International Operating Regulations




CPS/Card Not Present - U.S. Region

A payment service for Transactions completed in a Card-Absent Environment, except for Electronic
Commerce Transactions, that meet the applicable requirements specified in the U.S. Interchange
Reimbursement Fee Rate Qualification Guide.

ID#: 081010-010410-0024502



CPS/e-Commerce Basic - U.S. Region

A payment service for Electronic Commerce Transactions that meet the applicable requirements
specified in the U.S. Interchange Reimbursement Fee Rate Qualification Guide.

ID#: 081010-010410-0024503



CPS/e-Commerce Preferred Hotel and Car Rental - U.S. Region

A payment service for Secure Electronic Commerce Transactions that originate from a Hotel,
Cruise Line, or Car Rental Merchant, are completed using Verified by Visa, and meet the applicable
requirements specified in the U.S. Interchange Reimbursement Fee Rate Qualification Guide.

ID#: 081010-010410-0024504



CPS/e-Commerce Preferred Passenger Transport - U.S. Region

A payment service for Secure Electronic Commerce Transactions that originate from an Airline
or passenger railway Merchant or its agent, are completed using Verified by Visa, and meet the
applicable requirements specified in the U.S. Interchange Reimbursement Fee Rate Qualification
Guide.

ID#: 081010-010410-0024505



CPS/e-Commerce Preferred Retail - U.S. Region

A payment service for Secure Electronic Commerce Transactions completed using Verified by Visa
that meet the applicable requirements specified in the U.S. Interchange Reimbursement Fee Rate
Qualification Guide.

ID#: 081010-010410-0024506



CPS/e-Commerce Preferred Transaction - U.S. Region

A CPS Transaction processed as specified in the U.S. Regional Operating Regulations, and
consisting of one of the following types of Transactions:

• CPS/e-Commerce Preferred Hotel and Car Rental Transaction


1126                                               VISA PUBLIC                       18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1164 of 1319
                                                PageID #: 4357
                                     Visa International Operating Regulations


• CPS/e-Commerce Preferred Passenger Transport Transaction
• CPS/e-Commerce Preferred Retail Transaction

ID#: 010410-010410-0024507



CPS/e-Commerce Transaction - U.S. Region

A CPS Transaction processed as specified in the U.S. Regional Operating Regulations and
consisting of one of the following types of transactions:

• CPS/e-Commerce Basic Transaction
• CPS/e-Commerce Preferred Hotel and Car Rental Transaction
• CPS/e-Commerce Preferred Passenger Transport Transaction
• CPS/e-Commerce Preferred Retail Transaction

ID#: 010410-010410-0024508



CPS/Hotel and Car Rental Card Not Present - U.S. Region

A payment service for lodging, cruise line, and car rental Transactions in a Card-Absent Environment
(including T&E Advance Deposit Transactions, No Show Transactions, and other key-entered
Transactions) where the hotel stay, cruise duration, or length of rental is more than 1 day and the
Point-of-Transaction Terminal application is equipped to provide the additional industry-specific
data for the program and that meet the applicable requirements specified in the U.S. Interchange
Reimbursement Fee Rate Qualification Guide.

ID#: 081010-010410-0024509



CPS/Hotel and Car Rental Card Present - U.S. Region

A payment service for lodging, cruise line, and car rental Transactions in a Face-to-Face Environment
where the hotel stay or length of rental is one or more days, multiple Authorizations may be obtained
with industry-specific data, the full contents of track 1 or track 2 of the Magnetic Stripe, unaltered
Chip, or unaltered Contactless Payment data are read and transmitted and that meet the applicable
requirements specified in the U.S. Interchange Reimbursement Fee Rate Qualification Guide.

ID#: 081010-010410-0024510



CPS/Passenger Transport - U.S. Region

A payment service for Passenger Transport Service Category Transactions where the Merchant
processes the sale of tickets by mail, via the Internet, or in a Card-Present Environment using single
or multiple Transaction Receipts, as specified in the U.S. Interchange Reimbursement Fee Rate
Qualification Guide.

ID#: 081010-010410-0024511




18 October 2011                                     VISA PUBLIC                                    1127
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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15     Page: 1165 of 1319
                                                   PageID #: 4358
                                    Visa International Operating Regulations




CPS/Restaurant - U.S. Region

A payment service for Transactions completed in a Face-to-Face Environment by a Merchant
properly assigned Merchant Category Code 5812, "Restaurant" or 5814, "Fast Food" and where
the contents of track 1 or track 2 of the Magnetic Stripe, unaltered Chip, or unaltered Contactless
Payment data are read and Authorization is obtained and that meet the applicable requirements
specified in the U.S. Interchange Reimbursement Fee Rate Qualification Guide.

ID#: 081010-010410-0024512



CPS/Retail - U.S. Region

A payment service for Retail Transactions completed in a Face-to-Face Environment where the full
contents of track 1 or 2 of the Magnetic Stripe, unaltered Chip, or unaltered Contactless Payment
data are read and transmitted and that meet the applicable requirements specified in the U.S.
Interchange Reimbursement Fee Rate Qualification Guide.

Transactions with one of the following Merchant Category Codes are ineligible for CPS/Retail:

• 5411, "Grocery Stores and Supermarkets"
• 5541, "Service Stations"
• 5812, "Eating Places and Restaurants"
• 5814, "Fast Food Restaurants"
• 5962, "Direct Marketing - Travel-Related Arrangement Services"
• 5966, "Direct Marketing - Outbound Telemarketing"
• 5967, "Direct Marketing - Inbound Teleservices Merchant"

ID#: 081010-010410-0024513



CPS/Retail 2 - U.S. Region

An incentive program designed to expand Visa Card acceptance into new industries. Transactions
from select Merchant categories may qualify for this program in either a Card-Present Environment
or a Card-Absent Environment by meeting the fee edit criteria specified in the U.S. Interchange
Reimbursement Fee Rate Qualification Guide for one of the following services:

• CPS/Retail 2
• CPS/Card Not Present
• CPS/e-Commerce Basic
• CPS/e-Commerce Preferred Retail
• CPS/Retail Key-Entry

ID#: 081010-010410-0024514




1128                                               VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1166 of 1319
                                                PageID #: 4359
                                     Visa International Operating Regulations




CPS/Retail Key-Entry - U.S. Region

A payment service for Transactions completed in a Face-to-Face Environment where a Magnetic-
Stripe Terminal is present, but the Magnetic Stripe cannot be read and the Merchant verifies the
Cardholder signature, performs an Address Verification Service inquiry, and receives an acceptable
response as specified in the U.S. Interchange Reimbursement Fee Rate Qualification Guide.

ID#: 050411-010410-0024515



CPS/Rewards 1 Interchange Reimbursement Fee - U.S. Region

An Interchange Reimbursement Fee for Visa Consumer Credit Transactions that meet the applicable
requirements for CPS/Rewards 1 Transactions specified in the U.S. Regional Operating Regulations.

ID#: 010410-010410-0024516



CPS/Rewards 2 Interchange Reimbursement Fee - U.S. Region

An Interchange Reimbursement Fee for Visa Consumer Credit Transactions that meet the applicable
requirements for CPS/Rewards 2 Transactions specified in the U.S. Regional Operating Regulations.

ID#: 010410-010410-0024517



CPS/Rewards Interchange Reimbursement Fee - U.S. Region

One of the following Interchange Reimbursement Fees for Visa Consumer Credit Transactions that
meet the applicable requirements specified in the U.S. Regional Operating Regulations:

• CPS/Rewards 1
• CPS/Rewards 2

ID#: 010410-010410-0024518



CPS/Service Station - U.S. Region

A payment service for Transactions with Merchant Category Code 5541, "Service Stations"
completed in a Face-to-Face Environment where the full contents of track 1 or track 2 of the Magnetic
Stripe, unaltered Chip, or unaltered Contactless Payment data are read and transmitted and that
meet the applicable requirements specified in the U.S. Interchange Reimbursement Fee Rate
Qualification Guide.

ID#: 081010-010410-0024519




18 October 2011                                     VISA PUBLIC                                  1129
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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15    Page: 1167 of 1319
                                                   PageID #: 4360
                                    Visa International Operating Regulations




CPS/Small Ticket - U.S. Region

Effective through 15 October 2010, a payment service for Visa Consumer Card Transactions
that meet the applicable requirements for CPS/Small Ticket Transactions as specified in the U.S.
Regional Operating Regulations.

Effective 16 October 2010, a payment service for Visa Easy Payment Service Transactions less
than or equal to US $15 that are conducted with a Visa Consumer Card where the full contents of
track 1 or track 2 of the Magnetic Stripe, unaltered Chip, or unaltered Contactless Payment data
are read and transmitted, and meet the applicable requirements specified in the U.S. Interchange
Reimbursement Fee Rate Qualification Guide.

ID#: 081010-010410-0024520



CPS/Supermarket - U.S. Region

A payment service for Supermarket Incentive Program Transactions that meet the applicable
requirements specified in the U.S. Regional Operating Regulations.

ID#: 010410-010410-0024521



CPS/T&E Transaction - U.S. Region

A CPS Transaction processed as specified in the U.S. Regional Operating Regulations that applies to
the following types of CPS/T&E Transactions:

• CPS/Hotel and Car Rental Card Not Present Transaction
• CPS/Hotel and Car Rental Card Present Transaction
• CPS/Passenger Transport Transaction

ID#: 010410-010410-0024522



Credit Bureau - U.S. Region

For purposes of Visa Advanced ID Solutions, Strategic Bankruptcy Solutions, and BankruptcyPredict
Service, a company that is required or has agreed to comply with the requirements applicable to
consumer reporting agencies under the Federal Fair Credit Reporting Act, including but not limited to
a company that receives Member information pursuant to the Fidelity Information Services, ID Score
Plus, or ID Analytics Credit Optics components of Visa Advanced ID Solutions or that provides card
account numbers, identified from bankruptcy petitions files in U.S. bankruptcy courts, to Strategic
Bankruptcy Solutions.

ID#: 111011-010410-0024524




1130                                               VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1168 of 1319
                                                PageID #: 4361
                                     Visa International Operating Regulations




Credit Optics - U.S. Region

An optional feature of Visa Advanced ID Solutions that provides U.S. Members with a score and
related reason code(s) provided by ID Analytics, Inc. that predict the potential of financial loss
associated with approving an application for a new, or management of an existing, Card, non-Visa
card, or other Visa or non-Visa product based on an assessment of the identity risk and application
behavior of a consumer and the credit risk and application behavior of other similar consumers.

ID#: 111011-010100-0025783



Credit Reporting Improvement Service - U.S. Region

A service that supports an Issuer by monitoring the reporting and handling of credit bureau data.

ID#: 010410-010410-0024526



Credit Transaction - U.S. Region

A Merchant’s refund or price adjustment credited to a Cardholder account.

ID#: 010410-010410-0024527



Credit Transaction Receipt

A Transaction Receipt evidencing a Merchant’s refund or price adjustment to be credited to a
Cardholder’s account.

ID#: 010410-010410-0024528



Credit Voucher - U.S. Region

See Credit Transaction Receipt.

ID#: 010410-010410-0024529



Cruise Line

A Merchant that sells and provides recreational travel on water, including overnight accommodations.

ID#: 010410-010410-0024532




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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15     Page: 1169 of 1319
                                                   PageID #: 4362
                                    Visa International Operating Regulations




Cryptogram

A value resulting from a combination of specific key data elements that are used to validate the
source and integrity of data.

ID#: 010410-010410-0024533



Currency Conversion Rate

A rate selected by Visa from the range of rates available in wholesale currency markets for
the applicable Processing Date, which rate may vary from the rate Visa itself receives; or the
government-mandated rate in effect for the applicable Processing Date. In each instance, plus or
minus any adjustment determined by the Issuer.

ID#: 010410-010410-0024534



Currency Conversion Rate - U.S. Region

Either:

• A rate selected by Visa from the range of rates available in wholesale currency markets on the
  applicable Central Processing Date (such rate may vary from the rate Visa itself receives) plus or
  minus any adjustment determined by the Issuer
• The government-mandated rate in effect on the applicable Central Processing Date, plus or minus
  any adjustment determined by the Issuer

ID#: 010410-010410-0024535



Custom Payment Services (CPS)

A Visa payment service that accommodates specific payment environments with an identifier that
remains with the Transaction throughout its life cycle.

ID#: 010410-010410-0024536



CVM - Canada Region

Cardholder Verification Method.

ID#: 010410-010410-0024537




1132                                               VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1170 of 1319
                                                PageID #: 4363
                                     Visa International Operating Regulations




D


Data Capture-Only Capability

The capability of a Point-of-Transaction terminal to store Transaction Receipt data that is
electronically captured for Deposit purposes, where the terminal does not have capability to go Online
for Authorization.

ID#: 050411-010410-0024538



Data Compromise Recovery

A Visa fraud recovery process where Visa allocates to affected Members the incremental full
Magnetic Stripe counterfeit fraud losses that are associated with a data compromise event.

ID#: 010410-010410-0024539



Data Encryption Standard - U.S. Region

The data encryption standard defined in American National Standards Institute X3.92-1981 for
encrypting and decrypting binary coded data.

ID#: 010410-010410-0024540



Data Protection Method

A Visa-approved method for the protection of Account Numbers and other Cardholder data, as
specified in the Payment Card Industry Data Security Standard (PCI DSS).

ID#: 010410-010410-0024541



Data Reformatter Service - U.S. Region

A service that streamlines file processing for Direct Exchange Open File Delivery endpoints by
eliminating in-house file manipulation.

ID#: 010410-010410-0024542



Debit Tax Payment Interchange Reimbursement Fee - U.S. Region

An Interchange Reimbursement Fee for Visa Debit Card Transactions that meet the qualification
requirements of the Tax Payment Program.

ID#: 010410-010410-0024544




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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15    Page: 1171 of 1319
                                                   PageID #: 4364
                                    Visa International Operating Regulations




Debit Tax Payment Transaction - U.S. Region

A Visa Debit Card Transaction that qualifies for the Visa Debit Tax Payment Interchange
Reimbursement Fee.

ID#: 010410-010410-0024545



Debt Repayment Program Interchange Reimbursement Fee - U.S. Region

An Interchange Reimbursement Fee for Visa Debt Repayment Transactions that meet the
requirements of the Debt Repayment Program.

ID#: 010410-010410-0024546



Debt Repayment Program Merchant - U.S. Region

A Merchant that processes Visa Debt Repayment Program Transactions as specified in the Visa Debt
Repayment Program Guide.

ID#: 010410-010410-0024547



Decline Response

An Authorization Response where the Transaction was declined.

ID#: 010410-010410-0024548



Deferred Clearing Processing

A 2-step process whereby Transactions are authorized, cleared, and settled through either the:

• Single Message System
• V.I.P. System and BASE II

ID#: 010410-010410-0024550



Deferred Clearing Transaction

A Transaction that is authorized, cleared, and settled in 2 separate messages through either the
Single Message System or the V.I.P. System and BASE II.

ID#: 010410-010410-0024551




1134                                               VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1172 of 1319
                                                PageID #: 4365
                                     Visa International Operating Regulations




Deferred Payment Transaction - U.S. Region

A Transaction completed in a Card-Absent Environment for which the Cardholder is billed once, no
more than 90 days after the first shipment of merchandise.

ID#: 010410-010410-0024552



Delayed Delivery Transaction

A single Transaction where a Cardholder completes 2 separate Transaction Receipts. The first
Transaction Receipt functions as a deposit (such as a down payment) for goods or services; the
second is to pay the balance due the Merchant.

ID#: 010410-010410-0024553



Deposit (Updated)

Effective through 30 June 2011, the submission of a Transaction Receipt by a Merchant or an
Internet Payment Service Provider to an Acquirer, resulting in a credit or debit to the Merchant’s or
Internet Payment Service Provider’s Visa account.

Effective 1 July 2011, the submission of a Transaction Receipt by a Merchant or Payment Service
Provider to an Acquirer, resulting in a credit or debit to the Merchant's, Sponsored Merchant's, or
Payment Service Provider's account.

ID#: 111011-010410-0024556



Deposit Date

The date on which an Acquirer receives a Transaction Receipt from a Merchant.

ID#: 010410-010410-0024557



Deposit-Only Account Number

A Visa Account Number established by a Visa Card or Visa Electron Card Issuer, used exclusively to
receive an Original Credit on behalf of one or more of its customers.

ID#: 010410-010410-0024554




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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 1173 of 1319
                                                   PageID #: 4366
                                    Visa International Operating Regulations




Diamond Design

A Visa-Owned Mark, used as an element of the Plus Symbol, consisting of three triangles with an
open space in the lower right-hand corner, arranged to form an outline of the symbol “+.”

ID#: 010410-010410-0024558



Digital Certificate

A digitally signed credential used to authenticate the owner of the credential or to ensure the integrity
and confidentiality of the message it is signing.

ID#: 010410-010410-0024559



Direct-Connect Merchant - U.S. Region

A Merchant that directly enters Authorization Requests into the V.I.P. System.

ID#: 010410-010410-0024560



Disbursing Member

A Member that pays out currency in a Cash Disbursement.

ID#: 010410-010410-0024562



Dispute Resolution Questionnaires - U.S. Region

A series of specific questionnaires, available in Visa Resolve Online, designed for each Chargeback
category to facilitate the exchange of information in the dispute resolution process. A Dispute
Resolution Questionnaire:

• Is required when documentation is sent to the opposing Member
• May be used for non-fraud related disputes when a Cardholder or Merchant letter is unavailable.

ID#: 010410-010410-0024563



Documentation Indicator - U.S. Region

A VisaNet code indicating the status of mailed supporting documentation and the validity of the
Acquirer Reference Number.

ID#: 050411-010410-0024564




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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1174 of 1319
                                                PageID #: 4367
                                     Visa International Operating Regulations




Domestic Cooperative Brand Development Fund - LAC Region

A fund established by Visa and Members to support Brand development and exposure that consists,
at a minimum, of 0.1% of the Visa Point of Sale Volume within a given country.

ID#: 010410-010410-0024566



Domestic Interchange

Interchange of a Domestic Transaction.

ID#: 010410-010410-0024567



Domestic Transaction

A Transaction where the Issuer of the Card used is located in the Transaction Country.

ID#: 010410-010410-0024568



Dove Design

A Visa-Owned Mark depicting a dove in flight that identifies the Visa Program.

ID#: 010410-010410-0024570



Dual-Issuer Branded Visa Commercial Card (Updated)

Effective 14 October 2010, a Visa Commercial Card, issued by a Member participating in the Visa
Multinational Program, that identifies the Lead Bank on the Card front and the Partner Bank on the
Card back, as specified in the Visa Multinational Program Guide.

ID#: 111011-141010-0026028



Dynamic Card Verification Value (dCVV)

A Card Verification value dynamically generated by a Chip Card for inclusion in the Authorization
message (e.g., as part of the Magnetic-Stripe data).

ID#: 111011-150410-0025503



Dynamic Card Verification Value (dCVV) - U.S. Region

An authentication value for each Contactless Payment Transaction.

ID#: 010410-010410-0024573



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                                                   PageID #: 4368
                                    Visa International Operating Regulations




Dynamic Currency Conversion

Effective through 6 October 2010, the conversion of the purchase price of goods or services from
one currency to another, as agreed to by the Cardholder and Merchant. That currency becomes the
Transaction Currency, regardless of the Merchant’s local currency.

Effective 7 October 2010, the conversion of the purchase price of goods or services from the
currency in which the purchase price is displayed to another currency as agreed to by the Cardholder
and Merchant. That currency becomes the Transaction Currency, regardless of the Merchant’s local
currency.

ID#: 080411-010410-0024574



Dynamic Data Authentication

A cryptographic value generated by a Chip on a Card in an offline environment that uses Transaction-
specific data elements and is verified by a Chip-Reading Device to protect against skimming.

ID#: 010410-010410-0024575



E


Edit Package

The software that Visa supplies to VisaNet Processors to:

• Validate Interchange data
• Process Interchange data sent from the VisaNet Processor to Visa
• Process incoming Transactions received from Visa

ID#: 010410-010410-0024577



Edit Package Run Date - U.S. Region

See Acquirer’s Processing Date.

ID#: 010410-010410-0024578



Edit Package Software - U.S. Region

See Edit Package.

ID#: 010410-010410-0024579




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                                                PageID #: 4369
                                     Visa International Operating Regulations




Egregious Violation - U.S. Region

Effective through 14 February 2011, a violation that is not necessarily repetitive or a Willful
Violation, yet presents substantial risks to Visa and its Members, threatening to adversely affect the:

• Goodwill associated with the Visa system, brand, products, or services
• Operations of Visa or Members that could cause substantial financial impact

ID#: 050411-010410-0024581



Electronic Capability

Point-of-Transaction Capability where all of the following are true:

• Transaction Authorization is required (or the terminal is capable of reading and acting upon the
  Service Code in the Magnetic Stripe or information provided in the Chip)
• Authorization Response is obtained Online, or as instructed by the Issuer
• Authorization Response and Transaction Receipt data are captured electronically

ID#: 010410-010410-0024582



Electronic Commerce Merchant

A Merchant that conducts the sale of goods or services electronically over the Internet and other
networks.

ID#: 010410-010410-0024584



Electronic Commerce Merchant Monitoring Program - U.S. Region

A Visa program designed to protect the Visa brand by identifying, and eliminating from the Visa
system, Electronic Commerce Transactions representing the sale of child pornography.

ID#: 010410-010410-0024585



Electronic Commerce Merchant Rate

An Interregional Interchange Reimbursement Fee paid for an Electronic Commerce Transaction that
is conducted by a 3-D Secure-capable Merchant.

ID#: 010410-010410-0024586




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                                                   PageID #: 4370
                                    Visa International Operating Regulations




Electronic Commerce Transaction

A Transaction between a Merchant and Cardholder over the Internet and other networks using a
Cardholder Access Device. An Electronic Commerce Transaction is one of the following:

• Non-Secure Transaction
• Non-Authenticated Security Transaction
• Secure Electronic Commerce Transaction

ID#: 010410-010410-0024587



Electronic Commerce Transaction - U.S. Region

A Transaction conducted over the Internet or other network using a Cardholder Access Device. An
Electronic Commerce Transaction is one of the following:

• Non-Secure Transaction
• Non-Authenticated Security Transaction
• Secure Electronic Commerce Transaction

ID#: 010410-010410-0024589



Electronic Commerce Transaction Receipt

A Transaction Receipt provided to the Cardholder by an Electronic Commerce Merchant.

ID#: 010410-010410-0024591



Electronic Imprint

The reading and printing or capture of Card information at a Magnetic-Stripe Terminal or a Chip-
Reading Device.

ID#: 010410-010410-0024593



Electronic Interchange Reimbursement Fee - U.S. Region

An Interchange Reimbursement Fee paid to or received by a Member for a Transaction that meets
the qualifications in the U.S. Regional Operating Regulations.

ID#: 010410-010410-0024594




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                                                PageID #: 4371
                                     Visa International Operating Regulations




Electronic Rate

An Interchange Reimbursement Fee charged when the Transaction meets the requirements specified
in "Electronic Rate Qualification."

ID#: 010410-010410-0024597



Electronic Signature - U.S. Region

In the U.S. Region, e-mail exchanges directly between Visa and a Member will constitute a binding
contractual agreement between the parties with the same legal force and effect as a written contract
with handwritten signatures, where all of the following are true:

• Within the e-mail exchange, Visa seeks and the Member provides confirmation concerning an
  agreement between the parties or terms and conditions to govern such an agreement
• Visa includes in its request for confirmation:
   – An explicit notice that it intends such e-mail request and confirmation to constitute a binding
     agreement
   – A notice that the Member's confirmation will constitute affirmations that the Member intends the
     e-mail exchange to constitute a binding commitment and that the person providing the e-mail
     confirmation on behalf of the Member is an officer authorized to so bind the Member
   – An explicit time limit for Member's confirmation to be received by Visa in order to be effective
• Within the e-mail exchange, Visa-designated authentication practices are employed by both Visa
  and the Member

ID#: 111011-010100-0025755



Electronic Transaction Receipt

A Transaction Receipt created electronically in a Card-Present Environment where the terminal
generates the required data that is printed on the Transaction Receipt.

ID#: 010410-010410-0024599



Eligible Cardholder

A Cardholder who has had their Card lost or stolen while traveling outside of their city of residence
and who has reported the loss or theft to the Issuer of the Card as specified in “Visa Global Customer
Assistance Services Program Requirements.”

ID#: 081010-010410-0024601




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                                                   PageID #: 4372
                                    Visa International Operating Regulations




Emergency Card Replacement

A temporary Visa Card that Visa Global Customer Assistance Services, the Issuer, or its Agent
provides to replace an Eligible Cardholder’s damaged, lost, or stolen Visa Card.

ID#: 081010-010410-0024610



Emergency Cash Disbursement

A Cash Disbursement by a Member or its agent, including Visa, to an Eligible Cardholder who has
reported a Visa Card or Visa TravelMoney Card as damaged, lost, or stolen.

ID#: 081010-010410-0024605



Emergency Payment Authorization Service

A service offered to Visa Infinite Cardholders who need to make Transactions before receiving an
Emergency Card Replacement or Emergency Cash Disbursement. The service provides verbal
Authorization for such emergency travel Transactions.

ID#: 081010-010410-0024608



Emergency Refund Location

The office of a Member where an Emergency Cheque Refund is disbursed.

ID#: 010410-010410-0024609



Emergency Replacement Visa TravelMoney Card - U.S. Region

A Visa TravelMoney Card that an Issuer provides to replace an Eligible Cardholder’s lost or stolen
Visa TravelMoney Card issued by the same Issuer.

ID#: 010410-010410-0024611



Emergency Service Location

A Visa Issuer-affiliated Branch pre-registered in the Visa Global Customer Assistance Services
Program where an Eligible Cardholder may receive an Emergency Card Replacement or an
Emergency Cash Disbursement.

ID#: 081010-010410-0024612




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                                                PageID #: 4373
                                     Visa International Operating Regulations




Emergency Travelers Cheque Refund - U.S. Region

See Emergency Cheque Refund.

ID#: 010410-010410-0024614



Emergency/Travel Services - U.S. Region

Emergency services provided to Eligible Cardholders and Cheque purchasers traveling away from
home. These include:

• Emergency Cash Service
• Emergency Card Replacement Service
• Emergency medical/legal assistance
• Emergency ticket replacement
• Emergency message service
• Auto Rental Insurance
• General travel assistance

ID#: 010410-010410-0024615



EMV

Technical specifications developed (jointly by Europay International, MasterCard International, and
Visa International) to provide standards for processing debit and credit Transactions, and ensure
global interoperability for the use of Chip technology in the payment industry.

ID#: 010410-010410-0024620



EMV Integrated Circuit Card Specifications for Payment Systems (EMV) - U.S. Region

Technical specifications developed jointly by Europay International, MasterCard International, and
Visa International to provide standards and ensure global interoperability for use of Chip technology
in the payment industry.

ID#: 010410-010410-0024621



EMV PIN Transaction

A Chip-initiated Transaction (excluding ATM Transactions) verified utilizing Online or Offline PIN
Verification.

ID#: 010410-010410-0024624




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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15    Page: 1181 of 1319
                                                   PageID #: 4374
                                    Visa International Operating Regulations




EMV PIN-Compliant

A Chip-Reading Device that complies with the PIN requirements of the Visa International PIN Entry
Device Testing and Approval Program.

ID#: 010410-010410-0024622



EMV-Compliant

A term used to describe a Card or terminal application that complies with the requirements specified
in the EMV Integrated Circuit Card Specifications for Payment Systems.

ID#: 010410-010410-0024617



EMV-Compliant - U.S. Region

A Card or terminal application that complies with the requirements specified in the EMV Integrated
Circuit Card Specifications for Payment Systems.

ID#: 010410-010410-0024619



Endorsement Date

One of the following dates on a Clearing Record:

• If cleared through BASE II, the Edit Package run date on which a Member submits outgoing
  Interchange
• If cleared through the Single Message System, the Settlement Date
• If cleared under a Private Agreement, the date on which a Member processes outgoing
  Interchange

For BASE II Transactions, the Endorsement Date is no later than the date on which the Member
creates the BASE II Interchange File. For Transactions with indecipherable or invalid Account
Numbers not cleared through BASE II, the Endorsement Date is the date on which the Transaction
was first entered into Interchange and mailed.

ID#: 010410-010410-0024627



Enhanced Data (Updated)

Effective 30 June 2011, data provided through Visa to an Issuer in connection with a Visa
Commercial Card program. Such data may include either or both:

• Enhanced Merchant-Level Data (including data for a Sponsored Merchant or a Payment Service
  Provider)



1144                                               VISA PUBLIC                        18 October 2011
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                                                PageID #: 4375
                                     Visa International Operating Regulations


• Enhanced Transaction-Level Data

ID#: 151011-300611-0026463



Enhanced Data - U.S. Region (Updated)

Effective through 29 June 2011, data provided through Visa to an Issuer in connection with a
Commercial Visa Product program. Such data may include both or either Enhanced Merchant-Level
Data or Enhanced Transaction-Level Data.

ID#: 151011-300410-0024629



Enhanced Merchant-Level Data (Updated)

Effective 30 June 2011, Merchant- or Sponsored Merchant-related data (including Payment Service
Provider data) provided through Visa to an Issuer in connection with a Visa Commercial Card
program. Such data includes:

• Merchant street address
• Merchant telephone number
• Incorporation status
• Owner’s name

ID#: 151011-300611-0026464



Enhanced Merchant-Level Data - U.S. Region (Updated)

Effective through 29 June 2011, Merchant-related data provided through Visa to an Issuer in
connection with a Commercial Visa Product program. Such data includes:

• Merchant street address
• Merchant telephone number
• Incorporation status
• Owner’s name
• Minority and woman-owned business status
• Taxpayer identification number

ID#: 151011-010410-0024630



Enhanced Transaction-Level Data - U.S. Region

Transaction-related data provided through Visa to an Issuer in connection with a Commercial Visa
Product. Such data includes:

• Accounting code


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                                                   PageID #: 4376
                                    Visa International Operating Regulations


• Sales tax
• Description of items purchased, cost per unit, number of units
• Vehicle fleet data (vehicle/driver ID, odometer reading)
• Detailed itinerary information (Airline, origination/destination, class of travel)

ID#: 010410-010410-0024631



Enhanced Visa Wordmark - U.S. Region

A Visa-Owned Mark representing the Visa Corporate Identity, consisting of the Visa Logotype
centered above the Comet Design.

ID#: 010410-010410-0024632



Exception File

A VisaNet file of Account Numbers that a Member accesses Online, for which the Issuer has
predetermined an Authorization Response. The Exception File supports:

• Stand-In Processing
• Positive Cardholder Authorization Service
• Production of the Card Recovery Bulletin

ID#: 010410-010410-0024634



Exception File - U.S. Region

A VisaNet file of Account Numbers for which the Issuer has predetermined an Authorization
Response, that a Member accesses Online.

ID#: 010410-010410-0024635



Excessive Fraud Activity - U.S. Region

Fraud Activity that exceeds Visa-specified parameters.

ID#: 010410-010410-0024637



Expired Card

A Card on which the embossed, encoded, or printed expiration date has passed.

ID#: 010410-010410-0024638




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                                                PageID #: 4377
                                     Visa International Operating Regulations




Exported Transaction Receipt

A Transaction Receipt that is deposited outside of the Transaction Country.

ID#: 010410-010410-0024639



F


Face-to-Face Environment (Updated)

An environment where a Transaction is completed under all of the following conditions:

• Card or Proximity Payment Device is present
• Cardholder is present
• Individual representing the Merchant or Acquirer completes the Transaction

Transactions in this environment include the following:

• Retail Transactions
• Manual Cash Disbursements
• Effective through 15 October 2010, Small Ticket Transactions
• Effective 16 October 2010, Visa Easy Payment Service Transactions

Transactions in this environment exclude the following:

• Electronic Commerce Transactions
• Mail/Phone Order Transactions
• Recurring Transactions
• Effective through 14 October 2011, Unattended Acceptance Terminal Transactions
• Effective 15 October 2011, Unattended Transactions
• In the U.S. Region, Installment Billing Transactions (This only applies in the U.S. Region.)

ID#: 111011-010410-0024643



Fallback Transaction

An EMV Chip Card Transaction initially attempted at a Chip-Reading Device, where the device’s
inability to read the Chip prevents the Transaction from being completed using the Chip Card data,
and the Transaction is instead completed using an alternate means of data capture and transmission.

ID#: 010410-010410-0024645




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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15      Page: 1185 of 1319
                                                   PageID #: 4378
                                    Visa International Operating Regulations




Fallback Transaction - Canada Region

A Transaction occurring in either:

• An Unattended Environment, regardless of whether Authorization is required
• A Face-to-Face Environment between a Compliant Chip Card and a Compliant Chip Card Reading
  Device that is either:
  – Not completed as a Full Data Transaction
  – Not initiated as a Full Data Transaction

ID#: 010410-010410-0024646



Fast Funds

Effective 9 December 2010, a service that requires a participating Recipient Member to make funds
available to the Cardholder within 30 minutes of receipt and approval of an incoming Money Transfer
Original Credit Transaction initiated as an Online Financial Transaction.

ID#: 050411-091210-0026077



Fee Collection Transaction

A transaction used to collect financial obligations of a Member arising out of the Visa International
Operating Regulations, the Visa International Certificate of Incorporation and Bylaws, other
requirements adopted by the International Board, or otherwise.

ID#: 010410-010410-0024647



Fidelity Information Services - U.S. Region

Optional features of Visa Advanced ID Solutions that provide Members with debit bureau and fraud
data from the databases of Chex Systems, Inc., a subsidiary of Fidelity Information Services, for use
with respect to applicants for Cards or non-Visa cards and Cardholders or cardholders of non-Visa
cards.

ID#: 050411-010410-0024580



File Correction Service

A service where Visa reverses accepted Interchange files that contain duplications.

ID#: 010410-010410-0024649




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                                                PageID #: 4379
                                     Visa International Operating Regulations




Fleet Card - U.S. Region

See Visa Fleet Card - U.S. Region.

ID#: 010410-010410-0024650



Fleet Service

A Visa Commercial Card enhancement that enables a corporation to improve its vehicle fleet
management process.

ID#: 010410-010410-0024651



Fleet Service - U.S. Region

See Visa Fleet Service - U.S. Region.

ID#: 010410-010410-0024652



Flexible Spending Account (FSA) - U.S. Region

See Visa Flexible Spending Account (FSA) - U.S. Region.

ID#: 010410-010410-0024653



Floor Limit

A currency amount that Visa has established for single Transactions at specific types of Merchant
Outlets and Branches, above which Authorization is required. The Visa International Operating
Regulations refer to 2 Floor Limit types:

• Standard Floor Limit
• Zero Floor Limit

ID#: 010410-010410-0024654



Foreign Branch - U.S. Region

The branch office of a Visa Member located outside the United States.

ID#: 010410-010410-0024655




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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15    Page: 1187 of 1319
                                                   PageID #: 4380
                                    Visa International Operating Regulations




Foreign Branch Transaction Receipt - U.S. Region

A Transaction Receipt that originates at a Merchant Outlet located outside of the United States and is
deposited to a Foreign Branch.

ID#: 010410-010410-0024656



Foreign Currency

A currency other than local currency.

ID#: 010410-010410-0024657



Fraud Activity

A Transaction that an Issuer reports as fraudulent when either a:

• Fraudulent User used a Card or its Account Number
• Card was obtained through misrepresentation of identification or financial status

ID#: 010410-010410-0024659



Fraudulent User

An individual who is not the Cardholder or designee and who uses a Card (or, in a Mail/Phone Order
or Recurring Transaction, an Account Number) to obtain goods or services without the Cardholder’s
consent.

ID#: 010410-010410-0024658



Fulfillment

A document image that the Acquirer supplies in response to a Retrieval Request.

ID#: 050411-010410-0024661



Full Data Transaction - Canada Region

A Transaction processed using Full Data by Acquirers certified by Visa Canada to process Full Data.

ID#: 010410-010410-0024664




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                                                PageID #: 4381
                                     Visa International Operating Regulations




Full-Chip Data

Data that provides:

• EMV minimum mandated requirements
• Visa-specified information necessary to support Online cryptographic validation
• Record of the Card and terminal interactions completed during a Transaction

ID#: 010410-010410-0024662



Full-Chip Data - U.S. Region

Data that provides:

• EMV minimum requirements
• Visa-specified information necessary to support Online cryptographic validation
• Record of the Card and terminal interactions completed during a Transaction

ID#: 010410-010410-0024663



Funds Disbursement Transaction - U.S. Region

A VisaNet transaction used by a Member or Visa to disburse funds to a Clearing Processor.

ID#: 010410-010410-0024665



Funds Transfer Settlement Reporting Entity

Effective 14 October 2010, an endpoint within a Visa Settlement hierarchy associated with one or
more Settlement Reporting Entities.

ID#: 050411-141010-0026048



G


G2G Merchant - U.S. Region

See Government-to-Government Merchant.

ID#: 081010-041008-0024669




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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15    Page: 1189 of 1319
                                                   PageID #: 4382
                                    Visa International Operating Regulations




General Member - Canada Region

A customer of Visa Canada in the category of “General Customer” as defined in the Canada Regional
Operating Regulations.

ID#: 010410-010410-0024671



General Member Identification - Canada Region

Any corporate name or Trade Name of the General Member alone or in combination with its
corporate logo.

ID#: 010410-010410-0024672



Global Brand Protection Program (New)

Effective 1 June 2011 through 30 June 2011, a global program that monitors Acquirers and their
Merchants, Internet Payment Service Providers (IPSPs) and Sponsored Merchants to ensure that
these entities do not:

• Process illegal Transactions or are associated with illegal activity
• Engage in potentially deceptive marketing practices, as defined in the Visa Global Brand Protection
  Program Guide for Acquirers
• Process Transactions that may adversely affect the goodwill of the Visa system

Effective 1 July 2011, a global program that monitors Acquirers, Merchants, Payment Service
Providers, and Sponsored Merchants to ensure that these entities do not:

• Process illegal Transactions or are not associated with illegal activity
• Engage in potentially deceptive marketing practices, as defined in the Visa Global Brand Protection
  Program Guide for Acquirers
• Process Transactions that may adversely affect the goodwill of the Visa system

ID#: 111011-010611-0026388



Global Co-branded Card

A Card that:

• Is issued by one or more Issuers that has a contractual relationship with a Global Co-branding
  Partner
• Bears the Trade Name or Mark of the Global Co-branding Partner on the front of the Card




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                                                PageID #: 4383
                                     Visa International Operating Regulations


• May offer a Cardholder tangible benefits for Card usage and loyalty (e.g., rebates, discounts, airline
  miles, etc.)

ID#: 010410-010410-0024675



Global Co-branding Partner

A non-Member that:

• Is not eligible for membership in Visa
• Is a for-profit commercial entity or non-profit organization
• Has a contractual relationship for the issuance of Co-branded Cards:
   – With one or more Issuers
   – In one or more Visa Regions and countries

ID#: 010410-010410-0024676



Global Co-branding Partnership

A contractual relationship between an Issuer and a Global Co-branding Partner.

ID#: 010410-010410-0024677



Global Member Billing Solution (Updated)

The primary billing system used by Visa.

ID#: 111011-010410-0024680



Global Merchant Chargeback Monitoring Program

A program that monitors International Transactions and international Chargebacks to identify
Merchants and Acquirers that cause undue economic and goodwill damage to the Visa system.

ID#: 111011-010410-0024681



Global Refund Service

A Visa service that assists Cheque purchasers whose Cheques are lost or stolen.

ID#: 010410-010410-0024682




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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15    Page: 1191 of 1319
                                                   PageID #: 4384
                                    Visa International Operating Regulations




Government-to-Government Merchant - U.S. Region

A federal government agency that has been properly assigned Merchant Category Code 9399 or
9402 and registered with Visa.

ID#: 081010-041008-0024684



Group Member

A Member as defined under the Visa International Certificate of Incorporation and Bylaws, Section
2.21.

ID#: 010410-010410-0024685



GSA Government-to-Government (G2G) Interchange Reimbursement Fee - U.S.
Region

An Interchange Reimbursement Fee paid to, or received by, a Member for a GSA G2G Transaction
processed as specified in "GSA Government-to-Government IRF - General."

ID#: 081010-041008-0024686



GSA Government-to-Government (G2G) Transaction - U.S. Region

A Transaction completed at a Merchant that is properly assigned Merchant Category Code
9399 or 9402, with a Visa Purchasing Card that is issued to federal government agencies by an
Issuer contracted with the General Services Administration, as specified in "GSA Government-to-
Government IRF - General."

ID#: 081010-041008-0024687



GSA Government-to-Government (G2G) Program - U.S. Region

A General Services Administration program that allows eligible federal government Merchants
properly assigned Merchant Category Code 9399 or 9402 and registered with Visa to process GSA
Visa Purchasing Card Transactions and qualify for the GSA G2G Interchange Reimbursement Fee.

ID#: 050411-041008-0024688




1154                                               VISA PUBLIC                       18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1192 of 1319
                                                PageID #: 4385
                                     Visa International Operating Regulations




GSA Large Ticket Transaction - U.S. Region

A Transaction completed with a Visa Purchasing Card that is issued to federal government agencies
by an Issuer contracted with the General Services Administration and meets the requirements
specified in the U.S. Regional Operating Regulations.

ID#: 010410-010410-0024689



GSA Large Ticket Transaction Interchange Reimbursement Fee - U.S. Region

An Interchange Reimbursement Fee paid to or received by a Member for a GSA Large Ticket
Transaction processed as specified in the U.S. Regional Operating Regulations.

ID#: 010410-010410-0024690



Guest Folio

A Hotel’s or Cruise Line’s guest file.

ID#: 010410-010410-0024691



Guest Folio - U.S. Region

The guest file of a Lodging Merchant or Cruise Line.

ID#: 010410-010410-0024692



H


Health Care Eligibility Service - U.S. Region

A VisaNet service through which a Health Care Merchant may verify an individual’s health care
coverage and co-payment amount, if applicable.

ID#: 010410-010410-0024697



Health Care Merchant - U.S. Region

A Merchant, other than a pharmacy, whose primary business is providing health care services. A
Health Care Merchant is identified by the following Merchant Category Codes: 4119, 5975, 5976,
7277, 8011, 8021, 8031, 8041, 8042, 8043, 8044, 8049, 8050, 8062, 8071, and 8099.

ID#: 010410-010410-0024698




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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15    Page: 1193 of 1319
                                                   PageID #: 4386
                                    Visa International Operating Regulations




Health Reimbursement Account (HRA) - U.S. Region

See Visa Health Reimbursement Account (HRA) - U.S. Region.

ID#: 010410-010410-0024699



Health Savings Account (HSA) - U.S. Region

See Visa Health Savings Account (HSA) - U.S. Region.

ID#: 010410-010410-0024700



Healthcare Auto-Substantiation - U.S. Region

A process that enables an Issuer to automatically substantiate the dollar amount of the qualifying
medical purchases in the Authorization Request for a Visa Flexible Savings Account (FSA) or a Visa
Health Reimbursement Account (HRA) Transaction. Issuers of these Cards and any Agents that
process Transactions for such Cards must perform Healthcare Auto-Substantiation.

ID#: 010410-010410-0024696



High-Brand Risk Merchant (New)

Effective 1 June 2011, a Merchant assigned a Merchant Category Code, considered by Visa to be
high-brand risk, as specified in “High-Brand Risk Merchant Category Codes.”

ID#: 111011-010611-0026389



High-Brand Risk Sponsored Merchant (New)

Effective 1 June 2011 through 30 June 2011, an Electronic Commerce Merchant required to be
classified with a Merchant Category Code considered by Visa to be high-risk, as specified in “High-
Brand Risk Merchant Category Codes,” that contracts with an Internet Payment Service Provider to
obtain payment services.

Effective 1 July 2011, an Electronic Commerce Sponsored Merchant required to be classified
with a Merchant Category Code considered by Visa to be high-risk, as specified in "High-Brand
Risk Merchant Category Codes," that contracts with a Payment Service Provider to obtain payment
services.

ID#: 111011-010611-0026390




1156                                               VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1194 of 1319
                                                PageID #: 4387
                                     Visa International Operating Regulations




High-Brand Risk Transaction (New)

Effective 1 June 2011, a Transaction performed by a High-Brand Risk Merchant, High-Risk Internet
Payment Service Provider or High-Brand Risk Sponsored Merchant assigned a Merchant Category
Code, considered by Visa to be high-brand risk, as specified in “High-Brand Risk Merchant Category
Codes.”

ID#: 111011-010611-0026391



High-Risk Electronic Commerce Merchant

An Electronic Commerce Merchant identified by the Global Merchant Chargeback Monitoring
Program or other Visa risk management initiatives (e.g., Merchant Fraud or similar region-specific
programs) that causes undue economic and goodwill damage to the Visa system.

ID#: 010410-010410-0024701



High-Risk Internet Payment Service Provider (New)

Effective 1 June 2011 through 30 June 2011, an Internet Payment Service Provider that:

• Enters into a contract with an Acquirer to provide payment services to High Risk Merchants,
  High-Brand Risk Merchants or High Risk Sponsored Merchants or High-Brand Risk Sponsored
  Merchants
• Includes one or more Sponsored Merchants required to be classified with a Merchant Category
  Code considered to be high-risk, as specified in “High-Brand Risk Merchant Category Codes”

Effective 1 July 2011, a Payment Service Provider that:

• Enters into a contract with an Acquirer to provide payment services to High-Risk Merchants, High-
  Brand Risk Merchants, High-Risk Sponsored Merchants, or High-Brand Risk Sponsored Merchants
• Includes one or more Sponsored Merchants required to be classified with a Merchant Category
  Code considered to be high-risk, as specified in “High-Brand Risk Merchant Category Codes”

ID#: 151011-010611-0026392



High-Risk Internet Payment Service Provider - U.S. Region (Updated)

Effective through 30 November 2011, an Internet Payment Service Provider that:

• Enters into a contract with an Acquirer to provide payment services to Sponsored Merchants
• Includes one or more Sponsored Merchants required to be classified with Merchant Category Code
  5967 ("Direct Marketing—Inbound Teleservices Merchant") in its Sponsored Merchant portfolio

ID#: 111011-010410-0024702




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    Case: 4:13-cv-02226-JAR                    Doc. #: 85-5 Filed: 02/12/15    Page: 1195 of 1319
                                                   PageID #: 4388
                                    Visa International Operating Regulations




High-Risk Sponsored Merchant - U.S. Region (Updated)

Effective through 30 November 2011, an Electronic Commerce Merchant required to be classified
with Merchant Category Code 5967 ("Direct Marketing—Inbound Teleservices Merchant") that
contracts with an Internet Payment Service Provider to obtain payment services.

ID#: 111011-010410-0024705



High-Risk Telemarketing Merchant (Updated)

Effective through 30 November 2011, a Merchant whose business includes telemarketing activity
that presents financial or goodwill risk to Visa or the Visa-Owned Marks. The Visa International
Operating Regulations refer to the following as High-Risk Telemarketing Merchants:

• Direct marketing travel-related arrangement services
• Inbound teleservices
• Outbound telemarketing

Visa may change the definition of a High-Risk Telemarketing Merchant to include additional Merchant
categories.

ID#: 111011-010410-0024706



Hotel

A hotel Merchant.

ID#: 010410-010410-0024708



Hotel Reservation Service

A Visa Hotel service where a Cardholder may use a Visa Card to guarantee overnight
accommodations.

ID#: 010410-010410-0024709



I


iCVV - U.S. Region

An alternate Card Verification Value that an Issuer may encode on a Chip instead of the standard
Card Verification Value contained in the Magnetic Stripe of the Chip Card.

ID#: 010410-010410-0024710




1158                                               VISA PUBLIC                       18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1196 of 1319
                                                PageID #: 4389
                                     Visa International Operating Regulations




ID Score Plus - U.S. Region

An optional feature of Visa Advanced ID Solutions that provides Members with a score and related
reason code(s) provided by ID Analytics, Inc. that assesses the risk associated with an identity in
connection with an application for a Card or non-Visa card, or other Visa or non-Visa product.

ID#: 010410-010410-0024711



ID Security Alerts Service – U.S. Region

An optional Visa service that identifies and protects consumers from the risk of consumer credit
application fraud through the use of the Visa Advanced ID Solutions database.

ID#: 111011-010100-0025925



Imprint

Cardholder data transferred from a Card to a Transaction Receipt to complete a Transaction. There
are 2 kinds of imprints:

• Electronic Imprint
• Manual Imprint

ID#: 010410-010410-0024713



In-Transit Service

A service provided on board a passenger transport vehicle that may include the purchase of goods or
services (e.g., movie rentals, catalog purchases, gambling).

ID#: 010410-010410-0024714



In-Transit Service Gambling Merchant

A Merchant that provides any form of gambling while in transit.

ID#: 010410-010410-0024715



In-Transit Service Merchant

A Merchant that provides in-transit services as specified in "In-Transit Service - General
Requirements."

ID#: 010410-010410-0024716




18 October 2011                                     VISA PUBLIC                                    1159
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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15     Page: 1197 of 1319
                                                   PageID #: 4390
                                    Visa International Operating Regulations




In-Transit Service Transaction

The purchase of goods, services, or gambling on board a passenger transport vehicle.

ID#: 010410-010410-0024717



In-Transit Terminal (Updated)

Effective through 14 October 2011, a Cardholder-Activated Terminal located on a vehicle designed
to transport passengers (e.g., an aircraft or cruise ship) that may be used for the purchase of goods,
services, or gambling.

Effective 15 October 2011, an Unattended Cardholder-Activated Terminal located on a vehicle
designed to transport passengers (e.g., an aircraft or cruise ship) that may be used for the purchase
of goods, services, or gambling.

ID#: 171011-010410-0024718



Inbound Teleservices - U.S. Region

Non-business-to-business audiotext/videotext and or digital content services accessed via telephone,
fax, or over an open network, such as the Internet, for the purchase of services or information
including, but not limited to, pay-per-call services such as:

• Psychic readings
• Sports scores
• Stock market quotes

ID#: 010410-010410-0024719



Independent Contractor - U.S. Region

An individual whose bank card-related business relationship with a Member or Third Party involves
any of the following:

• Merchant solicitation, sales, or service
• Merchant Transaction processing solicitation
• Cardholder solicitation or Card application processing services

ID#: 010410-010410-0024720




1160                                               VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1198 of 1319
                                                PageID #: 4391
                                     Visa International Operating Regulations




Input Date

The Edit Package run date on which a Member submits outgoing Interchange, or, for Domestic
Transactions, the date on which the Member processes outgoing Interchange.

ID#: 010410-010410-0024722



Installment Billing Transaction - U.S. Region

A single purchase of goods that:

• Is divided into 2 or more installment payment Transactions
• Originates at a Mail/Phone Order or Electronic Commerce Merchant
• Is authorized and processed as specified in “Installment Billing Transaction Option – U.S. Region.”

ID#: 050411-010410-0024723



Installment Transaction

The single purchase of goods or services billed to an account in multiple segments, over a period of
time agreed to between a Cardholder and a Merchant.

ID#: 010410-010410-0024724



Instant Card Personalization Issuance

The ability to instantly personalize Visa cards as a customer waits or to respond immediately to a
request for an emergency replacement of a Cardholder's lost or stolen card.

ID#: 050411-010100-0025525



Instant Card Personalization Issuance Agent

A Third Party Agent that performs instant card personalization and issuance for an Issuer.

ID#: 050411-010100-0025526



Instant/Remote Issuance - U.S. Region

The instant issuance of Visa Card products at a location other than a Member’s card manufacturing
facility (e.g., a branch office).

ID#: 010410-010410-0024725




18 October 2011                                     VISA PUBLIC                                      1161
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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15    Page: 1199 of 1319
                                                   PageID #: 4392
                                    Visa International Operating Regulations




Integrated Circuit Card

See Chip Card.

ID#: 010410-010410-0024726



Integrated Circuit Card Terminal

See Chip-Reading Device.

ID#: 010410-010410-0024727



Integrated Circuit Chip

See Chip.

ID#: 010410-010410-0024728



Interchange

The exchange of Clearing Records between Members. The Visa International Operating Regulations
refers to the following types of Interchange:

• Domestic Interchange
• International Interchange

ID#: 010410-010410-0024729



Interchange Authorization Limit

The amount over which a manual authorizer must obtain an Authorization from an Issuer on a
proposed Transaction or group of Transactions initiated on the same day by the same Cardholder.

ID#: 010410-010410-0024731



Interchange File

An electronic file containing a Member’s Interchange data.

ID#: 010410-010410-0024732




1162                                               VISA PUBLIC                      18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1200 of 1319
                                                PageID #: 4393
                                     Visa International Operating Regulations




Interchange Reimbursement Fee

A fee reimbursed by an Acquirer to an Issuer in the Clearing and Settlement of an Interchange
Transaction.

ID#: 010410-010410-0024733



Interchange Reimbursement Fee - U.S. Region

One of the following:

• A fee that an Acquirer pays to an Issuer in the Clearing and Settlement of an Interchange
  Transaction
• A fee that an Issuer pays to an Acquirer for making a Cash Disbursement to a Cardholder or
  Cheque purchaser

ID#: 010410-010410-0024734



Interchange Reimbursement Fee Compliance

A process where Visa resolves disputes between Members for a Member’s violation of the Visa
International Operating Regulations or Regional Operating Regulations that causes an incorrect
Interchange Reimbursement Fee rate to be applied to a large number of Transactions, resulting in a
financial loss to another Member.

ID#: 010410-010410-0024735



Interchange Reimbursement Fee Compliance Screening

A Member’s request for permission to file Interchange Reimbursement Fee Compliance against
another Member.

ID#: 010410-010410-0024736



Intercompany Interchange Reimbursement Fee Compliance

Effective 13 January 2011, a process by which Members of Visa Inc. and Visa Europe can
resolve disputes and recover financial losses caused by the application of an incorrect Interchange
Reimbursement Fee resulting from a violation of either the Visa International Operating Regulations
by a Visa Inc. Member or Visa Europe Operating Regulations by a Visa Europe Member. The process
is only available for cross-border Transactions between Visa Inc. and Visa Europe.

ID#: 151011-130111-0026214




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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15      Page: 1201 of 1319
                                                   PageID #: 4394
                                    Visa International Operating Regulations




Interlink Program

A program through which an Interlink participant (acting as an Interlink issuer) provides Point-of-
Transaction services to Interlink cardholders, to Interlink merchants, or both, as specified in the
Interlink Network, Inc. Bylaws and Operating Regulations and the Visa International Operating
Regulations.

ID#: 010410-010410-0024737



Interlink Program Marks

The Interlink Mark, Network Design Mark, and any other service Marks adopted by Visa for use with
the Interlink Program.

ID#: 010410-010410-0024738



Interlink Symbol - U.S. Region

The combination of the Interlink Wordmark and Network Design Mark. One of the Interlink Program
Marks.

ID#: 010410-010410-0024739



Interlink Wordmark - U.S. Region

A Mark comprising the word “Interlink.” One of the Interlink Program Marks.

ID#: 010410-010410-0024740



Intermediary Bank

A depository institution, specified by a Member or by Visa, through which a Settlement funds transfer
must be processed for credit to a Settlement account at another depository institution.

ID#: 010410-010410-0024741



International Airline

Either:

• An Airline that sells tickets directly in its own name in 2 or more countries, or operates scheduled
  flights between 2 or more countries, or both
• Its authorized agent that sells airline tickets on behalf of the Airline

ID#: 010410-010410-0024742



1164                                               VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1202 of 1319
                                                PageID #: 4395
                                     Visa International Operating Regulations




International Airline Transaction - U.S. Region

A Transaction completed at an International Airline participating in the International Airline Program.

ID#: 010410-010410-0024743



International Automated Referral Service

A VisaNet service that enables a VisaNet Processor to obtain an immediate reply to a Referral
Response.

ID#: 010410-010410-0024745



International Board

The Visa International Board of Directors.

ID#: 010410-010410-0024746



International Interchange

Interchange of an International Transaction.

ID#: 010410-010410-0024747



International Service Assessment

A fee charged to the Issuer and Acquirer for each International Transaction.

ID#: 081010-010410-0024749



International Service Center - U.S. Region

See Visa Customer Care Services - U.S. Region.

ID#: 010410-010410-0024750




18 October 2011                                     VISA PUBLIC                                      1165
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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                    Page: 1203 of 1319
                                                   PageID #: 4396
                                    Visa International Operating Regulations




International Transaction (Updated)
                                                                                                             [129]
A Transaction where the Issuer of the Card used is not located in the Transaction Country.

ID#: 151011-010410-0024752



Internet Domain Name - U.S. Region

A network name associated with an organization, such as “Visa.com,” “Visabank.com,” or
“Merchantnamevisa.com.”

ID#: 010410-010410-0024755



Internet Domain Name-Visa Simple

An Internet domain name consisting of the name “Visa” used alone, such as:

• “Visa.xx”
• “Visa.com”
• “Visa.net”
• “Visa.org.xx”

ID#: 010410-010410-0024758



Internet Payment Service Provider (IPSP) (Updated)

Effective through 30 June 2011, an online entity that contracts with an Acquirer to provide payment
services to a Sponsored Merchant.

ID#: 111011-010410-0024759



Internet Payment Service Provider Agreement (Updated)

Effective through 30 June 2011, a Merchant Agreement between an Internet Payment Service
Provider and an Acquirer containing their respective rights, duties, and obligations for participation in
the Acquirer’s Visa Program.

ID#: 111011-010410-0024760




129 Effective 1 October 2011, a variance to this definition applies in the AP Region, LAC Region, and U.S. Region for U.S.
    Covered Visa Debit Cards Transactions in the U.S. Region or a U.S. Territory for routing and Interchange Reimbursement
    Fee purposes.

1166                                               VISA PUBLIC                                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1204 of 1319
                                                PageID #: 4397
                                     Visa International Operating Regulations




Interregional Interchange

Interchange for an Interregional Transaction.

ID#: 010410-010410-0024761



Interregional Transaction

A Transaction where the Issuer of the Card used is not located in the Transaction Region.

ID#: 010410-010410-0024762



Intraregional Transaction

A Transaction where the Issuer of the Card used is located in the Transaction Region, but not in the
Transaction country.

ID#: 010410-010410-0024763



IPSP (Internet Payment Service Provider) (Updated)

Effective through 30 June 2011, see Internet Payment Service Provider.

ID#: 111011-010410-0024767



Issuer

A Member that enters into a contractual relationship with a Cardholder for the issuance of one or
more Card products.

ID#: 010410-010410-0024768



Issuer Chip Rate

An Interregional Interchange Reimbursement Fee reimbursed to an Issuer for any Transaction that
meets the Electronic Rate requirements and is completed with a Card issued by an Issuer that has
converted 50% of a designated BIN(s) or Account Number range of a Visa Card Program or Visa
Electron Card Program to Visa Smart Payment, and is conducted at a Magnetic-Stripe Terminal.

ID#: 010410-010410-0024770




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    Case: 4:13-cv-02226-JAR                    Doc. #: 85-5 Filed: 02/12/15     Page: 1205 of 1319
                                                   PageID #: 4398
                                    Visa International Operating Regulations




Issuer Limit

An Issuer-specified amount limit that determines how a Transaction will be authorized. Visa routes a
Transaction as follows, based on the Transaction amount:

• Amount at or above the Issuer Limit, to the Issuer or its VisaNet Processor
• Amount below the Issuer Limit, to Stand-In Processing using the Positive Cardholder Authorization
  Service

ID#: 010410-010410-0024771



Issuers' Clearinghouse Service - U.S. Region

A service developed jointly by Visa and MasterCard Worldwide that is designed to reduce Member
losses from excessive credit applications and unauthorized use.

ID#: 081010-010410-0024769



J


No glossary terms available for J.
ID#: 010410-010410-0025512



K


Key Management Service

A service that Visa provides to process, store, and transmit Member keys associated with the security
algorithm used in the V.I.P. System to protect the security of PINs.

ID#: 010410-010410-0024773



L


LAC

Latin America and Caribbean.

ID#: 010410-010410-0024774




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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1206 of 1319
                                                PageID #: 4399
                                     Visa International Operating Regulations




Late Settlement Fee

The fee that Visa collects from a Member for failure to transfer the Settlement Amount to the Visa
Settlement Bank on the date due.

ID#: 010410-010410-0024775



Lead Bank

Effective 14 October 2010, a Visa Multinational Program participant that initiates Multi-Country
Issuing on behalf of a Multinational Company client.

ID#: 050411-141010-0026026



Lead Region

A Region where a Global Co-branding Partnership is initiated.

ID#: 010410-010410-0024776



Level 4 Merchant in Australia and New Zealand – AP Region

A Merchant in Australia or New Zealand processing fewer than 20,000 Visa Electronic Commerce
Transactions annually or fewer than 1 million cumulative Visa Transactions annually.

ID#: 080411-060111-0026187



Level II Enhanced Data - U.S. Region

Data provided to Visa in connection with a Commercial Visa Product Transaction that includes the
sales tax amount, customer code (i.e., cost center, general ledger number, order/invoice number),
and additional data for T&E Transactions, as specified in the U.S. Interchange Reimbursement Fee
Rate Qualification Guide.

ID#: 010410-010410-0024778



Level III Enhanced Data - U.S. Region

Data provided to Visa in connection with a Commercial Visa Product Transaction that includes
full line item detail and additional data for T&E Transactions, as specified in the U.S. Interchange
Reimbursement Fee Rate Qualification Guide.

ID#: 010410-010410-0024777




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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15          Page: 1207 of 1319
                                                   PageID #: 4400
                                    Visa International Operating Regulations




Liability

As specified in the Visa International Operating Regulations, any liability under any theory or form
of action whatsoever, in law or in equity, including, without limitation, contract or tort, including
negligence, even if the responsible party has been notified of the possibility of such damages. The
term also includes liability for infringement of others’ intellectual property rights or any liability for
Claims of third parties.

ID#: 010410-010410-0024779



Licensee

An entity licensed to participate in the Visa or Visa Electron Program that is neither a:

• Member
• Member or owner of a Group Member

ID#: 010410-010410-0024780



Limited-Amount Terminal (Updated)

Effective through 14 October 2011, see Unattended Acceptance Terminal and Cardholder-
Activated Transaction Type A.

ID#: 111011-010410-0024781



Limited Acceptance - U.S. Region

A term describing a Merchant’s option to accept one category of Visa Cards and not another.
Categories consist of:

• Visa Credit and Business Category
• Visa Debit Category

ID#: 010410-010410-0024784



Limited Acceptance Merchant - U.S. Region

A category of Merchant that accepts either, but not both, of the following:

• Visa Credit and Business Category Cards
• Visa Debit Category Cards

ID#: 010410-010410-0024785




1170                                               VISA PUBLIC                               18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1208 of 1319
                                                PageID #: 4401
                                     Visa International Operating Regulations




Limited-Amount Terminal - U.S. Region (Updated)

Effective through 14 October 2011, a Cardholder-Activated Terminal that has Data Capture-Only
Capability, and accepts payment for items such as:

• Parking garage fees
• Road tolls
• Motion picture theater entrance
• Magnetic-Stripe Telephones

Only merchants in the following merchant categories qualify to submit transactions initiated at a
limited-amount terminal:

• 4111, "Local and Suburban Commuter Passenger Transportation, Including Ferries"
• 4112, "Passenger Railways"
• 4131, "Bus Lines"
• 4784, "Tolls and Bridge Fees"
• 7523, "Parking Lots and Garages"

ID#: 111011-010410-0024782



Limited-Amount Terminal Transaction - U.S. Region (Updated)

Effective through 14 October 2011, a Transaction that originated at a Limited-Amount Terminal
through use of a Card encoded with a valid Service Code for the Transaction.

ID#: 111011-010410-0024783



Listed Card

A Card whose Account Number is listed on the Exception File.

ID#: 010410-010410-0024786



Load Acquirer (Updated)

Effective through 31 December 2013, a Member financial institution or its agent that operates Load
Devices and support systems that allow consumers to:

• Load value to a reloadable Visa Cash Card
• Unload value from a reloadable Visa Cash Card, where applicable

ID#: 111011-010410-0024787




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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15     Page: 1209 of 1319
                                                   PageID #: 4402
                                    Visa International Operating Regulations




Load Device

An ATM or stand-alone device that a Cardholder uses to add or remove value from a stored value
application on a Chip Card.

ID#: 010410-010410-0024788



Load Transaction

A means of adding monetary value to a Card at a Point-of-Transaction Terminal or ATM.

ID#: 010410-010410-0024791



Load Transaction Receipt

A Transaction Receipt generated at an ATM or Load Device as a result of a Cardholder adding
monetary value to a Chip Card.

ID#: 010410-010410-0024792



Location Code - U.S. Region

A unique code identifying either a Point-of-Transaction Terminal or Merchant Outlet where a
Transaction originates.

ID#: 010410-010410-0024793



Lodging Merchant - U.S. Region

A Merchant that sells overnight accommodations, intended for a limited period of time, at a fixed
location.

ID#: 010410-010410-0024794



Logotype

A Wordmark depicted in stylized lettering.

ID#: 010410-010410-0024795




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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1210 of 1319
                                                PageID #: 4403
                                     Visa International Operating Regulations




Lost/Stolen Card and Emergency Card Replacement Passthrough Service - U.S.
Region

An optional service to assist Members in directly handling Cardholder requests for emergency
services. An Issuer that subscribes to the passthrough service determines the circumstances in which
Visa Customer Care Services will transfer Cardholder inquiries resulting from lost or stolen Cards and
requests for Emergency Card Replacements directly to the Issuer.

ID#: 081010-010410-0024797



Lost/Stolen Card Reporting Service - U.S. Region

A VisaNet service provided for an Issuer’s Authorizing Processor when a Visa Card, Visa Electron
Card, or Visa TravelMoney Card is reported lost or stolen to a VisaNet Authorization operator.

ID#: 010410-010410-0024798



M


Magnetic Stripe

A magnetic stripe on a Card that contains the necessary information to complete a Transaction.

ID#: 010410-010410-0024808



Magnetic-Stripe Card

A Card bearing a Magnetic Stripe that contains the necessary information to complete a Transaction.

ID#: 010410-010410-0024801



Magnetic-Stripe Data

Data contained in a Magnetic Stripe and replicated in a Chip.

ID#: 010410-010410-0024802



Magnetic-Stripe Image

The minimum Chip payment data replicating the Magnetic Stripe information required to process an
EMV-Compliant Transaction.

ID#: 010410-010410-0024803




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                                                   PageID #: 4404
                                    Visa International Operating Regulations




Magnetic-Stripe Telephone (Updated)

Effective through 14 October 2011, an Unattended Acceptance Terminal that may be capable
of supporting Cardholder-Activated Transaction Type A, Cardholder-Activated Transaction Type
B, or Cardholder-Activated Transaction Type C (as determined by Transaction elements, i.e.,
Authorization, PIN acceptance, Transaction amount) that accepts a Visa Card as payment for a
telephone call.

ID#: 111011-010410-0024804



Magnetic-Stripe Telephone - U.S. Region (Updated)

Effective through 14 October 2011, a Limited-Amount Terminal that accepts a Visa Card as
payment for a telephone call.

ID#: 111011-010410-0024805



Magnetic-Stripe Terminal

A terminal that reads the Magnetic Stripe on a Card.

ID#: 010410-010410-0024806



Magnetic-Stripe Terminal - U.S. Region

A Point-of-Transaction Terminal that reads the Magnetic Stripe on a Card and that additionally may
read Contactless Payment Card data via a wireless interface.

ID#: 010410-010410-0024807



Magnetic-Stripe-Reading Terminal - U.S. Region

See Magnetic-Stripe Terminal.

ID#: 010410-010410-0024800



Mail/Phone Order Merchant

A Merchant that completes a Mail/Phone Order Transaction.

ID#: 010410-010410-0024809




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                                                PageID #: 4405
                                     Visa International Operating Regulations




Mail/Phone Order Transaction

A Transaction where a Cardholder orders goods or services from a Merchant by telephone, mail,
or other means of telecommunication, and neither the Card nor the Cardholder is present at the
Merchant Outlet.

ID#: 010410-010410-0024810



Mail/Telephone Order, Recurring, Installment Billing, or Electronic Commerce
Transaction Indicator - U.S. Region

A VisaNet code that identifies a Transaction as one of the following:

• Mail order Transaction
• Electronic Commerce Transaction
• Phone order Transaction
• Recurring Transaction
• Installment Billing Transaction
• Other Mail/Phone Order-type Transaction

ID#: 010410-010410-0024811



Manual Cash Disbursement

A Cash Disbursement obtained with a Visa Card or Visa Electron Card in a Face-to-Face
Environment.

ID#: 010410-010410-0024814



Manual Imprint

An imprint of the embossed data on the front of the Card taken with a Manual Imprinter. A Manual
Imprint must not consist of an impression taken from the Card using pencil, crayon, or other writing
instrument.

ID#: 010410-010410-0024815



Manual Imprinter - U.S. Region

A mechanical device specifically designed to transfer the embossing on a Card and Merchant plate to
a Sales Draft.

ID#: 010410-010410-0024816




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                                                   PageID #: 4406
                                    Visa International Operating Regulations




Manual Transaction Receipt

A Transaction Receipt created when an Account Number is transferred to the Transaction Receipt
without the use of electronic means in a manual or semi-electronic environment.

ID#: 010410-010410-0024817



Mark

A word, name, design, symbol, or other device, or any combination thereof, that Visa or any entity
adopts to identify its goods or services.

ID#: 010410-010410-0024818



mChek (mChek India Payment Systems Pvt. Ltd.) - AP Region

A technology provider in India that is partnering with Visa.

ID#: 050411-010100-0026180



mChek Platform - AP Region

A platform that is being used for domestic Visa mobile commerce Transactions in India.

ID#: 050411-010100-0026181



Member

A client of Visa U.S.A., Visa International, Visa Worldwide, or a customer which has entered into a
Services Agreement with Visa Canada. Requirements for membership are defined in the applicable
Certificate of Incorporation and Bylaws.

ID#: 111011-010410-0024822



Member Message Field

A text field in the VisaNet record of a Chargeback or Representment that contains pre-formatted
messages.

ID#: 010410-010410-0024825




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                                                PageID #: 4407
                                     Visa International Operating Regulations




Membership Application (Updated)

The set of forms and/or documents containing rights, duties, obligations, and disclosures which, when
signed and submitted by an authorized officer of a financial institution to become a Visa Member,
represent a contractual obligation between Visa and such Member, under which the Member will be
bound.

ID#: 111011-010410-0024823



Merchant

An entity that contracts with an Acquirer to originate Transactions and that is eligible to display a
Visa-Owned Mark.

ID#: 050411-010410-0024828



Merchant Agreement

A contract between a Merchant and an Acquirer containing their respective rights, duties, and
obligations for participation in the Acquirer’s Visa or Visa Electron Program.

ID#: 010410-010410-0024830



Merchant Alert Service

A regional risk management service that requires a participating Acquirer to both:

• Submit information about a Merchant it has terminated
• Verify, before signing, that a Merchant is not listed with the service

ID#: 010410-010410-0024831



Merchant Bank

A Member as defined under the Visa International Certificate of Incorporation and Bylaws, Section
2.07.

ID#: 010410-010410-0024832



Merchant Category Code

A code designating the principal trade, profession, or line of business in which a Merchant is
engaged, as specified in the Visa Merchant Data Standards Manual.

ID#: 010410-010410-0024834



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                                                   PageID #: 4408
                                    Visa International Operating Regulations




Merchant Certificate

An electronic document used to authenticate a Merchant in an Electronic Commerce Transaction.

ID#: 010410-010410-0024835



Merchant Descriptor - U.S. Region

A term describing the aggregate of the BIN, Merchant name, Merchant city, Merchant state, and
Merchant Category Code fields contained in an Authorization Request or Clearing Record, as
specified in the:

• "VisaNet Clearing Message Content Standards" (Exhibit NN)
• "Required Data for Authorization Requests and Responses" (Exhibit OO)
• Appropriate VisaNet manuals

A Merchant Outlet may have one or more Merchant Descriptors.

ID#: 010410-010410-0024837



Merchant Fraud Performance Program

A fraud management program used to identify Merchants with excessive fraud levels.

ID#: 010410-010410-0024839



Merchant Outlet

Either:

• The physical premises of a Merchant at which a Transaction is completed
• For an Electronic Commerce or Mail/Phone Order Merchant, the country where all of the following
  occur:
  – There is a Permanent Establishment through which Transactions are completed. In the absence
    of a Permanent Establishment, a Merchant that provides only digital goods must use the country
    where the principals of the company work.
  – The Merchant holds a valid business license for the Merchant Outlet
  – The Merchant has a local address for correspondence and judicial process
  – The Merchant Outlet pays taxes relating to the sales activity

ID#: 010410-010410-0024842




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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1216 of 1319
                                                PageID #: 4409
                                     Visa International Operating Regulations




Merchant Plug-In (MPI) Client Certificate - Canada Region

A unique electronic cryptogram used to authenticate an Electronic Commerce Merchant that has
enrolled in 3-D Secure (commonly known as the Verified by Visa program).

ID#: 010410-010410-0024844



Merchant Verification Value (MVV)

Effective 1 January 2011, an assigned value transmitted in the Transaction message used by Visa
to identify an Acquirer or Merchant who is registered with Visa:

• To assess specific fees
• For other special Interchange treatment
• For participation in select acceptance programs
• For unique processing criteria

The MVV consists of 10 digits, the first 6 of which are assigned by Visa.

ID#: 080411-010111-0026121



Merchant Verification Value (MVV) - U.S. Region

Effective through 31 December 2010, an assigned value used to identify participation in select
Merchant fee programs and for other special Interchange treatment. The MVV consists of 10 digits,
the first 6 of which are assigned by Visa.

ID#: 050411-010111-0024848



Merger

A term used to describe any of the following:

• Purchase of a Member organization by another organization where the acquired Member's charter
  is dissolved
• Merging of two or more organizations into a single entity requiring a new charter

ID#: 111011-010100-0025531




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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15     Page: 1217 of 1319
                                                   PageID #: 4410
                                    Visa International Operating Regulations




Message Processing Service - U.S. Region

An Authorization service that the V.I.P. System provides in response to an Authorization Request
entered into the V.I.P. System by a Member, an Authorizing Merchant, or a VisaNet Authorization
center.

ID#: 010410-010410-0024849



Minimum Spending Limit – AP Region

The ability for Cardholders to accumulate charges of predefined value during each or any statement
cycle. For products with debit capabilities, Minimum Spending Limit is subject to available funds in the
account of the Cardholder.

ID#: 081010-010310-0025673



Misembossed Card

A valid Card on which erroneous information is embossed.

ID#: 010410-010410-0024850



Misencoded Card

A valid Card on which erroneous information is encoded.

ID#: 010410-010410-0024851



Money Transfer Original Credit Program

Effective 9 December 2010, a Visa program that allows a Member to offer funds transfer services
to its Visa Cardholders or other consumers resulting in a credit to the recipient Cardholder’s Visa
account, as specified in Original Credits Member Requirements or the Visa Money Transfer (VMT)
Global Implementation Guide.

ID#: 080411-091210-0026080



Money Transfer Original Credit Program - U.S. Region

Effective 15 February 2010 through 8 December 2010, a Visa program that allows a Member to
offer person-to-person funds transfer services to its Visa Cardholders or other consumers resulting
in a credit to the recipient Cardholder's Visa account, as specified in the Visa Money Transfer (VMT)
Global Implementation Guide.

ID#: 050411-150210-0025682




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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1218 of 1319
                                                PageID #: 4411
                                     Visa International Operating Regulations




Money Transfer Original Credit Transaction

A funds transfer Transaction initiated by a Member that results in a credit to a Visa Account Number
for a purpose other than refunding a Visa purchase (e.g., overseas remittances, gift transfers, Visa
Card payments), as specified in Original Credits Member Requirements or the Visa Money Transfer
(VMT) Global Implementation Guide.

ID#: 080411-010100-0026081



Money Transfer Original Credit Transactions - U.S. Region

Effective 15 February 2010 through 8 December 2010, a person-to-person funds transfer
Transaction initiated by a Member for a consumer's personal use that results in a credit to a Visa
Account Number for a purpose other than refunding a Visa purchase (e.g., overseas remittances,
gift transfers, Visa Card payments), as specified in the Visa Money Transfer (VMT) Global
Implementation Guide.

ID#: 050411-150210-0025683



MoneyChoices - U.S. Region

An optional Visa program that provides Members with an Internet-based educational resource for
Visa Cardholders in need of financial planning or money-management skills.

ID#: 010410-010410-0024852



Multi-Country Issuing (Updated)

Effective 14 October 2010, within the Visa Multinational Program, a scenario in which a Lead Bank
forms a relationship with a Partner Bank located in another country for the purpose of issuing Visa
Commercial Card products to its Multinational Company clients. Multi-Country Issuing is identified in
the Visa Multinational Program Guide as "Indirect Cross-Border Issuing."

ID#: 111011-141010-0026027



Multi-Currency Priced Transaction

A Transaction in which a Merchant displays the price of goods or services in a currency or currencies
other than, or in addition to, the Merchant's local currency. No Dynamic Currency Conversion is
conducted.

ID#: 111011-090910-0025996




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    Case: 4:13-cv-02226-JAR                    Doc. #: 85-5 Filed: 02/12/15    Page: 1219 of 1319
                                                   PageID #: 4412
                                    Visa International Operating Regulations




Multinational Company (Updated)

A commercial organization with operations, subsidiaries, and employees situated in more than one
country (excluding franchise representatives, independently owned dealers, and joint ventures in
which a Multinational Company participates), as specified in the Visa Multinational Program Guide.

ID#: 111011-010410-0024854



N


National Card Recovery Bulletin

A special edition of the Card Recovery Bulletin that lists domestic Account Numbers in addition to
other applicable listings.

ID#: 010410-010410-0024856



National Card Recovery File

A weekly file of all Visa account numbers listed on the Exception File with a Pickup Response. (See
the VisaNet manuals.)

ID#: 010410-010410-0024857



National Office

A Visa office with jurisdiction over a single country.

ID#: 010410-010410-0024861



National Operating Regulations

The operating regulations of a National Office.

ID#: 010410-010410-0024862



National Organization

An organization as defined under the Visa International Certificate of Incorporation and Bylaws,
Section 16.01.

ID#: 010410-010410-0024863




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                                                PageID #: 4413
                                     Visa International Operating Regulations




Negative Option Merchant (New)

Effective 1 June 2011, a Merchant that offers goods and/or services that result in a Negative Option
Transaction.

ID#: 111011-010611-0026394



Negative Option Transaction (New)

Effective 1 June 2011, an offer of goods and/or services that Cardholders need to expressly reject
during the Transaction process, including expressly declining willingness to participate in future
Transactions.

ID#: 111011-010611-0026393



Net Sales - U.S. Region

In calculation of Interchange Reimbursement Fees, Transaction Receipt totals less Credit Transaction
Receipt totals.

ID#: 010410-010410-0024867



Network Design Mark - U.S. Region

A Visa-owned service Mark used in the Interlink Program.

ID#: 010410-010410-0024866



New Channel

An environment in which payment is initiated via a Cardholder Access Device or other device that
does not use a standard Hypertext Markup Language (HTML) browser to process an Authentication
Request.

ID#: 010410-010410-0024868



No-Show Transaction

A Transaction that a Hotel participating in the Hotel Reservation Service or a Car Rental Company
participating in the Specialized Vehicle Reservation Service completes, resulting from a Cardholder’s
alleged failure to cancel or use the reservation.

ID#: 010410-010410-0024869




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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15    Page: 1221 of 1319
                                                   PageID #: 4414
                                    Visa International Operating Regulations




No-Show Transaction - U.S. Region

A Transaction resulting from a Cardholder’s alleged failure to cancel or use the reservation completed
by either a:

• Lodging Merchant participating in the Visa Reservation Service
• Car Rental Company participating in the Visa Reservation Service

ID#: 010410-010410-0024870



Non-Authenticated Security Transaction

An Electronic Commerce Transaction that uses data encryption for security but is not authenticated
using an Authentication Method.

ID#: 010410-010410-0024871



Non-Confidential Enhanced Merchant-Level Data - U.S. Region

Merchant-related data provided through Visa to an Issuer in connection with a Commercial Visa
Product, comprising only the following data elements:

• Merchant name
• Merchant street address
• Merchant city, state, and ZIP code
• Merchant telephone number

ID#: 010410-010410-0024872



Non-member - Canada Region

An entity that is not eligible to be a customer of Visa.

ID#: 010410-010410-0024874



Non-member Identification - Canada Region

The name or Trade Name alone or in combination with the Corporate logo or Mark of a Non-member.

ID#: 010410-010410-0024875




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                                                PageID #: 4415
                                     Visa International Operating Regulations




Non-Member Licensee - U.S. Region

An entity that:

• Is licensed to participate in the Visa or Visa Electron Program in a country outside of the United
  States and is not a Member of Visa
• Has the privileges and obligations of Interchange in the Visa or Visa Electron Program, as
  applicable

ID#: 010410-010410-0024876



Non-Participation Message

A message to a 3-D Secure Merchant indicating that the Issuer or Cardholder, represented by either
of the following, does not participate in 3-D Secure:

• Issuer BIN
• Account Number

ID#: 010410-010410-0024878



Non-Registered Country

A country for which Visa has not given written permission for an Acquirer to accept International
Airline Transactions.

ID#: 010410-010410-0024879



Non-Reloadable Card

A Visa Prepaid Card that is funded with monetary value only once.

ID#: 081010-010410-0024880



Non-Secure Transaction

An Electronic Commerce Transaction that has no data protection.

ID#: 010410-010410-0024881




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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15      Page: 1223 of 1319
                                                   PageID #: 4416
                                    Visa International Operating Regulations




Non-Settled Advice

A text message available to Members that specifies the count and amount of Clearing Records
processed in Domestic Interchange.

ID#: 010410-010410-0024882



Non-Standard Card

A Visa Card or Visa Electron Card that does not comply with the plastic specifications in the Visa
Product Brand Standards, requires Visa approval, and must:

• Provide the designated level of utility promised to the Cardholder
• Contain the physical elements and data components required to complete a Transaction

ID#: 010410-010410-0024883



Non-Visa Debit Transaction - U.S. Region

An act between a Visa Check Card or Visa Debit Card Cardholder and a merchant that results in the
generation of a transaction on a PIN-Debit Network.

ID#: 010410-010410-0024885



Notification

Effective through 14 February 2011, written notice delivered by mail, courier, facsimile, telex, or
hand. Notification is effective when posted, sent, or transmitted by Visa to the Member or its agent.

Effective 15 February 2011, written notice delivered by mail, courier, facsimile, hand, e-mail, or other
electronic delivery method. Notification is effective when posted, sent, or transmitted by Visa to the
Member or its Agent.

ID#: 111011-150211-0024887



Non-Visa-Owned Marks

The Marks used in conjunction with a program sponsored by Visa, but owned by a third party.

ID#: 010410-010410-0024884




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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1224 of 1319
                                                PageID #: 4417
                                     Visa International Operating Regulations




Nonfulfillment Message

A response to a Retrieval Request indicating that the Acquirer will not provide a copy through an
electronic document transfer method.

ID#: 010410-010410-0024886



Notification - U.S. Region

Effective through 14 February 2011, written notice delivered by e-mail, mail, courier, facsimile, or
hand. Notification is effective when posted, sent, or transmitted by Visa to the Member or its Agent. In
conjunction with Risk Identification Service (RIS) Online, notification sent by Visa via Visa Online to
an Acquirer advising it of Identified Merchants.

ID#: 050411-010410-0024889



NSR - Canada Region

Effective through 15 October 2010, No Signature Required.

ID#: 081010-010410-0024893



NSR Merchant - Canada Region

Effective through 15 October 2010, a Merchant that is able to participate in the NSR Program by
meeting all of the NSR Program Merchant eligibility requirements.

ID#: 081010-010410-0024894



Numeric ID (New)

Any identifier, other than a BIN, assigned by Visa to a Visa Member, VisaNet Processor, or Third
Party Agent, including but not limited to Processor Control Records (PCR), Station IDs, and Routing
IDs, used to facilitate transaction routing and processing.

ID#: 111011-080911-0026475




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    Case: 4:13-cv-02226-JAR                    Doc. #: 85-5 Filed: 02/12/15      Page: 1225 of 1319
                                                   PageID #: 4418
                                    Visa International Operating Regulations




O


Offline Authorization

An Issuer-controlled process that allows a Chip-initiated Authorization Request to be processed in a
below-Floor Limit environment without sending the request to the Issuer.

ID#: 010410-010410-0024898



Offline Data Authentication - Canada Region

Any Authentication as specified in the Chip Specifications, including Combined Data Authentication,
Dynamic Data Authentication, and Static Data Authentication.

ID#: 010410-010410-0024900



Offline PIN Verification

A process used to verify the Cardholder’s identity by comparing the PIN entered at the Chip-Reading
Device to the PIN value contained in the Chip.

ID#: 010410-010410-0024902



Offshore VisaNet Processor - U.S. Region

A VisaNet Processor, from a location outside of the United States, that provides Authorization,
Clearing, or Settlement services to Members or Merchants. This definition does not imply or confer
membership rights as defined in the Visa U.S.A. Inc. Certificate of Incorporation and Bylaws, Article II.

ID#: 010410-010410-0024905



Olympic Marks

The Marks of the Olympic games when used in conjunction with the Visa, Visa Electron, or Visa
TravelMoney Program.

ID#: 010410-010410-0024906



On-Us Transaction

A Transaction where the Issuer and the Acquirer are the same Member.

ID#: 010410-010410-0024907




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                                                PageID #: 4419
                                     Visa International Operating Regulations




Online

A method of requesting an Authorization through a communications network other than voice.

ID#: 010410-010410-0024910



Online Address - U.S. Region

The electronic sales location (domain name) of a Merchant that conducts the sale of goods or
services over the Internet or other network (e.g., http://www.merchantname.com).

ID#: 010410-010410-0024911



Online Card Authentication Cryptogram

A cryptogram generated by a Chip Card during a Transaction and used to validate the authenticity of
the Card.

ID#: 050411-010410-0024912



Online Check Card Transaction - U.S. Region (Updated)

Effective through 30 June 2015, a Transaction completed through the use of a Visa Check Card II
that is a single-message-acquired, full-financial Transaction.

ID#: 111011-010410-0024913



Online Financial Processing

A process that combines Authorization, Clearing, and Settlement into a single Online Financial
Transaction.

ID#: 010410-010410-0024914



Online Financial Transaction

A Transaction that is authorized, cleared, and settled in a single online message.

ID#: 010410-010410-0024915



Online Gambling Merchant

An Electronic Commerce Merchant that provides any form of gambling services over the Internet or
other networks. Gambling services include, but are not limited to, the following:



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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15      Page: 1227 of 1319
                                                   PageID #: 4420
                                    Visa International Operating Regulations


• Betting
• Lotteries
• Casino-style games
• Funding an account established by the Merchant on behalf of the Cardholder
• Purchase of value for proprietary payment mechanisms, such as electronic gaming chips

ID#: 010410-010410-0024916



Online Gambling Transaction

An Electronic Commerce Transaction representing the purchase of any form of gambling services
over the Internet or other networks. Gambling services include, but are not limited to, the following:

• Betting
• Lotteries
• Casino-style games
• Funding an account established by the Merchant on behalf of the Cardholder
• Purchase of value for proprietary payment mechanisms, such as electronic gaming chips

ID#: 010410-010410-0024917



Online PIN Verification

A process used to verify the Cardholder’s identity by sending an encrypted PIN value to the Issuer or
the Issuer’s agent for validation in an Authorization Request.

ID#: 010410-010410-0024918



Open File Delivery - U.S. Region

A component of the Direct Exchange network that allows Visa and endpoints to exchange data files
through a single connection to VisaNet. Applicable file types include BASE II, Automated Clearing
House, Single Message System reports, and raw data files.

ID#: 010410-010410-0024920



Operating Expense Recovery - U.S. Region

A subset of the Account Data Compromise Recovery Process that allocates responsibility and
reimbursement for a portion of Issuers’ operational expenses incurred as the result of an account
compromise event involving Magnetic-Stripe Data and/or PIN data. Issuers must enroll in the
Operating Expense Recovery process to be eligible for operating expense reimbursement.

ID#: 010410-010410-0024921




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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1228 of 1319
                                                PageID #: 4421
                                     Visa International Operating Regulations




Operator Assistance Service - U.S. Region

An Authorization service provided by Visa or its agent to a Merchant or its Authorizing Processor.

ID#: 010410-010410-0024922



Order Form - U.S. Region

A document bearing the Cardholder’s signature, either written or electronic, authorizing goods or
services to be charged to his/her account. An Order Form may be any of the following:

• Mail order form
• Recurring Transaction form
• Preauthorized Healthcare Transaction form
• E-mail or other electronic record that meets the requirements of applicable law

ID#: 010410-010410-0024923



Original Adjustment - U.S. Region (Updated)

One of the following:

Effective through 30 June 2015, an Online Check Card Transaction completed and submitted
through Interchange without an Authorization because the connection between the Merchant and its
Authorizing Processor was inoperable.

Effective 14 April 2012, a Visa Debit with PIN Transaction completed and submitted through
Interchange without an Authorization because the connection between the Merchant and its VisaNet
Processor was inoperable.

ID#: 111011-010410-0024924



Original Credit

A Transaction, including a Money Transfer Original Credit Transaction, initiated by a Member either
directly or on behalf of its Merchant that results in a credit to a Visa Account Number for a purpose
other than refunding a Visa purchase, as specified in Original Credits Member Requirements.

ID#: 050411-010410-0024925




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    Case: 4:13-cv-02226-JAR                    Doc. #: 85-5 Filed: 02/12/15        Page: 1229 of 1319
                                                   PageID #: 4422
                                    Visa International Operating Regulations




Originating Member

An Issuer or Acquirer that initiates an Original Credit Transaction, including a Money Transfer
Original Credit Transaction, as specified in Original Credits Member Requirements or the Visa Money
Transfer (VMT) Global Implementation Guide.

ID#: 050411-010410-0024926



Originating Member - U.S. Region

Effective 15 February 2010 through 8 December 2010, an Issuer or Acquirer that initiates a
Money Transfer Original Credit Transaction as specified in the Visa Money Transfer (VMT) Global
Implementation Guide.

ID#: 050411-010100-0025688



Outbound Telemarketing - U.S. Region

Merchant-initiated contact with a Cardholder via a telephone call or a mailing (other than a catalog)
that instructs the Cardholder to call the Merchant. These solicitations include, but are not limited to,
discount buying clubs, discount travel clubs, membership clubs, credit card protection/registration
services, cosmetics, health care products, and vitamins. This definition also includes “up sell”
Merchants. These Merchants often solicit Cardholders when they contact call centers to purchase
products of other direct marketing Merchants or to request customer service assistance.

ID#: 010410-010410-0024927



P


Partial Amount Indicator - U.S. Region

A VisaNet code used in a Chargeback or Representment Record to indicate either:

• The Chargeback amount is less than the Transaction amount
• The Representment amount is less than the Chargeback amount

(Previously known as Special Chargeback Indicator.)

ID#: 010410-010410-0024928




1192                                               VISA PUBLIC                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1230 of 1319
                                                PageID #: 4423
                                     Visa International Operating Regulations




Partial Authorization

An Authorization for an amount less than the amount requested by a Merchant for a Transaction on a
Visa Card.

ID#: 010410-010410-0024929



Participant-Type Member

A Member of Visa characterized as one of the following:

• Credit Participant, as defined in the Visa U.S.A. Inc. Certificate of Incorporation and Bylaws, Article
  II, Section 2.04(h)
• Debit Participant, as defined in the Visa U.S.A. Inc. Certificate of Incorporation and Bylaws, Article
  II, Section 2.04(i)
• Cash Disbursement Participant, as defined in the Visa U.S.A. Inc. Certificate of Incorporation and
  Bylaws, Article II, Section 2.04(j)
• Participant, as defined in the applicable Certificate of Incorporation and Bylaws

ID#: 111011-010410-0024930



Partner Bank

Effective 14 October 2010, a Visa Multinational Program participant that partners with the Lead
Bank in the Multi-Country Issuing scenario. The Partner Bank resides in a country that is different
from the Lead Bank and issues Visa Commercial Card products on behalf of the Lead Bank.

ID#: 050411-141010-0026029



Passenger Transport Service Category - U.S. Region

A Transaction category that provides customized services and procedures for Airlines, passenger
railway Merchants, or their agents.

ID#: 010410-010410-0024932



Payment Application

A software application contained within a Chip or payment data encoded on a Magnetic Stripe that
defines the parameters for processing a Visa Transaction.

ID#: 010410-010410-0024933




18 October 2011                                     VISA PUBLIC                                       1193
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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15     Page: 1231 of 1319
                                                   PageID #: 4424
                                    Visa International Operating Regulations




Payment Card Industry Data Security Standard (PCI DSS)

A set of comprehensive requirements that define the standard of due care for protecting sensitive
Cardholder information.

ID#: 010410-010410-0024934



Payment Card Industry Forensic Investigator (PFI) (New)

Effective 21 April 2011, an individual or entity approved by the Payment Card Industry Security
Standards Council (PCI SSC) to respond in the event of a security incident and perform forensic
investigations.

ID#: 111011-210411-0026276



Payment Card Industry Payment Application Data Security Standard

A data security standard that specifies security requirements for third-party Payment Application
software that stores, processes, or transmits Cardholder data.

ID#: 081010-200509-0024935



Payment Gateway

A system that provides electronic commerce services to Merchants for the Authorization and Clearing
of Electronic Commerce Transactions.

ID#: 010410-010410-0024936



Payment Service Provider (New)

Effective 1 July 2011, an entity that contracts with an Acquirer to provide payment services to a
Sponsored Merchant.

ID#: 111011-010711-0026428



Payment Service Provider Agreement (New)

Effective 1 July 2011, a Merchant Agreement between a Payment Service Provider and an Acquirer
containing their respective rights, duties, and obligations for participation in the Acquirer's Visa
Program.

ID#: 111011-010711-0026430




1194                                               VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1232 of 1319
                                                PageID #: 4425
                                     Visa International Operating Regulations




Peak Time - U.S. Region

The period of time, designated by a Car Rental Company, during which a Cardholder may use their
Card to reserve a car that will be guaranteed under the Visa Reservation Service. The Peak Time
may include any of the following:

• Legal holidays, including 3-day weekends
• Resort rentals during seasons best suited for the resort’s activities
• Special events that draw attendees from outside the local area, such as the Olympics, the Super
  Bowl, or Mardi Gras

ID#: 010410-010410-0024937



Performance Threshold Interchange Reimbursement Fee Program - Visa Consumer
Credit - U.S. Region

A Visa program that permits Acquirers to qualify for Interchange Reimbursement Fees for consumer
Visa credit Card Transactions based on Merchant Outlet volume criteria and other qualifications.

ID#: 010410-010410-0024938



Performance Threshold Interchange Reimbursement Fee Program - Visa Consumer
Debit - U.S. Region

A Visa program that permits Acquirers to qualify for reduced Interchange Reimbursement Fees for
consumer Visa Debit Card Transactions based on Merchant Outlet volume criteria.

ID#: 010410-010410-0024939



Performance Threshold Interchange Reimbursement Fee Transaction - U.S. Region

A consumer Visa credit Card or consumer Visa Debit Card Transaction that originates at a Merchant
Outlet that qualifies for a Performance Threshold Interchange Reimbursement Program.

ID#: 010410-010410-0024940



Permanent Establishment

A fixed place of business through which an Electronic Commerce or Mail/Phone Order Merchant
conducts its business, regardless of Website or server locations.

ID#: 010410-010410-0024941




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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 1233 of 1319
                                                   PageID #: 4426
                                    Visa International Operating Regulations




Personal Identification Number - U.S. Region

See PIN.

ID#: 010410-010410-0024943



Physically Secure Device - U.S. Region

A device with negligible probability of being successfully penetrated to disclose all or part of any
cryptographic key or PIN.

ID#: 010410-010410-0024944



Pickup Response

An Authorization Response where the Transaction is declined and confiscation of the Card is
requested.

ID#: 010410-010410-0024945



PIN

A personal identification numeric code that identifies a Cardholder in an Authorization Request.

ID#: 010410-010410-0024948



PIN Management Requirements Documents - U.S. Region

A suite of documents that include the following manuals:

• Payment Card Industry PIN Security Requirements
• Payment Card Industry POS PIN Entry Device Security Requirements
• Payment Card Industry Encrypting PIN PAD (EPP) Security Requirements
• Visa PIN Entry Device Security Requirements Manual

ID#: 010410-010410-0024950



PIN Verification

A procedure used to verify Cardholder identity when a PIN is used in an Authorization Request.

ID#: 010410-010410-0024951




1196                                               VISA PUBLIC                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1234 of 1319
                                                PageID #: 4427
                                     Visa International Operating Regulations




PIN Verification Field

A field encoded on the Magnetic Stripe or Chip of a Visa or Visa Electron Card comprising a PIN
Verification Value, calculated with an algorithm using portions of the Account Number and PIN, and a
one-digit key indicator.

ID#: 010410-010410-0024952



PIN Verification Service

A service that Visa provides for the verification of Cardholder PINs transmitted with Authorization
Requests.

ID#: 010410-010410-0024953



PIN Verification Value

A 4-digit value used in PIN verification.

ID#: 010410-010410-0024954



PIN Verification Value File

A VisaNet file of Account Numbers and PIN Verification Values maintained at a VisaNet Interchange
Center at an Issuer’s option for use as part of the PIN Verification Service.

ID#: 010410-010410-0024955



PIN-Debit Network - U.S. Region

A non-Visa debit network that typically authenticates transactions by use of a PIN that is not generally
known as, marketed as, or enabled as a competitive general-purpose card program, or other
prohibited payment program, either directly or through a joint acceptance agreement.

ID#: 010410-010410-0024946



PIN-Preferring Chip Card

An EMV and VIS-Compliant Chip Card containing a Visa or Visa Electron Smart Payment Application,
and a Cardholder Verification Method List specifying a preference for a PIN-based Cardholder
Verification Method (either offline or online).

ID#: 081010-010410-0024947




18 October 2011                                     VISA PUBLIC                                       1197
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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15    Page: 1235 of 1319
                                                   PageID #: 4428
                                    Visa International Operating Regulations




Plus ATM

An ATM that displays the Plus Symbol and not the Visa Brand Mark.

ID#: 010410-010410-0024956



Plus ATM - U.S. Region

An ATM that displays the Plus Symbol.

ID#: 050411-010410-0024957



Plus Card - U.S. Region

A card that bears the Plus Symbol.

ID#: 050411-010410-0024958



Plus Design

See Diamond Design.

ID#: 010410-010410-0024959



Plus Logo - U.S. Region

See Plus Symbol.

ID#: 010410-010410-0024961



Plus Logotype

The Plus Wordmark depicted in stylized lettering.

ID#: 010410-010410-0024960



Plus Program

A program through which a Plus participant provides ATM services to Cardholders by acting as an
Issuer, an ATM Acquirer, or both.

ID#: 010410-010410-0024962




1198                                               VISA PUBLIC                      18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1236 of 1319
                                                PageID #: 4429
                                     Visa International Operating Regulations




Plus Program - U.S. Region

A program through which a Plus Program Participant provides ATM services to cardholders, as
specified in the Plus System, Inc. Bylaws and Operating Regulations.

ID#: 010410-010410-0024963



Plus Program Marks

The Marks used in connection with the Plus Program, including the Diamond Design, Plus Symbol,
Plus Logotype, Plus Wordmark, Plus Symbol-Contained, and Plus Symbol-Uncontained, as specified
in the Visa Product Brand Standards.

ID#: 010410-010410-0024964



Plus Program Participant

An entity participating in the Plus Program, as specified in the Visa International Certificate of
Incorporation and Bylaws, Section 2.09.

ID#: 010410-010410-0024965



Plus Symbol

A Mark consisting of the Diamond Design combined with the Plus Logotype denoting ATM access
only. One of the Visa-Owned Marks. The Plus Symbol:

• Must be used as specified in the Visa Product Brand Standards
• May be used as either the:
   – Plus Symbol-Contained
   – Plus Symbol-Uncontained

ID#: 010410-010410-0024966



Plus Symbol - Contained - U.S. Region

A Plus Symbol enclosed in a rectangular field and outline box.

ID#: 010410-010410-0024967




18 October 2011                                     VISA PUBLIC                                      1199
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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 1237 of 1319
                                                   PageID #: 4430
                                    Visa International Operating Regulations




Plus Symbol - Uncontained - U.S. Region

A Plus Symbol that is free-standing and not enclosed in a rectangular field and outline box.

ID#: 010410-010410-0024968



Plus System Symbol - U.S. Region

A Visa-Owned ATM Acceptance Mark consisting of the Plus Design combined with the Plus
Wordmark denoting ATM access only.

ID#: 010410-010410-0024971



Plus System Wordmark - U.S. Region

See Plus Wordmark.

ID#: 010410-010410-0024972



Plus System, Inc.

A subsidiary of Visa U.S.A. Inc. sublicensed to administer the Plus Program in the United States and
certain other countries, in accordance with the affiliation agreements between that entity and Visa.

ID#: 010410-010410-0024969



Plus Wordmark

A Visa-Owned Mark consisting of the word “Plus” with the initial letter capitalized.

ID#: 010410-010410-0024973



Point-of-Sale Balance Inquiry

A Cardholder request for their Visa Prepaid Card account balance that is initiated at the Point-of-
Transaction and processed as a separate, non-financial transaction, or, for Rightcliq, a Cardholder
request for Card account balance information for participating Visa Cards registered with Rightcliq.

ID#: 081010-010100-0025553



Point-of-Sale Balance Inquiry Service

A service that uses the Visa System to provide a Point-of-Sale Balance Inquiry.

ID#: 010410-010410-0024989



1200                                               VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1238 of 1319
                                                PageID #: 4431
                                     Visa International Operating Regulations




Point-of-Sale Balance Inquiry Service - U.S. Region

A VisaNet service designed to provide information to participating Merchants to facilitate the
Merchant providing current account balance information to Visa Prepaid Cardholders or to Visa to
facilitate providing current Card account balance information to Cardholders using Rightcliq.

ID#: 050411-010100-0025658



Point-of-Sale Balance Return

An Authorization Response in which an Issuer of Visa Prepaid Cards provides the remaining balance
for participating Merchants to print on the Transaction Receipt.

ID#: 081010-010100-0025554



Point-of-Sale Balance Return Service

A service that uses the Visa System to provide a Point-of-Sale Balance Return.

ID#: 010410-010100-0025552



Point-of-Transaction (Updated)

Effective through 14 October 2011, the physical location where a Merchant or Acquirer (in a Face-
to-Face Environment) or an Unattended Acceptance Terminal (in an Unattended Environment)
completes a Transaction Receipt.

Effective 15 October 2011, the physical location where a Merchant or Acquirer (in a Face-to-Face
Environment) or an Unattended Cardholder-Activated Terminal (in an Unattended Environment)
completes a Transaction Receipt.

ID#: 111011-010410-0024974



Point-of-Transaction - U.S. Region (Updated)

One of the following:

• In a Face-to-Face Environment, the physical location at which a Merchant or Acquirer completes a
  Transaction Receipt
• Effective through 14 October 2011, in a Card-Present Environment, where an individual
  representing the Merchant or Acquirer is not present, the physical location at which a Cardholder
  completes a Cardholder-Activated Terminal Transaction
• Effective 15 October 2011, in a Card-Present Environment, where an individual representing the
  Merchant or Acquirer is not present, the physical location at which a Cardholder completes an
  Unattended Transaction



18 October 2011                                     VISA PUBLIC                                    1201
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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15    Page: 1239 of 1319
                                                   PageID #: 4432
                                    Visa International Operating Regulations


• At an Online Address, the checkout page(s) of a Merchant’s Website at which a Cardholder
  completes a Transaction

ID#: 111011-010410-0024975



Point-of-Transaction Capability (Updated)

Effective through 14 October 2011, the capability of a Merchant, Acquirer, or Unattended
Acceptance Terminal to obtain an Authorization and process Transaction Receipt data. The Visa
International Operating Regulations refer to these Point-of-Transaction Capability types:

• Authorization-Only Capability
• Data Capture-Only Capability
• Electronic Capability
• Manual Capability
• Semi-Electronic Capability

Effective 15 October 2011, the capability of a Merchant, Acquirer, or Unattended Cardholder-
Activated Terminal to obtain an Authorization and process Transaction Receipt data. The Visa
International Operating Regulations refer to these Point-of-Transaction Capability types:

• Authorization-Only Capability
• Data Capture-Only Capability
• Electronic Capability
• Manual Capability
• Semi-Electronic Capability

ID#: 111011-010410-0024976



Point-of-Transaction Capability - U.S. Region (Updated)

Effective through 14 October 2011, the capability of a Merchant, Acquirer, or Cardholder-Activated
Terminal to obtain an Authorization and process Transaction Receipt data. The U.S. Regional
Operating Regulations refer to these Point-of-Transaction Capability types:

• Authorization-Only Capability
• Data Capture-Only Capability
• Electronic Capability
• Manual Capability
• Semi-Electronic Capability

ID#: 111011-010410-0024977




1202                                               VISA PUBLIC                      18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1240 of 1319
                                                PageID #: 4433
                                     Visa International Operating Regulations




Point-of-Transaction Terminal (Updated)

A device used at the Point-of-Transaction that has a corresponding Point-of-Transaction Capability.
The Visa International Operating Regulations refer to the following types of Point-of-Transaction
Terminals:

• ATM
• Chip-Reading Device
• Effective through 14 October 2011, Magnetic-Stripe Telephone
• Magnetic-Stripe Terminal
• Effective through 14 October 2011, Unattended Acceptance Terminal
• Effective 15 October 2011, Unattended Cardholder-Activated Terminal

ID#: 111011-010410-0024978



Point-to-Point File Service - U.S. Region

A service that enables Open File Delivery endpoints to transfer batch files to other Open File Delivery
endpoints through Direct Exchange.

ID#: 010410-010410-0024980



Point-of-Transaction Terminal - U.S. Region (Updated)

A device used at the Point-of-Transaction that has a corresponding Point-of-Transaction Capability.
The U.S. Regional Operating Regulations refer to the following types of Point-of-Transaction
Terminals:

• Account-Number-Verifying Terminal
• ATM
• Automated Dispensing Machine
• Chip-Reading Device
• Contactless Payment Terminal
• Effective through 14 October 2011, Limited-Amount Terminal
• Effective through 14 October 2011, Magnetic-Stripe Telephone
• Magnetic-Stripe Terminal
• Effective through 14 October 2011, Self-Service Terminal
• Effective 15 October 2011, Unattended Cardholder-Activated Terminal

ID#: 111011-010410-0024979




18 October 2011                                     VISA PUBLIC                                    1203
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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15    Page: 1241 of 1319
                                                   PageID #: 4434
                                    Visa International Operating Regulations




Points - U.S. Region

A value awarded to a participating Cardholder’s rewards account as part of the Visa Extras Program.

ID#: 010410-010410-0024981



Portfolio Sale

Sale of programs, in whole or part, from one organization to another where the selling organization
and purchasing organization each maintains their respective charters.

ID#: 111011-010100-0025532



POS - Canada Region

A Point-of-Transaction Terminal that excludes ATMs.

ID#: 010410-010410-0024988



POS Entry Mode

A VisaNet field indicating the method used to obtain and transmit the Cardholder information
necessary to complete a Transaction, i.e., manual key entry, Magnetic-Stripe-read, or Chip-read.

ID#: 050411-010410-0024990



Post-Issuance Application Change

A method that enables an Issuer to modify or block an application already residing on a Chip.

ID#: 010410-010410-0024985



Post-Issuance Application Load

A method that enables an Issuer to add an application or service to the contents of a Chip without
reissuing a Card.

ID#: 010410-010410-0024986



Post-Issuance Updates

A method that enables an Issuer to update information stored in a Chip without reissuing the Card.
There are 2 types of Post-Issuance Updates:

• Post-Issuance Application Change


1204                                               VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1242 of 1319
                                                PageID #: 4435
                                     Visa International Operating Regulations


• Post-Issuance Application Load

ID#: 010410-010410-0024987



Preauthorized Health Care Transaction - U.S. Region

A Transaction completed by a Health Care Merchant for which a Cardholder has provided written
permission to the Merchant to charge the Cardholder’s Visa account for services.

ID#: 010410-010410-0024991



Preauthorized Payment Cancellation Service

Effective 10 February 2011, a service that enables Visa Card Issuers to stop payment on
Preauthorized Transactions.

ID#: 050411-100211-0026230



Preauthorized Payment Cancellation Service - U.S. Region

Effective through 9 February 2011, a service that enables Visa Card Issuers to stop payment on
Preauthorized Transactions.

ID#: 050411-010410-0024992



Preauthorized Transaction

Effective 10 February 2011, a Transaction for which a Cardholder has given advance permission
to periodically charge his or her account. Preauthorized Transactions include, but are not limited
to, Recurring Transactions, Installment Billing Transactions, and Preauthorized Health Care
Transactions.

ID#: 050411-100211-0026231



Preauthorized Transaction - U.S. Region

Effective through 9 February 2011, a Transaction for which a Cardholder has given advance
permission to periodically charge his or her account. Preauthorized Transactions include, but are not
limited to, Recurring Transactions, Installment Billing Transactions, and Preauthorized Health Care
Transactions.

ID#: 050411-010410-0024993




18 October 2011                                     VISA PUBLIC                                   1205
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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15      Page: 1243 of 1319
                                                   PageID #: 4436
                                    Visa International Operating Regulations




Prepaid Account

An account established by an Issuer, with previously deposited, authorized, or transferred funds,
which is decreased by purchase Transactions, Cash Disbursements, or account fees.

ID#: 010410-010410-0024994



Prepaid Issuer Risk Program - U.S. Region

A program that increases an Issuer’s accountability for controlling its Agent relationships that support
Visa Prepaid Card Issuer programs and enhances control mechanisms to mitigate risk to the Visa
system.

ID#: 081010-010410-0024997



Prepaid Partner

A Merchant, Member, or Third Party agent (excluding cobranded partners, Approved Manufacturers
and Card Personalizers) that has a contract with a Visa Acquirer to sell, activate and/or perform Load
Transaction processing for Visa Prepaid Cards.

ID#: 010410-010410-0024998



Prepaid Partner Agreement

A contract between a Visa Prepaid Card Issuer and a Member, Merchant or Third Party agent
(excluding co-branded partners, Approved Manufacturers and Card Personalizers) containing
respective rights, duties and obligations for the sale, activation and/or Load Transaction processing of
Visa Prepaid Cards.

ID#: 010410-010410-0024999



Prescreen Service - U.S. Region

An optional feature of Visa Advanced ID Solutions that allows Members to select data from the
Issuers’ Clearinghouse Service databases to create a suppression file before mailing solicitations for
Cards, non-Visa cards, or other Visa or non-Visa products.

ID#: 010410-010410-0025000




1206                                               VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1244 of 1319
                                                PageID #: 4437
                                     Visa International Operating Regulations




Presentment

A Clearing Record that an Acquirer presents to an Issuer through Interchange, either initially (a first
Presentment) or after a Chargeback (a Representment).

ID#: 010410-010410-0025001



Prestigious Property - U.S. Region

A Lodging Merchant that is permitted to use the Status Check Procedure.

ID#: 010410-010410-0025002



Primary Account Number (PAN) - U.S. Region

See Account Number.

ID#: 010410-010410-0025003



Primary Mark

A Visa-Owned Mark on a Card that identifies the primary Account Number when multiple Brand
Marks (including both Visa-Owned and Non-Visa-Owned Marks) are contained on a Chip Card.

ID#: 010410-010410-0025004



Principal-Type Member

A Member of Visa characterized as one of the following:

• Principal Member, as defined in the applicable Certificate of Incorporation and Bylaws
• Acquirer Member, as defined in the applicable Certificate of Incorporation and Bylaws
• Administrative Member, as defined in the Visa U.S.A. Inc. Certificate of Incorporation and Bylaws,
  Article II, Section 2.04(c)
• Debit Interchange Member, as defined in the Visa U.S.A. Inc. Certificate of Incorporation and
  Bylaws, Article II, Section 2.04(g)
• Group Member, as defined in the applicable Certificate of Incorporation and Bylaws
• Merchant Acquirer Member, as defined in the applicable Certificate of Incorporation and Bylaws
• Cash Disbursement Member, as defined in the applicable Certificate of Incorporation and Bylaws

ID#: 111011-010410-0025005




18 October 2011                                     VISA PUBLIC                                      1207
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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15      Page: 1245 of 1319
                                                   PageID #: 4438
                                    Visa International Operating Regulations




Priority Check-out Agreement

Effective through 6 October 2010, a written agreement that, when bearing a Cardholder’s
signature, authorizes a Hotel or Cruise Line participating in the Priority Check-out Service to deposit a
Transaction Receipt without the Cardholder’s signature for the total amount of their obligation.

ID#: 050411-010410-0025007



Priority Check-out Agreement - U.S. Region

A written agreement that, when bearing a Cardholder’s signature, authorizes a Lodging or Cruise Line
Merchant participating in the Priority Check-out Service to deposit a Transaction Receipt without the
Cardholder’s signature for the total amount of their obligation.

ID#: 010410-010410-0025008



Priority Check-out Service

Effective through 6 October 2010, a Visa service provided by Hotels or Cruise Lines that allows a
Cardholder to authorize the use of their Card for payment of the total obligation to the Merchant, with
or without prior knowledge of the total amount, by signing a completed Priority Check-out Agreement.

ID#: 050411-010410-0025009



Priority Check-out Service - U.S. Region

A Visa service provided by Lodging and Cruise Line Merchants, that allows a Cardholder to authorize
the use of their Card for payment of the total obligation to the Lodging or Cruise Line Merchant, with
or without prior knowledge of the total amount, by signing a completed Priority Check-out Agreement.

ID#: 010410-010410-0025010



Priority Check-out Transaction

Effective through 6 October 2010, a Transaction that a Hotel or Cruise Line participating in the
Priority Check-out Service completes, resulting from completion of a Priority Check-out Agreement.

Effective 7 October 2010, a Transaction that a Lodging Merchant, Hotel or Cruise Line participating
in the Priority Check-out Service completes, resulting from completion of a Priority Check-out
Agreement.

ID#: 050411-010410-0025011




1208                                               VISA PUBLIC                           18 October 2011
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                                                PageID #: 4439
                                     Visa International Operating Regulations




Priority Check-out Transaction - U.S. Region

A Transaction that a Lodging or Cruise Line Merchant participating in the Priority Check-out Service
completes.

ID#: 010410-010410-0025012



Private Agreement

A bilateral agreement between Members, or the operating regulations of a Group Member, pertaining
to Authorization or Clearing and Settlement of Domestic Transactions.

ID#: 010410-010410-0025013



Private Arrangement - U.S. Region

An agreement where Authorization Requests or Transactions involving two different Members are not
processed through VisaNet. Private Arrangements are prohibited.

ID#: 010410-010410-0025014



Private Keys

The private or "secret" key paired with a Public Key in a Public Key cryptographic system that is used
to decrypt data which was encrypted by its corresponding Public Key or encrypt data which can only
be decrypted by its corresponding Public Key.

ID#: 151011-010410-0025015



Private Label Card

A merchant's proprietary card that is accepted only at its own locations, or a multi-use non-Visa-
branded Card.

ID#: 111011-010410-0025016



Private Processing Arrangement — AP Region

Effective 1 April 2011, an agreement where Transactions involving two different Members are not
authorized and cleared through VisaNet.

ID#: 050411-010411-0026203




18 October 2011                                     VISA PUBLIC                                      1209
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                                                   PageID #: 4440
                                    Visa International Operating Regulations




Processing Date

The date (based on Greenwich Mean Time) on which a Member submits Interchange Data to, and
the data is accepted by, a VisaNet Interchange Center. Equivalents to the Processing Date are:

• In BASE II, the Central Processing Date
• In the Single Message System, the Settlement Date

ID#: 010410-010410-0025017



Product Name

A name for goods or services offered by a Member to a Cardholder, e.g., Visa Platinum.

ID#: 010410-010410-0025018



Product Replacement Center

A facility that issues Emergency Card Replacements to an Eligible Cardholder at the request of Visa
Global Customer Care Services.

ID#: 081010-010410-0025019



Proprietary Card

A Card that does not bear the Visa Brand Mark or Visa Brand Mark with the Electron Identifier but
may bear a Plus Symbol.

ID#: 010410-010410-0025020



Proximity Payment

A payment performed in a Card-Present Environment over a Visa-approved wireless interface at the
Point-of-Transaction. This includes payments made with contactless devices, mobile telephones, and
micro tags.

ID#: 010410-010410-0025021




1210                                               VISA PUBLIC                        18 October 2011
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                                                PageID #: 4441
                                     Visa International Operating Regulations




Proximity Payment - U.S. Region

A form of Visa payment conducted in the Card-Present Environment at the Point-of-Transaction
through a Visa-approved wireless interface such as radio frequency or infrared technology, as
specified in the Visa International Operating Regulations. For programs in the U.S. Region, see
Contactless Payment - U.S. Region.

ID#: 010410-010410-0025022



Proximity Payment Device

A payment tool using a Visa-approved wireless interface to access a Visa account that:

• Has distinct branding, issuance, and technical requirements
• Provides the ability to conduct a Proximity Payment Transaction
• Includes contactless devices, mobile telephones, and micro tags

ID#: 111011-010410-0025023



Proximity Payment Transaction

A Transaction conducted over a Visa-approved wireless interface.

ID#: 010410-010410-0025024



Proximity Payment Transaction - U.S. Region

A Transaction completed at a Point-of-Transaction Terminal through a Visa-approved wireless
interface, as specified in the Visa International Operating Regulations. For programs in the U.S.
Region, see Contactless Payment Transactions.

ID#: 010410-010410-0025025



PSP (New)

Effective 1 July 2011, see Payment Service Provider.

ID#: 111011-010711-0026429



Public Keys

The non-secret portion of the cryptographic method used for verification during a Transaction.

ID#: 010410-010410-0025028




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                                                   PageID #: 4442
                                    Visa International Operating Regulations




Q


Qualified Chip Card

A Chip Card that is issued under a designated BIN(s) or Account Number range of a Visa Card
Program or a Visa Electron Card Program and has met the Visa requirements for the Issuer Chip
Rate.

ID#: 010410-010410-0025029



Qualified Forensic Investigator (Updated)

Effective through 20 April 2011, an individual or entity approved by the Payment Card Industry
Security Standards Council (PCI SSC) to respond in the event of a security incident and perform
forensic investigations.

ID#: 111011-110210-0025607



Qualified Incident Response Assessor (Updated)

Effective through 20 April 2011, an individual or entity approved by Visa to respond in the event of
a security incident and perform forensic investigations.

ID#: 111011-110210-0025606



Qualifying CAMS Event - U.S. Region

A CAMS Event that qualifies for recovery, through the Account Data Compromise Recovery process,
of a portion of affected Members’ losses due to a violation involving one or more of the following:

• The electronic storage of the full contents of any track on the Magnetic Stripe subsequent to
  Authorization of a Transaction
• Non-compliance with the Payment Card Industry Data Security Standard (PCI DSS) that could
  allow a compromise of the full contents of any track on the Magnetic Stripe
• Failure to comply with the PIN Management Requirements Documents that could allow a
  compromise of PIN data for a Visa Transaction, a Plus transaction, or an Interlink transaction
  subsequent to Authorization

ID#: 050411-011108-0025030




1212                                               VISA PUBLIC                         18 October 2011
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                                                PageID #: 4443
                                     Visa International Operating Regulations




Qualifying Purchase - U.S. Region

A purchase Transaction completed with a Visa Traditional Rewards Card that an Issuer may consider
for the purpose of awarding Rewards Currency. An Issuer may, optionally, exclude the following
Transactions from qualifying:

• Balance transfers
• Convenience checks
• Cash Disbursements
• Finance charges
• Quasi-Cash Transactions
• Any Transaction unauthorized by the Cardholder

ID#: 010410-010410-0025031



Quarterly Operating Certificate

A report that each Member sends to Visa in a set pre-determined time, detailing its Visa Card and
Merchant statistics.

ID#: 010410-010410-0025032



Quasi-Cash Transaction

A Transaction representing a Merchant’s or Member’s sale of items that are directly convertible to
cash, such as:

• Gaming chips
• Money orders
• Deposits
• Wire Transfers
• Travelers cheques
• Visa TravelMoney Cards
• Foreign Currency
• Additional Transaction approved by Visa

ID#: 010410-010410-0025033




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                                                   PageID #: 4444
                                    Visa International Operating Regulations




R


Real-Time Clearing

An optional program for Acquirers and Merchants that allows an Automated Fuel Dispenser Merchant
to send an Authorization request (preauthorization) for an estimated Transaction amount (up to a
maximum Transaction amount of US $500 or local currency equivalent) through the Single Message
System. Upon completion of the Transaction, the Automated Fuel Dispenser Merchant must send
the actual Transaction amount (Completion Message) to the Issuer within X of the preauthorization
request.

ID#: 111011-010410-0025034



Real-Time Clearing Transaction

An Automated Fuel Dispenser Transaction that is authorized and cleared through Real-Time
Clearing.

ID#: 010410-010410-0025035



Reason Code - U.S. Region

A VisaNet code that provides additional information to the Receiving Member regarding a
Chargeback, Representment, Fee Collection, Funds Disbursement, or Transaction Receipt Request.

ID#: 010410-010410-0025036



Recalled BIN (New)

The status of a BIN released back to Visa, indicating its eligibility for deletion from VisaNet based on
the effective recall date.

ID#: 111011-080911-0026476



Receipt Date

The BASE II Edit Package run date (or, in the Single Message System, the Settlement Date) on
which a Member processes incoming Interchange. Commonly used for the calculation of second
Chargeback and Representment time limits by the Receiving Member.

ID#: 010410-010410-0025037




1214                                               VISA PUBLIC                           18 October 2011
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                                                PageID #: 4445
                                     Visa International Operating Regulations




Receiving Member

A Member receiving a Transaction through Interchange.

ID#: 010410-010410-0025038



Recipient Member

An Issuer that receives an Original Credit Transaction, including a Money Transfer Original Credit
Transaction, as specified in Original Credits Member Requirements or the Visa Money Transfer
(VMT) Global Implementation Guide.

ID#: 050411-010410-0025039



Recipient Member - U.S. Region

Effective 15 February 2010 through 8 December 2010, an Issuer that receives a Money Transfer
Original Credit Transaction as specified in the Visa Money Transfer (VMT) Global Implementation
Guide.

ID#: 050411-150210-0025689



Recurring Services Merchant

A Merchant that provides services of an ongoing nature to a Visa Cardholder (e.g., club membership,
magazine subscription) and completes Recurring Transactions to bill the Cardholder for these
services.

ID#: 010410-010410-0025040



Recurring Transaction

Multiple Transactions processed at predetermined intervals not to exceed one year between
Transactions, representing an agreement between a Cardholder and a Merchant to purchase goods
or services provided over a period of time.

ID#: 010410-010410-0025041




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                                                   PageID #: 4446
                                    Visa International Operating Regulations




Recurring Transaction - U.S. Region

A Transaction for which a Visa Cardholder provides permission, in either written or electronic format,
to a Merchant to periodically charge their Account Number for recurring goods or services. These
may include payment of recurring charges, such as insurance premiums, subscriptions, Internet
service provider monthly fees, membership fees, tuition, or utility charges.

ID#: 010410-010410-0025042



Reference Card

An item containing relevant account information, such as an Account Number, expiration date, etc.,
that is provided to a Virtual Account Holder.

ID#: 010410-010410-0025043



Referral Response

An Authorization Response where the Merchant or Acquirer is instructed to contact the Issuer for
further instructions before completing the Transaction.

ID#: 010410-010410-0025046



Referral/Activity Default Response - U.S. Region

An Issuer-specified Approval or Decline Response generated by BASE I under certain conditions, as
specified in the appropriate VisaNet manuals.

ID#: 010410-010410-0025044



Refund Claim Number

A number that a Global Refund Service provides to a Cheque purchaser to verify that they qualify for
a refund of lost or stolen Cheques.

ID#: 010410-010410-0025047



Region of Domicile

The Visa Region where a Member has its principal place of business.

ID#: 010410-010410-0025056




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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1254 of 1319
                                                PageID #: 4447
                                     Visa International Operating Regulations




Regional Board

One of the Visa Regional Boards of Directors, as specified in the Visa International Certificate of
Incorporation and Bylaws. There are 2 Regional Boards:

• Visa Canada Board
• Visa U.S.A. Board

ID#: 010410-010410-0025048



Regional Card Recovery File

A regional electronic version of the Card Recovery Bulletin that is distributed via the V.I.P. System to
countries that receive a National Card Recovery Bulletin.

ID#: 010410-010410-0025049



Regional Office

The head office of a Visa Region, located as follows:

• Asia-Pacific Region: Tokyo, Japan
• Canada Region (Visa Canada Corporation): Toronto, Canada
• CEMEA Region: London, England
• Latin America and Caribbean Region: Miami, FL, U.S.A.
• U.S.A. Region (Visa U.S.A. Inc.): Foster City, CA, U.S.A.

ID#: 010410-010410-0025054



Regional Operating Regulations

The operating regulations of a Visa Region.

ID#: 010410-010410-0025055



Reimbursement Attribute - U.S. Region

A VisaNet code designating the Interchange Reimbursement Fee applicable to a Transaction.

ID#: 010410-010410-0025057




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                                                   PageID #: 4448
                                    Visa International Operating Regulations




Reimbursement Fee - U.S. Region

See Interchange Reimbursement Fee - U.S. Region.

ID#: 010410-010410-0025058



Reloadable Card

A Visa Prepaid Card that may be funded more than once.

ID#: 081010-010410-0025059



Representment

A Clearing Record that an Acquirer presents to an Issuer through Interchange after a Chargeback.

ID#: 010410-010410-0025063



Research Service - U.S. Region

A VisaNet service that provides research into historical V.I.P. System transactions upon Member
request.

ID#: 010410-010410-0025065



Response - U.S. Region

See Authorization Response.

ID#: 010410-010410-0025066



Retail Merchant

A Merchant that is not one of the following:

• Mail/Phone Order Merchant
• Recurring Services Merchant
• T&E Merchant

ID#: 010410-010410-0025068




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                                                PageID #: 4449
                                     Visa International Operating Regulations




Retail Transaction

A Transaction at a Retail Merchant outlet.

ID#: 010410-010410-0025069



Retrieval Request

An Issuer’s request for a Transaction Receipt, which could include the original, a paper copy or
facsimile, or an electronic version thereof.

ID#: 010410-010410-0025070



Returned Item

Effective 10 February 2011, a financial or non-financial item that BASE II or the Single Message
System returns to the sending Member.

ID#: 050411-100211-0026232



Returned Item - U.S. Region

Effective through 9 February 2011, a financial or non-financial item that BASE II or the Single
Message System returns to the sending Member.

ID#: 050411-010410-0025071



Reversal

A BASE II or Online Financial Transaction used to negate or cancel a transaction that has been sent
through Interchange in error.

ID#: 010410-010410-0025072



Rewards Currency - U.S. Region

A reward denomination defined by an Issuer consisting of either air miles, points, or discounts offered
in connection with a Visa Traditional Rewards Card.

ID#: 010410-010410-0025073




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    Case: 4:13-cv-02226-JAR                    Doc. #: 85-5 Filed: 02/12/15    Page: 1257 of 1319
                                                   PageID #: 4450
                                    Visa International Operating Regulations




Rewards Product Identification Number

A number assigned by an Issuer for the purpose of identifying and tracking any rewards program
offered in connection with the Issuer's Card products.

ID#: 050411-141209-0025587



Rightcliq - U.S. Region

In the U.S. Region, a Visa-provided service that facilitates Cardholders' online shopping experience
and use of Cards for payment at online Merchants.

ID#: 050411-181109-0025589



Risk Identification Service (RIS) Online - U.S. Region

A Merchant and Member level fraud monitoring program that identifies Merchants and Members
with unusual levels of Fraud Activity and utilizes Visa Online to manage the delivery of program
Notifications and remediation information.

ID#: 010410-010410-0025075



S


Sales Draft

A paper record evidencing the purchase of goods or services by a Cardholder from a Merchant using
a Visa Card.

ID#: 010410-010410-0025076



Sample Card Design

A background design provided by Visa that is unique for each Card product and that an Issuer may
use on the front of a Visa Card.

ID#: 081010-010410-0025077



Scrip

A 2-part paper receipt that is redeemable at a Merchant Outlet for goods, services, or cash.

ID#: 010410-010410-0025079




1220                                               VISA PUBLIC                         18 October 2011
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                                                PageID #: 4451
                                     Visa International Operating Regulations




Secure Electronic Commerce Rate

An Interregional Interchange Reimbursement Fee paid for a Secure Electronic Commerce
Transaction.

ID#: 010410-010410-0025083



Scrip Terminal - U.S. Region (Updated)

Effective through 14 October 2011, a Cardholder-Activated Terminal that prints Scrip.

Effective 15 October 2011, an Unattended Cardholder-Activated Terminal that prints Scrip.

ID#: 111011-010410-0025080



Secure Electronic Commerce Transaction

An Electronic Commerce Transaction that has been authenticated using an Authentication Method.

ID#: 010410-010410-0025084



Secure Electronic Transaction™ Specification - U.S. Region

A software protocol that enables end-to-end, secure processing of Transactions over the Internet and
other networks.

ID#: 010410-010410-0025085



Secure Sockets Layer (SSL)

A protocol that uses Public Key encryption for the secure processing of Transactions over the Internet
and other networks.

ID#: 010410-010410-0025086



Sending Member

A Member entering a Transaction into Interchange.

ID#: 010410-010410-0025092




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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15    Page: 1259 of 1319
                                                   PageID #: 4452
                                    Visa International Operating Regulations




Self-Service Terminal (Updated)

Effective through 14 October 2011, see Unattended Acceptance Terminal and Cardholder-
Activated Transaction Type B.

ID#: 111011-010410-0025088



Service Code

A valid sequence of digits recognized by VisaNet that is encoded on a Magnetic Stripe and replicated
on the Magnetic-Stripe Image in a Chip that identifies the circumstances under which the Card is
valid (e.g., International Transactions, Domestic Transactions, restricted Card use), and defines
requirements for processing a Transaction with the Card (e.g., Chip-enabled, Cardholder Verification,
Online Authorization).

ID#: 081010-010410-0025094



Self-Service Terminal - U.S. Region (Updated)

Effective through 14 October 2011, a Cardholder-Activated Terminal that accepts payment for
goods or services such as Visa Prepaid Cards or video rental, has Electronic Capability, and does not
accept PINs.

ID#: 111011-010410-0025089



Services Agreement

A license or contract between Visa Canada and an entity that has a contract or license, which allows
the entity to participate in the Visa program or use the Visa-Owned Marks, including in accordance
with the Visa International Operating Regulations.

ID#: 010410-010410-0025093



Self-Service Terminal Transaction - U.S. Region (Updated)

Effective through 14 October 2011, a Transaction that originates at a Self-Service Terminal.

ID#: 111011-010410-0025090



Settlement

The reporting and funds transfer of Settlement Amounts owed by one Member to another, or to Visa,
as a result of Clearing.

ID#: 050411-010410-0025095




1222                                               VISA PUBLIC                        18 October 2011
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                                                PageID #: 4453
                                     Visa International Operating Regulations




Settlement Amount

The daily net amounts expressed in a Member’s Settlement Currency resulting from Clearing. These
amounts include Transaction and Fee Collection Transaction totals, expressed in a Member’s
Settlement Currency.

ID#: 050411-010410-0025096



Settlement Bank

A bank, including a Correspondent or Intermediary Bank, that is both:

• Located in the country where a Member’s Settlement Currency is the local currency
• Authorized to execute Settlement of Interchange on behalf of the Member or the Member’s bank

ID#: 010410-010410-0025097



Settlement Currency

A currency that Visa uses to settle Interchange, as specified in the VisaNet manuals.

ID#: 010410-010410-0025098



Settlement Date

The date on which Visa initiates the transfer of Settlement Amounts in the Settlement of Interchange.
See Processing Date.

ID#: 010410-010410-0025099



Settlement Reporting Entity

Effective 14 October 2010, a name or number of an entity assigned by Visa and authorized by the
Member that is used by Visa for Settlement reporting, to associate a BIN or BIN Alternate with a
Funds Transfer Settlement Reporting Entity or for other Settlement-related or other purposes.

ID#: 050411-141010-0026049



Settlement Summary - U.S. Region

A report that provides a Clearing Processor’s net Settlement position for BASE II and the Single
Message System.

ID#: 010410-010410-0025100




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                                                   PageID #: 4454
                                    Visa International Operating Regulations




SIGIS - U.S. Region

An industry trade group, known as the Special Interest Group for Inventory Information Approval
System (IIAS) Standards, chartered with implementing processing standards for Healthcare Auto-
Substantiation Transactions in accordance with IRS regulations and responsible for licensing and
certifying Merchants, Members, and Agents that process such Transactions.

ID#: 010410-010410-0025102



Signature-Authenticated - U.S. Region

A descriptor that refers to a Transaction completed in a Face-to-Face Environment where the
Cardholder’s identity has been verified by a signature, unless the Transaction is one of the following:

• Effective through 15 October 2010, a No Signature Required Transaction
• Effective through 15 October 2010, a Small Ticket Transaction
• Effective 16 October 2010, a Visa Easy Payment Service Transaction
• Contactless Payment Transaction
• Effective 17 April 2010 through 15 October 2010, a Transaction less than or equal to US $25
  conducted at a Point-of-Transaction Terminal with Contactless Payment capability

ID#: 111011-010410-0025103



Single Merchant

An individual Merchant or Merchant Outlet, or group thereof, doing business under a common Trade
Name or Mark.

ID#: 010410-010410-0025106



Single Message Service - U.S. Region

A VisaNet service that enables a Member to process Online Financial and Deferred Clearing
Transactions through a single VisaNet interface.

ID#: 010410-010410-0025107



Single Message System

A component of the V.I.P. System that processes Online Financial and Deferred Clearing
Transactions through a single VisaNet interface for purchases and ATM Transactions.

ID#: 010410-010410-0025108




1224                                               VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                Page: 1262 of 1319
                                                PageID #: 4455
                                     Visa International Operating Regulations




Small Ticket Merchant - U.S. Region

Effective through 15 October 2010, a Merchant Outlet that qualifies to participate in the Small
Ticket program on the basis of its assigned Merchant Category Code, as specified in the U.S.
Regional Operating Regulations.

ID#: 081010-010410-0025109



Small Ticket Payment Service - U.S. Region

Effective through 15 October 2010, a Visa Point-of-Transaction service that permits certain
Merchant Category Code Merchant Outlets to process Transactions of US $15 or less in accordance
with the procedures specified in the U.S. Regional Operating Regulations.

ID#: 081010-010410-0025110



Small Ticket Transaction

Effective through 15 October 2010, an electronically-read authorized Transaction of US $25 or less,
or local currency equivalent, presented by a Merchant with a qualified Merchant Category Code, that
                                              [130]
is conducted in a Face-to-Face Environment.

ID#: 081010-010410-0025111



Small Ticket Transaction - U.S. Region

Effective through 15 October 2010, a Transaction of US $15 or less completed without the
Cardholder’s signature, by a qualified Merchant, in a Face-to-Face Environment or at either:

• A Self Service Terminal
• An Automated Dispensing Machine

ID#: 081010-010410-0025112



Special Condition Indicator - U.S. Region

A VisaNet code used in the Clearing Record to specify that one or more unique conditions apply to
the Transaction.

ID#: 010410-010410-0025117




130 Effective 1 May 2010 through 15 October 2010, a variance applies in the AP Region. Cardholder-Activated Transaction
    Type B or Cardholder-Activated Transaction Type C, excluding Transactions conducted at Automated Fuel Dispensers,
    may qualify as Small Ticket Transactions.

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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15      Page: 1263 of 1319
                                                   PageID #: 4456
                                    Visa International Operating Regulations




Specialized Vehicle

A unique class of rental vehicle not in a Car Rental Company’s main rental fleet (e.g., mini-vans, four-
wheel-drive vehicles, selected sports models, luxury and vintage vehicles), that does not constitute
more than 5% of the Merchant’s total rental fleet.

ID#: 010410-010410-0025114



Specialized Vehicle Reservation Service

A service provided by Car Rental Companies in the U.S. Region, where a Cardholder may use a Visa
Card to guarantee reservations for Specialized Vehicles.

ID#: 010410-010410-0025116



Sponsor

A Member that is responsible, in part or whole, for other Members of Visa, as specified in the
applicable Certificate of Incorporation and Bylaws.

ID#: 111011-010410-0025120



Sponsored Merchant (Updated)

Effective through 30 June 2011, an electronic commerce merchant that contracts with an Internet
Payment Service Provider to obtain payment services.

Effective 1 July 2011, a merchant that contracts with a Payment Service Provider to obtain payment
services. A Merchant is considered a Sponsored Merchant for Transactions in which payment
services are provided by a Payment Service Provider.

ID#: 111011-010410-0025119



Sponsorship Marks

The Marks of an entity with which Visa has entered into an agreement to act as a sponsor for that
entity's activities or events.

ID#: 050411-150411-0026242




1226                                               VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1264 of 1319
                                                PageID #: 4457
                                     Visa International Operating Regulations




Stand-In Processing (STIP)

The V.I.P. System component that provides Authorization services on behalf of an Issuer when the
Positive Cardholder Authorization System is used or when the Issuer or its VisaNet Processor is
unavailable.

ID#: 010410-010410-0025121



Stand-In Processing Account

An Issuer-supplied valid Account Number (established and activated in the Issuer’s Authorization
system) that is maintained at Visa Global Customer Card Services. This Account Number is
embossed and encoded on an Emergency Card Replacement when the Issuer is not available to
provide a new Account Number.

ID#: 081010-010410-0025122



Stand-In Processing Account Number - U.S. Region

An Issuer-supplied valid Account Number (established and activated in the Issuer’s Authorization
system) that is maintained at Visa Customer Care Services. This Account Number is embossed
or printed, and encoded on an Emergency Card Replacement when the Issuer is not available to
provide a new Account Number.

ID#: 081010-010410-0025123



Standard Floor Limit

A Floor Limit that varies by Merchant type, as specified in "Maximum Authorized Floor Limits."

ID#: 010410-010410-0025125



Standard Interchange Reimbursement Fee - U.S. Region

The Interchange Reimbursement Fee available to all Merchant service categories for any Transaction
not eligible for any other Interchange Reimbursement Fee.

ID#: 010410-010410-0025126



Standard Rate

An Interchange Reimbursement Fee charged for any Transaction that does not meet the
requirements of the Chip, Secure Electronic Commerce, Electronic Commerce Merchant,
Interregional Airline, or Electronic Rate, and is not one of the following:

• Visa Commercial Card Transaction


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                                                   PageID #: 4458
                                    Visa International Operating Regulations


• Visa Infinite Card Transaction

ID#: 010410-010410-0025127



Static Data Authentication – AP Region

A type of offline data Authentication where the terminal validates a cryptographic value placed on the
Card during personalization. This validation protects against some types of counterfeit but does not
protect against skimming.

ID#: 050411-060111-0026179



Static Data Authentication - Canada Region

An Authentication as specified in the Chip Specifications.

ID#: 010410-010410-0025128



Status Check - U.S. Region

An Authorization Request for US $1.

ID#: 010410-010410-0025129



Status Check Authorization

An Authorization Request for 1 currency unit.

ID#: 010410-010410-0025130



Status Check Procedure - U.S. Region

A procedure where a Lodging or Automated Fuel Dispenser Merchant requests an Authorization for
US $1, as specified in the U.S. Regional Operating Regulations.

ID#: 081010-010410-0025131



Strategic Bankruptcy Solutions - U.S. Region

A Visa service that:

• Identifies Cardholders, cardholders of non-Visa cards, customers of other Visa or non-Visa
  products, and applicants for Cards, non-Visa cards, and other Visa or non-Visa products who have
  filed bankruptcy
• Files claims and documents on behalf of Members with the bankruptcy courts



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                                                PageID #: 4459
                                     Visa International Operating Regulations


• Assists Members in assessing the value of obligations of Cardholders and other individuals who
  have declared bankruptcy

ID#: 010410-010410-0025133



Substitute Transaction Receipt

A paper form or record that is not a Sales Draft and that a Member or Merchant provides in response
to a Retrieval Request, when allowed.

ID#: 010410-010410-0025135



Summary of Interchange Entries

Data required to accompany Domestic Interchange processed under a Private Agreement.

ID#: 010410-010410-0025136



Supermarket Incentive Program - U.S. Region

A Visa program that permits certain supermarket Merchant Outlets to qualify for a reduced
Interchange Reimbursement Fee.

ID#: 010410-010410-0025137



Supermarket Incentive Program Transaction - U.S. Region

A Transaction that:

• Originates at a Merchant Outlet participating in the Supermarket Incentive Program
• Is authorized and processed as specified in the U.S. Regional Operating Regulations

ID#: 010410-010410-0025138



Suspect Transaction - U.S. Region

A Transaction completed subsequent to the day that the Account Number was listed on the Exception
File with a Pickup Response code of "07," "41," or "43," or reported as Fraud Activity.

ID#: 050411-010410-0025140




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    Case: 4:13-cv-02226-JAR                    Doc. #: 85-5 Filed: 02/12/15      Page: 1267 of 1319
                                                   PageID #: 4460
                                    Visa International Operating Regulations




T


T&E

An abbreviation for Travel and Entertainment.

ID#: 010410-010410-0025141



T&E Advance Deposit Service - U.S. Region

A service that a Lodging Merchant, Cruise Line merchant, or Car Rental Company provides
to a Cardholder, allowing use of a Visa Card to pay an advance deposit required to reserve
accommodations or a vehicle.

ID#: 010410-010410-0025142



T&E Advance Deposit Transaction - U.S. Region

A Transaction that a Lodging Merchant, Cruise Line merchant, or Car Rental Company completes
as a result of a Cardholder’s agreement to use a Visa Card to pay for an advance deposit to reserve
accommodations or a vehicle.

ID#: 010410-010410-0025143



T&E Document

A photocopy of all documents pertaining to a T&E Transaction originating from a Car Rental
Company, Hotel, or Cruise Line, including the following as applicable:

• Transaction Receipt
• Car rental agreement
• Guest Folio (if created)
• Card Imprint (if obtained)
• Cardholder signature (if obtained)

ID#: 010410-010410-0025144



T&E Document - U.S. Region

A photocopy of all documents pertinent to a T&E Transaction, such as a Guest Folio or car rental
agreement that:

• Evidences a Cardholder’s participation in a lodging, cruise line, or car rental Transaction



1230                                               VISA PUBLIC                          18 October 2011
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                                                PageID #: 4461
                                     Visa International Operating Regulations


• Contains a Card Imprint and signature, if either or both was obtained
• Is supplied in response to a Retrieval Request

ID#: 010410-010410-0025145



T&E Express Service - U.S. Region

Effective through 6 October 2010, a service offered by a Lodging or Car Rental Merchant to a
Cardholder that agrees to a Dynamic Currency Conversion Transaction. To expedite hotel check-
out or car rental return, the service allows a customer to bypass the typical face-to-face hotel check-
out or car rental return process, without receiving a Transaction Receipt. As part of the service,
the Merchant mails (or e-mails, if selected by the Cardholder) the Transaction Receipt for the T&E
Transaction to the Cardholder within 3 business days.

ID#: 050411-010100-0025659



T&E Merchant

An Airline, Car Rental Company, Hotel, or Cruise Line whose primary function is to provide travel-
related services. A travel agency (excluding one that is primarily engaged in the sale of transportation
or travel-related arrangement services by Mail/Phone Order) is a T&E Merchant to the extent that it
acts as the agent of an Airline, a Car Rental Company, a Cruise Line, or a Hotel.

ID#: 010410-010410-0025146



T&E Merchant - U.S. Region

A Merchant whose primary function is to provide travel-related services. The U.S. Regional Operating
Regulations refer to the following types of T&E Merchant:

• Airline
• Passenger railway
• Car Rental Company
• Lodging Merchant
• Cruise Line Merchant
• Central Reservation Service
• Travel agency, only if it acts as an agent of an Airline, passenger railway, Car Rental Company,
  Lodging Merchant, or Cruise Line Merchant (excluding a travel agency that is primarily engaged in
  the sale of transportation or travel-related arrangement services by mail/phone order)

ID#: 010410-010410-0025147




18 October 2011                                     VISA PUBLIC                                     1231
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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15    Page: 1269 of 1319
                                                   PageID #: 4462
                                    Visa International Operating Regulations




T&E Services - U.S. Region

Travel-related services provided to Eligible Cardholders, including:

• Priority Check-out Service
• T&E Advance Deposit Service
• Visa Reservation Service

ID#: 010410-010410-0025148



T&E Transaction

A Transaction at a T&E Merchant Outlet.

ID#: 010410-010410-0025149



Tax Payment Program - U.S. Region

A Visa payment program which allows a Tax Payment Program Merchant to process Visa
Transactions.

ID#: 010410-010410-0025150



Tax Payment Program Merchant - U.S. Region

A government taxing authority or its designated agent properly assigned Merchant Category Code
9311 (Tax Payments) and authorized to process Tax Payment Transactions.

ID#: 010410-010410-0025151



Tax Payment Transaction - U.S. Region

A Visa Consumer Card or a Commercial Visa Product Transaction that represents a payment of
eligible federal, state, or local taxes to the Tax Payment Program Merchant.

ID#: 010410-010410-0025152



Telephone Service Transaction (Updated)

A Transaction in which a Cardholder uses a Visa Card to purchase a telephone call. Effective
through 14 October 2011, these Transactions include, but are not limited to, Magnetic-Stripe
Telephone Transactions.

ID#: 111011-010410-0025153




1232                                               VISA PUBLIC                      18 October 2011
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                                                PageID #: 4463
                                     Visa International Operating Regulations




Terminal Risk Management

A process performed by a Chip-Reading Device to protect a Member from fraud by:

• Initiating Online Issuer Authorization for above-Floor Limit Transactions
• Ensuring random Online processing for below-Floor Limit Transactions
• Performing Transaction velocity checking

ID#: 010410-010410-0025154



Terminal Risk Management - U.S. Region

A process performed by a Chip-Reading Device to protect a Member from fraud by:

• Initiating Online Issuer Authorization for all Transactions
• Performing Transaction velocity checking

ID#: 010410-010410-0025155



Terminated Merchant File - U.S. Region

A file (currently known as “MATCH”), that identifies Merchants and principals of Merchants that
Acquirers have terminated for specified reasons.

ID#: 111011-010410-0025159



Third Party Agent

An entity, not defined as a VisaNet Processor, that provides payment-related services, directly or
indirectly, to a Member and/or stores, transmits, or processes Cardholder data.

No financial institution eligible to become a Principal member of Visa may serve as a Third Party
Agent.

A Third Party Agent does not include:

• Financial institutions that perform Agent activities
• Co-branding or Affinity partners
• Card manufacturers
• Card personalizers

ID#: 111011-010100-0025921




18 October 2011                                     VISA PUBLIC                                      1233
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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15     Page: 1271 of 1319
                                                   PageID #: 4464
                                    Visa International Operating Regulations




Three-Domain (3-D) Secure Authentication Request - U.S. Region

See Authentication Request.

ID#: 010410-010410-0025163



Three-Domain Secure

See 3-D Secure.

ID#: 010410-010410-0025164



Three-Domain Secure Electronic Commerce Transaction Specification

See 3-D Secure Electronic Commerce Transaction Specification.

ID#: 010410-010410-0025165



Three-Domain Secure Specification - U.S. Region

See 3-D Secure Specification - U.S. Region.

ID#: 010410-010410-0025166



Timeshare Merchant

A Merchant that manages the sales, rentals, or other uses of condominiums, holiday homes, holiday
clubs, or apartments known as “timeshares.”

ID#: 010410-010410-0025167



Timeshare Transaction

A Transaction resulting in the sale, rental, or other uses of condominiums, holiday homes, holiday
clubs, or apartments known as "timeshares."

ID#: 010410-010410-0025168



Tracing Data

In a Single Message System Online message, the transmission date and time, systems trace audit
number, retrieval reference number, Transaction identifier, and acquiring institution ID. See Acquirer
Reference Number.

ID#: 010410-010410-0025170



1234                                               VISA PUBLIC                          18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1272 of 1319
                                                PageID #: 4465
                                     Visa International Operating Regulations




Trade Dress

The physical appearance of a label, package, or display card.

ID#: 010410-010410-0025171



Trade Name

A name used to identify a business and to distinguish its activities from those of other businesses. In
some cases the same words or symbols may serve as a Trade Name and Mark simultaneously.

ID#: 010410-010410-0025172



Trade Secret

Any formula, pattern, device, or compilation of information that is used in a business, and that
provides an opportunity to obtain an advantage over competitors who do not know or use it.

ID#: 010410-010410-0025173



Trailing Chargeback Activity

Chargeback activity at a Merchant Outlet that occurs after an Acquirer has stopped processing sales
Transactions for the Merchant.

ID#: 111011-010410-0025174



Transaction (Updated)

The act between a Cardholder and a Merchant or an Acquirer that results in a Transaction Receipt, if
applicable.

ID#: 111011-010410-0025175



Transaction Country

The Country where a Merchant Outlet is located, regardless of the Cardholder’s location when a
Transaction occurs. For Transactions completed aboard an aircraft or a Cruise Line vessel, the
Transaction Country is where the Merchant deposits the Transaction Receipt.

ID#: 010410-010410-0025179




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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15     Page: 1273 of 1319
                                                   PageID #: 4466
                                    Visa International Operating Regulations




Transaction Currency

The currency in which a Transaction is originally completed.

ID#: 010410-010410-0025180



Transaction Date

The date on which a Transaction between a Cardholder and a Merchant or an Acquirer occurs.

ID#: 010410-010410-0025181



Transaction Identifier

A unique value that Visa assigns to each Transaction and returns to the Acquirer in the Authorization
Response. Visa uses this value to maintain an audit trail throughout the life cycle of the Transaction
and all related transactions, such as Reversals, Adjustments, confirmations, and Chargebacks.

ID#: 010410-010410-0025182



Transaction Information

Information necessary for processing Transactions, as specified in the Payment Card Industry Data
Security Standard (PCI DSS).

ID#: 010410-010410-0025183



Transaction Receipt

An electronic or paper record of a Transaction (or a copy), generated at the Point-of-Transaction.

ID#: 050411-010410-0025184



Transaction Receipt Number

The sequential number printed on Transaction Receipts.

ID#: 050411-010410-0025186



Transaction Record

A paper record issued by, or in connection with, a Point-of-Transaction Terminal.

ID#: 010410-010410-0025187




1236                                               VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1274 of 1319
                                                PageID #: 4467
                                     Visa International Operating Regulations




Transaction Region

The Visa Region where a Merchant Outlet is located, regardless of the Cardholder’s location when a
Transaction occurs. For Transactions completed aboard an aircraft, the Transaction Region is where
the Merchant deposits the Transaction Receipt.

ID#: 010410-010410-0025188



Travel Service Category - U.S. Region

An Interchange Reimbursement Fee category for Lodging, Cruise Line, and restaurant Merchants,
Car Rental Companies, and travel agencies and tour operators identified by Merchant Category Code
4722.

ID#: 010410-010410-0025192



U


U.S. Covered Visa Debit Card - AP Region, LAC Region, and U.S. Region (Updated)

Effective 1 October 2011, a Visa Card issued in the U.S. Region or in a U.S. Territory that accesses
a transaction, savings or other asset account, regardless of whether Cardholder Verification is based
on signature, PIN or other means, including a general-use Visa Prepaid Card and Consumer Visa
Deferred Debit Card, but solely to the extent any such Visa Card is a “debit card” as defined in
Federal Reserve Board Regulation II, 12 CFR Part 235.

ID#: 151011-011011-0026512



U. S. Territory (Updated)

One of the following:

• American Samoa
• Guam
• Commonwealth of the Northern Mariana Islands
• Puerto Rico
• U.S. Outlying Islands
• U.S. Virgin Islands

ID#: 171011-210710-0026422




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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15    Page: 1275 of 1319
                                                   PageID #: 4468
                                    Visa International Operating Regulations




Unable-to-Authenticate Response

A message from a 3-D Secure Issuer in response to an Authentication Request from a 3-D Secure
Merchant indicating that the participating 3-D Secure Issuer is unable to authenticate the Cardholder
for reasons other than those that result in an Authentication Denial.

ID#: 010410-010410-0025194



Unattended Acceptance Terminal (Updated)

Effective through 14 October 2011, a Cardholder-operated device that reads, captures, and
transmits Card information in an Unattended Environment. The Visa International Operating
Regulations refer to the following types of Unattended Acceptance Terminals:

• ATM
• Automated Fuel Dispenser
• Card Dispensing Machine
• Load Device
• Devices that perform Cardholder-Activated Transaction Type A, Cardholder-Activated Transaction
  Type B, or Cardholder-Activated Transaction Type C

ID#: 111011-010410-0025195



Unattended Cardholder-Activated Terminal (New)

Effective 15 October 2011, a Cardholder-operated device, managed by the Merchant, that reads,
captures, and transmits Card information without an attendant physically present to validate the
Cardholder signature or to assist in completing the Transaction. An Unattended Cardholder-Activated
Terminal may dispense goods, provide services, or both.

ID#: 111011-151011-0025720



Unattended Environment (Updated)

An environment where a Transaction is completed under all of the following conditions:

• Card is present
• Cardholder is present
• Effective through 14 October 2011, Cardholder completes the Transaction directly at an
  Unattended Acceptance Terminal
• Effective 15 October 2011, Cardholder completes the Transaction directly at an Unattended
  Cardholder-Activated Terminal
• Authorization, if required, is obtained electronically



1238                                               VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1276 of 1319
                                                PageID #: 4469
                                     Visa International Operating Regulations



Transactions in this environment include the following:

• Effective through 14 October 2011, Retail Transactions at Unattended Acceptance Terminals
• Effective 15 October 2011, Retail Transactions at Unattended Cardholder-Activated Terminals
• Effective through 14 October 2011, T&E Transactions at Unattended Acceptance Terminals
• Effective 15 October 2011, T&E Transactions at Unattended Cardholder-Activated Terminals
• ATM Cash Disbursements
• Load Transactions and Unload Transactions at Load Devices

Transactions in this environment exclude Transactions completed in Face-to-Face and Card-Absent
Environments.

ID#: 111011-010410-0025196



Unattended Transaction (New)

Effective 15 October, a Transaction conducted at an Unattended Cardholder-Activated Terminal.

ID#: 111011-010100-0025721



Unauthorized Use

A Transaction that meets one of the following criteria:

• Is not processed on behalf of a Member
• Is processed on behalf of a Member by a VisaNet Processor not designated for processing
  activities
• Is processed on behalf of a Member but not within the scope of the Member’s category or
  categories of membership
• Is not within the scope of activities approved by the Member, the Member’s Sponsor, or Visa
• Is processed using a BIN that has not been designated by the BIN Licensee for that Member’s use

ID#: 111011-010100-0025922



Unauthorized Use - U.S. Region

A Transaction that meets one of the following criteria:

• Is not processed on behalf of a Member
• Is processed on behalf of a Member by a VisaNet Processor not designated for processing
  activities
• Is processed on behalf of a Member but not within the scope of the Member’s category of
  membership


18 October 2011                                     VISA PUBLIC                                  1239
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    Case: 4:13-cv-02226-JAR                    Doc. #: 85-5 Filed: 02/12/15           Page: 1277 of 1319
                                                   PageID #: 4470
                                    Visa International Operating Regulations


• Is not within the scope of activities approved by the Member, the Member’s Sponsor, or Visa
• Is processed using a BIN that has not been designated by the BIN Licensee for that Member’s use

ID#: 010410-010410-0025197



Unload Transaction

A Transaction where monetary value is removed from a Reloadable Card and transferred to another
account held by the same financial institution.

ID#: 010410-010410-0025198



Unrecognized Service Code

A Service Code that cannot be recognized by a Magnetic-Stripe Terminal or Chip-Reading Device.

ID#: 010410-010410-0025199



Up-Selling Merchant (Updated)

Effective 1 June 2011, a Merchant that offers a Cardholder goods and/or services online through
the initial Merchant, but is not the initial Merchant, a subsidiary or affiliate of the initial Merchant with
whom the Cardholder initiated the Transaction.

ID#: 171011-010611-0026395



Usage Code - U.S. Region

A VisaNet code that identifies the specific processing cycle of a Chargeback or Presentment.

ID#: 010410-010410-0025200



V


V Distribution Program

A program through which a Member provides payment services to V Distribution Program Distributors
and V Distribution Program Cardholders by acting as a V Distribution Program Issuer, Acquirer, or
both.

ID#: 010410-010410-0025419




1240                                               VISA PUBLIC                                18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1278 of 1319
                                                PageID #: 4471
                                     Visa International Operating Regulations




V Distribution Program Card

An enhancement to a Visa Business or Visa Purchasing Card product, targeted to retailers, for
payment of goods and services from a V Distribution Program Distributor.

ID#: 010410-010410-0025420



V Distribution Program Cardholder

A retailer to whom an Issuer has issued a V Distribution Program Card.

ID#: 010410-010410-0025421



V Distribution Program Distributor

A commercial entity that accepts the V Distribution Program Card as payment for goods and services.

ID#: 010410-010410-0025422



V Distribution Program Issuer

A Member that participates in the V Distribution Program and whose name appears on a V
Distribution Program Card as the Issuer.

ID#: 010410-010410-0025423



V PAY Brand Mark

The Visa-Owned Mark used to represent the V PAY Product.

ID#: 010410-010410-0025424



V PAY Card

A Chip Card that bears the V PAY Brand Mark, enabling a V PAY Cardholder to obtain goods,
services, or cash from a V PAY Merchant or Acquirer or ATM.

ID#: 010410-010410-0025425



V PAY Merchant

A Merchant that displays the V PAY Brand Mark.

ID#: 010410-010410-0025426




18 October 2011                                     VISA PUBLIC                                  1241
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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15     Page: 1279 of 1319
                                                   PageID #: 4472
                                    Visa International Operating Regulations




V PAY Product

An unembossed “Chip only” Card developed in Visa Europe.

ID#: 010410-010410-0025427



V PAY Transaction

A Chip-initiated Transaction completed with a V PAY Card at a V PAY Merchant or Acquirer.

ID#: 010410-010410-0025428



V.I.P. System

The processing component of the VisaNet Integrated Payment System comprised of BASE I and
the Single Message System used for single message Authorization in connection with financial
Transaction processing.

ID#: 010410-010410-0025201



V.I.P. System Endpoint Certification Program - U.S. Region

A certification program that provides protection to Visa Members and their VisaNet Processor
endpoint systems from the risk of unpredictable processing from non-compliant code and helps
ensure the integrity of the Visa payment system by requiring that all endpoints certify compliance with
Visa specifications.

ID#: 010410-010410-0025203



V.I.P. System User

A VisaNet Processor that connects to the V.I.P. System through a terminal or computer device for
Authorization and other services.

ID#: 010410-010410-0025204



Vehicle-Specific Fleet Card

A Visa Commercial Card with Fleet Service enhancement that is assigned to a specific vehicle.

ID#: 010410-010410-0025208




1242                                               VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1280 of 1319
                                                PageID #: 4473
                                     Visa International Operating Regulations




Verified by Visa

A Visa-approved Authentication Method based on 3–D Secure.

ID#: 010410-010410-0025209



Verified by Visa Mark

A Mark used in conjunction with the Visa Authenticated Payment Program. One of the Visa-Owned
Marks.

ID#: 010410-010410-0025210



Virtual Account

An account for which no Card is issued, established primarily for completing Electronic Commerce
Transactions.

ID#: 010410-010410-0025211



Virtual Account Holder

An individual or commercial entity to whom a Virtual Account is issued or who is authorized to use a
Virtual Account.

ID#: 010410-010410-0025212



Virtual Account Issuer

A Member that establishes a Virtual Account and enters into a contractual relationship with a Virtual
Account Holder.

ID#: 010410-010410-0025213



VIS-Compliant

A Card application that complies with either:

• The requirements specified in the Visa Integrated Circuit Card Specification (VIS) and has been
  approved by Visa Approval Services
• The requirements specified in the EMV Common Payment Application Specifications and has been
  personalized to a Common Core Definition-compliant profile and approved by EMVCo

ID#: 220411-010410-0025214




18 October 2011                                     VISA PUBLIC                                    1243
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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15       Page: 1281 of 1319
                                                   PageID #: 4474
                                    Visa International Operating Regulations




VIS-Compliant - U.S. Region

A Card application that complies with the requirements specified in the Visa Integrated Circuit Card
Specification (VIS).

ID#: 220411-010410-0025215



Visa

Visa International Service Association and all of its subsidiaries and affiliates, and subsidiaries and
affiliates of Visa Inc., excluding Visa Europe. When used within the Visa International Operating
Regulations, Visa refers to any Visa Inc. subsidiary, affiliate, Regional Office, management, or
committee as applicable.

ID#: 010410-010410-0025217



Visa Account Updater - Canada Region

Effective through 9 February 2011, an optional service developed by Visa, that enables an Issuer
to provide updated Cardholder account information to participating Acquirers, as specified in the Visa
Account Updater Terms of Use.

ID#: 050411-100211-0025747



Visa Account Updater - U.S. Region

Effective through 9 February 2011, an optional service developed by Visa, that enables an Issuer
to provide updated Cardholder account information to participating Acquirers, as specified in the Visa
Account Updater Terms of Use.

ID#: 050411-010410-0025236



Visa Account Updater Service

Effective 10 February 2011, a service that enables an Issuer to provide updated Cardholder account
information to a participating Acquirer.

ID#: 050411-100211-0026233




1244                                               VISA PUBLIC                            18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1282 of 1319
                                                PageID #: 4475
                                     Visa International Operating Regulations




Visa Acquirer

A Member that signs a Visa Merchant or disburses currency or loads funds to a Visa Cardholder in
a Cash Disbursement or Load Transaction, and directly or indirectly enters the resulting Transaction
Receipt into Interchange.

ID#: 010410-010410-0025237



Visa Advanced Authorization

A real-time risk management tool that delivers risk data to Issuers in the Authorization Request to
alert them to possible fraudulent activity on their Cardholder accounts.

ID#: 050411-010410-0024244



Visa Advanced ID Solutions - U.S. Region

A Visa service that is designed to reduce Member credit and fraud losses related to Card, non-Visa
card, and other Visa and non-Visa products through the use of the Issuers’ Clearinghouse Service,
the Prescreen Service, ID Analytics, Inc. services (ID Score Plus and Credit Optics), and Fidelity
National Information Services, Inc. services (DebitReport® and Fraud Intelligence™).

ID#: 111011-010410-0025239



Visa Agro Card - LAC Region (Updated)

Effective 8 September 2011, a Visa Card issued to commercial entities in the public and private
sector for commercial purchases associated with the agribusiness sector as specified in “Visa Agro
Card – LAC Region” and the Visa Product Brand Standards.

ID#: 151011-010100-0026526



Visa ATM

An ATM that displays the Visa Brand Mark or the Visa Flag Symbol, but not the Plus Symbol.

ID#: 010410-010410-0025241



Visa ATM Network - U.S. Region

A service offered by participating Members that allows a Cardholder to obtain currency or travelers
cheques from an ATM displaying the Visa Flag Symbol or the Visa Brand Mark.

ID#: 010410-010410-0025242




18 October 2011                                     VISA PUBLIC                                       1245
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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15    Page: 1283 of 1319
                                                   PageID #: 4476
                                    Visa International Operating Regulations




Visa ATM Network Transaction - U.S. Region

See ATM Cash Disbursement.

ID#: 010410-010410-0025243



Visa Billing Statement - U.S. Region

A monthly report provided by Visa that details charges assessed to Members. Items appearing on
this report will be collected using the Fee Collection transaction Reason Code 5010 (Global Member
Billing Solution).

ID#: 010410-010410-0025244



Visa Brand Mark

A Visa-Owned Mark that represents the Visa organization and its product and service offerings. It
must be used as specified in the Visa International Operating Regulations and the Visa Product
Brand Standards and denotes acceptance for both Payment and Cash Disbursement.

ID#: 010410-010410-0025245



Visa Brand Mark with the Electron Identifier

A Visa-Owned Mark consisting of the Visa Brand Mark and the name “Electron,” which must be used
as specified in the Visa International Operating Regulations and the Visa Product Brand Standards.

ID#: 010410-010410-0025246



Visa Brand Name

A Visa-Owned Mark comprising the name “Visa.”

ID#: 010410-010410-0025247



Visa Business Card

A Visa Card targeted to the small business market that is used to pay for employee business travel
and general expenses, and is issued as specified in the Visa International Operating Regulations and
the Visa Product Brand Standards.

ID#: 010410-010410-0025248




1246                                               VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1284 of 1319
                                                PageID #: 4477
                                     Visa International Operating Regulations




Visa Business Cardholder

An employee of a small business to whom an Issuer has issued a Visa Business Card, including sole
proprietors and self-employed individuals.

ID#: 010410-010410-0025249



Visa Business Check Card - U.S. Region

A Visa Business Card issued as a Visa Check Card.

ID#: 010410-010410-0025250



Visa Business Electron Card

A Card intended for the small business market used to pay for employee business travel and general
expenses and complies with all of the following:

• Is issued with the Visa Business Card core feature requirements
• Meets the physical Card characteristics of a Visa Electron Card specified in the Visa Product Brand
  Standards
• Contains the Service Code for Online Authorization

ID#: 010410-010410-0025252



Visa Business Enhanced - U.S. Region (New)

Effective 15 October 2011, a Visa Business Card that is issued as specified in “Visa Business
Enhanced Cards" and the Visa Business Credit Cards Product and Implementation Guide - U.S.
Region.

ID#: 151011-151011-0026354



Visa Business Platinum Check Card - U.S. Region

A Visa Business Check Card issued as Visa Platinum.

ID#: 010410-010410-0025253



Visa Business Platinum Credit Card - U.S. Region

A Visa Business Card issued as Visa Platinum.

ID#: 010410-010410-0025254




18 October 2011                                     VISA PUBLIC                                  1247
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                                                   PageID #: 4478
                                    Visa International Operating Regulations




Visa Buxx - U.S. Region

A Visa Prepaid Card designed for teenagers, with account ownership by a parent or guardian.

ID#: 050411-010410-0025255



Visa Buxx Symbol - U.S. Region

A Visa-Owned Mark consisting of the Visa Wordmark and the Enhanced Visa Wordmark centered
above the word “Buxx.”

ID#: 010410-010410-0025256



Visa Canada

Visa Canada Corporation.

ID#: 010410-010410-0025257



Visa Card

A Card that bears the Visa Brand Mark as specified in the Visa International Operating Regulations
and the Visa Product Brand Standards, enabling a Visa Cardholder to obtain goods, services, or cash
from a Visa Merchant or an Acquirer or facilitate the loading of funds to a Prepaid Account.

ID#: 050411-010410-0025258



Visa Card - U.S. Region

A Magnetic Stripe and/or a Visa Contactless Card bearing either the Visa Flag Symbol or the Visa
Brand Mark, or a non-Card form Contactless Payment device bearing the Visa Brand Mark, that
enables a Visa Cardholder to obtain goods, services, or cash from a Visa Merchant or an Acquirer.
Effective 1 January 2011, all Visa Cards must bear the Visa Brand Mark.

ID#: 050411-010410-0025259



Visa Card Program

A program through which a Member provides product payment services to Cardholders using Cards
that bear the Visa Brand Mark.

ID#: 010410-010410-0025260




1248                                               VISA PUBLIC                       18 October 2011
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                                                PageID #: 4479
                                     Visa International Operating Regulations




Visa Card Program - U.S. Region

See Visa Program.

ID#: 010410-010410-0025261



Visa Card Program Marks - U.S. Region

See Visa Program Marks.

ID#: 010410-010410-0025262



Visa Cargo Card - LAC Region

Commercial Visa Card targeted to carriers/shippers' service providers to pay for truck drivers'
expenses related to the transportation business. A Visa Cargo Card is one of the following:

• Commercial Visa Prepaid Product
• Visa Business Electron Card

ID#: 050411-151110-0026071



Visa Cash-Back Service (Updated)

Effective 1 October 2010, a service whereby cash may be obtained from a qualifying Visa or Visa
Electron Merchant through use of a Visa or Visa Electron Card, in conjunction with, and processed
as, a domestic Retail Transaction.

In the U.S. Region, the service is accessed through one of the following:

• Effective through 30 June 2015, the use of a Visa Check Card II Card processed as a PIN-based
  Single Message Transaction
• Effective 14 April 2012, the use of a Visa Debit Card or Visa Business Check Card and processed
  as a Visa Debit with PIN Transaction

ID#: 111011-011010-0026046



Visa Cash Back Service - U.S. Region

Effective through 30 September 2010, a service whereby cash is obtained from a qualified
Merchant through the use of a Visa Check Card II Card in conjunction with, and processed as, a PIN-
based Single Message System Transaction. The amount of cash back is always less than the total
Transaction amount.

ID#: 050411-010410-0025263




18 October 2011                                     VISA PUBLIC                                   1249
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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15    Page: 1287 of 1319
                                                   PageID #: 4480
                                    Visa International Operating Regulations




Visa Cash Card (Updated)

Effective through 31 December 2013, a Chip Card that holds monetary value and stores security
keys. There are 3 types of Visa Cash Cards:

• Disposable Card
• Feature Reloadable Card
• Reloadable Card

ID#: 111011-010410-0025264



Visa Cash Program (Updated)

Effective through 31 December 2013, a program through which a financial institution provides Visa
Cash Card services to Cardholders or Merchants by acting as a Load Acquirer, Merchant Acquirer,
Card Issuer, funds source, or some combination thereof.

ID#: 111011-010410-0025265



Visa Cash Program Participant (Updated)

Effective through 31 December 2013, a financial institution that is one of the following:

• Load Acquirer
• Merchant Acquirer
• Card Issuer
• Funds source

ID#: 111011-010410-0025266



Visa Cash Symbol (Updated)

Effective through 31 December 2013, a Mark created by combining the Visa Brand Name, Comet
Design, and the word “Cash.” One of the Visa-Owned Marks.

ID#: 111011-010410-0025267



Visa Central Travel Account (Updated)

Effective 14 July 2011, an Account Number that an Issuer assigns to a commercial entity using
a Visa Corporate Card BIN or Visa Purchasing Card BIN that is generally used for travel-related
purchases.

ID#: 151011-140711-0026400




1250                                               VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1288 of 1319
                                                PageID #: 4481
                                     Visa International Operating Regulations




Visa Charge Card - U.S. Region (New)

Effective 24 February 2011, a type of Visa Consumer Credit Card that is non-revolving and requires
the total outstanding balance to be paid in full each statement cycle.

ID#: 111011-240211-0026358



Visa Check Card - U.S. Region

A Consumer Visa Check Card or Visa Business Check Card that accesses a deposit, investment, or
other consumer or business asset account, including a fiduciary account.

ID#: 010410-010410-0025268



Visa Check Card II - U.S. Region (Updated)

Effective through 30 June 2015, a Consumer Visa Check Card that accesses a deposit, investment,
or other consumer asset account, including a fiduciary account.

ID#: 111011-010410-0025269



Visa Classic Card

A general-purpose Visa Card that is issued as specified in the Visa International Operating
Regulations or the Visa Product Brand Standards.

ID#: 010410-010410-0025270



Visa Commercial - U.S. Region

A product identifier that, at the option of an Issuer, may be printed on the front of a Commercial Visa
Product.

ID#: 010410-010410-0025271



Visa Commercial Card Product - U.S. Region

See Commercial Visa Product - U.S. Region.

ID#: 010410-010410-0025274



Visa Commercial Cards

A product family of Cards intended for business expense use that comprises the:



18 October 2011                                     VISA PUBLIC                                     1251
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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15     Page: 1289 of 1319
                                                   PageID #: 4482
                                    Visa International Operating Regulations


• Visa Business Card
• Visa Business Electron Card
• Visa Corporate Card
• Visa Purchasing Card

ID#: 010410-010410-0025272



Visa Commercial Solutions Data and Reporting Tools

Effective 14 October 2010, various optional data management, reporting, and analysis services
provided to Issuers and their clients or Client Organizations in connection with their Commercial Visa
Product Programs.

ID#: 111011-141010-0026021



Visa Commercial Solutions Data and Reporting Tools - U.S. Region

Effective through 13 October 2010, various optional data management, reporting, and analysis
services provided to Issuers and their Client Organizations in connection with their Commercial Visa
Product Programs.

ID#: 050411-141010-0025275



Visa Consumer Card - U.S. Region

A Visa Card other than a Commercial Visa Product Card.

ID#: 010410-010410-0025276



Visa Consumer Credit Card - U.S. Region (Updated)

A Visa Consumer Card including, effective 24 February 2011, a Visa Charge Card, other than a Visa
Debit Card, that may be issued as any of the following:

• Visa Traditional
• Visa Traditional Rewards
• Visa Signature
• Visa Signature Preferred

ID#: 111011-240211-0025277




1252                                               VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1290 of 1319
                                                PageID #: 4483
                                     Visa International Operating Regulations




Visa Contactless - U.S. Region

A Contactless Payment-enabled Visa Card or Visa Micro Tag issued in conjunction with, and as a
companion to, a full-size Visa Card.

ID#: 010410-010410-0025278



Visa Contactless Payment Program - U.S. Region

A program through which participating Members issue Visa Cards with Contactless Payment
capability or support Contactless Payment at a Point-of-Transaction Terminal.

ID#: 010410-010410-0025279



Visa Corporate Card

A Visa Card targeted to mid-to-large size companies that is primarily used to pay for employee
business travel and entertainment expenses, and is issued as specified in “Visa Commercial
Corporate Products."

ID#: 010410-010410-0025280



Visa Corporate Cardholder

An employee of a mid-to-large-size company to whom an Issuer has issued a Visa Corporate Card.

ID#: 010410-010410-0025281



Visa Corporate Identity - U.S. Region

The Enhanced Visa Wordmark, used to represent the Visa organization and all of its products and
services.

ID#: 010410-010410-0025282



Visa Credit Acceptor – Canada Region

A Merchant that accepts Visa Credit Cards issued by Canadian Issuers.

ID#: 081010-160810-0025971



Visa Credit and Business Category - U.S. Region

A Card category that consists of the following:



18 October 2011                                     VISA PUBLIC                                  1253
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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15    Page: 1291 of 1319
                                                   PageID #: 4484
                                    Visa International Operating Regulations


• Consumer Card, other than a Visa Debit Card, issued by a U.S. Issuer
• Commercial Visa Product
• Visa Card issued by a non-U.S. Issuer

ID#: 010410-010410-0025283



Visa Credit Card - Canada Region

A Visa Card other than Visa Debit Card.

ID#: 081010-160810-0025972



Visa Customer Care Services - U.S. Region

A 24-hour-a-day, 7-day-a-week center that Visa maintains as part of the Global Customer Assistance
Services program, where a Cardholder can obtain:

• Information and certain types of emergency assistance while traveling
• Emergency Cash Disbursements and Emergency Replacement Cards

ID#: 010410-010410-0025285



Visa Debit Acceptor - Canada Region

A Merchant that accepts Visa Debit Cards issued by Canadian Issuers.

ID#: 010410-010410-0025286



Visa Debit Card - Canada Region

A Visa Card that accesses a consumer deposit, savings or equivalent account, excluding Visa
Prepaid Cards and Prepaid Accounts.

ID#: 081010-010410-0025287



Visa Debit Card - U.S. Region (Updated)

A Visa Consumer Card that accesses a deposit, investment, or other asset of a consumer, including a
fiduciary account, but not including a Consumer Visa Deferred Debit Card. A Visa Debit Card includes
the following:

• Visa Buxx
• Consumer Visa Check Card
• Effective through 30 June 2015, Visa Check Card II
• Visa Gift Card

1254                                               VISA PUBLIC                      18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1292 of 1319
                                                PageID #: 4485
                                     Visa International Operating Regulations


• Visa Incentive Card
• Visa Payroll
• Visa Prepaid Card

ID#: 161111-010410-0025288



Visa Debit Category - U.S. Region

A Card category that consists of the following:

• Visa Debit Card issued by a U.S. Issuer
• Visa Card issued by a non-U.S. Issuer

ID#: 010410-010410-0025289



Visa Debit Transaction - Canada Region

A transaction using a Visa Debit Card. Where a transaction initiated with a Visa Debit Card is
conducted at a merchant which is not a Visa Debit Acceptor, it will not be a Visa Debit Transaction.
Where a transaction initiated with a Visa Debit Card is conducted at a merchant where the cardholder
selects another payment service, other than Visa Debit, it shall not be a Visa Debit Transaction.

ID#: 081010-010410-0025290



Visa Debit with PIN Transaction – U.S. Region (New)

Effective 14 April 2012, a PIN-authenticated Transaction completed with a Visa Debit Card or a Visa
Business Check Card at the point-of-sale.

ID#: 111011-140412-0026511



Visa Debt Repayment Program Transaction - U.S. Region

A Visa Debit Card Transaction completed by a Visa Debit Category Limited Acceptance Merchant
that is authorized and processed as specified in the Visa International Operating Regulations.

ID#: 010410-010410-0025291



Visa Distributed Processing Solution (VDPS)

See Visa Europe Authorisation Service.

ID#: 010410-010410-0025292




18 October 2011                                     VISA PUBLIC                                  1255
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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15                  Page: 1293 of 1319
                                                   PageID #: 4486
                                    Visa International Operating Regulations




Visa Easy Payment Service (VEPS)

Effective 16 October 2010, a Visa Point-of-Transaction service that permits qualified Visa Easy
Payment Service Merchants to process small value Transactions, as specified in the “Country Level
Visa Easy Payment Service Transaction Limits” without requiring a Cardholder Verification Method
or the issuance of a Transaction Receipt unless requested by the Cardholder in accordance with the
procedures specified in the Visa International Operating Regulations.

ID#: 081010-161010-0025697



Visa Easy Payment Service (VEPS) Merchant

Effective 16 October 2010, a Merchant Outlet that qualifies to participate in the Visa Easy Payment
Service program on the basis of its assigned Merchant Category Code, as specified in "Visa Easy
Payment Service (VEPS) Merchant Category Code Exclusions."

ID#: 081010-161010-0025696



Visa Electron Acquirer

A Member that both:

• Signs a Visa Electron Merchant or disburses currency to a Cardholder using a Visa Electron Card
  in a Manual Cash Disbursement
• Directly or indirectly enters the resulting Transaction Receipt into Interchange

ID#: 010410-010410-0025294



Visa Easy Payment Service (VEPS) Transaction (Updated)

Effective 16 October 2010, an electronically-read Transaction that is:

• Authorized
• Conducted in a Face-to-Face Environment [131] [132]

• Does not exceed the Transaction limits specified in “Country-Level Visa Easy Payment Service
  Transaction Limits”
• Initiated by a qualified Merchant as specified in “Visa Easy Payment Service (VEPS) Merchant
  Category Code Exclusions”

ID#: 111011-161010-0025698




131 A variance applies in the U.S. Region. Effective through 14 October 2011, Transactions less than or equal to US $15
    conducted at Cardholder-Activated Terminals may qualify as Visa Easy Payment Service Transactions. Effective 15
    October 2011, Transactions less than or equal to US $15 conducted at Unattended Cardholder-Activated Terminals may
    qualify as Visa Easy Payment Transactions.

1256                                               VISA PUBLIC                                       18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15               Page: 1294 of 1319
                                                PageID #: 4487
                                     Visa International Operating Regulations




Visa Electron Card

A Card that bears the Visa Brand Mark with the Electron Identifier and that is used to denote
acceptance for both payment and Cash Disbursement.

ID#: 010410-010410-0025295



Visa Electron Card Program

A program through which a Member provides product payment services to Visa Electron Cardholders.

ID#: 010410-010410-0025296



Visa Electron Issuer

A Member that issues Visa Electron Cards.

ID#: 010410-010410-0025297



Visa Electron Logotype - U.S. Region

The Visa Electron Wordmark depicted in stylized lettering.

ID#: 010410-010410-0025298



Visa Electron Merchant

A Merchant that:

• Displays the Visa Electron Symbol or Visa Brand Mark with the Electron Identifier
• Has a Zero Floor Limit or has a terminal capable of reading and acting upon the Service Code in
  the Magnetic Stripe, or instructions for an Online Authorization Request from a Chip

ID#: 010410-010410-0025299




132 Effective 16 October 2010, a variance applies in the AP Region. Effective through 14 October 2011, Domestic
    Proximity Payment Transactions conducted at Unattended Acceptance Terminals (Type B or Type C) may qualify as Visa
    Easy Payment Service Transactions. Effective 15 October 2011, Domestic Proximity Payment Transactions conducted
    at Unattended Cardholder-Activated Terminals may qualify as Visa Easy Payment Service Transactions.

18 October 2011                                     VISA PUBLIC                                                   1257
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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15    Page: 1295 of 1319
                                                   PageID #: 4488
                                    Visa International Operating Regulations




Visa Electron Payment Application

A software application contained within a Chip or payment data encoded on a Magnetic Stripe
that defines the parameters for processing a Visa Electron Transaction and meets the minimum
requirements for the Visa Electron Program.

ID#: 010410-010410-0025300



Visa Electron Program

A program through which a Member provides payment services to Visa Electron Merchants and Visa
Electron Cardholders by acting as a Visa Electron Issuer, Visa Electron Acquirer, or both.

ID#: 010410-010410-0025301



Visa Electron Program Marks

The Marks used in connection with the Visa Electron Program.

ID#: 111011-010410-0025302



Visa Electron Transaction

A Transaction completed with a Visa Electron Card.

ID#: 010410-010410-0025304



Visa Electron Wordmark

A Visa-Owned Mark consisting of the Visa Brand Name and the name “Electron.”

ID#: 010410-010410-0025305



Visa Employee Benefit Card

A Visa Prepaid Card through which an Issuer enables employers and benefit administrators to
provide employees with a Card that allows direct access to benefits such as qualified health care,
dependent care, transit, fuel and meal expenses.

ID#: 081010-010410-0025307




1258                                               VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1296 of 1319
                                                PageID #: 4489
                                     Visa International Operating Regulations




Visa Europe

The company, Visa Europe Limited, registered in England and Wales with its registered address at
One Sheldon Square, London W2 6TT with company number 5139966.

ID#: 010410-010410-0025310



Visa Europe Authorisation Service

A scalable VisaNet system that delivers Online Authorization and financial processing services to
Members.

ID#: 010410-010410-0025311



Visa Extras Program - U.S. Region

A Points-based loyalty program that enables participating Cardholders to earn Points toward rewards
consisting of goods or services based on eligible Visa purchase Transactions.

ID#: 010410-010410-0025312



Visa FeatureSelect - U.S. Region

Effective 14 December 2009 through 7 November 2010, an optional service that allows U.S.
Issuers to automate the customization, management, and servicing of Visa core and Issuer-registered
optional Card enhancements for all Visa products .

Effective 8 November 2010, an optional service that allows U.S. Issuers to automate the
customization, management, and servicing of core and Issuer-registered optional Card
enhancements for all Visa and non-Visa products .

ID#: 111011-141209-0025586



Visa File Exchange Service - U.S. Region

A program through which Members and their qualified Agents exchange non-clearing and settlement
files with Visa.

ID#: 010410-010410-0025314




18 October 2011                                     VISA PUBLIC                                     1259
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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15     Page: 1297 of 1319
                                                   PageID #: 4490
                                    Visa International Operating Regulations




Visa Flag Symbol - U.S. Region

A Visa-Owned Mark consisting of the Bands Design with the Visa Logotype centered in the middle
band. Effective 1 January 2011, a Visa Card must not bear the Visa Flag Symbol.

ID#: 010410-010410-0025316



Visa Fleet Card - U.S. Region

A Visa Purchasing Card used only for the purchase of fuel and vehicle maintenance services.

ID#: 010410-010410-0025317



Visa Fleet Service - U.S. Region

An enhancement to Visa Purchasing that provides company vehicle fleet managers with information
to track vehicle fuel and maintenance expenses.

ID#: 010410-010410-0025318



Visa Fleet Service Merchant - U.S. Region

A Merchant whose primary business is providing fuel or vehicle maintenance services. A Visa Fleet
Service Merchant is identified by the following Merchant Category Codes: 4468, 4582, 5511, 5532,
5533, 5541, 5542, 5599, 7531, 7534, 7535, 7538, 7542, 7549, and 7699.

ID#: 010410-010410-0025319



Visa Flexible Spending Account (FSA) - U.S. Region

A Visa Prepaid Card program administered by an employer, in accordance with the IRS
requirements, that permits employees to set aside pre-tax dollars to pay qualified out-of-pocket
medical expenses not covered by the employer’s health care plan.

ID#: 010410-010410-0025320



Visa Gift Card

A Visa Prepaid Card, designed for consumer gift giving.

ID#: 081010-010410-0025321




1260                                               VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1298 of 1319
                                                PageID #: 4491
                                     Visa International Operating Regulations




Visa Global ATM Network

The network through which an ATM participant provides Cash Disbursement services to Cardholders
by acting as an Issuer, an ATM Acquirer, or both.

ID#: 010410-010410-0025322



Visa Global ATM Program

A program where an ATM participant provides Cash Disbursement services to Cardholders by acting
as an Issuer, an ATM Acquirer, or both.

ID#: 010410-010410-0025323



Visa Global Customer Assistance Services Program

Services provided by Visa Global Customer Care Services to Cardholders and Issuers, including
customer and emergency services provided to Cardholders traveling away from home. These include
the:

• Cardholder Inquiry Service
• Emergency Cash Disbursement
• Emergency Card Replacement
• Lost/Stolen Card Reporting
• Exception file updates
• Visa TravelMoney customer service

ID#: 081010-010410-0024678



Visa Global Customer Care Services

The 24-hour-a-day, 7-day-a-week centers that provide services including:

• Those specified in the Visa Global Customer Assistance Services Program
• Information and certain types of non-emergency assistance while traveling

ID#: 081010-010410-0025343



Visa Gold Card

A premium Visa Card that both:

• Offers core and optional services as specified in Visa International Operating Regulations
• Is issued as specified in the Visa Product Brand Standards

18 October 2011                                     VISA PUBLIC                                  1261
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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15    Page: 1299 of 1319
                                                   PageID #: 4492
                                    Visa International Operating Regulations



(Regional variations may be found in the applicable Regional Operating Regulations.)

ID#: 010410-010410-0025324



Visa Health Reimbursement Account (HRA) - U.S. Region

An employer-funded Visa Prepaid Card program that reimburses employees, in accordance with the
IRS regulations, for qualified out-of-pocket medical expenses not covered by the employer’s health
care plan.

ID#: 010410-010410-0025325



Visa Health Savings Account (HSA) - U.S. Region

A Visa Prepaid Card program operated in accordance with the IRS regulations that enables
participants of a qualified high-deductible health plan (HDHP) to access funds contributed by an
employee, employer, or both, for qualified out-of-pocket health care expenses.

ID#: 010410-010410-0025326



Visa Hotel and Cruise Line Services

Services that a Hotel or Cruise Line may provide to Cardholders, including:

• Advance Deposit Service
• Hotel Reservation Service
• Priority Check-out Service
• Cash Disbursement

ID#: 010410-010410-0025327



Visa Inc.

A Delaware stock corporation.

ID#: 010410-010410-0025328



Visa Incentive Card

A consumer Visa Prepaid Card, designed to enable a business entity to provide consumer funds in
the form of promotional discounts, rebates, or corporate incentives such as bonuses.

ID#: 081010-010410-0025329




1262                                               VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1300 of 1319
                                                PageID #: 4493
                                     Visa International Operating Regulations




Visa Incentive Network - U.S. Region

A program that allows targeted rewards such as discounts or sweepstakes to be made available to
select Visa Cardholders.

ID#: 010410-010410-0025330



Visa Infinite Business Card - Canada Region

A Visa Card targeted to small business market that has attributes exceeding that of a Visa Business
Card.

ID#: 050411-011109-0025630



Visa Infinite Card

A Product Name for a Visa Card that has attributes exceeding those of a Visa Gold Card and Visa
Platinum.

ID#: 010410-010410-0025331



Visa Infinite Exclusive Privileges

A Merchant-partner program with exclusive offers for Visa Infinite Cardholders.

ID#: 010410-010410-0025332



Visa Infinite Preferred Card – AP Region (Updated)

Effective 4 November 2011, a Visa Card that is issued in accordance with the requirements
specified in "Visa Infinite Preferred Card in Singapore – AP Region."

ID#: 151011-041111-0026544



Visa Information Management

Optional services provided by Visa to Members and clients of Members to enhance reporting and
data gathering.

ID#: 010410-010410-0025333




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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15    Page: 1301 of 1319
                                                   PageID #: 4494
                                    Visa International Operating Regulations




Visa Integrated Billing Statement

A monthly report provided by Visa that details charges assessed to Members. Items appearing on this
report are collected using the Fee Collection Transaction reason code 5010 (“Visa Integrated Billing
Statement”).

ID#: 010410-010410-0025334



Visa Integrated Circuit Card Specification (VIS) - U.S. Region

Chip Card and terminal requirements for Visa Smart Payment programs that serve as companion
specifications to the EMV Integrated Circuit Card Specifications.

ID#: 010410-010410-0025336



Visa IntelliLink Compliance Management

Effective 14 October 2010, a web-based service designed to meet the Visa Commercial Card
program management needs of Issuers and their Client Organizations. Visa IntelliLink Compliance
Management provides information services such as:

• Analytics and investigative reporting
• Misuse detection
• Program compliance
• Regulatory compliance
• Spend management
• Administration

ID#: 050411-141010-0026022



Visa IntelliLink Spend Management

Visa IntelliLink Spend Management is an optional service provided to Members and their clients to
access and manage commercial multi-program data, reports, statements, and expense management.

ID#: 050411-300909-0025614



Visa Interchange Directory

Effective 16 April 2011, a directory containing contact information on Members and VisaNet
Processors that Visa compiles and sends to all Members and VisaNet Processors.

ID#: 050411-010100-0026130




1264                                               VISA PUBLIC                      18 October 2011
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                                                PageID #: 4495
                                     Visa International Operating Regulations




Visa Interchange Directory - U.S. Region

Effective through 15 April 2011, a directory containing contact information on Members and
VisaNet Processors that Visa compiles and sends to all Members and VisaNet Processors.

ID#: 050411-010410-0025338



Visa Interchange Directory Update Form

Effective through 15 April 2011, a form containing contact information on Members and VisaNet
Processors that Visa compiles and sends to all Members and VisaNet Processors in the form of a
directory. See "Visa Interchange Directory Update Form - Submission."

ID#: 050411-010410-0025339



Visa International - U.S. Region

See Visa.

ID#: 010410-010410-0025341



Visa International Operating Regulations

A body of regulations that sets forth the requirements for Members operating Visa programs. The
Visa International Operating Regulations contain:

• International regulations applicable to all Members
• AP Regional Operating Regulations applicable to Members operating in the Asia-Pacific Region,
  including clients of Visa Worldwide Private Ltd.
• Canada Regional Operating Regulations applicable to Members operating in the Canada Region
• CEMEA Regional Operating Regulations applicable to Members operating in the Central Europe,
  Middle East, and Africa Region
• LAC Regional Operating Regulations applicable to Members operating in the Latin America and
  Caribbean Region
• U.S. Regional Operating Regulations applicable to Members operating in the U.S. Region

ID#: 010410-010410-0025342



Visa Internet Domain Name

A Visa-Owned Mark used to represent the Visa organization on the Internet or other networks. The
Visa International Operating Regulations refer to 3 types of Visa Internet Domain Names:

• Internet Domain Name—Visa Simple


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                                                   PageID #: 4496
                                    Visa International Operating Regulations


• Internet Domain Name beginning with the word “Visa”
• Internet Domain Name including the word “Visa”

ID#: 010410-010410-0025345



Visa Issuer

A Member that issues Visa Cards.

ID#: 010410-010410-0025346



Visa Logotype - U.S. Region

The Visa Wordmark depicted in stylized lettering.

ID#: 010410-010410-0025347



Visa Loyalty Platform Services

Effective 15 October 2010, rewards and loyalty services available to Members to enhance their
proprietary loyalty programs.

ID#: 081010-151010-0025867



Visa Meetings - U.S. Region

A Visa Purchasing Card used for purchases associated with business meetings and events.

ID#: 010410-010410-0025349



Visa Meetings Card

A Visa Card issued to commercial entities in the public and private sector for commercial purchases
associated with business meetings and events, as specified in “Visa Meetings Card” and the Visa
Product Brand Standards.

ID#: 010410-010410-0025350



Visa Membership Management - U.S. Region (Updated)

Effective through 7 September 2011, a web-based service, accessed through Visa Online, that
allows Members and their designated Agents to view and manage their Visa membership information
in the Visa information system.

ID#: 111011-010410-0025351




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                                                PageID #: 4497
                                     Visa International Operating Regulations




Visa Merchant

A Merchant that displays the Visa Brand Mark and accepts all Visa Cards.

ID#: 010410-010410-0025352



Visa Merchant Trace System – AP Region

Effective 1 March 2011, a risk management service that allows a participating Member to:

• Submit information about a Merchant it has terminated
• Verify, before signing, that a Merchant is not listed with the service
• Query if a Merchant has been identified as non-compliant with one of the Visa risk management
  programs
• Obtain risk profile information on a Merchant Category Code (MCC) and country

ID#: 050411-010311-0026136



Visa Message Gateway Service - U.S. Region

A component of the Direct Exchange network that allows VisaNet endpoints to access authorization
processing services. It operates as a switch for all payment transactions, routing traffic between all
Visa payment processing participants.

ID#: 081010-010410-0025353



Visa Micro Tag - U.S. Region (Updated)

Effective through 8 June 2011, a Visa Contactless-only payment device without a Magnetic Stripe
issued as a companion to a corresponding full-size Visa Card in accordance with the provisions
specified in the Visa International Operating Regulations and the Visa Micro Tag Design and
Branding Guide. Also see Visa Card - U.S. Region.

Effective 9 June 2011, a Visa Contactless-only payment device without a Magnetic Stripe issued as
a companion to a corresponding full-size Visa Card in accordance with the provisions specified in the
Visa International Operating Regulations and the Visa Product Brand Standards. Also see Visa Card -
U.S. Region.

ID#: 111011-010410-0025354



Visa Mini Card

A miniaturized version of a Visa Card or Visa Electron Card that must:

• Provide the designated level of utility promised to the Cardholder


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                                                   PageID #: 4498
                                    Visa International Operating Regulations


• Contain the physical elements and data components required to complete a Transaction

ID#: 010410-010410-0025355



Visa Mini Card - U.S. Region

A small-size Visa Consumer or Commercial Visa Product Card issued in conjunction with a
corresponding full-sized Visa Card, and issued in accordance with the provisions specified in the U.S.
Regional Operating Regulations and the Visa Product Brand Standards.

ID#: 010410-010410-0025356



Visa Mini Card Design and Technology - U.S. Region

The Card design and technology as set forth in and according to the Visa Product Brand Standards,
and the Visa Mini Card Patent Rights identified therein.

ID#: 050411-010410-0025357



Visa Mini Card Patent Rights - U.S. Region

The patents associated with the Visa Mini Card Design and Technology issued to Bank of America
in the United States, along with pending patent applications in the United States under which Visa
and Members are granted rights in accordance with the Bank of America Visa Mini Card Exclusive
License Agreement and these Operating Regulations.

ID#: 010410-010410-0025358



Visa Money Transfer Program - U.S. Region

A component of the overall Original Credit program that supports a person-to-person funds transfer
service for Visa Cardholders or other consumers resulting in a credit to the recipient Cardholder's
Visa account, as specified in the Visa Money Transfer (VMT) Global Implementation Guide. See also
Money Transfer Original Credit Program.

ID#: 111011-150210-0025691



Visa Multinational Program

Effective 14 October 2010, a Visa program that supports the delivery of Visa commercial solutions
to Multinational Companies.

ID#: 050411-141010-0026030




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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1306 of 1319
                                                PageID #: 4499
                                     Visa International Operating Regulations




Visa Online

A password-protected Website that provides Members and/or their VisaNet Processors with access
to Visa information.

ID#: 050411-010410-0025360



Visa Payables Automation (New)

Effective 8 September 2011, an optional electronic payment solution that enables Issuers to
automate their accounts payable processes using Visa Commercial Cards and one of the Visa
Commercial Solutions Data and Reporting Tools.

ID#: 111011-010100-0026535



Visa Payables Automation - Canada Region

Effective through 7 September 2011, an optional electronic payment solution that enables Canada
Issuers to automate their accounts payable processes using Visa Commercial Cards. One of the Visa
Commercial Solutions Data and Reporting Tools.

ID#: 111011-010100-0025610



Visa Payables Automation - U.S. Region

Effective through 7 September 2011, an optional electronic payment solution that enables U.S.
Issuers to automate their accounts payable processes using Visa Commercial Cards. One of the Visa
Commercial Solutions Data and Reporting Tools.

ID#: 111011-110210-0025611



Visa Payment Application

A software application contained within a Chip or payment data encoded on a Magnetic Stripe that
defines the parameters for processing a Visa Transaction and meets the minimum requirements of
the Visa Program.

ID#: 010410-010410-0025361



Visa Payment Gateway Service

A Visa service that provides Authorization and Clearing of Secure Electronic Commerce
Transactions.

ID#: 010410-010410-0025362




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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15     Page: 1307 of 1319
                                                   PageID #: 4500
                                    Visa International Operating Regulations




Visa Payroll

A Visa Prepaid Card that enables employers to offer employees a Visa Card as an alternative to the
disbursement of employment wages or salary via a check.

ID#: 081010-010410-0025363



Visa PIN Debit Gateway Service - U.S. Region

A Visa processing service that switches non-Visa, PIN-based, or qualified non-PIN-based bill
payment debit transactions to debit networks for authorization, clearing, settlement, and exception
item processing, which may include chargebacks, representments, and other non-financial and
financial transactions as defined by the operational rules of the applicable network.

ID#: 081010-010410-0025364



Visa Platinum

A Card product that has attributes equal to or exceeding those of a Visa Gold Card.

ID#: 010410-010410-0025366



Visa Premier Card

A premium Visa Card that both:

• Offers core and optional services as specified in the Visa International Operating Regulations
• Is issued as specified in the Visa Product Brand Standards

(Regional variations may be found in the applicable Regional Operating Regulations.)

ID#: 010410-010410-0025370



Visa Prepaid Business Card - U.S. Region

A Visa Business Card used to access funds in a Prepaid Account.

ID#: 010410-010410-0025371



Visa Prepaid Card

A Visa Card used to access funds in a Visa Prepaid Account or a Card where monetary value is
stored on a Chip.

ID#: 081010-010410-0024996



1270                                               VISA PUBLIC                         18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1308 of 1319
                                                PageID #: 4501
                                     Visa International Operating Regulations




Visa Prepaid Card Transaction

The act between a Cardholder using a Visa Prepaid Card and a Merchant or an Acquirer resulting in
a Transaction Receipt.

ID#: 081010-010100-0025555



Visa Prepaid Corporate Card - U.S. Region

A Visa Corporate Card used to access funds in a Prepaid Account.

ID#: 010410-010410-0025373



Visa Prepaid Purchasing Card - U.S. Region

A Visa Purchasing Card used to access funds in a Prepaid Account.

ID#: 010410-010410-0025375



Visa Product

Any Visa Card, Visa Electron Card, component, or secure feature that relates to Card production,
manufacture, or fulfillment managed under the Approved Vendor Program.

ID#: 050411-010100-0025527



Visa Program

A program through which a Member provides payment services to Visa Cardholders or Merchants by
acting as an Issuer, an Acquirer, or both.

ID#: 010410-010410-0025377



Visa Program - Canada Region

The aggregation of the individual Visa Card programs operated by Visa Members using the Visa-
Owned Marks.

ID#: 010410-010410-0025378



Visa Program Marks

The Marks used in connection with the Visa Program.

ID#: 010410-010410-0025379



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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15    Page: 1309 of 1319
                                                   PageID #: 4502
                                    Visa International Operating Regulations




Visa Purchasing Card

A Visa Card issued to commercial entities (public and private) that is used for commercial purchases
and is issued as specified in “Visa Commercial Purchasing Products.”

ID#: 010410-010410-0025380



Visa Purchasing Cardholder

An employee of a public or private commercial entity to whom an Issuer has issued a Visa
Purchasing Card.

ID#: 010410-010410-0025381



Visa Purchasing Large Ticket Interchange Reimbursement Fee - U.S. Region

An Interchange Reimbursement Fee paid to or received by a Member for a Visa Purchasing Large
Ticket Transaction processed as specified in “Visa Purchasing Large Ticket IRF.”

ID#: 010410-010410-0025382



Visa Purchasing Large Ticket Transaction - U.S. Region

A Transaction completed with a Visa Purchasing Card that meets the large ticket transaction
requirements specified in “Visa Purchasing Large Ticket IRF.”

ID#: 010410-010410-0025383



Visa ReadyLink - U.S. Region

A Visa processing service that enables the Authorization and Settlement, through VisaNet, of funds
associated with an Issuer-approved load Transaction to a Visa Prepaid Card or to another Non-
Visa Branded Account, as defined in the Visa ReadyLink Service Description and Implementation
Guidelines at a Prepaid Partner.

ID#: 050411-010410-0025384



Visa ReadyLink Transaction - U.S. Region

A Transaction completed at a Prepaid Partner that facilitates the loading of value to a Visa Prepaid
Card or to another Non-Visa Branded Account, as defined in the Visa ReadyLink Service Description
and Implementation Guidelines that has been designated for participation in Visa ReadyLink.

ID#: 080411-010410-0025385




1272                                               VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1310 of 1319
                                                PageID #: 4503
                                     Visa International Operating Regulations




Visa Region

A national or multinational geographic area under the jurisdiction of a Regional Office, as specified in
the Visa International Certificate of Incorporation and Bylaws. There are 5 Visa Regions:

• Asia-Pacific (AP) Region
• Canada (CAN) Region
• Central and Eastern Europe, Middle East and Africa (CEMEA) Region
• Latin America and Caribbean (LAC) Region
• United States of America (U.S.) Region

Visa Canada and Visa U.S.A. are under the jurisdiction of a Regional Board.

ID#: 010410-010410-0025386



Visa Reservation Service

Visa services provided by either a:

• Lodging Merchant to guarantee accommodations
• Car Rental Company to guarantee a Specialized Vehicle or Peak-Time reservation

ID#: 010410-010410-0025387



Visa Resolve Online

An online Visa service for the retrieval and transmission of dispute resolution information and
documentation.

ID#: 050411-010410-0025388



Visa Risk Manager

A suite of risk management products designed to help Issuers optimize loss prevention and maximize
profitability through intelligent risk-management decisioning.

ID#: 010410-010410-0025389



Visa Salary

See Visa Payroll.

ID#: 081010-010100-0025714




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   Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15    Page: 1311 of 1319
                                                   PageID #: 4504
                                    Visa International Operating Regulations




Visa SavingsEdge – U.S. Region (Updated)

Effective 15 July 2011, a U.S. Region program offered by Visa to eligible Visa Business Cardholders
of Visa Business Issuers that enables enrolled Cardholders to receive discounts in the form of
statement credits for qualifying purchases specified in the Visa SavingsEdge Service Description –
U.S. Region made at participating Merchants.

ID#: 151011-150711-0026272



Visa Secure Electronic Commerce

A payment service that provides payment information security over the Internet and other networks
for Cardholders using a Card and Cardholder Access Device to conduct an Electronic Commerce
Transaction.

ID#: 010410-010410-0025390



Visa Settlement Bank

A bank where Visa maintains its Settlement accounts and performs funds transfer for Settlement.

ID#: 010410-010410-0025391



Visa Signature - U.S. Region

A Visa Card that is issued in accordance with the requirements specified in “Visa Signature Cards.”

ID#: 010410-010410-0025392



Visa Signature Business - AP Region

Effective 1 January 2011, a Visa Card that is issued in accordance with the requirements specified
in "Visa Signature Business Cards."

ID#: 080411-010111-0026123



Visa Signature Business - U.S. Region (Updated)

Effective through 14 October 2011, a Visa Card that is issued in accordance with the requirements
specified in “Visa Signature Business Cards.”




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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1312 of 1319
                                                PageID #: 4505
                                     Visa International Operating Regulations



Effective 15 October 2011, a Visa Business Card that is issued as specified in “Visa Signature
Business Cards” and the Visa Business Credit Cards Product and Implementation Guide - U.S.
Region.

ID#: 111011-010410-0025393



Visa Signature Card

A Product Name for a Visa Card that has attributes exceeding those of a Visa Gold Card and Visa
Platinum.

ID#: 010410-010410-0025394



Visa Signature Preferred - U.S. Region

A Visa Card that is issued in accordance with the requirements specified in “Visa Signature Preferred
Cards - U.S. Region.”

ID#: 010410-010410-0025396



Visa Smart Payment

EMV-Compliant and VIS-Compliant Chip-based applications that provide payment service options
and controls to Issuers of Chip Cards bearing the Visa Brand Mark or the Visa Brand Mark with the
Electron Identifier that are not available using Magnetic-Stripe technology.

ID#: 010410-010410-0025397



Visa Three-Domain Secure Services - U.S. Region

Visa services that provide enrollment of Cardholders and authentication processing of Transactions
that comply with the Three-Domain Secure Specification.

ID#: 010410-010410-0025398



Visa Traditional - U.S. Region

A Visa Consumer Credit Card excluding Visa Signature and Visa Signature Preferred.

ID#: 010410-010410-0025399



Visa Traditional Rewards Card - U.S. Region

A consumer credit product that enables Cardholders, based on their qualifying purchases, to earn
units of a rewards currency consisting of either:



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                                                   PageID #: 4506
                                    Visa International Operating Regulations


• Points that are redeemable for cash, cash-equivalent rewards (i.e., gift certificate, gift card, or
  statement credit), or any other reward option permitted upon prior approval by Visa
• Air miles that are redeemable for air travel

ID#: 010410-010410-0025400



Visa Transaction Alerts Service

An optional Visa service that enables Cardholder notification of Transactions occurring on their Cards
or accounts.

ID#: 111011-130510-0025728



Visa Transaction Information - Canada Region

Any information or data regarding a Transaction that is contained on the Transaction Receipt.

ID#: 010410-010410-0025401



Visa Transaction Information - U.S. Region

Any Transaction information or data that is contained in either the VisaNet:

• Authorization message
• Clearing Record

ID#: 010410-010410-0025402



Visa Transit Card

A Visa Prepaid Card designated for use at transit Merchants. A Visa Transit Card may be provided by
an employer to an employee to access tax-advantaged transit benefits or sold directly to consumers.

ID#: 081010-010410-0025403



Visa TravelMoney Wordmark

A Visa licensed Brand Mark meeting the specifications set out in the Visa Product Brand Standards.

ID#: 010410-010410-0025410



Visa U.S.A.

Visa U.S.A. Inc.

ID#: 010410-010410-0025412



1276                                               VISA PUBLIC                             18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1314 of 1319
                                                PageID #: 4507
                                     Visa International Operating Regulations




Visa Utility Interchange Reimbursement Fee Program - U.S. Region (Updated)

Effective through 14 October 2011, a Visa program that permits Acquirers to qualify for the Utility
Program Interchange Reimbursement Fee for a Consumer Card, or a Visa Business (including Visa
Signature Business) Transaction completed at a utility Merchant assigned Merchant Category Code
4900, ”Utilities - Electric, Gas, Water, and Sanitary,” as specified in "Visa Utility IRF Program."

Effective 15 October 2011, a Visa program that permits Acquirers to qualify for the Utility Program
Interchange Reimbursement Fee for a Consumer Card, or a Visa Business (including Visa Business
Enhanced and Visa Signature Business) Transaction completed at a utility Merchant assigned
Merchant Category Code 4900, ”Utilities - Electric, Gas, Water, and Sanitary,” as specified in "Visa
Utility Program Interchange Reimbursement Fee Qualification - U.S. Region."

ID#: 111011-010410-0025413



Visa Wordmark

A Visa-Owned Mark consisting of the word “Visa.” See Visa Brand Name.

ID#: 010410-010410-0025415



Visa Worldwide Pte. Ltd.

The organization operating the Visa Network in the AP Region.

ID#: 010410-010410-0025416



Visa-Owned Marks

All Trademarks owned by Visa, including Plus and Interlink.

ID#: 010410-010410-0025216



Visa/Plus ATM

An ATM that:

• Displays the Visa Brand Mark and the Plus Symbol
• May also display the Visa Brand Mark with the Electron Identifier

ID#: 010410-010410-0025368




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                                                   PageID #: 4508
                                    Visa International Operating Regulations




VisaNet

The systems and services, including the V.I.P. System, Visa Europe Authorisation Service, and BASE
II, through which Visa delivers Online Financial Processing, Authorization, Clearing, and Settlement
services to Members, as applicable.

ID#: 010410-010410-0025218



VisaNet Copy Request and Fulfillment Service

An automated process for transmitting Copy Requests, Retrieval Requests, and Fulfillments and
monitoring the integrity and quality of the service through Visa Resolve Online.

ID#: 010410-010410-0025225



VisaNet Copy Request and Fulfillment Service Fees

Service-related fees that include, but are not limited to:

• Transaction fees
• Fulfillment incentive fees

ID#: 010410-010410-0025226



Voice Authorization

An Approval Response obtained through interactive communication between an Issuer and an
Acquirer, their VisaNet Processors, or the International Automated Referral Service, through
telephone or facsimile communications.

ID#: 111011-010410-0025417



VisaNet Integrated Payment System - U.S. Region

See V.I.P. System.

ID#: 010410-010410-0025228



VisaNet Interchange Center

A Visa Inc. or a Visa Europe facility that operates the VisaNet data processing systems and support
networks.

ID#: 010410-010410-0025229




1278                                               VISA PUBLIC                        18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1316 of 1319
                                                PageID #: 4509
                                     Visa International Operating Regulations




VisaNet Processor

A Member, or Visa-approved non-Member, that is directly connected to VisaNet and that provides
Authorization, Clearing, or Settlement services to Merchants and/or Members.

ID#: 111011-010410-0025230



VisaNet Settlement Service

The VisaNet system that provides Settlement reporting and funds transfer services to BASE II and
V.I.P. System Clearing Processors, as specified in the appropriate VisaNet manuals.

ID#: 010410-010410-0025232



VisaVue Member Participation Agreement (New)

Effective 8 September 2011, an agreement that specifies the terms and conditions for use of
VisaVue Online.

ID#: 111011-010100-0026456



VisaVue Online (New)

Effective 8 September 2011, an optional, web-based Visa Transaction reporting and analytic tool
that enables Members to analyze their VisaNet Transaction data.

ID#: 111011-010100-0026455



VisaVue Service - U.S. Region (Updated)

Effective through 7 September 2011, an optional, web-based Visa transaction reporting and
analytic tool that enables Members to analyze their VisaNet transaction data.

ID#: 111011-010410-0025234



VisaVue Service Participation Agreement - U.S. Region (Updated)

Effective through 7 September 2011, an agreement that specifies the terms and conditions for
participation in the web-based VisaVue Service.

ID#: 111011-010410-0025235




18 October 2011                                     VISA PUBLIC                                  1279
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    Case: 4:13-cv-02226-JAR                    Doc. #: 85-5 Filed: 02/12/15       Page: 1317 of 1319
                                                   PageID #: 4510
                                    Visa International Operating Regulations




W


Website

One or more Internet addresses at which an individual or organization provides information to others,
often including links to other locations where related information may be found.

ID#: 010410-010410-0025430



Willful Violation - U.S. Region

Effective through 14 February 2011, an Operating Regulation violation where the Member:

• Did not correct the violation within a 12-month period
• Knew, or its knowledge can be fairly inferred, that its conduct constituted a violation of the Visa
  International Operating Regulations

ID#: 050411-010410-0025432



Wire Transfer Money Order - U.S. Region

A check or money order purchased by a Cardholder from a Wire Transfer Money Order Merchant.

ID#: 010410-010410-0025434



Wire Transfer Money Order Merchant - U.S. Region

A Merchant that sells money orders by electronic funds transfer.

ID#: 010410-010410-0025435



Wire Transfer Money Order Transaction - U.S. Region

A Quasi-Cash Transaction representing the sale of a Wire Transfer Money Order for transfer to a
payee (who may or may not be the Cardholder) by electronic funds transfer.

ID#: 081010-010410-0025436



Wordmark

A Mark consisting entirely of a word.

ID#: 010410-010410-0025438




1280                                               VISA PUBLIC                           18 October 2011
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Case: 4:13-cv-02226-JAR                     Doc. #: 85-5 Filed: 02/12/15        Page: 1318 of 1319
                                                PageID #: 4511
                                     Visa International Operating Regulations




Workout Period

In conjunction with the Global Merchant Chargeback Monitoring Program, a 3-month remediation
period during which Visa manages a corrective-action plan between a Merchant and its Acquirer
to bring the Merchant's international Chargeback activities within acceptable levels. The Workout
Period is not applicable for:

• Acquirer-level thresholds
• High-Risk Merchants, as specified in "High Risk Merchant Category Codes"

ID#: 111011-010610-0025701



Workout Period - U.S. Region

Either:

• In conjunction with the Risk Identification Service (RIS) Online, a 90-calendar-day period during
  which Visa manages a corrective-action plan between a Merchant and its Acquirer to bring the
  Merchant’s Suspect Transactions-to-sales and Fraud Activity-to-sales ratio within acceptable levels
• In conjunction with the Acquirer Monitoring Program, a 90-calendar-day period during which Visa
  monitors an Acquirer’s remedial plan to bring the Acquirer’s Fraud Activity-to-sales ratio below the
  program’s Alert thresholds

ID#: 010410-010410-0025439



X


No glossary terms available for X.
ID#: 010410-010410-0025513



Y


No glossary terms available for Y.
ID#: 010410-010410-0025514




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    Case: 4:13-cv-02226-JAR                    Doc. #: 85-5 Filed: 02/12/15       Page: 1319 of 1319
                                                   PageID #: 4512
                                    Visa International Operating Regulations




Z


Zero Floor Limit

A Floor Limit with a currency amount of zero (i.e., Authorization is required for all Transactions).

ID#: 010410-010410-0025441




1282                                               VISA PUBLIC                            18 October 2011
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